                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                              Part 8 of 8 Pg 1 of 440
A ARTHUR KUTSCHE CUST MARY MARGARET KUTSCHE         A B MOORE                                            A CHARLES VONDERSCHMITT & VIRGINIA K VONDERSCHMITT
A MINOR UNDER THE LAWS OF GEORGIA                   PO BOX 463116                                        UA 03/21/2007 A CHARLES VONDERSCHMITT & VIRGINIA
PO BOX 853                                          CLINTON TOWNSHIP, MI 48046-3116                      110 N CAMBRIDGE COURT
MIMS, FL 32754-0853                                                                                      GREENFIELD, IN 46140



A GORDEN SWINTON CUST BRET MATTHEW SWINTON          A GRAHAM THOMSON CUST RICHARD S THOMSON              A GRAHAM THOMSON CUST RONALD G THOMSON
A MINOR PURS TO SECS 1339 /26 INCL OF THE REVISED   A MINOR U/ART 8-A OF THE PER PROP LAW OF N Y         A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y
CODE OF OHIO                                        PINE TREE POINT RESORT                               25272 SWAN HOLLOW RD
5261 S E SEA ISLE WAY                               ALEXANDRIA BAY, NY 13607                             ALEXANDRIA BAY, NY 13607-2188
STUART, FL 34997-1820


A J MAIER & JUNE MAIER JT TEN                       A JEFFREY ABRAMS                                     A JOSEPH PALAZZOLA
PO BOX 510101                                       PO BOX 360687                                        & VIRGINIA L PALAZZOLA & SAM J PALAZZOLA & PETER J
LIVONIA, MI 48151-6101                              COLUMBUS, OH 43236-0687                              PALAZZOLA JT TEN
                                                                                                         617 FAIRFORD
                                                                                                         GROSSE POINTE WOOD, MI 48236-2411


A KENNETH KUYK & RUTH K KUYK TR                     A LEAVITT TAYLOR SHARON M WAHN & RUSSELL H MORGAN TRA LEAVITT TAYLOR SHARON M WAHN & RUSSELL H MORGAN T
A KENNETH KUYK & RUTH K KUYK TTEUA 09/23/80         ALISON MARIA WAHN TR 2/10/76                        BRYANT RICHARD WAHN 8/24/79
935 UNION LAKE RD                                   C/O GEORGE H WAHN CO                                450 WESTERN AVE
APT 336                                             450 WESTERN AVE                                     BOSTON, MA 02135-1016
WHITE LAKE, MI 48386-4535                           BOSTON, MA 02135-1016


A LOWELL JACKSON & WILDA M JACKSON TR               A MARK GLICKSTEIN                                    A PATTERSON PENDLETON JR CUST A PATTERSON PENDLETO
UA 05/03/95 LOWELL AND WILDA JACKSON FAMILY         4362 SUMMERFIELD DRIVE                               U/THE MARYLAND U-G-M-A
6137 CLIFFBROOK DR                                  NAPA, CA 94558-1700                                  ATTN A PATTERSON PENDLETON III
N RICHLND HLS, TX 76180                                                                                  250 SOUTH WILTON PLACE
                                                                                                         LOS ANGELES, CA 90004-4912


A PORMALS & A PORMALS TR                            A THOMAS DAGLE S/E INDIVIDUALS RET PLAN # 004 U-A DTD 1/1/78
                                                                                                            A WILLIAM GEORDAN CUST DEANNE MARIE GEORDAN
THE PORMALS FAMILY REV LIVING TRUST UA 05/01/02     7 STOWE DR                                              U/THE OHIO UNIFORM GIFTS TO MINORS ACT
6 N 327 FAIRWAY LN                                  SHELTON, CT 06484-4834                                  2361 TIBBETTS WICK RD
ITASCA, IL 60143-1943                                                                                       GIRARD, OH 44420-1232



AARON MAZEN CUST BARBARA LESLIE MAZEN               AARON N COULTER                                      ABBIE JANE DELONG
A MINOR U/ART 8-A OF THE PERSONAL PROP LAW OF N Y   PO BOX 310123                                        6033 210TH AVENUE N E
7 OVERHILL LANE                                     FLINT, MI 48531-0123                                 REDMOND, WA 98053-2316
ROSLYN, NY 11576



ABE BORENSTEIN & CATHERINE A BROWN JT TEN           ABE HALPERIN CUST JAY HALPERIN                       ABE RUTKOVSKY CUST ALAN RUTKOVSKY
60 EAST END AVE 7B                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT
NEW YORK, NY 10028-7973                             9546 FINTRY ST                                       2964 CLUBHOUSE RD
                                                    BRISTOW, VA 20136-3518                               MERRICK, NY 11566-4806



ABE S HOPPENSTEIN & TAUBENE J HOPPENSTEIN JT TEN    ABIGAIL H MELICAN CUST MARLANE MELICAN               ABRAHAM BERKOWITZ CUST MARK SEIGELSTEIN UGMA NY
BOX 812373                                          U/THE MASS UNIFORM GIFTS TO MINORS ACT               239 CANTERBURY RD
BOCA RATON, FL 33496                                640 W END AVE                                        WESTFIELD, NJ 07090-1904
                                                    APT 11B
                                                    NEW YORK, NY 10024-1020


ABRAHAM D STEIN                                     ABRAHAM EAGLE CUST LINDA EAGLE                       ABRAHAM EPSTEIN & ATARA EPSTEIN JT TEN
571 SALISBURY ST                                    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           2160 MATTHEWS AVE
HOLDEN, MA 01520-1427                               5961 PALISADE AVE APT 417                            BRONX, NY 10462
                                                    BRONX, NY 10471-1255
                     09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                               Part 8 of 8 Pg 2 of 440
ABRAHAM KLEIN                                         ABRAHAM REISBERG CUST DARYL JOY REISBERG               ABRAHAM SCHNEIDER CUST RAYMOND SCHNEIDER
83-82 DANIELS CT                                      U/THE N Y UNIFORM GIFTS TO MINORS ACT                  UNDER THE FLORIDA GIFTS TO MINORS ACT
BRIARWOOD, NY 11435-2151                              8 INNES RD                                             570 BARTON LANE
                                                      EAST BRUNSWICK, NJ 08816-2838                          WAYNE, PA 19087-5442



ABRAHAM SHEINGOLD                                     ABRAHAM WEINFELD CUST CHAIM WEINFELD                   ABRAM GOPSTEIN
DOVE COURT 4 A                                        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             305 EAST 86TH ST
CROTON, NY 10520-1639                                 1709 OCEAN AVE                                         APT# 10CW
                                                      BROOKLYN, NY 11230-5402                                NY, NY 10028-4706



ADAM B SCHESCH DANIEL R SCHESCH & DEVORAH A SCHESCHADAM
                                                    WERNICK
                                                         BALTOWSKI
                                                             TR     & FLORENCE C BALTOWSKI TR                ADAM JOSIAH EPSTEIN
UNDER THE LAST WILL & TESTAMENT OF ELIZABETH Y     ADAM & FLORENCE BALTOWSKI REV LIV TRUST UA 11/10/99       PO BOX 99241
SCHESCH                                            7327 W COYLE AVE                                          SEATTLE, WA 98199-0241
6036 MCPHERSON AVE % D R SCHESCH                   CHICAGO, IL 60631-1110
SAINT LOUIS, MO 63112-1306


ADAM S FINKELSTEIN & MICHAEL A FINKELSTEIN JT TEN     ADEBAYO OLUWOLE                                        ADELE H LEVISON CUST A J LEVISON
1900 PARKVIEW DRIVE S                                 PO BOX 292287                                          A MINOR U/SEC 2918D 55 SUP TO THE GEN STATUTES OF
MONTGOMERY, AL 36117-6996                             LOS ANGELES, CA 90029                                  CONN
                                                                                                             37 IROQUOIS ROAD
                                                                                                             WEST HARTFORD, CT 06117-2112


ADELE H MEINZINGER                                    ADELE KATHERINE SULLIVAN CUST NATALIE KINLOCH SULLIVAN
                                                                                                           ADELE S DAILY
2833 E SHELBY RD                                      U/THE PA UNIFORM GIFTS TO MINORS ACT                 6030 111TH AVENUE NE
OAKFIELD, NY 14125                                    COURTYARD-S WARREN AVE                               KIRKLAND, WA 98033-7219
                                                      MALVERN, PA 19355



ADELE TUROFF CUST LAWRENCE A TUROFF                   ADELE W DAHLBERG TR                                    ADELE WEINGAST
A MINOR U/ART 8-A OF THE PERS PROP LAW OF NY          UA 06/11/2009 ADELE W DAHLBERG 2009 REVOCABLE LIVING   5922 CORAL LAKE DR
4 HAZELTON DR                                         TRUST                                                  MARGATE, FL 33063-5853
SCARSDALE, NY 10583-7410                              41 PINECREST PARKWAY
                                                      HASTINGS HDSN, NY 10706


ADELINE S WEINER TR ADELINE S WEINER TRUST UA 11/25/96 ADHEMAR NICOLINI                                      ADOLPH MOTLEY JR & BARBARA C MOTLEY TR
53 MUNNISUNK DR                                        AVENIDA GOIAS 2769                                    ADOLPH MOTLEY JR REV TRUST UA 11/26/96
SIMSBURY, CT 06070-1259                                SAO CAETANO DO SUL                                    5615 LIGHTSPUN LN
                                                       SAO PAULO BRASIL                                      COLUMBIA, MD 21045-2522
                                                       09550-051 BRAZIL


ADRIA C BURNSTEIN CUST REBECCA D O'NEILL UGMA MA      ADRIA C BURSTEIN                                       ADRIAN A BOSWELL & HERTHA L BOSWELL TR
625 BEACON ST                                         625 BEACON ST                                          U/A 6/13/2007 ADRIAN A BOSWELL & HERTHA L BOSWELL
NEWTON CENTRE, MA 02159-2002                          NEWTON CENTRE, MA 02459-2002                           11378 RACINE RD
                                                                                                             WARREN, MI 48093-2560



ADRIAN BRICE REINING TOD BRICE D REINING SUBJECT TO STAADRIAN
                                                        TOD RULES
                                                               VAN HOOK & THELMA M VAN HOOK TR               ADRIANA G RESTANIO
104 WORNER ST                                          UA 11/11/93 THE VAN HOOK REVOCABLE LIVING TRUST       GM DE ARGENTINA
GREEN VALLEY, IL 61534                                 1700 THIRD AVE WEST                                   RUTA 9 KM278 2126 ALVEAR
                                                       APT 406                                               SANTA FE ARGENTN
                                                       BRADENTON, FL 34205                                   ARGENTINA


ADRIENNE M MURDOCK                                    AGNES MARIE PETERSON & WINSTON PETERSON TR             AGNES NEIMEYER MATHIS TR
PO BOX 250688                                         UA 12/09/81 AGNES MARIE PETERSONTR                     AGNES NEIMEYER MATHIS LIVING TRUST UA 07/19/96
FRANKLIN, MI 48025-0688                               2430 CORIANDER CT                                      2145 MALVERN RD
                                                      TROY, OH 45373-8750                                    HOT SPRINGS, AR 71901-8040
                       09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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AGUSTIN BRUNO TOD HANIE A BRUNO SUBJECT TO STA RULESAILEEN MCHENRY JONES TR                                AIRCO A/C & HEATING
18354 114TH PL                                      AILEEN MCHENRY JONES REVOCABLE TRUST UA 05/22/03       1777 LA FAVRE ROAD
LIVE OAK, FL 32060-5593                             15615 WHITEWATER LANE                                  GENEVA, OH 44041-7649
                                                    HOUSTON, TX 77079-2533



AJAY TANDON GM INDIA LIMITED                         ALAN A KLEINER                                        ALAN CHARLES HEINTZ CUST GISELLE KHOURY HEINTZ UTMA
HALOL 389351 PANCHMAHALS                             158 LARCH ST                                          9006 SENECA LN
GUJARAT                                              HOLLIDAYSBURG, PA 16648-2715                          BETHESDA, MD 20817-3557
INDIA



ALAN E HAMILTON & PHYLLIS HAMILTON TR                ALAN F KOENIG CUST ALAN F KOENIG JR                   ALAN FELDMAN CUST EDWARD MARK FELDMAN
UA 05/20/92 THE ALAN E HAMILTON & PHYLLIS            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE N Y UNIFORM GIFTS TO MINORS ACT
8668 CARRIAGE HILL DR                                4551 INGERSOL PLACE                                   1500 BAY BLVD
UTICA, MI 48317-1408                                 NEW PORT RICHEY, FL 34652-3163                        ATLANTIC BEACH, NY 11509-1606



ALAN FRANKS                                          ALAN GARY MAIORANO & MARY LAROCHE MAIORANO TR         ALAN GREGG GARDNER
PO BOX 300169                                        MAIORANO FAMILY TRUST UA 02/06/04                     43255 147TH ST E
JAMAICA, NY 11430-0169                               107 WOODLEY RD                                        LANCASTER, CA 93535
                                                     MADISON ALA
                                                     MADISON, AL 35758


ALAN GRUNSTEIN                                       ALAN GUNDERSON & BONNIE RAE GUNDERSON JT TEN          ALAN J BOECKER
7048 SW 23 ST                                        1919 TREBEIN RD                                       BOX 506 20766 RD E
DAVIS, FL 33317-7158                                 XENIA, OH 45385-8576                                  CONTINENTAL, OH 45831-9139




ALAN J VALESTIN CUST KRISTIN LEE VALESTIN UNDER THEIN U-T-M-A
                                                       ALAN JAY WILDSTEIN                                  ALAN JERIG
712 ALLEN DRIVE                                        2935 NORTHEAST LAKEVIEW DRIVE                       PO BOX 291666
PO BOX #355                                            SEBRING, FL 33870-2331                              PORT ORANGE, FL 32129-1666
SWEETSER, IN 46987-0355



ALAN K MURRAY & DOROTHY A MURRAY TR                  ALAN K RIEDEL & RICHARD A RIEDEL TR                   ALAN LOUIS WILLIAMS TR
ALAN K & DOROTHY A MURRAY TRUST UA 07/17/01          ALAN K RIEDEL REVOCABLE TRUST UA 06/18/02             UW LOUIS CANTOR FBO RAE WILLIAMS & ALAN WILLIAMS &
4817 GLENCANNON ST                                   6 SYLVAN AVE                                          MARK WILLIAMS
SANTA ROSA, CA 95405-7911                            DELMAR, NY 12054                                      1816 ROCKING HORSE DRIVE
                                                                                                           SIMI VALLEY, CA 93065-5912


ALAN M GEORGE & JEAN W GEORGE TR                     ALAN MICHAEL KLEIN & SHARON M KLEIN JT TEN            ALAN MONCK PETERSON TR
ALAN & JEAN GEORGE LIVING TRUST UA 10/25/05          425 BENJAMIN DR                                       ALAN MONCK PETERSON REVOCABLE LIVING TRUST UA
8860 KIDLEY                                          UNIT 401                                              10/22/96
STERLING HEINGHTS, MI 48314-1656                     VERNON HILLS, IL 60061                                1895 EAMES ST
                                                                                                           WAHIAWA, HI 96786-2609


ALAN R GRASS & MARSHA R GRASS TR                     ALAN S MEYER CUST ROBERT ALAN MEYER                   ALAN STEIN
ALAN R GRASS & MARSHA R GRASS REVOCABLE TRUST UA     A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS OF NEW   1517 KENILWORTH AVE #308
06/28/04                                             9 RICKEY DRIVE                                        CHARLOTTE, NC 28203
126 EMERALD KEY LN                                   FRAMINGHAM, MA 01702-6122
PALM BEACH GDNS, FL 33418-4021


ALAN STENGEL                                         ALAN WEINSTEIN                                        ALBE KIELBASA CUST SANDRA LYNN KIELBASA
40946 178TH ST E                                     2004 STRAWBERRY RUN                                   U/THE MICH UNIFORM GIFTS TO MINORS ACT
LANCASTER, CA 93535-7517                             CROZIER, VA 23039-2209                                26141 BUSTER DR
                                                                                                           WARREN, MI 48091-1042
                     09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
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ALBE KIELBASA CUST STEVEN LEE KIELBASA             ALBERT A DUDEK CUST KATHLEEN M DUDEK             ALBERT A ERKEL CUST ALBERT A ERKEL JR
U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE MICH UNIFORM GIFTS TO MINORS ACT           U/THE CAL UNIFORM GIFTS TO MINORS ACT
26141 BUSTER DR                                    15234 NANCY                                      6540 LOU PL
WARREN, MI 48091-1042                              SOUTHGATE, MI 48195-2025                         ROSEVILLE, CA 95746-9661



ALBERT A HEINTZELMAN                               ALBERT A PENNINGTON & JENNY C PENNINGTON TR      ALBERT B COLLVER SR TR UA 02/24/2005 COLLVER TRUST #1
211 JOLIET AVE                                     ALBERT AURELIUS & JENNY CHAPMAN PENNINGTON REV   306 W MUNGER ROAD
HOUGHTON LAKE, MI 48629-9158                       6323 LAUREL VALLEY AVE                           MUNGER, MI 48747
                                                   BANNING, CA 92220-5458



ALBERT C DENSON CUST MICHAEL C DENSON              ALBERT C JONES                                   ALBERT C OTTOLINI & DOROTHY DOROTHY M OTTOLINI TR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       PO BOX 572553                                    OTTOLINI FAM LIVING TRUST UA 06/12/91
456 STRAND DRIVE                                   SALT LAKE CTY, UT 84157-2553                     8641 METROPOLITAN AVE
VIRGINIA BEACH, VA 23462                                                                            WARREN, MI 48093-2330



ALBERT C OTTOLINI & DOROTHY M OTTOLINI TR          ALBERT D GREEN CUST A DONALD GREEN JR            ALBERT D MILLER & DOROTHY F MILLER TR
UA OTTOLINI FAMILY LIVING TRUST 06/12/91           U/THE OHIO UNIFORM GIFTS TO MINORS ACT           ALBERT & DOROTHY MILLER TRUST UA 4/15/99
31800 VAN DYKE AVE                                 1839 LISBON STREET                               9 FORBES PL #610
APT 126                                            EAST LIVERPOOL, OH 43920-1554                    DUNEDIN, FL 34648
WARREN, MI 48093-7916


ALBERT DAVIS CUST ALLYSON DAVIS UGMA PA            ALBERT E ERICKSON & DORIS J ERICKSON TR          ALBERT E HAUENSTEIN
11027 GREINER RD                                   UA 06/18/93 THE ALBERT E & DORISJ ERICKSON       724 9TH ST
PHILADELPHIA, PA 19116-2611                        2272 CHERRYWOOD DR                               TELL CITY, IN 47586
                                                   BRIGHTON, MI 48116-6769



ALBERT E HAUENSTEIN                                ALBERT E JAGGER & DOROTHY M JAGGER TR            ALBERT E PILKINGTON CUST ALBERT E PILKINGTON
724 9TH STREET                                     DOROTHY M JAGGER TRUST # 1 UA 12/05/95           U/THE MICH UNIFORM GIFTS TO MINORS ACT
TELL CITY, IN 47586-1714                           4691 W MONTGOMERY RD                             820 BROOKS STREET
                                                   CAMDEN, MI 49232-9606                            ANN ARBOR, MI 48103-3162



ALBERT F VESPA & CYNTHIA A VESPA JT TEN            ALBERT F VESPA & VINCENT J VESPA JT TEN          ALBERT G BEINKE
PO BOX 806071                                      PO BOX 806071                                    8627 BELCREST LANE
SAINT CLAIR SHORES, MI 48080-6071                  SAINT CLAIR SHORES, MI 48080-6071                ST LOUIS, MO 63114-4426




ALBERT G EISEN CUST JOSHUA T EISEN                 ALBERT G KEHOE & CLARA B KEHOE TR                ALBERT G REINHARDT & MARY LOU REINHARDT TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT             UA 09/04/85 F/B/O ALBERT & CLARAKEHOE            ALBERT G & MARY LOU REINHARDT REVOCABLE LIV TRUST
58 PUTNAM ST                                       4305 FARMCREST ST                                UA 04/24/90
BEVERLY, MA 01915-1264                             BURTON, MI 48509-1105                            9555 WEST 59TH AVE UNIT 132
                                                                                                    ARVADA, CO 80004


ALBERT H ARENOWITZ & BETTY W ARENOWITZ TR          ALBERT H FERRARIS CUST DONNA M FERRARIS          ALBERT H STAUDMEISTER CUST LARRY STAUDMEISTER
ARENOWITZ FAM TRUST UA 11/12/93                    U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT     A MINOR PURS TO SECS 1339 /26 INCL OF THE
13972 EASTRIDGE DR                                 406 INDEPENDENCE                                 287 CARNIES LANE
WHITTIER, CA 90602-1931                            FRIENDSWOOD, TX 77546-4029                       SYKESVILLE, MD 21784-7136



ALBERT HOLTZ CUST NOAH R WEINGARDEN UGMA MI        ALBERT J DEWIT                                   ALBERT J GRANUCCI & LINDA T GRANUCCI TR
31140 PERRYS CROSSING                              4341 186TH PL SE                                 ALBERT J & LINDA T GRANUCCI REVOCABLE TRUST UA
FARMINGTON HILLS, MI 48331-1544                    ISSAQUAH, WA 98027-9778                          03/17/04
                                                                                                    3785 RED OAK WAY
                                                                                                    REDWOOD CITY, CA 94061-1132
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                             Part 8 of 8 Pg 5 of 440
ALBERT J WALKER & JANENE A WALKER TR                ALBERT KATZ CUST RONALD KATZ                     ALBERT KOTELES & IRENE KOTELES TR
WALKER FAMILY LIV TRUST UA 05/01/01                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       UA 09/23/91 THE ALBERT KOTELES &IRENE KOTELES TRUST
46643 RIVERWOODS DR                                 4 LA SALLE DRIVE                                 30934 MISTY PINES DR
MACOMB, MI 48044-5703                               NEW ROCHELLE, NY 10801-4614                      FARMINGTON HILLS, MI 48336-1255



ALBERT L GRIDLEY JR                                 ALBERT L SEXTON                                  ALBERT L WALTON
8501 120TH ST NORTH                                 1902 REIN ST                                     7610 REINHARDT DR
SEMINOLE, FL 33772-3950                             ORANGE, TX 77630-3652                            PRAIRIE VILLAGE, KS 66208-4017




ALBERT M MATTIUCCI & ROSEMARY MATTIUCCI TR          ALBERT O DE POVER & ALICE O DE POVER TR          ALBERT P GORE JR SUCC TR
UA 01/19/2010 REVOCABLE LIVING TRUST                ALBERT O & ALICE L DEPOVER REVOCABLE TRUST UA    WILLIAM & PAUL GORE TRUST UA 02/01/75 BY IDA B GORE
51661 HICKORY LANE                                  03/08/99                                         144 PLEASANT ST
MACOMB, MI 48042                                    N5360 CTY TRK J                                  EAST WALPOLE, MA 02032-1208
                                                    BEAVER DAM, WI 53916


ALBERT P RATCLIFF                                   ALBERT REINGOLD CUST STEVEN REINGOLD UGMA NY     ALBERT REINHARDT & MARY LOU REINHARDT TR
1005 10961 W                                        130 WASHINGTON ARVE                              UA 04/24/90 ALBERT G REINHARDT &MARY LOU
RUSSIAVILLE, IN 46979                               STATEN ISLAND, NY 10314                          16708 FOXWOOD LN
                                                                                                     MORRISON, CO 80465-9609



ALBERT SCHNEIDER CUST CAROLINE SCHNEIDER            ALBERT SCHNEIDER CUST JENNIFER SCHNEIDER         ALBERT SIMONS JR CUST CAROLINE P SIMONS
U/THE N C UNIFORM GIFTS TO MINORS ACT               U/THE N C UNIFORM GIFTS TO MINORS ACT            U/THE S C UNIFORM GIFTS TO MINORS ACT
PO BOX 519                                          PO BOX 519                                       3375 VALLEY RD NW
TAYLORSVILLE, NC 28681-0519                         TAYLORSVILLE, NC 28681-0519                      ATLANTA, GA 30305-1150



ALBERT SIMONS JR CUST JULIAN M SIMONS               ALBERT STURZENEGGER & NORINE L STURZENEGGER TR   ALBERT T HENDRICKS JR CUST BARRY ALAN HENDRICKS
U/THE S C UNIFORM GIFTS TO MINORS ACT               UA STURZENEGGER REVOCABLE TRUST 05/28/92         U/THE KANSAS UNIFORM GIFTS TO MINORS ACT
1754 ION AVENUE                                     4408 TEKA LANE                                   15814 CASHEL POINT LN
SULLIVANS ISLAND, SC 29482-8714                     SAINT CLOUD, FL 34772-8800                       HOUSTON, TX 77084-7545



ALBERT T HENDRICKS JR CUST RANDALL LANE HENDRICKS   ALBERT T MACIONSKI & OLIVE E MACIONSKI TR        ALBERT V RIZZO & GLORIA B RIZZO TR
U/THE KANSAS UNIFORM GIFTS TO MINORS ACT            UA 08/24/89 ALBERT T MACIONSKI &OLIVE E          UA 05/02/2007 THE ALBERT V RIZZO & GLORIA B RIZZO
3100E 71ST                                          9642 LAURENCE AVE                                27157 LA ROSE DRIVE
TULSA, OK 74136-5625                                ALLEN PARK, MI 48101-1323                        WARREN, MI 48093



ALBERT W REINHART JR                                ALBERTA L BAITINGER                              ALBERTA L MANZARDO
773 BEVERLY ROAD                                    39430 VENETIAN DRIVE                             & ROBERT A MANZARDO & MICHAEL P MANZARDO & LAURA
RAHWAY, NJ 07065-1804                               HARRISON TWP, MI 48045                           M ZAGARI &
                                                                                                     2407 EGLESTON AVE
                                                                                                     BURTON, MI 48509-1127


ALBERTA L REINERT                                   ALBERTO N REGINALDO & NIEVES A REGINALDO TR      ALBERTO SAVEDRA CUST HERMAN V SAVEDRA
APT 4                                               REGINALDO FAM TRUST UA 05/09/96                  U/THE NEW MEXICO UNIFORM GIFTS TO MINORS ACT
327 IDLEWYLDE DR                                    4881 EAST STRONG CT                              3004 CHIQUITA
LOUISVILLE, KY 40206-1134                           ORCHARD LAKE, MI 48323-1578                      ROSWELL, NM 88201-6624



ALBINAS NEMANIS & ALDONA NEMANIS TR                 ALDEN H ELSEA CUST VICKIE ANN ELSEA              ALDON H STROBECK CUST KRISTINE MARIE STROBECK U/ N D
ALBINAS & ALDONA J N EMANIS REV LIVING TRUST UA     U/THE MISSOURI UNIFORM GIFTS TO MINORS LAW       MINORS ACT
09/26/00                                            30282 HIGHWAY H                                  5545 86TH AVE NW
6329 MIDDLESEX ST                                   MARSHALL, MO 65340                               STANLEY, ND 58784-9073
DEARBORN, MI 48126-6801
                      09-50026-mg        Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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ALEX GAIZUTIS                                    ALEX GERULIS & GENEVIEVE M GERULIS TR                ALEX PRIETO & LATASHA PRIETO JT TEN
3307 173RD ST                                    ALEX & GENEVIEVE M GERULIS JOINT TRUST NO1 UA        130 27 140TH ST
HAMMOND, IN 46323-2766                           05/19/90                                             JAMAICA, NY 11436
                                                 894 NOBLE CT
                                                 DAVIS, IL 61019-9763


ALEX ROSENZWEIG TR                               ALEX WEINGARTEN CUST NEIL WEINGARTEN U/THE NEW YORKU-G-M-A
                                                                                                    ALEXANDER A BIRCH SR & BEATRICE L BIRCH TR
UA 02/27/2007 ALEX ROSENZWEIG REVOCABLE LIVING   26 PLYMOUTH RD                                     BIRCH FAM REVOCABLE TRUST UA 07/07/94
TRUST                                            EAST ROCKAWAY, NY 11518-1332                       1700 BRONSON WAY
7366 HAVILAND CIR                                                                                   APT 167
BOYNTON BEACH, FL 33437                                                                             KALAMAZOO, MI 49009-1074


ALEXANDER A HAUGHTON JR                          ALEXANDER KLEIN & BELLA KLEIN JT TEN                 ALEXANDER N STEINER & CAROLINE STEINER JT TEN
PO BOX 220085                                    25560 FILMORE                                        28 FOX HOLLOW RD
CHARLOTTE, NC 28222                              SOUTHFIELD, MI 48075-1940                            RAMSEY, NJ 07446-1447




ALEXANDER OGONOWSKI CUST CAROL A OGONOWSKI       ALEXANDER P STUKOVSKI & LIBERTY F STUKOVSKI TR       ALEXANDER PETERSON CUST AMY LOUISE PETERSON
U/THE MASS UNIFORM GIFTS TO MINORS ACT           UA 03/30/88 ALEXANDER P STUKOVSKI & LIBERTY          U/THE OHIO UNIFORM GIFTS TO MINORS ACT
713 BROADWAY ROAD                                STUKOVSKI TR                                         PO BOX 147
DRACUT, MA 01826-2726                            3211 SOUTHPORT DR                                    PASSAIC, NJ 07055-0147
                                                 HOLIDAY, FL 34690-1968


ALEXANDER REISCH CUST SCOTT FRANK REISCH         ALEXANDER T MORROW & CATHY A MORROW TR               ALEXANDER T RAGAN JR & MIGDALIA R RAGAN & A T RAGAN II
U/THE N Y UNIFORM GIFTS TO MINORS ACT            UA 08/18/2008 ALEXANDER T MORROW TRUST               PO BOX 366296
9480 NW 24TH PL                                  7813 ANTIOPI STREET                                  SAN JUAN, PR 00936-6296
SUNRISE, FL 33322-2764                           ANNANDALE, VA 22003



ALEXANDRA BLAIR NELSON                           ALEXANDRA C BOARDMAN & KATE B WALTERS TR             ALFRED A BRIZZOLARA JR CUST ROBERT A BRIZZOLARA
23039 390TH AVE                                  UA 05/30/90 ALEXANDRA C BOARDMAN TRUST               U/THE DEL UNIFORM GIFTS TO MINORS ACT
WINNEBAGO, MN 56098-3340                         616 MONTCALM PLACE                                   2712 LANDSDOWNE DRIVE E
                                                 ST PAUL, MN 55116-1733                               WILMINGTON, DE 19810-3459



ALFRED A KLEINSCHMIDT                            ALFRED ANDERSON JR                                   ALFRED C HINDS & BARBARA J HINDS TR
2405 PETERSON AVE                                PO BOX 090394                                        ALFRED C HINDS & BARBARA J HINDS FAM TRUST UA
FREMONT, NE 68025-4596                           MILWAUKEE, WI 53209-0371                             04/13/88
                                                                                                      3460 VILLA LN
                                                                                                      APT 129
                                                                                                      NAPA, CA 94558-6499

ALFRED D RICHARDS 2ND CUST PAUL RICHARDS         ALFRED E GWOZDZ & IRENE T GWOZDZ TR                  ALFRED E VICTOR & R JACQUELYN VICTOR TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       ALFRED GWOZDZ & IRENE GWOZDZ JOINT LIVING TRUST UA   VICTOR FAMILY TRUST UA 12/18/98
PO BOX 850                                       06/13/00                                             PO BOX 993
AQUEBOGUE, NY 11931-0850                         PO BOX 61                                            ST MARYS CITY, MD 20686-0993
                                                 FRASER, MI 48026-0061


ALFRED G JACOBSMA & DOROTHY J JACOBSMA TR        ALFRED GOLDSTEIN & MRS RITA GOLDSTEIN JT TEN         ALFRED H BENSON CUST CAROL S BENSON
ALFRED G & DOROTHY J JACOBSMA TRUST # 560 UA     2245 OCEAN PKWT APT 1M                               U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT
09/30/05                                         BROOKLYN, NY 11223                                   724 SECOND ST S E
3620 186TH ST #405                                                                                    LITTLE FALLS, MN 56345-3504
LANSING, IL 60438-3267


ALFRED H BRENNER                                 ALFRED H RENIUS & VIOLET N RENIUS TR                 ALFRED H REYBURN CUST CATHERINE ANN REYBURN
3152 142ND                                       ALFRED H & VIOLET N RENIUS TRUST UA 1/07/02          U/THE DEL UNIFORM GIFTS TO MINORS ACT
DORR, MI 49323-9716                              4493 PT AUSTIN RD                                    27 SCHULL DR
                                                 CASEVILLE, MI 48725                                  NEWARK, DE 19711-7715
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                              Part 8 of 8 Pg 7 of 440
ALFRED H REYBURN CUST LOIS JANE REYBURN              ALFRED J DELLAERA & GLORIA R DELLAERA TR           ALFRED J EWELL III
U/THE DEL UNIFORM GIFTS TO MINORS ACT                DELLAERA LIVING TRUST UA 12/17/99                  4201 WILSON BLVD
118 WEST TULIP LN                                    200 MARGEMERE DR                                   STE 110314
NEWARK, DE 19713-1089                                FAIRFIELD, CT 06430-7315                           ARLINGTON, VA 22203-1859



ALFRED J MORGAN & ELIZABETH A MORGAN TR              ALFRED J REHKER & PHYLLIS E REHKER TR              ALFRED J SALZANO & JAMIE A VANICA TR
ALFRED J & ELIZABETH A MORGAN TRUST UA 11/27/84      REHKER FAMILY REV LIVING TRUST UA 06/13/97         ALFRED J SALZANO & JAMIE A VANICA REV LIV TR UA
2373 STONE BROOK CT                                  32885 REDWOOD BLVD                                 5935 GRASS VALLEY RD
FLUSHING, MI 48433-2595                              AVON LAKE, OH 44012-1558                           RENO, NV 89510-9734



ALFRED K KRUPSKI                                     ALFRED L ARNOLD & JOYCE O ARNOLD TR                ALFRED L CHU CUST LAWRENCE W CHU
& EUNICE ANN KRUPSKI JT TEN TOD SALLY A WARNER       ALFRED L & JOYCE O ARNOLD TRUST UA 11/18/94        U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
JUDITH K KRUPSKI                                     2104 CRESTLINE CIRCLE                              11940 MIWOK CT
17430 PLAZA COLORES                                  BURTON, MI 48509-1338                              WILTON, CA 95693-9603
SAN DIEGO, CA 92128


ALFRED L CHU CUST STEVEN B CHU                       ALFRED M JAQUES & RAQUEL M JAQUES TR               ALFRED N YESUE CUST ALBERT J YESUE
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         ALFR JAQUES & RAQ JAQ TRUST UA 4/26/99             U/THE MASS UNIFORM GIFTS TO MINORS ACT
36 LAKE SHORE CIRCLE                                 14326 S HOXIE AVE                                  75 WARNER ST
SACRAMENTO, CA 95831-1507                            BURNHAM, IL 60633-2210                             HUDSON, MA 01749-1623



ALFRED N YESUE CUST ALFRED D YESUE                   ALFRED N YESUE CUST ROBERT D YESUE                 ALFRED P HEUER & JEANNETTE M HEUER TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT               U/THE MASS UNIFORM GIFTS TO MINORS ACT             HEUER FAM REVOCABLE TRUST UA 09/19/96
75 WARNER ST                                         75 WARNER ST                                       2600 BARRACKS RD APT 438
HUDSON, MA 01749-1623                                HUDSON, MA 01749-1623                              CHARLOTTESVILLE, VA 22901-2196



ALFRED P MINERVINI & JUNE M STINCHFIELD & ELISE M KUHN TR
                                                        ALFRED PAUL BENDER & ELEANOR BARKER BENDER TR   ALFRED R MARCY & CATHERINE B MARCY TR
UA 05/18/2009                                           BENDER FAMILY TRUST UA 11/16/05                 UA 12/06/93 THE MARCY LIVING TRUST
85 BRENDON HILL RD                                      5289 BERKSHIRE DR                               111 JEWELL DRIVE
SCARSDALE, NY 10583                                     NORTH OLMSTED, OH 44070-3021                    LIVERPOOL, NY 13088-5419



ALFRED R WHELAN & LEONA M WHELAN TR                  ALFRED V KINKELLA & EVELYN M KINKELLA JT TEN       ALFRED VERNON FOSTER CUST ROBIN VONTELLA FOSTER
WHELAN FAMILY REVOCABLE LIVING TRUST UA 12/02/05     12202 134 STREET EAST                              U/THE FLORIDA GIFTS TO MINORS ACT
356 READY RD                                         PUYALLUP, WA 98374                                 5059 DIABLO DR
CARLETON, MI 48117-9227                                                                                 SACRAMENTO, CA 95842-3119



ALFREDA M GETSINGER TR                               ALGONQUIN REALTY CO                                ALI B ELZEIN
ALFREDA M GETSINGER REVOCABLE LIVING TRUST UA        C/O DON SNELL                                      153 ROSEMARY ST
03/23/04                                             PO BOX 740667                                      DEARBORN HEIGHTS, MI 48127-3625
8800 S 15TH ST                                       DALLAS, TX 75374-0667
FORT SMITH, AR 72908-8508


ALICE A BROBERG CUST ROLAND S BROBERG                ALICE A JORDAN TR                                  ALICE BLOOM CUST EDWARD MICHAEL BLOOM
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           JOHN A JORDAN & ALICE A JOROAN LIVING TRUST UA     U/THE N Y UNIFORM GIFTS TO MINORS ACT
W319 N657 SHAGBARK GLEN                              06/26/00                                           75-33 KESSEL STREET
DELAFIELD, WI 53018-2818                             1461 BUD AVE                                       FOREST HILLS, NY 11375-6844
                                                     YPSILANTI, MI 48198-3308


ALICE C ANDERSON CUST HEATHER M ANDERSON             ALICE C ANDERSON CUST JENNIFER G ANDERSON          ALICE CAVACIUTI CUST ALICIA CAVACIUTI
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE N J UNIFORM GIFTS TO MINORS ACT
37 MARION AVE                                        37 MARION AVE                                      45 FREEMAN ST
STONY BROOK, NY 11790-2403                           STONY BROOK, NY 11790-2403                         WOODBRIDGE, NJ 07095-3435
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                             Part 8 of 8 Pg 8 of 440
ALICE CAVACIUTI CUST FRANCIS ANTHONY CAVACIUTI      ALICE HAMILTON SCHWARTZ TR                        ALICE J SHANAHAN
U/THE N J UNIFORM GIFTS TO MINORS ACT               ALICE HAMILTON SCHWARTZ FAM TRUST UA 08/12/97     6935 STEINMEIER DR W
45 FREEMAN ST                                       3925 MIDDLETON CT                                 INDIANAPOLIS, IN 46220-3961
WOODBRIDGE, NJ 07095-3435                           CINCINNATI, OH 45220-1128



ALICE L SCHREINER                                   ALICE LEVY                                        ALICE M BERGSTROM TR
206 TEMPLE ST                                       301 174TH ST APT 2018                             ALICE M BERGSTROM REVOCABLE LIVING TRUST UA
FREDONIA, NY 14063-1056                             NORTH MIAMI BEACH, FL 33160-3238                  05/20/98
                                                                                                      7154 BLUEWATER DRIVE
                                                                                                      CLARKSTON, MI 48348-4273


ALICE M MACFARLANE & DONALD B MACFARLANE TR         ALICE MC DONALD CUST JOAN MC DONALD               ALICE P ZUMWALT & DEAN E ZUMWALT TR
ALICE MALLON MACFARLANE TRUST UA 5/13/98            U/THE PENN UNIFORM GIFTS TO MINORS ACT            ALICE P ZUMWALT LIVING TRUST UA 06/14/00
103 JASON'S WAY                                     2016 GREEN RIDGE ST                               7104 N WINDCHIME COURT
SOMERSET, KY 42503-6279                             DUNMORE, PA 18512-2221                            PEORIA, IL 61614-1187



ALICE RUTH BROWN CUST CHRISTINA MARIE BROWN         ALICE T DALY KEVIN A DALY & GRACE DALY BOREN TR   ALICE TERPOLILLO & ZOFIA SYRER & CHIRSTINE PRIVETTE TR
UNDER MISSOURI UNIFORM GIFTS TO MINORS LAW          DALY FAMILY TRUST UA 11/23/98                     31 CHURCH STREET TRUST UA 02/23/04
PO BOX 264                                          98 EVANS ST                                       306 CHURCH STREET
MAGDALENA, NM 87825-0264                            NEW HYDE PARK, NY 11040-1711                      BOONTON, NJ 07005



ALICE WEINBAUM                                      ALICE Y SCOTT                                     ALICE YANOSKO CHAMIS & CHRISTOS CONSTANTINOS CHAMIS
APT 6-D WEST                                        ATTN ALICE Y GOODING                              ALICE YANOSKO CHAMIS LIVING TRUST UA 3/02/00
303 W 66TH ST                                       PO BOX 430722                                     24534 FRAMINGHAM DR
NEW YORK, NY 10023-6305                             PONTIAC, MI 48343-0722                            WESTLAKE, OH 44145-4902



ALLAN A REDGWELL CUST MICHAEL ALLEN REDGWELL        ALLAN B WEINSTEIN & DEBORAH L WEINSTEIN JT TEN    ALLAN B WHITING
U/THE N Y UNIFORM GIFTS TO MIN ACT                  3042 BONNIE BRAE CRESCENT                         PO BOX 693
5 VELMEAD CLOSE                                     FLOSSMOOR, IL 60422-2028                          MCCALLA, AL 35111-0693
FLEET
HAMPSHIRE GU13 9LR GREAT BRITAIN


ALLAN C BUSHNELL & HEESOO K BUSHNELL TR             ALLAN E BROWN & RUTH SCOTT BROWN JT TEN           ALLAN E FERGUSON SR & NANCY A FERGUSON TR
UA 10/28/05 BUSHNELL FAMILY TRUST                   11340 142ND ST NORTH                              FERGUSON FAMILY REVOCABLE TRUST UA 04/24/02
969 REDWOOD DR                                      LARGO, FL 33774-4426                              1216 NE 3RD TER
DANVILLE, CA 94506                                                                                    CAPE CORAL, FL 33909-2651



ALLAN G SHEPPARD CUST ALLAN G SHEPPARD JR           ALLAN J BARRINGER                                 ALLAN J MEDWICK CUST LAURA ANN MEDWICK
U/THE FLORIDA GIFTS TO MINORS ACT                   BOX 111 204 S FRONT                               UNDER THE NEW JERSEY UNIF GITS TO MIN ACT
3620 LAKEVIEW BOULEVARD                             STANDISH, MI 48658-9401                           72 LINDEN STREET
DELRAY BEACH, FL 33445-5615                                                                           CARTERET, NJ 07008-2609



ALLAN LAS CUST ADAM ZACHARY LAS A MINOR UNDERTHE LAWS
                                                   ALLAN
                                                      OF GEORGIA
                                                         MCILRAITH & PHYLLIS MCILRAITH TR             ALLAN NIXON & MARION E NIXON TR
5593 176TH PL SE                                   MCILRAITH LIVING TRUST UA 1/21/97                  UA 12/17/2007 ALLAN AND MARION NIXON FAMILY
BELLEVUE, WA 98006-5926                            4517 CHIMNEY CREEK DR                              41 MATTHEWS ST
                                                   SARASOTA, FL 34235-1818                            BINGHAMTON, NY 13905



ALLAN SALMINEN                                      ALLEN B DICKSTEIN & SANDRA O DICKSTEIN TR         ALLEN BEINSTEIN CUST ROBERT M BEINSTEIN UGMA DE
702-1225 NORTHSHORE BLVD EAST                       DICKSTEIN LIVING TRUST UA 5/5/99                  26 FAIRVIEW ST
BURLINGTON ON                                       501 BARTLETT CIR                                  SIMSBURY, CT 06070-2127
L7S 1Z6 CANADA                                      HILLSBOROUGH, NC 27278
                    09-50026-mg             Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
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ALLEN CARTER GARDY CUST ALLEN CARTER GARDY JR      ALLEN D ADKINS JR CUST GERALD MARK DISPER      ALLEN F JUNG & MARGUERITE K JUNG TR
U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT     ALLEN F JUNG LOVING TRUST UA 10/27/92
PO BOX 551                                         15978 WETHERBURN RD                            BOX 521
DOYLESTOWN, PA 18901-0551                          CHESTERFIELD, MO 63017-7341                    RICHMOND, IL 60071-0521



ALLEN F JUNG & MARGUERITE K JUNG TR                ALLEN GOLDSTEIN CUST SAMUEL ISAAC GOLDSTEIN    ALLEN HON LEONG & HELEN MAY LEONG TR
LOVING TRUST 10/27/92 U-A MARGUERITE               U/THE N Y UNIFORM GIFTS TO MINORS ACT          UA 08/03/88 ALLEN HON LEONG & HELEN MAY
PO BOX 521                                         2732 W CHASE AVE                               413 GREENBRIER ROAD
RICHMOND, IL 60071-0521                            CHICAGO, IL 60645-1313                         ALAMEDA, CA 94501-6032



ALLEN HUMPHREYS                                    ALLEN J AITA CUST ANDREW J AITA                ALLEN J AITA CUST MICHAEL J AITA
837 WEINLAND STREET                                U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
NEW CARLISLE, OH 45344-2647                        1028 HAHN PLACE                                6377 OLD NATCHEZ TRACE
                                                   WEST CHICAGO, IL 60185-3852                    SANTA FE, TN 38482



ALLEN KLEIN                                        ALLEN MACGREGOR CUST CHRISTOPHER GEORGE MACGREGOR
                                                                                                  ALLEN MENDELSOHN CUST HERMAN MARTIN MENDELSOHN
3540 STONE CANYON                                  U/THE MAINE UNIFORM GIFTS TO MINORS ACT        U/THE D C UNIFORM GIFTS TO MINORS ACT
SHERMAN OAKS, CA 91403-4527                        232 WINGOOD RD                                 3310 CATHEDRAL AVE NW
                                                   WINDSOR, ME 04363-3716                         WASHINGTON, DC 20008-3411



ALLEN P STALLINGS & JEFFRY T STALLINGS TR          ALLEN PAUL COTTLER                             ALLEN ROBERT TROWBRIDGE & MARTHA JOAN TROWBRIDGE
IRREVOCABLE TR 10/10/91 U-A VERAD                  8410 153RD ST NW                               UA 10/24/2007 TROWBRIDGE FAMILY TRUST
3426 N COUNTY RD 300W                              GIG HARBOR, WA 98329                           115 GRAPEVINE LN
ROCKPORT, IN 47635-9062                                                                           GEORGETOWN, TX 78633



ALLEN T BARNUM CUST EDMUND C BARNUM                ALLEN W BELL                                   ALLENE HORTON DUERINGER TR
U/THE HAWAII UNIFORM GIFTS TO MINORS ACT           7276 108TH ST                                  REVOCABLE LIVING TRUST 08/26/91 U-A ALLENE HORTON
2188 N ROOSEVELT AVE                               FLUSHING, MI 48433-8733                        DUERINGER
ALTADENA, CA 91001-3511                                                                           600 LINDEWOOD
                                                                                                  SAINT CHARLES, MO 63301-1728


ALLISON J MC NAY CUST DENNIS A MC NAY              ALLYN J SCHINSKI                               ALMA M SMITH TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT            4354 190 SE                                    UA 06/02/92 THE HAROLD C SMITH &ALMA M SMITH FAMILY
2653 FOOTHILL BLVD                                 ISSAQUAH, WA 98027-9702                        TRUST
CALISTOGA, CA 94515-1221                                                                          4806 CHATEAU DR
                                                                                                  GODFREY, IL 62035-1602


ALMA POLLOCK SMITH & ALFRED B SMITH JR TR          ALOIS J KRININGER & KATHERINE A KRININGER TR   ALOIS SCHMITZER & DORIS E SCHMITZER TEN ENT
SHARAN LEE SMITH TERRY TR U-W ALFRED B SMITH       UA 02/02/93 THE KRININGER FAMILY TRUST         311 TRINKLEIN ST
11606 NOBLEWOOD CREST LANE                         4432-45TH AVENUE S W                           FRANKENMUTH, MI 48734-1515
HOUSTON, TX 77082-6813                             SEATTLE, WA 98116-4122



ALONZO H KELLY JR & MARILEE D KELLY TR             ALPHONSE J KOETH & ELIZABETH F KOETH TR        ALPHONSE J ZIMMERMAN & DORIS A ZIMMERMAN TR
LIV TR 03/16/87 U-A ALONZO H KELLY JR & MARILEE    THE KOETH FAMILY TRUST UA 10/09/02             UA 09/26/06 ALPHONSE J ZIMMERMAN & DORIS A
906 SUNSET RD                                      2545 WEST WALLINGS RD                          329 LINCOLN STREET
ANN ARBOR, MI 48103-2925                           BROADVIEW HEIGHTS, OH 44147-1050               FORT ATKINSON, WI 53538



ALPHONSE P ZARRELLA & CAROL S ZARRELLA TR          ALPHONSUS J DOERR & DELORES M DOERR JT TEN     ALTON E BAYARD JR USUFRUCT LINDA B MCGIVERN
UA 06/14/2007 ZARRELLA FAMILY REV LIV TRUST        9011 105TH AVE                                 & SHERIDAN B REES & ALTON E BAYARD III & KEITH C
1407 SALEM STREET                                  MECOSTA, MI 49332-9764                         BAYARD NAKED OWNERS
PALM BAY, FL 32905                                                                                9616 JEFFERSON HW
                                                                                                  NEW ORLEANS, LA 70123-2510
                     09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                                Part 8 of 8 Pg 10 of 440
ALVERA E BRISSON TERESA KEMP JOSEPH P BRISSON III      ALVERNA ROSALINE MCINTYRE COLEMAN USUFRUCT LAURA MARIE
                                                                                                         ALVINCOLEMAN
                                                                                                               B H MIRMELSTEIN
                                                                                                                       HORN JR
& CECILIA JACOBSON JT TEN                              NAKED                                             3519 MARLBORO CT
445 BAY DE NOC ST                                      OWNER                                             CHARLOTTESVILLE, VA 22901-1023
NEGAUNEE, MI 49866-1801                                1916 BERMUDA STREET
                                                       SHREVEPORT, LA 71105-3408


ALVIN B LEZELL CUST RICHARD LEZELL                     ALVIN B STEINMAN CUST SHERRY LEE STEINMAN U/THE MICHU-G-M-A
                                                                                                            ALVIN BARGE MARY E SCHRODER UW OTIS A BARGE SR FBO M
A MINOR U/THE LAWS OF THE STATE OF MICHIGAN            7808 PALENCIA WAY                                    SCHRODER
3300 PARKLAND                                          DELRAY BEACH, FL 33446-4405                          3091 VERDUN DR
WEST BLOOMFIELD, MI 48322-1828                                                                              ATLANTA, GA 30305-1937



ALVIN C MASSINGILL                                     ALVIN C SCHMIDT & DARLA J SCHMIDT TR                ALVIN D REINHARDT
200159 RIDGE DR                                        ALVIN & DARLA SCHMIDT FAM REV LIVING TRUST UA       2918 AGREE AVE
GERING, NE 69341-8525                                  12/22/00                                            FLINT, MI 48506-2438
                                                       9650 LANGAN ST
                                                       SPRING HILL, FL 34606-1044


ALVIN DECOUDREAUX TR                                   ALVIN F LOCKE & VIRGINIA G LOCKE TR                 ALVIN F SANCLEMENTE & LILIAN SANCLEMENTE TR
ALVIN DECOUDREAUX & BURNETTA DECOUDREAUX TRUST         05/04/99 ALVIN F LOCKE LIVING TRUST                 ALVIN F & LILIAN SANCLEMENTE REVOCABLE LIVING
UA 09/04/96                                            2616 NW 152ND ST                                    37562 CHARTER OAKS BLVD
379 BRUSHWOOD LN                                       EDMOND, OK 73013-8900                               CLINTON TOWNSHIP, MI 48036-2422
WINTER SPGS, FL 32708-4955


ALVIN J PHELAN & ELIZABETH R PHELAN TR                 ALVIN K TODD                                        ALVIN L CLARK
ALVIN & ELIZABETH PHELAN LIVING TRUST UA 2/25/98       22099 230TH AVE                                     3118 CAWEIN WAY
2307 BALLANTRAE                                        PARIS, MI 49338-9747                                LOUISVILLE, KY 40220-1932
COLLEYVILLE, TX 76034-5303



ALVIN L COLLISON TR UA 03/13/2007 ALVIN L COLLISON LIV REVALVIN
                                                           TRUSTM BORK & IRENE BORK TR                     ALVIN M LEVY CUST BARRY WILLIAM LEVY
110401 S 4700 RD                                          ALVIN M & IRENE BORK REVOCABLE LIVING TRUST UA   U/THE CALIF UNIFORM GIFTS TO MINORS ACT
MULDROW, OK 74948                                         08/25/98                                         802 KINGSLEY DRIVE
                                                          15341 PEBBLEPOINTE DR                            ARLINGTON HEIGHTS, IL 60004-1318
                                                          CLINTON TWP, MI 48038


ALVIN PUTTERMAN CUST MISS DEBRA S PUTTERMAN            ALVIN R SAYERS CUST ANDREA L SAYERS                 ALVIN SCHOR CUST DAVID SCHOR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                  U/THE VERMONT UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
16741 ECHO HOLLOW CIRCLE                               5 GRAPE AVE                                         24 FOX RDG
DELRAY BEACH, FL 33484-6988                            FAIR HAVEN, VT 05743-1014                           ROSLYN, NY 11576-2828



ALVIN SKOPP CUST LORI DONNA SKOPP                      ALVIN STEINMAN & ADELINE STEINMAN JT TEN            ALVIN T BLADZIK
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT           7808 PALENCIA WAY                                   PO BOX 67
110 WEST 94TH STREET APT 2B                            DELRAY BEACH, FL 33446-4405                         FILER CITY, MI 49634-0067
NEW YORK, NY 10025-7018



AMADO A ROXAS                                          AMBER HUBBARD                                       AMBROCIO S GONZALEZ
16804 121ST AVE SE                                     3961 KLEIN AVE                                      PO BOX 221361
RENTON, WA 98058                                       STOW, OH 44224-3455                                 NEWHALL, CA 91322-1361




AMBROSE R MARTIN                                       AMELIA A SHERER-GOEPPERT & GREGORY F GOEPPERT TR    AMELIA ANN HIGGINS CUST CONNIE LEA HIGGINS
012108 S MAIDSTONE AVE                                 GREGORY F & AMELIA A SHERER GOEPPERT 2001 LIV       U/THE CALIF UNIFORM GIFTS TO MINORS ACT
NORWALK, CA 90650                                      1830 NOEMI DRIVE                                    44 BAKER CT
                                                       CONCORD, CA 94519-1445                              PETALUMA, CA 94952-5520
                    09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                           Part 8 of 8 Pg 11 of 440
AMELIA B GANZ                                      AMERICAN LEGION AUXILIARY LAURENCE ROBERTS UNIT 21-DEPARTMENT
                                                                                                       AMERICO CENTOCANTI
                                                                                                                  OF        CUST MAUREEN ANN MC NAMARA
& WILLIAM J GANZ JR & ROBERT J GANZ & SALLY G      DELAWARE                                            U/THE N Y UNIFORM GIFTS TO MINORS ACT
RUSSELL JT TEN                                     705 SIXTH ST                                        6280 GARDNER ROAD
1009 ELMRIDGE AVE                                  NEWARK, DE 19711-8717                               ALTAMONT, NY 12009-5016
BALTIMORE, MD 21229-5324


AMY A OROURKE                                      AMY D START                                        AMY HEINZE
4237 120TH AVE SE                                  668 146TH AVE                                      3528 S BARRINGTON AVE
BELVIEW, WA 98006-1149                             CALEDOIA, MI 49316-9210                            LOS ANGELES, CA 90066-2830




AMY JO SOMMERS & DONALD R SOMMERS TR               AMY JONES FELDSTEIN CUST SARAH W FELDSTEIN UGMA NJ AMY LOUISE CRAFTON
AMY JO SOMMERS LIVING TRUST UA 11/22/04            4261 SE ALDER STREET                               ATTN AMY C COOK
923 MARDEC ST                                      PORTLAND, OR 97215-1623                            14277 265 TH AVE
WEST UNION, OH 45693-1534                                                                             ZIMMERMAN, MN 55398-9235



AMY M FINKELSTEIN & MICHAEL A FINKELSTEIN JT TEN   AMY S DREFFEIN                                     AMY SACKIN & STEVEN ROSS PIKELNY TR
9185 WRENWOOD LANE                                 812 S WAIOLA                                       UA 05/02/2008 BEATRICE SACKIN IRREVOCABLE TRUST
BRENTWOOD, MO 63144-1629                           LAGRANGE, IL 60525-2737                            426 BEACH 121ST ST
                                                                                                      ROCKAWAY PARK, NY 11694



ANA A MARCANTONI                                   ANA BRUNSTEIN & EDDY BRUNSTEIN JT TEN              ANA DOMINGAS GUILZER
PO BOX 192132                                      AURELIO MIRO QUESADA 260-601                       RUA DONA ELISA DE MORAES MENDES
SAN JUAN, PR 00919-2132                            SAN ISIDRO                                         1115 ALTO DE PINHEIROS
                                                   LIMA 27                                            SAO PAULO-SP-BRAZIL
                                                   PERU                                               CEP 05449-001 BRAZIL


ANASTASIA S ANDERSON DUNCAN M ANDERSON & T ROBERT ANDERSON
                                                  ANATH R KRISHNAN
                                                            TR      & LALITHA KRISHNAN TR             ANCIENT & ACCEPTED SCOTTISH RITE OF FREE MASONRY VA
CARL R SADOWSKY FBO ANASTASIA SADOWSKY            KRISHNAN LIVING TRUST UA 10/19/96                   CITY ORIENT OF MISSOURI
ANDERSON UA 03/18/66                              4208 HIGH MESA CT                                   1330 LINWOOD BLVD
8 GLEN HILL RD                                    ARLINGTON, TX 76016-4604                            KANSAS CITY, MO 64109-1935
APT 135
DANBURY, CT 06811-4985

ANDERSON PETTY                                     ANDOR WEINBERGER & VERA WEINBERGER JT TEN          ANDRE THEODORE BEAUDRY & SHIREEN H BEAUDRY TR
PO BOX 528564                                      98-51 QUEENS BLVD                                  UA 02/26/01 BEAUDRY FAMILY TRUST
CHICAGO, IL 60652-8564                             REGO PARK, NY 11374-4362                           PO BOX 570063
                                                                                                      LAS VEGAS, NV 89157-0063



ANDREA B KELLEHER CUST KEVIN KELLEHER              ANDREA L CLIFFORD & WILLIAM S CLIFFORD TR          ANDREA M BEKKEVAR & JAMES R BEKKEVAR JT TEN
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT         UA 10/03/2007 CLIFFORD FAMILY TRUST                273406 HWY 101
43239 KIMBERLY ANNE CT                             7 MISTY LANE                                       SEQUIM, WA 98382-9616
ASHBURN, VA 20147-3124                             EAST WALPOLE, MA 02032



ANDREA M BEKKEVAR CUST AMANDA BEKKEVAR UTMA WA     ANDREA M BEKKEVAR CUST MEGAN S BEKKEVAR UTMA WA    ANDREA REINER
273406 HWY 101                                     273406 HWY 101                                     6 HORIZON RD
SEQUIM, WA 98382-9616                              SEQUIM, WA 98382-9616                              APT 1601
                                                                                                      FT LEE, NJ 07024-6615



ANDREA SEBEST & CHARLES DEBROSKY TR                ANDREINA CHARLENE GRIGSBY                          ANDREW A LESKO
UA 11/18/1996 CHARLES A DEBROSKY 1996 LIVING       936 CARPENTER ROAD                                 PO BOX 741
172 CAMELOT LN                                     OAKLEY, CA 94561-3812                              WHITING, IN 46394-0741
AURORA, OH 44202
                    09-50026-mg          Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                              Part 8 of 8 Pg 12 of 440
ANDREW A ZYWICKI                                      ANDREW B YOUNG ANDRE J LEROUX & JACQUES J LEROUX TRANDREW BRIAN DUBERSTEIN
3850 MEINRAD                                          JACQUES J LEROUX UA 7/17/45                        735 POTOMAC RIVER RD
WATERFORD, MI 48329                                   423 DOVELAKE RD                                    MCLEAN, VA 22102-1430
                                                      GLADWYNE, PA 19035-1603



ANDREW D ALEXANDER                                    ANDREW DEBRECENY & FLORENCE DEBRECENY TR               ANDREW F BANYAS & NANCY A BANYAS TR
PO BOX 431367                                         DEBRECENY LIVING TRUST UA 09/21/99                     ANDREW FRANK BANYAS & NANCY A BANYAS REVOCABLE
PONTIAC, MI 48343-1367                                7032 NORTHCOTE AVE                                     2200 STATE ST
                                                      HAMMOND, IN 46324-2239                                 DAVISON, MI 48423



ANDREW FONG                                           ANDREW G ISRAEL M D CUST SARAH L ISRAEL                ANDREW G LEVINE CUST KAYLEY M LEVINE UTMA IL
2415-113 STREET                                       UNDER CA UNIF TRFR TO MINORS ACT                       146 S EMERALD AVE
EDMONTON AB                                           4280 ARGUELLO STREET                                   MUNDELEIN, IL 60060
T6J 4Y7 CANADA                                        SAN DIEGO, CA 92103-1506



ANDREW H DAVIS IRVING J HUMPHREY JR & CHARLES A HAMBLY
                                                    ANDREW
                                                       JR TR J ANTISHIN & JANICE F ANTISHIN TR               ANDREW J BROWN & ELIZABETH J BROWN TR
UW CHARLES A HAMBLY                                 ANTISHIN LIVING TRUST UA 2/21/00                         ANDREW JACKSON & ELIZABETH J BROWN FAMILY TRUST
123 DYER STREET                                     2730 CHESTERFIELD DRIVE                                  UA 12/09/98
PROVIDENCE, RI 02903-3907                           TROY, MI 48083-2618                                      2770 LOFTYVIEW DR
                                                                                                             TORRANCE, CA 90505-7226


ANDREW J BURKE                                        ANDREW J DADAGIAN TR                                   ANDREW J FRIDWALL
PO BOX 372479                                         ANDREW J DADAGIAN M D INC PROFIT SHARING UA 01/01/89   PO BOX 802233
SATELLITE BEACH, FL 32937-0479                        106 COVE CIRCLE                                        SANTA CLARITA, CA 91380-2233
                                                      MARION, MA 02738-2026



ANDREW J KOWALEWSKI & ADELLE M KOWALEWSKI TR          ANDREW JOHN DUMANIAN                                   ANDREW KOMMER JR & ADRIANA KOMMER TR
ANDREW J KOWALEWSKI & ADELLE M KOWALEWSKI             & AUDREY JEAN DUMANIAN & LEON ROBERT DUMANIAN JT       ANDREW & ADRIANA KOMMER REV LIVING TRUST UA
130 GUALBERT AVE                                      TEN                                                    12/05/01
BUFFALO, NY 14211-2723                                25 BENTLEY LANE                                        6741 EASTERN AVE SE
                                                      CHELMSFORD, MA 01824-2021                              GRAND RAPIDS, MI 49508-7049


ANDREW M BLOSCHAK                                     ANDREW M DUDISH & ANGELINE L DUDISH TR                 ANDREW MARTIN LEINOFF
574-576 JORALEMON ST                                  ANDREW M DUDISH & ANGELINE L DUDISH REV TRUST UA       5455 KERWOOD OAKS DR
BELLEVILLE, NJ 07109                                  04/24/98                                               CORAL GABLES, FL 33156-2155
                                                      560 E NORWEGIAN ST
                                                      POTTSVILLE, PA 17901-3743


ANDREW O LEIDLEIN                                     ANDREW R WELSH                                         ANDREW ROTHSTEIN & FAY ROTHSTEIN JT TEN
47067 STONY BROOK DR                                  P O BOX 141281                                         44-15 43RD AVE
MACOMB, MI 48044-2849                                 COLUMBUS, OH 43214                                     SUNNYSIDE, NY 11104-2264




ANDREW S WINEBRENNER CUST JANE WINEBRENNER            ANDREW STEIN                                           ANDREW STEVENSON
U/THE PA UNIFORM GIFTS TO MINORS ACT                  N9081 OAKWOOD LN                                       PO BOX 401085
3089 CHESTNUT HILL RD                                 MUKWONAGO, WI 53149-1815                               REDFORD, MI 48240-9085
EMMAUS, PA 18049-4433



ANDREW T K SHEN & JULIA SHEN HSUEH YEN TR             ANDREW V ANTHONY & SHARON M ANTHONY TR                 ANDREW W HORNE CUST DAVID A HORNE
ANDREW T K SHEN & JULIA SHEN HSUEH YEN TRUST UA       ANTHONY LIVING TRUST UA 11/06/00                       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
03/14/97                                              112 LINCOLN AVE                                        565 EMERALD BAY
4417 E KINGS POINT CIRCLE                             ENDICOTT, NY 13760-5134                                LAGUNA BEACH, CA 92651-1257
ATLANTA, GA 30338-6613
                    09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                             Part 8 of 8 Pg 13 of 440
ANDY PADA TR                                         ANGEL L MARCANTONI & ANA A MARCANTONI TEN COM   ANGELA BUONTEMPO
FIRST SECOND MORTGAGE CO OF NJ INC PROFIT SHARING    PO BOX 192132                                   18 HEINRICH ST
TRUST UA 12/31/86                                    SAN JUAN, PR 00919-2132                         CRANFORD, NJ 07016-3112
50 SPRING ST
CRESSKILL, NJ 07626-2156


ANGELA BUONTEMPO CUST CLARA BUONTEMPO                ANGELA C DESINO CUST FRANK A DESINO             ANGELA E HAY
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT      ATTN ANGELA E HEINIGER
18 HEINRICH ST                                       PO BOX 976                                      11932 HOLLYHOCK DR
CRANFORD, NJ 07016-3112                              PENFIELD, NY 14526-0976                         FISHERS, IN 46038-8147



ANGELA E MEYER TR                                    ANGELA EPISCOPO                                 ANGELA GOVAN
UA 04/04/2008 THE ANGELA E MEYER REVOCABLE           3137 RAYMOND AVENUE                             14507 123RD AV
LIVINGTRUST                                          BROOKFILED, IL 60513-1245                       JAMAICA, NY 11436-1619
1441 ALAMEDA DE LAS PULG
SAN MATEO, CA 94402


ANGELA K COLBERT                                     ANGELA L BALL                                   ANGELA MADELEINE MC KENNA
PO BOX 703964                                        PO BOX 430081                                   48 DARTMOUTH SQUARE EAST
DALLAS, TX 75370-3964                                PONTIAC, MI 48343-0081                          LEESON PARK DUBLIN
                                                                                                     6 IRELAND



ANGELA P DAVIS                                       ANGELA R LESPERANCE                             ANGELA S PHILLIPS CUST GLORIA JEAN PHILLIPS
PO BOX 182398                                        PO BOX 531268                                   U/THE CALIF UNIFORM GIFTS TO MINORS ACT
ARLINGTON, TX 76096-2398                             LIVONIA, MI 48153-1268                          3170 ROSSINI PL
                                                                                                     TOPANGA, CA 90290-4464



ANGELA W KINSELLA TR                                 ANGELE B SMITH & JERRY P SMITH TR               ANGELI MITAL
ANGELA W KINSELLA REV LIVING TRUST UA 07/18/95       UA 07/27/2007 ANGELE B SMITH & JERRY P SMITH    8377 INDIRANAGAR
ANGELA W KINSELLA                                    35960 KELLY RD                                  LUCKNOW
801 S SKINER APT 7B                                  CLINTON TWP, MI 48035                           226016 INDIA
ST LOUIS, MO 63105


ANGELINA POLIZZI PERSONAL REPRESENTATIVE FOR THE ESTATE
                                                    ANGELINA
                                                        OF JOSEPH
                                                             RAMPULLA CUST LAWRENCE RAMPULLA         ANGELINE KETOLA
POLIZZI                                             A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y    3 STEINHART CIR
15769 HOWARD DR                                     160 ONTARIO AVE                                  GRAND RAPIDS, MN 55744-4554
MACOMB, MI 48042-5716                               STATEN ISLAND, NY 10301-4255



ANGELINE L SANDERS                                   ANGELO DILEO                                    ANGELO E FORNATORO & DIANE L FORNATORO TR
PO BOX 470724                                        54 MEINZER ST                                   ANGELO E & DIANE L FORNATORO LIV TRUST UA 08/12/00
CHARLOTTE, NC 28247-0724                             AVENEL, NJ 07001-1721                           28210 WEXFORD DR
                                                                                                     WARREN, MI 48092-4167



ANGELO L AMBROSIO & EDELTRAUD M AMBROSIO TR          ANGELO MAESO CUST VINCENT R ELIE JR             ANGELO V PANOURGIAS & BETTY PANOURGIAS TR
UA 06/03/93 THE AMBROSIO FAMILY TRUST                A MINOR U/THE LAWS OF THE STATE OF MICHIGAN     PANOURGIAS LIVING TRUST UA 04/03/96
5362 TRINETTE AVE                                    8415 INGRAM DRIVE                               13118 HICKORY MILL CT
GARDEN GROVE, CA 92845-1911                          WESTLAND, MI 48185-1584                         SAINT LOUIS, MO 63146-1812



ANIL MEHROTRA GM INDIA LIMITED                       ANIS S HOLLOW CUST RICHARD S HOLLOW             ANITA C COLLINS
HALOL 389350 PANCHMAHALS                             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT      3270 100TH ST
GUJARAT                                              2332 LINWOOD AVE                                BYRON CENTER, MI 49315-9707
INDIA                                                ROYAL OAK, MI 48073-3871
                    09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                               Part 8 of 8 Pg 14 of 440
ANITA G CREWS                                          ANITA GOLDBERGER CUST ANDREW GOLDBERGER           ANITA GREINER CUST JAMES EVERETT GREINER UNDER THE
23825 112TH ST                                         A MINOR U/THE LAWS OF THE STATE OF MICHIGAN       922 BARTON WOODS ROAD
TREVOR, WI 53179-9578                                  5935 SHATTUCK RD APT 32                           ATLANTA, GA 30307-1308
                                                       SAGINAW, MI 48603-6909



ANITA P ALLEN TR                                       ANITA R ROTHSTEIN                                 ANITA S GREINER
UA 04/18/94 THE RALPH E ALLEN & ANITA P ALLEN LIVING   811 SOCIETY HILL                                  922 BARTON WOODS RD NE
TRUST                                                  CHERRY HILL, NJ 08003                             ATLANTA, GA 30307-1308
2100 WINDY STREET
CLARKDALE, AZ 86324-3715


ANITA T POLLOCK & GEORGE M POLLOCK TR                  ANN ALLISTER EGGERS KING&HENRY L EGGERS&HENRY V EGGERS
                                                                                                         ANN BTR
                                                                                                               FINKLESTEIN CUST MINDEE BRITT HAMELBURG UGMA N
ANITA T POLLICK LIVING TRUST UA 01/11/01               ANN ALLISTER EGGERS KING TR 11/26/84              2010 RANDOLPH ROAD
110 OAK ST                                             C/O THE VICKERS GROUP                             WILMINGTON, NC 28403-5325
WOOD DALE, IL 60191-2036                               1515 W 190TH ST SUITE 540
                                                       GARDENA, CA 90248-4927


ANN BYAKOWSKI & EUGENE G HARRIS TR                     ANN C PFLEEGOR & MARY C HERZENBERG TR             ANN CATHERINE BIGBEE
ANN BYAKOWSKIREVOCABLE TRUST UA 11/02/99               RALPH S CLINGER TRUST UA 01/15/03                 1872 138TH STREET
4657 PEAKVIEW COURT                                    PO BOX 430                                        MARENGO, IA 52301-8703
HAMILTON, OH 45011-7212                                PICTURE ROCKS, PA 17762-0430



ANN E WOLF CUST MARJORIE WOLF                          ANN H TOBIN                                       ANN J DILLON & ELIZABETH LYVER JT TEN
U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT        PO BOX 667017                                     901 MONROE AVE
500 E 77TH ST APT 1018                                 POMPANO BEACH, FL 33066                           WHITING, NJ 08759-2420
NEW YORK, NY 10162-0004



ANN J KNECHTLE & JOHN C KNECHTLE & DAVID M KNECHTLE TR
                                                     ANN LEWIS                                           ANN LUCAS MC CARTHY CUST FRANCIS ROBERT MC CARTHY
UW F CLIFFE JOHNSTON                                 PO BOX 400576                                       UNDER P L 55 CHAPTER 139 OF THE LAWS OF NEW JERSEY
639 SMITH RIDGE RD                                   LAS VEGAS, NV 89140-0576                            32 BONNIE WAY
NEW CANAAN, CT 06840-3224                                                                                ALLANDALE, NJ 07401-1102



ANN M CABANILLAS                                       ANN M HOFFMAN & MARY MARGARET HOFFMAN TR          ANN MARIE GLENNY CUST WILLIAM ROBB GLENNY UTMA WA
PO BOX 2265 2265                                       HOFFMAN LIVING TRUST UA 01/30/97                  2440 169 AVE NE
PORTSMOUTH, VA 23702-0265                              907 FOUR HILLS RD SE                              BELLEVUE, WA 98008-2342
                                                       ALBUQUERQUE, NM 87123-4337



ANN R JOHNSON                                          ANN R TAYLOR                                      ANN REYES-SCHROEDER
6413 157TH ST                                          PO BOX 520251                                     7056 ARCHIBALD ST STE 102-443
OAK FOREST, IL 60452-2603                              LONGWOOD, FL 32752-0251                           CORONA, CA 92880




ANN STEINMETZ                                          ANN STEINMETZ CUST AARON B LERNER UGMA NY         ANNA B O'NEAL & PATRICIA L O'NEAL TR
C/O O'CONNELL                                          2607 E 11TH ST                                    ANNA B O'NEAL REVOCABLE TRUST UA 3/09/05
3216 CHELLINGTON                                       BROOKLYN, NY 11235-5115                           4808 WALNUT SQ BLVD #6
JOHNSBURG, IL 60050-9506                                                                                 FLINT, MI 48532-2428



ANNA BERMAN CUST MARCIA BERMAN                         ANNA DE LEONARDIS TERESA DE LEONARDIS ADELE DE LEONARDIS
                                                                                                          ANNA E EHRENBERG CUST BARBARA EHRENBERG
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             & ANTHONY DE LEONARDIS JT TEN                      U/THE PA UNIFORM GIFTS TO MINORS ACT
80 WHITE HEAD RD                                       2249 WEST TOUHY AVENUE                             237 S 18TH ST APT 3-B
BRIDGEWATER, NJ 08807-3591                             CHICAGO, IL 60645-3429                             PHILADELPHIA, PA 19103-6112
                     09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                             Part 8 of 8 Pg 15 of 440
ANNA E HOBSON TR                                     ANNA EINBINDER TR ANNA EINBINDER TRUST UA 11/05/95   ANNA F MANN CUST MARGARET MARY MANN
CARL R HOBSON & ANNA E HOBSON REVOCABLE LIVING       3005 S LEISURE WORLD BLVD                            A MINOR U/ART 8-A OF THE PERS PROP LAW OF NY
TRUST UA 09/18/03                                    APT 212                                              C/O MARGARET HOLT
414 W MAIN ST                                        SILVER SPRING, MD 20906                              80-13 62 STREET
SPRUCE, MI 48762-9763                                                                                     GLENDALE, NY 11385-6812


ANNA F STANTON & GENEVIEVE E HESS TR                 ANNA HOFFMAN CUST SHAEN W BEGLEITER                  ANNA I KLEIN
RAE R HESS IRREVOCABLE TRUST UA 04/29/85             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           BOX 2422-W
7271 PLEASANTS VALLEY RD                             PO BOX 1298                                          WEIRTON, WV 26062-1622
VACAVILLE, CA 95688-9713                             NEW YORK, NY 10023-1298



ANNA LOUISE BAUGHMAN & KENNEDY W BAUGHMAN SR TR      ANNA M CHEN & THOMAS H CHEN TR                       ANNA M COOPER
BAUGHMAN LIVING TRUST UA 06/29/06                    TSUNG & ANNA M CHEN MARITAL TRUST UA 8/26/94         10936 178TH COURT NE
4230 SHERIDAN DR                                     540 VISTAMONT AVE                                    REDMOND, WA 98052
ROYAL OAK, MI 48073-6230                             BERKELEY, CA 94708-1225



ANNA M PATTERSON                                     ANNA MARIE JOHNSON CUST CORRINE ANN JOHNSON          ANNA MARIE JOHNSON CUST JOELLE MARIE JOHNSON
209-127 BELMONT DR                                   U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT
LONDON ON                                            5005 17TH ROAD                                       PO BOX 315
N6J 4J7 CANADA                                       ESCARABA, MI 49829-9428                              RAPID RIVER, MI 49878-0315



ANNA MARIE KRAMER CUST CORINNE ANN JOHNSON           ANNA MARIE KRAMER CUST JOELLE MARIE JOHNSON          ANNA MAY HOLDSTEIN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           U/THE MICH UNIFORM GIFTS TO MINORS ACT               508 LAMBS RD
5005 17TH ROAD                                       PO BOX 315                                           PITMAN, NJ 08071-2016
ESCARABA, MI 49829-9428                              RAPID RIVER, MI 49878-0315



ANNA PARIS CUST EDWARD JOSEPH PARIS                  ANNA ROSA REYES ZAMORA                               ANNABELLE DAVISON
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           PO BOX 360546                                        & JOANNE DAVISON EVANS & JANICE MARILYN TANDRUP JT
1977 DEVONSHIRE DR                                   SAN JUAN, PR 00936-0546                              TEN
WIXOM, MI 48393-4411                                                                                      2101 STONEY BROOK COURT
                                                                                                          FLINT, MI 48507-6037


ANNALEE S KENNEDY TR                                 ANNE ALJIAN TRINKLEIN                                ANNE D PALMER CUST CAROL LYNNE PALMER
UA 10/28/93 THE ANNALEE S KENNEDY REVOCABLE LIVING   30 ELM PLACE                                         U/THE R I UNIFORM GIFTS TO MINORS ACT
TRUST                                                NEW CANAAN, CT 06840                                 65 WOODBRIDGE DR
1605 LAKEVIEW DR                                                                                          EAST GREENWICH, RI 02818-1325
SYLVAN LAKE, MI 48320-1644


ANNE E SCHWEINBERG TR ANNE E SCHWEINBERG TRUST UA 08/24/98
                                                   ANNE FALK CUST SERAFINA FALK                           ANNE G SBROCCHI & RICHARD D SBROCCHI TR
133 N GILBERT AVE                                  A MINOR U/ART 8-A OF THE PERSONAL PROPERTY LAW OF      UA 02/01/92 ANNE G & RICHARD D SBROCCHI TRUST
LA GRANGE, IL 60525-1714                           NY                                                     5223 SOUTH OAKS COURT
                                                   113 SPRING ST                                          TOLEDO, OH 43623-1091
                                                   NEW YORK, NY 10012-5210


ANNE GOLDSTEIN CUST STEWART MARC GOLDSTEIN           ANNE H TOMASZEWSKI CUST CATHERINE M TOMASZEWSKI      ANNE H TOMASZEWSKI CUST HARRIET C TOMASZEWSKI
U/THE TENN UNIFORM GIFTS TO MINORS ACT               U/THE CAL UNIFORM GIFTS TO MINORS ACT                U/THE CAL UNIFORM GIFTS TO MINORS ACT
155 BELLE FOREST CIRCLE                              1190 SESAME DR                                       1190 SESAME DR
NASHVILLE, TN 37221-2103                             SUNNYVALE, CA 94087-2420                             SUNNYVALE, CA 94087-2420



ANNE K FELDSTEIN                                     ANNE K FRANCESCHINA                                  ANNE K KLEIN
4261 SE ALDER STREET                                 22416 236TH AV SE                                    2502 WILSON AVE
PORTLAND, OR 97215-1623                              MAPLE VALLEY, WA 98038-8433                          CLAYMONT, DE 19703-1871
                    09-50026-mg         Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                          Part 8 of 8 Pg 16 of 440
ANNE L HEINE                                      ANNE M HEIN                                               ANNE M KLEIN & JOY ANNE THON JT TEN
209 S GILPIN ST                                   1804 PILLONY DR                                           2500 BRETON WOODS DR SE
DENVER, CO 80209-2612                             VIENNA, VA 22182-4400                                     UNIT 2029
                                                                                                            GRAND RAPIDS, MI 49512-9128



ANNE M MARQUIS                                    ANNE M MURPHY                                             ANNE M SCHNEIDER
& SUZANNE STOMBOLY & JOHN R STOMBOLY JR &         LIMA ESTATES APT F213 411 N MIDDLE                        2 LEONIE HILL ROAD
MICHELLE L COOKSON JT TEN                         TOWN RD                                                   #2206 LEONIE COMELOTEL
31 TYNG ST REAR                                   MEDIA, PA 19063-4435                                      239192 SINGAPORE
NEWBURYPORT, MA 01950-2129


ANNE MARIE GLENNY                                 ANNE MARY KNAPP GESSNER TR                                ANNE NICHOLS RAMONEDA CUST JEANNE MARIE RAMONEDA
2440 169TH NE AV                                  THE ANNE MARY KNAPP GESSNER TRUST UA 11/14/94             A MINOR U/THE LA GIFTS TO MINORS ACT
BELLEVUE, WA 98008-2342                           5475 RAVEN PARKWAY                                        8100 TINSLEY PL
                                                  MONROE, MI 48161-3765                                     CULPEPER, VA 22701-9769



ANNE NOWAK & PATRICIA ANNE CHAPMAN TR             ANNE R KLINE & EDWARD F KLINE & JAMES C KLINE TR          ANNE REIN
UA 06/17/92 ANNE NOWAK LOVING TRUST               UA 11/25/92 ANNE R KLINE                                  2245 MOUNT MEEKER CT
1212 OLYMPUS DR                                   13 ROMANOFF CT                                            LOVELAND, CO 80537-7239
NAPERVILLE, IL 60540-7916                         PARKVILLE, MD 21234-8017



ANNE ROSENWALD EPSTEIN & AARON MERLE EPSTEIN TR   ANNE STANLEY CHATHAM TR                                   ANNE STEIN CUST SUZANA STEIN UGMA CA
A M EPSTEIN TRUST UA 11/09/05                     ANNE STANLEY CHATHAM 1983 REVOCABLE TRUST 09/02/83        1305 HOLLOW COVE
4945 GENTRY AVE                                   ATTN ANNE S CHATHAM                                       NARBERTH, PA 19072-1159
N HOLLYWOOD, CA 91607-3712                        42 GOMEZ ROAD JUPITER ISLAND
                                                  HOBE SOUND, FL 33455-2219


ANNE VANEETA HAMILTON TR                          ANNELIESE MARVAR TR                                       ANNEMARIE RAUSCHENDORFER TR
UW ELIZABETH O BROWN F-B-O ELIZABETH LANEVE       THE ANNELIESE MARVAR REVOCABLE LIVING TRUST UA            THE RAUSCHENDORFER LIVING TRUST UA 03/01/95
HAMILTON                                          1/23/98                                                   2789 HILLENDALE
3800 FAIRFAX                                      7019 COBBLESTONE LANE                                     ROCHESTER HILLS, MI 48309-1924
UNIT 404                                          MENTOR, OH 44060-6674
ARLINGTON, VA 22203-1787

ANNETA MORRIS WESTON                              ANNETTE B ANDERSON                                        ANNETTE F NADLER TR
PO BOX 260244                                     & HAROLD LEE ANDERSON & JAMES G ANDERSON & DALE R         ANNETTE F NADLER REVOCABLE LIVING TRUST UA 07/22/05
PLANO, TX 75026-0244                              ANDERSON &                                                2411 GLEN EAGLES RD
                                                  3829 ROSEDORPH                                            LAKE OSWEGO, OR 97034-2765
                                                  FLINT, MI 48506-3129


ANNETTE LOOP                                      ANNETTE M NUSS                                            ANNETTE ROTH CUST SHARON ELIZABETH ROTH
2628 359TH AVE SE                                 2817 248TH ST                                             A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y
FALL CITY, WA 98024-9506                          SIDNEY, IA 51652-6056                                     15 PHEASANT RIDGE ROAD
                                                                                                            OSSINING, NY 10562-2544



ANNETTE RUBINSTEIN CUST REED D RUBINSTEIN         ANNETTE SCHEID                                            ANNICE FAYE MAUPIN & DUANE L MAUPIN SR TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT            44 STEINER RD                                             MAUPIN FAMILY TRUST UA 03/03/04
6924 SADALWOOD                                    PO BOX 420                                                6007 BLENDON CHASE DR
BLOOMFIELD, MI 48301-3025                         TAFTON, PA 18464-0420                                     WESTERVILLE, OH 43081-8663



ANNIE RUTH LESTER HILL                            ANNIE V FINCH & DONALD I FINCH TR                         ANTANAS G RAZMA TR
PO BOX 341091                                     DONALD I FINCH & ANNIE V FINCH LIVING TRUST UA 08/03/01   UA 12/18/90 ELENA RAZMA REVOCABLE TRUSTF-B-O PETER
TAMPA, FL 33694-1091                              4543 CRAIGMONT DR                                         F RAZMA
                                                  MEMPHIS, TN 38128-6520                                    140 CIRCLE RIDGE DR
                                                                                                            BURR RIDGE, IL 60521-8379
                   09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                           Part 8 of 8 Pg 17 of 440
ANTHONY A MAKOWSKI & MICHELE MINOLETTI TR          ANTHONY BAXLEY                                        ANTHONY C ESCALLE & MARY H ESCALLE TR
JEAN MAKOWSKI IRREV TRUST UA 05/26/99              40216 264TH AVE SE                                    ANTHONY C & MARY H ESCALLE REVOCABLE TRUST UA
13298 AZURE DR                                     ENUMCLAW, WA 98022-8360                               9/05/96
SHELBY TWP, MI 48315-3519                                                                                20 MIDHILL DR
                                                                                                         MILL VALLEY, CA 94941-1420


ANTHONY E GRIFFITH                                 ANTHONY ELEFANTE & MARIA E ELEFANTE TR                ANTHONY F INSANA CUST DOMINICK A INSANA
3940 BOEING DR                                     ANTHONY ELEFANTE LIVING TRUST UA 07/26/00             A MINOR PURSTO SECS 1339 /26 INCLUSIVE OF THE
SAGINAW, MI 48604-1830                             165 PHILLIPS LN                                       3675 BROADWAY APT E3
                                                   HEWLETT NECK, NY 11598-1416                           FORT MYERS, FL 33901-8028



ANTHONY GRINGERI CUST JOHN MICHAEL GRINGERI        ANTHONY H KARLINCHAK & ANNA KARLINCHAK TR             ANTHONY J CITINO
U/THE N Y UNIFORM GIFTS TO MINORS ACT              ANTHONY H & ANNA KARLINCHAK LIVING TRUST U//A         7007 SNOW RD
7 MAXWELL AVE                                      09/16/03                                              PARMA, OH 44129-3246
GENEVA, NY 14456-1516                              2701 MILBURN ST
                                                   MCKEESPORT, PA 15132-5928


ANTHONY J FRISOLI                                  ANTHONY J KALB CUST LAURA KAY KALB UGMA IA            ANTHONY J NATOLI & GENA A NATOLI TR
PO BOX 670018                                      7340 165TH ST E                                       ANTHONY J NATOLI & GENA A NATOLI TRUST UA 12/24/96
NORTHFIELD, OH 44067-0018                          PRIOR LAKE, MN 55372-9316                             7517 ELMLAND DR
                                                                                                         POLAND, OH 44514-2624



ANTHONY J NOTARO & PHYLLIS M NOTARO & LYNETTE M DENICOLA
                                                    ANTHONY
                                                         TR J PRETTITORE CUST JAMES PAUL PRETTITORE      ANTHONY J TRUSEWICZ
ANTHONY J NOTARO REVOCABLE TRUSTUA 05/23/96         UNDER THE NEW JERSEY U-G-M-A                         & CYNTHIA J MACKEY & PAMELA J STOKLOSA & VALERIE J
9 WAYNE RD                                          465 FRANKLIN AVE                                     TRUSEWICZ JT TEN
WALLINGFORD, CT 06492-3032                          WYCKOFF, NJ 07481                                    849 VINEWOOD AVE
                                                                                                         WYANDOTTE, MI 48192-5008


ANTHONY KARDOES CUST NATHAN KARDOES UTMA IA        ANTHONY M LAURETANO                                   ANTHONY M WATERMAN & ETHEL M WATERMAN TR
1909 375TH ST                                      7755 160TH LANE NORTH                                 WATERMAN FAMILY TRUST UA 07/18/06
TITONKA, IA 50480-7094                             PALM BEACH GARDENS, FL 33418-7447                     8 MADISON STREET
                                                                                                         CONCORD, NH 03301-2239



ANTHONY MILIUSIS & AGNES MILIUSIS TR               ANTHONY MILIUSIS TR                                   ANTHONY MORGILLO CUST DANIEL LA FRENIERE
UA 09/23/91 ANTHONY MILIUSUS & AGNES               ANTHONY & AGNES MILIUSIS REVOCABLE TRUST UA 9/23/91   U/THE MASS UNIFORM GIFTS TO MINORS ACT
6205 ELK LAKE RD                                   6205 ELK LAKE RD                                      17 1ST ST
WILLIAMSBURG, MI 49690-9733                        WILLIAMSBURG, MI 49690-9733                           WORBURN, MA 01801-4205



ANTHONY MOSS & M SUE DUBERSTEIN JT TEN             ANTHONY P CASCIANO & MEREDITH A BROWNELL TR           ANTHONY P CROSKEY CUST ANNETTE LOUISE CROSKEY
8633 AGUSTA STREET                                 UA 09/11/1991 ANTHONY P CASCIANO & DOROTHY H          U/THE MICH UNIFORM GIFTS TO MINORS ACT
HPILADELPHIA, PA 19152-1132                        8553 EAST VIA PALACIO                                 1999 WOODLAKE DR
                                                   SCOTTSDALE, AZ 85258                                  ORANGE PARK, FL 32073-7227



ANTHONY P CROSKEY CUST PATRICK LEWIS CROSKEY       ANTHONY P HOFFMAN & MARY E HOFFMAN TR                 ANTHONY P MAURO CUST ELIZABETH MAURO
U/THE MICH UNIFORM GIFTS TO MINORS ACT             ANTHONY P HOFFMAN & MARY E HOFFMAN REV LVG TRUS       U/THE CONN UNIFORM GIFTS TO MINORS ACT
10651 WILLOW BROOK RD                              UA10/22/98                                            PO BOX 119
DAYTON, OH 45458                                   4166 GRAYTON                                          WATERTOWN, MA 02471-0119
                                                   WATERFORD, MI 48328-3425


ANTHONY PRINCE & MARY PRINCE TR                    ANTHONY R DE FIORE                                    ANTHONY R SKWIERS & SHARON B SKWIERS TR
ANTHONY & MARY PRINCE TRUST UA 02/17/95            2872 WAREING DRIVE                                    ANTHONY R SKWIERS & SHARON B SKWIERS REVOCABLE
5750 80TH ST N APT B-305                           LAKE ORION, MI 48360-1656                             3330 GIRARD
ST PETERSBURG, FL 33709-6819                                                                             WARREN, MI 48092-1933
                   09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                              Part 8 of 8 Pg 18 of 440
ANTHONY SANTORO & MRS JEAN SANTORO JT TEN             ANTHONY SCALISI                                      ANTHONY V PRIGATANO & JANICE R PRIGATANO TR
5A ARDMORE STREET                                     PO BOX 822155                                        UA 07/22/09 PRIGATANO FAMILY LIVING TRUST
WHITING, NJ 08759-2047                                VANCOUVER, WA 98682-0048                             24 MONROE COURT
                                                                                                           MERIDEN, CT 06451



ANTHONY W QUILL & LOIS M QUILL TR                     ANTOINETTE CIOLINO & SAL CIOLINO TR                  ANTOINETTE DI DOMENICO CUST JOSEPH DI DOMENICO JR
UA 04/25/94 ANTHONY W QUILL & LOIS M QUILL TRUST      ANTOINETTE CIOLINO REV TRUST UA UA 11/03/00          U/THE N Y UNIFORM GIFTS TO MINORS ACT
158 MADRID STREET                                     5719 LOST BROOK CT                                   PO BOX 190
SAN FRANCISCO, CA 94112-2009                          SAINT LOUIS, MO 63129-2927                           LAKE CARMEL, NY 10512-0190



ANTOINETTE L VERNOLA TR                               ANTON J WEINAR                                       ANTON MEURER
UA 10/12/94 THOMAS J VERNOLA & ANTOINETTE L VERNOLA   5 IONA LANE                                          AM WLKENBRUCH 3
JOINT TRUST                                           SMITHTOWN, NY 11787-4812                             TAUNUSSTEIN GERMAN
519 ALANEDA AVE                                                                                            GERMANY
LADY LAKE, FL 32159


ANTON MEURER                                          ANTON RIZZARDI CUST ROBERTA ADELE RIZZARDI           ANTONIO BRANCO CUST ANTONIO BRANCO JR
AM WOLKENBRUCH 3                                      U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE CONN UNIFORM GIFTS TO MINORS ACT
D 65232 TAUNUSSTEIN                                   172 BELLA RD                                         74 OYSTER ROAD
GERMANY                                               SANDUSKY, MI 48471-9404                              FAIRFIELD, CT 06824-6928



ANTONIO C C BRAGA                                     ANTONIO MOSCA CUST CHRISTOPHER P MOSCA               ANTONIO RODRIGUEZ & ANTHONY RODRIGUEZ TR
AV GENERAL MOTORS 1959                                U/THE MASS UNIFORM GIFTS TO MINORS ACT               RODRIGUEZ LIVING TRUST UA 09/23/92
SAO JOSE' DOS CAMPOS/ SP-BRAZIL                       55 CUSHNOC DR                                        PO BOX 131687
CEP 12 201-970                                        AUGUSTA, ME 04330-5927                               STATEN ISLAND, NY 10313-1687
CAIXA POSTAL 92 BRAZIL


ANTONIO S SIQUEIRA                                    ANTONIO ULLOA                                        APRIL MINA BISIAKOWSKI
RUA PEIXOTO GOMIDE 1572-APT 61                        1541 STEIBER AVE                                     & SUZANNE E BISIAKOWSKI & AIMEE J BISIAKOWSKI JT TEN
SAO PAULO BRAZIL                                      WHITING, IN 46394-1936                               260 LEOPARD RD
01409-002 BRAZIL                                                                                           BERWYN, PA 19312



ARAM BEZDEGIAN & SURAPI BEZDEGIAN TR                  ARAVIND S MUZUMDAR & ANJALI A MUZUMDAR TR            ARCADIA SECURITIES LLC
UA 02/14/86 DAVID EDWARD BEZDEGIAN                    ARAVIND & ANJALI MUZUMDAR LIVING TRUST UA 11/20/02   PRINCIPAL TRADING ACCOUNT
34 BURNCOAT TER                                       1425 CONVENTRY LANE                                  720 FIFTH AVE 10TH FLOOR
WORCESTER, MA 01605-1302                              MUNSTER, IN 46321                                    NEW YORK, NY 10019



ARCHIBALD MCNAUGHTON & ETHEL MCNAUGHTON TR            ARCHIE BROODO                                        ARCHIE G AUSTIN III
ARCHIBALD & ETHEL MCNAUGHTON TRUST UA 3/12/89         PO BOX 795713                                        PO BOX 190198
16033 WEST SILVER BREEZE DR                           DALLAS, TX 75379-5713                                BURTON, MI 48519-0198
SURPRISE, AZ 85374-5038



ARCHIE W MOORE & BONNIE D THOMPSON TR                 ARDEN J MILLER & MILDRED F MILLER TR                 ARDEN R COON & LEOLA M COON TR
ARCHIE W MOORE LIVING TRUST UA 04/17/96               MILLER FAMILY REVOCABLE LIVING TRUST UA 01/23/98     ARDEN R COON & LEOLA M COON TRUST UA 04/22/99
7745 WOODLAND DR                                      2681 HETTLE ROAD                                     213 JEROME AV
HONOR, MI 49640-9494                                  MONROEVILLE, OH 44847-9565                           ISLAMORADA, FL 33036-3734



ARIE J VAN WINGERDEN & HENRIETTA VAN WINGERDEN TR     ARIEL J SOARES                                       ARIEL J SOARES
UA 05/07/93 VAN WINGERDEN LIVING TRUST                R COMENDADOR                                         RUA COMENDADOR ELIAS ZARZUR N 2085
725 BALDWIN ST #3053                                  ELIAS ZARZUR 2085                                    ALTO DA BOA VISTA-S PAULO
JENISON, MI 49428-7945                                SAO PAULO BRASIL0                                    04736-003-SAO PAULO
                                                      4736003 BRAZIL                                       BRASIL BRAZIL
                   09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                              Part 8 of 8 Pg 19 of 440
ARJAN AMAR CUST ARVN P AMAR                           ARLAN H STEIN                                        ARLEEN E HALAJCSIK TOD CHERYL MCFADDEN
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT          4176 ATKINS RD                                       & JOHN S HALAJCSIK & BRUCE HALAJCSIK
140 CARGMONT DRIVE                                    PORT HURON, MI 48060-1633                            317 LONGLEAF RD
WALNUT CREEK, CA 94598-2807                                                                                SUMMERVILLE, SC 29483-2072



ARLEEN NEUSTEIN                                       ARLEN G LEINAAR                                      ARLENE AXELROD CUST JILL IRMA AXELROD
10 LEDGEWOOD LANE                                     11802 FLORIA RD                                      A MINOR U/ART 8-A OF THE PERS PROP LAW OF NY
BRIARCLIFF MANOR, NY 10510-1941                       DELTON, MI 49046-9587                                110 HANNA WY
                                                                                                           MENLO PARK, CA 94025-3582



ARLENE CAG & LYNN SEMROCH & PAUL CAG TR               ARLENE E BROOKS                                      ARLENE E SPIES
STANLEY & ARLENE CAG SURVIVOR'S TRUST UA 06/19/98     & MARJORIE ANNE BROOKS JT TEN TOD KAREN VARGO        421-101 CRANSTON CT
9393 NIVER                                            SUBJECT TO STA TOD RULES                             LONG BEACH, CA 90803-6385
ALLEN PARK, MI 48101-1541                             PO BOX 495
                                                      LEVELLAND, TX 79336-0495


ARLENE F HARTMAN TR                                   ARLENE FEINMEHL TR UA 10/24/1995 ARLENE FEINMEHL TRUSTARLENE GILLETTE CUST LEE GILLETTE
ARLENE F HARTMAN REVOCABLE LIVING TRUST UA 12/26/03   980 NORTHWOODS DRIVE                                  A MINOR UNDER THE CALIF GIFTS OF SEC TO MINORS ACT
12424 FLEET CT                                        DEERFIELD, IL 60015                                   1420 MOUNTAIN VIEW RD
STERLING HEIGHTS, MI 48312-3139                                                                             SANTA BARBARA, CA 93109-1569



ARLENE J KLEIN                                        ARLENE M NAAS & MARIANNE L NAAS TR                   ARLENE M NAAS & MARIANNE L NAAS TR
2001 WILDWOOD DR                                      ARLENE M NAAS LIVING TRUST UA 08/28/01               FREDERICK A NAAS LIVING TRUST UA 08/28/01
WILMINGTON, DE 19805-1060                             4032 YORBA LINDA DR                                  4032 YORBA LINDA DR
                                                      ROYAL OAK, MI 48073-6458                             ROYAL OAK, MI 48073-6458



ARLENE M WEINGARTZ                                    ARLENE R WELLIK & ROGER WELLIK & JAMES WELLIK TR     ARLENE RHEIN EX UW LEONARD RHEIN
3982 KADEN E DR                                       ARLENE R WELLIK REVOCABLE TRUST UA 11/12/96          877 JAY DR
JACKSONVILLE, FL 32277-1542                           PO BOX 65 - 150 FOX AVE                              NORTH BELLMORE, NY 11710-1037
                                                      WODEN, IA 50484-0065



ARLENE S GUTOWSKI                                     ARLENE S POSTUPAK CUST MARIA NATALIE POSTULAK        ARLIE E WELLS
& ROBERT S GUTOWSKI & LAWRENCE GUTOWSKI &             U/THE PA UNIFORM GIFTS TO MINORS ACT                 280 WEINLAND AVE
EDWARD GUTOWSKI JT TEN                                660 S CRESCENT AVE                                   NEW CARLISLE, OH 45344-2929
4530 TERNES                                           HAMBURG, PA 19526-1429
DEARBORN, MI 48126-3055


ARLINE A LAVERY & THOMAS C LAVERY TR                  ARLINE HORTER SPOENLEIN TR ARLINE HORTER SPOENLEIN TRUST
                                                                                                          ARMANDUA P02/09/96
                                                                                                                      LETOURNEAU & PAULINE M LETOURNEAU TR
REVOCABLE TRUST 09/09/92 U-A ARLINE A LAVERY          114 CORTLAND RD                                     LETOURNEAU TRUST UA 10/29/04
13002 IMPERIAL PARK PL                                CHERRY HILL, NJ 08034-3321                          24772 EMBAJADORES LANE
NAPLES, FL 34110-1077                                                                                     MISSION VIEJO, CA 92691-5219



ARMIL H GRODNICK CUST TODD MERRILL GRODNICK           ARNEL HALPER U/GDNSHP OF HARVEY HALPER               ARNOLD BOHLANDER & GAIL BOHLANDER TR
U/THE MINN UNIFORM GIFTS TO MINORS ACT                & CLERK SURROGATES COURT KINGS CO NY                 THE ARNOLD BOHLANDER & GAIL BOHLANDER FAM
5235 KESTER AVE 210                                   363 S WELLWOOD AVE                                   12950 HILLCREST DR
VAN NUYS, CA 91411-4076                               LINDENHURST, NY 11757-4906                           CHINO, CA 91710-2933



ARNOLD C NIEMEYER CUST BRUCE KENNETH NIEMEYER         ARNOLD DE LAAT CUST JERRY A DE LAAT                  ARNOLD E ANDREWS & MARY M ANDREWS INITIAL TR
U/THE CAL UNIFORM GIFTS TO MINORS ACT                 A MINOR U/THE LAWS OF THE STATE OF MICHIGAN          UA 04/21/92 THE ARNOLD E ANDREWS& MARY M ANDREWS
1 OAK RD                                              7450 SANDY HILL DR                                   REV LIV TR
SANTA CRUZ, CA 95060-1424                             JENISON, MI 49428-7774                               53985 SUTHERLAND LN
                                                                                                           SHELBY TWP, MI 48316-1217
                   09-50026-mg                Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                             Part 8 of 8 Pg 20 of 440
ARNOLD E BERGSTEN                                    ARNOLD E BERGSTEN & KARLA K BERGSTEN JT TEN            ARNOLD E KAMKE & RUTH M KAMKE TR UA KAMKE 1992 FAMIL
18425 182ND AVE NW                                   18425 182TH ST NW                                      15455-340 GLENOAKS BLVD
BIG LAKE, MN 55309                                   BIG LAKE, MN 55309                                     SYLMAR, CA 91342-7989




ARNOLD E ZIMMER CUST MISS SHELLY ZIMMER              ARNOLD F BAUER & JOAN E BAUER TR                       ARNOLD H WILHELM & THERESA R WILHELM TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           ARNOLD F & JOAN E BAUER REV LIVING TRUST UA 06/10/02   WILHELM FAMILY REVOCABLE LIVING TRUST UA 10/25/00
122 SAUSALITO DR                                     8820 W SCENIC LAKE DR                                  51 E LEAGUE ST
E AMHERST, NY 14051-1469                             LAINGSBURG, MI 48848-8789                              NORWALK, OH 44857-1752



ARNOLD J KOENIG & LUCY A KOENIG TR                   ARNOLD KIMMEL CUST ELLEN SUSAN KIMMEL                  ARNOLD KIMMEL CUST ELLEN SUSAN KIMMEL
ARNOLD J KOENIG & LUCY A KOENIG FAMILY TRUST UA      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT
05/04/04                                             11 COBBLER LN                                          11 COBBLER LN
3317 LINDA MESA WAY                                  MARLTON, NJ 08053-1317                                 MARLTON, NJ 08053-1317
NAPA, CA 94558-4232


ARNOLD M RADAKER & KETURAH L RADAKER TR              ARNOLD N KUPERSTEIN                                    ARNOLD P BORSETTI
ARNOLD M RADAKER & KETURAH L RADAKER REVOCABLE       3250 JONES COURT N W                                   1428 FILENE CT
TR UA                                                WASHINGTON, DC 20007-2754                              VIENNA, VA 22182-1608
5225 LAUREL VALLEY AVE
SARASOTA, FL 34234-3034


ARNOLD P JESSEN & BARBARA A JESSEN TR                ARNOLD R BERMAN & HELEN G BERMAN TR                    ARNOLD RENCIS & RITA SIMON JT TEN
ARNOLD P JESSEN & BARBARA A JESSEN REVOCABLE         THE BERMAN FAMILY TRUST UA 02/28/89                    661 143RD
TRUST UA 12/14/1993                                  64 OAK TREE LANE                                       CALEDONIA, MI 49316
7533 GRAND RIVER RD                                  IRVINE, CA 92612-2232
APT 138
BRIGHTON, MI 48114-7387

ARNOLD SMITH & TRACEY L SMITH TR                     ARON FELLENBAUM & HELENE FELLENBAUM TR                 ARON KATZ CUST MARTIN JONATHAN KATZ
GERALDINE E SMITH REV LIV TRUST UA 05/05/97          THE FELLENBAUM TRUST UA 10/02/91                       U/THE N Y UNIFORM GIFTS TO MINORS ACT
532 ANDERSON RD                                      1032 ALVIRA ST                                         1035 PEARL ST 5TH FLOOR
ALBEMARLE, NC 28001-8109                             LOS ANGELES, CA 90035-2627                             BOULDER, CO 80302-5130



ARON SCHULMAN                                        ARRIETTA HASTINGS CUST FRANK CURTIS HASTINGS           ARS & CO
C/O CHASE FEDERAL BANK                               U/THE WIS UNIFORM GIFTS TO MINORS ACT                  C/O MELLON SECURITY TRUST CO
6625 MIAMI LAKES DR                                  3636 LAKE MENDOTA DRIVE                                FOR ACS UPCH AC
MIAMI BEACH, FL 33140                                MADISON, WI 53705-1475                                 120 BROADWAY FL 13 TELLER WINDOW
                                                                                                            NEW YORK, NY 10271


ARTHUR A DASCZYNSKI & STELLA C DASCZYNSKI TR         ARTHUR A HILL                                          ARTHUR A SERCK CUST STEPHAN A SERCK
DASCZYNSKI FAMILY TRUST UA 04/07/04                  PMB #326                                               U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
2434 N BELSAY RD                                     PO BOX 917729                                          1541 OAKWOOD PLACE
BURTON, MI 48509-1330                                LONGWOOD, FL 32791-7729                                DEERFIELD, IL 60015-2013



ARTHUR AVERY CUST TERRANCE A AVERY                   ARTHUR B REINWALD                                      ARTHUR C STEPHENS & BRIGITTE STEPHENS TR
U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT          PO BOX 3199                                            ARTHUR C STEPHENS & BRIGITTE STEPHENS TRUST UA
407 WESTMINSTER ST                                   HONOLULU, HI 96801-3199                                10539 CAMROSE CIRCLE
MARINE CITY, MI 48039                                                                                       TRAVERSE CITY, MI 49684



ARTHUR C WEINERT                                     ARTHUR D LETTS CUST KAREN GAY LETTS                    ARTHUR D QUEST & JOSEPHINE QUEST TR
4043 RUSHMORE PL                                     A MINOR U/THE LAWS OF THE STATE OF MICHIGAN            ARTHUR D QUEST & JOSEPHINE QUESTUA 03/16/87
BEAVERCREEK, OH 45430-1937                           1344 LAKE VALLEY                                       331 WILMA CIRCLE
                                                     FENTON, MI 48430-1240                                  RIVIERA BEACH, FL 33404-4617
                   09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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ARTHUR DE VALK TR                                 ARTHUR DONALD MEAD & BERNICE E MEAD TR               ARTHUR DONOFRIO & NOEL M DONOFRIO TR
UA 09/09/93 THE ARTHUR DE VALK REVOCABLE LIVING   ARTHUR D & BERNICE E MEAD LIVING TRUST UA 7/8/02     UA 11/24/93 THE DONOFRIO FAMILY TRUST
TRUST                                             7825 HARRIS LOOP                                     19217 RONALD AVE
325 E LOCUST ST                                   FORT MEADE, MD 20755-1121                            TORRANCE, CA 90503-1232
WATSEKA, IL 60970-1753


ARTHUR E BOSETTI CUST ARTHUR E BOSETTI JR         ARTHUR E ROCHE                                       ARTHUR E SCHMIDT & DORIS J SCHMIDT TR
U/THE PA UNIFORM GIFTS TO MINORS ACT              2 GERSTEIN DRIVE                                     ARTHUR E & DORIS J SCHMIDT LIVING TRUST UA 09/26/94
1876 MORINGLINE DRIVE                             CROTON-ON-HUDSON, NY 10520-2303                      PO BOX 146
VERO BEACH, FL 32963                                                                                   MORTON, NY 14508-0146



ARTHUR E VAN SCIVER                               ARTHUR ENGELHARDT TR 02/22/02 A ENGELHARDT TRUST BARBARA
                                                                                                      ARTHURENGELHARDT
                                                                                                              ESSNER CUST HOWARD ESSNER
& MARILYN M VAN SCIVER CUST ARTHUR LAWRENCE VAN   TR 02/22/02 B ENGELHARDT TRUST TEN COM              A MINOR PURS TO SECS 1339 /26 INCLUSIVE OF THE
SCIVER U/THE CONN                                 3373 POPLAR ST                                      REVISED CODE OF OHIO
1580 POST RD                                      YORKTOWN HEIGHTS, NY 10598-2623                     2000 FOX TRACE TRAIL
DARIEN, CT 06820-5900                                                                                 CUYAHOGA FALLS, OH 44223-3738


ARTHUR ESSNER CUST ROBERT ESSNER                  ARTHUR F BIERLEIN                                    ARTHUR F GLASIER JR TR
A MINOR PURS TO SECS 1339 /26 INCLUSIVE OF THE    2265 SHATTUCK RD                                     ARTHUR & LUCILLE GLASIER 1998 DECEDENTS TRUST UA
REVISED CODE OF OHIO                              SAGINAW, MI 48603-3335                               09/23/03
2 VAN BEUREN RD                                                                                        1601 GLENVIEW # 64 E
MORRISTOWN, NJ 07960-7032                                                                              SEAL BEACH, CA 90740-4175


ARTHUR F TAYLOR CUST ELLEN MARIE TAYLOR           ARTHUR H BOWERS & PRUDENCE E BOWERS TR               ARTHUR H FEHRMAN & ELIZABETH M FEHRMAN TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT            UA 07/28/93 THE BOWERS REVOCABLE TRUST               FEHRMAN FAMILY TRUST UA 06/02/06
158 SOUTH ST                                      1015 NE 3RD ST                                       456 LASALLE DR
UPTON, MA 01568-1447                              MARION, WI 54950-9599                                SAMONAUK, IL 60552-9504



ARTHUR H GREGORY & BERTHA JEAN GREGORY TR         ARTHUR H MCDANIEL TOD LAURA D MCDANIEL               ARTHUR H R MASSE & ESTELLE C MASSE TR
UA 06/10/93 ARTHUR H GREGORY & BERTHA JEAN        PO BOX 320956                                        ARTHUR H R MASSE & ESTELLE C MASSE REVOCABLE
7067 DRIFTWOOD CIRCLE                             COCOA BEACH, FL 32932-0956                           BOX 507
DAVISON, MI 48423-9525                                                                                 WOLFEBORO FLS, NH 03896



ARTHUR J HNIZDIL & ELEANOR J HNIZDIL TR           ARTHUR J HOLBEIN                                     ARTHUR J KASPERSKI & CLARA KASPERSKI TR
A J HNIZDIL LIVING TRUST 11/12/99                 PO BOX 7577                                          ARTHUR J KASPERSKI LIVING TRUST UA 06/13/95
8076 PARKWOOD DR                                  SPANISH FORT, AL 36577-7577                          3738 SOUTH 57TH CRT
FENTON, MI 48430-9319                                                                                  CICERO, IL 60804-4237



ARTHUR J OTT                                      ARTHUR J SCHAEFER & SHIRLEY A SCHAEFER TR            ARTHUR J WUENNECKE & ALMA V WUENNECKE TR
PO BOX 181481                                     UA 04/01/93 THE ARTHUR & SHIRLEYSCHAEFER             UA 07/11/85 ARTHUR J WUENNECKE &ALMA V WUENNECKE
CLEVELAND, OH 44118-7481                          3648 REAVIS BARRACKS RD                              TR
                                                  ST LOUIS, MO 63125-2441                              4850 PARK MANOR E APT 4314
                                                                                                       SHELBY TOWNSHIP, MI 48316-4909


ARTHUR JOSEPH SCHREINER                           ARTHUR L ANDERSON                                    ARTHUR L BROUGHTON & M JANET BROUGHTON TR
3071 COX RD                                       7056 TRINKLEIN ROAD                                  UA 03/28/89 ARTHUR BROUGHTON & JANET BROUGHTON
BELGRADE, MT 59714-8024                           SAGINAW, MI 48609-5353                               TRUST
                                                                                                       5163 WILD ROSE WAY
                                                                                                       TALLAHASSEE, FL 32312-7554


ARTHUR L KAUFMAN CUST SUSAN LORI KAUFMAN          ARTHUR LELAND EASTMAN & JUANITA WALRATH EASTMAN TR ARTHUR LUKENS & MARGARET LUKENS TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT             UA 10/01/93 EASTMAN FAMILY TRUST                   ARTHUR & MARGARET LUKENS REVOCABLE LIV TRUST UA
5805 SW 118TH STREET                              2817 BAYVIEW DR                                    09/02/99
MIAMI, FL 33156-5750                              MANHATTAN BEACH, CA 90266-2009                     SPINAL CORD INJ UTB VET MED CTR
                                                                                                     HAMPTON, VA 23667
                   09-50026-mg            Doc 7123-50            Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                                Part 8 of 8 Pg 22 of 440
ARTHUR M RICHARDS JR & LILLIE M RICHARDS TR             ARTHUR M VILES CUST ARTHUR MICHAEL VILES              ARTHUR M VILES CUST JOHN RODNEY VILES
ARTHUR M RICHARDS & LILLIE M RICHARDS TRUST UA          U/THE MO UNIFORM GIFTS TO MINORS ACT                  U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT
8/13/96                                                 PO BOX 192                                            417 WEST 23RD ST
29700 SHACKETT AVE                                      JACKSONVILLE, IL 62651-0192                           BALTIMORE, MD 21211-3206
MADISON HEIGHTS, MI 48071-4476


ARTHUR MARSHALL HALBROOK                                ARTHUR MCCALL                                         ARTHUR MONTGOMERY HENDRIX JR & LOUISE HENDRIX FORR
& WESLEY LEE HALBROOK & ALICE HALBROOK MIDDLETON        PO BOX 210093                                         UW OF ARTHUR M HENDRIX
TEN COM                                                 SOUTH EUCLID, OH 44121-7093                           1724 HABERSHAM DRIVE
2434 DAWSONS CREEK LANE                                                                                       GAINESVILLE, GA 30501-1930
BATON ROUGE, LA 70808


ARTHUR P KUHN & ALBERTA ANN KUHN TR                     ARTHUR P SWANSON & MARJORIE R SWANSON TR              ARTHUR PAUL MARSH
ARTHUR P KUHN LIVING TRUST UA 09/28/00                  SWANSON FAMILY TRUST UA 08/11/06                      PO BOX 864318
1330 NORTHCREST RD                                      400 SUNSET POINT                                      PLANO, TX 75086-4318
LANSING, MI 48906-1203                                  BOULDER CITY, NV 89005-1411



ARTHUR POTYK CUST ALAN POTYK                            ARTHUR R DIERCKS & MARY ELLEN DIERCKS TR              ARTHUR R KENYON CUST JEFFREY E KENYON
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT            ARTHUR R DIERCKS REV TRUST UA 04/28/03                U/THE MASS UNIFORM GIFTS TO MINORS ACT
869 KNOLLWOOD TERRACE                                   2108 6TH ST S                                         25 YAMASKA RD
WESTFIELD, NJ 07090-3459                                MOORHEAD, MN 56560-4152                               SPRINGFIELD, MA 01118-2354



ARTHUR R LEES                                           ARTHUR R PAYZANT USUF SUZANNE WALKER PAYZANT & PATRICIA
                                                                                                          ARTHURMAYRPAYZANT
                                                                                                                     WHITE & JOAN M WHITE TR
#403-1248 HUNTER RD                                     MINORS NAKED OWNERS SUB TO THE USUF OF ARTHUR R   ARTHUR R WHITE LIVING TRUST UA 08/06/96
DELTA BC                                                PAYZANT                                           3801 MADISON
V4M 1Y8 CANADA                                          500 SPANISH FORT BLVD                             BEARBORN, MI 48124-3309
                                                        APT 245
                                                        SPANISH FORT, AL 36527

ARTHUR RONALD TOOMAN CUST CRAIG LEE TOOMAN              ARTHUR RUBIN & LILIANE J RUBIN TR                     ARTHUR S DAHMS & JUDITH C DAHMS JT TEN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT              UA 12/08/93 ARTHUR AND LILIANE J RUBIN FAMILY TRUST   PO BOX 801270
258 DEAN ST                                             1425 TROTWOOD AVE                                     SANTA CLARITA, CA 91380-1270
BROOKLYN, NY 11217-1806                                 SAN PEDRO, CA 90732-3942



ARTHUR SHEPPARD CUST GLENN ALAN SHEPPARD                ARTHUR STANLEY ULANSKI                                ARTHUR STERN JR CUST JONATHAN STERN
UNDER THE FLORIDA GIFTS TO MINORS ACT                   & ELVA ULANSKI & MARY CATHERINE A THOMPSON JT TEN     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
21228 HARBOR WAY #252                                   8489 MAPLEVIEW DR                                     6 DONELLAN RD
MIAMI, FL 33180-3516                                    DAVISON, MI 48423-7806                                SCARSDALE, NY 10583-2008



ARTHUR V HAZLITT JR                                     ARTHUR W ENGELHARD & ERIC A ENGELHARD TR              ARTHUR W GRAYSON CUST ELIZABETH GRAYSON
& JACQUELINE A HAZLITT & JOHN G HAZLITT EX EST ANNE A   UA 02/10/2004 ARTHUR W ENGELHARD REVOCABLE TRUST      U/THE OHIO UNIFORM GIFTS TO MINORS ACT
HAZLITT                                                 5306 7TH AVE DR W                                     6715 STONE MILL RD
35 PLYMOUTH RD                                          BRADENTON, FL 34209                                   KNOXVILLE, TN 37919-7430
MANHASSET, NY 11030


ARTHUR W LANKFORD CUST ARTHUR W LANKFORD 3RD            ARTHUR W LANKFORD CUST CHARLES B LANKFORD             ARTHUR W LANKFORD JR CUST ARTHUR W LANKFORD 3RD
U/THE MD UNIFORM GIFTS TO MINORS ACT                    U/THE MD UNIFORM GIFTS TO MINORS ACT                  U/THE MD UNIFORM GIFTS TO MINORS ACT
925 S SCHUMAKER DR                                      33235 COSTEN RD                                       925 S SCHUMAKER DR
SALISBURY, MD 21804-8722                                POCOMOKE CITY, MD 21851-3909                          SALISBURY, MD 21804-8722



ARTHUR W LANKFORD JR CUST CHARLES B LANKFORD            ARTHUR W MEINZER & MARGARET MEINZER JT TEN            ARTHUR WHITMAN & BETTY J WHITMAN TR
U/THE MD UNIFORM GIFTS TO MINORS ACT                    328 LONGACRES LN                                      UA 08/07/90 ARTHUR WHITMAN & BETTY WHITMAN
33235 COSTEN RD                                         PALATINE, IL 60067-7721                               476 PRIMROSE LN
POCOMOKE CITY, MD 21851-3909                                                                                  FLUSHING, MI 48433-2610
                   09-50026-mg               Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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ARTHUR X JOSEPH & DOROTHY I JOSEPH TR                  ASAMOT COMPANY                                    ASH M HAWK CUST JAMES P HAWK
ARTHUR X & DOROTHY I JOSEPH REV LIV TRUST UA 6/27/00   PO BOX 570897                                     U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
259 LATCH DR                                           HOUSTON, TX 77257-0897                            2033 BERRY ROBERTS DR
SAN ANTONIO, TX 78213-3913                                                                               SUN CITY CTR, FL 33573-6143



ASH M HAWK CUST MISS CYNTHIA C HAWK                    ASHLEIGH EILEEN MORRISON                          ASHLEY D CLEMMONS & EILEEN ROSE CLEMMONS TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT                 PO BOX 421614                                     ASHLEY D CLEMMONS & EILEEN ROSE CLEMMONS TRUST
2033 BERRY ROBERTS DRIVE                               SAN FRANSICO, CA 94142-1614                       UA 10/18/95
SUN CITY CENTER, FL 33573-6143                                                                           4580 PALMER AVE
                                                                                                         JACKSONVILLE, FL 32210-2040


ATILANO M PERAL & GLADYS S PERAL TR                    AUDREY A BATTEN & CHARLIE R BATTEN TR             AUDREY H HILLSLEY & RICHARD H HILLSLEY TR
ATILANO M PERAL REVOCABLE TRUST UA 9/13/99             BATTEN 1981 LIVING TRUST UA 10/26/81              AUDREY H HILLSLEY REVOCABLE TRUSTUA 07/31/03
174 BRAELOCK DRIVE                                     8809 SMOKEY DR                                    3200 BAKER CIR #I208
OCOEE, FL 34761-4618                                   LAS VEGAS, NV 89134-8422                          ADAMSTOWN, MD 21710-9659



AUDREY H LEVY CUST ALAN RICHARD LEVY                   AUDREY L HUTTER & GEORGE J HUTTER TR              AUDREY L MIZICKO
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             UNDER DECLARATION OF TRUST 11/28/90               PO BOX 383053
235 S DREXEL AVE                                       110 E MANGROVE BAY WAY OFC                        BIRMINGHAM, AL 35238-3053
COLUMBUS, OH 43209-1740                                JUPITER, FL 33477-6462



AUDREY M REYNOLDS                                      AUDREY RASIN CUST JAY RASIN                       AUGUST ANEMA & BONNIE B POTTER TR
& CASS W REYNOLDS & RICK D REYNOLDS & MICHELLE L       A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J   UA 04/11/2008 ANEMA/POTTER FAMILY TRUST
BODMER JT TEN                                          71 MIDWWOOD ST                                    8600 HASTINGS LN
580 E BORLAND RD                                       BROOKLYN, NY 11225-5003                           AUBURN, CA 95602
IMLAY CITY, MI 48444-9755


AUGUST E NICKEL & EVELYN M NICKEL TR                   AUGUST J SABADELL & MERLE K SABADELL TR           AUGUST M KUBACKI & DOLORES M KUBACKI TR
UA 09/25/89 THE AUGUST E NICKEL & EVELYN M             REVOCABLE TRUST UA 07/23/84 AUGUST J SABADELL     KUBACKI FAMILY TRUST UA 07/10/03
BOX 1615                                               781 AMOLAC DRIVE                                  14255 HOUGHTON
NOVATO, CA 94948-1615                                  SAINT LOUIS, MO 63141-6001                        LIVONIA, MI 48154-4912



AUGUSTA G STEINHORST                                   AUGUSTINE J LACOVEY & CAROL C LACOVEY TR          AUGUSTINE L GALLEGOS
600 ELLICOTT CREEK ROAD                                LACOVEY FAMILY TRUST UA 06/14/05                  13424 6100 ROAD
TONAWANDA, NY 14150-4302                               1662 SUNSET RIDGE DR                              MONTROSE, CO 81401-8067
                                                       THE VILLAGES, FL 32162-2230



AUGUSTO FRANCHI CUST MARK J FREEMAN                    AURELIUS KING                                     AURTHUR HATCHER
A MINOR UNDER THE LAWS OF THE STATE OF MICHIGAN        114 30 175 ST                                     PO BOX 531196
931 S KENSINGTON                                       JAMAICA, NY 11434-1324                            CINCINNATI, OH 45253-1196
FLINT, MI 48503-5311



AVA SHAUGHNESSY CUST MARTIN WILLIAM SHAUGHNESSY        AVROHOM MOSHE GRENSTEIN                           AVROM S FISCHER
U/THE MICH UNIFORM GIFTS TO MINORS ACT                 1636 S BEDFORD ST                                 & TOBA CHREIN & FRANCES FISCHER EX UW SARAH D
55619 MONROE DRIVE                                     LOS ANGELES, CA 90035-4489                        SCHACHTER FISCHER
SHELBY TWP, MI 48316-1138                                                                                786 E 19TH ST
                                                                                                         BROOKLYN, NY 11230-1808


AWBRAZENDA BYRD & ERNEST W BYRD JR JT TEN              B DAVID BISSET CUST JAMES ARTHUR BISSET           B DAVID BISSET CUST KAREN IRENE BISSET
PO BOX 241593                                          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
MONTGOMERY, AL 36124-1593                              370 HUFF HERITAGE LN                              370 HUFF HERITAGE LN
                                                       CHRISTIANSBRG, VA 24073-3923                      CHRISTIANSBRG, VA 24073-3923
                    09-50026-mg          Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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B F BRUNHOUSE & R STEWART BRUNHOUSE JR TR             B HOMER BUCK CUST MISS CAROL E BUCK                B LYN HAYDEN & CHADWICK V JAY TR
UA 06/09/82 WITH ALFRED MINGIONEFBO R STEWART         U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT         UA 06/27/08 PEGGE JAY REVOCABLE LIVING TRUST
BRUNHOUSE III                                         2231 BRIGHTMOOR CT                                 PO BOX 146
2700 S CLINTON AVE % A & A INC                        RICHMOND, VA 23238-3205                            SHAWNEE, CO 80475
SOUTH PLAFIELD, NJ 07080-1428


B RAYMOND SAYER CUST PHILIP R SAYER                   BABARA FEINER CUST ELAINE C THOMAS UGMA CA         BALAZS VOLGYI & JOAN VOLGYI & CAROLYN TRACY TR
A MINOR PURS TO SECTIONS 1339 /26 INCL REV CODE OF    9033 RIVES AVE                                     BALAZS VOLGYI TRUST UA 10/12/96
OHIO                                                  DOWNEY, CA 90240-2656                              12635 SHERY LN
8905 CHAPELSQUARE LANE                                                                                   SOUTHGATE, MI 48195-2382
CINCINNATI, OH 45249-1773


BARBARA A ARTHER CUST ROBERT GEORGE ARTHER            BARBARA A DORR TR                                  BARBARA A ERNST
U/THE COLO UNIFORM GIFTS TO MINORS ACT                UA 06/10/1991 ANDREW & ESTELLA POTSIC REVOCABLE    12209 REINHARDT
8103 SAGAMORE ROAD                                    TRUST                                              LEAWOOD, KS 66209-2111
LEAWOOD, KS 66206-1253                                22399 W CAMBRIDGE DR
                                                      KILDEER, IL 60047


BARBARA A FEINDEL                                     BARBARA A FERN                                     BARBARA A FILEGER
15 DONATA DR                                          PO BOX 120912                                      6987 RINGE RD
STREETSVILLE ON                                       ARLINGTON, TX 76012-0912                           CORTLAND, OH 44410-9681
L5M 1T2 CANADA



BARBARA A LOCK TR                                     BARBARA A MILLINGTON & RONALD E MILLINGTON TR      BARBARA A ROWE TR
UA 06/24/91 THE BARBARA A LOCK REVOCABLE LIVING       BARBARA A MILLINGTON LIVING TRUST 09/24/99         UA 01/12/2009 BARBARA ANNE ROWE EXEMPT LIFETIME
TRUST                                                 239 AZALEA CT                                      TRUST
8866 DAWN CIRCLE DRIVE                                BRANDON, MS 39047                                  6226 ELMGROVE RD
TRAVERSE CITY, MI 49686-1504                                                                             SPRING, TX 77389


BARBARA A WEINBERGER                                  BARBARA A WHELAN & MARY FRANCES WHELAN KROON & JUDITH
                                                                                                        BARBARA
                                                                                                            ANNE ALEXANDER
                                                                                                                 WHELAN     CUST CAROL ALEXANDER
181 HIGHLAND AVE                                      MARTIN & BARBARA JOSEPHINE WHELAN JT TEN          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
ROWAYTON, CT 06853-1109                               51 CAPT CHASE RD                                  2101 BURGUNDY DR
                                                      S YARMOUTH, MA 02664-1734                         WEST BLOOMFIELD, MI 48033



BARBARA ANN BROWN                                     BARBARA ANN MASON CUST MARK W MASON                BARBARA ANN ZUCHELSKI CUST LISA ANN ZUCHELSKI
PO BOX 130912                                         UNDER THE FLORIDAGIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT
BIG BEAR LAKE, CA 92315-8979                          2725 NE 28TH ST                                    34484 MARINA CT
                                                      FT LAUDERDALE, FL 33306-1727                       WESTLAND, MI 48185-1490



BARBARA B COLLINS JEFFREY C COLLINS PAUL C COLLINS & PEGGY
                                                      BARBARA
                                                            L SHULHA
                                                                B PETERSEN
                                                                     TR    & ROBIN V PETERSEN TR         BARBARA BEASLEY CUST PHILIP NEIL BEASLEY UGMA MI
UW ORELL T COLLINS TR                                 PETERSEN FAM TRUST UA 06/12/91                     3021 168TH PL NE
1420 BIG VALLEY DR                                    25292 VIA DE ANZA                                  BELLEVUE, WA 98008-2033
COLORADO SPRINGS, CO 80919-1019                       LAGUNA NIGUEL, CA 92677-1928



BARBARA BIGGARD SMITH CUST ALLISON ANDREA SMITH       BARBARA C BILLINGSLEY                              BARBARA C FEINSTEIN & GILBERT J FEINSTEIN TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 PO BOX 915265                                      UA 05/31/91 BARBARA C FEINSTEIN
11 LENAPE TRL                                         LONGWOOD, FL 32791-5265                            4482 HIGHLAND PARK
CHATHAM, NJ 07928-1812                                                                                   SARASOTA, FL 34235-2343



BARBARA C MC CULLOUGH CUST LAWRENCE T MC CULLOUGHBARBARA C PIKE                                          BARBARA D BENJAMIN CUST EDWARD ELLIOTT BENJAMIN
U/THE CALIF UNIFORM GIFTS TO MINORS ACT          10657 650TH AVE                                         U/THE MICH UNIFORM GIFTS TO MINORS ACT
P O BOX 655                                      MC CALLSBURG, IA 50154-8019                             29781 DEER RUN
TIBURON, CA 94920                                                                                        FARMINGTN HLS, MI 48331
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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BARBARA D LEINER & ARTHUR E LEINER & MARGARET A LEINER
                                                     BARBARA
                                                       JT TEN D WEAVER                                 BARBARA DEGROOTE BIRGE' TR
9234 S 53RD AVE                                      29072 115TH CIRCLE N W                            BARBARA DEGROOTE BIRGE' LIVING TRUST UA 01/27/94
OAK LAWN, IL 60453-1687                              PRINCETON, MN 55371                               6101 OHIO DR
                                                                                                       APT 1128
                                                                                                       PLANO, TX 75024-2726


BARBARA DIAMOND CUST PAUL DIAMOND                    BARBARA E LIPSETT                                 BARBARA E LIPSETT JAMES S LIPSETT JR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         & NANCY J LIPSETT & MICHAEL A LIPSETT & JAMES S   & MICHAEL A LIPSETT & NANCY J LIPSETT JT TEN
4137 COLBATH                                         LIPSETT JR JT TEN                                 39805 ALBRIGHT DRIVE
SHERMAN OAKS, CA 91423-4207                          39805 ALBRIGHT DRIVE                              CLINTON TOWNSHIP, MI 48038-2713
                                                     CLINTON TOWNSHIP, MI 48038-2713


BARBARA E RUSSELL TR                                 BARBARA EDELSTEIN                                 BARBARA G RASTALL & PATRIC W RASTALL TR
BARBARA E RUSSELL REVOCABLE LIVING TRUST UA          709 WOODCHIP RD                                   BARBARA G RASTALL LIVING TRUST UA 08/15/01
03/20/92                                             MT HOLLY, NJ 08060                                2013 ROYAL RIDGE DR
567 REYNARD ST                                                                                         NORTHBROOK, IL 60062-8611
BLOOMFIELD HILLS, MI 48304-1832


BARBARA GODFREY SMITH CUST ETHELBERT WALTON SMITH 3RD
                                                  BARBARA H WILLEN & STEPHEN C WILLEN TR               BARBARA HIRSCHFELDER HANEN TR
U/THE FLA UNIFORM GIFTS TO MINORS ACT             WILLIN FAMILY RESIDUAL TRUST UA 8/01/97              BARBARA HIRSCHFELDER HANEN TRUST UA 07/17/01
204 37TH AVE N APT 359                            2420 RED COACH LANE                                  2975 LAKE ST
ST PETERSBURG, FL 33704-1416                      LA HABRA, CA 90631-6254                              SAN FRANCISCO, CA 94121-1021



BARBARA J CLOUTHIER TR                               BARBARA J HANCHIN & MICHAEL R HANCHIN TR          BARBARA J KLEIN
GERARD J & BARBARA CLOUTHIER REVOCABLE LIVING        MICHAEL R & BARBARA J HANCHIN TRUST UA 06/28/04   7627 STONES RIVER CT
TRUST UA 11/8/01                                     19690 HICKORY LEAF                                INDIANAPOLIS, IN 46259-6727
2406 BRADFORD DRIVE                                  SOUTHFIELD, MI 48076-5045
FLINT, MI 48507-4406


BARBARA J MILNER & CAROL A WESTFORT TR               BARBARA J WEINER                                  BARBARA J ZANGLEIN & JAYNE E ZANGLEIN JT TEN
MILDRED T BIAFORE 1994 REVOCABLETRUST UA 08/18/94    2617 NW 63RD ST                                   PO BOX 301
87 HOURIGAN DR                                       BOCA RATON, FL 33496-2032                         DILLSBORO, NC 28725-0301
MERIDEN, CT 06451-3674



BARBARA JEAN HOOGERS EX UW GILBERT E HOOGERS         BARBARA JEAN STEINKAMP                            BARBARA JOYCE HOLMES TR
45 903-109 ST NW                                     1909 CURDES AVE                                   MINSHALL FAM REVOCABLE LIVING TRUST UA 11/18/92
EDMONTON AB                                          FORT WAYNE, IN 46805-2709                         14713 COLTER WAY
T6J 6R1 CANADA                                                                                         MAGALIA, CA 95954-9205



BARBARA KLEIN CUST JEFFREY KLEIN UGMA TX             BARBARA L BRIZZOLARA CUST SUSAN M BRIZZOLARA      BARBARA L DEVITO & MARY JEANNE SCHNEIDER TR
5589 DESCARTES CIR                                   UNDER THE DELAWARE U-G-M-A                        UA 05/30/2009 MAURIEL VRANA IRREVOCABLE TRUST
BOYNTON BEACH, FL 33472-2410                         2712 LANDSDOWNE DRIVE E                           181 SOUTH ST APT D1
                                                     WILMINGTON, DE 19810-3459                         MORRISTOWN, NJ 07960



BARBARA L KLEIN                                      BARBARA L SMITH                                   BARBARA LYNN ROMANCZUK
1225 THURMAN ST                                      PO BOX 701661                                     380 REINHARD AVE
SAGINAW, MI 48602-2853                               SAINT CLOUD, FL 34770-1661                        COLUMBUS, OH 43206-2757




BARBARA M MCCLURE & KENNETH S MCCLURE JT TEN TOD SHELLEY
                                                   BARBARAA MCCLURE
                                                             M MEMMINGER TR                            BARBARA MARTUCCI & ERNEST W MARTUCCI TR
SUBJECT TO STA TOD RULES                           UA 04/26/2002 JM & BARBARA MEMMINGER REVOCABLE      MARTUCCI FAMILY REVOCABLE LIFETIME A-B TRUST
RT 1 BOX 30                                        LIVING TRUST                                        14220 N ALYSSUM WAY
THAYER, KS 66776-9615                              41496 WINDMILL ST                                   ORO VALLEY, AZ 85755-7175
                                                   HARRISON TWP, MI 48045
                   09-50026-mg            Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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BARBARA N STEIN TR BARBARA N STEIN REVOCABLE TRUST UABARBARA
                                                       10/26/04 NICHELINI CUST CATHERINE NICHELINI      BARBARA NICHELINI CUST MISS LISA ANN NICHELINI
3071 OAKHILL DR                                      U/THE CAL UNIFORM GIFTS TO MINORS ACT              U/THE CALIF UNIFORM GIFTS TO MINORS ACT
TROY, MI 48084-1235                                  271 BUTTERFIELD RD                                 3542 INTERNATIONAL WAY
                                                     SAN ANSELMO, CA 94960-1241                         FBKS, AK 99701-7382



BARBARA P BEASLEY CUST DANIEL PAUL BEASLEY UGMA MI BARBARA R STEIN                                      BARBARA S ANDRES & WALTER F ANDRES TR
3021 168TH PLACE N E                               926 E 8TH ST                                         WALTER & BARBARA ANDRES TRUST UA 05/13/97
BELLEVUE, WA 98008-2033                            FLINT, MI 48503-2780                                 3343 CALLE DEL ALBANO
                                                                                                        GREEN VALLEY, AZ 85614-4821



BARBARA S CHAPMAN TR                                  BARBARA S LESTZ CUST MERYL L LESTZ                BARBARA S STEVENSON & FONZY D STEVENSON TR
BARBARA S CHAPMAN REVOCABLE TRUST OF 2003 UA          U/THE PA UNIFORM GIFTS TO MINORS ACT              UA 11/11/91 THE STEVENSON FAMILY TRUST
10/09/03                                              521 CARDINAL DRIVE                                5204 VILLE-ANGELA LA
14 HUTCHINSON DR                                      DRESHER, PA 19025-1905                            HAZELWOOD, MO 63042-1633
HAMPTON, NH 03842-4209


BARBARA S WEIN                                        BARBARA S WEIN & HOWARD H WEIN JT TEN             BARBARA S WOHLNER
5 CHAPLIN ST                                          5 CHAPLIN ST                                      PO BOX 140665
NEWINGTON, CT 06111-3208                              NEWINGTON, CT 06111-3208                          IRVING, TX 75014-0665




BARBARA SCHEINBACH                                    BARBARA SCHREINER & BARBARA LYNN SCHNASE JT TEN   BARBARA SCHREINER & BLANCHE ANN BULLIS JT TEN
27 GRANDVIEW BLVD                                     3061 HIWAY 10                                     3061 HIWAY 10
YONKERS, NY 10710-3042                                PARK CITY, MT 59063-9801                          PARK CITY, MT 59063-9801




BARBARA SHERMAN CUST CUST HILARY SHERMAN              BARBARA SIMMONS MACFARLANE TR                     BARBARA SOSINSKI CUST JAMES J SOSINSKI
UNDER THE FL UNIF TRANSFERES TO MINORS ACT            FAMILY TRUST 10/02/92 U-A BARBARA SIMMONS         U/THE ARIZONA UNIFORM GIFTS TO MINORS ACT
1980 S W 73RD AVE                                     MACFARLANE                                        1922 E DIAMOND DRIVE
PLANTATION, FL 33317-4930                             5100 CHEVY CHASE PARKWAY NW                       TEMPE, AZ 85283-4208
                                                      WASHINGTON, DC 20008-2919


BARBARA SUE HOFFHEINS                                 BARBARA SWITZER CUST TERRY SWITZER                BARBARA T WHEELER CUST CONSTANCE Q WHEELER
PO BOX 652                                            A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J      A MINOR U/CALIF GIFTS OF SEC TO MINORS ACT
UPTON, NY 11973                                       4285 ST CHARLES WAY                               444 PT LAWRENCE RD
                                                      BOCA RATON, FL 33434-5341                         OLGA, WA 98279-9507



BARBARA TAYLOR                                        BARBARA VAN DELLEN BERE TR                        BARBARA WACHLER CUST KAREN WACHLER
254893 HWY 101                                        UA 12/17/76 THE BARBARA VAN DELLEN BERE TRUST     U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
PORT ANGELES, WA 98362-9077                           641 S ELM ST                                      6003 DANBURY CR
                                                      HINSDALE, IL 60521-4623                           WEST BLOOMFIELD, MI 48322-3562



BARBARA WACHLER CUST ROBERT WACHLER                   BARBARA WALCH GROWDON TR                          BARBARA WEINAND
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            BARBARA WALCH GROWDON LIVING TRUST UA 12/27/93    26 BIRKENDENE RD
56 RIDGE RD                                           314 LAKE SHORE DR                                 CALDWELL, NJ 07006-5717
PLEASANT RIDGE, MI 48069-1124                         ESCANABA, MI 49829-4026



BARBARA WEINBERG CUST ANDREW WEINBERG UTMA NJ         BARBARA WORRELL JESSUP TR                         BARBARA ZAITZ TR
379 PARK SLOPE                                        BARBARA WORRELL JESSUP LIVING TRUST UA 11/17/94   BARBARA ZAITZ REVOCABLE LIVING TRUST UA 01/12/98
MOUTAINSIDE, NJ 07092-1414                            2424 BUCKINGHAM AVE                               BARBARA ZAITZ
                                                      RICHMOND, VA 23228-5921                           PO BOX 547192
                                                                                                        SURFSIDE, FL 33154-7192
                    09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                          Part 8 of 8 Pg 27 of 440
BARNEY B KROSNICK CUST STEVEN H KROSNICK          BARNEY H HALLDORSON & LORETTA C HALLDORSON TR   BARNEY K HUANG CUST LUCAS K HUANG
U/THE N J UNIFORM GIFTS TO MINORS ACT             HALLDORSON 1996 TRUST UA 1/18/96                U/THE N C UNIFORM GIFTS TO MINORS ACT
60 WINDING WAY W                                  499 LAKE HAVASU LN 3                            3332 MANOR RIDGE DRIVE
MORRISVILLE, PA 19067-5974                        BOULDER CITY, NV 89005-1050                     RALEIGH, NC 27603-4845



BARNEY L REISS CUST CRAIG KEITH REISS             BARNEY WILLIAM & MARIE BOHUMILA PELANT TR       BARNEY WILLIAM PELANT & MARIE BOHUMILA PELANT TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT        FAM TR 12/11/89 U-A BARNEY BOHUMILA & MARIE     UA 12/11/89 BARNEY WILLIAM PELANT &
166 GREENTRAILS DR S                              6450 STEIFFER RD                                6450 STEIFFER RD
CHESTERFIELD, MO 63017-2949                       MAGALIA, CA 95954-9777                          MAGLAIA, CA 95954-9777



BARRI WEILL STEIN                                 BARRY D BARRETT                                 BARRY DAVID FEINER
3 WESTON RD                                       9112 124TH WAY NORTH                            882 CARLSTON AVENUE
MARBLEHEAD, MA 01945-3017                         SEMINOLE, FL 33772                              OAKLAND, CA 94610-1733




BARRY E RICHKIN                                   BARRY F WOOD                                    BARRY F WOOD
BOX 957315                                        102-363 SIMCOE ST N                             102-363 SIMCOE ST N
DULUTH, GA 30095-9522                             OSHAWA ON                                       OSHAWA ON
                                                  L1G 4T2 CANADA                                  L1G 4T2 CANADA



BARRY G WILLIAMS & MARGARET R WILLIAMS TR         BARRY H DIETLEIN                                BARRY HAMILTON & HALE HAMILTON TR
WILLIAMS FAM TRUST UA 01/27/95                    1047 MAPLE RIDGE ROAD                           ISAAC N HAMILTON RESID TRUST UW WILLIE H HAMILTON
1007 CALLE DE ALCALA                              BRASHER FALLS, NY 13613-4246                    C/O L HALE HAMILTON
ESCONDIDO, CA 92025-7671                                                                          403 BARRINGTON ROAD
                                                                                                  SIGNAL MOUNTAIN, TN 37377-3132


BARRY JOEL SCHEINHOLTZ                            BARRY L DICKSON                                 BARRY LICHTENSTEIN
8 MAGNUM CRT                                      PO BOX 871711                                   42 WEST END AVENUE
BERKLEY HEIGHTS, NJ 07922-1477                    CANTON, MI 48187-7011                           BRENTWOOD, NY 11717-1625




BARRY NEUMAN & ELLEN NEUMAN TR                    BARRY P WEINGART & BRIAN WEINGART JT TEN        BARRY ROBERT GORDON
BARRY S MEUMAN REVOCABLE TRUST UA 05/29/98        11445 E VIA LINDA STE 2                         PO BOX 501197
6059 WOODDALE ROW                                 SCOTTSDALE, AZ 85259-2654                       MARATHON, FL 33050-1197
LA JOLLA, CA 92037-0905



BARRY TED LICHTENSTEIN                            BARRY WEINBERG CUST RHEA CARYN WEINBERG         BARUCH BERMAN & ROSE BERMAN TR
3 WESTGATE RD                                     A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J    BARUCH&ROSE BERMAN LIVING TRUST UA 11/30/89
FRAMINGHAM, MA 01701-8835                         13 OLD STEVENS LN                               28739 TRAILRIDERS DR
                                                  VOORHEES, NJ 08043-3417                         RCH PALOS VRD, CA 90275-3051



BASSAM J HUSSEIN                                  BAYLE SARA WEINER                               BEAR STEARNS SECURITIES CUST MICHAEL A AKEL K-E-O-U-G
24060 GENEVA                                      20 ROPE FERRY RD                                12/12/84
OAK PARK, MI 48237-2116                           HANOVER, NH 03755-1405                          ONE METROTECH CENTER NO
                                                                                                  BROOKLYN, NY 11201-3870



BEATRICE A LIPSHER CUST ROBERT I LIPSHER          BEATRICE B ST PIERRE DENISE I ST PIERRE TR      BEATRICE E COHEN CUST RONALD M COHEN
U/THE CONN UNIFORM GIFTS TO MINORS ACT            BEATRICE B ST PIERRE UA 5/22/80                 A MINOR U/ART 8-A OF THE PERS PROP LAW OF NEW YORK
9638 EAGLE RIDGE DR                               P.O. BOX 1364                                   15 WEST 84TH ST
BETHESDA, MD 20817-3918                           SKOKIE, IL 60076                                NEW YORK, NY 10024-4703
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                             Part 8 of 8 Pg 28 of 440
BEATRICE E RUTKOWSKI                                 BEATRICE ERENBERG CUST MARK N ERENBERG          BEATRICE F BRADSHAW
& MARY DILLENBECK BONDIE & JOHN M RUTKOWSKI JT TEN   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT      2716 BERNSTEIN DR
45182 W PARK DR                                      514 BROADWAY                                    MODESTO, CA 95358-8858
APT 69                                               MASSAPEQUA, NY 11758
NOVI, MI 48377-1303


BEATRICE FAITLER & MERYL WEINGARDEN JT TEN           BEATRICE HOLLENSTEINER                          BEATRICE I SCHOER & ALLEN M SCHOER TR
30715 HUNTERS DR BLDG 54 APT 1                       58 PARK PLAZA                                   UA 04/20/94 LOUIS SCHOER REVOCABLE TRUST
FARMINGTON HILLS, MI 48334-1241                      BOZEMAN, MT 59715-9343                          170 WEST END AVE APT 16P
                                                                                                     NEW YORK, NY 10023



BEATRICE I WEINER                                    BEATRICE K ALDRIDGE & JOHN ALDRIDGE JT TEN      BEATRICE KLEIN & RICHARD M KLEIN JT TEN
3598 YACHT CLUB DRIVE APT 1701                       PO BOX 770135                                   19 TILTON LANE
AVENTURA, FL 33180-4012                              ORLANDO, FL 32877-0135                          ANDOVER, MA 01810-4831




BEATRICE LIEBERMAN                                   BEATRICE M COATES TR                            BEATRICE M WEIDNER CUST KENNETH A WEIDNER
& PHYLLIS MICHELSON & JUDY LIEBERMAN & DONNA         BEATRICE M COATES REVOCABLE LIVING TRUST UA     U/THE WISC UNIFORM GIFTS TO MINORS ACT
LIEBERMAN JT TEN                                     07/31/03                                        2781 GLORIETTA CIRCLE
169 KYLE CT                                          1059 ALLISON AVE                                SANTA CLARA, CA 95050
MONROE TWP, NJ 08831-3759                            LORAIN, OH 44052-1311


BEATRICE REINBOLD                                    BEATRICE ROTHSTEIN                              BEATRICE SPANGLER & LEONARD B GORDON TR
2825 WIENEKE RD APT 100                              12 WEST 96TH ST                                 U/A WITH ANNE S FRANKENFIELD UA 11/13/75
SAGINAW, MI 48603                                    APT 9A                                          GSB BLDG #703 1 BELMONT AVE
                                                     NEW YORK, NY 10025-6509                         BALA CYNWYDA, PA 19004



BEATRICE V JONES CUST ADRIAN R JONES UGMA MI         BEATRICE V JONES CUST DERRICK F JONES UGMA MI   BEATRICE WOOSTER CUST ALLEN WOOSTER
PO BOX 320104                                        PO BOX 320104                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
FLINT, MI 48532-0002                                 FLINT, MI 48532-0002                            200 EAST 58TH ST APT 7 J
                                                                                                     NEW YORK, NY 10022-2062



BEATRIZ FERNANDEZ DEPACHACO HER LIFE THEREAFTER ANGELA
                                                  BECKYPACHECO
                                                         A MATTHEWS
                                                                ET AL & CECIL WHITE JT TEN           BECKY B WHALEY CUST DYLAN C WHALEY
U-A DTD 02-20-59                                  PO BOX 472827                                      UNDER THE MO TRANSFERS TO MINORS LAW
ATTN O J LEE JR                                   GARLAND, TX 75047-2827                             2907 SOUTH GATE DR
530A LCR 433                                                                                         HARTFORD, WI 53027
MEXIA, TX 76667-4737


BEEBE C HAYWARD CUST PAUL HAYWARD                    BELINDA J LANGLEY                               BELINDA KAY RODRIGUEZ
U/THE UTAH UNIFORM GIFTS TO MINORS ACT               PO BOX 540472                                   PO BOX 866511
1663 WEST 1410 NORTH                                 GRAND PRAIRIE, TX 75054-0472                    PALNO, TX 75086-6511
FARMINGTON, UT 84025-3045



BELLA B MARONEY & JAMES MICHAEL MARONEY & STACEY MARGARET
                                                   BELLA ZIGELSTEIN
                                                           MARONEY TR                                BELLE STEINBERG
JAMES T MARONEY TRUST UA                           1301 SW 135TH TERRACE #410                        3592 SUMMER DR
6801 SHORE RD                                      PEMBROKE PINES, FL 33027-1864                     WANTAGH, NY 11793-2728
BROOKLYN, NY 11220-5054



BEN BORIN & RALPH BORIN & JACK BURIN SUCCESSOR TR    BEN DORSETT JR & JUDITH E DORSETT TR            BEN GOTTFRIED CUST RONALD M GOTTFRIED
BERNICE BOORMAN TR # 1 TR UA                         DORSETT REVOACABLE TRUST UA 06/07/05            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
11900 GLOBE ROAD SUITE 100                           7210 MANASOTA KEY ROAD                          PO BOX 6
LIVONIA, MI 48150-1141                               ENGLEWOOD, FL 34223-9305                        HARTSDALE, NY 10530-0006
                   09-50026-mg             Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                               Part 8 of 8 Pg 29 of 440
BEN J PIERSOL & BETTY M PIERSOL TR                     BEN J STEIN                                           BEN L VEATCH & FRANCES R VEATCH TR
UA 06/15/91 BEN J PIERSOL & BETTY M PIERSOL REV TR     102-40 67TH ROAD                                      UA 03/22/93 BEN L VEATCH LIVING TRUST
1518 N 81ST STREET                                     FOREST HILLS, NY 11375-2663                           849 N BAUMAN
KANSAS CITY, KS 66112-2180                                                                                   INDIANAPOLIS, IN 46214-3715



BEN SAUCEDO CUST RODNEY DON SAUCEDO                    BEN SIMPSON                                           BENE M STREIFEL
U/THE CAL UNIFORM GIFTS TO MINORS ACT                  3 BROADLANDS                                          401-10635-47TH AVE
15770 SADDLEBACK RD                                    BOLTON YORKSHIRE Y04 5QT                              EDMONTON AB
RIVERSIDE, CA 92506-5830                               EINGAND                                               T6H 4R8 CANADA
                                                       GREAT BRITAIN


BENEDICT NIGRELLI CUST MARGARET NIGRELLI               BENITO F SCIARAPPA & JUNE D SCIARAPPA TR              BENITO I DIAZ & BENITO H DIAZ JT TEN
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J           SCIARAPPA FAM REV LIVING TRUST UA 12/23/96            PO BOX 144674
7207 JOSHUA TREE LANE                                  4751 HAWK LANE                                        CORAL GABLES, FL 33114-4674
SPRINGFIELD, VA 22152-3610                             LORAIN, OH 44053



BENJAMIN C LAMANTIA SR & RUTH E LAMANTIA TR            BENJAMIN DAWES VAN TUYL & MARCIA ISTOCK VAN TUYL TR   BENJAMIN E FINCH CUST MARK S FINCH
UA 04/26/91 THE BENJAMIN C LAMANTIA & RUTH E           UA 06/25/09 BENJAMIN DAWES VAN TUYL & MARCIA          U/THE CAL UNIFORM GIFTS TO MINORS ACT
3455 GRAVINA PL                                        432 HILLDALE                                          739 ALVY ST
PLEASANTON, CA 94566-6272                              ANN ARBOR, MI 48105                                   ANAHEIM, CA 92802-1527



BENJAMIN E KLEIN                                       BENJAMIN E WIMBERLEY & MARIE B WIMBERLEY TR           BENJAMIN F CAHILL & VIRGINIA L CAHILL TR
3331 VAN VLEET RD                                      BEN & MARIE WIMBERLEY TRUST UA 08/13/01               CAHILL REVOCABLE TRUST UA 7/26/05
SWARTZ CREEK, MI 48473-8509                            4125 JAROSITE COURT                                   PO BOX 1034
                                                       ANTIOCH, CA 94509-8941                                SANTA CRUZ, CA 95061-1034



BENJAMIN F KINCER TR                                   BENJAMIN F ODIAM JR & MONA FAE ODIAM TR               BENJAMIN F SANFORD CUST BENJAMIN F SANFORD JR
BENJAMIN F KINCER REVOCABLE LIVING TRUST UA 9/29/99    BENJAMIN F ODIAM JR LIV TRUST UA 05/22/00             U/THE MISS UNIFORM GIFTS TO MINORS ACT
4708 MEADOWSWEET COURT                                 1299 WILLOWRIDGE DRIVE                                1945 S MONTGOMERY
NEW PORT RICHEY, FL 34653-6315                         BEAVERCREEK, OH 45434-6763                            STARKVILLE, MS 39759-9663



BENJAMIN G STEIN                                       BENJAMIN H SNYDER CUST STACY D SNYDER                 BENJAMIN H STEIN TR THE BENJAMIN H STEIN REVOCABLE TR
12 BROKLAND DRIVE                                      U/THE PA UNIFORM GIFTS TO MINORS ACT                  104 EAST LARKDALE ROAD
CARTERSVILLE, GA 30120-3448                            2208 GILHAM RD                                        DEERFIELD, IL 60015-5037
                                                       BROOMALL, PA 19008-2911



BENJAMIN HATCH WHITFIELD JR & VERNON S DENIS WHITFIELDBENJAMIN
                                                       TR        J TRZECIAK & ADELINE TRZECIAK TR            BENJAMIN KLEINMAN & FANNIE KLEINMAN JT TEN
LUCY S WHITFIELD TESTAMENTARY TRUST                   UA 09/28/92 THE TRZECIAK FAM TR AGMT                   2254 EAST 22ND ST
PO BOX 639                                            1221 WATERSIDE ST                                      BROOKLYN, NY 11229-4812
RAWLINS, WY 82301-0639                                PORT CHARLOTTE, FL 33952-1531



BENJAMIN P ROOSA III                                   BENJAMIN R DIXON CUST BENJAMIN R DIXON JR             BENJAMIN R SAUSELEIN & DOROTHY E SAUSELEIN JT TEN
PO BOX 681804                                          A MINOR U/THE LAWS OF GEORGIA                         450 PINLAKE VILLAGE BLVD
MARIETTA, GA 30068-0031                                2501 HENDERSON MILL ROAD N E                          JENSEN BEACH, FL 33457
                                                       ATLANTA, GA 30345-2135



BENJAMIN S WEINMAN                                     BENJAMIN T WHITEHEAD & ADELE N WHITEHEAD TR           BENJAMIN YIP CUST SUSAN YIP
6 LYDIA COURT                                          WHITEHEAD TRUST UA 10/29/91                           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
ALBERTSON, NY 11507-1113                               4372 27TH CT SW APT 103                               750 DARIEN WAY
                                                       NAPLES, FL 34116-7937                                 SAN FRANCISCO, CA 94127-2527
                   09-50026-mg              Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                               Part 8 of 8 Pg 30 of 440
BENN J HINDS                                           BENNARD D PICKETT                                   BENNIE A CASTAGNETTA & JULIA CASTAGNETTA TR
409 KEINATH DR                                         1973 108TH AVE#4                                    CASTAGNETTA TRUST UA 10/07/91
FRANKENMUTH, MI 48734-0294                             OTSEGO, MI 49078-9738                               1319 E JUANA AVE
                                                                                                           SAN LEADRO, CA 94577-3926



BENNIE A MORGAN JR & NANCY L MORGAN & JULIE L TIERNEY TR
                                                      BENNIE C KIRKSEY                                     BENNIE E MARTIN
BENNIE A MORGAN TRUST UA 04/28/04                     PO BOX 430965                                        PO BOX 781593
9955 CANADA RD                                        PONTIAC, MI 48343-0965                               INDIANAPOLIS, IN 46278-8593
BIRCH RUN, MI 48415-9749



BENNY JOHNTONY & MARY JOHNTONY TR                      BENNY L KLUTTS & ROSELLA C KLUTTS TR                BENON JOHN TRAWINSKI
JOHNTONY FAM REV LIVING TRUST UA 06/28/01              KLUTTS FAMILY REVOCABLE TRUST UA01/20/93            PO BOX 381023
312 EAST BROADWAY                                      PO BOX 187                                          BIRMINGHAM, AL 35238-1023
GIRARD, OH 44420-2616                                  POTEAU, OK 74953-0187



BENT JORGENSEN                                         BENTHEARL D CORBIN                                  BENTON C DELAHOUSSAYE JR CUST ISABELLA DELAHOUSSAY
BRUNSHAAB AVLSGARD                                     4367 STEINWAY AVENUE                                A MINOR U/THE LA GIFTS TO MINORS ACT
VINKELVEJ 120 8800 VIBORG                              DAYTON, OH 45416-1644                               705 E 3RD
DENMARK                                                                                                    CROWLEY, LA 70526-5225



BENTON C DELAHOUSSAYE JR CUST NADIA DELAHOUSSAYE       BERL HAMPTON & LONNIE HAMPTON TR                    BERMAN E PRITT & TEENA L PRITT TR
A MINOR U/THE LA GIFTS TO MINORS ACT                   UA 06/14/2000 BERL HAMPTON AND LONNIE HAMPTON       FAMILY TRUST OF BERMAN E PRITT &TEENA L PRITT UA
705 E 3RD                                              37840 5 MILE RD                                     1/22/99
CROWLEY, LA 70526-5225                                 LIVONIA, MI 48154                                   242 E 300 N
                                                                                                           BLUFFTON, IN 46714-9714


BERNADETTE GUZIK & PATRICIA GUZIK JT TEN               BERNADETTE TETZEL TOD IMMACULATE HEART OF MARY CHAPEL
                                                                                                         BERNADINE
                                                                                                             TRADITIONAL
                                                                                                                    P QUINLAN TR
3898 309TH AVE NW                                      SUBJECT TO STA TOD RULES                          BERNADINE P QUINLAN REVOCABLE LIVING TRUST UA
CAMBRIDGE, MN 55008-7039                               107 WILLS AVE 2                                   09/26/97
                                                       AKRON, OH 44302-1900                              34574 MAPLE LN
                                                                                                         STERLING HEIGHTS, MI 48312-5213


BERNADINE T FALTA & CATHERINE M STEINHILB JT TEN       BERNARD A COUTU                                     BERNARD A PRUSHKO CUST BERNARD A PRUSHKO JR
200 DEERING ST                                         545 305TH AVE LAKE LACHIGAN                         U/THE CONN UNIFORM GIFTS TO MINORS ACT
GARDEN CITY, MI 48135-4103                             ST HYPOLLYTE QC                                     9 BASKING RIDGE RD
                                                       J8A 2W4 CANADA                                      SHELTON, CT 06484-3897



BERNARD BARON CUST DAWN SANDERS                        BERNARD BARON CUST WAYNE SANDERS                    BERNARD BARTH & CECELIA BARTH TR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        BERNARD & CECILIA BARTH JOINT REV LIVING TRUST UA
PO BOX 6221                                            PO BOX 6221                                         04/10/03
SANTA ANA, CA 92706-0221                               SANTA ANA, CA 92706-0221                            13841 TREELAND DRIVE
                                                                                                           SHELBY TWP, MI 48315-6058


BERNARD C DAVIS                                        BERNARD C WHITE & VIRGINIA E WHITE TR               BERNARD CUNNINGHAM CUST JANE REA CUNNINGHAM
PO BOX 182201                                          BERNARD C & VIRGINIA E WHITE 1990 FAMILY TRUST UA   U/THE WISC UNIFORM GIFTS TO MINORS ACT
ARLINGTON, TX 76096-2201                               03/09/90                                            2112 25TH ST
                                                       401 BURWASH AVE                                     WAUSAU, WI 54403-3102
                                                       APT 304
                                                       SAVOY, IL 61874-9575

BERNARD D MOLLEY CUST ANDREA L MOLLEY                  BERNARD D MOLLEY CUST MELINDA A MOLLEY              BERNARD E CARR SR & HARRIET E CARR TR CARR TRUST UA
U/THE COLORADO UNIFORM GIFTS TO MINORS ACT             U/THE COLORADO UNIFORM GIFTS TO MINORS ACT          17843 102ND DR
1831 S INGALLS CT                                      1831 S INGALLS CT                                   SUN CITY, AZ 85373-1618
LAKEWOOD, CO 80232-7088                                LAKEWOOD, CO 80232-7088
                    09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                               Part 8 of 8 Pg 31 of 440
BERNARD F ROY & PHYLLIS M ROY TR                       BERNARD FOLIO CUST JOSEPH A FOLIO                  BERNARD GOLDBERG & PHYLLIS GOLDBERG TR
BERNARD F ROY FAM LIVING TRUST UA 0315/96              U/THE WEST VIRGINIA GIFTS TO MINORS ACT            BERNARD & PHYLLIS GOLDBERG REV TRUST UA 2/08/01
15731 19 MILE RD                                       202 E MAIN ST                                      2180 POST STREET UNIT 625
APT 104                                                CLARKSBURG, WV 26301-2126                          SAN FRANCISCO, CA 94115
CLINTON TWP, MI 48038-6316


BERNARD GOLDSTEIN & SANDRA GOLDSTEIN JT TEN            BERNARD HARMON CUST KEITH ANDREW HARMON            BERNARD J DEULING
155 BELLE FOREST CIR                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         3233 132ND AVE
NASHVILLE, TN 37221-2103                               30 COBBLE LN                                       HOPKINS, MI 49328-9754
                                                       BASKING RIDGE, NJ 07920-3731



BERNARD J DONEGAN TR                                   BERNARD J FRATTO & JEANETTE A FRATTO TR            BERNARD J HEVEL & ELEANOR E HEVEL TR
REVOCABLE LIVING TRUST 04/17/92 U-A BERNARD J          UA 03/11/99 FRATTO FAMILY TRUST                    HEVEL FAM REV LIV TRUST UA 04/18/01
DONEGAN                                                25961 ARRIBA LINDA                                 54 SKYLINE DR
15114 KNOLSON                                          LAGUNA NIGUEL, CA 92677                            KIMBERLING CITY, MO 65686-9658
LIVONIA, MI 48154-5700


BERNARD J JUREK JR & EILEEN M JUREK TR                 BERNARD J SULLIVAN II TR                           BERNARD J SYNK & MARGARET Z SYNK TR
JUREK FAMILY LIVING TRUST UA 04/17/03                  UA 10/13/1999 BERNARD J SULLIVAN REVOCABLE TRUST   UA 05/29/92 BERNARD J & MARGARET Z SYNK TRUST
35675 CONGRESS RD                                      3641 MAYBERRY DRIVE                                4231 PORCUPINE RD
FARMINGTON HILLS, MI 48335-1221                        RENO, NV 89509                                     LINCOLN, MI 48742-9581



BERNARD J WEINERT                                      BERNARD KATZENSTEIN                                BERNARD L REINHART
7031 177TH PL                                          31 MANOR HOUSE LA                                  2770 FREELAND RD
TINLEY PARK, IL 60477-3602                             DOBBS FERRY, NY 10522-2515                         APT 30
                                                                                                          SAGINAW, MI 48604-9615



BERNARD LARSON & ELIZABETH LARSON TR                   BERNARD LISSKA CUST TIMOTHY J LISSKA               BERNARD M FINKELSTEIN
UA 02/26/90 BERNARD LARSON & ELIZABETH LARSON          U/THE OHIO UNIFORM GIFTS TO MINORS ACT             2229 WOODLAWN AVE
TRUST                                                  51 S CASSINGHAM RD                                 VIRGINIA BEACH, VA 23455-1655
4633 PINE ST                                           COLUMBUS, OH 43209-1846
FRUITLAND PARK, FL 34731-5683


BERNARD M WEINGARTZ                                    BERNARD MILSTEIN & PHYLLIS R MILSTEIN JT TEN       BERNARD NEWMAN CUST MITCHELL DAVID NEWMAN
3556 HUTCHINSON ROAD                                   5110 SAN FELIPE ST                                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
NORTH BRANCH, MI 48461-9748                            UNIT 343W                                          167 COUNTRY CLUB DR THE HAMLET
                                                       HOUSTON, TX 77056-3672                             COMMACK, NY 11725-4460



BERNARD O SLATER CUST CHARLES E SLATER                 BERNARD R SIEGEL & EDWARD D SIEGEL TR              BERNARD S SCHRAGER CUST EDWARD F SCHRAGER
U/THE N J UNIFORM GIFTS TO MINORS ACT                  UA 02/10/93 FOURTH UW BEATRICE SIEGEL              U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
33 FRANKLIN ST                                         159 HUDSON TERRACE                                 12037 LEIGHTON CT
RAMSEY, NJ 07446-2223                                  YONKERS, NY 10701                                  CARMEL, IN 46032



BERNARD SAPERSTEIN & MRS LILLIAN SAPERSTEIN JT TEN     BERNARD SCHER CUST WILLIAM SCOTT SCHER             BERNARD SILVERMAN CUST MISS ELAINE IETTO
7 HUNTWOOD PLACE                                       A MINOR U/ MASS UNIFORM GIFTS TO MINORS ACT        U/THE N Y UNIF GIFT TO MINORS ACT
MOUNT VERNONE                                          5 BAREFOOT HILL RD                                 1232 80TH STREET
MOUNT VERNON, NY 10552                                 SHARON, MA 02067-2801                              BROOKLYN, NY 11228-2712



BERNARD T NOVY CUST B E NOVY                           BERNARD VINETTE & EVELYN JUNE VINETTE TR           BERNARD W BALDWIN & CYNTHIA BALDWIN BELLER & EDWAR
A MINOR PURS SEC 1339/26 INCL OF THE REVISED CODE OF   BERNARD VINETTE & EVELYN VINETTE REVOCABLE UA      BERNARD W BALDWIN TRUST UA
OHIO                                                   02/13/97                                           4864 OMENA CRT
306 FLORENCE CT                                        31750 MC NAMEE                                     STERLING HTS, MI 48314
BAY VILLAGE, OH 44140-1213                             FRASER, MI 48026
                   09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                              Part 8 of 8 Pg 32 of 440
BERNARD W DYER CUST DAVID B DYER                      BERNARD W SHUSTER CUST SUSAN L SHUSTER              BERNARD WEINBERG CUST GARY M TOLLIN UGMA NY
U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT            U/THE MASS UNIFORM GIFTS TO MINORS ACT              2511 LOCUST AVENUE
1831 HWY-Y                                            75 HILLSIDE DRIVE                                   NORTH BELLMORE, NY 11710-1735
SAINT PAUL, MO 63366-5126                             WAYLAND, MA 01778-3826



BERNARDINO A ALBENCE JR & ANN A ALBENCE TR            BERND H SCHEINPFLUG                                 BERNICE BELL CUST STUART BELL
BERNARDINO A JR & ANN A ALBENCE LIVING TRUST UA       22906 PLAYVIEW                                      A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
6/20/96                                               ST CLAIR SHRS, MI 48082-2082                        704 SHELLEY RD
2966 WHITE TAIL COURT                                                                                     BALTIMORE, MD 21285-2925
DOYLESTOWN, PA 18902


BERNICE C MIKULA TR                                   BERNICE D SOBODASH & STEVEN G SOBODASH & MICHELLE M BERNICE
                                                                                                          DELL JT TEN
                                                                                                                   HEINEL
BERNICE C MIKULA REVOCABLE LIVING TRUST UA 12/08/05   32747 STEINHAUER                                    5 ALCOTT DR
17103 MESSENGER RD                                    WESTLAND, MI 48186-7912                             HERITAGE PARK
BURTON, OH 44021-9736                                                                                     WILMINGTON, DE 19808-3701



BERNICE K SMITH & WILLIAM C SMITH JR TR               BERNICE KANGISSER CUST KENNETH KANGISSER            BERNICE SCHWARTZ CUST LORI BETH SCHWARTZ
UA 12/28/91 BERNICE K SMITH REVOCABLE TRUST           A MINOR PURSTO SECS 1339 /26 INCL OF THE REVISED    U/THE N Y UNIFORM GIFTS TO MINORS ACT
213 PINNEY DR                                         CODE OF OHIO                                        14 MAPLE CREST DR
WORTHINGTON, OH 43085-3836                            2 LORRAINE TERRACE                                  PEEKSKILL, NY 10566-2519
                                                      WHEELING, WV 26003-6044


BERNICE T ZELLICK TR UA 07/29/93 BERNICE ZELLICK TRUST # 9307
                                                         BERNICE ZWANGER CUST ROBERTA ZWANGER             BERNIE L DONATHAN CUST BERNIE G DONATHAN
4832 RIDGESIDE DRIVE                                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       U/THE OHIO UNIFORM GIFTS TO MINORS ACT
DALLAS, TX 75244-7646                                    75 OVERLEA E                                     PO BOX 1242
                                                         MASSAPEQUA PARK, NY 11762-4018                   PRESTON, KY 40366



BERNIE L DONATHAN CUST DONNIE R DONATHAN              BERNIECE L ETCHEVERS & FRANK ETCHEVERS TR           BERNIECE R MANGEL TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                UA 07/30/2009 ETCHEVERS FAMILY TRUST                BERNIECE R MANGEL REVOCABLE LIVING TRUST UA
PO BOX 1242                                           29270 DOAK RD                                       07/15/99
PRESTON, KY 40366                                     CHILOQUIN, OR 97624                                 160 MEADOWVIEW RD
                                                                                                          ATHENS, GA 30606-4224


BERNYLDA ANN REED-RENTERIA TR                         BERRY C MOSES & MARY E MOSES TR                     BERT E & MARJORIE QUINN TR
UA 01/02/2007 BERNYLDA ANN REED-RENTERIA 2007         BERRY C MOSES & MARY E MOSES TRUST UA 03/28/01      BERT E QUINN REVOCABLE LIVING TRUST UA 1/10/97
INTER-VIVOS TRUST                                     PO BOX 781                                          36645 CHATHAM COURT
2118 15TH ST                                          WILLOUGHBY, OH 44096-0781                           CLINTON TOWNSHIP, MI 48035-1115
SAN FRANCISCO, CA 94114


BERTHA EICHER                                         BERTHA M ALLEN TR                                   BERTRAM GEZELTER
10724-153RD AVE                                       BERTHA MARIE ALLEN REVOCABLE LIVING TRUST UA        PO BOX 580125
EDMUNTON AB                                           03/08/96                                            FLUSHING, NY 11358-0125
T5X 5T9 CANADA                                        32129 S 510 RD
                                                      PARK HILL, OK 74451-2225


BERTRAM J GRIFFITHS CUST GARY L GRIFFITHS             BERTRAM S BOLEY & SYLVESTER BEER TR UW JENNIE BEER BERTRAM S BOLEY JR
U/THE PA UNIFORM GIFTS TO MINORS ACT                  PO BOX 422268                                      PO BOX 422268
1635 RUTHERFORD AVE                                   ATLANTA, GA 30342-9268                             ATLANTA, GA 30342-9268
PITTSBURGH, PA 15216-3238



BERTRAM WEINMAN CUST LEE ERIC WEINMAN                 BERYL ANITA DANIELS & CHARLES J DANIELS & DOUGLAS J DANIELS
                                                                                                            BESSIETRBELMONT TIMMERMAN CUST LOUIS F TIMMERMAN
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT            UA 09/07/06                                           A MINOR UNDER THE NEW YORK U-G-M-A
1232 W 34TH ST                                        31 KENNEY ROAD                                        1601 MORNINGHILL ROAD
CHICAGO, IL 60608                                     MEDFIELD, MA 02052                                    COLUMBIA, SC 29210-6921
                    09-50026-mg         Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                            Part 8 of 8 Pg 33 of 440
BETHAMY D WEINBERGER                                BETHESDA H WEGENER CUST STUART S WEGENER            BETSY BEAUCHAMP & MARY BEAUCHAMP MUMFORD TR
801 PINE BROOK DR                                   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          BEAUCHAMP TRUST UA 10/03/89
PEABODY, MA 01960-3769                              1734 NW 7TH PLACE                                   910 MARBLE CT
                                                    GAINESVILLE, FL 32603-1221                          SALISBURY, MD 21804-8638



BETSY LYNN SCHREINER-CUNDIFF                        BETSY STRONG                                        BETTE J GOURLEY TR
8931 EAST RIVER RD                                  ATTN BETSY AMENTO                                   WILLIAM R GOURLEY & BETTE J GOURLEY REVOCBALE
VENICE, FL 34293-7629                               4441 175TH PL SE                                    TRUST UA 12/1/99
                                                    BELLEVUE, WA 98006-6513                             703 HOWELL AVE
                                                                                                        CAHOKIA, IL 62206-1901


BETTE JO GEARON                                     BETTE L FOWLER & CAROL L BEGELMAN & MICHAEL L FOWLERBETTE
                                                                                                         TR    L GEARON
41125 278TH WAY S E                                 FOWLER LIVING TRUST UA 8/08/96                      41125 278TH WAY SE
ENUNCLAW, WA 98022-7793                             4000 E FLETCHER AVE APT 1102                        ENUMCLAW, WA 98022-7793
                                                    TAMPA, FL 33613-4822



BETTE R WALLERSTEIN                                 BETTE R WALLERSTEIN CUST SUSAN GAIL WALLERSTEIN UGMABETTE
                                                                                                         VA WALKER MULLENS
10328 RAINTREE COMMONS CT                           10328 RAINTREE COMMONS CT                           & LLOYD WALKER MULLENS & KAREN MULLENS CRAGWALL
RICHMOND, VA 23233-4224                             RICHMOND, VA 23233-4224                             JT TEN
                                                                                                        507 CLUB CT N
                                                                                                        HERMITAGE, TN 37076-1318


BETTIE J GONSLER                                    BETTIE N MYERS CUST KIMBERLY SUE MYERS              BETTY A ANDERSON
& JAMES W GONSLER & RICHARD E GONSLER & CYNTHIA A   U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT          26905 220TH SE AV 38
JOHNSON JT TEN                                      2002 EDEN ROAD                                      MAPLE VALLEY, WA 98038-7404
1090 W ROWLAND ST                                   WILMINGTON, DE 19810-3812
FLINT, MI 48507-4047


BETTY A CASWELL & STEPHANIE K SCHLUCKEBIER JT TEN   BETTY A NIEMAN                                      BETTY ANN L MOSS & HARTWIG MOSS III & ANN L M ZENOWICH
690 HEINE STREET                                    509 ROUTE 530                                       HARTWIG MOSS II UNIFIED EXEMPTION TRUST 03/05/97
FRANKENMUTH, MI 48734                               APT 145                                             201 SAINT CHARLES AVE
                                                    WHITING, NJ 08759-3147                              STE 3201
                                                                                                        NEW ORLEANS, LA 70170-1032


BETTY ANN LARSON & SHERYL LENORE GILMORE & SUZANNE ELIZABETH
                                                   BETTY C FERGUSON
                                                             TAYLOR &                                   BETTY C PETERSON TR
ARTHUR DAVID LARSON JT TEN                         10549 153RD CT N                                     THE BETTY C KLOPKE TRUST UA 07/21/83 RESTATED
2034 BENSONWOOD DRIVE                              JUPITER, FL 33478                                    03/19/03
GERMANTOWN, TN 38138-4002                                                                               13904 WEST PARADE DR
                                                                                                        SUN CITY WEST, AZ 85375


BETTY C POYTHRESS & CHRISTOPHER A POYTHRESS TR      BETTY COOLMAN & DUANE R COOLMAN TR                  BETTY E HUTCHINGS & DONALD J HUTHINGS TR
BETTY C POYTHRESS LIV TRUST UA 2/26/03              UA 06/19/08 COOLMAN REVOCABLE LIVING TRUST          DONALD & BETTY HUTCHINGS TRUST UA 6/17/93
28 ROCKLEDGE DRIVE                                  1812 COKER                                          21275 MAZATLAN
SOUTH WINDSOR, CT 06074-1568                        VIRGINIA BCH, VA 23464                              MISSION VIEJO, CA 92692-4960



BETTY FEINSMITH                                     BETTY FRYE                                          BETTY G STEINOCHER
717 OCEAN AVE                                       PMB 119 299 DEO DR                                  110 BARBARA
APT 301                                             NEWARK, OH 43055-3022                               WACO, TX 76705-1318
LONG BRANCH, NJ 07740-4976



BETTY J AYLER                                       BETTY J BAYER & WILLIAM L BAYER TR                  BETTY J FEATHERSTON
PO BOX 210304                                       UA 04/26/2007 BETTY J BAYER & WILLIAM L BAYER       & CHERYL A FEATHERSTON & DARWIN D FEATHERSTON &
AUBURN HILLS, MI 48321-0304                         19775 DAMMAN                                        FELICIA F RUTHS JT TEN
                                                    HARPER WOODS, MI 48225                              1420 MOUNT VERNON AVE
                                                                                                        SAINT LOUIS, MO 63130-1721
                   09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                              Part 8 of 8 Pg 34 of 440
BETTY J GREENBERG CUST SALLY JOAN GREENBERG           BETTY J GUMINSKI TOD GARY M GUMINSKI                   BETTY J HAY
U/THE MINN UNIFORM GIFTS TO MINORS ACT                & GREGORY A GUMINSKI & KAREN M TROJNIAK                4424 134TH PLACE SE
3900 ZENITH AVE S                                     5421 DOOLEY DR                                         BELLEVUE, WA 98006-2104
MINNEAPOLIS, MN 55410-1169                            LINDEN, MI 48451-8901



BETTY J MARTUS CUST MISS SANDRA A MARTUS              BETTY J MC PARTLIN                                     BETTY J MEADE CUST MICHAEL P MEADE
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            & RICHARD O MC PARTLIN & TIMOTHY L MC PARTLIN JT TEN   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
6009 VAN DYKE                                         13628 N 3RD ST                                         490 EATON ROAD
BROWN CITY, MI 48416-9674                             PHOENIX, AZ 85022-4712                                 NASHVILLE, MI 49073-9752



BETTY J QUEEN                                         BETTY J WALLING                                        BETTY JANE HOHENSTEIN
PO BOX 300812                                         616 KLEIN ST                                           101 OAK FORREST LOOP
DRAYTON PLAINS, MI 48330-0812                         WALTERBORO, SC 29488-3825                              SEARCY, AR 72143-9690




BETTY JEAN MC ELROY EX UW WILMER WORTHINGTON MC ELROY
                                                  BETTY
                                                      WILMER
                                                        JEAN REINAGEL                                        BETTY JO GASTON
WORTHINGTON MC ELROY TRUST                        1605 CHEISTI AVENUE                                        248 174TH PL NE
2509 LANDON DR                                    CHAPEL HILL, TN 37034                                      BELLEVUE, WA 98008-4206
WILMINGTON, DE 19810-3513



BETTY JO MANSUR & CLINE L MANSUR TR                   BETTY JONES CROWLEY CUST BETTY J CROWLEY               BETTY L TAYLOR & STEPHEN M TAYLOR & ROBERT D TAYLOR
BETTY JO MANSUR REV TRUST UA 09/05/02                 A MINOR U/SEC 2918 D 55 SUPP TO GENERAL STATUTES OF    BETTY L TAYLOR TRUST UA 02/25/05
5417 S 76TH AVE                                       CONN                                                   210650 EAST 42ND STREET
TULSA, OK 74145                                       ATTN JEFFREY F GURNHAM                                 SCOTTSBLUFF, NE 69361-5825
                                                      PO BOX 7271
                                                      HILTON HEAD ISLAND, SC 29938-7271

BETTY L VERBA                                         BETTY LOU RASURE CUST ROBIN LEE RASURE                 BETTY LOUISE GRUPENHOFF TR
& MARILYN J DANKO & CHRISTINE M ADKINS & PATRICIA A   U/THE KANSAS UNIFORM GIFTS TO MINORS ACT               THE BETTY LOUISE GRUPENHOFF TRUST UA 06/17/97
ZORE JT TEN                                           30 BUCKINGHAM DR                                       1011 GRANDIN RIDGE DR
8800 BANNER LANE                                      BELLEMEAD, NJ 08502-4022                               CINCINNATI, OH 45208-3419
PARMA, OH 44129-6072


BETTY M NADEN                                         BETTY MELLICK SLACK CUST DANIEL GINNA SLACK            BETTY MOLLER TRAMMELL CUST DENNIS WARREN TRAMMELL
334-3975 ANDERSON STREET                              A MINOR PURS TO SEC 1339 19-TO 1339 26-INCL            U/THE CAL UNIFORM GIFTS TO MINORS ACT
WHITBY ON                                             591 BROOKWOOD RD                                       7431 SAN CARPINO
L1R 2Y8 CANADA                                        WAYNE, PA 19087-2309                                   GOLETA, CA 93117-1212



BETTY R FRANKLIN CUST NANCY JO FRANKLIN               BETTY R HUTHSING CUST JACK A HUTHSING                  BETTY R HUTHSING CUST KENT HUTHSING
U/THE VA UNIFORM GIFTS TO MINORS ACT                  U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
1322 S EDISON WAY                                     5434 PAREJO DR                                         2026 EL CAMINO DE LA LUZ
DENVER, CO 80222-3520                                 SANTA BARBARA, CA 93111-1635                           SANTA BARBARA, CA 93109-1929



BETTY S JONES CUST STEVEN R CLINTON                   BETTY SUE HUNT                                         BETTY YOSHIKO WAKAI TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            PO BOX 340325                                          REVOCABLE TRUST UA 03/22/85 BETTY YOSHIKO WAKAI TR
6206 LEDWIN                                           DAYTON, OH 45434-0325                                  2832 E MANOA RD
TROY, MI 48098-2047                                                                                          HONOLULU, HI 96822-1822



BEULAH M TIEMAN CUST ROBERT E TIEMAN                  BEULAH R HILL & WARREN C HILL TR                       BEVERLEE T COMPTON CUST GENE I COMPTON
A MINOR UNDER SECTION 125-4-1 OF THE LAWS OF THE      UA 12/15/88 BEULAH R HILL & WARREN C HILL              U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
STATE OF COLORADO                                     5731 SUNSET FALLS DR                                   3226 NW COVEY RUN
4650 BRENTON DR                                       APOLLO BEACH, FL 33572-3114                            CORVALLIS, OR 97330-3155
FORT COLLINS, CO 80524-6008
                       09-50026-mg        Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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BEVERLEY H MINOR CUST ELLEN P MINOR               BEVERLEY M PELECHOSKY                             BEVERLY A LAEGEN TR
U/THE PA UNIFORM GIFTS TO MINORS ACT              #110 6710-158 AVENUE                              UA 09/19/2008 BEVERLY A LAEGEN REVOCABLE LIVING
3217 FORDHAM RD                                   EDMONTON AB                                       TRUST
WILMINGTON, DE 19807-3117                         T5Z 3A7 CANADA                                    16 ROUND VALLEY LANE
                                                                                                    LAKEWOOD, NJ 08701


BEVERLY A MADSON                                  BEVERLY A SCHLAFSTEIN                             BEVERLY B HILL & WILLIAM A HILL TR
PO BOX 481161                                     10001 GAINSBOROUGH RD                             BEVERLY B HILL LIVING TRUST UA 07/06/00
KANSAS CITY, MO 64148                             POTOMAC, MD 20854                                 58 N CASTLEROCK LANE
                                                                                                    EAST AMHERST, NY 14051-1490



BEVERLY DOLLIN CUST EDWARD DOLLIN                 BEVERLY DOLLIN CUST LAURIE DOLLIN                 BEVERLY DOLLIN CUST MICHAEL DOLLIN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
9758 PINTO CT                                     5858 MEMPHIS DR                                   4837 EAST INDIAN SCHOOL RD
CINCINATTI, OH 45242-5413                         NEW ORLEANS, LA 70124-2837                        PHOENIX, AZ 85018-5528



BEVERLY GOLDFINE CUST DAN WILLIAM GOLDFINE        BEVERLY J COVERLEY & JAMES A COVERLEY TR          BEVERLY J HARDENBURG TR
U/THE MINN UNIFORM GIFTS TO MINORS ACT            UA 09/01/2006 COVERLEY FAMILY TRUST               BEVERLY J HARDENBURG REVOCABLE LIVING TRUST UA
9939 N 123RD ST                                   13000 THOMAS CREEK RD                             10/23/01
SCOTTSDALE, AZ 85259-6026                         RENO, NV 89511                                    934 WADSWORTH DR
                                                                                                    WATERFORD, MI 48328-2053


BEVERLY JANE                                      BEVERLY JANE BROCK                                BEVERLY JANE HEINEMAN
2597 239TH ST SW                                  C/O CLIFTON H BROCK                               404 N ROAD 39
BRIER, WA 98036-8478                              3151-203 HEMLOCK FOREST CIRCLE                    PASCO, WA 99301-3160
                                                  RALEIGH, NC 27612-2320



BEVERLY M CAMPBELL & GORDON A CAMPBELL TR         BEVERLY M JOHNSON CUST DEBRA MARIE JOHNSON        BEVERLY M JOHNSON CUST MARYANN JOHNSON
CAMPBELL FAMILY TRUST UA 01/03/92                 U/THE CALIF UNIFORM GIFTS TO MINORS ACT           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
619 HIGH POINT DR                                 1139 MURCHISON DR                                 400 BARBARA WAY
VENTURA, CA 93003-1411                            MILLBRAE, CA 94030                                HILLSBOROUGH, CA 94010-6702



BEVERLY N ROBERTSON CUST JEFFREY HUNT ROBERTSON   BEVERLY STURGIS CUST LAURIE L STURGIS             BEVRLY JANE BROCK CUST MARY JO BROCK UTMA NC
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        3151-203 HEMLOCK FOREST CIRCLE
JERSEY                                            26070 AIRPORT RD                                  RALEIGH, NC 27612-2320
7 DEERFIELD RD                                    STURGIS, MI 49091-9772
BROOKFIELD, CT 06804-1303


BILL DALE                                         BILL E STOUT & WINONA M STOUT TR                  BILL G HOGUE & MARY JO HOGUE TR
PO BOX 606252                                     BILL E STOUT & WINONA M STOUT TRUST UA 01/26/99   THE HOGUE FAMILY LIVING TRUST UA 02/06/98
CLEVELAND, OH 44106-0252                          5911 N CLOUD NINE DR                              1701 BOWERSOCK RD
                                                  GARDEN CITY, ID 83714-1711                        INDIAN RIVER, MI 49749-9508



BILL G KNIGHT & BEATRICE J KNIGHT TR              BILL L BROSEGHINI CUST JAMES L BROSEGHINI         BILL LEON TURNER OR JACK N TURNER OR SARA ZAMBON TR
UA 7/12/00 KNIGHT FAMILY LIVING TRUST             U/THE INDIANA UNIFORM GIFTS TO MINORS ACT         BILL LEON TURNER REVOCABLE TRUSTUA 11/23/99
4095 COUNTY ROAD 489                              BOX 1132                                          327 WILDFLOWER PLACE
ONAWAY, MI 49765-9584                             ROCK SPRINGS, WY 82902-1132                       ARDMORE, OK 73401



BILL PEASLEY & BRIDGET K PEASLEY JT TEN           BILLIE A FOSTER & HELENE M FOSTER TR              BILLIE D FRITTS & SHARRON F WELSH TR
PO BOX 380474                                     BILLIE A FOSTER & HELENE FOSTER LIVING TRUST UA   UA 04/11/2007 BILLIE D FRITTS REVOCABLE TRUST
MURDOCK, FL 33938-0474                            04/13/95                                          PO BOX 9014
                                                  3124 SHERWOOD DR                                  SANTA FE, NM 87504-9014
                                                  FLINT, MI 48503-5415
                   09-50026-mg                Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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BILLIE E OESCH & OLIVE M OESCH TR                     BILLIE J LEE                                           BILLY D WALTRIP & JOYCE V WALTRIP TR
UA 09/22/93 THE BILLIE E OESCH FAMILY TRUST           PO BOX 116507                                          BILLIE D & JOYCE V WALTRIP TRUST UA 04/15/99
427 SINCLAIR CIR                                      CARROLLTON, TX 75011-6507                              2066 AINSWORTH ST
TAVARES, FL 32778-3830                                                                                       FLINT, MI 48532-3901



BILLY G HOWARD                                        BILLY GEORGE VILES CUST VICTOR LANDON VILES            BILLY L BROWN
PO BOX 107                                            U/THE MO UNIFORM GIFTS TO MINORS ACT                   PO BOX 970645
STEINHATCHEE, FL 32359-0107                           4083 E FARM RD 104                                     YPSILANTI, MI 48197-0811
                                                      SPRINGFIELD, MO 65803-7202



BILLY L WESLEY & ANN E WESLEY TR                      BILLY L WILSON TR UA 05/07/08 BILLY L WILSON REVOCABLE TRUST
                                                                                                               BILLY LEWIS & BARBARA H LEWIS TR
UA 02/22/93 BILLY L WESLEY & ANNE WESLEY REV LIV TR   23958 180TH AVENUE                                       THE BILLY LEWIS & BARBARA H LEWIS REVOCABLE LIVING
8629 MATHIAS #49                                      CENTERVILLE, IA 52544                                    TRUST UA 08/28/97
GROSSE ILE, MI 48138-1766                                                                                      412 SOUTHWOOD DR
                                                                                                               TIPTON, IN 46072-8461


BILLY LEWIS & BARBARA H LEWIS TR                      BILLY R HIGGINBOTHAM & MARY J HIGGINBOTHAM TR          BILLY R KENNEDY & HELEN V KENNEDY TR
THE BILLY LEWIS & BARBARA H LEWIS REVOCABLE LIVING    HIGGINBOTHAM FAMILY REV TRUST UA 07/01/03              BILLY R & HELEN V KENNEDY LIVING TRUST UA 03/30/94
TRUST UA 08/28/97                                     3072 QUAYSIDE CT #107                                  5719 CREEKRIDGE DR
412 SOUTHWOOD DR                                      MELBOURNE, FL 32935-3644                               ARLINGTON, TX 76018-2446
TIPTON, IN 46072-8461


BILLY V SMITH CUST WILLIAM ALAN SMITH                 BLAIN R HYLTON & JEAN L HYLTON TR                      BLAKE A GRAHAM
U/THE IOWA UNIFORM GIFTS TO MINORS ACT                BLAIN R HYLTON & JEAN L HYLTON FAM TRUST UA 07/02/99   PO BOX 161624
24815 PLAYER OAKS                                     120 E 200 N                                            FORT WORTH, TX 76161-1624
SAN ANTONIO, TX 78258-7226                            HEBER CITY, UT 84032-1709



BLAKE WERNER                                          BLANCHE CHOU                                           BLANCHE N HAMILTON
930 170TH PLACE S E                                   53 ALLEY 399 JU FENG RD APT 1801                       BOX 382755
BELLEVUE, WA 98008-5237                               PUDONG SHANGHAI                                        MEMPHIS, TN 38183-2755
                                                      200129 CHINA (PEOPLE'S REP)



BLANCHE RAKITA CUST ROBERT M RAKITA                   BLANCHE WEINGARTEN                                     BLASE J VITI CUST BLASE J VITI JR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                82-33 QUEENS BLVD                                      U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
3053 38TH AVE W                                       ELMHURST, NY 11373-4242                                1365 SANFORD LANE
SEATTLE, WA 98199-2512                                                                                       GLENVIEW, IL 60025-3146



BOARD OF EDUCATION OF CENTRAL SCHOOL DISTRICT NO 01 OF
                                                    BOARD
                                                       THE TOWNS
                                                            OF EDUCATION
                                                                    OF   OF THE SCHOOL DISTRICT OF THE CITYBOARD
                                                                                                            OF FLINT
                                                                                                                  OF REGENTS OF THE UNIVERSITY SYSTEM OF GEORG
SENECA FALLS FAYETTE & TYRE SENECA COUNTY NEW       MICHIGAN                                               INSTITUTE OF TECHNOLOGY
YORK                                                923 E KEARSLEY ST                                      LYMAN HALL SUITE 315
PO BOX 268                                          FLINT, MI 48503-1974                                   225 NORTH AVENUE
SENECA FALLS, NY 13148-0268                                                                                ATLANTA, GA 30332-0001


BOARD OF TR                                           BOARD OF TR CECILE DAYLIGHT LODGE NO 305 A F& A M TRS U-A
                                                                                                             BOBWITH
                                                                                                                  H GRIGGERS
                                                                                                                     C        & POLLY GRIGGERS TR
PEOPLES NATIONAL BK OF KEWANEE IL EMPLOYEES           DURKIN MANKIN 10/8/47                                  BOB & POLLY GRIGGERS TRUST UA 06/29/99
PROFIT SHARING FUND                                   5602 N GARFIELD                                        1622 MARIPOSA DR
BOX 387                                               GLADSTONE, MO 64118-5635                               DALLAS, TX 75228-3630
KEWANEE, IL 61443-0387


BOB R BARNARD CUST ALAN BRITT BARNARD                 BOB R BARNARD CUST DAVID MICHAEL BARNARD               BOB R BARNARD CUST KENNETH BRYAN BARNARD
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT               U/THE TEXAS UNIFORM GIFTS TO MINORS ACT                U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
4704 MILL CROSSING W                                  408 VINTAGE CT                                         8125 BEVERLY DR
COLLEYVILLE, TX 76034-3681                            COLLEYVILLE, TX 76034-7601                             N RICHLND HLS, TX 76180-1457
                    09-50026-mg         Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                           Part 8 of 8 Pg 37 of 440
BOB TEED & ELIZABETH A TEED JT TEN                 BOBBETTE J COLLISON TR                                BOBBIE JEAN REDMER
3065 140TH AVE                                     BOBBETTE JANE COLLISON REVOCABLE TRUST UA 03/09/00    & PAMELA SMITH & SHARON GOERS & SHEILA DANKERT JT
DORR, MI 49323-9531                                212 PATERSON BLDG                                     TEN
                                                   653 S SAGINAW ST                                      3816 PARDEE
                                                   FLINT, MI 48502-1512                                  DEERBORN, MI 48124-3570


BOBBIE PARROTT                                     BOBBY G BENNETT & MARILYN ANN BENNETT JT TEN          BOBBY G VERMILYE
PO BOX 211007                                      PO BOX 771672                                         958 PEINE RD
DETROIT, MI 48221-5007                             OCALA, FL 34477-1672                                  WENTZVILLE, MO 63385-2649




BOBBY HUNTER CUST BOBBY HUNTER JR                  BOBBY J WHITAKER                                      BOBBY JOE MOSER CUST CORA ALICE MOSER
U/THE N C UNIFORM GIFTS TO MINORS ACT              1302 N HEINCKE RD                                     U/THE N C UNIFORM GIFTS TO MINORS ACT
2229 BRASSFIELD ROAD                               MIAMISBURG, OH 45342-2010                             331 STEELCREST RD
RALEIGH, NC 27614-9696                                                                                   GRAHAM, NC 27253-9502



BOBBY JOE MOSER CUST MARY ROBIN MOSER              BOBBY RAY NORMAN & NORMA LEE NORMAN TR                BONITA SHELTON
U/THE N C UNIFORM GIFTS TO MINORS ACT              BOBBY RAY NORMAN & NORMA LEE NORMAN LIVING TRUST      PO BOX 490712
331 STEELCREST RD                                  UA 04/05/95                                           ATLANTA, GA 30349-0712
GRAHAM, NC 27253-9502                              4816 GRETNA GREEN LN
                                                   TYLER, TX 75703-2720


BONNI L RHEINWALD & JESSICA N SHERRY TR            BONNI L RHEINWALD TR                                  BONNIE A REHBEIN
UA 10/24/2007 THOMAS P AND SHARYN B BRESNAHAN      UA 10/24/2007 THOMAS P AND SHARYN B BRESNAHAN         2202 MONOCACY ROAD
92 GLENN HAVEN                                     IRREVOCABLE TRUST                                     BALTIMORE, MD 21221-1527
SPENCERPORT, NY 14559                              92 GLENN HAVEN
                                                   SPENCERPORT, NY 14559


BONNIE AILEEN HUT & ROBERT GINSBERG TR             BONNIE J BECKER & JEFFREY A BECKER & BRIAN D BECKER TRBONNIE J BERGDOLT & NORMAN J BERGDOLT TR
JOSEPH GINSBERG TRST UA 04/01/57ROBERT GINSBERG    DAVID LEE BECKER & BONNIE JEAN BECKER TRUST UA        BONNIE J BERGDOLT REV LIVING TRUST UA 10/12/98
1712 JOHN ANDERSON DR                              2/15/02                                               5641 TAYLOR RD
ORMOND BCH, FL 32176-3231                          2620 SHATTUCK                                         VASSAR, MI 48768-9428
                                                   SAGINAW, MI 48603-3344


BONNIE L FUYTINCK & EDMOND H FUYTINCK TR           BONNIE L TOCKSTEIN                                    BONNIE R STEWART CUST DONALD K STEWART
BONNIE L & EDMOND H FUYTINCK REV LIVING TRUST UA   PO BOX 104                                            U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
07/30/98                                           MUNGER, MI 48747-0104                                 520 GREENWAY DR
671 ELM ST                                                                                               DAVISON, MI 48423-1213
MT MORRIS, MI 48458-1917


BOOKCLIFF COMMUNITY 4-H CLUB                       BORIS MARTYSZ                                         BOYD L KINZLEY CUST MISS ANNA KINZLEY
TRI RIVER EXTENSION OFFICE                         & BORIS MARTYSZ JR & IVAN MARTYSZ & SARAH MARTYSZ     U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
PO BOX 20000-5028                                  WEBER JT TEN                                          45 RUSTIC DR
GRAND JUNCTION, CO 81501-2707                      2062 HURON ST                                         LEOMINSTER, MA 01453-2650
                                                   MARQUETTE, MI 49855-1430


BOYD MITCHELL GASTON & CHARLOTTE EMILY GASTON TR   BOYD ROBERT PAPWORTH                                  BRAD A LICHTENSTEIN
BOYD M GASTON & CHARLOTTE EMILY GASTON TRUST UA    PO BOX 870372                                         3936 BRIAR OAK DRIVE
04/29/96                                           WOODS CROSS, UT 84087-0372                            BIRMINGHAM, AL 35243-4836
10001 WEST FRONTAGE RD 132
S GATE, CA 90280-5403


BRAD JEFFREY PALMER CUST MATTHEW JAMES BERNSTEIN UTMA
                                                  BRADCASTEIN                                            BRADLEY C STOCKER & MARTHA J STOCKER TR
PO BOX 2306                                       1107 S FINLEY RD                                       UA 5/24/99 BRADLEY C STOCKER & MARTHA J
CANYON COUNTRY, CA 91386-2306                     LOMBARD, IL 60148-3829                                 627 JULIAN
                                                                                                         MARSHFIELD, MO 65706-1140
                       09-50026-mg      Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 38 of 440
BRADLEY C SWANSON & CAROLYN K SWANSON TR             BRADLY S ROHLFS & KATHRYN L KILLIAN TR           BRAM M RUBENSTEIN & ROCHELLE M RUBENSTEIN JT TEN
UA 01/20/2005 BRADLEY C & CAROLYN K SWANSON REV      BRADLY ROHLFS & KATHRYN KILLIAN REVOC TRUST UA   1729 BRIDGEHAMPTON PLACE
1648 DENISON DR                                      1/29/04                                          EL CAJON, CA 92019-4171
SPRINGFIELD, IL 62704-4416                           503 WEST 12TH ST
                                                     ANTIOCH, CA 94509-2261


BRENDA C BLAIR                                       BRENDA J YOST                                    BRENDA S CUNNINGHAM & MELVIN T CUNNINGHAM JT TEN
PO BOX 310594                                        1690 130TH AVE                                   PO BOX 535 790 CROW CUT RD
FLINT, MI 48531-0594                                 MORLEY, MI 49336-9076                            FAIRVIEW, TN 37062-0535




BRENDA S RIDER                                       BRENDA SUE KINGLAND                              BRENDA WEINZAPFEL
581 145TH AVE                                        36219 230TH AVE                                  3406 BERKELEY RD
CALEDONIA, MI 49316-9621                             FOREST CITY, IA 50436-7415                       ANDERSON, IN 46011-3810




BRENDAN T BYRNE CUST THOMAS BYRNE                    BRENT KLEIN                                      BRENT L PRICE
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT         5800 SW 97TH STREET                              PO BOX 401212
101 HUN ROAD                                         MIAMI, FL 33156-2095                             REDFORD, MI 48240-9212
PRINCETON, NJ 08540-6723



BRETT F STEINKE                                      BRETT N WEINKAUF                                 BRETT PERRY ORLANDO
4522 W ROTAMER RD                                    708 LINDEN ST                                    PO BOX 403442
JANESVILLE, WI 53546-1024                            RAVENNA, OH 44266-2506                           MIAMI BEACH, FL 33140-1442




BRIAN A CLARK                                        BRIAN A LEIDLEIN                                 BRIAN CUTHBERT
203-3999 ENEMARK CRESCENT                            29 LITTLE BROOK LN                               C/O LAKES HEATING & A/C
PRINCE GEORGE BC                                     NEWTOWN, CT 06470-2343                           2476 N TURKEYFOOT RD
V2N 2X8 CANADA                                                                                        AKRON, OH 44319-1139



BRIAN D HABECK & KAREN L HABECK TR                   BRIAN DAHL CUST BRANELLE C DAHL UTMA CA          BRIAN DECKER
BRIAN D HABECK AND KAREN L HABECK REV TRUST UA       PO BOX 662018                                    PO BOX 118093
06/04/98                                             ARCADIA, CA 91066-2018                           CARROLLTON, TX 75011-8093
5612 TIFFANY LANE
MIDLAND, MI 48642-3185


BRIAN E STEIN                                        BRIAN H F HENRY                                  BRIAN J GREINER
9084 OSTRANDER RD                                    56 SAUNDERS RD                                   22509 ENGLEHARDT
MAYBEE, MI 48159-9712                                228283 SINGAPORE                                 SAINT CLAIR SHORES, MI 48080-2199




BRIAN L STEINMACHER & BARBARA E STEINMACHER JT TEN   BRIAN L TIMM                                     BRIAN L TIMM & KAY B TIMM JT TEN
2295 ORCHARD HILL RD                                 2697 127TH AVE                                   2697 127TH AVE
BELLAIRE, MI 49615-8450                              ALLEGAN, MI 49010-9248                           ALLEGAN, MI 49010-9248




BRIAN LINTON & BERENICE LINTON JT TEN                BRIAN MILLER                                     BRIAN R BREWER
PO BOX 232025                                        284 KLEINOW                                      SQN 205-D-502
ENCINITAS, CA 92023-2025                             RIVER ROUGE, MI 48218-1131                       70 843-040 BRASILIA-DF
                                                                                                      BRAZIL
                       09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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BRIAN SIMPSON                                         BRIAN W DOUGLAS & KATHLEEN M DOUGLAS TR            BRIAN W STEINKE & SHARON L STEINKE JT TEN
THE PARK PLACE                                        UA 03/20/08 DOUGLAS FAMILY TRUST                   23231 BRICK RD
20721 123RD AVENUE                                    2314 MAR EAST ST                                   SOUTH BEND, IN 46628-9722
MAPLE RIDGE BC                                        TIBURON, CA 94920-1925
V2X 4B1 CANADA


BRIE K TENNIS & KELSEY B TENNIS JT TEN                BRIEN MCMAHON                                      BRIEN T MCNULTY & MAUREEN A LANAHAN TR
PO BOX 110709                                         PO BOX 240701                                      UA 03/20/92 CATHERINE A MCNULTY TRUST
BIG BEAR LAKE, CA 92315-8928                          MEMPHIS, TN 38124-0701                             16 NEWCASTLE RD
                                                                                                         CLIFTON PARK, NY 12065-6120



BRIGITTE D THOMAS                                     BRUCE A HEINRICH                                   BRUCE A KLEIN
PO BOX 310765                                         11005 MATHIS MOUNTAIN RD SE                        132 COLFAX ST
FLINT, MI 48531-0765                                  HUNTSVILLE, AL 35803                               COUNCIL BLUFFS, IA 51503-3011




BRUCE A KLEIN & JACQUELINE KLEIN JT TEN               BRUCE ALAN SILVER CUST BETH ERICA S ILVER          BRUCE D BARNES
4276 SO 150 AVE                                       UNDER THE NJ UNIFORM GISTS TRANSFERS TO            245-777 TERRACE DR
OMAHA, NE 68137-5148                                  18628 RIVER FALLS DR                               OSHAWA ON
                                                      DAVIDSON, NC 28036                                 L1G 2Z3 CANADA



BRUCE DICKSTEIN CUST NICOLE DICKSEIN UTMA IL          BRUCE E BROWNSTEIN & ANDREA F BROWNSTEIN TEN ENT   BRUCE E KAUFFMAN
744 OLDE OAK DR                                       132 RED RAMBLER DR                                 10475 126 B SHAYTOWN RD
BOUBONAIS, IL 60914                                   LAFAYETTE HILL, PA 19444-2109                      MULLIKEN, MI 48861-9733




BRUCE E WRIGHT CUST DOROTHY K WRIGHT                  BRUCE EDWARD GROSSMAN                              BRUCE G STEINER
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            PO BOX 791567                                      202 N RACE ST
16115 KNOBHILL                                        SAN ANTONIO, TX 78279-1567                         PO BOX 325
LINDEN, MI 48451-8786                                                                                    RICHLAND, PA 17087-0325



BRUCE H BROWN & ANITA L BROWN TR                      BRUCE H CARMICHAEL & GEORGIA CONNON TR             BRUCE H SNELL JR
UA 06/19/07 BRUCE & ANITA BROWN REV TRUST             BRUCE H & GEORGIANNA CARMICHAEL REVOCABLE          12 HIGH ST
1816 EAGLE GLEN DR                                    34795 CAMINO CAPISTRANO                            WHITINSVILLE, MA 01588-2207
ROSEVILLE, CA 95661                                   CAPISTRANO BEACH, CA 92624-1720



BRUCE J ATKINSON                                      BRUCE J KLEIN                                      BRUCE J MCGURK & JANETTE R CUSHMAN TR
PO BOX 431111                                         1219 CENTRAL AVE                                   CUSHMAN & MCGURK REV TRUST UA 04/01/00
PONTIAC, MI 48343-1111                                SANDUSKY, OH 44870-3239                            143 MEADOW VIEW ROAD
                                                                                                         ORINDA, CA 94563-3250



BRUCE J WEINBERG & BONNIE WEINBERG JT TEN             BRUCE JAY LEVITIN                                  BRUCE KENNETH OLSETH CUST BRETT KENNETH OLSETH
119 DOUGLAS DR                                        6100 TURNBERRY CT                                  U/THE MINN UNIFORM GIFTS TO MINORS ACT
TWP WASHINTON, NJ 07676-4503                          DUBLIN, CA 94568-7463                              23790 LAWTONKA DRIVE
                                                                                                         SHOREWOOD, MN 55331-1767



BRUCE L DONLEY & SOPHIE R DONLEY TR                   BRUCE M CARSWELL & MARY ALICE CARSWELL TR          BRUCE P DAVIS & DOROTHY E DAVIS TR
BRUCE L & SOPHIE R DONLEY REV LIV TRUST UA 12/20/00   BRUCE & MARY ALICE CARSWELL FAMILY TRUST UA        BRUCE P DAVIS & DOROTHY E DAVIS TRUST UA 05/30/95
5932 VIENNA WAY                                       04/07/97                                           11945 74TH AVE N
LANSING, MI 48917                                     621 MARINA CIR                                     SEMINOLE, FL 33772-5032
                                                      DAVIS, CA 95616-2728
                       09-50026-mg         Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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BRUCE RIVER CUST PEYTON CHRISTOPHER RIVER UTMA IA   BRUCE V BRYDE & VIVIAN E BRYDE TR                    BRUCE W FEATHERS
6001 231ST AVE                                      BRUCE V & VIVIAN E BRYDE TRUST UA 08/26/97           139111 NE KLICKITAT CT
MAQUOKETA, IA 52060-8760                            5617 SCHAFER RD                                      PORTLAND, OR 97230
                                                    LANSING, MI 48911-4917



BRUCE W GILLIES & SHIRLEY J GILLIES TR              BRUCE W NELSON CUST MARGARET A NELSON                BRUCE W SIELAFF CUST JONATHAN WHITNEY SIELAFF
BRUCE W & SHIRLEY J GILLIES TRUST UA 11/21/05       U/THE S C UNIFORM GIFTS TO MINORS ACT                U/THE CONN UNIFORM GIFTS TO MINORS ACT
833 REFLETIONS LOOP E                               36 UNIVERSITY CIRCLE                                 130 COTTAGE ST
WINTER HAVEN, FL 33884                              CHARLOTTESVILLE, VA 22903-1833                       NEW HAVEN, CT 06511-2406



BRUNO BORTESI                                       BRYAN A PRIES                                        BRYAN R MCCARTHY & BARBARA MCCARTHY TR
VLN 1043                                            C/O RALPH'S HEATING & A/C                            UA 06/10/93 MCCARTHY FAMILY TRUST
PO BOX 025685                                       W174 58109 ADAM CT                                   100 THORNDALE DR UNIT #226
MIAMI, FL 33102-5685                                MUSKEGO, WI 53150                                    SAN RAFAEL, CA 94903-4560



BRYANT T GRANT JR                                   BUDGET TAX & ACCOUNT GERALDINE L KLINGBEIL PRESIDENTBUDNE C REINKE & DIANE C REINKE JT TEN
PO BOX 430291                                       1780 W FITCHBURG RD                                 2503 HENDERSON AVE
PONTIAC, MI 48343-0291                              LESLIE, MI 49251                                    SILVER SPRING, MD 20902-2039




BUELL JAMES FELTS                                   BUFORD GOLDSTEIN CUST ROBERT MICHAEL GOLDSTEIN       BURDETTE C POLAND & NANCY A POLAND TR
13508 117TH NE                                      U/THE TENN UNIFORM GIFTS TO MINORS ACT               UA 08/03/90 THE BURDETTE C POLAND & NANCY A
KIRKLAND, WA 98034                                  4609 HARRYS LN                                       6285 MELITA RD
                                                    DALLAS, TX 75229-5408                                SANTA ROSA, CA 95409-5729



BURGESS PARR HUDSON & CAROLYN S HUDSON TR           BURKHARD BARTHOLOME                                  BURNELL COOK CUST PHILLIP I COOK
HUDSON FAM LIVING TRUST UA 10/25/94                 NEUE RHEINGAU STR 13                                 U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT
PO BOX 163777                                       D-55129 MAINZ                                        2079 3RD CT
AUSTIN, TX 78716-3777                               GERMANY                                              COLOMA, WI 54930-9451



BURNETTA SMITH CUST GARY R SMITH                    BURT G LEWIS 3RD CUST SUZANNE C LEWIS                BURT KLEIN CUST STEVEN ALAN KLEIN UGMA NY
U/THE OHIO UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           29 CLARIDGE CIR
1185 US ROUTE 42                                    32 GARRISON ST APT 40-305                            MANHASSET, NY 11030-3928
MASON, OH 45040-9675                                BOSTON, MA 02116-5734



BURTON C COON & ILLEEN J COON TR                    BURTON H PALMER CUST JONATHAN M PALMER               BURTON MORACHNICK CUST TAMI LYNN MORACHNICK
UA 02/22/93 THE COON JOINT LIVING TRUST             U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           A MINOR U/ P L 55 CHAPTER 139 OF THE LAWS
PO BOX 354 LANE                                     6319 HAMPTON PLACE                                   7 OVERLOOK RD
LINDEN, MI 48451-0354                               ELKRIDGE, MD 21075-6184                              SCARSDALE, NY 10583-3011



BURTON S PALMER & MARY C PALMER TR                  BURTROM L STAMPFL                                    BYRON CHRISTOPHER SHUTZ JR
UA 10/21/91 BURTON S PALMER & MARY C PALMER TRUST   18315 116TH ST                                       3306 181ST PLACE NE
PO BOX 537                                          BRISTOL, WI 53104-9276                               REDMOND, WA 98052-5933
STANDISH, MI 48658-0537



BYRON E BLANKINSHIP & MARY L BLANKINSHIP TR         BYRON L HUNSINGER & ALEENE HUNSINGER TR              BYRON LEE REINSCH
BLANKINSHIP FAM TRUST UA 01/04/00                   HUNSINGER FAMILY LIVING TRUST UA 03/20/06            7370 S DECATUR BLVD
105 TEMELEC CIR                                     27 NORTHGREN PARKWAY PO BOX 375                      LAS VEGAS, NV 89139-5601
SONOMA, CA 95476-8021                               BROWNSBURG, IN 46112-0375
                    09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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BYRON M GREEN                                       BYRON SNIDER & HELEN SNIDER TR                    BYRON TAYLOR & JOANNE TAYLOR TR
PO BOX 214257                                       BYRON SNIDER & HELEN SNIDER TRUST UA 09/29/92     UA 04/22/94 THE TAYLOR FAMILY REVOCABLE
AUBURN HILLS, MI 48321                              224 EVERSOLE ST                                   BOX 577
                                                    HAZARD, KY 41701-1328                             WOODLAKE, CA 93286-0577



C A FLOWERS JR                                      C ALLISON GLOYD JR CUST CHARLES A GLOYD 3RD       C ALLISON GLOYD JR CUST CHRISTINE A GLOYD
PO BOX #970887                                      U/THE DEL UNIFORM GIFTS TO MINORS ACT             U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
YPSILANTI, MI 48197-0815                            11389 URIEVILLE LN                                506 GLENNSIDE AVE CARRCROFT
                                                    WORTON, MD 21678-1716                             WILMINGTON, DE 19803-4328



C ARTHUR SULLIVAN & CARMEL S SULLIVAN TR            C CLAIR GARRISON & SARABEL W GARRSION TR          C CLEVELAND GAMBILL
C AND A SULLIVAN FAMILY TRUST 2/10/00               UA 12/13/1996 C CLAIR GARRISON REV TRUST          & EDWARD L GAMBILL JR EXEC U/W MARGARET CLEVELAND
41 BRADLEY RD                                       1919 CANTERBURY ROAD                              GAMBILL
UTICA, NY 13501-6618                                EMPORIA, KS 66801                                 808 RUBEL AVENUE
                                                                                                      LOUISVILLE, KY 40204-1727


C DEAN WILMOTH & HARRIETT O WILMOTH TR              C DOUGLAS ACORD CUST ANGELO CHARLES ACORD         C EUGENE DE GROFF TR
UA 01/30/92 C DEAN WILMOTH & HARRIETT O WILMOTH     U/THE MICH UNIFORM GIFTS TO MINORS ACT            UA 05/27/92 C EUGENE DE GROFF REVOCABLE INTERVIVOS
TRUST                                               48746 LORENZO DR                                  TRUST
8217 BROWNSVILLE LANE                               MACOMB, MI 48044-5603                             113 ROCKLAND RD
BETHANY, OK 73008-3038                                                                                WASHINGTON, ME 04574-3039


C F LINDSAY HEWITT CUST C F LINDSAY HEWITT JR       C F SCHREIBER JR & I SCHREIBER TR                 C FRANKLIN JORDAN & ANNE L JORDAN TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT               CHARLES F SCHREIBER JR CPA PROFIT SHARING TR UA   UA 10/22/98 THE C FRANKLIN JORDAN REV
17 RIDGE RD                                         01/01/86                                          2828 MEADOWGREEN CT
COLD SPRING HARBOR, NY 11724-1809                   PO BOX 31402                                      CHESAPEAKE, VA 23321
                                                    WALNUT CREEK, CA 94598-8402


C J MURPHY III CUST COLLEEN J MURPHY                C JOSEPH YUNCKER & CATHERINE A YUNCKER TR         C KENNETH HOWELL & JEANNE I HOWELL TR
A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT     UA 09/23/90 C JOSEPH YUNCKER & CATHERINE          C KENNETH HOWELL LIVING TRUST UA 11/12/92
517 WYCLIFF WAY                                     5543 PEMBROKE                                     38 FAIRWAY DRIVE
ALEX, LA 71303-2943                                 SANTA BARBARA, CA 93111-1441                      ALEXANDRIA, IN 46001-2812



C LYNN STEINHAUS                                    C MAXWELL SCRIMGEOUR CUST KEVIN SCRIMGEOUR        C R WILSON
PO BOX 1303                                         U/THE MD UNIFORM GIFTS TO MINORS ACT              PO BOX 251143
COLUMBIA, MO 65205-1303                             11112 MITSCHER ST                                 PLANO, TX 75025-1143
                                                    KENSINGTON, MD 20895-1322



C SAMUEL STEINMETZ CUST SCOTT M STEINMETZ UTMA MI   C STANLEY FETTER CUST MISS SHARON R FETTER        C WALTER LINGERFELT & MRS DORIS G LINGERFELT TEN COM
8500 DALTON RD                                      U/THE OHIO UNIFORM GIFTS TO MINORS ACT            SATIRO DE OLIVEIRA 6/1201
ONSTED, MI 49265-9633                               424 S COLUMBIA AVE                                CHAME-CHAME
                                                    COLUMBUS, OH 43209-1629                           40 140-510 SALVADOR BA
                                                                                                      BRAZIL


C WILLIAM PHILLIPS CUST DAVID W PHILLIPS            CALVARY EPISCOPAL CHURCH OF WILKES BARRE PA       CALVIN HEINSOHN
UNDER THE FLORIDA GIFTS TO MINORS ACT               371-373 N MAIN ST                                 1560 FM109
6 MONTEREY CIR                                      WILKES-BARRE, PA 18702-4409                       NEW ULM, TX 78950-5122
ORMOND BEACH, FL 32176-2318



CALVIN L GRESS & JOAN M GRESS TR                    CALVIN L SMITH & INEZ I SMITH TR                  CAMERON A MACDONALD & SARA LINDA DOMINGUEZ MACDON
CALVIN L & JOAN M GRESS LIVING TRUST UA 04/25/96    SMITH FAMILY REVOCABLE LIVING TRUST UA 10/22/96   THE CAMERON & LINDA TRUST UA 03/11/03
12144 SW EGRET CIRCLE #1104                         40 SUN VALLEY DR                                  22342 HOMESTEAD PL
LAKE SUZY, FL 34269-8795                            FREMONT, OH 43420-8421                            SANTA CLARITA, CA 91350-3673
                    09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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CAMILE A DANGELO CUST DANIEL ANTHONY DANGELO        CAMPBELL M ANDERSON & MARY ANN E AMBROSINI-ANDERSON
                                                                                                      CANDICE
                                                                                                        TR     A COOPER
UNDER IL TRANSFERS TO MINORS ACT                    CAMPBELL & MARY ANN ANDERSON REV LIVING TRUST UA  ATTN CANDICE A COOPER-GREINKE
23 HIDDEN GLEN DR                                   04/26/99                                          10166 64TH AVE
SPARTA, NJ 07871-3843                               44 REPOSA WAY                                     ALLENDALE, MI 49401-8357
                                                    SAN FRANCISCO, CA 94127-1824


CANUTO SANCHEZ JR & BEVERLY A SANCHEZ TR            CARA M FLAHERTY                                   CARL A JOHNSON & ROSALIE R JOHNSON TR
CANUTO & BEVERLY SANCHEZ UA 09/22/98                PO BOX 542502                                     UA 03/01/90 CARL A & ROSALIE R JOHNSON TRUST
BOX 373                                             MERRITT IS, FL 32954                              3020 CANNON CT
SANTA ROSA, NM 88435-0373                                                                             DIAMOND SPRINGS, CA 95619-9672



CARL A WEINMAN & DOLORES C WEINMAN JT TEN           CARL BERND TIMMER                                 CARL C SCHREINER
1590 CHAMPLIN                                       CARL-SONNENSCHEIN-STR 77                          5145 WHEELOCK ROAD
DELLWOOD, MO 63136-2111                             41466 NEUSS                                       TROY, OH 45373-9545
                                                    REPL OF
                                                    GERMANY


CARL CIRINELLI & ALFRED A CIRINELLI TR              CARL D KIRTS & ARLENE C KIRTS TR                  CARL E HEINZ
ANGELO & LAURETTA CIRINELLI TRUST UA 03/01/94       CARL D & ARLENE C KIRTS FAM TRUST UA 01/14/98     8268 TUCKER RD R 2
47 LENOX RD                                         130 GOLANVYI TRL                                  EATON RAPIDS, MI 48827-9512
ROCKAWAY, NJ 07866-2255                             VONORE, TN 37885-2688



CARL ELWOOD LAINE & VIRGINIA E LAINE TR             CARL G HOLSTEIN & SHARON L HOLSTEIN JT TEN        CARL G LEININGER
UA 02/26/90 CARL ELWOOD LAINE & VIRGINIA E LAINE    518 CLAIR HILL                                    610 PHILADELPHIA RD
600 GLORIA ROAD                                     ROCHESTER HILLS, MI 48309-2115                    JOPPA, MD 21085-3121
ARCADDIA, CA 91006-2123



CARL G SILVERNAIL & PHYLLIS M SILVERNAIL TR         CARL H CHORMAN & JOYCE A CHORMAN TR               CARL H KOLB & JACQUELINE S KOLB TR
CARL G & PHYLLIS M SILVERNAIL TRUST UA 12/14/00     CHORMAN FAMILY REVOCABLE TRUST UA 11/02/00        RICHARD E KOLB REV TRUST UA 06/20/05
6910 EAST SANILAC RD                                3235 ELIZABETH DR                                 530 WING PT
KINGSTON, MI 48741-9308                             UNIT 22                                           COLDWATER, MI 49036-8020
                                                    PERRY, OH 44081-9102


CARL H STEINBOCK                                    CARL H TURBIN & L MABEL TURBIN TR                 CARL J BLUMENSTEIN & A WILMA BLUMENSTEIN JT TEN
2321 STONEFIELD DR                                  REV TR 01/19/90 U-A CARL H & L MABEL TURBIN       468 N 19TH
FLUSHING, MI 48433-2664                             PO BOX 263                                        CANON CITY, CO 81212-2427
                                                    HARRISVILLE, MI 48740-0263



CARL J ESPOSITO & SALLY R ESPOSITO TR               CARL J KLEIN & MARGARET A KLEIN JT TEN            CARL J MONACO & ROSETTA M MONACO TR
ESPOSITO FAMILY REVOCABLE LIVINGTRUST UA 12/30/92   40020 VIA OPORTA                                  UA 04/17/91 CARL J MONACO & ROSSETTA M MONACO REV
357 YVONNE DRIVE                                    MURRIETA, CA 92562-5584                           11 ROYAL PALM WAY UNIT 204
YOUNGSTOWN, OH 44505-1968                                                                             BOCA RATON, FL 33432-8714



CARL K LAPHAM                                       CARL KOPCZYK & REBECCA KOPCZYK TR                 CARL L BREITINGER & ELFREDA E BREITINGER TR
PO BOX 420461                                       UA 11/28/2006 CARL & REBECCA KOPCZYK LIV TRUST    UA 12/04/85 BREITINGER FAMILY TRUST
PONTIAC, MI 48342-0461                              37397 BRETT DRIVE                                 25815 MCBEAN PK 171
                                                    NEW BALTIMORE, MI 48047                           VALENCIA, CA 91355



CARL L LONGWORTH JR & JEAN K LONGWORTH TR           CARL LEON ROBINSON & KATHRYN STOVER ROBINSON TR   CARL LEROY KLEIN
LONGWORTH FAMILY LIVING TRUST UA 04/20/93           ROBINSON FAMILY TRUST UA 08/06/87                 344 GROVE STREET
13 AMESBURY CT                                      5951 SADDLE HORSE AVE                             TONAWANDA, NY 14150-3952
CROSSVILLE, TN 38558-4404                           LAS VEGAS, NV 89122-3412
                       09-50026-mg        Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                             Part 8 of 8 Pg 43 of 440
CARL M ANDERSEN & MARJORIE E ANDERSEN TR             CARL MAGNANO CUST JAMES MAGNANO                      CARL MYERS CUST CATHY MEYERS
CARL M & MARJORIE E ANDERSEN REVOCABLE               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
116 CARAN ROAD                                       RD 2 2333 FARM TO MARKET RD                          BOX 722
WILLIAMSBURG, VA 23185-2950                          JOHNSON CITY, NY 13790-4511                          SEARCHLIGHT, NV 89046-0722



CARL PURNELL CUST GARY PURNELL                       CARL PURNELL CUST JEFF PURNELL                       CARL R HUBER & NANCY J HUBER TR
U/THE ARKANSAS UNIFORM GIFTS TO MINORS ACT           U/THE ARKANSAS UNIFORM GIFTS TO MINORS ACT           UA 04/11/91 CARL R HUBER & NANCYJ HUBER
3219 IMPERIAL VALLEY                                 140 RAVENWOOD PL                                     5125 WOODHAVEN CT
LITTLE ROCK, AR 72212-3111                           HOT SPRINGS, AR 71901-7335                           FLINT, MI 48532-4195



CARL R MURPHY                                        CARL R WHALEN CUST CARL R WHALEN JR                  CARL REINDL
#164                                                 U/THE PA UNIFORM GIFTS TO MINORS ACT                 95 WICKS RD
11300 124TH AVE N                                    153 LYNCH ROAD                                       COMMACK, NY 11725-4415
LARGO, FL 33778-2752                                 ST MARYS, PA 15857-3536



CARL REINKE CUST JENNIFER JEAN REINKE UGMA NY        CARL S KELLEY & MARY M KELLEY TR                     CARL STIER CUST BARBARA L STIER
11 CEDAR LANE                                        UA 02/16/93 CARL AND LINDA KELLEY TRUST              U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
SETAUKET, NY 11733-3101                              1011 12 STREET                                       3060 GRAND BAY BLVD UNIT 175
                                                     HUNTINGTON BEACH, CA 92648-3414                      LONGBOAT KEY, FL 34228-4179



CARL THOMAS BREININGER & LORRAINE CHARLOTTE BREININGER
                                                   CARLJTVTEN
                                                           CARGILL JR TR                                  CARL V WURSTER II & VIRGINIA B WURSTER TR
715 RIVERSIDE DR                                   DECLARATION OF TRUST CARL VERL CARGILL JR UA 7/6/99    CARL & VIRGINIA WURSTER TRUST UA 07/27/04
TOMS RIVER, NJ 08753-7234                          1167 EMERALD ST                                        548 GALEN CIRCLE
                                                   SAN DIEGO, CA 92109-2921                               ANN ARBOR, MI 48103-6612



CARL W HOLSTEIN                                      CARL W SIMCOX & MARTHA J SIMCOX TR                   CARL WALTERS CUST ANDREW WHITFIELD WALTERS UNDERT
504 OXFORD DR                                        UA 03/17/94 CARL W SIMCOX & MARTHA J SIMCOX REV TR   MINROS ACT
HARRISON, AR 72601-4625                              7237 BISON                                           4205 N LAKE SHORE DR
                                                     WESTLAND, MI 48185-4114                              HARBOR SPGS, MI 49740-9123



CARL WELLINGTON KOINER & HELEN ELIZABETH KOINER TR   CARLA ANN GERSHBEIN SOLAR TR                         CARLA S CONRADT
CARL WELLINGTON & HELEN ELIZABETH                    CARLA ANN GERSHBEIN SOLAR TRUST UA 04/19/97          18191 536TH AVE
1320 VINEYARD DR                                     606 BORDEAUX COURT                                   AUSTIN, MN 55912-5889
TEMPLETON, CA 93465-9403                             BUFFALO GROVE, IL 60089-1047



CARLA S SCHEIN                                       CARLEE H DIAZ USUFRUCTUARY DAVID D DIAZ & STEPHEN H DIAZ
                                                                                                          CARLEEN
                                                                                                              NAKEDYOWNERS
                                                                                                                     JOHNSON TR
141 E 88TH ST                                        SUBJECT TO THE USUFRUCTUARY OF CARLEE H DIAZ         & WALTER W JOHNSON TR UA 09/14/06 WALTER W
NEW YORK, NY 10028-1323                              2504 CHUCHURA DR                                     JOHNSON & CARLEEN Y
                                                     BIRMINGHAM, AL 35244-2270                            12368 PARKIN LN
                                                                                                          FENTON, MI 48430


CARLENE B RYAN & WILLIAM P RYAN TR                   CARLETTA R GARLINGTON                                CARLOS A RICHTER CUST CARLOS A RICHTER
CARLENE B RYAN LIVING TRUST UA 06/05/01              PO BOX 171794                                        U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
9207 LOVEJOY ROAD                                    KANSAS CITY, KS 66117-0794                           206 RIVERHILL BLVD
LINDEN, MI 48451-9636                                                                                     KERRVILLE, TX 78028-6531



CARLOS A SULZER                                      CARLOS B BUECHLER                                    CARLOS E GAMEZ S
AV GOIAS #1805 G M BRASIL                            AV ATANTICA 3120 APT 2102                            1210-760 MOHAWK RD W
SAO CAELANO DO SUL                                   B CAMBORIU SANTA CATARINA                            HAMILTON ON
SAO PAULO                                            88330 000 BRAZIL                                     L9C 6P6 CANADA
09550-900 BRAZIL
                     09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 44 of 440
CARLOS PEREZ CORDOVA                                 CARLOTTA PIRANEO                                     CARLTON A RASMUSSEN CUST SARA KIRSTEN RASMUSSEN
& LAURA ELENA PEREZ ALFARO & MAGDALENA S PEREZ       2301 STEINWAY ST                                     U/THE MICH UNIFORM GIFTS TO MINORS ACT
ALFARO JT TEN                                        LONG ISLAND CITY, NY 11105-1911                      3272 VALLEY DRIVE
1474 W PRICE RD 404                                                                                       ALEXANDRIA, VA 22302-2108
BROWNSVILLE, TX 78520-8687


CARLTON E BENJAMIN                                   CARLTON E BENJAMIN & EVELYN M BENJAMIN TR            CARLTON R KLEIN
& EVELYN M BENJAMIN & ELAINE ANN BENJAMIN ROSNER &   BENJAMIN LIVING TRUST UA 08/25/97                    82-17 211TH ST
JUNE ELLEN HART TR                                   26 LOUISA CT                                         QUEENS VILLAGE, NY 11427-1313
26 LOUISA COURT                                      NORTHPORT, NY 11768-3017
NORTHPORT, NY 11768


CARLTON R RESNICK CUST MICHAEL L RESNICK             CARMELLA M GESCHWENDER                               CARMELO CARONE JR CARMELO A CARONE
U/THE CALIF UNIFORM GIFTS TO MINORS ACT              & RAYMOND L GESCHWENDER & RICHARD W                  & MRS MARY CATHERINE NICHOLSON JT TEN
164 RIVERSIDE DR                                     GESCHWENDER JT TEN                                   PO BOX 2804
DEERFIELD, IL 60015-4869                             17 BRADWOOD RD                                       MARTINEZ, CA 94553-7804
                                                     WEST SENECA, NY 14224-4221


CARMEN ESTUDILLO EXECUTRIX U-W ROBERTO ESTUDILLO     CARMEN L WALTROUS                                    CARMEN M LASAR & WALTER G GRADY TR
C/O CARMEN ESTUDILLO                                 & LEONE L WALTROUS & CLARENCE L WALTROUS JR &        DANIEL H & CARMEN M LASAR LIVING TRUST UA 04/21/00
PO BOX 430205                                        DOLORES L WALTROUS &                                 612 WATERVIEW ISLE
SAN YSIDRO, CA 92143-0205                            3046 BRIGHTON 3 RD ST                                ALAMEDA, CA 94501-5650
                                                     BROOKLYN, NY 11235-7409


CARMIN J MOUTINHO CUST CARMIN J MOUTINHO JR          CARMINE J VITO CUST GREGORY JOHN VITO                CAROL A CARPENTER
U/THE MASS UNIFORM GIFTS TO MINORS ACT               U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         27614 238TH AVE SE
432 EAST ST                                          24112 LAPWING LANE                                   MAPLE VALLEY, WA 98038-5103
LUDLOW, MA 01056-3011                                LAGUNA NIGUEL, CA 92677-1381



CAROL A DUFFY & JEAN C DUFFY TR                      CAROL A JAMIESON & CHRISTOPHER J REXIN TR            CAROL A LINDEMAN & CLAYTON F LINDEMAN JR TR
UA 10/02/89 CAROL A DUFFY & JEANC DUFFY              CAROL A JAMIESON TRUST UA 9/03/03                    LINDEMAN FAMILY REVOCABLE LIVING TRUST UA 10/04/05
4870 90TH PLACE S E                                  1309 SHOEMAKER                                       9898 EAST IDLEWOOD DR
MERCER ISLAND, WA 98040-4702                         WESTLAND, MI 48185-7700                              TWINSBURG, OH 44087-1260



CAROL A SHAVER & LARRY R SHAVER TR                   CAROL A SMALL & DELL J SMALL TR                      CAROL ANN DOSSEY & RICHARD E DOSSEY TR
CAROL A SHAVER LIVING TRUST UA 07/14/05              DELL J & CAROL A SMALL LIVING TRUST UA 11/17/00      REVOCABLE TRUST UA 02/19/82 CAROL ANN
274 E LIVINGSTON RD                                  2356 ALLARD AVE                                      3739 BRIDGER DR N
HIGHLAND, MI 48356-3100                              GROSSE POINTE WOOD, MI 48236-1914                    CARMEL, IN 46033-4169



CAROL ANN LOZITO                                     CAROL ANN WATSON                                     CAROL ANN WESTFORT CUST SUSAN LYNN WESTFORT
PO BOX 670674                                        PO BOX 442384                                        U/THE CONN UNIFORM GIFTS TO MINORS ACT
MARIETTA, GA 30066                                   DETROIT, MI 48244-2384                               543 ALLEN AVE
                                                                                                          MERIDIAN, CT 06451-3607



CAROL ANNE SCHMAEDEKE                                CAROL B KLEIN                                        CAROL C WEINBERG & YVONNE S ALLISON JT TEN
PO BOX 770756                                        2306 HAYWARD DRIVE                                   4181 CR 5800
2565 APRE SKI WAY                                    LOUISVILLE, KY 40242-6426                            INDEPENDENCE, KS 67301-7962
STEAMBOAT SPRINGS, CO 80477-0756



CAROL CHADWELL PERSONAL REP                          CAROL D ALEXANDER                                    CAROL D DUFF CUST CHRISTOFER HAMILTON DUFF
& ASSIGNEE OF THE ESTATE OF CRYSTAL V HOUSE          & ERIC W ALEXANDER & JUDITH M ALEXANDER & ANDREA E   A MINOR UNDER THE LAWS OF GEORGIA
DECEASED                                             BINION JT TEN                                        3031 NORTON COURT S E
BOX 82                                               1008 ARISTA BL                                       SMYRNA, GA 30082-2127
OTTER LAKE, MI 48464-0082                            VALRICO, FL 33594-6729
                      09-50026-mg         Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                           Part 8 of 8 Pg 45 of 440
CAROL D DUFF CUST JENNIFER LAUREN DUFF             CAROL D WHITE & ROBERT A WHITE TR                   CAROL DOBBERSTEIN
A MINOR UNDER THE LAWS OF GEORGIA                  ROBERT A & CAROL D WHITE REVOCABLE TRUST UA         20811 SUNSET AVE
3031 NORTON COURT S E                              07/22/99                                            WARREN, MI 48091-4672
SMYRNA, GA 30082-2127                              509 ELM ST
                                                   HENDERSON, NV 89012-4583


CAROL DOUCETTE                                     CAROL E CALSO & JOHN R CALSO TR                     CAROL FUGERE FRENCH USUFRUCT CHRISTIAN DMYTRO FRE
306-700 WILSON RD N                                CAROL ELLEN CALSO TRUST NO 1 UA 5/25/00             & STEPHEN DMYTRO FRENCH NAKED OWNERS
OSHAWA ON                                          53352 CHESIRE                                       1670 SHANNON DR
L1G 7T5 CANADA                                     SHELBY TWP, MI 48316-2713                           LEWISVILLE, TX 75077-2430



CAROL HELEN BEHLING & RICHARD ANTHONY BEHLING TR   CAROL J RUNKLE CUST MEGHAN ASHLEY RUNKLE            CAROL KAUFMAN
UA 11/19/1996 THE BEHLING FAMILY TRUST             UNDER THEFLORIDA GIFTS TO MINORS ACT                6700 150TH AVE N LOT 219
2543 CITRUS LN                                     1165 IVYGLEEN CIRCLE                                CLEARWATER, FL 33764-7181
LK HAVASU CTY, AZ 86403                            BLOOMFIELD HILLS, MI 48304



CAROL L MACLEOD                                    CAROL L WILLIAMS                                    CAROL LEBRECHT
306-700 WILSON RD N                                #124 1859 WOODWAY PL                                5850 207 ST ST
OSHAWA ON                                          BURNABY BC                                          BAYSIDE, NY 11364-1731
L1G 7T5 CANADA                                     V5B 4T6 CANADA



CAROL LEE STEIN                                    CAROL LOUISE THOMAS CUST CHARLES JOSEPH THOMAS      CAROL LOW CUST JAMES RICHARD LOW
10427 TIFFANY VILLAGE CT                           U/THE MASS UNIFORM GIFTS TO MINORS ACT              U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
ST LOUIS, MO 63123-8000                            PO BOX 1615                                         19543 PARSONS AVE
                                                   NAPLES, FL 34106-1615                               CASTRO VALLEY, CA 94546-3418



CAROL M NORFLEET & RONALD J C NORFLEET TR          CAROL MARIE BOESPFLUG                               CAROL MOORE SKINNER
CAROL MARIE NORFLEET REVOCABLE TRUST UA 05/17/99   25720 136TH AVE SE                                  2608 182ND PL
PO BOX 204                                         KENT, WA 98042-3522                                 REDONDO BCH, CA 90278-4504
WILLISTON, FL 32696-0204



CAROL O JENNINGS CUST CONLEY D SHAVER              CAROL P JONES & ELMER W JONES TR                    CAROL PRINCE
A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT    CAROL P JONES LIVING TRUST UA 02/09/99              PO BOX 211040
ATTN CAROL O MCELROY                               2006 HALYARD LANE                                   DETROIT, MI 48221-5040
103 BURROW COURT                                   RESTON, VA 20191-3610
LEXINGTON, NC 27295-9087


CAROL R GOLDSTEIN                                  CAROL R LEVINE CUST DEBRA K LEVINE                  CAROL R REINKE
17 LUSITANO RD                                     A MINOR U/ARTICLE 8-A OF THE PERS PROPERTY LAW OF   2555 ANDEN PLACE
MANALAPAN, NJ 07726-9572                           NEW                                                 SAGINAW, MI 48604-9740
                                                   4 EQUESTRIAN COURT
                                                   UPPER BROOKVILLE, NY 11545-2638


CAROL R REINKE & NORMAN R REINKE JT TEN            CAROL REINER                                        CAROL ROTH BEDIGIE
2555 ANDEN PLACE                                   4/101 ELVIRA STREET                                 & JEAN-CLAUDE BEDIGIE & MICHELLE J CHIRPICH
SAGINAW, MI 48604-9740                             PALMYRA WA                                          & DANIELLE N BEDIGIE JT TEN
                                                   6157 AUSTRALIA                                      2212 BUSHNELL DR
                                                                                                       COLUMBIA, MO 65201-6112


CAROL S FIER CUST LINDA BETH SHEIN FIER UGMA NY    CAROL SALOMON CUST PATTI SALOMON                    CAROL SALOMON CUST SID SALOMON
330 LINDEN LN                                      UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW      UNDER THE MISSOURIUNIFORM GIFTS TO MINORS LAW
MERION, PA 19066-4211                              265 12 POINT BUCK TRL                               265 12 POINT BUCK TRL
                                                   DURANGO, CO 81301-8943                              DURANGO, CO 81301-8943
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                             Part 8 of 8 Pg 46 of 440
CAROL T & MICHAEL A COLOTTI TR                       CAROL WEINBERG                                        CAROL WEINMAN
CAROL T & MICHAEL A COLOTTI REVOCABLE TRUST UA       520 MANSION DR                                        80 NORTH MOORE ST APT 23G
09/22/98                                             BRENTWOOD, TN 37027-5903                              NEW YORK, NY 10013-2733
38 CARRIAGE HOUSE LN
BOXFORD, MA 01921-1608


CAROL WINANT                                         CAROLE ABRAMS                                         CAROLE C COOPER CUST KATHLEEN COOPER
PO BOX 351242                                        301 174TH ST                                          U/THE CAL UNIFORM GIFTS TO MINORS ACT
PALM COAST, FL 32135                                 L01                                                   C/O KATHLEEN COOPER
                                                     SUNNY ISL BCH, FL 33160-3228                          4680 SW DOGWOOD DRIVE
                                                                                                           LAKE OSWEGO, OR 97035-8412


CAROLE D FRAZZINI TR UA 07/14/2005 CAROLE D FRAZZINI LIVING
                                                         CAROLEE
                                                            TRUST CHRISMAN CUST DARYL ROBERT CHRISMAN      CAROLEE CHRISMAN CUST SHARON RENEE CHRISMAN
10619 221ST LN NE                                        U/THE MICH UNIFORM GIFTS TO MINORS ACT            U/THE MICH UNIFORM GIFTS TO MINORS ACT
UNIT 204                                                 3428 ADAMS SHORE DR                               3428 ADAMS SHORE DR
REDMOND, WA 98053-2019                                   WATERFORD, MI 48329-4202                          WATERFORD, MI 48329-4202



CAROLEE CHRISMAN CUST VICKI LYNN CHRISMAN            CAROLINE E HAUSLER TR                                 CAROLINE L STEIN TR U/DECL OF TR WITH CAROLINE L STEIN
U/THE MICH UNIFORM GIFTS TO MINORS ACT               CAROLINE E HAUSLER TRUST UA 04/25/89 AMENDED          BOX 6065
3428 ADAMS SHORE DR                                  01/03/96                                              NORTH PLYMOUTH, MA 02362-6065
WATERFORD, MI 48329-4202                             526 WARWICK DR
                                                     VENICE, FL 34293-4220


CAROLINE M PETRONI TR                                CAROLINE R HAINKA CUST RYAN DAVID HAINKA UTMA MN      CAROLINE S PERRY
THE FRANK D PETRONI & CAROLINE MPETRONE              8880 235TH STREET W                                   PO BOX 190024
SURVIVOR'S TR 09/15/87                               LAKEVILLE, MN 55044-8523                              BURTON, MI 48519-0024
6805 ALMADEN ROAD
SAN JOSE, CA 95120-3105


CAROLINE SILVERMAN CUST NORMAN SILVERMAN             CAROLYN A ELFORD TR                                   CAROLYN I DIMMIG & JAMES D DIMMIG & L JAMES BRANGAN T
U/THE ILL UNIFORM GIFTS TO MINORS ACT                CAROLYN A ELFORD REVOCABLE LIVING TRUST UA 04/13/06   UW DONALD E DIMMIG FBO CAROLYN I
3 METAWA LN                                          1687 WADE RD                                          BRANGAN C/O 608 HUNTINGDON PIKE
RIVERWOODS, IL 60015-3551                            OWOSSO, MI 48867-9368                                 ROCKLEDGE, PA 19046



CAROLYN J WYZGOSKI TR                                CAROLYN JEAN WRIGHT CUST DAVID M WRIGHT III           CAROLYN JOHNK
UNDER TRUST AGREEMENT 08/05/86 M-B CAROLYN J         UNDER THE FLORIDA GIFTS TO MINORS ACT                 24334 490TH
WYZGOSKI                                             4291 LANTERN DR                                       HANCOCK, IA 51536-4198
38 SMITH DR                                          WINSTON SALEM, NC 27106-2021
PONTIAC, MI 48341-1855


CAROLYN K HENDERSON TR                               CAROLYN K MC CONOMY & LOWELL H DUBROW TR              CAROLYN KIDD PLUNK TR
UA 06/15/2007 JOSEPH B HENDERSON & CAROLYN K         U-A WITH GERALD MC CONOMY 5/10/79                     UA 11/21/88 KATHARINE EDWARDS KIDD & HARVEY T KIDD
HENDERSON TRUST                                      315 KEITHWOOD ROAD                                    65 PARKWAY COVE E
30929 TAIL FEATHER RUN                               WYNNEWOOD, PA 19096-1213                              HERNANDO, MS 38632-1200
LAUREL, DE 19956


CAROLYN LEE BEASLEY TR UA 06/08/2007 DOUGLAS RAYMOND CAROLYN
                                                     BEASLEY LOVE CUST KIMBERLY ANNE LOVE                  CAROLYN M HUCKELS TR
& CAROLYN LEE BEASLEY AB LIVING TRUST                U/THE CALIF UNIFORM GIFTS TO MINORS ACT               UA 10/09/2008 CAROLYN M HUCKELS REVOCABLE LIVING
74 LA CUESTA RD                                      3280 JULIO AVENUE                                     TRUST
ORINDA, CA 94563                                     SAN JOSE, CA 95124-2431                               4008 PAUMIER AVE NE
                                                                                                           LOUISVILLE, OH 44641


CAROLYN R PEZZULICH                                  CAROLYN R SCHICKEL                                    CAROLYN R WYCKOFF
PO BOX 383612                                        460-125 PONDEROSA BLVD                                PO BOX 860336
WAIKOLOA, HI 96738-3612                              JANESVILLE, CA 96114-9420                             ST AUGUSTINE, FL 32086-0336
                    09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                          Part 8 of 8 Pg 47 of 440
CAROLYN RITA S WATSON TR                          CAROLYN S DOERFERT & GUNTHER H DOERFERT TR           CAROLYN S GREENE
CAROLYN RITA S WATSON FAMILY TRUST UA 08/07/97    GUNTHER AND CAROLYN DOERFERT TRUST UA 08/15/03       23302 127TH SE
306 BREWSTER RD                                   3613 LAKE SHORE DR                                   KENT, WA 98031-3662
MADISONVILLE, LA 70447-9320                       KINGSPORT, TN 37663-3373



CAROLYN S WEINSTEIN                               CARRIE B WHITING                                     CARROLL F MARQUARD &LUNA F MARQUARD TR
48 WEATHERBEE DR                                  7118 DELL ROSE DR                                    CARROLL & LUNA MARQUARD TRUST 12/10/86
WESTWOOD, MA 02090-2137                           DALLAS, TX 75214-3506                                BOX 1609
                                                                                                       RANCHOSANTA FE, CA 92067-1609



CARROLL G ARNDT & EVELYN E ARNDT TR               CARROLL G SMYLOR                                     CARROLL W LOCKMAN & SHIRLEY E LOCKMAN TR
CARROLL G ARNDT LIVING TRUST UA 05/22/97          PO BOX 310604                                        UA LOCKMAN LIVING TRUST 03/23/92
104 COLUMBIA AVENUE                               FLINT, MI 48531-0604                                 23006 N 32ND DR
ELYRIA, OH 44035-6002                                                                                  PHOENIX, AZ 85027-1098



CARTHONE WHITING                                  CARY S WINSLOW                                       CASEY BORKOWICZ CUST BARRY T BORKOWICZ
1590 LEMON TREE DR                                PO BOX 2562 931 WHITEDALE                            U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
CINCINNATI, OH 45240-2837                         VISALIA, CA 93277                                    1572 MARQUETTE AVE
                                                                                                       NAPERVILLE, IL 60565-6711



CASEY L STENGEL                                   CASIMER C RADOMSKI & MARY E RADOMSKI TR              CASIMIR L RYGIEL CUST ALYCE M RYGIEL
C/O ALAN STENGEL                                  CASIMER RADOMSKI TRUST UA 09/13/99                   U/THE N C UNIFORM GIFTS TO MINORS ACT
40946 178TH ST E                                  4557 LOWER RIVER RD                                  5605 GLENBROOK CIRCLE
LANCASTER, CA 93535-7517                          LEWISTON, NY 14092                                   PLANO, TX 75093-2429



CASIMIR L RYGIEL CUST DAVID J RYGIEL              CASIMIR L RYGIEL CUST JAMES A RYGIEL                 CASIMIR L RYGIEL CUST ROBERT C RYGIEL
U/THE N C UNIFORM GIFTS TO MINORS ACT             U/THE N C UNIFORM GIFTS TO MINORS ACT                U/THE N C UNIFORM GIFTS TO MINORS ACT
14 OVERTURE LN                                    36964 TINA DR                                        5605 GLENBROOK CIR
ALISO VIEJO, CA 92656-2816                        FARMINGTON HILL, MI 48335-3657                       PLANO, TX 75093-2429



CASSANDRA DENISE LUCKETT                          CATHERINE A CHRIST & MARGARET M CHRIST TR            CATHERINE A GREENE TR
PO BOX 401011                                     CATHERINE A CHRIST TRUST UA 10/22/98                 UA 02/22/2007 DOLORES M DOMAGATA DECLARATION OF
REDFORD, MI 48240-9011                            2520 WITTERS ST                                      TRUST
                                                  SAGINAW, MI 48602-3863                               2568 COUNTY ROAD 500N
                                                                                                       EL PASO, IL 61738


CATHERINE A ONEIL CUST CATHERINE T ONEIL          CATHERINE ALEMI PALMERINO TR                         CATHERINE B CUBBERLEY & JUDITH C LEGRAND & WILLIAM C
U/THE MASS UNIFORM GIFTS TO MINORS ACT            CATHERINE ALEMI PALMERINO FAMILY TRUST UA 02/22/97   CUBBERLEY FAMILY TRUST UA
PO BOX 1123                                       42 EUSTIS AVE                                        PO BOX 95
SOUTH DENNIS, MA 02660-1123                       WAKEFIELD, MA 01880-1547                             WILSON, NC 27894-0095



CATHERINE B MAYHEW CUST ANN CATHERINE MAYHEW      CATHERINE C EWING                                    CATHERINE D WALLACK CUST TERESA MARGARET WALLACK
U/THE MICH UNIFORM GIFTS TO MINORS ACT            P O BOX 780578                                       A MINOR UNDER PL 55 CH 139 OF THE LAWS OF NEW
4474 CHERRYWOOD DR                                SEBASTIAN, FL 32978                                  JERSEY
TROY, MI 48098-4260                                                                                    8 CLARKS LN
                                                                                                       NIANTIC, CT 06357-1532


CATHERINE DALIA                                   CATHERINE G DUFFEY & BARBARA D BOYLE TR              CATHERINE H MOODY
45 BERKSHIRE RD                                   UA 02/18/2003 WORTHER A DUFFEY FAMILY TRUST          10817 176TH CIRCLE NE
WHITING, NJ 08759-3228                            130 COOK LANE                                        REDMOND, WA 98052-7216
                                                  STOCKBRIDGE, GA 30281
                      09-50026-mg         Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 48 of 440
CATHERINE HOUSER CUST PHILIP J HOUSER               CATHERINE JENSEN                                    CATHERINE L KLEINWEBER TR UA 03/13/1992 KLEINWEBER FAM
U/THE CONN UNIFORM GIFTS TO MINORS ACT              1549 380TH ST                                       1229 BONNIEVIEW AVE
33 MEADOWBROOK ROAD                                 OSAGE, IA 50461-8059                                LAKEWOOD, OH 44107
LONGMEADOW, MA 01106-1340



CATHERINE L TRANKINA TR                             CATHERINE M DUNN TR                                 CATHERINE M VERPAELE TR
THE CATHERINE L TRANKINA LIVING TRUST UA 11/09/92   FLOYD K DUNN & CATHERINE M DUNN RESIDUAL TRUST UA   CATHERINE M VERPAELE REVOCABLE TRUST UA 09/17/97
34 LANCASTER CT                                     08/30/93                                            8521 CANAVERAL BLVD #15
BURR RIDGE, IL 60521-7931                           38460 TIMPANOGAS CIR                                CAPE CANAVERAL, FL 32920-2640
                                                    FREMONT, CA 94536-1853


CATHERINE M WATSON TR                               CATHERINE MARY DAVIS TR                             CATHERINE P HOOD
CATHERINE M WATSON REVOCABLE LIVING TRUST UA        CATHERINE MARY DAVIS REV LIVING TRUST UA 10/21/05   104-1385 COMMISSIONERS ROAD W
03/24/00                                            377 WEST OLD MY MARIA RD                            LONDON ON
PO BOX 914                                          SPRUCE, MI 48762                                    N6K 1E2 CANADA
PENNEY FARMS, FL 32079-0914


CATHERINE R HOUSER CUST PHILIP J HOUSER             CATHERINE S MEINCK                                  CATHERINE STENSON CUST PAUL BRIAN STENSON
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y       701 RUNNING DEER DRIVE                              U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
33 MEADOWBROOK ROAD                                 COLUMBIA, TN 38401-8003                             4537 BUTTERFIELD ROAD
LONGMEADOW, MA 01106-1340                                                                               HILLSIDE, IL 60162-1354



CATHERINE VIRGINIA WOOD TR                          CATHERINE Y RUBINSTEIN & JOSEPH A RUBINSTEIN TR     CATHY HEYMANN
CATHERINE VIRGINIA WOOD REVOCABLE TRUST UA          UA 06/27/83 CATHERINE RUBINSTEIN REV TRUST          1496 102ND AVE
08/12/98                                            5237 LAGORCE DR                                     PLAINWELL, MI 49080-9703
415 RUSSELL AVE APT 1116                            MIAMI BEACH, FL 33140-2105
GAITHERSBURG, MD 20877


CATHY L MC CARTHY                                   CATHY NICHOLS                                       CECELIA BETTS
2257 136TH AVE                                      2257 136TH AVE                                      17602 118TH TR N
DORR, MI 49323-9539                                 DORR, MI 49323-9539                                 JUPITER, FL 33478-4784




CECELIA M PAVICH                                    CECELIA MAYHEW A/K/A M CECELIA MAYHEW TR            CECELIA ROBBINS CUST BURTON ALDRICH ROBBINS
PO BOX 990823                                       CECELIA MAYHEW REVOCABLE TRUST UA 01/29/00          U/THE VA UNIFORM GIFTS TO MINORS ACT
NAPLES, FL 34116                                    20 LENZ ST                                          8211 ORVILLE ST
                                                    MANCHESTER, NH 03102-4918                           ALEXANDRIA, VA 22309-1047



CECIL F ESENWEIN & ADA G ESENWEIN TR                CECIL M BLACKSHEAR & VIVIAN L BLACKSHEAR TR         CECIL R BALCOM
ESENWEIN FAMILY REVOCABLE LIVINGTRUST UA 01/09/93   BLACKSHEAR FAMILY REV LVG TRUST UA 1/7/00           11632 FILER DRIVE
521 OLD NORTH STREET                                2242 HEWITT-GIFFORD RD                              STERLING HEIGHTS, MI 48312-5037
COLUMBIANA, OH 44408-1115                           WARREN, OH 44481-9116



CECILIA A JONES                                     CELENA L EINFELDT                                   CELESTE JOHNSTON FLEMING CUST ANNE JOHNSTON FLEMIN
PO BOX 423075                                       736 CYPRESS BEND DR                                 U/THE COLO UNIFORM GIFTS TO MINORS ACT
KISSIMMEE, FL 34742-3075                            BOERNE, TX 78006-7411                               435 CARR ST
                                                                                                        DENVER, CO 80226-1316



CELESTIA E REEVES                                   CELESTIA E REEVES GUARDIAN FOR LEE REEVES III       CELIA SCHWARTZ
PO BOX 352051                                       PO BOX 352051                                       251 174TH ST APT 1119
WESTMINSTER, CO 80035-2051                          WESTMINSTER, CO 80035-2051                          MIAMI BEACH, FL 33160-3357
                      09-50026-mg         Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                             Part 8 of 8 Pg 49 of 440
CENTRAL SCHOOL DISTRICT NO 2 OF THE TOWNS OF GERMAN CESAR
                                                    FLATTSABBOTT
                                                           LITTLE                                        CHAIM SHATAN CUST GABRIELLE SHATAN
FALLS & COLUMBIA R P GERSTENBERG SCHOLARSHIP        PO BOX 630136                                        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
FUND                                                BRONX, NY 10463-0805                                 60 PARK TERRACE WEST A-34
MOHAWK CENTRAL SCH DIST                                                                                  NEW YORK, NY 10034-1305
MOHAWK, NY 13407


CHANDLER M CATON CUST PHILIP B CATON                 CHANDLER STEIN                                      CHARDELLE A ADELSON EX EST WALTER J SCHANDEIN
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT       1420 WINDING OAKS CIRCLE W                          34 OVERLY N COURT
23 EAST WELLING AVENUE                               #A301                                               THE WOODLANDS, TX 77381
PENNINGTON, NJ 08534-3321                            VERO BEACH, FL 32963-4088



CHARLES A ADAMS TR                                   CHARLES A ADAMS TR                                  CHARLES A ADAMS TR
UA 03/31/96 ADAMS FAMILY TRUST UNDER MAVIS B ADAMS   UW ARTICLE ELEVENTH MARGUERITE J ADAMS F-B-O        UW ARTICLE TENTH MARGUERITE J ADAMS F-B-O CHARLES
TRUST                                                CHARLES A ADAMS                                     A ADAMS
6265 SW 110TH ST                                     6265 SW 110TH ST                                    6265 SW 110TH ST
MIAMI, FL 33136                                      MIAMI, FL 33156-4063                                MIAMI, FL 33156-4063


CHARLES A CASS & SHIRLEY F CASS TR                   CHARLES A EVANS                                     CHARLES A GARTLAND TR UA 09/18/71 MICHAEL P GARTLAND
CHARLES A CASS & SHIRLEY F CASS TRUST UA 03/28/95    1606-1045 QUAYSIDE DRIVE                            & JOHN GARTLAND & PATRICK M GARTLAND TR
8041 DELLROSE AVE                                    NEW WESTMINSTER BC                                  1661 LA FRANCE ST NE UNIT 324
BROOKSVILLE, FL 34613-5763                           V3M 6C9 CANADA                                      ATLANTA, GA 30307-2182



CHARLES A GESWEIN                                    CHARLES A JORDAN CUST SCOTT K JORDAN                CHARLES A KUBITZ CUST KIM M KUBITZ
1531 S CHERRY CREEK LN                               U/THE MAINE UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT
WARSAW, IN 46580-7691                                808 MURL DR                                         8 GREENBRIAR COURT
                                                     IRVING, TX 75062-4459                               BOWLING GREEN, OH 43402-1612



CHARLES A SCHAFFER & MARLENE M SCHAFFER TR           CHARLES A WEST & CAROL V WEST TR                    CHARLES ALFRED DENNIS & DELLA MARIE DENNIS TR
THE SCHAFFER TRUST UA 3/29/99                        CHARLES A WEST & CAROL V WEST REVOCABLE TRUST UA    DENNIS FAM TRUST UA 04/23/97
7564 GLENCOE DR                                      10/21/85                                            2726 COUNTY RD 775
CEDARBURG, WI 53012-9786                             3461 MILITARY AVE                                   LOUDONVILLE, OH 44842-9683
                                                     LOS ANGELES, CA 90034-6001


CHARLES B BLUM                                       CHARLES B GRIGGS & STELLA F GRIGGS & CHARLES R GRIGGSCHARLES
                                                                                                           TR      B OCONNOR SR & THERESA M OCONNOR TR
#20 9505 176 STREET                                  GRIGGS FAMILY TRUST UA 03/17/04                      OCONNOR FAMILY TRUST UA 09/27/02
EDMONTON AB                                          3626 PARK LAWN DR                                    3257 TILDEN AVE
T5T 5Z4 CANADA                                       ST LOUIS, MO 63125-2461                              LOS ANGELES, CA 90034-3030



CHARLES B STANTON JR & ANNETTE C STANTON TR          CHARLES BAUDER & ARLENE BAUDER TR                   CHARLES BORNSCHEIN & MRS ELISE B BORNSCHEIN JT TEN
UA 02/17/94 THE STANTON FAMILY TRUST                 CHARLES & ARLENE BAUDER REV TRUST UA 10/10/98       202 RUSTIC RD
633 ULTIMO AVE                                       1241 PASEO DE GOLF                                  LAKE RONKONKOMA, NY 11779-1706
LONG BEACH, CA 90814-2048                            GREEN VALLEY, AZ 85614-3605



CHARLES C BLINCOE CUST DANIEL S BLINCOE              CHARLES C GIARRATANO CUST RONALD J GIARRATANO       CHARLES CARPENTER CUST SUSAN P CARPENTER
U/THE KENTUCKY UNIFORM GIFTS TO MINORS ACT           A MINOR U/ART EIGHT-A OF THE PERS PROPERTY LAW OF   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
107 CAMBRON DR                                       NEW YORK                                            281 STRONG RD
BRADSTOWN, KY 40004-2245                             7232 RICHMOND HEIGHTS LN                            CORNWALLVILLE, NY 12418-1444
                                                     LAS VEGAS, NV 89128-3103


CHARLES D DOWELL & ELIZABETH L DOWELL TR             CHARLES D GRAZIANO CUST CRAIG FRANCIS GRAZIANO      CHARLES D GRAZIANO CUST KIMBERLY R GRAZIANO
CHARLES D & ELIZABETH L DOWELL JT LIVING             U/THE IOWA UNIFORM GIFTS TO MINORS ACT              U/THE IOWA UNIFORM GIFTS TO MINORS ACT
11232 STANLEY LANE                                   1302 CUMMINS PARKWAY                                1302 CUMMINS PARKWAY
TWINSBURG, OH 44087-2672                             DES MOINES, IA 50311-1932                           DES MOINES, IA 50311-1932
                    09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                              Part 8 of 8 Pg 50 of 440
CHARLES D MARTIN CUST MARY MARTIN                     CHARLES D MARTIN CUST MISS BETH MARTIN           CHARLES D MILLER & GLORIA M MILLER TR
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT        U/THE PA UNIFORM GIFTS TO MINORS ACT             UA 10/02/92 CHARLES D MILLER & GLORIA M
1701 RIDGE RD                                         1701 RIDGE RD                                    204 S RIVERSIDE DR
LIBRARY, PA 15129-8958                                LIBRARY, PA 15129-8958                           INDIALANTIC, FL 32903-4368



CHARLES D ROGERS CUST RICHARD C ROGERS                CHARLES E & PATRICIA A VANOVERBEKE TR            CHARLES E ALCORN & KATHLEEN T ALCORN TR
U/THE CAL UNIFORM GIFTS TO MINORS ACT                 PATRICIA A & CHARLES VANOVERBEKEREVOCABLE        ALCORN FAM LIVING TRUST UA 05/10/95
1133 SHADY MILL RD                                    48317 FORBES STREET                              3206 WALDMAR
CORONA, CA 91720-5837                                 NEW BALTIMORE, MI 48047-2276                     TOLEDO, OH 43615-1443



CHARLES E BOMBARDIER & EDITH L BOMBARDIER & JOHN BOMBARDIER
                                                    CHARLES &E JOYCE
                                                               CONDON CUST CHARLES E CONDON 3RD        CHARLES E DOUBLESTEIN
WOOD SUE ELLEN BOMBARDIER JT                        U/THE CONN UNIFORM GIFTS TO MINORS ACT             1913 OLE CUTLER'S PASS
11311 N 99TH AVE                                    PINE RIDGE ROAD                                    HASTINGS, MI 49058-8000
# 219                                               HARWINTON, CT 06790
PEORIA, AZ 85345-5466


CHARLES E EWING & NAOMI EWING TR                      CHARLES E FREDERICK & MARIAN F FREDERICK TR      CHARLES E GOULD & MARYLYN BOYLE & JOHN F GOULD TR
UA 6/16/92 THE CHARLES E EWING &NAOMI E EWING TR      CHARLES E & MARIAN F FREDERICK FAMILY TRUST UA   CHARLES E GOULD FAMILY TRUST UA 5/15/03
704 BEACH BUGGY LANE                                  06/16/99                                         61 HALVORSEN AVENUE
LINDEN, MI 48451-9663                                 11114 WEBSTER RD                                 HULL, MA 02045-2037
                                                      CLIO, MI 48420-8208


CHARLES E HEINICKE                                    CHARLES E JORDAN & DIANA N JORDAN JT TEN         CHARLES E KIELY JR TR
226 NORTH MAIN                                        3-6-20 SHIMORENJAKU                              UA 07/06/94 CHARLES E KIELY JR REVOCABLE LIVING TRUST
KENT CITY, MI 49330-9111                              MITAKA-SHI                                       5 HEDGEGROW LANE
                                                      TOKYO                                            CINCINNATI, OH 45220-1507
                                                      181-0013 JAPAN


CHARLES E KLEIN                                       CHARLES E NICHOLS CUST CHARLES WILLIAM NICHOLS   CHARLES E NICHOLS CUST MISS CATHY ANN NICHOLS
2102 CLEVELAND ST                                     U/THE TEXAS UNIFORM GIFTS TO MINORS ACT          U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
COOPERSVILLE, MI 49404-9642                           617 E LACY ST                                    1 RAMBLING RD
                                                      PALESTINE, TX 75801-2965                         PALESTINE, TX 75801-4655



CHARLES E NICHOLS CUST MISS SUSAN MARIE NICHOLS       CHARLES E RAY                                    CHARLES E REINKING & JANET J REINKING JT TEN
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT               PO BOX 430196                                    3330 RAINDROP DR
1 RAMBLING RD                                         PONTIAC, MI 48343-0196                           COLORADO SPRINGS, CO 80917-3210
PALESTINE, TX 75801-4655



CHARLES E ROBINSON & JANET R ROBINSON TR              CHARLES E SCHWARTZ & SHIRLEY R SCHWARTZ TR       CHARLES E SHERMAN CUST CHARLES H SHERMAN
UA 01/12/93 CHARLES E ROBINSON AND JANET R ROBINSON   CHARLES E SCHWARTZ REV TRUST UA 09/28/95         U/THE MASS UNIFORM GIFTS TO MINORS ACT
TRUST                                                 25836 DUNDEE RD                                  4521 RIDGELAND DR
6630 BUCKTHORN DR NW                                  HUNTINGTON WOODS, MI 48070-1306                  LILBURN, GA 30047-4347
ROCHESTER, MN 55901


CHARLES ELLISON & CLAIRE ELLISON TR                   CHARLES EPSTEIN                                  CHARLES F BELLAVIA & PATRICIA BELLAVIA TR
CHARLES & CLAIRE ELLISON TRUST UA 5/8/01              9 DURANT WAY                                     UA 11/07/1996 BELLAVIA LIVING TRUST
92818 LAKESHORE DR                                    WORCESTER, MA 01602-2920                         4166 SONIA ST
LANGLOIS, OR 97450-9721                                                                                LIVERMORE, CA 94550



CHARLES F COLWELL & CAROLYN F COLWELL TR              CHARLES F LEPPLA JR CUST CHERYL M LEPPLA         CHARLES F MILON CUST MARK STEPHEN MILON
CHARLES F & CAROLYN F COLWELL IRR TRUST UA 11/23/99   U/THE COLO UNIFORM GIFTS TO MINORS ACT           U/THE PA UNIFORM GIFTS TO MINORS ACT
PO BOX 667                                            1333-44TH SW                                     1940 GREAT FALLS ST
STURBRIDGE, MA 01566-0667                             SEATTLE, WA 98116-1616                           MC LEAN, VA 22101-5420
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 51 of 440
CHARLES F PHELPS JR & MARGARET P PHELPS TR           CHARLES F SANDERS & MILDRED J SANDERS TR              CHARLES F VERCELLOTTI JR FRANCES GENEVIEVE VERCELLO
CHARLES F PHELPS JR & MARGARET P PHELPS TRUST UA     UA 07/09/86 CHARLES F & MILDRED J SANDERS             & WILLIAM A MALCOM JR JT TEN
04/21/95                                             1105 HUNTINGTON ST                                    2742 NE 31ST ST
4648 SELWOOD RD                                      HUNTINGTON BCH, CA 92648-4117                         LIGHTHOUSE POINT, FL 33064-8533
RICHMOND, VA 23234-3611


CHARLES FEDALEN CUST CHARLES H FEDALEN JR            CHARLES G BEYER & LOIS M BEYER TR                     CHARLES G BORLAND & ARLENE M BORLAND TR
A MINOR U/ CAL GIFTS OF SECS TO MINORS ACT           CHARLES G BEYER FAM LIVING TRUSTUA 05/14/96           BORLAND REVOCABLE TRUST UA 10/21/02
29 CEDAR RIDGE                                       31681 MCNAMEE                                         16137 SHERIDAN
IRVINE, CA 92612-3610                                FRASER, MI 48026-2650                                 BYRON, MI 48418-9522



CHARLES G CIFUNI & STEPHEN J CIFUNI TR               CHARLES G HALL                                        CHARLES G KRISTENSON & JEANNETTE A KRISTENSON TR
POMPELIA CIFUNI TRUST UA 12/23/94                    PO BOX 770489                                         KRISTENSON FAM 2002 TRUST UA 04/19/02
11 COREY                                             OCALA, FL 34477-0489                                  387 BAY VIEW TERRACE
MALDEN, MA 02148-1116                                                                                      COSTA MESA, CA 92627-1482



CHARLES G STALKER & NENITA M STALKER TR              CHARLES G STRATTAN                                    CHARLES GEORGE ZEBERLEIN JR
CHARLES G & NENITA M STALKER REVOCABLE LIVING        PO BOX 160883                                         3748 BOWERS ROAD
1729 OLD HOMESTEAD DR                                MIAMI, FL 33116-0883                                  STEWARTSTOWN, PA 17363
ROCHESTER HILLS, MI 48306-3651



CHARLES H B MORGAN & SHIRLEY R MORGAN TR             CHARLES H DAUM JR CUST CHARLES H DAUM 3RD             CHARLES H EARLAM & MARGARET E EARLAM TR
CHARLES & SHIRLEY MORGAN TRUST UA 12/15/97           A MINOR PURS TO SECS 1339 19-TO 1339 26-INCL          UA 09/02/93 THE CHARLES H EARLAM& MARGARET E
5265 AVENIDA DEL SOL                                 617 MARINER WAY                                       154 UNIVERSITY DR
LAGUNA WOODS, CA 92637-1805                          ALTAMONTE SPG, FL 32701-5420                          HOWELL, MI 48843-1756



CHARLES H F BLUMELING 3RD CUST CHARLES H F BLUMELING CHARLES
                                                     4TH      H F BLUMELING 3RD CUST GARY R A BLUMELING    CHARLES H F BLUMELING 3RD CUST KATHERINE A BLUMELING
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J         A MINOR U/P L 55 CHAP 139 OF THE LAWS OF NEW JERSEY   U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
28 POPLAR GROVE TERRACE                              44 E BROAD ST                                         44 E BROAD AVE
WEST MILFORD, NJ 07480-4033                          BERGENFIELD, NJ 07621-3004                            BERGENFIELD, NJ 07621-3004



CHARLES H GRAY JR CUST LINDA CAROL GRAY              CHARLES H GROVES & CONSTANCE L GROVES TR              CHARLES H HANSON & JEAN K HANSON TR
UNDER THE FLORIDA GIFT MINORS ACT                    CHARLES & CONSTANCE GROVES REVOCABLE TRUST UA         UA 11/02/93 THE HANSON FAMILY REVOCABLE LIVING
222 EAGLE DRIVE                                      09/05/95                                              TRUST
P C BEACH, FL 32407-2820                             400 E SCHREYER PL                                     609 STRUMBLY DR
                                                     COLUMBUS, OH 43214-2214                               CLEVELAND, OH 44143-1953


CHARLES H HEAD & FREDA P HEAD TR                     CHARLES H JELLOIAN & LINDA M JELLOIAN TR              CHARLES H MOORE & PHYLLIS A MOORE TR
CHARLES & FREDA HEAD LIVING TRUST UA 10/31/00        JELLOIAN FAM TRUST UA 05/23/94                        CHARLES H MOORE REV LIV TRUST UA 04/25/00
1226 HILLSHIRE RD                                    21135 CELTIC ST                                       3458 TAGGETT LAKE DR
BALTIMORE, MD 21222-1243                             CHATSWORTH, CA 91311-1467                             HIGHLAND, MI 48357-2637



CHARLES H PERFATER CUST MISS SUSAN ELIZABETH PERFATER
                                                   CHARLES H ROBINETT                                      CHARLES H SCHWAB & CHARLES A SCHWAB TR
A MINOR U/P L 55 CHAP 139 OF THE                   PO BOX 223 1712 GRENADA BLVD                            UA 09/23/08 CHARLES H SCHWAB REVOCABLE TRUST
8 AQUITONG LANE                                    GREENWOOD, MS 38930-4715                                32 BRIARWOOD CIRCLE
TRENTON, NJ 08628-1601                                                                                     NEEDHAM HGTS, MA 02494



CHARLES H SPICKLER & MELENIA A SPICKLEY TR           CHARLES H SPILLANE & ELIZABETH B SPILLANE TR          CHARLES H STANLEY SR & MARIAN I STANLEY TR
CHARLES H & MELENIA A SPICKLER LIVING TRUST UA       SPILLANE FAM LIVING TRUST UA 04/04/95                 UA 05/04/93 STANLEY FAMILY TRUST
03/08/01                                             7209 MORRISH RD                                       425 STROUSE LANE
147 ARDELEAN DRIVE                                   SWARTZ CREEK, MI 48473-7623                           SANDUSKY, OH 44870-1420
OWOSSO, MI 48867-1213
                    09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                               Part 8 of 8 Pg 52 of 440
CHARLES H STEINBRINK                                   CHARLES H VOTRIAN & VERNA AM VOTRIAN TR              CHARLES H WINTERSTEIN & LAURA J WINTERSTEIN TEN ENT
5411 OLD STATE RD                                      C V VOTRIAN & V A M VOTRIAN TRUST UA 12/20/91        850 LEISTERS CHURCH ROAD
NATIONAL CITY, MI 48748-9432                           105 EDWARD ST                                        WESTMINSTER, MD 21157-6425
                                                       O'FALLON, IL 62269-2453



CHARLES HENRY LEE SLICHTER                             CHARLES HESTER CUST DANIEL TYLER HESTER              CHARLES I PARLIMENT III CUST CHARLES I PARLIMENT IV
A MINOR UNDER GUARDIANSHIP OF SHIRLEY SLICHTER         A MINOR UNDER THE LAWS OF GEORGIA                    UNDER THE FLORIDA GIFTS TO MINORS ACT
REED                                                   5392 MANDARIN CIRCLE                                 C/O PARLIMENT STEEL PRODUCT
ROUTE 2                                                HIXSON, TN 37343-6800                                3031 WESTSIDE BLVD
BOX 90                                                                                                      JACKSONVILLE, FL 32209-2715
DELANO, CA 93215-9790

CHARLES J ALEXANDER & CAROLYN L ALEXANDER TR           CHARLES J CLINTON CUST MISS ANN ELIZABETH CLINTON    CHARLES J DOHERTY JR & RICHARD J DOHERTY TR
ALEXANDER FAM TRUST UA 11/18/96                        U/THE NEBR UNIFORM GIFTS TO MINORS ACT               DOHERTY FAMILY 1998 REVOCABLE TRUST UA 04/30/98
7815 ABERDEEN ROAD                                     13946 W WESLEY AVE                                   76 CHANNING RD
BETHESDA, MD 20814-1101                                LAKEWOOD, CO 80228-4812                              WATERTOWN, MA 02472-3340



CHARLES J FRYE & GERTRUDE M FRYE TR                    CHARLES J GAYDOS & ADELAIDE A GAYDOS TR              CHARLES J LINE CUST JAMES C LINE
CHARLES J & GERTRUDE M FRYE TRUST UA 09/16/93          CHARLES & ADELAIDE GAYDOS LIVING TRUST UA 12/29/98   U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
111 WEST PARK AVE APT 420                              1700 S RIVER RD                                      4626 MUMFORD
AURORA, IL 60506-4083                                  APT 260                                              HOFFMAN ESTATES, IL 60195-1100
                                                       JANESVILLE, WI 53546


CHARLES J MC CORMICK CUST PATRICK EDWARD MC CORMICKCHARLES J MEYERS CUST CHARLES JOHN MEYERS 3RD            CHARLES J POWLEY & JANET E POWLEY TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE PA UNIFORM GIFTS TO MINORS ACT                     POWLEY FAM LIVING TRUST UA 05/05/97
17 SANDRA AVE                                      213 HAWTHORNE BLVD                                       1934 KAY LN DEERFIELD
PLATTSBURGH, NY 12901-2409                         LEESBURG, FL 34748-8642                                  SURFSIDE BEACH, SC 29575-5418



CHARLES J ROUCHKA TR UA 5/28/86 SURVIVOR'S TR OF THE CHARLES
                                                       CHARLESJAMES
                                                                J SCHULTZ CUST PETER J SCHULTZ              CHARLES J SIPEK TR UA 10/15/93 CHARLES J SIPEK TR # I
ROUCHKA & FAYE S ROUCHKA FAM TR                        A MINOR PURSUANT TO SEC 1339 19-TO 1339 26-INCL      448 E JOLIET HWY
40 ERNHOFER DR                                         178 W BRIDGE DRIVE                                   NEW LENOX, IL 60451-1913
CARMEL, NY 10512-4308                                  BEREA, OH 44017-1550



CHARLES J SIPEK TR UA 10/15/93 CHARLES J SIPEK TRUST # I CHARLES J VARGO & ELIZABETH A VARGO TR             CHARLES JAMES BASIL CUST CHRISTINE ELIZABETH BASIL
448 E JOLIET HWY                                         VARGO FAM LIVING TRUST UA 02/25/995                UNDER THE NY UNIF GITS TO MINORS ACT
NEW LENOX, IL 60451-1913                                 2319 S DURAND RD                                   690 W FERRY ST
                                                         LENNON, MI 48449-9717                              BUFFALO, NY 14222-1606



CHARLES JAMES DERRINGTON TR                            CHARLES JAMES WEINSCHREIDER III                      CHARLES K KROLL & KATHLEEN R LARSON & DAVID C KROLL J
CHARLES JAMES DERRINGTON 2002 TRUST UA 03/07/02        11521 WINTER VIEW AVE                                3033 DEINDORFER
711 SANDLEWOOD AVE                                     LAS VEGAS, NV 89135                                  SAGINAW, MI 48602-3539
LA HABRA, CA 90631-7248



CHARLES K LOVENSTEIN                                   CHARLES K MESSICK CUST CHARLES K MESSICK 2ND         CHARLES KLEIN
458 S HARRISON RD                                      U/THE DEL UNIFORM GIFTS TO MINORS ACT                PO BOX 9022
HOUGHTON LAKE, MI 48629-8613                           204 S ASHVIEW LN                                     WARREN, MI 48090-9022
                                                       WILMINGTON, DE 19807-2171



CHARLES KRONENWETTER                                   CHARLES L BRAUSER & MARCIA M BRAUSER TR              CHARLES L COOLEY
25025 200TH AVE SE                                     BRAUSER FAMILY TRUST UA 10/24/01                     PO BOX 380901
MAPLE VALLEY, WA 98038-8501                            706 E FELLOWS DR                                     BIRMINGHAM, AL 35238-0901
                                                       ORANGE, CA 92865-2855
                    09-50026-mg              Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                            Part 8 of 8 Pg 53 of 440
CHARLES L HAND & DORIS M HAND TR                    CHARLES L JENKINS                                     CHARLES L JERNSTROM & LOIS J JERNSTROM TR
CHARLES L HAND & DORIS M HAND LIVING TRUST UA       401-900 WILSON RD N                                   JERNSTROM FAMILY TRUST 09/23/87
01/24/89                                            OSHAWA ON                                             161 BRADLEY DRIVE
1871 SKYLINE WAY                                    L1G 7T2 CANADA                                        SANTA CRUZ, CA 95060-2540
FULLERTON, CA 92831-1936


CHARLES L KLEINSCHMIDT CUST THE ANDY KLEINSCHMIDT   CHARLES L PARCELL & ALICE C PARCELL TR                CHARLES L SWANSON
UNDER THE AZ UNIF GIFTS TO MINORS ACT               UA 05/09/91 PARCELL REVOCABLE TRUST                   BOX 893077
15314 US 224                                        5460 S INDIGO DR                                      OKLAHOMA CITY, OK 73189-3077
VAN WERT, OH 45891-8744                             GOLD CANYON, AZ 85218-5082



CHARLES L WHITLOW                                   CHARLES M BARNARD & GAYLE I BARNARD TR                CHARLES M BROWN & CHARLES MARK BROWN TR
PO BOX 250015                                       UNDER TRUST 03-26-85OF THE BARNARD TR                 CHARLES M BROWN TRUST UA 10/22/97
FRANKLIN, MI 48025-0015                             P O BOX 5571                                          10652 PEACH ORCHARD ROAD
                                                    SANTA BARBARA, CA 93150                               HARRISBURG, NC 28075-9684



CHARLES M ERWIN CUST DAN R ERWIN                    CHARLES M GABRYS TR                                   CHARLES M GROMEK
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          UA 10/18/2000 HARRY C GABRYS REVOCABLE LIVING TRUST   81 PINE RIDGE BLVD
3205 LAUXMONT DR                                    16201 BEECHWOOD                                       WHITING, NJ 08759-3535
SPRINGFIELD, IL 62707-8716                          BEVERLY HILLS, MI 48025



CHARLES M KENNEDY & RUTH A KENNEDY TR               CHARLES M MARTIN & EILEEN N MARTIN TR                 CHARLES MCCORKLE & DAPHENE MCCORKLE TR
CHARLES M KENNEDY LIVING TRUST UA 08/10/94          MARTIN FAM LIVING TRUST UA 09/28/95                   CHARLES E & DAPHNE M MCCORKLE LIVING TRUST UA
6184 DAUSMAN PARK                                   8832 WASHINGTON COLONY DR                             07/22/98
CLARKSVILLE, MI 48815                               CENTERVILLE, OH 45458-3315                            60 CLUB HOUSE LN
                                                                                                          GREENEVILLE, TN 37743-8968


CHARLES MURPHY                                      CHARLES N COLEMAN                                     CHARLES N LETOSKY JR & LOUISE E LETOSKY TR
& HARRIET MURPHY & GEORGE L MURPHY & MARY LEE       PO BOX 210954                                         CHARLES N LETOSKY & LOUISE E LETOSKY REV TRUST UA
MURPHY JT TEN                                       DALLAS, TX 75211-0954                                 05/12/00
406 W WALNUT                                                                                              119 CHOCTAW TRAIL
ST CHARLES, MI 48655-1264                                                                                 PRUDENVILLE, MI 48651-9725


CHARLES NORTON JOHNSTON & DOROTHY IRENE JOHNSTON TR
                                                 CHARLES P COSTELLO CUST CHARLES A COSTELLO               CHARLES P COSTELLO CUST STEVEN M COSTELLO
CHARLES NORTON JOHNSTON REVOCABLE TRUST UA       U/THE WISC UNIFORM GIFTS TO MINORS ACT                   U/THE WISC UNIFORM GIFTS TO MINORS ACT
12/18/96                                         1947 EASTWOOD AVE                                        22411 W 45TH ST
9515 BRUCE DR                                    JANESVILLE, WI 53545-2607                                SHAWNEE, KS 66226-2461
SILVER SPRING, MD 20901-4813


CHARLES P LUSHER SR & JANNIE M LUSHER JT TEN TOD CHARLES
                                                     CHARLES
                                                         P LUSHER
                                                              P LUSHER
                                                                  JR SR & JANNIE M LUSHER JT TEN TOD PATRICIA
                                                                                                         CHARLES
                                                                                                              A MIDDLETON
                                                                                                                   P MACDONALD CUST CHARLES P MACDONALD UNIF
SUBJECT TO STA TOD RULES                             SUBJECT TO STA TOD RULES                            NC
10407 CYPRESS DR                                     10407 CYPRESS DR                                    60 EXECUTIVE CIR
KANSAS CITY, MO 64137                                KANSAS CITY, MO 64137                               DALZELL, SC 29040-8664



CHARLES P OBRIEN CUST MAUREEN M OBRIEN              CHARLES P PROVENCHER & JOSEPHINE A PROVENCHER TR      CHARLES P TICHACEK & MILDRED G TICHACEK TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          PROVENCHER FAMILY REVOCABLE LIVING TRUST UA           CHARLES P & MILDRED G TICHACEK JOINT REVOCABLE
1016 KING PLACE DR                                  10/06/03                                              5652 EICHELBERGER ST
COLUMBUS, GA 31904                                  26151 SUSAN                                           ST LOUIS, MO 63109-2805
                                                    TAYLOR, MI 48180-3026


CHARLES P WILFONG & HAZEL J WILFONG TR              CHARLES P WILFONG HAZEL J WILFONG TR                  CHARLES P WILFONG TR
CHARLES P WILFONG LIVING TRUST UA 02/04/99          UA 02/04/99 CHARLES P WILFONG LIVING T                CHARLES P WILFONG REVOCABLE LIVING TRUST UA
509 S ORANGE ST                                     509 S ORANGE ST                                       02/04/99
APT 214                                             APT 214                                               509 S ORANGE ST
KALKASKA, MI 49646-8827                             KALKASKA, MI 49646-8827                               APT 214
                                                                                                          KALKASKA, MI 49646-8827
                    09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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CHARLES PHILLIPS                                 CHARLES R DIETZEL & MARGARET E DIETZEL TR           CHARLES R ELLIOTT & LOU ANN ELLIOTT TR
PO BOX #368316                                   CHARLES R DIETZEL & MARGARET E DIETZEL REV LVG      CHARLES R ELLIOTT REVOCABLE TRUST UA 09/17/97
CHICAGO, IL 60636-8316                           TRUST UA5/27/98                                     6576 ILEX CIRCLE
                                                 6617 CLAREMONT                                      NAPLES, FL 34109-8813
                                                 RAYTOWN, MO 64133-5440


CHARLES R EVANS SR & CORINNE J EVANS TR          CHARLES R HEINZ                                     CHARLES R HEINZ & JANET L HEINZ JT TEN
CORINNE EVANS & CHARLES EVANS LIVING             1222 WILLIAMS AVE                                   1222 WILLIAMS AVE
49 BUTTERNUT DR                                  BOWLING GREEN, KY 42104-4651                        BOWLING GREEN, KY 42104-4651
NORWICH, CT 06360-3023



CHARLES R HOUSER                                 CHARLES R LONG TR                                   CHARLES R MCKAY & VENESSA H MCKAY TR
1992 MANOR LN                                    UA 09/26/2006 CHARLES R LONG AND K ELIZABETH LONG   CHARLES R MCKAY & VENESSA H MCKAY LIVING TRUST UA
MUNDELEIN, IL 60060-1431                         TRUST                                               10/02/91
                                                 2001 W RUDASILL RD                                  304 MARLINSPIKE DR
                                                 APT 5303                                            SEVERNA PARK, MD 21146-3309
                                                 TUCSON, AZ 85704-7840

CHARLES R MEIN & SHARON L MEIN JT TEN            CHARLES R MOORE & SUZANNE M MOORE TR                CHARLES R PARMELEE CUST GWYNNE Y PARMELEE
1901 MEADOW RIDGE                                CHARLES & SUZANNE M MOORE REV TRUST                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
WALLED LAKE, MI 48390-2655                       9165 SW 14TH STREET APT 1201                        3364 E LAKESHORE DRIVE
                                                 BOCA RATON, FL 33428                                TALLAHASSEE, FL 32312-1441



CHARLES R PRATHER CUST DAVID B PRATHER           CHARLES R SCHWEINSBERG III                          CHARLES R SUTTON & JESSLYN M SUTTON TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT       301 SUMMIT AVE                                      CHARLES R SUTTON & JESSLYN M SUTTON REV TRUST UA
PO BOX 858                                       ELLWOOD CITY, PA 16117-2841                         5/14/99
ST JOSEPH, IL 61873-0858                                                                             5471 N 1100 E
                                                                                                     SHERIDAN, IN 46069-8838


CHARLES RASOWSKY CUST EDWARD RASOWSKY            CHARLES S GROSCHE & MARY JUNE GROSCHE TR            CHARLES S GUENZER & PETER M GUENZER TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       CHARLES S GROSCHE REVOCABLE TRUST                   ANNETTE Z GUENZER REV TRUST UA 02/24/92
18 VALLEY DRIVE                                  944 S PENINSULA DR #502                             3852 GROVE AVENUE
WEST SAND LAKE, NY 12196-1739                    DAYTONA BEACH, FL 32118-4784                        PALO ALTO, CA 94303-4538



CHARLES S PORTER CUST CARRIE MERILYS PORTER      CHARLES S TREADWELL & MARGARET M TREADWELL JT TEN CHARLES SCHWAB & CO INC CUST DENNIS W WARD
UNDER THE SOUTH DAKOTA U-G-M-A                   PO BOX 382095                                     101 MONTGOMERY STREET
ATTN CARRIE M TSCHETTER                          GERMANTOWN, TN 38183-2095                         SAN FRANCISCO, CA 94104-4122
29750 HWY 34
PIERRE, SD 57501-0085


CHARLES SCHWAB CUST ANDREA J DUNCAN ANDREA J DUNCAN
                                                  CHARLES
                                                    I-R-A PLAN
                                                            SCOTT
                                                               U-A BRESHEARS TR                      CHARLES SHIPTON & LORETTA SHIPTON TR
DTD 11-20-85                                      CHARLES SCOTT BRESHEARS REVOCABLE TRUST UA         UA 07/01/92 THE CHARLES SHIPTON & LORETTA
ATTN SECURITIES OPERATIONS                        10/19/01                                           28781 STATE ST
2423 E LINCOLN DR                                 3632 SOUTHSHORE BAY COVE                           ELDORADO, IA 52175
PHOENIX, AZ 85016                                 SHERWOOD, AR 72120-4287


CHARLES SHWAB & CO FBO KEITH A MCKINLEY          CHARLES STURZ CUST CHARLES RONALD STURZ             CHARLES SWIFT TREADWELL
101 MONTGOMERY ST                                U/THE N Y UNIFORM GIFTS TO MINORS ACT               PO BOX 382095
SAN FRANCISCO, CA 94104-4122                     3 FROG ROCK RD                                      GERMANTOWN, TN 38183-2095
                                                 ARMONK, NY 10504-1013



CHARLES T GREENWAY CUST THOMAS C GREENWAY        CHARLES T JOHNSTON                                  CHARLES V MORAN & LORENE G MORAN TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT       PO BOX 510385                                       UA 11/09/90 CHARLES V MORAN & LORENE G
300 BEDFORD ROAD                                 NEW BERLIN, WI 53151                                2863 SHAKESPEAR
MORRIS, IL 60450-1340                                                                                91108 SAN MARINO
                   09-50026-mg              Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
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CHARLES W CARTER                                     CHARLES W DRYER & BETTY K DRYER TR                       CHARLES W EVANS
PO BOX 126255                                        UA 12/20/93 THE CHARLES W DRYER LIVING TRUST             PO BOX 620456
FORT WORTH, TX 76126-0255                            6919 CASTLE MANOR DRIVE                                  OVIEDO, FL 32762-0456
                                                     INDIANAPOLIS, IN 46214-3624



CHARLES W GILLAM & MARY JANE GILLAM TR               CHARLES W MEYER & VERA M MEYER TR                        CHARLES W RANTALA SR & CELIA R RANTALA TR
UA 04/20/93 GILLAM REVOCABLE LIVING TRUST            UA 11/23/93 THE CHARLES AND VERA MEYER REVOCABLE         CHARLES W RANTALA SR & CELIA R RANTALA REVOCABLE
1920 S COURTLAND AVE                                 TRUST                                                    1417 SOUTH 13TH STREET
KOKOMO, IN 46902-2050                                43326 W OSTER DR                                         VIRGINIA, MN 55792-3342
                                                     MARICOPA, AZ 85238-8969


CHARLES W RICHARDS & RUBY J RICHARDS TR              CHARLES W STEINHELPER                                    CHARLES W WINEINGER
UA 03/29/07 CHARLES & RUBY RICHARDS REV LIVING       8851 CEDAR DR                                            1496 WEST HWY U
4245 GRAYTON                                         CLARKSTON, MI 48348-4211                                 TROY, MO 63379-4181
WATERFORD, MI 48328



CHARLES WOODS CUST DAVID DWIGHT WOODS                CHARLES WOODS CUST RICHARD P WOODS                       CHARLETTA F MITCHELL
U/THE ALABAMA UNIFORM GIFTS TO MINORS ACT            U/THE ALABAMA UNIFORM GIFTS TO MINORS ACT                PO BOX 180087
ONE WCOV AVE                                         1 WCOV AVE                                               SHELBY TWNSP, MI 48318-0087
MONTGOMERY, AL 36111-2099                            MONTGOMERY, AL 36111-2099



CHARLETTA F PRATER & ROSETTA PRATER JT TEN           CHARLOTT JESSE                                           CHARLOTT R MARSHALL & RONALD D MARSHALL TR
PO BOX 180087                                        AM KLUTSTEIN 12                                          UA 08/08/09 CHARLOTT R MARSHALL LIVING TRUST
SHELBY TWP, MI 48318-0087                            BERGISCH-GLADBACH                                        1178 E 346TH ST
                                                     51467 GERMANY                                            EASTLAKE, OH 44095



CHARLOTTE A BUCK TR                                  CHARLOTTE A HEMPHILL CUST NICOLE MONICA HEMPHILL A MINORUNDER
                                                                                                         CHARLOTTE THE
                                                                                                                     A THIESSEN TOD NEINA THIESSEN SUJECT TO ST
CHARLOTTE ANN BUCK REVOCABLE LIVING TRUST UA         CALIFORNIA U-G-M-A                                  2470 W HEIL AVE
02/28/01                                             552 DORY LANE                                       EL CENTRO, CA 92243-3530
405 CAMINO MOJADO                                    REDWOOD CITY, CA 94065-1208
SIERRA VISTA, AZ 85635-3137


CHARLOTTE A WHEELER CUST CRAIG BRIAN WHEELER         CHARLOTTE BERNSTEIN CUST RICHARD DOUGLAS BERNSTEINCHARLOTTE BURGIN CUST DIANE BURGIN
UNDER THE LAWS OF OREGON FOR                         A MINOR U/ART 8-A OF THE PERS PROPERTY LAW OF NEW U/THE OHIO UNIFORM GIFTS TO MINORS ACT
PO BOOX 165                                          YORK                                              24000 DUFFIELD ROAD
MERRIFIELD, VA 22116                                 8610 GARFIELD ST                                  CLEVELAND, OH 44122-3115
                                                     BETHESDA, MD 20817-6704


CHARLOTTE C SNYDER TR                                CHARLOTTE EINSTEIN                                       CHARLOTTE G SHEEHAN TR
UA 01/11/1995 ROBERT J SNYDER & CHARLOTTE C SNYDER   6 WHITETAIL RD                                           CHARLOTTE G SHEEHAN REVOCABLE LIVING TRUST UA
TRUST                                                ELYSBURG, PA 17824                                       07/02/97
3365 BROOKGATE DRIVE                                                                                          13863 S MANDARIN CT
FLINT, MI 48507                                                                                               PLAINFIELD, IL 60544-9336


CHARLOTTE HEINRICH & BRUCE M HEINRICH JT TEN         CHARLOTTE I LIPKIN & JAYNE S LIPKIN & PAUL J LIPKIN TR   CHARLOTTE KIMBERLY REEVES CHRISTA MICHELLE REEVES J
6105 CUTHBERT RD                                     CHARLOTTE I LIPKIN TRUST UA 10/20/97                     REEVES&LINDA CHARLENE REEVES U/GDNSHP OF IRMA
WHITE LAKE, MI 48386-1027                            666 W GERMANTOWN PIKE #1510                              LEWIS
                                                     PLYMOUTH MTNG, PA 19462                                  6 CHARLAND FOREST
                                                                                                              ASHEVILLE, NC 28803-9672


CHARLOTTE M DONOVAN CUST LORI DONOVAN                CHARLOTTE M DONOVAN CUST PATRICIA DONOVAN                CHARLOTTE M HANSEN TR
A MINOR U/THE LAWS OF THE STATE OF MICHIGAN          A MINOR U/THE LAWS OF THE STATE OF MICH                  CHARLOTTE M HANSEN REVOCABLE LIVING TRUST UA
5604 WEMBLEY CT                                      5604 WEMBLEY CT                                          04/01/98
CLARKSTON, MI 48346-3061                             CLARKSTON, MI 48346-3061                                 5731 SHIRL ST
                                                                                                              CYPRESS, CA 90630-3324
                    09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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CHARLOTTE PATMOR DANN TR                          CHARLOTTE PRINCE HEINE                              CHARLOTTE RUBINSTEIN GOLDFARB TR
UA 07/18/94 THE CHARLOTTE PATMOR DANN REVOCABLE   5751 FITCH RD                                       UA 06/04/91 CHARLOTTE RUBINSTEIN GOLDFARB TRUST
TRUST                                             NORTH OLMSTED, OH 44070                             2101 LUCAYA BEND H3
1888 WESTLAKE RD                                                                                      COCONUT CREEK, FL 33066-1146
WELLS, VT 05774-9624


CHARLOTTE V MCGREW & CHERYL L ROOP TR             CHARLTON ROWLAND                                    CHAUNCEY F CAMBERS & JEAN M CAMBERS JT TEN TOD CHAU
KENNETH G & CHARLOTTE V MCGREW REVOCABLE TRUST    BOX 150852                                          SUBJECT TO STA TOD RULES
UA 11/15/94                                       NASHVILLE, TN 37215                                 1704 HIGHLAND DRIVE
5432 TREESIDE DR                                                                                      INDEPENDENCE, MO 64057-1037
CARMICHAEL, CA 95608-5957


CHE ZURO WHITING                                  CHEN HWA KWAN CUST DAVID KWAN                       CHENG SHUNG FU & GRACIE FU TR
PO BOX 273                                        A MINOR U/ART 8-A OF THE PERSONAL PROP LAW OF N Y   CHENG SHUNG FU PENSION TRUST FUND 4/24/81
EDEN, UT 84310                                    1909 DAY STREET                                     30 TROYVIEW LN
                                                  ANN ARBOR, MI 48104-3603                            WILLIAMSVILLE, NY 14221-3522



CHERYL A BLAKELEY                                 CHERYL A OLLILA                                     CHERYL A WATANABE
800089 S 3330 RD                                  PO BOX 182280                                       20503 123ST CT E
CARNEY, OK 74832                                  UTICA, MI 48318-2280                                BONNEY LAKE, WA 98391-7448




CHERYL ANNE HANSEN-ROSENAUER CUST IAN BRYCE ROSENAUER
                                                 CHERYL
                                                      UTMA
                                                         C FIELDS
                                                            MO & SHELLEY L VICKERY TR                 CHERYL C HEIN
MISSOURI TRANSFER TO MIN LAW                     CHERYL C FIELDS TRUST UA 4/14/00                     211 N MAPLE RD
5580 STATE ROUTE H SE                            10053 MACLURA CT                                     SALINE, MI 48176-1219
AGENCY, MO 64401                                 FAIRFAX, VA 22032-3601



CHERYL FINKELSTEIN                                CHERYL GUSTOFSON SMITH CUST AARON W SMITH           CHERYL L BLANKENBILLER
4121 SHALLOW BROOK LN                             A MINOR UNDER THE LAWS OF GEORGIA                   PO BOX 892213
OLNEY, MD 20832-2804                              3389 COUNTRY LANE                                   OKLAHOMA CITY, OK 73189
                                                  GAINESVILLE, GA 30506-3702



CHERYL L KLEINHANS                                CHERYL L NICOLLS TR                                 CHERYL L REINHARDT
10314 DIVISION                                    CHERYL L NICOLLS IRREVOCABLE TRUST UA 12/07/02      3390 SOUTH WEHR
COLUMBUS, MI 48063-4002                           ELLEN ANNE NICOLLS                                  NEW BERLIN, WI 53146-2542
                                                  17509 RADCLIFFE PL
                                                  WILDWOOD, MO 63025-2368


CHERYL N VAN ZEE                                  CHERYL N VANZEE & DALE A VANZEE JT TEN              CHERYLENE O G C CHONG & NATHAN W K CHONG TR
25311 472ND AVE                                   25311 472ND AVE                                     CHERYLENE O G C CHONG TRUST UA 9/03/01
BALTIC, SD 57003-5803                             BALTIC, SD 57003-5803                               5607 KANAU ST
                                                                                                      HONOLULU, HI 96821-2016



CHESTER A LEWANDOWSKI & LORRAINE K LEWANDOWSKI TR CHESTER EUGENE STEPHENS                             CHESTER F O'BRIEN & MARY F O'BRIEN TR
UA 10/01/91 CHESTER A LEWANDOWSKI                 PO BOX 875910                                       UA 08/13/91 CHESTER F O'BRIEN & MARY F
9420 E SUTTON DR                                  WASILLA, AK 99687-5910                              1407 AZALEA DR
SCOTTSDALE, AZ 85260-4366                                                                             ST LOUIS, MO 63119-4501



CHESTER F ROSHAK & SOPHIE C ROSHAK TR             CHESTER H GRABOWSKI                                 CHESTER J BONGART & ELLEN T BONGART TR
UA 04/13/92 THE CHESTER F ROSHAK& SOPHIE C        22536 HEINZE                                        THE BONGART LIVING TRUST UA 05/01/97
338 NW 42ND ST                                    DEARBORN, MI 48128-1393                             44593 ROYAL RIDGE LANE #34
BOCA RATON, FL 33431-4636                                                                             LAS VEGAS, NV 89103
                   09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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CHESTER KWIEK & BETTE J KWIEK TR                    CHESTER PRZYLUCKI & SHIRLEY PRZYLUCKI JT TEN        CHESTER T SWIERCZYNSKI & KATHRYN A SWIERCZYNSKI TR
CHESTER KWIEK & BETTE J KWIEK REVOCABLE TRUST UA    11596 139TH PLACE                                   CHESTER T SWIERCZYNSKI LIV TRUST UA 07/06/99
10/18/89                                            DUNNELLON, FL 34432-5627                            15 DEBORAH LANE
9242 GOLFVIEW DR                                                                                        COLCHESTER, CT 06415-2304
NEW PORT RICHEY, FL 34655-1804


CHESTER VALENTINE JR & SUZANNE ELIZABETH VALENTINE TRCHRIS A SCHULETER & JOANNE C SCHLUETER TR          CHRIS C REINHARDT
UA 01/16/06 CHET & SUZANNE VALENTINE                 THE CHRIS A & JOANNE C SCHLUETERREV TRUST UA       736 DEEFRIELD DR
17091 DONAHUE DR                                     12/28/98                                           NORTH TONAWANDA, NY 14120
WEST OLIVE, MI 49460-9117                            420 PHILLIPS AVE
                                                     GLEN ELLYN, IL 60137-4912


CHRIS GUBBEY                                        CHRIS GUBBEY                                        CHRIS KING
GENERAL MOTORS CIS                                  SHANGHAI GENERAL MOTORS                             PO BOX 921543
10 TESTOVSKAYA ST                                   1500 SHEN JING RD                                   SYLMAR, CA 91392-1543
ENTRANCE 2 FLR 9                                    JIN QIAO PU DONG
MOSCOW 123317 RUSSIAN FEDERATION                    SHANGHAI 201206 CHINA (PEOPLE'S REP)


CHRIS KRUSE CUST DOANLD KRUSE                       CHRIS S LESLIE & KELLY P LESLIE JT TEN              CHRIS WEST
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          PO BOX 562912                                       BOX 786-311
496 S MAPLE LEAF RD                                 CHARLOTTE, NC 28256-2912                            QUEEN ST E
LAPEER, MI 48446                                                                                        ST MARYS ON
                                                                                                        N4X 1B5 CANADA


CHRIS ZAFIROFF & GLENDA ZAFIROFF TR                 CHRISTEIN R EPISCOPO                                CHRISTIAN
UA 08/13/02 CHRIS & GLENDA ZAFIROFF                 2540 SPINNERWEBER                                   & ELEANORA RUPPERT HOME FOR AGED & INDIGENT
3042 LANNING DR                                     PITTSBURGH, PA 15227                                RESIDENTS OF THE D C
FLINT, MI 48506-2051                                                                                    BOX 43965
                                                                                                        WASHINGTON, DC 20010-0965


CHRISTIAN F MARKWORT                                CHRISTIAN MICHAEL LOHNER & NANCY ELLEN LOHNER TR    CHRISTIAN WOMENS FELLOWSHIP OF THE FIRST CHRISTIAN C
PO BOX 183692                                       LOHNER FAM LIVING TRUST UA 05/08/98                 GEORGIA
SHELBY TWP, MI 48318-3692                           7001 SUN WOOD DR                                    711 E VICTORY DRIVE
                                                    CRP CHRISTI, TX 78413-4651                          SAVANNAH, GA 31405-2318



CHRISTIANA ELIZABETH PERKINS TOD ROGER DALE PERKINS SUBJECT
                                                     CHRISTIANA
                                                             TO STA
                                                                FUGGER & OSKAR FUGGER TR                CHRISTIANA NEWCOMB & RANDALL K NEWCOMB TR
TOD RULES                                            CHRISTIANNA FUGGER REVOCABLE TRUST UA 11/07/96     UA 07/21/09 CHRISTINA NEWCOMB LIVING TRUST
5604 GENESEE RD                                      4 WHITE OAK CT                                     28311 HAWAII ROAD
LAPEER, MI 48446-2748                                NORTHPORT, NY 11768-3452                           ASHLEY, IL 62808



CHRISTIANNA FUGGER & OSKAR FUGGER TR                CHRISTINA E FORRESTER & MICHAEL J FORRESTER TR      CHRISTINA ELIZABETH MITCHELL
OSKAR FUGGER REVOCABLE TRUST UA 11/07/96            CHRISTINA E FORRESTER REVOCABLE TRUST UA 10/08/01   BOX 300283
4 WHITE OAK COURT                                   9362 NEWNAN CIRCLE                                  MIDWEST CITY, OK 73140-0283
NORTHPORT, NY 11768-3452                            PORT CHARLOTTE, FL 33981-3205



CHRISTINA VALVERDE                                  CHRISTINE A BERNSCHEIN                              CHRISTINE A REITZ
P-205 PO BOX 439016                                 4605 LEGENDS LANE                                   BOX 770702
SAN DIEGO, CA 92143-9016                            ELKTON, FL 32033                                    STEAMBOAT SPRINGS, CO 80477-0702




CHRISTINE A RITZENHEIN                              CHRISTINE ANN KAMP                                  CHRISTINE ANN KERBY
8060 ESTATES DR                                     160 122ND AVE NW                                    C/O C KOEBERLEIN
SARASOTA, FL 34243-4926                             COON RAPIDS, MN 55448-2609                          BOX 192
                                                                                                        NEW MEADOWS, ID 83654-0192
                   09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 58 of 440
CHRISTINE B MONROE                                 CHRISTINE D HENDERSON                               CHRISTINE E DUNN CUST CHRISTINE SUSAN DUNN
PO BOX 271086                                      & KAY H TIETZ & KIM R HENDERSON & JAMES KEITH       U/THE N Y UNIFORM GIFTS TO MINORS ACT
LAS VEGAS, NV 89127-1086                           HENDERSON JT TEN                                    HICKORY DALE FARM
                                                   1008 STATE SHED RD                                  HIMROD, NY 14842
                                                   NATHALIE, VA 24577-3851


CHRISTINE E DUNN CUST WILLIAM ED DUNN 2ND          CHRISTINE E RECKLING TR                             CHRISTINE EINHORN CUST FLYNN L EINHORN A UGMA MD
U/THE N Y UNIFORM GIFTS TO MINORS ACT              UA 09/12/2006 CHRISTINE ESPARROS RECKLING TRUST     17101 BLOSSOM VIEW DRIVE
HICKORY DALE FARM                                  4301 MADISON AVE                                    OLNEY, MD 20832-2409
HIMROD, NY 14842                                   APT 310
                                                   KANSAS CITY, MO 64111-3493


CHRISTINE FERRIBY CUST BRIAN D FERRIBY             CHRISTINE L PINSON TR                               CHRISTINE LEE SUBJECT TO ELNA B LARSENS RIGHT TO RECE
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         UA 01/25/2008 CHRISTINE L PINSON REVOCABLE LIVING   DURING HER LIFE
1833 WEALTHY ST SE                                 TRUST                                               PO BOX 774272
EAST GRAND RA, MI 49506                            22802 PALISADES DR                                  STEAMBOAT SPRINGS, CO 80477-4272
                                                   LEBANON, MO 65536


CHRISTINE LEE-HERMAN                               CHRISTINE M HEINE                                   CHRISTINE N BORKA
PO BOX 880112                                      859 S 73RD ST                                       1077 KING WAY
STEAMBOAT SPRINGS, CO 80488-0112                   APT 2                                               BREINIGSVILLE, PA 18031-1482
                                                   MILWAUKEE, WI 53214-3102



CHRISTOPER A NICHOLS TR                            CHRISTOPHE E REINHART                               CHRISTOPHE KINCAID
UA 04/24/2007 HAROLD E NICHOLS 2007 LIVING TRUST   552 E PEARL ST                                      GMCHINA 22ND FLOOR
4151 HEARTHSTONE DRIVE                             TOLEDO, OH 43608-1231                               AURORA PLAZA
SARASOTA, FL 34238                                                                                     99 FUCHENG RD
                                                                                                       PUDONG SHANGHAI 200120 CHINA (PEOPLE'S REP)


CHRISTOPHER & CHERYL LAROCQUE TR                   CHRISTOPHER A VERZAL & MARY K VERZAL JT TEN         CHRISTOPHER B BLAKE
UA 12/04/03 CHRISTOPHER & CHERYL LAROCQUE UNITED   6400 375TH AVE                                      21814 274TH STREET
STATES                                             BURLINGTON, WI 53105-7414                           LONG GROVE, IA 52756-9600
4362 OAK TREE TRAIL
FENTON, MI 48430


CHRISTOPHER B CALVIRD CUST BRITTNEY M CALVIRD      CHRISTOPHER B KEATING & CAROL F KEATING TR          CHRISTOPHER B MARCIANTE & HELEN A MARCIANTE TR
UNDER THE MO UNIF TRANSFERS TO MINORS LAW          KEATING FAMILY TRUST UA 7/7/99                      CHRISTOPHER B MARCIANTE & HELEN A MARCIANTE
10408 CRICKET CANYON CT                            63 N HILLSIDE AVE                                   3461 SE AMBRA DR
OKLAHOMA CITY, OK 73162-6654                       CHATHAM, NJ 07928-2515                              ARCADIA, FL 34266-8088



CHRISTOPHER C WINSLOW & MARY C WINSLOW TR          CHRISTOPHER CLAUS CUST EDWARD                       CHRISTOPHER D STEIN
CHRISTOPHER C WINSLOW TRUST UA 11/18/03            & KRISTINE CLAUS & ANNALISA MARIE CLAUS UTMA OH     5 BROOK BEND PL
234 ESSEX ST                                       23155 STONE RIDGE TRL                               OAKDALE, CT 06370-1801
S HAMILTON, MA 01982-2405                          MILLBURY, OH 43447-9582



CHRISTOPHER E ALTWEIN                              CHRISTOPHER J MARSHALL                              CHRISTOPHER J MCCABE & NANCY L MCCABE TR
PO BOX 564                                         BOX 271679                                          CHRISTOHER J & NANCY L MCCABE REV LIV TRUST UA
SOUTH EASTON, MA 02375-0564                        FLOWER MOUND, TX 75027                              09/05/02
                                                                                                       9207 TARLETON CIRCLE
                                                                                                       BROOKSVILLE, FL 34613-4063


CHRISTOPHER J RATKOWSKI & MARY E RATKOWSKI TR      CHRISTOPHER M GREINER                               CHRISTOPHER M WILLIAMS & RUSSELL R WILLIAMS TR
UA 02/03/2003 CHRISTOPHER J RATKOWSKI TRUST        2075 W LINCOLN ST                                   WILMA G WILLIAMS FAMILY TRUST UA 8/19/02
16751 SUNDERLAND                                   BIRMINGHAM, MI 48009-1843                           438 FOREST HILL DR
DETROIT, MI 48219                                                                                      YOUNGSTOWN, OH 44515-3323
                       09-50026-mg       Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 59 of 440
CHRISTOPHER P SEE                                   CHRISTOPHER RAMSAY GILLMAN                          CHRISTOPHER S IDEN & PAMELA A IDEN TR
PO BOX 680293                                       PO BOX 744905                                       UA 10/30/2008 CHRISTOPHER & PAMELA IDEN TRUST
PARK CITY, UT 84068-0293                            HOUSTON, TX 77274-4905                              10145 PINE MEADOWS COURT
                                                                                                        GOODRICH, MI 48438-9246



CHRISTOPHER T ARONSTEIN                             CHRISTOPHER W DUEKER & JOYCE S DUEKER TR            CHRISTOPHER W KANTANY CUST CAROL J KANTANY
1347 STEPHENS                                       DUEKER FAMILY TRUST UA 04/11/89                     U/THE MASS UNIFORM GIFTS TO MINORS ACT
BATON ROUGE, LA 70808-3791                          37 RINGWOOD AVE                                     118 DUXBURY LN
                                                    ATHERTON, CA 94027-2231                             LONGMEADOW, MA 01106-2008



CHRISTOPHER W NAGLE & CECELIA M NAGLE TR            CHRISTOPHER WEI MIN TSAI & MIRIAM LU WING TSAI TR   CHRISTOPHER WILLIAM MOORE
NAGLE FAMILY TRUST UA 06/13/90                      CHRISTOPHER & MIRIAM WING TSAI FAMILY TRUST UA      PO BOX 603429
15051 DEL REY DR                                    05/07/89                                            PROVIDENCE, RI 02906-0829
VICTORVILLE, CA 92395-3675                          1279 S SYCAMORE AVE
                                                    LOS ANGELES, CA 90019-1550


CHRISTOS DEMETRIOU CUST GARY DEMETRIOU              CHRISTY L SCHNIZLEIN                                CITIZENS BANK TR CHARLES F & PHYLLIS V HAGEN IRREV TRU
U/THE MASS UNIFORM GIFTS TO MINORS ACT              1818 S/ CITRUS COVE                                 328 S SAGINAW ST
112 TRULL LANE E                                    MESA, AZ 85204-7324                                 TRUST SALES SUPPORT M/C 002072
LOWELL, MA 01852-1634                                                                                   FLINT, MI 48502-1923



CITY                                                CLAIRE A BEILNER                                    CLAIRE D KANSIER & MARION I KANSIER TR
& COUNTY OF SAN FRANCISCO RECREATION & PARK         3908 243RD PL SE                                    KANSIER FAMILY LIVING TRUST UA 03/16/06
COMMISSION MC LAREN LODGE                           APT Q102                                            15755 CHARLES R
GOLDEN GATE PARK                                    BOTHELL, WA 98021-6916                              EASTPOINTE, MI 48021-1607
SAN FRANCISCO, CA 94117


CLAIRE D STEIN                                      CLAIRE FINKELSTEIN                                  CLAIRE R ORENSTEIN
122 BACON RD                                        305 EAST 24TH STREET                                3433 WISCONSIN AVE NO
OLD WESTBURY, NY 11568-1305                         APT 19E                                             CRYSTAL, MN 55427-1948
                                                    NEW YORK, NY 10010-4029



CLARA BOWER REINHART                                CLARA CENOWER & NATHAN CENOWER TR                   CLARA E PORTER
233 SEABRIGHT ST                                    CLARA CENOWER REVOCABLE LIVING TRUST UA 09/18/03    15 MUSKRAT PLACE
PITTSBURGH, PA 15214-3617                           21 WASHINGTON STREET                                WHITING, NJ 08759-3617
                                                    NEWBURYPORT, MA 01950



CLARA G MICHELI TR THE LOUIS V MICHELI              CLARA H HURLEY CUST WILLIAM J HURLEY                CLARA K PEASE & RICHARD E PEASE TR
& CLARA G MICHELI REVOCABLE TRUST UA 04/23/90/THE   A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y       UA 10/16/2007 PEASE FAMILY LIVING TRUST
SURVIVORS TRUST/                                    216 PALMER AVE                                      PO BOX 14
75 SYLVAN DR                                        SCHENETADY, NY 12303-2540                           JERICHO, VT 05465
SAN FRANCISCO, CA 94132-1432


CLARA LEE MAC CADDAM WHITT & G MURRAY SMITH JR TR   CLARA LEE MAC CADDAM WHITT & G MURRAY SMITH JR TR   CLARA RUBINSTEIN
GLEN MAC CADDAM WHITT U-W LOUISA LEE MAC CADDAM     LOUISA LEE WHITT U-W LOUISA LEE MAC CADDAM          C/O LEROY RUBINSTEIN
2058 SR 506                                         2058 SR 506                                         9322 GREENBUSH AVE
MARION, KY 42064-8045                               MARION, KY 42064-8045                               ARLETA, CA 91331-5904



CLARA V ROBINSON                                    CLARE L EASTMAN                                     CLARE R EWING & HAZEL N EWING TR CLARE R EWING &HAZE
PO BOX 310072                                       7745 KRAENZLEIN RD                                  LIVING TRUSTUA 01/19/95 CLARE EWING & HAZEL EWING
FLINT, MI 48531-0072                                SAGINAW, MI 48604-9229                              4100 NORTH RIVER RD ROOM 1203
                                                                                                        WARREN, OH 44484
                   09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                           Part 8 of 8 Pg 60 of 440
CLARENCE COLE CUST ARTHUR COLE                     CLARENCE E WILSON & MARY I WILSON TR                 CLARENCE E WOMBLE JR CUST FORREST E WOMBLE
U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT         CLARENCE E WILSON & MARY I WILSON 11/04/99           U/THE VA UNIFORM GIFTS TO MINORS ACT
5216 LOTUS                                         22776 BRIDGEVILLE HWY                                1402 PLANTATION LAKES CIRCLE
ST LOUIS, MO 63113-1130                            SEAFORD, DE 19973-5817                               CHESAPEAKE, VA 23320-8112



CLARENCE F NAHM SR CUST MARK BRADSHAW NAHM         CLARENCE F REINKE JR                                 CLARENCE F REINKE JR & GAIL E REINKE JT TEN
U/THE FLORIDA GIFTS TO MINORS ACT                  1709 22ND AVE N                                      6421 HUNTINGTON DR
17010 CRAWLEY RD                                   LAKE WORTH, FL 33460-6000                            ZEPHYRHILLS, FL 33542-0638
ODESSA, FL 33556-2049



CLARENCE G SEIDEL & MARGARET K SEIDEL TR           CLARENCE J BLOCHER CUST JONATHAN BLOCHER             CLARENCE J PIMENTEL & BARBARA J PIMENTEL TR
CLARENCE G & MARGARET K SEIDEL REVOCABLE TRUST     U/THE ILL UNIFORM GIFTS TO MINORS ACT                PIMENTEL 1999 TRUST UA 05/03/99
UA 10/23/97                                        3737 N WISCONSIN ST                                  41438 PELHAM COURT
35 WEST BROWN RD APT#275                           RACINE, WI 53402-3561                                FREMONT, CA 94539-4528
MESA, AZ 85201-3491


CLARENCE JOSEPH RUF & ALBERTA MARIE RUF TR         CLARENCE ORVAL SOMERS TR                             CLARENCE R LOCKRIDGE & GRACE M LOCKRIDGE TR
RUF FAMILY TRUST UA 01/12/98                       CLARENCE ORVAL SOMERS REVOC LIVING TRUST UA          LOCKRIDGE REVOCABLE LIVING TRUSTUA 08/24/98
9517 GALAXIE CIR                                   10/29/98                                             30 LYNNWOOD DR
PORT CHARLOTTE, FL 33981-4018                      4133 QUIET MEADOW COURT                              HAMPTON, VA 23666-3516
                                                   FAIR OAKS, CA 95628-6667


CLARENCE STEINBOCK                                 CLARENCE W DAVIS & KATHLEEN M DAVIS TR               CLARENCE W TANNER
PO BOX 331                                         DAVIS JOINT LIVING TRUST UA 07/06/94                 PO BOX 970120
CRESTWOOD, KY 40014-0331                           11 ADMIRE ROAD                                       YPSILANTI, MI 48197-0802
                                                   ELDON, MO 65026-4419



CLARK A POTZMANN CUST ERIK R POTZMANN UNER MO UNIF TRANSFERS
                                                    CLARK B ROLLINS
                                                              TO    JR CUST ANN H ROLLINS               CLARK J HOWER
MINORS LAW                                          U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT         11270 150TH CT N
6384 N SEYMOUR RD                                   828 PRICETON HILLS DR                               JUPITER, FL 33478-3544
FLUSHING, MI 48433-1086                             BRENTWOOD, TN 37027



CLARNCE E LAYTON                                   CLAUD G LEINBACH & CAROL L LEINBACH JT TEN           CLAUD W BERGMAN JR
PO BOX 180335                                      27171 FERN RIDGE RD                                  8392 124TH
ARLINGTON, TX 76096-0335                           SWEET HOME, OR 97386-9530                            SAND LAKE, MI 49343-8955




CLAUDE E STECKER & ROBERTA L STECKER JT TEN        CLAUDE H UNRATH TR                                   CLAUDE J SHEA & SALLY A SHEA TR
1055 301 BLVD E                                    CLAUDE H UNRATH REVOCABLE LIVING TRUST UA 10/14/87   CLAUDE J SHEA REVOCABLE TRUST UA 03/05/96
APT 319                                            RESTATED 08/21/96                                    250 CHESTNUT HILL RD
BRADENTON, FL 34203-3656                           61335 RED ARROW HGHWY                                NORWALK, CT 06851-1416
                                                   HARTFORD, MI 49057-9701


CLAUDE PICHARD SELLERS CUST JOHN LAUDER SELLERS    CLAUDETTE CARAVAGGI & ROBERT CARAVAGGI TR            CLAUDIA C KOSS
UNDER THE FLORIDA GIFTS TO MINORS ACT              UA 04/22/86 BRUNO CARAVAGGI TRUST                    C/O CLAUDIA C JONES
4687 OLD BAINBRIDGE RD                             67 43 KESSEL ST                                      1220 LEINBACH AVE
TALLAHASSEE, FL 32303-7205                         FOREST HILLS, NY 11375                               BLOOMFIELD HILLS, MI 48302-0037



CLAUDIA HAMILTON CUST THOMAS B HAMILTON JR         CLAUDIA MC CARTNEY MARKHAM CUST AMORY R MARKHAM      CLAUDIA MC CARTNEY MARKHAM CUST CHRISTOPHER W MAR
U/THE TENN UNIFORM GIFTS TO MINORS ACT             U/THE CALIF UNIFORM GIFTS TO MINORS ACT              U/THE CALIF UNIFORM GIFTS TO MINORS ACT
1208 N GRAYCROFT AVE                               PO BOX 1896                                          206 RIVER RD
MADISON, TN 37115-2317                             PASCAGOULA, MS 39568-1896                            WASHINGTON XING, PA 18977-1605
                    09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                               Part 8 of 8 Pg 61 of 440
CLAUDIE V ROBNETT                                      CLAUDIO C MOSCA                                       CLAUDIO L GENTILI
105378 S 3440 RD                                       RUA VICTOR MEIRELLES 477                              ATTN G M DO BRAZIL S A
MEEKER, OK 74855                                       JARDIN SAO CAETAMO                                    RUA AMARAL GURGEL
                                                       SAO CAETAMO DE SUL                                    59-APTO 72
                                                       SAO PAULO 09580 460 BRAZIL                            SAO PAULO SP 01221-001 BRAZIL


CLAY E MOODY CUST DAVID C MOODY                        CLAYTON C HEINRICH                                    CLAYTON H WOODBURY
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT              1349 NORTH ACRE DRIVE                                 BOX 420233
5089 PECONGA DR                                        ROCHESTER HILLS, MI 48306-4101                        KANARRAVILLE, UT 84742-0233
MARION, IN 46952-9721



CLAYTON J DUNDAS & RUTH E DUNDAS TR                    CLAYTON L WOODWARD                                    CLAYTON R CAREY & ALTA A CAREY TR
UA 01/28/94 CLAYTON J & RUTH E DUNDAS FAMILY TRUST     PO BOX 214452                                         CLAYTON R & ALTA A CAREY TRUST 11/08/83
5852 E PLAYER PLACE                                    AUBURN HILLS, MI 48321                                7030 JENNINGS RD
MESA, AZ 85215-1407                                                                                          SWARTZ CREEK, MI 48473-8809



CLELL L SCOTT & JOYCE D SCOTT TR                       CLEMENCIA RAMIREZ FLOREZ                              CLEMENT BOTTINO CUST DOMENICO BOTTINO UGMA NY
CLELL L SCOTT & JOYCE D SCOTT 1993 TRUST UA 02/10/94   PO BOX 520686                                         PO BOX 580-148
6404 DOS RIOS RD                                       MIAMI, FL 33152-0686                                  MOUNT CARMEL STATION
DOWNEY, CA 90240-2010                                                                                        BRONX, NY 10458-0709



CLEMENT F HARRIS & MARY JANE HARRIS TR                 CLEMENTINE T WIENER SMITH TOD BERNADETTE M NABER SUBJECT
                                                                                                          CLEMENTINE
                                                                                                                TO STATTOD
                                                                                                                        WIENER SMITH TOD JAMES M MCHUGH SR SUB
CLEMENT F & MARY JANE HARRIS REVOCABLE LIV TRUST       RULES                                              RULES
UA 03/07/02                                            2865 HEATHERTON                                    1310 MADISON LN
1027 SUSQUEHANNA ST                                    FLORISSANT, MO 63033-1218                          FLORISSANT, MO 63031-2628
JOHNSTOWN, PA 15905-3055


CLEMENTS H HENTGES & HENRIETTA M HENTGES TR            CLEMETH J ENYEART & MELVIN R BYRD & ANITA R BYRD TR   CLEO JOHN REYNOLDS & DORIS A REYNOLDS TR
CLEMENTS H HENTGES & HENRIETTA MHENTGES                CLEMETH CLAIRE LIVING TRUST UA 04/15/04               REYNOLDS FAM REVOCABLE LIVING TRUST UA 12/15/04
6801 NW 72ND TERR                                      3098 C CLAIREMONT DR #524                             352 MONEY TREE DR
KANSAS CITY, MO 64152-2865                             SAN DIEGO, CA 92117                                   PONCA CITY, OK 74604-6050



CLEO MCCANTS                                           CLIFFORD A REIN & CORA M REIN JT TEN                  CLIFFORD ATKINSON III CUST ELIZABETH DELPHINE ATKINSON
PO BOX 480412                                          1712 EDUCATIONAL DR                                   A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT
NEW HAVEN, MI 48048-0412                               WHITE OAK, PA 15131-2202                              PO BOX 964
                                                                                                             GALENA PARK, TX 77547-0964



CLIFFORD ATKINSON III CUST KATHERINE VILLERE ATKINSON CLIFFORD BEDFORD & SHIRLEY BEDFORD TR                  CLIFFORD D STEIN
A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT       SHIRLEY BEDFORD & CLIFFORD BEDFORD TRUST UA            5739 STONE RD
1045 SHOOK AVE #111                                   07/20/94                                               LOCKPORT, NY 14094-1213
SAN ANTONIO, TX 78212-2563                            4632 LANSING RD
                                                      LANSING, MI 48917-4458


CLIFFORD E HUDSON & EMILY C HUDSON TR                  CLIFFORD E WICTORIN & ARMGARD H WICTORIN TR           CLIFFORD J DALY CUST THERESA M DALY
UA 05/30/89 CLIFFORD E HUDSON & EMILY C                WICTORIN FAMILY TRUST UA 04/13/06                     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
2607 E EMELITA AVE                                     420 ELBROOK DRIVE 248                                 490 MT WILSON TRL
MESA, AZ 85204-4629                                    FALLBROOK, CA 92028                                   SIENA MADRE, CA 91024-1229



CLIFFORD JOSEPH ZIMMER CUST CLIFFORD J ZIMMER JR       CLIFFORD L KLINCK & GARY KEVIN KLINCK TR              CLIFFORD W MACLIN CUST JOHN E MACLIN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 ROBERT AUSTIN KLINCK TR UA 12/20/78                   U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT
1742 STEVENS AVE                                       BOX 700                                               1918 EL DORADO ST
CINCINNATI, OH 45231-4240                              MC ALLEN, TX 78505-0700                               MEMPHIS, TN 38128-6810
                       09-50026-mg      Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                             Part 8 of 8 Pg 62 of 440
CLIFFORD W SWEERS                                    CLIFTON A MC VAY & JEAN MC VAY JT TEN              CLIFTON PIERCE
PO BOX 320365                                        221 LAWLER LN #A                                   PO BOX 250172
FLINT, MI 48532-0007                                 WHITING, IA 51063                                  FRANKLIN, MI 48025-0172




CLINTON PIOTROWSKI                                   CLIVE HODGSON                                      CLOYD KILGORE JR
9319 220TH STREET                                    C/O GENERAL MOTORS CORP CHINA GROUP                4509 157TH NW
COURT E                                              22ND FLOOR AURORA PLAZA                            GIG HARBOR, WA 98332-9066
GRAHAM, WA 98338                                     99 FUCHENG ROAD PUDONG
                                                     SHANGHAI 200120 200120 CHINA (PEOPLE'S REP)


CLYDE H DUNCAN & SANDRA J DUNCAN TR                  CLYDE H HOARD & MARLEAH J HOARD TR                 CLYDE J HALL & PATRICIA A HALL TR UA 07/10/92 THE CLYDE J
CLYDE H DUNCAN & SANDRA J DUNCANJOINT LIVING         CLYDE HENRY & MARLEAH JEAN HOARD LIVING TRUST UA   3516 160TH AVENUE EAST
1567 SUNRAY DR                                       08/02/94                                           BONNEY LAKE, WA 98391-9513
PALM HARBOR, FL 34683-3963                           9024 BELSAY RD
                                                     MILLINGTON, MI 48746-9586


CLYDE MCDERMEIT & DOROTHY MCDERMEIT TR               CLYDE N MOORE JR TR                                CLYDE O NICHOLS & LEE A NICHOLS TR
UA 03/31/10 CLYDE & DOROTHY MCDERMEIT TRUST          CN & CV MOORE REVOCABLE TRUST UA 08/15/87 SUB      CLYDE O NICHOLS REV TRUST UA 01/15/99
601 FAIRDALE ROAD                                    TRUST B                                            41913 BROOKVIEW LN
SALINA, KS 67401                                     27749 PROVO CT                                     CLINTON TWP, MI 48038-5227
                                                     SUN CITY, CA 92586-2119


CLYDE Q ALLEN TR                                     CLYDE Q ALLEN TR                                   CLYDE REETHS CUST RUSSELL REETHS
CLYDE Q ALLEN & DOROTHY B ALLEN REV BYPASS TRUST     CLYDE Q ALLEN & DOROTHY B ALLEN REV SURVIVORS      U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT
UA 08/20/98                                          TRUST UA 8/20/98                                   507 W 17TH ST
3345 WALTON WAY                                      3345 WALTON WAY                                    MARSHFIELD, WI 54449-4809
SAN JOSE, CA 95117-3076                              SAN JOSE, CA 95117-3076


COLEEN K STEIN                                       COLIN C STAFFORD & JANICE Y STAFFORD TR            COLIN E JONES & JOAN K JONES TR
230B MAIN ST                                         INNOTEXT INC EMP PROFIT SHARING TRUST 06/29/88     UA 05/10/91 COLIN E JONES & JOANK JONES
DANSVILLE, NY 14437-1112                             3311 KERNWAY DR                                    1035 MAY COURT
                                                     BLOOMFIELD HILLS, MI 48304-2438                    SANTA BARBARA, CA 93111-1105



COLIN F MACKE                                        COLIN J SCOTT CUST VALERIE ANN SCOTT               COLLEEN CARRUTHERS
1740 355 TH ST                                       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         #2510 505 4 AVE SW
LAKE CITY, IA 51449-7530                             3865 ASHFORD RIDGE                                 CALGARY AB
                                                     ATLANTA, GA 30319-1895                             T2P 0J8 CANADA



COMPUTERSHARE HOLDER ADJUSTMENT ACCOUNT              CON J ODONNELL & PAULINE ODONNELL TR               CONNIE D PASLEY
C/- COMPUTERSHARE INVESTOR SERVICES                  UA 03/20/1996 CON J ODONNELL & PAULINE ODONNELL    PO BOX 841732
ATTN ADJUSTMENTS DEPT                                1973 AUSTIN                                        PEARLAND, TX 77584-0022
525 WASHINGTON BLVD                                  FAYETTEVILLE, AR 72703
JERSEY CITY, NJ 07310


CONNIE K ADAMS                                       CONOL M LAHRING & PATRICIA A LAHRING TR            CONRAD JAMES KLEINFELD
& FLINT L CANNON & DON JUAN CANNON & PAUL J CANNON   LAHRING FAM LIV TRUST UA 06/09/00                  10294 WEALE RD
JT TEN                                               16402 N 111TH AVE                                  BAY PORT, MI 48720-9705
2145 OVERLAND AVE                                    SUN CITY, AZ 85351-1017
WARREN, OH 44483-2812


CONRAD R COLEMAN & KATHLEEN G COLEMAN TR             CONRAD SHERMAN                                     CONRAD WEIL JR & PATRICIA E WEIL TR
CONRAD R COLEMAN LIVING TRUST UA 11/27/93            5925-319TH STREET                                  UA 03/01/91 CONRAD WEIL JR & PATRICIA E WEIL REV
7301 E COLONY RD                                     TOLEDO, OH 43611-2453                              5317 N GLEN OAK DR
ELSIE, MI 48831-9760                                                                                    SAGINAW, MI 48603-1724
                    09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
                                                               Part 8 of 8 Pg 63 of 440
CONSTANCE E JOHNSON TR                                 CONSTANCE E KRUPER & WILLIAM J KRUPER & KAREN L LAWRENCE
                                                                                                           CONSTANCE
                                                                                                                 TR    FAY SATOVSKY CUST HOWARD MARK SATOVSKY
UA 02/27/85 CONSTANCE E JOHNSON TRUST FBO              UA 01/19/07                                         U/THE MICH UNIFORM GIFTS TO MINORS ACT
CONSTANCE E JOHNSON                                    15904 LONGMEADOW                                    4320 FIORPOINTE
9124 37TH ST N                                         DEARBORN, MI 48120                                  WEST BLOOMFIELD, MI 48323-2617
PINELLAS PARK, FL 33782-5917


CONSTANCE FAY SATOVSKY CUST STEVEN J SATOVSKY          CONSTANCE J MARTIN                                      CONSTANCE L THURMAN TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT                 27 MEINZER ST                                           UA 9/27/93 THE CONSTANCE L THURMAN REV LIVING TRUST
4320 FOXPOINTE                                         AVENEL, NJ 07001-1718                                   13225 CIRCULO LARGO NE
WEST BLOOMFIELD, MI 48323-2617                                                                                 ALBUQUERQUE, NM 87112-3771



CONSTANCE L WATKINS TR                                 CONSTANCE M QUAILL TR                                   CONSTANCE TRAUTWEIN CUST AMANDA TRAUTWEIN UGMA N
UA 03/02/05 WATKINS TRUST UNDER CODICIL FOR PATRICIA   UA 01/28/2008 CONSTANCE M QUAILL LIVING TRUST OF 2008   729 ST LAWRENCE AVE
SMITH LASHER                                           PO BOX 201014                                           BUFFALO, NY 14216-1616
3119 EASTBURN RD                                       STOCKTON, CA 95201-9014
CHARLOTTE, NC 28210


CONSTANCE WEAVER SUTTLES                               CORALIE B CARRIER & CLIFFORD E CARRIER JR TR            CORDELL L GIBSON & MARY E GIBSON TR
ATTN CONSTANCE WEAVER SUTTLES                          THE CARRIER FAMILY TRUST UA 11/19/01                    CORDELL L & MARY E GIBSON REV LIV TRUST UA 12/21/00
STEIN                                                  5140 CHIRICAHUA TRAIL                                   186 PINE CREST DR
623 DEVONSHIRE                                         LAS CRUCES, NM 88012-9771                               DAYTON, TN 37321-5978
STATE COLLEGE, PA 16803-1218


CORINE A GRISWOLD TOD JAMES G GRISWOLD SPECIAL NEEDSCORINNE
                                                      TRUST UA
                                                             A CICHON
                                                               11/5/02 AS GUARDIAN FOR PAMELA D CICHON         CORNELIA P WEISS
SUBJECT TO STA TOD RULES                            U/THE FLORIDA GIFTS TO MINORS ACT                          PO BOX 770106
3609 SOUTH 95TH STREET                              3161 12TH AVE N                                            STEAMBOAT SPR, CO 80477
MILWAUKEE, WI 53228-1407                            ST PETERSBURG, FL 33713



CORNELIUS C PIFHER & JANE M PIFHER TR                  CORNELIUS H SULLIVAN CUST MISS CATHERINE ANN SULLIVANCORNELIUS M SULLIVAN CUST CATHERINE ANN SULLIVAN
PIFHER FAMILY REV LIV TRUST UA 12/01/03                A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW      U/THE N Y UNIFORM GIFTS TO MINORS ACT
6851 SCOTT ROAD                                        JERSEY                                               58 WASHINGTON RD
TIRO, OH 44887-9711                                    58 WASHINGTON RD                                     PITTSFORD, NY 14534-1446
                                                       PITTSFORD, NY 14534-1446


COZETTA J VAN DOLSEN & CLARENCE W VAN DOLSEN TR        CRAIG A GUTOWSKI & CINDY A GUTOWSKI TR                  CRAIG ALAN JOHNSON
COZETTA J VAN DOLSEN REVOCABLE TRUST UA                UA 06/28/2007 CRAIG A GUTOWSKI REVOCABLE LIVING         424 270TH ST S
1132 WEST RED OAK                                      26335 SIMS DR                                           HAWLEY, MN 56549-9143
SPRINGFIELD, MO 65803                                  DEARBORN HTS, MI 48127



CRAIG HEINE                                            CRAIG K KLEINKNIGHT & MARILYN L KLEINKNIGHT TR          CRAIG R ANDERSEN & TODD J ANDERSEN SR TR
PO BOX 8641                                            CRAIG & MARILYN KLEINKNIGHT LIVING TRUST UA 6/26/00     UA 05/27/1999 CRAIG R ANDERSEN TRUST
BODFISH, CA 93205                                      8973 BRISTOL BEND                                       100 WARREN ST APT 314
                                                       FORT MYERS, FL 33908-6697                               JERSEY CITY, NJ 07302



CRAIG S BOLLMANN CUST CRAIG S BOLLMANN JR              CRAIG S WEINBURGER                                      CRANE AND CO
U/THE MO UNIFORM GIFTS TO MINORS ACT                   860 OAKGROVE ROAD                                       12101 216TH AVE
1167 WILDHABER RD                                      HIGHLAND, MI 48356-1648                                 BRISTOL, WI 53104-9318
LESLIE, MO 63056-1520



CREIGHTON GILBERT                                      CRISTINA FALCO CUST VINCENZO E FALCO                    CROBERT OMAN & HARRIET S OMAN TR
ATTN YALE UNIVERSITY                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT              UA 03/21/2007 OMAN FAMILY LIVING TRUST
DEPT OF THE HISTORY OF ART                             4536 RIDGE ROAD W                                       43 KENDALL RD
PO BOX 208272 YALE STATION                             ROCHESTER, NY 14626-3533                                STRAFFORD, VT 05072
NEW HAVEN, CT 06520-8272
                    09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 64 of 440
CURTIS A LEWIS & ROSE ANN LEWIS TR                 CURTIS DWORKEN CUST DUDLEY DWORKEN                   CURTIS E SHADDAY TR
CURTIS A LEWIS & ROSE ANN LEWIS JOINT TRUST UA     U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT           CURTIS E SHADDAY REVOCABLE LIVING TRUST UA 11/08/05
12/05/96                                           1522 W KERSEY LANE                                   5310 N 625 W
5064 SHERIDAN RD                                   ROCKVILLE, MD 20854-2676                             BARGERSVILLE, IN 46106-9180
FLUSHING, MI 48433-9713


CURTIS LANDS                                       CURTIS STEINBACK                                     CURTIS V REINAN
PO BOX 128737                                      1300 GLENDALE BLVD                                   3637 SADDLE CREEK CT
CINCINNATI, OH 45212-8737                          LOS ANGELES, CA 90026-2508                           LAS VEGAS, NV 89147-3829




CURTIS W WARD & JUDY K WARD TR                     CYNTHIA A HARRIS                                     CYNTHIA BUCKLAND
CURTIS W WARD AND JUDY K WARD REVOCABLE TRUST UA   3641 102ND PL                                        111869 T H #11
4/14/99                                            CLEARWATER, FL 33762-5481                            CAREY, OH 43316
609 SANTA FE BLVD
KOKOMO, IN 46901-4096


CYNTHIA E MASON                                    CYNTHIA G DUSTERHOFT                                 CYNTHIA HENDEL
PO BOX 401262                                      1353 109TH AVE                                       BOX 670310
REDFORD, MI 48240-9262                             OTSEGO, MI 49078-9766                                CHUGIAK, AK 99567-0310




CYNTHIA HORNSTEIN RONEY & GARY C RONEY JT TEN      CYNTHIA K LOWE                                       CYNTHIA KAMASA QUASHIE
938 E 14TH STREET                                  PO BOX 620841                                        & AGBEVANU KAMASA QUASHIE & DZIGBORDI KAMASA
HOUSTON, TX 77009                                  ORLANDO, FL 32862-0841                               QUASHIE JT TEN
                                                                                                        3111 HAVERHILL COVE
                                                                                                        CONYERS, GA 30012


CYNTHIA NIEPORENT & COSETTE NIEPORENT SMOLLER TR   CYNTHIA ORR MORSE                                    CYNTHIA R CAPP TR CAPP LIVING TRUST UA 5/16/89
CYNTHIA NIEPORENT REVOCABLE TRUST UA 05/20/03      PO BOX 371213                                        PO BOX 270774
5480 WISCONSIN AVE APT 520                         DENVER, CO 80237-5213                                SAN DIEGO, CA 92198-2774
CHEVY CHASE, MD 20815-3507



CYNTHIA WICKLEIN                                   CYRIL J MURPHY JR CUST PHILIP DAVID MURPHY           D KIRK HAMILTON CUST CAROLYN E HAMILTON UGMA MI
331 MAPLE ST                                       A MINOR U/THE LA GIFTS TO MINORS ACT                 P O BOX 881628
WEST BOYLSTON, MA 01583                            PO BOX 12604                                         STEAMBOAT SPR, CO 80488
                                                   ALEXANDRIA, LA 71315-2604



D KIRK HAMILTON CUST MEREDITH N HAMILTON UGMA MI   D MICHAEL CROW TR UA 08/30/82 STEVEN MICHAEL BENNETT DAHN E BJORKMAN & JOYCE E BJORKMAN TR
P O BOX 881628                                     & JOHN CHRISTOPHER BENNETT & ELIZABETH BENNETT       UA BJORKMAN FAMILY LOVING TRUST 10/30/90
STEAMBOAT SPR, CO 80488                            PO BOX 12307                                         PO BOX 553
                                                   DALLAS, TX 75225-0307                                LAKE CITY, MI 49651-0553



DAHN E BJORKMAN & JOYCE E JORKMAN TR               DAISY A BATTLE TR                                    DALE A DEINES
UA 10/30/90 DAHN E BJORKMAN & JOYCE E BJORKMAN     HOWARD L BATTLE & DAISY A BATTLE LIVING TRUST UA     POST OFFICE BOX 1733
TRUST                                              06/17/96                                             SKYLAND, NC 28776-1733
PO BOX 553                                         821 CAHABA RD
LAKE CITY, MI 49651-0553                           LEXINGTON, KY 40502-3318


DALE A HELCHER JR                                  DALE A ROULEAU & SHARON A ROULEAU TR                 DALE E HANKA & CAROLYN J HANKA JT TEN
& SUSAN T AMARAL JT TEN TOD LUCAS GUS DRAKE        UA 01/19/95 DALE A & SHARON A ROULEAU                4848 135TH AVE
SUBJECT TO STA TOD RULES                           299 TELU CRT                                         CLEAR LAKE, MN 55319-9433
P O BOX 434                                        LINWOOD, MI 48634-9406
HOMOSASSA, FL 34487
                       09-50026-mg          Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 65 of 440
DALE E WEINZIERL                                   DALE EDMUND BIERKNESS TR                          DALE FERRIBY CUST SCOTT DOUGLAS FERRIBY
2030 MURPHY LAKE RD BOX 276                        UA 02/13/1990 EDMUND I BIERKNESS & ESTHER H       U/THE MICH UNIFORM GIFTS TO MINORS ACT
MILLINGTON, MI 48746-9675                          BIERKNESS TRUST                                   1833 WEALTHY ST SE
                                                   78 HAWLEY WOODS ROAD                              EAST GRAND RA, MI 49506
                                                   BARRINGTON, IL 60010


DALE GREIFENSTEIN                                  DALE H GUTHRIE & DONNA R GUTHRIE TR               DALE J GIERTHY & MARY JEAN GIERTHY TR
740 PINE MEADOWS RD                                THE DALE H GUTHRIE & DONNA GUTHRIE REV TRUST UA   UA 06/07/2006 GIERTHY FAMILY TRUST
ORLANDO, FL 32825-8073                             2/11/03                                           3045 E HILLCREST DR
                                                   3910 TANGLEBROOK ROAD                             WESTLAKE VLG, CA 91362
                                                   HIGH POINT, NC 27265-1265


DALE L JUDD & BARBARA A JUDD TR                    DALE R KAEMPFLEIN                                 DALE S MARTIN & CAROLE M MARTIN TR
DALE L JUDD & BARBARA A JUDD TRUST UA 11/29/00     27 CARRIAGE WAY WEST                              DALE S & CAROLE M MARTIN REVOCABLE TRUST UA
305 WATERWAY COURT                                 SAINT PETERS, MO 63376-2323                       08/24/06
HOUGHTON LAKE, MI 48629-9577                                                                         PO BOX 157
                                                                                                     WADESVILLE, IN 47638-0157


DALE SKOOG                                         DALE W GIFFIN                                     DALE W KOPITZKE & SANDRA L KOPITZKE TR
PO BOX 701345                                      2115 REINHARDT                                    THE KOPITZKE LIVING TRUST UA 03/22/94
SAINT CLOUD, FL 34770-1345                         SAGINAW, MI 48604-2431                            5164 WALNUT PARK DR
                                                                                                     SANTA BARBARA, CA 93111-1739



DALLAS E HOLLAND & DOROTHY S HOLLAND TR            DALLAS L SPRINKLE & DOROTHY D SPRINKLE TR         DALLETT HOOPES
REV FAM TR 05/17/90 U-A DALLAS E& DOROTHY          UA F-B-O SPRINKLE FAMILY TRUST 12/10/91           BOX 1112 153 NORTH ST
1119 JENNA DR                                      406 GLADES BOULEVARD                              LITCHFIELD, CT 06759
DAVISON, MI 48423-3603                             NAPLES, FL 34112-5001



DAMON A POWELL                                     DAMON F EVENSTAD & JOAN L EVENSTAD TR             DAN B KUIPER & BETTY LOU KUIPER TR
PO BOX 261651                                      JOAN L EVENSTAD LIVING TRUST UA 12/29/97          DAN B KUIPER & BETTY LOU KUIPER TRUST
MIAMI, FL 33126-0029                               617 MEADOW DRIVE                                  16895 LANDING LANE
                                                   GLENVIEW, IL 60025-3927                           SPRING LAKE, MI 49456-2609



DAN H RUHL JR & BARBARA I RUHL TR                  DAN T ROWND JR CUST JAMES H ROWND                 DAN V GERANT
DAN H RUHL JR REVOCABLE TRUST UA 5/15/95           UNDER THE WEST VIRGINIA GIFTS TO MINORS ACT       1551-165TH ST
1041 CHURCHILL LANE                                3595 LYTLE RD                                     FORT SCOTT, KS 66701-8333
WATKINSVILLE, GA 30677-5173                        SHAKER HEIGHTS, OH 44122-4907



DANA BRANDT                                        DANA IRENE HERZSTEIN                              DANIEL A D APICE
ATTN DANA REBELEIN                                 679 JEAN MARIE DR                                 PO BOX 185634
1346 32ND AVE NW                                   SANTA ROSA, CA 95403-1489                         HAMDEN, CT 06518-0634
NEW BRIGHTON, MN 55112-6384



DANIEL A HELLICKSON                                DANIEL B STIEGMAN & SHIRLEY A STIEGMAN TR         DANIEL D HILL & EVA RUTH HILL TR
PO BOX 181021                                      UA 05/24/07 DANIEL B STIEGMAN AND SHIRLEY A       DANIEL D HILL & EVA RUTH HILL REV LIVING TRUST UA
UTICA, MI 48318                                    745 DANIELS STREET                                1/18/01
                                                   WOODLAND, CA 95695                                970 CLARK LANE
                                                                                                     DES PLAINES, IL 60016-6043


DANIEL DALY & CATHERINE DALY JT TEN                DANIEL DONOHUE & MADELEINE DONOHUE JT TEN         DANIEL E MYERS CUST DANIEL MYERS
PO BOX 100681                                      3147 SPENCER DR                                   A MINOR PURSUANT TO SECTIONS 1339 /26 INCLUSIVE OF
CAPE CORAL, FL 33904-0681                          BRONX, NY 10465-1208                              8315 COLUMBUS RD
                                                                                                     LOUISVILLE, OH 44641-9767
                    09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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DANIEL E TUMIDANSKI & MARY K TUMIDANSKI TR           DANIEL F CLEARY                                       DANIEL F MATHEWS JR CUST JEANNE MARY MATHEWS
DANIEL & MARY TUMIDANSKI REV TRUST UA 01/30/02       PO BOX 268413                                         U/THE N Y UNIFORM GIFTS TO MINORS ACT
11320 BERWICK                                        FT LAUDERDALE, FL 33326-8413                          4850 BRECKENRIDGE RUN
LIVONIA, MI 48150-2843                                                                                     SYRACUSE, NY 13215



DANIEL F MATHEWS JR CUST MARY MATHEWS                DANIEL F TRIPP CUST MEGAN N TRIPP                     DANIEL G VASILASH & VIOLA J VASILASH TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UNDER THE FLORIDA GIFTS TO MINORS ACT                 DANIEL G VASILASH JT REV LIVING TRUST UA 08/06/96
520 N ORCHARD ROAD                                   2060 21ST STREET S W                                  15218 HOUGHTON
SOLVAY, NY 13209-2022                                NAPLES, FL 34117-4610                                 LIVONIA, MI 48154-4819



DANIEL G VERKERKE & KAREN M VERKERKE TR              DANIEL H HEIN                                         DANIEL H MONTPAS & MARYLOU A MONTPAS TR
UA 01/15/07 DANIEL & KAREN VERKERKE TRUST            N74W22094                                             DANIEL H & MARYLOU A MONTPAS REVOCABE TRUST UA
1104 PRIEBE AVE                                      VALLEY VIEW RD                                        07/05/01
PETOSKEY, MI 49770                                   SUSSEX, WI 53089-2221                                 12331 CONE
                                                                                                           SHELBY TWNSHIP, MI 48315-5703


DANIEL ISAAC DANIELS                                 DANIEL J BIRCH                                        DANIEL J HEIN
PO BOX 144543                                        PO BOX 463172                                         5859 MURFIELD DR
CORAL GABLES, FL 33114-4543                          MOUNT CLEMENS, MI 48046-3172                          ROCHESTER HILLS, MI 48306-2362




DANIEL J MASTA                                       DANIEL J MC MORROW & NORMA J MC MORROW TR             DANIEL J MC NULTY CUST KATHLEEN MC NULTY
A 6527 142ND AVE                                     DANIEL J MC MORROW LIVING TRUST UA 10/09/97           U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
HOLLAND, MI 49423-9746                               13123 APPLEGROVE LN                                   2226 CLAWSON ROAD
                                                     HERNDON, VA 20171-3944                                ROYAL OAK, MI 48073-3734



DANIEL J REINSMITH                                   DANIEL JACK GEORGE & DONNA M GEORGE TR                DANIEL JAMES MAHLMEISTER & TINA M MAHLMEISTER TR
1240 VERLENE DR                                      DANIEL JACK GEORGE FAM TRUST UA 7/18/00               DANIEL J & TINA M MAHLMEISTER LIVING TRUST 09/05/01
FLORISSANT, MO 63031-3355                            2159 ASHLEY RIVER RD                                  43421 COTTISFORD ST
                                                     WAXHAW, NC 28173                                      NORTHVILLE, MI 48167-8933



DANIEL JON KLEINMAN                                  DANIEL JOSEPH MILES & MRS ELIZABETH ANNE MILES JT TEN DANIEL K STEINWAY
641 SHUNPIKE RD                                      47 A INDEPENDENCE PKWY                                73 WOOD AVENUE
# 123                                                WHITING, NJ 08759-1518                                RUTLAND, VT 05701-3136
CHATHAM, NJ 07928-1567



DANIEL KENDRICK CUST MATHEW J KENDRICK               DANIEL KENNETH GUDAZ                                  DANIEL L CHAPA
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           7949 105TH AVE SW                                     PO BOX 210504
1383 SCOUT TRCE                                      OLYMPIA, WA 98512-9390                                AUBURN HILLS, MI 48321-0504
BIRMINGHAM, AL 35244-3917



DANIEL L FICKER CUST DANIEL CHARLES FICKER UGMA CA   DANIEL L FICKER CUST JULIE NOELLE FICKER UGMA CA      DANIEL L HEINS
412 4TH ST                                           412 FOURTH STREET                                     20617 MISSOURI CITY RD
PO BOX 370598                                        P O BOX 370598                                        LIBERTY, MO 64068-8543
MONTARA, CA 94037                                    MONTARA, CA 94037



DANIEL MARCINEK                                      DANIEL MARGOLIS CUST MICHAEL MARGOLIS                 DANIEL MC NULTY CUST KATHLEEN MARY MC NULTY
1865 132ND AVENUE                                    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW
HOPKINS, MI 49328-9725                               327 WOODBURY RD                                       JERSEY
                                                     COLD SPG HBR, NY 11724                                2226 CLAWSON ROAD
                                                                                                           ROYAL OAK, MI 48073-3734
                      09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
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DANIEL P COTCHER & ELLEN R CRAWFORD COTCHER TR        DANIEL P TOTH                               DANIEL R KLEIN
UA 07/22/91 DANIEL P COTCHER & ELLEN R CRAWFORD       16991 105TH AVENUE                          9519 CLYDE ST
COTCHER TR                                            SURREY BC                                   HUDSON, FL 34669-3855
713 BEACH BUGGY LN                                    V4N 4S5 CANADA
LINDEN, MI 48451-9663


DANIEL ROSS BIERER CUST MICHAEL BIERER                DANIEL T MUNSON & VIRGINIA M MUNSON TR      DANIEL T TURKIN
U/THE MICH UNIFORM GIFTS TO MINORS ACT                MUNSON REVOCABLE LIVING TRUST UA 03/27/00   PO BOX 180622
624 TAYLOR                                            14377 MERRIMAN ROAD                         UTICA, MI 48318-0622
BRIGHTON, MI 48114-7613                               LIVONIA, MI 48154-4264



DANIEL W DEAN & HELEN KENTON & THOMAS DEAN TR         DANIEL W GRMELA                             DANIEL W MARINKOVICH & COLLEEN MARINKOVICH TR
ARTHUR DEAN & LOUISE DEAN TRUST UA 09/16/96           PO BOX 821151                               MARINKOVICH TRUST UA 06/11/98
PO BOX 745                                            N RICHLND HLS, TX 76182-1151                BOX 472
WILMINGTON, OH 45177-0745                                                                         ANACONDA, MT 59711-0472



DANIELLE STEIN                                        DANN L FRENCH & ELIZABETH FRENCH TR         DANNIE L NIMMO
697 W END AVE                                         UA 07/11/91 DANN & ELIZABETH FRENCH TR      2477 400 E
APT 3D                                                11703 REYNOLDS RD                           KOKOMO, IN 46902-9343
NEW YORK, NY 10025-6919                               LACHINE, MI 49753-9769



DANNIE M MADDEN                                       DANNIELLE KRAMER                            DANNY A VOSSLER TR DANNY A VOSSLER TRUST ACCT 3 UA 0
PO BOX 120840                                         PO BOX 214294                               620 HILLSIDE DR
CLERMONT, FL 34712-0840                               AUBURN HILLS, MI 48321-4294                 SOLVANG, CA 93463-2165




DANNY BERENS                                          DANNY C BOEHM                               DANNY G ZUNTERSTEIN & JOAN S ZUNTERSTEIN JT TEN
1918 138TH                                            2863 NEW GERMANY TREBEINE RD                14523 SE 50TH
DORR, MI 49323-9388                                   BEAVER CREEK, OH 45431-8530                 BELLEVUE, WA 98006-3501




DANNY J BOYKINS & DIANNE M BOYKINS TR                 DANNY L KLOPFENSTEIN                        DANNY'S APARTMENTS LLC
DANNY J & DIANNE M BOYKINS LIVING TRUST UA 12/08/04   N2573 HWY GG                                DUSAN PETROVIC MANAGER
5118 MCHENRY LANE                                     BRODHEAD, WI 53520                          PO BOX 180111
INDIANAPOLIS, IN 46228-2368                                                                       UTICA, MI 48318



DARA L NELSON CUST MEGHAN R NELSON                    DARIA PONCIC & ANDREW PONCIC JT TEN         DARLENE APICELLA OR THOMAS S APICELLA TR
UNDER THE MI UNFIORM GIFTS TO MINORS ACT              PO BOX 3082 STEINWAY STATION                DARLENE APICELLA LIVING TRUST UA 10/15/96
PO BOX 814                                            LONG ISLAND CITY, NY 11103-0082             202 W BAILEY
ALMA, MI 48801-0814                                                                               NAPERVILLE, IL 60565-4125



DARLENE BUSH                                          DARLENE KLEINER                             DARLENE M PAYTON
1380 140TH STREET R R 1                               158 LARCH ST                                14324 170TH STREET
WAYLAND, MI 49348-9745                                HOLLIDAYSBURG, PA 16648-2715                BONNER SPRINGS, KS 66012-7823




DARLENE M REININGER                                   DARLENE R BLAIR                             DARLENE R MATEYAK CUST RODNEY W MATEYAK
9595 RAVINIA DR                                       9532 150 AVE NW                             U/THE MICH UNIFORM GIFTS TO MINORS ACT
OLMSTED FALLS, OH 44138-3277                          EDMONTON AB                                 1175 DUCK CREEK LANE
                                                      T5E 3X5 CANADA                              ORTONVILLE, MI 48462-9049
                     09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                             Part 8 of 8 Pg 68 of 440
DARLENE WHITING                                      DARLINE DOYLE CUST CAROLYN ELIZABETH DOYLE       DARREL E LEONARD
3480 AGNES ST                                        U/THE IND UNIFORM GIFTS TO MINORS ACT            192 CONSTITUITION BLVD
JACKSON, MI 49203-4944                               4871 HIGHLANDS PLACE DR                          WHITING, NJ 08759-1837
                                                     LAKELAND, FL 33813-2164



DARREL G BAIRD & JEAN E BAIRD TR                     DARREL R MARTIN & RADENE MARTIN TR               DARREL R WEINEL
BAIRD FAMILY REVOCABLE LIVING TRUST UA 10/18/02      DARREL & RADENE MARTIN TRUST UA 10/12/95         39 SUNSET PL
1411 TALLMADGE RD                                    1545 LEE ST                                      GERMANTOWN, OH 45327-1256
KENT, OH 44240-6659                                  BATESVILLE, AR 72501-7760



DARRELL BURTON DELAVAN & JANET RUTH DELAVAN TR       DARRELL D PAWLOWSKI & SALLY M PAWLOWSKI TR       DARRELL H MOSER CUST JASON KYLE MAY
UA 05/06/92 THE DARRELL B & JANET R DELAVAN FAMILY   SALLY M PAWLOWSKI & DARRELL D PAWLOWSKI          U/THE N C UNIFORM GIFTS TO MINORS ACT
TRUST                                                54018 SURFSIDE                                   1704 WOODLAND AVE
1161 JACOB LANE                                      SHELBY TWP, MI 48316-1455                        BURLINGTON, NC 27215-3532
CARMICHAEL, CA 95608-6202


DARRELL H RENEKER & JOAN E RENEKER TR                DARRELL M ANSEL CUST JEFFREY R ANSEL             DARRELL M BAILEY
DARRELL H RENEKER REVOCABLE LIVING TRUST UA          U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT      & LINDA D BAILEY & CRAIG M BAILEY & KARA E BAILEY JT
03/01/98                                             4510 OAK DR                                      TEN
300 HAMPSHIRE ROAD                                   EDINA, MN 55424-1531                             7121 PINEDALE DRIVE
AKRON, OH 44313-4328                                                                                  LAKELAND, FL 33810-6307


DARRELL WINTERBAUER & DOROTHY A WINTERBAUER TR       DARREN HALPER U/GDNSHP OF HARVEY HALPER          DARROLD R MORRIS & PHYLLIS H MORRIS TR
WINTERBAUER FAMILY TRUST UA 04/26/00                 & CLERK SURROGATES COURT KINGS CO NY             DARROLD & PHYLLIS MORRIS TRUST UA 11/11/03
1497 S CATUS SAND PLACE                              73 CONCOURSE W                                   4107 MITCHELL DR
TUCSON, AZ 85748                                     BRIGHTWATER, NY 11718-2014                       FLINT, MI 48506-2048



DARRYL BRIAN SMITH                                   DARRYL D COOPER                                  DARRYL E SMITH
PO BOX 530503                                        PO BOX 531592                                    PO BOX 430-222
LIVONIA, MI 48153-0503                               LIVONIA, MI 48153-1592                           PONTIAC, MI 48343




DARRYL ROSS STEINBERG                                DARUS H ZEHRBACH SR & PEARL M ZEHRBACH TR        DARWIN K CLARK
35 DALE AVE                                          ZEHRBACH FAMILY REVOCABLE TRUST UA 12/13/00      PO BOX 155407
STATEN ISLAND, NY 10306-1918                         623 HILLTOP DR                                   LUFKIN, TX 75915-5407
                                                     CUMBERLAND, MD 21502-3611



DARWIN V HENRY & DOROTHY F HENRY TR                  DATEK SECURITIES CORP CUST EDDIE C TAN A/C       DAVE H MATAYOSHI & NATALIE N MATAYOSHI TR
UA 05/27/93 THE DARWIN V HENRY &DOROTHY F HENRY      70 HUDSON ST                                     DAVE H MATAYOSHI & NATALIE N MATAYOSHI 1994 TRUST
REV TR                                               JERSEY CITY, NJ 07302-4585                       3985 ALBRIGHT AVE
3585 ROUND BARN BLVD APT 329                                                                          LOS ANGELES, CA 90066-5001
SANTA ROSA, CA 95403


DAVE J RUBENSTEIN TR UA 12/29/78 CYRENE RUBENSTEIN TRUST
                                                      DAVE RUBENSTEIN TR DAVE RUBENSTEIN UA 11/2/78   DAVID A BARDELLINI & KEITH B BARDELLINI TR
1606 QUENNS COURT #D2                                 PO BOX 2525                                     UA 10/14/1987 JUSTIN M BARDELLINI 1987 TRUST
WHEELING, IL 60090-6953                               GLENVIEW, IL 60025-6525                         55 SANTA CLARA AVE APT 120
                                                                                                      OAKLAND, CA 94610



DAVID A FERGUS CUST JULIE ANNA FERGUS                DAVID A FREDRICKSON & DIANA J FREDRICKSON TR     DAVID A GAGLEY JR
UNDER THE WAUNIF GIFTDS TO MINORS ACT                THE FREDRICKSON 2003 TRUST UA 04/03/03           33713 186TH SE
262 4TH ST                                           233 PORTER LANE                                  AUBURN, WA 98092-9101
BREMERTON, WA 98337-1813                             SAN JOSE, CA 95127-2550
                    09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                         Part 8 of 8 Pg 69 of 440
DAVID A KLEIN                                    DAVID A KLEIN                                         DAVID A LEVERE & LAURI M LEVERE TR
6700 DONEGAL LN                                  866 ADAMS RD                                          DAVID A LEVERE LIVING TRUST UA 04/10/00
DELTON, MI 49046-9428                            DRYDEN, NY 13053-9613                                 24W066 ST CHARLES RD
                                                                                                       CAROL STREAM, IL 60188-2623



DAVID A RAVAS & NANCY H RAVAS TR                 DAVID A RICE & MARY D RICE TR                         DAVID A THOMPSON TR UA 05/05/1998 ROBERT L THOMPSON
DAVID A RAVAS & NANCY H RAVAS LIVING TRUST UA    DAVID AND MARY RICE 2002 TRUST UA 08/29/02            & BEVERLY B THOMPSON REVOCABLE LIVING TRUST
04/04/95                                         433 GARFIELD DRIVE                                    709 AVONDALE
2813 RIDGE TRAIL DR                              PETALUMA, CA 94954-3818                               SAN ANGELO, TX 76901
TRAVERSE CITY, MI 49684


DAVID A WAGMAN CUST MARJORIE CAROL WAGMAN        DAVID A WATSON & ROSEMARY WATSON TR                   DAVID ALLEN VIDOUREK & VERA MARIE VIDOUREK TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT           UA EMMANUEL FAMILY PRESERVATION TRUST                 VIDOUREK FAMILY LIV TRUST UA 01/08/02
887 COLLIER DR                                   117 CREEKWOOD CIRCLE                                  1339 NEW LONDON RD
SAN LEANDRO, CA 94572                            LINDEN, MI 48451-8935                                 HAMILTON, OH 45013-4009



DAVID B BLACKWOOD & MARY E BLACKWOOD TR          DAVID B FERRAIOLI                                     DAVID B STEPHANS & WILMA V STEPHANS TR
DAVID B BLACKWOOD & MARY E BLACKWOOD             16941 157TH PL SE                                     DAVID B STEPHANS TRUST UA 11/04/96
4119 S BARLAND AVE                               RENTON, WA 98058-8605                                 439 LEISURE LANE
ST FRANCIS, WI 53235-5501                                                                              GREENWOOD, IN 46142-8314



DAVID BERNSTEIN                                  DAVID BORENSTEIN                                      DAVID BRANDWEIN TR UW FRIEDA BRANDWEIN
215 W 92ND ST                                    2374 BRANDY TURK WAY                                  255 CABRINI BLVD
APT 9C                                           ATLANTA, GA 30360-1636                                NEW YORK, NY 10040-3612
NEW YORK, NY 10025-7478



DAVID BRYCE & ANN T BRYCE TR                     DAVID BURSTEIN                                        DAVID C ARKELLS & JOYCE M ARKELLS TR
DAVID BRYCE & ANN T BYRCE TRUST UA 09/19/96      11 SLEEPY LANE                                        DAVID C ARKELLS & JOYCE M ARKELLS FAM TRUST UA
51 CIRCUT DR                                     MELVILLE, NY 11747-3220                               07/30/97
CUMBERLAND, RI 02864-4108                                                                              7321 E COZY CAMP DR
                                                                                                       PRESCOTT VALLEY, AZ 86314


DAVID C ENGLAND & BARBARA G ENGLAND TR           DAVID C HOLLWEDEL                                     DAVID C LINDBERG
DAVID C ENGLAND TRUST UA 03/04/83                25327 240TH COURT SE                                  806 178TH AVE NE
504 DEVEREUX ST                                  MAPLE VALLEY, WA 98038                                BELLEVUE, WA 98008-3425
RALIEGH, NC 27605-1502



DAVID C LINDBERG & MARGARET J LINDBERG JT TEN    DAVID C MENZEL & CHARLOTTE A MENZEL TR                DAVID C MOSIER & DENISE L ESSELING TR
806 178TH AVENUE NE                              D C & C A MENZEL FAMILY TRUST UA 03/04/04             AMENDED & RESTATED MOSIER FAM TR UA 02/03/95
BELLEVUE, WA 98008-3425                          17 OVERLOOK RD                                        4657 TERRY AVE
                                                 WHITE BEAR LAKE, MN 55110-1426                        CHINO, CA 91710-2213



DAVID C PELINI & SUSAN E PELINI TR               DAVID C STONE TR UA 12/22/88 RICHARD J REASON IRREVOCABLE
                                                                                                       DAVID
                                                                                                           LIFE
                                                                                                              C STONE TR UA DTD 12/22/88RICHARD J REASON IRREV
DAVID C PELINI LIVING TRUST UA 04/03/97          INSURANCE TR FBO VICTORIA ALDRICH                     INSURANCE TR FBO PETER REASON
11402 MEMORIAL DR                                201 WEST BIG BEAVER RD STE 500                        201 WEST BIG BEAVER RD STE 500
PINEY POINT VILLAGE                              TROY, MI 48084-4160                                   TROY, MI 48084-4160
HOUSTON, TX 77024-7513


DAVID C WHITMER                                  DAVID CALDWELL                                        DAVID CHARLES STEINHOFF
8432 HOLSTEIN PONY CT                            PO BOX 431873                                         8309 VASSAR RD
GAINESVILL, VA 20155-2968                        PONTIAC, MI 48343-1873                                GRAND BLANC, MI 48439-9537
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                             Part 8 of 8 Pg 70 of 440
DAVID CHEIFETZ CUST MARTIN CRAIG CHEIFETZ            DAVID COHN CUST JEFFREY WIENTRAUB                   DAVID CRAIG STONE
U/THE N Y UNIFORM GIFTS TO MINORS ACT                A MINOR U/P L 55 CHAP 139 OF THE LAWS OF NJ         501 150TH ST
67 CURLEW RD                                         15417 QUAIL RUN DR                                  BALSAM LAKE, WI 54810-7220
LAKE WORTH, FL 33462                                 DARNESTOWN, MD 20878-3533



DAVID D ACKERMAN & CHARLOTTE ACKERMAN TR             DAVID D BARNES & JOCELYN C BARNES TR                DAVID D BEYER
UA 05/29/1997 ACKERMAN LIVING TRUST                  UA 10/30/2007 DAVID D BARNES AND JOCELYN C BARNES   PO BOX 431885
1256 E CHIPPEWA RIVER RD                             3852 GLIDDEN DR                                     PONTIAC, MI 48343-1885
MIDLAND, MI 48640                                    STURGEON BAY, WI 54235



DAVID D BROWN CUST MICHAEL D BROWN                   DAVID D GORTE                                       DAVID D REINHARDT
U/THE MAINE UNIFORM GIFTS TO MINORS ACT              & JOAN D GORTE & DIANE HARROD & DAVID P GORTE &     60860 APACHE LANE
32 BURLEIGH STREET                                   ELLEN S LECUREUX &                                  WASHINGTON, MI 48094-2006
WATERVILLE, ME 04901-7304                            214 S MCDONNELL ST
                                                     CORUNNA, MI 48817-1750


DAVID DAHROUGE JR CUST DAVID JAMES DAHROUGE          DAVID E BRONSON & JEAN A BRONSON TR                 DAVID E DE LORY CUST KIMBERLY A DE LORY
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW      DAVID E BRONSON & JEAN A BRONSONREV FAM TRUST       U/THE MASS UNIFORM GIFTS TO MINORS ACT
JERSEY                                               7619 W WHITE BIRCH AVE                              PO BOX 356
438 W LINCOLN AVE                                    LAKE CITY, MI 49651-8502                            PEMBROKE, MA 02359-0356
OAKHURST, NJ 07755-1442


DAVID E DELP & MARY ANN J DELP TR                    DAVID E HILLYARD & LORRAINE HILLYARD TR             DAVID E MOLYNEAUX CUST KATHERINE I MOLYNEAUX
DAVID E DELP & MARY ANN J DELP REVOCABLE LIV TRUST   DAVID E & LORRAINE HILLYARD TRUST UA 07/23/01       A MINOR U/THE LAWS OF THE STATE OF MICH
UA 09/13/04                                          1610 REYNOLDS ROAD LOT 340                          11122 MAIN RD
4404 CROSLAND ROAD                                   LAKELAND, FL 33801-6969                             FENTON, MI 48430-9717
PHILADELPHIA, PA 19154-4314


DAVID E PELGEN & ELIZABETH M PELGEN TR               DAVID E STEINBACH                                   DAVID E WILT & LOIS A WILT TR
THE PELGEN 1996 TRUST UA 01/02/96                    28235 SKEEN CT                                      THE WILT FAMILY REVOCABLE LIVING TRUST UA 4/29/96
PO BOX 627                                           SUN CITY, CA 92585-3906                             2510 NADINE CIRCLE
COLUMBIA, CA 95310-0627                                                                                  HINCKLEY TWP, OH 44233-9696



DAVID EARL CRAWFORD & VERA M CRAWFORD TR             DAVID FEINGOLD & CARMEN FEINGOLD JT TEN             DAVID G BRIANT CUST KATHLEEN ANN BRIANT
UA 03/01/93 THE CRAWFORD FAMILY LIVING TRUST         120 CONSTITUTION DR                                 U/THE ARIZ UNIFORM GIFTS TO MINORS ACT
2170 VALLEY VISTA DR                                 ORANGEBURG, NY 10962-2727                           PSC 41 BOX 6494
DAVISON, MI 48423-8317                                                                                   APO, AE 09464-6494



DAVID G MARTE                                        DAVID G SEABURY & KATHLEEN J SEABURY TR             DAVID GLICKENSTEIN
5710 125TH STREET S E                                DAVID G SEABURY & KATHLEEN J SEABURY LIVING TRUST   2828 W CALLE ARANDAS
SNOHOMISH, WA 98296-8964                             UA 05/22/95                                         TUCSON, AZ 85745-2533
                                                     49 HACIENDA CIR
                                                     ORINDA, CA 94563-1712


DAVID GOLDSTEIN                                      DAVID GOLDSTEIN                                     DAVID GOLDSTEIN
502 BRIARWOOD CIR                                    5203 VILLAGE GREEN TRCE                             82 GRAHAM AVE
HOLLYWOOD, FL 33024-1321                             ROSWELL, GA 30075-7651                              BROOKLYN, NY 11206-3311




DAVID GOMEZ                                          DAVID GREENFIELD                                    DAVID GREGORY JOHNSON CUST ELISABETH INGER JOHNSON
9561 154TH ST                                        C/O REEDER HEATING & A/C                            UNDER THE CONNECTICUT U-G-M-A
NOBLE, OK 73068-5237                                 4621 W 63RD STREET                                  1100 PLACITA LINTERNILLA
                                                     CHICAGO, IL 60629-5504                              TUCSON, AZ 85718-1040
                      09-50026-mg       Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                       Part 8 of 8 Pg 71 of 440
DAVID H CAMPBELL & CAROLYN G CAMPBELL TR       DAVID H GOLDSTEIN                                    DAVID H MELTZER CUST ELIZABETH S MELTZER
CAMPBELL LIVING TRUST UA 06/21/91              317 WESLEY STREET                                    U/THE MASS UNIFORM GIFTS TO MINORS ACT
4103 ANGELINA DR                               ROCHESTER, MI 48307-1867                             215 E CANTON AVE
MIDLAND, TX 79707                                                                                   WINTER PARK, FL 32789



DAVID H MELTZER CUST NORMAN ERIC MELTZER       DAVID HEINSLER                                       DAVID I MILLER CUST MARVIN NEAL MILLER
U/THE MASS UNIFORM GIFTS TO MINORS ACT         290 MASCOT DRIVE                                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
301 GLENRIDGE WAY                              ROCHESTER, NY 14626-1706                             2106 CARTERDALE RD
WINTER PARK, FL 32789-6123                                                                          BALT, MD 21209-4524



DAVID J BATEMAN SR TR                          DAVID J BATEMAN SR TR                                DAVID J CROCKETT
DAVID J BATEMAN SR REVOCABLE LIVING TRUST UA   DOROTHY J BATEMAN REVOCABLE LIVING TRUST UA          5305 WHITING AVE
11/05/99                                       11/05/99                                             EDINA, MN 55439-1248
2700 BAYSHORE BLVD #591                        2700 BAYSHORE BLVD #591
DUNEDIN, FL 34698-1639                         DUNEDIN, FL 34698-1639


DAVID J GREENSTEIN                             DAVID J HARWOOD & PAM HARWOOD JT TEN                 DAVID J HEFFERNAN & EVELYN G HEFFERNAN TR
5352 POND BLUFF DRIVE                          9627 OTTERBEIN ROAD                                  HEFFERNAN FAMILY TRUST UA 08/29/96
W BLOOMFIELD, MI 48323-2444                    CINCINNATI, OH 45241-3377                            514 MASSACHUSETTS AVE
                                                                                                    RIVERSIDE, CA 92507-3040



DAVID J HODOROWSKI & ELAINE M HODOROWSKI TR    DAVID J KLEIN                                        DAVID J LINSDAY
HODOROWSKI LIVING TRUST UA 1/20/00             3413 PINETRACE DR                                    PO BOX 230288
12870 NATHALINE                                LAPEER, MI 48446-2991                                FAIR HAVEN, MI 48023-0288
REDFORD, MI 48239-4611



DAVID J NIEDZIALEK                             DAVID J SHABAZ                                       DAVID J STEINMAN
APARTADO 0843-00509                            & CELIA M SHABAZ TOD DOUGLAS S SHABAZ SUBJECT TO     218 E OAKRIDGE
PANAMA (REP)                                   STA TOD RULES                                        FERNDALE, MI 48220-1398
                                               8379 APPLE BLOSSOM LN
                                               FLUSHING, MI 48433-1192


DAVID J TEWELL                                 DAVID J THOMAS CUST DAVID P THOMAS                   DAVID J WAKSTEIN
100 N TRYON ST                                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           1105 TIMBER OAKS RD
SUITE B220-104                                 30 HYDE BLVD                                         EDISON, NJ 08820-4201
CHARLOTTE, NC 28202-4000                       BALLSTON SPA, NY 12020-1608



DAVID J WEBER                                  DAVID J WEINBERG                                     DAVID JAMES KELLY & KRISTIN E SHELTON KELLY TR
2606 144TH AVE                                 66 BRIAN DR                                          UA 11/06/2007 DAVID KELY & KRISTIN SHELTON KELLY
DORR, MI 49323-9781                            APT C                                                4579 CALLE NORTE
                                               STOUGHTON, MA 02072-1250                             NEWBURY PARK, CA 91320-6817



DAVID JERRELL FARR CUST MARLETTA NELLY FARR    DAVID JOHN LAURENZI SR                               DAVID JOHNSON & JOSEPH JOHNSON TEN COM
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT        & SUSAN L LAURENZI & DAVID JOHN LAURENZI JR JT TEN   2848 EINSTEIN DR
3204 COVINA CT                                 6941 DREXEL DR                                       VIRGINIA, VA 23456-8156
ARLINGTON, TX 76001-6570                       SEVEN HILLS, OH 44131-4113



DAVID K BEINKAMPEN                             DAVID K BRANSTETTER                                  DAVID L CARPENTER
5580 FISH POND ROAD                            PO BOX 481161                                        PO BOX 1000
SALISBURY, NC 28146-8086                       KANSAS CITY, MO 64148-1161                           BUTNER, NC 27509
                   09-50026-mg              Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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DAVID L CHURCHILL & VILMA G CHURCHILL TR               DAVID L DRALLE CUST BRADFORD J DRALLE              DAVID L DRALLE CUST DAVID L DRALLE JR
DAVID L & VILMA G CHURCHILL 1997 TRUST UA 08/20/97     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         U/THE ILL UNIFORM GIFTS TO MINORS ACT
12566 CRISTI WAY                                       PO BOX 1534                                        319 HANS BRINKER DR
BOKEELIA, FL 33922-3317                                BEAUFORD, SC 29901-1534                            PEOTONE, IL 60468-9144



DAVID L DRALLE CUST GREGORY A DRALLE                   DAVID L DRALLE CUST JOHN D DRALLE                  DAVID L GRIMES CUST RONALD A GRIMES
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT             U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         U/THE CALIFORNIA GIFTS OF SECURITIES TO MINORS ACT
1880 COBB BLVD                                         1172 BLAYS                                         1411 CREST DR
KANKAKEE, IL 60901-5804                                BOURBONNAIS, IL 60914-4540                         ENCINITAS, CA 92024-5208



DAVID L HAESEKER & JANET A HAESEKER TR                 DAVID L MC KAY                                     DAVID L MCCANN & SHIRLEY A MCCANN TR
HAESEKER FAMILY REVOCABLE LIVING TRUST UA 9/2/99       1396 106TH AV                                      DAVID L MCCANN & SHIRLEY MCCANN LIVING
5205 SHILOF SPRINGS RD                                 OTSEGO, MI 49078-9701                              8624 W RIDGE
TROTWOOD, OH 45426                                                                                        RAYTOWN, MO 64138-2620



DAVID L MEYER                                          DAVID L MIDDLETON & ANN A MIDDLETON TR             DAVID L ROHRMAN & MARILYN M ROHRMAN TR
1247 VOSKUHL ROAD                                      UA MIDDLETON COMMUNITY PROPERTY TRUST 03/15/89     DAVID L ROHRMAN & MARILYN M ROHRMAN REV TRUST UA
MARIA STEIN, OH 45860                                  2923 WINCHESTER DR                                 03/22/00
                                                       HAYWARD, CA 94541-5612                             550 NORTH MERIDIAN RD
                                                                                                          GREENFIELD, IN 46140-2733


DAVID L SCHMIDT & WALMAR H SCHMIDT TR                  DAVID L SOUTHWICK & GLORIA A SOUTHWICK TR          DAVID L TUPPER & PATRICIA M TUPPER TR
DAVID L SCHMIDT & WALMAR H SCHMIDT TRUST UA 12/11/95   UA 04/12/94 DAVID L SOUTHWICK TRUST                DAVID L & PATRICA M TUPPER JOINT REVOCABLE TRUST UA
PO BOX 2325                                            10615 CAVALCADE STREET                             2/22/06
ROSWELL, NM 88202-2325                                 GREAT FALLS, VA 22066-2426                         902 EASTWOOD DR
                                                                                                          BRANDON, FL 33511-6506


DAVID L WISNESKI & MICHELLE A WISNESKI TR              DAVID LANDOWNE                                     DAVID LEMAR JR & ROBERT L LANEY TR
WISNESKI LIVING TRUST UA 10/31/00                      BOX 016430 PHYSIOLOGY                              VIRGINIA LEE LANEY TRUST UA 10/25/01
35431 ALTA VISTA                                       MIAMI, FL 33101                                    673A WEST LUMSDEN RD
STERLING HEIGHTS, MI 48312-4403                                                                           BRANDON, FL 33511-5911



DAVID LEO WYATT                                        DAVID LICHTENSTEIN & ADELE LICHTENSTEIN JT TEN     DAVID LIEBERMAN
11326 REINHARDT AVE                                    4420 EXETER DR                                     KIBBUTZ EIN TZURIM
ENGLEWOOD, FL 34224-8808                               UNIT L307                                          D N LACHISH
                                                       LONGBOAT KEY, FL 34228-2222                        TZAFON
                                                                                                          79412 ISRAEL


DAVID LOWE & JODY LOWE JT TEN                          DAVID M BEHM & ANNE E BANNISTER TR                 DAVID M BEHM & ANNE E BANNISTER TR
13883 156 ST N                                         DELBERT J BEHM & JEANNE E BEHM TRUST UA 12/29/93   UA 12/29/93 DELBERT J & JEANNE E BEHM TRUST
JUPITER, FL 33478-8524                                 6359 VINTAGE CT                                    6359 VINTAGE CT
                                                       LOCK PORT, NY 14094-9564                           LOCK PORT, NY 14094-9564



DAVID M BERNSTEIN CUST ROBERT G BERNSTEIN UGMA PA      DAVID M CARLTON CUST DAVID MILTON CARLTON JR       DAVID M FILER
63 RUSTIC TRL                                          A MINOR U/THE LA GIFTS TO MINORS ACT               2112 BUCKMAN AVE
FLEMINGTON, NJ 08822-5556                              PO BOX 13258                                       READING, PA 19610
                                                       ALEXANDRIA, LA 71315-3258



DAVID M FLYNN CUST DAVID FLYNN JR                      DAVID M LEVINSOHN CUST KIM E LEVINSOHN             DAVID M SPECTOR & STEVEN SPECTOR TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         UA 09/22/2007 PHILLIP J SPECTOR GST TRUST
815 BRAZOS ST SUITE 900                                420 E BRAEBURN DR                                  150 S WACKER DRIVE #1200
AUSTIN, TX 78701-2519                                  SAGINAW, MI 48603-5787                             CHICAGO, IL 60606
                   09-50026-mg             Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
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DAVID M STEINWAY & KAREN STEINWAY JT TEN          DAVID MANDEL WEISS & JOANNE GLAZER WEISS TR    DAVID MARK STEIN & SHARON ILENE STEIN JT TEN
5354 E PARADISE DR                                DAVID MANDEL WEISS & JOANNE GLAZER WEISS       326 OLD GREEN BAY RD
SCOTTSDALE, AZ 85254-5709                         10 LIBERTY HILLS COURT                         GLENCOE, IL 60022-1937
                                                  LONG VALLEY, NJ 07853-3087



DAVID MITCHELL                                    DAVID N REILLY VAUXHALL MOTORS LTD             DAVID N ZIMMERMAN TR
PO BOX 320558                                     C/O GENERAL MOTORS                             DAVID N ZIMMERMAN REVOCABLE LIVING TRUST UA
KANSAS CITY, MO 64132-0558                        11TH FLOOR JINMAO TOWER                        12/22/78
                                                  88 CENT AVE                                    4532 TANBARK DRIVE
                                                  PUDONG SHANGHAI 200121 CHINA (PEOPLE'S REP)    BLOOMFIELD HILLS, MI 48302-1654


DAVID O SMITH CUST SCOTT A SMITH                  DAVID ORGELL CUST PETER S ORGELL               DAVID P ANDERSON
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT   & MARK W ANDERSON & LAURA D ANDERSON & NEAL S
307 DALE STREET                                   904 THISTLE GATE RD                            ANDERSON JT TEN
FLUSHING, MI 48433-1732                           AGOURA, CA 91377-3917                          12109 E 45TH TERR
                                                                                                 KANSAS CITY, MO 64133-2016


DAVID P ECKSTEIN                                  DAVID P MURAWSKI & JOY B MURAWSKI TR           DAVID P RUBENSTEIN
1862 WESTOVER CT                                  DAVID P MURAWSKI TRUST UA 02/02/02             136 E ROSE HILL AVE
MANSFIELD, OH 44906-3370                          1007 SOUTH GRANDVIEW                           KIRKWOOD, MO 63122-6226
                                                  LAKE FOREST, IL 60045-4006



DAVID P WATSON SR CUST MADELEINE WATSON UTMA IL   DAVID R HOVIS & CHRISTI HOVIS TR               DAVID R KRAFT
205 ARBON COURT                                   UA 12/01/2005 DAVID & CHRISTI HOVIS TRUST      PO BOX 291353
CRETE, IL 60417-1121                              1527 CALLE TULIPANES                           DAVIE, FL 33329-1353
                                                  ENCINITAS, CA 92024



DAVID R SKUBIK & MARCHA D SKUBIK TR               DAVID R STEINER                                DAVID R THOMPSON & AUDREY F THOMPSON TR
D & M SKUBIK FAMILY TRUST UA 05/13/03             8464 E RATHBUN RD                              UA 07/31/08 DAVID R THOMPSON & AUDREY F THOMPSON
199 LINGER LAKE DR                                BIRCH RUN, MI 48415-8420                       618 WILLOW LANE
CROSSVILLE, TN 38571-0286                                                                        PERRYVILLE, MO 63775



DAVID R TRABUCCO & SALLY A TRABUCCO TR            DAVID RICE                                     DAVID ROBERT LEVINE
DAVID R TRABUCCO LIVING TRUST UA04/13/96          340-1933 RIVERSIDE DRIVE W                     PO BOX 230405
3232 QUINLAN ST                                   WINDSOR ON                                     GREAT NECK, NY 11023-0405
YORKTOWN, NY 10598-2517                           N9B 1A7 CANADA



DAVID ROSSI CUST SARAH CHANDLER ROSSI             DAVID S GOLDSTEIN                              DAVID S RITCHIE & MARILYN A RITCHIE TR
A MINOR UNDER THE LAWS OF GEORGIA                 PO BOX 15351                                   DAVID S RITCHIE & MARILYN A RITCHIE REV
1075 HUFF RD NW                                   AUGUSTA, GA 30919-1351                         19134 ALONDRA WAY
ATLANTA, GA 30318-4129                                                                           RIO VERDE, AZ 85263-7224



DAVID SCHEINBERG                                  DAVID SCOTT WEINBERGER                         DAVID SHULMAN CUST MITCHELL SHULMAN
46175 N VALLEY DR                                 5778 BACKLICK RD                               UNDER THE FLORIDA GIFT TO MINORS ACT
NORTHVILLE, MI 48167-1781                         APT 102                                        11550 SW 72ND CT
                                                  SPRINGFIELD, VA 22150-3277                     MIAMI, FL 33156-4623



DAVID SILVERSTEIN                                 DAVID SMITH                                    DAVID STEIN
44 DILLON RD                                      PO BOX 870568                                  410 BEACH DR
WOODBRIDGE, CT 06525-1219                         STONE MTN, GA 30087-0015                       ANNAPOLIS, MD 21403
                   09-50026-mg              Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                           Part 8 of 8 Pg 74 of 440
DAVID T BUKEN & ELLEN P BUKEN TR                   DAVID T MCKEE                                      DAVID T SCHMITZ & MARILYN J SCHMITZ TR
DAVID T BUKEN LIVING TRUST UA 10/24/98             17860 112TH RD                                     SCHMITZ LIVING TRUST UA 05/05/97
PO BOX 62081                                       BURDEN, KS 67019-9249                              1614 KINGS DOWN CIRCLE
CINCINNATI, OH 45262-0081                                                                             DUNWOODY, GA 30338-5624



DAVID V WALKER III & SUE H WALKER TR               DAVID W BENN CUST DAVID RANDALL BENN               DAVID W COTEREL
THE WALKER FAMILY TRUST UA 12/15/98                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         PO BOX 292279
5526 TAHOE CIR                                     3/38 CHURCHHILL CRESCENT                           DAYTON, OH 45429-0279
CORPUS CRISTI, TX 78413-2922                       CAMMERAY NSW
                                                   2062 AUSTRALIA


DAVID W ERNST CUST MICHAEL W ERNST                 DAVID W HEINEMANN                                  DAVID W HEINZELMANN & TRUDY J HEINZELMANN JT TEN
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW     1433 N HIGHLAND AVE                                2628 TALISMAN CT
8858 WOODPARK DR                                   ARLINGTON HTS, IL 60004-4644                       BEDFORD, TX 76021-2645
ST LOUIS, MO 63127-1440



DAVID W LOGAN JR CUST DOREEN A LOGAN               DAVID W LOGAN JR CUST LESLIE IRENE LOGAN           DAVID W STEIN
A MINOR UNDER THE LAWS OF THE STATE OF MICHIGAN    U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         205 HALL ST
305 N OTTAWA ST                                    6433 WOODCREST RIDGE                               ESSEXVILLE, MI 48732-1149
SAINT JOHNS, MI 48879-1435                         CLARKSTON, MI 48346-3050



DAVID W STEIN                                      DAVID W STEINER                                    DAVID W WOOD II & SIDNEY R WOOD TEN COM
6707 BEAR RIDGE RD                                 700 ARROUES DRIVE                                  BOX 610130
LOCKPORT, NY 14094-9288                            FULLERTON, CA 92835-1925                           BIRMINGHAM, AL 35261-0130




DAVID WEINTRAUB                                    DAVID WINKELSTEIN                                  DAVID WOLKENSTEIN & JUDITH E WOLKENSTEIN JT TEN
174 TALLOW WOOD DR                                 13623 FALLOW DR                                    500 W BRADLEY RD
CLIFTON PARK, NY 12065                             HUNTLEY, IL 60142-7784                             MILWAUKEE, WI 53217-2638




DAVIDA KORN ORENSTEIN & MARC KORN JT TEN           DAVIS HALE VON WITTENBURG & JEAN ELLEN VAN WITTENBURG
                                                                                                       DAVIS
                                                                                                         TR SELECTED ADVISERS L P INVESTMENT TRADING ACCOU
54-44 LITTLE NECK PARKWAY                          VON WITTENBURG LIVING TRUST UA 3/11/05              609 FIFTH AVE 11TH FLOOR
APT 2F                                             300 HOT SPRINGS RD # L 228                          NEW YORK, NY 10017-1021
LITTLE NECK, NY 11362-2214                         SANTA BARBARA, CA 93108-2038



DAWN E KLEINMAN                                    DAWN KLEINDIENST                                   DAWN M HEINRICHS
301 OAK AVE                                        178 CLARA AVE                                      519 AGNES AVE
CARRBORO, NC 27510-1751                            P C BEACH, FL 32407                                WAUNAKEE, WI 53597-1588




DAWSON F WARRINGTON CUST DAWSON F WARRINGTON II    DEAN E BRODBERG & TERRLYN W BRODBERG TR            DEAN H KRANZ & MAVIS A KRANZ TR
UNDER DE U-G-M-A MINORS ACT                        UA 03/16/1990 BRODBERG FAMILY TRUST                DEAN H KRANZ & MAVIS A KRANZ TRUST UA 07/13/06
409 LAKEWOOD DR 1                                  1345 S BRIARFIELD DR                               2447 PROUGH RD
LA GRANGE, KY 40031-8420                           LANSING, MI 48910                                  NATIONAL CITY, MI 48748-9521



DEAN H LANGER & MARGARET ANN LANGER TR             DEAN L WILLIAMS CUST CHRISTOPHER W WILLIAMS        DEAN M MARNEY
LANGER TRUST UA 08/28/48 AMENDED 08/29/91          U/THE N Y UNIFORM GIFTS TO MINORS ACT              13661 166TH ST
545 N MAIN                                         1402 CLINTON ST                                    BONNER SPRNGS, KS 66012-7836
WHITE HALL, IL 62092-1150                          WILMINGTON, DE 19806
                      09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                              Part 8 of 8 Pg 75 of 440
DEAN SHINTAFFER CUST GARY SHINTAFFER UGMA WA          DEAN STANDEN & DORIS ELAINE STANDEN & JAMES D STANDEN
                                                                                                          DEAN
                                                                                                            TR W SHUTTLEWORTH TR
7813 132ND NE                                         DEAN STANDEN INTER VIVOS TRUST UA 10/27/95          UW OF DOROTHY WILKIE SHUTTLEWORTH FBO DEAN
KIRKLAND, WA 98033-8241                               8586 HAUSER CT                                      WILKIE SHUTTLEWORTH JR &
                                                      LENEXA, KS 66215-4546                               1108 MCLEAN DR
                                                                                                          DILLON, SC 29536-2644


DEANNA M KLEIN                                        DEANNA PIERPONT CUST JOHN PIERPONT 3RD              DEANNE M WETTSTEIN CUST CORY WETTSTEIN UTMA WI
545 W CASA GRANDE LAKE BLVD N                         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          2303 W HAPPY HOLLOW RD
CASA GRANDE, AZ 85222-6119                            1101 FRANKLIN ST                                    JANESVILLE, WI 53546-7700
                                                      MUNDELEIN, IL 60060-5376



DEANNE M WETTSTEIN CUST KYLE D TYRER UTMA WI          DEANNE M WETTSTEIN CUST TRAVIS A TYRER UTMA WI      DEBBE STEIN
2303 W HAPPY HOLLOW RD                                2303 W HAPPY HOLLOW RD                              505 N MCCLURG COURT
JANESVILLE, WI 53546-7700                             JANESVILLE, WI 53546-7700                           UNIT 1603
                                                                                                          CHICAGO, IL 60611



DEBORAH A AITKEN                                      DEBORAH A RUTHERFORD                                DEBORAH BROOKING SMITH
242-510 ROSSLAND RD EAST                              PO BOX 351874                                       PO BOX 461182
OSHAWA ON                                             TOLEDO, OH 43635-1874                               GARLAND, TX 75046-1182
L1G 6Z7 CANADA



DEBORAH C HARRINGTON & JOSEPH S HARRINGTON TR         DEBORAH D HEATH                                     DEBORAH DINA SHEINFELD
UA 01/14/93 DEBORAH C HARRINGTONTR                    6333 195TH AVE                                      1631 53RD STREET
1704 N PARK DRIVE                                     STANWOOD, MI 49346-9537                             BROOKLYN, NY 11204-1421
UNIT 316
WILMINGTON, DE 19806-2169


DEBORAH GOLDSTEIN                                     DEBORAH J KLEIN                                     DEBORAH J MCNARY
1928 EDWARD LANE                                      29 CALVIN ROAD                                      PO BOX 351302
MERRICK, NY 11566-4921                                NEWTON, MA 02460-2104                               DETROIT, MI 48235-6302




DEBORAH J PISCIOTTA                                   DEBORAH JEANNE SEXTON LAYMAN TR DJSL TR UA BETWEEN DEBORAH KAYJEANNE
                                                                                                                        HIPKE-FULLER TR
& VINCENT A PISCIOTTA III & CAROL A BATLINER JT TEN   SEXTON LAYMAN TRUSTOR & TRUSTEE 11/2/87            UA 10/01/2007 DEBORAH KAY HIPKE-FULLER SEPARATE
9709 E 82 ST                                          3216 SW SCHOLLS FY CT                              TRUST
RAYTOWN, MO 64138-2026                                PORTLAND, OR 97221-1347                            2210 YVONNE ST
                                                                                                         WAUKESHA, WI 53188


DEBORAH L ALLISON                                     DEBORAH L MARKHAM CHASE TR                          DEBORAH L REINOWSKI
PO BOX 214777                                         UA 04/09/2003 D L MARKHAM CHASE SEPARATE PROPERTY   PO BOX 2161
AUBURN HILLS, MI 48321-4777                           TRUST                                               ARCADIA, FL 34265-2161
                                                      19550 CRYSTAL RIDGE LANE
                                                      NORTHRIDGE, CA 91326


DEBORAH L WALL                                        DEBORAH LINDEN                                      DEBORAH LOU SCOPP CUST MATTHEW RICHARD SCOPP
28386 200TH ST                                        PO BOX 272433                                       A MINOR UNDER THE LAWS OF GEORGIA
PICKERING, MO 64476                                   FORT COLLINS, CO 80527                              3423 ARBOR CREET POINT
                                                                                                          ATLANTA, GA 30340-2783



DEBORAH LYNETTE DANTZLER                              DEBORAH M KLEIN                                     DEBORAH M THOMAS
PO BOX #591357                                        7390 SILVER RIDGE DR NE                             ATTN DEBORAH M STEIN-PELTIER
SAN FRANCISCO, CA 94159-1357                          ROCKFORD, MI 49341-7668                             46539 GREENBRIAR DR
                                                                                                          CHESTERFIELD, MI 48051-2870
                    09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 76 of 440
DEBORAH S HALLENE TR                                 DEBORAH SHEINFELD                                DEBORAH STEINBERG CUST JACOB STEINBERG UTMA NJ
UA 11/19/2003 JOHN CHRISTOPHER STOKES TRUST UW       1631-53 ST                                       185 RAMBLEWOOD PKWY
DOROTHY D BROWN                                      BROOKLYN, NY 11204                               MT LAUREL, NJ 08054-2325
12330 SHAFTSBURY
HOUSTON, TX 77031


DEBORAH SWORD                                        DEBORAH T DANTZLER                               DEBRA A MOREY CUST MALLORY WEGNER
APT 305 1001 68TH AVE SW                             PO BOX 311033                                    UNDER THE IL UNIF TRANSFERS TO MINORS
CALGARY AB                                           FLINT, MI 48531-1033                             503 E EMPIRE ST
T2V 4X1 CANADA                                                                                        BLOOMINGTON, IL 61701



DEBRA BORNSTEIN NUTT                                 DEBRA D VOWELL                                   DEBRA J KLEIN
8648 BLOOMFIELD RD                                   ATTN DEBRA D FINKBEINER                          23039 LESLIE
PHILADELPHIA, PA 19115-4128                          1782 NORTON CREEK CT                             TAYLOR, MI 48180-3549
                                                     WIXOM, MI 48393-1423



DEBRA K HEINONEN EX EST JOSEPH C MCCRARY             DEBRA K ZACHERY                                  DEBRA L GILLESPIE
2281 WALWORTH-MARION ROAD                            13300-177 MORRIS ROAD                            PO BOX 470337
WALWORTH, NY 14568                                   ALPHARETTA, GA 30004                             FORT WORTH, TX 76147-0337




DEBRA L RUOSS                                        DEBRA LYNN FERGUS                                DEBRA LYNN LEAHY CUST BRIAN ANDREW LEAHY UGMA WA
7699 108TH ST                                        4630 146 PLACE SE                                4630 146TH PL SE
MIDDLEVILLE, MI 49333-8950                           BELLEVUE, WA 98006-3148                          BELLEVUE, WA 98006-3148




DEBRA LYNN LEAHY CUST KATIE MICHELLE LEAHY UGMA WA DEBRA WEINER                                       DEIDRE L HEINDL
4630 146TH PL SE                                   254 E 68TH STREET                                  2905 PARKVIEW DR
BELLEVUE, WA 98006-3148                            APT 6E                                             FORT MYERS, FL 33905-1939
                                                   NEW YORK, NY 10021-6013



DEL E ZACK                                           DELAWARE CHARTER GUARANTEE & TRUST CO TR         DELBERT D FEINAUER
17413 105TH AVE                                      RICHARD A PHALON SR INDIV RET TR4/30/79          5741 S FRASER RD
SUN CITY, AZ 85373-1921                              BOX 8963                                         BAY CITY, MI 48706-9729
                                                     WILM, DE 19899-8963



DELBERT L BIERLEIN & ELLA J C BIERLEIN JT TEN        DELBERT W BOUTWELL & DON ELDA BOUTWELL TR        DELBERT W FLAA & KATHLEEN A FLAA & ANDREA J FLAA TR
147 W BLADE DR                                       UA 07/05/91 THE DELBERT W BOUTWELL &             FLAA TRUST UA 11/12/03
PENN FURNACE, PA 16865-9500                          35 MIDWAY                                        5291 LAKECREST RD
                                                     MILL VALLEY, CA 94941-3438                       CALEDONIA, IL 61011-9411



DELIA R MENDIETA                                     DELIGHT E BREIDEGAM JR CUST DANIEL D BREIDEGAM   DELMAR R STONE & JOYCE L STONE TR
PO BOX 210325                                        U/THE PA UNIFORM GIFTS TO MINORS ACT             DELMAR R STONE & JOYCE L STONE TRUST UA 04/04/97
AUBURN HILLS, MI 48321-0325                          56 ROHRBACH RD                                   306 WILLOW WAY
                                                     OLEY, PA 19547-8973                              PLEASANT VIEW, UT 84414-2259



DELORES LAURICELLA & JOHN J LAURICELLA JR & JOSEPH A LAURICELLA
                                                      DELORES M&EDWARDS                               DELORES MABARAK
ANGELO M LAURICELLA JT TEN                            PO BOX 151397                                   & KEREN MABARAK & ALAN A MABARAK & LYNN M MABARAK
141 BANKO DR                                          ARLINGTON, TX 76015                             JT TEN
DEPEW, NY 14043-1205                                                                                  576 RIVARD
                                                                                                      GROSSE POINTE, MI 48230-1251
                    09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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DELORES P STEINBEISER                                  DELORES P STEINBEISER & VINCENT H STEINBEISER JT TEN DELORES TAYLOR
1921 CLOVERBROOK DR                                    1921 CLOVERBROOK DR                                  PO BOX 981226
MINERAL RIDGE, OH 44440-9519                           MINERAL RIDGE, OH 44440-9519                         YPSILANTI, MI 48198-1226




DELPHINE I JEDRZEJEK & STEPHEN S JEDRZEJEK TR          DELPHINE M LIDDICOAT                                   DELPHINE M RUGENSTEIN
JEDRZEJEK SELF-TRUSTEED LIVING REVOCABLE TRUST UA      & SALLY A DORAN & CAROL J KNOLL & JANE D BUXELL JT     313 MURPHY ST
03/05/97                                               TEN                                                    BAY CITY, MI 48706-3976
534 W SHOREVIEW LN                                     1011 RUM RIVER DR
INDIAN RIVER, MI 49749-9252                            PRINCETON, MN 55371-1213


DELPNA LOUISE CARPENTER TR                             DELTAH D HAGIE                                         DELVIN E PLAISANCE & JEAN M PLAISANCE TR
LIVING TRUST UA 10/03/85 THE DELPNA LOUISE CARPENTER   DELTAH KLEINHANS                                       FAM TR 12/18/91 U-A D E PLAISANCE&J M PLAISANCE
1087 ERICA RD                                          LOCKPORT, NY 14094                                     750 HILLCREST DR NW
MILL VALLEY, CA 94941-3720                                                                                    SALEM, OR 97304-3664



DEMING E STOUT & ANN K STOUT TR                        DENISE M GMEINER                                       DENNIS ALAN GOLDSTEIN
DEMING & ANN STOUT LIVING TRUST UA 09/13/95            1714 SOUTHWORTH DR                                     766 ROCA ST
121 PASTURE RD                                         NILES, MI 49120-8754                                   ASHLAND, OR 97520-3318
SANTA CRUZ, CA 95060-2019



DENNIS C BARRY & CAROLINE W BARRY TR                   DENNIS C EBERLEIN                                      DENNIS C EBERLEIN & PAUL E EBERLEIN JT TEN
UA 09/01/89 THE BARRY FAMILY TRUST                     619 OSWEGO DR                                          619 OSWEGO DR
511 WEST CALIFORNIA BLVD                               GIBSONIA, PA 15044-8040                                GIBSONIA, PA 15044-8040
PASADENA, CA 91105-1635



DENNIS E CORNELL & IRIS G CORNELL TR                   DENNIS FREDERICK ROGERS                                DENNIS FREHARD JOHNSON & SARAH CAMALIA JOHNSON TR
DENNIS E CORNELL & IRIS G CORNELL REVOCABLE JT         2161 192ND AVE                                         JOHNSON FAMILY LIVING TRUST UA 07/08/99
14249 N HENDERSON                                      CENTURIA, WI 54824-7750                                3022 LORNE ST SE
OTISVILLE, MI 48463-9717                                                                                      OLYMPIA, WA 98501-3463



DENNIS G CAVIGLIA & CHERYL M CAVIGLIA TR               DENNIS G ERICKSON & BARBARA FISCHER ERICKSON TR        DENNIS G FEUERSTEIN
MARITAL DEDUCTION TRUST OF DENNIS G CAVIGLIA&          THE ERICKSON FAMILY TRUST UA 08/11/03                  1395 HENSKEE RD
7255 HURST PARK RD                                     265 FOWLER AVENUE                                      ALDEN, NY 14004
RENO, NV 89502-9660                                    SAN FRANCISCO, CA 94185



DENNIS G GREINER                                       DENNIS HOWARD                                          DENNIS J HARDEN
27384 KAUFMAN ST                                       PO BOX 560575                                          BOX 214-212 S DIVISION
ROSEVILLE, MI 48066-3095                               THE COLONY, TX 75056-0575                              CARSON CITY, MI 48811




DENNIS J KLEINWEBER TOD DOROTHY A KASPER-KLEINWEBERDENNIS
                                                    SUBJECTJ ROTROFF
                                                              TO STA                                          DENNIS L GUERIN
TOD RULES                                          15710 112TH CT                                             PO BOX 214027
1921 REVERE ROAD                                   ORLAND PARK, IL 60467-5874                                 AUBURN HILLS, MI 48321-4027
CLEVELAND HTS, OH 44118



DENNIS L SCOTT                                         DENNIS M CHALUS TR                                     DENNIS M SPENCER
20326 168 ST                                           UA 10/30/01 JANE E CHALUS FAMILY TRUST CREATED         16762 127TH ST
BASCHAR, KS 66007-5186                                 UNDER                                                  LEMONT, IL 60439-7468
                                                       47 COVINGTON COURT
                                                       CHERRY HL VLG, CO 80113
                     09-50026-mg         Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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DENNIS MCCARTHY & ZELDA K MCCARTHY TR            DENNIS MICHAEL DUQUETTE TR                         DENNIS P DOBRZYNIEWICZ
DENNIS MCCARTHY LIVING FAM TRUST UA 11/25/92     DENNIS MICHAEL DUQUETTE LIVING TRUST UA 06/14/96   2 RUE MADELEINE WY
3492 WILD LILIAC RD                              1243 STONETREE                                     LANCASTER, NY 14086-9424
APT 321                                          TROY, MI 48083-5220
THOUSAND OAKS, CA 91360


DENNIS P FAGAN                                   DENNIS SCHMITKE & LINDA SCHMITKE TR                DENNIS W WHITING
PO BOX 56                                        UA 06/19/2006 SCHMITKE FAMILY TRUST                60630 VAN DYKE
FILER CITY, MI 49634-0056                        1029 REGENT DR                                     WASHINGTON, MI 48094-2344
                                                 GRANTS PASS, OR 97526



DENSOL M GRIFFIN CUST TIMMY W GRIFFIN            DERAY G BIRD                                       DEREK DALE ROWE
A MINOR UNDER THE LAWS OF GEORGIA                PO BOX 571495                                      929 110TH ST
603 MACK DR                                      SALT LAKE CTY, UT 84157-1495                       PLAINWELL, MI 49080-9515
VALDOSTA, GA 31602-1658



DEREK ROWE CUST ALEXANDER MAURICE ROWE UTMA MI   DEREK ROWE CUST ISSAC MARTIN ROWE UTMA MI          DERRICK R TAYLOR
929 110TH ST                                     929 110TH ST                                       PO BOX 464002
PLAINWELL, MI 49080-9515                         PLAINWELL, MI 49080-9515                           LAWRENCEVILLE, GA 30042-4002




DERWAIN J BELLMORE & MARVEL GLORIA BELLMORE TR   DERYLL GALLIVAN CUST JOE D GALLIVAN                DESSA N BLACKMON CUST WADDY J A BLACKMON JR
BELLMORE JOINT TRUST UA 09/14/04                 U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT         A MINOR UNDER THE LAWS OF SC
5336 WYNDEMERE COMMON SQUARE                     405 AHR STORM DR                                   695 VENETIAN WAY
SWARTZ CREEK, MI 48473-8911                      OWENSVILLE, MO 65066-2757                          MERRITT ISLAND, FL 32953-4115



DESTINY BAY FINANCIALS INC                       DEVIN D RAINES                                     DEWEES F SHOWELL JR CUST DEWEES F SHOWELL 3RD
PO BOX 221636                                    21431 163RD ST                                     A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW
LOUISVILLE, KY 40252-1636                        BASEHOR, KS 66007-5166                             JERSEY
                                                                                                    PO BOX 98
                                                                                                    ROYAL OAK, MD 21662-0098


DEWEY C HOWARD                                   DEWEY E BOSWELL                                    DEWEY M GARWOOD JR & ELEANOR G GARWOOD TR
3590 ROUND BOTTOM RD                             6625 WINTERS CHAPEL RD                             DEWEY & ELEANOR GARWOOD INTERVIVOS LIV TRUST UA
SUITE F200807                                    PO BOX 920396                                      6/24/91
CINCINNATI, OH 45244-3026                        NORCROSS, GA 30010-0396                            5301 PEACE CT
                                                                                                    FAIRFIELD, CA 94533-9729


DEWEY R BROWN                                    DEWEY V HARRIS & ADELIA V HARRIS JT TEN            DEXTER L DEPALM & DOROTHY J DEPALM TR
21431 163RD ST                                   11350 11350 DALE                                   UA 09/13/93 DEXTER L DEPALM & DOROTHY DEPALM LIVING
BASEHOR, KS 66007-5166                           WARREN, MI 48089-1062                              TRUST
                                                                                                    1158 LINWOOD DR
                                                                                                    WENTZVILLE, MO 63385-4330


DIANA J MILLER                                   DIANA MAE BIRKENSEER TR                            DIANA MEINBERG
PO BOX 421472                                    NANCY L BIRKENSEER U-A WITH THOMAS LERAY & AGNES   609 MEADOW RIDGE DR
INDIANAPOLIS, IN 46242-1472                      M LERAY 9/6/75                                     BIRMINGHAM, AL 35242-5409
                                                 1458 WOODBERRY AVE
                                                 SAN MATEO, CA 94403-3765


DIANA P BAUMGART                                 DIANA REINTGES                                     DIANE CALL KENNEDY CUST LINDA RENEE KENNEDY
PO BOX 300814                                    30 GREEN ST                                        UNDER THE FLORIDA GIFTS TO MINORS ACT
DRAYTON PLAINS, MI 48330-0814                    BEVERLY, MA 01915-2958                             34 BREESPORT RD
                                                                                                    APT 5
                                                                                                    HORSEHEADS, NY 14845-9327
                    09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                               Part 8 of 8 Pg 79 of 440
DIANE CALL KENNEDY CUST SUSAN QUAIN KENNEDY            DIANE F KEMMERER & JAY B KEMMERER TR                  DIANE H MARTINEC TR
UNDER THE FLORIDA GIFTS TO MINORS ACT                  UA 10/10/2000 KEMMERER LIVING TRUST                   UA 08/12/09 DIANE H MARTINEC REVOCABLE LIVING TRUST
7432 CADLE AVE                                         1044 HICKS RD                                         34774 HALDANE
MENTOR, OH 44060-5711                                  MOUNTAIN HOME, AR 72653                               LIVONIA, MI 48152



DIANE HOLSTEIN CUST JACOB GABRIEL PESKIN UTMA NJ       DIANE K FUESLEIN                                      DIANE K VESTRAND CUST ASHLEY N VESTRAND
291 LITTLE YORK                                        16933 LAUDERDALE AVE                                  UNDER THE FLORIDA GIFTS TO MINORS ACT
MT PLEASANT RD                                         BEVERLY HILLS, MI 48025-5550                          6226 99TH ST E
MILFORD, NJ 08848                                                                                            BRADENTON, FL 34202-9371



DIANE L ABBOTT                                         DIANE L WAWRZYNIAK                                    DIANE L WELLS
PO BOX 214645                                          & CHARLES R WAWRZYNIAK JT TEN TOD MICHAEL R           1685 134TH AVE SE
AUBURN HILLS, MI 48321-4645                            WAWRZYNIAK                                            APT I102
                                                       3904 SHORESIDE CIRCLE                                 BELLEVUE, WA 98005-8038
                                                       TAMPA, FL 33624-2337


DIANE LIOSIS CUST JOY EFTINIA LIOSIS                   DIANE LORRAINE BALDWIN TR                             DIANE M EICHSTADT
A MINOR U-A8-A OF THE PERS PROP LAW OF NEW YORK        THE DIANE LORRAINE BALDWIN REVOCABLE INTERVIVOS       20549 382ND AVE
ATTN JOY TILLMAN                                       TRUST UA 02/04/92                                     WOLSEY, SD 57384-8300
4614 ST PAUL BLVD                                      PO BOX 726
ROCHESTER, NY 14617-1854                               LOS ALTOS, CA 94023-0726


DIANE M EICHSTADT & STEVEN R EICHSTADT JT TEN          DIANE M RAYFIELD TR                                   DIANE MARIE ERTEL CUST JODI MARIE ERTEL
20549 382ND AVE                                        DIANE M RAYFIELD SEPARATE PROPERTY TRUST UA 2/16/99   U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT
WOLSEY, SD 57384-8300                                  356 EASTGROVE RD                                      2232 N 6TH ST
                                                       RIVERSIDE, IL 60546-1708                              SHEBOYGAN, WI 53083-4955



DIANE ORR TAYLOR                                       DIANE U GREEN CUST CARTER KEITH GREEN                 DIANE VINCENT KETELHUT CUST SCOTT RAYMOND KETELHUT
PO BOX 470371                                          UNDER THE FLORIDA GIFTS TO MINORS ACT                 U/THE MICH UNIFORM GIFTS TO MINORS ACT
CELEBRATION, FL 34747-0371                             5030 S OSO PKWY                                       205 NW 15TH ST
                                                       CORPUS CHRISTI, TX 78413-6022                         CAPE CORAL, FL 33993



DIANNE FINKELSTEIN                                     DIANNE GUILFOYLE                                      DIANNE JACQUES
7 QUAIL MEWS                                           5319 159TH TERRACE                                    & LINDA JACQUES & JUDITH DENKER & JOHANNA JACQUES
NORTH BRUNSWICK, NJ 08902-1209                         STILWELL, KS 66085                                    JT TEN
                                                                                                             BOX 7002
                                                                                                             INDIAN LAKE ESTS, FL 33855-7002


DIANNE M BOYKINS & DANNY J BYKINS TR                   DICK ROSS                                             DICKSON ADAMS TR
DANNY J & DIANNE M BOYKINS LIVING TRUST UA 12/08/04    N 7857 REINDEER RUN                                   UA ELIZABETH W ATWATER AS EXEC OF ESTATE OF JAMES
5118 MCHENRY LANE                                      MUNISING, MI 49862-8912                               R ATWATER 4/24/61
INDIANAPOLIS, IN 46228-2368                                                                                  ATT DICKSON ADAMS
                                                                                                             PO BOX 670
                                                                                                             THOMASTON, GA 30286-0009

DIETER A MEINKE TR DIETER A MEINKE TRUST UA 06/07/04   DIETER K STENZEL                                      DIETRICH R BERGMANN
10664 KNIGHTS WAY                                      HEINRICH-ZILLE-STRABE 14                              PO BOX 130525
N ROYALTON, OH 44133-1998                              NAUHEIM                                               ANN ARBOR, MI 48113
                                                       64569 GERMANY



DILLARD L MEINS                                        DINA GARDNER WEINROTH                                 DINA M SCHREINER & DUANE L SCHREINER JT TEN
306 IVY                                                48 SEARS RD                                           206 VICKIE LANE
GARDEN CITY, MO 64747-8243                             SOUTHBOROUGH, MA 01772-1102                           FOSTORIA, OH 44830-1841
                     09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                                Part 8 of 8 Pg 80 of 440
DINESH VITHALANI & DIVYA D VITHALANI TR                  DIONYSIOS COKORINOS & ANASTASIA COKORINOS TR          DOE LEE GWYNN CUST MASSEY ALEXANDER GWYNN JR
DINESH & DIVYA VITHALANI LIVING TRUST 1996 UA 03/02/96   COKORINOS LIVING TRUST UA 02/03/97                    U/THE ALA UNIFORM GIFTS TO MINORS ACT
PO BOX 3069                                              28 FLAG LANE                                          ROUTE 2 BOX 61
LA JOLLA, CA 92038-3069                                  MANHASSET HILLS, NY 11040-1018                        GROVE HILL, AL 36451-9611



DOLLIVER W PIERCE & CATHERINE G PIERCE TR                DOLORES A SCHERR TR                                   DOLORES A VAUGHAN TR UA 12/27/93 DOLORES A VAUGHAN R
DOLLIVER W & CATHERINE G PIERCE TRUST UA 3/9/00          DOLORES A SCHERR REVOCABLE LIVING TRUST UA            PO BOX 190355
59 GRANDVIEW AV                                          11/14/03                                              BURTON, MI 48519-0355
BADEN, PA 15005-2016                                     11391 OAK GROVE CT
                                                         WASHINGTON, MI 48094-3731


DOLORES B KLEIN                                          DOLORES E DECKER TR                                   DOLORES E GARASCIA CUST CHRISTOPHER G GARASCIA
PO BOX 344                                               UA 04/22/91 DOLORES E DECKER LIVING REVOCABLE TRUST   U/THE MICH UNIFORM GIFTS TO MINORS ACT
PLYMOUTH, MI 48170                                       5232 COCHRANE                                         904 SANDHILL
                                                         ALMONT, MI 48003-8835                                 DEWITT, MI 48820-8708



DOLORES J ROPES                                          DOLORES L ALLWINE TOD THE DOLORES L ALLWINE TRUST UADOLORES
                                                                                                              07/21/95 MARCIA
                                                                                                                        L THOMPSON & CHARLES THOMPSON JT TEN
36 MORNING GLORY LN                                      KLUESENER & TERENCE ALLWINE                         11991 101ST AVENUE N
WHITING, NJ 08759-4301                                   48 WINDEMERE DR                                     SEMINOLE, FL 33772
                                                         SHELBY, OH 44875-1724



DOLORES LAVIANI & ADELINE LAVIANI TR                     DOLORES M DUNN & MARY ELLEN STEVENSON TR              DOLORES M STEARRETT
UA 10/11/2007 MARY LAVIANI IRREVOCABLE TRUST             UA 06/05/91 THE DUNN LIVING TRUST                     & WILLIAM H STEARRETT JR & KAREN M STEARRETT JT TEN
5229 DOUGLASTON PKWY                                     1112 SUNHAVEN DR #M                                   4508 SHARON DRIVE
DOUGLASTON, NY 11362                                     ST LOUIS, MO 63129-1985                               KLAIRESTATES
                                                                                                               WILINGTON, DE 19808-5612


DOLORES M TALAROWSKI                                     DOLORES R RUTKOWSKI TR                                DOLORES ROMANO CUST THOMAS ROMANO
26 KLEIN AVE                                             DOLORES RUTKOWSKI REVOCABLE LIVING TRUST UA           U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
WEST NYACK, NY 10994-1910                                09/28/99                                              88 LASALLE AVE
                                                         14939 HEYER                                           HASBROUCK HEIGHTS, NJ 07604-1436
                                                         LIVONIA, MI 48154-4870


DOLORES ROMANO CUST VINCENT ROMANO JR                    DOLORES T DAIGLE & TIMOTHY C DAIGLE TR                DOLORES T SCHULTE
U/THE N J UNIFORM GIFTS TO MINORS ACT                    UA 12/10/90 THE DOLORES T DAIGLE TRUST                31665 ECKSTEIN
102 WASHINGTON ST                                        95 MALLEY AVE                                         WARREN, MI 48092-1667
HASBROUCK HEIGHTS, NJ 07604-1222                         AVON, MA 02322-1644



DOLORES VENANZI                                          DOLORES W STERLING CUST ALEXIS LEE STERLING           DOLPHINE C HENDRICKSON TR
47 PINE RIDGE BLVD                                       U/THE MICH UNIFORM GIFTS TO MINORS ACT                JOHN HENDRICKSON & DOLPHINE EXEMPTION TRUST UA
WHITING, NJ 08759-3544                                   12033 MIRAVISTA CANYON PL                             06/17/93
                                                         TUCSON, AZ 85749-7201                                 6154 DECENA DR
                                                                                                               SAN DIEGO, CA 92120-3512


DOM A MATISEVICH CUST DOM ANTHONY SAM MATISEVICH II U-T
                                                     DOMENICK
                                                        CA UNIF GIFT
                                                                F GOBLECK & RUTH M GOBLECK TR                  DOMINIC A OMBRELLO CUST DONICA MARIE OMBRELLO U/THE
MIN ACT                                              DOMENICK F & RUTH M GOBLECK REV LIVING TRUST UA           C/O DOMICA M LAITINEN
4221 BERRENDO DR                                     12/28/01                                                  215 S PINE ST
SACRAMENTO, CA 95864-3024                            PO BOX 52                                                 ISHPEMING, MI 49849-2309
                                                     JOFFREY, PA 15053-0052


DOMINIC CARUSO CUST NICHOLAS B CARUSO                    DOMINIC F TATARANOWICZ TR                             DOMINIC L GIULIETTI CUST DONNAMARIE GIULIETTI
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J             DOMINIC F TATARANOWIC REVOCABLE TRUST UA 09/02/99     U/THE CONN UNIFORM GIFTS TO MINORS ACT
1770 BEN FRANKLIN DR UNIT #403                           23254 NONA                                            31 LAURELWOOD DR
SARASOTA, FL 34236-2325                                  DEARBORN, MI 48124-2626                               WALLINGFORD, CT 06492-2515
                       09-50026-mg          Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                            Part 8 of 8 Pg 81 of 440
DOMINIC L GIULIETTI CUST JOSEPH GIULIETTI           DOMINIC R SMITH                                        DOMINICK A LOCKWOOD CUST CHRISTIANA TRIESTE RHEIN LO
U/THE CONN UNIFORM GIFTS TO MINORS ACT              PO BOX 231084                                          UNDER PA U-G-M-A
9799 NW 19TH ST                                     DETROIT, MI 48223-9084                                 551 THOMAS ST
CORAL SPRINGS, FL 33071-5814                                                                               BOX 608
                                                                                                           STROUDSBURG, PA 18360-0608


DON B EDWARDS                                       DON C LADD                                             DON COX & MARY ANN COX TR
PO BOX 310512                                       7300 100TH ST                                          DON COX & MARY ANN COX LIVING TRUST UA 06/15/95
FLINT, MI 48531-0512                                FLUSHING, MI 48433-8703                                311 RIDGECREST DR
                                                                                                           MOUNTAIN HOME, AR 72653-7031



DON E DAVIS CUST MICHAEL D DAVIS                    DON HORNSTEIN                                          DON JOEL SMITH CUST MISS ROMONA SMITH
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             2614 S GOYER RD                                        U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
5814 CLUB OAKS COURT                                KOKOMO, IN 46902-4103                                  206 JOHNSON AVE
DALLAS, TX 75248-1118                                                                                      PRINCETON, IN 47670-3142



DON L DICKINSON & JULIE B DICKINSON TR              DON R GORDON                                           DON R MCEACHERN & BETTE MCEACHERN TR
DICKINSON LIVING TRUST UA 09/18/00                  PO BOX 320882                                          MCEACHERN FAMILY TRUST UA 12/16/96
312 FREEMAN RD                                      TAMPA, FL 33679-2882                                   3220 KNOBVIEW DR
NORTHFIELD, VT 05663-6229                                                                                  NASHVILLE, TN 37214-2140



DONALD & ELIZABETH HATHAWAY TR                      DONALD A BURRIER & DEBRA FOREST TR                     DONALD A CAMPBELL CUST KAYTHRYN R BRZEZINSKI
UA 01/14/99 BY DONALD & ELIZABETH HATHAWAY LIVING   DONALD A BURRIER IRREVOCABLE TRUST FBO DEBRA L         UNDER THE NEW YORK U-G-M-A
TRUST                                               BURRIER UA 02/10/06                                    736 STEWART AVE
66 LOCKLEY AVE                                      305 HURONIA BEACH DR                                   NORTH AURORA, IL 60542-9122
ASHEVILLE, NC 28804-3565                            HURON, OH 44839-1430


DONALD A KREINSEN & LORETTA P KREINSEN JT TEN       DONALD A SAMSON OR JAMES G SAMSON TR                   DONALD A YUNKER & SYLVIA J YUNKER JT TEN
126 DELRAY ROAD                                     UA 03/17/09 DONALD ALEXANDER SAMSON REVOCABLE          1979 180TH ST
ROCHESTER, NY 14610-1212                            10 EAST 40TH ST #708                                   INWOOD, IA 51240-7709
                                                    NEW YORK, NY 10018



DONALD AMES MONTGOMERY & JOANNE MONTGOMERY TR       DONALD B BENEDETT & BARBARA J BENEDETT TR              DONALD B GALLAND & LINDA L GALLAND TR
MONTGOMERY FAM TRUST UA 02/25/93                    UA 04/29/2008 DONALD B BENEDETT REVOCABLE TRUST        D BRUCE GALLAND REVOCABLE TRUST UA 08/18/99
152 EL NIDO                                         649 WABASHA AVE                                        569 TOURNAMENT CIRCLE
MONROVIA, CA 91016-1514                             SAINT CHARLES, MN 55972                                MUSKEGON, MI 49444-9779



DONALD B HORNING CUST ANDREW LEE HORNING            DONALD B HORNING CUST CHRISTOPHER LEE HORNING          DONALD BLAIR BLANCHARD & CHLOE IRENE BLANCHARD TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT             U/THE CALIF UNIFORM GIFTS TO MINORS ACT                DONALD B & CHLOE I BLANCHARD TRUST UA 7/10/02
17517 FABRICA WAY #D                                4224 FALCON AVE                                        1704 ILLINOIS
CERRITOS, CA 90703-7020                             LONG BEACH, CA 90807-3053                              LANSING, MI 48906-4605



DONALD BOSTROM                                      DONALD BRUCE SCOTT                                     DONALD BUYACK & CLARA M BUYACK TR
1151 153RD LANE NE                                  17 NEPAL PARK                                          DONALD BUYACK LIVING TRUST UA 04/24/96
HAM LAKE, MN 55304-5502                             139406 SINGAPORE                                       6275 S STATE RD
                                                                                                           GOODRICH, MI 48438-9401



DONALD C ALLEN & ARLINE C ALLEN TR                  DONALD C BETZLER & MARY B BETZLER TR                   DONALD C BRANDENSTEIN & DONNA L BRANDENSTEIN JT TEN
UA 08/31/90 DONALD C ALLEN & ARLINE C ALLEN TR      UA 12/13/88 DONALD C BETZLER & MARY B BETZLER FAMILY   1215 E LINDSEY AVE
5090 BAY ST NE                                      TRUST                                                  MIAMISBURG, OH 45342-2535
APT 128                                             1404 CHEROKEE COURT
ST PETERSBURG, FL 33703-4082                        BOULDER CITY, NV 89005-3217
                   09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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DONALD C NICKASON CUST DAVID B NICKASON             DONALD C PHILLPOTTS & JUDIENE M PHILLPOTTS TR     DONALD C SNYDER
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          DONALD C PHILLPOTTS REV TRUST UA 04/06/01         2380 144TH AVENUE
10 VAN ST                                           106 TRIER                                         DORR, MI 49323-9704
ROCHESTER, NY 14620-1119                            SAGINAW, MI 48602-3062



DONALD COMPTON                                      DONALD D DONAGRANDI & DORIS J DONAGRANDI TR       DONALD D DUQUET
& DAVID V COMPTON & CARLA L COMPTON & GREG S        UA 11/27/92 DONALD D & DORIS J DONAGRANDI TRUST   7392 170TH AVE
COMPTON JT TEN                                      9810 HART LAKE                                    REED CITY, MI 49677-8541
2 HUDSON                                            OTTER LAKE, MI 48464-9421
CARLTON, MI 48117-9197


DONALD D HELLER                                     DONALD D HELLER & JOYCE A HELLER JT TEN           DONALD D KELLY & BARBARA A KELLY TR
83370 563RD AVENUE                                  83370 563 AVE                                     DONALD D KELLY & BARBARA A KELLY REV JT TRUST UA
STANTON, NE 68779-7812                              STANTON, NE 68779-7812                            7/22/98
                                                                                                      19175 BEECHRIDGE DR
                                                                                                      LAKE ANN, MI 49650-9689


DONALD D LEINWEBER                                  DONALD D NAGEL CUST STEVE A NAGEL                 DONALD D SULLIVAN & JANIS M SULLIVAN TR
29510 ENGLISH WAY                                   U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT      DONALD D & JANIS M SULLIVAN TRUST UA 07/17/97
NOVI, MI 48377-2028                                 8452 IVY CIRCLE                                   12072 FERRAND RD
                                                    HUNTING BEACH, CA 92646-3824                      MONTROSE, MI 48457-9705



DONALD D WAGES & JANET M WAGES TR                   DONALD D WEINSTEIN                                DONALD E BRADEN & BARBARA A BRADEN TR
JANET M & DONALD D WAGES LIVING TRUST UA 10/15/01   10763A LADYPALM LANE                              BRADEN REVOCABLE TRUST UA 4/25/01
828 S HAUSER BLVD                                   BOCA RATON, FL 33498-1677                         15249 EAST PALISADES BLVD
LOS ANGELES, CA 90036-4726                                                                            FOUNTAIN HILLS, AZ 85268-4370



DONALD E HALLORAN CUST DENNIS E HALLORAN            DONALD E HEALY & VIOLET M HEALY JT TEN            DONALD E HEINIG & JULIA HEINIG JT TEN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT              44729-255 STREET                                  1147 PATTERSON FERRY RD
111 PELICAN CT                                      MONTROSE, SD 57048-5614                           CALVERT CITY, KY 42029-8629
EDENTON, NC 27932-9641



DONALD E HUTTON & CHARLES L PACIFICO TR             DONALD E NEILAN                                   DONALD E NEILAN & MILDRED D NEILAN TR
THELMA U HUTTON REVTRUST UA 10/10/97                22026 127TH CT SE                                 NEILAN REVOCABLE LIVING TRUST UA 04/11/02
C/O PACIFICO DIGREGORIO & PACIFICO                  KENT, WA 98031-9670                               22026 127TH CT SE
151 WILLIS AVE                                                                                        KENT, WA 98031-9670
MINEOLA, NY 11501-2614


DONALD E NERSWICK & DIANA A NERSWICK TR             DONALD E REINHARD                                 DONALD E SNYDER & MARTHA S SNYDER TR SNYDER FAMILY
UA 08/09/94 NERSWICK FAMILY LIVING TRUST            519 STANDISH PLACE                                23845 205TH STREET
53400 WOODBRIDGE                                    STEWARTSVILLE, NJ 08886-2524                      CRESCENT, IA 51526
SHELBY TOWNSHIP, MI 48316-2756



DONALD E STEINBECK                                  DONALD E VALTIN CUST JACQUELINE M VALTIN          DONALD E WEST CUST MARK T WEST
1003 BEECH TREE RD                                  U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
JACKSONVILLE, NC 28546-6001                         504 CEDAR LN                                      APT A111
                                                    WATERVILLE, OH 43566-1160                         7955 16TH MANOR
                                                                                                      VERO BEACH, FL 32966-1539


DONALD E WROOK & MARION L WROOK TR                  DONALD EPLEY & EUNICE E EPLEY JT TEN              DONALD EUGENE WALKER & MILDRED JANE HALLMAN WALKE
DONALD E WROOK & MARION L WROOK LIVING TRUST UA     PO BOX 530216-3644 AVON                           DONALD EUGENE WALKER LIV TRUST UA 04/02/98
08/28/86                                            HARTLAND, MI 48353                                19357 DOROTHY AVE
9922 PEAKE RD                                                                                         ROCKY RIVER, OH 44116-1920
PORTLAND, MI 48875-8424
                   09-50026-mg            Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                               Part 8 of 8 Pg 83 of 440
DONALD F BROWNELL CUST GARY F BROWNELL                 DONALD F FARREN & NORMA G FARREN TR                   DONALD F FELDMAN & BERTHA FELDMAN & KENNETH FELDMA
U/THE N Y UNIFORM GIFTS TO MINORS ACT                  THE FARREN FAMILY TRUST UA 04/02/02                   UA 10/03/83 FELDMAN TRUST
2145 BLACKWILLOW DR NE                                 1219 IRIQUOIS DR                                      4756 CLEAR LAKE SHORES
ALBUQUERQUE, NM 87122-1019                             BAREFOOT BAY, FL 32976-7044                           GRASS LAKE, MI 49240-9240



DONALD F FELDMAN BERTHA & KENNETH FELDMAN TR           DONALD F JOHNSON & JACQUELYN J JOHNSON TR             DONALD F MCAFEE
UA FELDMAN LIVING TRUST 10/03/83                       UA 11/17/09 DONALD F & JACQUELYN J JOHNSON            PO BOX 361104
4756 CLEAR LAKE SHORES                                 4545 68TH ST SW                                       STRONGSVILLE, OH 44136-0019
GRASSLAKE, MI 49240-9240                               BYRON CENTER, MI 49315



DONALD F SOLE & LORRAINE M SOLE TR                     DONALD F STRUB CUST DENISE FAY STRUB                  DONALD F STRUB CUST TIMOTHY FRANCIS STRUB
DONALD F & LORRAIME M SOLE LIVING TRUST UA 01/26/94    U/THE OHIO UNIFORM GIFTS TO MINORS ACT                U/THE OHIO UNIFORM GIFTS TO MINORS ACT
10412 MOAHAWK LN                                       9519 SW 71ST LOOP                                     9519 SW 71ST LOOP
LEAWOOD, KS 66206-2551                                 OCALA, FL 34481                                       OCALA, FL 34481



DONALD F WRIGHT & CATHY L WRIGHT TR                    DONALD FIELDS & BETTY E FIELDS TR                     DONALD FITING
DONALD F & CATHY L WRIGHT FAMILY TRUST UA 12/12/00     UA 06/03/93 THE FIELDS REVOCABLE LIVING TRUST         3155 KUEHN AVE
9683 SHORE DR                                          121 FIRST AVE N W                                     SAGINAW, MI 48601-5834
PIGEON, MI 48755-9675                                  CARMEL, IN 46032-1717



DONALD G BRENNAMAN & BEVERLY J BRENNAMAN TR            DONALD G BRIGGS & CORABELLE B BRIGGS TR               DONALD G EHLERS & DOROTHY M EHLERS TR
BRENNAMAN LIVING TRUST UA 08/21/96                     DONALD G BRIGGS & CORABELLE B BRIGGS                  UA 03/27/96 DONALD G EHLERS & DOROTHY M EHLERS
3700 NO CITRUS CIRCLE                                  800 CAROL CT                                          LIVING TRUST
ZELLWOOD, FL 32798-9656                                TAVARES, FL 32778-2701                                161 ILION ST
                                                                                                             TONAWANDA, NY 14150-5421


DONALD G FULTZ & BETTY E FULTZ TR UA 02/07/2007 2007 JOINT
                                                         DONALD
                                                           REV TRUST
                                                                  G HARMON CUST MISS GINA LEI HARMON         DONALD G HARMON CUST MISS GINA LEI HARMON
245 E 620 N                                              U/THE ILL UNIFORM GIFTS TO MINORS ACT               U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
FREMONT, IN 46737                                        7061 COLESBROOK DRIVE                               7061 COLESBROOK DRIVE
                                                         HUDSON, OH 44236-1168                               HUDSON, OH 44236-1168



DONALD G JOHNSON & ETHEL A JOHNSON TR                  DONALD G SHIGLEY & MARY JO SHIGLEY TR                 DONALD GENE STEUART & LINDA L STEUART TR
UA 2/8/90 THE DONALD G & ETHEL AJOHNSON FAMILY         DONALD G SHIGLEY & MARY JO SHIGLEY TRUST              DONALD GENE STEUART REVOCABLE TRUST UA 07/14/06
TRUST                                                  5521 KATHY DR                                         724 SW PRARIE CT
2259 DEBCO                                             TITUSVILLE, FL 32780-7109                             TOPEKA, KS 66606-2320
LEMON GROVE, CA 91945-3826


DONALD GORDON DUNLOP CUST SARAH MARIE DUNLOP           DONALD H GALLAGHER & MEREDITH J GALLAGHER TR          DONALD H HARDY
UNDER THE STATE OF MICHIGAN UNIF GIFTS TO MINORS       THE GALLAGHER TRUST UA 09/12/94                       PO BOX 301006
ACT                                                    7323 PLAYER DRIVE                                     DRAYTON PLAINS, MI 48330-1006
104 RIVERDALE                                          SAN DIEGO, CA 92119-2418
HILLSDALE, MI 49242-1433


DONALD H ROSE CUST JAMES D ROSE                        DONALD H RUTSCHILLING & DONNA J RUTSCHILLING JT TEN   DONALD H SIMON TR DONALD H SIMON REV LIVING TRUST UA
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             7884 ST RT 119                                        21428-1950 E ST
505 BALSAM ST                                          MARIA STEIN, OH 45860-9710                            PRINCETON, IL 61356-9646
KINGSFORD, MI 49802-6121



DONALD HUBIAK CUST TROY DONALD HUBIAK UTMA CA          DONALD I HORANOFF & MARIE M HORANOFF TR               DONALD I SZERLIP
470 810 EMERSON CT                                     UA 05/12/93 THE HORANOFF FAMILY LIVING TRUST          2615 190TH ST STE 210
SUSANVILLE, CA 96130                                   1827 E BROOMFIELD RD                                  REDONDO BEACH, CA 90278-5341
                                                       MT PLEASANT, MI 48858-9590
                   09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                              Part 8 of 8 Pg 84 of 440
DONALD J BLENDERMAN                                   DONALD J DALPINO & JANET S DALPINO TR                 DONALD J DALPINO & JANET S DALPINO TR
P O 891386                                            UA 11/04/80 D J DALPINO & J S DALPINO TRUST           UA 11/04/80 DONALD J DALPINO & JANET S DALPINO TRUST
HOUSTON, TX 77289-1386                                129 SOLANO ST                                         129 SOLANO ST
                                                      SAN RAFAEL, CA 94901-1041                             SAN RAFAEL, CA 94901-1041



DONALD J DALPINO TR                                   DONALD J GULLO                                        DONALD J HERMANN TR
DONALD J & JANET S DALPINO 1980 LIVING TRUST UA       PO BOX 910834                                         UA 12/01/93 THE DONALD J HERMANN REVOCABLE LIVING
11/04/80                                              SAINT GEORGE, UT 84791                                TRUST
129 SALANO ST                                                                                               2423 BOY SCOUT ROAD
SAN RAFAEL, CA 94901-1041                                                                                   INDIAN RIVER, MI 49749-9531


DONALD J PFANNENSTIEL & BARBARA A PFANNENSTIEL TR     DONALD J RASMUSSEN & KATHRYN F RASMUSSEN TR           DONALD J WEBB CUST KATHLEEN WEBB
DONALD & BARBARA PFANNENSTIEL FAM TRUST UA            UA 9/29/99 DONALD J RASMUSSEN & KATHRYN F             U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT
04/15/99                                              48190 BLUEBIRD                                        19 HOAG AVE
113 BLAZING STAR DRIVE                                SHELBY TWP, MI 48317-2402                             AKRON, NY 14001-1104
GEORGETOWN, TX 78633


DONALD KENNEDY COLE & VERNA JO COLE TR                DONALD KNIGHT                                         DONALD L ABRAHAM CUST JAMES PATRICK ABRAHAM UGMA N
DONALD K COLE AND VERNA J COLE REV TRUST UA 9/11/98   PO BOX 212611                                         3116 235TH PL SE
84 LAKESHORE CIRCLE                                   ANCHORAGE, AK 99521-2611                              ISSAQUAH, WA 98029-9481
SACRAMENTO, CA 95831-1560



DONALD L BUTTERFIELD & MARGARET R BUTTERFIELD TR      DONALD L DAWSON & LOIS P DAWSON TR                    DONALD L DILLAHUNT & BARBARA M DILLAHUNT TR
UA 10/06/93 THE DONALD L & MARGARET                   UA 01/23/92 THE DONALD L DAWSON & LOIS P DAWSON LIV   DILLAHUNT LIVING TRUST UA 10/07/96
1415 GLENDALE ST                                      TR                                                    585 MOORFIELD RD
SAGINAW, MI 48638-4758                                1935 WALMAR DR                                        AKRON, OH 44333-4241
                                                      LANSING, MI 48917-1233


DONALD L ENSENBACH & OPAL ENSENBACH TR                DONALD L KELLY                                        DONALD L KUHNSMAN & CATHARINE M KUHNSMAN TR
DONALD L & OPAL ENSENBACH TRUST UA 09/11/93           14790-204 EAGLE RIDGE DR                              UA 04/12/07 KUHNSMAN FAM TRUST
515 PARKCREST #545                                    FT MYERS, FL 33912-1727                               11027 ARDWICK DR
MESA, AZ 85206-2031                                                                                         ROCKVILLE, MD 20852



DONALD L LOUGHERY JR & ANNA-MAY LOUGHERY TR           DONALD L MORGAN                                       DONALD L PEET
ANNA-MAY LOUGHERY LIVING TRUST UA 11/12/96            & SALLY A MORGAN JT TEN TOD DOLLY H GOTT SUBJECT      20194 239TH AVE
24076 CALENDULA                                       TO STA TOD RULES                                      NEVIS, MN 56467-4209
MISSION VIEJO, CA 92692-2106                          4743 PINE STREET
                                                      COLUMBIAVILLE, MI 48421-9301


DONALD L RICHARDSON & EVA M RICHARDSON TR             DONALD L RIEMENSCHNITTER & JACQUELINE S RIEMENSCHNITTER
                                                                                                          DONALD
                                                                                                               TR L SOMMERFIELD & JUNE B SOMMERFIELD TR
DONALD & EVA RICHARDSON FAMILY TRUST UA 11/2/00       RIEMENSCHNITTER FAM TRUST UA 03/20/95               UA 02/22/93 DONALD L SOMMERFIELD&
147 FRONT STREET                                      3641 HEMLOCK WAY                                    106 NE 21ST AVE
CLARKSVILLE, MI 48815-9770                            RENO, NV 89509-7449                                 CAPE CORAL, FL 33909-2888



DONALD L TOADVINE & LINDA M TOADVINE TR               DONALD L TOADVINE & LINDA M TOADVINE TR               DONALD L WEINBERG
DONALD L TOADVINE & LINDA M TOADVINE                  DONALD L TOADVINE & LINDA M TOADVINE REV TRUST UA     231 EAST AVE
32661 MEADOW BRANCH DR                                09/02/03                                              QUINCY, IL 62301-4331
LAUREL, DE 19956-4337                                 32661 MEADOW BRANCH DR
                                                      LAUREL, DE 19956-4337


DONALD LEWIN CUST SINDI MICHELLE LEWIN                DONALD M BALASH & ANDEE L BALASH TR                   DONALD M BISSELL & MARY JEAN A BISSELL TR
U/THE PA UNIFORM GIFTS TO MINORS ACT                  DONALD M BALASH & ANDEE L BALASH TRUST # 561 UA       UA 09/15/89 DONALD M BISSELL & MARY JEAN A
103 RAMPART PL                                        12/19/05                                              PO BOX 748
MAPLE GLEN, PA 19002-2861                             18822 SHERMAN STREET                                  MURPHYS, CA 95247-0748
                                                      LANSING, IL 60438-3636
                   09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                           Part 8 of 8 Pg 85 of 440
DONALD M BRINGS & VIRGINIA N BRINGS TR             DONALD MACEOIN & BRENDA MACEOIN TR                  DONALD MC MILLEN CUST JOSEPH CRAIG MC MILLEN
DONALD M BRINGS LIVING TRUST UA 04/18/96           DONALD & BRENDA MACEOIN REVOCABLE TRUST UA          U/THE MICH UNIFORM GIFTS TO MINORS ACT
13 SPARHAWK TER                                    02/07/00                                            4015 KEMPF ST
MARBLEHEAD, MA 01945-1522                          44426 LIVONIA TERRACE                               WATERFORD, MI 48329
                                                   ASHBURN, VA 20147-7130


DONALD MC NAMEE CUST DONALD C MC NAMEE JR          DONALD MC NAMEE CUST JOHN J MC NAMEE                DONALD MITCHELL CUST RANDALL P MITCHELL
U/THE R I UNIFORM GIFTS TO MINORS ACT              U/THE R I UNIFORM GIFTS TO MINORS ACT               U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
14 DOUGLAS TER                                     61 MAIN ST                                          911 WESTOVER RD
NO PROVIDENCE, RI 02904-3409                       NORTH KINGSTOWN, RI 02852-5017                      WILMINGTON, DE 19807-2980



DONALD MUGGERIDGE & DOROTHY MUGGERIDGE TR          DONALD P HEINS                                      DONALD R CHARRON & PAULINE A CHARRON TR
MUGGERIDGE FAM TRUST UA 09/12/96                   107 SERENOA DR                                      CHARRON FAMILY TRUST UA 05/21/02
5 SUNNYFIELD DR                                    BRUNSWICK, GA 31523-7055                            1038 BRAEVIEW DR
ROLLING HILLS EST, CA 90274-2504                                                                       HOWELL, MI 48843-2008



DONALD R ELGAS & HENRIETTA B ELGAS TR              DONALD R EPSTEIN CUST LENA EPSTEIN UGMA MI          DONALD R GREENBERG CUST MARC DAVID GREENBERG
DONALD & HENRIETTA ELGAS REV LIVING TRUST UA       555 SOUTH OLD WOODWARD AVENUE                       U/THE N J UNIFORM GIFTS TO MINORS ACT
05/24/02                                           APARTMENT 807                                       22 BRUSH EVERARD CT
219 TAMARAC DRIVE                                  BIRMINGHAM, MI 48009-6673                           STAFFORD, VA 22554-7683
PRUDENVILLE, MI 48651-9705


DONALD R HALLWACHS & JOANNE HALLWACHS TR           DONALD R KINKER & SARA E KINKER TR                  DONALD R KUJACZNSKI & ELAINE KUJACZNSKI TR
DONALD & JOANNE HALLWACHS TRUST UA 06/20/02        DONALD R KINKER & SARA E KINKER TRUST UA 06/05/87   DONALD R KUJACZNSKI & ELAINE KUJACZNSKI TRUST UA
1190 HARRIS DR                                     36 LAKEVIEW TERRACE DR                              10/6/99
LOMPOC, CA 93436-8327                              ALTOONA, FL 32702-9023                              13429 N ELMS RD
                                                                                                       CLIO, MI 48420-8230


DONALD R LAYMAN CUST DONALD E LAYMAN               DONALD R LONGENECKER & MARY GENE LONGENECKER TR DONALD R MASON
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             UA 08/01/83 DONALD R LONGENCEKER&               PO BOX 280854
102 AUDREA ST                                      BOX 723                                         KANSAS CITY, MO 64128-0854
MOULTON, AL 35650-6508                             WILSON, WY 83014-0723



DONALD R SMITH & DIANE S SMITH TR                  DONALD R TESLOW CUST BRADFORD C TESLOW              DONALD R VOSS & ELIZABETH E VOSS TR
DONALD R SMITH LIVING TRYST UA 7/17/98             U/THE MISSOURI UNIFORM GIFTS TO MINORS LAW          DONALD F VOSS MARITAL TRUST UA 03/28/96
1506 LOCHMOOR BLVD                                 720 WASHINGTON AVE S                                8655 RED OAK DR
GROSSE POINTE WOOD, MI 48236-4016                  UNIT 423                                            EDEN PRAIRIE, MN 55347-2324
                                                   MINNEAPOLIS, MN 55415-1197


DONALD ROY UDELL & MARY LOUISE UDELL TR            DONALD S BRICKER CUST STUART S BRICKER              DONALD S POLASTRI & GLORIA M POLASTRI TR
DONALD ROY UDELL & MARY LOUISE UDELL REV TR UA     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          POLASTRI FAM TRUST UA 11/02/95
923 S LOS ZAFIROS                                  86 FOREST AVE                                       18058 HUNTER AVE
GREEN VALLEY, AZ 85614-2319                        MASSAPEQUA, NY 11758-7807                           HAYWARD, CA 94541-2215



DONALD SCHAEFFER EHLERS & BRIITA MARIA EHLERS TR   DONALD SCHROEDER & CAROLE SCHROEDER TR              DONALD STEIN
UA 01/11/94 THE EHLER 1994 TRUST                   DONALD & CAROLE SCHROEDER LIVING TRUST UA 10/8/03   11121 HURT CLUB DRIVE
5286 BROPHY DR                                     12465 BURTLEY                                       POTOMAC, MD 20854-2523
FREMONT, CA 94536-7207                             STERLING HEIGHTS, MI 48313-1809



DONALD STEIN & LORETTA M STEIN JT TEN              DONALD SWEIGART CUST ANDREW THOMAS RUST UTMA MO MISSOURI
                                                                                                    DONALD TTRANSFERS
                                                                                                             DAUGHERTY TO& JOAN M DAUGHERTY TR
4119 OAKHURST CIRCLE W                             MIN LAW                                          DONALD T & JOAN M DAUGHERTY REV LIVING TRUST UA
SARASOTA, FL 34233-1438                            6 COTILLION COURT                                06/30/99
                                                   O FALLON, MO 63368                               170 SUSAN DRIVE
                                                                                                    DALLASTOWN, PA 17313-1708
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                            Part 8 of 8 Pg 86 of 440
DONALD T DIEM CUST DONALD T DIEM JR                 DONALD T LOVELL                                  DONALD V GRIFFIN & LAURA L GRIFFIN TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          2326 129TH S E                                   GRIFFIN FAMILY REVOCABLE LIVING TRUST
1521 GREENWICH                                      BELLEVUE, WA 98005-4220                          6086 SODOM HUTCHINGS RD NE
SAGINAW, MI 48602-1849                                                                               FARMDALE, OH 44417-9788



DONALD VAL STROUGH CUST MISS YVONNE MICHELLE POMAGALSKI
                                                  DONALD W BRISTLEY & BETTE J HANSON TR              DONALD W BROWN & BETTY E BROWN TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT           DONALD W BRISTLEY LIVING TRUST UA 03/10/06         DONALD W & BETTY E BROWN REV LIVING TRUST UA
190 EAGLE LANE                                    9701 E 16TH STREET                                 09/12/03
BRENTWOOD, CA 94513-5228                          INDIANAPOLIS, IN 46229-2010                        4196 HI-HILL DR
                                                                                                     LAPEER, MI 48446-2864


DONALD W CARLL & CONSTANCE M CARLL TR               DONALD W CUSHING                                 DONALD W DODSON & JO ANNE DODSON TR
DONALD W CARLL REVOCABLE LIVING TRUST UA 4/21/99    RR # 1 475248 COUNTY RD 11                       UA 12/26/91 DONALD W DODSON 1991 TRUST
16 W 481 TIMBERLAKE DR                              SHELBURNE ON                                     733 S DANIEL WAY
HINSDALE, IL 60521                                  L0N 1S5 CANADA                                   SAN JOSE, CA 95128-3114



DONALD W HAFNER & COLLEEN M HAFNER TR               DONALD W HALE & GWENDOLYN F HALE TR              DONALD W MULVIHILL & DAYLE K MULVIHILL TR
UA 08/26/82 M/B DONALD W HAFNER AND COLLEEN M       DONALD & GWENDOLYN HALE REVOCABLE TRUST UA       MULVIHILL REV FAM TRUST UA 06/05/00
HAFNER                                              12/08/98                                         1400 N WARDMAN DRIVE
6896 15TH AVE NORTH                                 9355 BUELL RD                                    BREA, CA 92821-2033
ST PETERSBURG, FL 33710-5326                        WILLINGTON, MI 48746-9536


DONALD W WINNE CUST DONALD W WINNE JR               DONALD WALDRON CUST BRIAN JOHN WALDRON           DONALD WALDRON CUST CRAIG ARTHUR WALDRON
U/THE NEVADA UNIFORM GIFTS TO MINORS ACT            U/THE IOWA UNIFORM GIFTS TO MINORS ACT           U/THE IOWA UNIFORM GIFTS TO MINORS ACT
210 NORTH IRIS ST                                   BOX 16                                           BOX 16
CARSON CITY, NV 89703-3710                          WINTER PARK, CO 80482-0016                       WINTER PARK, CO 80482-0016



DONALD WALDRON CUST SCOTT ALLEN WALDRON             DONALD WALDRON CUST TODD JAY WALDRON             DONALD WATT CUST GREGORY ALLEN WATT
U/THE IOWA UNIFORM GIFTS TO MINORS ACT              U/THE IOWA UNIFORM GIFTS TO MINORS ACT           A MINOR UNDER THE NEW YORK GIFTS TO MINORS ACT
BOX 16                                              BOX 16                                           33 MARLON LANE
WINTER PARK, CO 80482-0016                          WINTER PARK, CO 80482-0016                       HAUPPAUGE, NY 11788-3004



DONALD WAYNE VIERSTRA II                            DONALD WEINSTEIN & BARBARA WEINSTEIN JT TEN      DONALD WEINSTEIN & BEVERLY PARKER JT TEN
12340 213 ST                                        132 KATHERINES WAY                               PO BOX 74
HAWAIIAN GARDENS, CA 90716-2334                     RAYNHAM, MA 02767-1575                           SONOITA, AZ 85637-0074




DONALD WELTY                                        DONALD Z DOMAGALSKI & CAROLINE L DOMAGALSKI TR   DONALDSON LUFKIN & JENRETTE SECURITIES CORP TR
4392 290TH STREET                                   DOMAGALSKI FAMILY TRUST UA 9/28/99               JOHN W PARSONS JR UA 07/19/95
CLEAR LAKE, IA 50428-8715                           810 ARLINGTON DR                                 2904 LONGSTEET SW
                                                    LANSING, MI 48917-3912                           WYOMING, MI 49509-2924



DONNA A MAYER & DEBRA L GERDES & GLEN S GERDES TR   DONNA EPSTEIN & ALBERT EPSTEIN JT TEN            DONNA G KLOPSTEIN TR
DONNA A MAYER REV TRUST UA 02/18/00                 2906 W MAGNOLIA BLVD                             UA 09/24/1993 SURVIVORS TRUST OF THE KLOPSTEIN
15030 NE ROSE PARKWAY                               BURBANK, CA 91505-3038                           LIVING TRUST
PORTLAND, OR 97230-4523                                                                              5457 TOLTEC DR
                                                                                                     SANTA BARBARA, CA 93111


DONNA M HINDMON & JERRY R HINDMON TR                DONNA M LUCAS CUST H TIM LUCAS                   DONNA M LUCAS CUST LYNN ANN LUCAS
DONNA M HINDMON REVOCABLE TRUST UA 11/21/96         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
5209 ELMS ROAD                                      400 LAKEVIEW CRT APT 12-B                        70 PRINCEWOOD LANE
SWARTZ CREEK, MI 48473-1601                         SPRING LAKE, MI 49456-1747                       PALM BEACH GARDENS, FL 33410-1495
                   09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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DONNA M MUTHERSBAUGH CUST MARK R H MUTHERSBAUGH DONNA M MUTHERSBAUGH CUST SCOTT A MUTHERSBAUGH        DONNA M WILES & ROGER C WILES TR
U/THE OH UNIF TRANSFERS TO MINORS ACT           U/THE OH UNIF TRANSFERS TO MINORSACT                  DONNA M WILES LIVING TRUST UA 11/08/05
2160 CHATFIELD ROAD                             2160 CHATFIELD ROAD                                   208 WOODLAND AVE
CLEVELAND HEIGHTS, OH 44106-3312                CLEVELAND HEIGHTS, OH 44106-3312                      SWANTON, OH 43558-1051



DONNA MARIE CALDERISI TR                          DONNA R TILLMAN                                     DONNA RAE GLISKY
DONNA MARIE CALDERISI REV LIV TRUST UA 06/15/99   8 IMPASSE DU NOYER                                  5806 181ST PLACE SW
5049 W DEVON AVE                                  RULLY 608 10                                        LYNNWOOD, WA 98037-7313
CHICAGO, IL 60646-4253                            FRANCE



DONNA STEINMAN & EVAN STEINMAN JT TEN             DONNA TAGLIAFERRI & CHRISTINE CORREDINE TR          DORA ANN CRAWFORD USUFRUCT GARY E CRAWFORD
5701 COLLINS AVE APT 306                          UA 11/11/91 DONALD A & ANTOINETTE R CAPUTO          & NORRIS A CRAWFORD & SUSAN D WESTBROOK NAKED
MIAMI BEACH, FL 33140                             911 FLOYD AVE                                       OWNERS
                                                  ROME, NY 13440-4501                                 1547 CORA DRIVE
                                                                                                      BATON ROUGE, LA 70815-4318


DORA BERKAN & DAVID WEINSTEIN JT TEN              DORA PEPINO CUST DENNIS PEPINO                      DORCAS A POMBIER
ATTN B PEDOWCIZ                                   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          & EDWARD C POMBIER & MICHAEL K POMBIER & RAND P
158 COTTON ST                                     17555 LAKE VIEW CIR                                 POMBIER &
NEWTONVILLE, MA 02458-2641                        NORTHVILLE, MI 48167-8510                           703 ROOKS RD
                                                                                                      SEFFNER, FL 33584-3956


DOREE T CRONAN CUST CANDACE C CRONAN              DORELLA M WHITEHEAD TR                              DORIS A KLEINBRIEL & JOANN KLEINBRIEL JT TEN
U/THE CONN UNIFORM GIFTS TO MINORS ACT            DORELLA M WHITEHEAD INTER VIVOS TRUST UA 12/28/95   2884 BARNARD RD
34 FILBERT ST                                     43 OLIVER RD                                        SAGINAW, MI 48603-3364
HAMDEN, CT 06517-1312                             BELMONT, MA 02478-4620



DORIS A PHELPS & JAMES A PHELPS TR                DORIS B DE STAFNEY CUST LOUIS F DE STAFNEY          DORIS BRAUN CUST ELIAS STEVE BRAUN
DORIS A PHELPS REV TRUST UA 06/03/04              U/THE DEL UNIFORM GIFTS TO MINORS ACT               A MINOR U/ART 8-A OF THE PERSONAL PROPERTY LAW OF
BOX 684                                           18 CONTINENTAL AVE                                  NY
CIMARRON, KS 67835-0684                           NEWARK, DE 19711-5310                               1538 HEWLETT HEATH RD
                                                                                                      HEWLETT, NY 11557-1703


DORIS C ZARAGOZA                                  DORIS E THORNHILL                                   DORIS EILENSTEIN BREEDLOVE
& JOSEPH G ZARAGOZA & ANNE C ZARAGOZA & PAUL J    PO BOX 720055                                       2911 E 5TH ST
ZARAGOZA &                                        DALLAS, TX 75372-0055                               ANDERSON, IN 46012-3703
25448 E RIVER RD
GROSSE ILE, MI 48138-1857


DORIS EISENBERG                                   DORIS FORGE                                         DORIS J LOOSE TOD EDWIN C LOOSE
PO BOX 270724                                     SUITE 422 580 YATES RD                              & DORIS J LOOSE LIVING TRUST UA 01/25/1995
20 OUTLOOK AVE #302                               KELOWNA BC                                          25696 WISEMAN
WEST HARTFORD, CT 06127                           V1V 2M3 CANADA                                      ROSEVILLE, MI 48066



DORIS J SCHAUER & GEORGE W SCHAUER JR TR          DORIS J VAN SKIVER TR                               DORIS K TURNER TR
DORIS J SCHAUER LIVING TRUST UA 07/27/00          UA 02/23/04 FREDERICK J VAN SKIVER & DORIS J VAN    DORIS K TURNER REVOCABLE INTERVIVOS TRUST UA
6636 CALDERO CT                                   SKIVER LIVING TRUST                                 11/13/00
DAYTON, OH 45415-1542                             15311 HUNTCLIFF                                     3267 CRESTVIEW AVE
                                                  MACOMB, MI 48044                                    LEBANON, OH 45036


DORIS K WEHE CUST DONALD L WEHE                   DORIS KERNER CUST ALYSON J KERNER                   DORIS KERNER CUST PHYLLIS SUE KERNER
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        U/THE N Y UNIFORM GIFTS TO MINORS ACT               A MINOR U/ART 8-A OF THE PERS PROP LAW OF NEW YORK
3725 CHARTER PL                                   20 ACORN LANE                                       20 ACORN LANE
ANN ARBOR, MI 48105-2826                          PLAINVIEW, NY 11803-1902                            PLAINVIEW, NY 11803-1902
                     09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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DORIS KIRKEGAARD & LESTER KIRKEGAARD JT TEN       DORIS LOUELLA CEARFOSS PERSONAL REPRESENTATIVE OF THE
                                                                                                     DORIS
                                                                                                         ESTATE
                                                                                                            LUCILLE
                                                                                                                 OF PERKINS & PHILLIP RAY PERKINS TR
23719 481ST AVE                                   ROBERT K CEARFOSS                                  UA 11/14/05 DORIS LUCILLE PERKINS TRUST
FLANDREAU, SD 57028-6325                          PO BOX 182                                         1016 ALBERT LN
                                                  GREENBACKVILLE, VA 23356-0182                      LEXINGTON, KY 40514



DORIS M BROWN & CAROLYN L CROCKER TR              DORIS M BUNCH & WILLIAM H BUNCH TR                   DORIS M MC FADDEN
UA 03/12/90 DORIS M BROWN & CAROLYN L CROCKER     DORIS M BUNCH LIVING TRUST UA 08/28/96               103521/2 MEDINA RD
1920 W 41ST AVE                                   1000 WILDLIFE LN                                     CLAYTON, MI 49235-9723
KANSAS CITY, KS 66103-3303                        CROWLEY, TX 76036-3932



DORIS M SCHINZ                                    DORIS M VALENTI & DAWN C MCWILLIAMS TR               DORIS S SPINK & GEORGE S SPINK TR
602-1500 ELFORD ST                                UA 07/01/1998 DWINTON O MORGAN REVOCABLE TRUST       SPINK FAMILY REVOCABLE LIVING TRUST UA 12/13/00
VICTORIA BC                                       920 WATERVIEW DR                                     1144 MIFFLIN AVE
V8R 3X8 CANADA                                    CROWNSVILLE, MD 21032                                ASHLAND, OH 44805-2943



DORIS STEIN & RENEE S GOETZ JT TEN                DORIS WEINRYB                                        DOROTHEA E CHEEK & JANET CARMICHAEL TR
770 ANDERSON AVE                                  710 HAZELHURST AVE                                   THE FORREST R CHEEK TRUST UA 3/20/98
APT 8N                                            MERION, PA 19066-1409                                25015 MEDDOWBROOK RD
CLIFFSIDE PK, NJ 07010-2166                                                                            NOVI, MI 48375-2855



DOROTHEA V DEPETRIS TR                            DOROTHEA WEINTRAUB                                   DOROTHY A BERKOWICZ TR
DOROTHEA V DEPETRIS REVOCABLE LIVING TRUST UA     PO BOX 340                                           EDWARD A & DOROTHY A BERKOWICZ TRUST UA 10/18/96
03/07/97                                          CLYMER, NY 14724-0340                                271 SASSAFRASS RIDGE RD
12700 LAKE AVE #909                                                                                    CAMDENTON, MO 65020-5526
LAKEWOOD, OH 44107-1502


DOROTHY A DELANEY & ROBERT F DELANEY TR           DOROTHY A SCHAFFER & PAUL J SCHAFFER TR              DOROTHY A TERRELL
DELANEY FAMILY TRUST UA 01/07/93                  UA 10/4/2007 SCHAFFER FAMILY TRUST                   323 BARFILED DRIVE
551 FRANCES ST                                    113 LARKSPUR TERRACE                                 JACKSON, MS 39212
VENTURA, CA 93003-4650                            BELLEVUE, OH 44811



DOROTHY A WOOD CUST KIMBERLEY A WOOD              DOROTHY A WOOD CUST LEONARD R WOOD                   DOROTHY AGNES MONTGOMERY & DOROTHY RENA WAINSCO
UNDER THE FLORIDA GIFTS TO MINORS ACT             UNDER THE FLORIDA GIFTS TO MINORS ACT                DOROTHY AGNES MONTGOMERY REVOCABLE TRUST UA
323 PLAZA                                         323 PLAZA                                            12/13/05
ATLANTIC BEACH, FL 32233-5441                     ATLANTIC BEACH, FL 32233-5441                        1000 CEDARDALE DR
                                                                                                       OKLAHOMA CITY, OK 73127-5518


DOROTHY ANN ELLIS CUST WILLIAM NAIDEN ELLIS       DOROTHY ANNE CURTICE HARTWELL CUST ANNE BRONSDON HARTWELL
                                                                                                   DOROTHY ANNE WEINSTEIN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE CALIFORNIA U-G-M-A                         MISHOL UZRAD 5/3
6128 CHRISTMAN DR                                 1654 VALMONT                                     JERUSALEM ISR, AL 97277
NORTH OLMSTED, OH 44070-4802                      NEW ORLEANS, LA 70115-4945



DOROTHY B LINDER                                  DOROTHY B MERREY TR                                  DOROTHY E HEINLEIN
& KEITH E LINDER & MARK A LINDER & MELANIE L      UA 02/02/09 DOROTHY B MERREY REVOCABLE LIVING        PO BOX 297
CHANDLER JT TEN                                   TRUST                                                MARDELA SPRINGS, MD 21837-0297
PO BOX 341                                        1554 QUANTE RD
CLEWISTON, FL 33440-0341                          JACKSONVILLE, FL 32211


DOROTHY E RIBARIU & FREDERICK L RIBARIU TR        DOROTHY ELLEN COLLETT TR                             DOROTHY EVELYN MEEHAN & THOMAS HAROLD MEEHAN TR
NICHOLAS RIBARIU JR TRUST UA 10/7/93              UA 05/19/92 DOROTHY ELLEN COLLETT REVOCABLE TRUST    UA 02/05/08 DOROTHY EVELYN MEEHAN LIVING TRUST
7901 STATE RD                                     1199 DIABLO AVE                                      15752 E 1700TH RD
CINCINNATI, OH 45255-2446                         CHICO, CA 95973-7850                                 MARSHALL, IL 62441
                    09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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DOROTHY F EVERITT CUST DAVID WILLIAM EVERITT         DOROTHY F EVERITT CUST LYNN DIANE EVERITT           DOROTHY F EVERITT CUST RICHARD ARTHUR EVERITT
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE MICH UNIFORM GIFTS TO MINORS ACT
3494 TIMBERLINE DR                                   3494 TIMBERLINE DR                                  3494 TIMBERLINE DR
CLYDE, MI 48049-4542                                 CLYDE, MI 48049-4542                                CLYDE, MI 48049-4542



DOROTHY F EVERITT CUST RONALD CHARLES EVERITT        DOROTHY F FRYKLUND & ROBERT E FRYKLUND & MARIA C CORBITT
                                                                                                        DOROTHY
                                                                                                              TR F STEINBERG TR UA 10/19/92 ARTHUR STEINBERG T
U/THE MICH UNIFORM GIFTS TO MINORS ACT               DOROTHY F FRYKLUND TRUST UA                        231 RIDGECREST RD
3494 TIMBERLINE DR                                   4501 ARLINGTON BLVD #809                           DEWITT, NY 13214-1551
CLYDE, MI 48049-4542                                 ARLINGTON, VA 22203-2776



DOROTHY FLANAGAN & JAMES FLANAGAN TR                 DOROTHY FRISCH WALLACE USUF ROBT BRUCE WALLACE III THOMAS
                                                                                                         DOROTHYGEORGE
                                                                                                                  GARTSMAN CUST GARY GARTSMAN
UA 09/18/90 DOROTHY FLANAGAN TRUST                   WALLACE & DOROTHY JANE WALLACE SCHEPS & JOHN        U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
1212 W 69TH TERR                                     JAMES WALLACE                                       9921 SUNSET BLVD
KANSAS CITY, MO 64113-2055                           101 BOCAGE CIR                                      BEVERLY HILLS, CA 90210-3009
                                                     LAFAYETTE, LA 70503-4354


DOROTHY GOLDSTEIN TR                                 DOROTHY GOULD CUST MARC J GOULD                     DOROTHY H JOHNSON TR
DOROTHY GOLDSTEIN PERSONAL PROPERTY REVOCABLE        U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        REVOCABLE LIVING TRUST 06/25/90 U-A DOROTHY H
TRUST UA 07/16/04                                    354 S ARDEN BLVD                                    JOHNSON
9440 POINCIANA PLACE APT 211                         LOS ANGELES, CA 90020-4734                          1536 MCFARLAND RD
FT LAUDERDALE, FL 33324-4862                                                                             JUNCTION CITY, KS 66441-3310


DOROTHY H KASE DANIEL B KASE JR & WALTER Y ANTHONY TRDOROTHY H SEITH & CHARLES L W SEITH TR              DOROTHY H WILLIAMS TR
TRUST U-W OF JAMES B KASE                            SEITH FAM REVOCABLE LIVING TRUSTUA 09/22/97         DOROTHY H WILLIAMS REVOCABLE LIVING TRUST UA
202 WELLINGTON 1361 BOOT RD                          2267 14TH ST                                        06/12/95
WEST CHESTER, PA 19380-5732                          CUYAHOGA FLS, OH 44223-2452                         3250 QUICK RD
                                                                                                         HOLLY, MI 48442-1099


DOROTHY HILL EVANS CUST DIANE EVANS                  DOROTHY HISER                                       DOROTHY I CHALLAND TR UA 12/04/81 DOROTHY I CHALLAND T
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           & DOUGLAS E HISER & PATRICIA A WHEELER & JILL A     PO BOX 336
PO BOX 73                                            HARRIGAN JT TEN                                     LELAND, IL 60531-0336
WILMETTE, IL 60091-0073                              106 E BENNETT ST
                                                     SALINE, MI 48176-1255


DOROTHY I COOPER                                     DOROTHY J CHENAULT & THEODORE L CHENAULT TR         DOROTHY J DUNLAY & JOHN B DUNLAY TR
PO BOX 292424                                        UA 01/27/92 THE DOROTHY J CHENAULT TRUST            DOROTHY J DUNLAY LIVING TRUST UA 11/03/95
KETTERING, OH 45429-0424                             273 AMANDA CT                                       27 SHERMAN BRIDGE RD
                                                     OREGON CITY, OR 97045-3467                          WAYLAND, MA 01778



DOROTHY J KIKOLER & DAVID J KIKOLER TR               DOROTHY J ROGERS TR                                 DOROTHY JEAN WOLFENBARGER
THE SIGMUND KIKOLER INTERVIVOS TRUST UA              UA 06/20/94 THE DOROTHY J ROGERS REVOCABLE LIVING   & DONNA JEANNE KRELLER & DEBORAH ANN
2746 NORMA CT                                        TRUST                                               WOLFENBARGER JT TEN
GLENVIEW, IL 60025-4661                              30084 MIRAGE CT                                     417 SANTA CLARA AVE
                                                     WARREN, MI 48093-2587                               SANTA ANA, CA 92706


DOROTHY JOANNE HAFNER & LEO A HAFNER TR              DOROTHY L BREEDLOVE TR                              DOROTHY L GARDNER
JOINT REVOCABLE LIVING TRUST UA 03/05/01             EVOL BUSINESS ORGANIZATION BUSINESS TRUST UA        9020 SCHANTZ RD
11638 LOMBARDY COURT                                 05/10/94                                            BREINIGSVILLE, PA 18031-1845
PINCKNEY, MI 48169-9504                              319 SEWARD ST
                                                     SITKA, AK 99835-7524


DOROTHY L LEE                                        DOROTHY L STEIN & ROBERT M STEIN TR                 DOROTHY M AUSTIN
PO BOX 430876                                        ROBERT & DOROTHY STEIN LIVING TRUST UA 3/01/99      PO BOX 190198
PONTIAC, MI 48343-0876                               25032 SANORIA                                       BURTON, MI 48519-0198
                                                     LAGUNA NIGUEL, CA 92677-8812
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                             Part 8 of 8 Pg 90 of 440
DOROTHY M BOURKE & ROBERT ALAN BOURKE TR             DOROTHY M ESSER                                      DOROTHY M HARRIS & MILTON HARRIS TR
RESIDUE TRUST U/W VICTOR KREPS BOURKE UA 3/04/00     1106 108TH AVE NE #401                               DOROTHY M HARRIS LIVING TRUST UA04/19/95
10479 BIG CANOE                                      BELLEVUE, WA 98004-8609                              308 DELAWARE AVE MC DANIEL CREST
BIG CANOE, GA 30143-5126                                                                                  WILMINGTON, DE 19803-2581



DOROTHY M HOPKINS CUST LYNN HOPKINS                  DOROTHY M HOPKINS CUST WILLIAM M HOPKINS             DOROTHY M MUELLER & PAUL H MUELLER TR
U/THE IOWA UNIFORM GIFTS TO MINORS ACT               U/THE IOWA UNIFORM GIFTS TO MINORS ACT               UA 04/08/00 DOROTHY M MUELLER LIVING TRUST
45 MUNROE RD                                         1201 46TH ST                                         1721 MILTON LANE
LEXINGTON, MA 02421-7823                             DES MOINES, IA 50311-2424                            WHEATON, IL 60189-7421



DOROTHY M SHERK                                      DOROTHY M STORDAHL & CALMER M STORDAHL JR TR         DOROTHY M TERRY
& KATHLEEN VITOVICH & KAREN SHELTON & KEITH SHERK    UA 09/17/2002 STORDAHL LIVING TRUST                  & RONDA PRUS & MARGO GOLEMBIEWISKI & LARRY TERRY
JT TEN                                               948 NW OAKMONT COURT                                 JT TEN
6173 WILLOW SPRINGS                                  MCMINNVILLE, OR 97128                                875 STACEWOOD
WHITE LAKE, MI 48383-3555                                                                                 BEAUMONT, TX 77706-5443


DOROTHY MAROLF OPFER TR                              DOROTHY MARY CYREK                                   DOROTHY MAY NONNWEILER & NANCY LEE IRSFELD TR
REVOCABLE TR UA 06/19/86 DOROTHY MAROLF OPFER TR     463 LEIN RD                                          WILLIS I NONNWEILER TR UA 10/12/77
4111 N W 74TH COURT                                  W SENECA, NY 14224-2413                              1754 MAPLE LANE
KANSAS CITY, MO 64151-4240                                                                                ROSEVILLE, MN 55113



DOROTHY MELLEIN LA PATA                              DOROTHY N ISHIDA CUST LORRIE ANN ISHIDA              DOROTHY POLLARD
119 BRINKER ST                                       U/THE HAWAII UNIFORM GIFTS TO MINORS ACT             11305 172ND PLACE NORTH
BELLEVUE, OH 44811-1503                              PO BOX 7                                             JUPITER, FL 33478-5317
                                                     KOLOA KAUAI, HI 96756-0007



DOROTHY R SEELYE & DOUGLAS R SEELYE TR               DOROTHY R STEPHENS ERNEST L STEPHENS 3RD & SHIRLEY SDOROTHY
                                                                                                          TERPSTRAR TRSTEWART & DENISE REU STEWART JT TEN
HAROLD M SEELYE TRUST UA 03/05/86                    UW ERNEST L STEPHENS JR                             2409 E 3800 N
8905 EAST D AVE BOX 126                              1400 RIDGE AVE APT 206                              FILER, ID 83328-5517
RICHLAND, MI 49083-0126                              READING, PA 19607-1479



DOROTHY R YOUNG & CHARLES M YOUNG JR TR              DOROTHY S TANNER CUST PAMELA THEA TANNER             DOROTHY S TANNER CUST WILLIAM LADD TANNER
DOROTHY RUTH YOUNG TRUST UA 10/19/95                 U/THE UTAH UNIFORM GIFTS TO MINORS ACT               U/THE UTAH UNIFORM GIFTS TO MINORS ACT
268 ROSS COURT                                       PO BOX 447                                           PO BOX 1234
CLAREMONT, CA 91711-3130                             MOAB, UT 84532-0447                                  VALDEZ, AK 99686-1234



DOROTHY SEIDENWAND                                   DOROTHY STEINHAUS                                    DOROTHY SUE TAYLOR
13 A HOMESTEAD DRIVE                                 17543 102ND AVE NE                                   & JOANN KAREN PODLESKI & CHRISTOPHER SCOTT
WHITING, NJ 08759-1932                               APT B123                                             PODLESKI JT TEN
                                                     BOTHELL, WA 98011-3795                               1480 WESTBURY DRIVE
                                                                                                          DAVISON, MI 48423-8352


DOROTHY T HEINTZELMAN                                DOROTHY TROMBLEY                                     DOROTHY V COLAPIETRO EX EST SUSAN G COLAPIETRO
28125 ROY AVE                                        & ROBERT TROMBLEY & MAUREEN TROMBLEY & BARBARA       PO BOX 320283
ST CLAIR SHORES, MI 48081-1631                       ULBRICH JT TEN                                       SAN FRANCISCO, CA 94132
                                                     265 HUTTON
                                                     NORTHVILLE, MI 48167-1211


DOROTHY V TEIXEIRA TR                                DOROTHY V URBANCIC & WILLIAM M URBANCIC TR           DOROTHY W JOHNSTON TR
UA 08/05/94 THE DOROTHY V TEIXEIRA REVOCABLE TRUST   DOROTHY V URBANCIC LIVING TRUST UA 09/06/94          DOROTHY W JOHNSTON REVOCABLE LIVING TRUST UA
35 SHERIDAN ST                                       274 E 257 ST                                         11/22/99
SOUTH DARTMOUTH, MA 02748-2518                       EUCLID, OH 44132-1048                                955 S EL CAMINO REAL
                                                                                                          SAN MATEO, CA 94402-2346
                   09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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DORRIS B WINTER CUST JULIUS B WINTER               DOSTER L MCMULLEN                                   DOUGLAS A DARCH CUST THEODORE EDWARD DARCH
U/THE ALABAMA UNIFORM GIFTS TO MINORS ACT          PO BOX 020822                                       U/THE N C UNIFORM GIFTS TO MINORS ACT
3212 11TH AVE                                      TUSCALOOSA, AL 35402-0822                           1096 MCLYNN AVE
PHENIX CITY, AL 36867-3209                                                                             ATLANTA, GA 30306-3347



DOUGLAS ALAN BROWN PERSONAL REPRESENTATIVE OF THE DOUGLAS
                                                  ESTATE OFB GREGOR
                                                             BERNSTEIN                                 DOUGLAS B COPAS
ERIC BROWN                                        8383 COLLEGE TRAIL                                   1009 165TH PL NE
1741 JARVIS ST                                    INVER GROVE HEIGHT, MN 55076-3201                    BELLEVUE, WA 98008-3734
FERNDALE, MI 48220-2067



DOUGLAS C LAYMAN TR                                DOUGLAS C LYALL & PATRICIA A LYALL TR               DOUGLAS C TREAIS & MARY ANN TREAIS TR
DOUGLAS C & LEILA LAYMAN REVOCABLE TRUST UA        DOUGLAS & PATRICIA LYALL ESTATE TRUST UA 02/14/95   UA 11/08/93 DOUGLAS C TREAIS & MARY ANN TREAIS LIVING
11/02/82 AMENDED 10/26/90                          26633 S BRANCHWOOD CRT                              TRUST
1620 INDIAN SCHOOL RD NE                           SUN LAKES, AZ 85248-9250                            320 WOODSIDE CIR
APT 242                                                                                                CADILLAC, MI 49601-8293
ALBUQUERQUE, NM 87102-1750

DOUGLAS D SKINNER & ETHYLE L SKINNER TR            DOUGLAS E WALKER                                    DOUGLAS F HAMMOND & RUBY W HAMMOND TR
DOUGLAS D & ETHYLE L SKINNER TRUST UA 11/28/03     PO BOX 430904                                       UA 01/12/94 DOUGLAS F HAMMOND & RUBY W HAMMOND
2173 S CENTER RD APT 245                           PONTIAC, MI 48343-0904                              REV JOINT TR
BURTON, MI 48519-1808                                                                                  19412 SANDY SPRINGS CIR
                                                                                                       LUTZ, FL 33558


DOUGLAS FEINBERG & RITA FEINBERG TR                DOUGLAS FERRER                                      DOUGLAS G VAN TREECK & MARIE ELENA VAN TREECK TR
UA 10/19/2007 FEINBERG LIVING TRUST                231 174TH STREET                                    VAN TREECK LIVING TRUST UA 01/14/04
15 FOX LN                                          BLDG #400 WINSTON TOWERS                            345 LITTLE WASHOE DR
DIX HILLS, NY 11746                                APT 512                                             CARSON CITY, NV 89704-8513
                                                   SUNNY ISLES BEACH, FL 33160


DOUGLAS G WOLFANGLE & MRS BETTY K WOLFANGLE JT TEN DOUGLAS H FRICKE CUST DENNIS L FRICKE               DOUGLAS I SOUTER
837 HEINEL DR                                      U/THE MICH UNIFORM GIFTS TO MINORS ACT              8582-146 A ST
ST PAUL, MN 55113-2124                             134 KIRTLAND S W                                    SURREY BC
                                                   GRAND RAPIDS, MI 49507-2929                         V3S 6N7 CANADA



DOUGLAS J COOK CUST WILLIAM JOSEPH COOK            DOUGLAS J SEIP & CHARLOTTE S SEIP TR                DOUGLAS J STOKES
U/THE ILL UNIFORM GIFTS TO MINORS ACT              SEIP LTD PROFIT SHARING PLAN UA 05/01/94            4321 155TH ST E
1704 E OAK STREET PO BOX 426                       4132 SO RAINBOW BLVD #315                           FARIBAULT, MN 55021-7909
MAHOMET, IL 61853-0426                             LAS VEGAS, NV 89103-3106



DOUGLAS J WECKSTEIN                                DOUGLAS K ANDERSON                                  DOUGLAS L BENDLE
11 TIMMINS RD                                      11020 227TH AVE SE                                  BOX 100333
BOW, NH 03304-4208                                 MONROE, WA 98272-7778                               NASHVILLE, TN 37210




DOUGLAS L ROLFSRUD & DEBBIE ROLFSRUD JT TEN        DOUGLAS M FOLEY & KAREN E FOLEY JT TEN              DOUGLAS M HEINS
4051 119TH AVE NW                                  11817 108TH CT N                                    404 GARDEN RD
WATFORD CITY, ND 58854-9671                        LARGO, FL 33778-3618                                AMES, IA 50010-8522




DOUGLAS M SAXE CUST KATHARINE E SAXE               DOUGLAS MACMILLAN JR                                DOUGLAS P CARDLE & NANCY L CARDLE TR
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT         P O BOX 861747                                      UA 12/30/87 DOUGLAS P CARDLE & NANCY L CARDLE TRUST
12851 STONE EAGLE RD                               LOS ANGELES, CA 90086                               3863 STEINER AVE
PHOENIX, MD 21131-2307                                                                                 TRENTON, MI 48183-3990
                   09-50026-mg             Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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DOUGLAS W EASTWOOD CUST ROBERT D EASTWOOD              DOUGLAS W WOODS                                   DOUGLASS WHITE CUST JAY D WHITE
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT             542 130TH ST                                      U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
3120 KENSINGTON RD                                     AVON, IL 61415-9292                               1158 CARDINAL TRL
CLEVELAND HEIGHTS, OH 44118-3542                                                                         COLUMBIA, TN 38401-7713



DOYLE VANN                                             DOYLE W CURTIS & JOYCE A CURTIS TR                DRAKE ELLIS & JENNY M ELLIS TR
PO BOX 188223                                          UA 06/15/05 DOYLE W CURTIS & JOYCE A CURTIS JT    UA 10/03/07 DRAKE & JENNY ELLIS REVOCABLE
ERLANGER, KY 41018-8223                                1780 W SQUIRE'S LANDING                           1289 VALLEYVIEW DR
                                                       ROCHELLE, IL 61068-1044                           BOARDMAN, OH 44512



DRILLERS PRODUCTION CO                                 DRILLERS PRODUCTION CO INC                        DUANE ALLEN GRIMSMAN TR
ATTN JACK STEWART                                      PO BOX 783070                                     UA 07/08/1993 GRIMSMAN FAMILY REVOCABLE LIVING
P O BOX 783070                                         WICHITA, KS 67278                                 TRUST
WICHITA, KS 67278-3070                                                                                   6320 CHESTNUT AVE
                                                                                                         ORANGEVALE, CA 95662


DUANE C GUEST & GLORIA M GUEST TR                      DUANE D ENGEL                                     DUANE D ENGEL & JUDITH K ENGEL JT TEN
DUANE C GUEST & GLORIA M GUEST JOINT TRUST UA          30341 STEINMAIER RD                               30341 STEINMAIER RD
05/01/96                                               DEFIANCE, OH 43512-6949                           DEFIANCE, OH 43512-6949
7111 E CARPENTER RD
DAVISON, MI 48423-8958


DUANE E DAUGHERTY CUST BONNIE BELLE DAUGHERTY          DUANE E HOEFT & BEVERLY J HOEFT TR                DUANE E HORROCKS
A MINOR PURS TO SECS 1339/26 INCL REV CODE OF OH       DUANE E HOEFT & BEVERLY J HOEFT REVOCABLE TRUST   PMB F312578
C/O B B WOOLER                                         UA 01/13/00                                       3590 ROUND BOTTOM RD
3330 TOD AVE NW                                        8800 EAST ARNOLD LAKE RD                          CINCINATTI, OH 45244-3026
WARREN, OH 44485-1359                                  HARRISON, MI 48625-9689


DUANE G AMOS & CAROL R AMOS TR                         DUANE H ERICSON & MARJORIE G ERICSON TR           DUANE L MAUPIN SR & ANNICE FAYE MAUPIN TR
DUANE G AMOS & CAROL R AMOS TRUST UA 4/28/98           UA 09/20/93 DUANE ERICSON & MARJORIE              MAUPIN FAMILY TRUST UA 03/03/04
109 S KERBY RD                                         5817 RANCH VIEW RD                                6007 BLENDON CHASE DR
CORUNNA, MI 48817-9767                                 OCEANSIDE, CA 92057-4911                          WESTERVILLE, OH 43081-8663



DUANE M TAYLOR & HAZEL L TAYLOR TR                     DUANE P IVERSON & JOAN E IVERSON TR               DUANE S STROHSCHEIN
THE DUANE M TAYLOR REV TRUST UA 01/21/94               DUANE P & JOAN E IVERSON FAMILY LIVING TRUST UA   4434 MIDLAND
164 KALAMA PLACE MOLAKAI                               01/19/00                                          WATERFORD, MI 48329-1833
LEESBURG, FL 34788-7994                                10516 HANKERD ROAD
                                                       PLEASANT LAKE, MI 49272-9302


DUDREY N STEEL CUST ERIC B STEEL                       DUDREY N STEEL CUST ERIE B STEEL                  DUFFY B SULLIVAN & NANCY J SULLIVAN TR
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT             U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT        THE SULLIVAN FAMILY TRUST UA 07/03/93
1 WYNGATE DR APT 121                                   1 WYNGATE DR APT 121                              934 PENINSULA AVE 205
PARKERSBURG, WV 26105-7672                             PARKERSBURG, WV 26105-7672                        SAN MATEO, CA 94030-2238



DUROC SAINTELLUS                                       DUSTIN LEINGANG & JENNIFER LEINGANG JT TEN        DWAIN A LEWIS & ADELINE S LEWIS TR
9127 211TH ST                                          4283 W 133RD ST                                   UA 10/28/92 DWAIN A LEWIS & ADELINE S LEWIS JOINT
QUEENS VILLAGE, NY 11428-1028                          SAVAGE, MN 55378                                  TRUST
                                                                                                         5855 MONROE RD
                                                                                                         VENICE, FL 34293-6818


DWIGHT E PITMAN TR                                     DWIGHT L JOHNSON CUST L ERIC JOHNSON              DWIGHT M EDMONDS CUST RODNEY L EDMONDS
UA 01/31/2005 DWIGHT E PITMAN REVOCABLE LIVING TRUST   U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT      U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT
4101 W ILES AVE APT 126                                45 COLUMBINE RD                                   1085 WYNDEMERE CIR
SPRINGFIELD, IL 62711                                  MILTON, MA 02186-1722                             LONGMONT, CO 80501-2321
                   09-50026-mg            Doc 7123-50            Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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DWIGHT M MCGUIRE & NITA P MCGUIRE TR                    E C BOITEL JR & D A BOITEL TR                        E C GOLDSTEIN CUST CARLA GOLDSTEIN A MINOR U/THE LAW
UA 01/26/90 DWIGHT M MCGUIRE & ANNITA P MCGUIRE         EARL C BOITEL & DOLORES A BOITEL LIVING TRUST UA     ATTN CARLA TORKELSON
TRUST                                                   09/26/94                                             6461 DOVE DR
5024 HIDDEN CREEK LANE                                  2253 CEDAR POINT RD                                  LOGANVILLE, GA 30052-3033
FAIR OAKS, CA 95628-4111                                SANDUSKY, OH 44870-5212


E K SMITH CUST MARTA H SMITH                            E LOUISE BERNSTEIN CUST MARY C BERNSTEIN UGMA NC     E LYNDEN WATKINS II CUST E LYNDEN WATKINS III
A MINOR PURSUANTTO SEC 1339 19-TO 1339 26-INCLUSIVE     5701 LAURIUM RD                                      U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
OF                                                      CHARLOTTE, NC 28226-5613                             702 GOLF CREST LN
30820 SHAKER BLVD                                                                                            AUSTIN, TX 78734-4640
PEPPER PIKE, OH 44124-5141


E MARIE MCMASTER & WILLIAM L MCMASTER TR                E MUNROE HAWKINS & JUANITA D HAWKINS TR              E PHILIP A SIMPSON JR TR
E MARIE MCMASTER LIVING TRUST UA 04/11/94               UA 12/16/92 THE E MUNROE HAWKINS& JUANITA D          E PHILIP A SIMPSON JR 2005 REVOCABLE TRUST 11/04/05
11415 SOUTH DRAKE ST                                    107 CONY ST                                          PO BOX 203
CHICAGO, IL 60655-3518                                  FARMINGTON, ME 04938-5904                            PLYMOUTH, NH 03264-0203



E S LEINBACH                                            E W REINHARDT & MRS NANCY L REINHARDT JT TEN         EARL & DOROTHY WHIRLS TR
410 VINEYARD DR                                         320 N JACKSON                                        UA 02/08/93 EARL R WHIRLS & DOROTHY W WHIRLS TRUST
SALISBURY, NC 28146-7305                                BAY CITY, MI 48708-6422                              2484 MARDEL CT
                                                                                                             HAMILTON, OH 45014-5937



EARL A KUHN & BERNICE A KUHN TR                         EARL BRYANT & MARJORIE BRYANT TR                     EARL EGBERT & MARY EGBERT TR
EARL A KUHN & BERNICE A KUHN LIVING TRUST UA 02/29/96   EARL & MARJORIE BRYANT TRUST UA 11/13/02             EARL EGBERT & MARY EGBERT TRUST UA 05/23/94
402 LEE ST                                              1263 TURRILL RD                                      8675 W SAPPHIRE AVE
RED OAK, TX 75154-2334                                  LAPEER, MI 48446-3722                                LAKE CITY, MI 49651-8636



EARL F PRIESKORN & JEAN L PRIESKORN TR                  EARL G MEADOR                                        EARL J CHOWNING & WANDA L CHOWNING TR
EARL F PRIESKORN & JEAN L PRIESKORN                     C/O JACK LEE MEADOR                                  CHOWNING FAM REV TRUST UA 05/04/01
2661 PINE HTS DR                                        PO BOX 42                                            8746 STATE RTE 123
WEST BLOOMFIELD, MI 48324-1924                          EINENCE, IN 46125-0042                               BLANCHESTER, OH 45107



EARL J DANNER & M ARAZELLA DANNER TR                    EARL J DANNER & M ARZELLA DANNER TR U/D/T 05-13-87   EARL J SEDAM
05/13/87 EARL J DANNER & M ARAZELLA DANNER              6700 150TH AVE N                                     PO BOX 300483
6700 150TH AVE N                                        LOT 710                                              DRAYTON PLNS, MI 48330-0483
LOT 710                                                 CLEARWATER, FL 33764-7704
CLEARWATER, FL 33764-7704


EARL JAMES PARKER & DENNIS JAMES PARKER TR              EARL KERSHAW                                         EARL P CLEVELAND TR
UA 05/19/05 THE EARL J PARKER & BERLENE M               9519 132ND ST                                        UA 04/15/1992 EARL P CLEVELAND & JANET K CLEVELAND
19171 GRASS LAKE RD                                     SOUTH RICHMOND HILL, NY 11419-1623                   TRUST
HILLMAN, MI 49746                                                                                            7310 ROSEWOOD
                                                                                                             PRAIRIE VLG, KS 66208


EARL R CAMPBELL & M LOUISE CAMPBELL TR                  EARL R CAMPBELL & M LOUISE CAMPBELL TR               EARL R MASSON & HELEN MASSON TR
CAMPBELL LIVING TRUST UA 05/28/96                       CAMPBELL LIVING TRUST UA 05/28/96                    EARL R & HELEN MASSON LIVING TRUST UA 09/09/92
7749 WAVERLY MOUNTAIN                                   7749 WAVERLY MOUNTAIN                                4 N JOYCEELLEN
LITTLETON, CO 80127-3921                                LITTLETON, CO 80127-3921                             SAINT PETERS, MO 63376-1204



EARL WILLIAM BUFFEY & MARY E BUFFEY TR                  EARL WILLIAM VOSS CUST ROBERT WILLIAM VOSS           EARLE W DAVIE CUST JAMES W DAVIE
EARL WILLIAM BUFFEY & MARY E BUFFEY JOINT TRUST UA      U/THE PA UNIFORM GIFTS TO MINORS ACT                 U/THE WASH UNIFORM GIFTS TO MINORS ACT
02/27/95                                                1028 DUVEGAN ROAD                                    9010 NE 22ND PL
2445 SECLUDED LN                                        WEST CHESTER, PA 19382-7102                          BELLEVUE, WA 98004-2432
FLINT, MI 48507-3831
                       09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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EARLE W DAVIE CUST JOHN E DAVIE                      EARLE W DAVIE CUST KAREN A DAVIE                  EARMIA A GANGLUFF & KAREN LIPOVSKY TR
U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT         U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT      EARMIA A GANGLUFF TRUST UA 08/26/03
9010 NE 22ND PL                                      9010 NE 22ND PL                                   6740 N EBERHART AVE
BELLEVUE, WA 98004-2432                              BELLEVUE, WA 98004-2432                           HARRISON, MI 48625-8832



EAST GATE CHAPTER #367 OES                           EBER G MORGAN & HELEN LOUISE MORGAN TR            EDDIE C SMITH & SHIRLEY J SMITH & ALISON LEIGH OVERBAY
C/O DARLEEN NEWBERRY                                 UA 07/25/2008 EBER G & HELEN LOUISE MORGAN        EDDIE C & SHIRLEY J SMITH TRUST UA 07/02/96
701 NE NOELEEN LANE                                  2504 EAST ST RD 18                                2718 SOUTH PICKARD
LEES SUMMIT, MO 64086                                GALVESTON, IN 46932                               NORMAN, OK 73072-6924



EDDIE L BOOTH                                        EDDIE L JUE & CATHERINE Q JUE JT TEN              EDGAR C BAXTER CUST TOM S BAXTER
PO BOX 310131                                        4813 132ND ST                                     U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
FLINT, MI 48531-0131                                 HAWTHORNE, CA 90250-5040                          602 DUDLEY WAY
                                                                                                       SACRAMENTO, CA 95818-2115



EDGAR C GOLDSTEIN CUST PEARL V GOLDSTEIN A MINOR U/THE
                                                     EDGAR
                                                       LAWSDOFROSS
                                                                GEORGIA
                                                                   CUST EDGAR D ROSS JR                EDGAR HEINSOHN CUST HEIDI H HEINSOHN UGMA TX
2186 BOHLER RD NW                                    U/THE CAL UNIFORM GIFTS TO MINORS ACT             1560 FM 109
ATLANTA, GA 30327-1136                               101 SAN AUGUSTINE WAY                             NEW ULM, TX 78950
                                                     APT 2
                                                     SCOTTS VALLEY, CA 95066-3430


EDGAR M GOBER CUST EDGAR M GOBER 4TH                 EDITH A FOGLIANO                                  EDITH A SWANSON
U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT          530 PINE ST                                       BOX 893077
400 UNIVERSITY PARK DR APT 314                       PO BOX 772655                                     OKLAHOMA CITY, OK 73189-3077
BIRMINGHAM, AL 35209-6783                            STEAMBOAT SPRINGS, CO 80477-2655



EDITH C COLLINS & JOHN FRANCIS COLLINS II TR         EDITH E CANFIELD & ELIZABETH C CANFIELD TR        EDITH FEINGOLD
UA 03/06/09 EDITH C COLLINS 2009 TRUST               UA 01/09/91 EDITH E CANFIELD                      1 REGENCY PLAZA
7207 SUNCREEK WAY                                    8117 S 86TH EAST AVE                              APT 611
ORANGEVALE, CA 95662-2435                            TULSA, OK 74113-8014                              PROVIDENCE, RI 02903-3134



EDITH GOLDIE KANTZLER CUST MICHELLE DAVIDA KANTZLER EDITH L DOUGLAS & JOHN O DOUGLAS & CHARLENE M PORTEREDITH
                                                                                                         TR MENTLE & HENRY P MENTLE & IRIS R SCHORNSTEIN TR
U/THE FLORIDA GIFTS TO MINORS ACT                   UA 12/16/83 EDITH L DOUGLAS                         75 82 183RD STREET
1611 W SANDPOINTE PL                                14019 MITCHEL COURT                                 FRESH MEADOWS, NY 11366
VERO BEACH, FL 32963                                BASEHOR, KS 66007-5150



EDITH R FILER                                        EDITH R MOSS                                      EDMOND G THOMPSON & JUDITH ANN THOMPSON TR
30 CLINTON AVE N                                     PO BOX 350471                                     SYNERGY CAPITAL CORP EMPLOYEES PENS PLN
ROCHESTER, NY 14604-1404                             PALM COAST, FL 32135-0471                         PO BOX 1115
                                                                                                       PALOS VERDES ESTS, CA 90274-7915



EDMOND G THOMPSON TR                                 EDMOND O MARLOW & MARGUERITE M MARLOW TR          EDMUND C KATASKAS CUST LEONARD R KATASKAS
SUNERGY CAPITAL CORPORATION EMPLOYEES PENSION        E O MARLOW FAM LIVING TRUST UA 03/18/96           U/THE N Y UNIFORM GIFTS TO MINORS ACT
PLAN 07/31/80                                        1992 GUNSTOCK DR                                  2055 COUNTY ROAD #43
573 VIA DEL MONTE                                    STONE MOUNTAIN, GA 30087-1617                     CLIFTON SPRINGS, NY 14432-9358
PALOS VERDES ESTS, CA 90274-1205


EDMUND E CROWELL & ANN CROWELL TR                    EDMUND GOLOMB JR CUST EDMUND GOLOMB 3RD           EDMUND HEINZ
EDMUND E CROWELL LIVING TRUST UA 12/05/94            U/THE PA UNIFORM GIFTS TO MINORS ACT              6044 OLD HICKORY DR
215 WESTMORELAND ST                                  49 BULL FARM RD                                   BAY CITY, MI 48706-9068
COLLINSVILLE, IL 62234-2961                          NESCOPECK, PA 18635-2113
                    09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 95 of 440
EDMUND J MOROZ & MARGARET M MOROZ TR               EDMUND J ROBERGE                                   EDMUND L FINCH & JOAN M FINCH TR
MOROZ SELF-TRUSTEED LIVING REV TRUST UA 10/20/99   & BEVERLY J ROBERGE JT TEN TOD KAREN BRADFORD      EDMUND L & JOAN M FINCH TRUST UA 08/30/94
1208 TANGLEWOOD                                    SUBJECT TO STA TOD RULES                           3579 FAIRWAY FOREST DR
ST HELEN, MI 48656-9536                            4605 ARGYLE PLACE                                  PALM HARBOR, FL 34685-1003
                                                   LAKELAND, FL 33801-0537


EDMUND L STELMACH & BEULAH R STELMACH TR           EDMUND M KROL & DIANE A KROL TR                    EDMUND O SPILLER CUST EDMUND O SPILLER JR
STELMACH FAMILY TRUST UA 10/23/02                  EDMUND & DIANE KROL LIV TRUST UA 7/6/00            A MINOR U/THE LA GIFTS TO MINORS ACT
119 PINE AVE                                       63590 MOUND RD                                     1319 S ELM ST
ST CLAIRSVLE, OH 43950-9738                        WASHINGTON, MI 48095-2303                          HAMMOND, LA 70403-6201



EDMUND TATE                                        EDMUND W HOWENSTEIN SR TR EDMIND W HOWENSTEIN SR TRUST
                                                                                                     EDMUNDUA 08/29/00
                                                                                                              W WHITE CUST WILLIAM C WHITE
PO BOX 140538                                      5139 CHOCTAW AVE                                  U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
GRAND RAPIDS, MI 49514-0538                        PENSACOLA, FL 32507-8712                          3121 QUARTET LANE
                                                                                                     SILVERSPRING, MD 20904-6824



EDNA B PLATZ & LOIS P BECK & JOANNE M PLATZ TR     EDNA DAMBROSIO & ROBERT A DAMBROSIO TR             EDNA L FRASER & ANDREW L FRASER TR
ALBERT R PLATZ TRUST UA 10/8/99                    BOB DAMBROSIO & EDNA DAMBROSIO TRUST UA 02/18/87   EDNA L FRASER REVOCABLE TRUST UA 11/16/04
702 SANDY COVE                                     PO BOX 1224                                        6278 SOUTH ELMS RD
TINTON FALLS, NJ 07753-7750                        CARMEL, CA 93921-1224                              SWARTZ CREEK, MI 48473-9400



EDNA LEE S SMITH & KEITH W SMITH TR                EDNA M GRAHAM CUST FRANCIS NELSON GRAHAM JR        EDNA M GRAHAM CUST JUDITH ANNE GRAHAM
BILLY O SMITH FAMILY TRUST UA 11/14/96             U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
7976 IDOLS RD                                      12901 RIVER HILLS DRIVE                            8 MASONIC AVE APT 16
CLEMMONS, NC 27012-8739                            MIDLOTHIAN, VA 23113-3625                          CAMDEN, NY 13316-1248



EDNA M LUBBE CUST DEBRA K LUBBE                    EDNA M WEINHOLTZ                                   EDNA P GINGRAS CUST RICHARD L GINGRAS
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       286 WESTFALL DRIVE                                 U/THE R I UNIFORM GIFTS TO MINORS ACT
3200 LINDSAY RD                                    TONAWANDA, NY 14150-7152                           546 COVINGTON RD
EVERSON, WA 98247-9246                                                                                LOS ALTOS, CA 94024-4806



EDNA P WOOD CUST JOHN EVERETT WOOD                 EDNA REAVES PER REP RHONDA REAVES WILLIAMSON PER REP
                                                                                                      EDNA
                                                                                                        ESTVROBERT
                                                                                                             WILLIS CUST RICHARD M WILLIS
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT         SHANNON                                            U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
PO BOX 90666                                       24669 LAFAYETTE CIR                                127 LAKE DRIVE
ALBUQVORQVE, NM 87199-0666                         SOUTHFIELD, MI 48075                               SMYRNA, DE 19977-1318



EDTHE W ARTHUR & ROBERT K ARTHUR TR                EDUARDO I VASQUEZ                                  EDUARDO MUNOZ
EDTHE W & ROBERT K ARTHUR REVOCABLE                PO BOX 690241                                      # M-483
229 FRANKFORT SQ                                   EAST ELMHURST, NY 11369                            PO BOX 020010
COLUMBUS, OH 43206-1059                                                                               MIAMI, FL 33102-0010



EDWARD A COPPENGER & DORIS J COPPENGER TR          EDWARD A FOLEY                                     EDWARD A JERAWSKI & JOYCE C JERAWSKI TR
COPPENGER REVOCABLE TRUST UA 8/24/00               4410 285TH STREET                                  JERAWSKI LIVING TRUST UA 10/06/05
3605 CLEVELAND AVE                                 TOLEDO, OH 43611-1911                              32556 MOUND RD APT 3
PLOVER, WI 54467                                                                                      WARREN, MI 48092-1231



EDWARD A RAGSDALE CUST EDWARD A RAGSDALE 3RD       EDWARD A RAGSDALE CUST SUSAN ELLEN RAGSDALE        EDWARD A RISHAVY TR
U/THE IND UNIFORM GIFTS TO MINORS ACT              U/THE IND UNIFORM GIFTS TO MINORS ACT              UA 05/26/93 THE EDWARD A RISHAVY REVOCABLE LIVING
534 HAYES ST                                       534 HAYES ST                                       TRUST
WEST LAFAYETTE, IN 47906-2948                      WEST LAFAYETTE, IN 47906-2948                      23681 MARLOW
                                                                                                      OAK PARK, MI 48237-1957
                   09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                            Part 8 of 8 Pg 96 of 440
EDWARD A ZELENKA & DOROTHY M ZELENKA TR              EDWARD AIKEN JR CUST MISS LORRAINE AIKEN             EDWARD ANTHONY MARCINKO SR TOD EDWARD ANTHONY MA
ZELENKA FAM REVOCABLE LIVING TRUST UA 01/02/97       U/THE CALIF UNIFORM GIFTS TO MINORS ACT              STA TOD RULES
1144 LONDONBERRY LANE                                1199 W 36TH PLACE                                    1738 BANK ST
GLEN ELLYN, IL 60137-6110                            LOS ANGELES, CA 90007-3921                           BALTIMORE, MD 21231-2404



EDWARD B FREYTAG MARY E FREYTAG TR                   EDWARD B PETER CUST ANN MARIE PETERS                 EDWARD B ROHLING JR
EDWARD B & MARY E FREYTAG TRUST UA 01/20/93          UNDER MISSOURI UNIFORM GIFT TO MINORS LAW            PO BOX 610863
18293 SPRING CT N                                    5712 NOTTINGHAM                                      BIRMINGHAM, AL 35261-0863
FRASER, MI 48026-2429                                ST LOUIS, MO 63109-2824



EDWARD BILLSTEIN JR                                  EDWARD BRESNICK CUST NORMA S BRESNICK                EDWARD C BELFIELD & JOANNE B BELFIELD TR
247 UNDERWOOD DR N W                                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           EDWARD C BELFIELD TRUST UA 04/29/99
ATLANTA, GA 30328-2942                               225 ST PAULS AVENUE #15R                             5250 MANZ PLACE APT 110
                                                     JERSEY CITY, NJ 07306-3772                           SARASOTA, FL 34232-2650



EDWARD C CZARNECKI                                   EDWARD C DENZIN & JOYCE J DENZIN TR                  EDWARD C FONTANA & CHARLENE A FONTANA TR
& HERMINE CZARNECKI & TERRENCE E CRAIN & RANDALL S   THE EDWARD C &JOYCE J DENZIN REV TRUST UA 05/06/02   FONTANA FAMILY TRUST UA 12/16/92
CZARNECKI JT TEN                                     316 S CRAIG DRIVE                                    BOX 26
45282 UNIVERSAL CT                                   ORANGE, CA 92869-4746                                COLFAX, CA 95713-0026
UTICA, MI 48317-4941


EDWARD C REINHOLZ                                    EDWARD C RITCHIE & DONNA S RITCHIE TR                EDWARD C VERDUIN & LAURA J VERDUIN TR
710 GLENHURST RD                                     06/03/88 RITCHIE REV FAMILY TRUST                    EDWARD C VERDUIN & LAURA J VERDUIN REVOCABLE
WILLOWICK, OH 44095-4233                             1502 E TODD ST                                       28076 PALOMINO
                                                     MINDEN, LA 71055                                     WARREN, MI 48093-4232



EDWARD CAAMANO                                       EDWARD CAPRIOLA CUST JOHN E CAPRIOLA                 EDWARD CHARLES HOWSON & CATHERINE SAMALIONIS HOW
PO BOX 143157                                        U/THE CAL UNIFORM GIFTS TO MINORS ACT                UA 08/18/93 HOWSON FAMILY TRUST
IRVING, TX 75014                                     855 STONEMAN WAY                                     32 BIRCH GROVE DR
                                                     EL DORADO HILLS, CA 95762-4217                       PITTSFIELD, MA 01201-5602



EDWARD CHESTER BAJOREK & BERTHA GAROFALO BAJOREK TR
                                                 EDWARD COE DAVIS & DEE S DAVIS TR UA 05/05/95            EDWARD D ROBERTS TR
EDWARD C & BERTHA G BAJOREK REVOCABLE LIVING     PO BOX 532227                                            EDWARD D ROBERTS P C SLB FLEX PROTOTYPE PROFIT
TRUST UA 9/3/03                                  HARLINGEEN, TX 78553-2227                                SHARING PLAN 12/28/89
3900 TOLMAS DRIVE                                                                                         7144 E JENAN DR
METAIRIE, LA 70002-1849                                                                                   SCOTTSDALE, AZ 85254-5131


EDWARD DIBENEDETTO JR CUST CHRISTINA MARIA DIBENEDETTO
                                                   EDWARD DZIWURA & ARLENE C DZIWURA TR                   EDWARD E BENNETT & BETTY J BENNETT TR
UNDER THE NY U-G-M-A                               UA 09/19/88 EDWARD DZIWURA & ARLENE C DZIWURA          UA 07/30/93 EDWARD E BENNETT & BETTY J
225 FOX HUNT CRESCENT S                            715 CHURCHGROVE RD                                     1727 LINDEN
OYSTER BAY COVE                                    FRANKENMUTH, MI 48734-9796                             DEARBORN, MI 48124-4010
SYOSSET, NY 11791-1709


EDWARD E CLOUD & JUDY L CLOUD TR                     EDWARD E HARTLINE TR                                 EDWARD E JENNINGS & JOAN H JENNINGS TR
EDWARD E & JUDY L CLOUD TRUST UA 9/11/00             UA 10/02/80 ROBERT R SHELTON CHARITABLE ANNUITY      EDWARD & JOAN JENNINGS TRUST UA 05/09/01
12707 SE PARK ST                                     TRUST                                                3313 PROGRESS HILL BLVD
VANCOUVER, WA 98683-6363                             C/O OAKS HARTLINE & DALY LLP                         PIGEON FORGE, TN 37863-3789
                                                     2323 S SHEPHERD 14TH FLR
                                                     HOUSTON, TX 77019

EDWARD F HEINLE & ANN CELESTE CIECIERSKI JT TEN      EDWARD F KLEINKE IV CUST CHRISTIAN J HAUSERMANN UTMAEDWARD
                                                                                                          NY      F SCHMIDGALL JR & IREN H SCHMIDGALL TR
305 JOPLIN ST                                        228 MALDEN TPKE                                     E & I SCHMIDGALL TRUST UA 11/29/95
BALTIMORE, MD 21224-2810                             SAUGERTIES, NY 12477-5058                           18 WHITE CIRCLE
                                                                                                         WAKEFIELD, MA 01880-1827
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
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EDWARD F SLUJA & LORRAINE M SLUJA TR                 EDWARD F STEINHAUER                          EDWARD F WENZLAFF & EDITH A WENZLAFF TR
EDWARD FRANCIS & LORRAINE MARIE SLUJA LIVING TRUST   PO BOX 731                                   UA 12/30/84 EDWARD F WENZLAFF PADEFINED
UA 09/01/94                                          CRAWFORDSVILLE, IN 47933-0731                310 EAST TIMONIUM ROAD
849 CHARLOTTE N W                                                                                 TIMONIUM, MD 21093-2836
GRAND RAPIDS, MI 49504-3730


EDWARD FELDMAN CUST LINDA FELDMAN                    EDWARD G MCKINLEY & DONNA H MCKINLEY TR      EDWARD G ZIEGLER CUST CHRISTOPHER H TROMBA
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J         EDWARD G MCKINLEY TRUST UA 02/13/01          UNDER FL GIFTS TO MINORS ACT
203 N QUINCY AVE                                     PO BOX 262                                   693 STANDISH DRIVE
MARGATE, NJ 08402-1331                               SOUTH LYON, MI 48178-0262                    ST AUGUSTINE, FL 32086-6830



EDWARD GEORGE RETTGER & MARY ANNE RETTGER TR         EDWARD GOLDSTEIN                             EDWARD H DAVIS CUST MITCHELL S DAVIS
THE RETTGER FAMILY TRUST UA 03/12/04                 829 EAST 10TH ST                             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
336 WEST STREETSBORO STREET                          APT 5G                                       5 GLEN ELLEN
HUDSON, OH 44236-2747                                BROOKLYN, NY 11230-2897                      IRVINE, CA 92602-2001



EDWARD H MC DONALD TR EDWARD H MC DONALD TRUST UA 04/08/99
                                                  EDWARD H REDDISH & MARIE E REDDISH TR           EDWARD H RICHTER TR
PO BOX 115                                        REDDISH REVOCABLE LIVING TRUST UA 06/01/00      EDWARD H RICHTER JR & ALICE H RICHTER TRUST UA
MARIA STEIN, OH 45860-0115                        3868 CRESTHAVEN                                 10/05/92
                                                  WATERFORD, MI 48328-4016                        9696 SANILAC
                                                                                                  DETROIT, MI 48224-1250


EDWARD HABJAN CUST ELIZABETH FRANCES HABJAN          EDWARD HABJAN CUST LUCILLE ANN HABJAN        EDWARD HABJAN CUST SUSAN MARY HABJAN
U/THE PENN UNIFORM GIFTS TO MINORS ACT               U/THE PENN UNIFORM GIFTS TO MINORS ACT       U/THE PA UNIFORM GIFTS TO MINORS ACT
105 BLANCHAR DR                                      105 BLANCHAR DR                              105 BLANCHAR DR
VERONA, PA 15147-2354                                VERONA, PA 15147-2354                        VERONA, PA 15147-2354



EDWARD HILFSTEIN & MRS DIANNE HILFSTEIN JT TEN       EDWARD HOLZMAN CUST BONNIE HOLZMAN           EDWARD HORWICH CUST ARLEEN HORWICH
1390 MAPLE ROAD #7                                   U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT   U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
WILLIAMSVILLE, NY 14221-3541                         9911 SCOTCH BROOM COURT                      1455 APPLEGATE DRIVE
                                                     POTOMAC, MD 20854-1870                       NAPERVILLE, IL 60565-1225



EDWARD J ALLEN & LUNETTE A ALLEN TR                  EDWARD J CIESINSKI & EVELYN R CIESINSKI TR   EDWARD J GRAHAM & RITA M GRAHAM TR
EDWARD J & LUNETTE A ALLEN INDENTURE TRUST UA        CIESINSKI FAM TRUST UA 07/07/94              EDWARD GRAHAM & RITA GRAHAM DECLARATION OF TR
10/09/92                                             3519 SOUTH AVE                               3291 SARACEN WAY
2505 NEIER ROAD                                      SANDUSKY, OH 44870-5459                      VERONA, WI 53593
UNION, MO 63084


EDWARD J HEINLEIN JR                                 EDWARD J HUTCHESON CUST JODY ANN HUTCHESON   EDWARD J HUTCHESON CUST MISS SUSAN RENEE HUTCHESO
460 MIMOSA BEACH DR                                  U/THE MICH UNIFORM GIFTS TO MINORS ACT       U/THE MICH UNIFORM GIFTS TO MINORS ACT
CLIMAX SPRINGS, MO 65324-2412                        734 PARROTT DR                               3 SPRING VALLEY LANE
                                                     SAN MATEO, CA 94402-3224                     MILLBRAE, CA 94030-2914



EDWARD J HUTCHESON CUST WILLIAM EDWARD HUTCHESON EDWARD J KEMPF & CLAUDIA LOUWSMA TR              EDWARD J LANGSTEIN & MRS CLARE LANGSTEIN JT TEN
U/THE MICH UNIFORM GIFTS TO MINORS ACT           UA 12/2/2003 AMENDED 9/5/2008 EDWARD J KEMPF     11733 CARDENAS BLVD
C/O WILLIAM E HUTCHESON                          REVOCABLE LIVING                                 BOYNTON BEACH, FL 33437-6603
502 MINER RD                                     15151 FORD RD APT 301C
ORINDA, CA 94563                                 DEARBORN, MI 48126


EDWARD J LAWRENCE                                    EDWARD J MATTHEWS OR HELEN L MATTHEWS TR     EDWARD J MAZUREK CUST GWENDOLYN MAZUREK
3669 144TH ST W                                      03/03/98 MATTHEWS FAMILY REV LIVING TRUST    U/THE CONN UNIFORM GIFTS TO MINORS ACT
ROSEMOUNT, MN 55068-4048                             4130 MEADOW GATEWAY                          319 EDDY GLOVER BLVD
                                                     BROADVIEW HTS, OH 44147-2749                 NEW BRITAIN, CT 06053-2411
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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EDWARD J REPEN & BARBARA J REPEN TR                   EDWARD J SENDELBACH ROSEMARY LOOMIS & CAROL J SENDELBACH
                                                                                                        EDWARDTR J STYLER & GERALDINE M STYLER TR
EDWARD J REPEN & BARBARA J REPEN REV TRUST UA         UA 12/30/86 THE MARIE R                           UA 03/27/2008 - ALBERT PLUCINSKI & MARTHA PLUCINSKI
4/17/99                                               10 COVENTRY CHASE                                 REV LIVING TRUST
3674 FORGE                                            JOLIET, IL 60431-9250                             PO BOX 248
TROY, MI 48083-5639                                                                                     9573 BERKELY LN
                                                                                                        SAINT JOHN, IN 46373

EDWARD J VAHLE                                        EDWARD J WHEELER JR                                  EDWARD J ZACHARIAS & IRENE D ZACHARIAS TR
PO BOX 191075                                         PO BOX 360877                                        EDWARD J & IRENE D ZACHARIAS TRUST UA 06/15/92 AMND
ST LOUIS, MO 63119-7075                               STRONGSVILLE, OH 44136-0015                          08/30/94
                                                                                                           4141 MCCARTY RD
                                                                                                           APT 225
                                                                                                           SAGINAW, MI 48603-9325

EDWARD J ZELNICK CUST KENNETH H ZELNICK               EDWARD J ZELNICK CUST LISA ZELNICK                   EDWARD JOHN SZACH & SHAREN MARY SZACH PEITZCH & KA
UNDER THE FLORIDA GIFTS TO MINORS ACT                 UNDER THE FLORIDAGIFTS TO MINORS ACT                 UA 9/08/99 JOHN P SZACH LIVING
3620 N 52ND AVE                                       3620 N 52ND AVE                                      1085 BIRD RD
HOLLYWOOD, FL 33021-2248                              HOLLYWOOD, FL 33021-2248                             ORTONVILLE, MI 48462-9017



EDWARD K BENDA & MARGARET A BENDA TR                  EDWARD L BURKHALTER & JO A BURKHALTER JT TEN         EDWARD L DE KIEP
UA 03/30/90 EDWARD K BENDA & MARGARET A BENDA FAM     1218 560TH STREET                                    17813-174TH AVENUE
TRUST                                                 CHEROKEE, IA 51012-7236                              SPRING LAKE, MI 49456-9750
57263 ROCKLAND ST
CALUMET, MI 49913-3042


EDWARD L ELLINGTON & THOMAS C ELLINGTON TR            EDWARD L FRANKEL CUST RICHARD GARY FRANKEL           EDWARD L LANE & ETHEL J S LANE TR
ITEM FIVE U-W JOSEPH C ELLINGTON                      U/THE PA UNIFORM GIFTS TO MINORS ACT                 U-A DTD THE EDWARD & ETHEL LANE REVOCABLE TRUST
1102 E WASHINGTON ST                                  1317 CLUBHOUSE ROAD                                  1052 RED OAKS NE
THOMASVILLE, GA 31792-4719                            GLADWYNE, PA 19035-1005                              ALBUQUERQUE, NM 87122-1341



EDWARD L STRYCKER & CAROLYN S STRYCKER TR             EDWARD L TARSZ CUST RICHARD MASS                     EDWARD L TARSZ CUST ROBERT MAAS
STRYCKER FAMILY TRUST UA 11/04/03                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIF GIFTS TO MINORS ACT
1212 N ELEANOR ST                                     3243 YARDLEY PLACE                                   17901 BERRYHILL DR
INDIANAPOLIS, IN 46214-3441                           SIMI VALLEY, CA 93063-1046                           STILWELL, KS 66085-9507



EDWARD LEWINTER & ROCHELLE LEWINTER TR                EDWARD LINDE CUST DOUGLAS TODD LINDE                 EDWARD M BREEN CUST GREGORY EDWARD BREEN
EDWARD LEWINTER & ROCHELLE LEWINTER                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           A MINOR U/THE CAL GIFTS OF SECURITIES TO MINORS ACT
21901 BURBANK BLVD 171                                1 BALDWIN CIRCLE                                     PO BOX 523
WOODLAND HILLS, CA 91367-6428                         WESTON, MA 02493-1521                                HERMOSA BEACH, CA 90254-0523



EDWARD M BREEN CUST PATRICK EDWARD BREEN              EDWARD M COMERFORD & GRACE C COMERFORD TR            EDWARD M NEILES JR
A MINOR U/THE CAL GIFTS OF SECURITIES TO MINORS ACT   EDWARD M COMERFORD & GRACE C COMERFORD TRUST         & THOMAS W NEILES & MARGARET M DIMANNO & ROBERT A
515 SOUTH FIGUEROA 7TH FL                             29834 ANN ARBOR TRAIL                                NEILES JT TEN
LOS ANGELES, CA 90071-3301                            WESTLAND, MI 48185-2543                              17 NORWOOD STREET
                                                                                                           ALBANY, NY 12203-3410


EDWARD M REHN                                         EDWARD M REX CUST EDWARD M REX JR                    EDWARD M STEINER
637 EMERALD AVE                                       U/THE MICH UNIFORM GIFTS TO MINORS ACT               4 CALIFORNIA AVENUE
MUNDELEIN, IL 60060-1710                              24881 PARK DR                                        HAZLET, NJ 07730-2231
                                                      FORT BRAGG, CA 95437-8460



EDWARD M ZEWICKE & MARY M ZEWICKE TR                  EDWARD MARGHERONE & SUSAN MARGHERONE TR              EDWARD MC BRIDE CUST KATHLEEN MC BRIDE
EDWARD M & MARY M ZEWICKE TRUST UA 3/14/05            EDWARD G & SUSAN R MARGHERONE FAMILY TRUST UA        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
6261 GULLEY                                           11/20/96                                             22 PARKWAY
DEARBORN HEIGHTS, MI 48127-3092                       3474 WALTON WAY                                      GOSHEN, NY 10924-2110
                                                      SAN JOSE, CA 95117-2960
                      09-50026-mg        Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                            Part 8 of 8 Pg 99 of 440
EDWARD MEILNER & PHYLLIS J MEILNER TR               EDWARD MINKSTEIN                                    EDWARD MUNVES JR CUST JOAN B MUNVES
MEILNER REVOCABLE JOINT TENANCY LIVING TRUST UA     6099 BOOTH RD                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
12/1/04                                             NORTH BRANCH, MI 48461-9717                         245 EAST 93 STREET
135 MAPLE LANE                                                                                          NEW YORK, NY 10128-3966
NEWLENOX, IL 60451-1158


EDWARD N SHEARER & ANN M SHEARER TR                 EDWARD O WILLOUGHBY & DORIS E WILLOUGHBY TR         EDWARD ORIAN SALISBURY & PHYLLIS M SALISBURY TR
SHEARER FAMILY REVOCABLE LIVING TRUST UA 03/03/00   EDWARD O WILLOUGHBY & DORIS E WILLOUGHBY            UA 07/25/90 EDWARD ORIAN SALISBURY
17 FERNWOOD COURT                                   200 VILLAGE DR                                      4430 LOREN VON DR
WHITEHOUSE STATION, NJ 08889                        APT 333                                             SALT LAKE CITY, UT 84124-3819
                                                    DOWNERS GROVE, IL 60516-3074


EDWARD OSHEA CUST MAURA L OSHEA                     EDWARD OWEN KAISER & CAROL ANN KAISER TR            EDWARD P CURLEY & WENDY S CURLEY TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          EDWARD OWEN KAISER FAMILY TRUST UA 04/04/97         CURLEY FAMILY REVCABLE TRUST UA 3/15/01
14 TABBY POINT LN                                   194 E DULLION AVE                                   2 HICKORY LN
OKATIE, SC 29909-4206                               AVE, AR 71953-0776                                  WENHAM, MA 01984-1460



EDWARD P DIETRICH CUST FREDERICK E DIETRICH         EDWARD P KRYSHAK & VIOLETTE E KRYSHAK TR            EDWARD P LEIDLEIN
U/THE WISC UNIFORM GIFTS TO MINORS ACT              EDWARD P & VIOLETTE E KRYSHAK REVOCABLE TRUST UA    6735 31ST AVE
PO BOX 67                                           09/04/03                                            KENOSHA, WI 53142-3411
CADOTT, WI 54727-0067                               1740 RIVERVIEW DRIVE
                                                    WISCONSIN RAPIDS, WI 54494-2057


EDWARD R FINKELSTEIN                                EDWARD R GAINSBORG JR TR                            EDWARD R MASTNEY & AILEEN V MASTNEY TR
536A NARRAGANSET LN                                 UA 02/16/1999 JOY E GAINSBORG SMITH IRREVOCABLE     EDWARD R AND AILEEN V MASTNEY TRUST UA 12/28/98
STRATFORD, CT 06614-8357                            TRUST                                               21406 W SYCAMORE DRIVE
                                                    34 WASH CROSS-PENN RD                               PLAINFIELD, IL 60544-6459
                                                    PENNINGTON, NJ 08534


EDWARD R PHILPOTT JR & HARRIETT C PHILPOTT TR       EDWARD R WHELAN CUST GERALYN WHELAN                 EDWARD RETKO CUST ERIC E RETKO
EDWARD R & HARRIETT C PHILPOTT LIVING TRUST UA      U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
01/18/00                                            1036 BYRON AVE                                      2110 CHALGROVE
904 CITRUS ACC # 115                                ELIZABETH, NJ 07208-1025                            TROY, MI 48098-2294
ALAMO, TX 78516


EDWARD ROSS VOGEL CUST KATHERINE EDITH VOGEL        EDWARD S BRUGGE & ANNA S BRUGGE TR                  EDWARD S NETKE & SHARON A NETKE TR
A MINOR UNDER ART 8-A OF THE PERSONAL PROPERTY      EDWARD S BRUGGE FAMILY TRUST UA 07/09/81            UA 06/25/2008 EDWARD NETKE LIVING TRUST
LAW OF NJ                                           1345 CORINNE LANE                                   21352 SUMMERSIDE COURT
30 YEARDLEY'S GRANT                                 MENLO PARK, CA 94025-5528                           NORTHVILLE, MI 48167
WILLIAMSBURG, VA 23185-6529


EDWARD S SREDZIENSKI SR & EVELYN T SREDZIENSKI TR   EDWARD SALAME CUST GEORGE L SALAME                  EDWARD SAM & JOSEPHINE MAR SAM TR
SREDZIENSKI LIVING TRUST UA 02/23/06                U/THE MASS UNIFORM GIFTS TO MINORS ACT              SAM FAMILY TR FOR THE CHILDREN 4/26/77
6 MITCHELL DR                                       1 PARTRIDGE HILL                                    836 FLORES DE ORD
ENFIELD, CT 06082-4916                              WESTMINSTER, MA 01473-1400                          SOUTH PASADENA, CA 91030-3637



EDWARD SCHAFFSTEIN & LUCILLE SCHAFFSTEIN JT TEN     EDWARD SEIBOLD BETTY SEIBOLD MARK SEIBOLD & EDWARD SEIBOLD
                                                                                                       EDWARD IISTEIN
                                                                                                                 TR
30421 PARK                                          UA 06/26/89 SEIBOLD FAM LIV TR                     751 SHERWOOD DR
ROSEVILLE, MI 48066-5327                            23500 EAST 88TH STREET                             LEXINGTON, KY 40502-2917
                                                    LEES SUMMIT, MO 64064-2715



EDWARD STRAUSER                                     EDWARD T CALBY CUST MAUREEN CALBY                   EDWARD T FISHER CUST GREGORY H FISHER
14534 183 AVENUE SE                                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE FLORIDA GIFTS TO MINORS ACT
RENTON, WA 98059                                    10 AVA LN                                           8287 32ND AVE N
                                                    WILLIAMSVILLE, NY 14221-3035                        ST PETERSBURG, FL 33710-2211
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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EDWARD T WLODARCZYK & JOSEPHINE WLODARCZYK TR         EDWARD U BAIN JR & ELOISE J BAIN TR                   EDWARD V MANICA CUST ALLEN E MANICA
EDWARD & JOSEPHINE WLODARCZYK LIVING                  EDWARD U BAIN JR & ELOISE J BAINREVOCABLE LIVING      U/THE MASS UNIFORM GIFTS TO MINORS ACT
16624 DORT                                            17873 SOUTH 129TH ST EAST AVE                         9506 BARNHART LANE
ROSEVILLE, MI 48066-3755                              BIXBY, OK 74008                                       HOUSTON, TX 77065-4452



EDWARD V STEIN & RUTH B STEIN TR                      EDWARD W DREGER & DARYL R KOHLHORST TR                EDWARD W DREGER & MYREN W KOHLHORST TR
UA 07/22/83 EDWARD V STEIN & RUTH B STEIN REVOCABLE   EDWARD W DREGER TRUST UA 1/10/86                      EDWARD W DREGER TRUST UA 1/10/86
TRUST                                                 210 RUSTIC CIR                                        1665 LASALLE BLVD
1204 WREN LN                                          WHITE LAKE, MI 48386-3050                             HIGHLAND, MI 48356
PETALUMA, CA 94954


EDWARD W DREGER TR                                    EDWARD W MC DUFFIE CUST MISS HELEN B MC DUFFIE        EDWARD WELLS BLAKE CUST EDWARD WELLS BLAKE JR
JANINE S GULICH SWEGLES TR EDWARD W DREGER TRUST      A MINOR U/THE LAWS OF GEORGIA                         U/THE TENN UNIFORM GIFTS TO MINORS ACT
UA 01/10/86                                           3425 WOOD VALLEY RD NW                                119 RIVERPOINT RD
210 RUSTIC CIR                                        ATLANTA, GA 30327-1517                                SIGNAL MTN, TN 37377-2200
WHITE LAKE, MI 48386-3050


EDWARD WIEBER                                         EDWARD WILLIAM TORELLO & NORMA JEAN TORELLO TR        EDWARD WILLIAM TORELLO & NORMA JEAN TORELLO TR
BOX 421 409 FENEIS ST                                 TORELLO FAM TR UA 07/12/85 EDWARD                     UA 07/12/85 EDWARD WILLIAM TORELLO & NORMA JEAN
WESTPHALIA, MI 48894-0421                             541 CRAIG RD                                          TORELLO
                                                      HILLBOROUGH, CA 94010-6707                            541 CRAIG ROAD
                                                                                                            HILLSBOROUGH, CA 94010-6707


EDWARD X HARTWICK CUST EDWARD FRANCIS HARTWICK        EDWARD X HARTWICK CUST JAMES MICHAEL HARTWICK         EDWARD X HARTWICK CUST RAYMOND PATRICK HARTWICK U
UNDER THE NEW JERSEY U-G-M-A                          UNDER THE NEW JERSEY U-G-M-A                          U-G-M-A
361 ELMWOOD DR                                        165 LENOX AVE                                         769 ELM AVENUE
PARAMUS, NJ 07652-3408                                DUMONT, NJ 07628-1731                                 RIVER EDGE, NJ 07661-1501



EDWIN ARNOWITT CUST KIM ARNOWITT                      EDWIN ARTHUR GIBBINGS TR                              EDWIN B FOCKLER III TOD EDWIN B FOCKLER IV CAMERON H F
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          EDWIN ARTHUR GIBBINGS LIVING TRUST UA 02/20/96        FOCKLER
960 SW BAY POINTE CIR                                 31621 MIDDLEBORO                                      205 E MAIN ST
PALM CITY, FL 34990-1758                              LIVONIA, MI 48154-4280                                ELKTON, MD 21921-5769



EDWIN B STROUT CUST KARIN STROUT                      EDWIN C & SONDRA PHILLIPS TR                          EDWIN C BATTSON & JUANITA BATTSON TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            EDWIN C & SONDRA PHILLIPS REV LIV TRUST UA 04/24/97   UA 10/03/85 EDWIN C BATTSON & JUANITA BATTSON
108 BLUE RIDGE DR                                     31630 NORTHWOOD RD                                    7001-142ND AVE NO #199
CLEMSON, SC 29631-1713                                FRASER, MI 48026-2494                                 LARGO, FL 33771-4745



EDWIN C HUESTED & LINDA R HUESTED TR                  EDWIN C WEBER JR CUST CARL DAVID WEBER                EDWIN C WEBER JR CUST PAUL J WEBER
EDWIN C & LINDA R HUESTED REVOCABLE JT TRUST UA       U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT            U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
10/26/04                                              4101 ADDINGTON PLACE                                  287 HILLSMERE ROAD
9419 DODGE RD                                         FLOWER MOUND, TX 75028                                ANNAPOLIS, MD 21403-3712
MONTROSE, MI 48457-9125


EDWIN D CARMICHAEL & LINDA N CARMICHAEL TR            EDWIN D CASTILLO                                      EDWIN D SAVLOV & JEAN K SAVLOV TR
EDWIN D CARMICHAEL & LINDA N CARMICHAEL TRUST UA      PO BOX 181258                                         EDWIN D SAVLOV FAM TRUST UA 01//16/95
11/14/00                                              ARLINGTON, TX 76096-1258                              4850 GOLDEN SPRING DR
1456 70TH AVE                                                                                               RENO, NV 89509-5907
EVART, MI 49631-8723


EDWIN E CUMBERLAND & RETHA J CUMBERLAND TR            EDWIN E STEINLEY                                      EDWIN F STEWART III TR FRANK C NICHOLAS IRREVOCABLE S
EDWIN E CUMBERLAND & RETHA J CUMBERLAND               300 S MAIN ST                                         CASEY G NICHOLAS UA 05/18/75
6805 E 93RD ST                                        APT 412                                               PO BOX 64
KANSAS CITY, MO 64138-3728                            DAVISON, MI 48423                                     LINE LEXINGTON, PA 18932-0064
                   09-50026-mg               Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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EDWIN F STEWART III TR FRANK C NICHOLAS IRREVOCABLE SPRINKLING
                                                      EDWIN F STEWART
                                                                TRUST III TR FRANK C NICHOLAS IRREVOCABLE SPRINKLING
                                                                                                            EDWIN G BRUNO
                                                                                                                     TRUST JR & NORMA JANE BRUNO TR
FBO FRANK C NICHOLAS III 05/18/75                     FBO SIOBHAN S NICHOLAS UA 5/18/75                     NORMA JANE BRUNO REVOCABLE TRUSTOF 1999 UA 7/20/99
PO BOX 320                                            PO BOX 64                                             33 COLONIAL COURT
LINE LEXINGTON, PA 18932-0320                         LINE LEXINGTON, PA 18932-0064                         PALM COAST, FL 32137-8391



EDWIN G CALCAGNI CUST DEAN EDWIN CALCAGNI              EDWIN H HALL CUST KAREN E HALL                         EDWIN H SCHROEDER & MARY E SCHROEDER TR
U/THE VERMONT UNIFORM GIFTS TO MINORS ACT              U/THE INDIANA UNIFORM GIFTS TO MINORS ACT              UA 02/13/07 SCHROEDER LIVING TRUST
5674 SINGLETREE DRIVE                                  3800 N 600 WEST                                        819 NORTH ST
FREDERICK, MD 21703-8632                               MUNCIE, IN 47302                                       SUN PRAIRIE, WI 53590



EDWIN HEIZMAN JR & JANE L HEIZMAN TR                   EDWIN J JACKSON & BERNICE JACKSON TR                   EDWIN J OLOWIN CUST EDWIN J OLOWIN 2ND
LIVING TRUST 10/15/90 U-A JANE &ED HEIZMAN             E J JACKSON & B JACKSON REV LIVING                     U/THE FLORIDA GIFTS TO MINORS ACT
47 115 EL MENARA CIRCLE                                359 TYMBER RUN                                         6186 HOLLYWOOD ST
PALM DESERT, CA 92260                                  ORMOND BEACH, FL 32174-4891                            JUPITER, FL 33458-6748



EDWIN J WARREN                                         EDWIN KABAKOW CUST JAMES A KABAKOW                     EDWIN KLEIN TR TRUST FUND UA 10/18/95
PO BOX 136621                                          U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT           606 BIRCHWOOD RD
FORT WORTH, TX 76136-0621                              153 ROSEVILLE RD                                       LINDEN, NJ 07036-5815
                                                       WESTPORT, CT 06880-2615



EDWIN N LEVANDER & EDNA MAE LEVANDER TR                EDWIN O CHAFFEE & MARILYNN J CHAFFEE TR                EDWIN POLSKY CUST ANDREW POLSKY
EDWIN N & EDNA MAE LEVANDER LIVING TRUST UA 12/28/98   EDWIN O & MARILYNN J CHAFFEE REVOCABLE TRUST UA        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
329 NOTTINGHAM LANE                                    11/24/99                                               1601 32RD AVE APT 17B
SCHERERVILLE, IN 46375-1808                            10188 W VERNON                                         NEW YORK, NY 10128-3455
                                                       LAKE, MI 48632-9655


EDWIN S HEINS JR & SHEILA O'NEILL HEINS TEN ENT        EDWIN V KREHBIEL & FLOREINE KREHBIEL JT TEN            EDWIN W BARTINE II
7 GALWAY PL                                            477 N 800 E                                            1467 155TH ST
DRESHER, PA 19025-1217                                 MAPLETON, UT 84664-3624                                CLEMONS, IA 50051-9612




EDWIN W EARL & LORETTA L EARL TR                       EGBERT HORCHLER CUST SANDRA LYNN HORCHLER              EGBERT HORCHLER CUST STEVEN EGBERT HORCHLER
UA 06/28/2007 EDWIN W & LORETTA L EARL JOINT           U/THE N Y UNIFORM GIFTS TO MINORS ACT                  U/THE N Y UNIFORM GIFTS TO MINORS ACT
4738 LAKESHORE DRIVE                                   32 LARCH DR                                            62-01 80TH ST
GRAWN, MI 49637                                        MANHASSET HILLS, NY 11040-2344                         REGO PARK, NY 11379-1322



EGON SCHEIN & ANN SCHEIN JT TEN                        EILEEN C DE LATOUR                                     EILEEN COBERT STEIN
1117 W GOLF RD                                         121197 QUEENS BRIGADE DR                               52 FORESTDALE RD
LIBERTYVILLE, IL 60048-3055                            FAIRFAX, VA 22030-5935                                 ROCKVILLE CENTRE, NY 11570-2106




EILEEN E CROGHAN CUST MONICA B CROGHAN                 EILEEN M O'SHEA & KEVIN C O'SHEA & JACQUELINE GALANO TREILEEN M STONER & JANICE E CAIARELLI TR
A MINOR UNDER THE LAWS OF VIRGINIA                     UW JOHN C O'SHEA                                       UA 03/10/2009 HELEN G MCFADDEN TRUST
36 HOLWORTHY ST                                        12 DRUM HILL DR                                        239 ANNA GOODMAN RD
CAMBRIDGE, MA 02138-4579                               SUMMIT, NJ 07901-3107                                  LATROBE, PA 15650



EILEEN O'CONNOR DUNKLE & SARA A PALUMBO TR             EILEEN R DALINKA & JEROME F DALINKA TR                 EILEEN S FEINBERG
UA 08/13/2008 EILEEN O'CONNOR DUNKLE REVOCABLE         EILEEN R DALINKA REVOCABLE TRUSTUA 11/15/99            423 WARFIELD RD
11734 LAKE ASTON COURT APT.315                         7329 N LOWELL AVE                                      NORTH PLAINFIELD, NJ 07063-1712
TAMPA, FL 33626                                        LINCOLNWOOD, IL 60712-1925
                      09-50026-mg        Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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EINAR GABRIELSON LURIX                                EINO HUPPONEN                                         EINSENSTADT B SUSAN
3565 FOREST VIEW CIR                                  75 OVERLAND DRIVE                                     4723 CALUMET DRIVE
FT LAUDERDALE, FL 33312-6304                          DON MILLS ON                                          KNOXVILLE, TN 37919-7685
                                                      M3C 2C3 CANADA



ELAINE A BARTOLOZZI CUST RICHARD JOSEPH BARTOLOZZI    ELAINE BURSTEIN & MORRIS BURSTEIN TR ELAINE BURSTEIN REVOCABLE
                                                                                                            ELAINE C VANDER
                                                                                                                       TRUST MOLEN
UNDER THE NEW JERSEY U-G-M-A                          6335 POINTE PLEASANT CIRCLE                           1461 104TH SW
41 RAMAPO RD                                          DELRAY BEACH, FL 33484-2493                           BYRON CENTER, MI 49315-9208
POMPTON PLNS, NJ 07444-1334



ELAINE C VOYER & ANDREA L SCHMIDT & MARGARET MCKENZIE
                                                    ELAINE
                                                      TR E WHITE & PATRICK J WHITE TR                       ELAINE ELIZABETH MELANGTON TR
MARGARET MCKENZIE REV TRUST UA 04/16/01             UA 07/14/2010 ELAINE E WHITE LIVING TRUST               ELAINE ELIZABETH MELANGTON TRUST UA 01/20/84
180 NORTHRIDGE DRIVE                                8407 N LINDEN RD                                        3 HIAWATHA COVE TRL
WILLOWGHBY, OH 44094-5643                           MOUNT MORRIS, MI 48458                                  APT 8
                                                                                                            BATTLE CREEK, MI 49015-3599


ELAINE J KSANDER TR                                   ELAINE K DEINES                                       ELAINE M FREINBERG
REVOCABLE TRUST 06/25/91 U-A ELAINE JOHNSON           5513 WONDER DR                                        425 TWIN OAK RD
KSANDER                                               FT WORTH, TX 76133-2625                               SOUTH ORANGE, NJ 07079-1219
1517 W OGDEN AVENUE #1218
LA GRANGE PK, IL 60526


ELAINE M LONG CUST MARSHA SUE LONG                    ELAINE M PANSA CUST JEFFREY R PANSA                   ELAINE S BLAUSTEIN
A MINOR U/LAWSOF THE STATE OF SOUTH CAROLINA          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            351 E 84 ST
ATTN MONTEITH                                         425 RIDGESTONE DR                                     NEW YORK, NY 10028-4423
1762 WHEAT ST                                         FRANKLIN, TN 37064-5573
COLUMBIA, SC 29205-3047


ELAINE SCHEINES                                       ELBERT C SIDES CUST BONNIE LOUISE SIDES               ELBERT P BERNSTEIN
C/O WOLFSON                                           U/THE MISS UNIFORM GIFTS TO MINORS ACT                963 WOODLAND DR
2512 PENNY ROYAL LANE                                 1828 PIEDMONT                                         SOUTHAMPTON, PA 18966-4213
RESTON, VA 20191-3725                                 JACKSON, MS 39202-1345



ELDON H MEINCKE                                       ELDON L PRICE & VELMA E PRICE TR                      ELDRIDGE D FRANKLIN
3120 JAYCOX RD                                        ELDON PRICE & VELMA PRICE LIVING TRUST UA 05/07/96    2525 STEIN ST
AVON, OH 44011-1934                                   5122 W GRAND BLANC RD                                 JACKSONVILLE, FL 32216-5091
                                                      SWARTZ CREEK, MI 48473-9447



ELEANOR A PFLEGER TR                                  ELEANOR C CARMAN CUST BARRY IAN CARMAN                ELEANOR DELSON CUST BARBARA RUTH DELSON
UA 12/07/92 THE ELEANOR A PFLEGER REVOCABLE LIVING    U/THE MASS UNIFORM GIFTS TO MINORS ACT                A MINOR UNDER ARTICLE 8-A OF THE PERS PROPERTY LAW
TRUST                                                 73 STATE ST                                           OF NY
27429 WINDSOR                                         SPRINGFIELD, MA 01103                                 401 CONARD DRIVE
GARDEN CITY, MI 48135-2255                                                                                  SPRINGFIELD, PA 19064-1521


ELEANOR E CROCETTI CUST KAREN ANN CROCETTI            ELEANOR E HEINRICH                                    ELEANOR ERDMAN CUST MICHAEL D ERDMAN
U/THE N J UNIFORM GIFTS TO MINORS ACT                 15100 GROVE RD                                        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
415 CHAMBERS ST                                       LANSING, MI 48906-9301                                N-1236 RIVER DRIVE
TRENTON, NJ 08609-2605                                                                                      MENOMINEE, MI 49858-9716



ELEANOR F JORDAN & NANCY JORDAN GITCHELL TR           ELEANOR FINKELSTEIN                                   ELEANOR H PIEPENBRINK TOD MARILYN E PIEPENBRINK SUBJ
U-A WITH ELEANOR F JORDAN 2/25/80                     299 CAMBRIDGE ST                                      RULES
20 GATES RD                                           UNIT 215                                              4811 CENTRAL AVE
APT 3                                                 WINCHESTER, MA 01890-2383                             WESTERN SPRINGS, IL 60558-1704
MARLBOROUGH, NH 03455-3114
                   09-50026-mg            Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                               Part 8 of 8 Pg 103 of 440
ELEANOR HOROWITZ & REBECCA HOROWITZ & AVA STEINER JTELEANOR
                                                     TEN    J HEATON CUST JANET C HEATON                     ELEANOR MARIE MAYNARD & LISA MARIE MAYNARD TR
#BLD 3-3N                                           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT               ELEANOR MARIE MAYNARD REVOCABLE TRUST UA 08/16/00
269-10 GRAND CENTRAL PKWY                           409 GROUSE ROAD                                          373 COVE VIEW DRIVE
FLORAL PARK, NY 11005-1010                          SUMMERVILLE, SC 29485-5131                               WATERFORD, MI 48327-3785



ELEANOR MAYERSOHN CUST MICHAEL MAYERSOHN                ELEANOR MAYERSOHN CUST MISS MARGIE RAE MAYERSOHN ELEANOR MAYERSOHN CUST NORMAN MAYERSOHN
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J            A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW  A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
105 84TH ST                                             JERSEY                                           3333 W FAIRCREST DR
VIRGINIA BEACH, VA 23451                                3333 W FAIRCREST DR                              ANAHEIM, CA 92804-3014
                                                        ANAHEIM, CA 92804-3014


ELEANOR PLOTT CUST JANIS PLOTT                          ELEANOR R WALENCIK TR                                ELEANOR S KRITZMAN & NAOMI R COHEN EXECUTORS
A MINOR PURS TO SEC 1339 /26 INCLUSIVE OF THE REVISED   JOHN E WALENCIK SR & ELEANOR R WALENCIK TRUST UA     UNDER THE WILL OF ELIZABETH M STONE
CODE OF OHIO                                            02/03/97                                             786 CHESTNUT ST
6267 RIVERVIEW RD                                       2510 N VERONA RD                                     WABAN, MA 02468-2317
PENINSULA, OH 44264-9624                                MORRIS, IL 60450-8146


ELEANOR STEINBERG                                       ELEANOR STUPKA                                       ELEANOR V MERKLE & SUSAN C MERKLE TR
8975 GOLF ROAD APT 219                                  C/O ELEANOR S HEININGER                              ELEANOR V MERKLE LIVING TRUST UA 07/12/96
NILES, IL 60714-5800                                    90 ALPINE DR                                         5475 MAPLE RIDGE
                                                        GREENVILLE, TN 37743-8331                            HASLETT, MI 48840-8651



ELEANOR W HEINIS                                        ELEANORE K GARDNER & HENRY E GARDNER & LEONA APRIL TR
                                                                                                            ELEANORE POWELL
224 HUNTER HILLS CIRCLE                                 ELEANORE K GARDNER TRUST 9/23/99                    PO BOX 431780
UNIT 1                                                  201 CARVILLE CIRCLE                                 PONTIAC, MI 48343-1780
BRISTOL, TN 37620-5358                                  CARSON CITY, NV 89703-4534



ELFRIEDE E JOHNSON TR HARRY W JOHNSON                   ELGIN A WHITEKER OR ELINOR A WHITEKER TR             ELIESER O PANINGSORO TR
& ELFRIEDE E JOHNSON REVOCABLE LIVING TRUST UA          THE WHITEKER FAMILY TRUST UA 8/20/03                 TRUST B UNDER PANINGSORO REVOCABLE FAMILY TRUST
01/09/00                                                41 WOODVIEW DR                                       UA 6/25/90
601 NORWOOD STREET                                      WILMINGTON, OH 45177-2941                            7771 HERMAN LN
SPARTENBURG, SC 29302-2041                                                                                   LA PALMA, CA 90623-1760


ELINOR J STROMING CUST ANDRES FREDERICK RUNNE           ELINOR JEAN SWEET & LOUIS B SWEET TR                 ELINOR K UHRIG & RICHARD A UHRIG TR
U/THE N J UNIFORM GIFTS TO MINORS ACT                   LOUIS B & ELINOR JEAN SWEET TRUST UA 4/13/00         ELINOR K UHRIG LIVING TRUST UA 03/27/97
PO BOX 678                                              4519 DEVONSHIRE                                      12710 PERCIVAL ST
GREEN HARBOR, MA 02041                                  LANSING, MI 48910-7612                               CHESTER, VA 23831-4738



ELIO E RIBACCHI                                         ELIOT D CANTER CUST SALLY JACQUELINE CANTER          ELISABETH A HOLLINGER TR
6914 141ST LANE                                         U/THE MASS UNIFORM GIFTS TO MINORS ACT               UA 11/11/2005 ELISABETH A HOLLINGER REVOCABLE LIVING
PALM BEACH GARDENS, FL 33418-7249                       6404 FALLEN OAK COURT                                TRUST
                                                        BETHESDA, MD 20817-3249                              17305 OLYMPIA
                                                                                                             REDFORD, MI 48240


ELISABETH M MILLS TR                                    ELIZA C FILEDS                                       ELIZABETH A BLACK & KATHLEEN M DUSZA TR
ELISABETH M MILLS & RICHARD T MILLS REVOCABLE           41895 COOPER AVE                                     UA 08/16/2001 ELIZABETH A BLACK REV LIV TRUST
FAMILY TRUST UA 10/05/04                                ELYRIA, OH 44035-7523                                216 MARSH ISLAND DRIVE
11325 S OLD JONES RD                                                                                         CHESAPEAKE, VA 23320
FLORAL CITY, FL 34436-5104


ELIZABETH A BLUM & KRISTIN SCHNEIDER TR                 ELIZABETH A CURREN & JOHN H CURREN TR                ELIZABETH A FEUERSTEIN
ELIZABETH BLUM TRUST UA 03/23/00                        ELIZABETH A CURREN TRUST UA 4/7/97                   6036 STANTON RD
306 BELLA VISTA DRIVE                                   278 STONEYKIRK DR                                    MIDDLE GROVE, NY 12850-1320
ITHACA, NY 14850                                        BELLA VISTA, AR 72715-3814
                   09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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ELIZABETH A HEINEL                                  ELIZABETH A HOFFMANN CUST MICHAEL C HOFFMANN         ELIZABETH A LUBOWICKI & DONALD A LUBOWICKI TR
ATTN ELIZABETH A LEWIS                              UNDER MO UNIFORM GIFTS TO MINORS LAW                 ELIZABETH A LUBOWICKI REV LIVING TRUST UA 06/15/98
1307 N LITTLE CREEK RD                              670 AVONDALE DR                                      31428 SARATOGA DRIVE
DOVER, DE 19901-4067                                SAINT PETERS, MO 63376-7717                          WARREN, MI 48093-1667



ELIZABETH A MORGAN & ALFRED J MORGAN TR             ELIZABETH A PAMERLEAU & JEANNE M DOSCH TR            ELIZABETH A SUHRHEINRICH
ALFRED J & ELIZABETH A MORGAN TRUST UA 11/27/84     UA 02/27/2007 ELIZABETH A PAMERLEAU LIVING TRUST     1917 RIMSDALE DR
2373 STONE BROOK CT                                 1364 EAGLE ST                                        MYRTLE BEACH, SC 29575-5868
FLUSHING, MI 48433-2595                             GRAYLING, MI 49738



ELIZABETH A WHITING & DALE E WHITING JT TEN         ELIZABETH ALLEY SNOW DAY TR                          ELIZABETH ANN DELPH MCLAUGHLIN TR
124 HAYMONT                                         ELIZABETH ALLEY SNOW DAY FAM PROTECTION TRUST UA     ELIZABETH ANN DELPH MCLAUGHLIN TRUST UA 09/12/95
PARIS, TN 38242-5631                                01/13/95                                             12180 MANOR CT
                                                    2086 SIERRA VIEW CIR                                 REAR
                                                    SALT LAKE CITY, UT 84109-1946                        LA PLATA, MD 20646-4102


ELIZABETH ANN GRACE & MARY DAY GRACE & JOHN BRYANT GRACE
                                                    ELIZABETH
                                                          & PATRICIA
                                                              ANN MULLIGAN CUST MARGARET ANN MULLIGAN    ELIZABETH ANNE HARTNETT
MERRILL GRACE U/GDNSHP OF JAMES DAY THORNTON JR     U/THE CALIF UNIFORM GIFTS TO MINORS ACT              & ANNE HARTNETT REIGLE EX EST MAURICE A HARTNETT III
2702 FANELLE CIR                                    404 PARK FOREST WAY                                  208 GROUSE TRAIL
HUNTSVILLE, AL 35801-2227                           WELLINGTON, FL 33414-4977                            CAMDEN WYO, DE 19934



ELIZABETH B BERNEKING CUST BRENT JONATHAN BERNEKINGELIZABETH B CRAIG TR                                  ELIZABETH B HAGEMEYER & GEORGINA BENNETT HAGEMEYE
UNDER IN UNIF TRANS TO MINACT                      ELIZABETH B CRAIG REVOCABLE INTER VIVOS TRUST UA      UA 06/17/1996 ELIZABETH B HAGEMEYER LIVING TRUST
8805 CAMELLIA                                      05/10/02                                              1425 MANDERFORD RD
EVANSVILLE, IN 47711-1003                          1521 VIRGINIA ST E                                    BLOOMFIELD, MI 48304
                                                   CHARLESTON, WV 25311-2411


ELIZABETH B THORNTON CUST MISS WENDY THORNTON       ELIZABETH BRUCKSTEIN                                 ELIZABETH C EDGAR & GEORGE E EDGAR TR
U/THE PA UNIFORM GIFTS TO MINORS ACT                65-47 WETHEROLE STREET                               ELIZABETH C EDGAR LIVING TRUST UA 07/08/97
249 PINE VIEW LANE                                  REGO PARK, NY 11374-4753                             3103 SCIOTO TRCE
YORK, PA 17403-9561                                                                                      COLUMBUS, OH 43221-4733



ELIZABETH C NICHOLSON TR                            ELIZABETH C WINCHELL & HUGH CRAIG WINCHELL TR        ELIZABETH DABBS ISELE CUST ANTHONY F ISELE 3RD
ELIZABETH C NICHOLSON REVOCABLE TRUST UA 09/26/98   ELIZABETH WINCHELL LIVING TRUST UA                   U/THE ARK UNIFORM GIFTS TO MINORS ACT
9971 CYPRESS LAKE DR                                880 STILL HILL RD                                    277 PREBLE ST
FORT MYERS, FL 33919-6048                           HAMDEN, CT 06518-1105                                SOUTH PORTLAND, ME 04106-2233



ELIZABETH E WHITING CUST JOHN E WHITING             ELIZABETH ELLENBERGER DITMER TR                      ELIZABETH FAYE MARQUIS GOMEZ CUST APARICIO CARLOS G
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        UA 05/11/93 THE ELIZABETH ELLENBERGER DITMER TRUST   UNDER THE IN U-T-M-A
3839 OAK GLEN CT                                    PO BOX 406                                           6 RUE MICKEL LENTZ
SANTA ROSA, CA 95404-6227                           CHECOTAH, OK 74426-0406                              BERTRANGE
                                                                                                         L 8085 LUXEMBOURG


ELIZABETH G POOLE TR                                ELIZABETH G WILLIAMSON TR                            ELIZABETH G ZEIDMAN CUST GENIVER MONTALVO JR
UA 04/05/2000 ROBERT G POOLE & ELIZABETH G POOLE    FAMILY TRUST 09/24/90 U-A ELIZABETH G WILLIAMSON     U/THE PA UNIFORM GIFTS TO MINORS ACT
REVOCABLE TRUST                                     11472 O AVE                                          2 FRANKLIN TOWN BL 1303
8908 25TH ST                                        ANACORTES, WA 98221-1985                             PHILADELPHIA, PA 19103-1226
METAIRIE, LA 70003


ELIZABETH GAROFALIS                                 ELIZABETH H ESTEP                                    ELIZABETH H KING & KENNETH G KING TR
AKTI THEMISTOKLEOUS 192-194                         9111 164TH STREET SE                                 ELIZABETH H KING TRUST UA 10/16/98
PIRAIKI PIRAEUS                                     SNOHOMISH, WA 98296-7016                             411 SABAL PALM LANE
18539 GREECE                                                                                             VERO BEACH, FL 32963-3461
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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ELIZABETH H LEEDS TR                                   ELIZABETH H RECTOR & ROBERT B RECTOR TR              ELIZABETH H WEINHOLD
U-W-O RONALD E LEEDS F-B-O HOLLY LYNN LEEDS AND        UA 05/14/92 THE ELIZABETH H RECTOR TR                PO BOX 571
DAWN MARIE LEEDS                                       719 ASHFORD ROAD                                     EPPING, NH 03042-0571
229 PINTO LN                                           SHARPLEY
ORMOND BEACH, FL 32174-7908                            WILMINGTON, DE 19803-2221


ELIZABETH H WRIGHT & ELIZABETH A WRIGHT TR             ELIZABETH HARDWICK BULTMAN                           ELIZABETH I OLIVER TR UA 03/06/97 OLIVER LIVING TRUST
ELIZABETH H WRIGHT 2004 TRUST UA 2/25/04               20785 147TH AVENUE NORTH                             PO BOX 142861
12 GARDEN ROAD                                         ROGERS, MN 55374-9437                                FAYETTEVILLE, GA 30214-6522
SAN ANSELMO, CA 94960-2514



ELIZABETH ISABELLE ENOCH & SARAH ENOCH TR              ELIZABETH J KLEIN                                    ELIZABETH J LEINER
ELIZABETH ISABELLE ENOCH TR 2/21/75                    0108 CROWN MOUNTAIN DR                               15956 S ARBOR DRIVE
13101 W 131ST ST                                       BASALT, CO 81621-9362                                PLAINFIELD, IL 60544-8872
SHAWNEE MISSION, KS 66213-2346



ELIZABETH J MARTZ CUST DAVID L MARTZ                   ELIZABETH J NORTON & JOSEPH W NORTON JR TR           ELIZABETH J PATTERSON TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             ELIZABETH J NORTON TRUST UA 10/11/99                 HARVEY W & ELIZABETH J PATTERSON LIVING TRUST UA
421 W HARBOR HWY                                       3901 MOORLAND DR                                     08/29/05
MAPLE CITY, MI 49664-9775                              MIDLAND, MI 48641-2765                               5 OBAN CT
                                                                                                            SHALLOTTE, NC 28470-4524


ELIZABETH J WENTINK & JAMES F WENTINK & FREDERICK W WENTINK
                                                     ELIZABETH
                                                            JR TR
                                                                J WILLE & RICHARD J WILLE JT TEN            ELIZABETH JONES
LIV TR 08/15/86 U-A ELIZABETH J                      4150 MIDDLEDALE AVE                                    & CYNTHIA HILLIARD & RONALD BROWN & CYNTHIA FOGLE
32 SPRUCE PL APT 306                                 WEST BLOOMFILED, MI 48323-1154                         JT TEN
MINNEAPOLIS, MN 55403-1934                                                                                  5317 MOCK ROBIN LN
                                                                                                            CHARLOTTE, NC 28212-2929


ELIZABETH JOYCE FENNEL TOD MARGARET JOYCE EDMONDS SUBJECT
                                                  ELIZABETH TOJOYCE
                                                               STA TOD
                                                                    FENNEL TOD ROBERT HOWARD FENNEL SUBJECT
                                                                                                      ELIZABETH
                                                                                                            TO STA
                                                                                                                KIELBASINSKI
                                                                                                                   TOD       CUST JOHN C KIELBASINSKI JR
RULES                                             RULES                                               U/THE CONN UNIFORM GIFTS TO MINORS ACT
519 HILL ST                                       519 HILL ST                                         1480 N BROAD ST
MAMARONECK, NY 10543                              MAMARONECK, NY 10543                                MERIDEN, CT 06450-2444



ELIZABETH KIRALIS CUST JEOFFREY WILLIAM KIRALIS        ELIZABETH KIRALIS CUST KARL KIRALIS JR               ELIZABETH KIRALIS CUST SUSAN ANN KIRALIS
U/THE MAINE UNIFORM GIFTS TO MINORS ACT                U/THE MAINE UNIFORM GIFTS TO MINORS ACT              U/THE MAINE UNIFORM GIFTS TO MINORS ACT
PO BOX 75                                              PO BOX 75                                            PO BOX 75
EAST VASSALBORO, ME 04935-0075                         EAST VASSALBORO, ME 04935-0075                       EAST VASSALBORO, ME 04935-0075



ELIZABETH KOHLMANN                                     ELIZABETH L JEGEL TR                                 ELIZABETH L O'BRIEN & JOSEPH J O'BRIEN JR TR
67 MILFORD AVE                                         UA 02/28/07 WILLIAM L & RUBY S EVANS REV LIV TRUST   UA 12/12/2006 ELIZABETH L O'BRIEN TRUST
WHITING, NJ 08759-2068                                 1238 TAHITI DR                                       316 N HIGHLAND AVE
                                                       SAINT LOUIS, MO 63126                                NYACK, NY 10960



ELIZABETH L O'CONNELL                                  ELIZABETH M BEGER & CARL H BEGER TR                  ELIZABETH M KLEIN
& CHARLES G O'CONNELL & GEORGE S O'CONNELL JT TEN      ELIZABETH M BEGER REVOCABLE LIVING TRUST UA          42 MIDLINE RD
3688 ESTATES DRIVE                                     07/26/01                                             BALLSTON LAKE, NY 12019-9510
TROY, MI 48084-1123                                    3001 MAMELLES DR
                                                       ST CHARLES, MO 63301-0182


ELIZABETH M MC LAURIN USUF MICHAEL B MC LAURINA MINORELIZABETH
                                                      DONALD R M MCMONTGOMERY & MAURICE ELDON MONTGOMERYELIZABETH
                                                                                                         TR       M MULHOLLAND TR UA 03/28/2007 LEO G MULHOLL
LAURIN MINOR&RENHARD G MC LAURIN A MINOR NAKED       UA 09/30/93 THE ELIZABETH M MONTGOMERY FAM LIV TR  ELIZABETH M MULHOLLAND SURVIVORS TRUST
OWNERS                                               5830 LYMAN                                         402 MONICA AVE
1205 YMCA LANE                                       DOWNERS GROVE, IL 60516-1403                       BURLINGTON, WI 53105
COUNCE, TN 38326-4552
                   09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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ELIZABETH M STUDNICKI PATRICIA L STUDNICKI CYNTHIA A STUDNICKI
                                                       ELIZABETH M YOUNG                                     ELIZABETH MARY REINERTSEN
& MATTHEW P STUDNICKI JT TEN                           & JOSEPH B YOUNG & ELIZABETH Y AXTMANN & MELISSA      1353 78TH ST
1097 DOVER RD                                          ANN AXTMANN JT TEN                                    BROOKLYN, NY 11228-2719
PONTIAC, MI 48341-2350                                 501 LEAMINGTON AVE
                                                       WILMETTE, IL 60091-2055


ELIZABETH MCCABE TR JOSEPH R MCCABE FAMILY TRUST UA 12/17/99
                                                    ELIZABETH MERLE HERTZ                                    ELIZABETH N RUTHENBERG TR
PO BOX 250432                                       4659 REINHARDT DR                                        REVOCABLE LIVING TRUST 05/22/92 U-A ELIZABETH N
PATRICK AFB, FL 32925                               OAKLAND, CA 94619-2947                                   RUTHENBERG
                                                                                                             665 OXFORD OAKS LANE
                                                                                                             OXFORD, MI 48371-4234


ELIZABETH P GOLDSTEIN                                  ELIZABETH RODGERS CUST WILLIAM GETZ RODGERS           ELIZABETH SPRENGER & RUDY SPRENGER JT TEN
5041 WILLIAMSBURG CT                                   UNDER THEPENNSYLVANIA U-G-M-A                         2651 270TH ST
ROANOKE, VA 24018-4198                                 1700 HAMILTON AVE                                     FREDERICKSBURG, IA 50630-9491
                                                       APT 503
                                                       TYRONE, PA 16686-2184


ELIZABETH STANG TR                                     ELIZABETH STIO CUST CHRISTINE M STIO                  ELIZABETH STIO CUST JAMES A STIO
07/07/1997 RUSSELL C STANG & ELIZABETH A               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
STANGREVOCABLE LIVING TRUST                            12004 CAMARGO CT                                      12004 CAMARGO CT
1732 PINE VALLEY DR                                    CHARLOTTE, NC 28277-9676                              CHARLOTTE, NC 28277-9676
MELBOURNE, FL 32935


ELIZABETH STROUD LODER TR                              ELIZABETH T HUGHES TR                                 ELIZABETH T PITONYAK TR
THOMAS RUDD JR TESTAMENTARY TRUST UA 10/04/04          ELIZABETH T HUGHES REVOCABLE LIVING TRUST UA          ELIZABETH T PITONYAK REVOCABLE LIVING TRUST UA
1119 CLUBHOUSE AVE                                     10/30/90                                              04/21/99
HUNTSVILLE, AL 35802                                   1485 BUTTERFIELD TRAIL APT 5                          10100 BURNT STORE RD UNIT 49
                                                       KANKAKEE, IL 60901-2944                               PUNTA GORDA, FL 33950-7954


ELIZABETH T SOOY CUST ADRIAN SOOY                      ELIZABETH T SOOY CUST FRANCES SOOY                    ELIZABETH TEJEIRA
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT           U/THE CALIF UNIFORM GIFTS TO MINORS ACT               & RODRIGO TEJEIRA & REINMAR TEJEIRA & ALFONSO
110 1/2 ROSS ST                                        110 1/2 ROSS ST                                       TEJEIRA JT TEN
SAN RAFAEL, CA 94901-5914                              SAN RAFAEL, CA 94901-5914                             PTY110 BOX 025724
                                                                                                             MIAMI, FL 33102-5724


ELIZABETH V BULZAN TR                                  ELIZABETH W PAULEY CUST JANET W PAULEY                ELIZABETH WATTS EPSTEIN CUST REBECCA EPSTEIN UTMA M
ELIZABETH V BULZAN REVOCABLE LIVING TRUST UA           U/THE CONN UNIFORM GIFTS TO MINORS ACT                48 SOUTH PAULA STREET
01/24/01                                               1239 RANDALIA RD                                      LAUREL, MD 20724-2555
220 S FORCE RD                                         CHESAPEAKE CITY, MD 21915-1121
ATTICA, MI 48412-9751


ELIZABETH WHITLOCK KADEL CUST ELIZABETH BOLTON KADELELIZABETH Y PINKSTON & THEODORE PINKSTON JT TEN          ELIZABETH ZOPPI
U/THE N H UNIFORM GIFTS TO MINORS LAW               PO BOX 251244                                            7A HOMESTEAD DRIVE
10047 DARNAWAY CT                                   MONTGOMERY, AL 36125-1244                                WHITING, NJ 08759-1908
BRISTOW, VA 20136-3039



ELLA C WALKER CUST CRAIG F WALKER                      ELLA D VOGEL TR UA 01/13/2005 ELLA D VOGEL TRUST #1   ELLA M GROSS
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             3044 THORNAPPLE LANE                                  & MAYNARD A GROSS & RICHARD H GROSS & GERALD A
3504 RIDGEFIELD RD                                     BAY CITY, MI 48706                                    GROSS JT TEN
LANSING, MI 48906-3547                                                                                       1307 FERDEN RD
                                                                                                             NEW LOTHROP, MI 48460-9616


ELLA M WILLIAMS TR ELLA M WILLIAMS TRUST UA 02/07/97   ELLEN A S MOLL                                        ELLEN D SALATI CUST DAVID S SALATI
1301 KLEIN AVE                                         & MATTHEW R R MOLL & PAMELA C MOLL & RICHARD G        U/THE N J UNIFORM GIFTS TO MINORS ACT
DOWNERS GROVE, IL 60516-3761                           MOLL JT TEN                                           696 NATHAN ROBERTS CT
                                                       8042 CAPTAINS COURT                                   MIDDLETOWN, DE 19709-9276
                                                       FREDERICK, MD 21701
                   09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
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ELLEN E MYERS CUST ROBERT L MYERS                ELLEN J CHRISTENSEN                             ELLEN J CHRISTENSEN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT       185-223 TUSCANY SPRINGS BLVD NW                 185-223 TUSCANY SPRINGS BLVD NW
PO BOX 85                                        CALGARY AB                                      CALGARY AB
DIMONDALE, MI 48821-0085                         T3L 2M2 CANADA                                  T3L 2M2 CANADA



ELLEN J CHRISTENSEN                              ELLEN JOYCE STEINBERG                           ELLEN L SAVADYGA & DEBOARA MAY SAVADYGA TR
185-223 TUSCANY SPRINGS BLVD NW                  2664 NE 135TH ST                                UA 07/24/02 SAVADYGA FAMILY TRUST OF THE DAVID D
CALGARY AB                                       NORTH MIAMI, FL 33181-3517                      SAVADYGA LIVING
T3L 2M2 CANADA                                                                                   PO BOX 445 - 156 SOUTH ST
                                                                                                 WRENTHAM, MA 02093


ELLEN ROTHSTEIN                                  ELLEN TRIFILETTI                                ELLEN WASSERMAN WEINSTOCK TR
69-62 180 STREET                                 2418 BOSTON ROAD                                ELLEN WASSERMAN WEINSTOCK TRUST UA 08/14/95
FLUSHING, NY 11365-3530                          HINCKLEY, OH 44233                              15726 LOCH MAREE LN APT 4404
                                                                                                 DELRAY BEACH, FL 33446-3211



ELLERY E GRIFFITH & BETTY J GRIFFITH TR          ELLIOT EDELSTEIN CUST SHERYL HOPE EDELSTEIN     ELLIOT EICHLER CUST DAVID EICHLER
UA 01/29/09 GRIFFITH LIVING TRUST                U/THE N Y UNIFORM GIFTS TO MINORS ACT           A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y
17810 CHEYENNE DR                                20959 DE MINA ST                                7 JERICHO ST
INDEPENDENCE, MO 64056                           WOODLAND HILLS, CA 91364-3344                   BEERSHEVA
                                                                                                 ISRAEL


ELLIOT J STEINBERG                               ELLIOT M LEVY CUST KARIN MARLA LEVY             ELLIOT WEINER
14 EDGEWOOD DR                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT      2020 LINCOLN PARK W UNIT 9C
RYE BROOK, NY 10573-1716                         444-12TH ST APT PH-B                            CHICAGO, IL 60614-4726
                                                 BROOKLYN, NY 11215-5102



ELLIOT YAMPELL CUST CHERYL ANNE YAMPELL          ELLIOTT E FARMER JR CUST ELLIOTT E FARMER III   ELLIOTT E FARMER JR CUST JAMIE LEE FARMER
U/THE N J UNIFORM GIFTS TO MINORS ACT            UNDER THE MO TRANSFERS TO MINORS LAW            UNDER THE MO TRANSFERS TO MINORS LAW
415 PEYTON AVE                                   750 TURNBERRY DR                                750 TURNBERRY DR
HADDONFIELD, NJ 08033-2646                       JEFFERSON CITY, MO 65109-4562                   JEFFERSON CITY, MO 65109-4562



ELLIOTT E FARMER JR CUST LESLIE ANN FARMER       ELLIS WILLIAM MOORE                             ELLY C PREIS CUST RAYMOND M PREIS
UNDER THE MO UNIF TRANSFERS TO MINORS LAW        13030 136TH AVE NE                              U/THE CONN UNIFORM GIFTS TO MINORS ACT
750 TURNBERRY DR                                 KIRKLAND, WA 98034                              32 FARMSTEAD LANE
JEFFERSON CITY, MO 65109-4562                                                                    WINDSOR, CT 06095-1833



ELLY PREIS CUST RICHARD P PREIS                  ELLY PREIS CUST RONALD H PREIS                  ELMER G FITING & ALMA E FITING JT TEN
U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT    U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT   2766 LAKESHORE DRIVE
32 FARMSTEAD LANE                                32 FARMSTEAD LANE                               GLADWIN, MI 48624-7811
WINDSOR, CT 06095-1833                           WINDSOR, CT 06095-1833



ELMER M GAUG JR                                  ELMER M STEINBARGER JR                          ELOISE C DE LEON TR
& MARTHA ANN GAUG JT TEN TOD MARY ANN TAYLOR     1900 COLTON DR                                  JOHN N DE LEON & ELOISE C DE LEON REVOCABLE TRUST
SUBJECT TO STA TOD RULES                         KETTERING, OH 45420-1442                        UA 02/13/90
14579 AMES RD                                                                                    837 N FEATHER AVE
MEADVILLE, MO 64659-9266                                                                         LA PUENTE, CA 91746-1227


ELOISE ERWIN THOMPSON CUST MARSHA LEIGH THOMPSON ELROY KRUMP & ARLENE KRUMP JT TEN               ELSE HEIN
U/THE W VA GIFTS TO MINORS ACT                   9205 167TH AVE SE                               G 4225 MILLER RD
2814 PUTNAM AVE                                  HANKINSON, ND 58041-9480                        FLINT, MI 48507
HURRICANE, WV 25526-1424
                       09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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ELSIE COHEN & WILLIAM COHEN & MARK COHEN JT TEN          ELSIE F CAMPANA CUST LESLIE ROBIN CAMPANA           ELSIE H CLARK CUST JOHN H CLARK
C/O STEIN ASSISTED LIVING                                U/THE CAL UNIFORM GIFTS TO MINORS ACT               U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
ROOM 203                                                 38505 SOUTH EAST 86TH PLACE                         301 BLUE ROCK RD
350 DEMOTT LN                                            SNOQUALMIE, WA 98065-9639                           WILMINGTON, DE 19809-3217
SOMERSET, NJ 08873


ELSIE M DEGEN & WARREN R DEGEN TR                        ELSIE M KIRSTEIN & ELDON J KIRSTEIN JT TEN          ELSIE N OWENS & JAMES E OWENS JR TR
DEGEN ASSET MANAGEMENT TRUST UA 03/25/05                 16617 BURN RD                                       JAMES E OWENS & ELSIE N OWENS TRUST UA 02/25/91
10 CONNECTICUT AVE                                       GRANITE FALLS, WA 98252                             4059 BENSON AVE N
FREEPORT, NY 11520-2011                                                                                      ST PETERSBURG, FL 33713-2248



ELSIE S SCHONECK TR UA 03/30/93 ELSIE S SCHONECK LIVING ELVIN
                                                        TRUSTM SCHROPE & JUANITA S SCHROPE TR                ELVINA C VIVIEN OWNER OF AN UNDIVIDED 1/2 & USUFRUCTU
PO BOX 420257                                           UA 05/16/85 ELVIN SCHROPE & JUANITA SCHROPE LIVING   1/2 BETTY V OWSLEY & ELVINA ANN VIVIEN NAKED OWNERS
SUMMERLAND KEY, FL 33042-0257                           TRUST                                                C/O DEWEY OWSLEY 3401 FERRAN DR
                                                        801 HUNTINGTON AVE                                   METAIRIE, LA 70002-4531
                                                        WARREN, IN 46792-9402


ELWOOD C WILSON & PATRICIA A SAUTTERS TR                 ELWOOD H HEINONEN                                   ELWOOD N JUNTUNEN TR
WILSON LIVING TRUST UA 07/01/90                          11752 MORAN                                         ELWOOD N JUNTUNEN REVOCABLE LIVING TRUST UA
222 VALLEYVIEW AVE                                       HAMTRAMCK, MI 48212-4118                            03/16/04
CANTON, OH 44708-5431                                                                                        114 BEACON POINT PKWY S
                                                                                                             FLUSHING, MI 48433-1888


ELZA NEININGER TR ELZA NEININGER LIVING TRUST UA 08/30/99EMANUEL SCHERMAN CUST RONI LYNN SCHERMAN            EMERSON C PFEIFER JR CUST WILLIAM C PFEIFER
3752 KENSINGTON                                         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT
ROYAL OAK, MI 48073-6436                                11923 FOUNTAINSIDE CIR                               219 SUMMIT HILL DRIVE
                                                        BOYNTON BEACH, FL 33437-4926                         ROCHESTER, NY 14612-3829



EMERSON E HOFSOMMER & DELPHINE C HOFSOMMER TR            EMERY E DULMAGE & EVA JOAN DULMAGE TR               EMIDIO PELUSO & MARIA PELUSO TR
UA 09/20/90 THE EMERSON E HOFSOMMER &                    EMERY E DULMAGE & E JOAN DULMAGE FAM TRUST UA       UA 6/16/93 EMIDIO PELUSO & MARIAPELUSO TRUST
6456 PEACH AVE                                           03/10/92                                            28 FIREBUSH RD
VAN NUYS, CA 91406-6233                                  10471 OSSINEKE RD                                   LEVITTOWN, PA 19056-1814
                                                         OSSINEKE, MI 49766-9538


EMIGRANT SAVINGS BANK TRSUTEE FOR VINCENT ISAOCENT IRA
                                                    EMIL
                                                       PLAN
                                                         BAPTISTE
                                                            DTD CUST DANIELLE RENEE CAVENDER                 EMIL HEINZ
09-19-94                                            U/THE N J UNIFORM GIFTS TO MINORS ACT                    1408 WILLIAMS ROAD
1230 WEBSTER AVE APT 6-B                            4414 THORNBURY DR E                                      PLANT CITY, FL 33565-2457
PO BOX 183                                          VALPARAISO, IN 46383-0806
BRONX, NY 10456-0183


EMILIA C SIMMS                                           EMILIA S LYTWYN CUST JESSICA ANN LYTWYN             EMILIE RUTH KLEIN
PO BOX 692981                                            UNDER THE FL GIFTS TO MINORS ACT                    25058 SAINT CHRISTOPHER ST
MIAMI, FL 33269-2981                                     1936 WINDSWEPT OAK LN                               HARRISON TWP, MI 48045-3721
                                                         FERNANDINA BEACH, FL 32034-8995



EMILIE S STAISEY TR EMILIE S STAISEY TRUST UA 12/15/93   EMILY F GERASIMEK                                   EMILY JUNE WEINGARTEN
RESTELBERGSTRASSE 80                                     341 WHITING RD                                      5555 DEL MONTE #2205
ZURICH                                                   SHARPSVILLE, PA 16150-9696                          HOUSTON, TX 77056-4121
8044 SWITZERLAND



EMILY JUNE WEINGARTEN AS SUCCESSOR CUST SHARON GAILEMILY
                                                    WEINGARTEN
                                                         L WEINGARTZ TR EMILY L WEINGARTZ TR UA 11/29/73     EMILY M WEINGARTZ TR ALOYSIUS WEINGARTZ TR UA 11/29/7
U/THE TEXAS U-G-M-A                                286 CORNELL DRIVE                                         286 CORNELL DRIVE
5019 IMOGENE                                       BATTLE CREEK, MI 49017-4643                               BATTLE CREEK, MI 49017-4643
HOUSTON, TX 77096-2715
                    09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                          Part 8 of 8 Pg 109 of 440
EMILY RINGLEIB                                     EMMA C OSSI CUST RONALD ROBERT OSSI                 EMMA M EVANS CUST GARY P EVANS
200 220 E MILTON AVE #907 N                        A MINOR U/P L 55 CHAPT 139 OF THE LAWS OF N J       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
RAHWAY, NJ 07065                                   PO BOX 3586                                         PO BOX 101
                                                   MILFORD, CT 06460-0945                              IONIA, NY 14475-0101



EMMA MAE LORENCZ TR                                EMMET J HANICK TR                                   EMMETT J GRIMM CUST JAY E GRIMM
UA 11/14/2005 EMMA MAE LORENCZ REVOCABLE LIVING    UA 11/25/92 EMMET J HANICK & MAE HANICK REVOCABLE   U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
TRUST                                              LIVING TRUST                                        14607 W FOX CREEK CT
2772 22ND STREET                                   6004 PEBBLE HILL DR                                 BRIMFEILD, IL 61517-9529
WYANDOTTE, MI 48192                                ST LOUIS, MO 63123-2731


EMMETT R MILLER & CAROL B MILLER TR                ENID SCHWARTZ CUST WALLACE SCHWARTZ                 ENTRIP L SYVERSON & SHARON C SYVERSON TR
EMMETT R & CAROL B MILLER FAM REVOCABLE TRUST UA   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          ENTRIP L SYVERSON TRUST UA 09/04/01
06/07/91                                           HAINES CORNERS                                      20037 HOYA COURT
22 CHAPEL DRIVE                                    MOUNT KISCO, NY 10549                               LAKEVILLE, MN 55044-6829
LAFAYETTE, CA 94549-3310


ENZO CASTELLI CUST ROBERT J CASTELLI               EPPIE BEGLEITER CUST SHAEN W BEGLEITER              EREIDA ORTIZ
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         U/THE N Y UNIFORM GIFTS TO MINORS ACT               PO BOX 210553
1850 1/2 N 2959TH RD                               PO BOX 1298                                         AUBURN HILLS, MI 48321-0553
OTTAWA, IL 61350-9775                              NEW YORK, NY 10023-1298



ERHARD L SPRANGER                                  ERHARD L SPRANGER                                   ERHARD L SPRANGER
2100 139 A ST                                      2100 139 A ST                                       2100 139 A ST
SURREY BC                                          SURREY BC                                           SURREY BC
V4A 9V4 CANADA                                     V4A 9V4 CANADA                                      V4A 9V4 CANADA



ERHARD L SPRANGER                                  ERIC BILLES CUST ELAINE N BILLES                    ERIC GOLDSTEIN & ROBIN LIPTON JT TEN
2100 139 A ST                                      U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          8 ORAN PLACE
SURREY BC                                          7206 CREEKS BEND DR                                 MORGANVILLE, NJ 07751-2003
V4A 9V4 CANADA                                     WEST BLOOMFIELD, MI 48322-3524



ERIC HOFMEISTER EPSTEIN                            ERIC J PORTEUS & MARY PORTEUS CONKLIN TR            ERIC MC GUIRE CUST ERIC L MC GUIRE JR
22505 KENSINGTON ROAD                              UA PORTEUS FAMILY TRUST 12/22/89                    A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW
NORWALK, WI 54648-7080                             156 LAWRENCE ST APT 17                              JERSEY
                                                   SARATOGA SPRINGS, NY 12866-1349                     LITCHFIELD WAY BOX 18
                                                                                                       ALPINE, NJ 07620-0018


ERIC MC GUIRE CUST MICHELE ANN MC GUIRE            ERIC P REINAGEL                                     ERIC ROSS EDQUIST TR
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW    1605 CHRISTI AVE                                    UA 05/25/82 NELS E EDQUIST & CORAL H EDQUIST TRUST
JERSEY                                             CHAPEL HILL, TN 37034-2061                          6704 MURPHYS CRT
LITCHFIELD WAY BOX 18                                                                                  BAKERSFIELD, CA 93309
ALPINE, NJ 07620-0018


ERIC S WEINBERG                                    ERIC STEIN                                          ERIC T KLEIN
5750 CROWNLEIGH CT                                 N9081 OAKWOOD LN                                    21 PINE CLIFF ROAD
BURKE, VA 22015-1857                               MUKWONAGO, WI 53149-1815                            CHAPPAQUA, NY 10514-2610




ERIC W BENDREY                                     ERIC W CHOW                                         ERIC WAI KIT CHOW
4888 164TH AVE                                     69 SIAN TUAN AVENUE                                 69 SIAN TUAN AVENUE
WEST OLIVE, MI 49460-9588                          588343 SINGAPORE                                    588343 SINGAPORE
                    09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
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ERIC WAI-KIT CHOW                                   ERIE W RAASCH JR CUST BUDDY RAASCH                    ERIKA E KROENLEIN TR ERIKA KROENLEIN FAM TRUST UA 11/2
69 SIAN TUAN AVENUE                                 U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT            191 WALFORD CIR
588343 SINGAPORE                                    17607 N E 52ND STREET                                 BISHOP, CA 93514-7625
                                                    LIBERTY, MO 64068-8315



ERIN COREY                                          ERIN HOLDEN POWELL                                    ERIN L ELLSWORTH
3216 180TH PL SW                                    1015 106TH AVE SE                                     18661 250TH ST
LYNNWOOD, WA 98037-3935                             BELLEVUE, WA 98004-6801                               TONGANOXIE, KS 66086-3282




ERIN N HEIN                                         ERMA L BURKS JR                                       ERMA M EDWARDS CUST ROBERT STUART EDWARDS
10382 WILDWOOD DR                                   PO BOX 310155                                         U/THE MD UNIFORM GIFTS TO MINORS ACT
ZIONSVILLE, IN 46077-8508                           FLINT, MI 48531-0155                                  1601 BOGGS RD
                                                                                                          FOREST HILL, MD 21050-2530



ERMADALE WIRT                                       ERNEST A JONES CUST ERNEST A JONES 3RD                ERNEST A MERLINO CUST ERNEST A MERLINO JR
3143 248TH TRL                                      A MINOR U/THE LAWS OF THE STATE OF MICH               U/THE WASH UNIFORM GIFTS TO MINORS ACT
PANORA, IA 50216-8693                               2022 NORTHWOOD BLVD                                   PO BOX 398
                                                    ROYAL OAK, MI 48073-3924                              CLE ELUM, WA 98922-0398



ERNEST A PFEIFFER & PATRICK M O'CONNELL TR          ERNEST COOPER & JOYCE M COOPER TR                     ERNEST E MEINEN
LANEKO ROLL FORM IN SVGS & INV PLAN UA 01/01/91     COOPER 1993 REVOCABLE TRUST U-I 02/08/93              W6986 CO ROAD A
3003 UNIONVILLE PK                                  11243 26 MILE RD                                      ELKHORN, WI 53121-2864
HATFIELD, PA 19440-1825                             OAKDALE, CA 95361-9268



ERNEST E PUCKETT & EILEEN M WISIG TR                ERNEST EDWIN STORY CUST GEORGE RUSSELL STORY          ERNEST F SCHWARZ
PUCKETT/WIRSIG FAMILY TRUST UA 7/14/92              UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW        44 TEXAS BLVD
179 TIMBERTOYES DR                                  GENERAL DELIVERY                                      WHITING, NJ 08759-1444
DOVER, TN 37058-6137                                WOLF ISLAND, MO 63881



ERNEST FREDERICK STEINER                            ERNEST G JESELNIK                                     ERNEST G SCHWADERER & CONSTANCE L SCHWADERER TR
9451 EDGEWOOD AVE                                   & HELEN JESELNIK JT TEN TOD MARK A JESELNIK SUBJECT   ERNEST G SCHWADERER & CONSTANCE L
TRAVERSE CITY, MI 49684-8169                        TO STA TOD RULES                                      6234 VIRGINIA STREET
                                                    7027 LATHROP                                          CASS CITY, MI 48726-1024
                                                    KANSAS CITY, KS 66109-1820


ERNEST G THOMAS                                     ERNEST H MCMURRAY                                     ERNEST J GOREY & SHARON K GOREY TR
163 WEINLAND DR                                     306 999 BERKLEY RD                                    UA 05/22/2007 ERNEST J GOREY & SHARON K GOREY
NEW CARLISLE, OH 45344-2928                         NORTH VANCOUVER BC                                    7335 US HWY 20
                                                    V7H 1Y3 CANADA                                        DELTA, OH 43515



ERNEST J HAZUKA & BARBARA T HAZUKA TR               ERNEST J LAGER                                        ERNEST J NEWMAN JR & H DELORES NEWMAN TR
ERNEST J & BARBARA T HAZUKA REVOC FAMILY TRUST UA   PO BOX 320793                                         UA 11/13/2009 ERNEST J NEWMAN JR & H DELORES
10/30/98                                            FLINT, MI 48532-0014                                  PO BOX 3
6801 E PECK RD                                                                                            CHIPPEWA LAKE, MI 49320
LEXINGTON, MI 48450-8302


ERNEST L FABRIZIO & NATHALIEM FABRIZIO TR           ERNEST L MASTERS CUST ERNEST L MASTERS JR             ERNEST L WILLIAMS JR & EUNICE P WILLIAMS TR
FABRIZIO REVOCABLE LIVING TRUST UA 04/25/02         U/THE S C UNIFORM GIFTS TO MINORS ACT                 ERNEST L WILLIAMS JR & EUNICE P WILLIAMS TRUST UA
18720 TWIN BAY LN                                   937 BOWMAN RD                                         02/12/90
KIEL, WI 53042-3763                                 APT 335                                               323 BERSHIRE
                                                    MT PLEASANT, SC 29464-3228                            ROSELLE, IL 60172-3003
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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ERNEST M RILEY CUST ERNEST M RILEY 2ND               ERNEST M WYCKOFF & FRANCES E WYCKOFF TR             ERNEST O MILLER CUST ROBERT D MILLER
U/THE DEL UNIFORM GIFTS TO MINORS ACT                ERNEST M & FRANCES E WYCKOFF JT LIVING              U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
188 STARR ROAD                                       3900 HAMMERBERG RD                                  125 MELANIE LOOP
NEWARK, DE 19711-2002                                FLINT, MI 48507-6022                                DAPHNE, AL 36526-8021



ERNEST P LEDTERMAN & LAURETTA B LEDTERMAN & KAREN LEDTERMAN
                                                   ERNEST R STR
                                                              WITTEN CUST STUART M S WITTEN              ERNEST RICHARD RAYNO
LEDTERMAN FAMILY TRUST UA 05/24/84                 U/THE N C UNIFORM GIFTS TO MINORS ACT                 596 165TH AVE
5867 SOLEDAD MT RD                                 410 W ROCKCLIFF CT                                    HERSEY, MI 49639-8779
LA JOLLA, CA 92037                                 SENECA, SC 29672-0760



ERNEST W CULLEN                                      ERNEST W DILL CUST SALLY C DILL                     ERNESTINE L BLASBERG TR
2741 136TH AVE                                       U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT          ERNESTINE L BLASBERG REVOCABLE LIVING TRUST UA
#19                                                  801 BALD EAGLE RD                                   07/18/97
HOPSKINS, MI 49328-9740                              REHOBOTH BEACH, DE 19971-1419                       211 LAWRENCE RD
                                                                                                         CARY, NC 27511-5958


ERNESTINE WASHINGTON TR                              ERNESTO B HERRERA & ELENA V HERRERA TR              ERVIN A WOODKE CUST ARTHUR R WOODKE
UA 01/26/93 THE ERNESTINE WASHINGTON LIVING TRUST    ERNESTO B & ELENA V HERRERA LIVING                  U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
946 E RUTH STREET                                    1612 SUNNYVALE ST                                   C/O ARHUR 16736 BEVERLY AVE
FLINT, MI 48505-2288                                 AUSTIN, TX 78741-2552                               TINLEY PARK, IL 60477-2951



ERVIN A WOODKE CUST TIMOTHY M WOODKE                 ERVIN LEONHARD CUST LISA JANE LEONHARD              ERWIN A CHADARANEK & DOLORES A CHADARANEK TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           A MINOR PURS TO SECS 1339 /26 INCLUSIVE OF THE      ERWIN A & DOLORES A CHADARANEK REVOCABLE
16736 BEVERLY LANE                                   4012 FULTON AVE                                     4220 PRAIRIE AVE
TINLEY PARK, IL 60477-2951                           DAYTON, OH 45439-2120                               BROOKFIELD, IL 60513-2103



ERWIN A EPSTEIN CUST SCOTT ROBERT EPSTEIN            ERWIN F BRINKMANN JR TR                             EST OF ERNEST J SWIMMER ERIKA SWIMMER & DONALD FRAN
U/THE CALIF UNIFORM GIFTS TO MINORS ACT              ERWIN F BRINKMANN JR REVOABLE TRUST UA 07/28/06     STETTINSTR 22
1010 LAKE WINDWARD OVERLOOK                          3500 N OKETO AVE                                    2000 WEDEL HOLSTEIN WEST
ALPHARETTA, GA 30005-9012                            CHICAGO, IL 60634-3424                              GERMANY



EST OF SHERMAN M BIJUR VIRGINIUS VICTOR ZIPRIS JEROME BIJUR
                                                      ESTATE ANNE FISHBEIN WITH GILBERT FISHBEIN EXTR    ESTATE OF NATHANIEL A OLINGER WITH JOHN J EISENBERG
& HELEN HARRIET BIJUR EX                              C/O MAXINE PILAVIN                                 & CAROLYN EISENBERG EXTRS
207 HARRIS DR                                         40 GORDONS CORNER ROAD                             920 PINE VALLEY CIR
SEWELL, NJ 08080-9459                                 MANALAPAN, NJ 07726-3704                           RYDAL, PA 19046-2556



ESTATE OF THELMA NELLIE GREEN WITH RONALD JAMES LETTEN
                                                    ESTATE OF WILLIAM F BURGESS                          ESTELLE MERI RACANELLI TR
& PAUL ALBERT BERNARDO AS EXTRS                     C/O JANET L BURGESS                                  ESTELLE MERI RACANELLI REVOCABLE LIVING TRUST UA
PO BOX 125                                          5658 N CALLE DE LA REINA                             05/06/98
NIDDRIE                                             TUCSON, AZ 85718-4479                                6675 SOUTH A1A HIGHWAY
3042 AUSTRALIA                                                                                           MELBOURNE BEACH, FL 32951-3806


ESTHER BERGSTEIN                                     ESTHER DONALDSON OTTAWAY RUSSELL G DONALDSON G WILLIAM
                                                                                                        ESTHERDONALDSON
                                                                                                                E FINKLESTEIN
7560 WOODMAN PL #B7                                  & JOHN M DONALDSON TR DONALDSON FAM TR UA 12/22/70 24 FISHER ST
VAN NUYS, CA 91405-1556                              77 GARDEN DR                                       NATICK, MA 01760-2607
                                                     FAIRPORT, NY 14450-2342



ESTHER J NEUGER CUST DAVID FREDERIC WOLDMAN A MINORPURSUANT
                                                   ESTHER JEANTOKERRIGAN TR                              ESTHER JOAN BATTLE SOLE TR MINNIE STEINHAUER TRUST U
SECTIONS 1339 /26 INCL OF THE REVISED CODE OF OHIO JOHN PAUL KERRIGAN & ESTHER JEANKERRIGAN TR UA        1450 PRESIDENT ST
1602 MAPLE RD                                      09/13/91                                              YELLOW SPRINGS, OH 45387-1301
CLEVELAND, OH 44121-1732                           PO BOX 390
                                                   WHITMORE LAKE, MI 48189
                   09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                           Part 8 of 8 Pg 112 of 440
ESTHER LOWENSTEIN                                   ESTHER M TRISSEL & G FORREST JACKSON TR              ESTHER MOODY RHODES CUST STEPHEN JAMES RHODES
370 BIRCH ST                                        TRISSEL FAMILY TRUST UA 12/14/88                     A MINOR UNDER THE LAWS OF GA
DENVER, CO 80220-4948                               1010 TAYWOOD RD COTTAGE 206                          2047 STROUD RD
                                                    ENGLEWOOD, OH 45322-2415                             JACKSON, GA 30233-2814



ESTHER P HAYES                                      ESTHER STELLWAGEN CUST MARK STELLWAGEN               ESTHERLOU C KNIGHT CUST GREGORY C KNIGHT
ATTN JOAN P RANDALL EXECUTRIX                       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           U/THE PA UNIFORM GIFTS TO MINORS ACT
PO BOX 372232                                       1373 OUTLOOK DR                                      433 SEMINOLE DRIVE
SATELLITE BEACH, FL 32937-0232                      MOUNTAINSIDE, NJ 07092-1412                          ERIE, PA 16505-2425



ESTOL L CULP & VELMA N CULP & RONALD S CULP & JENNETTEETE
                                                       M LAPE
                                                          HEATING
                                                              & & A/C                                    ETHANOOR THUPPALAE USHA-ROSATO & VINCE JEROME ROS
PO BOX 350009                                         112 WATRUSA                                        1542 141ST AVE
GRAND ISLAND, FL 32735-0009                           WADSWORTH, OH 44281                                SAN LEANDRO, CA 94578-1702




ETHEL B HARBRUCKER TR                               ETHEL BURNS CUST BRITINER GREEN UGMA CT              ETHEL CHESANOW CUST CHARLES ROBERT CHESANOW
LEAONARD C HARBRUCKER & ETHEL B HARBRUCKER          5629 JUSTIN CT                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT
REVOCABLE TR UA 10/24/97                            YPSILANTI, MI 48197-6778                             4555 ARROWHEAD RD
28912 URSULINE ST                                                                                        POWELL, OH 43065-8950
ST CLAIR SHORES, MI 48081-1024


ETHEL E WEINBERG                                    ETHEL J JOHNSON                                      ETHEL J PUDLEINER & GARY L PUDLEINER JT TEN
PO BOX 420                                          50 LACEY RD                                          316 NORTH SCENIC STREET
PROSPERITY, SC 29127-0420                           APT C117                                             ALLENTOWN, PA 18104-4506
                                                    WHITING, NJ 08759-2957



ETHEL R BUCK & DONALD E BUCK TR                     ETHEL S PIERCE & LINCOLN & HENRY C PIERCE TR         ETHEL STEIN
ETHEL R BUCK REVOCABLE LIVING TRUST UA 01/13/99     HENRY C PIERCE CLAUSE TENTH 1                        1 FERNWOOD CT
BOX 714                                             C/O H C PIERCE                                       CLIFTON, NJ 07011-2901
ST AUGUSTINE, FL 32085-0714                         6520 RAINBOW AVE
                                                    MISSION HILLS, KS 66208-1966


ETHEL VOLDEN CUST ALFRED HAROLD VOLDEN              ETSUKO NAKANISKI MOTOOKA TR                          ETTA PEARL SPENCER
U/THE N M UNIFORM GIFTS TO MINORS ACT               UA 11/27/90 THE ETSUKO NAKANISHI MOTOOKA TRUST       & EARL SPENCER & BETTY C BREWER & KATHY L MITCHELL
3215 SECOND ST S W                                  2135 PAUOA ROAD                                      JT TEN
ALBUQUERQUE, NM 87105-0205                          HONOLULU, HI 96813-1514                              8805 SO CRANDON AVE
                                                                                                         CHICAGO, IL 60617-3051


ETTIE RUBENSTEIN                                    EUEL L SMITH                                         EUGENE A KAMINSKI & HONORATTA KAMINSKI TR
APT 5-C                                             100 FREINDSHIP CHURCH ROAD                           EUGENE A KAMINSKI LIVING TRUST UA 11/25/96
2500 EAST AVE                                       MILNER, GA 30257-4019                                3856 ESTATES DR
ROCHESTER, NY 14610-3170                                                                                 TROY, MI 48084-1159



EUGENE C BIITTNER                                   EUGENE C FALL & PHYLLIS R FALL TR                    EUGENE CHAMBERS & DAVID LASHIER TR
8510 140TH ST NORTH                                 REV TR 04/04/89 U-A EUGENE C FALL & PHYLLIS R FALL   CAROLINE C WILSON TESTAMENTARY TRUST UA 02/23/95
SEMINOLE, FL 33776-2908                             6222 WESTMORLAND PLACE                               PO BOX 421
                                                    GOLETA, CA 93117-1609                                SHENANDOAH, IA 51601-0421



EUGENE D CORKERY CUST BRIAN DENNIS CORKERY          EUGENE D JACKSON & BONNIE L JACKSON TR               EUGENE DELMONICO CUST EUGENE DELMONICO JR
U/THE MD UNIFORM GIFTS TO MINORS ACT                UA 08/09/89 EUGENE D JACKSON & BONNIE L JACKSON      A MINOR U/P L 55 CHAP 139 LAWS OF N J
5308 WAPAKONETA ROAD                                TRUST                                                7 RALEIGH CT
BETHESDA, MD 20816-3130                             344 N BENDER                                         MORRISTOWN, NJ 07960-2535
                                                    GLENDORA, CA 91741-2542
                    09-50026-mg             Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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EUGENE E BAHORSKI & ISABELLE BAHORSKI TR                 EUGENE E WITT CUST DAVID WITT                      EUGENE EDWARD ZANG & JANET LUCILLE ZANG TR
UA BAHORSKI FAMILY LOVING TRUST 12/04/90                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         UA 05/07/93 EUGENE E & JANET L ZANG LIVING TRUST
31672 BREEZEWAY                                          65 ELEVEN O'CLOCK RD                               2833 WOODHAMS AVE
NEW BALTIMORE, MI 48047-3016                             WESTON, CT 06883                                   PORTAGE, MI 49002-7633



EUGENE F FUNKE & NORMA L FUNKE TR                        EUGENE F WILMES & ROSEMARY C WILMES TR             EUGENE G BARRON II CUST EUGENE G BARRON III
FUNKE FAMILY LIVING TRUST UA 10/05/04                    EUGENE F WILMES TRUST UA 03/29/04                  UNDER MO UNIF TRANSFERS TO MINORS LAW
45569 BURGUNDY                                           9325 COLUMBUS AVENUE SOUTH                         1325 WADSWORTH DR
MACOMB, MI 48044-6038                                    BLOOMINGTON, MN 55420-3849                         FLORISSANT, MO 63031-8329



EUGENE G MCKIBBEN & SARA E MCKIBBEN TR                   EUGENE GARRETT & PHYLLIS GARRETT TR                EUGENE H BRILZ & GEORGIA G BRILZ TR
UA 05/12/93 THE EUGENE G MCKIBBEN REVOCABLE TRUST        EUGENE GARRETT & PHYLLIS GARRETT LIVING TRUST UA   EUGENE H BRILZ & GEORGIA G BRILZ FAM TRUST UA
300 ROTUNDA CT                                           12/16/94                                           09/22/95
ST CHARLES, MO 63303-8438                                1203 MULBERRY LN                                   5757 W CHANDLER BLVD
                                                         BELLAIRE, TX 77401-2709                            CHANDLER, AZ 85226-3602


EUGENE H BULRISS                                         EUGENE H KAUFMANN & ANGELA K KAUFMANN & LAWRENCE REUGENE
                                                                                                            KAUFMANN
                                                                                                                   H PETERSON
                                                                                                                      TR      CUST THOMAS E PETERSON
2040 W MAIN ST 210-1951                                  KAUFMANN FAMILY TRUST UA 04/23/99                 U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT
RAPID CITY, SD 57702                                     202 E WOODMAN DR                                  915 89TH AVENUE NW
                                                         TEMPE, AZ 85283-3628                              COON RAPIDS, MN 55433-5706



EUGENE H RICKETTS & BONNIE H RICKETTS TR                 EUGENE HARRIS CUST JUDITH ELLEN HARRIS             EUGENE HEUSCHEL & MARY ALICE HEUSCHEL JT TEN
UA RICKETTS FAMILY TRUST 11/07/91                        U/THE CONN UNIFORM GIFTS TO MINORS ACT             14408 149TH PLACE SE
164 OAK HILL DRIVE                                       2 BROMLEY COURT                                    RENTON, WA 98059
BEEVILLE, TX 78102                                       MORGANVILLE, NJ 07751-9502



EUGENE J KUZINKOSKI & GENEVIEVE KUZINKOSKI TR            EUGENE J PETERSON CUST MARK E PETERSON             EUGENE J SCHNEIDER & THERESA A SCHNEIDER TR
EUGENE J & GENEVIEVE KUZINKOSKI LIVING TRUST UA          U/THE MD UNIFORM GIFTS TO MINORS ACT               UA 07/15/92 THE EUGENE T SCHNEIDER & THERESA
03/17/95                                                 944 COUNTRY CLUB BL                                505 PLANTER'S RIDGE DRIVE
24297 TEPPERT                                            CHESAPEAKE, VA 23322-8088                          SUNSET BEACH, NC 28468-6169
EASTPOINTE, MI 48021-1315


EUGENE KRATUS & LAURA STUART-LILLEY TR                   EUGENE KUBIAK & PHYLLIS S KUBIAK JT TEN            EUGENE L DAVIS & MARY LEE DAVIS TR
UA 01/23/85 MARLORIE BURRELL TR FBO JOSEPH BURRELL       4521-285TH ST                                      UA F-B-O DAVIS FAMILY TRUST 06/28/89
925 EUCLID AVE SUITE 2000                                TOLEDO, OH 43611-1952                              630 GROVE AV
CLEVELAND, OH 44115-1407                                                                                    UKIAH, CA 95482-3931



EUGENE L ROUNDS & DOLORES M ROUNDS TR                    EUGENE L WEINGARTZ                                 EUGENE M BERNSTEIN
ROUNDS REVOCABLE LIVING TRUST UA 09/07/00                6636 JONES RD                                      5178 BLACK PANTHER LOOP
1060 AARON DRIVE 708                                     NORTH BRANCH, MI 48461-9712                        PINETOP, AZ 85935
DEWITT, MI 48820



EUGENE M CIRELLI                                         EUGENE M KLEINER                                   EUGENE M WHITE & CYNTHIA H DUMELLE & JACKIE WHITE ZW
& MICHAEL J CIRELLI & MARK E CIRELLI & KEVIN M CIRELLI   C/O RIPLEY DOORN & CO                              EUGENE M WHITE TRUST UA
JT TEN                                                   217 W GEORGIA AVE STE 100                          12635 CEDAR ST
833 WAYNE AVE                                            NAMPA, ID 83656                                    LEAWOOD, KS 66209-3168
ELLWOOD CITY, PA 16117-2043


EUGENE N MISHLER & FLORENCE N MISHLER TR                 EUGENE P KUEHN & DOLORES D KUEHN TR                EUGENE R DOYLE
EUGENE N MISHLER & FLORENCE N MISHLER                    KUEHN FAMILY REVOCABLE TRUST UA 05/29/03           107 PEINKOFER DR
4067 HAZEL RD                                            4214 CORONADO PKWY                                 CHEEKTOWAGA, NY 14225-2224
LINCOLN, MI 48742-9616                                   CAPE CORAL, FL 33904-7311
                    09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                             Part 8 of 8 Pg 114 of 440
EUGENE R ELMER                                        EUGENE R HUCK & EARLENE M HUCK TR                     EUGENE RICHARD WERLEIN & JANELLE FLOYD WERLEIN TR
PO BOX 210185                                         UA 02/23/2007 EUGENE R HUCK & EARLENE M HUCK          EUGENE RICHARD WERLEIN TRUST UA 08/26/96
AUBURN HILLS, MI 48321-0185                           3801 LINCOLN AVE                                      PO BOX 209
                                                      EVANSVILLE, IN 47714-0152                             SIMONTON, TX 77476-0209



EUGENE TARCZY JR CUST ROBERT JAMES TARCZY             EUGENE TILLMAN TR                                     EUGENE V SPANSKI & DORIS E SPANSKI TR
A MINOR UNDER THE CALIFORNIA GIFTS OF SECURITIES TO   IRREVOCABLE TRUST 11/27/89 U-A F-B-O DREW THOMSON     EUGENE V SPANSKI REVOCABLE LIVING TRUST UA 09/05/97
MINORS ACT                                            TILLMAN                                               743 WOODCHESTER DR
5744 SPERRY DRIVE                                     5808 WARWICK PL                                       BLOOMFIELD HILLS, MI 48304-1969
CITRUS HEIGHTS, CA 95621-7365                         CHEVY CHASE, MD 20815-5411


EUGENE W STARNES RUBY M STARNES TR                    EUGENIO FANTOZZI                                      EUNICE E HEINEMAN
EUGENE W STARNES & RUBY M STARNES LIVING TRUST UA     & RIVA FANTOZZI JT TEN TOD REMO FANTOZZI SUBJECT TO   8517 E CAMBRIDGE
10/09/92                                              STA TOD RULES                                         SCOTTSDALE, AZ 85257-1805
2653 JUNEWAY DR                                       3746 HIGHLAND AVE
MEMPHIS, TN 38134-4738                                BERWYN, IL 60402


EUNICE HAMMEL                                         EUSTAQUIO ORTIZ                                       EVA BLUESTEIN & CLAUDIA BLUESTEIN WEDELL JT TEN
PO BOX 208064                                         4106 142ND ST                                         1523 MADERA CT
CHICAGO, IL 60620-8064                                CRESTWOOD, IL 60445-2306                              CERRITO, CA 94530-2050




EVA BLUESTEIN & MARK BLUESTEIN JT TEN                 EVA M TOWNSEND CUST KENNETH HEBARD TOWNSEND           EVA SIMONS CUST STEVEN HAROLD SIMONS
1523 MADERA CT                                        U/THE ILL UNIFORM GIFTS TO MINORS ACT                 A MINOR UNDER THE LAWS OF THE STATE OF MICHIGAN
CERRITO, CA 94530-2050                                744 HINMAN AVE APT 2                                  6692 STILLWELL
                                                      EVANSTON, IL 60202-4446                               W BLOOMFIELD, MI 48322-1363



EVA STEIN & ERZEBETH SCHARMAN JT TEN                  EVA WHITENECK                                         EVAN M VANDE WALLE & LORETTA PATRICIA VANDE WALLE TR
517 E 83RD ST 4R                                      22A PORTSMOUTH ST                                     VANDE WALLE TRUST UA 9/9/99
NEW YORK, NY 10028-6803                               WHITING, NJ 08759-2050                                18655 W BERNARDO DR #563
                                                                                                            SAN DIEGO, CA 92127-3022



EVAN PORRELLI                                         EVAN ZIMMERMAN STEINER                                EVANGELINE J BALL TOD CHARLES J BALL
23719 102ND PL W                                      12417 HAPPY HOLLOW RD                                 & DEBORAH H STANLEY & BARBARA E JONES
EDMONDS, WA 98020-5766                                COCKEYSVILLE, MD 21030-1711                           7802 PINE PARKWAY
                                                                                                            DARIEN, IL 60561-5034



EVANS D TEETS & BEVERLY A TEETS TR                    EVELYN BARLETT CUST DEWAIN D BARLETT                  EVELYN BRONSTEIN & SANFORD SALZ JT TEN
EVANS D & BEVERLYTEETS TRUST UA 12/07/00              U/THE PA UNIFORM GIFTS TO MINORS ACT                  14411 RUSSELL STREET
3675 PHILLIPS RD                                      102 QUEEN STREET                                      OVERLAND PARK, KS 66223-1804
KINGSTON, MI 48741-8711                               REEDSVILLE, PA 17084-9796



EVELYN C STELL CUST MICHAEL STEVEN STELL              EVELYN D WALKER                                       EVELYN E ARNDT & CARROLL G ARNDT TR
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J          PO BOX 214956                                         EVELYN E ARNDT LIVING TRUST UA 05/22/97
62 S DU PONT ROAD                                     AUBURN HILLS, MI 48321-4956                           104 COLUMBIA AVENUE
PENNS GROVE, NJ 08069-2263                                                                                  ELYRIA, OH 44035-6002



EVELYN E DAVISON & TERRY M DAVISON & BARBARA J DAVISON
                                                     EVELYN
                                                       SCRIVNER
                                                             I DOMINA
                                                                 &    & SAL S DOMINA TR                     EVELYN I GRANNIS CUST JANE GRANNIS
DEBRA J DAVISON CHRISTENSEN JT TEN                   EVELYN I DOMINA & SAL S DOMINA TRUST UA 08/27/90       U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT
9733 AMANDA DR                                       11418 70TH TERRACE NORTH                               335 WESTFIELD DRIVE
FOWLERVILLE, MI 48836-9607                           SEMINOLE, FL 33772                                     NASHVILLE, TN 37221-1409
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 115 of 440
EVELYN I GRANNIS CUST JAY GRANNIS                     EVELYN I GRANNIS CUST SUSAN GRANNIS                  EVELYN J GLOWIAK & STANLEY R GLOWIAK TR
U/THE TENNESEE UNIFORM GIFTS TO MINORS ACT            U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT          EVELYN J GLOWIAK REV LIVING TRUST UA 06/18/98
2033 VERANDA PL                                       2012 CASTLEMAN DR                                    13299 JENNILYNN LN
MURFREESBORO, TN 37130-3269                           NASHVILLE, TN 37215-6119                             STERLING HEIGHTS, MI 48313-2637



EVELYN JEAN WILKES & JAMES D ALTENSTADTER TR          EVELYN JOY GOLDBERG TR                               EVELYN KOVALSKY & SUE ANN O'CONNOR &BARBARA J KOVA
UA 10/07/1996 W E WILKES FAMILY TRUST                 UA 11/09/87 M-B EVELYN JOY GOLDBERG REVOCABLE        EVELYN KOVALSKY REVOCABLE LIVING TRUST UA10/02/99
2212 S PERIWINKLE                                     TRUST                                                6316 VELMA AVE
MESA, AZ 85209                                        947 TIVERTON AVE #505                                PARMA, OH 44129-1543
                                                      LOS ANGELES, CA 90024-3012


EVELYN L CARLSON CUST CAROLE DIANNE CARLSON           EVELYN L CARLSON CUST ROBERT ALLAN CARLSON           EVELYN L JOCHEMS WILLIAM JOCHEMS & JANE HENDRICKS TR
A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS OF NEW   A MINOR U/P L 55 CHAP 139 OF THE LAWS OF NEW         CHARLES G JOCHEMS & HIS CHILDRENJOHANNA
JERSEY                                                557 BOXWOOD DR                                       654 REDSTONE BLVD
557 BOXWOOD DR                                        SHIRLEY, NY 11967-1026                               REDSTONE, CO 81623-8935
SHIRLEY, NY 11967-1026


EVELYN L KRONEN CUST DAVID MITCHELL KRONEN            EVELYN L VIALL                                       EVELYN M UNTEREINER
UNDER THE FLORIDA GIFTS TO MINORS ACT                 11934 1000 E RD                                      P O B 247814
7688 BRIDLINGTON DR                                   MANTENO, IL 60950-3156                               COLUMBUS, OH 43224-7814
BOYNTON BEACH, FL 33437-5052



EVELYN MARJORIE LOGAN & VICKI LUCILLE SPURLOCK & CECILEVELYN
                                                       THAYNEMENDE
                                                               LOGANMASON
                                                                      &      & SUZANNE MASON CAMPBELL TR   EVELYN P NOVAK TR
MARJORIE SUE NAEGEL JT TEN                            UW JORDAN PERKINS WYATT JR UA 02/10/04               NON-MARITAL DEDUCTION REVOCABLE TRUST 09/26/79 U-A
2201 JOYCERIDGE COURT                                 PO BOX 95                                            EVELYN P NOVAK
CHESTERFIELD, MO 63017-7121                           KING WILLIAM, VA 23086-0095                          8125 112TH ST UNIT 210
                                                                                                           SEMINOLE, FL 33772-4652


EVELYN PERRY SMITH                                    EVELYN RODSTEIN                                      EVERETT ALAN GREEN
PO BOX 380463                                         50 RIVERSIDE DRIVE                                   8220 112TH ST
DUNCANVILLE, TX 75138                                 APT 5C                                               APT 104
                                                      NEW YORK, NY 10024-6500                              SEMINOLE, FL 33772-4203



EVERETT C ARMENTROUT & LILLIAN S ARMENTROUT TR        EVERETT E COLBY CUST FLORENCE PAGE COLBY             EVERETT EDWARD COLBY CUST EVERETT EDWARD COLBY 3R
ARMENTROUT REV LIV TRUST UA 03/05/02                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT
7741 POPCORN DRIVE                                    393 N MAIN ST                                        393 N MAIN ST
ROANOKE, IN 46783-9206                                MARS HILL, NC 28754-9013                             MARS HILL, NC 28754-9013



EVERETT J FINKBEINER                                  EVERETT J PORTELL & NANCY C PORTELL TR               EVERETT L MIHLFELD TR
1782 NORTON CREEK CT                                  EVERETT J PORTELL & NANCY C PORTELL TRUST UA         EVERETT L MIHLFELD REVOCABLE LIVING TRUST
WIXOM, MI 48393-1423                                  07/28/92                                             AGREEMENT UA 03/04/02
                                                      BOX 45 7559 MULBERRY HILL                            467 S FARM ROAD 89
                                                      BARNHART, MO 63012-0045                              SPRINGFIELD, MO 65802-8717


EVERETT MERRILL HOUSTON JR CUST SAMUAL NEAL HOUSTONEVERETT MERRILL HOUSTON JR CUST THOMAS QUIMBY HOUSTON
                                                                                                     EVERETT PAUL TRITTSCHUH JR CUST EVERETT PAUL TRITTSC
U/THE VA UNIFORM GIFTS TO MINORS ACT               U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT        A MINOR PURS TO SEC 1339 /26 INCL OF REV CODE OF
11340 DANFORTH RD                                  11340 DANFORTH RD                                 5753 US ROUTE 40 E
CHESTERFIELD, VA 23838-2221                        CHESTERFIELD, VA 23838-2221                       LEWISBURG, OH 45338



EVERETT W OPDAHL CUST MISS STEPHANIE DARRAH OPDAHL EWALD RAYMOND SVOBODA & LOIS RUTH SVOBODA TR            EZRA D KNOX
U/THE N Y UNIFORM GIFTS TO MINORS ACT              UA 01/10/94 THE EWALD R SVOBODA &                       508 OTTERBEIN AVENUE
278 STONY LN                                       5420 MAPLEWOOD DRIVE                                    DAYTON, OH 45406-4504
STEVENS, PA 17578-9628                             INDIANAPOLIS, IN 46224-3330
                    09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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F EUGENE ROMANO CUST MICHAEL E ROMANO            F MASSA & D P MASSA & F M DELLORFANO JR TR             F MASSA & D P MASSA & F M DELLORFANO JR TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       UA 12/03/84 GEORGIANA M MASSA                          UA 12/03/84 ROBERT MASSA TRUST
C/O PACEMAKER P O BOX 474 501 MAIN               PO BOX 271                                             PO BOX 271
UTICA, NY 13503-0474                             COHASSET, MA 02025-0271                                COHASSET, MA 02025-0271



F NADINE WEINLANDER                              F ROBERT HEINZMANN JR                                  F S MC WHIRTER CUST GARY BURNS MC WHIRTER
223 RUSSELL ST                                   1810 CENTRAL AVE                                       U/THE S C UNIFORM GIFTS TO MINORS ACT
BLISSFIELD, MI 49228-1337                        NEEDHAM, MA 02492-1407                                 PO BOX 909
                                                                                                        LANCASTER, SC 29721-0909



FAIGIE WEINSTEIN                                 FANNIE M LOVELAND                                      FANNIE S ROSEN
1726 53RD ST                                     13342 3450 EST                                         & SIDNEY M ROSEN & RONALD D ROSEN & BARBARA S
BROOKLYN, NY 11204-1524                          SPRING VALLEY, IL 61362                                STERNETT JT TEN
                                                                                                        APT 123
                                                                                                        29550 FRANKLIN ROAD
                                                                                                        SOUTHFIELD, MI 48034-1151

FARMERS & MERCHANTS BANK & TRUST TR              FARMERS NATIONAL BANK OF BUHL IDAHO TR                 FARRIEL THOMAS NANCE & INEZ L NANCE TR
UA 10/30/74 C V MARS REVOCABLE LIVING TRUST      J P HAMILTON & MARGARET I HAMILTON TR 2/27/74          FARRIEL THOMAS NANCE & INEZ L NANCE LIVING TRUST UA
1644 LUDINGTON STREET                            PO BOX 392                                             05/22/95
MARINETTE, WI 54143-1813                         BUHL, ID 83316-0392                                    802 S HAYES #7
                                                                                                        ENID, OK 73703-6655


FAY A NEWKIRK TR UA 05/05/93 M-B FAY A NEWKIRK   FAY DHEIN NOLTE                                        FAYE L MEDER SUCCESSOR TR
805 116TH AVE                                    4945 SWEETBIRCH DRIVE                                  CARL P MEDER TRUST U-DECLARATION OF TRUST 08/11/89
TREASURE ISLAND, FL 33706-1019                   DAYTON, OH 45424-4856                                  31883 CARLELDERE
                                                                                                        BIRMINGHAM, MI 48025-3941



FAYE L STONE-NIELSEN & ALLEN C NIELSEN JT TEN    FEDERIKO GALARIADA & SUEKO K GALARIADA TR              FELICIA BATCHELDER CUST LISA BATCHELDER
20708 123RD PLACE SE                             FEDERIKO GALARIADA & SUEKO GALARIADA                   U/THE MASS UNIFORM GIFTS TO MINORS ACT
KENT, WA 98031                                   1045 A 4TH AVE                                         PO BOX 27
                                                 HONOLULU, HI 96816-1640                                LARAMIE, WY 82073-0027



FELICIANO P CORPUS                               FELICIANO SEISE                                        FELIPE C ROVERA NETO
PO BOX 210190                                    PO BOX 880784                                          ATTN INTERNATIONAL PERSONNEL
AUBURN HILLS, MI 48321-0190                      PORT ST LUCIE, FL 34988-0784                           GENERAL MOTORS DO BRASIL
                                                                                                        FINANCE AVE GOIAS 1805 CEP 09550 900
                                                                                                        BRASIL BRAZIL


FELIPE CORNELIO ROVERA NETO                      FELIX T TRZCIENSKI & BERNICE & MICHAEL TRZCIENSKI TR   FELIX VICTOR CHATEAU & BETTY LOU KING & MILES E KING JT
GM BRASIL PURCHASING DEPARTMENT                  FELIX T & BERNICE TRZCIENSKI FAMILY TRUST UA 7/20/01   PO BOX 520538
AU GOIAS 185                                     32751 WINONA                                           LONGWOOD, FL 32752-0538
SAS CAETANO DO SUL BRAZIL                        WESTLAND, MI 48185-1441
09551-010 CX 197 BRAZIL


FERAYDOON S BAHRASSA TR                          FERDINAND HEINRICH & ELISABETH HEINRICH JT TEN         FERDINANDE VANDERHOEK & ROSE-MIRIAM V MIRELMAN TR
FERAYDOON S BAHRASSA & PERSIS K SHROFF LIVING    11603 WHISPER DEW                                      FERDINANDE VANDERHOEK 1995 TRUST UA 01/19/95
TRUST UA 08/27/99                                SAN ANTONIO, TX 78230-3533                             1401 BURR OAK ROAD #210B
17 LORIAN DR                                                                                            HINSDALE, IL 60521-2944
LITTLE ROCK, AR 72212-2660


FERNAND J POISSON & CAROL A POISSON TR           FERNANDO A RIVAS                                       FERRIS G KEYT CUST BRUCE ALAN KEYT
POISSON FAMILY TRUST UA 03/13/98                 M GUEMES 1205 1638 VICENTE LOPEZ                       U/THE MINN UNIFORM GIFTS TO MINORS ACT
3485 N BELSAY ROAD                               BUENOS AIRES                                           1180 LAKEVIEW DR
FLINT, MI 48506-2266                             ARGENTINA                                              HILLSBOROUGH, CA 94010-7323
                    09-50026-mg               Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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FERRIS MALOOF CUST MARK F MALOOF UGMA TN              FIDELIS FOX CUST PHILIP FOX                          FIDELITY INVESTMENTS CUST CHRISTOPHE R HINMAN
UNIT 704 7111 WOODMONT AVE                            A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J      1717 116TH AVE
BETHESDA, MD 20815                                    ATTN PHILIP R FOX                                    MENOMINEE, MI 49858
                                                      1175 YORK AVE APT 11-C
                                                      NEW YORK, NY 10021-7174


FIDELITY INVESTMENTS CUST FBO ALBERTO L PEINADO IRA   FIDELITY INVESTMENTS CUST FBO B R ALLEN IRA          FIDELITY INVESTMENTS CUST FBO CHARLES B SLAUGHTER IR
11330 FAIRMONT DRIVE                                  12025 211TH PL SE                                    BOX 171092
SHELBY TWP, MI 48315                                  SNOHOMISH, WA 98296                                  KANSAS CITY, KS 66117




FIDELITY INVESTMENTS CUST FBO CONSTANT D BROWN IRA FIDELITY INVESTMENTS CUST FBO SAMUEL A MASSINGILL III IRA
                                                                                                           FIDELITY INVESTMENTS CUST FBO SOHEIL ROSHAN-ZAMIR IRA
PO BOX 442436                                      PO BOX 292465                                           1432 173RD ST SW
DETROIT, MI 48244                                  DAVIE, FL 33329                                         LYNNWOOD, WA 98037




FIDELITY INVESTMENTS CUST JUDITH A BECKER IRA R/O A/C FIDELITY INVESTMENTS CUST MELVIN WHITESIDE           FIDELITY INVESTMENTS CUST ROSA A GAYTAN
420 BRITTANY CT                                       PO BOX 214604                                        PO BOX 435343
APT A                                                 AUBURN HILLS, MI 48321-4604                          SAN DIEGO, CA 92143-5343
GENEVA, IL 60134



FIDELITY INVESTMENTS INC TR JAMES W BULEMORE IRA      FIDELITY INVESTMENTS TR CARL M HEINRICH              FIDELITY INVESTMENTS TR LOIS M NAGEL IRA
PO BOX 770001                                         2409 FRUIT ST                                        498 2310 EAST CIRCLE
CINCINNATI, OH 45277                                  ALGONAC, MI 48001-4808                               ST GEORGE, UT 84790-1510




FIELDS B ARTHUR II & ANN W ARTHUR TR                  FILEMINA M CALIFANO                                  FILEMON CASTILLO
FIELDS B ARTHUR II FAM TRUST UA 04/25/94              4001 PELHAM RD                                       15139 HAMLIN ST
11804 ROCOSO RD                                       APT 392                                              VAN NUYS, CA 91411-1412
LAKESIDE, CA 92040-1036                               GREER, SC 29650-4367



FILEMON N LASTIMOSA                                   FILES W HYDE                                         FILIPPO A MARSELLA & ANNA F MARSELLA TR
516 FIFTH AVENUE                                      609 CEDAR RIDGE RD                                   UA 10/29/92 MARSELLA FAMILY LIVING TRUST
BRICKTOWN, NJ 08724-1529                              PARAGOULD, AR 72450-2556                             10346 NORTH TERRITORIAL
                                                                                                           PLYMOUTH, MI 48170-5813



FINLEY M FRITZ & ANNE M FRITZ TR                      FIRST NATIONAL BANK TR UW LENORE M KEITZER CHARLES B KEITZER
                                                                                                           FLEMON L BAILEY
UA 12/02/93 FINLEY M FRITZ AND ANNE M FRITZ           & LENORE M KEITZER MEMORIAL TRUST C                  2407 106TH AVE
PO BOX 1310                                           PO BOX 8                                             OAKLAND, CA 94603-4103
LAKESIDE, CA 92040-0909                               MONTEREY, IN 46960-0008



FLETCHER D STREET JR TR                               FLEURETTE C KASSELLS TR                              FLORA ELIZABETH KOURIS STANLEY PETER KOURIS
UA 03/11/92 WITH FLETCHER D STREET JR AS SETTLOR      UA 07/15/2008 FLEURETTE C KASSELLS REVOCABLE TRUST   & GAIL ELIZABETH KOURIS JT TEN
1492 YORKSHIRE                                        1006 WORTHINGTON DRIVE SPRINGS                       PO BOX 333
BIRMINGHAM, MI 48009-5912                             MELBOURNE, FL 32940                                  EASTPORT, MI 49627-0333



FLORA M PATERSON WEYANDT & WILLIAM C WEYANDT JR TR FLORENCE A DITOMMASO                                    FLORENCE C BECK
THE 2002 WEYANDT FAMILY LIVING TRUST UA 2/12/02    1651 139TH AVE                                          C/O KATHERINE J JAKLEWICZ
2913 WALTON COURT                                  SAN LEANDRO, CA 94578-1657                              5622 173RD PL SW
PINOLE, CA 94564-1030                                                                                      LYNNWOOD, WA 98037-2846
                   09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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FLORENCE C SMITH & LORAINE C ERLENBAUGH TR           FLORENCE CASILLAN DACPANO TOD CHRISTOPHER PAUL C DACPANO
                                                                                                        FLORENCE
                                                                                                               SUBJECT
                                                                                                                 E GREINER
                                                                                                                       TO
UA 1/10/86 FLORENCE C SMITH TR                       STA TOD RULES                                      7783 MOYER ROAD
3815 NORTH PITTSBURGH AVENUE                         783 TIMBERLINE DRIVE                               LOCKPORT, NY 14094-9038
CHICAGO, IL 60634-1916                               ROCHESTER, MI 48309



FLORENCE E WAGNER & LORETTA E WAGNER TR              FLORENCE E WEINERMAN                                    FLORENCE G HEINEMAN TR HEINEMAN LIVING TRUST UA 11/18
UA 01/30/89 FLORENCE E WAGNER TRFBO                  623 CENTRAL AVE                                         2084 WEST MEGAN STREET
6829 KIMMSWICK COURT                                 APT 402                                                 CHANDLER, AZ 85224-6984
SAINT LOUIS, MO 63129-3965                           CEDARHURST, NY 11516-2205



FLORENCE GILLMAN & HERMAN GILLMAN TR                 FLORENCE GILLMAN & HERMAN GILLMAN TR                    FLORENCE GOLDBLATT TR
HERMAN & FLORENCE GILLMAN FAMILY TRUST UA 11/15/99   HERMAN AND FLORENCE GILLMAN FAM TRUST UA 11/15/99       ALVIN GOLDBLATT & FLORENCE GOLDBLATT JT
42020 LEISURE VILLAGE 42                             42020 LEISURE VILLAGE 42                                REVOCABLE TRUST UA 12/11/91
CAMARILLO, CA 93012                                  CAMARILLO, CA 93012                                     1605 ABACO DR APT F-4
                                                                                                             COCONUT CREEK, FL 33066-1454


FLORENCE J BOGSTAD & LLOYD O BOGSTAD TR              FLORENCE J FEHRINGER                                    FLORENCE KLEINE TR FLORENCE KLEINE LIVING TRUST UA 12
FLORENCE J BOGSTAD & LLOYD O BOGSTAD FAM TRUST       55051 897 RD LOT 67                                     5308 COUNTY RD 122
UA 04/07/95                                          AUTUMN OAKS                                             WILDWOOD, FL 34785-9100
19530 PINE VALLEY AVE                                CROFTON, NE 68730-3258
NORTHRIDGE, CA 91326-1408


FLORENCE L ROBINSON & LAWRENCE A DE LUCIA TR         FLORENCE LYCZYNSKI & MARTIN A LYCZYNSKI III & MARY ANN FLORENCE
                                                                                                            ELLSWORTHMTR
                                                                                                                       SCHMIDT TR
FLORENCE DEVEREUX ROBINSON DE LUCIA U-A WITH         FLORENCE LYCZYNSKI REVOCABLE                           FLORENCE SCHMIDT REVOCABLE LIVING TRUST UA 11/22/99
3256 E TERRA ALTA BLVD                               69391 SAXON DR                                         3401 ENTERPRISE PKWY
TUCSON, AZ 85716-4540                                BRUCE, MI 48065-4257                                   STE 340
                                                                                                            BEACHWOOD, OH 44122-7340


FLORENCE MARIE LEWIS TR                              FLORENCE O BLACKMORE CUST ANDREW LANSING BLACKMORE
                                                                                                      FLORENCE ROBBINS & SUSAN BERGER & JUDITH M KNIGHT TR
UA 04/14/93 FLORENCE MARIE LEWIS REVOCABLE TRUST     A MINOR U/THE LAWS OF THE DISTRICT OF COLUMBIA   FLORENCE ROBBINS 1994 TRUST UA 09/30/94
4011 PALM TREE BLVD APT 104                          3348 TENNYSON ST NW                              155 SEWALL AVE
BANYAN TRACE                                         WASHINGTON, DC 20015                             BROOKLINE, MA 02446
CAPE CORAL, FL 33904-8917


FLORENCE S ROMANOSKI TR                              FLORENCE S ZOX CUST MISS SHERRY ZOX                     FLORENCE SCHOENHERR-WARNEZ & KIMBERLY M CAHILL TR
UA 02/02/94 FLORENCE S ROMANOSKI REVOCABLE LIVING    A MINOR PUR TO SECS 1339 /26 INCLUSIVE OF THE REVISED   FLORENCE SCHOENHERR-WARNEZ REV LIV TRUST UA
TRUST                                                CODE OF OHIO                                            01/06/99
29331 ELMWOOD                                        2200 LANE ROAD                                          11416 THIRTEEN MILE ROAD
ST CLAIR SHORES, MI 48081-3008                       COLUMBUS, OH 43220-3012                                 WARREN, MI 48093-2566


FLORENCE STEINBERG                                   FLORENCE V MADDOCKS TR                                  FLORENCE W JONES & SUSAN J BRANDT TR
130 PALOMA                                           FLORENCE V MADDOCKS REVOCABLE LIVING TRUST UA           UA 12/11/1997 GEORGE D JONES FAMILY TRUST
SAN FRANCISCO, CA 94127-2610                         03/22/05                                                PO BOX 414
                                                     741 PEBBLES BEACH AVE                                   MELVIN VLG, NH 03850
                                                     PALM BAY, FL 32905-5012


FLORITA SCKOLNIK CUST DAVID ALAN SCKOLNIK            FLOYD A COOPER & MARY M COOPER TR                       FLOYD CANTELL & PAT CANTELL TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                FLOYD A COOPER & MARY M COOPER LIVING TRUST UA          FLOYD & PAT CANTELL REV TRUST UA 10/03/01
3005 SOUTH LEISURE WORLD BLVD                        06/19/91                                                3465 WYNNTON DR
SILVER SPRING, MD 20906-8301                         8507 MELTRICIA                                          ATLANTA, GA 30319-1947
                                                     GRAND BLANC, MI 48439-8035


FLOYD G SCHAMBON                                     FLOYD H AUSTIN & DORIS E AUSTIN TR                      FLOYD L PERRY 3RD & MRS JUDY J PERRY JT TEN
FLOYD SCHAMBON 104473-EK                             UA 06/03/93 FLOYD H AUSTIN & DORIS E AUSTIN REV LIV     9630 161ST AVE N E
KENTUCKY STATE REFORMATORY                           916 CHULA CT                                            REDMOND, WA 98052-3139
3001 WEST HIGHWAY 146                                LADY LAKE, FL 32159-3041
LA GRANGE, KY 40032-0001
                     09-50026-mg         Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 119 of 440
FLOYD M SHEPPARD                                     FLOYD S CANTRELL JR & PATRICIA P CANTRELL TR           FORD C SODERGREN & CAROL E SODERGREN TR
PO BOX 131069                                        FLOYD & PAT CANTRELL REVOCABLE TRUST UA 10/03/01       U-A DTD 11-18-86 FORD C SODERGREN & CAROL E
ANN ARBOR, MI 48113-1069                             3465 WYNNTON DR                                        SODERGREN TRUST
                                                     ATLANTA, GA 30319-1947                                 742 EVANGELINE AVE
                                                                                                            ORLANDO, FL 32809-6421


FOREST C WILLIAMS & DOROTHY M WILLIAMS TR            FORREST L STEINMAN                                     FORREST M SMITH JR CUST MADISON A SMITH
FOREST C WILLIAMS LIVING TRUST UA 08/19/98           160 W KIBLER ST                                        U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
19260 MAGNOLIA ST                                    BLUFFTON, OH 45817-1068                                101 GATEWOOD COURT
SOUTHFIELD, MI 48075-7129                                                                                   SAN ANTONIO, TX 78209-5427



FORREST ROGERS                                       FRANCES A UNDREINER                                    FRANCES AIKENS CUST MAI LAN AIKENS
6489 116A ST                                         30 OVERLOOK DR                                         A MINOR PURS TOSECTIONS 1339 /26 INCLUSIVE OF THE
DELTA BC                                             SYOSSET, NY 11791-1404                                 REVISED CODE OF OHIO
V4E 2C5 CANADA                                                                                              PO BOX 81524
                                                                                                            CHAMBLEE, GA 30366-1524


FRANCES ALICE ALEXANDER TOD MARIAN FAYE ALEXANDER SUBJECT
                                                   FRANCESTOANNSTAWEIDNER
                                                                   TOD    TR                                FRANCES C BERNSTEIN
RULES                                              UA 06/29/2006 GEORGE D & FRANCES A WEIDNER JOINT         5 BREWSTER LANE
7112 YOUNG ST                                      REVOCABLE TRUST                                          BELLPORT, NY 11713-2803
BROOKSVILLE, FL 34601-5556                         7632 WESTFORD COURT
                                                   FORT WAYNE, IN 46835


FRANCES E WILK TOD PATRICIA L WINTERSTEIN SUBJECT TO STA
                                                      FRANCES
                                                         TOD RULES
                                                               H DAVIS TR                                   FRANCES H MIDDLEBROOKS IRVEN B MIDDLEBROOKS
233 SE 31ST STREET                                    LLOYD B & FRANCES H DAVIS REVOCABLE FAMILY            & S DIANE MIDDLEBROOKS JT TEN
CAPE CORAL, FL 33904                                  SURVIVORS TRUST UA 11/23/99                           292 BRIARCLIFF RD
                                                      4911 PIPER GLEN DR                                    JACKSON, GA 30233-2745
                                                      CHARLOTTE, NC 28277-0374


FRANCES HENDERSON LUNDBERG                           FRANCES J CHMIEL & STANLEY R CHMIEL TR                 FRANCES J FRANCIS & CHARLES O BOYLES TR
21019 196TH AVE                                      FRANCES J CHMIEL REVOCABLE LIVING TRUST UA 06/18/02    UA 08/27/2007 JAMES T FRANCIS MARITAL TRUST
RENTON, WA 98058-0543                                108 ALEXANDER DR                                       1504 SANTA ROSA RD
                                                     MC MURRAY, PA 15317-2609                               APT 204
                                                                                                            RICHMOND, VA 23229


FRANCES J FRANCIS & CHARLES O BOYLES TR              FRANCES J KENDALL & BRIAN D KENDALL TR                 FRANCES K FOGG & GEORGE P FOGG III & COLIN S MARSHALL
UA 08/27/2007 JAMES T FRANCIS RESIDUARY TRUST        CARL H KENDALL & FRANCES J KENDALL TRUST UA 04/19/85   FRANCES K FOGG TRUST UA 6/19/96
1504 SANTA ROSA RD                                   1132 EAGLE NEST DR                                     C/O PEDDOCK CAPITAL ADVISORS LLC
APT 204                                              OAKLAND TWNSHP, MI 48306-1214                          50 BRAINTREE HILL OFFICE PARK
RICHMOND, VA 23229                                                                                          SUITE 207
                                                                                                            BRAINTREE, MA 02184

FRANCES KARDON CUST MARTIN STEVEN KARDON             FRANCES L BROWN CUST CLAIRE H BROWN                    FRANCES LICHTENSTEIN
U/THE PA UNIFORM GIFTS TO MINORS ACT                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             1288 STURLANE PL
6447 OVERBROOK AVE                                   12 TARTAN COURT                                        HEWLETT, NY 11557-1206
PHILADELPHIA, PA 19151                               HORSHAM, PA 19044-1966



FRANCES M HAYES                                      FRANCES M PARADISE TR                                  FRANCES M TARINELLI CUST ANTHONY TARINELLI
15674 254 STREET                                     ROBERT L PARADISE & FRANCES M PARADISE LIVING          UNDER THE NEW JERSEY U-G-M-A
LAWRENCE, KS 66044                                   TRUST UA 2/9/94                                        PO BOX 76
                                                     3700 SAN AUGUSTINE DR                                  POTTERSVILLE, NJ 07979-0076
                                                     GLENDALE, CA 91206-1201


FRANCES M TARINELLI CUST MARGUERITE TARINELLI        FRANCES ORR BATCHELOR CUST PHYLLIS SUSAN BATCHELORFRANCES P PERRY CUST WILLIAM H PERRY 3RD
UNDER THENEW JERSEY U-G-M-A                          A MINOR U/LAWS OF NORTH CAROLINA                  U/THE CONN UNIFORM GIFTS TO MINORS ACT
1300 ST CHARLES PL                                   2231 RALEIGH RD                                   14 MELLON ROAD
PEMBROKE PINES, FL 33026-3368                        ROCKY MOUNT, NC 27803-3729                        WELLESLEY, MA 02482-4520
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                            Part 8 of 8 Pg 120 of 440
FRANCES PAUL CUST DEBRA ELLEN PAUL                   FRANCES PINCUS CUST MITCHELL PINCUS                    FRANCES S BALDWIN
U/THE CONN UNIFORM GIFTS TO MINORS ACT               A MINOR U/ART 8-A OF THE PER PROP LAW OF N Y           526 N HEINCKE ROAD
4 MAGNOLIA HIW                                       526 MOUNTAIN AVE                                       MIAMISBURG, OH 45342-2640
W HARTFORD, CT 06117-2021                            WESTFIELD, NJ 07090-3036



FRANCES S SZTUKOWSKI TR                              FRANCES STEINER                                        FRANCES TARINELLI CUST MARGUERITE TARINELLI
UA 01/26/93 FRANCES S SZTUKOWSKI REVOCABLE LIVING    146 CURRITUCK RD                                       U/THE N J UNIFORM GIFTS TO MINORS ACT
TRUST                                                NEWTOWN, CT 06470-1210                                 1300 SAINT CHARLES PL
4013 NORTHBRIDGE LANE                                                                                       PEMBROKE PINES, FL 33026-3368
ST PETERS, MO 63376-3301


FRANCES WEINTRAUB & ARTHUR WEINTRAUB JT TEN          FRANCHON SILBERSTEIN                                   FRANCINE R FEDER CUST JOHN M FEDER
28933 SAN SOLAIRE                                    800 25TH ST NW                                         U/THE CAL UNIFORM GIFTS TO MINORS ACT
MISSION VIEJO, CA 92692-4946                         APT 802                                                111 BAY WAY
                                                     WASHINGTON, DC 20037-2207                              SAN RAFAEL, CA 94901-2476



FRANCIS A REINHOLTZ                                  FRANCIS C MALONEY & FRANCES S MALONEY TR               FRANCIS CASIER CUST DAVID HARPER CASIER
4349 FIR                                             UA MALONEY FAMILY TRUST 04/26/90                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
CLARKSTON, MI 48348-1428                             10524 ROUNDELAY CIRCLE                                 106 MAIN ST
                                                     SUN CITY, AZ 85351-2268                                BURLINGTON, VT 05401-8420



FRANCIS E JACKETT & CATHERINE M JACKETT TR           FRANCIS H HARTMAN & ELMA M HARTMAN TR                  FRANCIS H KLABOUCH & MADELEINE M KLABOUCH JT TEN
FRANCIS E JACKETT & CATHERINE M JACKETT LIV TR UA    UA 04/20/87 F/B/O FRANCIS H HARTMAN & ELMA M HARTMAN   60 EAST END AVE 6A
1059 E ANDERSON                                      3642 GLEN OAKS MANOR DR                                NEW YORK, NY 10028-7973
LINWOOD, MI 48634-9453                               SARASOTA, FL 34232-1047



FRANCIS I DU PONT 2ND CUST MARIA S DU PONT           FRANCIS I DU PONT 2ND CUST SOPHIE G DU PONT            FRANCIS J DE JOURDAN & FRANCIS C DE JOURDAN TR
U/THE DEL UNIFORM GIFTS TO MINORS ACT                U/THE DEL UNIFORM GIFTS TO MINORS ACT                  FRANCIS J DE JOURDAN & FRANCES C DE JOURDAN TRUST
135-M RIDGE RD                                       135 M RIDGE RD                                         UA 02/01/95
CHADDS FORD, PA 19317-9163                           CHADDS FORD, PA 19317-9163                             671 PEBBLE BEACH AVE NE
                                                                                                            PALM BAY, FL 32905-5042


FRANCIS J GILLMAN                                    FRANCIS J HANZEL CUST PAUL J HANZEL                    FRANCIS J MC LAUGHLIN CUST JOAN M MC LAUGHLIN
PO BOX 744905                                        U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT             UNDER THE MASSACHUSETTS U-G-M-A
HOUSTON, TX 77274-4905                               100 CHATHAM LANE                                       13 GASKILL STREET
                                                     FREDERICKSBURG, VA 22405-2508                          MENDON, MA 01756-1136



FRANCIS J MCCARTHY & GLADYS M MCCARTHY TR            FRANCIS J REILLY & RITA J REILLY TR                    FRANCIS JAMES RHEIN
UA MCCARTHY FAMILY TRUST 11/07/91                    UA 10/01/2008 FRANCIS J REILLY & RITA J REILLY         32 THE HORSESHOE
1105 AVENIDA SEVILLA APT 1A                          655 COURTLAND CIR                                      NEWARK, DE 19711-2068
WALNUT CREEK, CA 94595-4130                          WESTERN SPRGS, IL 60558



FRANCIS L FILE & MARY F FILE JT TEN                  FRANCIS L MURPHY & MARY JANE W MURPHY TR               FRANCIS L RICHARDSON & DORIS E RICHARDSON TR
204 WEXFORD LN                                       FRANCIS L MURPHY FIRST AMENDED &RESTATED REV TR        RICHARDSON LIVING TRUST UA 08/12/94
SPARTANBURG, SC 29301-3818                           UA 06/07/99                                            6196 VERDURA AVE
                                                     15 FLAGSTAD ROAD                                       GOLETA, CA 93117-2004
                                                     WEST HARTFORD, CT 06017


FRANCIS LEE LLOYD JR & MARY VIRGINIA BATEMAN LLOYD TR FRANCIS M COUNTS & VIRGINIA COUNTS TR                 FRANCIS M KIMOTO & MARLENE M KIMOTO TR
LLOYD FAMILY TRUST UA 7/17/96                         DAVID COUNTS & ANY MEMBER OF HIS IMMEDIATE FAM        FRANCIS M & MARLENE M KIMOTO LIVING TRUST UA
7709 PEPPERTREE RD                                    122 CATHEDRAL OAKS                                    06/11/98
DUBLIN, CA 94568-1344                                 FOREST CITY, IA 50436-2225                            721 A 9TH AVE
                                                                                                            HONOLULU, HI 96816
                    09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                             Part 8 of 8 Pg 121 of 440
FRANCIS M PAUL CUST JAMES WALTER PAUL                 FRANCIS N SERVODIDIO CUST MARK SERVODIDIO             FRANCIS N SERVODIDIO CUST THOMAS SERVODIDIO
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 U/THE N Y UNIFORM GIFTS TO MINORS ACT                 U/THE N Y UNIFORM GIFTS TO MINORS ACT
469 E JERICHO TURNPIKE                                37 MAPLE AVE                                          1 BALDWIN HILL PL
HUNTINGTON STATION, NY 11746-7311                     MENDHAM, NJ 07945-1317                                MOORESTOWN, NJ 08057-3943



FRANCIS P KEENAN CUST TIMOTHY F KEENAN                FRANCIS Q LEMON JR CUST MARYANN LEMON                 FRANCIS Q LEMON JR CUST MICHAEL FRANCIS LEMON
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT            U/THE DEL UNIFORM GIFTS TO MINORS ACT
75 FOREST HILL DR                                     304 WASHINGTON AVE                                    2 NER HAVEN DR
HUBBARD, OH 44425-2125                                WILMINGTON, DE 19804-3053                             NEWARK, DE 19713



FRANCIS S ABE CUST STEVEN H ABE                       FRANCIS SCOTT HEINEMANN CUST JORDAN PARKER HEINEMANN
                                                                                                        FRANCIS
                                                                                                           UTMA THOMAS
                                                                                                                CA     O'KEEFE CUST BRIAN O'KEEFE
U/THE HAWAII UNIFORM GIFTS TO MINORS ACT              14 HONORS DR                                      UNDER THE PENNSYLVANIA GIFTS TO MINORS ACT
PO BOX 7                                              NEWPORT BEACH, CA 92660-4286                      219 LOCKWOOD LANE
KEALAKEKUA, HI 96750-0007                                                                               WEST CHESTER, PA 19380-6381



FRANCIS V PESCE CUST PAUL F PESCE                     FRANCIS W JENKINS CUST FRANCIS W JENKINS JR           FRANCIS W KIMBALL & MARY G KIMBALL TR
U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT       U/THE VA UNIFORM GIFTS TO MINORS ACT                  UA 02/09/2007 KIMBALL LIVING TRUST
11 MAGNOLIA TERRACE                                   950 MONASKON ROAD                                     4958 ELGIN CIRCLE
PEABODY, MA 01960-2041                                LANCASTER, VA 22503-3404                              SYRACUSE, NY 13215



FRANCIS W WROCK TR UA 02/07/94 FRANCIS W WROCK TRUST FRANCIS
                                                     #I       X CASSAR                                      FRANCIS X CLARKE & OWEN L CLARKE TR
2316 NORTHFIELD                                      22170 REINHARDT                                        FRANCIS X CLARKE REVOCABLE TRUSTUA 10/28/98
TRENTON, MI 48183-2423                               WOODHAVEN, MI 48183-1504                               56 PICKWICK RD
                                                                                                            MARBLEHEAD, MA 01945-1859



FRANCIS X MAHONEY & ESTHER E MAHONEY TR               FRANCIS X MAHONEY & ESTHER E MAHONEY TR               FRANCISCO NELSON SATKUNAS
UA 02/25/94 THE MAHONEY LIVING TRUST                  UA 02/25/94 THE MAHONEY LIVING TRUST                  RUA VITOR MEIRELLES
3 INTERVALE RD                                        3 INTERVALE RD                                        110 JARDIM SAO CAETANO
SUDBURY, MA 01776                                     SUDBURY, MA 01776                                     SAO CAETANO DO SUL-SP
                                                                                                            09581-465 BRAZIL


FRANK & ROSE SWITALSKI TR                             FRANK A CASTER CUST JEFFREY HOWARD CASTER             FRANK A HILL CUST PATRICIA ELLEN HILL
UA 05/13/02 FRANK & ROSE SWITALSKI REV LIVING TRUST   A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS OF NEW   A MINOR U/P L 55 CHAPTER 139 OF LAWS OF NJ
7737 ZIEGLER                                          JERSEY                                                25406 W LAKE SHORE DR
TAYLOR, MI 48180-2619                                 7912 BRIARCREEK RD                                    BARRINGTON, IL 60010-2930
                                                      TALLAHASSEE, FL 32312-3662


FRANK A PAEZ                                          FRANK A PIASECKI & ROSE M PIASECKI TR                 FRANK A SACCO CUST VIRGINIA JEANETTE SACCO
PO BOX 477271                                         UA 09/30/92 FRANK APIASECKI & ROSE M                  U/THE PA UNIFORM GIFTS TO MINORS ACT
CHICAGO, IL 60647-7271                                20656 LUNN RD                                         121 JOSEPH ST
                                                      STRONGSVILLE, OH 44136-4937                           PITTSBURGH, PA 15227-4011



FRANK A STEINER JR                                    FRANK AMBROGIO CUST FRANK C AMBROGIO                  FRANK AMBROGIO CUST JAMES R AMBROGIO
3140 BUFFALO RD                                       U/THE CONN UNIFORM GIFTS TO MINORS ACT                U/THE CONN UNIFORM GIFTS TO MINORS ACT
NEW WINDSOR, MD 21776-8312                            14 HUGHES ST                                          3 ALDEN DR
                                                      EAST HAVEN, CT 06512-2613                             CLINTON, CT 06413-1501



FRANK ARCERI & BRIGITTE E ARCERI TR                   FRANK B ENGLISH III & CINDY ENGLISH JT TEN            FRANK BEAVERS
UA 3/12/92 FRANK & BRIGITTE ARCERI FAM TRUST          PO BOX 121006                                         2049 103RD AVE
92 RUE GRAND                                          ARLINGTON, TX 76012                                   OAKLAND, CA 94603-3325
LAKE ST LOUIS, MO 63367
                       09-50026-mg       Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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FRANK BERNSTEIN & ISAAC BERNSTEIN & MANNY BERNSTEIN JT
                                                     FRANK
                                                       TEN C CARNAGHE & PAULA C CARNAGHE TR              FRANK C NEWBY
475 FDR DR                                           CARNAGHE FAMILY TRUST UA 12/21/95 FRANK C           PO BOX 252211
APT 605                                              6269 SHAMROCK AVE                                   W BLOOMFIELD, MI 48325-2211
NEW YORK, NY 10002                                   GOLETA, CA 93117-2022



FRANK CAMPANILE & KATHERINE L CAMPANILE TR           FRANK D BONNEY & JEANE E BONNEY TR                  FRANK D STEINOCHER
FRANK CAMPANILE REVOCABLE LIVING TRUST UA 03/25/05   UA 06/04/91 THE FRANK D BONNEY AND JEANE E BONNEY   PO BOX 355
3322 FAIR OAKS DRIVE                                 TRUST                                               WEST, TX 76691-0355
BEAVERCREEK, OH 45434-6008                           604 PRAIRIE AVE
                                                     DOWNERS GROVE, IL 60515-3828


FRANK D TRYBULSKI & SHIRLEY M TRYBULSKI TR           FRANK DWYER CUST BRANDON DWYER                      FRANK E BYERLY
FRANK & SHIRLEY M TRYBULSKI INTER-VIVOS TRUST UA     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          AFRH-W673 3700 N CAPITOL ST NW
09/14/93                                             18228 DEEP PASSAGE LANE                             WASHINGTON, DC 20011
3614 BUTTERNUT                                       FORT MYERS BEACH, FL 33931-2311
SAGINAW, MI 48604-9505


FRANK E CASTLES                                      FRANK ELKOVICH TR                                   FRANK F RHINEHART CUST FRANK N RHINEHART
3897 REINWOOD DR                                     FRANK ELKOVICH REVOCABLE INTER-VIVOS TRUST UA       U/THE WASH UNIFORM GIFTS TO MINORS ACT
DAYTON, OH 45414-2445                                07/7/00                                             3208 BELVIDERE AVE SW
                                                     4240 MONROE ST                                      SEATTLE, WA 98126-2225
                                                     WATERFORD, MI 48329-4133


FRANK F WEINBERG                                     FRANK GOODPASTURE III TR                            FRANK GREIFENSTEIN JR
1008 ASHMOUNT AVE                                    UA 06/12/2008 ANNE MCLEAN MINGEA GOODPASTURE        8616 ORCHARD AVENUE
OAKLAND, CA 94610-1205                               FAMILY TRUST                                        BROOKLYN, OH 44144-2543
                                                     PO BOX 16277
                                                     BRISTOL, VA 24209


FRANK H AMRHEIN                                      FRANK H SANDERS                                     FRANK H WHITMYER & RUTH K WHITMYER TR
1000 E 7TH ST                                        PO BOX 680607                                       UA 05/10/91 FRANK H WHITMYER & RUTH K
FLINT, MI 48503-2774                                 HOUSTON, TX 77268                                   46935 DUNSANY
                                                                                                         NORTHVILLE, MI 48167-1018



FRANK H WILLIAMSON JR TR                             FRANK HAENTSCHKE & MARILYN HAENTSCHKE TR            FRANK HEFNER
FRANK H WILLIAMSON REVOCABLE TRUST UA 04/08/91       FRANK & MARILYN HAENTSCHKE TRUST UA 07/10/97        PO BOX 821547
3540 S ALGER ROAD                                    1161 HIGHWAY 770                                    FORT WORTH, TX 76182-1547
ITHACA, MI 48847-9642                                MAYODAN, NC 27027



FRANK J ANGELILLI CUST PETER ANGELILLI               FRANK J CLAVERIE & PHYLLIS M CLAVERIE TR            FRANK J HEINING & LINDA S HEINING JT TEN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UA F-B-O CLAVERIE FAMILY TRUST 11/20/81             1956 KAREN AVE
37 WASHINGTON SQ W                                   1267 METS RD                                        SAINT CLAIR, MI 48079-5563
APT 5A                                               HOLTVILLE, CA 92250-9625
NEW YORK, NY 10011-9141


FRANK J HEINZ                                        FRANK J KOSTUSAK JR & VERONICA T KOSTUSAK TR        FRANK J LAUERMAN 3RD CUST CHRISTOPHER JOSEPH LAUER
11257 ALLAN RD                                       KOSTUSAK FAMILY TRUST UA 09/25/97                   U/THE WISC UNIFORM GIFTS TO MINORS ACT
NEW LOTHROP, MI 48460-9747                           6385 GOLDEN GOOSE LANE                              383 STATE ST
                                                     LAS VEGAS, NV 89118-1950                            MARINETTE, WI 54143-1223



FRANK J LAUERMAN III CUST TIMOTHY BARRY LAUERMAN     FRANK J MASTERSON CUST PETER D MASTERSON            FRANK J MORELLO TR MORELLO TRUST # 1 UA 08/01/06
U/THE WISC UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT               4274 CROWBERRY E TRAIL
3655 S GREENLAWN TER                                 PO BOX 480                                          SAGINAW, MI 48603-1658
NEW BERLIN, WI 53151-5473                            WILLISTON PARK, NY 11596-0480
                   09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                          Part 8 of 8 Pg 123 of 440
FRANK J PAPA & ANNA J PAPA TR                      FRANK K SAUNDERS JR CUST JOHN KASEY SAUNDERS       FRANK KIRSTEIN
FRANK J PAPA & ANNA J PAPA TR UA 10/19/01          U/THE VA UNIFORM GIFTS TO MINORS ACT               BAHNHOFSTR 22
2189 PRICETON PL                                   2512 CORNWALLIS AVE S E                            13125 BERLIN
BROOMALL, PA 19008                                 ROANOKE, VA 24014-3343                             GERMANY



FRANK KIRSTEIN                                     FRANK KIRSTEIN                                     FRANK KOCHER CUST PAUL E KOCHER
BAHNHOFSTR 22                                      BAHNHOFSTR 22                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
13125 BERLIN                                       13125 BERLIN                                       1000 OAK RIDGE DRIVE
GERMANY                                            GERMANY                                            VICTOR, NY 14564-9414



FRANK L DANIELS CUST STEPHEN A DANIELS             FRANK L KELLOGG JR & GLORIA A KELLOGG TR           FRANK L NEWELL & GLORIA M NEWELL TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT             UA KELLOGG FAMILY TRUST 03/14/91                   FRANK NEWELL FAMILY TRUST UA 07/30/04
2933 PUESTA DEL SOL                                250 VELLA VISTA LN                                 7205 SE HOGAN ROAD
SANTA BARBARA, CA 93105-3007                       WATSONVILLE, CA 95076                              GRESHAM, OR 97080-5366



FRANK M FAGIANO & NANCY D FAGIANO TR               FRANK MICHAEL BELLINO & MAURINE HAZEL BELLINO TR   FRANK MOLINARI CUST FRANCIS XAVIER MOLINARI
FRANK M & NANCY D FAGIANO TRUST UA 3/6/00          BELLINO FAM COMMUNITY PROPERTY TRUST UA 11/18/93   A MINOR U/ART 8-A OF THE PERS PROPERTY
5508 NORTH PIONEER AVENUE                          2445 VIA NINA                                      10 PHILLIPS RD
CHICAGO, IL 60656-1546                             MONTEBELLO, CA 90640-2355                          MASSAPEQUA PARK, NY 11762-3520



FRANK MORTELLARO & MARIE MORTELLARO TR             FRANK NAISHTEIN CUST DEBORAH JOY NAISHTEIN         FRANK P ELARDO JR CUST JOHN ALBERT ELARDO
MORTELLARO RANCH TRUST UA 08/13/03                 U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE OHIO UNIFORM GIFTS TO MINORS ACT
PO BOX 496                                         1311 CONCHA ST                                     7527 E DESERT COVE AVE
PHILIP, SD 57567-0496                              OXNARD, CA 93030-5433                              SCOTTSDALE, AZ 85260-6459



FRANK P ELARDO JR CUST JOSEPH PETER ELARDO         FRANK P MOSES CUST RICHARD L MOSES                 FRANK P SMITH JR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             UNDER THE FLORIDA GIFTS TO MINORS ACT              PO BOX 270650
7527 EAST DESERT COVE                              8151 SW 93 CT                                      SAN DIEGO, CA 92198-2650
SCOTTSDALE, AZ 85260-6459                          MIAMI, FL 33173-4114



FRANK P VELLELLA & HELEN J VELLELLA TR             FRANK P ZIEMKIEWICZ CUST PAUL ZIEMKIEWICZ          FRANK PASSARELLI
VELLELLA FAMILY TRUST UA 01/29/02                  U/THE PA UNIFORM GIFTS TO MINORS ACT               PO BOX 2303648
3904 ARNHEIM ST                                    131 PINETREE LANE                                  SIOUX FALLS, SD 57186-0001
ANNANDALE, VA 22003-2505                           MORGANTOWN, WV 26508-8129



FRANK RENOVICH JR & ROSWITHA RENOVICH TR           FRANK ROMANOWICZ                                   FRANK S DUDLEY JR CUST FRANK WICK DUDLEY
FRANK RENOVICH JR & ROSWITHA RENOVICH TRUST UA     PO 530785                                          U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
04/04/03                                           BIRMINGHAM, AL 35253-0785                          PO BOX 70
PO BOX 23159                                                                                          QUEENSTOWN, MD 21658-0070
CHAGRIN FALLS, OH 44023-0159


FRANK S DUDLEY JR CUST PETER INGELS DUDLEY         FRANK S KUSUMOTO & DANIELLE P SIMMANCE TR          FRANK SCOTT CUST MICHAEL FREDERICK SCOTT
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT         FRANK S KUSUMOTO & DANIELLE P SIMMANCE TRUST       UNDER THE MISSOURI UNIFORM GIFTS TO
111 TAPLOW RD                                      1326 HUMBOLDT ST                                   15907 WOODLET WAY CT
BALTIMORE, MD 21212-3313                           DENVER, CO 80218-2318                              CHESTERFIELD, MO 63017-5036



FRANK T CROHN CUST FRANK T CROHN JR                FRANK TRAYER & BERT BERGSTROM TR                   FRANK V ARCHULETTA & NORBERTA ARCHULETTA TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         TRAYER ENGINEERING CORPORATION PROFIT SHARING      ARCHULETTA LIVING TRUST UA 11/13/95
412 OLD DEEP RIVER TPKE                            PLAN                                               21693 LAKE CHABOT RD
KILLINGWORTH, CT 06419-1440                        898 PENNSYLVANIA AVE                               CASTRO VALLEY, CA 94546-6209
                                                   SAN FRANCISCO, CA 94107-3441
                   09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                           Part 8 of 8 Pg 124 of 440
FRANK W GARDNER CUST GEORGE F GARDNER               FRANK W LOVERING CUST ARTHUR LESLIE LOVERING    FRANK W STALZER & FRANCES A STALZER TR
U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT         U/THE ILL UNIFORM GIFTS TO MINORS ACT           UA 2/15/01 STALZER FAMILY REV LIVING
11709 ROSEMONT CT                                   4667 W PRATT                                    6403 GALE DR
DENTON, TX 76207                                    LINCOLNWOOD, IL 60646-3348                      SEVEN HILLS, OH 44131-3128



FRANKFURTER KASSENVEREIN AG BOERSENPLATZ 7-11       FRANKIE HARRIS                                  FRANKLIN O L STEINBERG
60313 FRANKFURT-MAIN                                PO BOX 970084                                   1285 NORTHERN BLVD
GERMANY                                             YPSILANTI, MI 48197-0802                        MANHASSET, NY 11030-3019




FRANKLIN P DALPRA & FRANKIE M DALPRA TR             FRANKLIN R DAVIS & VIRGINIA LEE DAVIS TR        FRANKLIN R THOMAS & JEANETTE A THOMAS TR
FRANKLIN P & FRANKIE M DALPRA REV LIVING TRUST UA   DAVIS FAMILY TRUST UA 12/22/97                  THOMAS FAMILY TRUST UA 11/04/83
8/22/01                                             1306 CEDAR BRANCH DR                            758 FLINTRIDGE AVE
624 WILSON AVENUE                                   WYLIE, TX 75098-6678                            LA CANADA FLTRIDGE, CA 91011-4027
KINGSFORD, MI 49802-3842


FRANKLIN RUBEN                                      FRANKLIN T SUKANY & JOANNE C SUKANY TR          FRANKLIN Y HO CUST CHRISTOPHER K HO
BOX 460244                                          FRANKLIN T & JOANNE C SUKANY JT TRUST NO 1 UA   U/THE CAL UNIFORM GIFTS TO MINORS ACT
HOUSTON, TX 77056-8244                              12/30/04                                        476 CONCHA ST
                                                    21379 US 23 SOUTH                               ALTADENA, CA 91001-1413
                                                    PRESQUE ISLE, MI 49777-9073


FRATERNAL ORDER OF EAGLES REYNOLDSVILLE AERIE # 540 FRAY L HOBSON & WENDOLYN U HOBSON TR            FRED A JENNINGS TR
425 MAIN ST                                         UNDER DECLARATION OF TRUST 04/26/90             UA 09/25/91 FRED A JENNINGS AND EVELYN A JENNINGS
REYNOLDSVILLE, PA 15851-1250                        4906 HILLARD AVE                                FAMILY TRUST
                                                    LA CANADA, CA 91011-1505                        5029 HONEYNUT LANE
                                                                                                    WINDERMERE, FL 34786-8803


FRED BRIEGER CUST RANDALL BRIEGER                   FRED C KLEINHUBERT                              FRED COX WOHLFARTH & PHYLLIS AMY WOHLFARTH TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          6882 N TONTY                                    UA 04/07/83 WOHLFARTH LIVING TRUST
117 COLUMBIA DR                                     CHICAGO, IL 60646-1315                          26539 163RD AVE SE
JERICHO, NY 11753-1637                                                                              KENT, WA 98042-8223



FRED E BROTHERTON & EDITH J BROTHERTON TR           FRED F BAILEY                                   FRED FRY & JO ANNE FRY TR
FRED E & EDITH J BROTHERTON TRUST UA 10/9/97        4413 155TH AVE                                  FRED FRY & JO ANNE FRY LIVING TRUST UA 02/12/93
288E 800N                                           HERSEY, MI 49639-8760                           3807 LOCH BEND DR
ALEXANDRIA, IN 46001-8657                                                                           COMMERCE TOWNSHIP, MI 48382-4340



FRED GOODSTEIN                                      FRED GRASSLE CUST NANCY A GRASSLE               FRED GYEKYE MENSAH
750 LIDO BLVD                                       U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT    HARUNO 1 6 2 204
APT 96A                                             6012 LAQUNA VILLA WAY                           SAITAMA
LIDO BEACH, NY 11561-5244                           ELK GROVE, CA 95758-4706                        330-0002 JAPAN



FRED H KELLY & MADONNA R KELLY TR                   FRED J CONE CUST JAMES LEE CONE                 FRED J CONE CUST TERI LYNN CONE
KELLY FAMILY REVOCABLE TRUST UA 11/01/04            U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT    U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
26404 SCHAM RD                                      1423 FRANCIS STREET                             1086 BAYLESS PLACE
PUNTA GORDA, FL 33955-1641                          ST JOSEPH                                       EAGLEVILLE, PA 19403-1464
                                                    SAINT JOSEPH, MO 64501-2320


FRED J SCHIEFERSTEIN & CHARLOTTE M SCHIEFERSTEIN JT TEN
                                                     FRED L CONGER CUST MISS CANDACE G CONGER       FRED L FEINSTEIN & MRS LENORE FEINSTEIN JT TEN
431 MADISON HILL RD                                  U/THE KANSAS UNIFORM GIFTS TO MINORS ACT       56-26 244TH ST
CLARK, NJ 07066-2901                                 3201 N MONROE                                  DOUGLASTON, NY 11362-1905
                                                     HUTCHINSON, KS 67502-2330
                    09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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FRED L KOVACS CUST LYNN CAROL KOVACS                 FRED M GLOTH JR CUST PAUL D GLOTH                     FRED MAROON 3RD CUST FRED MAROON 4TH
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT            U/THE MICH UNIFORM GIFTS TO MINORS ACT
13780 F PORTOFINO DR                                 4607 SOMERSET LANE                                    608 CADAGUA
DEL MAR, CA 92014-3555                               ELLICOTT CITY, MD 21042-7724                          CORAL GABLES, FL 33146-1712



FRED N PRINGLE & GWEN J PRINGLE TR                   FRED PARKE CUST THOMAS D PARKE                        FRED R KLEIN & TERESE C KLEIN JT TEN
PRINGLE FAMILY LIVING TRUST UA 06/28/01              U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT        13832 SOPHIE CT
4157 W HORSESHOE DR                                  R D 2 BOX 403                                         WESTMINSTER, CA 92683-2870
BEVERLY HILLS, FL 34465-2951                         NEW KENSINGTN, PA 15068-9802



FRED REINHARD                                        FRED REINL & MRS ELEANORE REINL JT TEN                FRED STEINMAN
2916 COTSWOLD ROAD                                   2 SPARMAN PLACE                                       PO BOX 17982
READING, PA 19608-9699                               SECAUCUS, NJ 07094-3014                               MEMPHIS, TN 38187-0982




FRED UNGER CUST WILLIAM C UNGER                      FRED W CRAWFORD & JOSEPHINE A CRAWFORD TR             FRED W JACOB CUST ELAINE JACOB
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           CRAWFORD FAMILY TRUST UA 07/31/98                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
245 BOG HOLLOW ROAD                                  6555 JEFFERSON                                        157 GREAVES AVE
WASSAIC, NY 12592-2529                               NORTH BRANCH, MI 48461-9701                           STATEN ISLAND, NY 10308-2133



FRED WEINSTEIN                                       FRED WIENER & MRS MIRIAM WIENER JT TEN                FRED YOUNG JR & KEN YOUNG & GORDON YOUNG TR
1521 S BOWLING GREEN DR                              33A EINSTEIN AVE                                      T LONNIE YOUNG SURVIVOR'S TRUST UA 08/03/87
CHERRY HILL, NJ 08003-3631                           HAIFA-AHUZA                                           400 HALE ST
                                                     ISRAEL                                                PALO ALTO, CA 94301-2207



FREDA IRENE FEY CUST GREGORY CARLTON FEY             FREDA M HUNTER                                        FREDDA FINKELSTEIN
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT            PO BOX 241222                                         10 LINCOLN ST
8411 CRESTWOOD AVE                                   DETROIT, MI 48224-5222                                APT1
MUNSTER, IN 46321-2011                                                                                     JERUSALEM
                                                                                                           94186 ISRAEL


FREDERIC S BRIGGS & CHARLES HEINRICH BRIGGS JT TEN   FREDERIC S KESSLER TR                                 FREDERICK A BRAMAN & LOUISE K BRAMAN TR
7 EAST LAFAYETTE AVE                                 TRUST UNDER THE WILL OF ALBERT L KESSLER UA 1/17/98   BRAMAN LIVING TRUST UA 04/11/02
BALTIMORE, MD 21202-2807                             33 HEMLOCK CIR                                        1423 COURSE VIEW DR
                                                     CRANFORD, NJ 07016-2045                               ORANGE PARK, FL 32003-7274



FREDERICK A BULLOCK & ELIZABETH T BULLOCK TR         FREDERICK A HOLTZ & SARAH D HOLTZ TR                  FREDERICK A KLEINHEN
FREDERICK A BULLOCK LIVING TRUSTUA 10/26/95          FREDERICK A HOLTZ & SARAH HOLTZ JOINT TRUST           3149 BERRY RD NE
4619 47TH ST NW                                      307 CALOOSA WOODS LN                                  WASH, DC 20018-1609
WASHINGTON, DC 20016-4436                            SUN CITY CENTER, FL 33573-6940



FREDERICK A MINER & LOIS M MINER TR                  FREDERICK A PFLUGHOEFT & ROYLEE R PFLUGHOEFT TR       FREDERICK A PFLUGHOEFT & ROYLEE R PFLUGHOEFT TR
FREDERICK MINER & LOIS MINER REV LIVING TRUST UA     UA 11/02/92 FREDERICK A PFLUGHOEFT &                  UA 11/2/92 THE FREDERICK A PFLUGHOEFT &
01/18/00                                             7023 GRAND PARKWAY                                    7023 GRAND PKWY
6558 LONGWORTH DR                                    WAUWATOSA, WI 53213-3732                              WAUWATOSA, WI 53213-3732
WATERFORD, MI 48329-1341


FREDERICK A VAN SKIVER & DORIS J VAN SKIVER TR       FREDERICK A WALKER & ALICE H WALKER TR                FREDERICK C CARTER & VIVIEN B CARTER TR
FREDERICK A & DORIS J VAN SKIVER LIVING TRUST UA     FREDERICK & ALICE WALKER TRUST UA 05/24/01            UA 05/26/93 THE CARTER FAMILY TRUST
02/23/04                                             651 SINEX AVE R102                                    16496 ALIANTE DRIVE
15311 HUNTCLIFF DR                                   PACIFIC GROVE, CA 93950-4271                          BROOMFIELD, CO 80020-8087
MACOMB, MI 48044-3848
                   09-50026-mg             Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                               Part 8 of 8 Pg 126 of 440
FREDERICK C EBERLEIN & LINDA J EBERLEIN JT TEN          FREDERICK C KROLL & ELEANOR O KROLL TR             FREDERICK C STEINHAUER CUST FREDERICK C STEINHAUER
1261 GREENLEAR DR                                       FREDERICK C KROLL REVOCABLE LIVING TRUST UA        U/THE WISCONSIN U-G-M-A
ROCHESTER HILLS, MI 48309-1724                          03/29/99                                           58 CAMBRIDGE ROAD
                                                        15894 19 MILE RD APT 116                           MADISON, WI 53704-5908
                                                        CLINTON TWP, MI 48038


FREDERICK D PRICE & CHARLOTTE DIANE PRICE TR            FREDERICK E DRAISS CUST LYNDA MARIE DRAISS         FREDERICK E HUNTLEY TR
UA 10/19/93 THE FREDERICK D PRICE &                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         FREDERICK E HUNTLEY REV LIVING TRUST UA 03/10/05
2207 GAYWOOD PL                                         21 LIMETREE LANE                                   197 BRAMBLEBUSH TRAIL
DAYTON, OH 45414-2814                                   LIVERPOOL, NY 13090-3409                           BEAVERCREEK, OH 45440-3538



FREDERICK E MCCANDLES & D TODD MURDOCK TR               FREDERICK GEORGE BEHRENS AND PAMELA GAIL BEHRENS   FREDERICK GIBSON & GERALDINE D GIBSON TR
FREDERICK E MCCANDLES & D TODD MURDOCK TRUST UA         UNDER GUARDIANSHIP OF MARY BEHRENS                 UA 09/14/94 FREDERICK & GERALDINE D GIBSON
10/27/99                                                208 E MAPLE ST                                     9725 SW 146TH ST
3391 LAKESIDE DR                                        GILLESPIE, IL 62033-1448                           MIAMI, FL 33176-7828
MINERAL RIDGE, OH 44440-9738


FREDERICK GIBSON & GERALDINE D GIBSON TR                FREDERICK GIBSON & GERALDINE D GIBSON TR           FREDERICK H HEINER & DONNA E HEINER TR
UA 09/14/94 FREDERICK & GERALDINE D GIBSON REV LIV TR   UA 09/14/94 FREDERICK GIBSON & GERALDINE D         FREDERICK H HEINER & DONNA E HEINER TRUST UA
9725 SW 146TH ST                                        9725 SW 146TH ST                                   09/07/99
MIAMI, FL 33176-7828                                    MIAMI, FL 33176-7828                               97652 OVERSEAS HWY APT T-9
                                                                                                           KEY LARGO, FL 33037-2226


FREDERICK H HOTTENSTEIN                                 FREDERICK HOOKER ANNESS                            FREDERICK J & SHIRLEY A SCHMIDT TR
3111 5TH STREET S W                                     11827 154TH ROAD N                                 FREDERICK & SHIRLEY SCHMIDT LIVING TRUST UA 09/01/98
LEHIGH ACRES, FL 33971-2407                             JUPITER, FL 33478-6791                             15257 IRENE
                                                                                                           SOUTHGATE, MI 48195-2020



FREDERICK J CHENEY & JOYCE E CHENEY TR                  FREDERICK J HEINEMANN                              FREDERICK J HILLER CUST ERIC C HILLER
FREDERICK J & JOYCE ECHENEY LIV TRUST UA 09/03/99       WATERFOHRSTR 9                                     U/THE MICH UNIFORM GIFTS TO MINORS ACT
4464 E CEDAR LAKE DR                                    43 ESSEN                                           13772 197TH LN NW
GREENBUSH, MI 48738-9727                                GERMANY                                            ELK RIVER, MN 55330-6007



FREDERICK J HILLER CUST FREDERICK J HILLER 2ND U/THE MICH
                                                       FREDERICK
                                                          U-G-M-A J HILLER CUST KURT C HILLER              FREDERICK J HILLER CUST STEPHANIE R HILLER U/THE MICH
13772 197TH LN NW                                      U/THE MICH UNIFORM GIFTS TO MINORS ACT              13772 197TH LN NW
ELK RIVER, MN 55330-6007                               36633 THEODORE                                      ELK RIVER, MN 55330-6007
                                                       CLINTON TWP, MI 48035



FREDERICK J HILLER CUST THERESA L HILLER U/THE MICH U-G-M-A
                                                       FREDERICK J OCHS & ELEANOR G OCHS TR                FREDERICK K CONRAD & HESTER A CONRAD TR
13772 197TH LN NW                                      UA 08/30/91 OCHS FAMILY 1991 TRUST                  FREDERICK & HESTER CONRAD LIVING TRUST UA 09/17/93
ELK RIVER, MN 55330-6007                               2665 VAM PELT BLVD #143                             158 WILD OAK CT
                                                       ROSEBURG, OR 97470-8823                             BALLWIN, MO 63011-2627



FREDERICK K STEINOUER & JANE E STEINOUER JT TEN         FREDERICK KLEIN                                    FREDERICK KLEIN & OLGA KLEIN JT TEN
128 LAKEDALE DR                                         3517 OLD MILL DR                                   24515 BECK AVE
LAWRENCEVILLE, NJ 08648-4444                            SPRING HILL, TN 37174-2190                         EASTPOINTE, MI 48021-3449




FREDERICK L KUEFFER & PATRICIA A KUEFFER TR             FREDERICK LEE GOEBEL TR                            FREDERICK LEININGER JR
UA 05/23/2008 FREDERICK L KUEFFER & PATRICIA A          FREDERICK LEE GOEBEL & DOROTHY MAY GOEBEL TRUST    37932 BLOOMFIELD DRIVE
N6831 DONLIN DR                                         UA 09/20/95                                        LIVONIA, MI 48154-1142
PARDEEVILLE, WI 53954                                   3407 N PAIUTE WAY
                                                        SCOTTSDALE, AZ 85251-5136
                       09-50026-mg          Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                           Part 8 of 8 Pg 127 of 440
FREDERICK LLOYD SHARPE PERSONAL REPRESENTATIVE OF THE
                                                   FREDERICK
                                                       ESTATE M
                                                              OFHATHAWAY
                                                                 LLOYD     JR TR                      FREDERICK ORR & SALLY ORR JT TEN
G SHARPE                                           FREDERICK M HATHAWAY JR LIVING TRUST UA 06/08/89   1848 118TH AVE NE
460 BROADVIEW DR                                   41302 FORTUNA DR E                                 BLAINE, MN 55449-7903
RIDGELAND, SC 29936-5156                           CLINTON TWP, MI 48038-2235



FREDERICK R LENT CUST ELIZABETH LENT                FREDERICK ROBERT MIRMELSTEIN                      FREDERICK W BODE & R JANET BODE TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          1641 N NEW JERSEY ST                              BODE FAMILY LIVING TRUST UA 05/08/96
4418 N WOLCOTT APT 2                                INDIANAPOLIS, IN 46202                            1235 PLACITA JOSEPHINA
CHICAGO, IL 60640-5833                                                                                GREEN VALLEY, AZ 85614



FREDERICK W HENKE & VIOLA A HENKE TR                FREDERICK W KENDALL & DORIS E KENDALL TR          FREDERICK W MILLER JR & JOHN D MILLER TR
OR SUCCESSOR TTEE OF HENKE TRUST10/06/87            UA 5/31/08 FREDERICK W KENDALL &                  FREDERICK WING MILLER TRUST UA 6/2/00
1203 E RIDLINGTON AVE                               129 CITY MILL RD                                  4 PARK RIDGE LN
SHAWANO, WI 54166-3745                              LANCASTER, PA 17602                               PASS CHRISTIAN, MS 39571-4700



FREDERICK W ORR                                     FREDERIQUE M KLEIN                                FREDRIC B WHITING CUST FREDRIC CHASE WIHITING UTMA C
1848 118TH AVE NE                                   AUF DEM WINGERTBERG 29                            1816 LEEWARD LANE
BLAINE, MN 55449-7903                               65817                                             NEWPORT BEACH, CA 92660-3801
                                                    EPPSTEIN
                                                    GERMANY


FREDRIC G DUNN CUST DAVID AARON DUNN                FREDRIC SCHEINFELD                                FREDRIC SCHEINFELD & MARTY SCHEINFELD JT TEN
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        1565 FRANKLIN AVE 2ND FL                          251 PARK AVE
835 SERENA DRIVE                                    MINEOLA, NY 11501-4829                            WESTBURY, NY 11590-1243
PACIFICA, CA 94044-3448



FREDRICK C KLEINERT                                 FREDRICK E DRAISS CUST KATHLEEN ANNE DRAISS       FREDRICK G SPRINGMAN & ERIN SPRINGMAN TR
211 MIDFOREST LDG                                   U/THE N Y UNIFORM GIFTS TO MINORS ACT             SPRINGMAN REVOCABLE LIVING TRUSTUA 01/30/04
PRUDENVILLE, MI 48651                               21 LIME TREE LANE                                 180 N MORNINGSIDE DR
                                                    LIVERPOOL, NY 13090-3409                          IDAHO FALLS, ID 83402-4625



FREDRICK L KLEIN                                    FREDRICK P HEINRICHS                              FREDRICKA H MEINE
RR 2 BOX 27                                         9609 HOLLY OAK DR                                 7352 LULLWATER ROAD
SILEX, MO 63377-9609                                BAKERSFIELD, CA 93311-1712                        COLUMBUS, GA 31904-1912




FREEMAN L ADEN & MARILYN M ADEN TR                  FREIDA A LACH TOD JENNA LACH                      FREIDA A LACH TOD TANYA M LACH
UA 10/24/90 THE FREEMAN L ADEN &MARILYN             P O BOX 292382                                    P O BOX 292382
7185 MARSH RIDGE TRL                                PHELAN, CA 92329                                  PHELAN, CA 92329
AUGUSTA, MI 49012-9400



FREIDA D BERNSTEIN                                  FRIDOLIN H KUMMER CUST HEIDI SONJA KUMMER         FRIEDA FARBER CUST LESTER J FARBER
107 HYLAND DR                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
LAKE LUZERNE, NY 12846-3929                         197 RIDGECREST RD                                 15 FAIR LANE
                                                    BRIARCLIFF MANOR, NY 10510-2539                   JERICHO, NY 11753-2309



FRIEDA M PATRICK & JUDITH B REINDL JT TEN           FRIEDA MEYER CUST ADOLPH MEYER                    FRIEDA MEYER CUST CAROLYN MEYER
6201 TOWN HALL RD                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
BELLEVILLE, IL 62223-8611                           144-32 NORTHERN BLVD                              144-32 NORTHERN BLVD
                                                    FLUSHING, NY 11354-4231                           FLUSHING, NY 11354-4231
                       09-50026-mg      Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                          Part 8 of 8 Pg 128 of 440
FRIEDHELM WENZEL                                   G J RUTLEDGE                                        G MARVIN CLICKNER CUST TRINA E CLICKNER
EICHHOF 30                                         1364 102ND STREET                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
D 34359                                            NIAGARA FALLS, NY 14304-2720                        710 LOUDEN AVE
REINHARDSHAGEN                                                                                         DUNEDIN, FL 34698-7011
GERMANY


G MICHAEL BOSWELL CUST JEFFERSON M BOSWELL UGMA TXG THOMAS COVERT & MARGARET A COVERT TR               GABREL FARESE CUST FRANCES FARESE
2632 WERLEIN ST                                   G THOMAS & MARGARET A COVERT REV TRUST UA 07/24/03   U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
HOUSTON, TX 77005-3958                            2112 W VISTA RIDGE DR                                36 BIRCH STREET
                                                  GREEN VALLEY, AZ 85614-5475                          CARTERET, NJ 07008-2459



GABRIEL MELLO CUST RUSSELL STEPHEN MELLO           GAETANO AGOSTINO & MARY V AGOSTINO TR               GAETANO M ROSSI
U/THE MASS UNIFORM GIFTS TO MINORS ACT             GAETANO AGOSTINO TRUST UA 03/12/02                  1432 REINER ROAD
78 JEAN AVE                                        700 W FABYAN PKWY APT 178E                          NORRISTOWN, PA 19403
SOMERSET, MA 02725-1806                            BATAVIA, IL 60510-1213



GAETANO W CAPODANNO & CHRISTA CAPODANNO TR         GAIEROSE HASKEL CUST WILLIAM D HASKEL               GAIL A BROTHER & DAVID BROTHER TR
UA 01/24/08 CAPODANNO LIVING TRUST                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          GAIL A BROTHER LIVING TRUST UA 6/28/99
6 CABOT ROAD                                       4 FOXEY LANE                                        3 EMERY RD
LARCHMONT, NY 10538                                MAHOPAC, NY 10541-2034                              BEDFORD, MA 01730-1061



GAIL B KEMPT & HARRY C KEMPT JT TEN                GAIL B LEFF                                         GAIL ELENA WEINBERGER
PO BOX 180382                                      ATTN GAIL LEFF FELDSTEIN                            6130 CARPENTER HOUSE
CORONADO, CA 92178-0382                            14720 PLUMAS DR                                     DOWNERS GROVE, IL 60516-1809
                                                   CHESTERFIELD, MO 63017-2440



GAIL J JONES                                       GAIL K KLEIN & ROBERT E KLEIN JT TEN                GAIL STEIN
PO BOX 700786                                      2650 HAMPTONS CHASE                                 29 FAIRBANKS BLVD
MIAMI, FL 33170-0786                               ALPHARETTA, GA 30005-7407                           WOODBURY, NY 11797-2603




GALE L VANDEWATER                                  GALEN C MOSER CUST LINDA PAGE MOSER                 GALEN C MOSER CUST MARGARET CARTNER MOSER
11572 152ND AVE                                    U/THE N C UNIFORM GIFTS TO MINORS ACT               U/THE N C UNIFORM GIFTS TO MINORS ACT
WEST OLIVE, MI 49460-9619                          1916 SHIRLEY DRIVE                                  1916 SHIRLEY DRIVE
                                                   BURLINGTON, NC 27215-4832                           BURLINGTON, NC 27215-4832



GALEN E EVERETT & HELEN M EVERETT TR               GALINA VELIKANOV & IGOR VELIKANOV TR                GALIPOTHU JOHN SATISCHANDRA ABRAHAM
UNDER DECLARATION OF TRUST 05/14/91                VELIKANOV FAM JOINT LIVING TRUSTUA 01/10/98         27 GOMECO HSG SOCIETY
10011 S TURNER                                     930 N LA JOLLA AVE                                  BAMBOLIM
EVERGREEN PARK, IL 60805-3448                      W HOLLYWOOD, CA 90046-6817                          GOA-403202
                                                                                                       INDIA


GARALD W STARR CUST SANDRA JANE STARR              GARLAND G RANSOM CUST JAY A RANSOM                  GARRETT DU BOIS CRISPELL CUST SARAH MAIDEN CRISPELL
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT          U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT          U/THE CALIF UNIFORM GIFTS TO MINORS ACT
509 MAPLE LEAF DR                                  538 LODGE DRIVE                                     PO BOX 808
GREENCASTLE, IN 46135-7209                         ST LOUIS, MO 63126-1632                             EL GRANADA, CA 94018-0808



GARRETT SILCOX                                     GARTHA L TATE                                       GARY A BRUBAKER
2311 216TH AVE SE                                  APT 8E                                              8601-518 OLD SPAINSH TRAIL
SAMMAMISH, WA 98075                                140-8 EINSTEIN LOOP                                 TUCSON, AZ 85710-4358
                                                   BRONX, NY 10475
                     09-50026-mg         Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 129 of 440
GARY A FALKENSTEIN                                    GARY A WIREMAN & WENDY S THOMPSON TR            GARY C CANTRELL
37 SENTRY LANE                                        GLEN F WIREMAN LIVING TRUST UA 05/12/05         PO BOX 330087
NEWARK, DE 19711-6959                                 3546 WARREN-SHARON RD                           MURFREESBORO, TN 37135-0087
                                                      VIENNA, OH 44473-9509



GARY C KLEINKE                                        GARY D BRONSON & BETTY L BRONSON JT TEN         GARY D LEIRSTEIN & TERRI L LEIRSTEIN
4455 ALVARADO DR                                      3687 104TH AVE                                  9100 MAYFRED
BAY CITY, MI 48706-2515                               ALLEGAN, MI 49010-8196                          PINCKNEY, MI 48169-9131




GARY D MILSTEIN                                       GARY D STEINBERG & SUSAN C STEINBERG JT TEN     GARY D STEINER
298 BLOSSOM LN                                        2 PITT CT                                       4455 E PARADISE VILLAGE PKWY S
CHAGRIN FALLS, OH 44022-5107                          ROCKVILLE, MD 20850-1027                        UNIT 1108
                                                                                                      PHOENIX, AZ 85032-7760



GARY E KOBEN                                          GARY E MAIN                                     GARY E SCHEINER
HC 476310 ST MARTINS PT                               11523 169TH CT NE                               132 WINDSTONE DRIVE
HESSEL, MI 49745                                      REDMOND, WA 98052                               GREENVILLE, SC 29615-3819




GARY E THOMAS CUST RANDELL S THOMAS                   GARY E WOLTER & RITA D WOLTER TR                GARY G LEINBERGER
U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT          GARY E & RITA D WOLTER JOINT REVOCABLE          2713 22ND STREET
P O BOX 788                                           1401 WHITTIER PLACE                             BAY CITY, MI 48708-7615
EDMONDS, WA 98020                                     DEARBORN, MI 48124-1725



GARY G ZAPOLI & CAROLYN ZAPOLI & ANGELA R ZAPOLI TR   GARY I BISNOW CUST MAUREEN E BISNOW             GARY J GERSTNER
ZAPOLI REVOCABLE TRUST UA 4/1/05                      U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT     2215 197TH AVENUE KP S
55081 WOODSLANE                                       5589 FAIRFIELD PLACE                            LAKEBAY, WA 98349-9732
SHELBY TWP, MI 48316-1020                             MOBILE, AL 36609



GARY J GOTOWKA                                        GARY J PETERSON & BEULAH M PETERSON TR          GARY J RICCIO & SARAH D RICCIO JT TEN
5132 REINHARDT                                        THE GARY & BEULAH PETERSON REVOCABLE TRUST UA   2618 223RD STREET EAST
BAY CITY, MI 48706-3253                               06/27/03                                        BRADENTON, FL 34211
                                                      1024 GLENHAVEN
                                                      FULLERTON, CA 92835-3726


GARY J STEIN                                          GARY JEROME LEVINSON                            GARY K LEVENE & PATRICIA A LEVENE JT TEN
7434 JOHNSON RD                                       PO BOX 691452                                   2180 348TH STREET
FLUSHING, MI 48433-9050                               W HOLLYWOOD, CA 90069                           CASEY, IA 50048-8035




GARY KENNEDY                                          GARY KLEINFELDER                                GARY KRAMER CUST MARK KRAMER
205605 E 10TH AVE                                     246 W MARKET                                    U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
KENNEWICK, WA 99337                                   MERCER, PA 16137-1013                           6 RISING MOON
                                                                                                      SANTA FEE, NM 87501-8642



GARY L BOTTENFIELD & LANA BOTTENFIELD TR              GARY L CALDWELL & ELEANOR M CALDWELL TR         GARY L CAVITT & MARY Q CAVITT JT TEN
GARY & LANA BOTTENFIELD FAMILY TRUST UA 06/14/01      UA 03/17/2009 CALDWELL FAMILY TRUST             PO BOX 681773
1136 CAMINO ALISOS                                    519 AZURE AVE                                   FRANKLIN, TN 37068-1773
FALLBROOK, CA 92028-3765                              WELLINGTON, FL 33414
                     09-50026-mg       Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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GARY L GOOD                                     GARY L GROVER                                         GARY L HIGHTOWER
5781 LEE BLVD                                   46164 186TH AVENUE CT                                 PO BOX 490483
UNIT 208-373                                    ZUMBROTA, MN 55992-7275                               LAWRENCEVILLE, GA 30049-0009
LEHIGH ACRES, FL 33971-6337



GARY L KLEIN                                    GARY L KLEINERT                                       GARY L MCMILLIAN
14130 HILLSDALE DRIVE                           537 CLARION ST                                        PO BOX 382476
STERLING HTS, MI 48313-3542                     CLIO, MI 48420                                        DUNCANVILLE, TX 75138-2476




GARY L ORENSTEIN                                GARY L STARK SR & LINDA S STARK TR                    GARY L WHITING
1285 WOODMANCY RD                               GARY L STARK SR & LINDA S STARK TRUST UA 08/14/96     6216 S DORR RD
TULLY, NY 13159                                 4503 ST ANTHONY RD                                    FALMOUTH, MI 49632-9727
                                                TEMPERANCE, MI 48182-9779



GARY LYNN JENNEWEIN                             GARY M NOBEL & VANITA MURTHY & SANFORD M NOBEL TR     GARY M REYNOLDS & BEVERLY A REYNOLDS TR
121 DEAN TOWN LANE                              NOBEL/MURTHY 1999 REV TRUST UA 06/10/99               REYNOLDS LIVING TRUST UA 12/28/00
HAZARD, KY 41701                                12924 TRIUMPH DR                                      1628 WEST PORT COURT
                                                POWAY, CA 92064                                       CICERO, IN 46034-9517



GARY M ROLLING                                  GARY PETERSON                                         GARY R TROSIN & GAIL G TROSIN TR
1540 KELLER PKWY 108 236                        2118 136TH AVE SE                                     GARY R & GAIL G TROSIN REVOCABLE TRUST UA 11/14/01
KELLER, TX 76248-3621                           NORMAN, OK 73026-8789                                 12925 LINDA VISTA CT
                                                                                                      BELLEVILLE, MI 48111-2275



GARY S GLESBY                                   GARY SCHAEZLEIN                                       GARY V MOTCH
PO BOX 270415                                   2543 SHERBORNE                                        180-3000 KASSON RD
HOUSTON, TX 77277-0415                          BELMONT, CA 94002                                     TRACY, CA 95304




GARY W EINFELDT                                 GARY W SLATER & JANETHA L SLATER TR                   GARY W TAYLOR
PO BOX 183                                      GARY W SLATER & JANETHA L SLATER REVOCABLE LIVING     PO BOX 112241
FORT GAY, WV 25514                              TRUST UA 5/15/03                                      ANCHORAGE, AK 99511-2241
                                                26209 S BEECH CREEK DR
                                                SUN LAKES, AZ 85248-7216


GARY WOLFE & BROOK WOLFE TR                     GAYE M DINGEMAN & ROBERT E DINGEMAN TR                GAYLE R HEUBISH CUST JOHN E HEUBISH JR UGMA NY
GARY WOLFE & BROOKE WOLFE REV LIVING TRUST UA   UNDER DECLARATION OF TRUST 10/31/91                   5023 192 ST
10/29/97                                        10292 AVIARY DRIVE                                    FRESH MEADOWS, NY 11365-1213
1440 YAQUI                                      SAN DIEGO, CA 92131-1319
ST LOUIS, MO 63031-7347


GEERT JAN HOOGEVEEN                             GENA LOU WOYWOOD & BRETT G WOYWOOD TR                 GENE A ALDERSON & MARY ANNE ALDERSON TR
#204-1872 BARCLAY ST                            UA 08/17/2006 DENNIS J WOYWOOD & GENA LOU WOYWOOD     UA ALDERSON FAMILY TRUST 07/24/91
VANCOUVER BC                                    2405 TAMARAC DRIVE                                    919 W STANFORD STREET
V6G 1K8 CANADA                                  ALBUQUERQUE, NM 87111                                 SANTA ANA, CA 92707-1546



GENE D BESS                                     GENE HICKS & GARY GENE HICKS & JOANNE ROSE HICKS TR   GENE HICKS & GARY GENE HICKS &JOANNE ROSE HICKS TR
PO BOX 352386                                   GENE HICKS REVOCABLE TRUST UA 5/13/99                 JOAN STAFFORD HICKS REV TRUST UA 5/13/99
PALM COAST, FL 32135-2386                       138 FAIRMONT PL                                       138 FAIRMONT PL
                                                BEL AIR, MD 21014-5472                                BEL AIR, MD 21014-5472
                  09-50026-mg              Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
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GENE MCFADDEN & MARY A MCFADDEN TR                   GENE R DIXSON & LELIA WESTON DIXSON TR           GENE R LYONS JR & NANCY LYONS JT TEN
THE GENE MCFADDEN & MARY A MCFADDEN REV LIVING       DIXSON REVOCABLE TRUST UA 09/01/98               13820 128 AVE
TRUST UA 03/02/00                                    3109 MATADOR DR NE                               GRAND HAVEN, MI 49417-9775
19610 MAGNOLIA                                       ALBUQUERQUE, NM 87111-5622
SOUTHFIELD, MI 48075-7310


GENEVA B TAYLOR                                      GENEVIEVE A BARRETTE TR                          GENEVIEVE A SAUTKULIS CUST JOHN EDWARD SAUTKULIS
PO BOX 770853                                        UA 08/23/90 RONALD J BARRETTE & GENEVIEVE A      U/THE N Y UNIFORM GIFTS TO MINORS ACT
STEAMBOAT SPRINGS, CO 80477-0853                     BARRETTE TRUST                                   20 ORCHARD ST
                                                     1319 BASSWOOD DR                                 PRT WASHINGTN, NY 11050-2464
                                                     HOLIDAY, FL 34690-6604


GENEVIEVE CHARTERS TR                                GENEVIEVE K TRINKLE & CAROL A WILLIAMS TR        GENEVIEVE M ZBROZEK TR
GENEVIEVE CHARTERS REVOCABLE LIVING TRUST UA         UA 4-17-2008 THE TRINKLE TRUST                   GENEVIEVE ZBROZEK & VICTOR ZBROZEK TRUST UA
04/25/02                                             4912 UNIVERSITY AVENUE                           03/17/92
193 COLEMAN DRIVE                                    INDIANAPOLIS, IN 46201                           8034 PASADENA DRIVE
WATERFORD, MI 48328-3611                                                                              PORT RICHEY, FL 34668-3036


GENEVIEVE NOWAK CUST ALICA LEGUMINA                  GENEVIEVE RAZIK CUST TAREK RAZIK                 GENEVIEVE V & HARRY C LABONDE JR & SHAWN D LABONDE T
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT       HARRY C LABONDE TRUST UA 02/20/80
31154 MOCERI CIRCLE                                  3 LINDEN ROAD                                    19403 E TUFTS CIR
WARREN, MI 48093-1823                                BURLINGTON, NJ 08016-1025                        AURORA, CO 80015-5821



GEOFFREY C GREENE                                    GEOFFREY STEVEN FEINSTEIN                        GEORGE A ADAMS CUST ELIZABETH A ADAMS
27403 THORNTREE RD                                   1222 AMHERST AVE 101                             A MINOR UNDER THE LAWS OF GEORGIA
MUNDELEIN, IL 60060                                  LOS ANGELES, CA 90025                            38 GORMLEY AVE
                                                                                                      TORONTO ON
                                                                                                      M4V 1Y8 CANADA


GEORGE A BARNARD & RITA M BARNARD TR                 GEORGE A BOEHM CUST MARK G BOEHM                 GEORGE A CHALLIS & JEAN S CHALLIS TR
UA 05/11/93 THE BARNARD FAMILY TRUST                 A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J     GEORGE A CHALLIS & JEAN S CHALLIS TRUST UA 5/5/04
7162 COUNTRY LANE                                    112 E PASSAIC AVE                                1735 VICTORIA CIRCLE
CHAGRIN FALLS, OH 44023-1302                         NUTLEY, NJ 07110-3026                            VERO BEACH, FL 32967-7294



GEORGE A DEJONG & AGNES J DEJONG TR                  GEORGE A KNOX                                    GEORGE A SAVARY & BERNADINE N SAVARY TR
GEORGE A DEJONG LOVING TRUST UA 06/20/90             P O BOX 372097                                   REV LIV TR 05/16/85 U-A GEORGE ASAVARY &
10501 EMILIE LANE #1109                              SAINT LOUIS, MO 63137                            4535 E EDGEWOOD
ORLAND PARK, IL 60467-8806                                                                            MESA, AZ 85206-2603



GEORGE A SCHNEIDER & ROBERT J SCHNEIDER & THOMAS J &RICHARD
                                                    GEORGE ALAMEDA
                                                             P         CUST LINDA MARIE ALAMEDA       GEORGE ALLEN KEMP & CHARLOTTE EILEEN KEMP TR
SCHNEIDER TR UAD3 16 94FBO JM THOMAS & GA           U/THE CALIF UNIFORM GIFTS TO MINORS ACT           KEMP 1991 FAM TRUST UA 12/09/91
5884 DEWHIRST DR                                    58 MONTROSE                                       1672 FAIRWOOD AVENUE
SAGINAW, MI 48603-7367                              IRVINE, CA 92620-1995                             SAN JOSE, CA 95125-4937



GEORGE ANASTAS CUST DAEMON GEORGE ANASTAS            GEORGE ARONOFF CUST JAMES BRUCE ARONOFF          GEORGE B GRANT & IMOGENE N GRANT TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                A MINOR PURS TO SECS 1339 /26 INCLUSIVE OF THE   UA 07/07/92 GEORGE B GRANT & IMOGENE N GRANT TRUST
4140 DOWNSROW CT                                     3142 SOMERSET DRIVE                              PO BOX 513
PORTLAND, OR 97221                                   SHAKER HEIGHTS, OH 44122-3813                    FLORAL CITY, FL 34436-0513



GEORGE B GURNETT & ROBERTA MUSSEN GURNETT TR         GEORGE B MORRIS III & CELESTE B MORRIS TR        GEORGE B PICKETT & ANNE L PICKETT TR
GEORGE B & ROBERTA MUSSEN GURNETT FAMILY TRUST       ANN PATRICIA MORRIS UA 07/17/79                  GEORGE B & ANNE L PICKETT TRUST UA 11/20/98
UA 03/21/95                                          1325 NORTH STATE PARKWAY # 5 B                   PO BOX 321
1908 AVENIDA MONTE VISTA                             CHICAGO, IL 60610-2136                           CLYDE, OH 43410-0321
SAN DIMAS, CA 91773-4100
                     09-50026-mg         Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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GEORGE B RADER & LOUISE T RADER TR                   GEORGE B STEIN                                        GEORGE B STRATHERN TR
UA 09/23/91 GEORGE & LOUISE RADER FAMILY TRUST FBO   20080 SECLUDED LANE                                   GEORGE B STRATHERN REVOCABLE LIVING TRUST UA
5358 W 123RD ST                                      SOUTHFIELD, MI 48075-3819                             02/11/00
HAWTHORNE, CA 90250-3421                                                                                   2411 CATHEDRAL DR
                                                                                                           MONROEVILLE, PA 15146-4632


GEORGE BARNETT                                       GEORGE BARRY LIKENS & FLORENCE L LIKENS TR            GEORGE BARTRAM-PAUL SAND LODGE # 298 F&AM
15704 179TH AVE SE                                   LIKENS FAM 1995 TRUST UA 05/01/95                     POST OFFICE BOX 1298
MONROE, WA 98272                                     321 SHERWOOD WAY                                      MEDIA, PA 19063-8298
                                                     MENLO PARK, CA 94025-3511



GEORGE BERNARDI CUST GAIL LYNNE BERNARDI             GEORGE BLUM CUST KATHRYN BLUM                         GEORGE BOLTON & KATHLEEN BOLTON TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            THE BOLTON FAMILY TRUST 2002 UA 03/25/02
8225 SW 109TH PL RD                                  2719 RIDGEWOOD CT                                     2303 LONESOME DOVE RD
OCALA, FL 34481-9637                                 BLOOMFIELD, MI 48302-0967                             SOUTHLAKE, TX 76092-3319



GEORGE BOOTH                                         GEORGE C ANDERSON & TAUBA U ANDERSON TR               GEORGE C ANDERSON & TAUBA U ANDERSON TR
PO BOX 420729                                        ANDERSON FAMILY TRUST UA 09/03/93                     ANDERSON FAMILY TRUST UA 9/3/93
PONTIAC, MI 48342-0729                               485 ARUNDEL RD                                        485 ARUNDEL ROAD
                                                     GOLETA, CA 93117-2163                                 GOLETA, CA 93117-2163



GEORGE C DYER JR & CLARISSA B DYER TR                GEORGE C GUZIK & PATRICIA A GUZIK TR GUZIK LIVING TRUST GEORGE
                                                                                                             UA 10/15/92
                                                                                                                      C LYONS CUST EDWARD GEORGE LYONS
UA 11/07/02 DYER POWER OF APPOINTMENT                3898 309TH AVE NW                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
2286 PLEASANT VIEW DR                                CAMBRIDGE, MN 55008-7039                                BOX 69
VICTOR, MT 0ZZZZ                                                                                             RAYMONDVILLE, NY 13678-0069



GEORGE C LYONS CUST KATHRYN ELLEN LYONS              GEORGE C MACEWAN & RITA A MACEWAN TR                  GEORGE C NICHOLS III
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UA 05/12/92 REVOCABLE TRUST FOR TRUST OF R A          4624 259TH ST NE
6331 HUNTERS CREEK RD                                MACEWAN                                               ARLINGTON, WA 98223
SOUTH WALES, NY 14139-9511                           3088 OXBOW CT
                                                     CLEARWATER, FL 33761-4029


GEORGE C SCHOULDA & ELEANOR L SCHOULDA TR            GEORGE C SCHULZ CUST JOHN W SCHULZ                    GEORGE C WILEY JR TR
UA 07/11/91 THE GEORGE C SCHOULDA & ELEANOR L        A MINOR UNDER GIFTS OF SECS TO MINORS ACT             GEORGE C WILEY JR REVOCABLE LIVING TRUST UA 08/29/01
110 WAREHAM LANE                                     746 17TH AVE                                          3017 E 5TH ST
WINSTON SALEM, NC 27106                              SAN FRANCISCO, CA 94121-3821                          ANDERSON, IN 46012-3811



GEORGE CINI & NANCY JANE CINI TR                     GEORGE D LOYA & RUTH A LOYA TR                        GEORGE D PAPAGEORGIOU
UA 09/20/2008 GEORGE & NANCY JANE CINI REVOCABLE     LOYA FAMILY REVOCABLE LIVING TRUST UA 09/08/98        & LIZA PAPAGEORGIOU & DEMETRIOS PAPAGEORGIOU JT
4333 24TH AVE                                        9060 MCKINLEY DR                                      TEN
FORT GRATIOT, MI 48059                               NORTHFIELD, OH 44067-1219                             5310 LONGMEADOW
                                                                                                           BLOOMFIELD HILLS, MI 48304-3660


GEORGE D RAY CUST JOSEPH MICHAEL PFISTER             GEORGE D WISEMAN                                      GEORGE DOUGLAS HEINZE
UNDER THE MO TRANSFERS TO MINORS LAW                 3590 ROUND BOTTOM RD                                  2041 FARMVIEW DR
2613 HERITAGE LANDING                                CINCINNATI, OH 45244-3026                             NEWTOWN, PA 18940-9418
ST CHARLES, MO 63303-6119



GEORGE E AUBIN & PATRICIA A AUBIN TR                 GEORGE E DEBISSCHOP & LINDA L DEBISSCHOP TR           GEORGE E ERHARDT
GEORGE & PATRICIA AUBIN JT REVOCABLE TRUST           THE DEBISSCHOP TRUST UA 04/16/02                      1571 104TH
21000 BRINK CT                                       1346 RELIEZ VALLEY RD                                 GRANT, MI 49327
GAITHERSBURG, MD 20882-4209                          LAFAYETTE, CA 94549-2647
                    09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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GEORGE E HOWARD                                     GEORGE E KLINKENBERG                                 GEORGE E MILLER
PO BOX 430667                                       24525 219TH ST                                       2893 BENSTEIN RD
PONTIAC, MI 48343-0667                              LEAVENWORTH, KS 66048-7128                           WALLED LAKE, MI 48390-1103




GEORGE E MURAS & DIANNE MARIE MURAS TR              GEORGE E SCHMIDT & ARHONDIA SCHMIDT TR               GEORGE E STEELE
UA 06/25/91 GEORGE MURAS & DIANNE MURAS LIVING      GERORGE E SCHMIDT & ARHONDIA SCHMIDT REV TRUST       23185-104TH
TRUST                                               UA 3/29/99                                           LIVE OAK, FL 32060-5834
40614 CALLE GALACIA                                 4802 LAKE WAY DRIVE
MURRIETA, CA 92562-3578                             BROWNSVILLE, TX 78520-9243


GEORGE E THEXTON                                    GEORGE E WHITING & JEAN G WHITING JT TEN             GEORGE E WIEGEL JR CUST GEORGE E WIEGEL 3RD
& FLORENCE A THEXTON JT TEN TOD KEVIN D THEXTON     12 VIEW DR                                           U/THE ILL UNIFORM GIFTS TO MINORS ACT
SUBJECT TO STA TOD RULES                            LEXINGTON, VA 24450-7475                             10448 LOUETTA LANE
3119 BERRY ROAD                                                                                          ORLAND PARK, IL 60467-1349
KANSAS CITY, KS 66106


GEORGE F CHASE & JEAN F CHASE TR                    GEORGE F FANSLOW & BARBARA J FANSLOW & ANNETTE L INGLISH
                                                                                                        GEORGE
                                                                                                             TR F FLEINER JR
UA 06/03/93 GEORGE F CHASE & JEAN F CHASE TRUST     FANSLOW FAMILY TRUST UA 08/02/04                    126 W DURBIN AVE
10 CONGRESS ST APT 709                              4408 WINFIELD LANE                                  BELLVILLE, OH 44813-1137
GREENFIELD, MA 01301-3540                           SEBASTOPOL, CA 95472-5734



GEORGE F SOUTHLAND & FLORENCE A SOUTHLAND TR        GEORGE F WIEGAND & JOANNE M WIEGAND TR               GEORGE FALKENSTEIN & ANGELINA FALKENSTEIN JT TEN
SOUTHLAND FAMILY TRUST UA 7/28/97                   UA 02/18/94 GEORGE & JOANNE M WIEGAND                3 KEVIN TER
2036 FOLLE BLANCHE DR                               8188 ALMONT RD                                       FAIRFIELD, NJ 07004-1825
SAN JOSE, CA 95135-1251                             ALMONT, MI 48003-8746



GEORGE FONG CHIN CUST HENRY CHIN                    GEORGE FORSMAN CUST BJORN FORSMAN UTMA WA            GEORGE G FIESINGER
U/THE MASS UNIFORM GIFTS TO MINORS ACT              16423 161ST LN N E                                   504-507 BURRELL BLDG
96 ROBERT ST                                        WOODINVILLE, WA 98072                                LITTLE FALLS, NY 13365-3838
BRAINTREE, MA 02184



GEORGE G KLEIMAN                                    GEORGE G METZGER TR                                  GEORGE G PATTERSON CUST FRANK G PATTERSON
R AMERICO DE CAMPOS 1093                            GEORGE G & MARY G METZGER REVOCABLE TRUST UA         U/THE N C UNIFORM GIFTS TO MINORS ACT
13083040 CAMPINAS SP BRASIL                         11/16/98                                             4572 FRIENDSHP PATTERSON MILL
BRAZIL                                              1940 HINES LAKEVIEW DR                               BURLINGTON, NC 27215
                                                    CUMBERLAND, WI 54829-9118


GEORGE G PATTERSON CUST G WILSON PATTERSON          GEORGE G PATTERSON CUST MISS SUSAN E PATTERSON       GEORGE G WEST & SANDRA L WEST TR
U/THE N C UNIFORM GIFTS TO MINORS ACT               U/THE N C UNIFORM GIFTS TO MINORS ACT                GEORGE G WEST AND SANDRA L WEST TRUST 06/18/04
4560 FRNDSHP PATTERSON MILL RD                      4560 FRIENDSHIP PATTERSON MILL                       5075 S W LUDLUM ST
BURLINGTON, NC 27215-8510                           BURLINGTON, NC 27215-8510                            PALM CITY, FL 34990-5042



GEORGE GAMBINO                                      GEORGE GINOS CUST MATTHEW JOHN PECK                  GEORGE GODHARDT
& CHARLOTTE F GAMBINO & CHERYL L GAMBINO & GARY G   UNDER THE FLORIDA GIFTS TO MINORS ACT                PO BOX 521535
GAMBINO JT TEN                                      936 5TH AVE S                                        BIG LANE, AK 99652-1535
1150 CLINTON AVE                                    NAPLES, FL 34102-6412
OAK PARK, IL 60304-1846


GEORGE H BECKER CUST BARRIE BECKER                  GEORGE H BYHAM & DOROTHY D BYHAM TR                  GEORGE H CURFMAN CUST GEORGE H CURFMAN 3RD
U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT          BYHAM FAMILY REVOCABLE LIVING TRUST UA 09/26/01      U/THE COLO UNIFORM GIFTS TO MINORS ACT
81 WEST MONTECITO AVE.                              4535 PERKINS ST                                      1271 HUMMINGBIRD CIR
SIERRA MADRE, CA 91024                              ERIE, PA 16509-1171                                  APT D
                                                                                                         LONGMONT, CO 80501-8863
                   09-50026-mg              Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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GEORGE H LITTLEFIELD & KATHLEEEN C LITTLEFIELD TR    GEORGE H REGAN & DOROTHY L REGAN TR                    GEORGE H SPENCER & SUSAN L SPENCER TR
LITTLEFIELD FAM TRUST UA 07/06/94                    UA 09/02/93 THE GEORGE H REGAN &DOROTHY L REGAN        UA SPENCER FAMILY REVOCABLE TRUST
1647 LITTLEFIELD RD                                  5770 STIRLING RD                                       3711 EL RICON WAY
BROOKE, ME 04921-3912                                HOLLYWOOD, FL 33021-1549                               SACRAMENTO, CA 95864-2918



GEORGE H WOOD JR CUST TRACY BATTEN WOOD              GEORGE HANNAUER 3RD CUST DAVID GEORGE HANNAUER         GEORGE HANNAUER 3RD CUST JOHN GEOFFREY HANNAUER
U/THE VA UNIFORM GIFTS TO MINORS ACT                 A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW        U/THE N J UNIFORM GIFTS TO MINORS ACT
PO BOX 5                                             JERSEY                                                 52 KENDAL DR
BOONES MILL, VA 24065-0005                           52 KENDAL DR                                           OBERLIN, OH 44074-1902
                                                     OBERLIN, OH 44074-1902


GEORGE HEINISH JR                                    GEORGE HEINLEIN                                        GEORGE HOLST II
12224 THE BLUFFS                                     245 SYLVIA ST                                          4276 165TH AVE NW
STRONGSVILLE, OH 44136-3521                          ROCHESTER, NY 14623-1345                               ANDOVER, MN 55304-1705




GEORGE I CANNON & KENT H CANNON TR                   GEORGE I GRAY & VALERIE E GRAY TR                      GEORGE IMPERATORE CUST GEORGE GERARD IMPERATORE
GEORGE I CANNON REVOCABLE TRUST UA 09/06/97          GEORGE I GRAY & VALERIE E GRAY REV TRUST UA 08/27/99   A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW
2300 ONEIDA ST                                       14500 FARMBROOK DR                                     JERSEY
SALT LAKE CITY, UT 84109-1527                        PLYMOUTH, MI 48170-2720                                613 SLOAT PL
                                                                                                            RIVERVALE, NJ 07675-6233


GEORGE J AMAN CUST JAMES K AMAN                      GEORGE J BEGLINGER                                     GEORGE J BLES & JEANNE L BLES TR
A MINOR PURS TO SECTIONS 1339 /26 INCLUSIVE OF THE   ACKERSTEINSTR 164                                      GEORGE J & JEANNE L BLES REV LIVING TRUST UA 04/01/98
1101 CENTRAL TRUST TOWERS                            8049 ZURICH                                            8688 ASHBURY DR
CANTON, OH 44702                                     SWITZERLAND                                            HUDSON, FL 34667-6927



GEORGE J ECK JR CUST MELISSA S ECK                   GEORGE J HANSON & ROBERTA H HANSON TR                  GEORGE J RUTLEDGE & CAROLYN P RUTLEDGE JT TEN
UNDER THE FL UNIF TRNSFERS TO MINORS ACT             GEORGE J HANSON & ROBERTA H HANSON TRUST UA            1364 102ND ST
101 KYLE CT NE                                       09/01/95                                               NIAGARA FALLS, NY 14304-2720
PALM BAY, FL 32907-1149                              2579 T AVE
                                                     WILLIAMSBURG, IA 52361-8635


GEORGE J TREZEK & JOAN A TREZE SUCC TR               GEORGE JOHN DOBROVICH & RUTH M DOBROVICH TR            GEORGE JOSEPH CUST DEEPU GEORGE JOSEPH
THE TREZ REVOCABLE TRUST UA 09/04/92                 UA DOBROVICH REVOCABLE LIVING TRUST 07/29/92           UNDER MO TRANSFERS TO MINORS LAW
2210 CANYON OAK LANE                                 97 BALMORAL DR                                         PO BOX 191015
DANVILLE, CA 94506-2014                              LAKE PLACID, FL 33852-7000                             SAINT LOUIS, MO 63119-7015



GEORGE K MISTER SR                                   GEORGE K MISTER SR & MARGARET A MISTER JT TEN          GEORGE KANTER CUST ANDREW KANTER
11048 116TH ST N                                     11048 116TH ST N                                       A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J
LARGO, FL 33778-3730                                 LARGO, FL 33778-3730                                   10 SHASTA RD
                                                                                                            WAYNE, NJ 07470-6114



GEORGE KEENAN & MARGARET M KEENAN TR                 GEORGE KONSTANTINOW TOD GEORGE KONSTANTINOW JR SUBJECT
                                                                                                     GEORGETOKRAWCHUK
                                                                                                               STA TOD
UA 12/21/2006 KEENAN FAMILY REV LIV TRUST            RULES                                           & MICHAEL KRAWCHUK & KATHLEEN E MIER & ELIZABETH A
1350 SILVER LAKES BLVD                               2716 PATRICIA LANE                              KRAWCHUK JT TEN
NAPLES, FL 34114                                     WINSTON SALEM, NC 27103                         6491 METTETAL
                                                                                                     DETROIT, MI 48228-5217


GEORGE L BATT CUST KENNETH C BATT                    GEORGE L ELLIS CUST JOHN YOUNG ELLIS                   GEORGE L HEWITT & ESTHER F HEWITT TR
U/THE IDAHO UNIFORM GIFTS TO MINORS ACT              A MINOR UNDER CALIF GIFTS OF SEC TO MINORS ACT         GEORGE L & ESTHER F HEWITT REVOCABLE TRUST UA
24104 SHERYL LANE                                    12285 WOODLEY AVE                                      10/28/03
CALDWELL, ID 83605-8465                              GRANADA HILLS, CA 91344-2863                           14351 PARK DR
                                                                                                            MECOSTA, MI 49332-9797
                    09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                          Part 8 of 8 Pg 135 of 440
GEORGE L MALLISON & JANET ANN MALLISON TR          GEORGE L ORTWEIN & NORMA J ORTWEIN TR           GEORGE LE FEVRE CUST DOUGLAS LE FEVRE
UA 08/22/2007 GEORGE MALLISON REVOCABLE TRUST      THE ORTWEIN REVOCABLE TRUST UA 05/27/93         UNDER THE MI UNIFORM GIFTS TO MINORS LAW
11642 SARA ANN DR                                  5325 BEDFORD COURT                              19400 WOODWORTH
DEWITT, MI 48820                                   INDEPENDENCE, KY 41051-7803                     REDFORD, MI 48240-1532



GEORGE M FRANK                                     GEORGE M HIRSBERG CUST DAVID M HIRSBERG         GEORGE M KRUMPOTICH & SUSAN G KRUMPOTICH TR
15B MONMOUTH LN                                    U/THE MISS UNIFORM GIFTS TO MINORS ACT          UA KRUMPOTICH FAMILY TRUST 08/31/89
WHITING, NJ 08759-1744                             MC WILLIAMS BLDG                                BOX 2870
                                                   CLARKSDALE, MS 38614                            PALM SPRINGS, CA 92263



GEORGE M POMPHRET IN TR                            GEORGE M SUTER CUST FREDERICK H SUTER           GEORGE MARTIN STONE II & CELIA ANNE WALKER STONE TR
UW FRANCIS J POMPHRET F/B/O CHRISTOPHER REARDON    A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y   GEORGE M & CELIA A STONE REV LIVING TRUST UA11/19/97
36 MYSTIC STREET                                   88 FULLER AVE                                   4009 QUEENSWOOD DRIVE
METHUEN, MA 01844-2417                             WEBSTER, NY 14580-3547                          PORTSMOUTH, VA 23703-1805



GEORGE MASTERTON & HARRIET MASTERTON TR            GEORGE MURGES CUST JOHN G MURGES                GEORGE N ANDREWS & FRANCES A ANDREWS TR
GEORGE MASTERTON & HARRIET MASTERTON LIVING        U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT      UA 04/06/93 ANDREWS REVOCABLE LIVING TRUST
521 WATERFORD AVE                                  4061 PRAIRIE VIEW DRIVE N                       1525 VALPARAISO
MOUNT DORA, FL 32757-9554                          SARASOTA, FL 34232-1635                         MENLO PARK, CA 94025-5563



GEORGE N WILLIAMS JR & EULALIA J WILLIAMS JT TEN   GEORGE NEIL PERKINS & SHERRIE PERKINS TR        GEORGE P CIVILLE CUST PATRICK CIVILLE
PO BOX 151531                                      UA PERKINS FAMILY TRUST 08/22/91                U/THE OHIO UNIFORM GIFTS TO MINORS ACT
ARLINGTON, TX 76015-7531                           1405 DARTMOUTH DR                               STE 400
                                                   SOUTH LAKE, TX 76092-7104                       GCIC BUILD
                                                                                                   AGANA 96910 GUAM


GEORGE P SLIVINSKI & ALICE K SLIVINSKI TR          GEORGE PASKIEWICZ                               GEORGE PETRILLO & CAROLYN A PETRILLO JT TEN
SLIVINSKI LIVING TRUST UA 12/28/98                 RUA PROFESSOR THOMAZ GALHARDO                   PO BOX 471134
7772 BREAGER RD                                    655 CENTRO                                      AURORA, CO 80047-1134
THREE LAKES, WI 54562-9207                         UBATUBA SAO PAULO 11680 000
                                                   BRASIL BRAZIL


GEORGE PHILLIP REINER                              GEORGE R CHENEY & CAROL J CHENEY TR             GEORGE R FERRIS & BETTY JEAN FERRIS TR
29761 MONARCH DR                                   GEORGE R CHENEY REVOCABLE TRUST UA 06/09/99     GEORGE R & BETTY JEAN FERRIS REVOCABLE TRUST UA
SAN JUAN CAPISTRAN, CA 92675-1427                  8229 SOUTH MASON                                5/5/99
                                                   BURBANK, IL 60459-1955                          2595 EASTMOOR DR
                                                                                                   SANTA ROSA, CA 95405-8042


GEORGE R JACOBSEN                                  GEORGE R MANSFIELD CUST SHIRLEY K MANSFIELD     GEORGE R PARKHURST & STEPHANIE G PARKHURST TR
& MARY L JACOBSEN JT TEN TOD RONALD G JACOBSEN     A MINOR U/SECT 125-5-1/12 OF THE COLO REVISED   UA 11/30/93 PARKHURST REVOCABLE TRUST
SUBJECT TO STA TOD RULES                           STATUTES 53                                     117 CONCORD ST
2017 SUNSET RIDGE DR                               6772 S KEARNEY COURT                            GLOUCESTER, MA 01930-1652
CROSSVILLE, TN 38571-0489                          ENGLEWOOD, CO 80112-1034


GEORGE R PASSERI                                   GEORGE R POERNER CUST GEORGE G POERNER          GEORGE R RAYMONDS & JOANNE B RAYMONDS TR
PO BOX 478105                                      A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J    RAYMONDS REVOCABLE TRUST UA 06/09/97
CHICAGO, IL 60647-8105                             PO BOX 1475                                     2839 KAVALIER DR
                                                   ROBBINVILLE, NC 28771-1475                      PAIN HARBOR, FL 34684-4118



GEORGE R REINIS                                    GEORGE R SANFORD CUST ARTHUR H SANFORD          GEORGE R TYNES
715 MARLOWE RD                                     U/THE MASS UNIFORM GIFTS TO MINORS ACT          PO BOX 524205 STADIUM
CHERRY HILL, NJ 08003-1551                         13244 GLENCLIFF WAY                             BRONX, NY 10452-1283
                                                   SAN DIEGO, CA 92130-1309
                    09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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GEORGE RITCHIE                                       GEORGE ROBERT LEOPOLD & PATSY CLEYONE LEOPOLD TR     GEORGE ROBERT SHANNON & BETTY LOU SHANNON TR
1211-360 WATSON ST WEST                              U-D TR 8/28/89 W/GEORGE R LEOPOLD &                  UA 03/14/88 GEORGE ROBERT SHANNON &
WHITBY ON                                            8566 NOTTINGHAM PLACE                                307 S WOODS MILL RD APT 178
L1N 9G2 CANADA                                       LA JOLLA, CA 92037-2124                              CHESTERFIELD, MO 63017



GEORGE ROBINSON & RUTH NAOMI ROBINSON TR             GEORGE ROSS GILLESPIE & BEATRICE GILLESPIE TR        GEORGE RUBINE CUST MARCIA RUBINE
GEORGE & RUTH ROBINSON TRUST UA 10/28/96             UA 09/01/88 GEORGE BEATRICE GILLESPIE                A MINOR U/P L 55CHAPTER 139 OF THE LAWS OF NJ
2651 RESOR RD                                        4014 HILLSDALE DR                                    230 W 79TH ST
FAIRFIELD, OH 45014-3955                             AUBURN HILLS, MI 48326-4305                          APT 122 SOUTH
                                                                                                          NEW YORK, NY 10024-6210


GEORGE S SPINK &DORIS S SPINK TR                     GEORGE S ZIMMER & DIANE M ZIMMER TR                  GEORGE SEALOVE CUST ALAN SEALOVE
SPINK FAMILY REVOCABLE LIVING TRUST UA 12/13/00      UA 08/25/93 THE ZIMMER FAMILY TRUST                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
1144 MIFFLIN AVE                                     PO BOX 1143                                          61 ARBOR ROAD
ASHLAND, OH 44805-2943                               LAKEPORT, CA 95453-1143                              ROSLYN, NY 11577-1805



GEORGE SIMEON PORTIE JR USUFRUCT PENNIE L PORTIE     GEORGE SPIELHAUPTER & ANN SPIELHAUPTER TR            GEORGE STEETS CUST DAVID STEETS
& DANIEL W PORTIE & GARY L PORTIE NAKED OWNERS       THE SPIELHAUPTER FAMILY LIVING TRUST UA 10/18/02     U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT
1010 PATCH STREET                                    105 RED FOX CT                                       21 HALEY LN
SULPHUR, LA 70663                                    ROSCOMMON, MI 48653-9328                             NORTH WINDHAM, CT 06256-1402



GEORGE T BARTON & MARY T BARTON & MARGARET E CONNOR
                                                  GEORGE
                                                    TR    T KENNEDY CUST PATRICK G KENNEDY                GEORGE THOMAS CHALLONER & GLADYS MOORE CHALLONER
GEORGE T BARTON REVOCABLE TRUST UA 09/29/03       U/THE MICH UNIFORM GIFTS TO MINORS ACT                  G T & G M CHALLONER TRUST UA 10/26/04
1262 EAST 32ND STREET                             101 HONEYTREE CIRCLE                                    10201 REINTREE COMMON LANE
BROOKLYN, NY 11210-4743                           WAXAHACHIE, TX 75165-6903                               RICHMOND, VA 23238



GEORGE W BISCOE & TERESA C BISCOE TR                 GEORGE W BRANDT                                      GEORGE W CARVER & WILMA S CARVER TR
GEORGE W BISCOE REVOCABLE LIVING TRUST UA 02/09/96   1106 HEINES DRIVE                                    UA CARVER REVOCABLE FAMILY TRUST12/18/89
11 GRUBER DR                                         TYLER, TX 75701-9072                                 2 CRIMSON COURT
GLEN COVE, NY 11542-3202                                                                                  PEKIN, IL 61554-2402



GEORGE W COOK                                        GEORGE W DEFENTHALER & JACQUELINE J DEFENTHALER TR GEORGE W GREGORY TR
PO BOX 600458                                        UA 11/11/88 BY GEORGE W DEFENTHALER                IRREVOCABLE TRUST 02/23/86 U-A LORRAINE NEW &
DALLAS, TX 75360-0458                                4823 PINE EAGLES DR                                GEORGE GREGORY
                                                     BRIGHTON, MI 48116-9762                            2476 KINGSTON
                                                                                                        TROY, MI 48084-2707


GEORGE W GRIFFITH CUST CHARLES M GRIFFITH            GEORGE W KNABE CUST DOROTHY M KNABE                  GEORGE W LAWRENCE
U/THE IND UNIFORM GIFTS TO MINORS ACT                U/THE SOUTH DAKOTA UNIFORM GIFTS TO MINORS LAW       16850-112 COLLINS AVENUE
300 BARTON SHORE DR                                  1008 7TH AVE S                                       APT #451
ANN ARBOR, MI 48105-1026                             VIRGINIA, MN 55792-3151                              SUNNY ISL BCH, FL 33160



GEORGE W LYONS & DOROTHY F LYONS TR                  GEORGE W ROVOLL & ANNA M ROVOLL TR ROVOLL TRUST # 1 UA
                                                                                                         GEORGE
                                                                                                            06/13/00
                                                                                                                   WALTER LOWRY
UA 02/15/91 GEORGE W LYONS & DOROTHY F LYONS         1706 ASHWOOD DR                                     3590 ROUNDBOTTOM ROAD
7910 KNOX LOOP                                       REESE, MI 48757-9438                                PMB F101238
NEW PORT RICHEY, FL 34655-2738                                                                           CINCINNATI, OH 45244-3026



GEORGE WARREN COBB JR TR                             GEORGE WARREN RICHARDS & GLORIA GOTSHALL RICHARDS GEORGE
                                                                                                       TR       WILLIAM CHARLESWORTH TR
UNDER THAT CERTAIN SEPARATE PROPERTY                 UA RICHARDS FAMILY TRUST 10/01/92                 UA 05/07/91 GEORGE WILLIAM CHARLESWORTH TRUST
DECLARATION OF TRUST UA 10/20/93                     63897 E SQUASH BLOSSOM LN                         836 4TH ST
2032 FREDA LN                                        TUCSON, AZ 85739-2036                             BETTENDORF, IA 52722-4044
CARDIFF-BY-THE-SEA, CA 92007-1419
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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GEORGE WILLIAM WARE CUST BONNY ILENE WARE             GEORGE WRUBEL CUST AUSTIN S WRUBEL                 GEORGEANNE CONTOYANNOPOULOS CUST CHRISTOS CONTO
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         UNDER THE NEW YORK U-G-M-A
12801 HALL SHOP ROAD                                  4555 HENRY HUDSON PKWY                             C/O WORLD SEAS SHIPPING
HIGHLAND, MD 20777-9546                               APT 1209                                           200 WILLIAM ST P O BOX 106
                                                      BRONX, NY 10471-3840                               PORT CHESTER, NY 10573-0106


GEORGIA BLOW & EDITH BEATTIE & PETER WAYSTACK TR      GEORGIA C FORBES                                   GEORGIA J BONESTEEL CUST JONATHON WATSON BONESTEE
GEORGIA BLOW LIVING TRUST UA 06/01/04                 PO BOX 320793                                      U/THE ILL UNIFORM GIFTS TO MINORS ACT
87 N WOODCREST DR                                     FLINT, MI 48532-0014                               PO BOX 96
MELROSE, MA 02176-3415                                                                                   FLAT ROCK, NC 28731-0096



GEORGIA L HIBBS TR                                    GERALD A ESKAY & MARIAN S ESKAY TR                 GERALD A HERWITZ & ESTHER D HERWITZ TR
UA 12/10/86 GEORGIA L HIBBS AND CLEO E HIBBS FAMILY   GERALD A & MARIAN S ESKAY TRUST UA 07/10/03        GERALD A & ESTHER D HERWITZ REVOCABLE
TRUST                                                 23 HICKORY TRACE                                   9237 CORAL ISLE WAY
224 SOUTH GRACE STREET                                GIRARD, OH 44420-1036                              FT MYERS, FL 33919-8438
LANSING, MI 48917-3800


GERALD A SILVERMAN CUST SUSAN DIANE SILVERMAN         GERALD C ANDERSON & LAURA A ANDERSON TR            GERALD C JOHNSON JR & JOSEPHINE A JOHNSON TR
U/THE PA UNIFORM GIFTS TO MINORS ACT                  UA 09/07/93 GERALD C ANDERSON & LAURA A ANDERSON   UA JOHNSON FAMILY TRUST 09/25/92
9 UNCAS DR                                            TRUST                                              1108 HOLLY AVE
AMSTON, CT 06231-1331                                 HCR 1 BOX 148                                      DAYTON, OH 45410-2625
                                                      EAGLE HARBOR, MI 49950-9737


GERALD C VEIN                                         GERALD CABIN CUST MITCHELL PAUL CABIN              GERALD D BYRD
614 SKYVIEW CIRCLE                                    U/THE PA UNIFORM GIFTS TO MINORS ACT               PO BOX 701762
GRAND FORKS, ND 58201-7682                            463 BROWN BRIAR CIRCLE                             PLYMOUTH, MI 48170-0970
                                                      HORSHAM, PA 19044-1974



GERALD D EBERLEIN                                     GERALD D GRUDT & MARYLIN F GRUDT TR                GERALD E CURTIS & ALEXANDERIA B CURTIS TR
6175 BIRCH RUN RD                                     GERALD GRUDT & MARYLIN GRUDT TRUST UA 03/06/96     GERALD E & ALEXANDERIA B CURTIS TRUST UA 03/26/01
MILLINGTTON, MI 48746-9734                            64650 JAN DR                                       1788 RANIER
                                                      BEND, OR 97701-8824                                CANTON, MI 48187-3438



GERALD E LAPINSKI                                     GERALD E RIDINGER & MIRIAM L RIDINGER TR           GERALD E STEINER
PO BOX 380693                                         GERALD E RIDINGER & MIRIAM L RIDINGER TRUST UA     1838 W VALLEY
SAN ANTONIO, TX 78268-7693                            09/27/94                                           ADRIAN, MI 49221-8500
                                                      5741 CARANOR DR
                                                      KENT, OH 44240-4208


GERALD F RIEDEL & JANET M RIEDEL TR                   GERALD GILBERT POSTHUMUS & MARCIA ELIZABETH POSTHUMUS
                                                                                                        GERALD
                                                                                                            TR GRUNEWALD & JAMES GRUNEWALD & BEVERLY THEU
GERALD F & JANET M RIEDEL REVOCABLE TRUST UA          UA POSTHUMUS REVOCABLE TRUST 09/20/91             NORMAN E GRUNEWALD LIVING TRUST UA 03/16/95
06/14/01                                              11125 TIFFANY COURT                               16720 N APPLE LN
4025 CHURCH RD                                        SUN CITY, AZ 85351-2136                           RAY TWP, MI 48096-4107
CASCO, MI 48064-2405


GERALD H SCHIEFELBEIN                                 GERALD H WHITEMAN & EDITH B WHITEMAN TR            GERALD IRA GOLDMAN
3021 S COUNTY ROAD D                                  WHITEMAN FAMILY TRUST UA 10/02/89                  & PETER DAVID GOLDMAN & GABRIEL JONAH GOLDMAN
JANESVILLE, WI 53548-9182                             2321 FAIRSKIES DR                                  & TOBY RUTH GOLDMAN JT TEN
                                                      SPRING HILL, FL 34606-7257                         365 EDGEWOOD AVE
                                                                                                         TEANECK, NJ 07666-3024


GERALD J GETCHELL                                     GERALD J MCCANN & MADELEINE A MCCANN TR            GERALD J RINGES & INA P RINGES TR
45484 215TH LANE                                      MCCANN FAMILY TRUST UA 06/26/95                    GERALD J RINGES & INA P RINGES REVOCABLE LIVING
AITKIN, MN 56431-5491                                 1930 W SAN MARCOS BLVD 9                           TRUST UA 05/07/99
                                                      SAN MARCOS, CA 92078                               7515 ADMIRALTY DRIVE
                                                                                                         CANTON, MI 48187-1578
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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GERALD J STIRLING & ELEANORE C STIRLING TR            GERALD L DE MOTTS CUST JERRY WAYNE DE MOTTS          GERALD L DEGELBECK & GRETCHEN M DEGELBECK TR
GERALD J & ELEANORE C STIRLING TRUST UA 06/07/99      U/THE MICH UNIFORM GIFTS TO MINORS ACT               GERALD L & GRETCHEN DEGELBECK REVOCABLE LIV
6547 ELIZABETH                                        8 FEATHER RIDGE ROAD                                 TRUST UA 06/19/06
GARDEN CITY, MI 48135-2004                            MARQUETTE, MI 49855-9427                             30 S EL DORADE AVE
                                                                                                           LAKE HAVASU CITY, AZ 86403-6061


GERALD L FLITCRAFT & MARJORIE H FLITCRAFT TR          GERALD L HAMILTON TR                                 GERALD L HARTMAN & BARBARA C HARTMAN TR
FLITCRAFT FAM TRUST UA 04/11/96                       UA 11/22/2002 GERALD L & SHIRLEY A HAMILTON LIVING   GERALD L & BARBARA C HARTMAN REV LIVING TRUST UA
1314 B ST                                             TRUST                                                07/24/03
ANTIOCH, CA 94509-2304                                484 CEDAR DRIVE                                      2440 LONG LAKE RD
                                                      ITHACA, MI 48847                                     HARRISON, MI 48625-8643


GERALD L HARTMAN & BARBARA C HARTMAN TR               GERALD L HOLBERT & BETTY L HOLBERT JT TEN            GERALD L LARNER & BETTY M LARNER TR
GERALD L & BARBARA C HARTMAN REV LIVING TRUST UA      30858 STEINHAUER                                     GERALD L LARNER & BETTY M LARNER REV TRUST UA
07/24/03                                              WESTLAND, MI 48186-9022                              4/13/99
2440 LONG LAKE RD                                                                                          704 WILDLIFE LANE
HARRISON, MI 48625-8643                                                                                    COLUMBIA, SC 29209


GERALD L PETERSEN TR                                  GERALD L RHODES & DOLORES M RHODES TR                GERALD L RODGERS
GERALD L PETERSEN TRUST UA 5/26/99 MARGARET A         INTERVIVOS TRUST 11/14/89 U-A GERALD L RHODES        PO BOX 401182
PETERSEN TR MARGARET                                  3714 N E 47TH TERRACE                                REDFORD, MI 48240-9182
403 WINDMERE DRIVE                                    KANSAS CITY, MO 64117-1225
COLONIAL HEIGHTS, VA 23834-1925


GERALD L SWARTZ & DONNA J SWARTZ TR                   GERALD L WAY CUST DEBORAH D WAY                      GERALD L WAY CUST LESLIE C WAY
GERALD L & DONNA J SWARTZ REVOC LIV TRUST UA 8/4/03   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
640 MCKEIGHAN AVE                                     301 E RIVER RD                                       301 E RIVER RD
FLINT, MI 48507-2776                                  FLUSHING, MI 48433-2139                              FLUSHING, MI 48433-2139



GERALD L WAY CUST NELSON L WAY                        GERALD M SLOMINSKI CUST MARILYN A SLOMINSKI          GERALD MAURER & VIRGINIA MAURER TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            U/THE MICH UNIFORM GIFTS TO MINORS ACT               KIMBERLY A MAURER IRREVOCABLE TRUST UA 03/10/01
301 E RIVER RD                                        121 38TH PL                                          16320 EASY ST PO BOX 66
FLUSHING, MI 48433-2139                               MANHATTAN BEACH, CA 90266-3105                       KETTLERSVILLE, OH 45336-0066



GERALD MUELLENSCHLADER CUST RICHARD ALAN MUELLENSCHLADER
                                                 GERALD N COLES & ADELHEID COLES & EDWIN L COLES TR        GERALD P KENNA
U/THE MD UNIFORM GIFTS TO MINORS ACT             GERALD COLES TRUST UA 5/18/00                             PO BOX 940042
904 EDGEFIELD DR                                 536 ANNABELLE                                             ROCKAWAY PARK, NY 11694
SHREVEPORT, LA 71118-3406                        HAZEL PARK, MI 48030



GERALD P SEELEY                                       GERALD R REINHART                                    GERALD R SWANSON & CHARLENE C SWANSON TR
WESTMOOR #37 2688 150TH ST                            308 TIMBER HILL DR                                   GERALD SWANSON & CHARLENE SWANSON TRUST UA
WHITE ROCK BC                                         TRAVERSE CITY, MI 49686-9451                         10/31/97
V4P 1P1 CANADA                                                                                             800 CARI ANN CT
                                                                                                           JEFFERSON CITY, MO 65109-5829


GERALD R WILLIAMS OR ALICE J WILLIAMS TR              GERALD ROBINSON CUST RICKY WEINSTEIN UTMA FL         GERALD S ADELMAN CUST STUART F ADELMAN
WILLIAMS FAMILY TRUST UA 8/30/99                      21 N W 12TH STREET                                   U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
222 CHEESTANA WAY                                     DELRAY BEACH, FL 33444-2913                          20 N WACKER DR 1334
LOUDON, TN 37774-2527                                                                                      CHICAGO, IL 60606-2902



GERALD S SCHUR CUST ANDREA JOY SCHUR                  GERALD S SCHUR CUST DAVID I SCHUR                    GERALD S SCHUR CUST ROBERT L SCHUR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT            U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
5816 MARIOLA PL NE                                    300 N CANAL ST                                       1445 LAUREL AVE
ALBUQUERQUE, NM 87111-8145                            APT 3314                                             DEERFIELD, IL 60015-4775
                                                      CHICAGO, IL 60606-1310
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
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GERALD SMITH CUST EVIE H SMITH                       GERALD SWAIN DITTO & MARJORIE LOUISE DITTO TR        GERALD TANNENBAUM CUST PAMELA LYNN TANNENBAUM
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           UA 01/19/93 THE DITTO TRUST                          U/THE WISC UNIFORM GIFTS TO MINORS ACT
1525 SAUNDER                                         349 HOPE RD                                          1005 E GLENCOE PL
WHEELING, IL 60090-5961                              HELENA, MT 59602-9416                                MILWAUKEE, WI 53217-1926



GERALD V FOOTE & VERA FOOTE TR                       GERALD W BURROWS & DONNA M BURROWS TR                GERALD W KOWALEWSKI & JOAN M KOWALEWSKI TR
GERALD V FOOTE & VERA FOOTE FAM TRUST UA 08/03/95    GERALD W & DONNA M BURROWS REVOCABLE TRUST UA        UA 02/20/09 GERALD W KOWALEWSKI & JOAN M
11842 POINT ROCK WAY                                 05/19/97                                             1590 10TH STREET
GOLD RIVER, CA 95670-8372                            8122 S ENOCH MILL ROAD                               WYANDOTTE, MI 48192
                                                     GRAIN VALLEY, MO 64029-9150


GERALD W RUSTEM & ELIZABETH J RUSTEM TR              GERALD WEINSTEIN                                     GERALDINE A FETCHEN
GERALD W & ELIZABETH J RUSTEM LIVING TRUST UA        40 WEST 77TH ST 17B                                  & LINDA ANN EHRHARDT & ROSEANNE SAMSEL & JOANNE
05/27/98                                             NEW YORK, NY 10024-5128                              SUYDAM JT TEN
10115 BUSCH RD                                                                                            54 GURLEY RD
BIRCH RUN, MI 48415-9710                                                                                  EDISON, NJ 08817-4530


GERALDINE ADAMS                                      GERALDINE CELMER & JEFFREY A CELMER JT TEN           GERALDINE F SZALAY & ARTHUR F SZALAY TR
PO BOX 500922                                        39413HEATHERHEATH DRIVE                              GERALDINE F & ARTHUR SZALAY REVOCABLE LIVING TR
ATLANTA, GA 31150-0922                               CLINTON TOWNSHIP, MI 48038-2644                      3110 NOLENSVILLE PIKE
                                                                                                          APT 805
                                                                                                          NASHVILLE, TN 37211


GERALDINE J HENRY                                    GERALDINE JC DALY CUST JACOB WARNER DALY UTMA FL     GERALDINE JOYCE KLEIN
541 KLEIN RD                                         PO BOX 358375                                        4452 FERDEN ROAD
STERLING, MI 48659-9709                              GAINESVILLE, FL 32635-8375                           NEW LOTHROP, MI 48460




GERALDINE L COLLIER                                  GERALDINE LOUISE WISSINGER CUST STEPHANIE LYNN WISSINGER
                                                                                                         GERALDINE MEINKE
C/O 2405 LOREINES'S LN                               U/THE MINN U-G-M-A                                  3960 NORTH CALLE HONDANADA
RICHMOND, VA 23233-1415                              1904 W 14TH 1/2 ST                                  TUCSON, AZ 85750-2317
                                                     HOUSTON, TX 77008-3404



GERALDINE P COOK & LAURA J CALLAHAN & MARGARET C FRAILEY
                                                    GERALDINE
                                                         TR     SWIECICKI TR                              GERALDINE T NESBITT MARGARET T BUTLER & FRANK TOWNE
HAROLD A COOK TRUST UA 06/29/95                     UA 01/13/2000 FRANK SWIECICKI & GERALDINE SWIECICKI   ERNEST S TOWNEND TR D UA 7/28/48 BY APPT UW ET
5404 MOSS OAK TRAIL                                 TRUST                                                 TOWNEND
LAKE PARK, GA 31636-3302                            4424 CROSS CREEK BLVD                                 1400 UNITED PENN BLDG
                                                    BURTON, MI 48509                                      WILKES-BARRE, PA 18701


GERALDINE T PIERT                                    GERALDINE V KIRTLEY TR                               GERALDINE WINKLER TR
PO BOX 310343                                        GERALD R KIRTLEY FAM REVOCABLE TRUST UA 08/21/97     UA 07/19/90 FRED M WINKLER & GERALDINE WINKLER
FLINT, MI 48531                                      72 MEADOWBROOK DR                                    TRUST
                                                     SAN FRANCISCO, CA 94132-1410                         11354 E SAN JUANITO PL
                                                                                                          TUCSON, AZ 85749-9234


GERALDINE ZIFCHAK                                    GERARD B HANDFIELD JR                                GERARD F IDSTEIN SR & MARY B IDSTEIN TR
& JOHN ZIFCHAK & CHARLOTTE ZANKO & SHARON SMITH JT   240 MADELEINE AVE                                    UA 06/22/94 GERARD F IDSTEIN SR & MARY B
TEN                                                  WOONSOCKET, RI 02895-3912                            1003 W FLORENCE ST-PISTAKEE HLLS
11111 ALBION ROAD                                                                                         MC HENRY, IL 60050-7916
NO ROYALTON, OH 44133-2504


GERARD FITZPATRICK CUST FRANCIS GERARD FITZPATRICK 2NDUNDER
                                                    GERARD GOLDEN
                                                             THE     CUST LIZABETH A GOLDEN               GERARD M LALONDE
CALIFORNIA U-G-M-A                                  A MINOR U/ART 8-A IF THE PERS PROPERTY LAW OF NEW     3734 BENSTEIN
3318 PTARMIGAN DR                                   YORK                                                  MILFORD, MI 48382-1813
APT 3A                                              ATTN LYSBETH KARAGJOZI
WALNUT CREEK, CA 94595-3155                         20 RIVERSIDE DR
                                                    RUMSON, NJ 07760-1048
                  09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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GERARD S CARNEY & PATRICIA I CARNEY TR              GERARD T SOWINSKI CUST CHERYL J SOWINSKI        GERARD W IVORY
CARNEY FAMILY REVOCABLE TR UA 12/02/03              U/THE N Y UNIFORM GIFTS TO MINORS ACT           PO BOX 311052
112 TOMLINSON DRIVE                                 55 COURT ST                                     FLINT, MI 48531-1052
FOLSOM, CA 95630-1587                               LANCASTER, NY 14086-2301



GERDA FEITH CUST JUDY FEITH                         GERDA K JOHNSON TR                              GERDA M WRIGHT
A MINOR U/ART 8-A OF THE PERSONAL PROPERTY LAW OF   UW JERRY MACK JOHNSON FBO JERRY MACK JOHNSON    4818 134TH PL SE
C/O TABAK 1361 MADISON AVE                          TESTAMENTARY TRUST                              BELLEVIEW, WA 98006-3478
NEW YORK, NY 10128                                  6833 ASWAN
                                                    CORPUS CHRISTI, TX 78412-4142


GERHARD C CHRISTEIN & MARGARETHE CHRISTEIN JT TEN   GERHARD ECK CUST SUSAN J ECK                    GERLD R ETESSE
4620 BAY BLVD #1156                                 U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT      3025 181ST LN NW
PORT RICHEY, FL 34668-6156                          2418 SARANAC LN                                 CEDAR, MN 55011-9578
                                                    GLENVIEW, IL 60025-1068



GERMAINE GWISDALA                                   GEROLAMO J GIUNTA CUST JENNIFER SUE GIUNTA      GEROLD L SCHIEBLER CUST MARK SCHIEBLER
& TIMOTHY P GWISDALA & MARY E ROTH & PAUL W         U/THE OHIO UNIFORM GIFTS TO MINORS ACT          U/THE FLORIDA GIFTS TO MINORS ACT
GWISDALA &                                          20 S DELAWARE DR                                4516 NINA LN
2391 26TH ST                                        NYACK, NY 10960-2312                            MIDDLETON, WI 53562-5326
BAY CITY, MI 48708-3801


GERORMO MORABITO TR                                 GERRET VAN S COPELAND                           GERRIE S OSHAUGHNESSY
GERORMO MORABITO REVOCABLE LIVING TRUST UA          BOX 4060 175 BRECKS LANE                        C/O MRS J D STEIN
02/27/98                                            GREENVILLE, DE 19807-3008                       105 GLENWOOD DR
17960 BIEHL                                                                                         FREDERICKSBURG, TX 78624-2909
ROSEVILLE, MI 48066-2570


GERSON PAGNOTTA                                     GERTRUD H SCHULER                               GERTRUDE A BOBKA TR
RUA DR RUBENS BELUZZO BRANDO                        HERTASTR 8A                                     UA DTD 9/25/89 EDWARD W BOBKA & GERTRUDE A BOBKA
NUMERO 150                                          65510 IDSTEIN/TS                                TRUST
PARQUE DOS PRINCIPES SAO PAULO                      GERMANY                                         13108 W STONEBRIDGE LN
CEP 05396-345 SP - BRAZIL                                                                           HUNTLEY, IL 60142


GERTRUDE A TITCOMB & THAYER A MILLER & CLAIRE E DERS TR
                                                      GERTRUDE A VAN OOSTENDORP                     GERTRUDE BERTHA LIENARZ & BARBARA L HUMBERG TR
TITCOMB LIVING TRUST UA 09/03/98                      & JOHN J VAN OOSTENDORP & DOUGLAS L VAN       GERTRUDE BERTHA LIENARZ REVOCABLE TRUST UA
42 FRONT ST                                           OOSTENDORP JT TEN                             03/24/05
MARATHON, NY 13803-3014                               5305 CHRISTIE SOUTHEAST                       2623 TOE JAM HILL RD NE
                                                      KENTWOOD, MI 49508-6162                       BAINBRIDGE ISLAND, WA 98110-2382


GERTRUDE CAVACIUTI CUST ERIC ANTHONY CAVACIUTI      GERTRUDE D GILLESPIE CUST JOHN A GILLESPIE      GERTRUDE GOLDSTEIN
U/THE DEL UNIFORM GIFTS TO MINORS ACT               A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y   114 BREWSTER RD
1470 HEDGEWOOD LN                                   190 BRYANT ST                                   WEST HARTFORD, CT 06117-2101
KENNESAWK, GA 30152-4513                            BUFFALO, NY 14222-2005



GERTRUDE JAHNS CUST JOHN O SHIELDS JR               GERTRUDE K BURCH TR                             GERTRUDE L WEINGARTEN
U/THE MO UNIFORM GIFTS TO MINORS ACT                UA 12/30/08 GERTRUDE K BURCH REVOCABLE LIVING   7734 KENTLAND AVE
1 FOX RUN LN                                        TRUST                                           CANOGA PARK, CA 91304-5408
ST LOUIS, MO 63131-3312                             3114 HIDDEN RIDGE DR
                                                    WATERFORD, MI 48328


GERTRUDE M KREINHEDER                               GERTRUDE MAYER                                  GERTRUDE S DAVISON CUST IRWIN DAVISON
3 SAGE MEADOWS CT                                   C/O GERTRUDE MAYER-MUEHSTEIN                    U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
O FALLON, MO 63366-4189                             10 GASTON ST                                    92 FREDERICK PL
                                                    APT 6K                                          MT VERNON, NY 10552-2331
                                                    WEST ORANGE, NJ 07052-5316
                    09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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GERTRUDE SZUBSKI                                      GHASSAN TAWIL TR GHASSAN TAWIL REVOCABLE TRUST UA 03/24/98
                                                                                                         GIDEON A ROBARGE & JANET K ROBARGE TR
& PATRICIA MIDGETT & JOANN PREISZ & DOUGLAS SZUBSKI   PO BOX 531821                                      GIDEON A ROBARGE AND JANET K ROBARGE REVOCABLE
JT TEN                                                LIVONIA, MI 48153-1821                             1895 GREENFIELD DRIVE
10142 DUNKIRK RD                                                                                         OSSINEKE, MI 49766-9602
SPRING HILL, FL 34608-4472


GILBERT A JOHNS                                       GILBERT A MANDEVILLE CUST TERRY M MANDEVILLE         GILBERT ALBERT CUST NEAL K ALBERT
PO BOX 257737                                         U/THE WASH UNIFORM GIFTS TO MINORS ACT               U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
CHICAGO, IL 60625-7737                                PO BOX 84000                                         73 HILLSIDE TERRACE
                                                      SEATLE, WA 98124-0001                                SHELBURNE, VT 05482-6632



GILBERT C GODINEZ & THELMA S GODINEZ TR               GILBERT DAVIDOFF CUST ALYSSA DAVIDOFF                GILBERT DAVIDOFF CUST RISE B DAVIDOFF
GILBERT C & THELMA S GODINEZ TRUST UA 6/23/98         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
334 GLISTENING CLOUD DR                               587 ISLAND AVE                                       587 ISLAND AVE
HENDERSON, NV 89012-3119                              WOODMERE, NY 11598-2330                              WOODMERE, NY 11598-2330



GILBERT HOFFMAN CUST DEBRA HOFFMAN                    GILBERT J DONNELLY                                   GILBERT J ELIAS CUST DAVID J ELIAS
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            PO BOX 223172                                        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
32 FARBROOK DR                                        PRINCEVILLE, HI 96722-3172                           1808 YOSEMITE
SHORT HILLS, NJ 07078-3007                                                                                 OKEMOS, MI 48864-3851



GILBERT L STEMPFLY & PATTIE LEE STEMPFLY TR           GILBERT W KARPINSKI & SADIE M KARPINSKI TR           GILBERT W SCHREINER TR GILBERT W SCHREINER TRUST UA
THE WONDERHORSE TRUST UA 12/13/99                     GILBERT W & SADIE M KARPINSKI TRUST UA 1/14/03       1250 LA BROSSE
890 WRIGHT ST                                         46600 ROSE LANE DRIVE                                WATERFORD, MI 48328
YELLOW SPGS, OH 45387-1444                            NEW BALTIMORE, MI 48047-5150



GILDA D JENSEN CUST A CHRISTEN JENSEN                 GILDA S FINKELSTEIN TR UW JULIUS FINKELSTEIN F-B-O RAYANNE
                                                                                                             GILES
                                                                                                                 F ENRICH
                                                                                                                    W BRANSTON
U/THE CONN UNIFORM GIFTS TO MINORS ACT                4824 BISSONET DR                                       301 HO 3RD FL BIEN FAIT VILLA
66 FIELD POINT RD                                     METAIRIE, LA 70003-1136                                1-106 BANGHAE-DONG SEOCHU-GU
#3                                                                                                           SEOUL 137-060
GREENWICH, CT 06830-6473                                                                                     KOREA SEYCHELLES


GILLES PRE                                            GILLIAN HINTON LEBEL                                 GINA LEBEL
540-4 PYUNGCHANG-DONG                                 2524 148A ST                                         2524 148A ST
JONGRO-KU                                             SURREY BC                                            SURREY BC
SEOUL                                                 V4P 1N8 CANADA                                       V4P 1N8 CANADA
110-849 KOREA (REP)


GIOVANNI PETROCELLI CUST ANGELO PETROCELLI            GISE VANBAREN & CAROLYN A VAN BAREN TR               GIULIANO SAMORI
U/THE R I UNIFORM GIFTS TO MINORS ACT                 VANBAREN FAMILY TRUST UA 05/31/97                    AU GETULIO VARGAS 319 APT 82A
178 BLACK HILL RD                                     23850 PLUM VALLEY DRIVE                              S BERNARDO DO CAMPO S PAULO
PLAINFIELD, CT 06374-1409                             CRETE, IL 60417-1780                                 09751 250 BRAZIL



GLADYS C SCHMITT TR                                   GLADYS E ROSTAD CUST PENNY C ROSTAD                  GLADYS M ASBURY
GLADYS C SCHMITT REVOCABLE DECLARATION TRUST UA       U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT          8918 W 21ST ST N #200-257
08/07/98                                              3017 W WOODLAND CT                                   WICHITA, KS 67205-1802
3355 KIRKWOOD CT                                      MEQUON, WI 53092-2326
KESWICK, VA 22947-9138


GLADYS M MELNICK CUST ROBERT R MELNICK                GLADYS M POLITTE & DEBRA M CAMPOS TR                 GLADYS MAE KEENAN & KEVIN ANTHONY RATHBURN JT TEN
A MINOR PUR TO SECS 1339 /26 INCL REV CODE OF OHIO    GLADYS M POLITTE REVOCABLE TRUSTUA 02/22/97          40500 119TH ST
719 FORESTRIDGE DR                                    150 SAINT NICHOLAS LANE                              GENOA CITY, WI 53128-2526
YOUNGSTOWN, OH 44512-3517                             FLORISSANT, MO 63031
                      09-50026-mg        Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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GLADYS V CUNNINGHAM                                  GLADYS V SANDER & RICHARD G SANDER TR                 GLEN E CARNAHAN & THELMA M CARNAHAN TR
PO BOX 218180                                        UA 05/06/2009 SANDER FAMILY TRUST                     GLEN E CARNAHAN FAM LIVING TRUSTUA 11/03/94
COLUMBUS, OH 43221-8180                              8724 SHADE TREE CIR                                   15572 CAMPBELL RD
                                                     VLG OF LAKEWD, IL 60014                               DEFIANCE, OH 43512-8833



GLEN E LILLY                                         GLEN P STEWART & JULIA A STEWART TR                   GLEN W PENNELL
PO BOX 210631                                        GLEN & JULIA STEWART LIV TRUST UA 12/11/97            & JUNE PENNELL JT TEN TOD GLENDA HAMMOND SUBJECT
AUBURN HILLS, MI 48321-0631                          2342 TWIN LEAF CT                                     TO STA TOD RULES
                                                     ASHLAND, OH 44805-8520                                612 NW SHAMROCK AVE
                                                                                                           APT 213
                                                                                                           LEES SUMMIT, MO 64081-1141

GLEN W READER                                        GLENDA E FRANCIS TR                                   GLENEDEN A HEINTZELMAN
1928 140TH AVE                                       UA 10/03/08 GLENDA E FRANCIS REVOCABLE LIVING TRUST   90 NETTIE AVE
DORR, MI 49323-9547                                  3358 DOBIE RD                                         LANSING, MI 48906
                                                     OKEMOS, MI 48864



GLENN A VANDERSLUIS & DOROTHY DEVRIES TR             GLENN ADRION KOCH & JOYCE DIANE KOCH TR               GLENN C STEINMEYER
VANDERSLUIS FAMILY TRUST UA 02/02/94                 GLENN ADRION KOCH & JOYCE DIANE KOCH REVOCABLE        6438 MANDALAY DRIVE
2 PEMBROKE PLACE                                     942 MELODIE NORTH                                     PARMA HEIGHTS, OH 44130-2922
MENLO PARK, CA 94025-5859                            QUINCY, IL 62301-4543



GLENN COLE & DAWN M COLE JT TEN                      GLENN E GEESEY & LORRAINE A GEESEY TR                 GLENN E GILLESPIE & LOUISE F GILLESPIE TR
P O BOX 920914                                       UA 12/06/91 GLENN E GEESEY & LORRAINE A GEESEY        GLENN F GILLESPIE TRUST UA 10/27/97
DUTCH HARBOR, AK 99692                               2106 PLATINUM DRIVE                                   6852 SW BURLINAME AVE
                                                     SUN CITY CENTER, FL 33573-6462                        PORTLAND, OR 97219-2128



GLENN E GRAY                                         GLENN E MOHNEY CUST DAVID B MOHNEY                    GLENN E MOHNEY CUST MARK W MOHNEY
20866 102ND AVE SE                                   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
KENT, WA 98031-2059                                  247 NORTH MILL STREET                                 3892 FAIRFAX CT
                                                     LEXINGTON, KY 40507-1035                              ATLANTA, GA 30339-4410



GLENN E REINHART & MARY A REINHART JT TEN            GLENN HEINRICHS                                       GLENN HUNTER
4191 ORANGEVILLE CUSTER RD                           77-28 74TH ST                                         7417-107 A ST
BURGHILL, OH 44404                                   GLENDALE, NY 11385-8235                               GRANDE PARIRIE AB
                                                                                                           T8W 2S7 CANADA



GLENN L MUIR & SALLY H MUIR TR                       GLENN R AVERY JR                                      GLENN R MORAVEC & MARY E MORAVEC TR
GLENN L AND SALLY H MUIR REVOCABLE LIVING TRUST UA   3525 139TH AVE                                        THE MORAVEC FAMILY REVOCABLE LIVING TRUSTUA
08/11/03                                             DORR, MI 49323-9351                                   04/01/02
16326 LAURELFIELD                                                                                          10821 JOHN EDWARD DR
HOUSTON, TX 77059-6520                                                                                     MANTUA, OH 44255-9411


GLENN RAY WATSON & JOANNE FIRPO TR                   GLENN T DILL & CATHERINE M DILL TR                    GLENN W SUTTON CUST CHRISTINE L SUTTON
GLENN RAY WATSON & JOANNE FIRPO 1993 LIVING TRUST    GLEN T DILL REV LIV TRUST UA 06/21/04                 U/THE N Y UNIFORM GIFTS TO MINORS ACT
UA 03/18/93                                          363 UNIVERSITY DR                                     168 SPRING HILL RD
177 WAWONA ST                                        PONTIAC, MI 48342-2459                                FAIRFIELD, CT 06824-1949
SAN FRANCISCO, CA 94127-1325


GLENORA R WARREN & WILLIAM R WARREN TR               GLORIA CHRISTIE & DAVID CHRISTIE JT TEN               GLORIA ESTUDILLO DE SASPE
UA 06/22/83 GLENORA R WARREN TRUST                   3212 112TH PLACE                                      PO BOX 430 205
2786 LOCHMORE BLVD                                   EAST ELMHURST, NY 11369-2532                          SAN YSIDRO, CA 92143-0205
LAKE ORION, MI 48360-1984
                  09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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GLORIA J HEMINGWAY TR                                 GLORIA J TEITELBAUM CUST CHERYL B TEITELBAUM        GLORIA J TEITELBAUM CUST DAVID M TEITELBAUM
JAMES E HEMINGWAY REVOCABLE LIVING TRUST UA           U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT
06/29/98                                              39 BERGEN AVE                                       7-06 FAIRHAVEN PL
3075 PIERCE RD                                        TEANECK, NJ 07666-3806                              FAIR LAWN, NJ 07410-1626
SAGINAW, MI 48604-9245


GLORIA JEAN MC CRARY TR                               GLORIA L STAPLETON & MICHELLE C MURPHY TR           GLORIA M VENTURA & MICHAEL T VENTURA TR
UA 10/19/92 THE REVOCABLE TRUST FOR GLORIA MC         GLORIA L STAPLETON REVOCABLE TRUST UA 09/12/05      ACACIO J & GLORIA M VENTURA FAMILY TRUST UA 08/15/05
CRARY                                                 5 BERKSHIRE ST                                      1071 TURNBERRY DR
317 BUENA TIERRA DR                                   DORCHESTER, MA 02124-5109                           SPARKS, NV 89436-1817
WOODLAND, CA 95695-4716


GLORIA PIATKOWSKI CUST ROBERT J PIATKOWSKI            GLORIA R OCONNOR TR                                 GLORIA ROSOFF & SUMNER ROSOFF & ELLIOT LOEW TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 ROBERT J O'CONNOR & GLORIA R O'CONNER TRUST         1989 CLORIA ROSOFF FAM TRUST UA 05/12/89
RD 4 BOX 539-C                                        NUMBER ONE UA 01/23/01                              62 STANLEY RD
CANASTOTA, NY 13032-9431                              419 CHERRY CT                                       WABAN, MA 02468-2338
                                                      ROSELLE, IL 60172-1506


GLORIA SHANABERG CUST TRAVIS SHANABERG                GLORIA SPADAVECCHIA TR ALBERT B SPADAVECCHIA        GLORIA T MILLER CUST BARBARA LYNN MILLER
UNDER THE FLORIDA GIFTS TO MINORS ACT                 & GLORIA SPADAVECCHIA REVOCABLE LIVING TRUSTUA      U/THE PA UNIFORM GIFTS TO MINORS ACT
1563 NORTH ST                                         12/21/02                                            124 E NORTH ST
GRANVILLE, OH 43023-9748                              2315 FENTON AVE                                     BUTLER, PA 16001-4931
                                                      BRONX, NY 10469-5755


GLORIA T MILLER CUST GLENN THOMPSON MILLER            GLORIETTA M PROVENZANO TR                           GOLD INVESTMENT MANAGEMENT LTD
U/THE PA UNIFORM GIFTS TO MINORS ACT                  UA 05/16/2008 GLORIETTA M PROVENZANO REV TRUST      10088 102 AVE NW STE 2705 TD TOWER
1404 NORTH MAIN ST EXT                                10507 WASHINGTONIA PALM 3816                        EDMONTON AB
BUTLER, PA 16001-1510                                 FORT MYERS, FL 33966                                T5J 2Z1 CANADA



GOLDIE MAE BISHARD & LARRY L BISHARD TR               GONZALO REIMUNDEZ & AMANDA REIMUNDEZ TR             GONZALO REIMUNDEZ & AMANDA REIMUNDEZ TR
UA 03/28/90 GOLDIE MAE BISHARD TRUST                  REIMUNDEZ LIV TRUST UA 04/23/02                     REIMUNDEZ LIVING TRUST UA 4/23/02
10507 NW MEADOW LANE                                  127 N WASHINGTON ST                                 127 NORTH WASHINGTON ST
PARKVILLE, MO 64152-2533                              TERRYTOWN, NY 10591-3112                            TARRYTOWN, NY 10591-3112



GORDON A GREGORY TR                                   GORDON B MARSHALL & JUDITH A HERNANDEZ TR           GORDON BUNN & MILDRED BUNN TR
GORDON A GREGORY REVOCABLE LIVING TRUST UA            GORDON B MARSHALL REVOCABLE LIVING TRUST UA         GORDON BUNN & MILDRED BUNN LIVING TRUST UA 05/11/94
02/25/94                                              06/28/06                                            9791 SILVERSIDE DRIVE
29564 OLD NORTH RIVER ROAD                            3109 KING ALFORD                                    SOUTH LYON, MI 48178-8811
HARRISON TOWNSHIP, MI 48045                           SAINT CHARLES, IL 60174


GORDON C JACOBSON & NORMA JACOBSON TR                 GORDON D LANGLOIS & LITA H LANGLOIS REVOCABLE LIVING TRUST
                                                                                                            GORDON E WOODBURN & LILLIAN P WOODBURN TR
UA 09/25/1995 GORDON C JACOBSON AND                   UNDER DTD 04-17-82                                    UA THE WOODBURN FAMILY TRUST 09/06/88
1700 S RIVER RD                                       38733 MUIRFIELD DR                                    6323 RIDGE WAY AVE
APT 277                                               MURRIETA, CA 92562-3090                               BATON ROUGE, LA 70817-5243
JANESVILLE, WI 53546-4504


GORDON F Y LEONG TR                                   GORDON G CHALFANT JR & MARY B CHALFANT TR           GORDON K ELLIS & DAVID A ELLIS & GEOFFREY S ELLIS TR
GORDON F Y LEONG REVOCABLE LIVING TRUST UA 12/02/91   GORDON J JR & MARY B CHALFANT LIVING TRUST UA       HARRIETTE G ELLIS TRUST UA 12/19/73
1389 ALA HOKU PL                                      09/06/00                                            78 WHITTIER RD
HONOLULU, HI 96819-1430                               PO BOX 6368                                         WELLESLEY, MA 02481-5239
                                                      NORTH AUGUSTA, SC 29861-6368


GORDON L MUNDY & DOROTHY M MUNDY TR                   GORDON LESLIE WALKER CUST SCOTT DAVID WALKER        GORDON LESLIE WALKER CUST STEVEN LESLIE WALKER
UA 12/19/91 GORDON L MUNDY & DOROTHY M MUNDY          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE MICH UNIFORM GIFTS TO MINORS ACT
5509 W BALDWIN ROAD                                   6602 ENCLAVE DR                                     780 W GIRARD
SWARTZ CREEK, MI 48473-9141                           CLARKSTON, MI 48348-4859                            MADISON HEIGHTS, MI 48071-5102
                   09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                           Part 8 of 8 Pg 144 of 440
GORDON R CORBETT & MARY ANN G CORBETT TR            GORDON R MAITLAND JR CUST EDWARD W MAITLAND          GORDON SUSSMAN CUST RODNEY SUSSMAN
GORDON R CORBETT & MARY ANN G CORBETT JOINT         U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
TRUST UA 05/10/96                                   32239 ROBINHOOD DR                                   11 E 86TH ST
5304 DITCHLEY RD                                    BEVERLY HILLS, MI 48025-3546                         NEW YORK, NY 10028-0501
RICHMOND, VA 23226-2112


GORDON W BRISTOL                                    GORDON W BRISTOL                                     GRACE B WOLGEMUTH TR
#206 1144 STRATHAVEN DRIVE                          #206 1144 STRATHAVEN DRIVE                           01/03/90 SAMUEL F WOLGEMUTH & GRACE B WOLGEMUTH
N VANCOUVER BC                                      N VANCOUVER BC                                       TRUST
V7H 2Z6 CANADA                                      V7H 2Z6 CANADA                                       91 S ROBERTS RD
                                                                                                         INVERNESS, IL 60067


GRACE D LIEBLEIN                                    GRACE D REIN                                         GRACE E KRAWZA
PO BOX 9022                                         35555 LONE PINE LANE                                 11881 205TH ST WEST
WARREN, MI 48090-9022                               FARMINGTON HILLS, MI 48335-5801                      LAKEVILLE, MN 55044-7449




GRACE EFIRD HOYLE TR                                GRACE H GOTTSTEIN                                    GRACE HAAS HORTON CUST KATHLEEN ELIZABETH HORTON
GRACE EFRID HOYLEIRREV TRUST UA 5/20/87 ELIZABETH   5201-B MAGNOLIA DRIVE                                U/THE FLORIDA GIFTS TO MINORS ACT
HOLLAND HOYLE                                       LOCKPORT, NY 14094-6815                              219 S CLAIRE DR
496 STONEGATE LANE                                                                                       PANAMA CITY, FL 32401-4025
WINSTON SALEM, NC 27104-1825


GRACE HAAS HORTON CUST MARK ALLEN HORTON            GRACE KAY HARDMAN TOD WALTER B HARDMAN TR            GRACE M SIMONE & DAVID H WIELAND TR
U/THE FLORIDA GIFTS TO MINORS ACT                   HARDMAN FAM TRUST UA 1/9/97 SUBJECT TO STA TOD       ANTONIO J SIMONE & GRACE M SIMONE TRUST
219 S CLAIRE DR                                     14317 W LAS BRIZAS LN                                1543 S HOLLAND
PANAMA CITY, FL 32401-4025                          SUN CITY WEST, AZ 85375-2728                         SPRINGFIELD, MO 65807-1815



GRACE M WATTERS CUST DAVID H WATTERS                GRACE W STEIN                                        GRACIE FINLEY & EARNEST FINLEY TR
U/THE OKLAHOMA UNIFORM GIFTS TO MINORS ACT          524 DREXEL AVENUE                                    UA 01/16/2003 EARNEST AND GRACIE FINLEY
45 EAST SPRING DR                                   GLENCOE, IL 60022-2105                               6110 PARAMUS DR
WOODLAND HILLS, UT 84653-2056                                                                            CLARKSTON, MI 48346



GRAHAM E ARMSTRONG & LOIS C ARMSTRONG TR            GRAHAM R UZLIK                                       GRAIG TALESMAN
THE ARMSTRONG FAMILY REVOCABLE LIVING TRUST UA      58910 220TH STREET                                   PO BOX 770422
12/12/02                                            AUSTIN, MN 55912-6447                                CORAL SPRINGS, FL 33077-0422
6539 SHENANDOAH AVE
ALLEN PARK, MI 48101-2429


GRANT C POOLE & MIRIAM J POOLE TR GRANT POOLE TRUST #GRANT
                                                      1 UA 06/01/77
                                                             D RODAMMER & MICHELE Y RODAMMER JT TEN      GRANT E CARLSON & KAREN L CARLSON TR
3515 ROOKS RANCH RD                                  8102 104TH STREET                                   GRANT CARLSON & KAREN CARLSON REVOCABLE TRUST
MANHATTAN, KS 66502-9416                             HOWARD CITY, MI 49329-9627                          UA 10/07/98
                                                                                                         84 WEST MUTTON HOLLOW ROAD
                                                                                                         KAYSVILLE, UT 84037-1273


GRANT EDWARD JOHNSON                                GRANT L MACARTHUR & VIVIAN B MACARTHUR TR            GRAYDON M PETERSON & PATRICIA L PETERSON TR
19124 350TH ST                                      LOVING TRUST 08/07/91 U-A GRANT MACARTHUR & VIVIAN   GRAYDON PETERSON & PATRICIA PETERSON TRUST UA
TAYLORS FALLS, MN 55084-2812                        MACARTHUR                                            01/07/94
                                                    1210 NORTH 900 EAST                                  504 ELM ST
                                                    BOUNTIFUL, UT 84010-2523                             ATHENS, WI 54411-9761


GRAYSTON W CHAPMAN & GERTRUDE B CHAPMAN TR          GREG DRUMMOND                                        GREG WHITE
GRAYSTON & GERTRUDE CHAPMAN LIVING TRUST UA         PO BOX 150381                                        26914 140TH AVE SE
2/17/99                                             ALTAMONTE SPRINGS, FL 32715-0381                     KENT, WA 98042-8053
SUNRISE 3520 DUKE STREET RM#225
ALEXANDRIA, VA 22304-3413
                    09-50026-mg          Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                         Part 8 of 8 Pg 145 of 440
GREGG D STEINMETZ                                 GREGG R MARCUK                                      GREGORY A HEIN
700 E LAKE DR                                     PO BOX 161228                                       28511 TIFFIN DR
UNIT 71                                           DULUTH, MN 55816-1228                               CHESTERFIELD, MI 48047-6205
ORANGE, CA 92866-2758



GREGORY A KNOTT & LINDA S KNOTT TR                GREGORY A SNYDER & LINNEE E SAPERSTEIN JT TEN       GREGORY ALAN THOMAS
GREGORY A & LINDA S KNOTT JOINT LIVING TR UA      296 JAMAICA AVE                                     29744-174 AVE S E
7608 DEVIN'S RIDGE                                MEDFORD, NY 11763-3252                              KENT, WA 98042
CLARKSTON, MI 48348-4351



GREGORY B NACHREINER                              GREGORY B STAFFENHAGEN                              GREGORY BRADLEY TR
31 JAMES ST                                       6548 119TH PL N                                     UA 05/02/2006 GERALD & RITA MAE BRADLEY FAMILY TRUST
TONAWANDA, NY 14150-3805                          CHAMPLIN, MN 55316-2475                             6596 LINDBLOOM LANE
                                                                                                      CHERRY VALLEY, IL 61016



GREGORY C HALVORSON & CINDA G HALVORSON TR        GREGORY CLARK HUFFMAN U/GDNSHP OF KENNETH A HUFFMAN
                                                                                                   GREGORY D MEINECKE & TERRIE L MEINECKE JT TEN
UA 06/27/2007 GREGORY C & CINDA G HALVORSON LIV   & MELENA ROBINSON HUFFMAN                        10029 E COLDWATER ROAD
1149 3RD ST                                       822 VILLA RIDGE ROAD                             DAVISON, MI 48423-8508
BARABOO, WI 53913                                 FALLS CHURCH, VA 22046-3663



GREGORY F HEINS                                   GREGORY J WARNER & ELLEN J WARNER TR                GREGORY L BERNSTEIN
30104 APPLE GROVE WAY                             GREGORY J WARNER LIVING TRUST UA 09/09/98           70 ARTHUR AVE SE
FLAT ROCK, MI 48134-2750                          PO BOX 5903                                         MINNEAPOLIS, MN 55414-3410
                                                  CAREFREE, AZ 85377-5903



GREGORY M WEINERT                                 GREGORY R STEINMAYER                                GREGORY W MANDEVILLE SR CUST GREGORY W MANDEVILLE
6306 MEETINGHOUSE WAY                             19001 SNOW ST                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT
ALEXANDRIA, VA 22312-1717                         DEARBORN, MI 48124-4136                             PO BOX 893
                                                                                                      WILSON, NY 14172-0893



GREGORY W OWENS                                   GRENADENE J CRUCE                                   GRETCHEN ANN GREINER DORIAN
PO BOX 352123                                     18515 134TH ST SE                                   2024 PINE TR
TOLEDO, OH 43635-2123                             MONROE, WA 98272-9702                               BRUTUS, MI 49716




GRETCHEN WESTERFIELD & ARTHUR F WESTERFIELD TR    GRIER B MILLER TR                                   GRIS A DAHLIN
GRETCHEN WESTERFIELD TRUST UA 06/12/06            JACQUELINE M MILLER TR UA DTD 04/26/2007 GRIER B    1163 137TH LN NW
27900 E LAKE POINT DRIVE                          MILLER LIVING TRUST                                 ANDOVER, MN 55304-4065
LEES SUMMIT, MO 64086                             96 WEST STREET
                                                  LENOX, MA 01240


GROVER D WHITINGER                                GROVER E MURRAY & SALLY MARIE MURRAY TR             GROVER F NORTHCUTT & LOUISE T NORTHCUTT TR
5706 N OLIVIA DR                                  GROVER E MURRAY & SALLY MARIE MURRAY TRUST UA       LIVING TRUST 11/16/89 U-A GROVER F NORTHCUTT
ALEXANDRIA, IN 46001-8606                         05/13/87                                            12445 COVINGTON COURT
                                                  4512 7TH ST                                         CHARLOTTE, NC 28277-4608
                                                  LUBBOCK, TX 79416-4713


GROVER STUBBS CUST BONNIE MARIE STUBBS            GROWERS INSURANCE AGENCY INC ATTORNEY-IN-FACT FOR GROWERS
                                                                                                     GUENTHERAUTOMOBILE
                                                                                                                H HESPELER & ANN P HESPELER TR
U/THE NEBRASKA UNIFORM GIFTS TO MINORS ACT        INSURANCE ASSOCIATION                              HESPELER FAMILY LIVING TRUST UA 01/10/01
AMHERST, NE 68812                                 317 CIRCLE TOWER                                   40 CLIFT LANE
                                                  INDIANAPOLIS, IN 46204                             MYSTIC, CT 06355-1808
                    09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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GUENTHER R STEINBORN                              GUILHERME L G KRAUSE                                GUILLERMO SARMIENTO REGUERA
3898 EAST PATTERSON ROAD                          RUA PORTO MARTINS 259                               GENERAL MOTORS PORTUGAL LDA
BEAVER CREEK, OH 45430-1106                       SAO PAULO SP                                        QUINTA DA FONTE
                                                  04570 140 BRAZIL                                    EDIFICIO FERNAO DE MAGALHAES PISO2
                                                                                                      PORTO SALVO 2770-190 PORTUGAL


GULUMSER A SAILORS                                GURI WHITELY BYRNE CUST TIMOTHY P BYRNE             GURU BANDHU S KHALSA
PO BOX 542872                                     A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y       PO BOX 877498
DALLAS, TX 75354-2872                             PO BOX 66266                                        WASILLA, AK 99687-7498
                                                  ALBUQUERQUE, NM 87193-6266



GUS J KAREY & CAROL A WELLINGTON TR               GUSTAV W HEBERLEIN                                  GUY C SATTERLEE CUST JERRY A SATTERLEE
CONSTANCE KAREY TESTAMENTARY TRUST UA 8/4/02      5927 ROLLINGWOOD DR                                 U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
3828 CEDARBRUSH DR                                ANN ARBOR, MI 48103-8800                            8311 ASTWOOD CT
DALLAS, TX 75229-2701                                                                                 SPRING, TX 77379-6880



GUY C SATTERLEE CUST MARGARET HELEN SATTERLEE     GUY CHAMBLEE CUST ROBERT LEE CHAMBLEE               GUY DUPORT
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT           A MINOR UNDER THE LAWS OF GEORGIA                   1506 DONG FENG HOUSE
7610 DAYHILL DR                                   2555 LAGRANGE CT                                    18 NAN SHI LI JU
SPRING, TX 77379                                  FAYETTVILLE, GA 30214                               BEIJING CHAO YANG DISTRICT
                                                                                                      100016 CHINA (PEOPLE'S REP)


GUY LINWOOD LANTIS & MILDRED LUCILLE LANTIS TR    GUY T DIPLACIDO & JAMES H LOPRETE TR                GWENDOLYN A MASAK TR
UA 10/29/92 GUY LINWOOD LANTIS &MILDRED LUCILLE   UA 08/02/90 THE CECILE W DIPLACIDO TRUST            GWENDOLYN A MASAK REVOCABLE LIVING TRUST UA
LANTIS REV LV TR                                  726 LAKESIDE DRIVE                                  02/25/97
286 RIVERWOOD DR                                  BIRMINGHAM, MI 48009-1382                           198 6TH ST E
MIDDLEVILLE, MI 49333-9075                                                                            UNIT 504
                                                                                                      SAINT PAUL, MN 55101-2991

GWENDOLYN M WILSON & VERNON R HOFFNER JR TR       GWENDOLYN R WHITING                                 GWENEVIERE COLMAN & JOLENE COLMAN TR
GWENDOLYN M WILSON TRUST UA 08/11/95              PO BOX 694                                          COLMAN TRUST SUB TRUST B UA 08/02/89
21832 PARKLANE CT                                 PONTIAC, MI 48343                                   5415 WHITEWOOD AVE
FARMINGTN HLS, MI 48335-4212                                                                          LAKEWOOD, CA 90712-1843



H CARL RINCK CUST ROGER P RINCK                   H EDWIN BORNSTEIN & MRS MARSHA P BORNSTEIN JT TEN   H J RAYNER & MARGARET M RAYNER TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT        1407 OXMOOR WOODS PARKWAY                           UA 03/09/81 H J RAYNER & MARGARET M RAYNER
2342 LEHMAN DR                                    LOUISVILLE, KY 40222-5662                           3626 DOVE CT
WEST CHICAGO, IL 60185-6169                                                                           SAN DIEGO, CA 92103-3906



H J RUSSELL MC NITT & RICHARD P SMOOT TR          H KARL NEIDLEIN                                     H KEITH SCHMODE & MARY LOU SCHMODE TR
U-A WITH H J RUSSELL MC NITT 10/9/74              466 PETER PAR ROAD                                  UA 12/14/2007 KEITH & MARY LOU SCHMODE REVOCABLE
PO BOX 9388                                       BRIDGEWATER, NJ 08807-2228                          16630 WRIGHT CIRCLE
SALT LAKE CITY, UT 84109-0388                                                                         OMAHA, NE 68130



H KNEELAND WHITING                                H LEWIS KLEIN                                       H NEAL MC LEMORE & NANCY D MC LEMORE TEN ENT
PO BOX 1123                                       1475 HAMPTON ROAD                                   28644 192ND PLACE S E
BEACH HAVEN, NJ 08008-0013                        RYDAL, PA 19046-1246                                KENT, WA 98042-5411




H NELSON LONG JR CUST H NELSON LONG 3RD           H OKANE CUST ROSEMARY PATRICIA OKANE                H PHILIP FARNHAM & GREGORY P FARNHAM TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT               MARGARET S KING TRUST UA 10/29/98
7525 SAWYER PIKE                                  1520 W WOLFRAM                                      137 WHITMAN RD
SIGNAL MT, TN 37377-1617                          CHICAGO, IL 60657-4018                              WILLIAMSTOWN, MA 01267
                    09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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H QUINCY STRINGHAM JR CUST SHAWN QUINCY STRINGHAM   H SIDNEY WADDELL JR CUST MISS ANNE H WADDELL           H SIDNEY WADDELL JR CUST MISS LORI R WADDELL
UNDER THE UT UNIF GIFTS TO MIN PROVISIONS           U/THE VA UNIFORM GIFTS TO MINORS ACT                   U/THE VA UNIFORM GIFTS TO MINORS ACT
1917 E 3780 S                                       PO BOX 7698                                            PO BOX 1100
SALT LAKE CTY, UT 84106-3865                        RICHMOND, VA 23231-0198                                MATHEWS, VA 23109-1100



H W HOLEY                                           HADEN H DOUGLAS JR CUST HADEN DEREK DOUGLAS            HAL M WEINSTEIN TOD ELLIE K WEINSTEIN
PMB 299684                                          U/THE COLORADO UNIFORM GIFTS TO MINORS ACT             5500 FIELDSTON ROAD
3590 ROUND BOTTOM ROAD                              1740 ADDISON                                           APT 2JJ
CINCINNATI, OH 45244-3026                           BERKELEY, CA 94703-1567                                BRONX, NY 10471



HALE LAYBOURN JR CUST PAUL JAMES LAYBOURN           HALINA J MAJEWSKI TR                                   HALLIE S ARRINGTON TR
U/THE WYO UNIFORM GIFTS TO MINORS ACT               HALINA J MAJEWSKI REVOCABLE LIVING TRUST UA 02/03/00   THOMAS M ARRINGTON III TESTAMENTARY TRUST UA
5938 CENTURY DR                                     45416 FIELDSTONE DR                                    07/13/97
FORT COLLINS, CO 80526                              CANTON, MI 48187-1550                                  126 NORTH AVE
                                                                                                           WAKE FOREST, NC 27587-2328


HANNELORE M WEINZIERL                               HANNELORE WEINZIERL CUST ELIZABETH THERESIA WEINZIERL
                                                                                                        HANS
                                                                                                          AMINOR
                                                                                                              F STEINHAUSER
                                                                                                                  U/ART
78 MARTHA ST                                        8-A OF THE PERS PROP LAW OF NEW YORK                509 TADMORE CT
FREEPORT, NY 11520-6211                             73 MARTHA ST                                        SCHAUMBURG, IL 60194
                                                    FREEPORT, NY 11520-6239



HANS J BOETTCHER & BEN H BOETTCHER TR               HANS W NEUBERG CUST PETER G NEUBERG                    HARDY E THOMPSON JR CUST HARDY E THOMPSON 3RD
UA 06/25/2007 WAYNE T LONG REVOCABLE LIVING         U/THE N J UNIFORM GIFTS TO MINORS ACT                  U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
C/O THE LODESTAR GROUP                              362 PARSIPPANY ROAD                                    PO BOX 1696
720 PARK BLVD STE 265                               PARSIPPANY, NJ 07054-5102                              DRIPPING SPRINGS, TX 78620-1696
BOISE, ID 83712


HARLAN L STEINDL                                    HARLEY DUNHAM & SHIRLEY DUNHAM JT TEN                  HARLEY R SPIEKERMAN & BONNIE J SPIEKERMAN TR
1414 BARBERRY DR                                    32688 401ST ST                                         SPIEKERMAN FAMILY TRUST UA 2/25/99
JANEVILLE, WI 53545-0402                            DENT, MN 56528-9019                                    7651 N MASON RD
                                                                                                           MERRILL, MI 48637-9620



HARLEY RUBENSTEIN                                   HAROLD A ALVARADO                                      HAROLD A HACKNEY & MYRNA L HACKNEY TR UA 01/11/2008 H
2630 NIPOMO AVE                                     P O BOX 262202                                         4524 106TH STREET W
LONG BEACH, CA 90815-1540                           TAMPA, FL 33685-2202                                   BRADENTON, FL 34210




HAROLD A JAHNZ & MADELINE JAHNZ JT TEN              HAROLD A KUSNETZ TR                                    HAROLD A LEVIN CUST LEONE ROBIN LEVIN
48868 127TH ST                                      HAROLD A KUSNETZ LIVING TRUST UA 05/16/72 AMENDED      A MINOR U/SECT 319 60 OF THE WISCONSIN STATUTES
AMBOY, MN 56010-4533                                07/07/93                                               APT 3E
                                                    25475 CONCOURSE                                        655 E 14TH ST
                                                    SOUTHFIELD, MI 48075-1799                              NEW YORK, NY 10009-3142


HAROLD A MEINECKE                                   HAROLD A RITTER                                        HAROLD ALLEN
6235 NORTH LAKE RD                                  84197 531 AVE                                          PO BOX 370891
OTTER LAKE, MI 48464-9747                           TILDEN, NE 68781-8074                                  DECATUR, GA 30037-0891




HAROLD B STANDEN                                    HAROLD BARR & MARJORIE BARR TR                         HAROLD C HECKENDORN JR & PAMELA R HECKENDORN TR
C/O LISA GOLDSTEIN POA                              UA 03/17/2008 HAROLD & MARJORIE BARR FAMILY            UA 04/30/88 HAROLD C HECKENDORN JR & PAMELA R
3628 FAIRHILLS DR                                   37861 CARSON ST                                        HECKENDORN
OKEMOS, MI 48864                                    FARMINGTN HLS, MI 48331-3711                           2527 ROBBINS COURT
                                                                                                           PORT HURON, MI 48060-7339
                   09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                            Part 8 of 8 Pg 148 of 440
HAROLD C SMITH TR                                    HAROLD D GREER CUST LISKA M GREER                 HAROLD D SILVERSTEIN & MRS SUSAN SILVERSTEIN JT TEN
UA 06/02/92 THE HAROLD C SMITH AND ALMA M SMITH      UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW    201 WINCHESTER CT
FAMILY TRUST                                         5230 BUTLER HILL ESTATES DR                       FOSTER CITY, CA 94404-3542
4806 CHATEAU DRIVE                                   ST LOUIS, MO 63128-3720
GODFREY, IL 62035-1602


HAROLD D WHITE & EARLYN WHITE TR                     HAROLD DEAN MORROW & DELORES J MORROW TR          HAROLD E HEISNER & MARGARET H HEISNER TR
HAROLD D WHITE & EARLYN WHITE TRUST UA 08/27/94      U-A MORROW FAMILY LIVING TRUST 09/09/92           HAROLD E HEISNER & MARGARET H HEISNER
108 E SOUTH HOLLY RD                                 22854 PENTON RISE                                 19522 RIDGEMONT ST
FENTON, MI 48430-2972                                NOVI, MI 48375-4265                               ST CLR SHORES, MI 48080-1615



HAROLD E KALFUS                                      HAROLD E MCDONNELL & A VERONICA MCDONNELL TR      HAROLD E NELSON & TOM J NELSON TR HAROLD EUGENE NEL
IM ROETEL 19A                                        HAROLD E & A VERONICA MCDONNELL LIVING TRUST UA   TRUST UA 07/26/04 HAROLD EUGENE NELSON
PO BOX 4276301                                       05/13/96                                          5890 WINDSOR TER
ZUG                                                  27026 INDIAN PEAK RD                              BOCA RATON, FL 33496-2758
SWITZERLAND                                          RANCHO PALOS VERDE, CA 90275-2219


HAROLD E STAGGEMEIER TR                              HAROLD E SUTTON & MARY L SUTTON TR                HAROLD E TREXLER & JESSIE TREXLER TR
HAROLD E STAGGEMEIER & BEVERLY STAGGEMEIER           HAROLD & MARY SUTTON REVOCABLE LIVING TRUST UA    HAROLD E TREXLER & JESSIE TREXLER TRUST
LIVING TRUST UA12/12/01                              10/26/05                                          23200 GREENCREST
13629 S GRANGE RD                                    1017 FORD BLVD                                    ST CLAIR SHORES, MI 48080-2574
EAGLE, MI 48822-9779                                 LINCOLN PARK, MI 48146-4224


HAROLD E WAGNER CUST JAMES D WAGNER                  HAROLD E WEISS & JUDITH A WEISS TR                HAROLD EDWARD SPENCER CUST ELIZABETH JANE SPENCER
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           HAROLD E WEISS & JUDITH A WEISS LIVING TRUST UA   U/THE MICH UNIFORM GIFTS TO MINORS ACT
294 RIVER MEADOW RD                                  03/10/98                                          6541 RIVERVIEW LN
ROCHESTER, NY 14623-4817                             2024 E MURDOCK AVE                                CASEVILLE, MI 48725-9421
                                                     OSHKOSH, WI 54901-2538


HAROLD EISENBERG CUST LOUIS EISENBERG                HAROLD F CARR JR CUST MITCHELL S CARR             HAROLD F SCHAEFF & BETTE LOU SCHAEFF TR
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT           U/THE MICH UNIFORM GIFTS TO MINORS ACT            UA 07/29/94 THE HAROLD SCHAEFF &BETTE LOU
601 PEMBROKE AVE APT 407                             1063 RIDGE VIEW CIR                               1040 S REIMER ROAD
NORFOLK, VA 23507-2049                               LAKE ORION, MI 48362-3449                         SAGINAW, MI 48601-9429



HAROLD FINKELSTEIN & MRS MARCIA FINKELSTEIN JT TEN   HAROLD G ECOFF                                    HAROLD G REYNOLDS CUST GRAHAM J REYNOLDS
12 STRATFORD RD                                      1055 301 BLVD E APT 1011                          UNDER THE FLORIDA GIFTS TO MINORS ACT
PLAINVIEW, NY 11803-2612                             BRADENTON, FL 34203-3627                          15416 ARCHWOOD ST
                                                                                                       VAN NUYS, CA 91406-6304



HAROLD G ROHRBACH & BERNICE A ROHRBACH TR            HAROLD G SCHWALM & LEONA M SCHWALM TR             HAROLD GOODMAN & RUBY GOODMAN TR
UA 08/14/92 THE ROHRBACH FAMILY LIVING TRUST         HAROLD G & LEONA M SCHWALM REV LIVING TRUST UA    UA 09/10/90 HAROLD GOODMAN & RUBY GOODMAN LIVING
19399 WINDRIFT WAY                                   11/21/02                                          TRUST
WOODBRIDGE, CA 95258-9039                            16671 RAILROAD                                    646 FUNSTON AVE
                                                     PETERSBURG, MI 49270-9705                         SAN FRANCISCO, CA 94118-3604


HAROLD H STILSON JR CUST HAROLD H STILSON 3RD        HAROLD HOWELL EX UW VOLREY HARRISON               HAROLD HULST & BARBARA HULST JT TEN
U/THE MICH UNIFORM GIFTS TO MINORS ACT               PO BOX 681864                                     A-3809 146TH AVENUE
37754 PEBBLE POINTE DR                               PRATTVILLE, AL 36068-1864                         HOLLAND, MI 49423-9016
CLINTON TWP, MI 48038-5128



HAROLD I FEINGOLD                                    HAROLD J BEEBE & SHIRLEY V BEEBE TR               HAROLD J FRIEDERICH & ADELE O FRIEDERICH TR
ATTN SUSAN N FEINGOLD                                HAROLD J & SHIRLEY V BEEBE TRUST UA 2/27/02       HAROLD J FRIEDERICK LIVING TRUSTUA 09/10/96
PO BOX 399                                           326 MANITOU                                       3879 HIRONDELLE LANE
MEIGS, GA 31765-0399                                 CLAWSON, MI 48017                                 FLORISSANT, MO 63034-2307
                    09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                         Part 8 of 8 Pg 149 of 440
HAROLD J HOOVER & JANET L HOOVER TR               HAROLD J REINKE & CHARLOTTE L REINKE & JAMES H REINKE JT
                                                                                                        HAROLD
                                                                                                           TEN J REINKE & CHARLOTTE L REINKE TEN ENT
HOOVER FAMILY TRUST AGREEMENT UA 6/30/00          7020 DANNY                                            7020 DANNY DRIVE
8432 COUNTRY VIEW LN                              SAGINAW, MI 48609-5226                                SAGINAW, MI 48609-5226
PLAIN CITY, OH 43064-8400



HAROLD J WHITING                                  HAROLD JAY EINBINDER                                 HAROLD JAY STEIN
6015 RIVER RD                                     3214 ST JAMES DR                                     5600 COUNTRY CREEK TERRACE
FLOWERY BRANCH, GA 30542-2546                     SOUTHPORT, NC 28461-8538                             GLEN ALLEN, VA 23060-5300




HAROLD JEROME HUDSON & JOYCE EILEEN HUDSON TR     HAROLD JOSEPH SCHUTT CUST RONALD DAVID SCHUTT        HAROLD K LIPSET CUST LOUIS ALLAN LIPSET
U-A WITH HAROLD JEROME HUDSON & JOYCE             U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE NEVADA UNIFORM GIFTS TO MINORS ACT
543 S MCKINLEY RD                                 13261 STONE HEATHER DR                               2509 PACIFIC AVE
FLUSHING, MI 48433-1901                           OAK HILL, VA 20171-4024                              SAN FRANCISCO, CA 94115-1162



HAROLD KNOPF CUST GERALD STEPHEN KNOPF            HAROLD KOH                                           HAROLD L MOWAT & RUTH A MOWAT TR
U/THE CONN UNIFORM GIFTS TO MINORS ACT            1E SHELFORD ROAD                                     UA 06/18/2008 HAROLD & RUTH MOWAT TRUST
75 ROLLINGWOOD DR                                 # 04-31                                              10698 70TH AVE
STAMFORD, CT 06905-2331                           286890 SINGAPORE                                     EVART, MI 49631



HAROLD L OTTERSTETTER TR                          HAROLD LEE PEARSON                                   HAROLD M DAVIS CUST JEFFREY PAUL DAVIS
HAROLD & HELEN OTTERSTETTER ER 2000 TRUST UA      & BOBBY ALLEN PEARSON EX EST LONNIE DELOACH          A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
12/12/00                                          PEARSON JR                                           50 CROSSBROOK ROAD
1848 VIA HERMANA                                  5366 JOHNNY RD                                       LIVINGSTON, NJ 07039-3741
SAN LORENZO, CA 94580-1338                        BLACKSHEAR, GA 31516


HAROLD M MARTIN                                   HAROLD M SEELYE CUST DOUGLAS R SEELYE                HAROLD M SEIDEL CUST JAMES D SEIDEL
BOX 141952                                        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
AUSTIN, TX 78714-1952                             9344 EAST D AVE                                      150 CARONDELET PLZ
                                                  RICHLAND, MI 49083-9601                              APT 1902
                                                                                                       SAINT LOUIS, MO 63105-3454


HAROLD P CROMES & PATRICIA L CROMES TR            HAROLD P FAUGHN & EDNA E FAUGHN TR                   HAROLD PAUL DYGERT JR CUST HAROLD PAUL DYGERT 3RD
HAROLD P CROMES LIVING TRUST UA 08/29/95          HAROLD P & EDNA E FAUGHN TRUST UA 3/28/01            U/THE WASH UNIFORM GIFTS TO MINORS ACT
3540 CLARK CIR                                    5081 VINES RD                                        3915 BRIGADOON DRIVE
MILFORD, MI 48382-1849                            HOWELL, MI 48843-9659                                OLYMPIA, WA 98501-4179



HAROLD R EBRIGHT JR & KATHERINE F EBRIGHT TR      HAROLD R MUELLER                                     HAROLD R NEWBOLD & HELEN J NEWBOLD TR
HAROLD R EBRIGHT JR & KATHERINE F                 2018 106TH ST S                                      HAROLD R NEWBOLD & HELEN J NEWBOLD TRUST
500 INDIAN SPRINGS RD                             TACOMA, WA 98444-8751                                625 PINEVIEW DR
NOVATO, CA 94947-4247                                                                                  ORANGE CITY, FL 32763-8546



HAROLD R RUDOLPH & ANN M RUDOLPH TR               HAROLD R SIMPSON                                     HAROLD R WEINBERG
HAROLD R RUDOLPH & ANN M RUDOLPH LIV TRUST UA     PO BOX 490808                                        8 LANSDOWNE ESTATES
01/08/04                                          COLLEGE PARK, GA 30349-0808                          LEXINGTON, KY 40502-3322
47900 JEFFERSON
NEW BALTIMORE, MI 48047-2222


HAROLD S TODA                                     HAROLD STEIN CUST CAROL STEIN                        HAROLD T SINGER CUST SHERYL LYNN SINGER
1394-7 NAKAGAMICHO                                U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT         U/THE PA UNIFORM GIFTS TO MINORS ACT
AKISHIMA SHI TOKYO                                1 FERNWOOD COURT                                     9280 SILVERTHORN RD
196 0022 JAPAN                                    CLIFTON, NJ 07011-2901                               LARGO, FL 33777-3161
                    09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                            Part 8 of 8 Pg 150 of 440
HAROLD V HOUSTON & PATRICIA ANN HOUSTON BARRETT & JANET
                                                    HAROLD
                                                         LOUISE
                                                             V SELLAND & MABELLE M SELLAND TR            HAROLD W BROECKER & BARBARA A BROECKER TR
HOUSTON GOTTENOELLER JT TEN                         UA 09/29/93 THE SELLAND FAMILY TRUST                 BROECKER LIVING TRUST UA 07/08/99
3686 SHORELINE DR                                   1483 E PORTALS                                       5125 N MONITOR AVE
GREENWOOD, IN 46143-8358                            FRESNO, CA 93710-6423                                CHICAGO, IL 60630-4616



HAROLD W FEINGOLD CUST FRANK LEE FEINGOLD            HAROLD W SIMON & VIRGINIA B SIMON TR                HARRIET A MUHRLEIN
U/THE WIS UNIFORM GIFTS TO MINORS ACT                UA 06/18/85 THE HAROLD W SIMON &VIRGINIA B SIMON    12396 N E MARINE VIEW DRIVE
9026 DEERBROOKE CT                                   TRUST                                               KINGSTON, WA 98346-9116
FRANKLIN, WI 53132                                   7745 INDIAN OAKS DR
                                                     APT H114
                                                     VERO BEACH, FL 32966-2438

HARRIET ANN GRIFFITH TR                              HARRIET D HLAVKA                                    HARRIET E EINSTOSS
UA 06/26/91 HARRIET ANN GRIFFITH REVOCABLE TRUST     8393-195TH ST                                       30681 BRENDA WAY
7633 DUBLIN                                          SILVER LAKE, MN 55381-6148                          CATHEDRAL CITY, CA 92234-5839
WICHITA, KS 67206-1604



HARRIET I ATTIG                                      HARRIET JANKOWIAK                                   HARRIET KLEIN
317-319 NORTH MULBERRY ST                            & DAVID JANKOWIAK & RICHARD JANKOWIAK & TIM         22 EAST GREEN ST
LANCASTER, PA 17603-2919                             JANKOWIAK JT TEN                                    EAST HAMPTON, MA 01027-2402
                                                     2203 S GRANT STREET
                                                     BAY CITY, MI 48708-8165


HARRIET L MOULDER                                    HARRIET P CAMPBELL CUST MARTHA I CAMPBELL           HARRIET R FEINBERG & DAVID J FEINBERG & DEBRA FEINBER
1245 112TH AVE                                       U/THE TENN UNIFORM GIFTS TO MINORS ACT              408 CAMINO DE LAS COLINAS
OTSEGO, MI 49078                                     520 FRANKLIN ST                                     REDONDO BEACH, CA 90277-6518
                                                     STATE COLLEGE, PA 16803-3457



HARRIET WEINER                                       HARRIETTE S SCRINOPSKIE & RONALD S SCRINOPSKIE TR   HARRIS B WELLER & VIRGINIA C WELLER TR
ATTN HARRIET OTIS                                    UA 04/06/2007 ERWIN LESLIE SCRINOPSKIE              WELLER JOINT REV TRUST UA 03/19/02
PO BOX 284                                           5964 SOUTH WEST 31ST STREET                         8244 W RED OAKS COURT
NUTTING LAKE, MA 01865-0284                          TOPEKA, KS 66614                                    GREENFIELD, WI 53220-2842



HARRISON HILLTOP HORNETS 4-H CLUB                    HARRY A STEIN III                                   HARRY B MERRIHEW CUST BROOK LUANNE MERRIHEW
ATTN MURRAY MONSON                                   18257 EAST STREET                                   U/THE NEBR UNIFORM GIFTS TO MINORS ACT
1464 130TH ST                                        NEW LOTHROP, MI 48460-9612                          ASHBY, NE 69333
BOONE, IA 50036-7210



HARRY B MERRIHEW CUST ROCKY DAN MERRIHEW             HARRY B THOERNER                                    HARRY BROOKS CUST STEVEN BROOKS
U/THE NEB UNIFORM GIFTS TO MINORS ACT                12180 KLEIN RD                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
ASHBY, NE 69333                                      MORNING VIEW, KY 41063-8734                         31 BRETTON ROAD
                                                                                                         SCARSDALE, NY 10583-2763



HARRY BURKUTEAN                                      HARRY C BARNAS CUST MICHAEL C BARNAS                HARRY C MEYERS CUST PETER V MEYERS
GENERAL MOTORS BRAZIL                                U/THE N Y UNIFORM GIFTS TO MINORS ACT               A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
AVENIDA GOIAS 1805                                   10 LINDEN RD                                        57 WOODBINE CT
SAO CAETANO DO SUL SP                                ALBANY, NY 12208-1808                               BERLIN, CT 06037-3150
9550900 BRAZIL


HARRY C MEYERS CUST ROBERT N MEYERS                  HARRY C SOMMERS & NAOMI H SOMMERS TR                HARRY CHETKIN CUST DAVID W CHETKIN
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J         HARRY C & NAOMI H TRUST UA 02/28/06                 U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
57 WOODBINE CT                                       4724 PINNACLE DR                                    39 WITHERSPOON RD
BERLIN, CT 06037-3150                                BREADENTON, FL 34208-8497                           CLIFTON, NJ 07013-4008
                   09-50026-mg               Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 151 of 440
HARRY D BOLEN & LEANNA C BOLEN TR                     HARRY D HENKEL & LILLIAN L HENKEL TR                 HARRY D HENKEL & LILLIAN L HENKEL TR
HARRY D & LEANNA C BOLEN JOINT REV LIVING TRUST UA    UA 12/18/99 HARRY D & LILLIAN L HENKEL TRUST         UA 12/18/99 HARRY D AND LILLIAN L HENKEL TRUST
08/01/01                                              238 PLEASANT HILL DR                                 238 PLEASANT HILL DR
2501 FRIENDSHIP BLVD                                  DAYTON, OH 45459                                     DAYTON, OH 45459
KOKOMO, IN 46901-4199


HARRY DELODDER TR                                     HARRY DUBROFSKY CUST SYLVAIN DUBROFSKY               HARRY E BROWN
HARRY E DELODDER & JULIET J DELODDER TRUST UA         UNDER THE FLORIDA GIFTS TO MINORS ACT                580 SOUTH STEIN RD
03/27/95                                              6500 E TROPICAL WAY                                  CHARLOTTE, MI 48813-9563
8571 LAKEVIEW                                         FORT LAUDERDALE, FL 33317-3311
LEXINGTON, MI 48450-9717


HARRY E NOLL                                          HARRY E RICHARDSON & EDNA J RICHARDSON TR            HARRY EVERETT HAY & SHIRLEY N HAY TR
& ERMA L NOLL JT TEN TOD DIANN N ZENTNER SUBJECT TO   HARRY E & EDNA J RICHARDSON JOINT LIVING TRUST UA    HAY FAM TRUST REVOCABLE TRUST UA 12/08/98
STA TOD RULES                                         8/1/99                                               307 CUNNINGHAM ST
12013 DONNA CT NE                                     11264 OAK HILL LANE                                  RICHMOND, MO 64085-2175
ALBUQUERQUE, NM 87112-4506                            MOUNTAIN GROVE, MO 65711-4014


HARRY F STANFORD & WANDA A STANFORD TR                HARRY F STEFANI & VICTORIA H STEFANI TR              HARRY G ATHANASIOU
STANFORD FAMILY TRUST UA 10/25/89                     HARRY F & VICTORIA H STEFANI TRUST 1/29/01           C/O H&A A/C & REFRIGERATION
401 ESKATON CIRCLE                                    1322 CIRCLE DR                                       2301 OSGOOD STREET
GRASS VALLEY, CA 95945                                METAMORA, MI 48455-8912                              PITTSBURGH, PA 15214-3624



HARRY G LISCOMB & BERNICE J LISCOMB TR                HARRY G WEAVER JR & DOROTHY E WEAVER TR              HARRY H BROWN JR CUST HARRY H BROWN 3RD
UA 04/07/93 HARRY G LISCOMB & BERNICE J               UA 12/3/90 HARRY G WEAVER JR & DOROTHY E             U/THE CONN UNIFORM GIFTS TO MINORS ACT
1119 ELKHART CIRCLE                                   1068 RIDGEFIELD CIRCLE                               RD BOX 1090
TAUARES, FL 32778-2532                                CAROL STREAM, IL 60188-4706                          STARKS, ME 04911



HARRY J BULLIS & KATHRYN LUCILLE BULLIS TR            HARRY J HELMRICH CUST HARRY DANIEL HELMRICH          HARRY J HOOSS CUST HARRY J HOOSS JR
HARRY J BULLIS & KATHRYN LUCILLEBULLIS UA 7/31/79     U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
704 SOLANA CIRCLE E                                   8340 TANNAMERA PL                                    200 BISHOPS LN
SOLANA BEACH, CA 92075-2356                           NEW PORT RICHEY, FL 34655-4582                       LYNCHBURG, VA 24503-1255



HARRY J MURAWKA TR                                    HARRY J NEDERLANDER CUST SCOTT E NEDERLANDER         HARRY J NEDERLANDER CUST SKIPPER NEDERLANDER
UA 09/12/89 HARRY J MURAWKA TRUST FBO HARRY J         U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT
MURAWKA                                               805 OAKWOOD DR #275                                  2790 GOLONDRINA WAY
4317 BUCKINGHAM RD                                    ROCHESTER, MI 48307                                  PALM SPRINGS, CA 92264-8753
ROYAL OAK, MI 48073-6221


HARRY L LEONARDI CUST CRAIG LEONARDI                  HARRY L LOURIE CUST MILDRED B LOURIE                 HARRY L MCKENNA & ANNA F MCKENNA TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            A MINOR U/THE CALIF GIFTS OF SEC TO MINORS ACT       UA 10/13/93 THE MCKENNA FAMILY TRUST
7240 WESTMORELAND DR                                  3176 DONA SARITA PL                                  1108 E CYPRESS AVE
ST LOUIS, MO 63130-4425                               STUDIO CITY, CA 91604-4344                           LOMPOC, CA 93436-7038



HARRY LEVENSON CUST JEFFREY MARK LEVENSON             HARRY M STUDEBAKER & CAROL R STUDEBAKER TR           HARRY OPENHEIM CUST ARNOLD RICHARD OPPENHEIM
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 HARRY M & CAROL R STUDEBAKER REV TRUST UA 03/06/01   U/THE MASS UNIFORM GIFTS TO MINORS ACT
2002 GRANADA DR APT D4                                176 N JANESVILLE ST                                  3729 REDWOOD FARM DRIVE
COCONUT CREEK, FL 33068-1133                          MILTON, WI 53563-1305                                VIRGINIA BEACH, VA 23452-4640



HARRY P CRAFT & AMELIA A CRAFT TR                     HARRY P H NICHOLAS CUST ANDREA MARY NICHOLAS         HARRY P LUBBEN & MARCELLA M LUBBEN TR
HARRY & AMELIA CRAFT LIV TRUST UA 12/18/97            A MINOR U/ART 8-A OF PERS PROP LAW N Y               HARYY P LUBBEN & MARCELLA LUBEN FAMILY TRUST UA
16501 EL MIRAGE #586                                  54 VAN DOREN AVE                                     2/11/00
SURPRISE, AZ 85374-3600                               CHATHAM, NJ 07928-2251                               1011 25TH PLACE
                                                                                                           WISCONSIN RAPIDS, WI 54494-3131
                   09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                        Part 8 of 8 Pg 152 of 440
HARRY PANKRATZ & KATHLEEN M PANKRATZ TR          HARRY PHILLIPS JOHN PHILLIPS ANDREW PHILLIPS MARK PHILLIPS
                                                                                                       HARRY POUSHTER CUST ALAN DAVID POUSHTER
PANKRATZ LIVING TRUST UA 02/05/98                & DAVID PHILLIPS TEN COM                              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
1573 PEMBROKE DR                                 112 PLEASANT BANK LN                                  6 CRICKET LANE
ROCHESTER HILLS, MI 48307-5731                   KENNET SQ, PA 19348-2679                              FAYETTEVILLE, NY 13066-1605



HARRY R DITTMAR CUST THOMAS ALAN DITTMAR         HARRY R SHERIDAN CUST CONNIE LEE SHERIDAN            HARRY RIDZWESKI
U/THE N J UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT               STEINMETZSTRASSE 46
2101 HACKETT AVE                                 5525 LOTUSDALE DR                                    D-10783
EASTON, PA 18045-2224                            DAYTON, OH 45429-2025                                BERLIN
                                                                                                      GERMANY


HARRY SCHIFFMAN CUST ALISA B SCHIFFMAN           HARRY W MC ANINCH CUST DEBORAH E MC ANINCH           HARRY WEINTRAUB & RITA WEINTRAUB TR UA FOR THE WEINT
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       U/THE TEXAS UNIFORM GIFTS TO MINORS ACT              441 ROBINWOOD DR
440 FRANK ST                                     415 NARCISSUS                                        LOS ANGELES, CA 90049-2327
OCEANSIDE, NY 11572-2813                         KEMAH, TX 77565-2440



HARSHVADAN V SHAH                                HARUTO W YAMANOUCHI TR                               HARVEY A GOLDSTEIN & MARJORIE F GOLDSTEIN JT TEN
11309 126TH AVE NE                               U-A WITH HARUTO W YAMANOUCHI & DOROTHY S             226 VICTOR AVE EXT
KIRKLAND, WA 98033-4122                          YAMANOUCHI 3/30/72                                   GREER, SC 29651-4260
                                                 6140 E LAFAYETTE BLVD
                                                 SCOTTSDALE, AZ 85251-3042


HARVEY C SAARI CUST ALICE E SAARI                HARVEY DINERSTEIN                                    HARVEY ELLIOTT
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT          72 BEECHWOOD RD                                      1397 102ND ST
4608 W TOWNLEY AVE                               WINTHROP, ME 04364                                   NIAGARA FALLS, NY 14303
GLENDALE, AZ 85302-5242



HARVEY FELTON CUST NANCIE JAYNE FELTON           HARVEY FRANK CUST STEPHEN R FRANK                    HARVEY H BOITEL TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           UA 10/03/2007 HARVEY H BOITEL REVOCABLE LIVING TRUST
60 BALDWIN RD                                    750 COUNTRY ROAD 3000N                               2917 LAKEVIEW DR
BEDFORD CORNERS, NY 10549-4816                   FISHER, IL 61843                                     SANFORD, MI 48657



HARVEY I STEIN                                   HARVEY J KAMPS                                       HARVEY KALT CUST MARTIN KALT
316B S 2ND ST                                    3010 138TH AVENUE                                    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
PHILADELPHIA, PA 19106-4302                      HAMILTON, MI 49419-9552                              62 25 WOODHAVEN BOULEVARD
                                                                                                      REGO PARK, NY 11374-2709



HARVEY M GOLDSTEIN                               HARVEY PELTZ CUST JACLYN PELTZ                       HARVEY R KLEINERT TR
607 BRADFORD PARKWAY                             A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y        HARVEY R KLEINERT DECLARATION OF TRUST UA 08/20/03
SYRACUSE, NY 13224-2026                          320 W HILL RD                                        1243 S TUSCOLA RD
                                                 STAMFORD, CT 06902-1714                              BAY CITY, MI 48708-9633



HARVEY R WRIGHT CUST KENNEETH JAMES WRIGHT       HARVEY S ROGERS & NANCY ROGERS TR                    HARVEY S STEIN CUST ELLEN JULL STEIN UGMA IN
U/THE WISC UNIFORM GIFTS TO MINORS ACT           FAMILY TRUST 01/19/89 U-A HARVEYROGERS & NANCY       8322 S QUATAR CIR
PO BOX 4017                                      ROGERS                                               AURORA, CO 80016-7263
BARTLESVILLE, OK 74006-4017                      28 LAGOON RD
                                                 BELVEDERE, CA 94920-2319


HARVEY W REINKING JR                             HASWELL M FRANKLIN CUST HASWELL M FRANKLIN JR        HAYES C STOVER CUST JAMES G STOVER
PO BOX 1443                                      U/THE MD UNIFORM GIFTS TO MINORS ACT                 U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
BUENA VISTA, CO 81211-1443                       1 GRAY SQUIRREL CT                                   2 HIGHLAND COURT
                                                 LUTHERVILLE, MD 21093-4006                           CARNEGIE, PA 15106-1044
                    09-50026-mg         Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                            Part 8 of 8 Pg 153 of 440
HAZEL E AUSTIN TOD ARTHUR A AUSTIN SUBJECT TO STA RULES
                                                     HAZEL L BRANUM                                     HAZEL L PLEINESS
P O BOX 320464                                       PO BOX 261607                                      266 DAFFODIL DR
FLINT, MI 48532-0009                                 HIGHLANDS RANCH, CO 80163-1607                     FRUITLAND PK, FL 34731-6754




HEATHER ANNE FILE                                    HEATHER WHEELOCK ROSS                              HECTOR M ANTUNEZ CUST ALAN EUGENE ANTUNEZ UGMA CA
2525 BRADDOCK DR                                     6713 215TH CT NE                                   9-A
NAPERVILLE, IL 60565-3449                            REDMOND, WA 98053-2381                             1425 BUENOS AIRES ARGENTINA
                                                                                                        ARGENTINA



HEIDI REINKER CUST MICHAEL J REINKER UGMA CT         HEINRICH A BERG                                    HEINRICH DECH JR
11 LIDA DR                                           75 DELAWARE AVE                                    951 DRESDEN DRIVE
ESSEX JCT, VT 05452-3363                             ROCHESTER, NY 14623-1023                           MANSFIELD, OH 44905-1525




HEINRICH HOLZINGER                                   HEINRICH ZIEMANN                                   HEINZ A WENGERTER
1205 ELIDA STREET                                    20170 FULLER AVE                                   2424 CENTRAL AVENUE
JANESVILLE, WI 53545-1807                            EUCLID, OH 44123-2635                              WESTFIELD, NJ 07090-2205




HEINZ BECKER                                         HEINZ E KNACKSTEDT                                 HEINZ ENGELS
THAELMANNSTRASSE 15A                                 1232 TIMBER HAWK TRAIL                             IM RETHKAMP 6
D-15827                                              CENTERVILLE, OH 45458-9633                         4040 NEUSS
DAHLEWITZ                                                                                               GERMANY
GERMANY


HEINZ FREIMANN                                       HEINZ G GRUHN                                      HEINZ G LEHNHOFF
ERLENWEG 28                                          2908 WESTMOOR RD                                   ADAM OPEL AG
5436 WURENLOS                                        ROCKY RIVER, OH 44116-3552                         IPC A5-02 D-65423
SWITZERLAND                                                                                             RUSSELSHEIM
                                                                                                        GERMANY


HEINZ H BALZUWEIT                                    HEINZ HERBERT OBERPRILLER & LORETTA H OBERPRILLER JT HEINZ
                                                                                                          TEN J FRISCH
PO BOX 97                                            4175 LOUIS DRIVE                                     KIERDORFER STRASSE 71
VANDALIA, OH 45377-0097                              FLINT, MI 48507-1207                                 50169 KERPEN DEUTSCHLAND
                                                                                                          GERMANY



HEINZ J KOPP                                         HEINZ J KOPP & LORE KOPP JT TEN                    HEINZ J LUCKGEN
3115 HEDGE DRIVE                                     3115 HEDGE DRIVE                                   MELISSENSTR 3
STERLING HEIGHTS, MI 48310-6088                      STERLING HTS, MI 48310-6088                        4040 NEUSS 1
                                                                                                        GERMANY



HEINZ J SLAWINSKI                                    HEINZ KOCH & MARGOT KOCH JT TEN                    HEINZ R BOCK
1588 ALAMO WAY                                       10355 GREENTRAIL DRIVE NORTH                       5562 DRIFTWOOD AVE
ALAMO, CA 94507-1503                                 BOYNTON BEACH, FL 33436-4409                       LA PALMA, CA 90623-1821




HEINZ W HESSEL                                       HEINZ-DIETER REISSE                                HEINZ-GERD LEHNHOFF
6507 RIVERTON AVE                                    AM ESELSWEG 39                                     IPC 80-40
NO HOLLYWOOD, CA 91606-2737                          55128 MAINZ                                        RUSSELSHEIM
                                                     GERMANY                                            GERMANY
                   09-50026-mg              Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                           Part 8 of 8 Pg 154 of 440
HELEN A BEAM TR UA 07/10/75 HELEN A BEAM TRUST      HELEN A HELTZELL TR UA 12/14/93 HELEN HELTZELL REVOCABLE
                                                                                                          HELEN
                                                                                                             TRUST
                                                                                                                 A LENGYEL
                                                                                                                    #I
P O BOX 612007                                      509 BOONVILLE RD                                      & STEVEN P LENGYEL & DAVID M LENGYEL & MARIANN
POMPANO BEACH, FL 33061                             JEFFERSON CITY, MO 65109-0820                         LENGYEL WHITE JT TEN
                                                                                                          1315 BURGUNDY RD
                                                                                                          ANN ARBOR, MI 48105-2524


HELEN A MICKOOL & CLIFFORD P MICKOOL TR             HELEN A PTAK TR UA 02/04/83 HELEN A PTAK TRUST # OO1   HELEN A RIORDAN
PHILP J & HELEN A MICKOOL REVOCABLE TRUST UA        5317 JOHNSON AVE SPRINGDALE                            & ELAINE HAJJAR & BARBARA RIORDAN RIORDAN FAMILY
09/28/93                                            WESTERN SPRINGS, IL 60558-1948                         TRUST UA 2/22/01
20109 RUNNYMEDE STREET                                                                                     181 LITTLETON RD UNIT 233
CANDGA PARK, CA 91306-2958                                                                                 CHELMSFORD, MA 01824-2672


HELEN B COHEN CUST A JEROLD COHEN                   HELEN B IACOPONI CUST JAMES ANTHONY IACOPONI           HELEN B RUEMEKORF CUST STEPHEN A SHORT
U/THE MASS UNIFORM GIFTS TO MINORS ACT              U/THE MASS UNIFORM GIFTS TO MINORS ACT                 UNDER THE FLORIDA GIFTS TO MINORS ACT
12270 NW 71ST ST                                    1736 ROBERT LN                                         PO BOX 455
PARKLAND, FL 33076-4601                             NAPERVILLE, IL 60564-7125                              BRANDON, FL 33509-0455



HELEN C HEIN                                        HELEN C HUNTER & EARL M HUNTER TR                      HELEN CARYN PRESSER
1040 W ESCALON                                      HELEN C & EARL M HUNTER TRUST UA 03/18/03              PO BOX 531372
FRESNO, CA 93711                                    9982 SHORE DR N                                        HENDERSON, NV 89053-1372
                                                    PIGEON, MI 48755-9666



HELEN D ASHWORTH & DAVID T ASHWORTH TR              HELEN D KLEIN & JO ANN K LEVY JT TEN                   HELEN D VAN ROSSEN & EDWARD C VAN ROSSEN TR
HELEN D ASHWORTH LIVING TRUST UA 06/09/98           5600B EMERALD RIDGE PKY                                HELEN D VAN ROSSEN LIVING TRUST UA 06/10/02
2135 WESTMINSTER DR                                 SOLON, OH 44139                                        6745 WESTAWAY
WILMINGTON, DE 19810-3928                                                                                  TROY, MI 48085-1508



HELEN E STEINMAN & JEAN E KRACKER JT TEN            HELEN ELIZABETH KURTZ TR                               HELEN F MAYBERRY TR
43201 38TH AVE                                      HELEN ELIZABETH KURTZ REVOCABLE LIVING TRUST UA        HELEN F MAYBERRY REVOCABLE TRUSTUA 12/12/97 &
PAW PAW, MI 49079-9629                              04/11/97                                               AMMENDED 08/06/01
                                                    PO BOX 114                                             605 S BENCH STREET
                                                    LIBERTY CTR, IN 46766-0114                             GALENA, IL 61036-2322


HELEN FRANCES REINHART                              HELEN G COLLINS                                        HELEN GREENFIELD CUST JOEL H GREENFIELD
3162 STERLING ROAD                                  803 WEINLAND DR                                        U/THE MASS UNIFORM GIFTS TO MINORS ACT
OMER, MI 48749-9722                                 NEW CARLISLE, OH 45344-2647                            BOX 273
                                                                                                           WINTHROP, MA 02152



HELEN HAWTHORNE TESTERMAN & GEORGE M TESTERMAN TRHELEN HOLLSTEIN                                           HELEN ILENE BATOR & STANLEY BATOR JR TR
HELEN HAWTHORNE TESTERMAN LIVING TRUST UA 05/05/05 14953 HALLAUER RD                                       UA 11/12/90 THE HELEN ILENE BATOR & STANLEY
601 E MAIN STREET                                  OBERLIN, OH 44074-9043                                  2554 COMMERCE LN
ROGERSVILLE, TN 37857-2731                                                                                 APT 210
                                                                                                           IONIA, MI 48846-9821


HELEN J STOCKTON TR                                 HELEN KAHNOWITZ CUST SAMUEL D KAHNOWITZ                HELEN KUZMKOWSKI CUST JOHN KUZMKOWSKI
GILBERT C STOCKTON & HELEN J STOCKTON TRUST UA      A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J        U/THE PA UNIFORM GIFTS TO MINORS ACT
05/18/95                                            11 COBLLEWOOD RD                                       112 UNIVERSITY DR
28607 BLOCK                                         LIVINGSTON, NJ 07039-2019                              GREENSBURG, PA 15601-5847
GARDEN CITY, MI 48135-2430


HELEN L GERVASIO & PHYLLIS JO GERVASIO TR           HELEN L PURNELL                                        HELEN L SZOTKIEWICZ CUST CHARLENE M SZOTKIEWICZ
HELEN L GERVASIO LIVING TRUST UA 07/26/05           PO BOX 681576                                          U/THE DEL UNIFORM GIFTS TO MINORS ACT
3200 CHESTNUT ST NW                                 PRATTVILLE, AL 36068-1576                              1709 BEECH ST
WASHINGTON, DC 20015-1412                                                                                  WILMINGTON, DE 19805-4207
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 155 of 440
HELEN L SZOTKIEWICZ CUST CHRISTINA M SZOTKIEWICZ      HELEN L SZOTKIEWICZ CUST CYNTHIA M SZOTKIEWICZ       HELEN L SZOTKIEWICZ CUST KENNETH J SZOTKIEWICZ
U/THE DEL UNIFORM GIFTS TO MINORS ACT                 U/THE DEL UNIFORM GIFTS TO MINORS ACT                U/THE DEL UNIFORM GIFTS TO MINORS ACT
1709 BEECH ST                                         1709 BEECH ST                                        1709 BEECH ST
WILMINGTON, DE 19805-4207                             WILMINGTON, DE 19805-4207                            WILMINGTON, DE 19805-4207



HELEN LAGIMODIERE                                     HELEN M EDWARDS                                      HELEN M GAEDE & BARBARA J HERR TR
221-815 HERITAGE GREEN                                & SHARON E URSO & DEBRA A EDWARDS & ALAN M           GAEDE FAMILY SURVIVORS TRUST UA 06/04/93
SASKATOON SK                                          EDWARDS JT TEN                                       3123 17TH ST
S7H 5R6 CANADA                                        6954 HIGHVIEW                                        SACRAMENTO, CA 95818-3816
                                                      DEARBORN HEIGHTS, MI 48127-2129


HELEN M HANSEN & IB S HANSEN TR                       HELEN M KEELIN & FREDERICK R KEELIN TR               HELEN M MARVIN TR
HELEN M HANSEN REVOCABLE TRUST UA 04/04/97            HELEN M KEELIN TRUST UA 03/27/97                     TYRUS J MARVIN & HELEN M MARVIN REV LIV TRUST UA
750 WEAVER DARRY RD APT 1102                          73512 MORRISON                                       12/11/98
CHAPEL HILL, NC 27514                                 ARMADA, MI 48005-4603                                62177-5 TICONDEROGA
                                                                                                           SOUTH LYON, MI 48178-1076


HELEN MARIE MC DILL & JANNA RUTH MC DILL MINORS U/GDNSHP
                                                      HELEN
                                                          OF ROBERT
                                                             N HOLLORAN
                                                                    T & SUSAN HOLLORAN TR                  HELEN P BUNDY CUST JOHN BUNDY 3RD
MC DILL & MARTHA N MC DILL                            HELEN HOLLORAN REV LIV TRUST UA 01/19/00             U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
20200 GILMORE ST                                      105 WINDEMERE RD                                     859 E COUNTY RD 1550 N
WINNETKA, CA 91306-4212                               ROCHESTER, NY 14610-1340                             TUSCOLA, IL 61953-7818



HELEN P BUNDY CUST JOHN LELAND BUNDY 3RD              HELEN PATRICIA SMITH TR                              HELEN PORTEOUS
U/THE ILL UNIFORM GIFTS TO MINORS ACT                 UW ROSE T SMITH F-B-O HELEN PATRICIA SMITH TRUST     & TERESA A PORTEOUS & ROBERT M PORTEOUS II &
859 E COUNTY ROAD 1550 N                              3555 TIMMONS LN                                      RUSSEL W PORTEOUS JT TEN
TUSCOLA, IL 61953-7818                                STE 1020                                             1902 COLCHESTER
                                                      HOUSTON, TX 77027-6426                               FLINT, MI 48503-4630


HELEN R KIBLER                                        HELEN R MORAN                                        HELEN R SHUMAN & SIDNEY J SHUMAN TR
1515-170 CHERRYHILL CIRCLE                            PO BOX 420197                                        HELEN R SHUMAN REVOCABLE TRUST UA 05/07/99
LONDON ON                                             PONTIAC, MI 48342-0197                               3200 N LEISURE WORLD BLVD #319
N6H 2M1 CANADA                                                                                             SILVER SPRING, MD 20906-7613



HELEN RAE BERRY & PAUL H BERRY TR                     HELEN RAE BERRY & PAUL H BERRY TR                    HELEN ROSENFELD CUST RICHARD ROSENFELD
HELEN RAE BERRY & PAUL H BERRY FAM TR OF 1986 UA      UA 01/31/86 HELEN RAE & PAUL BERRY FAMILY TRUST OF   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
3705 WINDOVER DR                                      1986                                                 64 EAST MITHOFF ST
NORMAN, OK 73072-3230                                 3705 WINDOVER DR                                     COLUMBUS, OH 43206-3542
                                                      NORMAN, OK 73072-3230


HELEN S BALMUTH & EDWARD S BALMUTH TR                 HELEN S DUPREE & UBS TRUST CO NA TR                  HELEN S HOHENGARTEN TR
UA 05/16/05 SAUL BALMUTH FAM TRUST                    UA 10/04/1989 JOHN C DUPREE REVOCABLE TRUST          INTER VIVOS TRUST UA 05/21/84 HELEN S HOHENGARTEN
47 PLEASANT STREET                                    3021 ARBORCREEK DR                                   45 HONEY LOCUST LANE
BALLSTON SPA, NY 12020                                CINCINNATI, OH 45242                                 APT 302C
                                                                                                           ST CHARLES
                                                                                                           SAINT CHARLES, MO 63303-5711

HELEN S WILLY CUST CLIFFORD N WILLY JR                HELEN SOLORIO & ANN AMOS & MARY J ZAMORA TR          HELEN T SMITH & ANDREW W SMITH TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT                E A ZAMORA REVOCABLE LIVING TRUST UA 10/31/01        UA 03/18/94 THE HELEN T SMITH LIVING TRUST
47 OLD FARM RD                                        400 POTOMAE AVE                                      514 FOX RUN BLVD
ABINGTON, MA 02351-3000                               SACRAMENTO, CA 95833                                 TAVARES, FL 32778-4859



HELEN TRYBULA                                         HELEN V HAND                                         HELEN WINTER WEINSCHENK
& ROSE MARY OLSZEWSKI & DOROTHY SZCZEPINSKI & JAN     24121 116TH AVE SE                                   100 VIA LUGAMO CIRCLE #109
TRYBULA JT TEN                                        APT 332                                              BOYNTON BEACH, FL 33436-7157
14416 WHEELER ROAD                                    KENT, WA 98030-5377
MAPLE HEIGHTS, OH 44137-4033
                       09-50026-mg        Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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HELEN Z MINER CUST DEBORAH RAE MINER               HELENE KRAMER                                       HELENE LEVINE & STUART H LEVINE TR
A MINOR U/THE LOUISIANA GIFTS TO MINORS ACT        8608 REINHARDT LANE                                 HELENE LEVINE & STUART LEVINE FAM TRUST UA 07/01/96
ATTN DEBORAH RAE ALLEN                             LEAWOOD, KS 66206-1455                              36 SALEM RD
6010 76TH ST                                                                                           ROSLYN HEIGHTS, NY 11577-1500
LUBBOCK, TX 79424-1744


HELENE WEINBERG                                    HELMUT SIEVERS                                      HELMUT SIEVERS
133-33 SANFORD AVE 2H                              ZUM ROSSBERG 11A                                    ZUM ROSSBERG 11A
FLUSHING, NY 11355                                 D-64354 REINHEIM 4                                  D-64354 REINHEIM 4
                                                   GERMANY                                             GERMANY



HELMUT W NOETHEN & GRACE A NOETHEN JT TEN          HELMUT WEBER & HILDEGARD WEBER TR                   HENDRIK VERMEEREN & SILVIA E VERMEEREN TR
PO BOX 811295                                      HELMUT & HILDEGARD WEBER TRUST UA 12/15/94          VERMEEREN FAMILY TRUST 1999 UA 11/24/99
BOCA RATON, FL 33481-1295                          1245 ARROWWOOD LN                                   16312 UNDERHILL LANE
                                                   GRAND BLANC, MI 48439-4861                          HUNTINGTON BEACH, CA 92647-3330



HENRI L MONTPAS JR                                 HENRIETTA A NEFZGER                                 HENRIETTA B TRAUTWEIN
PO BOX 866264                                      206 CONSTITUTION BLVD                               3928 SEA EAGLE CIR
PLANO, TX 75086-6264                               WHITING, NJ 08759-1802                              ST AUGUSTINE, FL 32086-5549




HENRIETTA J INGRAM & LAFAYETTE N INGRAM III TR     HENRIETTA JANKOWIAK                                 HENRIETTA KACZYNSKI DIANE DORA ASHE RICHARD P KACZY
LAFAYETTE N INGRAM TRUST UA 08/31/90               & DAVID R JANKOWIAK & RICHARD M JANKOWIAK & TIM R   & KRYSTYNA HELENE HORNE JT TEN
900 6TH AVENUE SO STE 302                          JANKOWIAK JT TEN                                    5502 ELMGROVE
NAPLES, FL 34102-6745                              2203 S GRANT STREET                                 WARREN, MI 48092-3468
                                                   BAY CITY, MI 48708-8165


HENRY A KLEIN                                      HENRY A PETERSON & MARTHA HELEN PETERSON TR         HENRY B BRIGHT
RT 1 11560 STONEY CREEK RD                         UA 05/28/91 HENRY A PETERSON & MARTHA HELEN         PO BOX 250422
PEWAMO, MI 48873-9704                              607 INDIAN RD                                       FRANKLIN, MI 48025-0422
                                                   CLEARFIELD, PA 16830-1002



HENRY B VOELK & LINDA VOELK TR                     HENRY C CHEATHAM                                    HENRY C REINER JR
HENRY B VOELK & LINDA A VOELK LIVING TRUST UA      PO BOX 311170                                       4940 E SHOREWOOD DRIVE
03/16/95                                           FLINT, MI 48531-1170                                DUNKIRK, NY 14048-9618
163 COTTONWOOD DR
WILLIAMSVILLE, NY 14221-1612


HENRY CELUSTA & CONSTANCE A CELUSTA TR             HENRY D EPSTEIN                                     HENRY DIETRICH
HENRY CELUSTA & CONSTANCE A CELUSTA FAM TRUST UA   71 GREENLAWN AVE                                    2204 135 HILLCREST AVE
07/08/98                                           NEWTON CENTER, MA 02459-1712                        MISSISSAUGA ON
35505 HERITAGE LANE                                                                                    L5B 4B1 CANADA
FARMINGTON, MI 48335-3137


HENRY E KARL CUST HENRY E KARL JR                  HENRY E MILLER & LOVINA M MILLER TR                 HENRY E NASH CUST PATRICIA JANE NASH
A MINOR U/THE CONN UNIFORM GIFTS TO MINORS ACT     MILLER FAMILY U-DECL OF TRUST 03/18/92              A MINOR UNDER GIFTS OF SECS TO MINORS ACT
22 WINTHROP RD                                     2566 TRUMAN AVE                                     1532 ESPINOSA CR
BETHEL, CT 06801-2719                              OAKLAND, CA 94605-4841                              PALOS VERDES ESTAT, CA 90274



HENRY E ROHRBEIN                                   HENRY EPSTEIN                                       HENRY F GAVIN & DOROTHY M GAVIN TR
521 BERKSHIRE LANE                                 189 LINDBERGH AVE                                   HENRY F GAVIN & DOROTHY M GAVIN FAM TRUST UA
DES PLAINES, IL 60016-1019                         OCEANSIDE, NY 11572-5507                            01/30/97
                                                                                                       38 HARRISON PL
                                                                                                       MASSAPEQUA, NY 11758-7031
                    09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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HENRY F HEIN                                          HENRY F SPENCER                                      HENRY FEINSTEIN
896 PINE AVE                                          PO BOX 192006                                        16 CLARK LANE
WEST ISLIP, NY 11795-2609                             LOS ANGELES, CA 90019-1306                           HARRIMAN, NY 10926-3614




HENRY FROMM CUST HELENE FROMM                         HENRY G SEIBELS JR CUST HENRY G SEIBELS 3RD          HENRY GOVONI CUST ROBERT PAUL GOVONI
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE ALA UNIFORM GIFTS TO MINORS ACT                U/THE MASS UNIFORM GIFTS TO MINORS ACT
180 W END AVE APT 23A                                 3924 GLENCOE DRIVE                                   60 OAK AVE
NEW YORK, NY 10023-4906                               BIRMINGHAM, AL 35213-3829                            NORTHBORO, MA 01532-1751



HENRY H MIZE CUST JOHN A MIZE                         HENRY H SCOFIELD & WILLIAM J PORTER TR               HENRY H STRIEFF & SARA J MILLER TR
U/THE ALABAMA UNIFORM GIFTS TO MINORS ACT             HENRY H SCOFIELD TRUST UA 11/4/99                    UA 01/12/2010 HENRY H STRIEFF TRUST NO 1
2381 FOREST LAKES LN                                  817 GLYNDON ST SE                                    6643 BUNKER HILL DR
STERRETT, AL 35147-8156                               VIENNA, VA 22180                                     LANSING, MI 48906



HENRY I BOREEN & LOIS A BOREEN & STUART M BOREEN TR   HENRY I BOREEN & LOIS A BOREEN & SUSAN T BOREEN TR   HENRY J HARDEN JR & VIOLET L HARDEN TR
UA 09/30/80 SUSAN T BOREEN                            UA 09/30/80 STUART M BOREEN                          04/30/08 THE HARDEN FAMILY REVOCABLE
1182 WRACK RD                                         1182 WRACK RD                                        6328 BELMAR
JENKINTOWN, PA 19046-2544                             MEADOWBROOK, PA 19046-2544                           SAGINAW, MI 48603



HENRY J HOLYST CUST HERBERT ALLEN HOLYST              HENRY J MEINERT III                                  HENRY J ORTH 3RD CUST HENRY J ORTH 4TH
U/THE CONN UNIFORM GIFTS TO MINORS ACT                8327 ROBINSON ST                                     U/THE ALASKA UNIFORM GIFTS TO MINORS ACT
602 YALE AVE                                          OVERLAND PARK, KS 66212-1934                         PO BOX 878308
MORTON, PA 19070-2022                                                                                      WASILLA, AK 99687-8308



HENRY J POELMAN                                       HENRY J REINHARDT                                    HENRY J RUZICKA & INGEBORG RUZICKA TR
7521 138TH ST CT E                                    7520 GLASCOTT ST                                     HENRY & INGE RUZICKA REVOCABLE TRUST UA 6/7/05
PUYALLUP, WA 98373-5309                               W BLOOMFIELD, MI 48323-1333                          1425 W LINDNER AVE
                                                                                                           MESA, AZ 85202-6638



HENRY J SHAFFER CUST EDWARD SHAFFER                   HENRY J TONOLE JR & SARAH W TONOLE TR                HENRY J WILDENSTEIN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            HENRY J TONOLE JR REVOCABLE TRUST UA 10/26/04        25607 COTTON BELT RD
28151 PINEHURST                                       180 JOHN TILLINGHAST RD                              ELKMONT, AL 35620-8025
ROSEVILLE, MI 48066-7434                              GREENE, RI 02827



HENRY KRIKORY CUST MISS MARGARET ANN KRIKORY          HENRY KRZYWDA CUST ROBERT KRZYWDA                    HENRY L WELLS CUST MARTIN WELLS
U/THE PA UNIFORM GIFTS TO MINORS ACT                  U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
2470 SCHUKRAFT RD                                     143 S MARYLAND AVE                                   3 COVE LANE
QUAKERTOWN, PA 18951                                  LAKE HOPATCONG, NJ 07849-1522                        FAYETTEVILLE, NY 13066-1714



HENRY LAU & SALLY ANN LAU TR                          HENRY LEIBOWITZ & BEATRICE LEIBOWITZ TR              HENRY M CANN CUST RONALD EDWARD CANN
HENRY & SALLY ANN LAU REVOCABLE TRUDT UA 10/03/01     LEIBOWITZ LIVING TRUST UA 3/17/92                    U/THE MO UNIFORM GIFTS TO MINORS ACT
1567 LEWISTON DR                                      319 E 24TH ST APT 8F                                 726 EASTGATE
SUNNYVALE, CA 94087-4147                              NEW YORK, NY 10010-4039                              ST LOUIS, MO 63130-4822



HENRY M PICARD & MIRIAM PICARD TR UA PICARD FAMILY TRUST
                                                      HENRY
                                                          02/02/89
                                                              NORMAN FJERSTAD & SUE A FJERSTAD TR          HENRY O LONG
PO BOX 260352                                         FJERSTAD TRUST NO 1 UA 5/16/03                       PO BOX 414745
ENCINO, CA 91426-0352                                 6 IOTA PL                                            KANSAS CITY, MO 64141-4745
                                                      SAGINAW, MI 48603-5978
                    09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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HENRY P ACCORNERO & ANGIE M ACCORNERO TR              HENRY PIECH                                        HENRY R DUBE & IRIS P DUBE TR
THE ACCORNERO FAMILY TRUST 08/02/85                   84 REINHOLD TERRACE                                HENRY R DUBE & IRIS P DUBE REVOCABLE LIVING TRUST
303 BERKELEY PARK BLVD                                UNION, NJ 07083-8909                               UA 6/18/97
KENSINGTON, CA 94707-1202                                                                                750 N THOMPSONVILLE RD
                                                                                                         BEULAH, MI 49617-9747


HENRY R MOURADIAN & JOYCE V MOURADIAN TR              HENRY R REINHARDT JR & MARSHA A REINHARDT JT TEN   HENRY R TATNALL JR CUST DAVID R TATNALL
UA 1/26/90 HENRY H MOURADIAN REVTRUST                 10235 GARLAND ROAD W                               U/THE DEL UNIFORM GIFTS TO MINORS ACT
TIROGA POINT BOX 161A                                 WEST MILTON, OH 45383-9634                         17561 GATSBY TERR
TICONDEROGA, NY 12883-0161                                                                               OLNEY, MD 20832-2375



HENRY REED HATFIELD JR AND GLENNA C HATFIELD GDNS CHARLES
                                                    HENRYTRAVIS
                                                            ROSS ESCALETTE & PHYLLIS M ESCALETTE TR      HENRY S HOLSTEIN
HATFIELD                                            UA 03/29/90 THE ESCALETTE TRUST                      102 ETHYL WA B102
2703 WINIFRED RD                                    515 VIA LIDO SOUD                                    STOUGHTON, MA 02072-6122
ALBANY, GA 31721-8839                               NEWPORT BEACH, CA 92663-4931



HENRY SCHWARTZ CUST RALPH P SCHWARTZ                  HENRY SEAGRAVE SMITH & GENEVIEVE SEAGRAVE SMITH TR HENRY SEIDEN CUST MATTHEW IAN SEIDEN
A MINOR PURS TO SEC 1339 19-TO 1339 26-INCLUSIVE OF   UA SEAGRAVE-SMITH FAMILY TRUST 05/02/90            U/THE N Y UNIFORM GIFTS TO MINORS ACT
2289 W CENTERVILLE RD                                 1740 IRONWOOD PL                                   32 TWIN OAK ROAD
DAYTON, OH 45459-3816                                 TEMPLETON, CA 93465                                SHORT HILLS, NJ 07078-2259



HENRY T COOK CUST THOMAS F COOK                       HENRY V DOMBROWSKI                                 HENRY V ROMINGER TR
U/THE MAINE UNIFORM GIFTS TO MINORS ACT               & CHARLOTTE B DOMBROWSKI & DONNA M DOMBROWSKI      REVOCABLE LIVING TRUST 06/27/91 U-A HENRY V
RR 1 BOX 3085                                         JT TEN                                             ROMINGER
WAYNE, ME 04284-9720                                  19001 SKYLINE DRIVE                                PO BOX 1696
                                                      ROSEVILLE, MI 48066-1323                           BETHEL, AK 99559-1696


HENRY W BALDWIN JR CUST CHERYL DIANE BALDWIN          HENRY W BALDWIN JR CUST CLARICA LEA BALDWIN        HENRY W LORISCH
U/THE PA UNIFORM GIFTS TO MINORS ACT                  U/THE PA UNIFORM GIFTS TO MINORS ACT               219 153RD PLACE S E
3559 BAKERSTOWN RD                                    12434 CREEK RD                                     BELLEVUE, WA 98007-5236
BAKERSTOWN, PA 15007-9706                             CARLETON, MI 48117-9243



HENRY W PERSONS JR & BRENDA S PERSONS TR              HENRY W WEINBERG & LILLIAN WEINBERG JT TEN         HENRY WOOD AXFORD JR CUST JENEFFER AXFORD
UA 02/08/2008 PERSONS FAMILY TRUST                    150 LAKE BLVD 37                                   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
912 MERRIWEATHER WAY                                  BUFFALO GRVE, IL 60089-4370                        4355 WHITEHOUSE TRAIL
SEVERN, MD 21144                                                                                         GAYLORD, MI 49735-9733



HENRY Y MATSUTANI JR & RENEE M MATSUTANI TR           HERALD E SWEET                                     HERB HEIN
HENRY & RENEE MATSUTANI TRUST UA 1/14/00              3991 108TH ST SW                                   SUITE 190
19 OLD RODGERS RANCH COURT                            BYRON CENTER, MI 49315-9700                        C-4225 B-4 MILLER ROAD
PLEASANT HILL, CA 94523-3572                                                                             FLINT, MI 48507



HERBERT A KLEINERT & MARGARET A KLEINERT JT TEN       HERBERT A LEHRTER & PATRICIA L LEHRTER TR          HERBERT A ROGERS CUST JEFFREY ALAN ROGERS
PO BOX 640                                            U/T/D 04/17/91 THE LEHRTER FAMILY                  U/THE N Y UNIFORM GIFTS TO MINORS ACT
LAKESIDE, MT 59922-0640                               2200 PLAZA DEL ROBLES                              25 WOODFIELD ROAD
                                                      LAS VEGAS, NV 89102-4034                           WASHINGTON TWP, NJ 07676-4817



HERBERT A YAGER                                       HERBERT E HINSCH & JUDITH A HINSCH JT TEN          HERBERT EUGENE WILLIAMS & ALYCE JEAN WILLIAMS TR
7339 113TH ST                                         2B CONSTITUTION BLVD                               WILLIAMS FAM LIVING TRUST UA 01/23/96
FLUSHING, MI 48433-8750                               WHITING, NJ 08759-1988                             13361 FAIRFIELD LN
                                                                                                         APT 180A
                                                                                                         SEAL BEACH, CA 90740
                   09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                          Part 8 of 8 Pg 159 of 440
HERBERT EVANS CUST TOM ROBERT EVANS                HERBERT F SLIVER TR                                    HERBERT FELLERMAN TR ENDOCRINE SPECIALTY GROUP INC
UNDER THE FLORIDA GIFTS TO MINORS ACT              ADELE B SILVER TR HERBERT F SILVER & ADELE B SILVER    DEFINED CONTRIBUTION PENSION TRUST
150 HARTFORD AVE                                   TRUST UA 06/02/05                                      644 GIBSON AVENUE
DAYTONA BEACH, FL 32118-3370                       8600 KIMBALL AVE                                       KINGSTON, PA 18704
                                                   SKOKIE, IL 60076-2420


HERBERT G LONDON CUST LAURI BESS LONDON            HERBERT H HEINZL                                       HERBERT H KAY CUST MISS VANESSA DREW KAY
U/THE PA UNIFORM GIFTS TO MINORS ACT               1515 RIDGELAND AVE                                     U/THE PA UNIFORM GIFTS TO MINORS ACT
3508 PALAS TERRACE                                 BERWYN, IL 60402-1446                                  8 FAIRVIEW BLVD
WELLINGTON, FL 33467-8063                                                                                 FORT MYERS BEACH, FL 33931-4514



HERBERT H KNOOP & MAJ-BRITT K KNOOP TR             HERBERT H SHANNON & MADELINE M SHANNON TR              HERBERT HARRIS CUST JEFFREY JAY HARRIS
UA 05/14/94 HERBERT H KNOOP & MAJ-BRITT K          HERBERT H & MADELINE M SHANNON REVOCABLE LIV           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
814 WEST CALIFORNIA WAY                            TRUST UA 11/9/05                                       622 DORINA RD
WOODSIDE, CA 94062-4035                            5550 BIRD ISLAND DR                                    WESTFIELD, NJ 07090-3339
                                                   LADY LAKE, FL 32159-4114


HERBERT HOFFSTEIN                                  HERBERT J MANDL CUST ARON M MANDL                      HERBERT J MANDL CUST SETH M MANDL
2201 MARINA ISLE WAY APT 406                       UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW         UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
JUPITER, FL 33477-9422                             10123 HARDY                                            10123 HARDY
                                                   OVERLAND PARK, KS 66212-3438                           OVERLAND PARK, KS 66212-3438



HERBERT J SEMLER CUST                              HERBERT J SHUBICK TR                                   HERBERT J WEINER
U/THE LAWS OF OREGON FOR SHELLI JOY SEMLER A       UA 09/04/07 HERBERT J SHUBICK REVOCABLE LIVING TRUST   3701 SACRAMENTO ST 137
MINOR                                              15850 LEGGETT ROAD                                     SAN FRANCISCO, CA 94118-1705
1732 NW JOHNSON ST                                 MONTVILLE, OH 44064
PORTLAND, OR 97209-2320


HERBERT L COHEN TR                                 HERBERT M ROUND & MARLENE G ROUND TR                   HERBERT M WEBBER & LILLIAN E WEBBER TR
COHEN MASON FAMILY LIVING TRUST (SURVIVORS) UA     UA 09/16/08 ROUD FAMILY REVOCABLE TRUST                HERBERT & LILLIAN WEBBER FAM TRUST UA 08/12/94
11/13/97                                           7842 NAPLES HERITAGE DR                                2850 GAYLE LN
4651 CRESTWOOD WAY                                 NAPLES, FL 34112                                       AUBURN, CA 95602-9674
SACRAMENTO, CA 95822-1605


HERBERT MAURER CUST GAIL C MAURER                  HERBERT MAURER CUST IRA M MAURER                       HERBERT MAURER CUST JEFFREY S MAURER
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
9454 NO 105TH PLACE                                9454 NO 105TH PLACE                                    9454 NO 105TH PLACE
SCOTTSDALE, AZ 85258-6050                          SCOTTSDALE, AZ 85258-6050                              SCOTTSDALE, AZ 85258-6050



HERBERT NELSON CUST PETER NELSON                   HERBERT O FRANZ                                        HERBERT P SMITH
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         PO BOX 675611                                          158 DUERSTEIN STREET
19 WARREN RD                                       RANCHO SANTE FE, CA 92067-5611                         WEST SENECA, NY 14210-2541
MAPLEWOOD, NJ 07040-1813



HERBERT RIBNER CUST DEENA R RIBNER                 HERBERT ROSENBLUM CUST SHELDON ROSENBLUM               HERBERT S GALKIN CUST DAVID G GALKIN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE N Y UNIFORM GIFTS TO MINORS ACT                  U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT
C/O MARK FISH                                      40-20 WEST MORELAND ST                                 11565 PRIVADO WAY
299 BORADWAY SUITE 1305                            LITTLE NECK, NY 11363-1737                             BOYNTON BEACH, FL 33437-1925
NEW YORK, NY 10007


HERBERT SCHLOSSBERG CUST ALAN MARK SCHLOSSBERG     HERBERT SCHLOSSBERG CUST JANET LYNN SCHLOSSBERG        HERBERT SCHNEIDER CUST BETH ANN SCHNEIDER
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE N Y UNIFORM GIFTS TO MINORS ACT                  U/THE ILL UNIFORM GIFTS TO MINORS ACT
11207 APPLEGATE CIR                                11207 APPLEGATE CIR                                    3216 TEMPLE CT
BOYNTON BCH, FL 33437-1819                         BOYNTON BCH, FL 33437-1819                             WILMETTE, IL 60091-2900
                   09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 160 of 440
HERBERT SCHNEIDER CUST JAY ELLIOTT SCHNEIDER        HERBERT SCHULER CUST LYLE J SCHULER                 HERBERT SCHWARZ CUST MARLENE SCHWARZ
U/THE ILL UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          A MINOR UNDER ARTICLE EIGHT-A OF THE PERS PROPERTY
3216 TEMPLE CT                                      172 WALTON LN                                       LAW OF NEW YORK
WILMETTE, IL 60091-2900                             HURLEY, NY 12443-6211                               12 WOODS CT
                                                                                                        HUNTINGTON, NY 11743-4845


HERBERT STEIN                                       HERBERT W COLE CUST STEVEN COLE                     HERBERT W SPENCER TR
226 ROSE HILL AVENUE                                U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT     UA 12/13/2007 HERBERT W SPENCER REVOCABLE LIVING
NEW ROCHELLE, NY 10804-3118                         8 HALLISEY DRIVE                                    TRUST
                                                    NEWBURYPORT, MA 01950-6520                          4505 LINDWOOD
                                                                                                        W BLOOMFIELD, MI 48324


HERBERT ZEUMANN                                     HERES PASCO CUST STEPHEN PASCO                      HERMAN A STEINBERG
PO BOX 630264                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          155 6TH AVE
BRONX, NY 10463-0806                                70 PASCACK RD                                       BROOKLYN, NY 11217-3508
                                                    PARK RIDGE, NJ 07656-1921



HERMAN D GILBERT                                    HERMAN D LANDERS CUST CHRISTI ANNE LANDERS          HERMAN E WINTER & ROBERT E WINTER & TIMOTHY L WINTER
225 162ND ST                                        U/THE ALA UNIFORM GIFTS TO MINORS ACT               HERMAN E WINTER REVOCABLE TRUST UA 03/09/05
#5                                                  PO BOX 229                                          3599 SILVER SANDS
HAMMOND, WI 54015-5407                              WEDOWEE, AL 36278-0229                              WATERFORD, MI 48329-4257



HERMAN GREENSTEIN                                   HERMAN H DE BACKER                                  HERMAN L PERKINS JR
7040 TRAILWAY CT                                    SINT JANSPLEIN 11                                   8010 202ND ST CT E
WEST BLOOMFIELD, MI 48322-4564                      KONTICH                                             SPANAWAY, WA 98387-5278
                                                    B2550 BELGIUM



HERMAN O STEINKE & WINIFRED M STEINKE JT TEN        HERMAN TERUO HASIZUME & MAYBELLE CHIYOKO HASHIZUMEHERMAN
                                                                                                       TR     W GREEN & CHARLOTTE E GREEN TR
8110 E CYPRESS ST                                   UA 12/31/91 HERMAN TERUO HASHIZUME &              THE GREEN FAMILY REVOCABLE LIVING TRUST UA 03/25/02
SCOTTSDALE, AZ 85257-2815                           PO BOX 1053                                       PO BOX 102
                                                    WAILUKU, HI 96793-1053                            NEW MILFORD, NJ 07646-0102



HERMAN WEBERLEIN & MARGARET WEBERLEIN JT TEN        HERMANN M CAMERON & KATHLEEN M CAMERON TR           HERMENE E BARTHOLD
3597 KORTZ RD                                       UA 02/08/94 HERMANN M CAMERON & KATHLEEN M          4854 210TH ST N
CHEBOYGAN, MI 49721-8915                            CAMERON TR                                          FOREST LAKE, MN 55025-9739
                                                    5233 KENDAL
                                                    DEARBORN, MI 48126-3189


HERMIONE DIOYENIS TR                                HERMON TARTT                                        HESTER G HUMPHREYS & MYRTLE L HUMPHREYS TR
GEORGE J DIOYENS & HERMIONE DIOYENIS LIVING TRUST   1500 193RD ST 526                                   HESTER G HUMPHREYS REVOCABLE TRUST UA 06/28/99
UA 02/23/02                                         EUCLID, OH 44117-3312                               227 PALO VERDE DR
20491 DAMMAN                                                                                            LEESBURG, FL 34748-8801
HARPER WOODS, MI 48225-1775


HESUNG CHUN KOH CUST CAROLYN K KOH                  HILARY KRAVINSKY KLEIN & SAMUEL KLEIN JT TEN        HILDA KRUMBEIN
U/THE CONN UNIFORM GIFTS TO MINORS ACT              38 RIDGEMOOR DRIVE                                  3106 LABYRINTH ROAD
ROOM 104 165 MIDDLESEX TNPK                         CLAYTON, MO 63105-3038                              BALTIMORE, MD 21208-5611
BEDFORD, MA 01730-1436



HILDA M WARHAFTIG TR                                HILDA O KLEIN                                       HILDING G MOLINE
JACK WARHAFTIG & HILDA M WARHAFTIG TRUST UA         4951 COSHOCTON                                      44120 200 ST E
11/04/98                                            WATERFORD, MI 48327-3325                            LANCASTER, CA 93535-8818
431 S BURNSIDE AVE 5J
LOS ANGELES, CA 90036-5344
                   09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                         Part 8 of 8 Pg 161 of 440
HILLARD H GORDON CUST DAVID GORDON                HILTON W GOODWYN JR CUST DAVID WARNER GOODWYN     HIRAM W HILL
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW    U/THE VA UNIFORM GIFTS TO MINORS ACT              60 STEINER RD
2614 NORTHSHORE CT                                210 E MAIN ST                                     INDIANOLA, MS 38751-2682
WICHITA, KS 67205-1078                            RICHMOND, VA 23219-3715



HIROSHI TOYONAKA                                  HIROYUKI NAGATA & JOYCE K NAGATA TR               HISAMI E HIGA TR
MARUSEDAI 2-13-7                                  HIROYUKI NAGATA & JOYCE K NAGATA FAM TRUST UA     UA 12/18/90 HISAMI E HIGA SELF-TRUSTEED REVOCABLE
MACHIDA SHI                                       01/04/96                                          TRUST
TOKYO                                             11463 YOLANDA AVE                                 PO BOX 87
194 0043 JAPAN                                    NORTHRIDGE, CA 91326-1818                         KEKAHA, HI 96752-0087


HITOSHI TAKANO                                    HITOSHI THOMAS TAMAKI & MARION TAMAKI TR          HOBERT L BURKHEAD CUST MISS KAREN DENISE BURKHEAD
1/17/2009                                         HITOSHI THOMAS & MARION TAMAKI LIVING TRUST UA    U/THE TENN UNIFORM GIFTS TO MINORS ACT
KITAMACHI KOKUBUNJI SHI                           12/08/97                                          384 SHARON DR
TOKYO                                             1522 SANDY HILL RD                                SHEPHERDSVILLE, KY 40165-5713
185-0001 JAPAN                                    PLYMOUTH MEETING, PA 19462-2604


HOBERT L BURKHEAD CUST MISS LEIGH ANNE BURKHEAD   HOLLIS THOMAS & ANITA THOMAS TR                   HOLLY J THOMPSON JR
U/THE TENN UNIFORM GIFTS TO MINORS ACT            UA 11/21/2005 HOLLIS & ANITA THOMAS TRUST         PO BOX 871444
1600 LOCUST GROVE RD                              124 ASHWORTH DRIVE                                NEW ORLEANS, LA 70187-1444
SHELBYVILLE, KY 40065-9244                        IONE, CA 95640



HOLLY SUSAN HADAC TR                              HOMER E STEINHAUER                                HOMER ELY & LOLAS M ELY TR
UA 10/01/2008 DOROTHY LOUISE HADAC IRREVOCABLE    1806 MC KEE ST #A2                                HOMER ELY & LOLAS M ELY REVOCABLE TRUST UA 09/24/03
TRUST                                             SAN DIEGO, CA 92110-1968                          1591 OAKVIEW CR SE
200 W BEVERLY                                                                                       WINTER HAVEN, FL 33880-4470
OXFORD, MI 48371


HOMER H HUNT CUST JONATHON O HUNT                 HOMER O TRELOAR & MRS BARABARA J TRELOAR JT TEN   HOMER O TRELOAR CUST JULIE A TRELOAR UGMA WA
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT      19681 106TH SE                                    19681 106TH AVE S E
766 GREAT HIGHWAY # 1                             RENTON, WA 98055-7355                             RENTON, WA 98055-7355
SAN FRANCISCO, CA 94121-3267



HOMER O TRELOAR CUST TODD N TRELOAR UGMA WA       HORST STROBACH OPEL AUSTRIA GMBH                  HORTENSE POUSEDA SUSLAVICH & FRANK J SUSLAVICH JR &
19681 106TH SE                                    HEINRICHCOLLINSTRASSE 27/2/2                      PERS REPRESENTATIVE OF THE ESTATE OF FRANK J
RENTON, WA 98055-7355                             WIEN                                              SUSLAVICH
                                                  A-1140 AUSTRIA                                    39 ALLWOOD RD
                                                                                                    DARIEN, CT 06820-2416


HOSEA MCLEOD                                      HOSEA WHITING                                     HOSSEIN HASSANI
PO BOX 300433                                     2000 BURLINGTON                                   390 THE KINGSWAY
KANSAS CITY, MO 64130-0433                        MUNCIE, IN 47302-3881                             TORONTO ON
                                                                                                    M9A 3V7 CANADA



HOUGHTON N SAWYER JR                              HOWARD A REINHARDT                                HOWARD A SCHUNEMON CUST ROSEMARY SCHUNEMON
PO BOX 530                                        3513 LAURIA                                       U/THE MICH UNIFORM GIFTS TO MINORS ACT
WHITINGHAM, VT 05361-0530                         BAY CITY, MI 48706-1130                           11120 NE 8TH AVE
                                                                                                    BISCAYNE PARK, FL 33161-7202



HOWARD C BRANDENSTEIN                             HOWARD C FINGER & ANNA E FINGER TR                HOWARD COHEN
12 BRANDER PARKWAY                                UA 08/31/06 HOWARD C FINGER & ANNA E FINGER       STIFEL FREEDOM ACCOUNT
PO BOX 3029                                       152317 CHARULENE                                  4367 WESTBROOKE COURT
SHELTER ISLAND HTS, NY 11965-3029                 FENTON, MI 48430                                  FORT COLLINS, CO 80526-3451
                    09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                             Part 8 of 8 Pg 162 of 440
HOWARD E LINEBERRY JR                                 HOWARD E MESERVY CUST BARBARA A MESERVY                HOWARD F HEINTZ TR HOWARD F HEINTZ TRUST UA 04/19/05
1133 LEININGER DR                                     U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             1721 WELLING DR
TIPTON, IN 46072-9790                                 6257 SOUTH SLEEPY LANE                                 TROY, MI 48085-5085
                                                      COEUR D ALENE, ID 83814-7503



HOWARD FRIEND CUST ANDREW FRIEND                      HOWARD G ECKERT & HORTENSE L ECKERT TR                 HOWARD G HENDRIAN & BETTY J HENDRIAN TR
A MINOR U/ARTICLE 8-A OF THE PERS PROPERTY LAW OF N   HOWARD G ECKERT & HORTENSE L ECKERT LIVING TRUST       HENDRIAN LIVING TRUST UA 09/09/97
Y                                                     UA 05/17/96                                            56195 10 MILE RD
6561 SAUNDERS ST 165                                  645 HIGH ST                                            SOUTH LYON, MI 48178-9758
REGO PARK, NY 11374-4252                              VICTOR, NY 14564-1161


HOWARD G STEPHENS & MARALEE J STEPHENS TR             HOWARD GLICKMAN CUST ELLEN GLICKMAN                    HOWARD GLICKMAN CUST MARCIE GLICKMAN
UA 06/12/91 STEPHENS FAMILY TRUST                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
9220 EL MORADO                                        7705 CHERRY BLOSSOM ST                                 240 CENTRAL AVE APT 1B GREEN
FOUNTAIN VALLEY, CA 92708-4448                        BOYNTON BEACH, FL 33437-5439                           LAWRENCE, NY 11559-1558



HOWARD H RAASCH & RITA M RAASCH TR                    HOWARD J COLLINS JR CUST JOHN T COLLINS                HOWARD J HILDENBRAND & BARBARA A HILDENBRAND TR
HOWARD & RITA RAASCH TRUST UA 06/30/03                U/THE MASS UNIFORM GIFTS TO MINORS ACT                 HOWARD J HILDENBRAND LIVING TRUST UA 05/15/00
6222 N STONEY CREEK RD                                19 FAIRBROTHERS AVE                                    302 KIDD CASTLE WAY
MONROE, MI 48162-9365                                 CHARLESTOWN, NH 03603-4756                             WEBSTER, NY 14580-1967



HOWARD J PHELPS & MARION DIANNE PHELPS TR             HOWARD J POLLACK & JANET E POLLACK TR                  HOWARD J S BOMSTEIN
HOWARD J PHELPS & MARION D PHELPS TRUST UA 08/20/97   HOWARD J & JANET E POLLACK REV LIVING TRUST UA         2201 WISCONSIN AVE NW
14958 PERE ST                                         08/14/03                                               WASHINGTON, DC 20007-4105
LIVONIA, MI 48154-4737                                49323 GLASCO CT
                                                      SHELBY TOWNSHIP, MI 48315-3929


HOWARD J WEINER                                       HOWARD J WILWERDING                                    HOWARD KNAPP CUST GLENN F KNAPP
6336 ORCHID LANE                                      18358 102ND WAY SOUTH                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
DALLAS, TX 75230-4034                                 BOCA RATON, FL 33498-1663                              52 PERRY DRIVE
                                                                                                             NEW MILFORD, CT 06776-4215



HOWARD L ANDERSON & ELIZABETH S ANDERSON TR           HOWARD L ROE                                           HOWARD M WEINBERG
HOWARD L ANDERSON FAM TRUST UA 08/15/95               PO BOX 077621                                          4000 N CHARLES ST UNIT 608
111 PLANTATION DR                                     COLUMBUS, OH 43207-7621                                BALTIMORE, MD 21218-1769
CARSON CITY, NV 89703-5411



HOWARD N MILLER & INA M MILLER TR                     HOWARD OSHRY & GLADYS EISMAN TR                        HOWARD R FINKBEINER
UA 10/13/87 HOWARD MILLER & INA M MILLER TRUST        HOWARD OSHRY CHILDREN TR FOR MICHAEL HAROLD            4455 ALDER DR
5719 SO TINA PT                                       C/O SUPERIOR AUTOMOTIVE W'HOUSE                        FLINT, MI 48506-1461
HOMOSASSA, FL 32546                                   22 PRATT
                                                      ALLSTON, MA 02134-1809


HOWARD REIN                                           HOWARD ROSENBLOOM & MILTON TOTTLE GOODMAN TR           HOWARD RUSSELL TR ESTELLE PARNELL HOWARD WOOTEN T
511 W ARNOLD STREET                                   HYDRO MECHANICAL SYS INC PROF SHAR PLAN 6/10/73        PO BOX 123296
BOZEMAN, MT 59715-6136                                BOX 62                                                 FT WORTH, TX 76121-3296
                                                      WESTVILLE, NJ 08093-0062



HOWARD SCHREIDELL & PHYLIS G SCHREIDELL TR            HOWARD SOKOL & PATRICIA T SOKOL TR                     HOWARD T WEINER
LIVING TRUST 06/27/77 U-A HOWARD SCHREIDELL           THE SOKOL/TACKES FAMILY REV LIVING TRUST UA 10/09/01   5615 ORCHARD AVE
C/O PARK SUMMIT                                       1115 N FORTUNA AVENUE                                  PARMA, OH 44129-3018
APT D644                                              PARK RIDGE, IL 60068-1956
8500 ROYAL PALM BLVD
CORAL SPRINGS, FL 33065
                    09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                           Part 8 of 8 Pg 163 of 440
HOWARD W HAFTEL CUST AMY SUE HAFTEL                 HOWARD W MIDDLETON & ARLA K MIDDLETON TR           HOWARD WEINER & CAROLE WEINER JT TEN
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT        HOWARD W & ARLA K MIDDLETON FAMILY REV             11124 E BELLFLOWER CT
60 GERDES AVE                                       501 PORTOLA ROAD #8150                             SUN LAKES, AZ 85248-8235
VERONA, NJ 07044-1021                               PORTOLA VALLEY, CA 94028-7654



HOWARD WILLIAM JEROME & GERALDINE JUNE JEROME TR    HOWELL K MCCAGHREN & KIMBERLY D MCCAGHREN TR       HOWELL N TYSON JR
UA 4/28/89 HOWARD WILLIAM & GERALDINE JUNE JEROME   MCCAGHREN FAM TRUST UA 05/21/97                    PO BOX 661990
TRUST                                               152 COUNTY RD 344                                  ARCADIA, CA 91066
3257 BARTLETT STREET                                DANVILLE, AL 35619-8564
SPRING HILL, FL 34606-3014


HOYT R BUSH JR & LAURA L BUSH TR                    HUBERT P GOBER                                     HUGH A GILES
HOYT RALPH BUSH JR & LAURA LOU BUSH REV LIV TRUST   8775-310 LAWRENCE WELK DR                          3870 105TH AVE
UA 12/11/90                                         ESCONDIDO, CA 92026                                ALLEGAN, MI 49010-9132
8 REDWOOD DR
OXFORD, MI 48371-6171


HUGH J FEUERSTEIN                                   HUGH K FERGUSON                                    HUGH K FERGUSON & LORETTA I FERGUSON JT TEN
12910 KELLEY ROAD                                   PO BOX 230288                                      PO BOX 230288
BROOKLYN, MI 49230-9773                             FAIR HAVEN, MI 48023-0288                          FAIR HAVEN, MI 48023-0288




HUGH S P BINNIE & ANNE V BINNIE TR                  HUGHIE F PUGH & GWENDOLYN G PUGH TR                HUGO BARTH CUST BRUCE GREGORY BARTH
BINNIE FAMILY LIVING TRUST UA 10/18/00              HUGHIE F PUGH FAM LIVING TRUST UA 04/22/96         U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
2 GOVERNORS LANE                                    259 MAIN ST                                        393 SAND SPRING ROAD
BETHEL, CT 06801-2731                               WHITESBORO, NY 13492-1119                          MORRITOWN, NJ 07960-6770



HUGO D MORAS & MARIA E MORAS TR                     HUGO J RANELLE CUST BRIAN D RANELLE                HUGO LUIS NEIRA TOUTIN
HUGO D MORAS REVOCABLE LIVING TRUST UA 5/05/06      U/THE TEXAS UNIFORM GIFTS TO MINORS ACT            CAMINO DE LA FUENTE ORIENTE 5478
11557 SW 75TH CIR                                   3716 BRIARHAVEN RD                                 PENALOLEN
OCALA, FL 34476-9432                                FORT WORTH, TX 76109                               SANTIAGO
                                                                                                       7940921 CHILE


HUSSEIN A SAAB                                      HUSSEIN H ILAYAN                                   HUSSEIN M MAKI
7350 OAKMAN BLVD                                    26636 LAWRENCE DR                                  639 KINLOCH
DEARBORN, MI 48126-1573                             DEARBORN HEIGHTS, MI 48127-3347                    DEARBORN, MI 48127-3753




HUSTIANA PEGGY OGHIGIAN TR                          HYMAN A LEZELL CUST MARK LEZELL                    HYMAN A LEZELL CUST STEWART LEZELL
HUSTIANA PEGGY OGHIGIAN FAM TRUST UA 05/09/91       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
1618 RIDGEWAY DR                                    5800 MAGIC MOUNT DR                                17272 NORTHWAY CIRCLE
GLENDALE, CA 91202-1219                             ROCKVILLE, MD 20852                                BECA RATO, FL 33496-5909



HYMAN GOLDSTEIN                                     HYMAN GORENSTEIN                                   HYMAN GREENSPAN CUST MARK GREENSPAN
9340 SUNRISE LAKES BLVD APT 203                     265 WEST FULTON ST                                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
SUNRISE, FL 33322-2103                              LONG BEACH, NY 11561-1922                          PO BOX 1598
                                                                                                       KINGSTON, NY 12402-1598



HYMAN KIPPER CUST GLENNE L KIPPER                   HYMAN KUPERSTEIN & MRS ELEANOR D KUPERSTEIN JT TEN HYMAN PYONEIN
U/THE CALIF UNIFORM GIFTS TO MINORS ACT             2 ALBERT COURT                                     2613 NASSAU BEND
7643 LENA AVE                                       SPRINGFIELD, NJ 07081-3301                         APT B1
WEST HILLS, CA 91304-4564                                                                              COCONUT CREEK, FL 33066-2717
                       09-50026-mg       Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                          Part 8 of 8 Pg 164 of 440
HYMAN SHERMAN CUST ELAYNE SHERMAN                  HYMEN KRIEBERG CUST RICHARD J KRIEBERG              I GEORGE LIEBERFARB CUST RICHARD ELLIOT LIEBERFARB
U/THE MASS UNIFORM GIFTS TO MINORS ACT             U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          U/THE N Y UNIFORM GIFTS TO MINORS ACT
13725 VIA AURORA                                   1214 GREEN KNOLLS DR                                43 WOODLAKE DR E
APT D                                              BUFFALO GROVE, IL 60089-1146                        WOODBURY, NY 11797-2316
DELRAY BEACH, FL 33484-1923


I JAMES MALATESTA CUST PAUL MALATESTA              IAN A CASTEL                                        IAN BYERS
U/THE MASS UNIFORM GIFTS TO MINORS ACT             #E116 1300 NORTH RIVER RD                           806-245 ROEHAMPTON AVE
95 STONE ROOT LANE                                 VENICE, FL 34293                                    TORONTO ON
CONCORD, MA 01742-4707                                                                                 M4P 1R6 CANADA



IAN WHITELAW MONIE & BARBARA JANE MONIE TR         ICHIO EGASHIRA & SHIRLEY M EGASHIRA TR              IDA E PAYNE TR
UA 03/28/89 THE IAN MONIE & BARBARA MONIE          EGASHIRA FAMILY TRUST UA 12/01/99                   JAMES A PAYNE & IDA E PAYNE REV JT TEN TRUST UA
1494 PLYMOUTH AVENUE                               BOX 4609                                            06/03/92
SAN FRANCISCO, CA 94112-1260                       PAHRUMP, NV 89041-4609                              G-3245 W MYRTLE
                                                                                                       FLINT, MI 48504


IDA GOODMAN                                        IDA LEINHARDT                                       IDA LIBBY DENGROVE CUST ROBERT DENGROVE
ATTN LINDA B KOGAN                                 150 E 61 STREET APT 9B                              A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
PO BOX 721945                                      NEW YORK, NY 10065-8534                             255 CEDAR AVE
NORMAN, OK 73070-8481                                                                                  LONG BRANCH, NJ 07740-5055



IDA M MC CLENTON                                   IHSAN UYGUR CUST IHSAN UYGUR JR                     ILA E MCFADDEN TR
PO BOX 286011                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          UA 01/10/73 ILA E MCFACCEN TRUST ILA E MCFADDEN AS
CHICAGO, IL 60628-0011                             4 TWINN HILL DR                                     GRANTOR
                                                   BOONTON, NJ 07005-9524                              63 345 WEST 8 MILE RD
                                                                                                       SOUTH LYON, MI 48178


ILENE A KORTHAS                                    ILENE MITZ GOLDBERG CUST AARON JASON STEIN UGMA MI ILENE STEINBERG
PO BOX 930074                                      28122 PEPPERMILL RD                                816 WOODMONT DR
WIXOM, MI 48393-0074                               FARMINGTON HILLS, MI 48331-3331                    MARIETTA, GA 30062-3816




IMA JEAN DEHART & DAVID E GIBBS TR                 IMGARD A RIENTS & ROBERT EUGENE RIENTS JT TEN       INEZ E VAN ALST & CHARLES K VANALST TR
IMA JEAN DEHART LIV TRUST UA 12/07/99              PO BOX 230525                                       UW CHARLES VANALST TESTAMENTARY TRUST UA 10/09/98
5782 BOXWOOD DR                                    7789 LAKE DR                                        100 RED BARN RD
LORAIN, OH 44053-2170                              FAIRHAVEN, MI 48023-0525                            NEW PALTZ, NY 12561-3748



INGEBORG H NIELSON                                 INGIBJORG FERRENTINO & JULIUS R FERRENTINO & JOSEPH V INGRID
                                                                                                          FERRENTINO
                                                                                                                LEVI CUST
                                                                                                                      & MARK DAVID LEVI
& PATRICIA M MAXWELL & KATHERINE JANE MAXWELL JT   ANOTHONY R FERRENTINO JT TEN                          U/THE NEW YORKUNIFORM GIFTS TO MINORS ACT
TEN                                                564 BRECKENRIDGE VLG APT 5                            3460 SOUTH OCEAN BLVD
601 N BALL ST                                      ALTAMONTE SPRINGS, FL 32714-7169                      APT 211
OWOSSO, MI 48867-2309                                                                                    PALM BEACH, FL 33480-5964


INGRID MARIA KLOVE CUST OLIVIA ANN RHODIN          INTERNATIONAL ADVERTISING CORPORATION               IN-YOUNG LEE
UNDER THE NC UNFORM TRANSFERS TO MINORS ACT        PO BOX 241                                          14 FLOOR JS TOWER
4 OAK KNOLL RD                                     FL-9494 SCHAAN                                      144-19 SAMSEONG-DONG GANGNAM-GU
CARLISLE, MA 01741-1231                            LIECHTENSTEIN                                       SEOUL KOREA
                                                                                                       135-090 KOREA (REP)


IONE M HOLZWORTH & ROBERT J HOLZWORTH TR           IOSHIHERO NORO                                      IRA D PRUITT JR CUST ELISA LYNN PRUITT
IONE M HOLZWORTH LIVING TRUST UA 04/14/99          ALAMEDA UAPICHANA 165                               U/THE ALA UNIFORM GIFTS TO MINORS ACT
2118 BROOKSIDE LN                                  SAO PAULO SP                                        PO BOX 1037
AURORA, IL 60504-1370                              04085-030 BRAZIL                                    LIVINGSTON, AL 35470-1037
                    09-50026-mg          Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                              Part 8 of 8 Pg 165 of 440
IRA E GOSLING & MARILYNN E GOSLING TR                  IRA HERTAN CUST DAVID HERTAN                           IRA M BRESLOW CUST MARTHA J BRESLOW
E GOSLING LIVING TRUST IRA UA 10/30/00                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT
3914 W ORCHARD HILL DR                                 40 SEWALL ST                                           1 DORCHESTER DRIVE #403
BLOOMFIELD HILLS, MI 48304-3132                        WEST NEWTON, MA 02465-2613                             PITTSBURGH, PA 15241-1027



IRA M BRESLOW CUST ROBERT L BRESLOW                    IRA ORENSTEIN                                          IRA PORETSKY CUST JILL LORI PORETSKY
U/THE PA UNIFORM GIFTS TO MINORS ACT                   2632 VIA CARILLO                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
1 DORCHESTER DRIVE #403                                PALOS VERDES ESTS, CA 90274-2856                       43 ARDSLEIGH PL
PITTSBURGH, PA 15241-1027                                                                                     MONROE TOWNSHIP, NJ 08831-2675



IRENE A SIGG                                           IRENE A STEINMETZ                                      IRENE AUGENSTEIN CUST STEPHEN AUGENSTEIN U/THE NEW
PO BOX 680541                                          C/O JOHN M STEINMETZ                                   13203 ALHAMBRA LAKE CIR
PARK CITY, UT 84068-0541                               107 LAKESIDE CIRCLE                                    DELRAY BEACH, FL 33446-3734
                                                       JUPITER, FL 33458-5505



IRENE B HERBERG                                        IRENE C MARCZAK & JOSEPH S MARCZAK JR JT TEN           IRENE C SPLEAR TR
37961 391ST AVENUE                                     76 MILFORD AVE                                         UA 01/13/93 THE IRENE C SPLEAR REVOCABLE LIVING
ST PETER, MN 56082-4308                                WHITING, NJ 08759-2060                                 TRUST
                                                                                                              517 N MILL ST
                                                                                                              PONTIAC, IL 61764-1825


IRENE CLAIRE HOUSTON CUST ALEXANDER HOUSTON            IRENE CLAIRE HOUSTON CUST WILLIAM JAMES HOUSTON        IRENE E MORRILL & CHARLES F MORRILL TR
A MINOR U/P L 55 CHAP 139 OF LAWS OF N J               A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW        UA 04/16/76 RICHARD F MORRILL TRUST
12 FALLING LEAF LN                                     JERSEY                                                 3427 YORKSHIRE DR SE
HOUSTON, TX 77024-4513                                 1361 SANFORD LN                                        OLYMPIA, WA 98513-4265
                                                       GLENVIEW, IL 60025-3146


IRENE E STEIMLE TR                                     IRENE ESSWEIN & HERBERT ESSWEIN JT TEN                 IRENE H HEINZ & HEIDI E MERRIMAN & WILLIAM A HEINZ JT TEN
THE IRENE E STEIMLE REVOCABLE LIVING TRUST UA          552 LAKE OF THE WOODS DR                               49359 MARQUETTE CT
10/28/02                                               VENICE, FL 34293-7215                                  SHELBY TWP, MI 48315-3957
404 CHESTNUT DRIVE
BEREA, OH 44017-1336


IRENE H REDIKER CUST FRANK REDIKER                     IRENE HESLIN KILCOYNE USUF P E KILCOYNE H W KILCOYNE MRS
                                                                                                             IRENE
                                                                                                                M KLCEVELLO
                                                                                                                     SIKORA & PATRICIA A SIKORA TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             MRS F KREIS R KILCOYNE & MRS I K CARMICHAEL NAKED     IRENE L SIKORA LIVING TRUST UA 11/17/98
35619 CANDLEWOOD DRIVE                                 OWN                                                   18633 MIDDLESEX AVE
STERLING HEIGHTS, MI 48312-4121                        719 N WILSON STREET                                   LATHRUP VILLAGE, MI 48076-4419
                                                       METAIRIE, LA 70003-6049


IRENE M DOUTRY TR                                      IRENE M LIBEL & BARBARA YOUNG TR                       IRENE M LOBER CUST CLIFFORD WARREN LOBER
U-AD TD 08/31/93 THE IRENE M DOUTRY REVOCABLE LIVING   IRENE M LIBEL REVOCABLE LIVING TRUST UA 10/26/94       U/THE VA UNIFORM GIFTS TO MINORS ACT
TRUST                                                  1049 BLACKJACK RD                                      3142 YATTIKA PLACE
240 DEER PARK S                                        SEVERANCE, KS 66087-4127                               LONGWOOD, FL 32779-3113
CAPAC, MI 48014-3759


IRENE M LOBER CUST LORI ANN LOBER                      IRENE M LOBER CUST RICHARD WAYNE LOBER                 IRENE MARIE DADEPPO TR
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT             U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT             IRENE MARIE DADEPPO TRUST NO 1 UA 10/03/97 AS
926 7TH ST                                             13214 MINK LN                                          AMENDED
HERMOSA BEACH, CA 90254-4823                           WESTFIELD, IN 46074                                    10876 MELBOURNE
                                                                                                              ALLEN PARK, MI 48101


IRENE R KENNEY                                         IRENE SPERBER & RICHARD SPERBER JT TEN                 IRENE SPERBER & STEFANIE SPERBER & RICHARD SPERBER J
4682 200 2S AVE SE                                     HOHENSTEINSTR 4                                        HOHENSTEINSTR 4
SAMMAMISH, WA 98075-6814                               D-91217 HERSBRUCK                                      D 91217 HERSBRUCK
                                                       GERMANY                                                GERMANY
                   09-50026-mg              Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit E
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IRENE T PETRYKOWSKI                                   IRENE WOLF                                                 IRIS DALE GOLDSTEIN
& DIANNE M RAMIREZ & SUSAN M KLIMEK & LUCY M          EBERSTEINER STR 22                                         3700 CROWNRIDGE DR
PETRYKOWSKI JT TEN                                    D75177 PFORZHEIM                                           SHERMAN OAKS, CA 91403-4819
9322 CEDAR ISLAND RD                                  GERMANY
WHITE LAKE, MI 48386-3212


IRIS J VASILEVICH & MICHAEL VASILEVICH TR             IRIS M BRINK                                               IRIS M KLEINSCHMIDT
VASILEVICH LIVING TRUST UA 7/22/99                    & JAMES C WEATHERWAX & LLOYD J WEATHERWAX &                PO BOX 10930
2934 W BELDEN AVE                                     JERRY R WEATHERWAX &                                       TRUCKEE, CA 96162-0930
CHICAGO, IL 60647-2919                                300 S MAIN ST APT 543
                                                      DAVISON, MI 48423-1646


IRIS ROSS CUST MITCHELL ROSS                          IRMA B HANEY                                               IRMA R GOLDSTEIN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            C/O ESTATE OF IRMA B HANEY                                 437 DEL POND DR
441 DIVISION AVE                                      LAROSE LEON TAYLOR & FAZARI                                CANTON, MA 02021
HICKSVILLE, NY 11801-6338                             PO BOX 366 149 W MAIN ST
                                                      WELLAND ON L3B 5P7 CANADA


IRMGARD A RIENTS & LIDDY LEE SMITH JT TEN             IRVIN A BERKEMEIER & EVELYN M BERKEMEIER TR                IRVIN K SISSON
PO BOX 230525                                         IRVIN A BERKEMEIER LIVING TRUST UA 03/18/97                15083 191ST STREET
7789 LAKE DR                                          503 ASPEN CT                                               NOBLESVILLE, IN 46060-9532
FAIRHAVEN, MI 48023-0525                              MIDDLETOWN, DE 19709-9311



IRVIN KRAUSE CUST SHERRY JOAN KRAUSE                  IRVIN R KOBSA TR                                           IRVIN VINE CUST BRENT H VINE
A MINOR U/ART 8-A OF THE PERS PROPERTY LAW OF NY      KOBSA FAMILY TRUST UA 01/08/86 U-T-A 10-23-81 BY IRVIN R   U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
C/O SHERRY MAZZA                                      KOBSA ET AL                                                58 HUCKLEBERRY LN
38 TUCKER LANE                                        2485 LA MIRADA DRIVE                                       EAST HAMPTON, NY 11937-2831
NO DARTMOUTH, MA 02747-3594                           SAN JOSE, CA 95125-5829


IRVIN WEINTRAUB & MRS GLORIA B WEINTRAUB JT TEN       IRVINE F TOUCHIE & ARLENE M TOUCHIE TR                     IRVING A GLASSER TR
417 MICHAEL LANE                                      TOUCHIE FAM LIVING TRUST UA 05/23/94                       UA 03/09/1990 IRVING A GLASSER & SYLVIA M
BIRMINGHAM, AL 35213-4401                             7471 GREEN MEADOW LN                                       GLASSERFAMILY TRUST A
                                                      CANTON, MI 48187-3680                                      30 TAHOE
                                                                                                                 IRVINE, CA 92612


IRVING A PRIEST & THELMA B PRIEST TR                  IRVING AVRICK CUST ROBERT H AVRICK                         IRVING BORENSTEIN CUST MARK BORENSTEIN
IRVING A PRIEST & THELMA B PRIEST TRUST UA 05/26/92   U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
PO BOX 37                                             22 FULLIN ROAD                                             439 MARTLING AVE
HANCOCK, NH 03449-0037                                NORWALK, CT 06851-3418                                     TARRYTOWN, NY 10591-4714



IRVING C SANDBAKKEN & KATHLEEN C SANDBAKKEN TR        IRVING EHRLICH CUST HOWARD SCOTT EHRLICH                   IRVING EPSTEIN & BERTHA EPSTEIN JT TEN
UA SANDBAKKEN FAMILY TRUST 11/30/89                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT                 C/O NATIONAL MACHINERY EXCHANGE
4174 RHODES WAY                                       2300 W SAMPLE RD                                           72 ROANOKE AVE
OCEAN HILLS, CA 92056-7412                            STE 215                                                    NEWARK, NJ 07105-4308
                                                      POMPANO BEACH, FL 33073-3049


IRVING FINKELSTEIN                                    IRVING HORN CUST RACHELLE ANNE HORN                        IRVING KAPLAN CUST HAROLD N KAPLAN
10 WEST 66TH STREET                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT                 U/THE CONN UNIFORM GIFTS TO MINORS ACT
APT 14K                                               605 NORTHCLIFFE DRIVE                                      15 MC KINLEY AVE
NEW YORK, NY 10023-6208                               ROCKVILLE, MD 20850                                        WEST CALDWELL, NJ 07006-7803



IRVING M SILVERMAN CUST SCOTT R SILVERMAN             IRVING POLOKOFF CUST HARVEY SHELDON POLOKOFF               IRVING S BENGELSDORF & BEVERLY D BENGELSDORF TR
UNDER THE FLORIDA GIFTS TO MINORS ACT                 U/THE N Y UNIFORM GIFTS TO MINORS ACT                      IRVING & BEVERLY BENGELSDORF TRUST UA 12/07/84
13614 11TH TERRACE E                                  11807 PEBBLEPOINT PASS                                     211 SAXONY RD
BRADENTON, FL 34202-9003                              CARMEL, IN 46033-9672                                      APT 258
                                                                                                                 ENCINITAS, CA 92024-2779
                    09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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IRVING SHAPIRO & CYNTHIA SHAPIRO TR              IRWIN A HOROWITZ CUST SHERI BETH HOROWITZ           IRWIN B SCHUMER CUST EDWARD SCHUMER
UA 07/02/03 SHAPIRO REVOCABLE TRUST              A MINOR U/ P L 55 CH 139 OF LAWS OF N J             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
391 MILLER AVE STE 100                           19 DALEWOOD RD                                      246 NO MAIN STREET
MILL VALLEY, CA 94941                            WEST CALDWELL, NJ 07006-8237                        SAINT ALBANS, VT 05478-1554



IRWIN C SCHNEIDER & MARIAN SCHNEIDER TR          IRWIN JACOBS CUST BONNIE SUE JACOBS                 IRWIN JACOBS CUST HOWARD JACOBS
SCHNEIDER FAMILY TRUST UA 07/24/84               U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT        U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
1995 S CAMINO REAL                               31 GEIGER LANE                                      7 DOWNING PLACE
PALM SPRINGS, CA 92264-9290                      WARREN, NJ 07059                                    LIVINGSTON, NJ 07039-3612



IRWIN KINZLER CUST JEFFREY LAWRENCE KINZLER      IRWIN S WHITMAN CUST STEPHANIE ROBIN WHITMAN        IRWIN SCHULTZ CUST ANDREW I SCHULTZ
U/THE N Y UNIFORM GIFTS TO MINORS ACT            U/THE N Y UNIFORM GIFTS TO MINORS ACT               UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
750 LARK CT                                      23 CALERIDGE CT                                     429 FOREST AVE
WOODMERE, NY 11598-2914                          HGHLNDS RANCH, CO 80130-3979                        RYE, NY 10580-3642



IRWIN STEIN & MRS ARLYN R STEIN JT TEN           IRWIN WEINBERG TOD ADRIENNE PACHTER SUBJECT TO STA TOD
                                                                                                     ISAAC
                                                                                                         RULES
                                                                                                           CLIFTON ASKEW 3RD CUST ISAAC CLIFTON 4TH
2475 W GULF DR                                   9855 E IRVINGTON ROAD                               A MINOR UNDER THE LAWS OF GEORGIA
UNIT 307                                         LOT 121                                             2413 SEMINOLE RD
SANIBEL, FL 33957-6038                           TUCSON, AZ 85730-5229                               AUGUSTA, GA 30904-3411



ISAAC KLEIN                                      ISAAC PRATT                                         ISAAC RODRIGUEZ
ROOM 407                                         PO BOX 970595                                       26 CARR 833 915V
20 WEST 47TH STREET                              YPSILANTI, MI 48197-0810                            GUAYNABO, PR 00971-9011
NEW YORK, NY 10036-3303



ISABEL R MERMELSTEIN                             ISABELLE L SPIELES & ROBERT L SPIELES TR            ISABELLE M ATHERTON CUST ROBERT DONALD ATHERTON
2929 POST OAK BLVD APT 1505                      ISABELLE SPIELES & ROBERT L SPIELES                 A MINOR U/P L 55 CH 139 OF LAWS OF N J
HOUSTON, TX 77056                                21125 MARTIN RD                                     537 ROYAL PALM BLVD APT 2
                                                 ST CLAIR SHORES, MI 48081-1185                      VERO BEACH, FL 32960



ISABELLE O BLITCH TR                             ISADORE J WILINSKY CUST SHARON LYNNE WILINSKY       ISADORE M SINGER CUST MARILYN J SINGER
BERNARD C BLITCH & ISABELLE O BLITCH REVOCABLE   U/THE N Y UNIFORM GIFTS TO MINORS ACT               A MINOR U/THE CALIF GIFTS OF SEC TO MINORS ACT
TRUST UA 04/16/93                                11 BRAMBLY CT                                       2595 SAYBROOK ROAD
3704 SANTIAGO STREET                             WILLIAMSVILLE, NY 14221-5777                        UNIVERSITY HEIGHTS, OH 44118-4703
TAMPA, FL 33629-6932


ISAIAH BOYD                                      ISIDORE MALEK CUST SHARON MALEK                     ISRAEL BERGSTEIN
PO BOX 351113                                    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          98 WEST END AVE
DETROIT, MI 48235-6013                           330 MAPLE ST                                        BROOKLYN, NY 11235-4813
                                                 WEST HEMPSTEAD, NY 11552-3207



ISRAEL GOPSTEIN                                  ISRAEL ROSENZWEIG CUST JAMES ROSENZWEIG             ISRAEL SMITH & EVE SMITH TR UA SMITH FAMILY TRUST 08/17
2343 DECKMAN LA                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          PO BOX 130276
SILVER SPRING, MD 20906-2262                     101 WALCOTT AVE                                     TYLER, TX 75713-0276
                                                 S I, NY 10314-6311



ITALO CASTAGNOLA & CAROLYN CASTAGNOLA TR         IVAN E BIRSIC CUST JAMES BIRSIC                     IVAN E BIRSIC CUST THOMAS E BIRSIC
UA 04/30/90 THE ITALO CASTAGNOLA& CAROLYN        U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT      U/THE PA UNIFORM GIFTS TO MINORS ACT
253 LA VISTA GRANDE ROAD                         35927 RUGGLES ST                                    614 VICTORIA DR
SANTA BARBARA, CA 93103-2818                     UNION CITY, PA 16438-3767                           WEXFORD, PA 15090-8795
                       09-50026-mg        Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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IVAN E HAUBENSTRICKER                                 IVAN E HAUBENSTRICKER & MRS MARGARET M HAUBENSTRICKER
                                                                                                        IVANJTF TEN
                                                                                                                STUCKEY SR & MARGIE M STUCKEY TR
128 BEYERLEIN ST                                      128 BEYERLEIN                                     THE STUCKEY FAMILY TRUST UA 02/09/91
FRANKENMUTH, MI 48734-1502                            FRANKENMUTH, MI 48734-1502                        1103 LIPTON LANE
                                                                                                        DAYTON, OH 45430-1315



IVAN L MCCRANNER & SHARAL R MCCRANNER TR              IVAN POKORNY CUST MISS HEIDI GWEN POKORNY          IVAN R MAXWELL CUST JEFFREY I MAXWELL
IVAN L & SHARAL R MCRANNER LIVING TRUST UA 12/19/00   U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
14671 KOGAN DRIVE                                     75 MAMARONECK RD                                   1323 18TH ST
WOODBRIDGE, VA 22193-3321                             SCARSDALE, NY 10583-2821                           PORT HURON, MI 48060-5620



IVAN R PETERSON & SHIRLEE J PETERSON JT TEN           IVER SIMON JOHNSON & DONNA S JOHNSON TR            IVORY C GOODRUM JR
122389 COLDWATER RD                                   THE IVER SIMON JOHNSON & DONNA SJOHNSON REV TR     PO BOX 310366
FLUSHING, MI 48433                                    6520 OCALA CT                                      FLINT, MI 48531-0366
                                                      CENTERVILLE, OH 45459-1941



IVY GLENN MCWHORTER                                   J A MATTOON & MARJORIE B MATTOON TR                J B COLLINS
PO BOX 211562                                         JA & MARJORIE MATTOON LIVING TRUST UA 4/30/01      PO BOX 370980
COLUMBIA, SC 29221-6562                               2702 N GRAFHILL DR                                 DECATUR, GA 30037-0980
                                                      MOBILE, AL 36606-2335



J BAILEY                                              J BROGDON NICHOLS CUST THOMAS HUGH NICHOLS         J BURL FROST CUST JON FROST
PO BOX 378823                                         A MINOR UNDER THE LAWS OF GEORGIA                  U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
CHICAGO, IL 60637-8823                                727 CAMELLIA DR                                    18865 HERITAGE CT
                                                      LAGRANGE, GA 30240-1646                            SALINAS, CA 93908-8700



J C GARRIOTT JR CUST RICHARD R GARRIOTT               J C HARLAN JR                                      J CHARLES RICH & JASMINE F RICH JT TEN
U/THE CAL UNIFORM GIFTS TO MINORS ACT                 2309 COUNTY ROAD 4680 4680                         PO BOX 581257
1545 LOOKOUT ST                                       BOYD, TX 76023-4439                                SALT LAKE CTY, UT 84158-1257
W BLOOMFIELD, MI 48324-3524



J D ALLEN                                             J D ROPER                                          J DANIEL ELEK
PO BOX 310977                                         PO BOX 401285                                      7334 217TH CT NE
FLINT, MI 48531-0977                                  REDFORD, MI 48240-9285                             REDMOND, WA 98053-7731




J DURWARD WATSON JR CUST J DURWARD WATSON 3RD         J EUGENE SCHAFHAUSER CUST BRUCE JOHN SCHAFHAUSER J F SEINSHEIMER IV
A MINOR U/THE LAWS OF GEORGIA                         U/THE N J UNIFORM GIFTS TO MINORS ACT            1427 LOTUS DR
504 SISK AVE                                          413 TOLL HOUSE LANE                              GALVESTON, TX 77554-7126
OXFORD, MS 38655-3412                                 MOORESTOWN, NJ 08057-2856



J F SUMMERS CUST JOHN R SUMMERS                       J GERALD HERBERT KATHLEEN H HULL & WILLIAM B PLATT JR TR
                                                                                                            J GORMAN HOUSTON JR & MARTHUR M HOUSTON TR
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          UW EVA G HERBERT                                      J GORMAN HOUSTON JR PC EMPLOYEESPROF
2208 LAKE OAKS CT                                     99 SANFORD PL                                         201 E BROAD
MARTINEZ, CA 94553-5443                               SOUTHAMPTON, NY 11968-3338                            EUFAULA, AL 36027-1607



J HOWARD SIMON                                        J IACOVITTI & M IACOVITTI TR                       J LEE DOCKERY CUST KIMBERLY DOCKERY
PO BOX 270413                                         JOSEPH & MARY IACOVITTI LIVING TRUST UA 02/19/91   UNDER THE FLORIDA GIFTS TO MINORS ACT
LAS VEGAS, NV 89127-2706                              1648 LINDSAY DR                                    C/O KIMBERLY D RUFFIER
                                                      NORTH WALES, PA 19454-3609                         3039 MIDDLESEX RD
                                                                                                         ORLANDO, FL 32803-1128
                       09-50026-mg        Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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J M REINEMAN                                        J M WATSON & C A WATSON TR                          J MICHAEL NEWBERGER CUST ROBIN GAIL NEWBERGER
200 WORDSWORTH DR                                   JOHN M & CAROLYN A WATSON 2003 TRUST UA 08/05/03    U/THE ILL UNIFORM GIFTS TO MINORS ACT
WILMINGTON, DE 19808-2343                           2812 STERNE PL                                      3240 N LAKE SHORE DR
                                                    FREMONT, CA 94555-1426                              CHICAGO, IL 60657-3954



J MORGAN LYONS CUST J MORGAN LYONS JR               J N THOMPSON                                        J OTROSHINA
A MINOR U/THE LA GIFTS TO MINORS ACT                1908 101ST AVE                                      85 CLEAR LAKE RD
429 IONA ST                                         OAKLAND, CA 94603-3352                              WHITING, NJ 08759-2981
METAIRIE, LA 70005-4427



J POLK COOLEY CUST PATRICK COOLEY                   J RANDALL POLLARD                                   J RICHARD COOPER & JEAN D COOPER TR
U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT         50 STEINWAY CT                                      J RICHARD COOPER & JEAN D COOPER TRUST UA 07/21/97
PO BOX 730                                          WILLIAMSVILLE, NY 14221                             1241 PARK PL
KINGSTON, TN 37763-0730                                                                                 QUINCY, IL 62301-4219



J THOMAS SCHAEFFER & PAUL K BEARDSLEE & KENNETH P KOBERSTEIN
                                                    J VINCENT JT
                                                               BOYLE
                                                                 TEN & LAWRENCE GRACI TR                J WILLIAM HARRINGTON CUST MARY ELLEN HARRINGTON
206 S KALAMAZOO AVE                                 UA 09/21/84 KENNETH G PUTTICK TRUST                 A MINOR UNDER P L 55 CHAP 139 OF THE LAWS OF NEW
MARSHALL, MI 49068                                  700 20TH ST                                         JERSEY
                                                    VERO BEACH, FL 32960-5442                           2002 LONG KNIFE COURT
                                                                                                        LOUISVILLE, KY 40207-1176


J WILLIAM JENNINGS CUST PAUL J JENNINGS             J WILLIAM JENNINGS CUST REBECCA G JENNINGS          JACEK GORSKI
U/THE S C UNIFORM GIFTS TO MINORS ACT               U/THE S C UNIFORM GIFTS TO MINORS ACT               GM CIS
10605 DUTCHESS WAY                                  12304 EARLY ROAD                                    TESTOVSKAYA 10
WOODSTOCK, MD 21163-1465                            KNOXVILLE, TN 37922-6122                            123317 MOSCOW
                                                                                                        RUSSIAN FEDERATION


JACK A COHEN & BONNIE M COHEN TR                    JACK A GODAR & EVELYN C GODAR TR                    JACK A KENNY & GERALDINE L KENNY TR KENNY TRUST # 1 UA
UA 12/29/2003 JACK A COHEN REVOCABLE TRUST          JACK A & EVELYN C GODAR TRUST UA 12/04/00           26 TUSCANY CIR
432 CASTLE PINES LN                                 7860 CIRCLE DR                                      SAGINAW, MI 48603-1376
RIVERWOODS, IL 60015                                BURR RIDGE, IL 60527-8011



JACK ANDERSON TR                                    JACK BRANDENBURG TR                                 JACK BRIAN LUDWIG & LOUISE THAYER LUDWIG TR
UA 01/13/94 JACK ANDERSON & ANSELEE M ANDERSON      BLUE WATER INDUSTRIAL SUPPLY INCPROFIT SHARING      LUDWIG FAMILY TRUST UA 02/16/00
REVOCABLE TRUST                                     PLAN & TRUST 06/15/84                               502 SOUTHVIEW DR
6571 N RIVER HWY                                    37596 HURON PTE                                     EAST LIVERPOOL, OH 43920-4259
GRAND LEDGE, MI 48837-9315                          HARRISON TOWNSHIP, MI 48045-2821


JACK BROWN CUST MARSHALL BROWN                      JACK C FINCHER CUST JOHN HERMAN FINCHER             JACK C MALIN & NANCY JOAN MALIN TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          A MINOR UNDER THE LAWS OF GEORGIA                   UA 04/20/1995 JACK C & NANCY JOAN MALIN REVOCABLE
9321 MOUNT CASH AVE                                 BOX 512                                             320 SOUTH PONTIAC DRIVE
UNIT 102                                            CANTON, GA 30114-0512                               JANESVILLE, WI 53545
LAS VEGAS, NV 89129


JACK D EMERY                                        JACK D EMERY TR UA 10/22/2008 JACK D EMERY REVOCABLE TRUST
                                                                                                          JACK D SONGER & MRS HENRIETTA SONGER JT TEN
22195 205TH AVE                                     22195 205TH AVE                                       9842 1610 N ROAD
PARIS, MI 49338-9705                                PARIS, MI 49338-9705                                  OAKWOOD, IL 61858-6106




JACK D TALIAFERRO & LUE E TALIAFERRO TR             JACK E BILLET CUST BRADFORD S BILLET                JACK E HALSEY
JACK D TALIAFERRO TR UNDER TR AGMT                  U/THE DEL UNIFORM GIFTS TO MINORS ACT               7579 FILEDSTONE CT
8158S HARRISON WAY                                  505 N DUPONT ROAD WESTHAVEN                         BROWNSBURG, IN 46112-8306
LITTLETON, CO 80122-3623                            WILMINGTON, DE 19807-3113
                    09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                            Part 8 of 8 Pg 170 of 440
JACK E HEISTER & KATHERINE L HEISTER TR              JACK E LINNE CUST JEFFERY LINNE                       JACK E ROSSMAN & CAROL E ROSSMAN TR
JACK E & KATHERINE L HEISTER REV TRUST UA 06/13/01   A MINOR PURS TO SEC 1339 /26 INCL REV CODE OF OHIO    JACK E ROSSMAN & CAROL E ROSSMAN FAM TRUST UA
704 SW 101ST                                         6365 PAWNEE RIDGE                                     03/24/97
OKLA CITY, OK 73139-5404                             LOVELAND, OH 45140-9001                               167 VEGA DR
                                                                                                           GOLETA, CA 93117-2009


JACK E STOUGHTON & MARY J STOUGHTON TR               JACK E STOUGHTON & MARY J STOUGHTON TR                JACK F HORNADAY & GLESNA A HORNADAY TR
JACK E STOUGHTON & MARY J STOUGHTON TRUST            STOUGHTON FAMILY TRUST UA 03/23/94                    HORNADAY FAM LIVING TRUST UA 12/19/95
7746 MOKENA CT                                       7746 MOKENA AVE                                       701 S AHRENS
NEW PORT RICHEY, FL 34654-5658                       NEW PORT RICHEY, FL 34654-5658                        LOMBARD, IL 60148-3607



JACK G COLLINS & ROSE J COLLINS TR                   JACK G NOWLING & BEVERLY L NOWLING TR                 JACK GABRIEL & KATHY GABRIEL & CAMALL GABRIEL TR
JACK G COLLINS & ROSE J COLLINS TRUST UA 10/21/97    JACK G & BEVERLY L NOWLING LIVING TRUST UA 04/28/95   JULIET 2 GABRIEL TRUST UA 09/04/03
1613 W STONE BLVD                                    1175 BOURNEMOUTH CT                                   3324 MOUNTAIN VIEW AVE
RAYMORE, MO 64083-9174                               CENTERVILLE, OH 45459-2647                            LOS ANGELES, CA 90066-1930



JACK GETHMANN CUST JEFFREY L GETHMANN                JACK GETHMANN CUST JILL D GETHMANN                    JACK GETHMANN CUST JULIE A GETHMANN
U/THE IOWA UNIFORM GIFTS TO MINORS ACT               U/THE IOWA UNIFORM GIFTS TO MINORS ACT                U/THE IOWA UNIFORM GIFTS TO MINORS ACT
PO BOX 160                                           PO BOX 160                                            PO BOX 160
MARSHALLTOWN, IA 50158-0160                          MARSHALLTOWN, IA 50158-0160                           MARSHALLTOWN, IA 50158-0160



JACK GOLDSTEIN & EDNA GOLDSTEIN JT TEN               JACK GOLDSTEIN & MRS SYLVIA E GOLDSTEIN JT TEN        JACK H MEKJIAN & HELEN S MEKJIAN TR
336 WESTCHESTER AVE                                  95 CHADWICK RD                                        JACK & HELEN MEKJIAN TRUST UA 01/04/05
MOUNT VERNON, NY 10552-3040                          TEANECK, NJ 07666-4203                                39130 OXBOW COURT
                                                                                                           FARMINGTON HILL, MI 48331-1607



JACK H PENNINGTON TR                                 JACK H PENNINGTON TR                                  JACK H PENNINGTON TR
AMY PENNINGTON BLACK SEPARATE PROPERTY TRUST UA      SHELLEY PENNINGTON IRREVOCABLE SEPARATE               STEVEN PENNINGTON SEPARATE PROPERTY TRUST UA
08/08/94                                             PROPERTY TRUST UA 08/08/94                            12/30/93
22 E DELAWARE AVE                                    22 E DELAWARE AVE                                     22 E DELAWARE AVE
PENNINGTON, NJ 08534-2301                            PENNINGTON, NJ 08534-2301                             PENNINGTON, NJ 08534-2301


JACK ISAAC BEAR II CUST JACK ISSAC BEAR III          JACK J KOLKIN & PHYLLIS Z KOLKIN TR                   JACK L BURKS & L MAXINE BURKS TR
UNDER THE FLORIDA GIFTS TO MINORS ACT                JACK J & PHYLLIS Z KOLKIN FAMILY TRUST UA 11/30/92    JACK L BURKS REVOCABLE TRUST UA 09/16/97
1649 BROOKSIDE CIRCLE E                              28314 S ROTHROCK DR                                   8755 CR 162
JACKSONVILLE, FL 32207-2407                          RANCHO PALOS VERDE, CA 90275-3041                     CARTHAGE, MO 64836-7221



JACK L CHIN & JULIE K CHIN TR                        JACK L COONS & MARY JANE COONS TR                     JACK L MCDOWELL & LORRAINE M MCDOWELL TR
JACK L & JULIE K CHIN REVOCABLE TRUST UA 8/27/99     JACK L COONS & MARY JANE COONS JT TRUST UA 02/02/93   LIVING TRUST 04/15/92 U-A JACK L MCDOWELL
10 SIERRA ST                                         2930 BELLASERA WAY                                    431 COLLEGE AVE
WATSONVILLE, CA 95076-2718                           MATTHEWS, NC 28105                                    WINTHROP HARBOR, IL 60096-1234



JACK L MILLIGAN DELIA JOAN MILLIGAN TR               JACK L VAN LEAR & BETTY L VAN LEAR TR                 JACK LEVITT CUST SUSAN B LEVITT
UA 10/21/92 MILLIGAN FAMILY TRUST                    BETTY L VAN LEAR TRUST UA 09/05/97                    U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
6005 CONDOR DR                                       8508 ROSEHILL RD                                      PO BOX 8648
LAKELAND, FL 33809                                   LENEXA, KS 66215-2838                                 SCOTTSDALE, AZ 85252-8648



JACK M HEIN & ARLENE E HEIN TR                       JACK NEWHOUSE CUST ROBERT NEWHOUSE                    JACK NISENBAUM CUST MICHAEL JAY NISENBAUM
JACK & ARLENE HEIN LIVING TRUST UA 07/23/03          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            A MINOR U/THE LAWS OF THE STATE OF MICH
733 E WALNUT AVE                                     100 BAYVIEW DR                                        5922 ELLENVIEW AVE
BURBANK, CA 91501-1727                               APT 2017                                              WOODLAND HILLS, CA 91367-1037
                                                     SUNNY ISL BCH, FL 33160-4743
                   09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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JACK R BALLSMITH CUST MICHAEL C BALLSMITH           JACK R MAUS & VERONICA W MAUS TR                    JACK R MILLER CUST ANN MICHELE MILLER
U/THE ILL UNIFORM GIFTS TO MINORS ACT               VERONICA W MAUS LIVING TRUST UA 08/24/98            U/THE CAL UNIFORM GIFTS TO MINORS ACT
6916 CASCADE AVE SE                                 250 OHUA AVE APT 8G                                 14430 PIKE RD
SNOQUALMIE, WA 98065-9757                           HONOLULU, HI 96815-3634                             SARATOGA, CA 95070-5358



JACK R PUMALA & IRENE E PUMALA TR                   JACK R STEWART AND BARBARA A STEWART GUARDIANS FOR JACK
                                                                                                       TERESASUTTON
                                                                                                                MARION
JACK R PUMALA & IRENE E PUMALA REVOCABLE TRUST UA   STEWART A MINOR                                    1400 360 MAIN ST
10/24/96                                            669 STONE HARBOR PARKWAY                           WINNIPEG MB
N8006 VANBUSKIRK RD                                 MARIETTA, GA 30060-6219                            R3C 3Z3 CANADA
IRONWOOD, MI 49938-9687


JACK W BARRON & ELIZABETH M BARRON TR               JACK W BARRON & ELIZABETH M BARRON TR               JACK W BARRON & ELIZABETH M BARRON TR
MACKENZIE LOUISE MIZENER TRUST UA 05/12/97          MASON ELIZABETH MIZENER TRUST UA 05/23/96           TALOR RANDOLPH MIZENER TRUST UA 05/12/97
4228 O'KEEFE                                        4228 O'KEEFE                                        4228 O'KEEFE
EL PASO, TX 79902-1386                              EL PASO, TX 79902-1386                              EL PASO, TX 79902-1386



JACK W ROBINSON & MRS CLAUDINE H ROBINSON JT TEN    JACK WEINBERGER                                     JACK WEINSTINE
PO BOX 198888                                       320 EAST SHORE RD APT 25B                           301 E MAIN STREET
NASHVILLE, TN 37219-8888                            GREAT NECK, NY 11023-1743                           MORRISON, IL 61270-2852




JACK WEPRIN CUST MICHAEL E H WEPRIN                 JACKIE DWIGHT SAVAGE & JO ANN SAVAGE TR             JACKIE L MILLER TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT               JACKIE DWIGHT SAVAGE & JO ANN SAVAGE FAM TRUST UA   UA 06/12/2008 JACKIE L MILLER REV LIVING TRUST
1501 BROADWAY                                       09/23/94                                            AGREEMENT
NEW YORK, NY 10036-5601                             PO BOX 429                                          208 HENRIETTA
                                                    HOMINY, OK 74035-0429                               JACKSON, MI 49203


JACKIE LEE BIBBS & BARBARA ANNA SKIPPER TR          JACKIE T MOORE                                      JACKMAN S WILSON & ELLEN D WILSON TR
UA 03/25/2005 JACKIE LEE BIBBS & BARBARA ANNE       PO BOX 390637                                       JACKMAN S WILSON & ELLEN D WILSON TRUST UA 05/28/96
4000 BLUEBONNET HILLTOP DR                          SNELLVILLE, GA 30039-0011                           220 SOUTH 8TH ST
FORT WORTH, TX 76126                                                                                    QUAKERTOWN, PA 18951-1522



JACKSON B PRESSLEY & ANNA M PRESSLEY TR             JACOB D BROKAW                                      JACOB FISKER-ANDERSEN & MARY SUZANNE FISKER-ANDERS
UA 05/15/91 PRESSLEY FAMILY TRUST                   17747 157TH ST                                      13134 130TH LANE NE
P O BOX 188                                         BONNER SPRINGS, KS 66012-7353                       KIRKLAND, WA 98034-7911
OJAI, CA 93024



JACOB J SPANNAGEL & JOANNE M SPANNAGEL TR           JACOB KIEFER JR CUST JACOB FRED KIEFER              JACOB SCHULMAN & RITA W SCHULMAN TR
UA 10/19/2007 JACOB & JOANNE SPANNAGEL REVOCABLE    U/THE MINN UNIFORM GIFTS TO MINORS ACT              JACOB SCHULMAN & RITA W SCHULMANFAM TR UA
5091 KENCLIFF                                       13 RIVERSIDE DR                                     3900 CALIFORNIA ST
SAGINAW, MI 48602                                   LIVINGSTON, MT 59047-9225                           SAN FRANCISCO, CA 94118-1486



JACOB WEINREB                                       JACQUELIN K FLETCHER TR                             JACQUELIN KLEIN
320 RIVERSIDE DR                                    JACQUELIN K FLETCHER REVOCABLE TRUST UA 10/16/03    38506 FERM CIR
NEW YORK, NY 10025-4115                             4244 HARWOOD DR                                     ZEPHYRHILLS, FL 33540-3038
                                                    DESMOINES, IA 50312-2318



JACQUELINE A GILDENMEISTER TR                       JACQUELINE BRUTTE                                   JACQUELINE J JOHNS TR
UA 09/16/02 JACQUELINE A GILDENMEISTER TRUST        9580 178TH ST W                                     THE JACQUELINE J JOHNS DECLARATION OF TRUST
419 NORTHWEST ST                                    LAKEVILLE, MN 55044-8729                            06/15/94
BELLEVUE, OH 44811                                                                                      21 W 340
                                                                                                        AUDUBON LOMBARD, IL 60148
                   09-50026-mg                Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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JACQUELINE K GRAF & LEONARD J GRAF TR                JACQUELINE K HEINE                                    JACQUELINE K WESNER TR JACQUELINE K WESNER TRUST # 1
LOVING TRUST 12/03/91 U-A JACQUELINE                 11984 SOUTH PROVINCE                                  502 MAIN ST
5157 SHERWIN                                         PATIO HOMES                                           BUCHANAN, MI 49107-1389
SKOKIE, IL 60077-3473                                UNIT 2000
                                                     OLATHE, KS 66061


JACQUELINE KLEIN                                     JACQUELINE KLEIN & BRUCE A KLEIN JT TEN               JACQUELINE MALONEY CUST DONALD MICHAEL MALONEY
4276 SO 150TH AVE                                    4276 SO 150 AVE                                       U/THE N C UNIFORM GIFTS TO MINORS ACT
OMAHA, NE 68137-5148                                 OMAHA, NE 68137-5148                                  21 GUILFORD LN
                                                                                                           GREENWICH, CT 06831-4121



JACQUELINE R DICKSTEIN & GEORGE L DICKSTEIN JT TEN   JACQUELYN G PILAND                                    JACQUELYN J SMITH & STUART R SMITH JT TEN
13 BURNS MEADOW                                      PO BOX 681272                                         10460 170TH ST N
LONGMEADOW, MA 01106-1753                            PARK CITY, UT 84068-1272                              HUGO, MN 55038-9332




JACQUES M LEVENTHAL CUST ROBERT HAROLD LEVENTHAL     JACQUES MESQUITA FILHO                                JACQULYN SLOCUM
U/THE N Y UNIFORM GIFTS TO MINORS ACT                CAIXA POSTAL 102                                      W7476 510TH AVE
2 FAVORITE LANE                                      SAO JOSE DOS CAMPOS S PAULO                           ELLSWORTH, WI 54011-4855
JERICHO, NY 11753-2347                               12201-970
                                                     BRASIL BRAZIL


JAGDISH T MADHAV                                     JAMES A BABCOCK & EILEEN V BABCOCK TR                 JAMES A BOWDEN & ISABELLE BOWDEN TR
1530 170TH PL SE                                     JAMES A BABCOCK FAMILY TRUST UA 10/23/03              JAMES A BOWDEN & ISABELLE BOWDENREV LIV TR 2/25/94
MILL CREEK, WA 98012-8040                            2637 SCHROEDER DR                                     1700 OXNARD DR
                                                     TOLEDO, OH 43613-2045                                 DOWNERS GROVE, IL 60516-2519



JAMES A BRAGDON JR TR                                JAMES A COLEMAN CUST JAMES BRIAN COLEMAN              JAMES A CURRIE CUST BRUCE ROBERT CURRIE
JOINT TRUST OF JAMES ALBERT BRAGDON & MARTHA G       U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT            A MINOR U/ P L 55 CHAP 139 LAWS OF N J
BRAGDON TRUST 07/16/99                               6255 N LEROY AVENUE                                   22 PINE TREE RD
PO BOX 1292                                          CHICAGO, IL 60646-4831                                MOUNTAIN TOP, PA 18707-1717
GRAND JUNCTION, CO 81502-1292


JAMES A DOWNEY APRIL D DOWNEY                        JAMES A DOWNEY CUST BRIDGET K DOWNEY                  JAMES A FRENCH TR
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF NJ          U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          UNDER DECLARATION OF TRUST 06/10/91 BENEFIT OF
C/O CATHERINE M DOWNEY                               30 WASHINGTON TRAIL                                   JAMES A FRENCH
4 MOUNTAIN AVE                                       HOPATCONG, NJ 07843-1295                              1130 S MICHIGAN AVE # 2503
MONTVILLE, NJ 07045-9407                                                                                   CHICAGO, IL 60605-2331


JAMES A HARTE JR CUST PATRICIA MARGARET HARTE        JAMES A KLEIN                                         JAMES A LUCAS CUST MISS BARBARA JEAN LUCAS
U/THE N Y UNIFORM GIFTS TO MINORS ACT                16335 WORDEN RD                                       U/THE ILL UNIFORM GIFTS TO MINORS ACT
15 CAREN CT                                          HOLLY, MI 48442-9785                                  11463 EHREN AVE
MT KISCO, NY 10549-1200                                                                                    LAKE VIEW TERRACE, CA 91342-6815



JAMES A MILLER & DOLORES B MILLER TR                 JAMES A MORAN                                         JAMES A MORRISON & KATHLEEN F MORRISON TR
MILLER FAMILY LIVING TRUST UA 08/05/96               13800 165TH AVE                                       JAMES A MORRISON & KATHLEEN F MORRISON JT
1122 W ELM TREE RD                                   LEROY, MI 49655                                       REVOCABLE
ROSSFORD, OH 43460-1358                                                                                    18740 BLUE VIOLET LANE
                                                                                                           GAITHERSBURG, MD 20879-1530


JAMES A OTTEVAERE II CUST ERIC J OTTEVAERE UTMA WI   JAMES A OTTEVAERE II CUST HANNAH L OTTEVAERE UTMA WI JAMES A POORE JR & JAMES A POORE III TR
8115 160TH ST                                        8115 160TH ST                                        ELIZABETH POORE WADSWORTH UA 7/12/77
CHIPPEWA FLS, WI 54729                               CHIPPEWA FLS, WI 54729                               1341 HARRISON AVE
                                                                                                          BUTTE, MT 59701-4801
                      09-50026-mg         Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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JAMES A SAMPLE & ANITA MARIE SAMPLE JT TEN         JAMES A SKEOCH CUST MELINDA A SKEOCH               JAMES A SLAGLE & BARBARA L SLAGLE TR
4450 138TH COURT WEST                              U/THE INDIANA UNIFORM GIFTS TO MINORS ACT          UA 12/06/06 JAMES A SLAGLE & BARBARA L SLAGLE
ROSEMOUNT, MN 55068-3315                           10751 SOUTH OCEAN DR A-18                          16605 W 133RD STREET
                                                   JENSEN BEACH, FL 34957-2631                        OLATHE, KS 66062



JAMES A STRATTON CUST JOHN W STRATTON              JAMES A SYVERSON & LAURIE L SYVERSON JT TEN        JAMES A TAPPEN CUST ROBERT D TAPPEN
U/THE MINN UNIFORM GIFTS TO MINORS ACT             15514 341ST AVE                                    U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
74 NEPTUNE                                         HARMONY, MN 55939-4509                             9022 HUNTER GROVE
MAHTOMEDI, MN 55115-1927                                                                              BRIGHTON, MI 48114-4938



JAMES A WADE                                       JAMES B CANN & DEBORAH L CANN TR                   JAMES B CARDWELL & JOYCE A CARDWELL TR
4094 KLEIN AVE                                     JAMES B CANN & DEBORAH L CANN TRUST UA 05/06/97    UA 08/07/91 JAMES B CARDWELL & JOYCE A CARDWELL REV
STOW, OH 44224-2727                                7806 BRISTOL                                       TR
                                                   TINLEY PARK, IL 60477-2440                         2036 S 300 WEST
                                                                                                      PERU, IN 46970-7979


JAMES B CARDWELL & JOYCE A CARDWELL TR             JAMES B FINN & BETTY M FINN TR                     JAMES B MCGLONE & ELISABETH B MCGLONE TR
UA 08/07/91 THE JAMES B CARDWELL& JOYCE ANN        JAMES B & BETTY M FINN LIVING TRUST UA 05/05/03    JAMES B & ELISABETH B MCGLONE REVOCABLE LIVING
2036 SOUTH 300 WEST                                PO BOX 185                                         12 ORCHID COURT
PERU, IN 46970-7979                                DAVISON, MI 48423-0185                             SOMERSET, NJ 08873-2939



JAMES B NOLAN & BETTY J NOLAN TR                   JAMES B ROGERS TR                                  JAMES BAILEY CUST JAMES H BAILEY
JAMES B NOLAN & BETTY J NOLAN TRUST UA 06/21/01    UA 09/03/93 JAMES B ROGERS & BARBARA A ROGERS      U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
6450 BIRCH DRIVE                                   FAMILY TRUST                                       8 VIXEN PL
HARRISON, MI 48625-9620                            PO BOX 126                                         TINTON FALLS, NJ 07753-7684
                                                   FRIDAY HARBOR, WA 98250-0126


JAMES BAILEY CUST JOHN F BAILEY                    JAMES BALLARD CUST JAMES MICHAEL BALLARD           JAMES BARCHENGER
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT       UNDER MIUNIF GITS TO MINORS ACT                    11442 200 ST
11 EMMA PL                                         158 SAVANNAH DRIVE WEST                            GLENWOOD, MN 56334-4005
EATONTOWN, NJ 07724-1901                           BEAR, DE 19701-1639



JAMES BARRETT MC DONALD CUST BARRETT J MC DONALD   JAMES BARRETT MC DONALD CUST MARIA S MC DONALD     JAMES BARRETT MC DONALD CUST MICHAEL J MC DONALD
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT
RR 2 BOX 125A-1                                    134 1/2 7TH AVE SW                                 RR 2 BOX 125A-1
RAVENSWOOD, WV 26164-9802                          S CHARLESTON, WV 25302                             RAVENSWOOD, WV 26164-9802



JAMES BISHOP JOHNSTON & FRIEDA FRITZ JOHNSTON TR   JAMES BRICKER BURNS CUST BRADLEY PATRICK BURNS     JAMES BRICKER BURNS CUST JAMES BRICKER BURNS JR
JOHNSTON REVOCABLE TRUST UA 11/06/97               A MINOR U/THE LAWS OF GEORGIA                      A MINOR U/THE LAWS OF GEORGIA
861 E 5550 S                                       1239 WINDING BRANCH CIR                            1239 WINDING BRANCH CIR
ODGEN, UT 84405-7082                               DUNWOODY, GA 30338-3935                            DUNWOODY, GA 30338-3935



JAMES C ANDERSON                                   JAMES C HOEKSEMA                                   JAMES C HOSKINSON CUST MISS NANCY JEAN HOSKINSON
531 CARPENTER RD                                   & EMMA D HOEKSEMA U/A DTD 5-4-92 HOEKSEMA LIVING   U/THE WEST VIRGINIA GIFTS TO
WHITINSVILLE, MA 01588-1345                        TRUST                                              314 SCENIC DR
                                                   935 OAKCREST LN                                    ST ALBANS, WV 25177-3446
                                                   # A3
                                                   JENISON, MI 49428-8349

JAMES C HOSKINSON CUST SUSAN LYNN HOSKINSON        JAMES C HOUSTON & RUTH L HOUSTON TR                JAMES C LAUER
U/THE W VA GIFTS TO MINORS ACT                     JAMES C & RUTH L HOUSTON REVOCABLE TRUST UA        1913 150TH ST
314 SCENIC DRIVE                                   10/16/98                                           MT PLEASANT, IA 52641-9229
ST ALBANS, WV 25177-3446                           420 TWIN LAKES NORTH
                                                   CLINTON, MS 39056-6159
                   09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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JAMES C MULLINIX & ELIZABETH G MULLINIX TR          JAMES C ROSS & MARGARET W ROSS TR                   JAMES C SMITH & KAYOLA SMITH TR
UA MULLINIX FAMILY TRUST 09/12/91                   JAMES C & MARGARET W ROSS REVOC TRUST UA 11/06/97   UA 06/13/80 JAMES C SMITH & KAYOLA SMITH
1491 SANTA CLARA DR                                 35793 HILTON                                        9159 W FLAMINGO RD #100
DUNEDIN, FL 34698-4428                              CLINTON TOWNSHIP, MI 48035-2362                     LAS VEGAS, NV 89147-6454



JAMES C STOLZ & REGINA V STOLZ TR                   JAMES C VOHWINKEL CUST JAMIE C VOHWINKEL            JAMES CHAKOS CUST MICHAEL A CHAKOS
JAMES C STOLZ & REGINA STOLZ REVOCAVLE LIVING       UNDER OH UNIF TRANSFERS TO MINORSACT                U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
1537 SOUTH DELAWARE                                 8890 WINSTON RD                                     61508 HANCOCK DR
MOUNT BETHEL, PA 18343-5230                         PICKERINGTON, OH 43147-9737                         ST HELENS, OR 97052-9144



JAMES CULBERTSON & RUTH CULBERTSON TR               JAMES D BASIL                                       JAMES D BILLINGS & SUE C BILLINGS TR
JAMES & RUTH CULBERTSON FAM TRUST UA 03/12/98       600 KLEIN RD                                        J D & S C BILLINGS LIVING TRUST UA 8/11/99
5190 AMELIA DR                                      WILLIAMSVILLE, NY 14221-2722                        501 DUNDEE ST
SAN JOSE, CA 95118-2101                                                                                 VICTORIA, TX 77904-2878



JAMES D CLARK SR & SYLVIA M CLARK TR                JAMES D ENGEL & KAY A ENGEL TR                      JAMES D GRINSTEAD
JAMES D CLARK SR TRUST UA 08/29/96                  JAMES D ENGEL & KAY A ENGEL TRUST UA 04/15/98       7106 296TH STREET
200 FAIRVIEW DR                                     7165 DURAND DRIVE                                   BRANFORD, FL 32008-2584
BERKELEY SPRINGS, WV 25411-3206                     MOORPARK, CA 93021-9789



JAMES D KRISE                                       JAMES D RICHARDS                                    JAMES D SHILLADY & DIANE M KUKURUDA & SHARON E NIETO
4273 244TH PL SE                                    & REGEANA DOLORES RICHARDS & JARRETTA D CHAFFIN     SHILLADY TRUST UA 11/19/92
ISSAQUAH, WA 98029-7547                             JT TEN                                              1263 CRYSTAL SPRINGS DRIVE
                                                    8105 SAKADEN PKWY                                   CHULA VISTA, CA 91915-2154
                                                    FORT WAYNE, IN 46825-2926


JAMES D WHITE & MARY B WHITE TR                     JAMES D WILDE & BEVERLY M WILDE TR                  JAMES DECOURSY CUST KATHRYN ANNE DECOURSY
UA 11/14/2008 JAMES & MARY WHITE FAMILY TRUST       JAMES D & BEVERLY M WILDE FAMILY TRUST UA 3/26/98   U/THE N Y UNIFORM GIFTS TO MINORS ACT
949 ROLLING HILLS DR                                S88W19476 TIMBERBROOK DR                            1708 BILLMAN LANE
LK HAVASU CTY, AZ 86406                             MUSKEGO, WI 53150-7867                              SILVER SPRING, MD 20902-1420



JAMES E BERTONCIN & MARY JANE BERTONCIN TR          JAMES E BROWN CUST MARVIN K BROWN 2ND               JAMES E BURDETTE SR & MARY R BURDETTE TR
UA 01/25/06 JAMES E BERTONCIN & MARY JANE           U/THE CAL UNIFORM GIFTS TO MINORS ACT               JAMES E BURDETTE SR REVOCABLE LIVING TRUST UA
4429 S DAVIDSON DR                                  985 RIVER BEND ROAD                                 11/09/05
INDEPENDENCE, MO 64055-6785                         REDDING, CA 96003-3712                              3313 ALICEMONT AVENUE
                                                                                                        CINCINATTI, OH 45209-1804


JAMES E CHANEY                                      JAMES E DEMPSEY JR CUST JAMES E DEMPSEY 3RD         JAMES E GIACONE
BOX 122988                                          U/THE N J UNIFORM GIFTS TO MINORS ACT               PO BOX 230683
SAN DIEGO, CA 92112-2988                            38 CREEMER ROAD                                     NEW YORK, NY 10023-0012
                                                    ARMONK, NY 10504-2402



JAMES E GRINDSTAFF                                  JAMES E HATFIELD SR CUST JAMES EDWARD HATFIELD JR   JAMES E JOHNSON & JESSIE I JOHNSON TR
7106 296TH ST                                       UNDER THE FLORIDA GIFTS TO MINORS ACT               UA 08/13/09 JOHNSON FAMILY REVOCABLE TRUST
BRANFORD, FL 32008-2584                             BOX 1506                                            33 TALMAGE DR
                                                    FT PIERCE, FL 33450                                 LITTLE ROCK, AR 72204



JAMES E KEELER & VESTA R KEELER TR                  JAMES E MAYER JR                                    JAMES E MCCRORY & VELMA P MCRORY TR
VESTA R KEELER & JAMES E KEELER TRUST UA 11/02/01   PO BOX 534119                                       JAMES E & VELMA P MCCRORY REV LIVING TRUST UA
6014 HARSIN LANE                                    HARLINGEN, TX 78553-4119                            01/11/99
INDIANAPOLIS, IN 46235-2939                                                                             508 N HIGHLAND STREET
                                                                                                        MEMPHIS, TN 38122-4524
                   09-50026-mg             Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                               Part 8 of 8 Pg 175 of 440
JAMES E OSBORN TR                                       JAMES E PHIFER JR & BEVERLY B PHIFER TR            JAMES E RAAB
UNDER THE JAMES E OSBORN DECLARATION OF TRUST           PHIFER LIVING TRUST UA 09/19/03                    2498 160TH ST
11/04/93                                                215 BLACK FOREST DR                                PO BOX 420
13381 TALL GRASS COURT                                  SPRING, TX 77388-5903                              MORLEY, MI 49336-0420
FORT MYERS, FL 33912-3821


JAMES E RATH & CHRISTINA RATH TR                        JAMES E RHEIN                                      JAMES E SCHUON & LINDA M SCHUON TR
JAMES E & CHRISTINA RATH REV LIVING TRUST UA 01/17/01   404 WEST MAIN STREET                               UA 11/13/2007 JAMES E SCHUON LIVING TRUST
04348 ST RT 18                                          JONESBOROUGH, TN 37659-1022                        5918 EAGLES WAY
HICKSVILLE, OH 43526-9734                                                                                  HASLETT, MI 48840



JAMES E SKILLMAN & DOROTHY E SKILLMAN TR                JAMES E STEVENSON & FREDA C STEVENSON TR           JAMES E SWEINHAGEN & VICKIE L SWEINHAGEN JT TEN
SKILLMAN FAMILY TRUST UA 06/28/04                       JAMES E & FREDA C STEVENSON TRUST UA 01/14/98      PO BOX 1075
3964 WOODCOVE LN                                        3083 WAGON TRAIL                                   DEFIANCE, OH 43512-1075
WILLIAMSTON, MI 48895-9107                              FLINT, MI 48507-1213



JAMES E TAYLOR                                          JAMES E TAYLOR & ANN R TAYLOR JT TEN               JAMES E WOMACK
PO BOX 520251                                           PO BOX 520251                                      & MARY MABEL WOMACK & JAMES L WOMACK & KATHRYN A
LONGWOOD, FL 32752-0251                                 LONGWOOD, FL 32752-0251                            KRISTIANSON JT TEN
                                                                                                           C/O KRISTIANSON
                                                                                                           18 RIVERVIEW DR
                                                                                                           NAUVOO, IL 62354-2007

JAMES EDWARD FRIEDHEIM                                  JAMES EDWARD PACK                                  JAMES EDWARD WALTERS & DELORES A WALTERS TR
PO BOX 721110                                           186430                                             UA 10/10/90 THE WALTERS FAMILY TRUST
HOUSTON, TX 77272-1110                                  PO BOX 740 JA 165                                  108 YANKS STATION CT
                                                        LONDON, OH 43140-0740                              ROSEVILLE, CA 95747-8074



JAMES EINEICHNER & CAROL JEAN EINEICHNER JT TEN         JAMES F CLEMENTS & RUTH G CLEMENTS TR              JAMES F FLORES & ELADIA ROSE FLORES TR
3440 WILSHIRE RD                                        CLEMENTS FAM LIVING TRUST UA 06/25/98              THE FLORES FAMILY TRUST UA 01/03/98
BROOKFIELD, WI 53045-2538                               SUGARMILL WOODS 8 GRAYTWIG CT N                    1626 SO SAINT MALO STREET
                                                        HOMOSASSA, FL 34446-4729                           WEST COVINA, CA 91790-4838



JAMES F FREDIANI & DIANE A FREDIANI TR                  JAMES F GATES TR 09/06/96 JAMES F GATES TRUST      JAMES F GERBER
UA 06/15/2009 FREDIANI LIVING TRUST                     650-112 S RANCHO SANTE FE                          20538 310TH ST
3057 MARRANO DRIVE                                      SAN MARCOS, CA 92078-3940                          LONG GROVE, IA 52756-9530
ORANGE PARK, FL 32073



JAMES F HALE JR & CUEMYLE M HALE TR                     JAMES F MICKLE & MARIANNE T MICKLE TR              JAMES F PARKER
JAMES F HALE JR & CUEMYLE M HALE TRUST UA 5/7/96        JAMES & MARIANNE MICKLE LIVING TRUST UA 04/16/04   & JAMES M PARKER & MARGARET E PARKER & LINDA C
3893 WALNUT GROVE LN                                    2775 BULLIS DR                                     DENSON JT TEN
DAYTON, OH 45440-3464                                   MARION, IA 52302-9071                              3616 WINIFRED DR
                                                                                                           FT WORTH, TX 76133-2127


JAMES F PETERSON CUST STEPHEN CLAY PETERSON             JAMES F SAVELL & NANCY SAVELL JT TEN               JAMES FRANKLIN CARTWRIGHT CUST CHARLES EDWARD CAR
U/THE ILL UNIFORM GIFTS TO MINORS ACT                   105 174TH PLACE N E                                U/THE OHIO UNIFORM GIFTS TO MINORS ACT
710 SAINT ANDREWS LN APT 15                             BELLEVUE, WA 98008-4203                            160 CHURCHILL RD
CRYSTAL LAKE, IL 60014-7032                                                                                YOUNGSTOWN, OH 44505



JAMES FRANKLIN RUSSO & GEORGIANA RUSSO TEN ENT          JAMES FREDRIC NAGEL                                JAMES G ABBEE & GILLIAN B ABBEE TR ABBEE FAMILY TRUST
PO BOX 320520                                           700-100 WINGFIELD RD                               PO BOX 341111
COCOA BEACH, FL 32932-0520                              SUSANVILLE, CA 96130-5703                          AUSTIN, TX 78734-0019
                    09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 176 of 440
JAMES G DENTON                                       JAMES G HEIKEN                                         JAMES G HENRY CUST RONALD G HENRY
1900 130TH AVENUE                                    31103243                                               U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT
HOPKINS, MI 49328-9733                               PO BOX 311                                             11 DOE RUN DR
                                                     MENDHAM, NJ 07945-0311                                 THE WOODLANDS, TX 77380-0931



JAMES G ROSS                                         JAMES G WALKER                                         JAMES G WALKER & GLORIA S WALKER JT TEN
PO BOX 750942                                        801 KLEIN ROAD                                         801 KLEIN ROAD
PETALUMA, CA 94975-0942                              WILLIAMSVILLE, NY 14221-1925                           WILLIAMSVILLE, NY 14221-1925




JAMES GERASIMEK                                      JAMES H BASSETT & MARION H BASSETT TR                  JAMES H BURGIN & SHEILA A BURGIN TR
477 WHITING RD                                       JAMES H BASSETT & MARION H BASSETT REV TRUST UA        JAMES H BURGIN LIVING TRUST UA 5/04/98
SHARPSVILLE, PA 16150-9697                           06/05/98                                               5780 SEYMOUR LAKE ROAD
                                                     9468 PRINCESS                                          OXFORD, MI 48371-4145
                                                     TAYLOR, MI 48180-3009


JAMES H BURRELL                                      JAMES H BUSHART CUST JUDITH MARIE BUSHART              JAMES H CASSIDY JR CUST JAMES H CASSIDY 3RD
PO BOX 980035                                        U/THE OKLA UNIFORM GIFTS TO MINORS ACT                 U/THE DEL UNIFORM GIFTS TO MINORS ACT
YPSILANTI, MI 48198-0035                             4068 STANFORD                                          2530 EATON RD
                                                     DALLAS, TX 75225-7005                                  WILMINGTON, DE 19810-3566



JAMES H GUNTHER JR CUST JAMES H GUNTHER 3RD          JAMES H LANDREE & JILL D LANDREE TR                    JAMES H LANE & RUTH ANN LANE TR
U/THE N J UNIFORM GIFTS TO MINORS ACT                UA 05/22/92 JAMES H LANDREE & JILL D LANDREE REV LIV   UA 06/06/94 JAMES H LANE FAMILY LIVING TRUST
1 WHISPER WAY EAST                                   13050 W BLUEMOUND RD #301                              1155 N OAK RD
LEDGEWOOD, NJ 07852-2134                             ELM GROVE, WI 53122-2650                               DAVISON, MI 48423-9148



JAMES H LANE & RUTH ANN LANE TR                      JAMES H MC INTYRE CUST JAMES CHARLES MC INTYRE         JAMES H MC INTYRE CUST MISS SHELLEY LOUISE MC INTYRE
UA 06/06/94 JAMES H LANE FAMILY LIVING TRUST         U/THE IND UNIFORM GIFTS TO MINORS ACT                  U/THE INDIANA UNIFORM GIFTS
1155 N OAK RD                                        1916 CARROLLTON ROAD                                   90 BELLEVUE AVE
DAVISON, MI 48423-9148                               ANNAPOLIS, MD 21401-6213                               MELROSE, MA 02176-3224



JAMES H MEINKE                                       JAMES H ROBB                                           JAMES H VAN WAGNER
90 CROYDON DRIVE                                     PO BOX 675550                                          2228 108TH ST
DEPEW, NY 14043-4419                                 RANCHO SANTA FE, CA 92067-5550                         BYRON CENTER, MI 49315-9107




JAMES H WERNTZ JR CUST MISS JANE ANNE WERNTZ         JAMES H WERNTZ JR CUST MISS MARY SUSAN WERNTZ          JAMES HART HEIN
UNDER THE MINNESOTA UNIFORM GIFTS TO                 UNDER THE MINNESOTA U-G-M-A                            3729 SHIRLWOOD AVE
80 ELIZA RD                                          10901 176TH CIR NE                                     MEMPHIS, TN 38122-4634
LOPEZ ISLAND, WA 98261-8106                          REDMOND, WA 98052-7218



JAMES HARTE CUST PATRICIA MARGARET HARTE             JAMES HEMPSEED & SONJA J HEMPSEED TR                   JAMES HENRY LEE & LUCILLE LEE JT TEN
U/THE N Y UNIFORM GIFTS TO MINORS ACT                JAMES & SONJA J HEMPSEED JOINT REVOCABLE TRUST         8402 175 ST
15 CAREN CT                                          08/10/04                                               HEDRICK, IA 52563
MT KISCO, NY 10549-1200                              41150 FOX RUN
                                                     APT 319
                                                     NOVI, MI 48377-5020

JAMES HOPPER PETERSON JR TR UA 10/08/96 JAMES HOPPER PETERSON
                                                     JAMES J ARBUCKLE
                                                               JR       & MICHELLE M ARBUCKLE TR            JAMES J DE COURSY CUST PATRICIA MARIE DE COURSY
PO BOX 861606                                        JAMES J & MICHELLE M ARBUCKLE REV LIVING TRUST UA      U/THE MD UNIFORM GIFTS TO MINORS ACT
WAHIAWA, HI 96786-8562                               01/13/03                                               1708 BILLMAN LANE
                                                     3619 BRUNSWICK DR                                      SILVER SPRING, MD 20902-1420
                                                     CARMEL, IN 46033-3842
                   09-50026-mg              Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                            Part 8 of 8 Pg 177 of 440
JAMES J DIVASTO & MARY L DIVASTO JT TEN              JAMES J FARLEY                                     JAMES J FLANARY & GENEVIEVE E FLANARY TR
3590 ROUNDBOTTOM RD                                  5353 207TH ST #12C                                 JAMES J FLANARY & GENEVIEVE E FLANARY TRUST UA
CINCINNATI, OH 45244-3026                            FLUSHING, NY 11364-1715                            04/10/02
                                                                                                        7343 LENNON RD
                                                                                                        SWARTZ CREEK, MI 48473-9758


JAMES J GALLAGHER & DOLORES M GALLAGHER TR           JAMES J HESSELBROCK & CAROL U HESSELBROCK TR       JAMES J HOHREIN
J & D GALLAGHER REVOCABLE TRUST UA 06/06/97          JAMES & CAROL HESSELBROCK REVOCABLE TRUST UA       206 WEST MINISTER AVE
3400 WAGNER HEIGHTS RD                               07/07/04                                           OFALLON, IL 62269-2646
STOCKTON, CA 95209-4885                              1351 CLEVELAND AVE
                                                     HAMILTON, OH 45013-1400


JAMES J KAPETAN CUST MISS PAULINE J KAPETAN          JAMES J KELLY CUST JOHN J KELLY                    JAMES J KOTLIN & ANTOINETTE G KOTLIN TR
U/THE ILL UNIFORM GIFTS TO MINORS ACT                U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT      THE KOTLIN DECL OF TRUST UA 02/18/93
5748 N ARTESIAN                                      12 DANA AVE                                        4611 CUMNOR RD
CHICAGO, IL 60659-5138                               WINCHESTER, MA 01890-1010                          DOWNERS GROVE, IL 60515-3132



JAMES J PRECZEWSKI & LORRAINE PRECZEWSKI TR          JAMES J RYSZKIEWICZ                                JAMES J SLAGA CUST MARK H SDIENKIEWICZ
UA 04/26/94 PRECZEWSKI FAMILY TRUST                  9275 GREINER RD                                    UNDER THE IN TRANSFERS TO MINORS ACT
PO BOX 952                                           CLARENCE, NY 14031-1208                            1785 BOWERS ST
PRUDENVILLE, MI 48651-0952                                                                              BIRMINGHAM, MI 48009-6886



JAMES J STOLOW & JANET R STOLOW TR                   JAMES J YOUNG CUST JAMES D YOUNG                   JAMES K ATKINSON & MARIN P ATKINSON TR
JAMES J STOLOW & JANET R STOLOW TRUST UA 01/30/04    U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       JAMES K ATKINSON & MARIN P ATKINSON TRUST
238 VENTANA DRIVE                                    PO BOX 83                                          2649 SWEETWATER TR
POINCIANA, FL 34759-3112                             CHICAGO PARK, CA 95712-0083                        COOL, CA 95614-2338



JAMES K CROSBY CUST ELIZABETH ANN CROSBY             JAMES KILROY BREINER                               JAMES L ADY & DOROTHY L ADY TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT              4660 BALSAM ST                                     JAMES L & DOROTHY L ADY REV LIVING TRUST UA 02/08/00
11368 W OLYMPIC BLVD                                 WHEAT RIDGE, CO 80033-3239                         37518 NEUKOM AVE
LOS ANGELES, CA 90064-1605                                                                              ZEPHYRHILLS, FL 33541-7697



JAMES L BETTNER & SANDRA L BETTNER TR                JAMES L BRANCH & BONNIE A BRANCH TR                JAMES L DUNCAN
JAMES L & SANDRA L BETTNER REV LIVING FAMILY TRUST   UA 03/09/89 JAMES L BRANCH & BONNIE BRANCH TRUST   10463 116TH AVE
UA 11/19/04                                          2010 SAWMILL RD                                    LARGO, FL 33773-2417
5990 NORTH COUNTY RD 550 EAST                        BATESVILLE, IN 47006-9328
PITTSBORO, IN 46167-9389


JAMES L FRIEDMAN & MARILYN FRIEDMAN TR               JAMES L HEINZE                                     JAMES L HENDRY CUST TIMOTHY J HENDRY
JAMES L & MARILYN FRIEDMAN TRUST UA 09/13/01         20406 N AUTUMN CT                                  U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
1112 OAK RIDGE DR                                    SUN CITY WEST, AZ 85375-5459                       1634 BEN ROE L
PITTSBURGH, PA 15227-1404                                                                               LOS ALTOS, CA 94024-6207



JAMES L HILL & JUDITH A HILL TR                      JAMES L JAMIESON CUST JAMES WHITMAN JAMIESON       JAMES L KIDDER
UA 03/04/2008 HILL FAMILY REVOCABLE TRUST            U/THE N Y UNIFORM GIFTS TO MINORS ACT              9173 220TH AVE
1496 NUT TREE LANE                                   79 HEMLOCK DRIVE                                   STANWOOD, MI 49346-9506
SONOMA, CA 95476                                     KILLINGWORTH, CT 06419-2225



JAMES L LAWS & DOROTHY I LAWS TR                     JAMES L MCCRYSTAL JR TR                            JAMES L MILLER CUST DONN W MILLER
UA 07/21/94 LAWS FAMILY REVOCABLE LIVING TRUST       M ERNST LIFETIME BENE TRUST UA 08/21/89 JAMES L    U/THE OHIO UNIFORM GIFTS TO MINORS ACT
2814 FAIRMONT AVE                                    MCCRYSTAL JR                                       540 ROCKWOOD ST SE
SANDUSKY, OH 44870-5912                              900 SKYLIGHT OFC TWR 1660 W 2ND                    SALEM, OR 97306-1755
                                                     CLEVELAND, OH 44113
                    09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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JAMES L MILLER CUST MICHAEL E MILLER               JAMES L PAPPAKOSTAS                                   JAMES L SEWELL
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             & MARJORIE A PAPPAKOSTAS & CHRIST L PAPPAKOSTAS JT    847-607 WEST RIVERVIEW AVE
242 E RAHN RD                                      TEN                                                   DAYTON, OH 45402
KETTERING, OH 45429-5424                           1600 SERENO DRIVE
                                                   VALLEJO, CA 94589


JAMES L SPALETTA CUST ERNEST D SPALETTA            JAMES L SPALETTA CUST JAMES L SPALETTA JR             JAMES L STRONG JR
U/THE CAL UNIFORM GIFTS TO MINORS ACT              U/THE CAL UNIFORM GIFTS TO MINORS ACT                 10524 238TH AVENUE E CT
2200 SIR FRANCIS DRAKE BLVD                        PO BOX 506                                            BUCKLEY, WA 98321-8406
POINT REYES, CA 94956                              VALLEYFORD, CA 94972-0506



JAMES L SURFACE & SANDRA J SURFACE TR              JAMES L TROUP                                         JAMES L WILSON & BETTY WILSON TR
UA 12/12/2007 JAMES L SURFACE & SANDRA J SURFACE   P O BX167 402 W FULTO                                 JAMES L & BETTY WILSON REV LIVING TRUST UA 06/03/99
9154 EAST 450 SOUTH                                PERRINTON, MI 48871-0167                              6930 CRANWOOD
WALTON, IN 46994                                                                                         FLINT, MI 48505



JAMES L WRAY                                       JAMES LAWSON                                          JAMES LOUIS DENNIS & MARY FRANCES DENNIS TR
48405 197TH AVE                                    1316 110TH ST                                         DENNIS FAM TRUST UA 03/06/97
MCGREGOR, MN 55760-4457                            OLIN, IA 52320-9712                                   4545 DANDRIDGE
                                                                                                         CORPUS CHRISTI, TX 78413-5093



JAMES LOUIS GOLDSTEIN                              JAMES M BEAHAN & HELEN M BEAHAN TR                    JAMES M BRENNAN
2615 STONE MOUNTAIN COURT                          JAMES & HELEN BEAHAN REV TRUST UA 06/05/00            1946 TREBEIN RD
HENDON, VA 20170-2883                              121 W PINE                                            XENIA, OH 45385-9515
                                                   CARSON CITY, MI 48811-9584



JAMES M BURNS & DELPHINE M BURNS TR                JAMES M CHAMBERLAIN & PHYLLIS J CHAMBERLAIN TR        JAMES M ELLSWORTH GLORIA J ELLSWORTH TOD NAME ON F
JAMES M & DELPHINE M BURNS TRUST UA 08/01/97       JAMES & PHYLLISCHAMBERLAIN LIVING TRUST UA 12/16/99   BOX 5294
2359 S 8TH AVE                                     5906 N STATE RTE 123                                  NORTHVILLE, MI 48167
NORTH RIVERSIDE, IL 60546-1103                     FRANKLIN, OH 45005-4634



JAMES M HEINRICH                                   JAMES M HUMPHREY CUST MICHELLE ELAINE HUMPHREY        JAMES M LANDIS & BARBARA L LANDIS TR
261 COLE DR                                        U/THE IND UNIFORM GIFTS TO MINORS ACT                 UA 12/01/2008 JAMES L LANDIS & BARBARA L LANDIS
FAIRFIELD, OH 45014-1505                           1324 N SHORTRIDGE RD                                  52070 HONEYSUCKLE DR
                                                   INDANAPOLIS, IN 46219-3738                            SHELBY TWP, MI 48316



JAMES M LEBSTER CUST GREGG E LEBSTER               JAMES M MILLS                                         JAMES M STEINERT
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         5313-413 LINWELL RD                                   1004 KENTUCKY AVE
1791 WATERMARK DR SE                               ST CATHARINES ON                                      MONROE, MI 48161-1145
GRAND RAPIDS, MI 49546-6492                        L2M 7Y2 CANADA



JAMES M WENTWORTH CUST JULIE L WENTWORTH           JAMES M WENTWORTH CUST SUSAN R WENTWORTH              JAMES MATHEW BJOSTAD
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT            U/THE TEXAS UNIFORM GIFTS TO MINORS ACT               9617 171ST ST W
33 HIGHVIEW TERRACE                                33 HIGHVIEW TERRACE                                   LAKEVILLE, MN 55044-6805
BELFAST, ME 04915-7120                             BELFAST, ME 04915-7120



JAMES MELLEIN                                      JAMES MITCHELL                                        JAMES N DONALDSON
1205 LUGUNA DRIVE                                  165 159TH AVE SE                                      300 STEINER ST
HURON, OH 44839-2608                               BELLEVUE, WA 98008-4617                               FAIRFIELD, CT 06432-2461
                   09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                         Part 8 of 8 Pg 179 of 440
JAMES N HALLSTEIN                                 JAMES N KLEIN                                          JAMES O HILLS & PEGGY W HILLS TR
28538 STRINGTOWN RD                               68 HILLTOP CT                                          JAMES & PEGGY HILLS REVOCABLE TRUST UA 6/13/02
MINIER, IL 61759-9322                             WEST SENECA, NY 14224-4210                             8114 BETHEL RD
                                                                                                         SEAFORD, DE 19973-3064



JAMES O PEREZ & CARMEN M PEREZ TR                 JAMES OLIVER OLSON & FON GLYN OLSON & KRISTINA KAY OLSON
                                                                                                       JAMESTRP BARTON CUST MISS NANCY A BARTON
JAMES O & CARMEN M PEREZ TRUST UA 12/16/94        UA OLSON FAMILY TRUST 05/07/92                       U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
1415 SHADOW LN                                    229 TRAIL OF THE FLOWERS                             533 RIPPLE RD
FULLERTON, CA 92831-1819                          GEORGETOWN, TX 78628-4847                            INDIANAPOLIS, IN 46208-2535



JAMES P CARMODY                                   JAMES P EISENSTEIN                                     JAMES P FERRON
8949 215TH PL                                     1852 MONTEREY RD                                       4716 KLEIN RD
QUEENS VILLAGE, NY 11427-2424                     S PASADENA, CA 91030-3955                              FILLMORE, NY 14735-8796




JAMES P GARRITY & MARY LOU GARRITY JT TEN         JAMES P GARRITY & MRS MARY LOU GARRITY TEN ENT         JAMES P HENSLEY
206 MITINGER AVE                                  206 MITINGER AVE                                       3882 REINWOOD DR
GREENSBURG, PA 15601-1950                         GREENSBURG, PA 15601-1950                              DAYTON, OH 45414-2446




JAMES P SIEFERT CUST JAMES P SIEFERT 2ND          JAMES P SIEFERT CUST TOD W SIEFERT                     JAMES P TOWNSEND TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 JAMES PERRY & REBA BERRY TOWNSEND FAMILY TRUST
4295 WAYBOURN ROAD                                5077 GRASSLAND DR                                      UA 10/12/91
COLUMBUS, OH 43220-4373                           DUBLIN, OH 43016-4318                                  19792 WATERVIEW LN
                                                                                                         HUNTINGTON BH, CA 92648-3048


JAMES PARRINO CUST DAVID PARRINO                  JAMES PAUL KREINDLER                                   JAMES R BRANTNER & JOAN M BRANTNER TR
UNDER THE CA UNIFORM TRANSFERSTO MINORS ACT       189 HARDSCRABBLE RD                                    JAMES R BRANTNER & JOAN M BRANTNER FAM TRUST UA
1281 S YNEZ AVE                                   BRIARCLIFF, NY 10510-1913                              12/10/99
MONTEREY PARK, CA 91754-4807                                                                             424 W 130TH STREET
                                                                                                         BRUNSWICK, OH 44212-2310


JAMES R COFFEY CUST JAMES R COFFEY JR             JAMES R CRABTREE & MARILYN J CRABTREE TR               JAMES R HARTT CUST CHRISTOPHER JOHN HARTT
U/THE CALIF UNIFORM GIFTS TO MINORS ACT           UA 10/06/93 THE JAMES CRABTREE REVOCABLE LIVING        U/THE CAL UNIFORM GIFTS TO MINORS ACT
3377 WILIAMS ST                                   TRUST                                                  751 S EUCLID AVE
EUREKA, CA 95503-5242                             6543 PINE VALLEY DR                                    PASADENA, CA 91106-3734
                                                  SANTA ROSA, CA 95409-5888


JAMES R HAWKINS CUST GEORGE PHILIP HAWKINS        JAMES R HEAD                                           JAMES R HUNTER & ANNA E HUNTER TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            PO BOX 200353                                          JAMES & ANNA HUNTER LIVING TRUSTUA 4/06/01
9501 NATCHEZ TRL CT                               CARTERSVILLE, GA 30120-9006                            22360 KARAM CT
MANASSAS PARK, VA 20110-6601                                                                             WARREN, MI 48091-2539



JAMES R JOHNSON & RUTH ANN JOHNSON TR             JAMES R KILLEWALD TR UA 04/22/1991 JAMES R KILLEWALD   JAMES R LINDSEY & JUNE B LINDSEY TR
UA 04/05/2007 JAMES R AND RUTH ANN JOHNSON        & ANNA J KILLEWALD REVOCABLE LIVING TRUST              JAMES R LINDSEY FAMILY TRUST UA 4/4/01
24837 NEWTON ST                                   41320 WINDSOR COURT                                    2408 TIFT AVE N
DEARBORN, MI 48124                                NORTHVILLE, MI 48167                                   TIFTON, GA 31794-1825



JAMES R MANOR                                     JAMES R MC ELROY & NORMA J MC ELROY TR                 JAMES R MCLEOD & OCTAVIA J MCLEOD TR
& BEVERLY MANOR & JAMES R MANOR JR & CLAIRE C     JAMES R MC ELROY & NORMA J MC ELROY LIVING TRUST       UA 12/11/2008 BRIGHTSTONE 2008 TRUST
ALLEN JT TEN                                      UA 1/11/94                                             PO BOX 696
2955 EAST BOOTH ROAD                              837 YOUNG ST                                           YOUNGTOWN, AZ 85363
AU GRES, MI 48703-9533                            PIQUA, OH 45356-3234
                    09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                               Part 8 of 8 Pg 180 of 440
JAMES R MITCHELL                                        JAMES R PHILPOTT TR MARGARET E PHILPOTT DAY IRREVOCABLE
                                                                                                            JAMES
                                                                                                                GRAND
                                                                                                                   R REITER CUST GREGORY JAMES REITER
PO BOX 682164                                           CHILDREN'S 2003 TRUST UA 03/11/03                   UNDER THEMISSOURI UNIFORM GIFTS TO MINORS LAW
FRANKLIN, TN 37068-2164                                 244 PARK STREET                                     16735 HICKORY CREST DR
                                                        JACKSONVILLE, IL 62350                              BALLWIN, MO 63011-5507



JAMES R REITER CUST MICHAEL ANDREW REITER               JAMES R SIMS & MARJORIE B SIMS TR                    JAMES R SPETH & WANDA MORRIS SPETH TR
UNDER THE MISSOURI UNIFORM GIFTS TO                     JAMES R SIMS & MARJORIE B SIMS REVOCABLE             JAMES R SPETH & WANDA MORRIS SPETH REV TRUST UA
15026 RIDGE LAKE DR                                     1321 PARK BAYOU DR                                   12/17/02
CHESTERFIELD, MO 63017-7653                             APT C315                                             2581 WOODSON AVE
                                                        HOUSTON, TX 77077-1475                               HENDERSON, NV 89052-6489


JAMES R TOULOUSE CUST MARY TOULOUSE                     JAMES R WARREN JR CUST SUSAN KIMBERLY WARREN         JAMES R WHEELER & WANDA S WHEELER JT TEN
U/THE N M UNIFORM GIFTS TO MINORS ACT                   A MINOR UNDER THE LAWS OF VIRGINIA                   7051 STEINMEIER DRIVE
1712 MORNINGRISE SE                                     ATTN SUSAN K GRAVELY                                 INDIANAPOLIS, IN 46220-3953
ALBUQUERQUE, NM 87108-4417                              3912 REDFISH COURT
                                                        PALMETTO, FL 34221-5620


JAMES RUSSELL BURNS & MRS STEPHANIE SUE BURNS TR        JAMES RUSSELL BURNS & STEPHANIE SUE BURNS TR         JAMES S CLINE CUST CHARLES CLINE
THE REVOCABLE LIVING TRUST UA 08/29/79                  UA 08/29/79 J R BURNS & S S BURNS LIV TR             U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
1609 TANAGER CT                                         1609 TANAGER COURT                                   15410 DEERHORN ROAD D
TEMPLETON, CA 93465-9781                                TEMPLETON, CA 93465-9781                             SHERMAN OAKS, CA 91403-4307



JAMES S CLINE CUST GARY E CLINE                         JAMES S CLINE CUST MARY JANIS CLINE                  JAMES S CLINE CUST MATTHEW CLINE
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT            U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
3577 SOUTHRIDGE DR                                      1577 CALLE AURORA                                    24737 ARNOLD DRIVE
SANTA ROSA, CA 95403-0924                               CAMARILLO, CA 93010-8416                             SONOMA, CA 95476-9216



JAMES S RADNEY & DEBRA R KANE TR                        JAMES S VINCENT & CATHERINE J VINCENT TR             JAMES SCHEIMAN CUST JEFFREY ALAN SCHEIMAN
UA 01/05/1996 RESTATED 03/23/2005 RADNEY LIVING TRUST   VINCENT LIVING TRUST UA 4/18/00                      U/THE VA UNIFORM GIFTS TO MINORS ACT
1010 AMERICAN EAGLE BLVD APT 205                        3103 SCHOOLHOUSE RD                                  11273 MAGNOLIA PL
SUN CITY CTR, FL 33573                                  WATERFORD, MI 48329-4328                             SMITHFIELD, VA 23430-5743



JAMES SCHEIMAN CUST JEROME J SCHEIMAN                   JAMES SCOTT WARNE TR                                 JAMES SIMPSON JR
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT              JAMES SCOTT WARNE REVOCABLE LIVING TRUST UA          PO BOX 420329
320 WEST 7TH STREET                                     08/12/03                                             PONTIAC, MI 48342-0329
JACKSONVILLE, FL 32206-4327                             3600 WYOMING ST APT 1
                                                        KANSAS CITY, MO 64111


JAMES T FOWLER & JEAN L FOWLER TR                       JAMES T KING & BARBARA H KING TR                     JAMES T KRIZ
UA 05/11/1995 JAMES T FOWLER & JEAN L FOWLER            JAMES T & BARBARA H KING TRUST UA 08/13/02           PO BOX 320268
28061 CUMBERLAND ROAD                                   1178 CHILLEM DR                                      FLINT, MI 48532-0005
TEHACHAPI, CA 93561                                     BATAVIA, IL 60510-3309



JAMES T REED                                            JAMES T RICHETTS & SANDRA J RICHETTS TR              JAMES T SCHULER JR & MARY L SCHULER TR
PO BOX 438008                                           UA 03/03/97 RICHETTS FAMILY TRUST                    JAMES T SCHULER LIVING TRUST UA 09/27/99
CHICAGO, IL 60643-8008                                  709 VIOLETA DR                                       13455 STATE ROAD 38 E
                                                        ALHAMBRA, CA 91801-5326                              NOBLESVILLE, IN 46060



JAMES T SHEARON & MARK S SHEARON TR                     JAMES T TAMANAHA & ALVIN TAMANAHA TR                 JAMES T TEFF
MARY S SHEARON FAMILY TRUST UA 8/3/00                   UA 12/15/04 AMENDED 12/25/07 TAMANAHA FAMILY TRUST   11045 170TH ST W
4815 SCOTNEY CT                                         1559 SONOMA AVE                                      LAKEVILLE, MN 55044-5573
SUWANEE, GA 30024                                       ALBANY, CA 94706
                    09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                           Part 8 of 8 Pg 181 of 440
JAMES TAPPEN CUST FRANK J TAPPEN                    JAMES TOLSON JR                                       JAMES V FARCHIONE JR & ANITA R FARCHIONE TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          PO BOX 270192                                         JAMES V FARCHIONE JR & ANITA R FARCHIONE TRUST UA
4053 ROLLING ACRES DR                               KANSAS CITY, MO 64127-0192                            12/09/04
HARTLAND, MI 48353                                                                                        15024 COVENTRY
                                                                                                          SOUTHGATE, MI 48195-2362


JAMES V FINNELL & JACK W FINNELL TR                 JAMES V FINNELL & JACK W FINNELL TR                   JAMES V GENOVESE
JOSEPH AND JOAN S FINNELL TRUST UA 4/16/97          JOSEPH J FINNELL & JOAN S FINNELL TRUST UA 04/16/97   1A BUCKSKIN CT
254 WARREN AVE                                      254 WARREN AVENUE                                     WHITING, NJ 08759-1807
ROCHESTER, NY 14618-4316                            ROCHESTER, NY 14618-4316



JAMES V NICOSIA & GILDA NICOSIA TR                  JAMES W BAXTER CUST CINDI BAXTER                      JAMES W CRAWFORD & SHIRLEY L CRAWFORD TR
JAMES V & GILDA NICOSIA LIVING TRUST UA 05/19/97    U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT            UA 04/11/69 CRAWFORD FAMILY TRUST
6126 BLACKWALL                                      207 S GOVERNORS AVE                                   14698 THEBES ST
TROY, MI 48098-1882                                 DOVER, DE 19904-6703                                  SAN DIEGO, CA 92129-1630



JAMES W DARROCH                                     JAMES W DUBAY                                         JAMES W FELDHOUSE & MARGE A FELDHOUSE TR
& WILLIAM J DARROCH & THOMAS R DARROCH & JANICE M   2116 REINHARDT                                        UA 12/9/00 THE FELDHOUSE FAMILY REVOCABLE LIVING
DARROCH &                                           SAGINAW, MI 48604-2432                                TRUST
39353 CHANTILLY DR                                                                                        2218 BERRYWOOD DR
STERLING HEIGHTS, MI 48313-5113                                                                           AKRON, OH 44333-2702


JAMES W FLECKENSTEIN II                             JAMES W FLOWER & RUTH B FLOWER TR                     JAMES W HARPER TR
10490 STORYBOOK DRIVE                               JAMES W & RUTH B FLOWER TRUST UA 09/20/93             UA 12/09/88 RALPH S HARPER & GENEVIEVE G HARPER
CINCINNATI, OH 45242-4943                           95 FLOWER PL                                          IRREVOCABLE TRUST
                                                    POTTSVILLE, AR 72858-8912                             7311 EAST RIVER RD
                                                                                                          RUSH, NY 14543-9747


JAMES W HARPER TR                                   JAMES W HARRIS & NANCY E HARRIS TR                    JAMES W HARVEY & NANCY LOU HARVEY TR
UA 12/09/88 RALPH S HARPER & GENEVIEVE G HARPER     JAMES W HARRIS & NANCY E HARRIS REV LIVING TRUST UA   UA 01/15/92 JAMES W & NANCY LOU HARVEY
IRREVOCABLE TRUST                                   06/06/00                                              950 VIA LOS PADRES
7311 EAST RIVER RD                                  395 S 500 E MARION                                    SANTA BARBARA, CA 93111-1326
RUSH, NY 14543-9747                                 MARION, IN 46953-9758


JAMES W HOBZEK                                      JAMES W JETER & JERRI L JETER TR                      JAMES W JORDAN & KATHLEEN A JORDAN TR
PO BOX 361753                                       JAMES W & JERRI L JETER TRUST UA 09/11/00             JAMES W & KATHLEEN A JORDAN INTER VIVOS TRUST UA
STRONGSVILLE, OH 44136-0030                         1424 PAKE AVE                                         08/29/94
                                                    MIDWEST CITY, OK 73130                                4200 S AIRPORT
                                                                                                          BRIDGEPORT, MI 48722-9585


JAMES W REESE & JOY J REESE JT TEN                  JAMES W SHIVLEY & CAROLYN L SHIVLEY TR                JAMES W TRUITT & MARY ELLEN MONEYMAKER & ELIZABETH T
1681 116TH CT                                       UA 02/17/92 SHIVLEY FAMILY TRUST                      UW LILLIAN ESTHER TRUITT
DENVER, CO 80234-2611                               PO BOX 360                                            204 S UNIVERSITY AVE
                                                    RESCUE, CA 95672-0360                                 FEDERALSBURG, MD 21632-1235



JAMES W WILLIAMS                                    JAMES WILBUR GUMP & MARGARET V GUMP TR                JAMES WILLIAM FUSON
118 157TH ST                                        GUMP FAMILY LIVING TRUST UA 09/19/01                  1359 260TH ST
CALUMET CITY, IL 60409-4804                         1121 OAKRIDGE DR                                      LETTS, IA 52754-9528
                                                    PITTSBURGH, PA 15227-1403



JAMES WILLIAMSON JR CUST J SCOTT WILLIAMSON         JAN C BORDEN                                          JAN KIEHNE
U/THE OHIO UNIFORM GIFTS TO MINORS ACT              PO BOX 760101                                         WIESENSTRASSE 8 A
4595 W SPRING CREEK PKWY                            LATHRUP VILLAGE, MI 48076-0101                        61462 KOENIGSTEIN
APT 3421                                                                                                  GERMANY
PLANO, TX 75024-5248
                     09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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JAN KRZOK                                         JAN M SIMS & DAN E MITCHELL TR                       JANA A KIRLIN & PRICILLA R KIRLIN TR
PO BOX 431863                                     UW CHARLIE MITCHELL TRUST FBO GILDA E MITCHELL       CAPITAL MANAGEMENT TRUST UA 09/27/85 JANA A KIRLIN
PONTIAC, MI 48343-1863                            3241 BITTEL ST                                       76 MERRIWEATHER ROAD
                                                  OWENSBORO, KY 42301-9464                             GROSSE POINTE FARM, MI 48236-3623



JANA B SMITH CUST HILARY ELIZABETH SMITH          JANE A BORCHERT CUST JAMES E BORCHERT JR             JANE A VANYO
UNDER MO TRANSFERS TO MINORS LAW                  U/THE WISC UNIFORM GIFTS TO MINORS ACT               2354 151ST LN NW
1008 N SPOEDE RD                                  1242 CAMROSE STREET                                  ANDOVER, MN 55304-4587
SAINT LOUIS, MO 63146-5552                        FORT COLLINS, CO 80525-2831



JANE ABEEL THOMSON & STEVEN W THOMSON TR          JANE BARCEWICZ & REGINA BARCEWICZ & SOPHIE BARCEWICZJANE
                                                                                                       TR C SMITH & RICHARD C SMITH TR
THOMSON TRUST U-AGRMT 02/13/84                    JANE BARCEWICZ LIVING TRUST UA 02/14/03             SMITH FAMILY REVOCABLE LIVING TRUST 04/07/06
9030 UPPER VALLEY RD                              5243 SAFFRON DR                                     205 N COLONIAL DRIVE
AUBURN, CA 95602-9260                             TROY, MI 48085-6708                                 CORTLAND, OH 44410-1107



JANE CARROLL CUST MARK CARROLL                    JANE CARROLL CUST MICHAEL CARROLL                    JANE CLAIRE RITTENMEYER CUST PHILIP DEAN RITTENMEYER
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT         U/THE INDIANA UNIFORM GIFTS TO MINORS ACT            U/THE CAL UNIFORM GIFTS TO MINORS ACT
205 TROTWOOD DRIVE                                173 WHITE STREET                                     614 VIVIAN DR
PITTSBURGH, PA 15241-2227                         SHREWSBURY, NJ 07702-4452                            LIVERMORE, CA 94550-8121



JANE D F CODMAN & RUSSELL S CODMAN JR TR          JANE D STEINER                                       JANE E REGISTER & RODERICK A REGISTER TR
RUSSELL S CODMAN JR TR U/DEC OF TR                312 WEST VIEW                                        UA 03/06/2007 REGISTER LIVING TRUST
PO BOX 1558                                       HUBBARD, OH 44425-1965                               7660 E VIA DONA RD
MANCHESTER BY THE, MA 01944-0863                                                                       SCOTTSDALE, AZ 85266



JANE H ROSS & RAYMOND F ROSS TR                   JANE HAYWARD WRIGHT TR                               JANE HELEN FLEISCHBEIN
JANE H ROSS REVOCABLE TRUST UA 11/06/00           UA 02/10/2009 JANE HAYWARD WRIGHT REVOCABLE          PO BOX 2133
635 SCHOONER ST                                   DECLARATION TRUST                                    LEBANON, OR 97355-0915
VENICE, FL 34287-6520                             2401 BRANSFORD DR
                                                  RICHMOND, VA 23228


JANE K KEPPLE                                     JANE L NEUSCHWANDER & KENNETH M NEUSCHWANDER JT TEN
                                                                                                    JANE
                                                                                                      TODL REINSMA
                                                                                                           KATHY J
9539 120TH N LANE                                 JOHNSON SUBJECT TO STA TOD RULES                  PO BOX 593
SEMINOLE, FL 33772                                1040 S DAVIS BLVD                                 DOWAGIAC, MI 49047-0593
                                                  BOUNTIFUL, UT 84010-2016



JANE L RIDDELL CUST MARY F RIDDELL                JANE LEE GUION & JOHN MICHAEL GUION TR               JANE R GOODMAN CUST DAVID STEVEN GOODMAN
U/THE COLORADO UNIFORM GIFTS TO MINORS ACT        JANE LEE GUION REVOCABLE TRUST UA 11/11/94           U/THE PA UNIFORM GIFTS TO MINORS ACT
8442 SPRINGFIELD OAKS DR                          2802 WESTLAKE DR                                     R D 2 FISH HATCHERY
SPRINGFIELD, VA 22153-3567                        EMPORIA, KS 66801-5934                               ALLENTOWN, PA 18103-9801



JANE RUBENSTEIN CUST EMILY RUBENSTEIN UTMA IL     JANE S LLOYD & LOUIS R LLOYD TR                      JANE SMITH STEINBERG
7 TANOITO                                         UNDER THE JANE S LLOYD LIVING TRUST 11/17/89         411 KNOLLWOOD AVE
SANTA FE, NM 87506-7551                           19 FAYETTE RD                                        SALISBURY, NC 28144-7598
                                                  BEDFORD, MA 01730



JANE TONDETTAR                                    JANELL M ROBINSON                                    JANET A KLEINO
11 NORTH CHESTNUT AVE                             BOX 196-1255 TURNER PL                               1140 NW 106TH AVE
WHITING, NJ 08759-2316                            WILBERFORCE, OH 45384-0196                           PLANTATION, FL 33322-7816
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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JANET ARDITTI GOLDSTEIN                               JANET C BARNES & CAROLINE C HOWENSTINE TR             JANET E MITCHELL & CYNTHIA J KOPPRASCH TR
7 THE COMMONS                                         THE JANET C BARNES FAMILY TR UA 05/07/71              ADELAIDE G ACHTMEYER IRREVOCABLE TRUST UA 7/15/02
COLD SPG HBR, NY 11724-2422                           3245 DORSETT LANE                                     2036 HARDSCRABBLE DRIVE
                                                      YORK, PA 17402-4105                                   BOULDER, CO 80305-7137



JANET ELIZABETH LINNELL                               JANET G DUNFORD & DOUGLAS W DUNFORD TR                JANET G HEINICKE CUST ADAM ROBERT EDWARD CLERC UTM
PO BOX 190687                                         DUNFORD FAMILY REVOCABLE TRUST UA 05/07/04            54655 HOLLY DRIVE
ANCHORAGE, AK 99519-0687                              4003 SW 22 DR                                         ELKHART, IN 46514-4428
                                                      GRESHAM, OR 97080-8380



JANET G HEINICKE CUST ELIZABETH KATHRYN FELTNER UTMA JANET
                                                     MI     G HEINICKE CUST ERICA CHRISTINE CLERC UTMA IN   JANET G HEINICKE CUST GAIL MICHELLE FELTNER UTMA MI
2610 FERNCLIFF                                       54655 HOLLY DRIVE                                      2610 FERNCLIFF
ROYAL OAK, MI 48073-4604                             ELKHART, IN 46514-4428                                 ROYAL OAK, MI 48073-4604




JANET G HEINICKE CUST JENNIFER LOUISE BECKLEY UTMA MI JANET G HEINICKE CUST NICOLE LYNN HEINICKE UTMA AZ    JANET G HEINICKE CUST RACHAEL CHRISTEN BECKLEY UTMA
466 BOYNE                                             7321 WEST PLANADA LANE                                466 BOYNE
NEW HUDSON, MI 48165-9783                             GLENDALE, AZ 85310-5891                               NEW HUDSON, MI 48165-9783




JANET G HEINICKE CUST SARAH KATHERYN HEINICKE UTMA AZJANET G HEINICKE CUST STEPHEN ROBERT HEINICKE UTMA MIJANET G STEINMAN & ROBERT E STEINMAN JT TEN
7321 WEST PLANADA LANE                               831 N PONTIAC TRAIL LOT 133                          1717 NORFOLK AV
GLENDALE, AZ 85310-5891                              WALLED LAKE, MI 48390-3212                           APT B
                                                                                                          LUBBOCK, TX 79416-6035



JANET G YOSHONIS TR                                   JANET HANSEN                                          JANET HOURIGAN & JAMES L BURNSIDE & THOMAS P BURNSID
JANET G YOSHONIS REVOCABLE LIVING TRUST UA 11/08/91   1371 490 AVENUE                                       JANET HOURIGAN LIVING TRUST UA 3/17/04
6667 SCENIC SHORES                                    DOLLIVER, IA 50531-7512                               72 PRESIDIO PL
PO BOX 285                                                                                                  PALM DESERT, CA 92260-0317
MACATAWA, MI 49434-0285


JANET J REINKING                                      JANET L BURGESS                                       JANET LEE JENSEN TR
3330 RAINDROP DR                                      5658 N CALLE DE LA REINA                              UNDER REVOCABLE TRUST AGREEMENT 05/30/80 JANET
COLORADO SPRINGS, CO 80917-3210                       TUCSON, AZ 85718-4479                                 LEE JENSEN TRUST
                                                                                                            15389 FISH LAKE RD
                                                                                                            HOLLY, MI 48442-8343


JANET LINDA WEINTRAUB                                 JANET LYNN HILLERMAN GDN EST LYNNETT MARIE HILLERMANJANET M STEIN & BRET M STEIN JT TEN
441 ROBINWOOD                                         & SCOTT M HILLERMAN                                 5107 N WALL ST
LOS ANGELES, CA 90049-2327                            11065 HICKORY LN                                    SPOKANE, WA 99205-5260
                                                      CLIO, MI 48420-2414



JANET M STEINBACH                                     JANET M WILLIAMS & DONALD J HORTTOR TR                JANET S ESENWEIN
425 BURNLEY CIRCLE                                    JACK H WILLIAMS TRUST UA 03/17/82                     250 WELTON WAY
SCHAUMBURG, IL 60193-1778                             PO BOX 531                                            MOORESVILLE, NC 28117
                                                      TOPEKA, KS 66601-0531



JANET S LEININGER                                     JANET STAAB MEINHOLD                                  JANET SYKORA
BOX 463                                               4230 GRINNELL AVE                                     30762 426TH AVE
GALVESTON, IN 46932-0463                              BOULDER, CO 80303-6609                                TABOR, SD 57063-6129
                    09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
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JANET T TAVRELL & BARRY BISHOP TR                    JANET TAYLOR COTTER & RICHARD A COTTER TR            JANET V KONEFAL
JANET T TAVRELL FAMILY TRUST UA 09/17/96             RICHARD & JANET COTTER TRUST UA 12/30/04             PO BOX 402889
1701 GILBERT DR                                      111 LAS VEGAS                                        MIAMI, FL 33140-0889
MAYFIELD HIEGHTS, OH 44124-3109                      ORINDA, CA 94563-1920



JANETTE JEAN LOW CUST MORRISON K LOW                 JANICE E RUSSILLO & MICHAEL P RUSSILLI TR            JANICE E SKAIO
A MINOR U/THE CALIF GIFTS OF SEC TO MINORS ACT       RUSSILLO FAMILY REVOCABLE TRUST UA 10/28/97          13993 152ND AVE
PO BOX 3588                                          12503 GREENWOOD AVE N                                GRAND HAVEN, MI 49417-8956
WALNUT CREEK, CA 94598-0588                          APT E210
                                                     SEATTLE, WA 98133-8070


JANICE FEROLA CUST DAVID FEROLA                      JANICE FEROLA CUST JOEL FEROLA                       JANICE HABERLEIN EX EST DORIS CARSON HIGBIE
A MINOR U/SEC 2918-D 55 SUP TO THE GEN STATUTES OF   A MINOR U/SEC 2918-D 55 SUP TO THE GEN STATUTES OF   2 FISK CIRCLE
CONN                                                 CONN                                                 ANNAPOLIS, MD 21401
5 BUNKER HILL RD                                     5 BUNKER HILL RD
COLLINSVILLE, CT 06019-3712                          COLLINSVILLE, CT 06019-3712


JANICE J BREINER                                     JANICE L BALDWIN                                     JANICE LUCILLE BURCH & DAWN SUZETTE JANETZKE TR
3805 GINGER CREEK DR                                 PO VBOX 571213                                       JANICE LUCILLE BURCH TRUST 1 UA 10/26/05
SPRINGFIELD, IL 62707-7243                           DALLAS, TX 75357-1213                                2715 FIELDING DR
                                                                                                          LANSING, MI 48911-2328



JANICE M KAY & DANIEL T SMALE TR                     JANICE MERLO CALL                                    JANICE MERLO CALL & THOMAS WRAY CALL JR CUST ALLISON
SMALE CHILDREN'S FAMILY TRUST UA 10/09/97            & THOMAS WRAY CALL JR CUST MICHAEL THOMAS CALL       UNDER VAU-T-M-A
227 CLOVERLY RD                                      UTMA VA                                              8125 VIOLA ST
GROSSE POINTE, MI 48236-3316                         8125 VIOLA ST                                        SPRINGFIELD, VA 22152-3627
                                                     SPRINGFIELD, VA 22152-3627


JANICE R DRAKE                                       JANICE SCHILLE                                       JANICE SMITH MORLOCK CUST PAMELA ANN MORLOCK
5590 EINOR AVE                                       1300 170TH PL SW                                     U/THE OHIO UNIFORM GIFTS TO MINORS ACT
ROCKFORD, IL 61108-6637                              LYNNWOOD, WA 98037-3343                              1133 MISSION RIDGE CT
                                                                                                          ORLANDO, FL 32835-5755



JANICE W SABATELLI TR                                JANICE WINGATE                                       JANIE I SHEARER
NICHOLAS M & JANICE W SABATELLI LIVING TRUST UA      2120-206 TROON OVERLOOK                              7294 101ST ST
11/17/93                                             WOODSTOCK, MD 21163                                  FLUSHING, MI 48433-8705
5230 GLADYS
BEAUMONT, TX 77706-4402


JANIS C BIALKO-BROWN                                 JANN WOODBURN                                        JANNIE M PAGE
11131 169TH AVE SE                                   BOX 420433                                           PO BOX 430742
RENTON, WA 98059-5921                                SUMMERLAND KEY, FL 33042-0433                        PONTIAC, MI 48343-0742




JAROLD R LEIN & PAULETTE M LEIN JT TEN               JARRELL L SMITH                                      JARVIS R EVERETT & NANCY S EVERETT TR
7094 DANBROOKE                                       PO BOX 923386                                        EVERETT REVOCABLE LIVING TRUST UA 07/26/05
W BLOOMFIELD, MI 48322-2951                          NORCROSS, GA 30010-3386                              5057 EASTERN PINES ROAD
                                                                                                          GREENVILLE, NC 27858



JASETTE H WRIGHT                                     JASMINA DIMITRIJEVIC                                 JASON BRODIE CUST BRYNA J BRODIE
PO BOX 251984                                        610-3120 MEADOWBROOK LANE                            U/THE MASS UNIFORM GIFTS TO MINORS ACT
W BLOOMFIELD, MI 48325-1984                          WINDSOR ON                                           105 DAHLIA DR
                                                     N8T 3M9 CANADA                                       WAYLAND, MA 01778-2829
                     09-50026-mg         Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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JASON BRODIE CUST RUSSELL I BRODIE              JASON C YUEN CUST RUSSELL S YUEN                   JASON EPSTEIN
U/THE MASS UNIFORM GIFTS TO MINORS ACT          U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       18 LOCUST RD
105 DAHLIA DR                                   1020 PACIFIC AVE                                   GREENWICH, CT 06831-2544
WAYLAND, MA 01778-2829                          SAN FRANCISCO, CA 94133-4210



JASON GIPSTEIN                                  JASON HALPER U/GDNSHP OF HARVEY HALPER             JASON MILLER
6275 CANTERBURY DR UNIT 309                     & CLERK SURROGATES COURT KINGS CO NY               PO BOX 961302
CULVER CITY, CA 90230-7172                      1455 E 19TH ST                                     BOSTON, MA 02196-1302
                                                BROOKLYN, NY 11230



JASON RAMSAY GILLMAN                            JAY ALLEN WEINER                                   JAY C MILLER
PO BOX 744905                                   242 BEACH 20TH STREET                              850-105 LAKE ORCHID CIRCLE
HOUSTON, TX 77274-4905                          FAR ROCKAWAY, NY 11691-3618                        VERO BEACH, FL 32962-8572




JAY C ROBBINS                                   JAY DEAN KRYSTYNIAK & WALTER C KRYSTYNIAK JT TEN   JAY E ALEXANDER & MARY BETH ALEXANDER TR
2278 149A STREET                                515 KLEIN RD                                       ALEXANDER FAM REV LIV TRUST UA 03/30/98
SURREY BC                                       STERLING, MI 48659-9709                            19145 BREWSTER ROAD
V4A 9X3 CANADA                                                                                     AURORA, OH 44202-8615



JAY HOWARD WEINSTEIN                            JAY M WILSKER CUST JULIE WILSKER                   JAY MC DOWELL CUST MARILYN MC DOWELL
6822 CHIPPEWA DRIVE                             A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J    U/THE WASH UNIFORM GIFTS TO MINORS ACT
BALTIMORE, MD 21209-1435                        12 LAUREL HILL DRIVE                               2310 S FOREST ESTATES DR
                                                PLEASANTVILLE, NY 10570-2606                       SPOKANE, WA 99223-3400



JAY MC DOWELL CUST SUSAN MC DOWELL              JAY P KLEIN                                        JAY S KUPERSTEIN
U/THE WASH UNIFORM GIFTS TO MINORS ACT          3738 WALKER AVE NW                                 5425 GROVE RIDGE WAY
8530 16TH AVE NW                                GRAND RAPIDS, MI 49544-9705                        ROCKVILLE, MD 20852
SEATTLE, WA 98117-3614



JAY W EPSTEIN                                   JAY WILLIAM MCCLURE & DONNA L MCCLURE TR           JAYE ANN HANSEN CUST THEA ASHLEY HANSEN UTMA IL
2704 MONROVIA DR                                JAY WILLIAM MCCLURE LIVING TRUSTUA 06/12/00        PO BOX 260084
LAS VEGAS, NV 89117-0508                        70 HAUOLI STREET 117                               LAKEWOOD, CO 80226-0084
                                                WAILUKU, HI 96793



JAYNE A GREEN                                   JAYNE DE LA HUERGA & J DE LA HUERGA TR             JAYNE W BURNS
2972-139A ST                                    DE LA HUERGA LIVING TRUST UA 05/15/00              PO BOX 501016
WHITE ROCK BC                                   1414 LINCOLN ST                                    MARATHON, FL 33050-1016
V4P 2N1 CANADA                                  EVANSTON, IL 60201-2337



JC SCHREINER                                    JEAN A JOHNSON                                     JEAN A YOUNG
J C SCHREINER                                   1285 150TH AVE                                     & SUE E HAMILTON & CYNTHIA L GARRETT & NANCY K
HILL COMMONS                                    BALSAM LAKE, WI 54810                              KRUMMRICH JT TEN
MINNEAPOLIS, MN 55458-0911                                                                         8904 BLOMBERG RD
                                                                                                   KINMUNDY, IL 62854-1424


JEAN A ZIEGELBEIN                               JEAN B HUFF CUST BARBARA HUFF                      JEAN BOYD CUST MICHAEL JOHN BOYD
16 LIPSCOMB CT                                  U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
STERLING, VA 20165                              237 MADELINE DR                                    101 NW 131ST AVE
                                                MONROVIA, CA 91016-2431                            PLANTATION, FL 33325-2211
                    09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                            Part 8 of 8 Pg 186 of 440
JEAN BRECKENRIDGE                                    JEAN BREWSTER GIDDINGS TR                             JEAN DOHERTY CUST MARK JONATHAN DOHERTY
31157 434TH AVE                                      BREWSTER FAM RESIDUARY TRUST UA 09/04/86 AMENDED      A MINOR U/THE LOUISIANA GIFTS TO MINORS ACT
YANKTON, SD 57078-6748                               UA 02/07/96                                           WILCOX BLVD
                                                     16 HIGH STREET                                        NEW ORLEANS, LA 70123
                                                     BRATTLEBOR, VT 05301-3001


JEAN E HARDER                                        JEAN E NELSON & LUCY A BURRY & JAMES D NELSON TR      JEAN E TODOSCIUK
402 MUELLER ST                                       JEAN E NELSON TRUST UA 11/18/03                       ATTN MERLAN KLEIN
APT 9                                                739 NORTH CHANNEL DR                                  8640 N FOWLERVILLE RD
HOLSTEIN, IA 51025-7501                              HARSENS ISLAND, MI 48028-9510                         FOWLERVILLE, MI 48836-9337



JEAN EBERLEIN NICHOLLS                               JEAN ENGELBACH SMOUSE CUST CHARLES EDWARD SMOUSEJEAN F FINLAY & VIRGINIA MCBRIDE TR
29674 HILLIARD OAK LANE                              U/THE MD UNIFORM GIFTS TO MINORS ACT            UA 04/17/87 ANNE W FINLAY TRUST F-B-O JEAN F FINLAY
WESTLAKE, OH 44145-3875                              4 COLUMBIA COURT                                8621 BASSWOOD RD
                                                     ROCKVILLE, MD 20850-1009                        UNIT 16
                                                                                                     EDEN PRAIRIE, MN 55344-4174


JEAN F TURPIN CUST EDWARD F TURPIN                   JEAN H LOCKE & SIMEON LOCKE TR                        JEAN H SCHNEIDER TR
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT           SIMEON LOCKE 1999 REVOCABLE TRUST UA 04/23/99         UNDER DECLARATION OF TRUST 05/31/91 BENEFIT OF JEAN
1825 MCCULLOH ST                                     PO BOX 330                                            H SCHNEIDER
BALTIMORE, MD 21217-3408                             BOXFORD, MA 01921-0330                                4004 W 30TH STREET
                                                                                                           DAVENPORT, IA 52804-5014


JEAN L VAIL & VALORIE CRAYCRAFT & JODY J DAILEY TR   JEAN LESLIE GALOWITZ                                  JEAN M COOPER & EDWIN H BIDEAU III & PHILIP A JARRED TR
JEAN L VAIL INTER VIVOS TRUST UA 06/26/95            115 WHITING LANE                                      UA 09/12/97 JAMES F COOPER
4180 NW 110TH AVE                                    W HARTFORD, CT 06119-1642                             PO BOX 462
CORAL SPRINGS, FL 33065-7720                                                                               CHANUTE, KS 66720-0462



JEAN M JOHNSON CUST CRAIG R JOHNSON                  JEAN M LARKIN CAROLYN L HENRY & FRANCIS P LARKIN TR   JEAN M MCDOWALL
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT       LARKIN TRUST UA 2/12/68                               13 B COLUMBUS BLVD
9018 NANTWICK RIDGE                                  37-10TH AVE                                           WHITING, NJ 08759-1803
BROOKLYN PARK, MN 55443-3928                         SEASIDE PARK, NJ 08752-1902



JEAN M MITTELBUSCHER TR                              JEAN M REINERT                                        JEAN MARIE HAMPTON WATSON TR CHARLES H WATSON
THE MRS JEAN M MITTELBUSCHER REV TR UA 05/27/77      8932 HAMILTON BLVD                                    & JEAN MARIE HAMPTON WATSON REVOCABLE TRUST UA
958 ANITA ST                                         BREINIGSVILLE, PA 18031-1257                          0708/03
GROSSE POINTE WOOD, MI 48236-1417                                                                          18 MARTA DRIVE WILMINGTON
                                                                                                           WILMINGTON, DE 19808


JEAN R BOLTON CUST SCOTT BOLTON                      JEAN ROSEN CUST BRUCE LAWRENCE ROSEN                  JEAN S HACKETT & ROBERT A HACKETT TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           A MINOR U/ART 8-A OF THE PERS PROP LAW OF             JEAN S HACKETT REVOCABLE TRUST UA 10/29/97
7 QUEENS CRT                                         21 LONGLEDGE DR                                       17 MANSFIELD PLACE
SAN ANTONIO, TX 78257                                RYE BROOK, NY 10573-1943                              RUTLAND, VT 05701-4149



JEAN T NICHOLSON CUST THOMAS SCOTT NICHOLSON         JEAN THOMAS COLLIER & MARY LOUISE COLLIER TR          JEAN WEINBERG
U/THE CALIF UNIFORM GIFTS TO MINORS ACT              UA 05/14/84 THE COLLIER FAMILY REVOCABLE TRUST NO I   58 BUTLER ST
2211 WEBSTER ST                                      1528 BLACKSTOCK AVE                                   KINGSTON, PA 18704-4721
SANGER, CA 93657-2749                                SIMI VALLEY, CA 93063-3115



JEANE KELLEY CUST WILLIAM J KELLEY JR                JEANET S DRESKIN & RICHARD B DRESKIN TR               JEANETTE DREYEL ALBERTUS BYSTERBUSCH & RYAN L BYST
U/THE FLORIDA GIFTS TO MINORS ACT                    UA 01/16/1996 E ARTHUR DRESKIN TRUST                  UW H BYSTERBUSCH FBO C
1009 S E 10TH ST                                     60 LAKE FOREST DR                                     701 BRIDLE WAY
FORT LAUDERDALE, FL 33316-1383                       GREENVILLE, SC 29609                                  FRANKLIN LKS, NJ 07417
                    09-50026-mg         Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                            Part 8 of 8 Pg 187 of 440
JEANETTE L BURGESS                                   JEANETTE L EPSTEIN TR UA 11/02/89 JEANETTE L EPSTEIN TRUST
                                                                                                             JEANETTE L NAYLOR CUST BOBBI S STIEGLER
5658 N CALLE DE LA REINA                             15458 BRIARCREST CIR                                    UNDER MO TRANSFERS TO MINORS LAW
TUCSON, AZ 85718-4479                                FT MYERS, FL 33912-6399                                 7024 N WINAN AVE
                                                                                                             KANSAS CITY, MO 64152-2452



JEANETTE M HACKETT CUST RICHARD A HACKETT            JEANETTE O ROTHSTEIN                                  JEANETTE Y FREUDENBERGER TR JEANETTE Y FREUDENBER
U/THE VT UNIFORM GIFTS TO MINORS ACT                 1150 WINDWARD DR                                      REVOCABLE INTER VIVOS TRUST UA 04/07/06
8 BAYBERRY LN                                        PEMBROKE PINES, FL 33026-3024                         BOX 946
SOUTH BURLINGTON, VT 05403-8225                                                                            WOODACRE, CA 94973-0946



JEANETTE Y FREUDENBERGER TR UA 12/21/2005 JEANETTE Y FREUDENBERGER
                                                      JEAN-FRANCOI AUSSILLOU                               JEAN-MICHEL STEINMETZ
MAXIMUM BENEFIT TRUST UNDER GEORGE EDWARD             501-1075 SHERBROOKE EAST                             4444 COMANCHE DR
FLANDERS                                              MONTREAL QC                                          OKEMOS, MI 48864-2443
PO BOX 946                                            H2L 4V1 CANADA
WOODACRE, CA 94973


JEANNE A SWEINBERG                                   JEANNE B LATTANNER TR                                 JEANNE B SCHWARTZ TR
1087 MONTIAN VIEW DR                                 REVOCABLE LIVING TRUST 07/24/84 U-A VICTOR & JEANNE   UA 11/06/89 THE RICHARD J SCHWARTZ DECLARATION OF
DALLAS, PA 18612                                     LATTANER                                              TRUST
                                                     PO BOX 1014                                           392 KELBURN RD APT 122
                                                     SACRAMENTO, CA 95812-1014                             DEERFIELD, IL 60015-4360


JEANNE BAGLIANI CUST MICHAEL J BAGLIANI              JEANNE CONNELL & CAMERON ADAMS TR                     JEANNE D CIRINCIONE CUST MARTIN J CIRINCIONE
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT           UA 12/30/55 LIPPINCOTT COLKET & ELIZABETH COLKET      U/THE N Y UNIFORM GIFTS TO MINORS ACT
109 CEDARCROFT RD                                    TRUST                                                 1418 FOX HOLLOW RD
BALTIMORE, MD 21212-2444                             548 KNAUSS RD                                         SCHENECTADY, NY 12309-2510
                                                     NAZARETH, PA 18064-8811


JEANNE DEEG                                          JEANNE E COLES CUST ELISSA M COLES                    JEANNE E ROBINSON
4506 117TH DR SE                                     U/THE CAL UNIFORM GIFTS TO MINORS ACT                 2737 WHITE OAK AVE
SNOHOMISH, WA 98290-5528                             821 EL CAMINO ROAD #301                               WHITING, IN 46394-2128
                                                     BURLINGAME, CA 94010-5046



JEANNE FISHER GILLMOR CUST DAVID SPEAR GILLMOR       JEANNE H HEINEMANN                                    JEANNE H ROBINSON TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                104 OLD 518 EAST                                      JEANNE HOUNSELL ROBINSON REVOCABLE TRUST UA
4 HARDING ST                                         LAMBERTVILLE, NJ 08530-2619                           5/3/01
EAST NORTHPORT, NY 11731-1408                                                                              719 W 99TH TERRACE
                                                                                                           KANSAS CITY, MO 64114-4063


JEANNE K TARCHALSKI TTEE UA 11/21/06 JOSEPH M TARCHALSKI
                                                      JEANNE
                                                         IRRVOCKAUFER
                                                                 SOLE CUST JONATHAN D KAUFER               JEANNE KAUFER CUST SCOTT A KAUFER
BENE TRST                                             U/THE CAL UNIFORM GIFTS TO MINORS ACT                A MINOR UNDER THE CALIFORNIA GIFTS OF
2318 MT ROYAL                                         411 HOMEWOOD RD                                      411 HOMEWOOD RD
WATERFORD, MI 48328                                   L A, CA 90049-2713                                   LOS ANGELES, CA 90049-2713



JEANNE KAUFER CUST SUSAN M KAUFER                    JEANNE M ALTSCHULER TR                                JEANNE M BOWERMAN TR UA 7/23/90 JEANNE M BOWERMAN T
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         ALLAN H ALTSCHULER DECEDENTS UNIFIED CREDIT TRUST     1504 OLD MILL RD
411 HOMEWOOD ROAD                                    UA 06/19/90                                           EAST LANSING, MI 48823-2154
LOS ANGELES, CA 90049-2713                           2737 MANNING AVE
                                                     LOS ANGELES, CA 90064-4354


JEANNE M CONDOLFF                                    JEANNE M KIRKLAND TR                                  JEANNE M MURPHY & DARREN C MURPHY & FRANCIS J MATHE
1063 MOSSER RD                                       UA 11/10/1989 JESSICA MARY KIRKLAND IRREVOCABLE       JEANNE M MURPHY TRUST UA 06/06/97
APT T106                                             TRUST                                                 1800 OAK ST
BREINIGSVILLE, PA 18031-1397                         6464 MUNGER RD                                        504
                                                     DAYTON, OH 45459                                      TORRANCE, CA 90501
                   09-50026-mg           Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                         Part 8 of 8 Pg 188 of 440
JEANNE MURRAY CUST COLLEEN MURRAY                 JEANNE SALES CUST DAVID SALES                        JEANNE-MARIE BARNES CUST EDMUND BARNES UTMA FL
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW    U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT        PO BOX 510639
C/O KUTTEN                                        41 SADDLEVIEW RD                                     MELBOURNE BCH, FL 32951-0639
10 HUNTLEIGH WOODS                                FAIRFIELD, CT 06432-2658
ST LOUIS, MO 63131-4818


JEANNETTE CAROLINE HAAS TR                        JEANNETTE RESSLER TR                                 JEANNIE M RINGLEIN
UA 3/15/2006 JEANNETTE CAROLINE HAAS LIV TRUST    REVOCABLE LIVING TRUST UA 03/25/87 JEANNETTE         1220 NIAGARA ST
4163 COVETREE LN                                  RESSLER                                              FLINT, MI 48503-1208
BATAVIA, OH 45103                                 13450 OAKDALE
                                                  SOUTHGATE, MI 48195-1711


JEANNINE BARIBEAU                                 JEFF M NEELY JR CUST MEGAN MELINDA NEELY             JEFF M RITZINGER
216 645 GLENGARRY BLVD                            U/THE TEXAS UNIFORM GIFTS TO MINORS ACT              12217 102 AVE
CORNWALL ON                                       PO BOX 506                                           CHIPPEWA FALLS, WI 54729
K6H 6S1 CANADA                                    AMARILLO, TX 79105-0506



JEFF SCHLACKS & SUSAN SCHLACKS TR                 JEFF SOUTHARD                                        JEFFERS V CHAMBERS
JUSTIN G SCHLACKS IRREVOCABLE TRUST UA 12/12/94   924 114TH AVE E                                      PO BOX 214751
12137 LOCKHART LANE                               EDGEWOOD, WA 98372-1417                              AUBURN HILLS, MI 48321
RALEIGH, NC 27614-8006



JEFFERY RICHARD PHILLEY                           JEFFERY T LOMBARDI TR                                JEFFREY ADAM BIRD
PO BOX 650533                                     UA 10/01/2007 JEFFERY TODD LOMBARDI SEPARATE TRUST   APT 1409 11135 83RD AVE
DALLAS, TX 75265-0533                             1714 HEMIT AVE                                       EDMONTON ALBERTA
                                                  WAUKESHA, WI 53189                                   CANANDA
                                                                                                       T6G 2C6 CANADA


JEFFREY ALLEN GOLDSTEIN                           JEFFREY D SCHEU & ANGELA C SCHEU TR                  JEFFREY EINSOHN CUST BENJAMIN EINSOHN UTMA FL
15572 CLOVER RIDGE COURT                          JEFFREY D AND ANGELA C SCHEU REVOCABLE TRUST UA      11533 SW 57TH ST
CHESTERFIELD, MO 63017-5231                       09/30/02                                             COOPER CITY, FL 33330-4101
                                                  5605 KINGFISHER LANE
                                                  CLARKSTON, MI 48346-2938


JEFFREY EPSTEIN                                   JEFFREY G MEINICKE                                   JEFFREY HOCHSTEIN
358 EL BRILLO WAY                                 1374 BLAINE RD                                       109 TIMBER HILL DR
PALM BEACH, FL 33480-4730                         BRIGHTON, MI 48114-9636                              MONROE TWP, NJ 08831-7949




JEFFREY J HEINRICHS                               JEFFREY J MUELLER & PAMELA A MUELLER JT TEN          JEFFREY J STEINBERG
9035 N FIELDING RD                                5770 115TH ST E                                      175 MORRISTOWN RD
MILWAUKEE, WI 53217-1833                          NORTHFIELD, MN 55057-4423                            ELIZABETH, NJ 07208-1315




JEFFREY KLEIN & ILEEN KLEIN JT TEN                JEFFREY L BERNSTEIN                                  JEFFREY L EKKEL
554 HASKELL DR                                    4860 TRANTIN COURT                                   433 118TH AVE
AKRON, OH 44333-2852                              WAUNAKEE, WI 53597-9165                              MARTIN, MI 49070-9746




JEFFREY M WEINER                                  JEFFREY MILSTEIN                                     JEFFREY N GILBERT
1003 MARSH RD                                     20 CABLEKNOLL LANE                                   3653 193RD PLACE
WILMINGTON, DE 19803-4339                         MORELAND HILLS, OH 44022-1313                        LANSING, IL 60438
                    09-50026-mg         Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                        Part 8 of 8 Pg 189 of 440
JEFFREY R FEUERSTEIN                             JEFFREY R SHOCK & CHRISTINE M SHOCK TR            JEFFREY S BOTSFORD & VICTORIA T BOTSFORD TR
1181 WESTWIND DR                                 JEFFREY R & CHRISTINE M SHOCK LIVING TRUST UA     UA 09/21/2005 2005 BOTSFORD FAMILY TRUST
NEENAH, WI 54956-5153                            08/23/00                                          160 SAN MIGUEL ROAD
                                                 4402 QUEENSBURY DR                                PASADENA, CA 91105
                                                 HARRISBURG, NC 28075-5610


JEFFREY S CHOU                                   JEFFREY S CLICKSTEIN                              JEFFREY S KLEIN
53 ALLEY 399 JU FENG RD                          24 RICHARDS ST                                    15 E 26TH ST
APT 1801                                         DANVERS, MA 01923-2127                            STE 12A
PUDONG SHANGHAI                                                                                    NEW YORK, NY 10010-1526
200129 CHINA (PEOPLE'S REP)


JEFFREY S REINER                                 JEFFREY S RISTAU                                  JEFFREY SCOTT HALL & MRS THEODORA TANG HALL JT TEN
15 INWOOD AVE                                    2405 165TH PLACE S E                              10814 168TH COURT NE
MONROE TWP, NJ 08831                             BOTHELL, WA 98012-6050                            REDMOND, WA 98052-2790




JEFFREY T OBERRY                                 JEFFREY THOMPSON                                  JEFFREY WALLERSTEIN
PO BOX 300804                                    4721 141ST PLACE SE                               46 SAUPE DRIVE
DRAYTON PLNS, MI 48330-0804                      SNOHOMISH, WA 98296-7664                          MANALAPAN, NJ 07726-1855




JEN HAROLD JORGENSEN CUST ERIC EINAR JORGENSEN   JENE HARLEY JACOBY & MILDRED MARSH JACOBY TR      JENNIE SUSSMAN CUST STEVEN SUSSMAN
U/THE N Y UNIFORM GIFTS TO MINORS ACT            JACOBY FAM TRUST UA 06/21/95                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
32 ROCHELLE DRIVE                                4450 N 53RD ST                                    50 WOODS DR
NEW CITY, NY 10956-5853                          PHOENIX, AZ 85018-4450                            ROSLYN, NY 11576-2618



JENNIFER CUTHBERT                                JENNIFER EPSTEIN                                  JENNIFER HOPKINS
C/O LAKES HEATING & A/C                          722 ANDOVER ST                                    5802 EINSTEIN
2476 N TURKEYFOOT RD                             SAN FRANCISCO, CA 94110-6018                      COTE ST LUC QC
AKRON, OH 44319-1139                                                                               H4W 2Y6 CANADA



JENNIFER J JOHNSON BUTTS                         JENNIFER JONES HOWITT & A E W HOWITT JT TEN       JENNIFER L REINHART
19124-350TH STREET                               PTY 6764                                          2751 MACINTOSH
TAYLORS FALLS, MN 55084-2812                     1601 NW 97TH AVE                                  BLOOMFIELD, MI 48302
                                                 PO BOX 025207
                                                 MIAMI, FL 33102-5207


JENNIFER L THEBERT                               JENNIFER M MORSE & GARY J WEINER JT TEN           JENNIFER SHARON EPSTEIN
ATTN JENNIFER REINHART                           24 OLD CHURCH ROAD                                171 W 57TH ST 12 B
2751 MACKINTOSH LN                               MASTIC BEACH, NY 11951                            NEW YORK, NY 10019-2222
BLOOMFIELD HILLS, MI 48302-0934



JEONG S STEURBAUT & ROBERT F STEURBAUT TR        JERALD E STRAWHACKER & JOAN R STRAWHACKER TR      JERE M BAZZELL CUST LAURIE J NELSON UGMA FL
LIVING TRUST 08/10/91 U-A JEONG S STEURBAUT      JERALD E STRAWHACKER & JOAN R STRAWHACKER TRUST   ATTN LAUREY J LAURITA
PO BOX 2141                                      UA 10/31/00                                       511 1250 DR
GLEN ELLYN, IL 60138-2141                        1912 VERSAILLES ST                                DELTA, CO 81416-9131
                                                 KOKOMO, IN 46902-5996


JEREMIAH N ECKSTEIN                              JEREMY S RUST & DANA G RUST TR                    JERI J HUNTER CUST BRIAN M HUNTER
511 GREEN MEADOW DR                              JEREMY S RUST & DANA G RUST TRUST UA 04/03/04     A MINOR UNDER THE LOUISIANA GIFTS TO MINORS
ANDERSON, IN 46011-1641                          124 WOODCREST DR                                  8926 EAST 74TH STREET
                                                 LEAGUE CITY, TX 77573-4320                        TULSA, OK 74133-3104
                     09-50026-mg                  Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                                 Part 8 of 8 Pg 190 of 440
JERI L SIPEK TR UA 10/15/93 JERI L SIPEK TR # I          JERI L SIPEK TR UA 10/15/93 JERI L SIPEK TRUST # I    JEROLD A BAUM CUST MISS MARCIA LYNN BAUM
448 E JOLIET HWY                                         448 E JOLIET HWY                                      U/THE OHIO UNIFORM GIFTS TO MINORS ACT
NEW LENOX, IL 60451-1913                                 NEW LENOX, IL 60451-1913                              6497 BROOKHILLS
                                                                                                               GRAND RAPIDS, MI 49546-7280



JEROLD ALAN KLEIN                                        JEROLD ZWELLING CUST M L ZWELLING                     JEROME A MILLER & CLELA V MILLER TR
2292 STONEGATE DRIVE                                     A MINOR PURS TO SECT 1339 /26 INCL OF REV CODE OHIO   UA 12/27/2007 JEROME A MILLER & CLELA V MILLER
WELLINGTON, FL 33414-7779                                2655 E RIDGEWOOD CIRCLE                               3042 AUBURN ROAD
                                                         ZANESVILLE, OH 43701-1611                             AUBURN HILLS, MI 48326



JEROME A ZUELSDORF & ROSEMOND J ZUELSDORF TR             JEROME C WEINBERG CUST STEFAN J WEINBERG              JEROME CORNETT & THERESA CORNETT TR
JEROME A ZUELSDORF & ROSEMAND J ZUELSDORF LVG TR         A MINOR UNDER THE LAWS OF THE STATE OF MICH           FAMILY TRUST 02/26/89 U-A JEROME CORNETT
1733 DAYTON ST APT 1                                     3225 SLEEPY HOLOW DR                                  19316 S NUNNELEY
MAYVILLE, WI 53050-2810                                  PLANO, TX 75093-3410                                  CLINTON TWP, MI 48035-1461



JEROME E MONSON CUST LESLIE MONSON                       JEROME EISENSTADT                                     JEROME F POLLOCK CUST DAWNE E POLLOCK
U/THE CAL UNIFORM GIFTS TO MINORS ACT                    PO BOX 546881                                         UNDER THE FLORIDA GIFTS TO MINORS ACT
5873 E CLUB VIEW DRIVE                                   SURFSIDE, FL 33154-6881                               PO BOX 7193
FRESNO, CA 93727-6212                                                                                          HOLLYWOOD, FL 33081



JEROME GLASS CUST STEWARD MICHAEL GLASS                  JEROME GRANT CUST ELISE GRANT                         JEROME I LESNICK SUSAN M LESNICK TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT               U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT       JEROME & SUSAN LESNICK FAM TRUST UA 02/02/99
845 SWED CIR                                             37 KINGS RD                                           6781 DYER RD
YORKTOWN HEIGHTS, NY 10598-1123                          CANTON, MA 02021-1726                                 SOUTH BOARDMAN, MI 49680-9406



JEROME J BOGGIANO & MARY BOGGIANO TR                     JEROME J FEINER & CLIFFORD F FEINER JT TEN            JEROME J HEGER & MARY E HEGER TR
JEROME J BOGGIANO LIVING TRUST UA 12/31/98               330 OLD COURTHOUSE RD                                 UA 01/28/93 THE JEROME J HEGER &MARY E HEGER TRUST
7540 GREYCLIFF DRIVE                                     MANHASSET HILLS, NY 11040-1153                        249 BRYANS DR
LINCOLN, NE 68516-6506                                                                                         MCDONOUGH, GA 30252-2513



JEROME KLEIN                                             JEROME L BERNSTEIN CUST JAMIE BERSNSTEIN UTMA FL      JEROME MARGULIES CUST SHELDON MARGULIES
195 MINERVA DR                                           PO BOX 1438                                           U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
YONKERS, NY 10710-2106                                   SHEPHERDSTOWN, WV 25443-1438                          705 KERSEY RD
                                                                                                               SILVER SPRING, MD 20902-3054



JEROME O REINHARDT                                       JEROME P EPSTEIN CUST MICHAEL J EPSTEIN UGMA PA       JEROME REINFELD
1601 FEMME OSAGE CREEK ROAD                              521 DELANCEY ST                                       215 HARRINGTON AV
AUGUSTA, MO 63332-1207                                   PHILA, PA 19106-4105                                  NORTH PLAINFIELD, NJ 07063-1810




JEROME ROSENBERG CUST PAUL ROSENBERG                     JEROME S WEINER                                       JEROME SILVER CUST LESLIE H SILVER
U/THE PA UNIFORM GIFTS TO MINORS ACT                     APT 301                                               A MINOR PURS TO SECS 1339 /26 INCL REV CODE OF OHIO
537 N. NERVILLE ST APT 2D                                7301 PARK AVE APT 301                                 19807 GARDENVIEW
PITTSBURGH, PA 15213                                     BALTIMORE, MD 21208                                   MAPLE HEIGHTS, OH 44137-1830



JEROME STEIN                                             JEROME VICTOR CUST MARK VICTOR                        JEROME VICTOR CUST TODD VICTOR
2500 EXTON ROAD                                          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
HATBORO, PA 19040-2509                                   2343 EAST 16TH ST                                     2343 EAST 16TH STREET
                                                         BROOKLYN, NY 11229-4435                               BROOKLYN, NY 11229-4435
                      09-50026-mg         Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                              Part 8 of 8 Pg 191 of 440
JERRELL L HARRISON & SANDRA K HARRISON TR              JERROLD H BAMEL                                       JERRY A MEYERS
JERRELL L & SANDRA K HARRISON TRUST UA 04/14/03        77 FARRER DR #04-03                                   2115 147 AVE SE
868 N CANAL RD                                         259281 SINGAPORE                                      ERIE, ND 58029-9752
EATON RAPIDS, MI 48827-9370



JERRY A MEYERS                                         JERRY C ADAMS                                         JERRY D KLEINERT
2115 147TH AVE SE                                      & DORIS L ADAMS & CHERYL L ADAMS & JERRIE SUE         3336 QUAM DR
ERIE, ND 58029-9752                                    KINCAID JT TEN                                        STOUGHTON, WI 53589-3144
                                                       1093 WOODWORTH
                                                       GRAND BLANC, MI 48439-4884


JERRY D WALLACE                                        JERRY E MCDONALD & SHARON L MCDONALD TR               JERRY FINKELSTEIN
PO BOX 210687                                          JERRY E & SHARON L MCDONALD TRUST UA 07/18/02         ATTN JERRY FIELDS
AUBURN HILLS, MI 48321-0687                            1600 N DONNY DAVIS DR                                 14 HERMITAGE CT
                                                       WASHINGTON, IN 47501-7567                             DESTREHAM, LA 70047-3625



JERRY FRIEDBERG CUST GARY FRIEDBERG                    JERRY GROSS CUST BONNIE RENE GROSS                    JERRY GROSS CUST DIANE HELENE GROSS
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 A MINOR UNDER THE CALIFORNIA GIFTS OF SECURITIES TO   A MINOR UNDER THE CALIFORNIA GIFTS OF SECURITIES TO
2356 CRAMDEN RD                                        MINORS ACT                                            MINORS ACT
PITTSBURGH, PA 15241-2438                              18300 COLLINS ST                                      18300 COLLINS ST
                                                       APT 105                                               APT 105
                                                       TARZANA, CA 91356-2464                                TARZANA, CA 91356-2464

JERRY K BALLARD & RICHARD O BALLARD TR                 JERRY K JONES                                         JERRY KLEIN CUST MICHAEL SCOTT KLEIN UGMA TN
BALLARD LIVING TRUST UA 03/01/96                       15812 153 AVE NE                                      701 CHELSEA OAKS PL
4601 W 113TH ST                                        ARLINGTON, WA 98223-9468                              BALLWIN, MO 63021-7374
LEAWOOD, KS 66211-1767



JERRY L BASHOR CUST BRENDA KAY BASHOR                  JERRY L BASHOR CUST DEBORAH LYNN BASHOR               JERRY L ELLIOTT & JANET S ELLIOTT TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 U/THE OHIO UNIFORM GIFTS TO MINORS ACT                JANET S ELLIOTT REV LIVING TRUSTUA 08/11/00
ATTN BRENDA K SHULL                                    437 E MAIN ST                                         5059 WAKEFIELD RD
8403 WOODMANOR COVE                                    DAYTON, OH 45426-2903                                 GRAND BLANC, MI 48439-9111
CORDOVA, TN 38018-2032


JERRY N TOWNSLEY & BONNIE M TOWNSLEY TR                JERRY R KLEINFELD                                     JERRY RAUCH RUBENSTEIN
TOWNSLEY JOINT FAM TRUST UA 01/15/96                   8523 E ROANOKE AVE                                    5118 BRAEBURN
9611 WOODLAND CT                                       SCOTTSDALE, AZ 85257-1838                             BELLAIRE, TX 77401-4902
YPSILANTI, MI 48197-9740



JERRY W BUSH                                           JERRY W MURRAY CUST TIMOTHY M MURRAY                  JERRY W THEIN
687020 CEDAR WAY                                       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            4051 ALDEN AVE
SUSANVILLE, CA 96130-8186                              BOX 369                                               INDIANAPOLIS, IN 46221-2409
                                                       BROWN CITY, MI 48416-0369



JESS EDWIN WADE TR                                     JESS M SANDOVAL                                       JESSE G PUTMAN CUST MISS EUGENIA ELIZABETH PUTMAN
UA 07/05/90 BY JESS E WADE & PATRICIA ANN WADE F-B-O   11808 120TH AVE E                                     U/THE TENN UNIFORM GIFTS TO MINORS ACT
REBECCA ANN WADE                                       PUYALLUP, WA 98374-2246                               1315 NEST PL
1128 DANBURY RD                                                                                              PLANO, TX 75093-2613
HOUSTON, TX 77055-6829


JESSE J HEINDL                                         JESSE KREINOP                                         JESSE L SMITH & MYRTLE MARGIE SMITH TR
38 BROAD ST                                            PO BOX 2531                                           JESSE L SMITH & MYRTLE MARGIE SMITH LIVING TRUST UA
#1                                                     HELENDALE, CA 92342-2531                              01/18/96
SALEM, MA 01970-3143                                                                                         929 MOSSY GROVE LANE
                                                                                                             MARYVILLE, TN 37801-4102
                    09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                        Part 8 of 8 Pg 192 of 440
JESSE L WOODS JR CUST JESSE L WOODS 3RD          JESSE RIOS                                         JESSE V MUENCH & PAULINE A MUENCH TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT           & CARMEN GALNARES & DANIEL R RIOS JR & ESTELLA     THE MUENCH FAMILY TRUST UA 1/12/99
2746 MANCHESTER LN                               BERNAL JT TEN                                      3920 ASPENCREST DR
GRAPEVINE, TX 76051-4728                         12511 FALCATTA DR                                  LAS VEGAS, NV 89108-5323
                                                 FORT WAYNE, IN 46845-9573


JESSICA BERNHEISEL HEINRICH                      JESSIE BARBIERI CUST JOSEPH BARBIERI               JESSIE HEINZ & CAROLE HEINZ JT TEN
44941 HICKORY LANDING WAY                        U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT       40 BEVANS RD
HOLLYWOOD, MD 20636-3070                         653 EAST 30TH ST                                   LAYTON, NJ 07851-2000
                                                 PATERSON, NJ 07513-1101



JESSIE KOSTER & JANE KOSTER TR                   JEWELL M DORRIS CUST JOHN M DORRIS                 JEWELL N MORGAN & RONALD J MORGAN & SHIRLEY N PICKET
JESSIE & JANE KOSTER REVOCABLE LIVING TRUST UA   A MINOR UNDER THE LOUISIANA GIFTS TO MINORS        JEWELL NELSON MORGAN FAMILY TRUST UA 09/11/03
09/24/98                                         18452 GUITREAU LANE                                868 SHEVLIN DRIVE
25250 ALEX                                       PORT VINCENT, LA 70726-8040                        EL CERRITO, CA 94530-3051
CENTER LINE, MI 48015-1912


JICK TEUNG YEE & CHANMEE KAM YEE TR              JILL A MARTINEZ                                    JILL K DREXEL
JICK TEUNG & CHAN MEE KAM YEE TRSY UA 04/19/02   PO BOX 259274                                      7617 KUHLWEIN RD
27567 WESTCOTT CRESENT CIR                       MADISON, WI 53725-9274                             GALLOWAY, OH 43119-9368
FARMINGTON HILLS, MI 48334-5349



JILL L LUDWIG                                    JILL N MADALONE                                    JILL P BLACKMON & BRUCE E BLACKMON TR
5712 260TH ST                                    1661-243 OLD COUNTRY RD                            JILL ANN PIERCE BLACKMON INTERVIVOS TRUST UA
LITTLE NECK, NY 11362-2238                       RIVERHEAD, NY 11901-4411                           10/17/01
                                                                                                    14728 KNOX ST
                                                                                                    OVERLAND PARK, KS 66221-9679


JILL V LUNNEY                                    JILL WEINSTEIN MUELLER                             JIM AVAKIAN CUST JAMES JOHN AVAKIAN
6840 145TH AVE                                   PO BOX 1011                                        U/THE CALIF UNIFORM GIFTS TO MINORS ACT
KENOSHA, WI 53142-8821                           ALPINE, NJ 07620-1011                              3446 E DUNLAP AVE
                                                                                                    PHOENIX, AZ 85028-4978



JIM D STEINHOFF                                  JIMMIE D BARTON & CHRISTINE A BARTON TR            JIMMIE D HEINRICH
522 6TH STREET                                   BARTON FAMILY REVOCABLE LIVING TRUST UA 04/29/04   1538 S VIRGINIA AVENUE
ONAWA, IA 51040-1208                             5375 W 550TH N                                     MARION, IN 46953-1048
                                                 SHARPSVILLE, IN 46068-9313



JIMMIE D ROPER                                   JIMMY D CHRISTIAN                                  JIMMY GREENE & BETTYE A GREENE TR
PO BOX 401285                                    PO BOX 366301                                      JIMMY GREENE & BETTYE A GREENE TRUST UA 8/25/99
REDFORD, MI 48240-9285                           ATLANTA, GA 30336-6301                             33343 LAKE BEND CIR
                                                                                                    LEESBURG, FL 34788-3691



JIMMY L STANGE                                   JO ANN BENNERS & FRANK BENNERS TEN COM             JO ANN COOPER
339 KEINATH DR                                   PO BOX 450061                                      2112 W DARTMOUTH
FRANKENMUTH, MI 48734-9317                       GARLAND, TX 75045-0061                             PO BOX 310705
                                                                                                    FLINT, MI 48531-0705



JO ANN GREATHOUSE                                JO ANN HEINEN                                      JO ANN HUGHES CUST REBECCA JO HUGHES
PO BOX 259                                       3300 WILTONWOODS CT                                U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
STEINHATCHEE, FL 32359-0259                      COLLEYVILLE, TX 76034-4683                         42839 BOUQUET RIDGE
                                                                                                    MURRIETA, CA 92562-3321
                   09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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JO ANNE HANFORD TR EXEMPTION TRUST C HANFORD FAMILYJO
                                                    REVOCABLE
                                                      ANNE HEINELIVING                                  JOACHIM J MILITO & FRANCINE M MILITO TR
TRUST NO 1 UA 03/30/95                             4807 KINGDOM CT                                      JOACHIM J MILITO & FRANCINE M MILITO TRUST UA 06/17/96
29 COBLE ST                                        RACINE, WI 53402-9416                                2152 PRIMROSE LN
CATHEDRAL CITY, CA 92234-6603                                                                           FLINT, MI 48532-4180



JOACHIM QUARG                                       JOACHIM QUARG                                       JOAN ADLER CUST CAREN NAN ADLER
KATTREINSTR 90                                      KATTREINSTRASSE 90                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
DARMSTADT                                           D-64295 DARMSTADT                                   221 WALTON ST
D-64295 GERMANY                                     GERMANY                                             WEST HEMPSTEAD, NY 11552-3027



JOAN B COLLINS                                      JOAN B DI COLA                                      JOAN BROATCH HOLMAN & HER SUCCESSORS TR
& KENNETH D COLLINS & MARK R COLLINS & CORY K       PO BOX 130243                                       LIV TR UA 08/30/85 JOAN BROATCH HOLMAN
COLLINS JT TEN                                      BOSTON, MA 02113-0005                               ONE TANGLEWOOD PLACE
3951 CHAPMAN DR                                                                                         LAFAYETTE, CA 94549-4939
SHELBY TOWNSHIP, MI 48316-1407


JOAN DOROTHY PICKELHAUPT TOD MARK RICHARD PICKELHAUPT
                                                  JOANSUBJECT
                                                       DOROTHYTOPICKELHAUPT
                                                                 STA        TOD SCOTT DAVID PICKELHAUPT
                                                                                                      JOAN
                                                                                                        SUBJECT
                                                                                                           DOROTHY
                                                                                                                TO STA
                                                                                                                    PICKELHAUPT TOD TERRY ROBERT PICKELHA
TOD RULES                                         TOD RULES                                           TOD RULES
406 SHORE CLUB DR                                 406 SHORE CLUB DR                                   406 SHORE CLUB DR
ST CLR SHORES, MI 48080                           ST CLR SHORES, MI 48080                             ST CLR SHORES, MI 48080



JOAN E CROSBY & JAMES E CROSBY III TR               JOAN E SERMERSHEIM TOD ERIC D SERMERSHEIM           JOAN HEINRICHS
UA 11/11/93 JOAN E CROSBY REVOCABLE LIVING TRUST    & GREG J SERMERSHEIM & JULIE M BENDER               400 CENTRAL AVE
605 S GREENWOOD                                     900 W STATE RD 66                                   HALEDON, NJ 07508-1116
COLUMBIA, MO 65203-2768                             ROCKPORT, IN 47635-9268



JOAN HINKLE RATTERREE & EARLE HAGEN TR              JOAN M CURTO CUST DAVID M CURTO                     JOAN M CURTO CUST JAMES F CURTO
ALLEN T RATTERREE TRUST UA 10/31/91                 U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
BOX 5964                                            1177 CADIEUX RD                                     1177 CADIEUX RD
HUNTINGTON BH, CA 92615-5964                        GROSSE POINTE, MI 48230-1513                        GROSSE POINTE, MI 48230-1513



JOAN M CURTO CUST THOMAS P CURTO                    JOAN M ERTZ                                         JOAN M RATHBUN TR REVOCABLE LIVING TRUST OF KENNETH
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          & ROBERT C ERTZ JT TEN TOD TIMOTHY R ERTZ SUBJECT   & JOAN M RATHBUN RESIDUARY TRUST UA 01/20/94
1177 CADIEUX RD                                     TO STA TOD RULES                                    2398 BRIGGS ST
GROSSE POINTE, MI 48230-1513                        15823 MONROE ST                                     WATERFORD, MI 48329-3707
                                                    OMAHA, NE 68135


JOAN M REYNOLDS & BRUCE M REYNOLDS TR               JOAN MARIE HEINE                                    JOAN P BERNSTEIN
JOAN M REYNOLDS LIVING TRUST UA 04/04/01            236 N UNION RD                                      3 ROCKET CT
930 HARRISON AVENUE                                 WILLIAMSVILLE, NY 14221-5365                        SELDEN, NY 11784-1828
NIAGARA FALLS, NY 14305-1107



JOAN RANDELL CUST LEONARD RANDELL FEIN UGMA NY      JOAN RANDOLPH SCOTT CUST CATHERINE ALICE SCOTT      JOAN RUBENSTEIN
APT 6-C                                             U/THE VA UNIFORM GIFTS TO MINORS ACT                113 HATHERLY
145 NASSAU ST                                       900 N TAYLOR ST                                     SYRACUSE, NY 13224-1818
NEW YORK, NY 10038-1512                             APT 1617
                                                    ARLINGTON, VA 22203-1891


JOAN SILVERMAN CUST MICHAEL LAIRD SILVERMAN         JOAN WOODSIDE KENT CUST TAMI KATHLEEN KENT          JOAN WOODSIDE KENT CUST TARA KAY KENT
U/THE PA UNIFORM GIFTS TO MINORS ACT                U/THE MD UNIFORM GIFTS TO MINORS ACT                U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
1835 S LOOMIS UNIT 1 R                              12251 ROUNDWOOD RD                                  12251 ROUNDWOOD RD
CHICAGO, IL 60608                                   UNIT 307                                            UNIT 307
                                                    LUTHVLE TIMON, MD 21093                             LUTHVLE TIMON, MD 21093
                   09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                         Part 8 of 8 Pg 194 of 440
JOAN Y SCHIEFELBEIN                               JOANA ALBUQUERQUE                              JOANN BREVARD WALTON AS LIFE TENANT
500 PARK LN                                       PCT DAS TILIAS LT7 48A 4C                      UNDER THE WILL OF MARGARET DURHAM BREVARD
ELKHORN, WI 53121-1660                            URB JARDANS DA PAREDE                          9254 RIVERBLUFF ROAD
                                                  2775 336 PORTUGAL                              MILLINGTON, TN 38053-4106



JOANN D CASTEN                                    JOANN M COLOT & ROBERT R COLOT JR TR           JOANN R HORWATT
POB 208120                                        ROBERT R COLOT DISCLAIMER TRUST UA 02/16/02    & MELISSA HORWATT & MELANIE HORWATT & ROBERT
NEW HAVEN, CT 06520-8120                          10 NEW BRUNSWICK AVE                           HORWATT JR &
                                                  MATAWAN, NJ 07747-3314                         1776 BRAINARD ROAD
                                                                                                 LYNDHURST, OH 44124-3041


JOANN R OWEN CUST JOHN S OWEN                     JOANNE A PATRIDGE                              JOANNE ACOSTA
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        2748 130TH                                     C/O JOANNE K HENSON
10124 N W DORAL BLVD                              TOLEDO, OH 43611-2205                          PO BOX 292234
MIAMI, FL 33178-2921                                                                             DAYTON, OH 45429-0234



JOANNE ALBRIGHT THOMPSON                          JOANNE E HEBERLEIN EX UW WILLIAM H HEBERLEIN   JOANNE F REGAN CUST CHARLES H REGAN 3RD
210554 LAKE MINATARE RD                           5052 N 91ST ST                                 U/THE MASS UNIFORM GIFTS TO MINORS ACT
SCOTTSBLUFF, NE 69361-5532                        MILWAUKEE, WI 53225-4129                       160 LAKE STREET
                                                                                                 WEYMOUTH, MA 02189-1229



JOANNE F REGAN CUST MISS JOANNE F REGAN           JOANNE F SCHMIEDING TOD SANDRA MARTINEZ        JOANNE H ECKMAN
U/THE MASS UNIFORM GIFTS TO MINORS ACT            & SHARON ASHLEY & SUSAN HERRMANN               8155 101ST AVE
230 HIGHLAND ST                                   5262 SUWANNEE RD                               VERO BEACH, FL 32967-2864
MARSHFIELD, MA 02050-6217                         SPRING HILL, FL 34607-2356



JOANNE M HORN                                     JOANNE M KLEIN                                 JOANNE MCMURRAY
15116 168TH AVE NE                                550 MANCHESTER DRIVE                           110 SEINE SQUARE SEINE SQ
WOODINVILLE, WA 98072-9076                        MADISON HEIGHTS, MI 48071-2123                 WHITEHORSE YT
                                                                                                 Y1A 3C3 CANADA



JO-ANNE MEYER & NOREEN HOCHSPRUNG TR              JOANNE SCHIFFMAN CUST REEVA ILENE SCHIFFMAN    JOANNE TUBBS & STEVEN P TUBBS TR
ALFRED BERTONCINI IRREVOCABLE TRUST UA 02/28/96   U/THE N Y UNIFORM GIFTS TO MINORS ACT          JOANNE TUBBS IRREVOCABLE TRUST UA 10/08/02
89 CONCORD DR                                     190 N JEAN ST                                  96 GENESEE VIEW TRAIL
MAHOPAC, NY 10541-2027                            RAMSEY, NJ 07446-1405                          ROCHESTER, NY 14623-2042



JOANNE VAN ERP MONTAGUE                           JOAO S FERNANDES                               JOAO SIDNEY FERNANDES
3605 130TH AVE NE                                 AVENIDA GOIAS 2769                             AVENIDA GOIAS 2769
BELLEVUE, WA 98005-1351                           SAO CAETANO DO SUL SP                          SAO CAETANO DO SUL SP
                                                  CEP                                            CEP
                                                  09550-051 BRAZIL                               09550 051 BRAZIL


JOAQUIM MARTINS                                   JOCHEN BENDER                                  JODY BUITEN
RUA RAMALHO                                       DACHSTEINSTR 26                                100 E JEFFERSON
ORTIGAO #7-1                                      D-65199 WIESBADEN                              MI 49346 49346
2500 247 CALDAS DA RAIUHA                         GERMANY                                        STANWOOD, MI 49346-9636
PORTUGAL


JODY STEINBERG LAZAROW                            JOE CONLEY CUST JAMES B CONLEY                 JOE E BAKER
2545 HANDASYDE AVE                                U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT   & MARGE L BAKER TOD HELEN BAKER WANG SUBJECT TO
CINCINNATI, OH 45208-2715                         PO BOX 715                                     STA TOD RULES
                                                  ORINDA VILLAGE, CA 94563-0740                  2121 ANSLEY-PARK LANE
                                                                                                 SOUTHAVEN, MS 38672-8693
                    09-50026-mg           Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
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JOE JANG CUST MARK DARREL JANG                     JOE K LEONARD & ELOISE K LEONARD TR                  JOE L MILLER & CATHERINE SUE WALLACE TR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       JOE K LEONARD & ELOISE K LEONARD TRUST UA 05/09/94   UA 07/18/08 JOE L MILLER REVOCABLE TRUST
4243 BALFOUR AVE                                   4125 LOIS LN                                         PO BOX 1874
OAKLAND, CA 94610-1749                             ST LOUIS, MO 63125-4308                              FRAZIER PARK, CA 93225-1874



JOE M SMITH                                        JOE MORGAN & ROSIE L MORGAN TR                       JOE NICHIPORUK & HAZEL M NICHIPORUK TR
PO BOX 280062                                      UA 05/02/2000 JOE MORGAN & ROSIE L MORGAN TRUST      JOE & HAZEL M NICHIPORUK REVOCABLE LIV TRUST UA
MEMPHIS, TN 38168                                  5752 ROOSEVELT PLACE                                 6/17/98
                                                   SAINT LOUIS, MO 63120                                16134 WATERING POINT DR
                                                                                                        SAN ANTONIO, TX 78247-5628


JOE P TRAYLOR & SYLVIA E TRAYLOR TR                JOE R LOMAX                                          JOE T BRYANT
TRAYLOR FAMILY LIV REV TRUST UA 4/14/00            PO BOX 980164                                        2605 WEST STEIN RD
6019 RED FOX RD                                    YPSILANTI, MI 48198-0164                             LASALLE, MI 48145-9707
PENDLETON, IN 46064



JOE W PYLE CUST JEFFREY A PYLE                     JOEL A SCHNUR                                        JOEL BIGIO
A MINOR U/THE LOUISIANA GIFTS TO MINORS ACT        PO BOX 260452                                        207 8666 HEATHER ST
610 CROOKED CREEK DR                               ENCINO, CA 91426-0452                                VANCOUVER BC
NACOGDOCHES, TX 75965-1905                                                                              V6P 3S7 CANADA



JOEL C MONAHAN                                     JOEL ELI KAPENSTEIN                                  JOEL GREENBURG
140 WHITINS RD                                     ATTN MARCUS                                          2903 KLEIN ST
SUTTON, MA 01590-2700                              APT M16                                              ALLENTOWN, PA 18103-7408
                                                   207 W 86TH STREET
                                                   NEW YORK, NY 10024-3341


JOEL J EINHORN                                     JOEL MC KINNON CUST ASHLEY MC KINNON                 JOEL ROTHSTEIN WOLFSON CUST GABRIEL HENRY WOLFSON
PO BOX 228                                         UNDER THE FLORIDA GIFTS TO MINORS ACT                32 EARLWOODE DRIVE
ROXBURY, CT 06783-0228                             PO BOX 2270                                          WHITE PLAINS, NY 10606-3902
                                                   WINTER PARK, FL 32790-2270



JOEL ROTHSTEIN WOLFSON CUST NOAH ARIEL WOLFSON UTMA
                                                  JOEL
                                                    MD ROTHSTEIN WOLFSON CUST TALIA LIBBY WOLFSON UTMAJOEL
                                                                                                       MD V NIELSEN
32 EARLWOODE DRIVE                                32 EARLWOODE DRIVE                                  4390 200TH ST
WHITE PLAINS, NY 10606-3902                       WHITE PLAINS, NY 10606-3902                         FARMINGTON, MN 55024-9709




JOENE R HEINKE & PAUL F HEINKE JT TEN              JOHAN WILLEMS                                        JOHANNA YATES CUST ROBERT ELLSOWRTH YATES
2940 CRUMB ROAD                                    HOUSE 23 LEGEND 99 VILLA                             U/THE PA UNIFORM GIFTS TO MINORS ACT
WALLED LAKE, MI 48390-2874                         LANE 39 YIN XIAO RD                                  716 CHARETTE RD
                                                   PUDONG SHANGHAI                                      PHILADELPHIA, PA 19115-3502
                                                   201206 CHINA (PEOPLE'S REP)


JOHANNES A BUITEWEG & JOANNE R BUITEWEG TR         JOHANNES G ROODESTEIN                                JOHN A BENNIE & EDYTHE L BENNIE TR
UA 03/23/2009 JOHANNES A BUITEWEG & JOANNE R       812 WOODBINE AVE                                     JOHN A & EDYTHE L BENNIE REV TRUST UA 7/6/01
1337 SHENANDOAH DR                                 LANSING, MI 48910-2758                               1085 OREGON ST
ROCHESTER HLS, MI 48306                                                                                 GREEN BAY, WI 54303-3042



JOHN A CHRZANOWSKI CUST STEPHEN M CHRZANOWSKI      JOHN A CORNWELL & JOAN B CORNWELL TR                 JOHN A FOLEY & DOROTHY R FOLEY TR
U/THE DEL UNIFORM GIFTS TO MINORS ACT              JOHN A CORNWELL LIVING TRUST UA 12/08/97             FOLEY FAM REVOCABLE LIVING TRUSTUA 09/20/96
715 S DUPONT ST                                    226 PLANET RD                                        10 WILMINGTON AVE
WILMINGTON, DE 19805-4218                          NEWARK, DE 19711-2927                                APT 216E
                                                                                                        DAYTON, OH 45420-4822
                   09-50026-mg              Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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JOHN A HURST                                        JOHN A JONES & SHERRI L JONES TR                        JOHN A LEATHERWOOD CUST ROBERT W LEATHERWOOD
PO BOX 596406                                       JOHN A & SHERRI L JONES JOINT LIVING TRUST UA 3/21/02   U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
FORT GRATIOT, MI 48059-6406                         620 N SECOND STREET                                     9700 LEAWOOD BLVD
                                                    PLATTEVILLE, WI 53818-2123                              APT 213
                                                                                                            HOUSTON, TX 77099-2656


JOHN A LISIECKI & ROSEMARY K BAYER TR               JOHN A MANETTA                                          JOHN A MCKENZE
JOHN LISIECKI REVOCABLE TRUST UA 11/03/98           12377 212TH AVE                                         PO BOX 311095
3190 RAY RD                                         BIG RAPIDS, MI 49307-9220                               FLINT, MI 48531-1095
OXFORD, MI 48370-1816



JOHN A MICHELSON                                    JOHN A NUECHTERLEIN                                     JOHN A REHFUS & SHERRIE A REHFUS TR
PO BOX 219034                                       854 W TUSCOLA                                           UA 05/04/94 THE JOHN A REHFUS & SHERRIE A REHFUS
PORTLAND, OR 97225-9034                             FRANKENMUTH, MI 48734-9501                              TRUST
                                                                                                            3507 CAMBRIA CIRCLE
                                                                                                            LADY LAKE, FL 32162


JOHN A TISEVICH & PATRICIA M TISEVICH TR            JOHN A WATERHOUSE & LYDIA D WATERHOUSE TR               JOHN A WILSON CUST GREGORY ALLAN WILSON
TISEVICH FAMILY TRUST 12/01/99                      JOHN A & LYDIA D WATERHOUSE TRUSTUA 05/16/00            U/THE PA UNIFORM GIFTS TO MINORS ACT
945 DEVONWOOD DRIVE                                 934 W CATHY COURT                                       310 DUNCANNON ST
WADSWORTH, OH 44281-8859                            VENICE, FL 34293-1224                                   PHILIPSBURG, PA 16866-1828



JOHN A WOLOSON CUST ANDREW J WOLOSON                JOHN ANCINEC & ELINOR D ANCINEC TR                      JOHN B BARCROFT & ROBERTA J BARCROFT TR
A MINOR U/ART 8-A OF THE PERSONAL PROPERTY LAW OF   UA 06/04/90 JOHN ANCINEC & ELINOR D ANCINEC FAM         UA BARCROFT FAMILY REVOCABLE LIVING TRUST 11/14/91
NEW YORK                                            7350 INKSTER RD #112                                    200 LAUREL LAKE DR APT E 366
111 FLOVERTON STREET                                DEARBORN HEIGHTS, MI 48127-1631                         HUDSON, OH 44236-2156
ROCHESTER, NY 14610-1103


JOHN B CRUTCHLEY                                    JOHN B DUNN & JO ANNE DUNN TR                           JOHN B ELLINGTON & HELEN I ELLINGTON TR
6901 STATE ROAD 62                                  JOHN AND JO ANNE DUNN LIVING TRUST UA 10/20/98          JOHN & IRENE ELLINGTON FAMILY TRUST UA 05/24/94
BOWLING GREEN, FL 33834-8976                        6205 PEACOCK RUN                                        7410 E 6TH ST
                                                    LAKELANE, FL 33809-4619                                 TULSA, OK 74112-4710



JOHN B HOGAN & ROSEMARY D HOGAN TR                  JOHN B KEIFFER & KATHRYN A KEIFFER TR                   JOHN B MC CALL JR CUST ELIZABETH PARTRIDGE MC CALL
UA 01/04/2007 THE JOHN B HOGAN & ROSEMARY D         JOHN B KEIFFER LIVING TRUST UA 11/19/01                 U/THE FLORIDA GIFTS TO MINORS ACT
1537 SEAFORD LANE                                   1051 DREXEL                                             31 5TH ST
VIRGINIA BCH, VA 23454                              DEARBORN, MI 48128-1639                                 ATLANTIC BEACH, FL 32233-5307



JOHN B MC CALL JR CUST JOHN B MC CALL 3RD           JOHN B TRAINO SR CUST JOHN B TRAINO JR                  JOHN BRODOWSKY JR SUZETE BRODOWSKY TR
U/THE FLORIDA GIFTS TO MINORS ACT                   U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT              JOHN & SUZETE BRODOWSKY TRUST UA 02/18/03
31 5TH STREET                                       110 LYNTHWAITE FARM RD                                  54198 ASHLEY LAUREN
ATLANTIC BEACH, FL 32233-5307                       WILMINGTON, DE 19803-1536                               MACOMB, MI 48042-2339



JOHN BURT HAZLE JR CUST JOHN BURT HAZLE 4TH         JOHN C BARTLETT & CAROL A BARTLETT TR                   JOHN C DONNELLAN CUST JOHN EDWARD DONNELLAN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT              JOHN C & CAROL A BARTLETT LIVING TRUST UA 7/14/98       U/THE MINN UNIFORM GIFTS TO MINORS ACT
537 FALLS RD                                        39066 SPRINGWILLOW                                      2643 COUNTY ST 2846
CHAGRIN FALLS, OH 44022-2534                        WHITNEY, TX 76692-4022                                  CHICKASHA, OK 73018



JOHN C DONNELLAN CUST THOMAS PATRICK DONNELLAN      JOHN C GIGLIOTTI CUST MARYANN GIGLIOTTI                 JOHN C IRVINE & RUTH V IRVINE TR
U/THE MINN UNIFORM GIFTS TO MINORS ACT              U/THE MASS UNIFORM GIFTS TO MINORS ACT                  JOHN C & RUTH V IRVINE TRUST UA 07/28/92
11903 LAKE ST EXT                                   ATTN MARY GIGLIOTTI-LITTLE                              720 WELLINGTON AVE UN 203
HOPKINS, MN 55343-6904                              48 PARK STREET                                          ELK GROVE VLG, IL 60007-3366
                                                    WILMINGTON, MA 01887-1511
                   09-50026-mg            Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                               Part 8 of 8 Pg 197 of 440
JOHN C JANOSKI CUST JOHN C JANOSKI JR                   JOHN C KLEIN                                           JOHN C KLEINFELDER JR
U/THE PA UNIFORM GIFTS TO MINORS ACT                    3532 SOUTH 34TH STREET                                 16514 HUNTING VALLEY ST
117 N HAMPSHIRE DR                                      GREENFIELD, WI 53221-1123                              SAN ANTONIO, TX 78247-1051
DEPTFORD, NJ 08096-4208



JOHN C KOSCO CUST JOSEPH B KOSCO 2ND                    JOHN C LAFARGUE                                        JOHN C LAFARGUE & BARBARA S LAFARGUE JT TEN
U/THE PA UNIFORM GIFTS TO MINORS ACT                    8012 148TH AVE SE                                      8012 148TH AVE SE
4595 LEIR DR                                            NEWCASTLE, WA 98059-9252                               NEWCASTLE, WA 98059-9252
LACANADA
ALTADENA, CA 91001


JOHN C MC CARTHY CUST HUNTER MARIE MC CARTHY            JOHN C POLICH                                          JOHN C SEIPP CUST JEAN CAROL SEIPP
UNDER THE OH UNIF TRANFSERS TO MINORS                   5041 171ST ST                                          U/THE OHIO UNIFORM GIFTS TO MINORS ACT
PO BOX 27                                               TINLEY PARK, IL 60477-2049                             3709 ALHAMBRA CT
LILLIAN, AL 36549-0027                                                                                         CORAL GABLES, FL 33134-6227



JOHN C SINGLETON TR                                     JOHN C STRINGER TR                                     JOHN C TRUESDALE & KARIN N TRUESDALE TR
JOHN C SINGLETON REVOCABLE DECLARATION TRUST UA         JOHN C STRINGER & ALICE M STRINGER TRUST UA 03/04/96   UA 04/20/2007 TRUESDALE LIVING TRUST
07/28/05                                                PO BOX 107                                             7101 BAY FRONT DRIVE
229 BROOKSIDE LN                                        LENOXDALE, MA 01242-0107                               APT 609
WILLOWBROOK, IL 60527-2913                                                                                     ANNAPOLIS, MD 21403


JOHN CHARLES POWLESSON & JEAN V POWLESSON TR            JOHN CLARKE KANE & JON E STEFFENSEN TR                 JOHN COZZOLI CUST JOHN JOSEPH COZZOLI
JOHN C POWLESSON & JEAN V POWLESSON FAMILY TRUST        KATHERINE M KANE TRUST U-IND 07/25/66                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
535 RIDER CT                                            28 PURITAN PARK                                        45 HARBOR PARK DRIVE
CLAREMONT, CA 91711-2620                                SWAMPSCOTT, MA 01907-2423                              CENTERPORT, NY 11721-1640



JOHN D COHEN & LILLIAN L COHEN TR                       JOHN D DIVITTORIO & ALBERTA L DIVITTORIO TR            JOHN D GREINER
UA 08/12/94 JOHN & LILLIAN COHEN LIVING REVOCABLE       JOHN D DIVITTORIO & ALBERTA L DIVITTORIO JOINT         14452 ENGLAND ST
TRUST                                                   6314 ST HENRY DR                                       OVERLAND PARK, KS 66221-2237
95 CHURCH ST UNIT 2107                                  NASHVILLE, TN 37205-4121
LOS GATOS, CA 95030-6924


JOHN D HORTON CUST SHERI ANN HORTON                     JOHN D KENNEDY                                         JOHN D MCCOMB TR
U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT             4138 KLEIN AVE                                         BURT MCCOMB & ASSOCIATES INC PROFIT SHARING PLAN
65 E INDIA ROW APT PHE                                  STOW, OH 44224                                         & TRUST UA 09/12/77
BOSTON, MA 02117                                                                                               11 N MECHANIC ST
                                                                                                               LEBANON, OH 45036-1801


JOHN D MILLER & DONALD B MILLER TR                      JOHN D MORDEN                                          JOHN D SANDER & ELIZABETH M SANDER TR
UNDER THE L-W AND TESTAMENT OF NORMA I                  #104A                                                  JOHN D SANDER LIVING TRUST UA 10/01/96
24 PARK ST                                              200 120TH AVE W                                        1426 OAKWOOD TRAIL
MALONE, NY 12953-1213                                   TREASURE ISLAND, FL 33706-5154                         INDIANAPOLIS, IN 46260-4073



JOHN D SULLIVAN & VIDA T SULLIVAN TR                    JOHN D VINCEL CUST GEORGE W VINCEL                     JOHN DOUGLAS WEINGARTEN
THE JOHN D SULLIVAN & VIDA SULLIVAN TRUST UA 08/21/01   U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT             1319 CHESTNUT AVE
5245 WEST BROWN PLACE                                   3029 E SUNSHINE ST STE B                               WILMETTE, IL 60091-1617
DENVER, CO 80227-4137                                   SPRINGFIELD, MO 65804-2054



JOHN DOW FISHER 3RD                                     JOHN DUNLEVY                                           JOHN E ARCHER
PO BOX 470291                                           C/O MARY DUNLEVY                                       PO BOX 432 176 SKYLINE DR
TULSA, OK 74147-0291                                    29266 430TH ST                                         SMITHTON, PA 15479-0432
                                                        AVOCA, IA 51521-5575
                    09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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JOHN E BUTLER & PATRICIA O BUTLER TR                JOHN E CARRY & ANNETTE F CARRY TR                    JOHN E CLARK
JOHN E BUTLER & PATRICIA O BUTLER LIVING TRUST UA   THE CARRY FAMILY LIVING TRUST UA02/11/98             22900 165TH AVE
07/09/96                                            682 ROBBINANN DR                                     HERSEY, MI 49639-9629
22001/2 ELM AVE 243 HEATHER GLEN                    WATERFORD TWP, MI 48328-2345
LAURINBURG, NC 28352


JOHN E COX JR                                       JOHN E COX JR                                        JOHN E DEMMER CUST MARGUERITE A DEMMER
PO BOX 450403                                       PO BOX 450403                                        U/THE MICH UNIFORM GIFTS TO MINORS ACT
ATLANTA, GA 31145-0403                              ATLANTA, GA 31145-0403                               144 OAK PARK DR
                                                                                                         SAN ANTONIO, TX 78209-2131



JOHN E GRISHAM                                      JOHN E HAMBURN JR                                    JOHN E KEINATH
PO BOX 373085                                       & GAYLE KEEPING & STEVE D HAMBURN EX EST JOHN E      11120 BAKER
DECATUR, GA 30037                                   HAMBURN SR                                           FRANKENMUTH, MI 48734-9746
                                                    1801 BAYOU DRIVE
                                                    SHREVEPORT, LA 71105


JOHN E KIRBY CUST JOHN L KIRBY                      JOHN E KOSTELNY & MARJORIE A KOSTELNY TR             JOHN E OBERGFELL & PEGGY L OBERGFELL TR
U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT      UA 09/13/96 KOSTELNY FAMILY TRUST                    JOHN E & PEGGY L OBERGFELL LIVING TRUST UA 06/09/04
516 S ABILENE AVE                                   4747 N CANFIELD AVE APT 1330                         6998 OPOSSUM DR
APT 4                                               NORRIDGE, IL 60706-4480                              NINEVEH, IN 46164-9547
PORTALES, NM 88130-6327


JOHN E PEHRSON & MARY E PEHRSON TR                  JOHN E PETERSON & BETTY J PETERSON TR                JOHN E RONECKER
JOHN E PEHRSON & MARY E PEHRSON 1999 LIVING TRUST   PETERSON FAMILY TRUST NO P 1 UA 02/09/01             & JEANETTE G RONECKER & JEFFERY A RONECKER &
UA 06/24/99                                         8247 EAST EMELITA AVE                                JERRY K RONECKER JT TEN
1571 N FILBERT RD                                   MESA, AZ 85208-4625                                  4539 GEMINI DR
EXETER, CA 93221-9783                                                                                    ST LOUIS, MO 63128-2433


JOHN E RYMER CUST ANN ELIZABETH RYMER               JOHN E STANTON                                       JOHN E STEINER
U/THE FLORIDA GIFTS TO MINORS ACT                   6700 150TH AVE N #412                                120 RITTMAN RD
5 HIGHWAY 28                                        CLEARWATER, FL 33764-7195                            RITTMAN, OH 44270-1276
HIGHLANDS, NC 28741-9664



JOHN E VASSER                                       JOHN E WESANEN & MORITA J WESANEN TR                 JOHN E WILLIAMS & HELEN D WILLIAMS TR
PO BOX 851195                                       JOHN E & MORITA J WESANEN LIVING TRUST UA 02/27/06   JOHN E WILLIAMS TRUST UA 11/22/96
WESTLAND, MI 48185-6295                             17618 KINLOCH                                        3821 LOTUS DR
                                                    REDFORD, MI 48240-2245                               WATERFORD, MI 48329



JOHN E WILLIAMS CUST MARK ANDREW WILLIAMS           JOHN E WOLFE                                         JOHN E ZOBAVA
U/THE MO UNIFORM GIFTS TO MINORS ACT                PO BOX 690565                                        6840 156TH AVE N W
10345 COUNTY RD 130                                 VERO BEACH, FL 32969-0565                            RAMSEY, MN 55303-4020
CARTHAGE, MO 64836-8572



JOHN EDWARD SCHULIEN                                JOHN ELLISON                                         JOHN EMANUEL CUST MICHAEL EMANUEL
135 W HAMMOND ST                                    204-735 WONDERLAND N                                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
MUNDELEIN, IL 60060-2227                            LONDON ON                                            1331 BOXWOOD DRIVE WEST
                                                    N6H 4L1 CANADA                                       HEWLETT HARBORAAAA, NY 11557-2206



JOHN EMERSON WITT & IRENE KERR WITT TR              JOHN ENDEAN CUST JEFFREY JOHN ENDEAN                 JOHN ERIC HOBEIN
JOHN EMERSON WITT & IRENE KERR WITT FAM TRUST UA    U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           699 N VULCAN #134A
09/08/94                                            1825 GLENCAIRN                                       ENCINITAS, CA 92024-2135
906 BRYNWOOD TERR                                   SAGINAW, MI 48609-9596
CHATTANOOGA, TN 37415-3007
                    09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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JOHN EVANCHO CUST ROBERT J EVANCHO                  JOHN EVERETS CUST JOHN EVERETS JR                   JOHN F & DOROTHY M FOSTER TR
U/THE PA UNIFORM GIFTS TO MINORS ACT                U/THE MASS UNIFORM GIFTS TO MINORS ACT              THE JOHN F & DOROTHY M FOSTER REV TRUST UA 10/27/95
25 SILVERWOOD BLVD                                  120 WATER ST                                        130 W FOSTER DR
NEWARK, DE 19711-8303                               BOSTON, MA 02109                                    HALLSVILLE, MO 65255-9314



JOHN F DIFFLEY JR & ELIZABETH C DIFFLEY TR          JOHN F HENEHAN & MARGARET ANN HENEHAN TR            JOHN F JACKSON CUST DAVID REID JACKSON
DIFFLEY FAM TRUST UA 02/14/97                       UA 07/01/91 JOHN F HENEHAN & MARGARET ANN HENEHAN   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
1095 SILVERCREST CIR                                TRUST                                               746 BRIGHTSIDE CRESCENT
APT 312                                             21992 LANCREST CT                                   VENICE, FL 34293-4333
IOWA CITY, IA 52240-2969                            FARMINGTON HILLS, MI 48335-5804


JOHN F JACKSON CUST DOUGLAS LEE JACKSON             JOHN F JACKSON CUST JOHN SCOTT JACKSON              JOHN F KENIRY CUST KATHLEEN J KENIRY
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE N Y UNIFORM GIFTS TO MINORS ACT
746 BRIGHTSIDE CRESCENT DR                          746 BRIGHTSIDE CRESCENT DR                          180 OLD SCHUYVILLE RD
VENICE, FL 34293-4333                               VENICE, FL 34293-4333                               SARATOGA SPRINGS, NY 12866



JOHN F KIRKPATRICK & DONNIS S KIRKPATRICK TR        JOHN F KOTCHIAN CUST JOHN A KOTCHIAN                JOHN F MITCHELL JR & ADELE R MITCHELL TR
JOHN F & DONNIS S KIRKPATRICK LIVING                U/THE CONN UNIFORM GIFTS TO MINORS ACT              JOHN F MITCHELL & ADELE R MITCHELL REV LIV TR 12/05/03
210 POPLAR DR                                       204 SKYLINE DR                                      1402 DEBRA ST
ALEXANDRIA, IN 46001-1039                           MIDDLEBURY, CT 06762-1719                           STARKE, FL 32091-1408



JOHN F MITCHELL TR                                  JOHN F NEENAN & MADELINE G NEENAN TR                JOHN F OCHS & VIRGINIA OCHS WALTON TR
UA 11/26/2001 JOHN FREDERICK MITCHELL FAMILY        UA 04/15/88 JOHN F NEENAN & MADELINE G              UA 05/10/78 GEORGE FRANKLIN OCHS LIVING TRUST
REVOCABLE TRUST                                     4799 WILLIAMS RD                                    301 BRIDGE ST
307 WOODLAND DR                                     SAN JOSE, CA 95129-3232                             CHARLEVOIX, MI 49720
ELON, NC 27244


JOHN F PARKER & VERA C PARKER TR                    JOHN F REINKE                                       JOHN F SULLIVAN
VERA C PARKER REVOCABLE LIVING TRUST UA 11/30/00    3732 W 46 PLACE                                     BOX 760024
9490 E BURT RD                                      CLEVELAND, OH 44102-6010                            LATHRUP VILLAGE, MI 48076-0024
BIRCH RUN, MI 48415-9427



JOHN F WOOLDRIDGE & DONNA K WOOLDRIDGE TR           JOHN FEUSTEL & SYLVIA FEUSTEL JT TEN                JOHN FORD-JR
JOHN F & DONNA K WOOLDRIDGE TRUST UA 2/26/01        2690 320TH STREET                                   176-B COLUMBINE AVE
RR 1 BOX 73                                         CHELSEA, IA 52215-9774                              WHITING, NJ 08759-2907
BROUGHTON, IL 62817-9744



JOHN FOREMAN                                        JOHN FRANCIS KOSTICK                                JOHN FRANK & VIRGINIA A FRANK TR
PO BOX 389278                                       3 TERN CT                                           JOHN FRANK & VIRGINIA ANN FRANK TRUST 12/7/99
CHICAGO, IL 60638-9278                              WHITING, NJ 08759-3718                              6425 DAKOTA RIDGE
                                                                                                        EL PASO, TX 79912



JOHN FREDERIC REINHARDT                             JOHN G COLEMAN CUST LAURA M COLEMAN                 JOHN G CONLEY CUST MARIE THERESA CONLEY
PO BOX 1001                                         U/THE LOUISIANA GIFTS TO MINORS ACT                 U/THE ILL UNIFORM GIFTS TO MINORS ACT
GROVE CITY, OH 43123-6001                           3799 GREENWAY PL                                    1040 STARR RD
                                                    SHREVEPORT, LA 71105-2013                           WINNETKA, IL 60093-2033



JOHN G CONLEY CUST MARY MARGARET CONLEY             JOHN G CONLEY CUST TIMOTHY F CONLEY                 JOHN G COYLE CUST MARK E COYLE
U/THE ILL UNIFORM GIFTS TO MINORS ACT               U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          U/THE KANSAS UNIFORM GIFTS TO MINORS ACT
903 E GREENWOOD DR                                  203 E FRANKLIN ST                                   614 S ST
MOUNT PROSPECT, IL 60056-1339                       ROCKTON, IL 61072-2213                              ATCHISON, KS 66002-2925
                   09-50026-mg             Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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JOHN G KELLEHER & PATRICIA J KELLEHER TR               JOHN G KLING & DOLORES M KLING TR                      JOHN G KOLMETZ CUST JOHN G KOLMETZ JR
J C KELLEHER & P J KELLEHER UA 12/29/83                10/26/98 JOHN G KLING & DOLORES M KLING LIVING TRUST   U/THE MICH UNIFORM GIFTS TO MINORS ACT
550 A AVE                                              1563 ROC DR                                            24506 AUDREY
CORONADO, CA 92118-1918                                COMMERCE TWP, MI 48390-3246                            WARREN, MI 48091-1778



JOHN G PAGE JR CUST JOHN THOMAS PAGE                   JOHN GERARD FLYNN                                      JOHN GOLDFEIN
U/THE KANSAS UNIFORM GIFTS TO MINORS ACT               8439 153 AVENUE APT 3M                                 30 EAST 37TH STREET
326 S CHERRY ST                                        HOWARD BEACH, NY 11414-1951                            NEW YORK, NY 10016-3019
OLATHE, KS 66061-4427



JOHN GRAVER CUST KYLE B GRAVER                         JOHN GRAVER CUST LESLIE V GRAVER                       JOHN GREGOR PAUL CUST CHRISTOPHER BATTIN PAUL
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT
300 WINDEMERE WAY                                      300 WINDEMERE WAY APT 401C                             413 BELMONT DR
APT 401C                                               NAPLES, FL 34105-7188                                  CHERRY HILL, NJ 08002-1905
NAPLES, FL 34105-7188


JOHN H FECHTER & BONNIE I FECHTER TR                   JOHN H HINTON                                          JOHN H HOMRIGHAUSEN CUST JOHN MARK HOMRIGHAUSEN
UA 02/15/86 THE FECHTER FAMILY TRUST                   PO BOX 311165                                          U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
1607 ASTORIA DR                                        FLINT, MI 48531-1165                                   5122 GRETNA GREEN
FAIRFIELD, CA 94533-3355                                                                                      HOUSTON, TX 77084-1926



JOHN H IHLE & JULIE ANNE SAUCEDO TR                    JOHN H JACOBSON CUST DAVID P JACOBSON                  JOHN H KRAMER
JOHN H IHLE LIVING TRUST UA 11/08/04                   U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT            1026 S HEINCKE RD
902 WIER ST                                            1920 QUEBEC AVE N                                      MIAMISBURG, OH 45342-3859
MUSCATINE, IA 52761-3635                               GOLDEN VALLEY, MN 55427-3533



JOHN H KRAMER & BERNICE A KRAMER JT TEN                JOHN H LEWIS & BILLIE J LEWIS TR                       JOHN H LEYH CUST JAMES J LEYH
1026 S HEINCKE ROAD                                    THE JOHN H LEWIS & BILLIE J LEWIS TRUST UA 01/25/96    U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
MIAMISBURG, OH 45342-3859                              2598 N AYALA DR #138                                   931 EAST MARKET STREET
                                                       RIALTO, CA 92377-8826                                  GEROGETOWN, DE 19947-2225



JOHN H MC BRIDE                                        JOHN H NICKODEMUS II & ROSE M NICKODEMUS TR            JOHN H REA & VIRGENE L REA TR
BUPA DONVALE                                           UA 04/23/01 BY JOHN H NICKODEMUS E T AL                VIRGENE L REA TRUST UA 02/21/95
296-304 SPRINGVALE RD                                  1126 THURMAN ST                                        PO BOX 91
DONVALE                                                SAGINAW, MI 48602-2850                                 DUNDEE, IL 60118-0091
VIC 3111 AUSTRALIA


JOHN H SCHMIDT SR TR                                   JOHN H SHOEMAN & JEANNE H SHOEMAN TR                   JOHN H SPRENKLE & ELIZABETH M SPRENKLE TR
UA 02/04/92 JOHN H SCHMIDT SR REVOCABLE LIVING TRUST   JOHN & JEANNE SHOEMAN TRUST UA 11/6/95                 UA 11/27/07 SPRENKLE FAMILY TRUST
1201 WELCH BLVD                                        180 TEPEEOTAH RD                                       5939 N PONTATOC RD
FLINT, MI 48504-7359                                   TRACY, MN 56175-2036                                   TUCSON, AZ 85718



JOHN H STANLEY & JEAN M STANLEY TR                     JOHN H TILTON CUST JOHN H TILTON JR                    JOHN H ULLMAN STEVEN M ULLMAN & SHARON L ULLMAN TR
UA 12/15/92 THE STANLEY FAMILY REVOCABLE LIVING        U/THE N H UNIFORM GIFTS TO MINORS ACT                  JOHN H ULLMAN TR UA 02/22/84
TRUST                                                  152 EAST 94TH ST                                       165 GARNET AVE
3277 MYERSVILLE RD                                     NEW YORK, NY 10128-2510                                SAN CARLOS, CA 94070
UNIONTOWN, OH 44685-8324


JOHN H WESSON CUST JOHN HOWARD WESSON                  JOHN HANCOCK TR LAWRENCE A WASZAK IRA A/C              JOHN HENRY FINKENBERG & MARION MILDRED FINKENBERG T
U/THE ARKANSAS UNIFORM GIFTS TO MINORS ACT             4525 S CLINTON AVE                                     FINKENBERG FAM TRUST UA 09/18/97
190 BLUE BAYOU ROAD                                    BERWYN, IL 60402-4312                                  1158 PULORA CT
NASHVILLE, AR 71852-7462                                                                                      SUNNYVALE, CA 94087-2331
                   09-50026-mg               Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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JOHN HENRY HINKEBEIN                                 JOHN HENRY HOUSER                                  JOHN HESSELL CUST JOHN HESSELL 3RD
7505 N PARK PLACE                                    9450 131ST ST                                      U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
LYNDON, KY 40222-4823                                SEMINOLE, FL 33776-1636                            55 BENTON ROAD
                                                                                                        PARAMUS, NJ 07652-2105



JOHN HIGGINS & ESTHER HIGGINS TR                     JOHN HOFFMAN & BETTY HOFFMANAS TR                  JOHN HOLMES
JOHN & ESTHER HIGGINS TRUST UA 10/13/94              JOHN HOFFMAN & BETTY HOFFMAN TRUST UA 02/05/87     PO BOX 311049
32100 SW FRENCH PRAIRIE DR                           10312 DOMINION VALLEY DR                           FLINT, MI 48531-1049
APT 203                                              FAIRFAX STATION, VA 22039-2416
WILSONVILLE, OR 97070-7008


JOHN I BOXBERGER                                     JOHN I CARVER                                      JOHN J BARTASAVAGE SR CUST JUDITH CATHERINE BARTASA
11903 207TH AVE EAST                                 PO BOX 850438                                      U/THE MICH UNIFORM GIFTS TO MINORS ACT
BONNEY LAKE, WA 98391                                YUKON, OK 73085-0438                               114 FAIRFIELD DRIVE
                                                                                                        PAW PAW, MI 49079-1711



JOHN J BOGUE JR & SHIRLEY CASSIDY BOGUE TR           JOHN J BOHACHICK & SOPHIA E BOHACHICK TR           JOHN J BRADY SR CUST MARY ELLEN BRADY
UA 05/04/1989 JOHN J BOGUE JR & SHIRLEY CASSIDY      JOHN J & SOPHIA E BOHACHICK REV LIVING TRUST UA    A MINOR U/P L55 CHAP 139 OF THE LAWS OF NJ
651 WOODSTOCK RD                                     4/05/02                                            ATTN MARY ELLEN STYPINSKI
HILLSBOROUGH, CA 94010                               2028 FRANKSTOWN RD                                 54 BARNES POINT RD
                                                     JOHNSTOWN, PA 15902-4509                           HARPSWELL, ME 04079-2725


JOHN J BRONKHORST & HELEN L BRONKHORST TR            JOHN J CARSON & SARAH J CARSON TR                  JOHN J CRAWFORD CUST JOHN J CRAWFORD JR
BRONKHORST FAMILY TRUST UA 12/11/96                  UA 10/19/90 JOHN J CARSON GRANTOR TRUST            U/THE N Y UNIFORM GIFTS TO MINORS ACT
13956 N TRADE WINDS WAY                              2360 US HWY 160                                    346 FLINT CREEK DR
ORO VALLEY, AZ 85755-9087                            PARSON, KS 67357-8413                              RICHMOND HILL, GA 31324-3734



JOHN J DOMBKOWSKI CUST ROBERT J DOMBKOWSKI           JOHN J EILBACHER & JOAN-MARIE EILBACHER TR         JOHN J HARMON CUST JAY LAWRENCE HARMON
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UA 09/27/2006 EILBACHER FAMILY TRUST               A MINOR UNDER THE LAWS OF OREGON
13728 SE 88TH AVE                                    1647 SANDHURST ROAD                                232 VALLEY VIEW DRIVE
SUMMERFIELD, FL 34491-9605                           COLUMBUS, OH 43229                                 MEDFORD, OR 97504-6974



JOHN J KEMP & CYNTHIA JOHNSON-KEMP TR                JOHN J KOZUP & ELEANOR C KOZUP TR                  JOHN J LOGAN
UA 06/30/94 THE JOHN J KEMP & CYNTHIA JOHNSON-KEMP   JOHN J KOZUP & ELEANOR C KOZUP REVOCABLE LIVING    PO BOX 190506
1994 REV TR                                          TRUST UA 8/6/03                                    ANCHORAGE, AK 99519-0506
2634 LADBROOK WAY                                    7570 2ND ST
THOUSAND OAKS, CA 91361-5073                         DEXTER, MI 48130-1441


JOHN J MERRILEES & IRENE F MERRILEES TR              JOHN J MORAN                                       JOHN J MOTLER JAMES MOTLER GEORGE E MOTLER JR
MERRILEES FAMILY REV LIV TRUST UA 09/01/04           & JACQUELINE B SARVAIDEO & JOANN LANGAN & JOHN J   & MRS MARTHA A RAGULE JT TEN
1488 STATE ROUTE 162 EAST                            MORAN JR &                                         38 TERRACE AVE
NORTH FAIRFIELD, OH 44855-9686                       4 FLOWER ST                                        ALBANY, NY 12203-1919
                                                     NEW ROCHELLE, NY 10801-7507


JOHN J O'CONNELL & EVELYN O'CONNELL TR               JOHN J RYAN CUST MISS JEANNINE RYAN                JOHN J SCHINDLER & HENRIETTA SCHINDLER TR
JOHN J & EVELYN O'CONNELL LIVING TRUST UA 6/08/04    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         SCHINDLER FAM TRUST UA 05/28/96
821 DELEON CT #309                                   46 COSDREW LN                                      16010 BORMET DR
DUNEDIN, FL 34698-6080                               EAST HAMPTON, NY 11937-2503                        TINLEY PARK, IL 60477-6354



JOHN J SCULLY JR & MRS ALVAH H SCULLY JT TEN         JOHN J SEMON CUST JOSEPH SEMON                     JOHN J SHAFFREY CUST JOHN B SHAFFREY
509 ROUTE 530                                        U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
WHITING, NJ 08759-3145                               8385 MEDITERRANEAN WAY                             6208 MOUNTAIN SPRING CT
                                                     SACRAMENTO, CA 95826                               CLIFTON, VA 20124-2322
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                              Part 8 of 8 Pg 202 of 440
JOHN J SLATTERY & KATRINA J SLATTERY TR               JOHN J SPANGLER & MABLE R SPANGLER TR              JOHN J STROMSKI III
SLATTERY FAMILY 1999 TRUST UA 07/08/99                JOHN J SPANGLER JOINT LIVING TRUST UA 04/19/97     31685 ECKSTEIN
PO BOX 1036                                           1782 ELMWOOD DR                                    WARREN, MI 48092-1667
SAUSALITO, CA 94966-1036                              DEFIANCE, OH 43512-2509



JOHN J STUHR                                          JOHN JANKOWSKI CUST RICHARD J JANKOWSKI            JOHN JOSEPH BRANN & FRANCES GRIFFITH BRANN TR
PO BOX 133007                                         U/THE MICH UNIFORM GIFTS TO MINORS ACT             JOHN JOSEPH BRANN REVOCABLE TRUST UA 10/03/96
ATLANTA, GA 30333-3007                                321 NE 5TH CT                                      4631 WARRINGTON DR
                                                      DANIA, FL 33004-2918                               ORLANDO, FL 32826-4025



JOHN JOSEPH MEADE JR & BONNIE JEAN MEADE TR           JOHN JOSEPH MEADE JR & BONNIE JEAN MEADE TR        JOHN JOSEPH REILLY SR CUST JAMES PETER REILLY
JOHN J MEADE JR & BONNIE J MEADEREVOCABLE TRUST       JOHN JOSEPH MEAD JR TRUST UA 12/30/03              A MINOR U/PL 55 CHAPTER 139 OF THE LAWS OF NEW
UA 12/30/03                                           14198 SANDHURST ST                                 JERSEY
14198 SANDHURST ST                                    BROOKSVILLE, FL 34613-5780                         1549 MAIN ST
BROOKSVILLE, FL 34613-5780                                                                               MANCHESTER CENTER, VT 05255-8921


JOHN JOSEPH SEERLEY JR                                JOHN K CRISSMAN CUST JOHN K CRISSMAN JR            JOHN K CRISSMAN CUST SUSAN CRISSMAN
1812 314TH ST S                                       U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
ROY, WA 98580-9684                                    643 FIELDSTONE DR                                  8344 SHADOW CREEK DR
                                                      ROCHESTER HILLS, MI 48309-1669                     MAPLE GROVE, MN 55311-1508



JOHN K LEINER                                         JOHN K LOWER CUST JEFFREY T LOWER                  JOHN K MC LAUGHLIN CUST KEVIN CHARLES MC LAUGHLIN
2216 CLEMENTINE TRAIL                                 UNDER THE FLORIDA GIFTS TO MINORS ACT              U/THE N MEX UNIFORM GIFTS TO MINORS ACT
CLERMONT, FL 34711                                    6584 ENGRAM RD 304D                                25 BAYBERRY LANE
                                                      NEW SMYRNA BEACH, FL 32169-4920                    MOUNTAINSIDE, NJ 07092-1401



JOHN K PITSCH                                         JOHN K THOMAS & CECILIA A THOMAS TR                JOHN KACPERSKI
3013 143RD AVE                                        UA 5/25/00 JOHN K & CECILIA A THOMAS               PO BOX 801117
PO BOX 21                                             6271 RANGEVIEW DR                                  SANTA CLARITA, CA 91380-1117
BURNIPS, MI 49314-0021                                DAYTON, OH 45415-1927



JOHN KEITH III                                        JOHN L BURNETT & BARBARA E BURNETT TR              JOHN L EASTMAN SR CUST JOHN L EASTMAN JR
300 PUPPY SMITH RD 205-230                            JOHN L BURNETT & BARBARA E BURNETT REV TRUST UA    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
ASPEN, CO 81611-1455                                  12/14/00                                           39 W 54TH ST
                                                      8302 E NATAL AVE                                   NEW YORK, NY 10019-5404
                                                      MESA, AZ 85208-6727


JOHN L GILTROP & PAULETTE M GILTROP JT TEN TOD JOHN W GILTROP
                                                      JOHN L JERNIGAN III & ARABELLE B JERNIGAN TR       JOHN L KESSLER SR & DONNA L KESSLER TR
CHRISTINE M HAUSBECK TEN COM                          REV INTERVIVOS TR UA 05/17/79 PAULL F              JOHN L KESSLER SR & DONNA L KESSLER TRUST
2930 EDDY                                             PO BOX 1562                                        12006 CENTER RD
SAGINAW, MI 48604-2311                                DECATUR, AL 35602-1562                             TRAVIS CITY, MI 49686



JOHN L KOVACHIC                                       JOHN L O'HARA JR & BARBARA C O'HARA TR             JOHN L RYBISKI
PO BOX 670883                                         UA 8/12/93 THE JOHN & BARBARA O'HARA               1550 135TH AVE
NORTHFIELD, OH 44067-0883                             80 CAMINO ENCINAS                                  WAYLAND, MI 49348-9567
                                                      ORINDA, CA 94563-3335



JOHN L STEINHAUSER                                    JOHN LEW & MARY LEW TR                             JOHN M & PAULINE E MCGUIRE TR
1604 CROYDON LN                                       UA 06/30/2009 2009 JOHN LEW & MARY LEW REVOCABLE   JOHN M MCGUIRE REVOCABLE LIVING TRUST UA 12/15/98
MIDDLETOWN, OH 45042-2921                             105 S SACRAMENTO ST                                39104 DURAND CT
                                                      TULARE, CA 93274                                   STERLING HEIGHTS, MI 48310-2403
                   09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                         Part 8 of 8 Pg 203 of 440
JOHN M CHASE III & HEATHER A CHASE TR             JOHN M CHASE III TR                                     JOHN M CHASE III TR
JOHN M CHASE & HEATHER A CHASE REVOCABLE          JOHN M CHASE III IRREVOCABLE TRUST UA 12/01/01 ELAINE   JOHN M CHASE III IRREVOCABLE TRUST UA 12/01/01 JOHN M
266 MCMILLAN RD                                   KATHERINE CHASE                                         CHASE IV
GROSSE POINTE FARM, MI 48236-3456                 266 MCMILLAN                                            266 MCMILLAN
                                                  GROSSE POINTE FARM, MI 48236-3456                       GROSSE POINTE FARM, MI 48236-3456


JOHN M CHASE III TR                               JOHN M DANIELL CUST JEREMY C DANIELL UTMA GA            JOHN M DANIELL CUST JOSH C DANIELL UTMA GA
JOHN M CHASE III IRREVOCABLE TRUST UA 12/01/01    PO BOX 201116                                           PO BOX 201116
THOMAS EDWARD CHASE                               CARTERSVILLE, GA 30120-9023                             CARTERSVILLE, GA 30120-9023
266 MCMILLAN
GROSSE POINTE FARM, MI 48236-3456


JOHN M DARBY                                      JOHN M GANNON CUST PAUL M GANNON                        JOHN M GILLESPIE & MARGARET GILLESPIE TR
& ELIZABETH W DARBY Y RUTH ANN HELWIG& DAREE J    U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT           UA 08/30/00 GILLESPIE FAMILY REVOCABLE LIVING TRUST
RUMBOLD JT TEN                                    PO BOX 2933                                             7691 RANETT AVE
1448 S HOLLY ROAD                                 PALMER, AK 99645-2933                                   HUDSON, OH 44236-1465
FENTON, MI 48430-8525


JOHN M HEINZ                                      JOHN M HOLLAND CUST BARBARA L HOLLAND                   JOHN M HOLLAND CUST JOHN J HOLLAND
2400 R F D                                        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT              U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
LONG GROVE, IL 60047                              5166 N E SULLIVAN ROAD                                  1128 COVENTRY SQUARE DR
                                                  BAINBRIDGE ISLAND, WA 98110-2002                        ANN ARBOR, MI 48103-6300



JOHN M LEIDLEIN III                               JOHN M LEIDLEIN JR & ALEXANDRA G LEIDLEIN JT TEN        JOHN M LEINONEN
444 DONALD DRIVE SW                               18675 PARKSIDE                                          47609 PINE CREEK CT
NEW PHILADELPHIA, OH 44663-7200                   DETROIT, MI 48221-2208                                  NORTHVILLE, MI 48167-8527




JOHN M MONTANA & A CAROLINE MONTANA TR            JOHN M NADER                                            JOHN M NORAIAN SR & LUCILLE H NORAIAN TR
MONTANA FAMILY TRUST UA 02/09/04                  PO BOX 311267                                           UA 03/27/90 JOHN M NORAIAN SR TRUST
2416 N BELLBROOK ST                               DETROIT, MI 48231-1267                                  4065 JUSTIN CT
ORANGE, CA 92865-2834                                                                                     BLOOMFIELD TWN, MI 48302-4025



JOHN M OREILLY JR & LUANNE O OREILLY TR           JOHN M OWENS JR                                         JOHN M POE II TR UA 09/14/94 JOHN M POE II
OREILLY LIVING TRUST UA 09/09/98                  PO BOX 662171                                           8526 157TH PLACE NW
505 PARRISH POINT BLVD                            LIHUE, HI 96766                                         STANWOOD, WA 98292-6797
MARY ESTHER, FL 32569



JOHN M REPKA & MARIANNE REPKA TR                  JOHN M SAMMS TR                                         JOHN M SHEERAN CUST JOHN M SHEERAN JR
REPKA FAMILY REVOCABLE TRUST UA 02/07/05          PENINSULA FAM MEDICAL CENTER PROFIT SHARING PLAN        U/THE MINN UNIFORM GIFTS TO MINORS ACT
3804 LEATHERTOP DR                                & TR 01/01/89 JOHN                                      RFD #1
PLANO, TX 75075-1591                              9007 WARREN DR NW                                       HIAWATHA, KS 66434-9801
                                                  GIG HARBOR, WA 98335-6008


JOHN M STOUDT 3RD CUST MISS NANCY LYNN STOUDT     JOHN M STOUDT CUST DAVID JOHN STOUDT                    JOHN M WELLS
U/THE IND UNIFORM GIFTS TO MINORS ACT             U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT          PO BOX 740521
63 PUMPKIN LANE                                   801 SLEDGE AVE WHITFIELD                                ORANGE CITY, FL 32774-0521
LITTLETON, NC 27850-8910                          READING, PA 19609-1112



JOHN M WICKERSHAM CUST JOHN M WICKERSHAM JR       JOHN M WILLITS                                          JOHN MALNIC & MARY L MALNIC TR
U/THE DEL UNIFORM GIFTS TO MINORS ACT             13405 424 AVE SE                                        JOHN MALNIC & MARY L MALNIC TRUST UA 10/04/01
4940 ALMINAR AVENUE                               NORTH BEND, WA 98045-9022                               8824 WESTERN HEMLOCK WAY
LA CANADA, CA 91011                                                                                       LORTON, VA 22079-5665
                   09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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JOHN MANDROS CUST PAULA A MANDROS                   JOHN MANTOVANI & CAROLYN M MANTOVANI TR             JOHN MARCOSKY CUST JEFFREY ALAN MARCOSKY
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT      JOHN & CAROLYN M MANTOVANI REV LIVING TRUST UA      U/THE MICH UNIFORM GIFTS TO MINORS ACT
408 1/2 N SIERRA BONITA AVE                         09/16/96                                            2560 STRATFORD LN
LOS ANGELES, CA 90036-2408                          16034 HAUSS                                         MORROW, GA 30260-2129
                                                    EASTPOINTE, MI 48021-1123


JOHN MARCOSKY CUST SHARON LYNN MARCOSKY             JOHN MC KINSTRY BALFE CUST CAROL HILTON BALFE       JOHN MC KOWEN TAYLOR
U/THE MICH UNIFORM GIFTS TO MINORS ACT              U/THE CALIF UNIFORM GIFTS TO MINORS ACT             2150 KLEINERT AVE
30424 RAMBLEWOOD DRIVE                              127 WOODHAVEN LANE                                  BATON ROUGE, LA 70806-6712
FARMINGTON HILLS, MI 48018                          SEABROOK, TX 77586-4715



JOHN MEIER CUST RANDALL JON MEIER                   JOHN MERIDETH CUST RANDALL TODD MERIDETH            JOHN MILITELLO & JUDITH MILITELLO TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE KANSAS UNIFORM GIFTS TO MINORS ACT            JOHN S MILITELLO LIVING TRUST UA 01/23/00
PO BOX 1908                                         5516 CHARLES ST                                     209 GARRISON RD
TRAVERSE CITY, MI 49685-1908                        BETHESDA, MD 20814-1615                             WILLIAMSVILLE, NY 14221-6941



JOHN MINTEER                                        JOHN MORTIMER & RHODA GODFREY TR BRUCE ALAN MALAMENT
                                                                                                      JOHN& LARI
                                                                                                            N ECHTERNACH
                                                                                                                 JILL     CUST ELIZABETH W ECHTERNACH
2624 143RD PL SE                                    MALAMENT U-A WITH WILLIAM MALAMENT 8/21/72        UNDER THE CALIFORNIA U-G-M-A
MILL CREEK, WA 98012-5733                           PO BOX 615                                        22 CHELSEA POINTE
                                                    UNION CITY, NJ 07087-0615                         DANA POINT, CA 92629-2750



JOHN N PATRICK & ALBERTA E PATRICK TR               JOHN N WILKINSON JR CUST ELIZABETH ANNE WILKINSON   JOHN NAY
JOHN N PATRICK LIVING TRUST UA 02/17/98             U/THE VA UNIFORM GIFTS TO MINORS ACT                11510 155TH AVE SE
PO BOX 101707                                       105 NORTH BOULEVARD                                 RENTON, WA 98059-6001
CAPE CORAL, FL 33910-1707                           RICHMOND, VA 23220-4303



JOHN O PARRY & HELEN A PARRY TR                     JOHN OLT CUST LILIANA OLT UTMA KY                   JOHN P CATTELL TR UA 05/12/1989 EVA CRAIG REVOCABLE FA
JOHN O PARRY & HELEN A PARRY REVOCABLE LIV TR UA    PO BOX 175915                                       53750 863 RD
4188 HAMPTON RIDGE BLVD                             COVINGTON, KY 41017-5915                            PLAINVIEW, NE 68769
HOWELL, MI 48843-5503



JOHN P DZUBAN                                       JOHN P FLANAGAN & FREDA A FLANAGAN TR               JOHN P HEILMAN JR & PEGGY D HEILMAN TR
& FLORENCE A DZUBAN DZUBAN FAMILY LIVING TRUST UA   FLANAGAN FAM LIVING TRUST UA 08/26/93               UA 10/23/2006 JOHN P HEILMAN & PEGGY D HEILMAN
02/27/04                                            28140 HIGHWOOD CT                                   167 ROSEMONT DR
BOX 106                                             MENIFEE, CA 92584-7418                              ENTERPRISE, AL 36330
NORVELT, PA 15674-0106


JOHN P HLAVACS & VIRGINIA HLAVACS TR                JOHN P HOUSTON CUST STEPHEN C HOUSTON               JOHN P KENNEDY CUST ELIZABETH PEYTON KENNEDY
UA 02/16/94 JOHN P HLAVACS & VIRGINIA HLAVACS TR    U/THE FLORIDA GIFTS TO MINORS ACT                   U/THE MD UNIFORM GIFTS TO MINORS ACT
8813 BIRCH RUN DR                                   5748 BURNET AVE                                     17 GREAT OAK DR
MILLINGTON, MI 48746-9573                           VAN NUYS, CA 91411-3216                             SHORT HILLS, NJ 07078-3426



JOHN P KENNEDY CUST KATHLEEN T KENNEDY              JOHN P LOCKE JR CUST JOHN R LOCKE 3RD               JOHN P MELLEIN TR JOHN P MELLEIN REVOCABLE TRUST UA 1
U/THE D C UNIFORM GIFTS TO MINORS ACT               U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             10 OAK CT
20 CASTLETON ST                                     100 W HOUSTON ST STE 1452A00                        ALLEGAN, MI 49010-1640
JAMAICA PLAIN, MA 02130-1733                        SAN ANTONIO, TX 78205-1414



JOHN P MOORHOUSE JOHN P MOORHOUSE JR & JOAN POLISHAN
                                                  JOHN
                                                     PERSONEL
                                                        P NATOLI CUST THOMAS A NATOLI                   JOHN P OHARA CUST VALERIE SVARE
REPRESENTATIVES FOR THE ESTATE OF BARBARA D       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
MOORHOUSE                                         84 BLAKE AVE                                          25832 ALSEA HIGHWAY
80 LEONARD FARM RD                                BOHEMIA, NY 11716-3402                                ALSEA, OR 97324-9502
SWNZEY, NH 03446
                    09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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JOHN P RHEINGANS                                  JOHN P RHOADES & SHIRLEY J RHOADES TR               JOHN P TAYLOR
15257 300 COURT                                   UA 01/16/2008 RHOADES FAMILY TRUST                  509 RTE 530 APT 181
MASON CITY, IA 50401-9138                         1905 BRADEN LANE                                    WHITING, NJ 08759-3155
                                                  MANSFIELD, OH 44907



JOHN P TUOHY & MARGARET E TUOHY TR                JOHN P WORK CUST STEVEN LANDISS WORK                JOHN PATTON JR CUST MARY A PATTON
TUOHY REVOCABLE LIVING TRUST UA 9/18/97           U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
3171 IVY LN                                       10412 SOMERTON DR                                   2064 N 600 W
GRAND BLANC, MI 48439-8198                        DALLAS, TX 75229-5321                               EARL PARK, IN 47942-8674



JOHN PETER NOREEN CUST MICHAEL P NOREEN UGMA IL   JOHN R BARNES & WINONA J BARNES TR                  JOHN R BEDNAR & CHARLOTTE G BEDNAR TR
E3798 650TH AVE                                   UA BARNES JOINT REVOCABLE TRUST 09/30/91            JOHN R BEDNAR & CHARLOTTE G BEDNAR LIV TRUST UA
MENOMONIE, WI 54751-1380                          256 E DENMARK RD                                    03/15/01
                                                  UNION, MO 63084-4408                                133 HERBST RD
                                                                                                      CORAOPOLIS, PA 15108


JOHN R BLOUNT                                     JOHN R BORSH & SHIRLEY R BORSH TR                   JOHN R BURDETTE CUST MICHAEL RAY BURDETTE
PO BOX 431946                                     JOHN R & SHIRLEY R BORSH LIVING TRUST UA 10/10/96   U/THE MICH UNIFORM GIFTS TO MINORS ACT
PONTIAC, MI 48343-1946                            5965 WALDON RD                                      2258 E TOBIAS RD
                                                  CLARKSTON, MI 48346-2266                            CLIO, MI 48420-7949



JOHN R CALSO & CAROL E CALSO TR                   JOHN R DEGLOW & ANNETTE M DEGLOW TR                 JOHN R DONALDSON CUST DALTON BRIGGS DONALDSON
JOHN RICHARD CALSO TRUST NO 1 UA 5/25/00          JOHN & ANNETTE DEGLOW FAMILY REVOCABLE TRUST UA     U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
53352 CHESIRE                                     01/29/98                                            P O BOX 51990
SHELBY TWP, MI 48316-2713                         8424 OLIVET COURT                                   MIDLAND, TX 79710-1990
                                                  SACRAMENTO, CA 95826-3009


JOHN R EISEMAN & JENNIFER EISEMAN TR              JOHN R ELLENBERGER SR & LILLIE D ELLENBERGER TR     JOHN R ELLENBERGER SR & LILLIE D ELLENBERGER TR
EISEMAN WILSON LIVING TRUST UA 04/13/95           JOHN R ELLENBERGER SR TRUST UA 06/17/94             LILLIE D ELLENBERGER TRUST UA 06/17/94
10133 SPRINGWOOD DR                               41 SONGBIRD LN                                      41 SONGBIRD LANE
ST LOUIS, MO 63124-1225                           ROCHESTER, NY 14620-3175                            ROCHESTER, NY 14620-3175



JOHN R FRANCIS CUST WILLIAM H FRANCIS             JOHN R HOERLEIN CUST MICHAEL A HOERELIN UGMA KY     JOHN R HOERLEIN CUST ROBERT J HOERLEIN UGMA
U/THE MICH UNIFORM GIFTS TO MINORS ACT            918 KENRIDGE AVE                                    1608 E HENRY CLAY
1018 YORKSHIRE                                    VILLA HILLS, KY 41017-1156                          FT WRIGHT, KY 41011-3728
GROSSE POINTE PARK, MI 48230-1432



JOHN R JONES                                      JOHN R KUTINA & JANET V KUTINA TR                   JOHN R MCFALLS
22508 133 RD AVE CT E                             JOHN R AND JANET V KUTINA TRUST UA 10/19/99         PO BOX 980381
GRAHAM, WA 98338-8962                             10845 BILL POINT BLUFF                              YPSILANTI, MI 48198-0381
                                                  BAINBRIDGE ISLAND, WA 98110-2105



JOHN R ROWLAND CUST TODD R ROWLAND                JOHN R SEAGRAVES                                    JOHN R STRATON JR
UNDER THE FLORIDA GIFTS TO MINORS ACT             3353 HERTLEIN LANE                                  8975-384 LAWRENCE WELK DRIVE
7000 LA CUESTA LN                                 VANDALIA, OH 45377-9792                             ESCONDIDO, CA 92026-6422
CITRUS HEIGHTS, CA 95621-4208



JOHN R THOMAS                                     JOHN R WARE CUST JOHN STEVEN WARE                   JOHN R ZEUSCHEL JR TR
6226 122ND AVE SE                                 A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J        JOHN R ZEUSCHEL REVOCABLE LIVING TRUST UA 07/31/93
BELLEVUE, WA 98006-4445                           179 WHEELER ST                                      1638 HIGHLAND VALLEY CIRCLE
                                                  REHOBOTH, MA 02769-1101                             CHESTERFIELD, MO 63005-4919
                   09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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JOHN R ZITNIK & MRS DENISE G ZITNIK JT TEN          JOHN REIN                                        JOHN REINHARDT MABRY
324 FORSYTHE ST CASH OPTION                         2333 FOREST TRAIL                                1518 RAINIER FALLS DR NE
ACCT                                                TROY, MI 48098-3670                              ATLANTA, GA 30329-4106
GIRARD, OH 44420-2205



JOHN RHOERLEIN CUST MELISSA A HOERLEIN UGMA KY      JOHN RICHARD SCHMID & SHERRY T SCHMID TR         JOHN ROBERT PADDISON CUST ROBERT PADDISON
918 KENRIDGE AVE                                    R & S SCHMID FAMILY TRUST UA 03/03/00            A MINOR U/THE LAWS OF GEORGIA
VILLA HILLS, KY 41017-1156                          6054 SOUTH 2125 EAST                             2909 QUEEN VICTORIA STREET
                                                    OGDEN, UT 84403-5352                             PEARLAND, TX 77581-4610



JOHN ROY PEAK III & LORRAINE CHINN PEAK TR          JOHN S ATKINSON                                  JOHN S BILODEAU & DORIS BILODEAU TR
JOHN R PEAK III & LORRAINE C PEAK LIVING TRUST UA   PO BOX 611043                                    JOHN & DORIS BILODEAU TRUST UA 12/11/03
02/24/05                                            PORT HURON, MI 48061-1043                        98 SCOTT DYER RD
64 WELLESLEY                                                                                         CAPE ELIZABETH, ME 04107-2230
PLEASANT RIDGE, MI 48069-1243


JOHN S CLIFFORD                                     JOHN S COOPER & ANNE D COOPER TR                 JOHN S DE MOSLEY JR CUST JOHN MORTON
PO BOX 610065                                       JOHN & ANNE D COOPER TRUST UA 04/24/95           U/THE OHIO UNIFORM GIFTS TO MINORS ACT
SAN JOSE, CA 95161-0065                             21 STEPHENS WAY                                  217 KENT CT
                                                    BERKELEY, CA 94705-1537                          HAINES CITY, FL 33844-6912



JOHN S DE MOSLEY JR CUST MISS TAUNIA DE MOSLEY      JOHN S SCHOENTAG CUST CHRIS SCHOENTAG            JOHN SAMMETH JR & MARTHA ANN SAMMETH TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT              UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW   LIVING TRUST 05/28/91 U-A JOHN SAMMETH JR
217 KENT CT                                         2901 FREDERICK AVE APT 1-D                       467 FOXHILL DR
HAINES CITY, FL 33844-6912                          ST JOSEPH, MO 64506-2924                         DEBARY, FL 32713-4565



JOHN SAUERHOEFER CUST JOSEPH WILLIAM SAUERHOEFER JOHN SHEPARD WILEY JR & DAVID SHEPARD WILEY TR      JOHN STEVEN DYKZEUL
U/THE CONN UNIFORM GIFTS TO MINORS ACT           UA 05/24/82 RUSSELL W WILEY TESTAMENTARY TRUST      PO BOX 281313
6 PIERCE LN                                      1929 UPPER LAKE DRIVE                               SAN FRANCISCO, CA 94128-1313
BROAD BROOK, CT 06016-9652                       RESTON, VA 20191-3619



JOHN STEWART HOFFHEINS                              JOHN T BRADLEY TR                                JOHN T BREIDENSTEIN
1910 MANNING AVE                                    UA 04/01/97 TRUST OF JOHN T BRADLEY FBO JOHN T   1574 FAWNVISTA LANE
APT 6                                               BRADLEY                                          CINCINNATI, OH 45246-2038
LOS ANGELES, CA 90025-8308                          6388 HERON PKWY
                                                    CLARKSTON, MI 48346-4802


JOHN T BURNS CUST ERIC H BURNS                      JOHN T HAYES                                     JOHN T LOFTUS & KATHRYN J LOFTUS TR
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT           PO BOX 801034                                    UA 02/29/08 JOHN & KATHRYN LOFTUS LIVING TRUST
200 ROSEBANK LN                                     ACWORTH, GA 30101-1034                           2554 SILVERSIDE
WEST LAFAYETTE, IN 47906-8613                                                                        WATERFORD, MI 48328



JOHN T MACK & GLORIA J MACK JT TEN                  JOHN T NAYLOR                                    JOHN T SPERLA CUST JOHN T SPERLA JR
12682 514TH AVE                                     PO BOX 352498                                    U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
AMBOY, MN 56010-5034                                TOLEDO, OH 43606                                 5334 FERN ST
                                                                                                     GRAND BLANC, MI 48439-4327



JOHN T SWEENEY CUST GREGORY NEIL SWEENEY            JOHN T SWEENEY CUST PAMELA ANN SWEENEY           JOHN THOMAS STEINER & MISSY WITT STEINER JT TEN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT              U/THE OHIO UNIFORM GIFTS TO MINORS ACT           110 VISTA DR
414 N MAIN ST                                       414 N MAIN ST                                    CHATANOOGA, TN 37411-4418
MT GILEAD, OH 43338-9789                            MOUNT GILEAD, OH 43338-9789
                    09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 207 of 440
JOHN TRUBENBACHER CUST KIMBERELY TRUBENBACHER         JOHN V SANDBERG & MARION L SANDBERG TR               JOHN VAN PELT CUST SCOTT GEORGE VAN PELT
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 UA 09/27/90 JOHN V SANDBERG & MARION L SANDBERG      U/THE N J UNIFORM GIFTS TO MINORS ACT
132 GLOVER AVE                                        TRUST                                                28 HIGH ST
YONKERS, NY 10704-4232                                30410 BARKLEY                                        BRANCHVILLE, NJ 07826-4352
                                                      LIVONIA, MI 48154-3638


JOHN VETRANO CUST JACK THOMAS VETRANO                 JOHN W BAXTER & MURIEL L BAXTER TR                   JOHN W BIEBESHEIMER JR TOD JOHN W BIEBESHEIMER III TR
U/THE CAL UNIFORM GIFTS TO MINORS ACT                 JOHN WHITSON BAXTER REVOCABLE LIVING TRUST UA        JOHN W BIEBESHEIMER JR TRUST UA 10/17/05 SUB TO STA
3230 E FAIRBROOK ST                                   02/20/01                                             TOD RULE
MESA, AZ 85213-5513                                   21264 WELLINGTON DR                                  19306 LAKESIDE RD
                                                      WOODHAVEN, MI 48183-1674                             TREGO, WI 54888-9222


JOHN W BLOSSOM CUST CHRISTINE A BLOSSOM               JOHN W BLOSSOM CUST DEBRA L BLOSSOM                  JOHN W EHRLER CUST LAURA MARIE EHRLER
A MINOR U/ ART 8-A PERS PROP LAW OF N Y               A MINOR U/ART 8-A OF THE PERS PROP LAW OF NEW YORK   U/THE MO UNIFORM GIFTS TO MINORS LAW
1001 MOUNTFORT COURT SW                               1001 MOUNTFORT COURT SW                              6 CEDAR CREST
VIENNA, VA 22180-6469                                 VIENNA, VA 22180-6469                                ST LOUIS, MO 63132-4205



JOHN W ELLIS & BERTHA M ELLIS TR                      JOHN W HAMLIN & GERMAINE V HAMLIN TR                 JOHN W HARBRECHT CUST PAUL WILLIAM HARBRECHT
JOHN W & BERTHA M ELLIS REVOCABLE TRUST UA 03/04/98   UA 09/25/91 JOHN W HAMLIN & GERMAINE V HAMLIN        A MINOR U/ART 8-A PERS PROP LAW OF N Y
11401 HILL RD                                         PO BOX 2392                                          375 WELWYN WALK
SWARTZ CREEK, MI 48473-8577                           BOERNE, TX 78006-9259                                ALPHARETTA, GA 30022-7058



JOHN W HEARN                                          JOHN W HEINRICY                                      JOHN W JAMESON JR CUST THOMAS PAXTON JAMESON
13222 210TH AVE EAST                                  8850 TIPSICO LAKE RD                                 U/THE N Y UNIFORM GIFTS TO MINORS ACT
SUMNER, WA 98390-7424                                 HOLLY, MI 48442-8946                                 2521 KEMPTON ST SE
                                                                                                           OLYMPIA, WA 98501



JOHN W KLEIN                                          JOHN W MODEEN & HELEN A MODEEN TR                    JOHN W REINHARDT
1225 THURMAN                                          UA 04/23/93 THE JOHN W MODEEN & HELEN A MODEEN TR    16945 VILLAS SQUARE
SAGINAW, MI 48602-2853                                4933 N RIVER VISTA DR                                FORT MYERS, FL 33908-4523
                                                      TUCSON, AZ 85705-4862



JOHN W SMITH                                          JOHN W STEINER                                       JOHN W STEINMACHER
19443 130TH AVE                                       1050 OAK STREET                                      19531 ST ANDREWS DR NW
TUSTIN, MI 49688-8602                                 NEENAH, WI 54956-4167                                SOAP LAKE, WA 98851-9747




JOHN W STEWART                                        JOHN W TATE                                          JOHN W WARD & MARGARET M WARD TR
PO BOX 610534                                         PO BOX 530551                                        JOHN W WARD & MARGARET M WARD FAM TR UA
PORT HURON, MI 48061-0534                             WEST PALM BEACH, FL 33403-8909                       19002 GORDON LANE
                                                                                                           YORBA LINDA, CA 92886-4214



JOHN WACHTER & LAURA WACHTER TR                       JOHN WILLIAM ALLISON & SARAH JANE WEIGANDT TR        JOHN WILLIAM FEHR & CYNTHIA MOORE FEHR TR
JOHN WACHTER & LAURA WACHTER REVOCABLE LIVING         UA 12/02/1988 WILLIAM J ALLISON TRUST                WILL & CYNTHIA FEHR TRUST UA 3/19/98
TRUST UA 04/14/04                                     1435 CHICKASAW DR                                    468 13TH AVENUE
14446 IVANHOE DR                                      LONDON, OH 43140                                     SALT LAKE CITY, UT 84103-3229
WARREN, MI 48088-3894


JOHN WILLIAM FOX & JOAN FOX TR                        JOHN WILLIAM KURTZ SR CUST JOHN W KURTZ JR           JOHN WORDEN
JOHN W FOX & JOAN FOX # 2004-4 REVOCABLE TRUST UA     A MINOR U/ART 8-A OF PERSONAL PROPERTY LAW OF NEW    SUITE 1200 507 S GAY ST
08/16/04                                              YORK                                                 KNOXVILLE, TN 37902-1504
1008 TROY-OFALLON RD                                  PO BOX 782
TROY, IL 62294-2400                                   RAMONA, CA 92065-0782
                   09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                       Part 8 of 8 Pg 208 of 440
JOHNNIE WHITING                                 JOHNNY T BALANOWSKI                                JOHNSON S COWAN CUST JOHNSON STEPHEN COWAN JR
12780 COUNTY ROAD 8110                          9208 DUFFLEIN                                      U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
WEST PLAINS, MO 65775-5620                      MONTROSE, MI 48457-9181                            5551 EDLEN DRIVE
                                                                                                   DALLAS, TX 75220-2105



JON A KOELLA CUST JON A KOELLA JR               JON ERIC GREEN                                     JON K GLITZENSTEIN
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT      4211 139 TH PLACE SE                               4509 BURKHOLDER DR
PO BOX 888                                      MILL CREEK, WA 98012-8952                          GENEVA, OH 44041-9250
DANDRIDGE, TN 37725-0888



JON M FILES CUST ALAN W FILES UGMA MD           JON M HANSON & MARY M HANSON TR                    JON PALMER MC COY CUST MISS KRISTINE PATRICIA MC COY
PO BOX 621                                      JON M HANSON & MARY M HANSON FAMILY REVOCABLE      U/THE MICHIGAN U-G-M-A
QUINTON, VA 23141-0621                          LIVING TRUST UA 09/21/04                           119 W HARVEY ST
                                                14430 SWANEE BEACH                                 MCALLEN, TX 78501-9443
                                                FENTON, MI 48430-1467


JON S MESSIER                                   JONAH SHEINFELD                                    JONAH SHEINFELD
16720 127TH AVE COURT EAST                      1631 53RD STREET                                   1631-53RD ST
PUYALLUP, WA 98374-8835                         BROOKLYN, NY 11204-1421                            BROOKLYN, NY 11204-1421




JONAS RALSTON CUST RICHARD JAY RALSTON          JONATHAN A GOLD CUST GEOFFREY B GOLD               JONATHAN A WHITE & CAROL GERBER TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT           U/THE OKLAHOMA UNIFORM GIFTS TO MINORS ACT         UA 12/07/2005 L RUTH FREEDMAN 2005 TRUST
PO BOX 243111                                   710 CROWELLS BOG RD                                30 COLPITTS ROAD
BOYNTON BEACH, FL 33424-3111                    BREWSTER, MA 02631-5244                            WESTON, MA 02493



JONATHAN CHARLES SAPIRSTEIN                     JONATHAN D CHAPMAN & ANDREW R CHAPMAN CO TR        JONATHAN D MARTIN & MICHELE R MARTIN TR
108 COVENTRY LN                                 JONATHAN D CHAPMAN TRUST UA 09/12/93               UA 10/27/97 MARTIN FAMILY TRUST
LONGMEADOW, MA 01106-1630                       312 SCHOOL RD                                      1365 E MOUNTAIN DR
                                                DENVER, PA 17517-9728                              SANTA BARBARA, CA 93108-1214



JONATHAN DAVID KLEIN                            JONATHAN L FEIN & THERESA KARDOS JT TEN            JONATHAN LEIN
3316 VICTORIA AVE                               477 BROOME ST 24                                   224 SPLIT OAK RD
LAFAYETTE, CA 94549-4621                        N Y, NY 10013-5313                                 NAPERVILLE, IL 60565-2203




JONATHAN SAPIRSTEIN                             JONELL L BROWN & BRUCE L BROWN TR                  JOOST M VLES
108 COVENTRY LN                                 JONELL L BROWN REVOCABLE LIVING TRUST UA 3/10/97   34 RUE MADELEINE WY
LONGMEADOW, MA 01106-1630                       68 GILBERT RD                                      LANCASTER, NY 14086-9426
                                                BORDENTOWN, NJ 08505-4001



JOSE ALBERTO PE SILVA                           JOSE BAPTISTA DE SOUSA                             JOSE E PINHEIRO
GM DO BRASIL                                    RUA TOMAS DE FIGUEIREDO                            RUA RUI BARBOSA #255 APT 51
RUA HENRIQUE PORCHAT 20 APT 61                  12-3-D                                             VILA GILDA SANTO ANDRE
SANTO ANDRE SAO PAULO                           1500-599 LISBOA                                    SAO PAULO BRAZIL
CEP 09041-170 BRAZIL                            PORTUGAL                                           09190-370 BRAZIL


JOSE E PINHEIRO                                 JOSE E PINHEIRO                                    JOSE E PINHEIRO
RUA RUI BARBOSA 255 APT#51                      RUA RUI BARBOSA 255 APTO 51                        RUA RUI BARBOSA 255 APTO 51
VILA GILDA SANTO ANDRE                          VILA GILDA SANTO ANDRE                             VILA GILDA SANTO ANDRE
SAO PAULO                                       SAO PAULO                                          SAO PAULO
BRASIL CEP 09190 370 BRAZIL                     BRASIL CEP 09190 370 BRAZIL                        BRASIL CEP 09190-370 BRAZIL
                    09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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JOSE E PINHEIRO                                   JOSE FREDERICO THEMOTEO JR                            JOSE L MAYMI
RUA RUI BARBOSA 255 APTO 51                       RUA APINAGES 235                                      1702 S STATE HIGHWAY 121 607
VILA GILDA SANTO ANDRE                            APT 112-POMPEIA                                       LEWISVILLE, TX 75067-8944
SAO PAULO                                         SAO PAULO-SP
CEP 09190 370 BRAZIL                              05017-000 BRAZIL


JOSE R FAVARIN                                    JOSE R RIVERA & MIA C RIVERA TR                       JOSEF G SWIGART CUST PATRICK DAVID SWIGART
GM DO BRASIL                                      JOSE & MIA RIVERA FAM LIVING TRUST UA 12/09/98        U/THE OHIO UNIFORM GIFTS TO MINORS ACT
AV GOIAS 1805                                     11889 DUBLIN GREEN DR                                 1005 TAYWOOD RD
09550-900 SAO CAETANO DO SUL                      DUBLIN, CA 94568-1318                                 ENGLEWOOD, OH 45322-2414
SP BRASIL BRAZIL


JOSEF GORNEYECZ & ANNI GORNYECZ TR                JOSEPH & ALBERTA DISALVO TR                           JOSEPH A & NORMA J THOMAS TR
GORNYECZ FAMILY REVOCABLE TRUST UA 12/29/05       05/01/98 JOSEPH MICHAEL DISALVO & ALBERTA SANDRA      UA 02/15/95 JOSEPH A THOMAS & NORMA J THOMAS
14600 MORTENVIEW                                  DISALVO TRUST                                         612 S HILLTOP DR
TAYLOR, MI 48180-4781                             1125 NELSON ST                                        QUINCY, IL 62305
                                                  DUNEDIN, FL 34698-2112


JOSEPH A AHEARN CUST STACIA CHERI AHEARN          JOSEPH A AUGUSTYNOWICZ TR                             JOSEPH A LARSON CUST ZOE R LARSON UTMA IA
U/THE N Y UNIFORM GIFTS TO MINORS ACT             JOSEPH A AUGUSTYNOWICZ REVOCABLE TRUST UA             1735 120TH STREET
5620 S BEACH CIR                                  06/10/94                                              GOODELL, IA 50439-7527
LITTLETON, CO 80121-3913                          2000 FAIRFIELD DR
                                                  WILMINGTON, DE 19810-4310


JOSEPH A LILLY CUST GERARD LILLY                  JOSEPH A MCGAHA & SARAH W MCGAHA TR                   JOSEPH A MEHAN CUST HELEN NOREEN MEHAN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        SARAH W MCGAHA REVOCABLE LIVING TRUST UA 2/13/02      U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
948 BROOKWOOD LN E                                1850 S WESTWOOD UNIT 12                               6253 ST ALBANS DR
ROCHESTER HILLS, MI 48309-1546                    MESA, AZ 85210-9405                                   DALLAS, TX 75214-2318



JOSEPH A MEHAN CUST JOY ELIZABETH MEHAN           JOSEPH A NUNES CUST SHARON L NUNES                    JOSEPH A NUNES CUST SHERRY L NUNES
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT           U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT           U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT
6253 ST ALBANS DRIVE                              92-356 AKAULA ST                                      92-356 AKAULA ST
DALLAS, TX 75214-2318                             KAPOLEI, HI 96707-1137                                KAPOLEI, HI 96707-1137



JOSEPH A PAROL & JOANNE M PAROL TR                JOSEPH A POLACEK TR                                   JOSEPH A RAKEL
JOSEPH A PAROL & JOANNE M PAROL LIVING TRUST UA   JOSEPH A POLACEK REVOCABLE LIVING TRUST UA 05/02/00   & MARJORIE E RAKEL JT TEN TOD STEVEN J RAKEL
07/05/01                                          3530 RED BUTTE DRIVE                                  SUBJECT TO STA TOD RULES
31850 DIMAS DR                                    SANTA CLARA, UT 84765-5356                            5435 CLIFTON
WARREN, MI 48092-1498                                                                                   ST LOUIS, MO 63109-3401


JOSEPH A RIVKIN                                   JOSEPH A VILLANI                                      JOSEPH A WEINBERG
& ROBERT H RIVKIN CO EXECUTORS OF THE ESTATE OF   8 GEMEINHARDT PLACE                                   308 BERWICKSHIRE
MALCOLM BEN RIVKIN                                NORTH HALEDON, NJ 07508                               RICHMOND, VA 23229-7302
3410 OLD FOREST RD
BALTIMORE, MD 21208-3103


JOSEPH A WEINS                                    JOSEPH A WOOLMAN CUST MARCIA KAY WOOLMAN              JOSEPH ACCARDI & MRS LEE ACCARDI JT TEN
3907 CURRY LANE                                   A MINOR UNDER LAWS OF THE DISTRICT OF COLUMBIA        9008 158TH AVE
JANESVILLE, WI 53546-3493                         10401 GROSVENOR PL APT 1301                           HOWARD BEACH, NY 11414-3124
                                                  ROCKVILLE, MD 20852-4640



JOSEPH AMIHERE                                    JOSEPH B FILES JR                                     JOSEPH B GIOFFRE CUST FRED J GIOFFRE
PO BOX 830353                                     37198 ORCHARD CIR #3-44                               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
OCALA, FL 34483                                   WESTLAND, MI 48186-3940                               103 WEST ST
                                                                                                        MAMARONECK, NY 10543-3137
                    09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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JOSEPH B KLERLEIN                                    JOSEPH BISHOP & NANCY M BISHOP TR                     JOSEPH BOBOSCHI & SOCORRO BOBOSCHI TR
40 ZED HILL                                          JOSEPH BISHOP NANCY M BISHOP FAMTRUST                 BOBOSCHI FAMILY TRUST AGREEMENT 8/5/82
SYLVA, NC 28779                                      1186 W CUTLEAF CIR                                    3631 JACKSON ST
                                                     SAN TAN VLY, AZ 85143-5820                            SAN FRANCISCO, CA 94118-1809



JOSEPH C MICHALSKI & HELEN P MICHALSKI TR            JOSEPH C MILLER & MARTHA R MILLER TR                  JOSEPH C THERIAULT & HENRIETTE J THERIAULT TR
UA 03/24/92 THE JOSEPH C MICHALSKI & HELEN P         UA 12/01/84 JOSEPH C MILLER & MARTHA R MILLER TRUST   JOSEPH C THERIAULT & HENRIETTE THERIAULT LIVING TR
24821 CULVER                                         3260 LA CABADA                                        UA
ST CLAIR SHORES, MI 48080-3127                       KAFAYETTE, CA 94549-4708                              835 GEORGIA
                                                                                                           WILLIAMSTON, MI 48895-1613


JOSEPH CAMASTA CUST JOSEPH CAMASTA                   JOSEPH D EDELMAYER & MARY E EDELMAYER TR              JOSEPH D FRANKO & IRENE FRANKO TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           EDELMAYER LIVING TRUST UA 12/24/02                    FRANKO FAM AGREEMENT OF TRUST UA 10/07/93
329 WHITEHALL                                        14330 SARASOTA                                        24734 ETON
BLOOMINGDALE, IL 60108-1384                          REDFORD, MI 48239-3325                                DEARBORN HEIGHTS, MI 48125-1803



JOSEPH D GIOFFRE CUST CONCETTINA M GIOFFRE           JOSEPH D JOHNSON CUST HAROLD B JOHNSON                JOSEPH D JOHNSON SR CUST JOSEPH DYKES JOHNSON JR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE N C UNIFORM GIFTS TO MINORS ACT                 U/THE N C UNIFORM GIFTS TO MINORS ACT
164 HOBART AVE                                       146 ALPINE CT                                         146 ALPINE CT
PORT CHESTER, NY 10573-2758                          FRANKLIN, TN 37069-6551                               FRANKLIN, TN 37069-6551



JOSEPH D NOLAN CUST NOREEN E NOLAN                   JOSEPH D SHAKESPEARE JR & MARY ANN SHAKESPEARE TR     JOSEPH DIBELLA & MARY Y DIBELLA TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UA 09/30/93 JOSEPH D & MARY ANN SHAKESPEARE REV       JOSEPH DIBELLA & MARY DIBELLA LIVING TRUST UA
412 ALTA AVE                                         INTERVIVOS TR                                         05/21/97
SANTA CRUZ, CA 95060-6317                            347 TROON COURT                                       4500 DOBRY DR
                                                     NAPA, CA 94558-1564                                   APT 268
                                                                                                           STERLING HTS, MI 48314-1247

JOSEPH DIRE CUST DONNA ELIZABETH DIRE                JOSEPH E BILLER CUST ALAN L BILLER                    JOSEPH E BILLER CUST BETH A BILLER
U/THE COLORADO UNIFORM GIFTS TO MINORS ACT           UNDER THE FLORIDA GIFTS TO MINORS ACT                 UNDER THE FLORIDA GIFTS TO MINORS ACT
4801 WEST 35TH AVE                                   3 WINDER CT                                           3 WINDER CT
DENVER, CO 80212-1847                                ROCKVILLE, MD 20850-2149                              ROCKVILLE, MD 20850-2149



JOSEPH E CONINE CUST KATHLEEN-ANNE H CONINE          JOSEPH E FINKBEINER                                   JOSEPH E FRANKO & BARBARA J FRANKO TR
U/THE DEL UNIFORM GIFTS TO MINORS ACT                13750 HARDENBURG TRAIL                                JOSEPH E & BARBARA J FRANKO TRUST UA 03/31/99
2215 SHIPLEY RD 227                                  EAGLE, MI 48822-9630                                  1101 EVAMAR DR
WILMINGTON, DE 19803-2305                                                                                  MIDLAND, MI 48640-2821



JOSEPH E JANIK & DOLORES I JANIK TR                  JOSEPH E MASSARO CUST JEFFREY EDWARD MASSARO          JOSEPH E MCCAFFERTY & MILDRED S MCCAFFERTY TR
JOSEPH & DOLORES JANIK LIVING TRUST UA 12/15/99      U/THE OHIO UNIFORM GIFTS TO MINORS ACT                UA 05/04/93 MCCAFFERTY FAMILY TRUST
5258 S HAMLIN AVE                                    381 SPRINGS DR                                        5086 MT GAYWAS DR
CHICAGO, IL 60632-3709                               COLUMBUS, OH 43214-2859                               SAN DIEGO, CA 92117-4814



JOSEPH E RISDON CUST JOSEPH E RISDON JR              JOSEPH E WHITESELL & DORIS E WHITESELL TR             JOSEPH EHLENDT CUST PETER J EHLENDT
U/THE MICH UNIFORM GIFTS TO MINORS ACT               WHITESELL FAMILY REV TRUST UA 10/11/91                U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
142 E HICKORY GROVE                                  12736 WEST SOLA COURT                                 17261 WESTBROOK
BLOOMFIELD HILLS, MI 48304-1739                      SUN CITY WEST, AZ 85375-2312                          LIVONIA, MI 48152-2737



JOSEPH F BAKA & MARY ANN BAKA TR                     JOSEPH F BASIL SR                                     JOSEPH F CORSON & MARY F CORSON TR
UA 10/19/93 THE BAKA FAMILY REVOCABLE LIVING TRUST   600 KLEIN RD                                          CORSON FAMILY REVOCABLE LIVING TRUST UA 01/22/93
833 AIRPORT RD                                       WILLIAMSVILLE, NY 14221-2722                          107 WOLLGAST COURT
WARREN, OH 44481-9350                                                                                      BLYTHEWOOD, SC 29016-8132
                      09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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JOSEPH F GILL                                          JOSEPH F HEIN & AUDREY D HEIN JT TEN                 JOSEPH F KENNELLY
BOX 100296                                             3640 PRAIS ST                                        7023 STEINMEIER DR W
ARLINGTON, VA 22210                                    STEVENS POINT, WI 54481-2357                         INDIANAPOLIS, IN 46220-3965




JOSEPH F MEDINA                                        JOSEPH F NACHMAN & ROSEMARY A NACHMAN TR             JOSEPH F OLDENBURG & CAROL A OLDENBURG TR
8 WHITING STREET                                       UA 09/21/92 JOSEPH F NACHMAN & ROSEMARY A NACHMAN    UA 01/14/1993 JOSEPH F & CAROL A OLDENBURG FAMILY
BILLERICA, MA 01821-2556                               123 ROBINDALE CIRCLE                                 42507 WATERFALL
                                                       THE WOODLANDS, TX 77384-4654                         NORTHVILLE, MI 48168



JOSEPH F RYNEWICZ & NANCY B RYNEWICZ TR                JOSEPH F SOUZA II & ANTHONY A SOUZA TR               JOSEPH FELDSCHUH CUST STEPHEN D FELDSCHUH
UA 01/11/94 JOSEPH F RYNEWICZ & NANCY B RYNEWITZ       UA 08/17/92 JOSEPH F SOUZA TRUST                     U/THE N Y UNIFORM GIFTS TO MINORS ACT
1994 TRUST                                             84 FRANKLIN ST                                       10 BLACK BIRCH LANE
1977 MONTEMAR WAY                                      QUINCY, MA 02169-7825                                SCARSDALE, NY 10583-7455
SAN JOSE, CA 95125-5648


JOSEPH FRANK KLEIN                                     JOSEPH G GRAHAM CUST JOSEPH G GRAHAM JR              JOSEPH G MANTEL CUST DEAN W MANTEL
103 EVANS AVE                                          U/THE ILL UNIFORM GIFTS TO MINORS ACT                U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
OCEANSIDE, NY 11572-4013                               284 TERRY CT                                         3921 PARTRIDGE ROAD
                                                       WOODSTOCK, IL 60098-2483                             DEFOREST, WI 53532-2605



JOSEPH G PETER                                         JOSEPH G STEINER                                     JOSEPH G WHITE CUST SANFORD WHITE
367 SYCAMORE COURT                                     2737 MARION AVE                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
BLOOMFILED HILLS, MI 48302-1173                        BENSALEM, PA 19020-4137                              561 DOVER COURT
                                                                                                            BUFFALO GROVE, IL 60089-6698



JOSEPH GLATSTEIN & ELLEN GLATSTEIN JT TEN              JOSEPH H BERNSTEIN CUST MICHAEL D BERNSTEIN UGMA MA JOSEPH H BURGETT
3106 AVE M                                             18 BARBER ST                                        4553 210TH AVE
BROOKLYN, NY 11210-4747                                MEDWAY, MA 02053-1320                               MORLEY, MI 49336-9534




JOSEPH H LYNCH & MILDRED I LYNCH TR                    JOSEPH H STEINBACH                                   JOSEPH H TROMPETER
UA 06/18/90 JOSEPH H LYNCH & MILDRED I LYNCH REV LIV   3547 LUNA AVE                                        & BEVERLY ANN TROMPETER & MICHELLE LEE FRANZEN JT
13300 70TH NE                                          SAN DIEGO, CA 92117-2625                             TEN
KIRLAND, WA 98034                                                                                           38135 SUMPTER DR
                                                                                                            STERLING HEIGHTS, MI 48310-3023


JOSEPH H WAGNER CUST LESTER A WAGNER                   JOSEPH H WISE & KAREN L WISE TR                      JOSEPH HALPERN CUST LEWIS HALPERN
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT             JOSEPH H & KAREN L WISE TRUST UA 11/02/04            A MINOR U/P L 55 CHAP 139 OF THE LAWS OF NEW JERSEY
3811 SULGRAVE RD                                       13626 SHADY LN                                       64 COLORADO ROAD
RICHMOND, VA 23221-3327                                MONROE, MI 48161-4748                                PARAMUS, NJ 07652-3202



JOSEPH HEINZ                                           JOSEPH HOCHENBERGER CUST JOANNE HOCHENBERGER         JOSEPH I LENNEMANN & JULIANNE M LENNEMANN JT TEN TOD
11195 KADER DR                                         U/THE N J UNIFORM GIFTS TO MINORS ACT                SUBJECT TO STA TOD RULES
PARMA, OH 44130-7244                                   74 HAMILTON TRAIL                                    14110 CUTLER RD
                                                       TOTOWA, NJ 07512-2179                                PORTLAND, MI 48875-9306



JOSEPH J BALTUS & JANET L BALTUS JT TEN                JOSEPH J COOPER & ELLEN E COOPER & SCOTT A COOPER TRJOSEPH J CORSO CUST MICHAEL CORSO
317 N AMRHEIN DR                                       JOSEPH J COOPER LIVING TRUST UA 05/31/89            U/THE IOWA UNIFORM GIFTS TO MINORS ACT
GREENSBURY, IN 47240-9579                              475 NIADA TER                                       11 NW 114 ST
                                                       HIGHLAND PARK, IL 60035-2037                        KANSAS CITY, MO 64155
                    09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 212 of 440
JOSEPH J ELNICK CUST ALAN J ELNICK                    JOSEPH J ELNICK CUST MARY JO ELNICK               JOSEPH J GADBAW CUST ELIZABETH GADBAW
U/THE MICH UNIFORM GIFTS TO MINORS ACT                U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        A MINOR U/LAWS OF THE STATE OF MICHIGAN
108 HARVEST LN                                        28600 MOUND RD                                    11101 MANN RD
FRANKENMUTH, MI 48734-1212                            WARREN, MI 48092-5507                             TRAVERSE CITY, MI 49684-7643



JOSEPH J HUDAK & ARDIS J HUDAK TR                     JOSEPH J KALO & VIVIAN V KALO TR                  JOSEPH J MAKAREWICZ & ARLENE M MAKAREWICZ TR
JOSEPH J HUDAK FAM LIVING TRUST UA 02/20/95           UA 05/01/91 JOSEPH J KALO & VIVIAN V KALO TRUST   JOSEPH J & ARLENE M MAKAREWICZ REVOCABLE TRUST
2292 TREMAINSVILLE RD                                 5533 NIMITZ RD                                    UA 07/02/99
TOLEDO, OH 43613-3410                                 NEW PORT RICHEY, FL 34652-3149                    3204 WILDWOOD DRIVE
                                                                                                        SAGINAW, MI 48603-1641


JOSEPH J STEINMAN                                     JOSEPH JIUNNIES CUST JODY JIUNNIES                JOSEPH JOHN KERRIGAN & MARJORIE G KERRIGAN TR
2222N SUMAC DR                                        A MINOR UNDER THE LAWS OF SOUTH CAROLINA          UA KERRIGAN FAMILY TRUST 03/19/91
JANESVILLE, WI 53545-0566                             112 GREEN ASH COURT                               4329 ALDERWOOD WAY
                                                      AIKEN, SC 29803-2714                              SACRAMENTO, CA 95864-0806



JOSEPH KAUFMAN CUST MARK ALAN KAUFMAN                 JOSEPH KLEIN                                      JOSEPH KLEIN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            26 WADDINGTON AVE                                 5025 OLD NEW UTRECHT ROAD
PO BOX 236                                            WEST ORANGE, NJ 07052-2645                        BROOKLYN, NY 11204-1519
LAWRENCE, NY 11559-0236



JOSEPH KLEIN III                                      JOSEPH KUTNER CUST RANDY KUTNER                   JOSEPH L BRUTKO
1724 HILLSIDE RD                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        29 MEINZER STREET
STEVENSON, MD 21153-0662                              54-40 LITTLE NECK PKWY                            AVENEL, NJ 07001-1718
                                                      LITTLE NECK, NY 11362-2205



JOSEPH L IVACKO & JO ELLEN IVACKO TR                  JOSEPH L KEHOE CUST TODD D KEHOE                  JOSEPH L STEIN JR
JOSEPH & JO ELLEN IVACKO REV LIVING TRUST UA 1/9/02   A MINOR UNDER THELOUISIANA GIFTS TO MINORS ACT    178 SILO VIEW DRIVE
PO BOX 326                                            ATTN CROWN BUICK                                  WENTZVILLE, MO 63385
SOMERSET CENTER, MI 49282-0326                        2121 CLEARVIEW PKWY
                                                      METAIRIE, LA 70001-2450


JOSEPH L TIGYER & JUNE TIGYER TR                      JOSEPH LAST CUST WILLIAM LAST MINOR               JOSEPH LAVITT
UA 12/06/06 JOSEPH L TIGYER & JUNE TIGYER TRUST       UNDER ARTICLE 8-A OF THE PERSONAL PROPERTY LAW    2027-905 SHAFTESBURY BLVD
2208 W BASELINE AVE LOT 155                           3336 KNIGHT ST                                    WINNIPEG MB
APACHE JUNCTION, AZ 85220                             OCEANSIDE, NY 11572-4614                          R3P 0Y3 CANADA



JOSEPH LEVINE CUST VICTOR DAVID LEVINE                JOSEPH LORIN WIBEL 2ND CUST ALYSON DEE WIBEL      JOSEPH M BRAUN
A MINOR U/ART 8-A OF THE PERS PROP LAW OF NY          U/THE TENN UNIFORM GIFTS TO MINORS ACT            7075 139TH AVE NW
C/O COHEN                                             971 MOUNT PARAN RD NW                             ANOKA, MN 55303-4766
1924 E MCGRAW ST                                      ATLANTA, GA 30327-3743
SEATTLE, WA 98112-2629


JOSEPH M COWAN & LEONA J COWAN TR                     JOSEPH M FALORE CUST DAVID FALORE                 JOSEPH M FITZGERALD CUST ANN S FITZGERALD
JOSEPH M COWAN & LEONA J COWAN TRUST UA 08/24/93      U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT        U/THE CALIF UNIFORM GIFTS TO MINORS ACT
2165 WILD FIELD DRIVE NE                              3 COLTON CT                                       447 E RAINIER AVE
GRAND RAPIDS, MI 49505-6323                           REDWOOD CITY, CA 94062-4042                       ORANGE, CA 92865-1113



JOSEPH M FITZGERALD CUST JAMES PERRY FITZGERALD       JOSEPH M FITZGERALD CUST JANE GAY FITZGERALD      JOSEPH M FITZGERALD CUST LINDA JOY FITZGERALD
U/THE CALIF UNIFORM GIFTS TO MINORS ACT               U/THE CALIF UNIFORM GIFTS TO MINORS ACT           U/THE CALIF UNIFORM GIFTS TO MINORS ACT
22412 STREAMSIDE CT                                   2615 RUTHE DUARTE AVE                             21022 LOS ALISOS BLVD APT 716
MURRIETA, CA 92562-3055                               LAS VEGAS, NV 89121-1533                          RANCHO SAN MAG, CA 92688-3251
                   09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 213 of 440
JOSEPH M KAELIN & NANCY L KAELIN JT TEN             JOSEPH M MULHALL & PAMELA J MULHALL JT TEN TOD JOSEPHJOSEPH
                                                                                                          M & PAMELA
                                                                                                                 M NOVAJOVSKY
                                                                                                                     J         & ANN C NOVAJOVSKY TR
PO BOX 130949                                       MULHALL RLT UA 01/22/2009                            JOSEPH M NOVAJOVSKY LIVING TRUSTUA 03/06/95
ANN ARBOR, MI 48113-0949                            135 SAPPINGTON ACRES DRIVE                           8550 OLD PLANK RD
                                                    SAINT LOUIS, MO 63126                                GRAND BLANC, MI 48439-2045



JOSEPH M OLCHAWA CUST RONALD OLCHAWA                JOSEPH M VIGNERI TR                                 JOSEPH MARCELO FAIR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          WYOMING OTOLARYNGOLOGY PC PENSION PROFIT            & MICHAEL ANTHONY FAIR & ILETA MARIA FAIR & JOSEPH
114 WESTMORELAND LN                                 SHARING PLAN UA 11/01/75                            LEE FAIR JT TEN
NAPERVILLE, IL 60540-5830                           6500 E 2ND ST                                       11560 GAINER DR
                                                    STE 101                                             GARFIELD, AR 72732-9732
                                                    CASPER, WY 82609-4339

JOSEPH MATTHEW CATANIA                              JOSEPH MATTHEW MOLUMBY                              JOSEPH MAZZOCCHI CUST JOSEPH MAZZOCCHI JR
PO BOX 711891                                       2871 119TH ST EAST                                  A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF
SANTEE, CA 92072-1891                               CHIPPEWA FALLS, WI 54729-5605                       217 MAPLEWOOD AVENUE
                                                                                                        BOGOTA, NJ 07603-1713



JOSEPH MEININGER & FAY MEININGER TR                 JOSEPH MICHAEL NEWBERGER CUST TAMAR SUSAN NEWBERGER
                                                                                                    JOSEPH MILLER & CONRADINE MILLER TR
MEININGER TRUST 1 JOSPEH & FAY TR 11/23/98          U/THE ILL UNIFORM GIFTS TO MINORS ACT           MILLER FAMILY LIVING TRUST UA 6/30/98
3619 E MARCUS DR                                    3240 N LAKESHORE DR                             1444 TROJAN AVE
SAGINAW, MI 48603-2043                              CHICAGO, IL 60657-3954                          SAN LEANDRO, CA 94579-1542



JOSEPH MORANO CUST MICHAEL MORANO                   JOSEPH N EPSTEIN                                    JOSEPH N KATZENSTEIN & MRS DIANA H KATZENSTEIN JT TEN
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT        289 MAITLAND AVE                                    277 VAN NOSTRAND
735 BELVIDERE AVE                                   TEANECK, NJ 07666-3060                              ENGLEWOOD, NJ 07631-4710
WESTFIELD, NJ 07090-2301



JOSEPH N LATA CUST JOSEPH NICHOLAS LATA JR          JOSEPH N LATA CUST MARGARET ANN LATA                JOSEPH N PALLIKKATHAYIL & LEONIE PALLIKKATHAYIL TR
A MINOR U/SEC 2918-D 55 SUPPLEMENT TO THE           A MINOR U/SEC 2918-D 55 SUPPLEMENT TO THE GENERAL   PALLIKKATHAYIL TRUST UA 05/21/98
125 BRIDGE ST                                       PO BOX 205                                          4003 NW CLAYMONT DR
WAREHOUSE POINT, CT 06088-9547                      ELLINGTON, CT 06029-0205                            KANSAS CITY, MO 64116-1750



JOSEPH NEINER                                       JOSEPH NEUSTEIN                                     JOSEPH NICOLAS BASILE & ANGELA MARIA BASILE TR
2507 NORTHVIEW DRIVE                                923 GARDENIA WAY                                    INTERVIVOS JOSEPH NICOLAS BASILE TRUST UA 12/18/95
CORTLAND, OH 44410-1745                             CORONA DEL MAR, CA 92625-1547                       241 MORRIS AVE
                                                                                                        BRISTOL, CT 06010-4418



JOSEPH P ANCONA JR CUST JOSEPH ROBERT ANCONA        JOSEPH P CALABRESE ISABELLE M CALABRESE TR          JOSEPH P CRISLER CUST JENA L CRISLER
U/THE CONN UNIFORM GIFTS TO MINORS ACT              UA 02/17/97 JOSEPH PETER CALABRESE LIVING           U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
720 BRANCHVILLE ROAD                                7217 EMERSON                                        1640 BELT ST
RIDGEFIELD, CT 06877-6129                           MORTON GROVE, IL 60053                              BALTIMORE, MD 21230-4706



JOSEPH P DEARBORN CUST PETER N DEARBORN             JOSEPH P NEKOLA CUST JEANENE NEKOLA                 JOSEPH P REED CUST PATRICIA REED
U/THE N H UNIFORM GIFTS TO MINORS ACT               U/THE INDIANA UNIFORM GIFTS TO MINORS ACT           A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
9 SHERRY LN                                         3840 E 75TH ST                                      111 BIRCHWOOD AVE
RAYMOND, NH 03077-1281                              INDIANAPOLIS, IN 46240-3606                         UPPER NYACK, NY 10960-1201



JOSEPH P STAFFORD CUST JOSEPH S STAFFORD            JOSEPH P STEINER                                    JOSEPH P TORTORICE TR
U/THE CONN UNIFORM GIFTS TO MINORS ACT              1423 ASCOT CLOSE                                    REVOCABLE LIVING TRUST 10/01/85 U-A JOSEPH P
1014 FARMINGTON AVE                                 MURFREESBORO, TN 37130-5641                         TORTORICE
WEST HARTFORD, CT 06107-2105                                                                            9334 LIDO LANE
                                                                                                        PORT RICHEY, FL 34668-4786
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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JOSEPH P VAN DER MEULEN & ANN I VAN DER MEULEN TR    JOSEPH PACHLA & JEAN R PACHLA TR                       JOSEPH PETRUSKA CUST ROBERT J PETRUSKA MINOR U/P L 5
UA 08/07/91 VAN DER MEULEN FAMILY TRUST              U-A-DTD 05/03/91 JOSEPH PACHLA &JEAN R PACHLA LIVING   LAWS OF N J
39 CLUB VIEW LANE                                    TRUST                                                  255 GROVER AVE
ROLLING HILLS, CA 90274-4208                         48521 LACOTA CT UNIT 5                                 TRENTON, NJ 08610-4325
                                                     SHELBY TWNP, MI 48315-4267


JOSEPH R BERING & DOROTHY MAE BERING TR              JOSEPH R DUNN JR & ELIZABETH A DUNN TR                 JOSEPH R GOLKOSKY CUST JOHN P GOLKOSKY
THE BERING REVOCABLE TRUST UA 01/13/95               JOSEPH R DUNN JR & ELIZABETH A DUNN REVOCABLE          U/THE MICH UNIFORM GIFTS TO MINORS ACT
11107 W ELK AVE                                      TRUST UA 11/06/97                                      PO BOX 4024
YOUNGTOWN, AZ 85363-1330                             4437 REFLECTIONS DRIVE                                 WHEATON, IL 60189-4024
                                                     STERLING HEIGHTS, MI 48314-1959


JOSEPH R GOYETTE & DARDENELLA M GOYETTE TR           JOSEPH R MAYER & JOSEPHINE M MAYER TR                  JOSEPH R STEINMETZ TR STEINMETZ FAM TRUST UA 05/21/92
JOSEPH R GOYETTE & DARDENELLA M GOYETTE              UNDER DECLARATION OF TRUST 03/09/91                    567 W LOOP DR
REVOCABLE                                            281 N BRASHARES DRIVE                                  CAMARILLO, CA 93010-2041
14361 SWANEE BEACH                                   ADDISON, IL 60101-2102
FENTON, MI 48430-1463


JOSEPH ROBERT NATOLI & MARIE LUCILLE NATOLI TR       JOSEPH ROTH & EDITH ROTH TR                            JOSEPH RUCCIO JR CUST JOSEPH RUCCIO III
NATOLI REVOCABLE LIVING TRUST UA 09/09/96            JOSEPH ROTH REVOCABLE LIVING TRUST UA 8/06/98          UNDER THE NYGIFTS TO MINORS ACT
441 TANOAK DR                                        136 LAKE OLIVE DRIVE                                   15 DYER SWITCH RD
SANTA CLARA, CA 95051-6239                           WEST PALM BEACH, FL 33411-3383                         SARATOGA SPGS, NY 12866-9708



JOSEPH S BLACKETT & NANCI E BLACKETT TR              JOSEPH S CARLSON & LAURA M CARLSON TR                  JOSEPH S ISLINGER & MARILYN R ISLINGER TR
UA 08/31/93 JOSEPH S BLACKETT & NANCI E BLACKETT     JOSEPH S & LAURA M CARLSON REVOCABLE TRUST UA          JOSEPH S ISLINGER REVOCABLE TRUST UA 01/12/97
TRUST                                                04/17/03                                               9720 S HOMAN AVE
721 ROWLAND BLVD                                     128 MT WHITNEY WAY                                     EVERGREEN PARK, IL 60805-3038
NOVATO, CA 94947-4622                                CLAYTON, CA 94517-1541


JOSEPH S LOVINGER TR LEATRICE NATALIE BUTLIEN DAVID BUTLIEN
                                                      JOSEPHBARRETT
                                                              S MAJCHER                                     JOSEPH S QUARANTA CUST MICHAEL J QUARANTA
BUTLIEN & PETER BUTLIEN UA 8/20/68                    & MARY J MAJCHER JT TEN TOD THOMAS J MAJCHER          UNDER THE MI UNIFORM GIFTS TO MINORS ACTG
5 WALLER AVE                                          SUBJECT TO STA TOD RULES                              2030 SOMERVILLE CT
WHITE PLAINS, NY 10601-5414                           4334 CHERRY HILL DR E                                 OXFORD, MI 48371-5928
                                                      ORCHARD LAKE, MI 48323-1608


JOSEPH S REBISZ SR CUST JOSEPH S REBISZ JR           JOSEPH S SMOLEY CUST MARIANNE T SMOLEY                 JOSEPH S SMOLEY CUST PAUL G SMOLEY
U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE CALIF UNIFORM GIFTS TO MINORS ACT                U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
656 JAMES ST                                         3620 CHANT DR                                          592 HACIENDA
UTICA, NY 13501-5154                                 MODESTO, CA 95355-8482                                 MATECA, CA 95336-3560



JOSEPH SARDANO CUST FRANK DAVID SARDANO              JOSEPH SCHULYK CUST JEAN O SCHULYK                     JOSEPH SCHWALL CUST DAVID SCHWALL
U/THE N J UNIFORM GIFTS TO MINORS ACT                U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
1828 NAUTILUS DR                                     4451 FENWICK                                           1184 SHARE AVE
TOMS RIVER, NJ 08753-3130                            WARREN, MI 48092-3019                                  YPSILANTI, MI 48198-6489



JOSEPH STINZIANI CUST DENNIS STINZIANI               JOSEPH STORELLI CUST JOHN JOSEPH STORELLI              JOSEPH STUPAR CUST CATHERINE J DONCKERS
U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE N Y UNIFORM GIFTS TO MINORS ACT                  U/THE MICH UNIFORM GIFTS TO MINORS ACT
1 OX RIDGE ROAD                                      631 NE 18TH AVE                                        1664 RIVIERVIEW
ELMSFORD, NY 10523-1706                              FORT LAUDERDALE, FL 33304-3451                         EUGENE, OR 97403-2113



JOSEPH T HORGAN CUST MARY C HORGAN                   JOSEPH T JOHNSON                                       JOSEPH T TIRONE TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT               PO BOX 380166                                          UA 10/08/2009 JOSEPH T TIRONE REVOCABLE LIVING TRUST
995 SHORE ROAD                                       BROOKLYN, NY 11238-0166                                11 OAKMONT ROAD
PO BOX 15                                                                                                   LAKEWOOD, NJ 08701
POCASSET, MA 02559-0015
                       09-50026-mg         Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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JOSEPH THOMAS AIELLO & KATHY AIELLO JT TEN          JOSEPH V DAMICO JR CUST JOSEPH V DAMICO 3RD         JOSEPH VASILE CUST GERALD J VASILE
BOX 281838                                          A MINOR U/THE LA GIFTS TO MINORS ACT                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
LAMOILLE, NV 89828                                  4726 OWENS BLVD                                     28 ESTERNAY LANE
                                                    NEW ORLEANS, LA 70122-1227                          PITTSFORD, NY 14534-1057



JOSEPH VERGONA 3RD                                  JOSEPH W BERGERON CUST JOSEPH W BERGERON JR         JOSEPH W DOLINYAK & CHARLOTTE B DOLINYAK TR
31 REINER PLACE                                     U/THE N Y UNIFORM GIFTS TO MINORS ACT               JOSEPH W & CHARLOTTE B DOLINYAK REV LIV
ENGLEWOOD CLIFFS, NJ 07632-2027                     PO BOX 35242                                        9560 LAKEBEND PRESERVE CT
                                                    RICHMOND, VA 23235-0242                             BONITA SPGS, FL 34135-8147



JOSEPH W HOPSON CUST REBECCA LYNN HOPSON            JOSEPH W LECHNER JR                                 JOSEPH W MILAM CUST CALVIN P MILAM
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             N 3471 870TH ST                                     U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
3655 WARICK                                         HAGER CITY, WI 54014-8210                           89 LANGFORD PL
DALLAS, TX 75229-6052                                                                                   CHARLOTTESVILLE, VA 22903-9311



JOSEPH W MILAM CUST LAURA L MILAM                   JOSEPH W NORTON JR & ELIZABETH J NORTON TR          JOSEPH W PANNONE & LAURIE A SHEPPARD PANNONE JT TEN
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT          JOSEPH W NORTON JR TEUST UA 10/11/ 99               6001 BOEING PLACE
C/O KEIM 7 HOWES CROSSING                           3901 MOORLAND DR                                    LOS ANGELES, CA 90045-2938
FESTUS, MO 63028                                    MIDLAND, MI 48640-2279



JOSEPH W RAMSEYER & LOIS A RAMSEYER TR              JOSEPH W UDRY & ELIZABETH A UDRY TR                 JOSEPH WASSIL CUST MARILYN WASSIL
JOSEPH W & LOIS A RAMSEYER TRUST UA 08/29/95        UA 07/23/01 THE JOSEPH W UDRY & ELIZABETH           A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
1602 S 13TH STREET                                  16230 WHITTAKER                                     682 REBA RD
GOSHEN, IN 46526-4538                               LINDEN, MI 48451-9096                               LANDING, NJ 07850-1417



JOSEPH WEINBERG                                     JOSEPH WEINER CUST PAUL J WEINER U/THE PENNSYLVANIA U-G-M-A
                                                                                                        JOSEPH WESLEY EDWARDS & VERNA ALBERTA EDWARDS TR
18046 WHITE OAK AVENUE                              633 W 5TH ST STE 21                                 JOSEPH WESLEY EDWARDS & VERNA ALBERTA EDWARDS
LOWELL, IN 46356-9356                               LOS ANGELES, CA 90071-2005                          1818 WESTMINSTER
                                                                                                        GRAND PRAIRIE, TX 75050-6333



JOSEPH WILLIAM CARMENA JR CUST HELENA LEE CARMENA   JOSEPH WILLIAM CARMENA JR CUST STEPHEN PAUL CARMENAJOSEPH WOLF
A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT     A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT    73B FRANKLIN LANE
1724 GLENMORE AVE                                   1724 GLENMORE AVE                                  WHITING, NJ 08759-1841
BATON ROUGE, LA 70808-1231                          BATON ROUGE, LA 70808-1231



JOSEPH YATSKO & CARLA J YATSKO TR                   JOSEPHINE ANGIOLILLO CUST JOSEPH B ANGIOLILLO       JOSEPHINE C MARTINEZ
YATSKO FAMILY REV LIV TRUST UA 09/07/04             U/THE N Y UNIFORM GIFTS TO MINORS ACT               & G CHRISTOPHER MARTINEZ & ELIZABETH A MARTINEZ JT
2738 COLUMBIA ROAD                                  9 RIVERS EDGE DR                                    TEN
MEDINA, OH 44256-9475                               TARRYTOWN, NY 10591-7506                            413 ADAMS DR
                                                                                                        MIDLAND, MI 48642-3308


JOSEPHINE C MILES & JACK DEE MILES TR               JOSEPHINE C OLTMANN & RALPH J OLTMANN TR            JOSEPHINE C YOUNG & SUSAN L YOUNG PAPPAS TR
JACK D & JOSEPHINE C MILES TRUST UA 01/26/98        UA 10/08/92 JOSEPHINE C OLTMANN GENERAL TRUST       JOSEPHINE C YOUNG TRUST UA 06/28/04
BOX 86 11945 W HIGHWAY 42                           901 W PEARL ST                                      1065A EASY STREET
GOSHEN, KY 40026-9792                               STAUNTON, IL 62088-1322                             CROWN POINT, IN 46307-2891



JOSEPHINE DENNIS                                    JOSEPHINE E BRUNNER CUST LAURA ANN ROSE             JOSEPHINE E DYER & GEORGE P DYER TR
PO BOX 261832                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          GEORGE P & JOSEPHINE E DYER REV LIVING TRUST UA
PLANO, TX 75026-1832                                120-02 103RD AVE                                    8/3/99
                                                    RICHMOND HILL, NY 11419-2126                        19426 EAST LAKE DRIVE
                                                                                                        HIALEAH, FL 33015-2216
                   09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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JOSEPHINE H MUNENO CUST SHERRI D YOUNG               JOSEPHINE I PALMIOTTO & DONALD S PALMIOTTO TR         JOSEPHINE KLEIN
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         JOSEPHINE I PALMIOTTO LIVING TRUST UA 10/13/94        6195 S REED
1018 CHISWELL DR                                     1414 85TH ST                                          DURAND, MI 48429-1567
DOWNINGTOWN, PA 19335-4149                           BROOKLYN, NY 11228-3406



JOSEPHINE KROLICKI TR                                JOSEPHINE L LUFT TR                                   JOSEPHINE M YUHAS
REVOCABLE LIVING TRUST 06/15/89 U-A JOSEPHINE A      JOSEPHINE L LUFT REVOCABLE LIVING TRUST UA 04/02/97   43 BERKSHIRE RD
KROLICKI                                             39901 SANDPOINT WAY                                   WHITING, NJ 08759-3228
35836 SMITHFIELD CT                                  NOVI, MI 48375-5502
FARMINGTON, MI 48335-3140


JOSEPHINE RILEY MICHAEL TR                           JOSHUA ROSENSTEIN                                     JOSIEPHINE WHITELAW
LIVING TRUST 04/01/91 U-A JOSEPHINE RILEY MICHAEL    MOSHAV SHORASHIM                                      PO BOX 430973
711 BARONRIDGE DR                                    D N MISGAV                                            PONTIAC, MI 48343-0973
SEABROOK, TX 77586                                   20164 ISRAEL



JOY E HILBURT                                        JOYCE A BEARDEN                                       JOYCE BITINAS & CHARLES C BITINAS JT TEN
PO BOX 150638                                        PO BOX 791316                                         330 DYKES RD S
CAPE CORAL, FL 33915-0638                            NEW ORLEANS, LA 70179                                 MOBILE, AL 36608-8460




JOYCE BOOKE CUST JAIME ALLISON BOOKE U/THE MICHU-G-M-A
                                                    JOYCE DEVOLL TR JOYCE DEVOLL TRUST # 1 UA 9/7/00       JOYCE ELIZABETH YERKS TR DONALD ELMER
ATTN MRS JAIME RUBENSTEIN                           8928 FOX AVE                                           & JOYCE ELIZABETH YERKS REVOCABLE LIVING TRUST UA
3315 SW VESTA CT                                    ALLEN PARK, MI 48101-1502                              05/09/00
PORTLAND, OR 97219-9229                                                                                    9624 ROSELAND
                                                                                                           LIVONIA, MI 48150-2738


JOYCE F STEINMANN                                    JOYCE FISHMAN CUST GARY FISHMAN                       JOYCE FISHMAN CUST PAUL FISHMAN
13405 WRAYBURN ROAD                                  U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT       U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT
ELM GROVE, WI 53122-1349                             4735 NW 7TH CT                                        4735 NW 7TH CT
                                                     APT 443                                               APT 443
                                                     BOYNTON BEACH, FL 33426-9346                          BOYNTON BEACH, FL 33426-9346


JOYCE FISHMAN CUST STEVEN FISHMAN                    JOYCE JEANE HENRY & LARRY LEE HENRY TR                JOYCE K HARAUGHTY & KENNETH HARAUGHTY TR
U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT      LARRY L HENRY & JOYCE J HENRY TRUST UA 11/28/01       HARAUGHTY REVOCABLE TRUST UA 07/29/99
4735 NW 7TH CT                                       1129 W ANGOLA AVE                                     73385 JUNIPER STREET
APT 443                                              MT MORRIS, MI 48458-2123                              PALM DESERT, CA 92260-4701
BOYNTON BEACH, FL 33426-9346


JOYCE K LICHTENSTEIN CUST LEE E LICHTENSTEIN UGMA AL JOYCE L PLUNGAS CUST TRENT O PLUNGAS                  JOYCE LOWARY TR
312 ENGLISH CIR                                      U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT            GENE & JOYCE LOWRY FAMILY TRUST MARITIAL
BIRMINGHAM, AL 35209-4118                            PO BOX 807                                            DEDUCTION TRUST UA 4/14/00
                                                     HERMOSA BEACH, CA 90254-0807                          3610 HILLCREST AVE
                                                                                                           ANTIOCH, CA 94509-8229


JOYCE M DEDOMINICIS CUST JILL DEDOMINICIS            JOYCE M ROGERS                                        JOYCE P HEISS
UNDER THE CT UNIFORM GIFTS TO MINROS ACT             100 408 EAST VACA RD                                  13001 112TH AVENUE
119 TICONDEROGA RD                                   KENNEWICK, WA 99338-9023                              GRAND HAVEN, MI 49417-8751
TORRINGTON, CT 06790-3449



JOYCE P WOHLFEIL CUST CATHERINE A WOHLFEIL           JOYCE P WOHLFEIL CUST MARGARET L WOHLFEIL             JOYCE PETERSON THURMER CUST KATHARINE S THURMER
U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE N Y UNIFORM GIFTS TO MINORS ACT                 U/THE CONN UNIFORM GIFTS TO MINORS ACT
195 DELRAY AVE                                       195 DELRAY AVE                                        01510 SW RADCLIFFE CT
WEST SENECA, NY 14224-1842                           WEST SENECA, NY 14224-1842                            PORTLAND, OR 97219-7966
                       09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                                  Part 8 of 8 Pg 217 of 440
JOYCE R TERRELL                                            J-P MASEK INVESTMENTS LTD A PARTNERSHIP         JP PONTBRIAND & MARY A PONTBRIAND TR
PO BOX 251781                                              C/O JOSEPH MASEK                                02/05/02 JP PONTBRIAND REVOCABLE TRUST
WEST BLOOMFIELD, MI 48325-1781                             210060 WILDCAT DRIVE                            2 GOV POWELL DR
                                                           GERING, NE 69341-6724                           HAMPTON FALLS, NH 03844



JUAN ANDRES LOPEZ CONWAY                                   JUAN CARLOS COTO & YADIRA A COTO TR             JUAN M MENDEZ
PO BOX 9020796                                             JUAN & YADIRA COTO LIVING TRUST UA 1/31/00      PO BOX 360414
SAN JUAN, PR 00902-0796                                    951 LAMBOURNE PL                                STRONGSVILLE, OH 44136-0007
                                                           OAK PARK, CA 91377-5811



JUANITA BRITTAIN GABEL TR                                  JUANITA F KELLEY                                JUANITA J HAMILTON
JUANITA BRITTAIN GABEL LIVING TRUST UA 11/14/96            1125 LEININGER DRIVE                            5736 105TH AVE
4617 ASTRAL ST                                             TIPTON, IN 46072-9790                           STORM LAKE, IA 50588-7754
JACKSONVILLE, FL 32205-5030



JUANITA M WHITMAN                                          JUANITA MCGARVEY TR                             JUANITA P DUNN TR
PO BOX 401026                                              JAMES C MCGARVEY & JUANITA MCGARVEY TRUST UA    JUANITA P DUNN REVOCABLE INTER VIVOS TRUST UA
REDFORD, MI 48240-9026                                     7/05/02                                         8/20/03
                                                           PO BOX 272                                      1328 LAKE AVE
                                                           VERMILION, OH 44089-0272                        KANSAS CITY, MO 64109-1233


JUANITA SNELL                                              JUDI FLECKENSTEIN SALAZAR                       JUDITH A FINKBEINER
PO BOX 310593                                              3555 STEELE CANYON RD                           3581 WABASH AVE
FLINT, MI 48531-0593                                       SPRING VALLEY, CA 91978-2340                    BUFFALO, NY 14219-2427




JUDITH A GIFFIN TR JUDITH A GIFFIN TRUST # 1 UA 03/09/00   JUDITH A NEIDEL & DAVID H NEIDEL JT TEN         JUDITH A PIETRUSZA
3451 FOXHOLLOW CT                                          PMB 280837                                      PO BOX 141152
WASHINGTON, MI 48094-1118                                  3590 ROUND BOTTOM RD                            GRAND RAPIDS, MI 49514-1152
                                                           CINCINNATI, OH 45244-3026



JUDITH A POSEY                                             JUDITH A SLYE                                   JUDITH A ZREBIEC & LOTTIE ZREBIEC TR
& ROBERT C POSEY JT TEN TOD LISA A POSEY ROBERT C          7401 KUHLWEIN RD                                LOTTIE ZREBIEC LIVING TRUST UA 09/09/03
POSEY JR                                                   GALLOWAY, OH 43119-9367                         11023 DALE
1021 WALBRIDGE DRIVE                                                                                       WARREN, MI 48089-1004
EAST LANSING, MI 48823-2181


JUDITH ANN MARTIN CUST TARA LEE MARTIN                     JUDITH ANN MCEWAN & STACI ANN MCEWAN TR         JUDITH ANN MERCER
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT                 JUDITH ANN MCEWAN TRUST UA 03/04/99             5015 139TH PLACE SE
1489 APPLEGATE DR                                          7778 TURRILLIUM LANE                            BELLEVUE, WA 98006-3451
NAPERVILLE, IL 60565-1225                                  WATERFORD, MI 48327-4347



JUDITH ANNE HOBBY                                          JUDITH B WEINSTOCK & DAVID S WEINSTOCK JT TEN   JUDITH BLANK & FENJA BRODO & RACHEL KATZ TR
13175 150TH N CT                                           53 OF GRAND ST #2B                              REVOCABLE TRUST UA 07/10/85
JUPITER, FL 33478-3527                                     NEW YORK, NY 10002                              45 LONE OAK PATH
                                                                                                           SMITHTOWN, NY 11787-4289



JUDITH BLANK FENJA BRODO RACHEL KATZ TR                    JUDITH C JACKSON & JOHN J JACKSON TR            JUDITH C ROBISON & CHARLES S ROBISON TR
UA 07/10/85 JUDITH BLANK REV LIVING TRUST                  JUDITH C JACKSON REV TRUST UA 8/30/99           JUDITH C ROBISON TRUST # 1 UA 11/1/98
UPMINSTER J-3006                                           131 PROSPECT HILL ST                            R R 2 BOX 69
DEERFIELD BEACH, FL 33442-2802                             TAUNTON, MA 02780                               SCANDIA, KS 66966-9512
                    09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
                                                            Part 8 of 8 Pg 218 of 440
JUDITH C SIMCICK & ROBERT A SIMCICK TR               JUDITH D DUGAS                                          JUDITH EBERSOLE
JUDITH C SMICICK & ROBERT A SIMCICK REVOCABLE        PO BOX 970133                                           21267 137TH DR
TRUST 4/13/93                                        YPSILANTI, MI 48197-0803                                OBRIEN, FL 32071-1947
30 ROBIN DR
CAPE MAY CH, NJ 08210-1302


JUDITH FINKELSTEIN HAMELBURG                         JUDITH GOLDSTEIN MONHEIT                                JUDITH J TAMIR TR
2010 RANDOLPH RD                                     3404 OAK CANYON DR                                      UA 03/06/2008 2008 JUDITH J TAMIR LIVING REVOCABLE
WILMINGTON, NC 28403-5325                            BIRMINGHAM, AL 35243-4809                               TRUST
                                                                                                             2315 MAYS BRIDGE RD
                                                                                                             GREER, SC 29651


JUDITH KLEIN                                         JUDITH L CLEMENCE TR                                    JUDITH L HINSON SWANSON TR
PO BOX 253                                           JUDITH & LELAND CLEMENCE REVOCABLE LIVING TRUST         UA 04/01/2000 BOBB L HINSON IRREVOCABLE TRUST
ROCKAWAY, NJ 07866-0253                              UA 01/20/99                                             28743 ESSEX
                                                     4128 SCOTT B DR                                         ROSEVILLE, MI 48066
                                                     SAINT CLAIR, MI 48079-3565


JUDITH L SHELLHAAS                                   JUDITH M BERG CUST SCOTT ALAN BERG                      JUDITH M BORNEMANN
& JESSICA L SHELLHAAS & JOHN M SHELLHAAS & JASON M   U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT            & FREDERICK G BORNEMANN JR & JILLANE M BORNEMANN
SHELLHAAS JT TEN                                     31 BRYAN CT                                             JT TEN
2472 SUMMIT LANE                                     ALAMO, CA 94507-2873                                    62 STERLING POINTE DR
FRANKFORT, MI 49635                                                                                          ST CHARLES, MO 63301-7313


JUDITH M THOMAS & THEODORE L THOMAS TR               JUDITH PINS WEINGROD                                    JUDITH R GETZ CUST ANDREW CHARLES GETZ
JUDITH M THOMAS LIVING TRUST UA 8/25/98              15 HILDESHEIMER STREET                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
50 PARKVIEW RD                                       JERUSALEM                                               11701 SPRIGGS WAY
ELMSFORD, NY 10523-3807                              ISRAEL                                                  HOUSTON, TX 77024-2615



JUDITH R GETZ CUST MARSHALL JAY GETZ                 JUDITH SCHEIN                                           JUDITH SILBERLICHT CUST ANN SILBERLICHT
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           59 OVERLOOK ROAD                                        U/THE PA UNIFORM GIFTS TO MINORS ACT
11701 SPRIGGS WAY                                    LIVINGSTON, NJ 07039-1508                               717 CHESAPEAKE AVE
HOUSTON, TX 77024-2615                                                                                       SILVER SPING, MD 20910-5207



JUDITH WALTZER CUST PATRICIA J WALTZER               JUDITH WISNIEWSKI TR WISNIEWSKI TRUST # 1 UA 06/27/01   JUDY A PETROSKEY TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                4640 FOX POINTE DR                                      UA 02/12/92 JUDY A PETROSKEY REVOCABLE LIVING TRUST
5662 BEACON ST                                       APT 135                                                 6520 S WEST-BAY SHORE DR
PITTSBURGH, PA 15217-2000                            BAY CITY, MI 48706-2851                                 TRAVERSE CITY, MI 49684-9206



JUDY B MICHELS USUFRUCT JANET L MICHELS              JUDY E BOLEY                                            JUDY E MAXWELL & CHARLES R MAXWELL JT TEN
& KATHLEEN E NEWLUND & ROBERT R MICHELS              PO BOX 122149                                           9436 169TH RD
& ANTOINE D MICHELS NAKED OWNERS                     FORT WORTH, TX 76121-2149                               LIVE OAK, FL 32060-6098
772 PARKS RD
BENTON, LA 71006-9695


JUDY KATZ MALAMED                                    JUDY M LEVENSTEIN                                       JUDY TURNEY
7951 214TH ST                                        3 UNDERWOOD RD                                          12724 104TH AVENUE E CT G102
BAYSIDE, NY 11364-3509                               MONTVILLE, NJ 07045-9651                                PUYALLUP, WA 98374-5641




JUDY WEST                                            JUERGEN LOWSKY                                          JUERGEN NIESTER
BOX 786-311                                          FRANKENSTEINER STR 125A                                 AM EISENBERG 31
QUEEN ST E                                           64297 DARMSTADT                                         D-59581 WARSTEIN
ST MARYS ON                                          GERMANY                                                 GERMANY
N4X 1B5 CANADA
                   09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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JUERGEN-MI REINKE                                 JULES H EINFRANK & MRS EVELYN EINFRANK JT TEN       JULES L COUCHE
1M HERLENSTUECK 1                                 140-11 DEBS PL                                      65 MILFORD AVE
D-65779 KELKHEIM-RUPPERTSHAIN                     BRONX, NY 10475-2546                                WHITING, NJ 08759
GERMANY



JULES LEVINE CUST ROBERT LEVINE                   JULIA A FRANIAK                                     JULIA F OSBORNE & FREDERICK H FELLOWS TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        ATTN JULIA FRANIAK DAVY                             JULIA ELLEN HOLMES FELLOWS LIVING TRUST UA 02/27/99
465 WEST END AVE                                  11928 197TH ST                                      1141 TREMONT ST
NEW YORK, NY 10024-4926                           MOKENA, IL 60448-2416                               DUXBURY, MA 02332-4407



JULIA G EGGLESTON                                 JULIA H BRECKINRIDGE TR                             JULIA M HOUSWORTH
C/O 1528 STATE ROUTE 716                          JULIA H BRECKINRIDGE REVOCABLE TRUST UA 05/30/01    PO BOX 390154
MARIA STEIN, OH 45860                             325 VISTA CAY DRIVE                                 DELTONA, FL 32739-0154
                                                  HUBERT, NC 28539-3455



JULIA T ANDERSON CUST DAVID GENE ANDERSON         JULIA T ANDERSON CUST MARGUERITE ELIZABETH ANDERSONJULIAN B WOELFEL TR
U/THE TENN UNIFORM GIFTS TO MINORS ACT            U/THE TENN UNIFORM GIFTS TO MINORS ACT             UA 6/10/10 JULIAN B WOELFEL AMENDED AND RESTATED
PO BOX 66                                         274 PINE HILL DR SW                                DECLARATION OF TRUST
RISING FAWN, GA 30738-0066                        MCDONALD, TN 37353-5617                            4345 BROOKIE COURT
                                                                                                     COLUMBUS, OH 43214


JULIAN BLISSETT                                   JULIAN J MONTOYA CUST MICHAEL J MONTOYA             JULIAN J RAYNES CUST RICHARD LOUIS RAYNES
HOUSE 121 SEASONS VILLAS                          U/THE CALIF UNIFORM GIFTS TO MINORS ACT             A MINOR UNDER THE LAWS OF GEORGIA
1983 HUA MU ROAD                                  10240 BRIAN COURT                                   690 MOUNT VERNON HWY NE
PUDONG                                            WHITTIER, CA 90601-2138                             ATLANTA, GA 30328-4221
SHANGHAI 201204 CHINA (PEOPLE'S REP)


JULIAN M WARTON & ELIZABETH M WARTON TR           JULIAN P FANKHANEL & SUE A FANKHANEL TR             JULIE A HEINRICH
WARTON FAMILY TRUST UA 07/19/99                   UA 10/17/07 FANKHANEL FAMILY TRUST                  180 E PINEVIEW DR
3781 RUTH DRIVE                                   11104 W CINNEBAR AVE                                SAGINAW, MI 48609-9420
SALT LAKE CITY, UT 84124-2331                     SUN CITY, AZ 85351-4350



JULIE A LONG                                      JULIE ANN KLEIN CUST ROBERT JOHN KLEIN UGMA MI      JULIE ANN SCHEINER
PO BOX 110634                                     25058 SAINT CHRISTOPHER ST                          6662 FOREST GLEN AVE
AURORA, CO 80042-0634                             HARRISON TWP, MI 48045-3721                         SOLON, OH 44139-4044




JULIE CUTHBERT                                    JULIE HOFFHEINS HUGHES                              JULIE M BODURTHA
C/O LAKES HEATING & A/C                           342 W CAMBRIDGE AV                                  4033 133RD COURT W
2476 N TURKEYFOOT RD                              PHOENIX, AZ 85003-1005                              ROSEMOUNT, MN 55068-3376
AKRON, OH 44319-1139



JULIE STEIN                                       JULIET BISTANY CUST JAYNE MARIE BISTANY             JULIET REINBOLD
GENTZSTR 4 RGB                                    U/THE MASS UNIFORM GIFTS TO MINORS ACT              2701 SW WALNUT
MUNICH                                            1 BROOK ST                                          BLUE SPRINGS, MO 64015
80796 GERMANY                                     METHUEN, MA 01844-5065



JULIUS B BERTONCIN JR & PATRICIA A BERTONCIN TR   JULIUS BOVILL CUST DANIEL IAN BOVILL                JULIUS BOVILL CUST MARJORIE ANN BOVILL
UA 10/18/02 JULIUS B BERTONCIN JR & PATRICIA      A MINOR U/THE CALIF GIFTS OF SECS TO MINORS ACT     A MINOR U/ CALIF GIFTS OF SEC TO MINORS ACT
711 NW 16TH ST                                    2317 CENTURY HILL                                   2317 CENTURY HILL
BLUE SPRINGS, MO 64015                            LOS ANGELES, CA 90067-3539                          LOS ANGELES, CA 90067-3539
                   09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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JULIUS FELDMAN & HANNAH FELDMAN JT TEN              JULIUS G BRAUNREUTHER & FERNE E BRAUNREUTHER TR   JULIUS GERSTEIN & HAZEL C GERSTEIN JT TEN
7150 169TH ST                                       BRAUNREUTHER FAMILY TRUST UA 10/19/05             400 E RANDOLPH ST
FLUSHING, NY 11365-3347                             4324 W 6TH ST                                     CHICAGO, IL 60601-7329
                                                    WEST BRANCH, MI 48661-9653



JULIUS SHEINBAUM                                    JULIUS SULZMAN & LUCY S SULZMAN TR                JULIUS ZANOTELLI & ROSE ZANOTELLI TR
31 ERICK AVE                                        THE SULZMAN FAMILY TRUST UA 07/27/93              ZANOTELLI LIVING TRUST UA 05/08/00
HEWLETT BAY, NY 11557-1408                          11B VIA CASTILLA                                  11 CLEMSON LN
                                                    LALAGUNA WOODS, CA 92653-6643                     WOODBURY, NY 11797-2205



JUNE B HEINZ                                        JUNE C HOERNER RD # 1 BOX 195                     JUNE C REINHARDT
200 SAINT LUCIE LANE #203                           1704 BACHMANVILLE RD                              21 IROQUOIS ST E
COCOA BEACH, FL 32931-3463                          HERSHEY, PA 17033-9755                            MASSAPEQUA, NY 11758-7625




JUNE E STENGLEIN CUST JAMES EVAN STENGLEIN          JUNE JAFFE CUST MICHAEL JAFFE                     JUNE K JOHNSTON & GORDON E JOHNSTON TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        GORDON E JOHNSTON TRUST UA 07/01/98
832 GRAVEL RD                                       216 MELVILLE DRIVE                                208 DEL RIO DR
WEBSTER, NY 14580-1774                              NEW WINDSOR, NY 12553-6412                        LADY LAKE, FL 32159-5663



JUNE L KUNTZMAN & DONALD E KUNTZMAN TR              JUNE LISBETH RABER                                JUNE M NICHOLLS ALBERT E NICHOLLS GLEN D NICHOLLS
JUNE L KUNTZMAN 1999 REVOC TRUSTUA 09/17/99         4735 FILER                                        & SHARON D HUFF JT TEN
72 LAURELTON RD                                     WATERFORD, MI 48328-2832                          38124 WESTVALE DRIVE
MOUNT KISCO, NY 10549-4218                                                                            ROMULUS, MI 48174



JUNE P KUS                                          JUNE R STEINAWAY                                  JUNE S REINWALD
PO BOX 513 808 DUNCAN ST                            13511 ROSEMARY BLVD                               PO BOX 3199
HUBBELL, MI 49934-0513                              OAK PARK, MI 48237-2094                           HONOLULU, HI 96801-3199




JUNIOR LEROY CRITTENDEN & ESTHER ARLENE CRITTENDEN TR
                                                    JUNIOR STEIN                                      JUNIUS C HARRIS & PEGGY C HARRIS TR
JUNIOR L & ESTHER A CRITTENDEN REV LIVING TRUST UA  2052 ROBINWOOD AVE                                JUNIUS & PEGGY HARRIS LIVING TRUST UA 04/04/00
11/07/97                                            TOLEDO, OH 43620-1528                             706 WIMBERLY DR
5627 SHATTUCK RD                                                                                      GREENSBORO, NC 27410-4313
SAGINAW, MI 48603-2860


JUNNE BECKETT TR                                    JURG J GYGAX                                      JUSTIN M WILLIAMS & MARCELLE B WILLIAMS TR
UA 09/25/1993 AMENDED 04/03/2007 JUNNE BECKETT      SUNNEWIESSTRASSE 5                                UA 04/05/95 JUSTIN M WILLIAMS & MARCELLE B WILLIAMS
REVOCABLE TRUST                                     9508 WEINGARTEN-KALTHAUSERN                       2160 S GAREY AVE
1357 TAFT PLACE #3                                  SWITZERLAND                                       POMONA, CA 91766-5614
HAMILTON, OH 45013


JUSTIN S GARCIA & GRACE C GARCIA TR                 JUSTINE M HEIN                                    JUTTA JOERNS
JUSTIN S GARCIA & GRACE C GARCIA FAM TRUST UA       11093 HOMESHORE DR                                VEREINSSTRASSE 19 D-40789
11/21/94                                            PIACKNEY, MI 48169-9562                           MONHEIM AMRHEIN
1622 38TH AVE                                                                                         GERMANY
SAN FRANCISCO, CA 94122-3002


JYOTINDRA S DOSHI                                   K ERIC BURK                                       K LAURENCE CHANG & ROSE K CHANG TR
PLOT 1086 16-A AMBE KRUPA                           17918 128TH TRL N                                 UA 05/20/94 THE CHANG FAMILY REVOCABLE LIVING TRUST
DEVIDAYAL CROSS RD MULUND W                         JUPITER, FL 33478-4683                            512 DOGWOOD LANE
400 080 BOMBAY                                                                                        CHAGRIN FALLS, OH 44023-2528
INDIA
                   09-50026-mg              Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                              Part 8 of 8 Pg 221 of 440
KAETHE MOLTER                                          KAH LOH                                               KANAME J FUJISHIGE CUST PAMELA KAY FUJISHIGE
SACHSENWEG 11                                          3811 155TH AVE SE                                     U/THE MICH UNIFORM GIFTS TO MINORS ACT
55743 IDAR-OBERSTEIN                                   BELLEVUE, WA 98006-1753                               266 LAS PALMAS BL
GERMANY                                                                                                      NORTH FORT MYERS, FL 33903-1565



KARA HEIN RUSSEL & KENT D RUSSELL JT TEN               KARA K WIDMARK                                        KARELE MARESH WATTS CUST DAVID MARESH WATTS
2915 NORTH SECOND STREET                               PO BOX 701488                                         U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
HARRISBURG, PA 17110-1209                              PLYMOUTH, MI 48170-0965                               326 CAPE MAY
                                                                                                             CORPUS CHRISTI, TX 78412-2638



KAREN A BARLOW                                         KAREN A MATTSON & ROGER A MATTSON TR                  KAREN B COCKRELL & JOHN L COCKRELL JT TEN
2537 108TH ST                                          KAREN A MATTSON REVOCABLE TRUST UA 01/28/99           2040 W MAIN ST 210-1883
TOLEDO, OH 43611-2044                                  1501 CLIF AVE                                         RAPID CITY, SD 57702
                                                       DULUTH, MN 55811-2724



KAREN B JENKINS                                        KAREN BALLARD NOSBUSCH TOD BRUCE WILLIAM NOSBUSCH KAREN
                                                                                                         SUBJECTCHRISTINE
                                                                                                                  TO STA TOD
                                                                                                                          STEINBERG
123 133RD ST                                           RULES                                             BOX 54
CHESAPEAKE, WV 25315-1411                              26242 COUNTRY GLEN                                EL PRADO, NM 87529-0054
                                                       LAKE FOREST, CA 92630



KAREN D STEIN & ROBERT W STEIN III JT TEN              KAREN E GLASER                                        KAREN F DUPELL & DAVID H DUPELL TR
4707 MESA VERDE DR                                     22061 283 AVE                                         DUPELL FAM REVOCABLE TRUST UA 02/19/99
SAINT CLOUD, FL 34769-1626                             LE CLAIRE, IA 52753-9170                              15 FAIRFIELD DR
                                                                                                             CONCORD, NH 03301-5281



KAREN H GOLDSTEIN                                      KAREN HOLLOPETER YORK CUST JESSE LOUIS YORK           KAREN L EDEMA
7736 CHIPWOOD LN                                       UNDER THE FL GIFTS TO MINORS ACT                      5569 136TH AVE
JACKSONVILLE, FL 32256-2350                            12470 WESTHALL PLACE                                  HAMILTON, MI 49419-9665
                                                       WEST PALM BEACH, FL 33414-4875



KAREN L FURNESS & RENEE' SCHUNER TR                    KAREN L WEISSENSTEIN & STEVEN W BEYERLEIN TR          KAREN LOZEN CUST ELIZABETH M LOZEN
UW SHIRLEY SCHUNER FBO REGINA SCHUNER                  JOANNE F BEYERLEIN UNIFIED CREDIT TRUST UA 12/23/91   UNDER THE MIUNIFOM GIFTS TO MINORS ACT
412 HOWELL PKWY                                        8 RED OAK DRIVE                                       8190 POTTER RD
MEDINA, NY 14103                                       COLCHESTER, VT 05446-6978                             FLUSHING, MI 48433-9445



KAREN M LEWIS TR                                       KAREN S BEESON & MICHEAL N BEESON & MICHAEL S BEESONKAREN
                                                                                                            TR    S JOHNSON
REVOCABLE LIVING TRUST 08/18/89 U-A KAREN M LEWIS AS   KAREN S BEESON REVOCABLE TRUST                      8516 196TH ST SW
AMENDED                                                15458 NORTH 100 EAST                                APT 314
360 NORTH WOOD                                         SUMMITVILLE, IN 46070-9647                          EDMONDS, WA 98026-6320
ROCHESTER, MI 48307-1542


KAREN SUE BURSTEIN                                     KAREN SUE LAVEIN                                      KAREY G SAMSON
4506 OAKWOOD                                           ATTN KAREN SUE MALONEY                                3800 115TH LN
DOWNERS GFOVE, IL 60515-2710                           218 OLD DUBLIN PIKE                                   NORWALK, IA 50211-9667
                                                       DOYLESTOWN, PA 18901-2452



KARL A STEIN II                                        KARL B BETCHER                                        KARL C REEVES
12 BEVERLY PLACE                                       2100 135TH AVE                                        COMMISSION DEPOSIT ACCOUNT
DAYTON, OH 45419-3401                                  LOT 27                                                46 POMONA RD
                                                       HOPKINS, MI 49328-9792                                SUFFERN, NY 10901-1800
                     09-50026-mg          Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                          Part 8 of 8 Pg 222 of 440
KARL COLEMAN                                       KARL E THOMPSON                                       KARL ELBERT
16542 115TH AVE SE                                 PO BOX 397763                                         KARLSBADERSTRASSE 9
RENTON, WA 98055                                   DALLAS, TX 75339-7763                                 D-65474 BISCHOFSHEIM
                                                                                                         GERMANY



KARL JACOBS SCHAEFER CUST SHERRY LYNN SCHAEFER     KARL KAKALEY CUST KRISTOPHER PATRICK KAKALEY          KARL MAUER
U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT                AM HUMMERTAL 36
6120 LINCOLN HWY                                   1902 QUEENS RD                                        D55283 NIERSTEIN
WRIGHTSVILLE, PA 17368-9339                        CONCORD, CA 94519-1724                                GERMANY



KARL MAUER                                         KARL MAUER                                            KARL N WEINSCHROTT
AM HUMMERTAL 36                                    AM HUMMERTAL 36                                       3338 EDGEWOOD LANE
D55283 NIERSTEIN                                   D55283 NIERSTEIN                                      CENTRALIA, WA 98531-9307
GERMANY                                            GERMANY



KARL R HEINZE                                      KARL S ADAMS CUST KARL H ADAMS                        KARL S HORVATH
17 MORNINGSIDE                                     U/THE NEW HAMPSHIRE UNIFORM GIFTS TO MINORS ACT       PO BOX 510690
WEST CHICAGO, IL 60185-2433                        130 S FRUIT ST                                        LIVONIA, MI 48151-6690
                                                   CONCORD, NH 03301-2411



KARL SICS                                          KARL SLYM                                             KARL SLYM
PO BOX 510181                                      102-19 ITAEWON DONG                                   GM DAEWOO AUTO & TECHNOLOGY QUALITY
LIVONIA, MI 48151-6181                             YONGSAN KU                                            199-1 CHEONGCHEON DONG BUPYUNG GU
                                                   SEOUL 140-863                                         INCHEON
                                                   KOREA KOREA (REP)                                     403-714 KOREA (REP)


KARL T STEINER CUST JACQUELINE R ZEHNER UTMA PA    KARL W HEINMOELLER & MRS LILLY HEINMOELLER JT TEN     KARL W KLEIN & JOANNE L KLEIN TR
2719 COUNTRY LANE                                  #B-25                                                 KARL W & JOANNE L KLEIN REV LIV TRUST 02/24/05
ERIE, PA 16506-1407                                315 KENNELY                                           DEEP BAY-MOSER BAY D P B
                                                   SAGINAW, MI 48609-6712                                KETCHIKAN, AK 99950



KARL W STEINKAMP & MARIE R STEINKAMP JT TEN        KARLA JEAN WEINGARTEN                                 KARL-HEINZ FRIEDEL
3571 E 59TH ST                                     39 LANGSTOON LANE                                     FELDBERGSTR 36
CLEVELAND, OH 44105-1249                           MEDIA, PA 19063-1150                                  D-65462 GINSHEIM
                                                                                                         GUSTAVSBURG
                                                                                                         GERMANY


KAROL BATES CUST CHARLES A BATES                   KAROLYN LOBUR CUST MEREDITH K LOBUR                   KARON L SMITH
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J    U/THE MASS UNIFORM GIFTS TO MINORS ACT                PO BOX 971102
15919 N BARKERS LANDING RD                         350 NORTH ST #903                                     YPSILANTI, MI 48197
HOUSTON, TX 77079-2453                             BOSTON, MA 02113-2114



KARYN D COPPINGER & CRAIG L KLING TR               KATE S KRUPEN & ROBERTA GOLDBLUM & ELAINE K HAAS TR KATHALEIN J CHUDZINSKI
KARYN D COPPINGER LIVING TRUST UA 11/07/03         KRUPEN RESIDUARY TRUST UA 09/23/96                  1009 SAVAGE
50 ANTELOPE AVE                                    2317 COUNTRYSIDE DR                                 BELLEVILLE, MI 48111-4915
LARAMIE, WY 82072-9560                             SILVER SPRING, MD 20905



KATHARINE E STANSFIELD TR                          KATHERINE A GRAY & ROBERT F GRAY TR                   KATHERINE A STEINBACH
UA 4/4/08 KATHARINE E STANSFIELD REVOCABLE TRUST   KATHERINE A GRAY LIVING TRUST UA7/23/98               2475 BYRON COURT
PO BOX 903                                         5790 WORTHINGTON RD                                   BROOKFIELD, WI 53045
DURHAM, NH 03824                                   WESTERVILLE, OH 43082-8201
                   09-50026-mg             Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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KATHERINE ANN MYNATT                               KATHERINE DUNN & AGNES DUNN JT TEN               KATHERINE E BRENNAN & MAUREEN G TAYLOR & MARSHA B S
6635-185 CANYON RUM                                2619 168TH STREET                                KATHERINE E BRENNAN INTER-VIVOS
SAN DIEGO, CA 92111-7453                           FLUSHING, NY 11358-1127                          2145 ETHEL AVE
                                                                                                    SAGINAW, MI 48603-4014



KATHERINE F NOWAK                                  KATHERINE H KREUZER & TIMOTHY M KREUZER TR       KATHERINE J BEAVER
941 MERRITT P O BOX 772490                         UA 06/11/2007 KATHERINE H KREUZER REV TRUST      PO BOX 571988
STEAMBOAT SPRINGS, CO 80477-2490                   23124 SNEIL ROAD                                 TARZANA, CA 91357-1988
                                                   COLUMBIA STA, OH 44028



KATHERINE J LANTZ CUST RICHARD A LANTZ             KATHERINE M REID & WILLIAM RICHARD REID TR       KATHERINE N STECK TR
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT          KATHERINE M REID INTER VIVOS TRUST UA 06/18/91   KATHERINE N STECK REVOCABLE LIVING TRUST UA
4158 NORTH 89                                      2157 E 26TH PL                                   06/11/98
MILWAUKEE, WI 53222-1725                           TULSA, OK 74114-4216                             2251 SPRINGPORT ROAD APT 203
                                                                                                    JACKSON, MI 49202


KATHERINE R HOLCOMB TR                             KATHERINE RHODES LLOYD TR                        KATHERINE STEINRAD GOLLIN
UA 06/30/2008 KATHERINE RAY HOLCOMB LIVING TRUST   UA 05/11/2007 KATHERINE RHODES LLOYD REVOCABLE   C/O KATHERINE MILLER
1604 SKI SLOPE DR                                  LIVING TRUST                                     1700 W BENDER RD APT 241
AUSTIN, TX 78733                                   111 WAYFAIR OVERLOOK DRIVE                       MILWAUKEE, WI 53209-3844
                                                   WOODSTOCK, GA 30188


KATHERINE V BREWER TR                              KATHERINE VOSE BIGGERSTAFF TR                    KATHLEEN A PIRONE
KATHERINE V BREWER REVOCABLE LIVING TRUST UA       KATHERINE V BIGGERSTAFF TRUST UA 12/05/03        24040 129TH CT SE
2/16/99                                            5233 MONUMENT AVE                                KENT, WA 98030-5023
1506 WEST BLOCK                                    UNIT 2C
EL DORADO, AR 71730-5375                           RICHMOND, VA 23226-1426


KATHLEEN ALLEE REHBEIN                             KATHLEEN DEMARSICO TR                            KATHLEEN E AMATO CUST CARRIE PATRICE AMATO
3721 N PROSPECT                                    RICHARD DEMARSICO IRREVOCABLE LIVING TRUST UA    U/THE OHIO UNIFORM GIFTS TO MINORS ACT
SHOREWOOD, WI 53211-2602                           12/31/98                                         44714 COUNTRY CLUB DR
                                                   4 BROWNING CT                                    EL MACERO, CA 95618-1045
                                                   ROSELAND, NJ 07068-1409


KATHLEEN E AMATO CUST CHARLES P AMATO JR           KATHLEEN E AMATO CUST MARY C AMATO               KATHLEEN E DUBS & CHRIS L DUBS & LAUREL J SCRIVANI JT T
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT           8951 BONITA BEACH RD #525-247
44714 COUNTRY CLUB DR                              44714 COUNTRY CLUB DR                            BONITA SPRINGS, FL 34135-4201
EL MACERO, CA 95618-1045                           EL MACERO, CA 95618-1045



KATHLEEN E DUNLOP                                  KATHLEEN E KURILLA TR                            KATHLEEN FULTON COOK & CHARLES R COOK TR
16910 159TH PL SE                                  KATHLEEN E KURILLA REVOCABLE LIVING TRUST UA     LIV TR 12/21/84 U-A KATHLEEN FULTON
RENTON, WA 98058-8678                              09/24/01                                         208 PRAIRIE ST
                                                   4041 WALDON RD                                   CHARLOTTE, MI 48813-1612
                                                   LAKE ORION, MI 48360-1635


KATHLEEN G GRABO TR                                KATHLEEN GERAGHTY                                KATHLEEN GOLDSTEIN
A PHILIP GRABO TRUST KATHLEEN W GOE TRUST UA       & MARGARET BROZYNA & PATRICIA COTTRELL EX EST    1886 SNOWDEN
01/19/96                                           MAURA K TIERNEY                                  MEMPHIS, TN 38107
5219 CAPE LEYTE DR                                 13 JAMES PLACE
SARASOTA, FL 34242-1805                            METUCHEN, NJ 08840


KATHLEEN HRIT CUST ERICA D STEIN UGMA MI           KATHLEEN L MEINARDUS                             KATHLEEN LAMM
36107 FERNWOOD ST                                  PO BOX 461                                       37949 490TH AVE
WESTLAND, MI 48186-4188                            HUTTO, TX 78634-0461                             NEW YORK MILLS, MN 56567-9147
                       09-50026-mg       Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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KATHLEEN LANGWIN TR                                 KATHLEEN M ALLISON & MARCENE S CHANCELLOR TR           KATHLEEN M GREINER
UA 05/19/2010 SUSAN B SHALLIES IRREVOCABLE          UA 05/20/88 KATHLEEN M ALLISON TRUST                   153 MAYFAIR AV
INVESTMENT TRUST                                    115 S AVE S                                            WEST HEMPSTEAD, NY 11552-1532
100 MARION ROAD                                     POST, TX 79356-3020
ROCHESTER, MA 02770


KATHLEEN M HOWE                                     KATHLEEN M KOPFENSTEINER                               KATHLEEN M KWATER
14028 129TH AVE NE                                  8205 PARK CREST DR                                     7543 TRINKLEIN RD
KIRKLAND, WA 98034-1576                             DARIEN, IL 60561                                       SAGINAW, MI 48609-5357




KATHLEEN M LAWRY                                    KATHLEEN M SCANLON & JOSEPH H SCANLON JT TEN           KATHLEEN M SERAPHINOFF TR
7001 142ND AVE                                      PO BOX 242044                                          KATHLEEN M SERAPHINOFF REVOCABLE LIVING TRUST UA
LOT 218                                             ANCHORAGE, AK 99524-2044                               02/20/98
LARGO, FL 33771-4747                                                                                       4380 SQUIRREL ROAD
                                                                                                           BLOOMFIELD HILLS, MI 48304-3062


KATHLEEN MAY GLIVA                                  KATHLEEN P GARDNER & LARRY G GARDNER JT TEN            KATHLEEN RUSZALA THOMPSON TR
PO BOX 670401                                       4041 KLEIN RD                                          REVOCABLE TRUST UA 09/09/86 KATHLEEN RUSZALA
CHUGIAK, AK 99567-0401                              STOW, OH 44224-3423                                    THOMPSON AS GRANTOR
                                                                                                           14298 STONEHOUSE
                                                                                                           LIVONIA, MI 48154-4943


KATHLEEN S TORMALA CUST SARAH RUTH TORMALA          KATHLEEN STEINER BRADEN CUST KEARLY S BRADEN UGMA CT
                                                                                                       KATHLEEN T MC GUIRE CUST THADDEUS M MC GUIRE
UNDER MO TRANSFERS TO MINORS LAW                    20 COLONIAL DR                                     U/THE OHIO UNIFORM GIFTS TO MINORS ACT
1007 TIMBERWOOD TRAIL DR                            BETHEL, CT 06801-1228                              361 HAWTHORNE LANE NE
FLORISSANT, MO 63031-7511                                                                              WARREN, OH 44484-4627



KATHLEEN T WALKER CUST KATHLEEN RUNETTE WALKER      KATHLEEN TARLETON ADM EST KATHLEEN GOLDSTEIN           KATHLEEN TARLETON ADM UW KATHLEEN GOLDSTEIN PUR BY
A MINOR U/THE LAWS OF SOUTH CAROLINA                1517 SPRING VALLEY CIRCLE                              1517 SPRING VALLEY CIRCLE
7731 MODISTO LANE                                   GRIFFIN, GA 30223                                      GRIFFIN, GA 30223
SPRINGFIELD, VA 22153-3928



KATHLEEN TOMLINSON CUST GEOFFREY ALAN TOMLINSON     KATHRYN BRACKEN HALL TR                                KATHRYN C CROCKETT CUST ARTHUR CROCKETT
UNDER THE FL UNIF TRANSFERS TO MINORSA ACT          KATHRYN BRACKEN HALL REVOCABLE TRUST UA 07/13/01       U/THE HAWAII UNIFORM GIFTS TO MINORS ACT
713 CENTER ST                                       40 FOX HOLLOW ROAD                                     900 EAST FIFTH AVE
CARTHAGE, IL 62321-1117                             DOWNINGTOWN, PA 19335-1890                             MITCHELL, SD 57301-2812



KATHRYN C HINCHLIFFE                                KATHRYN E STECKE                                       KATHRYN G SATORI CUST KATHRYN A SATORI
PO BOX 113078                                       UNIVERSITY OF TEXAS AT DALLAS                          U/THE PA UNIFORM GIFTS TO MINORS ACT
CARROLLTON, TX 75011-3078                           SOM MS SM30                                            ATTN KATHRYN A RIEBER
                                                    PO BOX 830688                                          3 RED HILL COURT
                                                    RICHARDSON, TX 75083-0688                              MT LAUREL, NJ 08054-3192


KATHRYN GRAVES ESHLEMAN TR                          KATHRYN K FLOOD TR UA 05/19/2006 BRUCE P FLOOD JR AND KATHRYN
                                                                                                           KATHRYNKLFLOOD
                                                                                                                      HEINLEN
UA 07/28/76 KATHLEEN GRAVES ESHLEMAN LIVING TRUST   REVOCABLE LIVING TRUST                                 125 TEAL CIRCLE
15978 GRANDVIEW AVE                                 949 W HIGHLAND ST                                      OCEAN PINES, MD 21811-1531
MONTE SERENO, CA 95030-3118                         WHITEWATER, WI 53190



KATHRYN M HERBRECHTSMEYER TR                        KATHRYN M SANTILLI TR                                  KATHRYN RENEE BERNSTEIN FROMSON
UA 03/31/93 THE KATHRYN M HERBRECHTSMEYER TRUST     KATHRYN M SANTILLI REVOCABLE LIVING TRUST UA           5118 LANDSDOWNE DR
#3 SUNSET PLACE                                     09/25/96                                               SOLON, OH 44139-1229
CHARLES CITY, IA 50616-1625                         1737 SUE ELLEN DRIVE
                                                    HAVERTOWN, PA 19083-1227
                    09-50026-mg               Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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KATHRYN S COLLINS & THOMAS W DEWITT TR                 KATHRYN S SCHREINER                                  KATHRYN TATARKO
UA 02/28/2008 WILLIAM J DEWITT LIVING TRUST            2805 MADISON AVE                                     & WILLIAM TATARKO & ROBERT TATARKO & ALEX TATARKO
3662 BLACKFOOT COURT SW                                CLAYMONT, DE 19703-1953                              JT TEN
GRANDVILLE, MI 49418                                                                                        4616 W 54TH ST
                                                                                                            CLEVELAND, OH 44144-3656


KATHRYN TYLER VER HAGEN TR                             KATHY G KLEIN                                        KATHY G KLEIN & BOBBY G KLEIN JT TEN
KATHRYN TYLER VER HAGEN REVOCABLE TRUST UA             #8 LAKE-MEADOWS DRIVE                                #8 LAKE-MEADOWS DR
10/16/00                                               LITTLE ROCK, AR 72206-6060                           LITTLE ROCK, AR 72206-6060
22 BROADVIEW FARM ROAD
SAINT LOUIS, MO 63141


KATHY JEAN NELSON CUST ROSS ALEXANDER NELSON           KATHY JO FILE                                        KATHY NOLAN KEMP
UNDER THE FL GIFTS TO MINORS ACT                       517 NOTRE DAME CT                                    419 HOTTENSTEIN ROAD
3755 52ND AVENUE NORTH                                 CHEYENNE, WY 82009-2608                              KUTZTOWN, PA 19530-9461
SAINT PETERSBUG, FL 33714-2332



KATIE WHITING                                          KAZAR KAZARIAN & BERNICE & MARK KAZARIAN TR          KEI KUBO & TAKAKO KUBO JT TEN
RR 1 BOX 203-A                                         KAZARIAN FAMILY TRUST UA 07/28/03                    15-9-201 SARUGAKUCHO
DES ARC, AR 72040-9733                                 18681 MACARTHUR                                      SHIBUYAKU
                                                       REDFORD TWP, MI 48240-1950                           TOKYO
                                                                                                            150-0033 JAPAN


KEITH A HAZELTINE & DIANE B HAZELTINE TR               KEITH A REINHART                                     KEITH ALLAN JEFFERY & STELLA PAULINE JEFFERY TR
UA 4/8/93 KEITH HAZELTINE AND DIANE HAZELTINE FAMILY   941 GREENE ROAD 125                                  JEFFERY REVOCABLE TRUST UA 8/26/97
TRUST                                                  PARAGOULD, AR 72450-8177                             11441 N 141ST STREET
11910 RAINWOOD CV                                                                                           SCOTTSDALE, AZ 85259-3797
SAN ANTONIO, TX 78213


KEITH B BRIGHT & ELEANOR JANE BRIGHT TR                KEITH C ROLSTON                                      KEITH EISENSTEIN CUST ELIZABETH EISENSTEIN
THE BRIGHT FAMILY TRUST 02/23/83                       4530 300TH ST                                        UNDER NY GIFTS TO MINORS ACT
DRAWER V                                               SHELDON, IA 51201-8002                               PO BOX 3071
INDEPENDENCE, CA 93526-0622                                                                                 CAMP HILL, PA 17011-3071



KEITH H LUNDBOM                                        KEITH J WALLENTINE TR                                KEITH MOSSMAN TR
17875 110TH AVE                                        KEITH J WALLENTINE FAMILY LIVING TRUST UA 02/07/94   LOUISE R GILCHRIST CHARITABLE TRU-W LOUISE R
EVART, MI 49631                                        3627 E PALISADE DR                                   GILCHRIST
                                                       SALT LAKE CITY, UT 84109-2316                        C/O MOSSMAN & GROTE
                                                                                                            122 E 4TH
                                                                                                            VINTON, IA 52349-1757

KEITH N DAVIS & CAROL A DAVIS TR                       KEITH R DENNY                                        KEITH R LIPSTEIN
KEITH & CAROL DAVIS REVOCABLE TRUST UA 05/13/02        POO BOX 980754                                       86 SUMMIT RD
2625 SOUTH DEMAREE ST                                  HOUSTON, TX 77098-0754                               PT WASHINGTON, NY 11050-3341
VISALIA, CA 93277-5824



KEITH R WEISSENSTEIN CUST STEFAN A WEISSENSTEIN UGMAKEITH
                                                     TX R WINCHELL & MARY L WINCHELL TR                     KEITH ROLFE WEISSENSTEIN
4607 SHAVANO BIRCH                                  UA 09/12/85 KEITH R WINCHELL & MARY L WINCHELL          4607 SHAVANO BIRCH
SAN ANTONIO, TX 78230-5858                          12685 SCOTT RD                                          SAN ANTONIO, TX 78230-5858
                                                    FREELAND, MI 48623-9532



KEITH W SCHREINER                                      KELAN EDWARD ROZANSKI                                KELLEY A BEAMER
7825 REDWOOD CT                                        & SHAWN FRANK ROZANSKI & RONALD EDWARD ROZANSKI      4617 N GANTENBEIN AVE
N RICHLAND HL, TX 76180-3040                           JT TEN                                               PORTLAND, OR 97217-2911
                                                       36723 AUDREY ROAD
                                                       NEW BALTIMORE, MI 48047-6330
                   09-50026-mg              Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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KELLIE C REINER                                      KELLIE FITZGERALD LAURIE LILLA TR                      KELLY ANN PECHACEK
401 STATE STREET                                     UA 05/31/91 DOROTHY FITZGERALD REV TRUST               W11353 620TH AVE
MEDINA, NY 14103-1341                                2058 PORTER RD                                         PRESCOTT, WI 54021-7438
                                                     BEAR, DE 19701



KELLY J RHODES TR                                    KELLY J WAYNICK                                        KELLY L SCHWEINSBERG
AND HER SUCCESSORS IN TRUST UNDER THE KELLY J        PO BOX 320371                                          240 PROSPECT PARK W
RHODES DECLARATION OF                                FLINT, MI 48532-0007                                   APT 4R
3299 NORTH GRAF RD                                                                                          BROOKLYN, NY 11215-5842
CARO, MI 48723-9716


KEN WECKSTEIN                                        KENDRICK SMITH & MRS BERNICE M SMITH TR                KENG HUA TOH
10716 FALLS POINTE DRIVE                             KENDRICK SMITH & BERNICE M SMITHUA                     154 LOR 2 TOA PAYOH
GREAT FALLS, VA 22066-1600                           8805 FAIRCREST DR                                      08-618
                                                     LAS VEGAS, NV 89134-8575                               310154 SINGAPORE



KENMORE D ELBERLING & DORA M ELBERLING TR            KENNARD C KOBRIN & NORA C KOBRIN TR                    KENNENTH L BAER & MARY C BAER TR
UA 02/26/91 KENMORE D ELBERLING AND DORA M           KENNARD C KOBRIN KEOGH PLAN UA 01/01/86                THE KENNENTH L BAER LIVING TRUSTUA 10/04/97
ELBERLING TRUST                                      67 N LAKE DR                                           15 SPEER DR
6121 DENTON HILL ROAD                                BARRINGTON, RI 02806-2811                              CORNING, NY 14830-3725
FENTON, MI 48430-9475


KENNETH A DOSS SR                                    KENNETH A HOFFMAN JR CUST KENNETH DOUGLAS HOFFMANKENNETH A LEECE & CINDY M MEINER JT TEN
2123 106TH AVE                                       U/THE OHIO UNIFORM GIFTS TO MINORS ACT           1332 DUNDEE DRIVE
OAKLAND, CA 94603-4001                               5301 HIGHCASTLE CT                               WATERFORD, MI 48327-2003
                                                     FORT COLLINS, CO 80525-6717



KENNETH A LUTTERMOSER CUST GARY LUTTERMOSER          KENNETH A MAGNUS                                       KENNETH A MAGNUS & HELEN M MAGNUS JT TEN
A MINOR PURS TO SECS 1339 /26 INCL OF THE            4520 106TH ST W                                        4520 106TH ST W
1506 COUNTRY DRIVE                                   BRADENTON, FL 34210-1535                               BRADENTON, FL 34210-1535
MECHANICSBURG, PA 17055-5108



KENNETH A PARR JR & SUSAN E PARR TR                  KENNETH B ALLEN & DELCIE M ALLEN TR                    KENNETH B HALL
KENNETH A PARR JR FAMILY TRUST UA 9/26/00            KENNETH B & DELCIE M ALLEN FAMILY TRUST UA 01/05/05    50602 221 STREET
PO BOX 72                                            1532 WILLIAMSBURG LANE                                 COUNCIL BLUFFS, IA 51503-6496
CRESTLINE, OH 44827-0072                             FRANKLIN, IN 46131-1951



KENNETH B KNUDSEN                                    KENNETH B MC LEAN & MRS ILENE MC LEAN JT TEN           KENNETH C ARMSTRONG & CLEDA M ARMSTRONG TR
8413 168TH LN NW                                     3131 148 AVE SE                                        ARMSTRONG FAM LIVING TRUST UA 06/28/99
ANOKA, MN 55303-3433                                 WHEATLAND, ND 58079-9797                               3557 HUNT RD
                                                                                                            LAPEER, MI 48446-2955



KENNETH C FRANZEL & GRACE FRANZEL TR                 KENNETH C GRANT CUST JOEL WILLIAM GRANT                KENNETH C HANEY & MARJORIE K HANEY TR
KENNETH C FRANZEL REVOCABLE LIVING TRUST UA 1/6/99   A MINOR UNDER GIFTS OF SEC TO MINORS ACT               UA 05/21/91 THE HANEY REV TR FBOKENNETH C HANEY &
17975 COUNTY RD #338                                 262 SINGINGWOOD LN                                     2762 HEREFORD ROAD
BUENA VISTA, CO 81211                                BREA, CA 92821-4353                                    MELBOURNE, FL 32935-2411



KENNETH C LEWIS                                      KENNETH C O'BRIEN & JOAN A O'BRIEN TR                  KENNETH C THORNTON
137405 W EVANS RD                                    KENNETH C O'BRIEN REVOCABLE LIVING TRUST UA 09/15/03   & MILDRED THORNTON & K THORNTON JR & GAIL
PROSSER, WA 99350-8746                               31029 WELLSTON DR                                      THORNTON &
                                                     WARREN, MI 48093-1754                                  155 GLENCROSS AVE
                                                                                                            HAMILTON, OH 45013
                    09-50026-mg         Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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KENNETH COHEN                                       KENNETH D BENZIE TR                                    KENNETH D JAMES & DAVID JAMES TR
PO BOX 740184                                       UA 07/01/1996 KENNETH D BENZIE REVOCABLE LIVING        KENNETH D JAMES REVOCABLE LIVING TRUST UA 10/23/93
BOYNTON BEACH, FL 33474-0184                        TRUST                                                  326 SW HEMLOCK ST
                                                    N836 HAMILTON LAKE RD                                  DUNDEE, OR 97115-9525
                                                    VULCAN, MI 49892


KENNETH E CHRISMAN                                  KENNETH E MERTENS & JANET K MERTENS TR                 KENNETH E NELSON & JOANN L NELSON TR
1275 138TH AVE                                      KENNETH E & JANET K MERTENS LIVING TRUST UA 07/25/00   NELSON FAMILY LIVING TRUST UA 10/10/01
WAYLAND, MI 49348-9553                              17644 E KIRKWOOD DR                                    22604 BERTRAM DRIVE
                                                    CLINTON TOWNSHIP, MI 48038-1209                        NOVI, MI 48374-3738



KENNETH E OZIMEK                                    KENNETH E REINHARDT                                    KENNETH EDWARD & DONA JEAN POST JT TEN
383 WAVERLY DR                                      611 S MAIN ST                                          8833 112TH AVE
MUNDELEIN, IL 60060-3387                            DAVISON, MI 48423-1813                                 WEST OLIVE, MI 49460-9680




KENNETH EUGENE LIDDICOAT TR                         KENNETH F BELL & VIOLET LOUISE BELL TR                 KENNETH F KLINDTWORTH CUST CARITA MARIE KLINDTWORT
REVOCABLE TRUST 10/03/91 U-A KENNETH EUGENE         UA 02/24/88 KENNETH F BELL & VIOLET LOUISE BELL        U/THE N Y UNIFORM GIFTS TO MINORS ACT
LIDDICOAT                                           2015 BCH DR SE                                         340 SAWKILL RD
56 CORONADO AVE                                     ST PETERSBURG, FL 33705-2839                           MILFORD, PA 18337-7002
LOS ALTOS, CA 94022-2219


KENNETH F KLINDTWORTH CUST KENNETH MARK KLINDTWORTH
                                                 KENNETH F KLINDTWORTH CUST KERRY MEAGHAN KLINDTWORTH
                                                                                                  KENNETH F MURRAH WILLIAM FREDERICK WYLLIE & FRANK G
U/THE N Y UNIFORM GIFTS TO MINORS ACT            U/THE N Y UNIFORM GIFTS TO MINORS ACT            SUSAN H &
606 MONMOUTH AVE                                 3617 CAMINITO CARMEL LNDG                        BOX 1328
SPRING LAKE HEIGHT, NJ 07762-2037                SAN DIEGO, CA 92130-2508                         WINTER PARK, FL 32790-1328



KENNETH F PAWLOWSKI                                 KENNETH F SAVELA & MARIANNE T SAVELA TR                KENNETH G BAMRICK SR CUST KENNETH G BAMRICK JR
THE TOWERS #507 1150 TARPON                         KENNETH F SAVELA TRUST UA 07/18/97                     U/THE N Y UNIFORM GIFTS TO MINORS ACT
CENTER DRIVE                                        805 SW MARSH HARBOR BAY                                21 DORA AVE
VENICE, FL 34285                                    PORT ST LUCIE, FL 34986-3440                           WALDWICK, NJ 07463-2004



KENNETH G KAZANIS CUST ALEXANDER K KAZANIS          KENNETH G SWANSON & MARYJEAN SWANSON TR                KENNETH H BRUNNER CUST KENNETH H BRUNNER JR
A MINOR UNDER THE LAWS OF GA                        KENNETH G & MARYJEAN SWANSON REVOCABLE LIVING          UNDER THECONNECTICUT U-G-M-A
24284 WOODHAM RD                                    TRUST UA 8/4/04                                        181 SLEEPY HOLLOW FARM RD
NOVI, MI 48374-2863                                 3736 E QUENTON DR                                      WARWICK, RI 02886-0403
                                                    MESA, AZ 85215-1109


KENNETH H ROPER & MARY A ROPER TR                   KENNETH IDE & SANDRA IDE JT TEN                        KENNETH J DAVALL CUST EVERETT DAVALL
UA 01/20/94 KENNETH H ROPER & MARY A ROPER TRUST    A-4443 145TH AVE                                       U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
7400 CRESTWAY APT 1117                              HOLLAND, MI 49423                                      C/O AGNEW P O BOX 516
SAN ANTONIO, TX 78239-3096                                                                                 LINDSAY, CA 93247



KENNETH J HILTENBRAND & VERA JOAN HILTENBRAND TR    KENNETH J KINTZ ANN F KINTZ TR                         KENNETH J OUTLAND CUST JAMES K OUTLAND
HILTENBRAND REVOCABLE TRUST UA 11/1/93              KENNETH J & ANN F KINTZ FAMILY TRUST UA 03/28/97       UNDER THE MISSOURI UNIF GIFTS TO MINORS LAW
181 W 113TH CT SO                                   221 BOONE HOLLOW DR                                    2901 SOUTHWOOD RD
JENKS, OK 74037-3211                                WENTZVILLE, MO 63385-4470                              BIRMINGHAM, AL 35223-1232



KENNETH J ROBBE & CYNTHIA A ROBBE TR                KENNETH J WILLIAMS & MARIE H WILLIAMS TR               KENNETH JAY KAYE CUST MITCHELL CRAIG KAYE
KENNETH J ROBBE & CYNTHIA A ROBBE FAMILY TRUST UA   THE WILLIAMS FAM LIVING TRUST UA04/03/96               U/THE PA UNIFORM GIFTS TO MINORS ACT
07/19/05                                            10621 FAIRFIELD ST                                     9290 E THOMPSON PEAK PKWY 470
3148 MIDDLELAKE DRIVE                               WESTCHESTER, IL 60154-5105                             SCOTTSDALE, AZ 85255-4518
HASTINGS, MI 49058-7409
                    09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                          Part 8 of 8 Pg 228 of 440
KENNETH L BENJAMIN & HELEN L BENJAMIN TR           KENNETH L CUTTERIDGE & ARLENE G CUTTERIDGE TR       KENNETH L LOVE CUST KATHY LEE LOVE
UA 12/9/91 KENNETH L BENJAMIN & HELEN L            KENNETH L CUTTERIDGE & ARLENE G CUTTERIDGE TRUST    U/THE OHIO UNIFORM GIFTS TO MINORS ACT
511 E JEFFERSON ST                                 UA 06/19/96                                         5067 MARSHALL ROAD
DIMONDALE, MI 48821-9623                           2835 HILLTOP DR                                     DAYTON, OH 45429-5853
                                                   PARMA, OH 44134-5238


KENNETH L ROLL & VICKIE R ROLL TR                  KENNETH L RUSSELL & MILDRED B RUSSELL TR            KENNETH L SCHWEINSBERG
UA 01/09/07 KENNETH & VICKIE ROLL REVOCABLE        UNDER REVOCABLE INTERVIVOS TRUST01/01/86            1079 RONALD ST
914 SAND CREEK COURT                               6720 SAN MIGUEL AVE                                 FLINT, MI 48507-3308
MARTINSVILLE, IN 46151                             LEMON GROVE, CA 91945-1327



KENNETH L STEINER & JO ANN STEINER JT TEN          KENNETH L VAN RIPER & BEVERLY M VAN RIPER TR        KENNETH LA VALLE CUST JAMES PATRICK LA VALLE
4747 SPRING CREEK DR                               KENNETH L & BEVERLY M VAN RIPER TRUST UA 06/21/96   U/THE N Y UNIFORM GIFTS TO MINORS ACT
HOWELL, MI 48843                                   10932 BROADBENT RD                                  3432 FEDERAL AVE
                                                   LANSING, MI 48917-8819                              LOS ANGELES, CA 90066-2031



KENNETH LOCKWOOD                                   KENNETH LYNDON MATTISON                             KENNETH M MCCORMICK
13616 192ND AVE NW                                 E 1360 1260TH AVE                                   3573 104TH AVE
ELK RIVER, MN 55330-1105                           BOYCEVILLE, WI 54725-9416                           ALLEGAN, MI 49010-9147




KENNETH MAC QUEEN                                  KENNETH MARTIN & MARGUERITE MARTIN TR               KENNETH O SMITH & JUNE H SMITH TR
PO BOX 33                                          KENNETH & MARGUERITE MARTIN REV TRUST               KENNETH O SMITH LIVING TRUST UA 05/30/01
TERRE HAUTE, IN 47808-0033                         2999 BRIDLEWOOD DR                                  133 BLENHEIM RD
                                                   CAMERON PARK, CA 95762-6237                         COLUMBUS, OH 43214-3229



KENNETH PARTINGTON & JEAN PARTINGTON TR            KENNETH PAUL FIELDS                                 KENNETH R BERENTSEN & WILLA M BERENTSEN TR
PARTINGTON FAM TRUST UA 04/27/01                   3966 REINWOOD DR                                    BERENTSEN FAMILY TRUST UA 01/26/98
5800 FOREST HILLS BLVD APT C                       DAYTON, OH 45414-2448                               3440 LAKE SHARES RD
303                                                                                                    MANISTEE, MI 49660
COLUMBUS, OH 43231-6916


KENNETH R BERNSTEIN                                KENNETH R JAYNE & GISELA H JAYNE TR                 KENNETH R MCNEFF & PATRICIA A MCNEFF TR
11615 NE 21ST DR                                   KENNETH R JAYNE REVOCABLE TRUST UA 12/10/93         UA 06/10/94 THE MCNEFF REV JOINTLIV TR
NORTH MIAMI, FL 33181-3209                         2720 BAGLEY DRIVE WEST                              2707 EAST CENTERTON RD
                                                   KOKOMO, IN 46902-3229                               MOORESVILLE, IN 46158-6887



KENNETH R MOORE TR                                 KENNETH R PUTNAM & EDYTHE M PUTNAM TR               KENNETH R WEEK
UA 06/19/2006 KENNETH R MOORE REVOCABLE LIVING     KENNETH R & EDYTHE M PUTNAM REVOCABLE               4081 224TH LN SE
TRUST                                              6512 WATERFORD HIILL TERRACE                        ISSAQUAH, WA 98029-5250
9459 S NICHOLS RD                                  CLARKSTON, MI 48346-3382
GAINES, MI 48436


KENNETH SEARS                                      KENNETH T MALEWITZ & ANN M MALEWITZ TR              KENNETH T PERONA CUST NICHOLAS ANTHONY ANTON
PO BOX 201129                                      KENNETH T M & ANN M MALEWITZ TRUST UA 05/04/04      UNDER THE FLORIDA GIFTS TO MINORS ACT
FERNDALE, MI 48220-9139                            1553 GARFIELD                                       8592 LONESOME PINE TRAIL
                                                   MARNE, MI 49435-9624                                FORT PIERCE, FL 34945-3107



KENNETH THOMAS WILSON & GAIL BOONE WILSON TR       KENNETH V BONE & FRANCES J BONE TR                  KENNETH W FOSTER
WILSON FAM TRUST UA 05/06/98                       BONE REVOCABLE LIVING TRUST 06/07/89                & SHARON K FOSTER & TAMARA D FOSTER & SCOTT D
13664 NORTHWOOD ROAD                               618 ENCINO COURT                                    FOSTER JT TEN
NOVELTY, OH 44072-9796                             ARCADIA, CA 91006-4450                              161 BELMONT AVE
                                                                                                       SMYRNA, DE 19977-1704
                   09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 229 of 440
KENNETH YOUNG & JOLAN YOUNG JT TEN                  KENRICK A BRAMWELL                               KENTON W STEINKE
2420 186TH PL                                       PO BOX 710113                                    2425 PERRY RD
LANSING, IL 60438-4114                              LAGUARDIA STATION                                BELLBROOK, OH 45305-8907
                                                    FLUSHING, NY 11371-0113



KERMIT D HUMPHREY & LOIS ANN HUMPHREY TR            KERWIN F MANUEL & BARBARA L MANUEL JT TEN        KEVIN A KLEIN-GELTINK
KERMIT D HUMPHREY & LOIS ANN HUMPHREY JOINT TRUST   28631 224TH PL SE                                204 MYERS RD
UA 10/29/82                                         MAPLE VALLEY, WA 98038-3329                      CAMBRIDGE ON
360 NEFF RD                                                                                          N1R 7H1 CANADA
GROSSE POINTE, MI 48230-1645


KEVIN H JAMES & INEZ P JAMES JT TEN                 KEVIN HEIN                                       KEVIN J REIN
10422 153RD CRT N                                   C/O JAMES HEIN                                   606 CLEVELAND ST
PO BOX 1509                                         507 WHITTIER ST                                  WATERTOWN, WI 53098
JUPITER, FL 33468                                   WESTBURY, NY 11590-4433



KEVIN M DOWNIE                                      KEVIN M DOWNIE                                   KEVIN MITCHELL WHITE CUST JUSTIN JAMES WHITE
50905 155TH AVENUE                                  50905 155TH AVENUE                               UNDER THE IL UNIF TRNSFR TO MIN ACT
PINE ISLAND, MN 55963                               PINE ISLAND, MN 55963                            23745 SANCTUARY CLUB DR
                                                                                                     KILDEER, IL 60047-8627



KEVIN N STUCKE                                      KEVIN P STEIN                                    KEVIN R SCHMIDT
8726 STAR ROUTE 119                                 4257 ALLEGHENY DR                                4932 135TH PL
MARIA STEIN, OH 45860                               TROY, MI 48085-3668                              CRESTWOOD, IL 60445-1758




KIM J GRINSTEINNER                                  KIM M BOWREN                                     KIM PETERSEN
902 OLANTA PLACE                                    10910 230TH AVE                                  117 19 150 AVE
HAZEN, ND 58545-4900                                BIG RAPIDS, MI 49307-9435                        SO OZONE PK QUEENS, NY 11420-4020




KIMBERLY A REINBOLD                                 KIMBERLY A REINBOLD & GAIUS REINBOLD JT TEN      KIMBERLY ERDWEIN CUST ERIC ERDWEIN JR UTMA NJ
PO BOX 311                                          PO BOX 311                                       1271 ELK RD
OAK GROVE, MO 64075-0311                            OAK GROVE, MO 64075-0311                         MONROEVILLE, NJ 08343




KIMBERLY M KORY & STEVEN M KORY TR                  KINGSLAND HOBEIN                                 KINGSLEY C LANGTRY
KIMBERLY M KORY LIVING TRUST UA 02/03/95            14425 AUGUSTA RD                                 1107-120 GRANT CARMAN DRIVE
1121 RUSTIC RIDGE DRIVE                             ORLANDO, FL 32826                                NEPEAN ONTARIO ON
JOPLIN, MO 64804-3677                                                                                K2E 1C8 CANADA



KINGSLEY NZEADIBE CUST UGOCHUKWU KINGSLEY NZEADIBEKINSTON WALTER R SABISTON TR                       KIPP A REINHARDT
UNDER LA UNIFORM TRANSFERS TO MI NORS ACT         HEAD & NECK PHYSICIANS & SURGEONS PROFIT SHARING   3447 NORTHWOOD
10503 PAVONIA DR                                  PLAN & TRUST 04/01/77                              COLUMBIAVILLE, MI 48421-8926
HOUSTON, TX 77095-5428                            1550 ROBERTS RD
                                                  NEWPORT, NC 28570


KIRK ASHCRAFT CUST KARL GEORGE ASHCRAFT             KIRRA M CRUISE-STREAT                            KIRSTEN JOHANSEN IN TRUST TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT               PO BOX 682221                                    REVOCABLE TRUST 02/08/84 U-A EGAR JOHANSEN &
3030 6TH ST                                         FRANKLIN, TN 37068-2221                          KIRSTEN JOHANSEN
BOULDER, CO 80304-2506                                                                               1278 LOYOLA DR
                                                                                                     SANTA CLARA, CA 95051-3951
                       09-50026-mg         Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                           Part 8 of 8 Pg 230 of 440
KIYOSHI TAKAHARA                                    KJELL AC BERGSTROEM                                   KLAUS D KIRSTEIN
11625404 SAIDO KOUNAN KU                            CARLANDERSPLATSEN 6                                   10303 BURNT STORE RD UNIT 130
YOKOHAMA                                            GOTEBORG                                              PUNTA GORDA, FL 33950-7980
233008 JAPAN                                        SE
                                                    41255 SWEDEN


KLAUS H NEUMANN MD TR                               KNIGHTS OF COLUMBUS MOUNT EVERETT COUNCIL # 513       KOK-WAH TAN
KLAUS H NEUMANN MD INC FIXED COST PENSION PLAN      PO BOX 513                                            59 SOO CHOW WAY
9/1/72                                              GREAT BARRINGTON, MA 01230-0513                       SINAPORE
19205 PEARL RD APT 319                                                                                    575340 SINGAPORE
CLEVELAND, OH 44136-6905


KRISHNA KUMAR DAS & NARENDRA KHARIWALA TR           KRISHNA KUMAR DAS & NARENDRA KHARIWALA TR             KRISTEN SCHEPP
UA 06/18/93 MANISHA KHARIWALA IRREVOCABLE TRUST     UA 06/18/93 SAMIR KHARIWALA IRREVOCABLE TRUST         11821 128TH AVE NW
3136 GLENGROVE DR                                   6620 MINNOW POND                                      MINOT, ND 58703
ROCHESTER, MI 48309-2735                            W BLOOMFIELD, MI 48322-2659



KRISTIN THEIN LINEBACK                              KRISTIN ZILBERSTEIN CUST DANIELLE ZILBERSTEIN UGMA TX KRISTINA J LOFTE
BOX 169                                             2798 RED WING CIRCLE                                  24514 118TH ST
BELGRADE, MT 59714-0169                             COSTA MESA, CA 92626                                  TREVOR, WI 53179-9245




KRISTOFER P YOUNG & TORI C JANAYA TR                KUANG YU CHANG CUST MICHAEL T CHANG                   KUM S MOHR
UA 12/05/1971 MARY KRATKA CALDWELL TRUST            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            15508 207 TH PLACE SE
407 DEL NORTE RD                                    2153 HILLSTONE DR                                     RENTON, WA 98059-9029
OJAI, CA 93023                                      SAN JOSE, CA 95138-2412



KURT BERGMANN CUST MARK BERGMANN                    KURT E GERHARDSTEIN                                   KURT F REINWAND
A MINOR U/ART 8-A OF THE PERSONAL PROPERTY LAW OF   2158 BIRCH TRACE                                      PO BOX 32291
NY                                                  YOUNGSTOWN, OH 44515-4907                             JUNEAU, AK 99803-2291
19374 OSSENFORT CT
GLENCOE, MO 63038-1163


KURT KLEINMANN                                      KURT LAWRENCE FEINBERG                                KURT R KLUENDER
48 EDGEWOOD ROAD                                    135 GRANT DR N                                        PO BOX 081403
OSSINING, NY 10562-2710                             KINGSTOWN, RI 02852-3600                              RACINE, WI 53408-1331




KURT W LANGBEIN                                     KWABENA O SARPONG                                     KYLE B THORN
1645 BELLE AVE                                      PO BOX 740056                                         PO BOX 831846
FLINT, MI 48506-3378                                HOUSTON, TX 77274-0056                                RICHARDSON, TX 75083-1846




KYRUS B FRAMES                                      KYRYCZENKO                                            L A WINSLADE
PO BOX 567542                                       232 MONTCLAIR ROAD SO                                 APT 2240 1245 CHEMIN STE-FOY
ATLANTA, GA 31156-7542                              BARNEGAT, NJ 08005-2613                               1 PARC SAMUEL-HOLLAND QC
                                                                                                          G1S 4P2 CANADA



L CHRISTOPHER LUND CUST STEPHANIE LUND              L EVELYN CARPENTER                                    L FRANKLIN STEINLE
UNDER THE OHIO TRANSFERS TO MINORS ACT              & SHIRLEY I BOILORE & MARION C CARYL & PAMELA J       6205 STATE HWY 16 S
4736 FAY DR                                         WATHEN &                                              JOURDANTON, TX 78026-9601
SOUTH EUCUID, OH 44121-3884                         6911 N SPRINGRIDGE RD
                                                    WEST BLOOMFIELD, MI 48322-3938
                    09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                               Part 8 of 8 Pg 231 of 440
L JOHN MORTON & MAE S MORTON JT TEN                    L L DAVIS                                     L MARIE WINEBRENNER TR
1319 GLICKSTEIN CT                                     PO BOX 228 11346 SR 771                       UA 05/05/2003 L MARIE WINEBREENER REVOCABLE LIVING
NEPTUNE BEACH, FL 32266-1504                           LEESBURG, OH 45135                            TRUST
                                                                                                     PO BOX 80
                                                                                                     205 BAUM ST
                                                                                                     AVILLA, IN 46710

LA VONNE M REINHARDT                                   LABEL DULITZ CUST ELCHANAN ISRAEL DULITZ      LABELLE FROYD
2517 KATE ST                                           U/THE N Y UNIFORM GIFTS TO MINORS ACT         918 136TH LANE NE
WATERLOO, IA 50701                                     785 WASHBURN ST                               HAM LAKE, MN 55304
                                                       TEANECK, NJ 07666-2245



LADDIE A VETROVEC & EVELYN T VETROVEC TR               LALITKUMAR PAI                                LAMONA JENKINS
LADDIE A VETROVEC & EVELYN VETROVEC REV TRUST UA       128 MAPLE B PRESTIGE GREENWOODS               2815 136 PL SE
4/26/01                                                NAGAVARAPALYA                                 BOTHELL, WA 98012-5609
116 ARLINGTON AVE                                      560093 BANGALORE KARNATAKA
NAPERVILLE, IL 60565-6360                              INDIA


LANCELOT BELL & HARRIET L BELL TR                      LANCER R WEINRICH JR                          LANDON PALMER CUST RICHARD LAFAYETTE PALMER
FAMILY LIVING TRUST 10/09/92 U-ALANCELOT BELL &        1605 GAGE DR                                  U/THE OHIO UNIFORM GIFTS TO MINORS ACT
HARRIET BELL                                           MIDDLETOWN, OH 45042-2801                     5553 LAWNSBERRY DR
5712 BROOKBANK RD                                                                                    FORT WORTH, TX 76137-4390
DOWNERS GROVE, IL 60516-1359


LANNY D HUSEBO TR UA 03/18/1993 JEAN T HUSEBO FAMILY TRUST
                                                       LAPEAR
                                                           CREATED
                                                              W NEAL                                 LARISSA M SHEPARD
UNDER JEAN T HUSEBO LIVING TRUST                       PO BOX 431213                                 & CECILY SHEPARD BREIT & MARK NICHOLAS SHEPARD JT
33845 OVERTON DR                                       PONTIAC, MI 48343-1213                        TEN
LEESBURG, FL 34788                                                                                   44 SIENA DRIVE
                                                                                                     LAGUNA NIGUEL, CA 92677-8634


LARRY A GARFINKEL & JOANN GARFINKEL TR                 LARRY A HALL                                  LARRY A HEINLY
UA 11/07/2007 LARRY A GARFINKEL &                      PO BOX 451169                                 839 SUNSET AVE
1785 BREAKERS POINTE WAY                               ATLANTA, GA 31145-9169                        VENICE, CA 90291-2769
WEST PALM BCH, FL 33411



LARRY A HILL                                           LARRY A KAUFFMAN & SANDRA D KAUFFMAN TR       LARRY C POTTS & PATRICIA A POTTS TR
ATTN ROSEMARY HILL                                     KAUFFMAN LIVING TRUST UA 01/16/98             LARRY C & PATRICIA A POTTS REVOCABLE LIV TRUST UA
PO BOX 214140                                          620 E 90TH TERR                               1/14/05
AUBURN HILLS, MI 48321-4140                            KANSAS CITY, MO 64131-2918                    7410 W WILSON RD
                                                                                                     MONTROSE, MI 48457-9171


LARRY CARDONICK CUST JENNIFER CARDONICK                LARRY D LEINONEN                              LARRY D SMITH
U/THE PA UNIFORM GIFTS TO MINORS ACT                   4240 HADLEY ROAD                              1000 FREEDON TRAIL
106 SANDRINGHAM RD                                     METAMORA, MI 48455-9635                       PO BOX 291924
CHERRY HILL, NJ 08003-1533                                                                           KERRVILLE, TX 78029-1924



LARRY E MC CORD & GLORIA A MC CORD TR                  LARRY EDELSTEIN & ESTHER C EDELSTEIN JT TEN   LARRY ELFORD
LARRY E MC CORD & GLORIA A MC CORD TRUST UA            610 SCHOOL LANE                               214 905 1ST AVE S
09/26/94                                               WALLINGFORD, PA 19086-6902                    SUITE 312
6403 W 100TH NORTH                                                                                   LETHBRIDGE AB
NEW CASTLE, IN 47362                                                                                 T1J 4P6 CANADA


LARRY F BOWMAN & LINDA A BOWMAN TR                     LARRY F FRUECHTE CUST MATTHEW A FRUECHTE      LARRY F POPPLEWELL
UA 12/12/07 HARDWORKER REVOCABLE TRUST                 UNDER THE MO TRANSFERS TO MINORS LAW          18035 120TH ST SE
19003 N HAWTHORN DR                                    201 BOURDELAIS                                BIG LAKE, MN 55309-4865
SURPRISE, AZ 85387                                     SWANSEA, IL 62226-1073
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                            Part 8 of 8 Pg 232 of 440
LARRY G MEINKE                                       LARRY GOLDSTEIN                                   LARRY J WHITCOMB TR WHITCOMB FAMILY TRUST UA 07/24/96
31213 ST MARGARET                                    270 WOODFIELD RD                                  A-4752 142ND AVE
SAINT CLAIR SHORES, MI 48082-1202                    WESTWOOD, NJ 07675-4846                           HOLLAND, MI 49423-9518




LARRY L DAUBY & LYDIA S DAUBY TR                     LARRY L WAYMAN & ANNETTA M WAYMAN JT TEN          LARRY LAMBERT CUST DAVID LAMBERT
LARRY L DAUBY & LYDIA S DAUBY REV LIVING TRUST UA    15430 128TH AVE                                   U/THE COLORADO UNIFORM GIFTS TO MINORS ACT
08/17/05                                             INDIANOLA, IA 50125-8626                          427 S MOLINE
14501 SHADY VALLEY DR                                                                                  AURORA, CO 80012-2233
EVANSVILLE, IN 47725-9052


LARRY M BELL & PATSY A BELL TR                       LARRY N KEMPHER & LORETTA G KEMPHER TR            LARRY O KLEIN
UA DTD 03/29/1983 LARRY M BELL REVOCABLE LIVING      UA 05/03/2007 LARRY & LORETTA KEMPHER REVOCABLE   31053 GROVE
8051 VICTORIA FALLS CIRCLE                           20386 GIBRALTAR RD                                FRASER, MI 48026
SARASOTA, FL 34243                                   TRENTON, MI 48183



LARRY P CHARNESKI & MARLENE CHARNESKI TR             LARRY R HARTLEY CUST CINDY SUE HARTLEY            LARRY R HARTLEY CUST JULIE ANN HARTLEY
CHARNESKI LIVING TRUST UA 01/19/06                   U/THE CALIF UNIFORM GIFTS TO MINORS ACT           U/THE CALIF UNIFORM GIFTS TO MINORS ACT
3324 E 15TH AVE                                      5021 COWELL BLVD                                  5021 COWELL BLVD
SPOKANE, WA 99223-3603                               DAVIS, CA 95616-4406                              DAVIS, CA 95616-4406



LARRY R SHAVER & CAROL A SHAVER TR                   LARRY S GREER & CAROL A GREER JT TEN              LARRY T FINKBEINER & NANCY FINKBEINER JT TEN
LARRY R SHAVER LIVING TRUST UA 07/14/05              LARRY S GREER                                     1540 WETTERS RD
274 E LIVINGSTON RD                                  5501 192ND AVE E                                  KAWKAWLIN, MI 48631-9428
HIGHLAND, MI 48356-3100                              LAKE TAPPS, WA 98391



LARRY T MATTHEWS & NANCY H MATTHEWS TR               LARRY V ODER & SUSAN M ODER JT TEN                LARRY V YOUNGER
THE MATTHEWS JOINT LIVING TRUST UA 04/30/96          14200 188TH PL NE                                 PO BOX 690517
1404 BENT TWIG CT                                    WOODINVILLE, WA 98072-9345                        ORLANDO, FL 32869-0517
MYRTLE BEACH, SC 29579-6524



LARRY WEINER CUST TODD WEINER UGMA KAN               LARRY ZIMMERMAN CUST HELAYNE ZIMMERMAN            LARRY ZIMMERMAN CUST TERRY ZIMMERMAN
11201 MEADOW                                         U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT      U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
LEAWOOD, KS 66211-3077                               73450 COUNTRY CLUB DR                             73450 COUNTRY CLUB DR
                                                     SPC 249                                           SPC 249
                                                     PALM DESERT, CA 92260-8616                        PALM DESERT, CA 92260-8616


LASSITER THOMPSON TR LASSITER THOMPSON 2ND UA 01/04/67
                                                     LATASHIA
                                                       WITH HELEN
                                                              CRITINA SATTERFIELD                      LATHA H SEMONES CUST CHARLES ROY SEMONES
LASSITER THOMPSON AS DONOR                           715 BERRYMANS LN                                  U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
7304 GOOD SAMARITAN CT #BDG3-5                       REISTERSTOWN, MD 21136-6006                       4616 TIMBER RIDGE DR
EL PASO, TX 79912-1602                                                                                 MONTCLAIR, VA 22026-1057



LAU SEI KEUNG ATTNTRIANGLE MOTORS LTD                LAURA A HEIN                                      LAURA D KOEHLER TR
12/F UNION PARK CENTRE                               5859 MURFIELD DR                                  GEORGE E KOEHLER & LAURA D KOEHLER LIVING TRUST
771-775 NATHAN RD                                    ROCHESTER HILLS, MI 48306-2362                    UA 06/12/96
KOWLOON HONG KONG                                                                                      1633 CLEVELAND AVE
JAPAN                                                                                                  WYOMISSING, PA 19610-2309


LAURA E IRWIN & DIANE E RUFFINO TR                   LAURA E WIEDEBUSCH TR                             LAURA ELIZABETH WILDERMAN
IRWIN FAMILY TESTAMENTARY TRUST UA 06/24/01          LAURA E WIEDEBUSCH REVOCABLE LIVING TRUST UA      1319 BLEISTEIN AVE
626 EAGLE PKWY                                       11/11/96                                          CODY, WY 82414-3708
BROWNSBURG, IN 46112-9780                            2155 WHITETAIL DR
                                                     CADILLAC, MI 49601
                   09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                              Part 8 of 8 Pg 233 of 440
LAURA J BRAMMERLO TR                                   LAURA KAY RIVISTO                                     LAURA KIRSCH
ALLEN A BRAMMERLO DECLARATION OF TRUST UA 10/26/93     7340 165TH ST E                                       ATTN LAURA SAFERSTEIN
605 BUSH STREET                                        PRIOR LAKE, MN 55372-9316                             90 ROSE AVE
DEKALLB, IL 60115-4031                                                                                       WOODCLIFF LAKE, NJ 07677-7952



LAURA L CHERNOFF CUST HAROLD K CHERNOFF                LAURA SHEEDY                                          LAURA STACEY GILLMAN C/O THE GILLMAN COM
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW         23711 513TH AVE                                       PO BOX 744905
13930 KENNARD DR                                       AUSTIN, MN 55912                                      HOUSTON, TX 77274-4905
GLENELG, MD 21737-9752



LAURA T ATKINSON CUST WILLIAM T ATKINSON               LAURE A BERINSTEIN CUST GABRIELA BERINSTEIN UTMA MA LAUREL M MCCARTHY
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             55 CHAPIN RD                                        1376 150TH ST
3743 DOROTHY LANE                                      NEWTON, MA 02459-1806                               DUNDEE, IA 52038
WATERFORD, MI 48329-1110



LAUREN B GIBEAULT                                      LAUREN CALRK BRAXTON & JOHN MARSHALL BRAXTON TR       LAUREN H HOBEIN TR
PO BOX 366572                                          UW J MARSHALL BRAXTON TRUST A                         UA 08/26/98 DOROTHY Y HOBEIN TRUST FBO DANIEL G
BONITA SPRINGS, FL 34136-6572                          PO BOX 722185                                         HOBEIN
                                                       HOUSTON, TX 77272-2185                                759 SNELSON ROAD
                                                                                                             MARSHALL, NC 28753


LAUREN H HOBEIN TR                                     LAUREN KAY BAUER & LUCILLE E SCHULZ JT TEN            LAUREN ROTHSTEIN
UA 09/14/2009 LAUREN H HOBEIN REVOCABLE LIVING TRUST   5322 134TH AVE SE                                     733 NORTH KINGS ROAD APT 212
759 SNELSON ROAD                                       BELLEVUE, WA 98006-4236                               LOS ANGELES, CA 90069
MARSHALL, NC 28753



LAURENCE F WHITE TR                                    LAURENCE G BEAUVAIS III                               LAURENCE GANS & HELENE C GANS TR
LUCY M WHITE REVOCABLE TRUST MARITAL SHARE A UA        & ELLEN B TODD EXECUTORS OF ESTATE OF EFFIE L         LAURENCE GANS LIVING TRUST UA 12/26/97
7/7/93                                                 BEAUVAIS                                              16864 RIVER BIRCH CIRCLE
346 MEDINA DR                                          2424 WESTGATE                                         DELRAY BEACH, FL 33445-7055
SAINT LOUIS, MO 63122-1426                             HOUSTON, TX 77019-6608


LAURENCE H GARASCIA SR TR                              LAURENCE J SCHMIT & ELIZABETH E SCHMIT TR             LAURENCE L ANDERSON & LOIS L ANDERSON TR
UA 04/08/2009 LAURENCE H GARASCIA SR REVOCABLE         SCHMIT FAM LIVING TRUST UA 11/21/95                   THE LAURENCE & LOIS ANDERSON LIV TR UA
LIVING TRUST                                           16255 N ASPEN DR                                      10205 HAWTHORNE RD
34322 JEFFERSON                                        FOUNTAIN HILLS, AZ 85268-1417                         FORISTELL, MO 63348-2410
HARRISON TWP, MI 48045


LAURENCE MISCALL JR & FRANCES KAY MISCALL TR           LAURETTA WARSHAUER CUST JANE WARSHAUER                LAURIE BERINSTEIN CUST SOFIA BERINSTEIN UTMA MA
MISCALL FAMILY TRUST UA 05/13/01                       U/THE N J UNIFORM GIFTS TO MINORS ACT                 55 CHAPIN ROAD
3634 GENISTA PL                                        160 LAKE HILLS RD                                     NEWTON, MA 02459-1806
FALLBROOK, CA 92028-8142                               PINEHURST, NC 28374-9628



LAURIE C FEINBERG                                      LAURIE R APPLEGATE SR CUST SCOTT H APPLEGATE          LAURIE SUE STEINBERG MILLER
P O BOX 827                                            U/THE N J UNIFORM GIFTS TO MINORS ACT                 55 WOODMONT DRIVE
PLATTSBURGH, NY 12901                                  432 EDKEN AVE                                         RANDOLPH, NJ 07869-3739
                                                       TOMS RIVER, NJ 08753-5535



LAVERNE C MAZZILLI TR                                  LAVERNE C MAZZILLI TR                                 LAVON E STAAB
DONALD A MAZZILLI AND LAVERNE C MAZZILLI TRUST A UA    DONALD A MAZZILLI AND LAVERNE C MAZZILLI TRUST B UA   & LEISA A STEELE & MICHAEL E STAAB & EDWARD M STAAB
1/23/87                                                1/23/87                                               JT TEN
2530 DOUGLAS ROAD                                      2530 DOUGLAS ROAD                                     1660 DARRAH AVE
STOCKTON, CA 95207-3337                                STOCKTON, CA 95207-3337                               SIMI VALLEY, CA 93063-3312
                    09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                           Part 8 of 8 Pg 234 of 440
LAWRENCE A GOLDSTEIN                                LAWRENCE A HUMPHREY & IRENE HUMPHREY TR          LAWRENCE A HUMPHREY & IRENE HUMPHREY TR
PO BOX 80555                                        UA HUMPHREY FAMILY TRUST 08/29/90                UA HUMPHREY FAMILY TRUST 08/29/91
PHOENIX, AZ 85060-0555                              17650 DEVONSHIRE ST                              17650 DEVONSHIRE ST
                                                    NORTHRIDGE, CA 91325-1445                        NORTHRIDGE, CA 91325-1445



LAWRENCE B OPPENHEIMER CUST ELIZABETH ANN OPPENHEIMER
                                                  LAWRENCE BONI CUST DANIEL BONI                     LAWRENCE C WHIFFEN & KATHRYN E WHIFFEN TR
UNDER THE FLORIDA GIFTS TO MINORS ACT             U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         UA 11/28/2006 WHIFFEN REVOCABLE LIVING TRUST
55 FAIRLAWN DR                                    421 E MADISON ST                                   8205 W HONEY CREEK PKWY
BUFFALO, NY 14226-3421                            VILLA PARK, IL 60181-3069                          MILWAUKEE, WI 53214



LAWRENCE D BURGER & MURIEL M BURGER TR              LAWRENCE D JACKSON EX EST ARTHUR D JACKSON       LAWRENCE E ARNOLD JR
LAWRENCE D & MURIEL M BURGER 1997 REV TRUST UA      313 OTTERBEIN AVENUE                             & STACY SUE BILLINGSLEY & LORI ANN WILLIAMS JT TEN
10/07/97                                            DAYTON, OH 45406-4556                            1035 N PORTLAND ARCH RD
11020 LOUISE AVENUE                                                                                  COVINGTON, IN 47932-8068
GRANADA HILLS, CA 91344-4811


LAWRENCE E HILL CUST PAUL S HILL                    LAWRENCE E HILL CUST SCOTT D HILL                LAWRENCE E INGALL TR
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             U/THE TEXAS UNIFORM GIFTS TO MINORS ACT          LAWRENCE E INGALL & ELEANOR G INGALL FAM TRUST UA
16319 HAZY PINES CT                                 16319 HAZY PINES CT                              09/27/94
HOUSTON, TX 77059-5576                              HOUSTON, TX 77059-5576                           860 SE CENTRAL PKWY
                                                                                                     APT 211
                                                                                                     STUART, FL 34994

LAWRENCE E LINDELL & SHIRLEY L LINDELL TR           LAWRENCE E TAVERNIER & KAREN A TAVERNIER TR      LAWRENCE E THATCHER & WINSTON L THATCHER TR
LAWRENCE E LINDELL REVOCABLE TRUST UA 7/03/98       TAVERNIER FAMILY TRUST UA 03/10/05               VERNELL M THATCHER TR 301 12/21/59
316 POLLARD ST                                      125 VINEWOOD                                     582 LAND RUSH DR
CADILLAC, MI 49601-2434                             WYANDOTTE, MI 48192-5108                         MIDVALE, UT 84047-4649



LAWRENCE E WEINREIS                                 LAWRENCE EDWARD HUGHES CUST DAVID JAMES HUGHES   LAWRENCE F RENO & LOUISE G RENO TR
902 TAHQUAMENON BLVD                                U/THE OHIO UNIFORM GIFTS TO MINORS ACT           UA 01/29/93 LAWRENCE F RENO & LOUISE G RENO REV TR
NEWBERRY, MI 49868                                  1037 BRENTFORD                                   46405 OAKLAWN ST
                                                    COLUMBUS, OH 43220-5005                          #1
                                                                                                     MACOMB, MI 48042-5345


LAWRENCE G BRADEN & SHARON R BRADEN TR              LAWRENCE G JACOBSEN & JENNIE C JACOBSEN TR       LAWRENCE G REYNOLDS & KAREN P REYNOLDS TR
BRADEN REVOCABLE LIVING TRUST UA 10/27/04           UA JACOBSEN FAMILY TRUST 01/04/90                REYNOLDS FAMILY INVESTMENT TRUST UA 07/27/00
10132 WEST MONTANA AVE                              8134 BANNER                                      19 DRIFTWOOD RD
WEST ALLIS, WI 53227-3357                           TAYLOR, MI 48180-2128                            HAMPTON, NH 03842-1907



LAWRENCE H KLEIN                                    LAWRENCE H ROLLER & SUZANNE W ROLLER TR          LAWRENCE HEINBACH
1328 DERMOND RD                                     LAWRENCE H ROLLER REVOCABLE TRUST UA 03/09/94    680 FOX HOLLOW DR
DREXEL HILL, PA 19026-4904                          94 651 KAUAKAPUU LOOP                            YARDLEY, PA 19067
                                                    MILILANI TOWN, HI 96789



LAWRENCE J ALBAND & REGINA C ALBAND TR              LAWRENCE J DION CUST JAMES M DION                LAWRENCE J DUPUIS JR & MARIE F DUPUIS TR
UA ALBAND FAMILY LIVING TRUST 10/15/91              U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT       LAWRENCE J DUPUIS & MARIE F DUPUIS TRUST UA 09/26/95
11043 WEDGEMERE DRIVE                               1307 EDINGTON ST                                 1817 CHALLENGER AVE
TRINITY, FL 34655-7117                              PORTAGE, MI 49024-2605                           DAVENPORT, FL 33837-6412



LAWRENCE J HEIN                                     LAWRENCE J KIERSTEIN                             LAWRENCE J MC DONOUGH
367 N PETERS AVENUE                                 13620 IRVINGTON DRIVE                            PO BOX 550462
FOND DU LAC, WI 54935-2046                          WARREN, MI 48088-4318                            SOUTH LAKE TAHOE, CA 96155-0008
                    09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                          Part 8 of 8 Pg 235 of 440
LAWRENCE J MISITA                                  LAWRENCE J MLYNEK & ELAINE L MLYNEK TR               LAWRENCE K KIERNAN
CRESTWOOD VILLAGE II                               UA 10/23/92 THE MLYNEK REVOCABLE TRUST               36436 REINA PLACE
11 A VERBENA COURT                                 804 FAIRWAY DR                                       NEWARK, CA 94560-2517
WHITING, NJ 08759-2917                             LAS VEGAS, NV 89107-2013



LAWRENCE K OSEI                                    LAWRENCE KITCHUCK TR                                 LAWRENCE L BRUNI
PO BOX 540971                                      & CAROL KITCHUCK TR UA 07/24/07 KITCHUCK FAMILY      & MIRIAM A BRUNI JT TEN TOD DAVID J BRUNI SUBJECT TO
GRAND PRAIRIE, TX 75054-0971                       TRUST                                                STA TOD RULES
                                                   812 PIACENZA STREET                                  96 ELEANOR DRIVE
                                                   LIVERMORE, CA 94551                                  KENDALL PARK, NJ 08824


LAWRENCE LEVINE CUST DEBRA K LEVINE                LAWRENCE LIFSON CUST ALAN LIFSON                     LAWRENCE M WELLS
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           PO BOX 311021
4 EQUESTRIAN COURT                                 9 REGINA RD                                          FLINT, MI 48531-1021
UPPER BROOKVILLE, NY 11545-2638                    FARMINGDALE, NY 11735-4420



LAWRENCE M WOOD CUST ROBERT M WOOD                 LAWRENCE MILLER & SUSAN MILLER JT TEN                LAWRENCE O STULTS & SHIRLEY A STULTS TR
U/THE COLORADO UNIFORM GIFTS TO MINORS ACT         8704 245TH AVE                                       LAWRENCE & SHIRLEY A STULTS LIVING TRUST UA 10/04/93
2399 YARROW STREET                                 SALEM, WI 53168-9085                                 19412-48 WEST APT 209
LAKEWOOD, CO 80215-1920                                                                                 LYNNWOOD, WA 98036



LAWRENCE P REINARDY                                LAWRENCE PEYSER CUST MARC DAVID PEYSER               LAWRENCE R GORETSKI
1961 KIRKLAND CT                                   U/THE N Y UNIFORM GIFTS TO MINORS ACT                7300 WEINGARTZ
WIXOM, MI 48393-1633                               1048 NEWFIELD AVENUE                                 CENTER LINE, MI 48015-1463
                                                   STAMFORD, CT 06905-2522



LAWRENCE R GORETSKI & LORRAINE D GORETSKI JT TEN   LAWRENCE R HALVERSON & MRS MILDRED A HALVERSON JT TEN
                                                                                                      LAWRENCE R LOCHER
7300 WEINGARTZ                                     E5365 750TH AVE                                    PO BOX 510296
CENTERLINE, MI 48015-1463                          MENOMONIE, WI 54751-5905                           LIVONIA, MI 48151-6296




LAWRENCE R TRUMPORE CUST KEVIN E TRUMPORE          LAWRENCE R WILLIAMS                                  LAWRENCE RICHARD PARSONS JR CUST JULIA BYNUM PARSO
U/THE N J UNIFORM GIFTS TO MINORS ACT              PO BOX 700614                                        U/THE NORTH CAROLINA UNIFORM GIFTS TO MINORS ACT
PO BOX 421                                         SAINT CLOUD, FL 34770-0614                           3213 RUFFIN ST
HOPE, NJ 07844-0421                                                                                     RALEIGH, NC 27607-4023



LAWRENCE RICHARD ZASTROW                           LAWRENCE ROTHMAN CUST CARL ROTHMAN                   LAWRENCE S BARRETT & MARY B BARRETT TR
PO BOX 220544                                      U/THE OHIO UNIFORM GIFTS TO MINORS ACT               UA 12/10/90 LAWRENCE S BARRETT &MARY B BARRETT
CHARLOTTE, NC 28222-0544                           1545 CARROLL ST                                      TRUST
                                                   BROOKLYN, NY 11213-5329                              78-6965 MAMALAHOA HWY
                                                                                                        HOLUALOA, HI 96725-9741


LAWRENCE S YELLIN CUST SUSAN YELLIN                LAWRENCE W WEBB & FRANCINE B WEBB TR                 LAWSON P CALHOUN JR CUST DANIEL CLAY CALHOUN
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         UA 04/21/1999 LAWRENCE WEBB & FRANCINE B WEBB        A MINOR UNDER LAWS OF GEORGIA
303 LAWNDALE                                       14827 94TH AVE                                       1281 SWIMS VALLEY DR
AURORA, IL 60506-3132                              FLORISSANT, MO 63034-3125                            ATLANTA, GA 30327-3809



LAZAR COHN CUST BRUCE WARREN COHN                  LAZAR EINHORN                                        LAZAR HIRSCHEL & MRS MINNA ALTE KLEIN JT TEN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         1071 49TH ST                                         3400 FT INDEPENDENCE ST
3 LONDEL CT                                        BROOKLYN, NY 11219-2928                              BRONX, NY 10463-4523
EAST NORTHPORT, NY 11731-5730
                    09-50026-mg             Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                           Part 8 of 8 Pg 236 of 440
LEAH DUNAIEF CUST JOSHUA LAWRENCE DUNAIEF           LEAH J MAINZER CUST STEPHEN L MAINZER                LEANNE M STEIN CUST ZACHARY M STEIN UTMA OH
U/THE N Y UNIFORM GIFTS TO MINORS ACT               A MINOR U/SEC 2918-D 55 SUPPLEMENT TO THE GENERAL    12320 KILE RD
BOX 2842                                            137 GOWER RD                                         CHARDON, OH 44024-9596
SETAUKET, NY 11733-0864                             NEW CANAAN, CT 06840-6631



LEASHA F PITTS                                      LEATHA GREEN                                         LEE A FOREMAN CUST GREGG A FOREMAN
PO BOX 277662                                       P O BOX 971126                                       U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT
SACRAMENTO, CA 95827                                YPSILANTI, MI 48197                                  2913 SPRING ST
                                                                                                         PT TOWNSEND, WA 98368-5917



LEE ANN SCHIEFELBEIN                                LEE B BRAWNER CUST ALLEN LEE BRAWNER                 LEE C GIPSON
C/O TINA GEORGEOU                                   U/THE TEXAS UNIFORM GIFTS TO MINORS ACT              PO BOX 289101
63 CANNON RD                                        1909 NW 160TH PL                                     CHICAGO, IL 60628-9101
WILTON, CT 06897-2619                               EDMOND, OK 73013-1433



LEE DIESING & SHARLA DIESING TR                     LEE EISENSTEIN CUST MELANIE EISENSTEIN UGMA NY       LEE EISENSTEIN CUST SAMANTHA EISENSTEIN UGMA NY
UA 07/31/2006 DIESING FAMILY LIVING TRUST           267 ROLLING HILL GREEN                               267 ROLLING HILL GREEN
57435 AMVETS DRIVE                                  STATEN ISLAND, NY 10312-1818                         STATEN ISLAND, NY 10312-1818
NEW HAVEN, MI 48048



LEE ELLEN KUCERA                                    LEE F KLEIN                                          LEE G WEINBERG
ACCOUNT 1                                           4271 BEACH RIDGE ROAD                                34 BROOKSIDE RD
985 BALBOA AVE                                      NORTH TONAWANDA, NY 14120-9575                       WEST ORANGE, NJ 07052-4844
LAGUNA BEACH, CA 92651-3837



LEE H SCHLESINGER CUST LEE C SCHLESINGER II         LEE KAUFMAN JR CUST MARTHA STERN KAUFMAN             LEE LICHTENSTEIN
A MINOR UNDER THE LA GIFTS TO MINORS ACT            UNDER THEMISSOURI UNIFORM GIFTS TO MINORS LAW        1288 STURLANE PL
6133 PERRIER ST                                     8921 MOYDALGAN RD                                    HEWLETT, NY 11557-1206
NEW ORLEANS, LA 70118-5942                          ST LOUIS, MO 63124-1845



LEE M MORRIS                                        LEE M SHEPHERD & ANNA SHEPHERD TR                    LEE M SHEPHERD & ANNA SHEPHERD TR
PO BOX 441226                                       LEE M & ANNA SHEPHERD REV LIVING TRUST UA 09/08/93   UA 09/08/93 THE LEE M SHEPHERD &ANNA SHEPHERD
FT WASHINGTON, MD 20749-1226                        20091 ROCKYCREST CT                                  20091 ROCKYCREST CT
                                                    CLINTON TOWNSHIP, MI 48038-4945                      CLINTON TOWNSHIP, MI 48038-4945



LEE MURRAY STEINBERG                                LEE R WAITES & HELEN H WANG JT TEN                   LEE S ELLSWORTH & WINIFRED B ELLSWORTH TR
3916 HIGHLAND AVENUE                                765 CHANGHUA ROAD                                    LEE S ELLSWORTH & WINIFRED B ELLSWORTH REVOCABLE
ARLINGTON HEIGHTS, IL 60004-7919                    NO3-23E                                              1101 JUNIPER STREET #904
                                                    SHANGHAI                                             ATLANTA, GA 30309-7662
                                                    200060 CHINA (PEOPLE'S REP)


LEEMAN H JOHNSON & EDNA M JOHNSON TR                LEFTER K VASSIL                                      LEGARE H T ROBERTSON TR
LEEMAN H JOHNSON & EDNA M JOHNSON LIVING TRUST UA   & MS RAY P VASSIL TEN ENT TOD THEODORE VASSIL        LEGARE H T ROBERTSON REVOCABLE TRUST UA 5/25/94
4/15/03                                             SUBJECTO TO STA TOD                                  1155 OVERBROOK RD
194 HEADLEY ROAD                                    1104 CEDAR GROVE RD                                  PETERSBURG, VA 23805-1975
WASHINGTON, PA 15301-6424                           KNOXVILLE, TN 37923-2013


LEIGH J YARBROUGH & EDWIN S YARBROUGH III TR        LEIGH THURSTON MYERS CUST ELIZABETH LEIGH MYERS      LEISA V HEINRICH
UA 12/12/2007 LEIGH J YARBROUGH REVOCABLE TRUST     UNDER NC UNFI TRANSFERS TO MINORS ACT                PO BOX 426
12 CHANCERY PLACE                                   100 BRANDON PLACE                                    DALEVILLE, AL 36322
DURHAM, NC 27707                                    WINSTON SALEM, NC 27104-1806
                    09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 237 of 440
LEIZER HEIMLICH CUST DAVE HEIMLICH                   LELAND R SRIGLEY CUST KENNETH L SRIGLEY               LENA BIZJAK CUST LEWIS ALAN BIZJAK
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           A MINOR U/THE LAWS OF THE STATE OF MICH               A MINOR U/ART 8-A OF THE PERS PROPERTY LAW OF N Y
4619-12TH AVE                                        2500 13TH AVE                                         153-12 78TH AVE
BROOKLYN, NY 11219-2513                              VERO BEACH, FL 32960-5036                             FLUSHING, NY 11367-3439



LENA BIZJAK CUST LOIS ANN BIZJAK                     LENIS LEE TERRY                                       LENORA A BILBREY
A MINOR U/ART 8-A OF THE PERS PROP LAW OF NEW        3905 100TH ST                                         3027 STATE ROUTE 132 100
153-12 78TH AVE                                      LUBBOCK, TX 79423-5715                                AMELIA, OH 45102-2400
FLUSHING, NY 11367-3439



LENORE A ENGEBRETSEN TR UA 08/16/2001 BRUNO F ENGEBRETSEN
                                                    LENORE H EISENSTEIN                                    LEO A GOLD CUST ROBERT LAWRENCE GOLD
& LENORE A ENGEBRETSEN REVOCABLE TRUST              23545 RIBALTA                                          U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
691 WESTMERE RD                                     MISSION VIEJO, CA 92692-1833                           1219 VIA YOLO
DES PLAINES, IL 60016                                                                                      CATHEDRAL CTY, CA 92234-4367



LEO A WIRTHMAN JR CUST JOSEPH ALLEN WIRTHMAN         LEO B OSIP & DOROTHY B OSIP TR                        LEO F DALCONZO & ANNE L DALCONZO TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT               LEO B & DOROTHY B OSIP REV LIVING TRUST UA 12/12/02   UA 11/03/93 THE LEO F DALCONZO TRUST
10123 ALSPACH RD                                     34415 SPRING VALLEY DR                                12 BRIGHAM ROAD
CANAL WINCHESTER, OH 43110-9515                      WESTLAND, MI 48185-1453                               BERLIN, MA 01503-1620



LEO F WEINZIERL                                      LEO GOLDBERG CUST BONNIE GOLDBERG                     LEO GOLDBERG CUST ROBERT GOLDBERG
1709 LAWRENCE ROAD                                   A MINOR PURS TO SECS 1339 /26 INCL OF REV CODE OHIO   A MINOR PURS TO SECT 1339 /26 INCL REV CODE OF OHIO
MAYVILLE, MI 48744-9604                              2539 CEDARWOOD RD                                     5200 RIVER TRAIL
                                                     CLEVELAND, OH 44124-4246                              LYNDHURST, OH 44124



LEO J GEHRIG & MARILLYN M GEHRIG TR                  LEO J HEINEN                                          LEO J MCMANUS & MAXINE O MCMANUS TR
LEO J GEHRIG LIVING TRUST UA 07/19/96                PO BOX 14                                             LEO J & MAXINE O MCMANUS TRUST UA 08/26/04
5919 CENTERVILLE RD                                  DAKOTA, IL 61018-0014                                 4412 MORRISH RD
APT 330                                                                                                    SWARTZ CREEK, MI 48473-1323
SAINT PAUL, MN 55127-6832


LEO J RUFFINI & COLLEEN RUFFINI TR                   LEO J SAYLES TR                                       LEO KUNIGK
LEO J RUFFINI & COLLEEN RUFFINI TRUST UA 12/20/00    LEO J SAYLES & SHIRLEY K SAYLES REVOCABLE TRUST UA    RUA OSSIAN TERCEIRO TELLES 445
3921 WILSHIRE DR                                     08/13/04                                              SAO PAULO
SARASOTA, FL 34238-2566                              296 COUNTY RD 281 BOX 5                               SP CEP
                                                     SULLIVAN, OH 44880-9740                               04649-000 BRAZIL


LEO L KLEIN                                          LEO M PANKOK CUST MARYBETH PANKOK                     LEO M PANKOK CUST MICHAEL LEO PANKOK
1637 N SLOCUM RD                                     A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS OF NEW   A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
RAVENNA, MI 49451-9554                               JERSEY                                                15 WATER ST
                                                     69 S LOCUST AVE                                       PENNSVILLE, NJ 08070-1407
                                                     ELSINBORO, NJ 08079-9622


LEO MAZOWAY CUST LAWRENCE L MAZOWAY                  LEO MAZOWAY CUST MICHAEL C MAZOWAY                    LEO P VERDICK CUST STEVEN MARK VERDICK
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE CAL UNIFORM GIFTS TO MINORS ACT
PO BOX 517                                           128 CASTERBRIDGE LANE                                 575 N LILLIAN WAY
YORK, ME 03909-0517                                  BALDWINSVILLE, NY 13027-1064                          LOS ANGELES, CA 90004-1105



LEO PRATT CUST MICHAEL L PRATT                       LEO STEIN & JOHANNA STEIN JT TEN                      LEO TORPEY JR & LUCILLE A TORPEY TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           9917 WOODSON DR                                       UA 09/21/93 THE LEO TORPEY JR & LUCILLE A TORPEY LIV
10500 N W 71ST PLACE                                 OVERLAND PARK, KS 66207-2803                          PO BOX 201
TAMARAC, FL 33321-2210                                                                                     SWARTZ CREEK, MI 48473-0201
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 238 of 440
LEOLA WALKER                                         LEON C STEINOCHER                                  LEON DAVIS
PO BOX 361030                                        PO BOX 523                                         6357 OTTERBEIN-ITHACARD
GROSSE POINTE, MI 48236-5030                         HALLETTSVILLE, TX 77964-0523                       ARCANUM, OH 45304




LEON E ECKSTEIN                                      LEON E PIFER & VIRGINIA L PIFER TR                 LEON LICHTENSTEIN
20186 HIGHWAY 167                                    UA 3/28/2006 LEON E PIFER & VIRGINIA L PIFER       1288 STURLAND PL
DRY PRONG, LA 71423-3420                             3032 E FRANCES RD                                  HEWLETT, NY 11557-1206
                                                     CLIO, MI 48420



LEON N BRANTON CUST LANCE A BRANTON                  LEON O CHOWNING                                    LEON SILVERMAN CUST JEFFREY ALAN SILVERMAN
U/THE PA UNIFORM GIFTS TO MINORS ACT                 309 160TH TER                                      U/THE ILL UNIFORM GIFTS TO MINORS ACT
4932 ORCHARD RD                                      REDINGTON BCH, FL 33708-1649                       7932 ARCADIA AVE
SCHENECKSVILLE, PA 18078-2554                                                                           MORTON GROVE, IL 60053-1615



LEON SLATIN & BETTY ANN SLATIN TR                    LEON SLUPSKI CUST HOWARD ALLEN SLUPSKI             LEON STEPHENS
UA 02/22/91 THE LEON & BETTY ANN SLATIN TRUST        U/THE N J UNIFORM GIFTS TO MINORS ACT              PO BOX 401595
4005 OAKRIDGE A                                      147 LINCOLN AVE                                    REDFORD, MI 48240-9595
DEERFIELD BEACH, FL 33442-1955                       ELIZABETH, NJ 07208-1726



LEON T TAYLOR                                        LEON WALTER CUST BRENDA SUE WALTER                 LEONA A SCHULTE TR
PO BOX 832075                                        U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT        UA 09/01/2006 LEONA A SCHULTE REVOCABLE LIVING
STONE MTN, GA 30083-0035                             W6578 COUNTY RD A                                  TRUST
                                                     ELKHORN, WI 53121-2860                             2708 GOLF COURSE RD
                                                                                                        VICTORIA, KS 67671


LEONA M KEENAN TR                                    LEONA SCHWEDER TR REVOCABLE LIVING TRUST OF EDWARDLEONARD
                                                                                                        A SCHWEDER
                                                                                                                APT AND
THOMAS L KEENAN & LEONA M KEENAN INTERVIVOS TRUST    LEONA SCHWEDER UA 5/4/94                          PO BOX 491664
UA 09/26/91                                          PO BOX 225                                        LOS ANGELES, CA 90049-8664
100 HICKSON DR                                       WASHINGTON, MI 48094-0225
MERRILL, MI 48637-9759


LEONARD B JASINSKI & PHYLLIS JASINSKI TR             LEONARD BARON CUST SANDY BARON                     LEONARD C CHAMBERS
LEONARD B JASINSKI & PHYLLIS JASINSKI LVG TRUST UA   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         29465 STEINHAUER ST
6/8/99                                               10605 GLASS TUMBLER PATH                           INKSTER, MI 48141-1042
1405 W HENRY COURT                                   COLUMBIA, MD 21044-4144
FLUSHING, MI 48433-1586


LEONARD C LINDGREN TR                                LEONARD DAVIDSON CUST RONALD E DAVIDSON            LEONARD E GEIVETT CUST DENNIS CRAIG GEIVETT
LEONARD C LINDGREN REVOCABLE LIVING TRUST UA         U/THE CAL UNIFORM GIFTS TO MINORS ACT              U/THE MO UNIFORM GIFTS TO MINORS ACT
12/05/00                                             521 MONTANA 207                                    215 CEDAR TREE LN
1182 BALTUSTROL RUN                                  SANTA MONICA, CA 90403-1316                        BALLWIN, MO 63011-3872
AVON, IN 46123-7078


LEONARD E THOMAS CUST SCOTT ROBERT THOMAS            LEONARD EINHORN CUST GARY EINHORN                  LEONARD EVANS CUST CAITLIN M EVANS UTMA WA
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       1522 223RD PL NE
4021 RISEDORPH ST                                    5440 NESTLE AVE                                    SAMMAMISH, WA 98074-4163
BURTON, MI 48509-1039                                TARZANA, CA 91356-3615



LEONARD EVANS CUST RYAN T EVANS UTMA WA              LEONARD EVANS CUST TYLER C EVANS UTMA WA           LEONARD F DAVIDSON CUST RONALD DAVIDSON
1522 223RD PL NE                                     1522 223RD PL NE                                   A MINOR PURS TO SECTIONS 1339 /26 INCL OF THE
SAMMAMISH, WA 98074-4163                             SAMMAMISH, WA 98074-4163                           73444 IRONWOOD ST
                                                                                                        PALM DESERT, CA 92260-5593
                   09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                         Part 8 of 8 Pg 239 of 440
LEONARD H WACHSMUTH & MARILYN H WACHSMUTH TR      LEONARD J BARTON & HILLERY M BARTON TR               LEONARD J BROZAK & NANCY KLEIN TR LEONARD J BROZAK T
LEONARD H WACHSMUTH & MARILYN H WACHSMUTH         FAMILY REVOCABLE TRUST 05/08/92 U-A LEONARD J        85 KARRAT DR
3803 FOX HUNT WAY                                 BARTON                                               ROCHESTER, NY 14622-2100
GRAYSLAKE, IL 60030-9360                          3625 - 29 VISTA OCEANA
                                                  OCEANSIDE, CA 92057


LEONARD J GRIFFIN & MARGARET M GRIFFIN TR         LEONARD J KRAKOWSKI OR DOROTHY L KRAKOWSKI TR        LEONARD K BERG & ESTELLE Y BERG TR
UA 11/06/92 THE LEONARD JOSEPH GRIFFIN            KRAKOWSKI FAM REVOCABLE LIVING TRUST UA 12/02/97     ESTELLE & LEONARD BERG TRUST 2 UA 11/20/92
476 E TWINSBURG ROAD                              29468 LANSING DRIVE                                  64 SAN MARINO CIR
NORTHFIELD, OH 44067-2852                         WESTLAKE, OH 44145-5241                              RANCHO MIRAGE, CA 92270-1959



LEONARD K VANTASSEL & KATHLEEN A VANTASSEL TR     LEONARD L JAMESON                                    LEONARD L THORNELL & GERALDINE S THORNELL TR
LEONARD K VANTASSEL LIV TRUST UA 12/11/00         PO BOX 850086                                        THORNELL FAM TRUST UA 08/10/99
125 KEARNEY AVE                                   YUKON, OK 73085-0086                                 10308 HOMESTEAD RD
LIVERPOOL, NY 13088-6637                                                                               BEULAH, MI 49617-9769



LEONARD M CARDIFF & LORETTA J CARDIFF TR          LEONARD M SACKS & NORMA I SACKS TR                   LEONARD M WILLAN OR MARION S WILLAN TR
CARDIFF LIVING TRUST UA 11/04/96                  UA 09/08/93 LEONARD M SACKS & NORMA I SACKS LIVING   UA 01/17/91 LEONARD M WILLAN & MARION S
1389 BRIARGROVE WAY                               TRUST                                                965 SOUTH ROBIN LANE
OLDSMAR, FL 34677-5122                            10801 LINDLEY AVE                                    MESA, AZ 85204-4717
                                                  # 208
                                                  GRANADA HILLS, CA 91344-4441

LEONARD Q FORMAN CUST EDDY FORMAN                 LEONARD R THOMAS CUST DOUGLAS EVAN THOMAS            LEONARD RAMINSKI & BARBARA RAMINSKI TR
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT        U/THE CALIF UNIFORM GIFTS TO MINORS ACT              THE LEONARD RAMINSKI & BARBARA RAMINSKI DECL
10617 OAKLYN DR                                   45 WALDEMAR AVE                                      11104 KAREN DR
POTOMAC, MD 20854-3902                            BOSTON, MA 02128-1035                                ORLAND PARK, IL 60462



LEONARD REINHARDT & MARY ANN REINHARDT JT TEN     LEONARD SCHAER & ELEANORE SCHAER TR                  LEONARD STEINBERG CUST ALAN STEINBERG
47 DAVID DR                                       U/DECL OF TR WITH LEONARD SCHAER& ELEANORE           U/THE FLORIDA GIFTS TO MINORS ACT
AUGUSTA, NJ 07822                                 107 POST RD                                          1411 SOUTHWEST 82ND COURT
                                                  ALAMO, CA 94507-2619                                 MIAMI, FL 33144-5245



LEONARD STEINBERG CUST SUSAN STEINBERG            LEONARD W WEINBERGER                                 LEONARD WIDRY CUST FELICA C WIDRY
U/THE FLORIDA GIFTS TO MINORS ACT                 121 W WALNUT ST                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
10820 EDINBURGH ST                                LONG BEACH, NY 11561-3315                            9139 CHRYSANTHEMUM DRIVE
HOLLYWOOD, FL 33026-4719                                                                               BOYNTON BEACH, FL 33437-1236



LEONARDA KARPINSKI CUST JOSEPH KARPINSKI          LEONIE T GAFNEY CUST SHEILA MARIE GAFNEY             LEOTTA
U/THE N J UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           38 WOODLAND CIR
853 SALEM RD                                      10475 MCWAIN RD                                      MANALAPAN, NJ 07726-3204
UNION, NJ 07083-7572                              GRAND BLANC, MI 48439-8321



LEROY A CLINE & EDYTHE A CLINE TR                 LEROY A WILSON JR TOD LEROY ALFRED WILSON            LEROY D NEWCOMER & LAFAYE NEWCOMER TR
CLINE FAM REVOCABLE LIVING TRUSTUA 08/22/96       & NANCY W BEST & DONNA F WILSON                      NEWCOMER LIVING TRUST UA 10/14/03
21251 NAUMANN AVE                                 3757 S 2000 EAST                                     13736 W 115TH TER
EUCLID, OH 44123-3001                             SALT LAKE CITY, UT 84109-3347                        OLATHE, KS 66062-7874



LEROY E SIZEMORE JR & PATRECIA C SIZEMORE TR      LEROY FRANK HEINTSCHEL                               LEROY IMBER CUST MITCHELL E IMBER
UA 10/10/00 LEROY E SIZEMORE JR FAMILY            1001 WRIGHT BLVD                                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
1713 KNUPKE STREET                                BAYTOWN, TX 77520-5837                               2078 BLANCHE LN
SANDUSKY, OH 44870-4394                                                                                MERRICK, NY 11566-5503
                    09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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LEROY J YOUNG & LOIS J YOUNG TR                       LEROY P BUCKEL & HELEN E BUCKEL TR                     LEROY V ANDERLE & CHARLENE M ANDERLE TR
LEROY J & LOIS J YOUNG FAM TRUST UA 11/30/83          UA 03/16/93 LEROY P BUCKEL & HELEN E BUCKEL REV TR     UA 10/22/92 THE ANDERLE FAMILY REVOCABLE TRUST
2445 VISTA LAGUNA TER                                 9551 OLD HWY 70                                        268 COGNEWAUGH RD
PASADENA, CA 91103-1022                               MINOCQUA, WI 54548-9004                                COS COB, CT 06807-1307



LEROY W MITCHELL CUST VICKI LYNN MITCHELL             LESA SNIDER                                            LESLEE ANN HERZSTEIN
U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT            4512 GREENFILED HIGHWAY 54                             3637 SANTIAGO
107 KINGSBRIDGE RD                                    DRESDEN, TN 38225                                      SAN MATEO, CA 94403-3525
REHOBOTH BCH, DE 19971-1426



LESLEY B STALKER CUST DAVID M C STALKER               LESLEY CECILIA KELLY TOD DIANA PRICE SUBJECT TO STA RULES
                                                                                                            LESLIE A KLEIN & OLGA J KLEIN TR
U/THE N J UNIFORM GIFTS TO MINORS ACT                 806 BUCHANAN BLVD UNIT 115328                         UA 11/20/86 LESLIE A KLEIN AND OLGA J KLEIN TRUST
55 FAIRVIEW AVE                                       BOULDER CITY, NV 89005-2130                           5642 PUERTA DEL SOL BLVD #242
APT 4                                                                                                       ST PETERSBURG, FL 33715
BERGENFIELD, NJ 07621-2849


LESLIE ANN WEINER                                     LESLIE C CLARK JR & ATHANAS CLARK TR                   LESLIE C PALMER JR & PEGGY S PALMER TR
77 OXFORD LANE                                        CLARK FAMILY REVOCABLE LIVING TRUST UA 7/29/99         PALMER REV LIV TRUST UA 02/09/05
ABERDEEN, NJ 07747-2138                               25 S EASTERN DAWN AVE                                  121 LITTLE FOREST LANE
                                                      TUCSON, AZ 85748-1709                                  STATESVILLE, NC 28625-8907



LESLIE C PHILLIPS CUST THOMAS PHILLIPS                LESLIE E DANIELS ECHOLS TR                             LESLIE F WILCOX & SHARON L WILCOX JT TEN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            LESLIE DANIELS ECHOLS REVOCABLE LIVING TRUST           BOX 1458-82941
13 ACKERMAN AVE                                       AGREEMENT UA 5/20/94                                   PINEDALE, WY 82941
SUFFERN, NY 10901-7119                                6846 CEDARBROOK DRIVE
                                                      BLOOMFIELD HILLS, MI 48301-3017


LESLIE HEINSOHN TR BRANDY ELLEN HEINSOHN TR UA 12/29/76LESLIE J QUEENAN                                      LESLIE K MAY & BYRON C MAY TR
1560 FM109                                             2724 120TH ST                                         UA 07/23/04 LESLIE KNIGHT MAY REVOCABLE LIVING
NEW ULM, TX 78950-5122                                 TOLEDO, OH 43611                                      6 SPRING CREEK WYND
                                                                                                             KINGSPORT, TN 37664



LESLIE L GIBSON JR & HILA E GIBSON TR                 LESLIE L KENT & LOIS I KENT TR KENT FAM LIVING TRUST UA 08/15/91
                                                                                                               LESLIE M KIMMEL CUST SHOSHANA DEVORAH KIMMEL
LESLIE & HILA GIBSON 1999 REV TRUST UA 06/25/99       PO BOX 930355                                            U/THE TENN UNIFORM GIFTS TO MINORS ACT
6022 TURNBERRY DR                                     WIXOM, MI 48393-0355                                     1226 46 ST
BANNING, CA 92220-6616                                                                                         BROOKLYN, NY 11219-2026



LESLIE N GAY JR CUST SARAH J GAY                      LESLIE N HUNTER & DOROTHY M HUNTER TR                  LESLIE NIEDERMAN CUST STEVEN NIEDERMAN
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT            HUNTER FAM REVOCABLE TRUST UA 01/14/00                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
PO BOX 2131                                           16410 S OBSERVATORY PL                                 188 WOOD ROAD
TIJERAS, NM 87059-2131                                CORONA, AZ 85641-2302                                  ENGLEWOOD CLIFFS, NJ 07632-1625



LESLIE STEINER                                        LESLIE STEINHERZ                                       LESLIE STEVEN STONE
C/O MRS DUKES                                         1305 DAHILL ROAD                                       PMB 221 303 W LANCASTER AVE
1080 VIENNA 8                                         BROOKLYN, NY 11204-2642                                WAYNE, PA 19087-3938
ALBERTA G 3A
AUSTRIA


LESLIE TERNER & BARBARA TERNER TR                     LESLIE TERNER & BARBARA TERNER TR                      LESLIE VAUGHN MC NEAL 3RD
TERNER REV INTER VIVOS TRUST UA 08/18/92              UA 08/18/92 TERNER REV INTER VIVOS TRUST               A MINOR U/GDNSHIP OF MRS MARY S R M ROUNSAVILLE
7400 FINNEGAN DR                                      7400 FINNEGAN DR                                       BOX 853
WEST BLOOMFIELD, MI 48322-3554                        WEST BLOOMFIELD, MI 48322-3554                         LEAKESVILLE, MS 39451-0853
                    09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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LESTER B COOPER & ELAINE L COOPER TR              LESTER E BUNKER JR & JOHN D BUNKER TR                 LESTER F BELTON & ELLEN C LANDSTROM TR
COOPER FAMILY REVOCABLE TRUST UA 12/2/99          HELEN P BUNKER FAMILY TRUST UA 04/17/97               INTERVIVOS TR 09/01/88 U-A ELLENC
16440 W TRES HOMBRES CT                           454 LEVENSELLER RD                                    8157 RIDER RD
SURPRISE, AZ 85374-6295                           HOLDEN, ME 04429-7307                                 IMLAY CITY, MI 48444-9682



LESTER F MUCKERMAN & MARY J MUCKERMAN TR          LESTER GOLDBERG CUST MEG A GOLDBERG                   LESTER H KNAPP CUST CHESTER A KNAPP
LESTER F MUCKERMAN TRUST UA 12/03/97              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
1025 VAN DYKE                                     105 SUNESTA COVE DR                                   LEROY, IL 61752
MANCHESTER, MO 63011-3649                         PALM BCH GDNS, FL 33418-5768



LESTER L BISSINGER CUST LELAND BISSINGER          LESTER L FERGUSON TR                                  LESTER L FERGUSON TR
U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT       HELEN DAWSON REVOCABLE LIVING TRUST UA 06/16/97       HELEN P DAWSON REV TRUST UA 06/16/97 DUANE P
603 19TH ST SW                                    PHILIP DAWSON                                         DAWSON
AUSTIN, MN 55912-1546                             BOX 160                                               3010 US RTE 35
                                                  XENIA, OH 45385-0160                                  XENIA, OH 45385-9618


LESTER L FERGUSON TR                              LESTER SCHLITZ CUST DAVID SCHLITZ                     LETITIA R HATTON
HELEN P DAWSON REV TRUST UA 06/16/97 LLOYD S      U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT            PO BOX 161019
DAWSON                                            2524 44TH ST NW                                       SAN DIEGO, CA 92176-1019
BOX 160 3010 US RTE 35                            WASHINGTON, DC 20007-1105
XENIA, OH 45385-0160


LEVON N KESH CUST MISS MARY C KESH                LEVOYD LEVY                                           LEWIS ALSTON THOMPSON CUST EVE SPENCER THOMPSON
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        PO BOX 438828                                         UNDER NC UNIFORN TRANSFERS TO MINORS ACT
25075 MEADOWBROOK RD                              CHICAGO, IL 60643-8828                                BANZET BANZET & THOMPSOM
APT 305                                                                                                 PO BOX 535
NOVI, MI 48375-5700                                                                                     WARRENTON, NC 27589-0535


LEWIS B STEINGOLD                                 LEWIS BARNUM III CUST MARY LYNN BARNUM                LEWIS E LARSON
1008 CRABBERS COVE LANE                           A MINOR UNDERTHE LOUISIANA GIFTS TO MINORS ACT        2605 STATE STREET #3053337
VIRGINIA BEACH, VA 23452-4610                     1710 AVE DEL MUNDO #103                               SALEM, OR 97310
                                                  CORONADO, CA 92118-3046



LEWIS F KORNFELD JR CUST NICHOLAS S KORNFELD      LEWIS J CARDELEIN                                     LEWIS JOEL STOCKARD
U/THE MASS UNIFORM GIFTS TO MINORS ACT            520 S SCHENLEY                                        PO BOX 160332
6801 SHORE ROAD #5-P                              YOUNGSTOWN, OH 44509-3026                             MIAMI, FL 33116-0332
BROOKLYN, NY 11220-5017



LEWIS N PARRIS & LOLA PARRIS TR                   LEWIS R PETONIAK & KATHRYN G PETONIAK TR              LEWIS S WEBB
LEWIS N PARRIS & LOLA PARIS TRUST UA 03/22/02     LEWIS R PETONIAK & KATHRYN G PETONIAK FAMILY          6546 125TH AVE E
20808 LANGE                                       484 SIOUX LN                                          PARRISH, FL 34219-6602
ST CLAIR SHORES, MI 48080-1112                    SAN JOSE, CA 95123-3323



LEWIS S WEINGARTEN                                LEWIS SPECKER CUST LEWIS SPECKER JR                   LEWIS V GILCHER & PATRICIA A GILCHER TR
5306 HORNBEAM                                     A MINOR UNDER THE CALIFORNIA GIFTS OF SECURITIES TO   THE LEWIS V GILCHER LIVING TRUSTUA 06/10/99
FAYETTEVILLE, NC 28304-5820                       MINORS ACT                                            7762 BASS CREEK DR
                                                  10 VIACHEPARRO                                        HUDSONVILLE, MI 49426-9774
                                                  GREENBRAE, CA 94904


LIAMENT G RICHIE                                  LIBERINO TUFAROLO CUST JEFFREY J TUFAROLO             LIBERINO TUFAROLO CUST MARCIA M TUFAROLO
PO BOX 198659                                     U/THE WASH UNIFORM GIFTS TO MINORS ACT                U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT
CHICAGO, IL 60619                                 1940 91ST N E                                         1551 NORTH 36TH
                                                  BELLEVUE, WA 98004-3203                               SEATTLE, WA 98103-8938
                      09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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LILA EISNER CUST STEVEN MICHAEL EISNER               LILA GREENBERG CUST RANDY KEITH GREENBERG             LILLIAN C STEIN TR PHILIP CHARLES STEIN JR UA 7/2/58
U/THE N J UNIFORM GIFTS TO MINORS ACT                UNDER THE FLORIDA GIFTS TO MINORS ACT                 868 BRANDON LANE
1044 OWL LANE                                        10372 SW 114TH TER                                    SCHWENKSVILLE, PA 19473-2102
CHERRY HILL, NJ 08003                                MIAMI, FL 33176-4038



LILLIAN F MCCARTHY TR                                LILLIAN G COPELOW & SANFORD COPELOW TR                LILLIAN G ODLE TR UA 04/20/94 THE LILLIAN G ODLE TRUST
FRANCES R MCCARTHY & LILLIAN F MCCARTHY TRUST UA     UA 08/12/2003 LILLIAN G COPELOW REV INTERVIVOS        14313 189TH WAY NE
11/29/01                                             14942 WILDFLOWER LANE                                 WOODINVILLE, WA 98072-6347
3085 N GENESEE RD                                    DELRAY BEACH, FL 33446
APT 125
FLINT, MI 48506-2191

LILLIAN G PERMAR TR UW RUTH B POWER FBO JANICE R POWER
                                                    LILLIAN GUBITOSE COLETTE UNDIV 1/2 INT & ANGELA COLETTELILLIAN
                                                                                                            GARDNERJ EPSTEIN
                                                                                                                      1/2
11471 137TH ST                                      UNDIV INT SUBJECT TO LIFE USUF OF LILLIAN GUBITOSE     16055 W 12 MILE ROAD
LARGO, FL 33774-4006                                COLETTE                                                SOUTHFIELD, MI 48075
                                                    5201 FAIRWAY #31
                                                    NORTH LITTLE ROCK, AR 72116-6969


LILLIAN KAUFER & STUART KAUFER & DEAN KAUFER TR      LILLIAN M HYNES & MARTIN J HYNES TR                   LILLIAN M REINDL
ERNEST J KAUFER TRUST UA 02/04/88                    UA 02/01/94 LILLIAN M HYNES REVOCABLE TRUST           617 BLACK GATES RD
4953 OAKTON ST                                       THE BELTRONE LIVING CTR                               WILMINGTON, DE 19803-2239
APT 311                                              6 WINNERS CIRCLE APT 654
SKOKIE, IL 60077                                     ALBANY, NY 12205


LILLIAN MORSE CUST DENNIS J MORSE                    LILLIAN PARANZINO CUST DOMINIC M PARANZINO            LILLIAN R FREEDMAN CUST ROGER FREEDMAN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           U/THE PA UNIFORM GIFTS TO MINORS ACT                  U/THE MASS UNIFORM GIFTS TO MINORS ACT
1695 STANLEY BLVD                                    5614 HENRY AVE                                        1481 COMMONWEALTH AVE
BIRMINGHAM, MI 48009-4141                            PHILADELPHIA, PA 19128-2704                           WEST NEWTON, MA 02465-2831



LILLIAN R SIMON CUST ELISE DEBORAH SIMON             LILLIAN REINHEIMER CUST GREGG REINHEIMER UGMA MI      LILLIAN WENDLANDT
U/THE PA UNIFORM GIFTS TO MINORS ACT                 29260 FRANKLIN RD #607                                N13323 936TH ST
3675 N COUNTRY CLUB DR                               SOUTHFIELD, MI 48034-1178                             APT 1
APT 2501                                                                                                   NEW AUBURN, WI 54757-5001
MIAMI, FL 33180-1710


LILLIAN YAEKO SHIBATA & RAYMOND HIDEO SHIBATA TR     LILLIE ANN COVINGTON                                  LILLY GOLDSTEIN
LILLIAN YAEKO SHIBATA REVOCABLE TRUST UA 06/29/95    PO BOX 981238                                         969 HENRIETTA AVE
7224 KIPU PLACE                                      YPSILANTI, MI 48198-1238                              HUNTINGDON VY, PA 19006-8518
HONOLULU, HI 96825-2718



LILLYAN MARIE TREMAROLI                              LINCOLN H HECTOR TR                                   LINDA A BLAUSTEIN
A MINOR U/GDNSHIP OF ANTONINE TERESA TREMAROLI       & VIRGINIA M HECTOR TR HECTOR FAMILY TRUST UA         5556 BILL CODY ROAD
& POMPEI JOSEPH TREMAROLI                            03/31/99                                              HIDDEN HILLS, CA 91302-1101
150 CLARK DR                                         1019 CINDERELLA DRIVE
SAN MATEO, CA 94402-1003                             ALBERTON, MT 59820-9403


LINDA A GILFILLAN                                    LINDA A SCRINOPSKIE                                   LINDA C CAMPBELL
557 132ND                                            PO BOX140665                                          248 SOUTH HEINCKE ROAD APT2A
AVON, IL 61415-9290                                  IRVING, TX 75014-0665                                 MIAMISBURG, OH 45342




LINDA C HENRY                                        LINDA D KLEINEDLER                                    LINDA E EDMONDS
PO BOX 230035                                        616 ST CLAIR ST                                       13307 190TH RD
SAINT LOUIS, MO 63123-0735                           FLINT, MI 48504-4877                                  MAYETTA, KS 66509-8914
                     09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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LINDA F COOPER                                       LINDA F HUBBARD                                        LINDA F STEINER
PO BOX 531592                                        1121-101 AVENUE                                        12297 BROSIUS RD
LIVONIA, MI 48153-1592                               OAKLAND, CA 94603                                      GARRETSVILLE, OH 44231-9213




LINDA G SIGMAN & JAMES J SIGMAN TR                   LINDA GLAVAS                                           LINDA GOLDSTEIN
UA 09/01/93 LINDA G SIGMAN LIVING TRUST              PO BOX 795462                                          10971 PADDOCK LA
8694 DUNSINANE DR                                    DALLAS, TX 75379-5462                                  SANTA ANA, CA 92705-2538
DUBLIN, OH 43017-8753



LINDA GOLDSTEIN & VICTOR D GOLDSTEIN JT TEN          LINDA I HELFMANN & FREDERICK R HELFMANN TR             LINDA J HORBAL
10971 PADDOCK LANE                                   UA 02/19/2007 THE HELFMANN FAMILY TRUST                21962 144TH CIR
SANTA ANA, CA 92705-2538                             33204 MONTICELLO                                       ROGERS, MN 55374-9111
                                                     STERLING HTS, MI 48312



LINDA J LANCE                                        LINDA J PETERSON TR                                    LINDA JEAN DUFRESNE TOD CINDY C CARY CUST AMBER NICO
ATTN LINDA J WEINSTEIN                               LINDA J PETERSON TRUST UA 07/09/92 AMENDED 09/24/03    CA SUBJECT TO STA TOD RULES
2911 N JUANITA PL                                    7549 CASHEW DR                                         809 EL REDONDO
FULLERTON, CA 92835-2403                             ORLAND PARK, IL 60462-5001                             REDONDO BEACH, CA 90277



LINDA K CRONE & FREDERIC E CRONE TR                  LINDA L CLEVELAND                                      LINDA L COOPER
FREDERIC & LINDA CRONE FAMILY REVOCABLE TRUST UA     PO BOX 241070                                          3875 MEINRAD
6/24/04                                              LITTLE ROCK, AR 72223-0001                             WATERFORD, MI 48329-1830
6074 TARRAGONA DR
SAN DIEGO, CA 92115-5544


LINDA L KLEIN                                        LINDA LITINSKI                                         LINDA LOUISE KLEIN
33 OAK STREET                                        5755 M 33 SOUTH                                        1701 ENNIS JOSLIN RD APT 739
FRANKLIN, MA 02038-1822                              ATLANTA, MI 49709-8963                                 CORPUS CRISTY
                                                                                                            CRP CHRISTI, TX 78412



LINDA M BRUNSTEIN                                    LINDA R BARBER                                         LINDA RAE AL-MUTAWA & SUBHI AL-MUTAWA TR
11245 BARTON LN                                      PO BOX 190074                                          AL-MUTAWA FAM LIVING TRUST UA 02/04/93
DOW, IL 62022-3515                                   BURTON, MI 48519-0074                                  2606 N 162ND LANE
                                                                                                            GOODYEAR, AZ 85338-2096



LINDA REINERIO                                       LINDA RHEINGOLD CUST                                   LINDA RIFFNER CUST JESS T RIFFNER UGMA NEB
8924 MOUNTAIN GATE DR                                GRANT RHEINGOLD UTMA MA                                PO BOX 540519
LAS VEGAS, NV 89134-8813                             180 CABOT ST                                           OMAHA, NE 68154-0519
                                                     CHESTNUT HILL, MA 02467



LINDA S RAMSEY CUST MICHAEL ARTHUR RAMSEY            LINDA STEINER COURSEN CUST JOHN TAYLOR COURSEN UGMA
                                                                                                       LINDA
                                                                                                         CT STEINER COURSEN CUST LAUREN ANN COURSEN UGM
U/THE CAL UNIFORM GIFTS TO MINORS ACT                75 MARTINGALE LANE                                75 MARTINGALE LANE
22218 105TH AVE SE                                   FAIRFIELD, CT 06430-2465                          FAIRFIELD, CT 06430-2465
KENT, WA 98031-2545



LINDA STEINER COURSEN CUST WILLIAM TAYLOR COURSEN UGMA
                                                   LINDACTUFHEIL TR EDWIN REIMAN FAMILY TRUST UA 01/13/93   LINDSAY LEINGANG
75 MARTINGALE LANE                                 PO BOX 125 532 CHESTNUT LN                               4506 37TH AVE NW
FAIRFIELD, CT 06430-2465                           BEECHER, IL 60401-0125                                   MANDAN, ND 58554-1154
                    09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                           Part 8 of 8 Pg 244 of 440
LINTON H BALDWIN ATTN PAINE WEBBER INC              LISA ANN HOLTSINGER & VIRGINIA R HOLTSINGER TR    LISA ANNE EPSTEIN
2310 RT 34                                          LISA ANN HOLTSINGER TRUST UA 12/18/95             763 WAVERLY ST
SUITE 2A                                            2830 ROXBURGH DR                                  FRAMINGHAM, MA 01702-8567
MANASQUAN, NJ 08736                                 ROSWELL, GA 30076-2449



LISA J BERNSTEIN                                    LISA L BORNSTEIN                                  LISA M REINKE
7652 N GREENVIEW                                    1407 OXMOOR WOODS PKWY                            7498 WOODCLIFF DR
2                                                   LOUISVILLE, KY 40222-5662                         HUDSONVILLE, MI 49426-9167
CHICAGO, IL 60626



LISA ROSENSTEIN                                     LISA WALLACH                                      LIVINGSTON B MORRIS & ANTHONY MORRIS TR
1383 VISTA LEAF DR                                  PO BOX 370056                                     GALLOWAY C MORRIS III TRUST UA 7/13/95
DECATUR, GA 30033-2028                              MONTARA, CA 94037-0056                            135 OLD LANCASTER ROAD
                                                                                                      DEVON, PA 19333-1439



LLEWELLYN F BRENNECKE & LAVERNE H BRENNECKE TR      LLOYD A ZIMMERMAN                                 LLOYD BRONSTEIN
LLEWELLYN F BRENNECKE TRUST UA 07/29/96             6891 TRINKLEIN                                    2108 CURTIS AVE
3203 WILLIAMS GLEN DR                               SAGINAW, MI 48609-7050                            APT 1
SUGAR LAND, TX 77479-2441                                                                             REDONDO BEACH, CA 90278-2044



LLOYD C PRESTON CUST TIMOTHY C PRESTON              LLOYD E MORRIS CUST JEFFREY MORRIS                LLOYD ELVIN RICHARDS & MARGARET SHUGART RICHARDS TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT              U/THE OHIO UNIFORM GIFTS TO MINORS ACT            RICHARDS FAM TRUST UA 10/08/98
993 VALLEY ROAD                                     PO BOX 1501                                       5608 PARKSTON ROAD
MARQUETTE, MI 49855-9167                            BRENTWOOD, TN 37024-1501                          BETHESDA, MD 20816-1257



LLOYD F BARBER & HARRIET E BARBER TR                LLOYD F WINTERSTEIN                               LLOYD G HECK TR
LLOYD F BARBER & HARRIET E BARBER LIVING TRUST UA   1512 PRINCETON DR                                 UA 10/02/2002 LLOYD G HECK & SHIRLEY J HECK
11/28/89                                            BRUNSWICK, OH 44212-3535                          REVOCABLE LIVING TRUST
373 ROBERSON RD                                                                                       8068 WILLOW LANE
SEQUIM, WA 98382-9558                                                                                 WARREN, MI 48093


LLOYD H NARHI                                       LLOYD O CARTER & PEGGY J CARTER TR                LLOYD O CARTER & PEGGY J CARTER TR
3396 MEINRAD DR                                     LLOYD O & PEGGY J CARTER TRUST UA 10/25/00        LLOYD OWEN CARTER & PEGGY J CARTER TRUST UA
WATERFORD, MI 48329-3531                            1029 FOXGLOVE LN                                  10/25/00
                                                    DAVISON, MI 48423-7905                            1029 FOXGLOVE LN
                                                                                                      DAVISON, MI 48423-7905


LLOYD S PURCELL JR & MARGERY M PURCELL TR           LLOYD T KRITZMAN & DOROTHY L KRITZMAN TR          LLYWELLYN S LEWIS CUST DAVID L LEWIS
LLOYD S PURCELL JR TRUST UA 04/24/02                KRITZMAN FAM TRUST UA 06/08/94                    U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
5737 SW QUAIL COVE CIR                              4233 S 33 1/2 RD                                  182 DENNIS DR
TOPEKA, KS 66614-4189                               CADILLAC, MI 49601-8271                           WILLIAMSBURG, VA 23185-4935



LOGAN HOFFMAN                                       LOGAN J HOOD CUST MICHAEL J HOOD                  LOIS A MAC PHEE CUST D KEVIN MAC PHEE
1776 235TH ST                                       U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT        U/THE R I UNIFORM GIFTS TO MINORS ACT
WAVERLY, IA 50677-9032                              702 ASHFORD RD                                    3805 WETHERSFIELD CIR
                                                    WILM, DE 19803-2222                               TITUSVILLE, FL 32780-3528



LOIS A VAN TUSSENBROOK TOD LEE VAN TUSSENBROOK SUBJECT
                                                   LOIS TO
                                                        ANNE
                                                           STASWEATT
                                                                TOD TR                                LOIS C OBERDIEK CUST WARREN CARL OBERDIEK
RULES                                              UA 11/12/04 LOIS ANNE SWEATT REBVOCABLE TRUST OF   UNDER MISSOURI UNIFORM GIFTS TO MINORS LAW
7497 UPHAM ST                                      2004                                               24390 KISKER RD
ARVADA, CO 80003-2755                              55 KENT LN L220                                    PLATTE CITY, MO 64079-8269
                                                   NASHUA, NH 03062
                   09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 245 of 440
LOIS C STAUFFER TOD LOIS C STAUFFER TR               LOIS C STEINFELDT                                    LOIS E ADAMS & JOHN KUTA TR
LOIS C STAUFFER TRUST UA 12/10/97                    7002 PALAMAR TURN                                    LOIS ELAINE ADAMS & JOHN P KUTA REV TRUST UA 01/04/96
19 WARWICK LN                                        SEABROOK, MD 20706-2191                              2612 MISSOURI AVENUE
ROCKY RIVER, OH 44116-2305                                                                                FLINT, MI 48506-3893



LOIS E TULIKANGAS & ROBERT J TULIKANGAS TR           LOIS E WEINZIERL                                     LOIS GIFFORD
LOIS E TULIKANGAS TRUST UA 03/28/96                  4383 BIRCH RUN ROAD                                  2740 121ST LANE
22 ARNOLD AVE                                        MILLINGTON, MI 48746-9301                            COON RAPIDS, MN 55433-1805
READING, MA 01867-2208



LOIS H COUSINS                                       LOIS H STEIN TR UA 01/30/90 THE LOIS H STEIN TRUST   LOIS HEINY MILLS
7112-157 PAN AMERICAN                                1340 N ASTOR #2202                                   15655 ST RD 32 E
FREEWAY N E                                          CHICAGO, IL 60610-8432                               NOBLESVILLE, IN 46060-8587
ALBUQUERQUE, NM 87109-4213



LOIS M CARTER & JANICE R DAVISON & FRANK L CARTER TR LOIS M L RUSH                                        LOIS M WEINGARTZ
LOIS M CARTER REVOCABLE LIVING TRUST UA 05/25/04     PO BOX 670367                                        6520 NEWARK RD
3202 SHARI WAY                                       NORTHFIELD, OH 44067-0367                            IMLAY CITY, MI 48444-9760
SPARKS, NV 89431-1460



LOIS MARY CHALMERS                                   LOIS MCFAUL SHILTS & DONALD S MCFAUL TR              LOIS NATHALIE WALTS CUST SHERRI LYNN WALTS
7907 HOLSTEIN STREET                                 UA 07/01/2008 LOIS MCFAUL SHILTS REVOCABLE TRUST     U/THE MICH UNIFORM GIFTS TO MINORS ACT
TAKOMA PARK, MD 20912-6828                           64 PELICAN PLACE                                     5838 RAVEN RD
                                                     CLEARWATER, FL 33756-1568                            BLOOMFIELD, MI 48301-1052



LOIS W SERETNY & STANLEY E SERETNY TR                LOIS WOLTA & CAROL BLACKSTONE & LYNN GERCHES TR      LOISS M HASAN TRUST UA 01/05/96
LOIS W SERETNY LIVING TRUST UA 10/27/98              EDMUND J & ALBINA M WOLTA FAM TRUST UA 04/30/95      P O BOX 531235
1202 TRACE 12                                        1641 SOUTH AUSTIN BLVD                               LIVONIA, MI 48153
W LAFAYETTE, IN 47906-1878                           CICERO, IL 60804-1652



LOLA CASE WASHINGTON & RICHARD SCOTT WASHINGTON TRLONG V TRAN                                             LONNIE FOREST OLSON & VIRGINIA OLSON TR
LOLA CASE WASHINGTON REVOCABLE TRUST UA 04/16/97  PO BOX 182800                                           LONNIE FOREST & VIRGINIA OLSON TRUST UA 10/27/99
11222 S SHORE RD                                  ARLINGTON, TX 76096                                     362 E YOUNG RD
RESTON, VA 20190-4438                                                                                     GLADWIN, MI 48624-8026



LONNIE L LIEBENGOOD                                  LORA D STEINER & WILLIAM C STEINER JT TEN            LORAINE STUTT CROOKE TR
PO BOX 238581                                        512 S CLARK                                          HERBERT ANTHONY CROOKE JR RESIDUARY TRUST UA
PORT ORANGE, FL 32123-8581                           VANDALIA, MO 63382-2101                              06/03/02
                                                                                                          311 W DAVENPORT ST
                                                                                                          ELDRIDGE, IA 52748-1214


LORAINE TUSSEY                                       LORAN L KOLLMORGEN & SHEILA J KOLLMORGEN TR          LORANE W KATZ TR
PO BOX 072002                                        KOLLMORGEN TRUST UA 06/16/97                         UA 12/29/80 LORANE W KATZ TRUST BY LORANE KATZ AS
COLUMBUS, OH 43207-8002                              14306 23RD AVE SW                                    TRUSTOR
                                                     SEATTLE, WA 98166-1009                               6611 E LA CUMBRE
                                                                                                          ORANGE, CA 92869-4428


LORE LEVINSON CUST ROBERT ELEN LEVINSON              LORE SIMON CUST MICHAEL SIMON                        LOREIN NATZKE
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           2502 PASEDENA AVE
11 SURREY LANE                                       100 DALY BLVD APT 1007                               FLINT, MI 48504
LIVINGSTON, NJ 07039-1926                            OCEANSIDE, NY 11572-6010
                    09-50026-mg           Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                          Part 8 of 8 Pg 246 of 440
LOREN C ROBISON                                    LOREN VANDENBERGHE CUST ALISSA VANDERBERGHE UTMA WA
                                                                                                    LOREN VANDENBERGHE CUST KENNETH VANDERBERGHE UT
5942 SW HOLSTEIN RD                                2309 137TH PL SE                                 2309 137TH PL SE
POLO, MO 64671                                     BELLEVUE, WA 98005-4033                          BELLEVUE, WA 98005-4033




LORETTA A KRATZER & DARL W KRATZER TR              LORETTA E WAGNER & FLORENCE E WAGNER TR                LORETTA H OBERPRILLER & HEINZ HERBERT OBERPRILLER JT
LORETTA A KRATZER TRUST UA 12/01/04                UA 01/30/89 LORETTA E WAGNER F-B-O LORETTA E           4175 LOUIS DRIVE
6376 WEST 1000 SOUTH                               WAGNER                                                 FLINT, MI 48507-1207
WARREN, IN 46792-9719                              6829 KIMMSWICK COURT
                                                   SAINT LOUIS, MO 63129-3965


LORETTA KAUFMAN CUST MIKE KAUFMAN                  LORETTA M MCGEE & BART R MCGEE TR                      LORETTA S MARTIN CUST MARY KATHRYN MARTIN
U/THE CALIF UNIFORM GIFTS TO MINORS ACT            UA 11/28/2001 LORETTA M MCGEE FAMILY TRUST             UNDER THE MISSISSIPPI UNIFORM GIFTS TO MINORS LAW
716 N PALM DRIVE                                   11400 SILICA ROAD                                      413 PLANTATION CREST COURT
BEVERLY HILLS, CA 90210-3417                       NORTH JACKSON, OH 44451                                BATON ROUGE, LA 70810-4962



LORI A GABEL                                       LORI A WATTERS                                         LORI MCCLAREN CUST SHELBY A WEBB
ATTN LORI A STEIN                                  822-119 MERTON ST                                      UNDER IA UNIFORMTRANSFERS TO MINORS AT
4 VIOLET CT                                        TORONTO ON                                             RR2 BOX 97
GREENVILLE, SC 29615-5543                          M4S 3G5 CANADA                                         HINTON, IA 51024-8742



LORI STEINBRUNNER                                  LORIE L WHITNEY & LARRY E WHITNEY JT TEN               LORRAINE B WILLEVER & WAYNE B WILLEVER & CRAIG C WILL
4896 RAYS CIRCLE                                   13464 100TH AVE N                                      UA 08/02/1994
DUBLIN, OH 43016                                   SEMINOLE, FL 33776-1501                                517 GUY RD
                                                                                                          PHILLIPSBURG, NJ 08865



LORRAINE D PARSONS CUST CLIFFORD S PARSONS         LORRAINE DE WICK WILLIAMS                              LORRAINE FUTRELL SANDY K FUTRELL CINDY L FUTRELL
U/THE MASS UNIFORM GIFTS TO MINORS ACT             & CASWELL E WILLIAMS & MARY E WILLIAMS JT TEN          & ROBERT FUTRELL JT TEN
625 E CHAPMAN ROAD                                 625 PINECREST DRIVE                                    6660 LANGLE
OVIEDO, FL 32765-9015                              LARGO, FL 33770-3190                                   CLARKSTON, MI 48346-1441



LORRAINE G PINSKY CUST TIA S PINSKY                LORRAINE GERARDI CUST ANTHONY F GERARDI JR             LORRAINE GERARDI CUST JACQUELINE M GERARDI
U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT      U/THE N J UNIFORM GIFTS TO MINORS ACT                  U/THE N J UNIFORM GIFTS TO MINORS ACT
1 KING PHILIP DR #218                              27 ALAN DR                                             27 ALAN DRIVE
WEST HARTFORD, CT 06117                            FAIRFIELD, NJ 07004-1725                               FAIRFIELD, NJ 07004-1725



LORRAINE HAUSMANN ELLIS TR                         LORRAINE K LEWANDOWSKI & CHESTER A LEWANDOWSKI TR LORRAINE K SPAULDING FOSTER TR
UA 03/09/90 LORRAINE HAUSMANN-ELLIS FAMILY TRUST   UA 10/01/91 LORRAINE K LEWANDOWSKI                UA 09/18/92 LORRAINE K SPAULDING FOSTER TRUST
630 S ORANGE GROVE BLVD                            9420 E SUTTON DR                                  1515 LARK TREE WAY
APT 3                                              SCOTTSDALE, AZ 85260-4366                         HACIENDA HEIGHTS, CA 91745-3807
PASADENA, CA 91105-1724


LORRAINE M BESSEMER                                LORRAINE S ROWELL & RAY W ROWELL III TR                LORRAINE W NYE CUST MARGARET JEAN NYE
2725 138TH AVE RR#2                                LORRAINE S & RAY W ROWELL III REVOCABLE LIVING TRUST   U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
DORR, MI 49323-9537                                UA 7/9/98                                              6608 GREENWOOD RD
                                                   531 N MANITOU                                          WONDER LAKE, IL 60097-9100
                                                   CLAWSON, MI 48017-1476


LORRIE C WILSON CUST LEROY WILSON JR               LORYN Y ANDERSON                                       LOTTIE F COLLINS
A MINOR U/THE LOUISIANA GIFTS TO MINORS ACT        11915 143RD ST                                         PO BOX 310535
PO BOX 7388                                        JAMAICA, NY 11436-1220                                 FLINT, MI 48531-0535
GULF SHORES, AL 36547-7388
                    09-50026-mg          Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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LOU ANN P WEATHERLY                             LOUIE DELAROSA                                     LOUIS A FALCON & SYLVIA IRENE FALCON TR
PO BOX 680564                                   16151-103 SW AUDUBON ST                            U/A 01/31/2005 AMENDED 01/08/2008 LOUIS A FALCON &
FORT PAYNE, AL 35968-1606                       BEAVERTON, OR 97006-2976                           SYLVIA IRENE
                                                                                                   2616 SONOMA ST
                                                                                                   EL CERRITO, CA 94530


LOUIS A LEIBOWITZ CUST ALEX W KLEIN UTMA NJ     LOUIS A MASCHARKA CUST ROBERT MASCHARKA            LOUIS A TRICERRI & GLORIA C TRICERRI TR
16 SUFFOLD AVE                                  A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J       UA 12/15/1987 LOUIS & GLORIA TRICERRI
MAPLEWOOD, NJ 07040-1713                        3915 FLORMAR TERR                                  6 ST MICHAELS COURT
                                                NEW PORT RICHEY, FL 34652-3156                     DALY CITY, CA 94015



LOUIS ALTABET & MRS SHIRLEY ALTABET JT TEN      LOUIS AUSSENBERG CUST NEIL D AUSSENBERG            LOUIS B KAUFMAN CUST KENNETH LEE KAUFMAN
7161 159TH STREET                               A MINOR U-A 8-A OF THE PERS PROP LAW OF N Y        U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
APT 335                                         5230 BIRDWOOD RD                                   1814 FLINT OAK
FLUSHING, NY 11365                              HOUSTON, TX 77096-2504                             SAN ANTONIO, TX 78248-1808



LOUIS B KLEIN & EVELYN F KLEIN JT TEN           LOUIS B SONNENBERG & JEAN D SONNENBERG TR          LOUIS BOCKSTEIN CUST SONDRA ELAINE BOCKSTEIN
2303 BARREN HILL RD                             THE SONNENBERG FAMILY TRUST UA 10/16/02            U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
LAFAYETTE HL, PA 19444-1712                     703 W 4TH ST                                       400 E HOWRY AVE
                                                LEWISTOWN, PA 17044-1902                           APT 710
                                                                                                   DELAND, FL 32724-5437


LOUIS BOCKSTEIN CUST STEVEN HOWARD BOCKSTEIN    LOUIS CASTAGNOLA JR & MARIA CASTAGNOLA TR          LOUIS CHARLES ANDERSON JR TR
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT         UA 02/10/94 LOUIS CASTAGNOLA JR FAMILY TRUST       LOUIS CHARLES ANDERSON JR REV TRUST UA 03/22/96
400 E HOWRY AVE                                 PO BOX 2610                                        315 N PATTON AVE
APT 710                                         RANCHO SANTA FE, CA 92067-2610                     ARLINGTON HTS, IL 60005-1234
DELAND, FL 32724-5437


LOUIS D CARUFEL CUST LOUIS J CARUFEL            LOUIS D CARUFEL CUST PAUL D CARUFEL                LOUIS E ATWOOD & JOYCE I ATWOOD TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT      U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         UA 11/9/99 LOUIS E & JOYCE I ATWOOD DECLARATION OF
1424 CAROLINA                                   1424 CAROLINA                                      TRUST
MARYSVILLE, MI 48040-1616                       MARYSVILLE, MI 48040-1616                          191 SOUTH LINCOLN RD
                                                                                                   BAY CITY, MI 48708-9186


LOUIS E GUGLIELMINO & JUDE P GUGLIELMINO TR     LOUIS EASON CALDWELL CUST LOUIS RAYMOND CALDWELL   LOUIS F JAKUBECZ & JUNE M JAKUBECZ TR
UA 03/24/94 LOUIS E GUGLIELMINO &               U/THE CALIF UNIFORM GIFTS TO MINORS ACT            JAKUBECZ FAMILY REVOCABLE TRUST UA 8/28/01
PO BOX 906                                      7402 RAINIER AVE S                                 14200 SETTLERS WY
HEALDSBURG, CA 95448-0906                       SEATTLE, WA 98118-3946                             STRONGSVILLE, OH 44149-8743



LOUIS GALLO CUST LEONARD J GALLO                LOUIS GOLDSTEIN                                    LOUIS GRUSZKA & VICTORIA GRUSZKA TR
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT    82-57 257TH STREET                                 LOUIS GRUSZKA & VICTORIA GRUSZKA TRUST UA 01/29/96
29 BELLEVUE AVE                                 FLORAL PARK, NY 11004-1441                         8920 LENORE ST
BLOOMFIELD, NJ 07003-3033                                                                          REDFORD, MI 48239-1280



LOUIS H BERNSTEIN                               LOUIS H HEINTSCHEL                                 LOUIS H LETOURNEAU & NORMA J LETOURNEAU TR
5628 EL CANON AVE                               PO BOX 774                                         LOUIS H LETOURNEAU & NORMA J LETOURNEAU TRUST UA
WOODLAND HILLS, CA 91367-4074                   LA PORTE, TX 77572-0774                            7/23/99
                                                                                                   15041 KNOTTINGHAM DR
                                                                                                   LINDEN, MI 48451-9699


LOUIS J CARUSO                                  LOUIS J FORITANO CUST STEVEN FORITANO              LOUIS J FOURNIER & BONITA A FOURNIER TR
& CATHERINE M CARUSO & LOUIS NICHOLAS CARUSO    U/THE OHIO UNIFORM GIFTS TO MINORS ACT             LOUIS JOSEPH FOURNIER LIVING TRUST UA 09/20/94
& PAUL SAMUEL CARUSO JT TEN                     744 52ND STREET                                    12008 BIG LAKE RD
806 JAYDEE AVE                                  DES MOINES, IA 50312-1818                          DAVISBURG, MI 48350-3436
BALTIMORE, MD 21222-1334
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit E
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LOUIS L GAERTNER & FRANCES L GAERTNER TR              LOUIS LEVY & LILLIAN LEVY TR                             LOUIS M MCCAIG & MORNA E MCCAIG TR
FAM TR 09/04/90 U-A LOUIS L GAERTNER &                LOUIS & LILLIAN LEVY JOINT REVOCABLE TRUST UA 08/11/04   LOUIS M & NORMA E MCCGAIG REV LIVING TRUST AU
607 DEL PRADO DR                                      9460 POINCIANA PL APT 306                                09/10/98
BOULDER CITY, NV 89005-3121                           FORT LAUDERDALE, FL 33324-4880                           315 MARTINS LANDING RD
                                                                                                               JESUP, GA 31546-2429


LOUIS M MEINERS & MRS MARY E MEINERS JT TEN           LOUIS M RICHARDS & ALMA J RICHARDS TR                    LOUIS M STEAKLEY
14038 COLVILLE CIR                                    UA 04/25/94 THE RICHARDS LIVING TRUST                    & ETHEL M STEAKLEY & SUSAN S STEAKLEY & STEPHEN S
CARMEL, IN 46033                                      4145 SAN MARTIN WAY                                      STEAKLEY &
                                                      SANTA BARBARA, CA 93110-1432                             3367 NORTHLAND DR
                                                                                                               MORLEY, MI 49336-9546


LOUIS NESLEY CUST TODD J NESLEY                       LOUIS P CHISHOLM CUST LOUIS RANDOLPH CHISHOLM            LOUIS R COLEMAN
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT        U/THE VA UNIFORM GIFTS TO MINORS ACT                     PO BOX 292267
2520 PENNSYLVANIA ST                                  2640 RADNOR PLACE                                        PHELAN, CA 92329-2267
ALLENTOWN, PA 18104-2948                              MIDLOTHIAN, VA 23113-6496



LOUIS R INFANTE CUST MARK INFANTE                     LOUIS RANDALL MILLS LIFE TEN U-W MARGARET H MILLS MARILYN
                                                                                                            LOUIS
                                                                                                                H MILLS
                                                                                                                  T RILEY
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          GREGORY L MILLS MICHAEL RANDALL MILLS JOSEPH W        SJO 3789
25 DEERHILL DRIVE                                     MILLS REMAINDRMEN                                     1601 NW 97TH AVE
HO-HO-KUS, NJ 07423-1705                              2018 SUSSEX PLACE                                     PO BOX 025216
                                                      OWENSBORO, KY 42301-4300                              MIAMI, FL 33102-5216


LOUIS T VYHNALEK & HELEN L VYHNALEK & TR              LOUIS W STEINBACH & VIOLA J STEINBACH TEN COM            LOUISE C CLYDE & PAUL B CLYDE & WILFORD W CLYDE TR
VYHNALEK FAM REVOCABLE LIVING TRUST                   24 CANYON TR                                             FAMILY TRUST 12/30/85 U-A BLAINE
201 PIMLICO PL                                        BELTON, TX 76513-6201                                    240 E CENTER
LYNCHBURG, VA 24503-3844                                                                                       SPRINGVILLE, UT 84663-1462



LOUISE E ARMSTRONG TR                                 LOUISE FILIPCZAK                                         LOUISE H KAPLER CUST LORI LOUISE KAPLER
UA 02/20/93 THE LOUISE E ARMSTRONG REVOCABLE LIVING   PO BOX 700237                                            U/THE IOWA UNIFORM GIFTS TO MINORS ACT
TRUST                                                 PLYMOUTH, MI 48170-0944                                  3112 180TH ST
2470 TERRY ST                                                                                                  FORT ATKINSON, IA 52144-7461
WOLVERINE LK, MI 48390-2058


LOUISE KOGER & WILLIAM BEN KOGER TR                   LOUISE PARTLOW GREENE TR                                 LOUISE ROBERTS
LOUISE KOGER REVOCABLE TRUST UA 03/18/98              UA 04/22/2009 CHARLES ROBERT GREENE JR FAMILY TRUST      PO BOX 972312
1954 TAYLOR                                           506 OYSTER CREEK DRIVE                                   YPSILANTI, MI 48197-0839
DETROIT, MI 48206-2034                                LAKE JACKSON, TX 77566



LOUISE S BARKER                                       LOUISE T RADER GEORGE B RADER TR                         LOUISE V GRISSOM
& JONATHAN BARKER & CELIA BARKER LOTTRIDGE            UA 09/23/91 GEROGE & LOUISE RADER FAMILY TRUST           & JAMES F GRISSOM & MARK A GRISSOM & DONALD E
& LUCY BARKER HENIGHAN JT TEN                         5358 W 123RD ST                                          GRISSOM JT TEN
621 MOUNTAIN VIEW DR                                  HAWTHORNE, CA 90250-3421                                 4979 BLUFF DR NE
SEYMOUR, TN 37865-4323                                                                                         GRAND RAPIDS, MI 49525-1201


LOWELL D PEPPER & VIRGINIA H PEPPER TR                LOWELL D WATKINS & JANICE E WATKINS TR                   LOWELL E BILLINGSLEY CUST RICKY E BILLINGSLEY
UA 10/12/2007 LOWELL & VIRGINIA H PEPPER              UA 11/21/06 LOWELL D WATKINS & JANICE E WATKINS          U/THE ILL UNIFORM GIFTS TO MINORS ACT
3809 N HALL ROAD                                      1165 ELIZABETH CT                                        1555 HONEY LOCUST
WHITEWATER, WI 53190                                  THE VILLAGES, FL 32162-8737                              CHESTERFIELD, MO 63005



LOWELL J HODSON                                       LOWELL J HOTTENSTEIN                                     LOYD N PUCKETT & FRANCES V PUCKETT TR
PO BOX 190554                                         BOX 1                                                    LOYD N PUCKETT REV LIVING TRUST UA 11/06/96
BURTON, MI 48519-0554                                 140 ELM                                                  70 PARK PLACE TRAIL
                                                      PETERSBURG, MI 49270-9558                                SOCIAL CIRCLE, GA 30025
                    09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                           Part 8 of 8 Pg 249 of 440
LOYD R CRUMPLEY & EULA F CRUMPLEY TR                LUANN CLINGMAN FROST TOD ELAINE E CLINGMAN FROST SUBJECT
                                                                                                       LUANNTO
                                                                                                             CLINGMAN
                                                                                                               STA TOD FROST TOD THEODORE A CLINGMAN FROS
1999 REV TRUST OF LOYD R CRUMPLEY UA 11/18/99       RULES                                              RULES
13000 VENTURA LANE                                  115 WALNUT PLACE                                   115 WALNUT PLACE
OKLAHOMA CITY, OK 73165-7916                        SPRINGBORO, OH 45066                               SPRINGBORO, OH 45066



LUCIA T BURGESS CUST SUSAN BURGESS                  LUCIANO ALVES DOS SANTOS                            LUCIEN J BRANCHAUD & DENISE T BRANCHAUD TR
U/THE CONN UNIFORM GIFTS TO MINORS ACT              RUA MARQUES DE ARBANTES NO630                       UA 06/11/91 LUCIEN BRANCHAUD & DENISE T
ATTN L T SCOTT                                      JARDIM SANTA GENEBRA                                1716 EISENHOWER STREET
9 ALFRED LANE                                       13080-220 CAMPINAS SP                               SAN MATEO, CA 94403-1054
STAMFORD, CT 06902-1238                             BRASIL BRAZIL


LUCILE V LESLEIN                                    LUCILE W ROBINSON MARY M ROBINSON & JOHN E ROBINSON LUCILLE
                                                                                                        JT TEN A ZAMIEROWSKI & JOSEPH A JOZWIAK JT TEN TOD PA
9619 MONTERAY DR                                    291 OAKWOOD RD                                      ZAMIEROWSKI SUBJECT TO STA TOD RULES
PLAIN CITY, OH 43064-8736                           MUNDELEIN, IL 60061-2711                            11319 MINDEN
                                                                                                        DETROIT, MI 48205-3760



LUCILLE B VETTER-MOONEY                             LUCILLE D BECZKALA TR                               LUCILLE E SCHULZ & LAUREN KAY BAUER JT TEN
2567 350TH STREET                                   UA 08/01/2008 LUCILLE D BECZKALA REVOCABLE          5322 134TH AVE SE
WALL LAKE, IA 51466                                 LIVINGTRUST                                         BELLEVUE, WA 98006-4236
                                                    242 WOOLWICH LANE
                                                    SAINT LOUIS, MO 63125


LUCILLE I VAN DER LAAG CUST ROBERT J VAN DER LAAG   LUCILLE J SEITZ & JAMES P SEITZ TR                  LUCILLE KERN
U/THE MICH UNIFORM GIFTS TO MINORS ACT              UA 02/27/1990 LUCILLE J SEITZ LIVING TRUST          1415 220TH ST
623 PERRY PAK CREEK DRIVE                           PO BOX 268                                          LADORA, IA 52251-7555
GRAND BLANC, MI 48439-8142                          HIGGINS LAKE, MI 48627



LUCILLE KONO CUST VAN MARC KONO                     LUCILLE M PFISTER CUST WILLIAM C PFISTER            LUCILLE MARTELLO CUST FRANCESCA MARTELLO
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE N C UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
3941 CRAWFORD AVE                                   315 W 24TH ST                                       2563 E 19TH ST
COCONUT GROVE, FL 33133-6159                        TIFTON, GA 31794-2807                               BROOKLYN, NY 11235-3519



LUCILLE MARTELLO CUST JULIANNE MARTELLO             LUCILLE SHORE CUST JOEL S SHORE                     LUCINDA L BEELER & CHRISTOPHER J DREYER TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT     UA 06/29/09 DREYER SUPPLEMENTAL CARE TRUST
2563 E 19TH ST                                      7 BLACKTHORN DR                                     PO BOX 839
BROOKLYN, NY 11235-3519                             SOUTHBOROUGH, MA 01772-1402                         NOTRE DAME, IN 46556



LUCY M FELLOWS CUST HELEN FELLOWS                   LUCY M FIELDS CUST ANDREA LYNN FIELDS UGMA CA       LUCY NELSON CUST DAVID NELSON
U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT         PO BOX 751044                                       U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
2235 ROCKWOOD AVE                                   PETALUMA, CA 94975-1044                             5329 OAK CENTER DRIVE
APT 209                                                                                                 OAK LAWN, IL 60453-3863
SAINT PAUL, MN 55116-3130


LUDVIK H JUN                                        LUDVIK H JUN                                        LUDWIG ELI KATZENSTEIN & ZITA TOBY KATZENSTEIN JT TEN
PO BOX 892980                                       PO BOX 892980                                       1753 EAST 21ST ST
TEMECULA, CA 92589-2980                             TEMECULA, CA 92589-2980                             BROOKLYN, NY 11229-1514




LUE DORIS GREEN                                     LUELLA T STEIN                                      LUIS F GERLEIN
PO BOX 352824                                       302 CEDAR BROOK LANE                                5002 STRASS DR
TOLEDO, OH 43635-2824                               SANDUSKY, OH 44870-6924                             AUSTIN, TX 78731-5630
                   09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                            Part 8 of 8 Pg 250 of 440
LUIZ C LACRETA                                       LUIZ MOAN YABIKU JR                             LUKE B FISCHBECK
AVENIDA GOIAS                                        RUA ALMIRANTE TAMANDARE 322                     PO BOX 291164
1805 BAIRRO SANTA PAULA                              AP 81                                           LOS ANGELES, CA 90029-9164
SAO CAETANO DO SUL                                   SANTO ANDRE SAO PAULO
SP 09550 900 BRAZIL                                  09040-040 BRAZIL


LUKE C HESTER CUST ERIN HESTER                       LUKE ROBERT KLEIN & CAROL JEAN KLEIN JT TEN     LUTHER H CREED & LUCINDA J CREED TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           PO BOX 641                                      UA 02/21/92 LUTHER H CREED & LUCINDA J CREED TRUST
3 TWITCHELL ST                                       COMSTOCK PARK, MI 49321-0641                    7185 W TARA AVE
WELLESLEY, MA 02482-6021                                                                             LAS VEGAS, NV 89117-3031



LYANNE FRANKLIN HAISLIP PER REP BRENDA FRANKLIN BUCHANAN
                                                    LYDIAPER
                                                          A STEIN
                                                              REP EST                                LYDIA L SCHELLENBERG TR
JAMES WILLIAM FRANKLIN                              10 ESTEN ST 1                                    UA 01/06/94 THE LYDIA L SCHELLENBERG REVOCABLE
20 BURGUNDY RD                                      PROVIDENCE, RI 02908-4819                        TRUST
AIKEN, SC 29801                                                                                      BOX 254
                                                                                                     HOLLIS, NH 03049-0254


LYDIA M MLINARICH & NICHOLAS A MLINARICH TR          LYLE E BLOSSOM & MARIAN H BLOSSOM TR            LYLE H HACKER & FRANCES L HACKER TR
MLINARICH FAM TRUST UA 04/08/92                      LYLE E AND MARIAN H BLOSSOM LIVING              LYLE H HACKER & FRANCES L HACKER TRUST UA 03/31/95
714 S DANIEL WAY                                     8720 S M 43 HIGHWAY                             2209 N 68TH ST
SAN JOSE, CA 95128-3113                              DELTON, MI 49046-7654                           KANSAS CITY, KS 66109-2605



LYLE J MC CONAUGHY & HELEN E MC CONAUGHY TR          LYLE J SCHREIBER & LULA J SCHREIBER TR          LYLE R WILSON & MARILYN K WILSON JT TEN
MC CONAUGHY TRUST UA 02/21/95                        LYLE J & LULA J SCHREIBER REVOCABLE LIVING      PO BOX 769380
14013 NORTH WHISPERING LAKE DR                       4601 RIVER RD                                   SAN ANTONO
SUN CITY, AZ 85351-2329                              APT 214                                         SAN ANTONIO, TX 78245
                                                     EAST CHINA, MI 48054-3510


LYLE S MADISON & MARY ANN MADISON TR                 LYN L STAMLER                                   LYNDER MCWILLIAMS
UA 02/05/92 THE FAMILY TRUST MADISON                 PO BOX 531472                                   PO BOX 150048
10500 DEVONSHIRE DR                                  HENDERSON, NV 89053-1472                        ARLINGTON, TX 76015-6048
HUNTERSVILLE, NC 28078-6166



LYNN A MELOCHE                                       LYNN D STEINHELPER                              LYNN D TURNER
7815 134TH ST W                                      9598 WOODY CT                                   7801 108TH AVE NE
SAINT PAUL, MN 55124-7363                            WHITE LAKE, MI 48386-2372                       NORMAN, OK 73026-9760




LYNN M BERNSTEIN                                     LYNN M STEINLEY                                 LYNN MARIE LAKOTA TR
PO BOX 56                                            4335 CARDINAL DRIVE                             UA 10/22/2008 LYNN MARIE LAKOTA REVOCABLE LIVING
FANWOOD, NJ 07023-0056                               GRAND BLANC, MI 48439-7920                      TRUST
                                                                                                     39102 STACEY DRIVE
                                                                                                     LIVONIA, MI 48154


LYNN NUGENT RUS & STEVEN E RUS TR                    LYNN W STEWART & JOHN A STEWART TR              LYNNE A MARTIN & DAVID E MARTIN TR
STEVEN E RUS & LYNN NUGENT RUS TRUST UA 03/22/03     UA 11/19/2009 JOHN A STEWART & LYNN W STEWART   MARTIN FAMILY LIVING TRUST UA 03/30/00
11513 GRANT                                          8711 BARNETT VALLEY ROAD                        17730 CONNIE DR
OVERLAND PARK, KS 66210-1761                         SEBASTOPOL, CA 95472                            SPRING LAKE, MI 49456



LYNNE A WOODS TR                                     LYNNE D PEARSON CUST DAVID PEARSON              LYNNE N WEINSTEIN
UA 02/01/92 THE KENNETH D WOODS & LYNNE A WOODS      UNDER THE OH TRANSFERS TO MINORS ACT            130 MERION WAY
FAMILY TRUST                                         941 CHARA LN                                    HAINESPORT, NJ 08036-2782
16 BALL DR                                           COLUMBUS, OH 43240-2157
ATHENS, OH 45701-3676
                    09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 251 of 440
M ARAZELLA DANNER & DEE JAMES DANNER JT TEN         M ARAZELLA DANNER & DIXON E DANNER JT TEN            M ARAZELLA DANNER & MARC L DANNER JT TEN
LOT 710                                             6700 150TH AVE N #710                                6700 150TH AVE N #710
6700 150TH AVE N                                    CLEARWATER, FL 33764-7704                            CLEARWATER, FL 33764-7704
CLEARWATER, FL 33764-7704



M CRAIG CONNELLY                                    M E MC GINN TR MRS LOUISE M ARNOLD SHORT-TERM TR # 1 1/1/78
                                                                                                          M EILEEN PALMER TR
PO BOX 520243                                       3120 ROLLING ROAD                                     JOSEPH D PALMER & M EILEEN PALMER REV TRUST UA
SALT LAKE CITY, UT 84152-0243                       MONTGOMERY, AL 36111-1718                             06/25/90
                                                                                                          5783 PARKWALK DRIVE
                                                                                                          BOYNTON BEACH, FL 33472-2309


M GIDEON DRIMER CUST DAVID DRIMER UGMA NY           M HUNTER PUCKETT CUST JOSEPH SHELBY PUCKETT          M JACK BERNSTEIN & MIRIAM BERNSTEIN JT TEN
217159 PECH AVE                                     U/THE TEXAS UNIFORM GIFTS TO MINORS ACT              455 S NEWPORT WAY
HOLLIS HILLS, NY 11427                              3215 EAGLES KNOLL CT                                 DENVER, CO 80224-1321
                                                    KATY, TX 77494-7572



M MADELEINE DOUGHERTY                               M MELACHRINO                                         M PRISCILLA SHORT KLEIN
3 SOUTH NEW HAVEN AVENUE                            & A MELACHRINO JT TEN TOD M HAWORTH J SCHMIDT        212 LOCUST SE ST 106
VENTNOR, NJ 08406-2640                              SUBJECT TO STA RULES                                 VIENNA, VA 22180-4645
                                                    41 SILK OAKS DRIVE
                                                    ORMOND BEACH, FL 32176-3122


M S REVA MOSS CUST DAVID MICHAEL MOSS               M W WEINREB                                          MABEL CHRISTOPHER ET AL TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          13106 ANVIL PL                                       UA 08/12/08 CHRISTOPHER FAMILY REVOCABLE TRUST -
27501 W WARREN                                      HERNDON, VA 20171-2922                               FUND B
GARDEN CITY, MI 48135-2253                                                                               7 RUSSELL ST
                                                                                                         BEVERLY, MA 01915


MABEL L SMITH CUST LINDA K SMITH                    MAC DONALD BENSON                                    MACEL M COKENOUR TOD HARRY D COMBS SUBJECT TO STA
A MINOR PURS TO SECS 1339 /26 INCL OF THE REVISED   PO BOX 118                                           G3204 KLEINPELL STREET
CODE OF OHIO                                        KLEINBURG ON                                         BURTON, MI 48529-1006
1138 EPWORTH AV                                     L0J 1C0 CANADA
DAYTON, OH 45410-2612


MACIE V HEGWOOD                                     MACK F FULLER & VIRGINIA H FULLER TR                 MACON W WOODARD JOYCE WOODARD BYRD & DIANNE WOO
& CHERYL MABRY & R SCOTT HEGWOOD & GREGARY A        UA 08/10/2007 FULLER 2007 LIVING TRUST               ART 05-PAR B U-W MARY F WOODARD
HEGWOOD JT TEN                                      345 BLACK OAK DRIVE                                  5301 WESTERN BLVD
400 EAST 18TH ST # 113                              PETALUMA, CA 94952                                   RALEIGH, NC 27606-1643
WESLACO, TX 78596


MACY H MEYERS CUST JOSEPH STUART MEYERS             MADALEINE BERLEY CUST MARC BERLEY UGMA NY            MADELEINE A LONGO
U/THE MD UNIFORM GIFTS TO MINORS ACT                225 W 106TH STR                                      1650 1ST AVE W
1280 COLLEGE AVE                                    APT 12K                                              APT 304
COLUMBUS, OH 43209-2862                             NEW YORK, NY 10025-3657                              BRADENTON, FL 34205-6842



MADELEINE ALBANESE                                  MADELEINE BASS TOD SHELDON GUSTAFSON SUBJECT TO STAMADELEINE
                                                                                                         TOD RULESC BLANC
190 MORRIS AVE #3-H                                 1459 PEREZ DR                                      1 CENTRAL HWY
SPRINGFIELD, NJ 07081-1221                          PACIFICA, CA 94044                                 NEW CITY, NY 10956-2312




MADELEINE C MARTINEZ                                MADELEINE D MANNIX                                   MADELEINE E PAUL
12342 BECK                                          C/O C FROST-JOHNSON C                                10 CANAL ST
GARDEN GROVE, CA 92840-3848                         608 W MAIN ST                                        UNIT 409
                                                    ELIZABETH CITY, NC 27909-4257                        NORTH BERWICK, ME 03906-6790
                    09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 252 of 440
MADELEINE E PAUL                                      MADELEINE G FREESTON                              MADELEINE H POOLE
10 CANAL ST                                           22-D TURTLE CREEK DR                              868 ALDERWOOD WAY
UNIT 409                                              TEQUESTA, FL 33469-1563                           SARASOTA, FL 34243-1314
NORTH BERWICK, ME 03906-6790



MADELEINE L KLOC CUST KATRINA L KLOC UTMA MI          MADELEINE LIZOTTE-FRASER                          MADELEINE M GROVE
4875 MACK RD                                          390 RUE JULIE-DEFOY                               2903E 25N
HOWELL, MI 48843-9219                                 QUEBEC QC                                         HUNTINGTON, IN 46750-9360
                                                      G1G 2W8 CANADA



MADELEINE R ORTMAN                                    MADELEINE R TAENI                                 MADELEINE S BAILEY
561 CANNONBURY DR                                     5271 NAUTILUS DR                                  2211 BRIARWOOD DR
SAINT LOUIS, MO 63119                                 CAPE CORAL, FL 33904-5659                         COPLAY, PA 18037-2261




MADELINE GORDON CUST ILENE GORDON                     MADELON TALLEY CUST MAC DONALD WEYBRIGHT TALLEY   MADLYN R BERNSTEIN
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          U/THE N Y UNIFORM GIFTS TO MINORS ACT             1811 QUENTIN RD
526 HANOVER AVE                                       49 E 73RD ST                                      APT 3K
CHERRY HILL, NJ 08002-2016                            NEW YORK, NY 10021                                BROOKLYN, NY 11229



MADONNA H JEFFERS TR                                  MAE DOWNES TR MAE DOWNES TRUST # 1 UA 06/15/95    MAE GLADFELTER KEPHART TR
MADONNA H JEFFERS REVOCABLE LIVING TRUST UA 7/11/98   3648 N TRIPP AVE                                  MAE GLADFELTER KEPHART INTER VIVOS TRUST 02/27/95
133 TOPAZ TRAIL                                       CHICAGO, IL 60641-3037                            3159 NEALON DR
CORTLAND, OH 44410-1349                                                                                 FALL CHURCH, VA 22042-3632



MAE MARIONETTE MCLEOD TR                              MAILLE ANN FARRAR                                 MAINE FEDERATION OF WOMENS CLUBS
THE MAE MARIONETTE MCLEOD REV TRUST UA 12/02/96       ATTN MAILLE ANN KESSENICH                         ATTN PATRICIA N TREWORGY
715 POINSETTA DR                                      526 224TH PL SE                                   P O BOX 411
SATELLITE BEACH, FL 32937-2528                        BOTHELL, WA 98021-8289                            MILBRIDGE ME 04658-0411
                                                                                                        CASTINE, ME 04421-0027


MAKOTO KAJI                                           MALCOLM BOSHNACK CUST BRIAN BOSHNACK              MALCOLM NEIL MCNEIL & MARY HELEN MCNEIL TR
3 13 #311                                             U/THE CONN UNIFORM GIFTS TO MINORS ACT            MALCOLM NEIL MCNEIL & MARY HELENMCNEIL
KITA KU KITA13 NISHI                                  6450 WEBSTER ST APT 341                           319 CADGEWITH WEST
SAPPORO CITY                                          VENTURA, CA 93003-4474                            LANSING, MI 48906-1535
001 0013 HOKKAIDO JAPAN


MALCOLM P HANSON TR                                   MALMOUD AMIRANA CUST JASMINE AMIRANA              MALMOUD AMIRANA CUST OMAR AMIRANA
SHIRLEY A HANSON REVOCABLE LIVING TRUST UA 04/23/98   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
30151 BARBARY CT                                      10220 LOS PADRES PL                               10220 LOS PADRES PL
WARREN, MI 48093-3086                                 LAS VEGAS, NV 89134-6905                          LAS VEGAS, NV 89134-6905



MALOUF & SONS # 03-INC                                MALVENIA STEWART                                  MAMIE WILLIAMS
1413 BORGER ST                                        PO BOX 440398                                     PO BOX 298147
PLAINVIEW, TX 79072-4735                              JACKSONVILLE, FL 32222-0004                       COLUMBUS, OH 43229-3147




MAN CHI HO                                            MANFRED G WOCH                                    MANFRED GALLE
FLAT C 18/F                                           PO BOX 510288                                     C/O FIRST NATIONAL BANK
339-347 LOCKHART RD                                   MILWAUKEE, WI 53203-0056                          PO BOX 2260
WANCHAI                                                                                                 CODY, WY 82414-2260
HONG KONG, CHINA
                       09-50026-mg      Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
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MANLEY BURT WADE & PATRICIA H WADE TR          MANSOUR ASHTIANI-ZARANDI                               MANSSOUR H MOEINZADEH
MANLEY BURT WADE & PATRICIA H WADE TRUST UA    C/O HOSSEIN                                            PO BOX 5074
08/27/92                                       17116 DUNBLAINE AVE                                    CHAMPAIGN, IL 61825-5074
13 CROSSLEAF COURT EAST                        BEVERLY HILLS, MI 48025-4104
PALM COAST, FL 32137-8907


MANUEL AZEVEDO CUST SAMUEL AZEVEDO             MANUEL E FINKELSTEIN                                   MANUEL FINKLESTEIN & SHIRLEY FINKLESTEIN JT TEN
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT   4679 W BRUMMEL                                         BOX 170
1424 42ND ST                                   SKOKIE, IL 60076-3680                                  NORTH ADAMS, MA 01247-0170
SACRAMENTO, CA 95819-4008



MANUELA WOLF                                   MARA F FLAHERTY                                        MARC B SMITH JR
SPRENGELSTRASSE17                              PO BOX 781334                                          PO BOX 100997
D-13595                                        SEBASTIAN, FL 32978-1334                               FORT WORTH, TX 76185-0997
BERLIN
GERMANY


MARC C BARON                                   MARC C MC DANIELS                                      MARC D ELIAS
PO BOX 371462                                  PO BOX 425165                                          PO BOX 320185
MIAMI, FL 33137                                CAMBRIDGE, MA 02142-0004                               FLINT, MI 48532-0004




MARC TALBERT                                   MARCEL WEINTRAUB                                       MARCELINE J KEELER TR
1815 215TH ST APT 9C                           2118 SOUTH BELVOIR BLVD                                MARVIN E KEELER & MARCELINE J KEELER REVOCABLE
BAYSIDE, NY 11360                              SOUTH EUCLID, OH 44121-3712                            TRUST UA 9/7/93
                                                                                                      PO BOX 1281
                                                                                                      GARDENVILL, NV 89410-1281


MARCELLA M JANOUSKOVEC                         MARCI DANA WEIN                                        MARCI EISENSTEIN
PO BOX 934113                                  27751 AGATE CANYON DR                                  1135 WEST MONTANA
MARGATE, FL 33093-4113                         LAGUNA NIGUEL, CA 92677-4058                           CHICAGO, IL 60614-2220




MARCIA A DEUBNER & TIMOTHY DEUBNER JT TEN      MARCIA C GOULD CUST TODD L GOULD                       MARCIA ELLEN DORN CUST WILLIAM C DORN UGMA WA
2038-130TH AVE                                 U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT           4818 199TH AVE SE
HOPKINS, MI 49328-9734                         PO BOX 600                                             SNOHOMISH, WA 98290-7434
                                               INDIAN ROCKS BEACH, FL 33785-0600



MARCIA L RICHMAN CUST LARRY DALE RICHMAN       MARCILE B WOELFEL TR UA 01/29/1993 AMENDED 06/10/2010 MARCILE
                                                                                                      MARCOS B GUASTELLA
U/THE ILL UNIFORM GIFTS TO MINORS ACT          WOELFEL AMENDED AND RESTATED DECLARATION OF            RUA CASTILHO 155
1021 E OLIVE STREET #A                         TRUST                                                  BROOKLIN NOVO
ARLINGTON HEIGHTS, IL 60004-5014               4345 BROOKIE COURT                                     SAO PAULO SAO PAULO
                                               COLUMBUS, OH 43214                                     ZIP CODE 04568 010 BRAZIL


MARCOS P POLDAUF                               MARCUS C SMITH                                         MARCUS CRANE HITT & DORENE CLARK HITT TR
GM DO BRASIL                                   BOX 286078                                             MARCUS & DORENE HITT TRUST UA 06/26/95
AV GOIAS 1805 SAO                              CHICAGO, IL 60628-0078                                 1850 W ROUTE 29
CAETANO SAO PAULO                                                                                     URBANA, OH 43078-9304
09550-900 BRAZIL


MARCY LYNN KLEIN                               MARDELLE CAGEN CUST JOAN M CAGEN                       MARE WILLICK
105 COMPTON CIR                                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             PO BOX 451866
ROBBINSVILLE, NJ 08691-3060                    C/O JOAN LASER                                         LOS ANGELES, CA 90045-8523
                                               428-B W WEBSTER
                                               CHICAGO, IL 60614-3813
                    09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 254 of 440
MARGARET A ANDERSON & HOWARD R ANDERSON TR            MARGARET A BARRIOS TR CHRISTINE S HOYLE TR # 9495 UA 12/15/93
                                                                                                            MARGARET A HEINLE CUST CONNER J HEINLE UTMA MA
UA 09/25/2007 ANDERSON FAMILY REVOCABLE TRUST         1023 FAIRFIELD COURT                                  35709 JOHNSTOWN
207 CIRCLE VIEW DRIVE                                 WAUKEGAN, IL 60085-2803                               FARMINGTON HILLS, MI 48335-2020
DASSEL, MN 55325



MARGARET A HILLER                                     MARGARET A LEPORE CUST LAWRENCE R LEPORE            MARGARET A NEWBERRY
2066 CHECKREIN LN                                     U/THE CALIF UNIFORM GIFTS TO MINORS ACT             PO BOX 190101
LA PINE, OR 97739-9264                                70 SEMINARY AVE APT 380                             BURTON, MI 48519-0101
                                                      NEW TOWN, MA 02456



MARGARET A PFLAUMBAUM & GRAYDON H ELLIS JR TR         MARGARET A SHOTWELL TR                              MARGARET A STEINBEISER
MARGARET A PFLAUMBAUM REVOCABLE TRUST UA 7/11/86      MARY E DERLETH TRUST FOR ELIZABETH J COMERFORD      903 ALLEGHENEY ST
HOLDERLINSTRASSE 9                                    UA 3/17/94                                          HOLLIDAYSBURG, PA 16648-2403
68723 OFTERSHEIM/REP OFGERMANY                        3006 TUMBLEWEED DR
GERMANY                                               KOKOMO, IN 46901-7011


MARGARET ANNE GREEN CUST RICHARD A GREEN              MARGARET B CROWTHER                                 MARGARET BUTTERFIELD TOD ARLENE MESZAROS SUBJECT
U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT            C/O GORDON R COOK                                   RULES
4521 HIGHWAY 168                                      714333 1ST LINE EAST MONO                           171 FAIRWAY RD
PALMYRA, MO 63461-2314                                ORANGEVILLE ON                                      ROTONDA WEST, FL 33947-2019
                                                      L9W 2Y8 CANADA


MARGARET C RIFE & JAY R RIFE TR                       MARGARET CALLOUGH CUST ANITA CALLOUGH               MARGARET CORKLE TR
RIFE SELF TRUSTEED LIVING TRUST UA 11/14/01           U/THE PA UNIFORM GIFTS TO MINORS ACT                UA 04/18/1997 MARIAN HAUGH & RICHARD LEWIS CORKLE
2421 VEEDER RD                                        543 SOMERVILLE DR                                   LIVING TRUST
LEWISTON, MI 49756-8679                               PITTSBURGH, PA 15243-1565                           1440 MIDDLE GULF DR 1F
                                                                                                          SANIBEL, FL 33957


MARGARET D HEYER & JOSEPH L HEYER TR                  MARGARET D VIA & JOSEPH A VIA TR                    MARGARET E BONIFIELD & JOHN W BONIFIELD TR
MARGARET D HEYER LIVING TRUST UA 12/20/99             HENRY E VIA & MARGARET D VIA REVOCABLE TRUST UA     UA 04/03/89 BONIFIELD REVOCABLE TRUST
6599 DAY RD                                           01/14/04                                            3510 PASEO FLAMENCO
CANANDAIGUA, NY 14424-9106                            3911 PRESTON RD                                     SAN CLEMENTE, CA 92672-3513
                                                      MARTINSVILLE, VA 24112-7106


MARGARET E KOOPMEINERS                                MARGARET E PETERS TR                                MARGARET E SISLIAN CUST SHARON E SISLIAN
3924 NORTH CAPE CT                                    MARGARET E PETERS REVOCABLE LIVING TRUST UA         U/THE PA UNIFORM GIFTS TO MINORS ACT
FRANKSVILLE, WI 53126-9626                            03/27/03                                            30 LOCUST AVE
                                                      PO BOX 76                                           MILLBURN, NJ 07041-1822
                                                      BRETHREN, MI 49619-0076


MARGARET G KELSEY CUST JOHN GOULD KELSEY              MARGARET GILL                                       MARGARET H ROSS CUST JAMES V ROSS 3RD
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF           BOX 100296                                          U/THE MINN UNIFORM GIFTS TO MINORS ACT
8131 NEILSEN DR                                       ARLINGTON, VA 22210                                 1860 20TH AVE N E
PINLEY PARK                                                                                               ROCHESTER, MN 55906-8000
TINLEY PARK, IL 60477


MARGARET I THOMAS TR                                  MARGARET J PIPOLY & PAUL E PIPOLY TR                MARGARET J SCHWEINLE
WILLIAM A & MARGARET I THOMAS REV TRUST UA 10/09/98   MARGARET J PIPOLY LIVING TRUST UA 07/12/00          5250 SCHOOL RD
2635 S CRYSLER                                        4455 VAN AMBBERG ROAD                               PECK, MI 48466-9756
INDEPENDENCE, MO 64052-3246                           BRIGHTON, MI 48114



MARGARET J URBAN CUST MARK E URBAN                    MARGARET JANE CURTIS & ROBERT E CURTIS SR TR        MARGARET JEAN DEHN
U/THE CONN UNIFORM GIFTS TO MINORS ACT                MARGARET JANE CURTIS TRUST UA 05/22/96              & MARGARET JEANETTE BELLONI & RICHARD DAVID DEHN
134 MONROE ST                                         248 OLD WHARF RD                                    JT TEN
STRATFORD, CT 06614-4046                              DENNISPORT, MA 02639-2303                           1212 BEACONSFIELD
                                                                                                          GROSSE POINTE, MI 48230
                    09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                               Part 8 of 8 Pg 255 of 440
MARGARET JEAN MARCY COTTRELL HOULE TR                   MARGARET JULIA VAN NESTE CUST CHARLES Q VAN NESTE   MARGARET K HOOGSTRAET CUST MARY ELLEN HOOGSTRAET
UA 04/06/2000 GEORGE W COTTRELL CREDIT SHELTER          U/THE FLORIDA GIFTS TO MINORS ACT                   UNDER THE MISSOURI U-G-M-L
16600 NW GILLIHAN RD                                    2020 WOODS VALLEY RD                                4752 E BLACKTHORN
PORTLAND, OR 97231                                      CUMBERLAND FURNACE, TN 37051-4906                   SPRINGFIELD, MO 65809-1132



MARGARET KILPI TR                                       MARGARET KU CHAN CUST WILLIAM DAVID CHAN            MARGARET L BROWN TR
UA 06/27/88 MARGARET KILPI TRUST F-B-O MARGARET KILPI   A MINOR U/THE LAWS OF THE DISTRICT OF COLUMBIA      UA 08/28/1989 DECEDENTS TRUST OF BROWN FAMILY
15 POND RD                                              1722 KENYON ST NW                                   TRUST
HARVARD, MA 01451-1650                                  WASHINGTON, DC 20010-2617                           34302 SHORE LANTERN ST
                                                                                                            DANA POINT, CA 92629


MARGARET L CARSON                                       MARGARET L LAY & JULIAN D LAY JT TEN                MARGARET L PICKEREL & LLOYD A PICKEREL TR
9036 149TH ST                                           21280 100TH AVENUE                                  MARGARET L PICKEREL TRUST UA 12/02/03
APT 5H                                                  LA BELLE, MO 63447-2154                             72 MARY ST
JAMAICA, NY 11435-3953                                                                                      OZARK, AL 36360-7735



MARGARET L REINHARDT & BARBARA BRINKERHOFF JT TEN       MARGARET LEE WEST DAWSON & DULANEY LEE WOODWARD TR
                                                                                                        MARGARET LINCH JORDAN & WILLIAM DANIEL JORDAN TR
523 EDGEWORTHE DR SE                                    UA 06/25/82 MARGARET LEE WEST REV TR            UA 08/18/2005 MDJ REVOCABLE TRUST
ADA, MI 49301-7809                                      PO BOX 4251                                     2857 KINGSLAND COURT
                                                        BUENO VISTO, CO 81211-4251                      ATLANTA, GA 30339



MARGARET M BUNNELL                                      MARGARET M EARLEY STEIN                             MARGARET M GREENFELDER & DAVID P GREENFELDER & TIM
PO BOX 595097                                           717 JAMIE WAY                                       & DENNIS A GREENFELDER JT TEN
DALLAS, TX 75359-0097                                   WOODSTOCK, GA 30188-4080                            15218 WALVERN BLVD
                                                                                                            MAPLE HTS, OH 44137-4641



MARGARET M HAMPSON & BENJAMIN C HAMPSON TR              MARGARET M MC CARTY                                 MARGARET M MULVANEY & THERESA A SCHEDER TR
UA 1/14/93 BY MARGARET M HAMPSON                        C/O MARGARET M NICHOLSON                            MARGARET M MULVANEY LIVING TRUSTUA 01/29/99
536 GARDENIA ST                                         PO BOX 297995                                       1145 WEST 8TH STREET APT 201
LAKE JACKSON, TX 77566-5858                             COLUMBUS, OH 43229-7995                             NEW RICHMOND, WI 54017-1472



MARGARET M SCIMECA & WILLIAM B SCIMECA TR               MARGARET M SOBB TOD DAVID J SOBB & DEBRA A FORTMAN MARGARET M WEIDNER
MARGARET M SCIMECA REVOCABLE TRUST UA 07/12/01          4471-286TH STREET                                  & NANCY JEAN WEIDNER & WILLIAM PETER WEIDNER
4215 HONEYSUCKLE DR                                     TOLEDO, OH 43611-1914                              & THOMAS WILLIAM WEIDNER &
MCKINNEY, TX 75070-4498                                                                                    4908 HERON RUN CIRCLE
                                                                                                           LEESBURG, FL 34748-7820


MARGARET MARSH KNOWLING                                 MARGARET MARY RENNWALD                              MARGARET MINER WESTERBECK TR
5507 189TH ST SE                                        ATTN STEINER                                        MARGARET MINER WESTERBECK TRUST NO 102 UA 12/13/96
BOTHELL, WA 98012-7463                                  840 OXGOOSE DRIVE                                   37 W 271 WELD ROAD
                                                        LANOKA HARBOR, NJ 08734-2024                        ELGIN, IL 60123-6733



MARGARET NELSON                                         MARGARET NELSON PERS REP EST BERNICE NELS           MARGARET O DAWSON CUST BONNIE JANE DAWSON
PO BOX 432055                                           PO BOX 432055                                       U/THE MICH UNIFORM GIFTS TO MINORS ACT
PONTIAC, MI 48343-2055                                  PONTIAC, MI 48342                                   1437 RAMBLEWOOD DR
                                                                                                            EAST LANSING, MI 48823-1338



MARGARET O SHAFER                                       MARGARET P SHIVERDECKER CUST DENNIS L SHIVERDECKER MARGARET R ALEXANDER TR
PO BOX 510339                                           U/THE OHIO UNIFORM GIFTS TO MINORS ACT             UA 05/24/89 EDITH B LAKE AND MARGARET R ALEXANDER
PUNTA GORDA, FL 33951-0339                              677 SMOKEY LN COVE                                 634 COACHLIGHT LANE
                                                        CARMEL, IN 46033-9242                              HAZELWOOD, MO 63042-3448
                    09-50026-mg         Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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MARGARET R JOY & NELSON D STUBBS TR                 MARGARET R MILLER TR                              MARGARET ROSS MC ELDOWNEY II
UA 09/01/92 H KENNETH MACKEY SECOND TRUST           MARGARET R MILLER REVOCABLE LIVING TRUST UA       15075 108TH LANE SW
328 CECIL ST                                        08/14/96                                          VASHON, WA 98070-3835
CHESAPEAKE CITY, MD 21915-1025                      906 ROBBINS AVE
                                                    NILES, OH 44446-2442


MARGARET S GINGRICH                                 MARGARET S SCHILLING & HUGH K SCHILLING TR        MARGARET SUE CAMPBELL CUST STACY SUE CAMPBELL
14757 205TH AVE                                     MARGARET S SCHILLING TRUST UA 02/21/95            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
BIG RAPIDS, MI 49307-9210                           354 WOODLAWN AVE                                  7353 FIVE OAKS CT
                                                    ST PAUL, MN 55105-1240                            SPRINGBORO, OH 45066-8881



MARGARET V HEBERLEIN                                MARGARET V MCLAUGHLIN TR                          MARGARET W RENKE
2038 ROYAL PINES DRIVE                              MARGARET V MCLAUGHLIN LIVING TRUST UA 05/27/05    & JOHN K RENKE II JT TEN TOD CHRISTINA K MENDOZA
NEW BERN, NC 28560                                  5343 FOLKSTONE DRIVE                              JOHN K RENKE III
                                                    TROY, MI 48085-3271                               10607 HILLTOP DR
                                                                                                      NEW PORT RICHEY, FL 34654-2503


MARGARET W SCHNEIDER & REINER F SCHNEIDER JT TEN    MARGARET WITTOCK                                  MARGARETHA MURRAY & LINDA ANN MURRAY SIMMS TR
4207 KNOLL CIR                                      & SHARON BERGSTROM & JUDY BEAUCHAMP & KENNETH     ARCH MURRAY N M TRUST UA 02/24/92
LANSING, MI 48917-2103                              WITTOCK JT TEN                                    515 HOOK ROAD
                                                    1104 STOCKBRIDGE AVE                              WESTMINSTER, MD 21157-5922
                                                    IRON MOUNTAIN, MI 49801


MARGARIE M YOUNG TR                                 MARGARITO MARTINEZ & FLORA LUCILLE MARTINEZ TR    MARGARITO PEINADO
ANDREW E & MARGARIE M YOUNG REV LIVING TRUST UA     MARTINEZ FAM REVOCABLE LIVING TRUST UA 04/14/98   616 KINSHIRE WAY
08/09/99                                            2945 W BRIDGEPORT AVENUE                          PATTERSON, CA 95363-9763
1225 W 25TH STREET                                  ANAHEIM, CA 92804-2049
INDIANAPOLIS, IN 46208-5302


MARGERY E GRISWOLD CUST G HOWARD GRISWOLD JR        MARGERY G DEANE                                   MARGIE C MILLER
U/THE CONN UNIFORM GIFTS TO MINORS ACT              908 SHERMAN AVE                                   359650 675E
49 OLD COVERED BRIDGE RD                            PLAINFILED, NJ 07063-1533                         BRINGHURST, IN 46913-9731
NEWTOWN SQ, PA 19073-1211



MARGIE L KUTTENKULER TOD JEFFREY KUTTENKULER MARIA KEIRSEY
                                                   MARGIE LLYLA
                                                            KUTTENKULER TOD LORI COMBS EDWARD KUTTENKULER
                                                                                                     MARGIELARRY
                                                                                                             M FITZGERALD
KUTTENKULER                                        KUTTENKULER                                       & ELIZABETH A WOLFINBARGER & MARGIE K CAPPARELLI JT
PO BOX 3                                           PO BOX 3                                          TEN
TIPTON, MO 65081-0003                              TIPTON, MO 65081-0003                             739 HARRISON ST
                                                                                                     FRANKLIN, OH 45005-2510


MARGIE R JAMESON                                    MARGOT WEISS CUST LAURA ANN WEISS                 MARGRET NEWCOMER CUST JAMES EDWARD NEWCOMER
PO BOX 850086                                       U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT      U/THE PA UNIFORM GIFTS TO MINORS ACT
YUKON, OK 73085-0086                                2 OVERLOOK RD APT 1B1                             RD 2 BOX 263
                                                    WHITE PLAINS, NY 10605                            LATROBE, PA 15650-9407



MARGRET R GERHARDSTEIN                              MARGUERITE E BRECKENRIDGE                         MARGUERITE E WELCH CUST ANDREA WELCH
167 S MAIN STREET                                   & JANICE R DOOGAN & BARBARA A HATFIELD JT TEN     U/THE N J UNIFORM GIFTS TO MINORS ACT
MILAN, OH 44846-9735                                1 TYLER STREET                                    PO BOX 333
                                                    MONTGOMERY, NY 12549                              GLEN ST MARY, FL 32040-0333



MARGUERITE KELLY REILLY CUST MARGUERITE MARY REILLY AMARGUERITE
                                                       MINORU/P L M
                                                                  55DONOHUE & CONNIE M DONOHUE TR     MARGUERITE M SMITH & ELEANOR COSTELLO TR
CHAP 139 OF THE LAWS OF NEW JERSEY                   RESIDUARY TR U-W ANTHONY J DONOHUE               UA 08/24/2008 MARGUERITE M SMITH LIVING TRUST
2009 FAIRWAY DRIVE                                   44 ARROWHEAD WAY                                 10136 SCOTT AVENUE
SPRING LAKE HILLS, NJ 07762-2529                     DARIEN, CT 06820-5508                            APT 5
                                                                                                      WHITTIER, CA 90603
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 257 of 440
MARGUERITE TAYLOR PAULLIN CUST JAMES EDGAR PAULLIN MARGUERITE WATSON JONES & HERBERT O JONES TR            MARIA C PADOVAN
A MINOR U/THE LAWS OF GEORGIA                      MARGUERITE WATSON JONES REV TRUST UA 12/30/88           RUA NILO PECANHA 54 AP 41
1885 W PACES FERRY ROAD N W                        15428 BRAMBLEWOOD DRIVE                                 SC SUL SP
ATLANTA, GA 30327-2413                             SILVER SPRING, MD 20906-1436                            9540830 BRAZIL



MARIA CECILIA PADOVAN                                MARIA GAGLIARDO & JEAN ADDESSI TR                     MARIA P WHITE & CHARLES R WHITE TR
GM BRASIL AVG GOIAS 1805                             MARIA GAGLIARDO REV TRUST UA 03/17/99                 CHARLES & MARIA WHITE FAMILY TRUST UA 12/22/00
SAO CAETANO DO SUL                                   77 PENN AVE                                           PO BOX 13
SAO PAULO BRAZIL                                     STATEN ISLAND, NY 10306-2829                          MORENO VALLEY, CA 92556-0013
09501-970 BRAZIL


MARIA RIBAUDO & PHILIP RIBAUDO TR                    MARIA VICTORIA PIROSO                                 MARIA YOLANDA HUERTA ALVEAR
RIBAUDO FAM IRREVOCABLE TRUST UA 10/26/96            PO BOX 173474                                         PO BOX 532692
501-1 WILLOW ROAD E                                  TAMPA, FL 33672-1474                                  GRAND PRAIRIE, TX 75053-2692
STATEN ISLAND, NY 10314-7915



MARIAM KURKJIAN TR                                   MARIAN A GOLLHOFER CUST GARY LEE GOLLHOFER            MARIAN BERINGER WILSON TR
UA 06/17/1997 MARIAM KURKJIAN REVOCABLE LIVING       U/THE MO UNIFORM GIFTS TO MINORS LAW                  UA 01/13/94 MARIAN BERINGER WILSON REVOCABLE LIVING
TRUST                                                4008 STONE BROOKE DR                                  TRUST
28074 FONTANA DRIVE                                  GRAPEVINE, TX 76051-7143                              561 WARWICK AVE
SOUTHFIELD, MI 48076                                                                                       SAN LEANDRO, CA 94577-1943


MARIAN BOSTROM                                       MARIAN C BROWN                                        MARIAN COSENTINO CUST MICHAEL PAUL COSENTINO A MINO
1151 153RD LANE NE                                   24009 178TH ST                                        /26 INCL OF THE
HAM LAKE, MN 55304-5502                              OKOBOJI, IA 51355                                     8596 VICTORIA MEADOW LN
                                                                                                           REYNOLDBOURG, OH 43068-9748



MARIAN E SONTAG CUST MARK COLBY ROBERTS              MARIAN WEINHEINER                                     MARIANNA R MACDONNELL CUST MARIANNA MACDONNELL
U/THE CAL UNIFORM GIFTS TO MINORS ACT                7389 LESOURDVILL W CHESTER RD                         UNDER THE CALIFORNIA U-G-M-A
PO BOX 1690                                          WEST CHESTER, OH 45069                                1353 RADCLIFFE CIRCLE
SAN JUAN CAPISTRAN, CA 92693-1690                                                                          CORONA, CA 92881-6633



MARIANNE B RICHARDSON TR                             MARIANNE E HERIFORD                                   MARIANNE L ALBUS
MARIANNE B RICHARDSON REVOCABLE LIVING TRUST UA      2027 180TH NE CT                                      1863 113TH LN NW
7/6/01                                               REDMOND, WA 98052-6033                                COON RAPIDS, MN 55433-3714
3390 ACORN LANE SOUTH
SALEM, OR 97302-5901


MARIANNE M KRASUSKI                                  MARIANNE WELLS SAMS                                   MARIANO J RINALDI CUST JOSEPH RINALDI
C R 3190 3588                                        PO BOX 262447                                         A MINOR UNDER P L 55 CHAP 139 OF THE LAWS OF N J
MOUNTAIN VIEW, MO 65548                              PLANO, TX 75026-2447                                  PO BOX 1459
                                                                                                           SHARON, CT 06069-1459



MARIE A A BLACKWOOD CUST MILES S BLACKWOOD UTMA UT MARIE A FITZPATRICK TR MARIE A FITZPATRICK SEPRATE PROPERTY
                                                                                                         MARIE AREVOCABLE
                                                                                                                 FITZPATRICK TR UA 12/21/2005 MARIE A FITZPATRICK
4001 242ND AVE SE                                  INTER VIVOS TRUST UA 07/10/06                         BENEFITTRUST UNDER GEORGE EDWARD FLANDERS
ISSAQUAH, WA 98029-7580                            PO BOX 151                                            PO BOX 151
                                                   WOODACRE, CA 94973-0151                               WOODACRE, CA 94973



MARIE A MAMMEN & DOROTHY L MAMMEN & ELIZABETH M THOMAS
                                                   MARIE
                                                       TRD BUSSIERE CUST JULIE D BUSSIERE                  MARIE E BENSON CUST ROBERT HAROLD BENSON
MARIE A MAMMEN REVOCABLE TRUST UA 6/28/02          U/THE MASS UNIFORM GIFTS TO MINORS ACT                  U/THE MICH UNIFORM GIFTS TO MINORS ACT
PO BOX 242                                         40 HOBBS BROOK ROAD                                     7458 TIMBERLEA CT
MIDDLEBURY, VT 05753-0242                          WALTHAM, MA 02451-1321                                  FLINT, MI 48532-2076
                   09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
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MARIE E LEININGER TR MARIE E LEININGER LIVING TRUST 1/31/97
                                                         MARIE ELIZABETH SPINNEY                             MARIE H GOLDNER & RUTH A WEINBERG JT TEN
2025 TICEN CT                                            & ARTHUR EUGENE SPINNEY & ELIZABETH MARIE PEET JT   530 TANGLEWOOD LN
BEECH GROVE, IN 46107-1474                               TEN                                                 APT 124
                                                         4667 BREEZEWOOD CRT                                 MISHAWAKA, IN 46545-2654
                                                         ANN ARBOR, MI 48103-1570


MARIE K KRIEGER                                        MARIE KENNEDY                                         MARIE KLEIN
& BURTON KRIEGER & DANIEL KRIEGER & MARK KRIEGER       43 PENWOOD DR                                         1555 CYNTHIA AVE
JT TEN                                                 WHITING, NJ 08759-2057                                MADISON HTS, MI 48071-2628
9929 NORTH STREET
REESE, MI 48757-9552


MARIE KLEIN TIMSON                                     MARIE L KLEIN                                         MARIE LAFFIN
102 TAHANTO RD                                         PO BOX 1425                                           & RAYMOND J LAFFIN CO EXECUTORS OF THE ESTATE OF
POCASSET, MA 02559-1726                                BUCKEYE, AZ 85326-0103                                RAYMOND C LAFFIN
                                                                                                             706A OLD NASSAU ROAD
                                                                                                             JAMESBURG, NJ 08831-2011


MARIE MENDHALL CLEASBY CUST DAVID G CLEASBY            MARIE ST MARIE                                        MARIE T SLOYAN & JOSEPH P SLOYAN TR
U/THE CAL UNIFORM GIFTS TO MINORS ACT                  & DANIEL R ST MARIE & ROBERT ST MARIE & MARIANNE      MARIE T SLOYAN LIVING TRUST UA 08/29/00
2100 WEST AVE 135TH                                    FLEMING JT TEN                                        7351 ISHNALA DR
SAN LEANDRO, CA 94577-4114                             3207 N NOTTINGHAM                                     PALOS HEIGHTS, IL 60463-2011
                                                       CHICAGO, IL 60634-4580


MARIEN V HOFFMAN TR MARIEN V HOFFMAN LIVING TRUST UA MARIETTA
                                                     10/08/96 ECAMPBELL TR                                   MARILYN A MEINEN
7411 112TH ST SW                                     MARIETTA E CAMPBELL REVOCABLE LIVING TRUST UA           2919 ACACIA AVE
LAKEWOOD, WA 98498-6626                              11/14/97                                                SUTTER, CA 95982-2104
                                                     1108 STRAFORD DR
                                                     NEW HAVEN, IN 46774


MARILYN B SCHMENNER TR                                 MARILYN GOTTFRIED CUST STEWART GOTTFRIED              MARILYN J COPE & NEWTON A COPE TR
MARILYN BARTHOL SCHMENNER 2003 REVOCABLE TRUST         U/THE N Y UNIFORM GIFTS TO MINORS ACT                 NEWTON A COPE JR A MINOR U-DECL OF TRUST
UA 10/10/03                                            244 REDFERN                                           244 GLEN DRIVE
12310 ROSSLARE RIDGE RD #403                           MONTREAL                                              SAUSALITO, CA 94965-1819
TIMONIUM, MD 21093-8215                                H3Z 2G3 CANADA


MARILYN J GAYLOR TR                                    MARILYN J HARTWIG TR                                  MARILYN JO WATT & J HAROLD WATT JR TR
REVOCABLE LIVING TRUST 09/07/91 U-A MARILYN J GAYLOR   WILLIAM & MARILYN HART WIG JOINT REV TRUST UA         MARILYN JO WATT REV TRUST UA 10/29/97
716 EAST NAPLES COURT                                  04/29/97                                              218 N RIDGE RD
CHULA VISTA, CA 91911-6821                             N 3298 HIGHWAY 81                                     MUNCIE, IN 47304-3755
                                                       MONROE, WI 53566-9205


MARILYN KNEHANS TR MARILYN KNEHANS LIVING TRUST UA 7/15/01
                                                     MARILYN L EMMERSON UA 10/10/2007 MARILYN L EMMERSON REVOCABLE
                                                                                                          MARILYN M NEWCOMB & JAMES F NEWCOMB TR
PO BOX 167292                                        LIVINGTRUST                                          THE JAMES F & MARILYN M NEWCOMB TR UA 08/28/03
IRVING, TX 75016                                     820 UPLAND DR                                        2190 SILVERWOOD DR
                                                     PORT ORANGE, FL 32127                                PRUDENVILLE, MI 48561



MARILYN M VAN SCIVER CUST ARTHUR L VAN SCIVER          MARILYN M WETZLER & JOHN M WETZLER TR                 MARILYN MILSTEIN
U/THE CONN UNIFORM GIFTS TO MINORS ACT                 UA 06/01/94 MARILYN M WETZLER REVOCABLE TRUST         7815 SW 102ND PL
1580 POST RD                                           847 ENFIELD ST                                        MIAMI, FL 33173-3903
DARRIEN, CT 06820-5900                                 BOCA RATON, FL 33487-3118



MARILYN PATRICIA APPLEGATE TR                          MARILYN R HEYERDAHL TR                                MARILYN R ISLINGER & JOSEPH S ISLINGER TR
MARILYN PATRICIA APPLEGATE TRUST UA 03/17/03           UA 03/16/94 THE MARILYN R HEYERDAHL REVOCABLE         MARILYN R ISLINGER REVOCABLE TRUST UA 01/12/97
14324 W 123RD ST                                       TRUST OF 1994                                         9720 S HOMAN AVE
OLATHE, KS 66062-6026                                  4465 PHEASANT RUN                                     EVERGREEN PARK, IL 60805-3038
                                                       JANESVILLE, WI 53546-1019
                   09-50026-mg             Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                          Part 8 of 8 Pg 259 of 440
MARILYN R KLEIN                                    MARILYN REISCH CUST KATHIE JILL REISCH             MARILYN SUGGS SMITH CUST WALTER S SMITH 3RD
11400 TEFFT                                        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE OKLA UNIFORM GIFTS TO MINORS ACT
ROCKFORD, MI 49341-8418                            9480 NW 24TH PLACE                                 PO BOX 7703
                                                   SUNRISE, FL 33322-2764                             APACHE JCT, AZ 85178-0052



MARILYN V GOODMAN                                  MARILYN W BLAKER CUST LAURIE PAWN BLAKER           MARILYN WEINSTEIN CUST ROBERT J WEINSTEIN
1123 WHITINGHAM DR                                 U/THE OKLA UNIFORM GIFTS TO MINORS ACT             U/THE CONN UNIFORM GIFTS TO MINORS ACT
FLINT, MI 48503-2903                               8580 WOODWAY DR 2210                               82 WESTLAND AVE
                                                   HOUSTON, TX 77063-2476                             WEST HARTFORD, CT 06107-2732



MARILYN WHITMAN CUST STEPHANIE ROBIN WHITMAN       MARILYNN A MC DONALD                               MARILYNN E GOSLING & IRA E GOSLING TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT              C O REINMILLER                                     MARILYNN E GOSLING LIV TRUST UA 10/30/00
35 HERFORT RD                                      2244 AUBURN RAVINE DR                              3914 W ORCHARD HILL DRIVE
WAYNE, NJ 07470-3736                               LINCOLN, CA 95648-2802                             BLOOMFIELD HILLS, MI 48304-3132



MARILYNN M RICKARD CUST MARIA ANTONIAT RICKARD A MINORUNDER
                                                    MARILYNNETHE
                                                               WOOL CUST JONATHAN HENRY WOOL          MARILYNNN P PARKER TOD PATRICIA R KLEIN
CALIFORNIA GIFTS OF                                 U/THE CONN UNIFORM GIFTS TO MINORS ACT            3231 NORTH WEST 23RD AVE
1187 COAST VILLAGE ROAD #218                        1122 CREST LANE                                   CAMAS, WA 98607-8097
SANTA BARBARA, CA 93108-2737                        WESTERN SPRINGS, IL 60558-2145



MARIO BAFFICO & FLORENCE A BAFFICO TR              MARIO F COMMITO CUST RICHARD COMMITO               MARIO N SCALZI & JUDITH ANN SCALZI TR
UA 07/29/93 MARIO AND FLORENCE BAFFICO REVOCABLE   U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         MARION N SCALZI LIVING TRUST UA 05/02/03
TRUST                                              2420 WESTERN AVE                                   4082 WEST LAKE ROAD
175 REY ST                                         CHICAGO, IL 60608-4705                             CANANDAIGUA, NY 14424-8314
SAN FRANCISCO, CA 94134-2740


MARION A OLIVER & LILLIAN M OLIVER TR              MARION A TAGGART & EDWARD A BOWER TR               MARION BEYER CUST CHERI BEYER
MARION & LILLIAN OLIVER REVOCABLE LIVING TR        MARION ANDREW TAGGART TRUST UA 04/23/99            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
3365 EAST CLARKSTON RD                             169 BOGLE RD                                       200 WINSTON DR
OAKLAND, MI 48363-1927                             PETERBOROUGH, NH 03458-2203                        CLIFFSIDE PARK, NJ 07010-3235



MARION C HENSLEY & MARTHANNA HENSLEY TR            MARION D AIMESBURY & WILTON G A AIMESBURY TR       MARION D DOVE
MARION C HENSLEY AND MARTH NNA HENSLEY JT REV      UA 03/12/1997 LEE AIMESBURY CREDIT SHELTER TRUST   C/O GAIL KOHLMANN
TRUST UA 5/6/98                                    217 WEST WALK                                      7390 170TH STREET WEST
11675 ATLANTIC ROAD                                WEST HAVEN, CT 06516                               ROSEMOUNT, MN 55068
FORTVILLE, IN 46040-9603


MARION D TRAUGHBER                                 MARION ELIZABETH FISHER TR                         MARION F CZOLGOSZ
PO BOX 681744                                      MARION ELIZABETH FISHER LIVING TRUST UA 02/08/96   & JAMES G CZOLGOSZ & JANICE L CZOLGOSZ & JANE A
MARIETTA, GA 30068-0030                            10805 BREWINGTON RD                                BOURBONNAIS JT TEN
                                                   HENRICO, VA 23238-4109                             3310 DALE
                                                                                                      SAGINAW, MI 48603-3122


MARION G SMITH CUST WILLIAM WALTER SMITH           MARION H STEINMAN                                  MARION HAWTHORNE
U/THE MINN UNIFORM GIFTS TO MINORS ACT             230 W TERRY LANE                                   13147 159TH ST
13228 MONTCLAIR DR                                 EGGHARBOR CITY                                     JUPITER, FL 33478-8546
OMAHA, NE 68144-2554                               EGG HARBOR CY, NJ 08215



MARION L JACOBSEN CUST STEVEN R JACOBSEN           MARION LOEWENSTEIN                                 MARION LOUIS WEINSTEIN & CHERYL S WEINSTEIN TEN ENT
U/THE MINN UNIFORM GIFTS TO MINORS ACT             360 CABRINI BLVD                                   509 BROOK VIEW CIRCLE
3562 114TH LANE N W                                NEW YORK, NY 10040-3635                            MARLTON, NJ 08057
COON RAPIDS, MN 55433-2602
                    09-50026-mg          Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                        Part 8 of 8 Pg 260 of 440
MARION M RAMALIA & JUNIOR W RAMALIA TR           MARION M WHITING & FAIRFIELD WHITING JR JT TEN         MARION R MUFICH & HELEN M MUFICH TR
MARION M RAMALIA & JUNIOR W RAMALIA TRUST        PO BOX 38                                              UA 08/21/91 MARION R MUFICH & HELEN M MUFICH TRUST
8558 WHITMORE LAKE RD                            WALLINGFORD, VT 05773-0038                             2967 NORTH 70TH STREET
BRIGHTON, MI 48116-8537                                                                                 KANSAS CITY, KS 66109-1801



MARION W LERNER CUST NATHAN LERNER               MARION WEBERLEIN & HERMAN WEBERLEIN JT TEN             MARJORIE A ROBSON
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT   3597 KORTZ                                             1816 235TH ST
1500 LOCUST ST APT 4007                          CHEBOYGAN, MI 49721-8915                               JEFFERSON, IA 50129-7552
PHILADELPHIA, PA 19102-4326



MARJORIE A STOUT CUST BRADLEY R STOUT            MARJORIE C HEIN                                        MARJORIE C MEADOR TR
A MINOR U/THE LAWS OF THE STATE OF MICHIGAN      221 BROOKSIDE RD                                       ALBERT S & MARJORIE C MEADOR REVOCABLE LIVING
207 JAENKA                                       BADEN, PA 15005-2407                                   TRUST UA 5/10/94
SAN ANTONIO, TX 78219-1025                                                                              14001 WEST 92 ST APT 216
                                                                                                        LENEXA, KS 66215-3472


MARJORIE C SPENCE                                MARJORIE C WILLIAMS JAMES H WILLIAMS JR & MARY SUSAN WILLIAMS
                                                                                                       MARJORIEPILE
                                                                                                                 E GAISLER
                                                                                                                    TR
626 HILL ST                                      U/A/W MARJORIE CIZEK WILLIAMS                         2121 169TH ST
WHITINSVILLE, MA 01588-1061                      20 BRAEBURN DRIVE                                     MT PULASKI, IL 62548-6021
                                                 SAINT LOUIS, MO 63124-1608



MARJORIE E PRUDHOMME TR                          MARJORIE F GAISLER                                     MARJORIE FAIRCLOTH RAYE
MARJORIE E PRUDHOMME REVOCABLE LIVING TRUST UA   2121 169TH ST                                          5018 110TH ST
02/22/00                                         MOUNT PULASKI, IL 62548-6021                           JACKSONVILLE, FL 32244-2330
4080 MAPLE WOODS DR WEST
SAGINAW, MI 48603-9307


MARJORIE FRANCES BARNES TR                       MARJORIE J IRETON TR                                   MARJORIE JEAN ASHBY
INTERVIVOS TRUST 05/29/92 U-A MARJORIE FRANCES   UA 03/07/08 MARJORIE J IRETON REVOCABLE INTER VIVOS    ATTN MARJORIE JEAN STEINER
BARNES                                           TRUST                                                  1624 HOLLY AVE
6314 N AGNES CIRCLE                              626 S 3RD ST                                           NORTHBROOK, IL 60062-5022
GLADSTONE, MO 64119-1814                         # 302
                                                 SALINA, KS 67401-4105

MARJORIE L VOGLER                                MARJORIE M DROMMERHAUSEN DANIEL G DROMMERHAUSEN III
                                                                                                 MARJORIE P REINER
19571 190TH STREET                               & DEBRA S DROMMERHAUSEN JT TEN                  1081 ZIRCON AVE
ROCKPORT, MO 64482-8139                          344 LANDEROS DR                                 BULLHEAD CITY, AZ 86442-7033
                                                 SANTA CLARA, CA 95051



MARJORIE P TURNBULL & LYNN M TURNBULL TR         MARJORIE S HEINS & MAYNARD C HEINS JR JT TEN           MARJORIE STOSKOPF & GRETCHEN S FALVO TR
MARJORIE P TURNBULL TRUST UA 12/18/98            114 CARDINAL GLEN CIR                                  A EMERSON & MARJORIE G G STOSKOPF FAMILY TRUST B
3905 22ND AVE                                    STERLING, VA 20164-5501                                747 CATHEDRAL POINTE LANE
ROCK ISLAND, IL 61201-4926                                                                              SANTA BARBARA, CA 93111-1474



MARJORIE T GOLDSTEIN                             MARJORIE TORRES & DEBORAH BARREIRO TR                  MARJORY ARMOS CUST JOANNE G ARMOS UGMA WA
339 FRENCH COURT                                 JEANNE S HODELLA IRREVOCABLE TRUST UA 08/05/96         11512 169TH CT NE
TEANECK, NJ 07666-6476                           18 NANTUCKET DRIVE                                     REDMOND, WA 98052-2741
                                                 MEDFORD, NY 11763



MARJORY E SCOTT CUST MISS CYNTHIA JANE SCOTT     MARJORY J MCSHERRY & WILLIAM P MCSHERRY TR             MARK A BELSEY CUST ERIKA GABRIELLE BELSEY
U/THE CALIF UNIFORM GIFTS TO MINORS ACT          UA 11/23/93 THE MARJORY J MCSHERRY LIVING TRUST        U/THE CALIF UNIFORM GIFTS TO MINORS ACT
37206 SECOND ST                                  1011 MAPLE COURT                                       62 MONTAGUE ST
FREMONT, CA 94536-2838                           LOCKPORT, IL 60441-3718                                BROOKLYN, NY 11201-3375
                    09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                               Part 8 of 8 Pg 261 of 440
MARK A CAMPBELL & JEANETTE C CAMPBELL TR                MARK A ESKRIDGE                                    MARK A MEINECKE
UA 07/26/2001 CAMPBELL REVOCABLE TRUST                  13606 152ND AVE                                    5309 WIGWAM LN
130 DEER RUN PARK RD                                    GRAND HAVEN, MI 49417-8919                         LAPEER, MI 48446-8033
EDGERTON, WI 53534



MARK A WARONEK                                          MARK ALAN FLEISCHBEIN                              MARK ANTHONY KLEIN
2075 242ND ST                                           4513 KINGSWAY                                      8 LUQUER RD
LOMITA, CA 90717-1115                                   ANACORTES, WA 98221-3205                           PLANDOME MANOR, NY 11030-1016




MARK B KEINATH & GLENN B KEINATH JT TEN                 MARK D ROBBINS                                     MARK D WEINBERG
595 N DEHMEL RD                                         & CHERYL L COX & AMY L HENDERSHOT & MATTHEW A      104 KILLDER CT
SAGINAW, MI 48601-9453                                  ROBBINS JT TEN                                     SOUTHLAKE, TX 76092-5802
                                                        1915 PLEASANT VALLEY RD NE
                                                        NEW PHILADELPHIA, OH 44663-8078


MARK D WHITING                                          MARK E ANDERSON                                    MARK E FOSTER
8725 WAUMEGAH                                           PO BOX 532226                                      PO BOX 163782
CLARKSTON, MI 48348-2554                                LIVONIA, MI 48153-2226                             SACRAMENTO, CA 95816-9782




MARK E MANSTEIN                                         MARK F BARTON & MARIE B BARTON TR                  MARK F NEUMANN
1221 BARROWDALE RD                                      UA 06/07/90 MARK F & MARIE B BARTON TRUST          19446 327TH AVE NE
JENKINTOWN, PA 19046-2415                               851 W JAMES CAMPBELL BLVD                          DUVALL, WA 98019-9730
                                                        # 204
                                                        COLUMBIA, TN 38401-4668


MARK FLEISCHER & DEBRA FLEISCHER TR                     MARK FRANICH & DOUGLAS J MORGAN TR                 MARK G AUGENSTEIN
JUDITH RELMAN FLEISCHER TRUST UA 07/30/92               MARK FRANICH INC PROFIT SHARING PLAN UA 09/01/80   1022 NORMANDALE DRIVE
18616 PARKLAND DR                                       1975 ANNETTE LANE                                  FORT WAYNE, IN 46808-4039
SHAKER HEIGHTS, OH 44122-3455                           LOS ALTOS, CA 94024-6903



MARK G GEIS & ELIZABETH A GEIS TR                       MARK G GEIS & ELIZABETH A GEIS TR                  MARK G HICKS & JANET E HICKS TR
UA 12/31/91 LIVING TRUST FOR GEIS FAMILY                UA 12/31/91 THE LIVING TRUST GEIS FAMILY           MARK G AND JANET E HICKS TRUST UA 4/21/98
1392 LUDEAN DRIVE                                       1392 LUDEAN DR                                     3713 SOUTH 253RD ST
HIGHLAND, MI 48356-1168                                 HIGHLAND, MI 48356-1168                            KENT, WA 98032



MARK G MANSTEIN                                         MARK G MARINO                                      MARK GIGOWSKI
1221 BARROWDALE RD                                      2044 REINHARDT                                     2492 138TH AVE
RYDAL, PA 19046-2415                                    SAGINAW, MI 48604-2432                             DORR, MI 49323-9563




MARK H ECKSTEIN & MARIE N ECKSTEIN JT TEN               MARK J BROWNSTEIN                                  MARK J FITZPATRICK CUST MADALINE ELIZABETH FITZPATRIC
3004 SCARBOROUGH LN                                     24 HALS AVE                                        PO BOX 441196
MIDLAND, MI 48640-6908                                  LANGHORNE, PA 19047                                KENNESAW, GA 30160-9523




MARK J REEP & PHYLLIS A REEP TR                         MARK J RUE & DIANE B RUE TR                        MARK KREINDLER & MARCELLE KREINDLER JT TEN
MARK J REEP & PHYLLIS A REEP LIVING TRUST UA 12/03/02   MARK J RUE ATTY AT LAW MONEY PURCH PENSION PLAN    2000 CASABLANCA TER
4365 CR 183                                             UA 01/01/87                                        APT 2242
CLYDE, OH 43410-9502                                    90 SOUTH CASCADE SUITE #820                        DANVILLE, CA 94506-1949
                                                        COLORADO SPRINGS, CO 80903-1675
                     09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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MARK L HEINEN                                       MARK L STEINHART                                      MARK LAVINSKY CUST ADAM TODD LAVINSKY
3303 N 154TH TERR                                   22-B INDEPENDENCE PKWY                                A MINOR UNDER THE LAWS OF GEORGIA
BASEHOR, KS 66007-9515                              WHITING, NJ 08759-1632                                4344 COLLINGHAM TRACE
                                                                                                          MARIETTA, GA 30068-2705



MARK P RACE                                         MARK PAUL CULIK                                       MARK R HARWOOD CUST WENDY HARWOOD
BOX 980753                                          R ELPIDIO PIMENTEL 383/302                            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
YPSILANTI, MI 48198-0753                            CEP                                                   PO BOX 188
                                                    VITORIA ES                                            SYRACUSE, NY 13214-0188
                                                    29065-060 BRAZIL


MARK R RUSTIN                                       MARK R STEIN                                          MARK R TRIPATHY & CYNTHIA S DUMMERMUTH TR
30480 STEINHUAER ST                                 506 SHORELINE DR                                      UA 10/15/2001 GHANA S TRIPATHY B TRUST
WESTLAND, MI 48186-5019                             DEWITT, MI 48820-8752                                 PO BOX 2208
                                                                                                          DOVER, OH 44622-1000



MARK ROTHSTEIN                                      MARK S LEINEKE                                        MARK STEIN
1117 OCEAN AVE                                      8322 ILENE DR                                         7176 SOUTHAMPTON
NEW LONDON, CT 06320-2848                           CLIO, MI 48420-8518                                   WEST CHESTER, OH 45069




MARK STEINBERG                                      MARK STEVEN WEINTRAUB                                 MARK THUESEN
3806 CHURCH ST                                      2272 LOCUST STREET                                    PO BOX 710348
EVANSTON, IL 60203                                  MERRICK, NY 11566-2810                                HOUSTON, TX 77271-0348




MARK W HOWETT JR & VIRGINIA A HOWETT TR             MARK W STUART                                         MARK WOODARD
HOWETT FAMILY TRUST UA 10/22/04                     7229 245TH WAY NE                                     3720 152ND LANE NW
313 MAPLE ST                                        REDMOND, WA 98053-8689                                ANDOVER, MN 55304-3010
BROOKVILLE, OH 45309-1712



MARKUS STERNBERG                                    MARLEEN E FREDELL TR                                  MARLENE A HARDESTY & HARRY E HARDESTY TR
GM DAEWOO 403-714 INCHEON                           UA 09/22/2008 RICHARD A FREDELL SPECIAL NEEDS TRUST   MARLENE A HARDESTY TRUST UA 9/4/98
KWANG YOK SHI BUPYONG-GU                            22816 48TH AVE COURT E                                8800 S MCVICKER
CHEENG CHON DNG                                     SPANAWAY, WA 98387                                    OAKLAWN, IL 60453-1136
SINGAPORE


MARLENE ANN HORACE                                  MARLENE B OEHMKE & ROBERT C OEHMKE TR                 MARLENE JUNE HOWE CUST JARED CONRAD HOWE
PO BOX 774465                                       MARLENE B OEHMKE LIVING TRUST UA 12/27/94             UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
STEAMBOAT SPR, CO 80477-4465                        304 PARAGON                                           11812 TWILLWOOD
                                                    TROY, MI 48098-4630                                   SAINT LOUIS, MO 63128-1132



MARLENE M OLSON & JANA OLSON BAKER & PAUL A OLSON JRMARLENE
                                                     TR      MAE FISHER CUST ALLEN DEAN FISHER JR         MARLENE MAE FISHER CUST STEPHEN MC KINLEY FISHER
BAKER FAM TRUST UA 11/17/94                         U/THE MICH UNIFORM GIFTS TO MINORS ACT                U/THE MICH UNIFORM GIFTS TO MINORS ACT
PO BOX 510                                          1337 ORCHID                                           8400 HOLCOMB RD
KENEDY, TX 78119-0510                               WATERFORD, MI 48328-1353                              CLARKSTON, MI 48348-4318



MARLENE WOLFF CUST LELAND DALE WOLFF                MARLENE WOLFF CUST SCOTT WOLFF                        MARLIN DEAN TROTTER & NORMA LYNN TROTTER TR
U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT          U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT            UA 04/21/2009 TROTTER PRIVATE TRUST MNT 1
900 SOUTH HANLEY ROAD #1E                           900 S HANLEY ROAD #1E                                 BOX 328
SAINT LOUIS, MO 63105-2667                          SAINT LOUIS, MO 63105-2667                            509 COCHRAN AVE
                                                                                                          MILLEDGEVILLE, IL 61051
                       09-50026-mg      Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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MARLYS K HORNSTEIN                                  MARNELL K WILBER & JOSEPH WILBER JT TEN            MARREA WINNEGA-GARCIA & MICHAEL WINNEGA TR
5419 N CO RD 200 E                                  3510 136TH LN NW                                   UA 09/01/1988 THEDA L WINNEGA TRUST
KOKOMO, IN 46901                                    ANOKA, MN 55304-3619                               281 WINDSOR AVE
                                                                                                       WOOD DALE, IL 60191



MARSHALL A RUBENSTEIN                               MARSHALL EPSTEIN & MRS SARA EPSTEIN JT TEN         MARSHALL SCHNEIDER CUST STEVEN BRETT SCHNEIDER
24 SEXTON RD                                        6107 PRESTONCREST LN                               U/THE ILL UNIFORM GIFTS TO MINORS ACT
SYOSSET, NY 11791-6610                              DALLAS, TX 75230-1825                              2020 CARGILL DR
                                                                                                       NORTHBROOK, IL 60062-6609



MARSHALL SOWELL                                     MARSHALL WILBON                                    MARTHA A BEIN
1220 123RD ST                                       PO BOX 397882                                      ZERO DURANGO RD
LOS ANGELES, CA 90044-1136                          DALLAS, TX 75339-7882                              MONTGOMERY, IL 60538




MARTHA A BURROWS TR                                 MARTHA A NICHOLS                                   MARTHA A WEAVER
UA 10/25/93 MARTHA A BURROWS REVOCABLE LIVING       & DON B NICHOLS & CYNTHA J SECOR & PAMELA H        3078 STEINRUCK ROAD
TRUST                                               RUSSELL JT TEN                                     ELIZABETHTOWN, PA 17022-9060
571 PENN LAKE DR                                    107 WASHINGTON AVE
CHESTER, SC 29706-8137                              ELKTON, MD 21921-6017


MARTHA ANN MOSCARATILO                              MARTHA ANNE CHALFANT                               MARTHA C KELLER
PO BOX 731825                                       & WILLIAM Y CHALFANT & THE 1ST NATIONAL BK OF      C/O M K BENS
PUYALLUP, WA 98373-0019                             HUTCHINSON KANSAS                                  3562 ZUMSTEIN AVE
                                                    1007 W 95TH AVE                                    CINCINNATI, OH 45208-1310
                                                    HUTCHINSON, KS 67502-8325


MARTHA CAMPBELL                                     MARTHA E HAMPTON & WILLIAM C HAMPTON JR TR         MARTHA FIELDS LONG
PO BOX 310213                                       THE HAMPTON FAMILY TRUST UA 05/12/95               PO BOX 149894
FLINT, MI 48531-0213                                8300 BLOSSOM POINT RD                              ORLANDO, FL 32814-8894
                                                    WELCOME, MD 20693



MARTHA HANCZARUK                                    MARTHA HONDA                                       MARTHA J DESCHNER TR
& THOMAS R HANCZARUK & THEODORE A HANCZARUK &       3703 169TH AVE NE                                  UA 03/14/94 MARTHA J DESCHNER REVOCABLE LIVING
JAMES D HANCZARUK &                                 BELLEVUE, WA 98008-6169                            TRUST
35330 EDMUNDSS GRV                                                                                     10421 LINFIELD PLACE
NEW BALTIMORE, MI 48047-1149                                                                           LAS VEGAS, NV 89134


MARTHA J HELLEIN                                    MARTHA J HOHNER & JAMES P HOHNER SR TR             MARTHA JANE KREINBRINK
508 NORTH JEFFERSON ST                              MARTHA J HOHNER LIVING TRUST UA 09/03/99           6012 DEEPWOOD CT
KITTANNING, PA 16201-1228                           13010 ADAMS                                        SYLVANIA, OH 43560-1099
                                                    WARREN, MI 48093-1386



MARTHA JEAN FASSINGER-VESS TOD BELLEAMI E DILBECK SUBJECT
                                                    MARTHATOLYNN
                                                              STA TOD
                                                                   WEBB & RALPH M MORRIS IV TR         MARTHA MANN GALLAGHER CUST GEORGE ANTHONY GALLAG
RULES                                               UA 11/12/2008 GST EXEMPT TRUST CREATED UNDER THE   U/THE MICH UNIFORM GIFTS TO MINORS ACT
425 ROSELL ROAD                                     PO BOX 603                                         5136 E COOK RD
HOLLY, MI 48442                                     BEAUFORT, SC 29901                                 GRAND BLANC, MI 48439-8354



MARTHA NELSON FRANCIS CUST JUDSON C FRANCIS 3RD     MARTHA S PULLMAN CUST DANIEL EDWARD PULLMAN UGMA TN
                                                                                                      MARTHA SHERMAN & CARYN SHERMAN TR
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             5609 BEINVENIDA TERRACE                           HY SHERMAN CHILDRENS TRUST UA 12/07/92
5913 BRIDGE POINT DRIVE                             PALMDALE, CA 93551-5732                           606 TULIP TREE LANE
MCKINNEY, TX 75070-5368                                                                               BOCA RATON, FL 33486-5649
                   09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                         Part 8 of 8 Pg 264 of 440
MARTHA T NAGATA & MICHAEL M NAGATA TR             MARTHA W ST CLAIR JESSE JAMES MEADOWS & MARCIA BAKER
                                                                                                     MARTHA
                                                                                                       MEADOWS
                                                                                                             WHITING
                                                                                                                 TR TR MARTHA WHITING TRUST UA 12/19/01
MICHAEL & MARTHA NAGATA REVOCABLE LIV TRUST UA    MARTHA W ST CLAIR TR UA 4/24/81                    1912 HARDING
8/22/03                                           408 S YORK DR                                      LANSING, MI 48910-3555
6720 E GREEN LAKE WAY NORTH                       SPRINGFIELD, MO 65802-5452
APT.404
SEATTLE, WA 98103-5432

MARTHA WRIGHT WHEELER & DAVID H WHEELER TR        MARTIN A COHEN & SHELBY R COHEN JT TEN               MARTIN A MANSFIELD CUST MARTIN A MANSFIELD JR
LISA WHEELER U-W MARTHA WHITING REED              PO BOX 230493                                        A MINOR U/CHAP 125-4-1 OF THE LAWS OF THE STATE OF
6155 SW CHESTNUT AVE                              ANSONIA STATION                                      COLORADO
BEAVERTON, OR 97005-4238                          NEW YORK, NY 10023-0493                              7900 E UNION AVE
                                                                                                       STE 1100
                                                                                                       DENVER, CO 80237-2746

MARTIN A SWERDLOW TR                              MARTIN B BOXER                                       MARTIN C MILLS & JUNE S MILLS TR
UNDER THE MARTIN A SWERDLOW DECLARATION OF        6501 E GREENWAY PARKWAY                              MARTIN C MILLS & JUNE S MILLS TRUST UA 05/18/99
REVOCABLE TRUST 10/13/82                          SUITE 103-262                                        7887 TIPSICO TRAIL
16 RIDGE ROAD                                     SCOOTSDALE, AZ 85254-2065                            HOLLY, MI 48442-9120
HIGHLAND PARK, IL 60035-4337


MARTIN CUBAN CUST SHARON CUBAN                    MARTIN EPSTEIN                                       MARTIN EPSTEIN & EDITH EPSTEIN JT TEN
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT    1438 E 70TH ST                                       1438 E 70TH STREET
128 N CRAIG STREET APT 305                        BROOKLYN, NY 11234-5712                              BROOKLYN, NY 11234-5712
PITTSBURGH, PA 15213-2758



MARTIN F HEIN                                     MARTIN F MALONEY & MRS ELIZABETH L MALONEY JT TEN    MARTIN F MC DONALD 3RD CUST MISS MEGAN EMMA TAYLOR
367 N PETERS AVENUE                               3633 MONTICETO CIRCLE                                U/THE MARYLAND U-G-M-A
FOND DU LAC, WI 54935-2046                        MUNDELEIN, IL 60060-6015                             14525 SW MILLIKAN
                                                                                                       UNIT 42488
                                                                                                       BEAVERTON, OR 97005-2343


MARTIN F SCHEINMAN                                MARTIN FEINBERG                                      MARTIN G CZASNOJC & KORI CZASNOJC TR
38 ARDEN LN                                       365 SOUTH END AVE #6H                                UA 05/04/2007 CZASNOJC FAMILY TRUST
SANDS POINT, NY 11050-1242                        NEW YORK, NY 10280-1043                              2385 TELEGRAPH HILL
                                                                                                       EL DORADO HLS, CA 95762



MARTIN G LEFFLER & RANDEE MARSHA K LEFFLER TR     MARTIN J KALLAY & ANNE KALLAY TR                     MARTIN J MCDONNELL & SHIRLEY R MCDONNELL TR
MARTIN G LEFFLER & RANDEE MARSHAK                 MARTIN J KALLAY & ANNE KALLAY JOINT SURVIVOR         UA 08/07/2006 MCDONNELL FAMILY TRUST
3757 GREEN VISTA DRIVE                            2049 RUSNAK TRL                                      9005 EUGENE DRIVE
ENCINO, CA 91436-3839                             BROADVIEW HTS, OH 44147-1968                         GAITHERSBURG, MD 20877



MARTIN L FEINBERG                                 MARTIN L STEINHAUER                                  MARTIN L ZELIN CUST DAVID ALAN ZELIN
365 S END AVE #6H                                 1565 SHOSHONE LN                                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
NEW YORK, NY 10280-1043                           ST HELEN, MI 48656-9491                              PO BOX 51944
                                                                                                       BOSTON, MA 02205



MARTIN M HEINTZ                                   MARTIN M ROTHSTEIN TR MARTIN M ROTHSTEIN REVOCABLE TRUST
                                                                                                      MARTINUAPILKA
                                                                                                                05/25/06
                                                                                                                     CUST DANIEL PILKA
11158 E ATHERTON ROAD                             191 E MAIN STREET                                   U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
DAVISON, MI 48423-9111                            FROSTBURG, MD 21532-1334                            647 TEMPLE TERRACE
                                                                                                      LAKELAND, FL 33801-5710



MARTIN SALBERG & MARTIN BERNSTEIN JT TEN          MARTIN SHADOIAN CUST GEORGE MARTIN SHADOIAN          MARTIN SHULMAN CUST THEODORE SHULMAN
15 ROLLING WAY                                    U/THE CONN UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
NEW CITY, NY 10956-6912                           221 6TH ST W                                         588 47TH AVE
                                                  NEW ROADS, LA 70760                                  SAN FRANCISCO, CA 94121
                    09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                               Part 8 of 8 Pg 265 of 440
MARTIN STEINKAMP & MADELINE K STEINKAMP JT TEN          MARTIN T WAGENHOFFER & DOROTHY M WAGENHOFFER TR      MARTY WEINSTEIN & CARON WEINSTEIN JT TEN
2861 LONDONDERRY AVE                                    WAGENHOFFER FAM TRUST UA 06/12/96                    110 NORTHGATE CIR
IDAHO FALLS, ID 83404-8304                              1013 EMERALD DR                                      MELLVILLE
                                                        ALEXANDRIA, VA 22308-2627                            MELVILLE, NY 11747



MARVA J FLYNN & JAMES T FLYNN III TR                    MARVIN D RENBARGER & JEANNETTE RENBARGER TR          MARVIN D SMITH & THELMA V SMITH TR
MARVA J FLYNN TRUST UA 07/26/00 AMENDED 12/03/01        UA RENBARGER FAM TR 08/29/91                         MARVIN & THELMA REV LIV TRUST UA 08/06/04
2580 CAMBERLY CIR                                       4714 SOUTH COLONIAL OAKS DR                          RR #3 BOX 54
MELBOURNE, FL 32940-6630                                APT 610                                              OAKLAND CITY, IN 47660-9315
                                                        MARION, IN 46953-7310


MARVIN D WINEINGER & MARGARET WINEINGER TR              MARVIN E BEAUPRE & LYNNE E BEAUPRE TR                MARVIN EINHORN CUST STEVEN N EINHORN UGMA IL
MARVIN D & MARGARET WINEINGER REVOCABLE LIV TRUST       MARVIN E BEAUPRE LIVING TRUST UA 5/3/99              4350 PAYNE
UA 10/13/03                                             692 PEAR TREE LN                                     SKOKIE, IL 60076-1172
5819 COTTON WOOD ST                                     GROSSE POINTE, MI 48236-2723
BRADENTON, FL 34203-8819


MARVIN F CHILDS CUST DENISE ALICE CHILDS                MARVIN FEIN CUST DAVID A FEIN                        MARVIN FEINSTEIN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT              A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J      3211 JUDITH LN
BASOM, NY 14013                                         3125 SYMES DR                                        OCEANSIDE, NY 11572
                                                        BELLE MEAD, NJ 08502



MARVIN GREENWALD & MARILYN GREENWALD TR                 MARVIN H ROSEMAN CUST NANCY LEE ROSEMAN              MARVIN H TOWNSEND & ANNA C TOWNSEND TR
UA 06/22/89 MARVIN GREENWALD & MARILYN GREENWALD        A MINOR U/ARTICLE EIGHT-A OF THE PERS PROPERTY LAW   MARVIN H & ANNA C TOWNSEND REV LIVING TRUST UA
1989 TRUST                                              OF NY                                                10/27/04
75 CONEJO DR                                            10510 GREENCREST DR                                  5017 N FREEMONT AVE
MILLBRAE, CA 94030-2819                                 TAMPA, FL 33626-5201                                 KANSAS CITY, MO 64119-3872


MARVIN HARRIS HARVEY GILLERMAN & BENJAMIN S FREEMAN MARVIN
                                                    TR      HENRY STONE PERSONAL REPRESENTATIVE FOR THEMARVIN
                                                                                                        ESTATEJOFHAHN
                                                                                                                   DUANE
                                                                                                                       & SHARON C HAHN TR
U-A WITH MAURICE DAVIS 11/14/46                     STONE                                              UA 07/02/2008 REVOCABLE LIVING TRUST OF MARVIN J
35 HEATHER HILL LANE                                1460 S VASSAR RD                                   4168 BIRDSEYE VIEW
ST LOUIS, MO 63132-4105                             BURTON, MI 48519-1344                              OOLTEWAH, TN 37363



MARVIN J MILLS & JANICE L MILLS TR                      MARVIN J STEINBERG CUST JAMIE STEINBERG              MARVIN K TEGROTENHUIS & WANDA M TEGROTENHUIS TR
MARVIN J MILLS & JANICE L MILLS FAM TRUST UA 11/09/94   A MINOR U/ THE LAWS OF THE STATE OF MICH             TEGROTENHUIS FAMILY TRUST UA 08/16/04
456 MIDDLESTONE WAY                                     503 MONROE                                           1815 BARBERRY CT
CUYAHOGA FLS, OH 44223-2885                             GLENCOE, IL 60022-2037                               LOUISVILLE, CO 80027-2437



MARVIN KELLY & JILL KELLY TR                            MARVIN L BORG                                        MARVIN L GOLDSTEIN
THE MARVIN E KELLY & JILL A KELLY TRUST UA 09/03/02     86429 582 AVE                                        4365 PHYLLIS DR
1117 PETRONIA ST                                        CONCORD, NE 68728-2819                               NORTHBROOK, IL 60062
NORTH PORT, FL 34286-4219



MARVIN M MELL CUST ANN SEIBERLING MELL                  MARVIN M RUZANSKY CUST ANDREA LYNN RUZANSKY          MARVIN M RUZANSKY CUST SUSAN JANE RUZANSKY
A MINOR PURS TO SECTION 1339 19-TO 1339 26-INCL         U/THE CONN UNIFORM GIFTS TO MINORS ACT               U/THE CONN UNIFORM GIFTS TO MINORS ACT
1860 PEMBROKE RD                                        41 LOFGREN RD                                        PO BOX 115
BIRMINGHAM, MI 48009-5824                               AVON, CT 06001-3144                                  CANTON CENTER, CT 06020-0115



MARVIN MILLER CUST EVE MILLER                           MARVIN MILLER CUST MAURI MILLER                      MARVIN O O'DELL & DONNA M O'DELL TR
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT            U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT         MARVIN O O'DELL & DONNA M O'DELLREVOCABLE LIVING
10 N VENDOME AVE                                        10 N VENDOME AVE                                     3294 GREEN RD
MARGATE, NJ 08402-1242                                  MARGATE, NJ 08402-1242                               ST JOHNS, MI 48879-9121
                    09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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MARVIN O RAMSEYER & BARBARA A RAMSEYER TR             MARVIN R KASTEN & NANCY S KASTEN & VICKI L LOVETT TR   MARVIN REINHARDT
UA 01/24/2005 MARVIN O RAMSEYER LIVING TRUST          MARVIN & NANCY KASTEN TRUST 3/6/00                     PO BOX 215
3046 THORNAPPLE LN                                    2115 S GLADIOLUS                                       TROY, MI 48099-0215
BAY CITY, MI 48706                                    MESA, AZ 85209-5042



MARVIN S COHEN CUST GARY M COHEN                      MARVIN T KESSINGER & JULIA MAE KESSINGER TR            MARVIN T KUPERSTEIN CUST SARA L KUPERSTEIN UTMA MD
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            MARVIN T & JULIA MAE KESSINGER REVOCABLE TRUST UA      1433 LONGFELLOW ST NW
2 HAMILTON RD APT 4A                                  6/18/97                                                WASHINGTON, DC 20011
MORRISTOWN, NJ 07960-5338                             10003 VEGA LANE
                                                      VALLEY STATION, KY 40272-2963


MARVIN W TUCHKLAPER TR MARVIN W TUCHKLAPER REVOCABLE
                                                  MARVIN
                                                     TRUST
                                                         WEIN
                                                            UA 05/26/98                                      MARVON L HUDDLESTON TR
PO BOX 550361                                     257 LAKE POINTE DR                                         MARVON L HUDDLESTON REVOCABLE LIVING TRUST UA
FORT LAUDERDALE, FL 33355-0361                    AKRON, OH 44333-1790                                       11/15/05
                                                                                                             529 BULLET HOLE RD
                                                                                                             COOKEVILLE, TN 38501


MARY A ANGERSTEIN                                     MARY A BAUER TR                                        MARY A DOEHRING & WILTON R DOEHRING TR
1213 GOLDEN OAK WAY                                   MARY A BAUER DECLARATION OF TRUST UA 9/30/02 MARY A    UA 02/10/94 MARY A DOEHRING & WILTON R
STOCKTON, CA 95209-2022                               BAUER                                                  1145 CHURCHILL CIRCLE
                                                      1702 COUNTRYSIDE DR                                    ROCHESTER, MI 48307-6057
                                                      SHOREWOOD, IL 60404-7018


MARY A GEED                                           MARY A HOWARD                                          MARY A KARP CUST RICHARD A KARP
4563 196TH PL                                         12670 138TH LANE N                                     U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
FLUSHING, NY 11358-3532                               LARGO, FL 33774-2405                                   194 MONTE CARLO WAY
                                                                                                             DANVILLE, CA 94506-4687



MARY A KARP CUST ROBERT T KARP                        MARY A LINDAMOOD TOD KAREN J GAITLEY BRENDA A HAYMANMARY
                                                                                                           KARLAA STEINER
                                                                                                                  L WALL
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT          JANET S WEBB BARRY LINDAMOOD                        297 CHERRY HILL RD
PO BOX 30946                                          601BADEN AVE                                        MOUNTAINSIDE, NJ 07092
WALNUT CREEK, CA 94598-7946                           VIRGINIA BEACH, VA 23464-2313



MARY ALICE BEHRINGER & SALLY ANN FINKELSTEIN JT TEN   MARY ANN BRUNELLI & VINCENT BRUNELLI TR                MARY ANN CYAPRANSKI CUST AMBER CYAPRANSKI
22-30 76TH ST                                         UNDER BRUNELLI LIVING TRUST UA 07/20/00                UNDER THE NY UNIF GIFTS TO MINROS ACT
EAST ELMHURST, NY 11370                               BOX 91 HEMLOCK                                         340 SOUTH RD
                                                      FORCE, PA 15841-0091                                   SCOTTSVILLE, NY 14546-9506



MARY ANN EVANS & THOMAS L EVANS TR                    MARY ANN FAMERA                                        MARY ANN FORREST & JEFFREY M FORREST TR
EVANS FAMILY REVOCABLE TRUST UA 08/12/03              & DEBORA ANN HOLLINGSWORTH & DENISE MARIE FAMERA       UA 12/24/2005 MARY ANN FORREST TRUST
3660 NW 21ST PLACE                                    JT TEN                                                 1551 PALMETTO DR
GAINESVILLE, FL 32605-3611                            3726 N STATE ROUTE 48                                  APT 23
                                                      LEBANON, OH 45036-1041                                 PORTAGE, MI 49002-3933


MARY ANN JARMAN                                       MARY ANN KING                                          MARY ANN LEONARD TR
PO BOX 325 747 ST RT 133                              11308 108TH ST S W                                     MARY ANN LEONARD REVOCABLE LIVING TRUST UA
FELICITY, OH 45120                                    TACOMA, WA 98498                                       07/28/03
                                                                                                             105 NW 24TH ST
                                                                                                             AUSTIN, MN 55912-5100


MARY ANN PORTER CUST PAMELA L PORTER                  MARY ANN R MCLAUGHLIN TR                               MARY ANN SANTORO CUST EDWARD SANTORO JR
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT            UA 08/15/1995 MCLAUGHLIN FAMILY IRREVOCABLE TRUST      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
803 MIDSHIP CT                                        13 VENTNOR DRIVE                                       224 BENEDICT AVE
ANNAPOLIS, MD 21401-7394                              EDISON, NJ 08820                                       THORNWOOD, NY 10594-1236
                   09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                           Part 8 of 8 Pg 267 of 440
MARY ANNA BRYAN                                     MARY ANNA KLINKER                                 MARY ANNE FARREL TR
PO BOX 471685                                       11150 HEINTZELMAN                                 MARY ANNE FARRELL REVOCABLE LIVING TRUST UA
CHARLOTTE, NC 28247-1685                            ROCKFORD, MI 49341-9534                           08/19/98
                                                                                                      5515 PEBBLE SPRINGS
                                                                                                      HOUSTON, TX 77066-2425


MARY ANNE G TERREAULT                               MARY ANNE J KRESKI                                MARY B BLITTSCHAU & EDWARD J BLITTSCHAU TR
30790 STEINHAUER                                    1004-145 ST GEORGES AVENE                         UA 10/28/92 MARY B BLITTSCHAU TRUST
WESTLAND, MI 48186                                  NORTH VANCOVER BC                                 9652 CHAMBLIN DRIVE
                                                    V7L 3G8 CANADA                                    ST LOUIS, MO 63123-6208



MARY B FITCH CUST DONALD R FITCH JR                 MARY B JONAS                                      MARY B LOVE CUST BARBARA A LOVE
U/THE N Y UNIFORM GIFTS TO MINORS ACT               PO BOX 750848                                     A MINOR U/THE CALIF GIFTS OF SECURITIES TO MINORS
5 BACON RD                                          DAYTON, OH 45475-0848                             ACT
FRAMINGHAM, MA 01701-3901                                                                             3382 OAK KNOLL DRIVE
                                                                                                      REDWOOD CITY, CA 94062-3302


MARY B STEIN                                        MARY BARBARA SMALL TR                             MARY BARNA CUST JOSEPH BARNA
28512 BARTON ST                                     MARY BARBARA SMALL REVOCABLE LIVING TRUST UA      A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
GARDEN CITY, MI 48135-2702                          01/23/95                                          1026 LOVELL PL
                                                    690 NORTH 3150 ROAD                               NORTH BRUNSWICK, NJ 08902-3233
                                                    UTICA, IL 61373-9736


MARY BARNUM JONES CUST HASSEN JONES                 MARY BARNUM JONES CUST MALEN JONES                MARY BARNUM JONES CUST RAGAN JONES
A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT     A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT   A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT
3614 WAYNOKA AVE                                    3238 ROSEDALE AVE                                 1445 ADDINGTON AVENUE
MEMPHIS, TN 38111-6115                              DALLES, TX 75205-1456                             FAYETTEVILLE, AR 72703-1502



MARY BOGGIANO & JEROME BOGGIANO TR                  MARY BROWN KLEIN                                  MARY C CAMUTI CUST LAURA MARIE CAMUTI
MARY BOGGIANO LIVING TRUST UA 12/31/98              183 ANNIE LANE                                    U/THE CALIF UNIFORM GIFTS TO MINORS ACT
7540 GREYCLIFF DRIVE                                ROCHESTER, NY 14626-4377                          320 OLINDA AVE
LINCOLN, NE 68516-6506                                                                                LA HABRA, CA 90631-2809



MARY C GROTOPHORST & DIANE G BAKER TR               MARY C WILLIS                                     MARY CALDERONE CUST OTTO CALDERONE
UA 06/21/00 FRED W GROTOPHORST FAMILY TRUST         915 S HEINCKE ROAD                                A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y
4311 KUYKENDALL RD                                  MIAMISBURG, OH 45342-3856                         5452 CARLETON LAKE DR
CHARLOTTE, NC 28270                                                                                   LOCKPORT, NY 14094-5373



MARY CATHERINE PRICE CUST BRIDGET BOGAN             MARY CHRISTINA ZIMMEL & KATHLEEN ANN ABRELL TR    MARY CITARELLA CUST ALAN CITARELLA
UNDER THE MO UNIF GIFT TO MIN LAW                   ZIMMEL FAMILY TRUST UA 08/14/03                   A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J
911 NEWPORT AVENUE                                  356 TECUMSEH                                      20 BRENTWOOD DRIVE
WEBSTER GROVES, MO 63119-2620                       CLAWSON, MI 48017-2219                            BAYVILLE, NJ 08721-2159



MARY D ROSASCHI & KATHERINE A MCAFEE & DARRIN D HARMON
                                                    MARY
                                                       TR DALE PARENT                                 MARY DE LUCA BRADY
UNDER DECL OF TR 11/20/25 MARY C                    PO BOX 924691                                     PO BOX 920613
PO BOX 85                                           HOUSTON, TX 77292-4691                            NORCROSS, GA 30010-0613
BIG PINEY, WY 83113-0085



MARY DIANNE MCMILLAN TR                             MARY E ANDERSON                                   MARY E BECKMAN & ROBERT F BECKMAN TR
MARY DIANNE MCMILLAN REVOCABLE TRUST UA 11/25/03    531 CARPENTER RD                                  UA 04/18/07 MARY E BECKMAN LIVING REVOCABLE
6956 STONEWOOD PLACE                                WHITINSVILLE, MA 01588-1345                       16535 POSSUM RIDGE RD
CLARKSTON, MI 48346-5016                                                                              AURORA, IN 47001
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                              Part 8 of 8 Pg 268 of 440
MARY E BUCHHEISTER CUST ELIZABETH A BUCHHEISTER        MARY E FREIN TR MARY E FREIN REVOCABLE TRUST UA 06/30/03
                                                                                                             MARY E HENNING CUST EDWARD J HENNING
U/THE MICH UNIFORM GIFTS TO MINORS ACT                 12248 OLD BIG BEND RD APT 5                           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
2624 INVITATIONAL DR                                   KIRKWOOD, MO 63122-6835                               2818 FORRESTER DR
OAKLAND, MI 48363-2455                                                                                       LOS ANGELES, CA 90064-4662



MARY E HOWLETT                                         MARY E JOHNSON                                       MARY E JONAS
C/O EDWIN B HOWLETT JR                                 14505 313 ST NE                                      PO BOX 750848
10305 130TH AVE                                        ARLINGTON, WA 98223-9340                             DAYTON, OH 45475-0848
FELLSMERE, FL 32948



MARY E LISCHKA                                         MARY E MOORE                                         MARY E RICE
5140 MAIN ST                                           3748 OTTERBEIN AVE                                   PO BOX 134 403 N MAIN ST
# 303-119                                              DAYTON, OH 45406-3631                                PLEASANT HILL, OH 45359-0134
BUFFALO, NY 14221-5204



MARY E ROGERS & WILLIAM T ROGERS TR                    MARY E SCANLON                                       MARY E SHEPHERD
UA 02/05/08 MARY E ROGERS REVOCABLE TRUST              & RITA LEWIS & ROBERT J MERSHON & DAVID J MERSHON    10987 202ND ST
PO BOX 53                                              TEN COM                                              SAINT ALBANS, NY 11412-1332
RACKERBY, CA 95972                                     760 RIVER DRIVE
                                                       KANKAKEE, IL 60901-2239


MARY E TOPPER CUST TIMOTHY W TOPPER                    MARY E WILSON DONALD E WILSON TOD NAME ON FILE TOD MARY ELIZABETH MC INTYRE CUST KIM JOHNSON MC INTYRE
A MINOR PUR TO SEC 1339 /26 INCLUSIVE OF THE REVISED   126 BLANCHE ST                                     A MINOR U/THE LAWS OF THE STATE OF MICHIGAN
CODE OF OHIO                                           MANSFIELD, OH 44903-2404                           9514 QUAIL RIDGE RUN
1055 BROWN ST                                                                                             BRIGHTON, MI 48114-7539
AKRON, OH 44301-1513


MARY ELIZABETH MC INTYRE CUST TIMOTHY JOHNSON MC INTYRE
                                                    MARY ELIZABETH SWANEY TR                                MARY ELLEN DAUGHERTY ADAMS & BERNICE J OLSZOWSKI TR
A MINOR U/LAWS OF THE STATE MICH                    MARY ELIZABETH SWANEY LIVING TRUST UA 04/02/96          HESTER D COURTRIGHT TRUST UA 12/12/89
5271 WAYNE RD                                       2911 RIVER VALLEY                                       906 IROQUOUS DR
WHITE LAKE, MI 48383-2146                           TROY, MI 48098-2394                                     CROWN POINT, IN 46307-4508



MARY ELLEN MAYER                                       MARY ELLEN SABLOTNY TR                               MARY ELLEN SHAEFFER TR
PO BOX 684085                                          ELBERT T SABLOTNY CREDIT SHELTER TRUST UA 09/28/93   MARY ELLEN SHAEFFER INTERVIVOS TRUST UA 08/16/99
AUSTIN, TX 78768-4085                                  1941 CORTINA DR                                      12185 MOUNT ALBERT RD
                                                       DAYTON, OH 45459-1305                                ELLICOTT CITY, MD 21042-1332



MARY ELLEN STEINBERG                                   MARY ELLEN STEINER CUST BENJAMIN JOSEPH STEINER UGMAMARY
                                                                                                             MA ELLEN STEINER CUST MARY CATHERINE STEINER UTMA
1209 RYDAL ROAD                                        7 HEWINS FARM RD                                    7 HEWINS FARM RD
RYDAL, PA 19046-1414                                   WELLESLEY, MA 02481-6838                            WELLESLEY HILLS, MA 02481-6838




MARY ELLEN STEINER CUST SARAH ELIZABETH STEINER UTMAMARY
                                                     MA ESME LILES                                          MARY EVELYN VAN OSTENBRIDGE CUST JAMES ROBERT VAN
7 HEWINS FARM RD                                    & RICHARD J LILES & THOMAS E LILES & CHRISTOPHER A      U/THE NEW JERSEY U-G-M-A
WELLESLEY, MA 02481-6838                            LILES JT TEN                                            422 W ANDERSON AVE
                                                    1126 BURLINGTON DRIVE                                   PHOENIXVILLE, PA 19460-4305
                                                    FLINT, MI 48503-2935


MARY EVELYN VAN OSTENBRIDGE CUST WAYNE HOWARD VANMARY
                                                  OSTENBRIDGE
                                                       F EBERSVILLER CUST LISA A EBERSVILLER                MARY F SITKIEWICZ & DANIEL L SITKIEWICZ TR
U/THE NEW JERSEY U-G-M-A                         U/THE MINN UNIFORM GIFTS TO MINORS ACT                     LEONARD J & MARY F SITKIEWICZ TRUST UA 08/31/99
422 W ANDERSON AVE                               PO BOX 10713                                               3927 ROBERTSON DR
PHOENIXVILLE, PA 19460-4305                      PRESCOTT, AZ 86304-0713                                    WARREN, MI 48092-4117
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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MARY F STAHR                                          MARY FAY KATTMEN & D MICHAEL KATTMEN TR              MARY FELDMAN CUST SUSAN JOYCE FELDMAN
11101 295TH RD                                        UA 03/27/91 THE MARY FAY KATTMAN FAMILY TRUST 1991   U/THE N J UNIFORM GIFTS TO MINORS ACT
UNIONVILLE, MO 63565-3010                             15 ELMWOOD RD                                        24 AMBERWINDS CRT
                                                      MARBLEHEAD, MA 01945-1612                            LAKEWOOD, NJ 08701-7347



MARY FRANCES PETERS & RICHARD H PETERS JT TEN         MARY FRANCES SCHLEGEL & CHARLES E SCHLEGEL SR TR     MARY FREEMAN
2921 DEINDORFER ST                                    UA 02/23/93 MARY FRANCES SCHLEGEL                    498844 JEAN DR
SAGINAW, MI 48602-3539                                3214 E LAKEWOOD                                      MOCOMB TOWNSHIP, MI 48044
                                                      CAPE GIRARDEAU, MO 63701-1925



MARY GOCH CUST DARLENE MARIE GOCH                     MARY GUTEKUNST TR                                    MARY H KIKUKAWA CUST BLANCHE S KIKUKAWA
A MINOR U/THE LAWS OF THE STATE OF MICH               FRED W & MARY L GUTEKUNST REVOCABLE TRUST UA         U/THE HAWAII UNIFORM GIFTS TO MINORS ACT
19012 PEMBRIDGE ST                                    10/16/98                                             PO BOX 38
MACOMB, MI 48042-6230                                 605 FAIRMOUNT DR                                     KAUNNAKAKAI MOLOKA, HI 96748-0038
                                                      SAN BERNARDINO, CA 92404


MARY HAGERTY-SEVERNS                                  MARY IACOBELLIS                                      MARY J BYSTRA
258909 CAMPANULA ST                                   8125 REINHARDT RD                                    PO BOX 210754
YUCCA VALLEY, CA 92284                                CARLETON, MI 48117-9347                              MILWAUKEE, WI 53221-8013




MARY J MORAN CUST MICHAEL C MORAN UTMA IN             MARY J PALMER CUST HOWELL M PALMER 3RD               MARY J SPRINGMAN & PETER J SPITZ III TR
1789 170TH                                            U/THE N Y UNIFORM GIFTS TO MINORS ACT                LYNN G SPRINGMAN MARITAL TRUST UA 09/20/94
MARION, KS 66861-9000                                 428 BROOK HILL AVE                                   4792 SANDS PARK ROAD
                                                      VESTAL, NY 13850                                     KALKASKA, MI 49646



MARY J WHITENER & JOY E WHITENER JR TR                MARY JANE B LINDQUIST TOD MARY JANE C LINDQUIST SUBJECT
                                                                                                           MARY
                                                                                                              TO STA
                                                                                                                 JANETOD
                                                                                                                       BENDER & KATHLEEN MARIE FOEHLINGER TR
MARY J WHITENER TRUST UA 10/27/99                     RULES                                                UW 07/27/2007 HARRY S DIETZ
1110 LAKESHORE DR                                     87 15 204 STREET APT B 66                            429 N FIFTH ST
COLUMBIA, MO 65203-2862                               HOLLISWOODS, NY 11423-1525                           COLUMBIA, PA 17512



MARY JANE LUNNY & KATHLEEN P MAHONEY TR               MARY JANE MACIKOWSKI & DORENE M KUBIAK & DANIEL H KUBIAK
                                                                                                           MARYTRJANE MATSON TR
UA 04/12/2007 LUNNY/MAHONEY DECLARATION OF TRUST      HENRY J KUBIAK & IRENE T KUBIAK TRUST UA 03/20/97    UA 08/28/2009 CLIFFORD H MATSON JR TAX EXEMPTION
2051 SE 37TH COURTH CIRCLE                            97 SQUIRRELS HEATH RD                                TRUST
OCALA, FL 34471                                       FAIRPORT, NY 14450-9738                              PO BOX 125
                                                                                                           VALLEY FORGE, PA 19481


MARY JANE MILLER TR                                   MARY JANE PEARSON & PHILLIP THEODORE PEARSON TR      MARY JANE REINSCH
MARY JANE MILLER REVOCABLE LIVING TRUST UA 12/11/02   MARY JANE PEARSON TRUST UA 10/17/95                  5790 DENLINGER RD 6201
3208 BASIL COURT                                      2328 HAMILTON DR                                     DAYTON, OH 45426-1838
DALLAS, TX 75204-5543                                 AMES, IA 50014-8201



MARY JO LEINBERGER                                    MARY JO STEINRIEDE                                   MARY JOAN ELLMANN CUST MAUDE ELLMANN
7638 LAURIE LN S                                      2221 ROLLING HILLS BLVD                              A MINOR UNDER THE LAWS OF THE STATE OF MICHIGAN
SAGINAW, MI 48609-4989                                FAIRFIELD, OH 45014-3735                             14 CHAUCER RD
                                                                                                           CAMBRIDGE
                                                                                                           CB2 2EB GREAT BRITAIN


MARY JOAN GUIRE MILLER & RICHARD LYNN MILLER JR TR    MARY K GIVENS                                        MARY K NIENDORF KAREN A LUPLOW DEBRA K ZAPOLSKI
MARY JOAN GUIRE MILLER LIVING TRUST UA 01/28/97       239 SHERIDAN AVE                                     & MARY K SALAMON JT TEN
515 LINWOOD DR                                        MANSFILED, OH 44903-1531                             5156 NARCISSUS DR
MIDLAND, MI 48640-3448                                                                                     SAGINAW, MI 48603-1146
                       09-50026-mg       Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                            Part 8 of 8 Pg 270 of 440
MARY KALUZNY & HELENE SPITZ & BARBARA GOLDSTEIN JT TEN
                                                     MARY KATHERINE B GUNN                                 MARY L BEAUBIEN
15300 PARK                                           & HENRY ALLEN GUNN III & MALEEN G HOPKINS & CURTIS    & P JAMES BEAUBIEN & NANCY A VANCE & DEBRA S KILLIAN
OAK PARK, MI 48237-1995                              REID GUNN JT TEN                                      JT TEN
                                                     4600 CASCADE ST                                       1021 BLANCHARD AVE
                                                     RICHMOND, VA 23234-4212                               FLINT, MI 48503


MARY L BORING CUST JOHN A BORING JR                  MARY L COVINGTON & EDWARD J COVINGTON JT TEN TOD DAVID
                                                                                                         MARY
                                                                                                            JOHN
                                                                                                               L COVINGTON
                                                                                                                  COVINGTON& EDWARD J COVINGTON JT TEN TOD NA
U/THE OHIO UNIFORM GIFTS TO MINORS ACT               SUBJECT TO STA TOD RULES                            SUBJECT TO STA TOD RULES
6850 LAKEVIEW CIR                                    17279 HOOPER RIDGE RD                               17279 HOOPER RIDGE RD
CANAL WNCHSTR, OH 43110-1257                         MILLFIELD, OH 45761-9645                            MILLFIELD, OH 45761-9645



MARY L KNOPP                                         MARY L LYBERG                                         MARY LEE TORBERT & JESSIE BARTON TORBERT TR
PO BOX 291802                                        & AARON F LYBERG & CHELSEA L LYBERG EX UW STEPHEN     MARY LEE TORBERT LIVING TRUST UA 12/02/96
DAYTON, OH 45429-0802                                F LYBERG                                              2121 S YORKTOWN #102
                                                     9741 KLAIS CT                                         TULSA, OK 74114-1425
                                                     CLARKSTON, MI 48348-2340


MARY LEINONEN & MARILYN ALBERS JT TEN                MARY LEONA JONES & DAVID A LIGHT C0-TRUSTEES U-A DTD 09-01-92
                                                                                                           MARY LOIS
                                                                                                                   AGNES
                                                                                                                      CAUDILL CUST RICHARD T CAUDILL
1065 E 19TH AVE                                      ZACK IRREVOCABLE TRUST                                U/THE FLORIDA GIFTS TO MINORS ACT
BROOMFIELD, CO 80020-1309                            PO BOX 50                                             7220 ASHLEY DRIVE
                                                     REESE, MI 48757-0050                                  RALEIGH, NC 27604-6402



MARY LOU KOENIG KING CUST STEPHEN EARL KING          MARY LOU SALING CUST RODNEY RICHARD SALING JR         MARY LOU SULECKI CUST JOAN SULECKI
U/THE NEBRASKA UNIFORM GIFTS TO MINORS ACT           U/THE CALIF UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
6311 S 172ND ST                                      1295 HIGH ST                                          51 BRANTWOOD ROAD
OMAHA, NE 68135-3087                                 LAKE PORT, CA 95453-3836                              BUFFALO, NY 14226-4304



MARY LOU SULECKI CUST KATHLEEN SULECKI               MARY LOUISE ELLSWORTH & PETER HALLMAN ELLSWORTH TRMARY LOUISE GROVER TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           EDWARD K ELLSWORTH TRUST UA 01/07/83              MARY LOUISE GROVER REVOCABLE LIVING TRUST UA
46 MANOR HILL DRIVE                                  215 S WASHINGTON SQ STE 200                       08/03/06
FAIRPORT, NY 14450-2533                              LANSING, MI 48933-1888                            3632 PARKWAY DRIVE
                                                                                                       ROYAL OAK, MI 48073-6482


MARY LOUISE M WALKO & ANDREW G WALKO TR              MARY LUANNE MORRIS CHAMNESS CUST CATHERINE LUANNE MARY
                                                                                                       CHAMNESS
                                                                                                             LUANNE MORRIS CHAMNESS CUST CHARLES MORRIS C
WALKO FAM LIVING TRUST UA 05/24/96                   U/THE INDIANA UNIFORM GIFTS TO MINORS ACT         U/THE INDIANA U-G-M-A
263 MEADOWVIEW DR                                    621 PLEASANT RIDGE ROAD                           621 PLEASANT RIDGE ROAD
SAGAMORE HILLS, OH 44067-2418                        BLOOMINGTON, IN 47401-4258                        BLOOMINGTON, IN 47401-4258



MARY LYNN TOMLINSON                                  MARY M BOWER & ROBERT A BOWER TR                      MARY M KALPIN & MARLIN R KALPIN TR
& AVONDA KAYE SLOAN & RUTH MASON & RALPH C SLOAN     UA 03/30/04 GEORGE F BOWER & DOROTHY L BOWER          KALPIN FAMILY 1986 TRUST UA 12/18/86
JR TEN COM                                           1020 CLAREMONT DR                                     145 BELWOOD GATEWAY
1010 ROME PIKE                                       DOWNERS GROVE, IL 60516                               LOS GATOS, CA 95030
LEBANON, TN 37087-4522


MARY M MINNEAR CUST MADELEINE S SEIBERT UTMA DC      MARY M REEVE                                          MARY M ZASTROW CUST LAWRENCE RICHARD ZASTROW
171 BLACKLAND RD                                     101 101ST AVE SE                                      U/THE WISC UNIFORM GIFTS TO MINORS ACT
ATLANTA, GA 30342-4419                               APT 402A                                              PO BOX 220544
                                                     BELLEVUE, WA 98004-5310                               CHARLOTTE, NC 28222-0544



MARY MALICK                                          MARY MARGUERITE PETERS OLT & KURTIS E OLT TR          MARY MARTHA HANCOCK TR
PO BOX 773362                                        MARY MARGUERITE PETERS OLT LIVING TRUST UA 09/30/02   REVOCABLE LIVING TRUST 10/14/88 U-A F-B-O MARY
OCALA, FL 34477-3362                                 6430 DEERCROSSING WAY                                 MARTHA HANCOCK
                                                     CENTERVILLE, OH 45459                                 7929 STRATFORD CHASE LN
                                                                                                           JACKSONVILLE, FL 32256-3445
                   09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                             Part 8 of 8 Pg 271 of 440
MARY MCWILLIAMS                                       MARY MUTTERSBAUGH TR                               MARY NANCY IZZO THERESA E IZZO ROSE IZZO FLAHERTY & R
& JOHN B MCWILLIAMS & DAVID M MCWILLIAMS & PATRICIA   UA 09/27/82 MARY E MUTTERSBAUGH REVOCABLE LIVING   UW PASQUALE A IZZO
A JONES &                                             TRUST                                              5300 NORTHERN BLVD
831 AUGUSTA DR                                        5226 MAIN ST                                       BROOKVILLE, NY 11545-2722
ROCHESTER HILLS, MI 48309-1533                        MILLBROOK, AL 36054-2446


MARY NELL DAVISON SOLOMON USUFRUCTUARY CLARENCE RAY
                                                 MARY
                                                    SOLOMON
                                                       O RICHARDSON
                                                              JR NAKED                                   MARY P BERNHARD CUST GREGORY P BERNHARD
OWNER                                            & EDWARD L RICHARDSON EXECUTORS ESTATE OF OLIVE         A MINOR U/THE LOUISIANA GIFTS TO MINORS ACT
PO BOX 7360                                      E RICHARDSON                                            PALMETTO MERCANTILE CO
MONROE, LA 71211-7360                            742 WYNDMUIR DR                                         PALMETTO, LA 71358
                                                 CRYSTAL LAKE, IL 60012-3771


MARY P BERNHARD CUST MISS MARY ELIZABETH BERNHARD MARY P ROUGH                                           MARY PARKER & MARGARET PARKER BRANDES TR
A MINOR U/THE LA GIFTS TO MINORS ACT              PO BOX 140971                                          MARY PARKER FAMILY TR UA 03/31/81
PALMETTO MERCANTILE CO                            TOLEDO, OH 43614-0971                                  78 BLOSSOM ROAD
PALMETTO, LA 71358                                                                                       WINDHAM, NH 03087-1573



MARY RENA MORRISON CUST GRETCHEN JANE MORRISON        MARY RENA MORRISON CUST LAKE DANIEL MORRISON       MARY ROST
UNDER THE PENNSYLVANIA U-G-M-A                        UNDER THEPENNSYLVANIA U-G-M-A                      3634 168TH LN NW
3 ORANGE STREET                                       110 PETROLEUM ST                                   ANDOVER, MN 55304-1900
OIL CITY, PA 16301-2941                               OIL CITY, PA 16301-2747



MARY RUTHERFORD                                       MARY S DENK & LEONARD L DENK TR                    MARY S FEINBERG
HWY 101 47361                                         UA 06/04/91 MARY SKEFFINGTON DENK TRUST            166 BENZIGER AVE
BANDON, OR 97411                                      2 CRICKLEWOOD PLACE                                STATEN ISLAND, NY 10301-2308
                                                      FRONTENAC, MO 63131-3311



MARY SHIRLEY MARTHEY TR                               MARY SULJAK                                        MARY T BERRY CUST JAMES A BERRY
MARY SHIRLEY MARTHEY TRUST UA 09/17/87 MARY           17933 157TH ST                                     U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT
SHIRLEY MARTHEY                                       BONNER SPRINGS, KS 66012-7386                      16 MANCHESTER DR
18752 MOHICAN DR                                                                                         WRENTHAM, MA 02093-2505
SPRING LAKE, MI 49456-9434


MARY T CLARK CUST JOSEPH W CLARK 3RD                  MARY T PARKER                                      MARY UJHELYI WOLF TR
U/THE CONN UNIFORM GIFTS TO MINORS ACT                3951 E STEIN ROAD                                  UA 09/06/1995 DANIEL A UJHELYI & DOLORES T UJHELYI
53 HENDLEY ST                                         LASALE, MI 48145-9645                              JOINT LIVING TRUST
MIDDLETOWN, CT 06457-3519                                                                                1523 RENDERER DR
                                                                                                         SAINT LOUIS, MO 63122


MARY V COSTELLO & PATRICIA A HAND TR                  MARY VIRGINIA BEVON BURKS CUST ANTHONY BEVON BURKS MARY VORDERBRUGGEN & KEVIN VORDERBRUGGEN JT TEN
UA 12/02/2003 MARY V COSTELLO TRUST                   UNDER THE MS U-G-M-A                               36958 513TH AVE
2926 MILLER ROAD                                      403 YELLOW PINE DR                                 NEW YORK MILLS, MN 56567-9121
FLINT, MI 48503                                       HATTIESBURG, MS 39402-9238



MARY W CORNELSON CUST MARY KEENE CORNELSON            MARY ZWIERLEIN                                     MARYANN C WALTERS TR
U/THE MD UNIFORM GIFTS TO MINORS ACT                  1663 STOWELL DR APT 2                              UA 05/01/2008 MARYANN C WALTERS REVOCABLE FAMILY
21 BUCKSPARK COURT                                    ROCHESTER, NY 14616                                TRUST
POTOMAC, MD 20854-4265                                                                                   11447 MARTIN ROAD
                                                                                                         WARREN, MI 48093


MARYANN HENDROCK & JOHN HENDROCK JT TEN               MARYANN KLEINER                                    MARYANN PLUMB & DONALD A PLUMB JT TEN
ATTN MARY ANN SCHEINER                                13 CITRUS DR                                       2907 LANSDOWNE
667 BABBITT ROAD                                      ROCHESTER, NY 14606-4332                           PO BOX 300277
EUCLID, OH 44123-2537                                                                                    DRAYTON PLAIN, MI 48330-0277
                    09-50026-mg          Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                              Part 8 of 8 Pg 272 of 440
MARYANNE H MILLER TR                                   MARY-LOU DADD CUST DAVID STEPHEN DADD               MARYLOU I LEINBERGER
MARYANNE HOWARD MILLER REVOCABLE TRUST UA              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          419 LELAND DRIVE
08/11/00                                               456 CASWALLEN DR                                    FLUSHING, MI 48433-1342
4963 SWINTON DR                                        WEST CHESTER, PA 19380-4160
FAIRFAX, VA 22032-2330


MASAAKI ARAKI                                          MASASHI OUCHI & CHIYOKO OUCHI TR                    MASATSUGU KATO GDN TAIGA KATO
5/11/2007                                              MASASHI OUCHI & CHIYOKO OUCHI TRUST UA 04/18/95     MAMADA 1672-1
SHONAN-TAKATORI                                        2724 KAHOALOHA LANE #1604                           OYAMA
YOKOSUKA                                               HONOLULU, HI 96826-3337                             TOCHIGI
KANAGAWA 237-0066 JAPAN                                                                                    3290205 JAPAN


MASON E KLEIN                                          MATHEW J SPREITZER & HELEN M SPREITZER TR           MATHIAS J MASSOTH & ARTHENA C MASSOTH JT TEN
740 WEST END AVE                                       MATHEW J SPREITZER & HELEN M SPREITZER TRUST UA     29951 193RD ST
NEW YORK, NY 10025-6246                                06/11/01                                            LEAVENWORTH, KS 66048-7662
                                                       2444 118TH AVE
                                                       ALLEGAN, MI 49010-9552


MATILDA LEONARD CUST MARILEE LEONARD                   MATTHEW A MCCORMICK & GERALDINE J MCCORMICK TR      MATTHEW C EBENHOEH
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT           MATTHEW A AND GERALDINE J MCCORMICK TRUST UA        & JOY C EBENHOEH JT TEN TOD EBENHOEH REVOCABLE
124 BRISTOL FOREST TRL                                 04/07/93                                            TRUST UA 09/03/2008
SANFORD, FL 32771-7997                                 126 SUNSET AVE                                      PO BOX 316
                                                       GLEN ELLYN, IL 60137-5605                           9491 ORCHARD
                                                                                                           NEW LOTHROP, MI 48460

MATTHEW C HEYNEN                                       MATTHEW IORILLO & ELSBETH IORILLO JT TEN            MATTHEW J CURREY
2318 133RD AVE                                         66 REINMAN RD                                       18195 181ST CIR S
HOPKINS, MI 49328-9705                                 WARREN, NJ 07059-5753                               BOCA RATON, FL 33498




MATTHEW KERR & MARGARET M KERR TR                      MATTHEW PICCIANO CUST JOHN CHARLES PICCIANO         MATTHEW R HEIN
MATTHEW KERR & MARGARET KERR LIVING TRUST UA           U/THE N Y UNIFORM GIFTS TO MINORS ACT               10382 WILDWOOD DR
06/16/95                                               374 BIRD SONG WAY                                   ZIONSVILLE, IN 46077-8508
904 FRANK ST                                           DOYLESTOWN, PA 18901-4898
BAY CITY, MI 48706-5500


MATTHEW R R MOLL                                       MATTHEW S RICHARDSON AS CUSTODIANS FOR BETHANY ANNMATTHEW
                                                                                                          RICHARDSONT BERGMAN & JULIA A BERGMAN TR
& ELLEN A S MOLL & PAMELA C MOLL & RICHARD G MOLL JT   UNDER WISCONSIN UNIF GIFTS TO MINORS ACT          UA 01/04/08 THE BERGMAN REVOCABLE TRUST
TEN                                                    1705 CRYSTAL DRIVE                                10951 EDGECLIFFE DR
8042 CAPTAINS COURT                                    EDGERTON, WI 53534-8923                           SAINT LOUIS, MO 63123
FREDERICK, MD 21701


MATTHEW T REINERTSON                                   MATTHIAS J FRUGE JR USUFRUCT MATTHIAS J FRUGE III   MATTICE BRANDT JENSEN & JOHN LOREN JENSEN TR
4861 TIMBER LAWN CT                                    & IRENE CHARLOTTE FRUGE & LYDIA ANN FRUGE &         MATTICE BRANDT JENSEN TRUST UA 09/18/02
CADILLAC, MI 49601-8215                                205 TIMBERCREEK DR                                  4509 HEREND PLACE
                                                       LAFAYETTE, LA 70506                                 FAIRFAX, VA 22032-1713



MATTIE L WEINMAN                                       MAURA J CHAMBERLIN                                  MAUREEN A SCHOETTELKOTTE & JOHN R SCHOETTELKOTTE T
280 PORT WILLIAM RD                                    247 PEMBROOK LN                                     JOHN R & MAUREEN A SCHOETTELKOTTE
WILMINGTON, OH 45177-8893                              MVNOELEIN, IL 60060-2546                            7277 JETUVE LN
                                                                                                           CINCINNATI, OH 45243-2112



MAUREEN F MOORE CUST JOHN WILLIAM MOORE                MAUREEN J FILES                                     MAUREEN MCHUGH WEINMANN
U/THE TENN UNIFORM GIFTS TO MINORS ACT                 3031 43RD AVE                                       1312 ROBIN HOOD LN
5500 GLEN COVE DR                                      MERIDIAN, MS 39307-4319                             WEBSTER, NY 14580-9711
KNOXVILLE, TN 37919-8606
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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MAUREEN S JEFFERSON & WILLIAM D JEFFERSON TR          MAUREEN VAN POPERING CUST BERNA JANE VAN POPERING MAUREEN WOLHAUPTER
UA 06/23/93 MAUREEN S JEFFERSON & WILLIAM D           U/THE N Y UNIFORM GIFTS TO MINORS ACT             5634 261ST ST
4917 S W 09 PLACE                                     10 SOUTHWOOD DR                                   WYOMING, MN 55092-9017
CAPE CORAL, FL 33914-7344                             WILBRAHAM, MA 01095-2420



MAURICE DOLAN CUST THOMAS MATTHEW DOLAN               MAURICE E JOHNSON & BETTY J JOHNSON TR                MAURICE H STEINMETZ
U/THE ILL UNIFORM GIFTS TO MINORS ACT                 MAURICE & BETTY JOHNSNON REVOCABLE TRUST UA           1413 FOX GLEN DRIVE
1509 PRESIDENT ST                                     11/21/05                                              HARTSDALE, NY 10530
GLENDALE HEIGHTS, IL 60139-3604                       13810 METCALF AVE
                                                      APT 12119
                                                      OVERLAND PARK, KS 66223-7883

MAURICE M MEYER JR CUST JONATHAN ERIC MEYER           MAURICE W TOWNSEND & NANCY LOU TOWNSEND TEN COM MAURO MARESSA & CYNTHIA ANN MARESSA JT TEN
U/THE PA UNIFORM GIFTS TO MINORS ACT                  PO BOX 497198                                   PO BOX 803368
1808 LARCH CIRCLE                                     GARLAND, TX 75049-7198                          SANTA CLARITA, CA 91380-3368
LEBANON, PA 17042-9081



MAURO PINTO                                           MAURRY SCHOFF CUST ILENE SCHOFF                       MAURRY SCHOFF CUST WILLIAM SCHOFF
GENERAL MOTORS DO BRASIL                              A MINOR UNDER P L55 CHAPTER 139 OF THE LAWS OF NJ     A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS OF N J
AVENIDA GOIA 1 805-PORTAO 1                           ATTN ILENE S CROCCO                                   2091 ZERMATT ST #5
PREDIO ADMINISTRACAO SAO CAETANO DO SUL               543 LEE COURT                                         VAIL, CO 81657-4998
SAO PAULO BRASIL 09501-970 BRAZIL                     WYCKOFF, NJ 07481-1324


MAURY FLOATHE                                         MAURY L SCHWARTZ & DAVID J SCHWARTZ TR                MAX B DRESSLER CUST CHARLES BARRY DRESSLER
11033 101ST PL NE                                     MAURY L SCHWARTZ TRUST UA 09/25/98                    U/THE R I UNIFORM GIFTS TO MINORS ACT
KIRKLAND, WA 98033-4473                               2530 N 24TH ST                                        49 LISA MARIE CIRCLE
                                                      ARLINGTON, VA 22207                                   WARWICK, RI 02886-9550



MAX D AUGUSTINE & GAIL E TURNWALD TR                  MAX E JARVIS CUST DIANE M JARVIS                      MAX G KLEIN & MRS ELEANOR L KLEIN JT TEN
UA 01/18/2007 MAX D AUGUSTINE TRUST                   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            22 SCOTT ST
410 EAST DRIVE                                        3316 HARBOURS BLVD                                    MASSAPEQUA PARK, NY 11762-3538
SHEPHERD, MI 48883                                    WATERFORD, MI 48328-4182



MAX GANTMAN CUST MATT KATER                           MAX GORENSTEIN & MRS FREDA C GORENSTEIN JT TEN        MAX L HILLMER JR CUST FELICITY MARGARET HILLMER
A MINOR UNDER GIFTS OF SECURITIES TO MINORS ACT       18 FORREST ST                                         U/THE ILL UNIFORM GIFTS TO MINORS ACT
16149 OTSEGO ST                                       WINTHROP, MA 02152-1223                               25 SOUTHVIEW PL
ENCINO, CA 91436-1315                                                                                       TIFFIN, OH 44883-3312



MAX L ROBERTSON & H JUNE ROBERTSON TR                 MAX L SILBERMAN CUST I L SILBERMAN                    MAX L SILBERMAN CUST K B SILBERMAN
MAX & JUNE ROBERTSON REV TRUST UA 12/12/97            A MINOR PURS TO SECS 1339 /26 INCL OF REV CODE OHIO   A MINOR PURS TO SECS 1339 /26 INCL OF REV CODE OHIO
7770 E COUNTY RD 600 N                                32 ORCHARD CIR                                        32 ORCHARD CIR
MICHIGANTOWN, IN 46057-9653                           CHAGIN FALLS, OH 44022-2194                           CHAGIN FALLS, OH 44022-2194



MAX L SILBERMAN CUST M N SILBERMAN                    MAX LAVATER & BEATRICE LAVATER TR                     MAX R VAN WINKLE & EDYTHE M VAN WINKLE TR
A MINOR PURS TO SECS 1339 /26 INCL OF REV CODE OHIO   UA 06/12/2007 MAX LAVATER & BEATRICE GABRIELLE        UA VAN WINKLE FAMILY TRUST 11/18/91
32 ORCHARD CIR                                        2789 SONELEY WAY                                      1211 WOOD MILL TRAIL
CHARGIN FALLS, OH 44022-2194                          ALPHARETTA, GA 30004-5108                             DAYTON, OH 45459-3246



MAX STRAITIFF CUST ROBERT PAUL STRAITIFF              MAXIMILIAN FRIEDMAN CUST ROBERTA LYNN FRIEDMAN        MAXIMILLIAN FRIEDMAN CUST EUGENE JAMES FRIEDMAN
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 U/THE N Y UNIFORM GIFTS TO MINORS ACT                 U/THE N Y UNIFORM GIFTS TO MINORS ACT
1914 SE 37TH ST                                       167 S ORANGE DR                                       167 S ORANGE DR
CAPE CORAL, FL 33904-5035                             LOS ANGELES, CA 90036-3012                            LOS ANGELES, CA 90036-3012
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                              Part 8 of 8 Pg 274 of 440
MAXINE F PILAVIN EX UW ANNE FISHBEIN                  MAXINE M HOLLAND & ELIZABETH A LEWIS TR               MAXINE R FEINBERG & BERNARD M FEINBERG TR
40 GORDONS CORNER ROAD                                MAXINE M HOLLAND TRUST UA 03/11/92                    MAXINE R FEINBERG LIV TRUST UA 08/17/00
MANALAPAN, NJ 07726-3704                              2033 SHERWOOD LANE                                    378 TOWN MOUNTAIN RD
                                                      MINNETONKA, MN 55305-2414                             ASHEVILLE, NC 28804-3838



MAXINE V STEIN                                        MAXWELL M HOFFMAN CUST IRA E HOFFMAN                  MAXWELL M HOFFMAN CUST MARC H HOFFMAN
200 S BRENTWOOD BLVD                                  U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
CLAYTON, MO 63105-1601                                6605 PAXTON RD                                        22028 MARTELLA AVE
                                                      ROCKVILLE, MD 20852-3659                              BOCA RATON, FL 33433-4631



MAYOR EMANUEL CUST STUART EMANUEL                     MEDINA DIPIETRO ARSENAULT TR                          MEE YOUNG YEE REVOCABLE TRUST DTD 11-21-83 MEE YOUN
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT        MEDINA DIPIETRO ARSENAULT REVOCABLE TRUST UA          & CHOUNG KWAI YEE
222 CANTERBURY CT                                     08/10/04                                              PO BOX 36795
BLUE BELL, PA 19422-1279                              23 WENTWORTH AVE                                      GROSSE POINTE, MI 48236-0795
                                                      PLAISTOW, NH 03865-3136


MEGAN E SURGES                                        MEHMET CAVUSOGLU CUST ERDAL CAVUSOGLU                 MEHMET CAVUSOGLU CUST SINAN CAVUSOGLU
W144 57451 INDIAN TRAIL                               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
MUSKEGO, WI 53150                                     30 RIDGE RD                                           30 RIDGE RD
                                                      DOUGLASTON, NY 11363-1224                             DOUGLASTON, NY 11363-1224



MEL BODWEINE                                          MELANIE A GRAF-WEIN                                   MELANIE J COLON
1217 PECAN VALLEY DR                                  5378 LEETE RD                                         24546 185TH ST
GARLAND, TX 75043-1642                                LOCKPORT, NY 14094-1206                               BIG LAKE, MN 55309




MELANIE SPRENGLE CURRY                                MELBOURNE D KAUFMAN CUST DAVID LAWRENCE KAUFMAN       MELEDEE A NICHOLS
PO BOX 770008                                         U/THE OHIO UNIFORM GIFTS TO MINORS ACT                227-300 PALISADES WAY
STEAMBOAT SPRINGS, CO 80477-0008                      3937 GREENVIEW DR                                     SHERWOOD PARK ALBERTA AB
                                                      EL DORADO HLS, CA 95762                               T8H 2T9 CANADA



MELINDA DAVIDSON COLE TR                              MELISSA B HUCKUNTOD TR                                MELISSA DALTON
UA 08/27/91 WILFRED F COATES AND OLIVE COATES TRUST   UA 12/27/2005 ELIZABETH E BECKTOLD REVOCABLE LIVING   1925 155TH STREET
4831 RUDY RD                                          TRUST                                                 GIG HARBOR, WA 98335
TIPP CITY, OH 45371-9436                              279 RHEEM BLVD
                                                      MORAGA, CA 94556


MELISSA M READING & ARLENE J OAKLAND & ELINOR J READING
                                                      MELODY
                                                        TR     J RICHARDS                                   MELVA JEANNE CARPENTER TR
LOUISE J READING LIVING TRUST UA 06/10/04             8835 109TH ST                                         MELVA JEANNE CARPENTER LIVING TRUST UA 04/19/02
25330 WEST SIX MILE ROAD E71                          SEMINOLE, FL 33772-3732                               19963 HALE AVE
REDFORD, MI 48240-2105                                                                                      MORGAN HILLS, CA 95037-9230



MELVILLE H KLEIN & ELLEN F KLEIN JT TEN               MELVIN B SCHWARTZ CUST PHILIP SCHWARTZ                MELVIN D JONES CUST LESLIE ANN JONES
1407 SARAH DRIVE                                      U/THE N J UNIFORM GIFTS TO MINORS ACT                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
SILVER SPRING, MD 20904-2151                          225 NORTH BEVERWYCK ROAD                              6 GLENWOOD DR
                                                      PARSIPPANY, NJ 07054-2252                             SCOTIA, NY 12302-4602



MELVIN DAVIS & ANELLA DAVIS JT TEN                    MELVIN DINNER & DIANE M DINNER & MYRON M MILLER TR    MELVIN E MILLER & PATRICIA M MILLER TR
850 COOLIDGE AVE                                      THE DIANE TRUST UA 01/28/58                           MELVIN & PATRICIA MILLER REV LIVING TRUST UA 05/01/02
WHITING, NJ 08759-2809                                822 7TH STREET SUIT 540                               PO BOX 214
                                                      GREELEY, CO 80631-3941                                CRYSTAL, MI 48818-0214
                    09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                         Part 8 of 8 Pg 275 of 440
MELVIN E PAWLEY & NANCY R BRINKER PAWLEY TR       MELVIN E RICH & GERALDINE N RICH TR                  MELVIN E WEINSTEIN
MELVIN E PAWLEY AND NANCY R BRINKER               MELVIN E RICH & GERALDINE N RICH LIFETIME TRUST UA   8440 E DIAMOND RIM DR
58241 CYRENUS LANE                                11/1/00                                              SCOTTSDALE, AZ 85255-3970
WASHINGTON TWNSHP, MI 48094-2620                  15022 CLAYMOOR CT # 2
                                                  CHESTERFIELD, MO 63017-7843


MELVIN F JOHNSON & BETTY ANN JOHNSON TR           MELVIN GERALD ZUCKERMAN & SALLY JEAN ZUCKERMAN TR    MELVIN K GERSTENBERGER & HELEN V GERSTENBERGER TR
MELVIN F JOHNSON & BETTY ANN JOHNSON              ZUCKERMAN FAM REVOC TRUST UA 11/13/97                UA 07/11/05 GERSTENBERGER FAMILY TRUST
5168 SUNBURST CT                                  8616 OLEANDER                                        1430 DORELLEN AVE
FLINT, MI 48532-4147                              NILES, IL 60714-2058                                 FLINT, MI 48532



MELVIN L GRAIS CUST NANCY J GRAIS                 MELVIN L STEINKE                                     MELVIN L STRICKER CUST MICHAEL S STRICKER
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT      4505 MCBRIDE                                         UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
620 SAND HILL RD APT 302C                         MILTON, WI 53563-9407                                12014 GLEN OAK DRIVE
PALO ALTO, CA 94304-2092                                                                               ST LOUIS, MO 63043-1620



MELVIN M GRUMBACH CUST ETHAN M GRUMBACH           MELVIN S GELMAN CUST STEVEN A GELMAN                 MELVIN SCHLESINGER CUST DAVID SCHLESINGER
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
948 S CITRUS AVE                                  16 COPPERWOOD                                        2 BROMLEY CT
LOS ANGELES, CA 90036-4929                        BUFFALO GROVE, IL 60089                              MORGANVILLE, NJ 07751-9502



MELVIN STARK CUST ERIC MITCHEL STARK              MELVIN V BROECKER                                    MELVIN V BROECKER & SANDRA L BROECKER JT TEN TOD PEN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        & SANDRA L BROECKER JT TEN TOD MARK V BROECKER       SUBJECT TO STA TOD RULES
24 WINDING BROOK LN                               SUBJECT TO STA TOD RULES                             5090 HEGEL RD
REDDING, CT 06896-1917                            5090 HEGEL RD                                        GOODRICH, MI 48438-9677
                                                  GOODRICH, MI 48438-9677


MELVYN D GOLDSTEIN                                MELVYN LEONARD DAVIS                                 MENACHEM GOLDSTEIN
10498 RENO DR                                     BOX 811874                                           1474 59TH ST
CLIO, MI 48420-1937                               LOS ANGELES, CA 90081-0015                           BROOKLYN, NY 11219-5016




MENSAH SASU                                       MERCEDES E ECKER CUST MICHAEL JOSEPH ECKER           MEREDITH L TURLEY CUST RICKEY V TURLEY
BOX 408442                                        U/THE MINN UNIFORM GIFTS TO MINORS ACT               U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
CHICAGO, IL 60640-8442                            1804 VIVIAN LANE                                     204 N MAIN ST
                                                  WEST ST PAUL, MN 55118-3825                          WHITESTOWN, IN 46075-9404



MEREDITH L TURLEY CUST RODERICK M TURLEY          MERILYN RUMMELSBURG TR                               MERLE E HOWARD
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT         UA 03/18/91 C W RUMMELSBURG & MERILYN                BOX 133 206 SOUTH CEN
PO BOX 684                                        RUMMELSBURG DECLARATION OF TR                        LAGRANGE, OH 44050-0133
CALLENTE, NV 89008-0684                           24726 12TH AVE S
                                                  DES MOINES, WA 98198-3897


MERLE E SCHERER                                   MERLE JAY STEVENS & LOUELLA ANN STEVENS TR           MERRILL J OWEN & HELEN P OWEN TR
PO BOX 346 46061                                  LIVING TRUST 11/06/92 U-A MERLE JAY STEVENS          MERRILL & HELEN OWEN LIVING TRUST UA 08/08/06
NOBLESVILLE, IN 46060                             8715 SCANDINAVIA BLVD                                5232 CROWN AVE
                                                  LAKELAND, FL 33809-1744                              LA CANADA, CA 91011-2804



MERRILL L CARLTON JR CUST KENT P CARLTON          MERRILL LYNCH PIERCE FENNER                          MERRILL WILLIAM NEUSTADT CUST AMY ELISABETH NEUSTAD
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT           & SMITH INC CUST MARVIN O ROBINSON IRA UA 11/30/95   UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
8267CR 2424                                       30220 AVONDALE                                       4012 WEST 103
ROYSE CITY, TX 75189-4655                         INKSTER, MI 48141-1532                               OVERLAND PARK, KS 66207-3656
                    09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                         Part 8 of 8 Pg 276 of 440
MERRILL WILLIAM NEUSTADT CUST MAGGIE LEAH NEUSTADT MERRITT WAYNE MOSELEY CUST MERRITT W MOSELEY JR   MERRY E HOLLOWAY CUST LORINDA JILL HOLLOWAY
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW     U/THE ALA UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT
4012 W 103RD                                       40 GRACELYN RD                                    PMB 420
OVERLAND PARK, KS 66207-3656                       ASHEVILLE, NC 28804-3502                          169 S MAIN ST
                                                                                                     NEW CITY, NY 10956


MERRY LEE NOVAK CUST JESSICA M NOVAK              MERRY LOU RHOADES & RONALD R RHOADES TR            MERVIN GOLDSTEIN CUST ETHAN N GOLDSTEIN UGMA MI
UNDER THE MO TRANSFERS TO MINORS LAW              UA 05/19/1998 MERRY LOU RHOADES TRUST              30180 NORTHWICK CT
3400 STANFORD RD A114                             1152 W BEAGLE RUN LOOP                             FARMINGTN HLS, MI 48331
FORT COLLINS, CO 80525                            HERNANDO, FL 34442



METCALFE COUNTY CHAPTER OF FUTURE FARMERS OF AMERICA
                                                 MEYER
                                                     TR L GOLDSTEIN CUST LAWRENCE ARTHUR GOLDSTEIN   MICAEL A CARTER & KIMBERLEE T CARTER TR
METCALFE COUNTY HIGH SCHOOL TRUST                A MINOR UNDER THE LAWS OF THE STATE OF MICHIGAN     CARTER FAMILY TRUST UA 05/24/99
208 RANDOLPH STREET                              3628 E THOMAS RD                                    305 RUBICON VALLEY COURT
EDMONTON, KY 42129-8112                          PHOENIX, AZ 85018-7506                              SANRAMON, CA 94583-5127



MICHAEL A BECK                                    MICHAEL A DUPREE                                   MICHAEL A JOCHIM & AMY W JOCHIM TR
2829 2709TH RD                                    PO BOX #430583                                     MICHAEL A & AMY W JOCHIM 2004 TRUST UA 06/17/04
MARSEILLES, IL 61341-9437                         PONTIAC, MI 48343-0583                             428 DANBURY CT
                                                                                                     GOLETA, CA 93117-2137



MICHAEL A MATTHEWS                                MICHAEL A OLUSHOGA                                 MICHAEL A RAMSEY
P O BOX 110027                                    PO BOX 761162                                      22218 105TH AVE SE
LAKEWOOD RANCH                                    LOS ANGELES, CA 90076-1162                         KENT, WA 98031-2545
BRADENTON, FL 34211



MICHAEL A SPRAGUE & PAMELA A SPRAGUE TR           MICHAEL A TANIMOTO                                 MICHAEL ALAN HUFFMAN U/GDNSHP OF KENNETH A HUFFMAN
SPRAGUE FAM LIVING TRUST UA 03/22/02              PO BOX 750081                                      & MELENA ROBINSON HUFFMAN
295 E MCKIMMEY RD                                 LAS VEGAS, NV 89136-0081                           822 VILLA RIDGE ROAD
GLADWIN, MI 48624-8434                                                                               FALLS CHURCH, VA 22046-3663



MICHAEL ARBUTINA CUST PETRA LOUISE ARBUTINA       MICHAEL ARCANGELO DEL BUSSO & CONSTANCE MARIE DELBUSSO
                                                                                                    MICHAEL
                                                                                                          TR ARTHUR STEIN
U/THE PA UNIFORM GIFTS TO MINORS ACT              M&C DEL BUSSO FAM TRUST UA 03/04/97               2601 HENRY HUDSON PARKWAY
6211 KENTUCKY AVE #2                              11732 CROOKED LN                                  BRONX, NY 10463-7729
PITTSBURGH, PA 15206-4214                         SOUTH LYON, MI 48178-9398



MICHAEL ARTIN CUST CAROLYN SEARLES ARTIN          MICHAEL ARTIN CUST WENDY SUSAN ARTIN               MICHAEL BELLOISE TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT            U/THE MASS UNIFORM GIFTS TO MINORS ACT             UA 11/17/98 JANET BELLOISE 1998 REVOCABLE
95 JAMAICA ST APT 2                               41 HYDE ST                                         TRUSTJANET BELLOISE
JAMAICA PLAIN, MA 02130-3822                      NEWTON HIGHLANDS, MA 02461-1203                    2292 BROAD ST
                                                                                                     YORKTOWN HGTS, NY 10598-3815


MICHAEL BERNSTEIN & HELAINE BERNSTEIN JT TEN      MICHAEL BLUMENAU CUST ERIC G BLUMENAU              MICHAEL C BARRAGER & KATHLEEN R IRWIN TR
16 W 16TH ST APT 7JN                              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         UA 01/17/2008 ELIZABETH M BARRAGER TRUST
NEW YORK, NY 10011-6334                           11 ROSS LANE                                       3586 MARINER
                                                  MIDDLETOWN, NY 10941-2007                          WATERFORD, MI 48329



MICHAEL C LEE                                     MICHAEL C MCCORKLE TR                              MICHAEL CIENIAWSKI & FRIEDA CIENIAWSKI TR
2031 151ST AVE SE                                 UA 11/21/2007 MICHAEL C MCCORKLE 2007 REVOCABLE    TRUST AGREEMENT 12/29/56 UA 6/9/99
BELLEVUE, WA 98007-6319                           TRUST                                              11302 SAWYER AVE
                                                  3325 EL VALLE WAY                                  CHICAGO, IL 60655-2708
                                                  ANTELOPE, CA 95843
                    09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                               Part 8 of 8 Pg 277 of 440
MICHAEL CLARK                                           MICHAEL D BISHOP TR                                    MICHAEL D BOUTON & PATRICK B BOUTON TR
PO BOX 140632                                           MICHAEL D BISHOP & SHARON M BISHOP TRUST UA 08/04/94   RONALD F BOUTON TRUST UA 07/23/98
DALLAS, TX 75214-0632                                   2621 S HAGGERTY                                        PO BOX 142
                                                        CANTON, MI 48188-2021                                  FLY CREEK, NY 13337-0142



MICHAEL D COOPER                                        MICHAEL D HEIN                                         MICHAEL D HICKEY
PO BOX 878826                                           17513 PARKPLACE CIR                                    C/O GURU BANKHU SINGH KHALSA
WASILLA, AK 99687-8826                                  SPRING LAKE, MI 49456-9148                             PO BOX 877498
                                                                                                               WASILLA, AK 99687-7498



MICHAEL D MCCORMICK & C J MCCORMICK III & JANE ANN WISSEL
                                                      MICHAEL
                                                          TR D REINHARDT                                       MICHAEL D WHITING
MCCORMICK DECENDANTS IRREVOCABLE                      527 N KNIGHT ROAD                                        11800 BUECHE RD
PO BOX 728 C/O JANE ANN WISSEL                        BAY CITY, MI 48708-9165                                  BURT, MI 48417-9774
VINCENNES, IN 47591-0728



MICHAEL D WILLETT & JANICE B WILLETT TR                 MICHAEL DALTON                                         MICHAEL E MACALPINE
UA WILLETT FAMILY LOVING TRUST 07/09/91                 1925 155TH STREET                                      PO BOX 300754
14543 TIVOLI                                            GIG HARBOR, WA 98335                                   DRAYTON PLNS, MI 48330-0754
HOUSTON, TX 77077



MICHAEL E MORRENZIN & VICKI L MORRENZIN TR              MICHAEL E REINHART                                     MICHAEL E THOMPSON
MORRENZIN LIVING TRUST UA 03/31/04                      10372 TALLMADGE RD                                     2114 143 PL S E
1542 S MARGATE ST                                       DIAMOND, OH 44412-9744                                 MILL CREEK, WA 98012-1334
CHANDLER, AZ 85286-6734



MICHAEL F BROPHY TR 09/19/97 S & M BROFALO LIVING TRUST MICHAEL
                                                        ACCT 1M F REILLY & MARY ANN REILLY TR                  MICHAEL FIRESTEIN TR UA 11/4/88 MICHAEL FIRESTEIN LIVING
465 EDGERTON DR                                         MICHAEL F REILLY & MARY ANN REILLY TRUST UA 03/03/00   9241 KOLMAR
SAN BERNARDINO, CA 92405-2315                           873 TANIS PL                                           SKOKIE, IL 60076-1621
                                                        NIPOMO, CA 93444-5630



MICHAEL FRIEDMAN CUST MINDY H FRIEDMAN UTMA GA          MICHAEL G ALBRECHT                                     MICHAEL G BALOG & STACIA L BALOG TR
PO BOX 965394                                           2737 142ND PL NE                                       UA 12/08/05 MICHAEL & STACIA BALOG 2005 TRUST USA
MARIETTA, GA 30066-0007                                 BELLEVUE, WA 98007-7600                                1 BIRCHWOOD DR
                                                                                                               GREENWICH, CT 06831-3310



MICHAEL G DOUGHERTY & MARGARET A DOUGHERTY TR           MICHAEL G FELDSTEIN CUST JOSEPH FELDSTEIN UGMA CT      MICHAEL G HURLEY
DOUGHERTY FAMILY TRUST UA 11/27/01                      56 CRANE ROAD                                          PO BOX 772386
5818 GARDEN LAKES DR                                    STAMFORD, CT 06902-2544                                CORAL SPRINGS, FL 33077-2386
BRADENTON, FL 34203-7235



MICHAEL G LASHER TR                                     MICHAEL G MARRS                                        MICHAEL G NICKLAWKSY & EMILIE A NICKLAWSKY TR
UA 03/02/05 LASHER TR UNDER CODICIL FOR PATRICIA        6716 119TH PL N                                        MICHAEL G & EMILIE A NICKLAWSKY JOINT LIVING TRUST
SMITH LASHER                                            CHAMPLIN, MN 55316-2477                                UA 03/26/99
1610 S LOGGERS POND PL                                                                                         900 23RD ST SE
APT 11                                                                                                         WILLMAR, MN 56201-4887
BOISE, ID 83706-6597

MICHAEL GARY KOPPEL                                     MICHAEL GONZALES                                       MICHAEL GRUNDFEST CUST JOSEPH GRUNDFEST
6740 170TH PL SE                                        P O BOX 210002                                         U/THE N Y UNIFORM GIFTS TO MINORS ACT
BELLEVUE, WA 98006-6014                                 AUBURN HILLS, MI 48321-0002                            1700 WEBSTER STREET
                                                                                                               PALO ALTO, CA 94301-3853
                   09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
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MICHAEL H ACTON & JEAN SC WU TR                     MICHAEL H CLEINMARK                          MICHAEL H KLEIN
UA 04/14/92 MICHAEL H ACTON & JEAN SC WU            1718 ARLINGTON AVE                           132 CANAL WALK BLVD
5586 E RAMBLE WAY                                   BELOIT, WI 53511-5618                        SOMERSET, NJ 08873
PRESCOTT VLY, AZ 86314-4261



MICHAEL H TOMISICH & HEIDI E TOMISICH TR            MICHAEL HENRICHS & TERESA HENRICHS JT TEN    MICHAEL HOUGHTON CUST NICHOLAS NOBILI
UA 05/29/2008 HEIDI E TOMISICH TRUST                6609 180TH ST SW                             U/THE MASS UNIFORM GIFTS TO MINORS ACT
PO BOX 86                                           LYNNWOOD, WA 98037-7131                      PO BOX 75
ALVA, FL 33920                                                                                   EASTHAM, MA 02642-0075



MICHAEL HUTCHINSON JONES CUST KYLE MICHAEL HUTCHINSON
                                                   MICHAEL
                                                       JONESIACONO SR CUST MICHAEL IACONO JR     MICHAEL J CESTONE JR CUST CAROLINE CESTONE
U/THE MICHIGAN U-G-M-A                             U/THE N Y UNIFORM GIFTS TO MINORS ACT         U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
4280 WENTWORTH                                     21 BALLARD AVENUE                             OLD ORCHARD ROAD
TROY, MI 48098-4250                                STATEN ISLAND, NY 10312-2203                  CLARKS GREEN, PA 18411



MICHAEL J CIANCIO JR CUST STACEY ANN CIANCIO        MICHAEL J CRIPPEN                            MICHAEL J FITZPATRICK CUST BRIAN MICHAEL FITZPATRICK
U/THE CALIF UNIFORM GIFTS TO MINORS ACT             1651 NEINER RD                               U/THE N Y UNIFORM GIFTS TO MINORS ACT
10650 STARGATE LANE                                 SANFORD, MI 48657-9794                       1804 HARROWSMITH COURT
CINCINNATI, OH 45240-3535                                                                        HAMPSTEAD, MD 21074-2554



MICHAEL J FITZPATRICK CUST KERRY ANN FITZPATRICK    MICHAEL J GAIDO JR CUST KIMBERLY ANN GAIDO   MICHAEL J GIACALONE JR
U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE TEXAS UNIFORM GIFTS TO MINORS ACT      & ANNA BARBARA GIACALONE & MICHAEL J GIACALONE JT
10 KENNERY LANE                                     45 COLONY PARK CIR                           TEN
WEST ISLIP, NY 11795-5110                           GALVESTON, TX 77551-1737                     518 S MEADE
                                                                                                 FLINT, MI 48503-2276


MICHAEL J IRVIN CUST SUSAN D IRVIN                  MICHAEL J KURAK CUST CINDY LOU KURAK         MICHAEL J LONGO & THOMAS R LONGO TR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT   ROBERT E LONGO & LORRAINE A LONGO TRUST UA 12/04/86
2240 MIDDLEFIELD RD                                 5587 RT 20                                   216 BROOKSTONE CIRCLE
PALO ALTO, CA 94301-4024                            LAFAYETTE, NY 13084-9711                     DEWITT, MI 48820-8706



MICHAEL J MANNING & TERESA A MANNING TR             MICHAEL J MISEWICZ & SHARON J MISEWICZ TR    MICHAEL J SWIDEREK & MARGARET J SWIDEREK TR
UA MANNING LIVING TRUST 09/15/92                    UA 02/22/89 MICHAEL J MISEWICZ &SHARON J     MICHAEL & MARGARET S WIDEREK TRUST UA 08/31/05
13121 BELLERIVE FARM DR                             23701 ROCKFORD                               10783 NORTH STRAITS HIGHWAY
ST LOUIS, MO 63141                                  DEARBORN, MI 48124-1624                      CHEBOYGAN, MI 49721-9077



MICHAEL J VACKETTA CUST PETER MICHAEL VACKETTA      MICHAEL J ZUZULA JR                          MICHAEL JACOB CUST ROSELYN JACOB
UNDER MI TRANSFERS TO MIN ACT                       3203 150TH PL SE                             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
20348 WOODHILL                                      MILL CREEK, WA 98012-4865                    13831 SW 108TH ST
NORTHVILLE, MI 48167-3041                                                                        MIAMI, FL 33186-3152



MICHAEL JOHN WOJCIK                                 MICHAEL K KAZIM CUST MICHAEL KAZIM           MICHAEL K KAZIM CUST ROBERT KAZIM
PO BOX 160642                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
BOILING SPGS, SC 29316                              3725 HENRY HUDSON PKWY                       49 PINE LAKE TERR
                                                    RIVERDALE, NY 10463-1527                     RIVER VALE, NJ 07675-6474



MICHAEL K OLVERA                                    MICHAEL K WHITMORE CUST KEITH B WHITMORE     MICHAEL KURTJIAN & ANGELINE M KURTJIAN JT TEN TOD DEN
PO BOX 112379                                       U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT   SUBJECT TO STA TOD RULES
CAMPBELL, CA 95011-2379                             9551 LASSEN CIR                              1654 LE BLANC
                                                    HUNTINGTON BEACH, CA 92646-4834              LINCOLN PARK, MI 48146
                   09-50026-mg             Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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MICHAEL KURTJIAN & ANGELINE M KURTJIAN JT TEN TOD MICHELLE
                                                      MICHAEL
                                                            KURTJIAN
                                                               L COSS                                         MICHAEL L HESS
SUBJECT TO STA TOD RULES                              2830 131ST ST                                           9390 105TH AVE NE
1654 LE BLANC                                         APT 19                                                  FOLEY, MN 56329-9462
LINCOLN PARK, MI 48146                                TOLEDO, OH 43611-2314



MICHAEL L JOHANSEN & DENISE K JOHANSEN TR               MICHAEL L STEFFY CUST WHITNEY KATHLEEN STEFFY UNIF GIFT
                                                                                                             MICHAEL
                                                                                                                OF MINORS
                                                                                                                      LIMA &
                                                                                                                           ACT
                                                                                                                             LORETTA M LIMA TR
UA 02/15/98 JOHANSEN LIVING TRUST                       OF PA                                                THE LIMA FAM SEPARATE PROPERTY TRUST 01/24/95 EST
15544 S BASS LAKE RD                                    6 CHAD CT                                            LORETTA M LIMA
GORDON, WI 54838-9317                                   LITITZ, PA 17543-7980                                204 OPAL
                                                                                                             NEWPORT BEACH, CA 92662-1033


MICHAEL M GEHRMAN & BARBARA L GEHRMAN TR                MICHAEL M KLEIN                                       MICHAEL MATVIYA & KATHERINE A MATVIYA TR
MICHAEL M & BARBARA L GEHRMAN TRUST UA 04/25/00         10945 N 40TH                                          UA 12/20/2007 MICHAEL & KATHERINE MATVIYA LIVING
9814 W SILVER BELL DRIVE                                HICKORY CNRS, MI 49060-9507                           634 FAIRVIEW AVE
SUN CITY, AZ 85351                                                                                            PORT ST LUCIE, FL 34983



MICHAEL MCKIBBEN CUST HANNAH MCKIBBEN UTMA OH           MICHAEL MCMASTER                                      MICHAEL MEYER
28678 STEINMAIER RD                                     PO BOX 796932                                         AM ZUCKERBERG 25
DEFIANCE, OH 43512-8968                                 DALLAS, TX 75379-6932                                 55278 WEINOLSHEIM
                                                                                                              GERMANY



MICHAEL MOSEY                                           MICHAEL MRLIK CUST MICHAEL JOSEPH MRLIK 2ND           MICHAEL N BEESON & KAREN S BEESON & MICHAEL S BEESON
PO BOX 150783                                           U/THE MD UNIFORM GIFTS TO MINORS ACT                  MICHAEL N BEESON REVOCABLE TRUST
GRAND RAPIDS, MI 49515-0783                             5912 BALCONES DR STE 200                              15458 NORTH 100 EAST
                                                        AUSTIN, TX 78731-4202                                 SUMMITVILLE, IN 46070-9647



MICHAEL NICHOLSON & KATHLEEN NICHOLSON TR               MICHAEL O FILER                                       MICHAEL OPELAR
MICHAEL NICHOLSON LIVING TRUST UA 04/26/06              4916 STAUGHTON DRE                                    & LOUISE OPELAR JT TEN TOD TRACY A YUSKA SUBJECT
44030 STASSEN                                           INDIANAPOLIS, IN 46226-3134                           TO STA TOD RULES
NOVI, MI 48375-1654                                                                                           7828 LAVERGNE AVE
                                                                                                              BURBANK, IL 60459-1528


MICHAEL P WEINHEIMER                                    MICHAEL PISANI & VIOLET A PISANI TR                   MICHAEL R COLEMAN & CATHY L COLEMAN TR
1030 MIAMI WAY                                          UA 11/30/91 MICHAEL PISANI & VIOLET A PISANI LIVING   MICHAEL R & CATHY L COLEMAN JOINT TRUST UA 05/14/02
BOULDER, CO 80305-6405                                  TRUST                                                 13370 WAVERLY DR
                                                        37709 JUNIPER DRIVE                                   ST JOHN, IN 46373-9673
                                                        STERLING HEIGHTS, MI 48310-3952


MICHAEL R DEVEAUX                                       MICHAEL R GOLDBERG & JAYNE GOLDBERG TR                MICHAEL R HEINITZ
RR 1 BOX 303 CRNR RD 128-191                            UA 09/19/91 THE LIVING TRUST FOR GOLDBERG             18149 GRATIOT RD
OAKWOOD, OH 45873-9801                                  1977 N NORMANDIE AVE                                  HEMLOCK, MI 48626-8609
                                                        LOS ANGELES, CA 90027-1761



MICHAEL R HUFF TR UA 07/27/06 HELEN L HUFF RESIDUARY TESTAMENTARYTRUST
                                                       MICHAEL R NITZ & MARILYN J NITZ TR                     MICHAEL R PEREZ
P O BOX 577                                            MICHAEL R & MARILYN J NITZ LIVING TRUST UA 09/23/03    2187 130TH AVE
PARK CITY, MT 59063                                    26129 BIRCHFIELD AVE                                   HOPKINS, MI 49328-9734
                                                       RANCHO PALOS, CA 90275-1717



MICHAEL R SHAFFER & RENE R SHAFFER TR                   MICHAEL REHA JR                                       MICHAEL ROBERT THURAU CUST AMANDA CHRISTINE THURAU
MICHAELR SHAFFER & RENEE R SHAFFER TRUST                BOX 215032                                            UNDER THE MISSOURI UNIFORM TRANSFERS TO MINORS
6425 S TROPICAL TRAIL                                   SACRAMENTO, CA 95821-1032                             LAW
MERRITT ISLAND, FL 32952-6504                                                                                 13010 FOREST DR
                                                                                                              SEMINOLE, FL 33776-2509
                    09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                             Part 8 of 8 Pg 280 of 440
MICHAEL ROBINSON CUST ALICE JEAN SIMMONS             MICHAEL S SHAW                                   MICHAEL S SPECTOR & STEVEN SPECTOR TR
U/THE ARIZONA UNIFORM GIFTS TO MINORS ACT            P O BOX 631814                                   UA 09/22/2007 PHILLIP J SPECTOR GST TRUST
1402 W CLOUD                                         LANAI CITY, HI 96763-1814                        150 S WACKER DRIVE #1200
PHOENIX, AZ 85027-9117                                                                                CHICAGO, IL 60606



MICHAEL SILVERSTEIN                                  MICHAEL STEINBERG                                MICHAEL THOMAS MOORE
1126 EAST 59 STREET                                  1248 S BARNES DR                                 PO BOX 530272
CHICAGO, IL 60637-1580                               BLOOMINGTON, IN 47401-8615                       LIVONIA, MI 48153-0272




MICHAEL V BAITINGER                                  MICHAEL V WARDEN                                 MICHAEL VON MOUNTS & LORETTA MARIE MOUNTS TR
13761 SUNFIELD HIGHWAY                               320 180TH NE AV                                  MICHAEL & LORETTA MOUNTS TRUST UA 12/21/00
LAKE ODDESSA, MI 48849-9529                          NORMAN, OK 73026-7621                            10805 VALLEY HILLS DR
                                                                                                      HOUSTON, TX 77071-1610



MICHAEL W DUERKSEN                                   MICHAEL W ROONEY & SALLY ANN ROONEY TR           MICHAEL WATSON CUST JAMIE WATSON
287125 SUGAR ISLAND COURT                            UA 04/27/94 WILLIAM L ROONEY IRREVOCABLE TRUST   UNDER THE NEW YORK UNIF GIFTS TO MINOS ACT
GIBRALTAR, MI 48173-9577                             24 ST CLAIR DR                                   2365 HALYARD DRIVE
                                                     DELMAR, NY 12054-2706                            MERRICK, NY 11566-5528



MICHELE ANN FATE & WELDON L FATE TR                  MICHELE D WEINER                                 MICHELE M GRANT
MICHELE ANN FATE REVOCABLE LIVING TRUST UA 1/24/01   160 HYDE PARK PLACE                              6822 132ND CT
12211 ENGLAND ST                                     YARDLEY, PA 19067                                APPLE VALLEY, MN 55124
OVERLAND PARK, KS 66213-2529



MICHELE R EPSTEIN                                    MICHELE W PEDERSEN                               MICHELLE L PRIMAVERA CUST KATELYN M PRIMAVERA
28 WATERSIDE CLOSE                                   12562 144TH AVE                                  UNDER OH TRANSFER TO MINORS ACT
EASTCHESTER, NY 10709-5653                           GRAND HAVEN, MI 49417                            7936 MORRIS RD
                                                                                                      HILLIARD, OH 43026-9713



MICHELLE LOUISE REINSTEIN CUST STEVEN REINSTEIN UGMA MICHELLE
                                                     PA        M BUNKER                               MIGUEL ANTONIO LOPEZ CONWAY MINOR JUAN SANCHEZ LOP
382 RIVERWAY                                         & PATRICK BUNKER & LAURA L BUNKER & MICHAEL P    WITH PATRIA POTESTAS
BOSTON, MA 02115-6406                                BUNKER JT TEN                                    262 WALKER BLVD
                                                     217 N ALEXANDER ST                               THOMASVILLE, NC 27360-8709
                                                     SAGINAW, MI 48602-4004


MIGUEL D INFANTE                                     MIGUEL MASCARENHAS                               MIGUEL P GARCIA FO
828 HEIN AVE                                         RUA PROF MARK ATHIAS N4 4DTO                     AVE PAPA JOAO XXIII 810
LANSING, MI 48911-4833                               1600 646 LISBOA                                  JARDIM SAO CENTANO CEP 09581 620
                                                     PORTUGAL                                         SAO CAETANO DO SUL SAO PAULO
                                                                                                      BRASIL BRAZIL


MIGUEL T A ABDALLA                                   MIKE JOSEPH CUST MICHELLE ANN JOSEPH             MIKE RACKSON
ALAMEDA JAU 161 APT 41                               U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT   5644 285 AVE SE
SAO PAULO 01420-000                                  109 S 4TH ST                                     ISSAQUAH, WA 98027-8844
BRASIL                                               WEST NEWTON, PA 15089-1313
BRAZIL


MIKE ZELJEZNJAK                                      MILAN A JAKSIC CUST MARILYN A JAKSIC             MILAN K MILOSOVIC
18662 153RD ST                                       U/THE OHIO UNIFORM GIFTS TO MINORS ACT           4824 147 AVE
BASEHOR, KS 66007-5137                               2116 ALGONQUIN ROAD                              EDMONTON AB
                                                     EUCLID, OH 44117-2402                            T5Y 2X2 CANADA
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                            Part 8 of 8 Pg 281 of 440
MILAN MARKOVIC                                       MILBURN A WATERS CUST PAMELA K WATERS                 MILDRED A REINHARDT & CATHLEEN L GORSUCH JT TEN
4350 204TH ST                                        U/THE TENN UNIFORM GIFTS TO MINORS ACT                49105 US HWY 169
MATTESON, IL 60443-1708                              209 RIDGE RD                                          PALISADE, MN 56469
                                                     MARYVILLE, TN 37803-3407



MILDRED A REINHARDT & STEPHEN R REINHARDT JT TEN     MILDRED A REINHARDT & VIVIAN L FOWLDS JT TEN          MILDRED BASTIEN
49105 US HWY 169                                     49105 US HWY 169                                      3240 W STEIN
PALISADE, MN 56469                                   PALISADE, MN 56469                                    LASALLE, MI 48145-9602




MILDRED C MANNING TR                                 MILDRED C MARKKANEN & JUNE C AMARIUTA TR              MILDRED C STEINBRUECK
HENRY & MILDRED MANNING REVOCABLE TRUST UA 6/17/89   UW CARL O MARKKANEN FUND B TRUST                      244 STALWART
5008 RAY AVE                                         207 PATERSON AVE                                      TROY, MI 48098-3039
ST LOUIS, MO 63116-3324                              HASBRONCK HEIGHTS
                                                     HASBROUCK HTS, NJ 07604-2113


MILDRED D THOMPSON CUST CAROLYN D THOMPSON           MILDRED GEIERMANN TR                                  MILDRED H CORBETT USUFRUCT PERRY H CORBETT JR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT               UA 12/05/00 FREDERIC J GEIERMANN REVOCABLE LIVING     & WILLIAM DAVIS CORBETT NAKED OWNERS
1151 FAIRWAY CT NE                                   TRUST                                                 2826 HWY 569
PALM BAY, FL 32905-3751                              755 CENTRAL                                           FERRIDAY, LA 71334-4460
                                                     MONROE, MI 48162


MILDRED HINES & LAWRENCE A HINES III TR              MILDRED K SMITH TR                                    MILDRED KOPPEL CUST JAN B KOPPEL
UA 06/16/2008 MILDRED HINES TRUST                    ODEN H SMITH & MILDRED K SMITH REV LIVING TRUST UA    U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
53760 WOODBRIDGE DR                                  12/24/95                                              C/O JAN BRIAN KOPPEL
SHELBY TWP, MI 48316-2170                            9161 SANTA FE E SPACE 40                              109 RUTH EAGER CT
                                                     HESPERIA, CA 92345-7911                               PIKESVILLE, MD 21208-6344


MILDRED L MORGAN TR                                  MILDRED M DUDGEON TOD CLAIRE DUDGEON SUBJECT TO STAMILDRED
                                                                                                         TOD RULES
                                                                                                                M KLEIN
REVOCABLE LIVING TRUST 04/07/92 U-A MILDRED L        C/O HAROLD A FOY                                   4750 WEATHERBY CT
MORGAN                                               PO BOX 101545                                      GLADWIN, MI 48624-8231
78 SEAMAN ST                                         CAPE CORAL, FL 33910
GALENA, MO 65656-4624


MILDRED P ELLERMAN                                   MILDRED P HALASH TR                                   MILDRED PAYNE ALDREDGE MC KNIGHT TR
12175 206TH ST                                       MILDRED P HALASH REVOCABLE LIVING TRUST UA 05/04/05   AMY PAYNE ALDREDGE TR U-W MARY BATTS
NORTONVILLE, KS 66060-5093                           134 POPLAR                                            3540 RANKIN
                                                     WYANDOTTE, MI 48192-4645                              DALLAS, TX 75205-1209



MILDRED STEIN                                        MILDRED STEIN                                         MILDRED STEIN TR BEVERLY RENE STEIN A MINOR U/DECL OF
1791 SHIPLEY AVE                                     68 N BROADWAY                                         1791 SHIPLEY AVE
APT 2                                                SALEM, NH 03079-2102                                  VALLEY STREAM, NY 11580-1726
VALLEY STREAM, NY 11580-1726



MILDRED WIENER CUST MARK EARL ROSEN                  MILES DOLAR CUST MICHAEL E DOLAR                      MILES DOLAR CUST SUSAN E DOLAR
U/THE PA UNIFORM GIFTS TO MINORS ACT                 U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT            U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
1675 CHADWYCK PLACE                                  756 FOX AVENUE                                        660 BLUEBIRD LN
BLUE BELL                                            GLENDALE HEIGHTS, IL 60139-2910                       COBDEN, IL 62920-3041
PHILADELPHIA, PA 19152


MILES N DIETRICH CUST DANN A DIETRICH                MILES N DIETRICH CUST KIM N DIETRICH                  MILFORD W ANGEVINE JR CUST PHILIP J ANGEVINE
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            U/THE N Y UNIFORM GIFTS TO MINORS ACT
PO BOX 1275                                          8448 HUBBARD                                          112 SPALDING ST
LADY LAKE, FL 32158-1275                             WESTLAND, MI 48185-1412                               LOCKPORT, NY 14094-4650
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                            Part 8 of 8 Pg 282 of 440
MILICA M NICKOLAOU TR                                MILLARD F BEASLEY CUST LARRY R BEASLEY              MILLARD W CLEVELAND & PATRICIA CLEVELAND TR
MILICA M NICKOLAOU REVOCABLE LIVING TRUST 12/22/03   A MINOR UNDER THE LAWS OF GEORGIA                   MILLARD W CLEVELAND & PATRICIA CLEVELAND
10652 GREEN PLACE                                    2284 MORRISON RD                                    423 HARDEN ST
CROWN POINT, IN 46307-2989                           YORK, SC 29745-8602                                 HOLLY, MI 48442



MILLERT D LEINONEN                                   MILLICENT CLAUDETTE FILER                           MILLICENT DELACY
2262 HULL RD                                         4916 STAUGHTON DR E                                 PO BOX 231992
STANDISH, MI 48658-9184                              INDIANAPOLIS, IN 46226-3134                         ANCHORAGE, AK 99523-1992




MILLICENT GENE GORDON CUST JILL ELISE GORDON         MILO I TOMANOVICH CUST STEVEN J TOMANOVICH          MILTON BENTZ CUST CLIFFORD S BENTZ
U/THE KANSAS UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
2020 N LINCOLN PARK WEST APT 5E                      235 BEACONVIEW CT                                   146-36 13TH AVE
CHICAGO, IL 60614-4735                               ROCHESTER, NY 14617-1405                            WHITESTONE, NY 11357-2449



MILTON BERNSTEIN & MRS ROSANNE BERNSTEIN JT TEN      MILTON C HATHAWAY JR                                MILTON J RAPORT CUST LORIS S RAPORT
1 BALTIMORE ST                                       33924 KLEIN ST                                      U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
APT 616                                              FRASER, MI 48026                                    10851 NANTUCKET TERR
CUMBERLAND, MD 21502-2986                                                                                POTOMAC, MD 20854-4428



MILTON KLEIN JR                                      MILTON KOZDRON                                      MILTON KUTSHER CUST MARK KUTSHER
217 BERWYN DR W #208                                 7-B FLORIDA DRIVE                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
MOBILE, AL 36608-2119                                CEDAR GLEN LAKES                                    MONTICELLO, NY 12701
                                                     WHITING, NJ 08759-1210



MILTON L SOUZA                                       MILTON L WILEY CUST MISS NANCY LYNN WILEY           MILTON LAVENSTEIN & EVA D LAVENSTEIN TEN ENT
1452 156 AVE                                         U/THE COLO UNIFORM GIFTS TO MINORS ACT              APT 7
SAN LEANDRO, CA 94578-1926                           BOX 379                                             2 POMONA N
                                                     DURANGO, CO 81302-0379                              PIKESVILLE, MD 21208-2957



MILTON LEU CUST DAVID M LEU                          MILTON M FARLEY CUST JOAN L FARLEY                  MILTON M PRICE JR CUST ANN MARGARET PRICE
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE MD UNIFORM GIFTS TO MINORS ACT
538 UNION ST                                         7239 RIDGE ROAD                                     30392 VIA ESTORIL
SAN FRANCISCO, CA 94133-3338                         LOCKPORT, NY 14094-9424                             LAGUNA NIGUEL, CA 92677-2300



MILTON MILLER CUST LARRY MARK MILLER                 MILTON RUSSEL WOFFORD JR CUST EDWARD SMITH WOFFORDMIMI
                                                                                                        UTMANICHOL
                                                                                                               GA UNIF
                                                                                                                   CUSTTRAN
                                                                                                                         SUSAN A NICHOL
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y        MIN ACT                                           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
214 W 29TH #8FL                                      55 MADDOX DR                                      71 IVORY MOON PL
NEW YORK, NY 10001-5203                              ATLANTA, GA 30309-2747                            THE WOODLANDS, TX 77381-6455



MING TAT LEUNG                                       MINNIE B REISWERG CUST MARILYN REISWERG             MINNIE E MC CLELLAND
FAT A 9/F 55 BROADWAY ST                             U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             21830 155TH ST
MEI FOO SUN CHUEN                                    4106 PIRATES BCH                                    BASEHOR, KS 66007-5152
819052 KOWLOON                                       GALVESTON, TX 77554-8041
CHINA (PEOPLE'S REP)


MINNIE E SOLOMON                                     MINNIE LEONA BUCHHOLZ TR                            MINNIE O HUDDLESTON
40305 168TH STREET EAST                              UA 09/23/92 MINNIE LEONA BUCHHOLZ REVOCABLE TRUST   & JEROME HUDDLESTON & MICHAEL HUDDLESTON &
PALMDALE, CA 93591-3031                              1970 BEDFORD DR                                     MARILYN REDDER JT TEN
                                                     TITUSVILLE, FL 32796-1015                           5572 KIRKRIDGE TRAIL
                                                                                                         OAKLAND TWNSHP, MI 48306-2266
                    09-50026-mg          Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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MINNIE S STUMP & FRANKLIN A STUMP TR                   MIRIAM BURSTEIN                                      MIRIAM JOLLEY SPENCER TR
MINNIE S STUMP REV TRUST UA 5/5/99                     & ILONA BURSTEIN HEWITT & JUDITH FEIN & PATRICIA B   MIRIAM JOLLEY SPENCER REVOCABLE LIVING TRUST UA
801 CAMPBELL GLEN LANE                                 LAUNA JT TEN                                         07/31/97
WINSTON SALEM, NC 27103-5986                           400 PROSPECT APT 133                                 PO BOX 339
                                                       LA JOLLA, CA 92037-4722                              HARRISVILLE, RI 02830-0339


MIRIAM R LAUMAN TR                                     MIRIAM S GOLDSTEIN                                   MIRIAM S STEINBERG
UA 07/17/2008 MIRIAM R LAUMAN REVOCABLE LIVING TRUST   333 E 93RD ST APT 2P                                 230 AUTUM RD
424 BUTLER STREET                                      NEW YORK, NY 10128-5508                              LAKEWOOD, NJ 08701-1623
MICHIGAN CITY, IN 46360



MIRO JADRIC                                            MISAO UJIMORI CUST EVELYN UJIMORI                    MISS ANGELA MADELEINE MC KENNA
20111 183RD                                            U/THE HAWAII UNIFORM GIFTS TO MINORS ACT             48 DARTMOUTH SQ EAST
TONGANOXIE, KS 66086-5326                              3188 ALIKA AVE                                       LEESON PARK DUBLIN
                                                       HONOLULU, HI 96817-1103                              2 IRELAND



MISS ANN DENTON                                        MISS ANN LEWIS                                       MISS ANN M WEINGARTNER
C/O PEMBERTON                                          11967-106TH CT                                       5549 ASPEN
504-325 VILLAGE GROVE DRIVE                            LARGO, FL 33778-3530                                 HOUSTON, TX 77081-6603
WINDSOR ON
N8N 0B1 CANADA


MISS ANNA MARIE NOETH                                  MISS ANNA MARIE REINTHALER                           MISS BARBARA LACKEY
578 PETUNIA LANE NORTH                                 100 CEDAR ST APT 21A                                 7354 122ND WAY N
WHITING, NJ 08759-4318                                 DOBBS FERRY, NY 10522-1017                           SEMINOLE, FL 33772-5525




MISS BESSE B STEINER                                   MISS CAROL WEINSEIMER                                MISS CAROLE ANN MEINERT
991 HILLTOP RD                                         C/O MRS C HEYER                                      1007 S OHIO
MYERSTOWN, PA 17067-1752                               124 BUNKER HILL RD                                   DAVENPORT, IA 52802-2641
                                                       CANTON, CT 06019



MISS CAROLYN R CALLO CUST ARMIN R CALLO                MISS CATHY LYNN LEINOFF                              MISS DAWN CHEWITT
A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT        C/O EDWARD NEWMAN                                    APT 302 100 ULSTER ST
PO BOX 1416                                            10100 S W 140TH ST                                   WINNIPEG MB
INDIO, CA 92202-1416                                   MIAMI, FL 33176-6685                                 R3T 3A2 CANADA



MISS DEANNE K REINDL                                   MISS DELPHINE JANKOWSKI                              MISS ELLEN GOLDFEIN
2020 SHADY LANE                                        23367 W SCHWERMAN ROAD                               4121 N STONE AVE
MUSCATINE, IA 52761-3623                               MUNDELEIN, IL 60060-9599                             UNIT 100
                                                                                                            TUCSON, AZ 85705-8800



MISS GERALDINE MOORE                                   MISS HANNAH STRANSKA                                 MISS HELEN BECKER CUST MISS LOIS SYDNEY BECKER
390 B FAIRWAY LN                                       C/O JOHN P REINER                                    U/THE ILL UNIFORM GIFTS TO MINORS ACT
WHITING, NJ 08759-3040                                 80 WALL STREET # 1018                                1327 SW 57TH
                                                       NEW YORK, NY 10005                                   PORTLAND, OR 97221-2509



MISS HELEN C CITINO                                    MISS HELEN KLEIN                                     MISS HELEN POPECK CUST PAMELA KAYTROSH
BOX 236                                                1113 NORTH MONONA DRIVE                              U/THE PA UNIFORM GIFTS TO MINORS ACT
KENNETT SQUARE, PA 19348-0236                          LUDINGTON, MI 49431-1522                             TWO WEATHERWOOD LANE
                                                                                                            RADNOR, PA 19087-2724
                   09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                       Part 8 of 8 Pg 284 of 440
MISS HERTA LOEWENSTEIN                          MISS ILENE BONNY SAVOY                           MISS JANE N BIZON & CHESTER J BIZON JT TEN
250 W 57TH ST STE 615                           1785 215TH ST APT 14G                            124 WHITIN AVE
NEW YORK, NY 10107-0699                         BAYSIDE, NY 11360-1722                           CHICOPEE, MA 01013-1331




MISS JANE RUBENSTEIN                            MISS JEANETTE E PAULE                            MISS JO ANN REINSCH
C/O MRS JANE R MENELL                           190 BD BINEAU                                    4201 HONEYBROOK AVE
4520 RENO RD NW                                 92200 NEUILLY                                    DAYTON, OH 45415-1444
WASH, DC 20008-2939                             S/ SEINE
                                                FRANCE


MISS JOAN N WATSON                              MISS JOSEPHINE H MUNENO CUST DAPHNE S YOUNG      MISS JUDITH GRACE SEPPER
2320 1650 TH ST                                 U/THE CALIF UNIFORM GIFTS TO MINORS ACT          ATTN MRS B BRONSTEIN
IRWIN, IA 51446                                 349 ESQUINA DR                                   #72
                                                HENDERSON, NV 89014-4505                         4301 BISSONNET
                                                                                                 BELLAIRE, TX 77401-3231


MISS JUDITH K WEINTRAUB                         MISS KAREN HOFFMAN                               MISS KAROL ANN MIRMELSTEIN
7032 CEDAR OAKS DR                              ATTN KAREN GRAY                                  ATTN KARYL M LEMBERGER
GRANITE BAY, CA 95746-6539                      PO BOX 795638                                    10 OAKWOOD DR
                                                DALLAS, TX 75379-5638                            LLOYD NECK, NY 11743-9748



MISS KATHE HOLTKAMP                             MISS KATHLEEN H REINHARD                         MISS KATHRYN LEE REINSCH
C/O WENZEL                                      844 OLD WOODS ROAD                               347 COMPTON RD
BEZIRKSAMT WEDDING VON BERLIN                   WORTHINGTON, OH 43235-1248                       CINCINNATI, OH 45215-4145
MULLERSTRASSE 146-147 BERLIN 65
D1000 GERMANY


MISS LEDA SHISHOFF CUST JOHN W SHISHOFF         MISS LILY PANG & MISS IVY PANG JT TEN            MISS LILY PANG & MISS ROSE C PANG JT TEN
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT    PO BOX 210312                                    PO BOX 210312
3180 FELTON DRIVE                               SAN FRANCISCO, CA 94121-0312                     SAN FRANCISCO, CA 94121-0312
BEAVERCREEK, OH 45431-3335



MISS LINDA SAPPERSTEIN & ALAN A SHAFER JT TEN   MISS MADELEINE C BEELS                           MISS MARGARET JEAN REINSCH
2216 RIDGE RD                                   46452 MEADOW LN                                  504 W BURROUGH RD
REISTERSTOWN, MD 21136-5625                     MACOMB, MI 48044-3488                            BOWDOINHAM, ME 04287-7531




MISS MARGARET T KLEINSCHMIDT                    MISS MARIA TERESA FERNANDEZ GARCIA               MISS MARIE ROSE KLEIN
1115 N FRANKLIN ST                              PO BOX 9020845                                   ATTN M K TIMSON
SHAMOKIN, PA 17872-4603                         SAN JUAN                                         102 TABANTO RD
                                                00902 PUERTO RICO                                POCASSET, MA 02559-1726
                                                -0845


MISS MARY ALICE ONEAL CUST GLEN SMITH           MISS MARY ANN VOGELE CUST MARY CATHERINE EGNOR   MISS MAUREEN R OBRIEN CUST PETER MICHAEL SCHMERGEL
U/THE S C UNIFORM GIFTS TO MINORS ACT           U/THE OHIO UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT
3317 SE 13TH ST                                 6761 KEN ARBRE AVE                               505 ARNON LAKE DR
OCALA, FL 34471-2945                            CINCINNATI, OH 45236-4120                        GREAT FALLS, VA 22066-3928



MISS MELISSA JAN DOLBEER                        MISS MIRIAM RODSTEIN                             MISS MYRNA J BORNSTEIN
206-4441 5TH ST                                 10 DRIFTWOOD LANE                                22605 CAMINO DEL MAR
PEACHLAND BC                                    DALY CITY, CA 94014-2818                         APT 1241
V0H 1X6 CANADA                                                                                   BOCA RATON, FL 33433-6524
                      09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                          Part 8 of 8 Pg 285 of 440
MISS NANCY FARR                                    MISS PHYLLIS C CLEMENSEN                              MISS ROBIN L VERNATCHI
PAINE WEBBER                                       RUE PALESTINE 262                                     & GEORGE S VERNATCHI & ELIZABETH M VERNATCHI JT
FBO NANCY FARR BAKER                               04362-030 SAO PAULO                                   TEN
2015 BROADWAY                                      SAO PAULO BRASIL                                      ATTN ROBIN L LUND
BURLINGAME, CA 94010                               BRAZIL                                                1941-65TH AVE
                                                                                                         SACRAMENTO, CA 95822-4806

MISS ROSE RINELLA                                  MISS SALLY KATHERINE OBRIEN                           MISS SHANNON MILLER
C/O AVONDALE FED SVGS BK                           ATTN MS SALLY KATHERINE                               PO BOX 381885
2965 N MILWAUKEE AVE                               OBRIEN JEFLEY                                         GERMANTOWN, TN 38183-1885
CHICAGO, IL 60618-7347                             PO BOX 020010
                                                   MIAMI, FL 33102-0010


MISS SUSAN L JONES                                 MISS THERESA E MEINCK                                 MISS VERA MARY SHERIDAN
PO BOX 287224                                      701 RUNNING DEER DR                                   & MRS EMMA O TRICKETT & JOSEPH S TRICKETT JT TEN
NEW YORK, NY 10128-0021                            COLUMBIA, TN 38401-8003                               21 NORMAN ROAD
                                                                                                         NORTH ANDOVER, MA 01845-3518



MISS YVONNE ZOGHBI CUST RONALD ZOGHBI JR           MITCHEL CAMARATA & DENNIS B CAMARATA TR               MITCHELL A SQUIRES
U/THE CALIF UNIFORM GIFTS TO MINORS ACT            MITCHEL CAMARATA REVOCABLE LIVING TRUST UA 11/07/00   PO BOX 941042
4603 EL MACERO DR                                  3025 VAN ALSTYNE                                      MAITLAND, FL 32794-1042
DAVIS, CA 95616-4348                               WYANDOTTE, MI 48192-5943



MITCHELL D JOHNSON CUST PAUL STEVEN JOHNSON        MITCHELL E MILLER CUSTDN FOR EMILY C MILLER           MITCHELL G LOBROVICH JR TR
U/THE MINN UNIFORM GIFTS TO MINORS ACT             UNDER THE FL UNIF TRANSFERS TO MINORS ACT             MITCHELL G LOBROVICH JR REVOCABLE TRUST UA 3/5/98
1149 CASCADE LANE                                  224 RIVER DR                                          4682 STONERIDGE TRAIL
MENDOTA HEIGHTS, MN 55118-1803                     TEQUESTA, FL 33469-1934                               SARASOTA, FL 34232-3022



MITCHELL J HALKA CUST MITCHELL J HALKA JR          MITCHELL M NIARHOS                                    MITCHELL PAUL STEIN
U/THE CONN UNIFORM GIFTS TO MINORS ACT             PO BOX 554 554                                        12210 BELLAFONTE DR
703 DRUM POINT RD                                  VANDALIA, OH 45377-0554                               DALLAS, TX 75243-3626
BRICK, NJ 08723-7507



MITCHELL S GREEN                                   MITSUGI KOMO CUST DANNETTE K KOMO                     MITSURU SATO
5109 SCHREINER DR                                  U/THE HAWAII UNIFORM GIFTS TO MINORS ACT              3-3-1001 TSUKUSHINO
WINNEMUCCA, NV 89445-4167                          PO BOX 312                                            ABIKO SHI CHIBA KEN
                                                   HOLUALOA, HI 96725-0312                               270 1164 JAPAN



MITSURU SATO                                       MITZI VALENTINE GOWARD TR                             MODESTO C PANARO & DOLORES J PANARO TR
3-3-1001 TSUKUSHINO                                MITZI VALENTINE GOWARD LIVING TRUST UA 02/19/02       UA 03/09/93 THE PANARO FAM TRUST
ABIKO-SHI CHIBA-KEN                                1927 LAKE RD                                          9420 SE POINT TERRACE
270-1164 JAPAN                                     PANTON, VT 05491-9262                                 JUPITER, FL 33469-1324



MOEMY F OLSEN                                      MOHAMAD K FARHAT                                      MOHAMED I JESSA
16500 112TH AVE NE                                 1175 E KLEINDALE RD                                   30200 STEPHENSON HIGHWAY
BOTHELL, WA 98011-1520                             TUCSON, AZ 85719-1829                                 MADISON HEIGHTS, MI 48071-1612




MOHAMED KAZIM                                      MOHANSINGH UDHWANI                                    MOISE JANIDES CUST NICK JANIDES
125 16 133RD AVE                                   PO BOX 212078                                         A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N J
C/O SADI Q SAMATALLI                               AUGUSTA, GA 30917-2078                                600 NORTH BLVD
SOUTH OZONE PK, NY 11420-3206                                                                            BELMAR, NJ 07719-2945
                   09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                          Part 8 of 8 Pg 286 of 440
MOLLOY S BENNETT & MARY JOE G BENNETT TR           MOLLY ZALEC & ANGELINE T SACHEN JT TEN              MOLLYE SIMON CUST TAMARA M GOLDSTEIN
MOLLOY S BENNETT & MARY JOE G BENNETT REVOCABLE    PO BOX 980193                                       U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
6017 PEAR ORCHARD                                  YPSILANTI, MI 48198-0193                            PO BOX 532
JACKSON, MS 39211-2809                                                                                 NORTHBROOK, IL 60065



MONA L GRINSTEAD                                   MONICA L KNUDTSON CUST ADAM KNUDTSON                MONICA L VERWOERD
7106 296TH ST                                      UNDER THE MO TRANSFERS TO MINORS LA                 #316-450 BROMLEY
BRANFORD, FL 32008-2584                            1516 POLARIS                                        COQUITLAM BC
                                                   BALLWIN, MO 63011-2036                              V3K 6S5 CANADA



MONICA LEE KNUDTSON CUST MELINDA LEE KNUDTSON      MONICA M ERNST CUST GREGORY T ERNST                 MONICA M MARTIN & GAYLE D MARTIN TR
UNDER MO UNIFORM TRANSFERS TO MINORS LAW           UNDER IL UNIF ACT TRANSFERS TO MINORS ACT           GAYLE DAVID MARTIN & MONICA M MARTIN FAMILY TRUST
1516 POLARIS DR                                    9341 S 83 RD AVE                                    UA 02/09/01
ELLISVILLE, MO 63011-2036                          HICKORY HILLS, IL 60457-1923                        23711 SINGAPORE STREET
                                                                                                       MISSION VIEJO, CA 92691-3006


MONROE A NAIFEH & ERNESTINE D NAIFEH & WOODROW NAIFEH
                                                   MONROE
                                                      TR   EBERLIN CUST JANET EBERLIN                  MONROE HAAS CUST DEBBIE GALE HAAS
ALMAS NAIFEH TRUST UA 02/21/69                     A MINOR U/ART 8-A OF THE PERSONAL PROPERTY LAW OF   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
1131 MELINDA RD                                    NY                                                  15 LAWRIDGE DR
SAPULPA, OK 74066-5831                             13 BEVERLY RD                                       PORT CHESTER, NY 10573-1020
                                                   NEW ROCHELLE, NY 10804-1702


MONROE LOKSHIN CUST JEFFREY LOKSHIN                MONROE LOSKIN CUST WENDY LOSKIN                     MONTE J LEVINSON CUST VICTOR I LEVINSON
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE ILL UNIFORM GIFTS TO MINORS ACT
13-15 209TH ST                                     13-15 209TH ST                                      5520 W TOUHY AVE N
BAYSIDE, NY 11360-1123                             BAYSIDE, NY 11360-1123                              SKOKIE, IL 60077



MONTE M PETTY & CAROL S PETTY TR                   MONTY L NUSS & JARRELL D NUSS TR                    MOOSA VALINEZHAD CUST ELIOT A VALINEZHAD
MONTE M & CAROL S PETTY TRUST UA 12/14/00          UA 05/29/2007 MONTY L NUSS IRREVOCABLE TRUST        A MINOR UNDER THE LAWS OF GEORGIA
4985 S KINGSTON RD                                 8433 COLONIAL DR                                    2000 PORTOFINO CIR
KINGSTON, MI 48741-9768                            LONE TREE, CO 80124-9711                            APT 107
                                                                                                       PALM BCH GDNS, FL 33418-1233


MORGAN B BRAINARD 3RD CUST PATRICIA W BRAINARD     MORGAN STANLEY TRUST CO CUST JAMES BERNARD PINSKI IRA
                                                                                                       MORRIS
                                                                                                         A/C GLESBY
UNDER THE CONNECTICUT U-G-M-A                      ONE PIERREPONT PLAZA 10TH FL                        PO BOX 270415
33 BEAVER POND RD                                  BROOKLYN, NY 11201-2776                             HOUSTON, TX 77277-0415
LINCOLN, MA 01773-3308



MORRIS GORDON BAGNE JR & DOLORES SANDERS BAGNE TR MORRIS J FINKELSTEIN                                 MORRIS KLEIN
BAGNE TR ESTB 2/7/79 MORRIS GORDONBAGNE           40 AUTUMN DR                                         4561 CHERRY HILL DRIVE
801 SO ACACIA                                     APT 181                                              ORCHARD LAKE, MI 48323-1616
FULLERTON, CA 92831-5305                          SLINGERLANDS, NY 12159-9364



MORRIS KLEIN & MARILYN KLEIN JT TEN                MORRIS L SCHWARTZ & LYNNE R SANDMAN TR              MORRIS L WALTERS & MARTHA L WALTER TR
4561 CHERRY HILL                                   MIRIAM SCHWARTZ TRUST UA 08/22/89                   WALTERS 2001 REVOCABLE LIVING TRUSTUA 11/13/01
ORCHARD LAKE, MI 48323-1616                        1611 CHICAGO AVE                                    9901 BUNDELLA DRIVE
                                                   EVANSTON, IL 60201-6019                             LAS VEGAS, NV 89134-7575



MORRIS MITCHELL OR BONNIE H MITCHELL TR            MORRIS MONOWITZ CUST SUSAN BENDER                   MORRIS PRICE
MITCHELL JOINT LIVING TRUST UA 01/07/97            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          PO BOX 961141
4783 NARCISSUS DR                                  189 8TH AVE APT 1R                                  RIVERDALE, GA 30296-6901
MEMPHIS, TN 38135-1492                             BROOKLYN, NY 11215
                   09-50026-mg         Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                       Part 8 of 8 Pg 287 of 440
MORTON C PEARSON & JEAN H PEARSON TR            MORTON G MURDOCK & MRS RACINE E MURDOCK TR          MORTON GOLDSTEIN
THE PEARSON FAMILY TRUST UA 10/01/98            ROBERT ELLIS MURDOCK A MINOR UA 2/24/65             156 TRUMAN TERRACE
24504 RIDGECROFT AVE                            1701 WINLARTON DR                                   PARAMUS, NJ 07652-1612
EASTPOINTE, MI 48021-3461                       LAS VEGAS, NV 89134



MORTON I BERNSTEIN CUST RICHARD L BERNSTEIN     MOST REVEREND MINISTER GENERAL THIRD ORDER REGULARMOSTAFA
                                                                                                   OF SAINT GHOREISHI
                                                                                                            FRANCIS & NASTARAN SHENAVAR JT TEN
U/THE CALIF UNIFORM GIFTS TO MINORS ACT         PROVINCIAL RESIDENCE                              5600 153RD AVE SEE
3407 GRAND VIEW BLVD                            ATTN REV EDWARD CARROLL TOR                       BELLEVUE, WA 98006-5341
LOS ANGELES, CA 90066-1901                      PO BOX 188
                                                LORETTA, PA 15940-0188


MOTOHITO MITA                                   MR COLIN ARTHUR DUARTE & MISS JOY DUARTE JT TEN     MRS ADALAIDE TOMBER CUST CONSTANCE TOMBER
1 24 203 SHINTOMI CHO 3 CHOME                   18/B SHIV SADAN                                     UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
SHIBATA                                         LADY JAMSHEDJEE CROSS ROAD                          508 WEBSTER FOREST DRIVE
957 0017 NIIGATA                                NO 2                                                WEBSTER GROVES, MO 63119-3940
JAPAN                                           MAHIM MUMBAI-400 016 INDIA


MRS ADELE MEYER CUST WENDY ANN MEYER            MRS ADELINE STEINMAN CUST SHERRY LEE STEINMAN U/THE MICHU-G-M-A
                                                                                                    MRS ADLEY F MC LEOD OWNER OF 1/2 & USUFRUCTUARY OF 1
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT      7808 PALENCIA WAY                                   MC LEOD CARL B MC LEOD III & OLEN RILLINS MC LEOD NKD
143 OAK CIRCLE                                  DELRAY BEACH, FL 33446-4405                         OWNRS
SUNSET, TX 76270-6517                                                                               1802 GEORGIA STREET
                                                                                                    JEANERETTE, LA 70544-3413


MRS AGNES A LINDGREN CUST PAUL LINDGREN         MRS AGNES C SPERA CUST JOHN PETER SPERA             MRS AIMEE STRIER CUST ERIC BRIAN STRIER
U/THE NEBRASKA UNIFORM GIFTS TO MINORS ACT      U/THE MD UNIFORM GIFTS TO MINORS ACT                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
1020 PARK AVE                                   5913 KINGSWOOD RD                                   9 GARLAND TRAIL
POLK, NE 68654-4001                             BETHESDA, MD 20814-1821                             MONROE, NY 10950-6948



MRS ALICE G HAWKES CUST PATRICIA MARIE HAWKES   MRS ALICE LEE CHUN CUST KAREN LOUISE CHUN           MRS ALICE LEE CHUN CUST KENDALL JOHN CHUN
U/THE N Y UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT
101 ROYAL VIEW DR                               138-27 HOOVER AVE                                   138-27 HOOVER AVE
ROCHESTER, NY 14625-1143                        JAMAICA, NY 11435-1131                              JAMAICA, NY 11435-1131



MRS ALICE LEE CHUN CUST KEVIN DOUGLAS CHUN      MRS ALICE M CONE CUST CAROLYN GRAVES CONE           MRS ALICE M CONE CUST LAURA LOUISE CONE
U/THE N Y UNIFORM GIFTS TO MINORS ACT           U/THE FLORIDA GIFTS TO MINORS ACT                   U/THE FLORIDA GIFTS TO MINORS ACT
138-27 HOOVER AVE                               115 SHOREHAM DR                                     115 SHOREHAM DR
JAMAICA, NY 11435-1131                          SPARTANBURG, SC 29316-4879                          SPARTANBURG, SC 29316-4879



MRS ALICE M CONE CUST WILLIAM LAWRENCE CONE     MRS ALICE MUNTHER CUST WILLIM E MUNTHER             MRS ALMA HAUENSTEIN
U/THE FLORIDA GIFTS TO MINORS ACT               U/THE N J UNIFORM GIFTS TO MINORS ACT               7766 BROSEND RD
115 SHOREHAM DR                                 PO BOX 450                                          APT B
SPARTANBURG, SC 29316-4879                      BERNARDSVILLE, NJ 07924-0450                        NEWBURGH, IN 47630-2885



MRS ALTA WEINER & MRS ROBERTA HERZ JT TEN       MRS ANGELA S BOLDT                                  MRS ANGIE DICKINSON BACHARACH CUST LEA NIKKI BACHAR
321 KIMI COURT                                  ATTN STEINFELD & BOLDT                              U/THE CAL U-G-M-A
CASSELBERRY, FL 32707                           SUITE 412                                           10100 SANTA MONICA BLVD #1300
                                                310 WEST LIBERTY STREET                             LOS ANGELES, CA 90067-4100
                                                LOUISVILLE, KY 40202-3017


MRS ANITA BRENNER CUST IRA HOWARD BRENNER       MRS ANITA GOEHRS                                    MRS ANITA LIEBERMAN CUST SHARON HOPE LIEBERMAN
U/THE ILL UNIFORM GIFTS TO MINORS ACT           PO BOX 800458                                       U/THE N J UNIFORM GIFTS TO MINORS ACT
8202 N CHARLES DR                               HOUSTON, TX 77280-0458                              18 PORTEBELLO RD
SCOTTSDALE, AZ 85253-2405                                                                           JACKSON, NJ 08527-3934
                    09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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MRS ANITA LIEBERMAN CUST STACEY FAITH LIEBERMAN    MRS ANITA WHITE CUST ARON WHITE                   MRS ANN A VAN PELT CUST STOKES ADAMS VAN PELT
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE N C UNIFORM GIFTS TO MINORS ACT
18 PORTEBELLO RD                                   75-43 181ST ST                                    10 GILDER POINT COURT
JACKSON, NJ 08527-3934                             FLUSHING, NY 11366-1609                           SIMPSONVILLE, SC 29681-5249



MRS ANN AUSTIN STEVENS CUST CAROL ANN STEVENS      MRS ANN C KENWORTHY CUST ARTHUR JOHN KENWORTHY    MRS ANN ELIZABETH ROONEY CUST ELIZABETH ANN ROONEY
U/THE VA UNIFORM GIFTS TO MINORS ACT               U/THE IOWA UNIFORM GIFTS TO MINORS ACT            U/THE N Y UNIFORM GIFTS TO MINORS ACT
6200 WILLSON BLVD #414                             303 45TH ST                                       225 HAMDEN DR
FALLS CHURCH, VA 22044-3205                        DES MOINES, IA 50312-2501                         CLEARWATER BEACH, FL 33767-2497



MRS ANN H SCHICK CUST SAMUEL R SCHICK              MRS ANN LEKOS CUST SOFIA LEKOS                    MRS ANN S KINSMAN CUST BARBARA ANN KINSMAN
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT    U/THE PA UNIFORM GIFTS TO MINORS ACT
38200 S BIRD RD                                    PO BOX 8082                                       518 MAIN ST
TRACY, CA 95376-9699                               CRANSTON, RI 02920-0082                           HONESDALE, PA 18431-1841



MRS ANN WEINSTEIN                                  MRS ANNA M BACKUES CUST STANLEY A BACKUES         MRS ANNA M BAYNES CUST TIMOTHY D BAYNES
ATTN WEINSTEIN ADM                                 U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT        U/THE MICH UNIFORM GIFTS TO MINORS ACT
SUITE 303                                          1022 ORANGE LANE                                  2819 DEEDS RD
4920 MAIN ST                                       LAGUNA VISTA, TX 78578                            HOUSTON, TX 77084-4443
BRIDGEPORT, CT 06606-1300


MRS ANNA MAE CARBONE CUST ROSARIO P CARBONE        MRS ANNAMAE C BRIDGMAN CUST PAUL WALTER OCONNOR   MRS ANNAMAE C BRIDGMAN CUST THOMAS EARL OCONNOR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE ILL UNIFORM GIFTS TO MINORS ACT             U/THE ILL UNIFORM GIFTS TO MINORS ACT
5360 PARK SIDE TRAIL                               2612 PAYNE                                        2612 PAYNE ST
SOLON, OH 44139-1176                               EVANSTON, IL 60201-2133                           EVANSTON, IL 60201-2133



MRS ANNE APOSTOL CUST HELEN MARGARET APOSTOL       MRS ANNE B EAGAN CUST SUZANNE M EAGAN             MRS ANNE GOLDSTEIN
U/THE VA UNIFORM GIFTS TO MINORS ACT               U/THE OHIO UNIFORM GIFTS TO MINORS ACT            155 BELLE FOREST CIRCLE
58 LEXINGTON DR                                    1 BRATENAHL PLACE                                 NASHVILLE, TN 37221-2103
DUNEDIN, FL 34698-8213                             BRATENAHL, OH 44108-1181



MRS ANNE J SAUNDERS CUST ROBERT HARRISON SAUNDERS MRS
                                                  JR ANNE M GUSTAFSON CUST KARIN L GUSTAFSON         MRS ANNE MATHER JENKINS CUST RUSSELL M JENKINS
U/THE VA UNIFORM GIFTS TO MINORS ACT              U/THE MASS UNIFORM GIFTS TO MINORS ACT             U/THE MASS UNIFORM GIFTS TO MINORS ACT
1501 WILD DUCK CIR/LOT 57                         3 CEDAR LANE                                       PO BOX 655
CHESAPEAKE, VA 23321-1244                         MEDFIELD, MA 02052-1306                            COTUIT, MA 02635-0655



MRS ANNE S LEAVITT CUST LLOYD R LEAVITT 3RD        MRS ANNE T BIRCHALL CUST NAN T BIRCHALL           MRS ANNE T BIRCHALL CUST NAN TINSLEY BIRCHALL
U/THE VA UNIFORM GIFTS TO MINORS ACT               A MINOR U/THE LA GIFTS TO MINORS ACT              U/THE S C UNIFORM GIFTS TO MINORS ACT
2025 SANTA RENA DR                                 110 BARRETT PLACE                                 110 BARRETT PLACE
RANCHO PALO VERDE, CA 90275-1411                   DURHAM, NC 27713-9734                             DURHAM, NC 27713-9734



MRS ANNETTE FEINBERG                               MRS ANNETTE T BALIAN CUST MICHAEL J BALIAN        MRS ANONIA POLLINI
6708 FALLS CREEK ROAD                              U/THE MICH UNIFORM GIFTS TO MINORS ACT            15506 101ST ST
LOUISVILLE, KY 40241-6208                          PO BOX 81169                                      HOWARD BEACH, NY 11414-2818
                                                   ROCHESTER, MI 48308-1169



MRS ANTOINETTE A CUCCIARRE CUST PAULINE M CUCCIARREMRS ANTOINETTE BANYAI CUST KENNETH J JANOWSKI     MRS ANTONETTE M JONES CUST ROBERT J JONES JR
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE IND UNIFORM GIFTS TO MINORS ACT             U/THE N J UNIFORM GIFTS TO MINORS ACT
499 N BROADWAY APT 5C                              16408 E JACKLIN DR                                PO BOX 175
WHITE PLAINS, NY 10603-3242                        FOUNTAIN HILLS, AZ 85268-5655                     TRANQUILITY, NJ 07879-0175
                  09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
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MRS ARDELL B DAVIS CUST BRUCE BURNETT DAVIS        MRS ARDELL B DAVIS CUST FRANK EDWARD DAVIS     MRS ARLENE M MOLZAHN CUST DAVID J MOLZAHN
U/THE MINN UNIFORM GIFTS TO MINORS ACT             U/THE MINN UNIFORM GIFTS TO MINORS ACT         U/THE WISC UNIFORM GIFTS TO MINORS ACT
3629 BLAISDELL AVE S                               52 GROVELAND TERRACE                           1766 CARRIAGE CT
MINNEAPOLIS, MN 55409-1212                         405                                            GREEN BAY, WI 54304-2812
                                                   MINNEAPOLIS, MN 55403


MRS AUDREY M PERRY CUST YVONNE PERRY               MRS AUDREY MAE EMANUEL                         MRS AVALON T PETERS CUST CAROL MARIE PETERS
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         & MRS BETTY RUTH LUCAS & MRS JANICE MCCALL     U/THE MISSOURI UNIFORM GIFTS TO MINORS LAW
1795 E 53RD ST                                     & MRS JEAN ANN PHELAN TEN COM                  5712 NOTTINGHAM
BROOKLYN, NY 11234-4618                            108 CELESTE AVE                                ST LOUIS, MO 63109-2824
                                                   RIVER RIDGE, LA 70123-1437


MRS AVALON T PETERS CUST LAURA ANN PETERS          MRS BARBARA A BACON CUST BETSEY ANN BACON      MRS BARBARA A BACON CUST MOLLY ANN BACON
U/THE MISSOURI UNIFORM GIFTS TO MINORS LAW         U/THE MICH UNIFORM GIFTS TO MINORS ACT         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
5712 NOTTINGHAM                                    21353 SNOOK CIR                                20500 COT RD #144
ST LOUIS, MO 63109-2824                            LANDOLAKES, FL 34639-4904                      LUTZ, FL 33558-8374



MRS BARBARA ANN RUDY CUST KELLY ANN RUDY           MRS BARBARA BARRY CUST BARBARA L BARRY         MRS BARBARA BARRY CUST JOHN P BARRY
U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE CONN UNIFORM GIFTS TO MINORS ACT         U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT
9808 OAKWOOD DR                                    33 SKYLINE DRIVE                               33 SKYLINE DRIVE
TWINSBURG, OH 44087-1225                           WEST HAVEN, CT 06516-7141                      WEST HAVEN, CT 06516-7141



MRS BARBARA DRIER CUST AMY THERESA DRIER           MRS BARBARA E GOLDSTEIN                        MRS BARBARA G PAULL CUST STEPHEN A PAULL
U/THE MASS UNIFORM GIFTS TO MINORS ACT             206 SUNRISE AVE                                U/THE MASS UNIFORM GIFTS TO MINORS ACT
DOLLIVERS NECK                                     APT 3                                          95 TURNPIKE ST
GLOUCESTER, MA 01930                               LANTANA, FL 33462-1898                         WEST BRIDGEWATER, MA 02379-1004



MRS BARBARA H COHEN CUST DARIEN D COHEN            MRS BARBARA H LEITE CUST MARK R LEITE          MRS BARBARA H MELICK CUST JOHN D MELICK
U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT     U/THE N J UNIFORM GIFTS TO MINORS ACT
3416 WHIRLAWAY DR                                  4247 SAILVIEW DRIVE                            802 HOUSTON DR
NORTHBROOK, IL 60062-6363                          DENVER, NC 28037-7017                          RUTHER GLEN, VA 22546-1336



MRS BARBARA LEE HELMAN CUST ELIZABETH ANN HELMAN   MRS BARBARA LEE HELMAN CUST ROBIN LEE HELMAN   MRS BARBARA LEVINE CUST DEBRA GAIL LEVINE
U/THE MO UNIFORM GIFTS TO MINORS ACT               U/THE MO UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
296 RIVERVIEW RD                                   296 RIVERVIEW RD                               25 N MAIN ST
IRVINGTON, NY 10533-1322                           IRVINGTON, NY 10533-1322                       MARLBORO, NJ 07746-1439



MRS BARBARA LEVINE CUST STEVEN LEVINE              MRS BARBARA M WOODWARD CUST KIM WOODWARD       MRS BARBARA SCHROEDER CUST DIANNE MARIE SCHROEDER
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT   U/THE N Y UNIFORM GIFTS TO MINORS ACT
25 N MAIN ST                                       3413 CORVALLIS ST                              1010 STILLWATER DR
MARLBORO, NJ 07746-1439                            CARLSBAD, CA 92008-2187                        JUPITER, FL 33458-6821



MRS BARBARA SCHWALB CUST STEVEN MATHEW SCHWALB     MRS BEATRICE MARCUS CUST ELLIOT MARCUS         MRS BEATRICE R JOHNSON CUST GUS RAY JOHNSON
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT     U/THE WEST VIRGINIA GIFTS TO MINORS ACT
18 DELAWARE AVE                                    18717 SEVERN RD                                300 GAERKY CK RD
LIBERTY, NY 12754-1505                             GAITHERSBURG, MD 20879-1760                    ASHLAND, OR 97520-9616



MRS BELLE LAITMAN CUST DAVID A LAITMAN             MRS BERNICE FIERMAN CUST ROBERT FIERMAN        MRS BERNICE HERMAN CUST RICHARD HERMAN
U/THE N J UNIFORM GIFTS TO MINORS ACT              U/THE PA UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
9 ABIS PLACE                                       14 MANSFEILD AVE                               7 S CRANFORD RD
WEST LONG BRANCH, NJ 07764-1104                    SUOTH NYACK, NY 10960-4607                     BARDONIA, NY 10954
                  09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                         Part 8 of 8 Pg 290 of 440
MRS BERNICE S LEVINSON CUST ALAN K LEVINSON       MRS BERNICE S LEVINSON CUST JEFFREY W LEVINSON    MRS BERNICE S LEVINSON CUST RICHARD C LEVINSON
U/THE N J UNIFORM GIFTS TO MINORS ACT             U/THE N J UNIFORM GIFTS TO MINORS ACT             U/THE N J UNIFORM GIFTS TO MINORS ACT
1078 TRAILRIDGE LN                                71 NORTHWOODS LN                                  4 STONEY POND WAY
DUNWOODY, GA 30338-3924                           BOYNTON BEACH, FL 33436-7405                      MONTVILLE, NJ 07045-8608



MRS BERNICE STRUYK MOUW                           MRS BERNICE WEISS                                 MRS BERTHA OLINSKI CUST EDWARD JOHN OLINSKI
4866 300TH ST                                     100-1167 DR                                       U/THE N J UNIFORM GIFTS TO MINORS ACT
SHELDON, IA 51201-8101                            FOREST HILLS, NY 11375                            556 SCOTCH RD WEST
                                                                                                    PENNINGTON, NJ 08534-4109



MRS BESSIE GLAZIER CUST LOUIS GLAZIER             MRS BETTY C HUNT CUST BRUCE C HUNT                MRS BETTY D BREWER CUST PAUL D BREWER
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
6153 DAKOTA CIR                                   8123 PINEFIELD DR                                 PO BOX 527
BLOOMFIELD HILLS, MI 48301-1565                   ANTELOPE, CA 95843-4512                           MONROE, OH 45050-0527



MRS BETTY G BRYAN CUST STEVEN A BRYAN             MRS BETTY H KONG CUST FRANK E KONG                MRS BETTY KUSHNER CUST JON KUSHNER
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        UNDER THE FLORIDA GIFTS TO MINORS ACT
1222 N KINGS RD APT 6                             130 UNIONVALE ROAD                                11032 PINE LODGE TRL
LOS ANGELES, CA 90069-2864                        CHEEKTOWAGA, NY 14225-2221                        DAVIE, FL 33328-7318



MRS BETTY MC DUFFIE MADDOX CUST DAVID WALLACE MADDOX
                                                  MRSJRBETTY PASSBERGER CUST HERBERT PASSBERGER     MRS BETTY RAE PFAHL CUST BEVERLY A PFAHL
A MINOR U/THE LAWS OF GEORGIA                     U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT
106 SCARBOROUGH CT                                20 HITCHINGPOST LN                                137 N HIGHLAND AVE
MARIETTA, GA 30067-4331                           GLEN COVE, NY 11542-1646                          AKRON, OH 44303-1503



MRS BETTY RAE PFAHL CUST DAVID J PFAHL            MRS BETTY S GRANT CUST PAMELA DELON GRANT         MRS BETTY STEIN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE N C UNIFORM GIFTS TO MINORS ACT             104 SUES CIRCLE CT
1567 BREIDING ROAD                                3505 ROCKINGHAM RD                                ENGLEWOOD, OH 45322-8740
AKRON, OH 44310-2651                              GREENSBORO, NC 27407-7249



MRS BETTY V CROCKIN CUST MISS SUSAN L CROCKIN     MRS BEVERLEY FRIEDMAN CUST ANDREW HEYWARD FRIEDMAN
                                                                                                   MRS BEVERLY CAPLAN CUST MARC H CAPLAN
U/THE VA UNIFORM GIFTS TO MINORS ACT              U/THE N Y UNIFORM GIFTS TO MINORS ACT            U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
1 GREEN LN                                        2591 NE 41ST STREET                              6300 RED CEDAR PLACE
WESTON, MA 02493-2307                             FT LAUDERDALE, FL 33308-5759                     UNIT 204
                                                                                                   BALTIMORE, MD 21209


MRS BEVERLY CRAWFORD CUST DAVID R CRAWFORD        MRS BEVERLY HURWITZ CUST JAMES B HURWITZ          MRS BEVERLY RINEY CAMBRON CUST MISS KELLY ANN CAMB
U/THE WIS UNIFORM GIFTS TO MINORS ACT             UNDER THE PENNSYLVANIA U-G-M-A                    UNDER THE FLORIDA GIFTS TO MINORS ACT
642 S CLARK ST                                    1422 REDWOOD LANE                                 501 N SWIM CLUB DR #2A
CHICAGO, IL 60605-1702                            WYNCOTE, PA 19095-1906                            VERO BEACH, FL 32963-5804



MRS BLANCHE F HUNT CUST MARGARET COLLEEN SHANNON MRS BODIL OLSEN CUST FRITS OLSEN                   MRS BONNIE E HOLLIMAN CUST CHARLES D HOLLIMAN
U/THE ARIZ UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE ALA UNIFORM GIFTS TO MINORS ACT
6838 TOPKE                                       179 WILLOWBROOK LANE                               3401 O'HARA RD
TUCSON, AZ 85715-3353                            STAMFORD, CT 06902-7019                            HUNTSVILLE, AL 35801-3449



MRS BONNIE E HOLLIMAN CUST WAYNE T HOLLIMAN       MRS BONNIE LINDA SHERMAN CUST ROBERT MARK SHERMAN MRS CAREN E NEDERLANDER CUST ROBERT NEDERLANDER J
U/THE ALA UNIFORM GIFTS TO MINORS ACT             U/THE D C UNIFORM GIFTS TO MINORS ACT             U/THE MICH UNIFORM GIFTS TO MINORS ACT
3401 O'HARA ROAD                                  8113 APPALACHIAN TERRACE                          870 5TH AVE APT 15E
HUNTSVILLE, AL 35801-3449                         POTOMAC, MD 20854-4050                            NEW YORK, NY 10021-4953
                  09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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MRS CARLYNE ANN RONAI CUST JAMES G RONAI             MRS CARMEN F GRASSO CUST MICHAEL A GRASSO            MRS CAROL A SOMERS CUST LESLIE KAREN SOMERS
U/THE CONN UNIFORM GIFTS TO MINORS ACT               U/THE NEB UNIFORM GIFTS TO MINORS ACT                U/THE MASS UNIFORM GIFTS TO MINORS ACT
630 RIDGE RD                                         104 OAKLAND HILLS DR                                 114 MULPUS RD
ORANGE, CT 06477-2408                                NAPLES, FL 34113-7437                                LUNENBURG, MA 01462-1804



MRS CAROL DUANE CUST MISS JENNIFER DUANE             MRS CAROL GOODMAN CUST MISS BARBARA LYNN GOODMAN MRS CAROL H HAGER
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE ILL UNIFORM GIFTS TO MINORS ACT            ATTN CAROL H GODWIN
591 TARLETON AVE                                     1191 TEAKWOOD CIRCLE                             PO BOX 340232
EAST LANSING, MI 48823-1457                          HASLETT, MI 48840-9734                           TAMPA, FL 33694-0232



MRS CAROL JEAN NOVELLI CUST MICHAEL THOMAS NOVELLI   MRS CAROL JEAN NOVELLI CUST RICHARD JOSEPH NOVELLI   MRS CAROL JEAN NOVELLI CUST RONALD ANTHONY NOVELLI
U/THE CALIF UNIFORM GIFTS TO MINORS ACT              U/THE CALIF UNIFORM GIFTS TO MINORS ACT              U/THE CALIF UNIFORM GIFTS TO MINORS ACT
2498 TRENTON DR                                      2148 WESTERN OAK DR                                  2357 LA MADRE CT
SAN BRUNO, CA 94066-2843                             REDDING, CA 96002-5127                               REDDING, CA 96002-4159



MRS CAROL K BRAHM CUST ANDREA E BRAHM                MRS CAROL LOIGMAN CUST MARK DAVID LOIGMAN            MRS CAROL MC ABEE CUST JACQUELINE MC ABEE
U/THE CAL UNIFORM GIFTS TO MINORS ACT                U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
5229 DONCASTER WAY                                   53 SOMERSET LN                                       2015 ARNETT DR
EDINA, MN 55436-2060                                 PALM BCH GDNS, FL 33418-4500                         CAMDEN, SC 29020-3201



MRS CAROL N BERNSTEIN                                MRS CAROL NISSIM CUST MICHELE NISSIM                 MRS CAROL OLDS CUST JEFFREY OLDS
18057 KAREN DR                                       U/THE CAL UNIFORM GIFTS TO MINORS ACT                A MINOR UNDER THE FLORIDA GIFTS TO MINORS ACT
ENCINO, CA 91316-4230                                656 SCORPIO LN                                       6610 PERIWINKLE LANE
                                                     FOSTER CITY, CA 94404-2762                           EAST LANSING, MI 48823



MRS CAROL OLSON CUST CYNTHIA CAROL OLSON             MRS CAROL S GOLDSTEIN CUST ETHAN M GOLDSTEIN UGMA MIMRS CAROL TARANTINO NOVELLI CUST JEANINE LUCILLE NOV
U/THE IDAHO UNIFORM GIFTS TO MINORS ACT              30180 NORTHWICK CT                                 U/THE CALIFORNIA U-G-M-A
8620 SW 168TH AVE                                    FARMINGTN HLS, MI 48331                            2350 CASTLEWOOD DR
ALOHA, OR 97007-6459                                                                                    REDDING, CA 96002-5120



MRS CAROLE CRAIGMILE CUST CURTIS CRAIGMILE UGMA IL   MRS CAROLE MILLER CUST MISS VICTORIA MILLER          MRS CAROLINE P DANOWITZ CUST JANE P DANOWITZ
11617 194TH ST                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE N J UNIFORM GIFTS TO MINORS ACT
MOKENA, IL 60448-8462                                8100 GOULD AVE                                       2760 BON HAVEN LANE
                                                     LOS ANGELES, CA 90046                                ANNAPOLIS, MD 21401-7134



MRS CAROLYN A SELINGER CUST CARL TANNER SELINGER     MRS CAROLYN FRIEDLANDER CUST JONATHAN A FRIEDLANDER
                                                                                                       MRS CAROLYN S BAER CUST ROBERT HOUGHTON BAER
U/THE CONN UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE ILL UNIFORM GIFTS TO MINORS ACT
1917 NEW HAVEN RD                                    181 CLOVER HILLS DR                               6 GREENBRIAR CT
GRAPEVINE, TX 76051-7140                             ROCHESTER, NY 14618-4707                          HALF MOON BAY, CA 94019-2263



MRS CAROLYN SMOTRICH CUST CARRIE LYNN SMOTRICH       MRS CAROLYN SMOTRICH CUST MICHAEL DAVID SMOTRICH     MRS CAROLYN T PFEIL CUST CHRISTOPHER L PFEIL
U/THE MASS UNIFORM GIFTS TO MINORS ACT               U/THE MASS UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT
62 SUNSET ROCK RD                                    6 SOMERSET TER                                       6 RUSTYILLE RD
ANDOVER, MA 01810-4845                               WINTHROP, MA 02152-2844                              LOUDONVILLE, NY 12211-2104



MRS CATHARINE D GARBER                               MRS CATHARINE D GARBER                               MRS CATHERINE GUIDONE CUST PAUL J GUIDONE
& CATHERINE R WEBSTER & MARGARET LYNE BOURJAILY      & MISS CATHARINE D RAUGUST & MISS MARGARET L         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
JT TEN                                               RAUGUST JT TEN                                       4791 LA JOLLA
2102 FOREST HILL RD                                  2102 FOREST HILL ROAD                                PENSACOLA, FL 32504-7846
ALEXANDRIA, VA 22307-1128                            ALEXANDRIA, VA 22307-1128
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MRS CATHERINE LAURITANO CUST LAURA ANN LAURITANO   MRS CATHERINE MC MAHON CUST MICHAEL MC MAHON          MRS CELESTE LEE
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE N Y UNIFORM GIFTS TO MINORS ACT                 PO BOX 320009
127 DAWSON CIR                                     351 E VAN WAGENEN ST                                  ALEXANDRIA, VA 22320-4009
STATEN ISLAND, NY 10314-3824                       HENDERSON, NV 89015-7309



MRS CERETA LAMPHERE CUST CORD DAVID LAMPHERE       MRS CHARLOTTE DI MARTINIS CUST STEVEN H DI MARTINIS   MRS CHARLOTTE F FISCHER CUST PAMELA ANN FISCHER
U/THE VERMONT UNIFORM GIFTS TO MINORS ACT          U/THE R I UNIFORM GIFTS TO MINORS ACT                 U/THE N J UNIFORM GIFTS TO MINORS ACT
7880 CALLISON RD                                   50 PRISCILLA AVE                                      1931 TYLER RIDGE
PENRYN, CA 95663-9634                              DUXBURY, MA 02332-5237                                SMYRNA, GA 30080-3102



MRS CHARLOTTE FLOYD CUST WILLIAM LEE FLOYD         MRS CHARLOTTE HEIN                                    MRS CHARMAINE ABRAM CUST ROY KENNETH ABRAM
U/THE OKLA UNIFORM GIFTS TO MINORS ACT             C/O LINDA DURDOV                                      U/THE N J UNIFORM GIFTS TO MINORS ACT
2712 NORTHWEST 69TH                                6777 NORTH HIAWATHA                                   120 WALDRON RD
OKLAHOMA CITY, OK 73116-4718                       CHICAGO, IL 60646-1401                                TOMS RIVER, NJ 08753



MRS CHRISTINE A ROBERTSON CUST PAULE K ROBERTSON   MRS CLAIRE AXELROD CUST MICHAEL O AXELROD             MRS CLAIRE BRENNER HANDELSMAN CUST MALCOLM JOHN H
U/THE FLORIDA GIFTS TO MINORS ACT                  U/THE N Y UNIFORM GIFTS TO MINORS ACT                 U/THE PA U-G-M-A
1832 NOTTINGHAM SW                                 50-12 DONNA COURT                                     307 SUMMER DR
WINTER HAVEN, FL 33880                             STATEN ISLAND, NY 10314-7580                          C/O MALCOLM HANDELSMAN
                                                                                                         CORAOPOLIS, PA 15108-3472


MRS CLAIRE L OROURKE CUST EILEEN J OROURKE         MRS CLARA L HENKELMAN CUST JAMES B HENKELMAN          MRS CLARICE A DELONG CUST C PAUL DELONG
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE PA UNIFORM GIFTS TO MINORS ACT                  U/THE WASH UNIFORM GIFTS TO MINORS ACT
4412 SWEETHONEY CIR                                1118 OAKMONT RD                                       23122 35TH AVE SE
APT A                                              CLARKS SUMMIT, PA 18411-2074                          BOTHELL, WA 98021-8914
CHARLOTTE, NC 28227-3236


MRS CLEMENTINE GUARNERA CUST SALVATORE M GUARNERAMRS COLETTE FAE JOHNSON                                 MRS COLLEEN S THIEDE CUST BRAD L THIEDE
U/THE N Y UNIFORM GIFTS TO MINORS ACT            8309 372ND PL SE                                        U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
174 80TH ST                                      SNOQUALMIE, WA 98065-9315                               127 WINFIELD PARK CT
BROOKLYN, NY 11209-3514                                                                                  GREENFIELD, IN 46140-2788



MRS CONCETTA DONOVAN CUST PAUL M DONOVAN           MRS CORA B NUNN                                       MRS DAYRE M DAVIS BOZEK CUST WILLIAM D BOZEK
U/THE MASS UNIFORM GIFTS TO MINORS ACT             PO BOX 294926                                         U/THE VA UNIFORM GIFTS TO MINORS ACT
8 PRESTON BEACH RD                                 KERRVILLE, TX 78029-4926                              3440 SOUTH JEFFERSON ST APT 533
MARBLEHEAD, MA 01945-1725                                                                                FALLS CHURCH, VA 22041-3124



MRS DELIA RANGEL CUST SAMUEL RANGEL                MRS DELLANIRA TULLIO PAZ CUST CESARE TULLIO PAZ       MRS DENISE A OZIAMBA CUST AMANDA LYNETTE OZIAMBA
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE N Y UNIFORM GIFTS TO MINORS ACT                 UNDER THE FLORIDA GIFTS TO MINORS ACT
2691 PINE LOG WAY                                  50-47 213TH ST                                        ATTN DZIAMBA
BUFORD, GA 30519-6417                              BAYSIDE HILLS, NY 11364-1221                          1808 ORANGE HILL DRIVE
                                                                                                         BRANDON, FL 33510-2635


MRS DIANA F LUCCA CUST MARIA C LUCCA               MRS DIANA F STEIN                                     MRS DIANA LUCCA CUST JOSEPH WILLIAM LUCCA JR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         12 BEVERLY PL                                         U/THE N Y UNIFORM GIFTS TO MINORS ACT
PO BOX 2055                                        DAYTON, OH 45419-3401                                 PO 2055
EDGARTOWN, MA 02539-2055                                                                                 EDGARTOWN, MA 02539-2055



MRS DIANA T HOYDIC CUST MICHAEL JOSEPH HOYDIC      MRS DIANE STEINBERG CUST ANDREW E STEINBERG           MRS DIONE FENNING CUST DONALD FRANKLIN FENNING
U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT                  U/THE CAL UNIFORM GIFTS TO MINORS ACT
1745 TERRACE LAKE DR                               31 ELOQUENCE WAY                                      4434 DENSMORE
LAWRENCEVILLE, GA 30043-6909                       SPRING, TX 77382-1569                                 ENCINO, CA 91436-3461
                    09-50026-mg         Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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MRS DOLORES C DOMINISAC CUST EDWARD CARL DOMINISACMRS DOLORES E KAZMIERCZAK CUST CLIFFORD P KAZMIERCZAK
                                                                                                     MRS DOLORES E KAZMIERCZAK CUST DARRYL J KAZMIERCZA
U/THE FLORIDA GIFTS TO MINORS ACT                 U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
720 MEADE COURT                                   9464 AVEMORE CT                                    9464 AVEMORE CT
WILLIAMSTOWN, NJ 08094-1672                       DUBLIN, OH 43017-9490                              DUBLIN, OH 43017-9490



MRS DOLORES J LARSEN                               MRS DONNA ABRAMSON CUST STEVEN ABRAMSON            MRS DORA WULC CUST ALLAN WULC
BOX 470187                                         U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
7059 MILL RD                                       1499 FLAT ROCK RD                                  901 WAVERLY RD
CLEVELAND, OH 44147-0187                           NARBERTH, PA 19072-1248                            BRYN MAWR, PA 19010-1930



MRS DORIS G MOON CUST GARY ALAN MOON               MRS DORIS V LANZO CUST LOLA LANZO                  MRS DORIS Y MC CULLOUGH CUST KENNETH CRAIG MC CULL
U/THE N C UNIFORM GIFTS TO MINORS ACT              U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT       U/THE WEST VIRGINIA U-G-M-A
PO BOX 518                                         12 BRADLEY DRIVE                                   52 CHIPPERFIELD DR
ABERDEEN, NC 28315-0518                            EDISON, NJ 08817-3514                              EFFORT, PA 18330-9472



MRS DOROTHY D STEIN                                MRS DOROTHY E FRINAK CUST SHERMAN A FRINAK         MRS DOROTHY R ISENHOWER
718 COUNTRY CLUB DR                                U/THE WISC UNIFORM GIFTS TO MINORS ACT             103 HILLCREST DR
PITTSBURGH, PA 15228-2604                          339 TRADERS POINT LANE                             REINBECK, IA 50669-1333
                                                   GREEN BAY, WI 54302-5238



MRS EDITH HEUMANN                                  MRS EDITH M SANDERS CUST CHARLES WESLEY SANDERS    MRS EDITH M SANDERS CUST HARLAND WESLEY SANDERS III
#1806                                              U/THE DEL UNIFORM GIFTS TO MINORS ACT              U/THE DEL UNIFORM GIFTS TO MINORS ACT
301 174 ST                                         3 CIRCLE DR                                        7 CIRCLE DRIVE
MIAMI BEACH, FL 33160-3237                         WILMINGTON, DE 19804-2925                          WILMINGTON, DE 19804-2925



MRS EDNA N JOHNSTON CUST JAMES A JOHNSTON          MRS EILEEN C WHELAN CUST EDWARD R WHELAN JR        MRS EILEEN DICTOR CUST WARREN K DICTOR
U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE N J UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
3138 LANDVIEW DRIVE                                305 OLD TOTE RD                                    755 SW ST CROIX COVE
ROCHESTER, MI 48306-1147                           MOUNTAINSIDE, NJ 07092-1835                        PORT ST LUCIE, FL 34986-3431



MRS EILEEN F COBB CUST CHRISTINE S COBB            MRS EILEEN GOLDSTEIN CUST MELISSA B GOLDSTEIN      MRS EILEEN M CORRIGAN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE MD UNIFORM GIFTS TO MINORS ACT               PO BOX 830594
52 BARRETT LANE                                    261 BROADWAY                                       MIAMI, FL 33283-0594
WYCKOFF, NJ 07481-3410                             NEW YORK, NY 10007-2305



MRS EILEEN OFFIT CUST MAURICE L OFFIT              MRS ELAINE C LUCKEY CUST TODD WILLIAM LUCKEY       MRS ELAINE CERBONE CUST LISA MARIE CERBONE
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT         U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT
3407 OLD POST DR                                   176 ROMFORD RD                                     PO BOX 387
BALTIMORE, MD 21208-3120                           WASHINGTON DT, CT 06794-1307                       MOUNT KISCO, NY 10549-0387



MRS ELAINE F VANZANT CUST LORI ELIZABETH VANZANT   MRS ELAINE G PORTER CUST CARRIE M PORTER           MRS ELAINE NELSON CUST GLENN NELSON
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             UNDER THE SOUTH DAKOTA U-G-M-L                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
7269 STATE ROUTE 753 SE                            ATTN CARRIE M TSCHETTER                            4653 WESTFORD CIR
GREENFIELD, OH 45123                               29750 HWY 34                                       TAMPA, FL 33624-4357
                                                   PIERRE, SD 57501-0085


MRS ELAINE R JACHINO CUST PETER ROSS JACHINO       MRS ELAINE R TREISMAN CUST DOUGLAS OWEN TREISMAN   MRS ELANORA A BISSINGER CUST CHARLES C BISSINGER JR
U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT
510 WEST LYON FARM DRIVE                           1552 N HARVARD AVE                                 12046 COOPERWOOD LANE
GREENWICH, CT 06831-4360                           CLOVIS, CA 93611-7608                              CINCINNATI, OH 45242-6321
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MRS ELEANOR B MOTE JACK A MOTE RAYMOND K MOTE          MRS ELEANOR G WARD CUST PHILLIP FLOYD WARD        MRS ELEANOR G WARD CUST PHYLLIS WARD ROSENBAUM
& MISS SHARON M MOTE JT TEN                            U/THE TEXAS UNIFORM GIFTS TO MINORS ACT           U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
61725 RICHFIELD RD                                     2320 JONES ST                                     2320 JONES ST
SOUTH LYON, MI 48178-8972                              ROSENBERG, TX 77471-5337                          ROSENBERG, TX 77471-5337



MRS ELEANOR GRIGONIS CUST FRANK PETER GRIGONIS         MRS ELEANOR H GROSS CUST MARK A GROSS             MRS ELEANOR T FORD CUST HERBERT S FORD 3RD
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 U/THE ARKANSAS UNIFORM GIFTS TO MINORS ACT        U/THE MD UNIFORM GIFTS TO MINORS ACT
6289 CAROLYN DRIVE                                     400 N BOWMAN RD                                   KENNEDYVILLE, MD 21645
MENTOR, OH 44060-3707                                  LITTLE ROCK, AR 72211-2738



MRS ELECTA A WHITE CUST RONALD NELSON WHITE            MRS ELINOR W BROWN CUST MARK BENSON BROWN         MRS ELISBETH F MITRANO CUST TRACY BETH MITRANO
A MINOR UNDER THE LAWS OF GEORGIA                      U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT        U/THE N Y UNIFORM GIFTS TO MINORS ACT
PO BOX 300165                                          110 BROOK HILL DR                                 20 CHASE LANE
ARLINGTON, TX 76007-0165                               HOCKESSIN, DE 19707-9518                          ITHICA, NY 14850-9462



MRS ELIZABETH BELLER CUST EDWARD M BELLER              MRS ELIZABETH BURKE CUST ROBIN LAUREL BURKE       MRS ELIZABETH G ROSS CUST ROBERT CARLSON ROSS
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT        U/THE N J UNIFORM GIFTS TO MINORS ACT
8643 JENNA DR                                          PO BOX 257                                        20 BIRCHWOOD RD
CLEVELAND, OH 44147-2000                               UPPERVILLE, VA 20185-0257                         OLD TAPPAN, NJ 07675-7103



MRS ELIZABETH ROSS CUST DAVID BLAIR ROSS JR            MRS ELIZABETH S GRAVES & KENNETH W SHOULBERG TR   MRS ELIZABETH S RUDELLAT CUST JAMES E RUDELLAT
U/THE N J UNIFORM GIFTS TO MINORS ACT                  UW OF ELIZABETH N ROBINSON                        U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
20 BIRCHWOOD ROAD                                      642 OAKWOOD AVE                                   702 N VIRGINIA
OLD TAPPAN, NJ 07675-7103                              WEBSTER GROVES, MO 63119-2625                     PORT LAVACA, TX 77979-3024



MRS ELIZABETH TILLEY ALLEY CUST SALLY LORRAINE ALLEY   MRS ELLA ROSE HEGYI CUST RICHARD ALLEN HEGYI      MRS ELLEN ANN COONEY CUST SARA ANNE COONEY
U/THE VA UNIFORM GIFTS TO MINORS ACT                   U/THE OHIO UNIFORM GIFTS TO MINORS ACT            UNDER THE WEST VIRGINIA GIFTS TO MINORS ACT
10236 STEUBEN DRIVE                                    20808 HILL GROVE AVE                              103 BUCKHORN RD
GLEN ALLEN, VA 23060-3072                              MAPLE HEIGHTS, OH 44137-2064                      CHARLESTON, WV 25314-2404



MRS ELLEN L WRIGHT CUST ZACHARY ALEXANDER CLEMENTS MRS
                                                   WRIGHT
                                                        ELLICE BROWN RICHARDSON                          MRS ELLIN R COOGAN CUST EDWIN C COOGAN 3RD
U/THE ILLINOIS U-G-M-A                             3165 KLEINERT AVE                                     U/THE PA UNIFORM GIFTS TO MINORS ACT
2871 LOOKOUT PLACE                                 BATON ROUGE, LA 70806-6833                            664 PINE TREE RD
ATLANTA, GA 30305-3215                                                                                   JENKINTOWN, PA 19046-2230



MRS ELMA L HEMINOVER ELIZABETH SUE HEMINOVER           MRS ELOISE C WHITING                              MRS ELOISE WEINSTEIN CUST MISS BARBARA LYNN WEINSTE
& RAYMOND OSCAR HEMINOVER JT TEN                       400 LOCUST ST APT B211                            U/THE MD UNIFORM GIFTS TO MINORS ACT
1929 N 2753RD RD                                       LAKEWOOD, NJ 08701-7701                           516 GREENLEAF CT
OTTAWA, IL 61350-9703                                                                                    POMPTON PLNS, NJ 07444-1537



MRS ELOUISE ERMUTH CUST MISS SUSAN D ERMUTH            MRS ELSA STANKARD CUST CHARLES STANKARD           MRS ELSA STANKARD CUST PETER STANKARD
U/THE MINN UNIFORM GIFTS TO MINORS ACT                 U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT      U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
9228 DUNBAR KNOLL                                      10604 GOVERNORS DR                                10604 GOVENORS DR
BROOKLYN PARK, MN 55443-1751                           CHAPEL HILL, NC 27514-8403                        CHAPEL HILL, NC 27514-8403



MRS EMILIE L HUNE CUST MISS CAROL ANN HUNE             MRS EMILY C DOCKERY CUST JOHN C DOCKERY 3RD       MRS EMMA MC COY CUST CHRISTINE PATRICIA MC COY
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 U/THE N C UNIFORM GIFTS TO MINORS ACT             U/THE MICH UNIFORM GIFTS TO MINORS ACT
7124 OAK DR                                            6300 N OCEAN BLVD                                 P O DRAWER Z
POLAND, OH 44514-3766                                  MYRTLE BEACH, SC 29572-3302                       PHARR, TX 78577-1226
                   09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
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MRS EMMA MC COY CUST JON MC COY JR               MRS ERMA V JOHANSSON CUST THORSTEN BRUCE JOHANSSON
                                                                                                  MRS ESTELLE N BERNSTEIN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT       U/THE R I UNIFORM GIFTS TO MINORS ACT            APT 11-D
119 W HARVEY                                     45 HAROLD STREET                                 185 WEST END AVE
MC ALLEN, TX 78501-9443                          MELROSE, MA 02176-4909                           N Y, NY 10023-5544



MRS ESTELLE S DUBIN CUST IRA DUBIN               MRS ESTHER N GIBSON CUST KATHLEEN GIBSON          MRS ESTHER N GIBSON CUST SARAH ELIZABETH GIBSON
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT       U/THE N C UNIFORM GIFTS TO MINORS ACT             U/THE N C UNIFORM GIFTS TO MINORS ACT
9502 N KEELER                                    4296 SADDLEWOOD FOREST DR                         214 SITTON RD
SKOKIE, IL 60076                                 WINSTON SALEM, NC 27106-3576                      EASLEY, SC 29642-8393



MRS ETHEL BROWN CUST MISS JOANNA MARIE BURKE     MRS ETHEL FROMM CUST MONA FROMM                   MRS ETHEL FROMM CUST SHERYL FROMM
U/THE CAL UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
709 COLLEGE DR                                   15144 ASHLAND ST #290                             15144 ASHLAND ST #290
SALINAS, CA 93901-1215                           DELRAY BEACH, FL 33484-4179                       DELRAY BEACH, FL 33484-4179



MRS ETHEL MEOLA CUST PATRICIA MEOLA              MRS ETTALEAH BLUESTEIN                            MRS EUDOSIA B JUANITAS CUST MISS AILEEN D JUANITAS
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT     494 KING ST                                       U/THE CALIF UNIFORM GIFTS TO MINORS ACT
29 LOWELL AVE                                    CHARLESTON, SC 29403-5527                         1200 N VAN BUREN ST
SUMMIT, NJ 07901-1517                                                                              STOCKTON, CA 95203



MRS EVA VARADY CUST ANDREW MALURA VARADY         MRS EVELYN INDURSKY CUST RUTH J INDURSKY          MRS EVELYN K FERNEY CUST CHARLES KURT FERNEY
U/THE N Y UNIFORM GIFTS TO MINORS ACT            U/THE MASS UNIFORM GIFTS TO MINORS ACT            U/THE MICH UNIFORM GIFTS TO MINORS ACT
265PECK RD                                       165 EVELYN RD                                     4442 MELDRUM RD
WYNANTSKILL, NY 12198-2617                       NEWTON, MA 02168-1034                             CASCO, MI 48064-2507



MRS EVELYN K FERNEY CUST RUBEN SCOTT CREASY      MRS EVELYN K FERNEY CUST SALLY ANN CREASY         MRS EVELYN LYONS CUST DOUGLAS S LYONS
U/THE MICH UNIFORM GIFTS TO MINORS ACT           U/THE MICH UNIFORM GIFTS TO MINORS ACT            U/THE CONN UNIFORM GIFTS TO MINORS ACT
4442 MELDRUM RD                                  4442 MELDRUM RD                                   32 REYNOLDS DRIVE
CASCO, MI 48064-2507                             CASCO, MI 48064-2507                              MERIDEN, CT 06450-2533



MRS EVELYN SALTZMAN CUST MARJORIE SALTZMAN       MRS FAYE D JORDING CUST RANDALL G JORDING         MRS FAYE STERN CUST DAVID J MYERS
U/THE R I UNIFORM GIFTS TO MINORS ACT            U/THE CALIF UNIFORM GIFTS TO MINORS ACT           U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT
55 OAK HILL AVE                                  4832 EAGLEWOOD CT                                 810 LONDON LN
PAWTUCKET, RI 02860-6127                         RENO, NV 89502-7713                               ST LOUIS, MO 63141-6029



MRS FELICIA SHACHTER CUST NEIL SHACHTER          MRS FEY M WOHLLEBAN CUST WILLIAM M WOHLLEBAN JR   MRS FLORENCE JUNG CUST SUSAN L JUNG
U/THE PA UNIFORM GIFTS TO MINORS ACT             U/THE MD UNIFORM GIFTS TO MINORS ACT              U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
PLAZA APT 104 AVENUE APT 104                     C/O WILLARD NALLS JR PO BOX 56                    98 MARTHA DR
1250 GREENWOOD AVE                               SHERWOOD, MD 21665                                LEVITTOWN, PA 19054-2615
JENKINGTOWN, PA 19046-2901


MRS FLORENCE ZINAMAN CUST STEVEN ZINAMAN         MRS FRANCENA M CODREA CUST JEFFREY R CODREA       MRS FRANCES FARWELL LATHROP CUST ANTHONY PHILIP LAT
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       U/THE PA UNIFORM GIFTS TO MINORS ACT              A MINOR UNDER THE MAINE U-G-M-A
243 HAMILTON RD                                  6590 MOUNTAIN RD                                  1127 FENWICK
CHAPPAQUA, NY 10514-3201                         MACUNGIE, PA 18062-9643                           OKLAHOMA CITY, OK 73116-6409



MRS FRANCES HYMAN CUST WILLIAM CLARKE HYMAN      MRS FRANCES JAKOWENKO CUST CAROL LEE JAKOWENKO    MRS FRANCES M REISLER CUST MICHAEL PHILLIP REISLER
U/THE VA UNIFORM GIFTS TO MINORS ACT             U/THE CONN UNIFORM GIFTS TO MINORS ACT            UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
4303 OXFORD CIRCLE                               2360 STANLEY ST                                   703 WAYFIELD DRIVE
RICHMOND, VA 23221-3252                          NEW BRITAIN, CT 06053-1043                        SAINT LOUIS, MO 63132-3606
                  09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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MRS FRANCES MILLER CUST HARVEY S MILLER               MRS FRANCES PECO CUST DAVID GAZZILLIO                MRS FRANCES PECO CUST JOSEPH GAZZILLIO
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT           U/THE DEL UNIFORM GIFTS TO MINORS ACT
9 DOUGLAS LANE                                        712 TAUNTON RD                                       2 CROSS CREEK LANE
RIDGEFIELD, CT 06877-1513                             WILMINGTON, DE 19803-1723                            CHADDS FORD, PA 19317-8944



MRS FRANCES S BORZELLO CUST EMMA J BORZELLO           MRS FRANCES T IRELAND CUST T WILLIAM IRELAND         MRS FRANCES W TENZEL CUST PAULA TENZEL
U/THE ILL UNIFORM GIFTS TO MINORS ACT                 U/THE CALIF UNIFORM GIFTS TO MINORS ACT              U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT
46 NOEL ROAD                                          504 ROXBURY LANE                                     448 CROSSBEAM CIRCLE EAST
LONDON N1                                             LOS GATOS, CA 95032-1136                             CASSELBERRY, FL 32707-5945
GREAT BRITAIN


MRS FRANCINE PASSARELLI CUST THOMAS PASSARELLI        MRS GAIL CULLEN CUST MICHAEL K CULLEN                MRS GENE ALLEN ROSE CUST ATTIE VERNON ROSE
UNDER THE NEW YORK U-G-M-A                            U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT          U/THE TENN UNIFORM GIFTS TO MINORS ACT
10418 NEW ASCOT DR                                    2514 KENDALL AVE                                     2310 HEMINGWAY DRIVE
GREAT FALLS, VA 22066-3421                            MADISON, WI 53705-3847                               NASHVILLE, TN 37215-4114



MRS GENELL M BURNETTE CUST DAVID ALBERT BURNETTE      MRS GENEVIEVE SCHURIG                                MRS GENOVEFFA BORG CUST FRANK BORG
U/THE N C UNIFORM GIFTS TO MINORS ACT                 11030 221ST ST                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
PO BOX 1083                                           # 209                                                97 DEERFIELD RD
CANTON, NC 28716-1083                                 QUEENS VLG, NY 11429-2531                            SAYREVILLE, NJ 08872-1616



MRS GEORGIA BIRCH CUST CLAUDIA BIRCH                  MRS GEORGIA J DOVOLIS CUST JOHN J DOVOLIS            MRS GEORGIA JINKINSON BONESTEEL CUST JONATHAN WATS
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT          U/THE MINN UNIFORM GIFTS TO MINORS ACT               U/THE MINNESOTA U-G-M-A
4746 GOULD AVENUE                                     7900 XERXES AVE S STE 1200                           PO BOX 96
LA CANADA, CA 91011-2628                              BLOOMINGTON, MN 55431-1139                           FLAT ROCK, NC 28731-0096



MRS GERALDINE PERETZ CUST LAUREN JOY PERETZ           MRS GERALDYN KELLY CUST KEVIN KELLY                  MRS GERTRUDE CASAGRANDE CUST STEVEN CASAGRANDE
U/THE MASS UNIFORM GIFTS TO MINORS ACT                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE MASS UNIFORM GIFTS TO MINORS ACT
9468 E WHITEWING DR                                   9 CHALMERS PL                                        11 CLARK AVE P O BOX763
SCOTTSDALE, AZ 85262                                  STONY BROOK, NY 11790-1706                           EASTHAMPTON, MA 01027-1407



MRS GERTRUDE GRADSTEIN                                MRS GERTRUDE NEAL WILSTED CUST JOSEPH K WILSTED      MRS GERTRUDE SCHMITTEL CUST BARBARA SCHMITTEL
1413 E 5TH ST #2                                      U/THE IND UNIFORM GIFTS TO MINORS ACT                U/THE MICH UNIFORM GIFTS TO MINORS ACT
BROOKLYN, NY 11230-5604                               519 WELLINGTON CT                                    PO BOX 11803
                                                      WEST FARGO, ND 58078-4237                            CHICAGO, IL 60611-0803



MRS GILA MOLDOFF REINSTEIN & PAUL REINSTEIN TEN ENT   MRS GINA WEIS CUST ANTHONY VINCENT WEIS              MRS GINA WEIS CUST MARIANNE WEIS
282 MAPLE STREET                                      U/THE MD UNIFORM GIFTS TO MINORS ACT                 U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
WEST HEMPSTEAD, NY 11552-3206                         13209 FALLS RD                                       8606 CHELSEA BRIDGE WAY
                                                      COCKEYSVILLE, MD 21030-1411                          LUTHERVILLE, MD 21093-3948



MRS GISELE KLEIN CUST LILIANE PATRICIA ZOE KLEIN UGMA NY
                                                       MRS GISELE KLEIN CUST VIVIAN SOPHIE CHLOE KLEIN UGMA NY
                                                                                                             MRS GLADYS R MC DONALD
96 WILDWOOD RD                                         96 WILDWOOD ROAD                                      PO BOX 273792
KINGS POINT, NY 11024-1223                             KINGS POINT, NY 11024-1223                            TAMPA, FL 33688-3792




MRS GLORIA ADRIAN CUST DIANNE ADRIAN                  MRS GLORIA ADRIAN CUST DONNA ADRIAN                  MRS GLORIA ANDREWS CUST JOHN C ANDREWS
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE FLORIDA GIFTS TO MINORS ACT
192 SCARSDALE MANOR                                   192 SCARSDALE MANOR TP                               7251 GLENDYNE DR S
SCARSDALE, NY 10583-5117                              SCARSDALE, NY 10583-5117                             JACKSONVILLE, FL 32216-7107
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MRS GLORIA GROSSMAN CUST LAURIE BETH GROSSMAN       MRS GLORIA K PRISAMENT CUST MARC K PRISAMENT     MRS GLORIA N RESNICK CUST MICHAEL L RESNICK
U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT            U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
3209 S OCEAN DR                                     450 E 63RD ST APT 6C                             1942 OAKBLUFF DRIVE
HALLANDALE, FL 33009-6583                           NEW YORK, NY 10021                               CARROLLTON, TX 75007-1510



MRS GLORIA P NOBLE CUST JENNIFER LEIGH NOBLE        MRS GOLDIE LIPMAN CUST ALLAN FENTON              MRS GRETCHEN BRILL CUST MISS JUDITH MARGARET BRILL
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       U/THE FLORIDA GIFTS TO MINORS ACT
3716 COTTONWOOD SPRINGS DR                          311 W MONTECITO ST                               2525 NW 22ND AVE
THE COLONY, TX 75056-3683                           SANTA BARBARA, CA 93101-3826                     GAINESVILLE, FL 32605-3819



MRS GRETCHEN SHULTIS WHIPPLE CUST MISS WENDY R WHIPPLE
                                                   MRS HANNAH A STEINER                              MRS HANNAH B CHURCH CUST MARGARET R CHURCH
U/THE MASSACHUSETTS U-G-M-A                        BOX 1111                                          U/THE MICH UNIFORM GIFTS TO MINORS ACT
RR 2 BOX 620                                       KEY LARGO, FL 33037-1111                          PO BOX 1849
TROY, VA 22974-9719                                                                                  MIDLAND, MI 48641-1849



MRS HANNAH B CHURCH CUST SARAH A CHURCH             MRS HANNAH B CHURCH CUST SUSAN H CHURCH          MRS HARRIET L STERN CUST ALAN HENRY STERN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT       U/THE N Y UNIFORM GIFTS TO MINORS ACT
1112 ADAMS DR                                       PO BOX 1849                                      7688 N W 18TH ST
MIDLAND, MI 48642-3010                              MIDLAND, MI 48641-1849                           MARGATE, FL 33063-3112



MRS HARRIET PARMET CUST HOWARD B PARMET             MRS HARRIET SMERTZ CUST GARY SMERTZ              MRS HAZEL JOAN ELLIS CUST CHRISTOPHER A ELLIS
U/THE PA UNIFORM GIFTS TO MINORS ACT                U/THE PA UNIFORM GIFTS TO MINORS ACT             U/THE MO UNIFORM GIFTS TO MINORS ACT
1118 NORTH 28TH ST                                  838 MONROE AVE                                   1321 E HARRISON
ALLENTOWN, PA 18104-2908                            SCRANTON, PA 18510-1107                          SPRINGFIELD, MO 65804-0119



MRS HAZEL W LEIBLEIN                                MRS HELEN ANDERSON CUST CHARLENE WILLIAMS        MRS HELEN ANN CASSELL CUST EDYTHE ANN CASSELL
3 ELIJAH BEEDE RD                                   U/THE N Y UNIFORM GIFTS TO MINORS ACT            U/THE N Y UNIFORM GIFTS TO MINORS ACT
S TAMWORTH, NH 03883                                21 CANARAS AVE                                   PO BOX 1895
                                                    SARANAC LAKE, NY 12983-1560                      NEVADA CITY, CA 95959-1895



MRS HELEN E HOHMAN CUST WILLIAM C HOHMAN            MRS HELEN FEDOR CUST KIMBERLY MARIE FEDOR        MRS HELEN L ALBRIGHT CUST L BARRINGER ALBRIGHT 3RD
U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE OHIO UNIFORM GIFTS TO MINORS ACT           U/THE S C UNIFORM GIFTS TO MINORS ACT
240 WOODLAND RD                                     8550 IVY HILL DR #20                             6185 RANCH ROAD
PITTSFORD, NY 14534-1140                            YOUNGSTOWN, OH 44514-5217                        WADMALAW ISLAND, SC 29487-6919



MRS HELEN L GOLD CUST HOWARD J GOLD                 MRS HELEN LEAH SILVERSTEIN                       MRS HELEN LEVCHIK CUST PATRICIA LOUISE LEVCHIK
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT           80 WESTGATE RD                                   U/THE PA UNIFORM GIFTS TO MINORS ACT
8135 WOODLAWN                                       NEWTON CENTRE, MA 02159-3134                     1019 CALVIN DR
MUNSTER, IN 46321-1714                                                                               JOHNSTOWN, PA 15905



MRS HELEN M KENNEDY                                 MRS HELEN ROLLINS CUST DAWN M ROLLINS            MRS HELEN S WILLY CUST JOHN S WILLY
C/O JEAN BROWN                                      U/THE CONN UNIFORM GIFTS TO MINORS ACT           U/THE MASS UNIFORM GIFTS TO MINORS ACT
8A OHIO DR                                          279 STEELE ST                                    PO BOX 49
WHITING, NJ 08759-1427                              NEW BRITAIN, CT 06052-1500                       NORTH WEYMOUTH, MA 02191-0001



MRS HELEN W HOFFMANN CUST JOHN WALLACE HOFFMANN     MRS HELEN W KUTSCHER CUST AUSTIN H KUTSCHER JR   MRS HELENE LANSTER CUST ROBERT MICHAEL LANSTER
U/THE MO UNIFORM GIFTS TO MINORS ACT                U/THE N J UNIFORM GIFTS TO MINORS ACT            UNDER THE FLORIDA GIFTS TO MINORS ACT
13309 MANOR HILL RD                                 48 BONNELL ST                                    51 E DILIDO DR
SAINT LOUIS, MO 63131                               FLEMINGTON, NJ 08822-1306                        MIAMI BEACH, FL 33139-1225
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MRS HILARIA NELSON                                MRS HILDA STERN PRESS CUST SANDRA A PRESS             MRS HIROKO K SPINAR
PO BOX 4030                                       U/THE OHIO UNIFORM GIFTS TO MINORS ACT                8-21 HON MOKU MAKADO NAKA-KU
CHRISTIANSTED                                     5079 LANSDOWN ROAD                                    YOKOHAMA
ST CROIX 00822 4030                               SOLON, OH 44139-1226                                  231-0825 JAPAN
VIRGIN ISLANDS VIRGIN ISLANDS OF THE USA


MRS HOPE S SHULL CUST CHARLES WILLIAM SHULL       MRS HULDA EDELSTEIN                                   MRS HYLA MELNICK CUST RICHARD PHILLIP MELNICK
U/THE MISS UNIFORM GIFTS TO MINORS ACT            APT 301B                                              U/THE PA UNIFORM GIFTS TO MINORS ACT
1815 KIRK ST                                      3605 S OCEAN BLVD                                     252 EAST EMERSON ROAD
FLORENCE, AL 35630-2534                           PALM BEACH, FL 33480-6304                             LEXINGTON, MA 02420-2118



MRS IDA KREINGOLD                                 MRS ILSE SCHWARZ CUST MISS CAROL SCHWARZ              MRS INEZ T PAUSTIAN CUST JEANNE T PAUSTIAN U/THEWISCO
166-25 POWELLS COVE BLVD                          U/THE OHIO UNIFORM GIFTS TO MINORS ACT                GIFTS TO MINORS ACT
#3B                                               2398 BAYSWATER AVE                                    1624 E FRANCES ST
BEECHHURST, NY 11357-1505                         FAR ROCKAWAY, NY 11691-1759                           APPLETON, WI 54911-3303



MRS INGE BARACKER CUST SANDRA LYNN BARACKER       MRS IONE LANG CUST PATRICK LANG                       MRS IONE LANG CUST THOMAS LANG
U/THE CAL UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
2409 ECHO PARK CT                                 48616 DUNN CT                                         119 LINDA KNOLL
MODESTO, CA 95358-6097                            MACOMB, MI 48044-2229                                 BLOOMFIELD HILLS, MI 48304-4830



MRS IRENE A BOGOFF CUST MARLA TRACY KAUFMAN       MRS IRENE E KELLY CUST JOHN L KELLY                   MRS IRENE E THORNTON CUST MICHAEL P THORNTON
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE CONN UNIFORM GIFTS TO MINORS ACT                U/THE WASH UNIFORM GIFTS TO MINORS ACT
200 HIGH POINT DR APT 408                         72 HORATO STREET 2N                                   105 N 52ND AVE
HARTSDALE, NY 10530-1131                          NEW YORK, NY 10014-1576                               YAKIMA, WA 98908-3138



MRS IRENE G WHITE CUST JONATHAN LEE WHITE         MRS IRENE L BALON CUST BRENDA JOYCE BALON             MRS IRMA WEINSTEIN NACHT
U/THE MD UNIFORM GIFTS TO MINORS ACT              U/THE R I UNIFORM GIFTS TO MINORS ACT                 256 VAN NOSTRAND AVE
1416 LAKE NORWOOD WAY                             26 GREENWOOD LANE                                     ENGLEWOOD, NJ 07631-4715
SANDY SPRING, MD 20860-3006                       LINCOLN, RI 02865-4727



MRS ISABEL F STINSON CUST MISS MARY-ANN STINSON   MRS JACQUELINE ANN AGNESINI CUST MICHAEL P AGNESINI   MRS JACQUELINE KRONENBERG CUST ROBERT S KRONENBE
U/THE MASS UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
5511 DELOR                                        400 A WOODBRIDGE DR                                   2201 ACACIA PARK DR
SAINT LOUIS, MO 63109-2804                        RIDGE, NY 11961-1357                                  APT 506
                                                                                                        CLEVELAND, OH 44124


MRS JACQUELYN J WESTMORELAND CUST MISS MELANIE P WESTMORELAND
                                                  MRS JANALEEN KALLIOMAA CUST WADE H KALLIOMAA          MRS JANANN L SQUIRE CUST CYNTHIA A SQUIRE
U/THE SOUTH CAROLINA U-G-M-A                      U/THE WISC UNIFORM GIFTS TO MINORS ACT                U/THE IOWA UNIFORM GIFTS TO MINORS ACT
3600 CHAPEL LANE                                  W 293 BELLEVIEW AVE                                   8761 N REAMS RD
MYRTLE BEACH, SC 29579-7612                       OCONOMOWOC, WI 53066-2032                             CENTRALIA, MO 65240-4250



MRS JANE BENNETT CUST JAMES P BENNETT             MRS JANE BENNETT CUST MICHAEL A BENNETT               MRS JANE BENNETT CUST WILLIAM M BENNETT JR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT      U/THE CAL UNIFORM GIFTS TO MINORS ACT                 U/THE CAL UNIFORM GIFTS TO MINORS ACT
35 EVERGREEN DRIVE                                35 EVERGREEN DRIVE                                    35 EVERGREEN DRIVE
KENTFIELD, CA 94904-2825                          KENTFIELD, CA 94904-2825                              KENTFIELD, CA 94904-2825



MRS JANE G CAMIOLO CUST JOSEPH CAMIOLO            MRS JANE GLODE CUST JOHN EDWARD GLODE                 MRS JANE M BAUMAN CUST JUSTIN M BAUMAN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE WYOMING UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT
447 CREIGHTON LANE                                930 RANGER DR                                         2888 RIDGEWAY AVE
ROCHESTER, NY 14612-2289                          CHEYENNE, WY 82009-2535                               ROCHESTER, NY 14626-4215
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MRS JANE M FERRELL CUST BONNIE J FERRELL           MRS JANE S THORNTON CUST BRIAN S THORNTON          MRS JANE STEIN CUST ROBERT STEIN 3RD
A MINOR UNDER THE LAWS OF GEORGIA                  A MINOR UNDER THE LAWS OF GEORGIA                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
ATTN BONNIE J FERRELL                              3304 NW LEEDS WAY                                  58 HAWTHORNE AVE
4370 BANKCROFT VALLEY                              DULUTH, GA 30096-3648                              ALBANY, NY 12203-2121
ALPHARETTA, GA 30022


MRS JANET H SCHMIDT CUST ELIZABETH SCHMIDT         MRS JANET M HAGERMAN CUST MISS DEBORAH L HAGERMAN MRS JANICE A SMITH CUST MICHAEL S SMITH
U/THE FLORIDA GIFTS TO MINORS ACT                  U/THE MICH UNIFORM GIFTS TO MINORS ACT            U/THE TENN UNIFORM GIFTS TO MINORS ACT
11 LINDA AVE                                       10550 RUNYAN LAKE                                 16D FOUNTAIN MANOR DR
SAN RAFAEL, CA 94903-4209                          FENTON, MI 48430                                  GREENSBORO, NC 27405-8015



MRS JEAN C JOINER CUST JACOB E JOINER III          MRS JEAN E STAN CUST JAMES P STAN                  MRS JEAN FAINBERG CUST JACK FAINBERG
A MINOR UNDER THE LAWS OF GEORGIA                  U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT
1621 AUTUMN HURST TRAIL                            3945 ALEESA DR SE                                  23 LYNN ROAD
STONE MOUNTAIN, GA 30088-3505                      WARREN, OH 44484-2913                              NEEDHAM, MA 02494-1755



MRS JEAN L EBERLEIN                                MRS JEAN MATKIN CUST MARK J DOHERTY                MRS JEAN R APPICH CUST CHARLES W APPICH 3RD
29674 HILLIARD OAK LANE                            A MINOR UNDER THE LOUISIANA GIFTS TO MINORS ACT    U/THE VA UNIFORM GIFTS TO MINORS ACT
WESTLAKE, OH 44145-3875                            ATTN J MATKIN                                      14321 WINTERRIDGE LANE
                                                   6415 WEST END BLVD                                 MIDLOTHIAN, VA 23113-6710
                                                   NEW ORLEANS, LA 70124-2025


MRS JEAN S ROSNER CUST ELISSA KARLA ROSNER         MRS JEAN STAN CUST RANDALL E STAN                  MRS JEANETTE T DE HAVEN CUST LORI ANN DE HAVEN
U/THE S C UNIFORM GIFTS TO MINORS ACT              U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT
510 KINEY STREET                                   3945 ALEESA DR SE                                  2690 SOUTINGTON RD
CHARLESTON, SC 29413-0638                          WARREN, OH 44484-2913                              SHAKER HEIGHTS, OH 44120-1601



MRS JEANNE B GRIFFIN CUST DAVID M GRIFFIN          MRS JEANNE B GRIFFIN CUST MELISSA E GRIFFIN        MRS JEANNE B GRIFFIN CUST SUSAN J GRIFFIN
U/THE S C UNIFORM GIFTS TO MINORS ACT              U/THE S C UNIFORM GIFTS TO MINORS ACT              U/THE S C UNIFORM GIFTS TO MINORS ACT
1826 BOLIN RD                                      1826 BOLIN RD                                      1826 BOLIN RD
NORTH AUGUSTA, SC 29841-2213                       NORTH AUGUSTA, SC 29841-2213                       NORTH AUGUSTA, SC 29841-2213



MRS JEANNE B GRIFFIN CUST WILLIAM E GRIFFIN JR     MRS JEANNE LINDBURG CUST MISS COLLEEN MURRAY       MRS JEANNE N GLASS CUST GEORGE P GLASS
U/THE S C UNIFORM GIFTS TO MINORS ACT              UNDER THE MISSOURI U-G-M-L                         U/THE FLORIDA GIFTS TO MINORS ACT
1826 BOLIN RD                                      3 CHATFIELD PLACE RD                               112 SEVILLE CHASE DR
NORTH AUGUSTA, SC 29841-2213                       SAINT LOUIS, MO 63141-7850                         WINTER SPRINGS, FL 32708-3920



MRS JEANNE PYZDROWSKI CUST HENRY A PYZDROWSKI JR   MRS JESSIE EMERLING CUST ANDREW STEVEN BROWN       MRS JO ANNE M FAIRFIELD CUST MICHELLE FAIRFIELD
U/THE MINN UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE MASS UNIFORM GIFTS TO MINORS ACT
3916 MERRIAM RD                                    99 BANKS RD                                        2 BOBOLINK RD
MINNETONKA, MN 55305-5045                          SWAMPSCOTT, MA 01907-2058                          WEST STOCKBRIDGE, MA 01266-9700



MRS JO CLARK JONES CUST LEE B JONES IV             MRS JOAN BOORSTEIN                                 MRS JOAN C LUCCA CUST KAREN A LUCCA
UNDER THE FLORIDA GIFTS TO MINORS ACT              686 CENTRE ST                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
BOX 6310                                           NEWTON, MA 02458-2329                              ATTN KAREN A REYNOLDS
JACKSONVILLE, FL 32236-6310                                                                           6 HEATHER DRIVE
                                                                                                      NEW CITY, NY 10956-2507


MRS JOAN COOPER CUST WILLIAM COOPER                MRS JOAN H LEVY CUST MICHAEL PATRICK LEVY          MRS JOAN H VANDER SLUIS CUST DAVID KENNETH VANDER S
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE TENNESSEE U-G-M-A
10 SHELLY LN                                       PO BOX 504                                         1341 CANDLEWICK RD
WEST HARRISON, NY 10604-1134                       SWARTHMORE, PA 19081-0504                          KNOXVILLE, TN 37932-3602
                   09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
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MRS JOAN HEFLIN CUST GERALD MARK HEFLIN            MRS JOAN JAFFE CUST PETER E JAFFE                 MRS JOAN LUCCA CUST MARK LUCCA
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
7001 VAN GORDEN RD                                 3408 WOOLSEY DR                                   12 GAIL LN
HAMILTON, OH 45011-8407                            CHEVY CHASE, MD 20815-3923                        SOUTH WINDSOR, CT 06074-4223



MRS JOAN LUCCA CUST WILLIAM J LUCCA 3RD            MRS JOANNE F REGAN CUST MATTHEW REGAN             MRS JOANNE F SOLOMON CUST STEVEN NEIL SOLOMON
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT   U/THE N Y UNIFORM GIFTS TO MINORS ACT
3725 SHADOW CANYON TRL                             127 SHERMAN ST                                    2328 OLEAN ST
BROOMFIELD, CO 80020                               CANTON, MA 02021-2504                             BROOKLYN, NY 11210-5141



MRS JOANNE L FLENTKE CUST GEORGE R FLENTKE         MRS JOANNE ROMANS CUST KELLY REBECCA ROMANS       MRS JOHANN C MAYNARD CUST RONALD S DAWSON
U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE MICH UNIFORM GIFTS TO MINORS ACT
5805 ANKORAGE AVE                                  PO BOX 761                                        2410 HOLMES
MADISON, WI 53705-4403                             ANNA MARIA, FL 34216-0761                         NAMTRAMCK, MI 48212-4901



MRS JOSEPHINE A LUJAN                              MRS JOSEPHINE MERCADO CUST DONNA MARIE MERCADO    MRS JOYCE A WEBBER CUST ANTHONY J WEBBER
BOX 354 119 FEATHERMOON                            U/THE N J UNIFORM GIFTS TO MINORS ACT             U/THE CALIF UNIFORM GIFTS TO MINORS ACT
SANTA TERESA, NM 88008-9300                        40 W 34TH ST                                      666 W 19TH ST APT 405
                                                   BAYONNE, NJ 07002-3911                            COSTA MESA, CA 92627-2747



MRS JOYCE E CHELIUS CUST MISS MARGARET M CHELIUS   MRS JOYCE ETKIN CUST PATRICIA SUE ETKIN           MRS JOYCE FRIEDLAND CUST MICHAEL LEE FRIEDLAND
U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE PA UNIFORM GIFTS TO MINORS ACT
845 NOB RIDGE DR                                   4260 CASPER CT                                    RD 2 PUGHTOWN RD
MARIETTA, GA 30064-5733                            HOLLYWOOD, FL 33021-2412                          POTTSTOWN, PA 19465-9802



MRS JOYCE LEE BLUMENAU CUST ERIC GOFFREY BLUMENAU MRS JOYCE SILVERMAN CUST MARCIA SILVERMAN          MRS JOYCE SIMON CUST DANA SIMON
U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT       U/THE ARIZONA UNIFORM GIFTS TO MINORS ACT
11 ROSS LANE                                      29 ROSS RD                                         ATTN DANA SIMON M D
MIDDLETOWN, NY 10941-2007                         LIVINGSTON, NJ 07039-6219                          2320 ASHWORTH ROAD
                                                                                                     WEST DES MOINES, IA 50265-3317


MRS JOYCE STAHL CUST SHERIN SUE STAHL              MRS JUANITA L KASA CUST FELICIA M KASA            MRS JUDITH B SHERAK CUST MONA DIAHNN SHERAK
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE ILL UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT
1201 S OCEAN DR APT 2212S                          210 S DES PLAINES ST #2007                        308 GLENRIDGE CT
HOLLYWOOD, FL 33019-2140                           CHICAGO, IL 60661                                 NASHVILLE, TN 37221-5307



MRS JUDITH C BRANDENSTEIN                          MRS JUDITH E CAMPBELL                             MRS JUDITH EPSTEIN CUST BENJAMIN ISSAC EPSTEIN UGMA N
PO BOX 3029                                        4009 OLD DENTON RD                                36 MAYHEW
SHELTER ISLAND HTS, NY 11965-3029                  SUITE 114-252                                     LIVINGSTON, NJ 07039-2022
                                                   CARROLLTON, TX 75007-1000



MRS JUDITH GLAZER CUST JOEL ANDREW GLAZER          MRS JUDITH GREENBERG CUST PHILIP ROSS GREENBERG   MRS JUDITH GREENFIELD CUST CYNTHIA ILENE GREENFIELD
U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT             UNDER THE FLORIDA GIFTS TO MINORS ACT
189 ROWAYTON AVE                                   10048 SW 125TH ST                                 6829 MADRID AVE
NORWALK, CT 06853-1237                             MIAMI, FL 33176-4862                              JACKSONVILLE, FL 32217-2682



MRS JUDITH I BECK CUST PAULA ALICE BECK            MRS JUDITH J DORFMAN CUST MICHAEL SCOTT DORFMAN   MRS JUDITH L KAPLAN CUST MINDY ANN KAPLAN
U/THE WISC UNIFORM GIFTS TO MINORS ACT             U/THE ILL UNIFORM GIFTS TO MINORS ACT             U/THE N J UNIFORM GIFTS TO MINORS ACT
PO BOX 27121                                       1703 KOEHLING RD                                  655 POMANDER WALK
WEST ALLIS, WI 53227-0121                          NORTHBROOK, IL 60062-1300                         APT 425
                                                                                                     TEANECK, NJ 07666-1674
                   09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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MRS JUDITH PASELTINER CUST PHILIP JAMES PASELTINER   MRS JUDY SCHNUR CUST WILLIAM ERIC SCHNUR          MRS JULIA BENANDER CUST ALAN BENANDER
U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE OHIO UNIFORM GIFTS TO MINORS ACT
285 CLUB RD                                          6749 GROTON ST                                    4862 MONTICELLO BLVD
STAMFORD, CT 06905-2126                              FOREST HILLS, NY 11375-4120                       RICHMOND HEIGHTS, OH 44143-2846



MRS JULIA BENANDER CUST VINCENT BENANDER JR          MRS JULIA KLEIN                                   MRS JULIA KRUTEL CUST JULIA AGNES KRUTEL
U/THE OHIO UNIFORM GIFTS TO MINORS ACT               1610 54TH ST                                      U/THE N J UNIFORM GIFTS TO MINORS ACT
17999 HARVEST DR                                     BROOKLYN, NY 11204-1428                           PO BOX 423
CHAGRIN FALLS, OH 44023-1601                                                                           116 COMMISSIONERS ROAD
                                                                                                       MULLICA HILL, NJ 08062-3222


MRS JULIANE GREENWALT CUST CHRISTINE GREENWALT       MRS JULIANN STORY CUST MICHAEL S STORY            MRS JUNE GREENWAY
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT            2125 BROCKTON
710 EAST MITCHELL STREET                             52088 MALLARD POINTE DR                           ROYAL OAK, MI 48067-3569
PETOSKEY, MI 49770-2630                              GRANGER, IN 46530-6227



MRS JUNE POLLACK CUST KEITH L POLLACK                MRS JUNO MAYS HEINE                               MRS KARALANE B SCHREIBER CUST LISA ANN SCHREIBER
U/THE N Y UNIFORM GIFTS TO MINORS ACT                29 EASTERN AVE                                    U/THE MICH UNIFORM GIFTS TO MINORS ACT
270-20W GRAND CENTRAL PRKWY                          LEXINGTON, MA 02421-7524                          9236 PARK
FLORAL PARK, NY 11005-1109                                                                             ALLEN PARK, MI 48101-1548



MRS KAROL ANN FREDERICHS CUST NICOLE FREDERICHS      MRS KAROL ANN FREDERICHS CUST SCOTT FREDERICHS    MRS KAROL ANN FREDERICHS CUST SUZETTE FREDERICHS
UNDER THE MISSOURI UNIFORM GIFT MINORS LAW           UNDER THE MISSOURI UNIFORM GIFTS MINORS LAW       UNDER THE MISSOURI UNIFORM GIFTS MINORS LAW
4043 SOUTH ABILENE CR C                              4043 SOUTH ABILENE CR C                           4043 SOUTH ABILENE CR C
AURORA, CO 80014-5170                                AURORA, CO 80014-5170                             AURORA, CO 80014-5170



MRS KATE ZIMRING CUST MICHAH ZIMRING                 MRS KATHERINE A ONEIL CUST CATHERINE T ONEIL      MRS KATHERINE K HEININGER JR
U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT          U/THE MASS UNIFORM GIFTS TO MINORS ACT            801 CRIMSON CRST
7301 COVENTRY AVE                                    PO BOX 1123                                       WEBSTER, NY 14580-4804
APT 602                                              SOUTH DENNIS, MA 02660-1123
ELKINS PARK, PA 19027-2953


MRS KATHERINE S FRIEDMAN CUST MISS NANCY FRIEDMAN    MRS KATHLEEN D MC CURDY CUST CHARLES THOMAS MC CURDY
                                                                                                       MRS KATHLEEN MUCKERMAN CUST JEFFERY T GARZA
U/THE N J UNIFORM GIFTS TO MINORS ACT                U/THE OHIO UNIFORM GIFTS TO MINORS ACT            UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
419 S MC CADDEN PL                                   4224 GOLDENSEAL WAY                               3 ORCHARD LANE
LOS ANGELES, CA 90020-4819                           HILLIARD, OH 43026-3009                           KIRKWOOD, MO 63122-6918



MRS KATHLEEN MUCKERMAN CUST ROBERT GARZA             MRS LAURA ANN STEIN PRIVALLE                      MRS LAURA D LA FLAMME CUST BRUCE GEORGE LA FLAMME
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW       3101 WILD MEADOW DR                               UNDER THE CONNECTICUT U-G-M-A
3 RIVERVIEW CT                                       DURHAM, NC 27705-1939                             222 OLD EAGLEVILLE RD
WASHINGTON, MO 63090-2931                                                                              COVENTRY, CT 06238-3127



MRS LAVERNE H BRENNECKE CUST MISS JOAN FRANCES BRENNECKE
                                                  MRS LEAH DRELL CUST MICHAEL LAWRENCE DRELL           MRS LEILA A HANNA CUST PAUL A HANNA
UNDER THE MISSOURI U-G-M-A                        U/THE ILL UNIFORM GIFTS TO MINORS ACT                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
17000 STONEGATE CT                                833 GLENCOE STREET                                   357 MADISON AVE
GRANGER, IN 46530-9783                            GLEN ELLYN, IL 60137-3214                            WEST HEMPSTEAD, NY 11552-1949



MRS LENA DE VITO                                     MRS LENEVA JEAN KROPF CUST MARSHA ANN KROPF       MRS LENICE A WESTFALL CUST PAUL RICHARD WESTFALL
PO BOX 280-215                                       U/THE MICH UNIFORM GIFTS TO MINORS ACT            U/THE CAL UNIFORM GIFTS TO MINORS ACT
BROOKLYN, NY 11228-0215                              16625 LYONHURST CIR                               13180 FF RD
                                                     NORTHVILLE, MI 48167-4420                         ROCK FORD, CO 80167
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MRS LENORE SCHULMAN CUST LAWRENCE A SOLOMON        MRS LENORE SOIFERMAN CUST MARC ROBERT SOIFERMAN   MRS LENORE SOIFERMAN CUST STEVEN BRUCE SOIFERMAN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE CAL UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT
4410 KING PALM DR                                  8015 LASAINE AVE                                  C/O STEVEN SOIFERMAN
TAMARAC, FL 33319-6118                             NORTHRIDGE, CA 91325-4439                         7736 FAUST AVE
                                                                                                     CANOGA PARK, CA 91304


MRS LEONA K BIELER CUST ROBIN FELICE BIELER        MRS LESLIE C GRANTHAM CUST L CHARLES GRANTHAM     MRS LETTY JANE KRAMER CUST THOMAS RICHARD KRAMER
U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE FLORIDA GIFTS TO MINORS ACT                 U/THE N Y UNIFORM GIFTS TO MINORS ACT
46 FARMINGTON AVE                                  17305 LEE RD                                      52 COLONIAL RIDGE DR
WATERBURY, CT 06710-1736                           FT MYERS, FL 33912-2902                           GAYLORDSILLE, CT 06755-1003



MRS LILLIAN G KEMPSKI CUST ALFRED E KEMPSKI        MRS LILLIAN GOLDSTEIN                             MRS LILLIAN HACK CUST RICHARD L HACK
U/THE DEL UNIFORM GIFTS TO MINORS ACT              3654 MOTOR AVE NBR 3                              U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
3 ASSAWOMAN ST                                     LOS ANGELES, CA 90034-5735                        2051 CHESAPEAKE RD
BETHANY BEACH, DE 19930-9756                                                                         ANNAPOLIS, MD 21401-5714



MRS LILLIAN W KOSBERG CUST ALAN H KOSBERG          MRS LILLIAN W WOOD CUST KENT CLIFFORD CUSICK      MRS LILLIE CHARLOTTE HAMIL CUST JAMES ROBERT HAMIL
U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE CAL UNIFORM GIFTS TO MINORS ACT             U/THE COLO UNIFORM GIFTS TO MINORS ACT
12 WOODMONT ROAD                                   8465 BIANCHI RD                                   13557 RD 29
WEST HARTFORD, CT 06117-1221                       ROSEVILLE, CA 95747-9252                          STERLING, CO 80751-9538



MRS LILYAN H GROSS CUST RONALD H GROSS             MRS LINDA KLEIN                                   MRS LINDA KLEIN CUST DANIEL MARTIN KLEIN UGMA MI
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         5098 HICKORY POINTE DRIVE                         7228 SILVERBEECH LN
211 SHELLEY AVE                                    ORCHARD LAKE, MI 48323-1520                       WEST BLOOMFIELD, MI 48322-1384
ELIZABETH, NJ 07208-1061



MRS LOIS D LANGENDORF CUST DIANE C LANGENDORF      MRS LOIS D LANGENDORF CUST MICHELE S LANGENDORF   MRS LOIS K HERMAN CUST ROBERT J HERMAN
U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE PA UNIFORM GIFTS TO MINORS ACT              U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
7888 CUMMINGS LN                                   13689 WHIPPET WAY                                 1496 MAIN STREET
BOCA RATON, FL 33433-4117                          DELRAY BEACH, FL 33484-1567                       CONCORD, MA 01742-2920



MRS LOIS M BERKENSTADT CUST EUGENE R BERKENSTADT   MRS LOIS S SANDERS CUST ROBERT E SANDERS          MRS LOIS S SANDERS CUST RUSSELL G SANDERS
U/THE ILL UNIFORM GIFTS TO MINORS ACT              U/THE CAL UNIFORM GIFTS TO MINORS ACT             U/THE CAL UNIFORM GIFTS TO MINORS ACT
1033 MOAHA DRIVE                                   2129 CROWN HILL ROAD                              4885 MOUNT ELBRUS DR
SAN DIEGO, CA 92107-4106                           SAN DIEGO, CA 92109-1423                          SAN DIEGO, CA 92117-3916



MRS LOIS S SANDERS CUST STEPHEN J SANDERS          MRS LORINE J KNABE CUST ELIZABETH J KNABE         MRS LORRAINE C ALDRICH CUST STEPHEN L ALDRICH
U/THE CAL UNIFORM GIFTS TO MINORS ACT              U/THE S D UNIFORM GIFTS TO MINORS LAW             U/THE MICH UNIFORM GIFTS TO MINORS ACT
2129 CROWN HILL ROAD                               1008 7TH AVE S                                    111 LYON ST NW
SAN DIEGO, CA 92109-1423                           VIRGINIA, MN 55792-3151                           STE 1
                                                                                                     GRAND RAPIDS, MI 49503-2404


MRS LORRAINE GLACKEN CUST LORRAINE GLACKEN         MRS LOUISE ARFORD CUST SUSAN MARGARET ARFORD      MRS LOUISE B FRANKLIN CUST CHRISTOPHER A FRANKLIN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE PA UNIFORM GIFTS TO MINORS ACT              UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
189-28 44TH AVE                                    441 CEDAR BLVD                                    1513 GOODMAN AVE
FLUSHING, NY 11358-3406                            HOLLIDAYSBURG, PA 16648-1201                      REDONDO BEACH, CA 90278-2716



MRS LOUISE BARTLETT FRANKLIN CUST CHRISTOPHER ANDREW
                                                   MRSFRANKLIN
                                                        LOUISE COMARDO CUST DONALD COMARDO           MRS LOUISE L PALI CUST JANE LOUISE PALI
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE PA UNIFORM GIFTS TO MINORS ACT
1513 GOODMAN AVE                                   919 S GLENCOE ROAD                                1732 CHELSEA AVE
REDONDO BEACH, CA 90278-2716                       NEW SMYRNA BEACH, FL 32168-8430                   BETHLEHEM, PA 18018-2410
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MRS LOUISE REGAN CUST ANN REGAN                   MRS LUBY F WUCHINA CUST THOMAS J WUCHINA          MRS LUCILLE C DONIN CUST MARSHALL DONIN
UNDER THE NEW HAMPSHIRE UNIFORM GIFTS TO MINORS   U/THE PA UNIFORM GIFTS TO MINORS ACT              U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
LAW                                               7850 LAMPLEY RD                                   14756 WEDDINGTON ST
10 PEARL RD                                       PRIMM SPRINGS, TN 38476-9630                      VAN NUYS, CA 91411-4042
BOXFORD, MA 01921-1206


MRS LUCILLE G MC COY CUST J MICHAEL MC COY        MRS LUCY G SCHWARTZ CUST ABBY JOY SCHWARTZ        MRS LUCY T NALYVAYKO CUST ALEXANDER NALYVAYKO
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE CALIF UNIFORM GIFTS TO MINORS ACT           U/THE S C UNIFORM GIFTS TO MINORS ACT
7715 CLOUDVIEW LN                                 4636 SUGARHILL DR                                 1806 EAGLES RIDGE CT
RALEIGH, NC 27613                                 ROLLING HILLS ESTS, CA 90274-1510                 BROOKEVILLE, MD 20833-1835



MRS LUCY WISE GIPSTEIN                            MRS LYDIA F ZACKOWSKI CUST GREGORY F ZACKOWSKI    MRS LYDIA F ZACKOWSKI CUST GREGORY F ZACKOWSKI
SOUTH 4407 MADELIA                                U/THE ARIZ UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
SPOKANE, WA 99223-6429                            2013 CHALCEDONY                                   2013 CHALCEDONY
                                                  SAN DIEGO, CA 92109-3412                          SAN DIEGO, CA 92109-3412



MRS LYDIA F ZACKOWSKI CUST KATHLEEN M ZACKOWSKI   MRS LYDIA H WILLITS CUST LYDIA THOMAS WILLITS     MRS LYNDA L HOWARD CUST WILLIAM PEERCE HOWARD
U/THE ARIZ UNIFORM GIFTS TO MINORS ACT            U/THE PA UNIFORM GIFTS TO MINORS ACT              UNDER THE FLORIDA GIFTS TO MINORS ACT
3210 FOSTER AVE                                   145 LUCKY HILL RD                                 13730 MARSEILLES CT
BALTIMORE, MD 21224-4017                          WEST CHESTER, PA 19382-2044                       CLEARWATER, FL 33762-3320



MRS LYNNE B SANDERS CUST MELISSA L SANDERS        MRS LYNNE TROPP ROTH CUST JOEL DOUGLAS ROTH       MRS MABEL A GLAUSER CUST KENNETH R GLAUSER
A MINOR UNDER THE LAWS OF GEORGIA                 U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE N J UNIFORM GIFTS TO MINORS ACT
RT 4 BOX 278                                      29 GREENWICH CT                                   2260 SCOVEL AVE
COCHRAN, GA 31014-9254                            HOLBROOK, NY 11741-2848                           PENNSAUKEN, NJ 08110-1726



MRS MALVINA G LEDER CUST RICHARD A LEDER          MRS MARCIA E WITTREN CUST AMY ELIZABETH WITTREN   MRS MARCIA K KOSTER CUST BARRETT E KOSTER
U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE MINN UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
106 COBURN DR W                                   3829 FOX TRAIL                                    17 WHITEWATER WAY
BLUFFTON, SC 29910-4548                           ST BONIFACIUS, MN 55375-1214                      MILFORD, OH 45150-5817



MRS MARCIA K KOSTER CUST KENNETH H KOSTER         MRS MARCIA K KOSTER CUST WILLIAM F KOSTER         MRS MARGARET A BERNOT CUST JOHN J BERNOT
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
17 WHITEWATER WAY                                 17 WHITEWATER WAY                                 204 BOLTON ST
MILFORD, OH 45150-5817                            MILFORD, OH 45150-5817                            EBENSBURG, PA 15931-1105



MRS MARGARET A KRELL CUST JACOB KRELL             MRS MARGARET ANN WOOD CUST BARNETT HUGGINS WOOD 2ND
                                                                                                   MRS MARGARET ANNE FLYNN CUST BRIGID D FLYNN
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT      U/THE MISS UNIFORM GIFTS TO MINORS ACT           U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
25 NORTHWESTERN AVE                               1062 OLD WEST POINT RD                           4169 CARILLON DR
BUTLER, NJ 07405-1607                             STARKVILLE, MS 39759-9751                        BLOOMFIELD HILLS, MI 48302-1906



MRS MARGARET B VINSON CUST JOHN B VINSON          MRS MARGARET BILINSKY CUST ALAN JAY BILINSKY      MRS MARGARET C BORTON CUST ARTHUR B BORTON
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT        U/THE MO UNIFORM GIFTS TO MINORS ACT              U/THE OHIO UNIFORM GIFTS TO MINORS ACT
4800 FILLMORE AVE                                 13 COUNTRY FAIR ACRES                             11239 WINDING WOOD CT
APT 552                                           CREVE COEUR, MO 63141-7805                        INDIANAPOLIS, IN 46235-9750
ALEXANDRIA, VA 22311-5057


MRS MARGARET C SCHNIEDERS CUST JAMES SCHNIEDERS   MRS MARGARET C SCHNIEDERS CUST JEROME SCHNIEDERS MRS MARGARET C SCHNIEDERS CUST JOHN H SCHNIEDERS J
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT           U/THE OHIO UNIFORM GIFTS TO MINORS ACT
3340 ALGUS LANE                                   742 ANDERSON FERRY ROAD                          7622 BRIAR GREEN
CINCINNATI, OH 45248-2824                         CINCINNATI, OH 45238-4742                        CINCINNATI, OH 45248-2845
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MRS MARGARET C SHERMAN CUST JOHN H SHERMAN         MRS MARGARET HIRTH CUST MARGARET BAUGHMAN           MRS MARGARET HIRTH CUST WILLIAM M BAUGHMAN
U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE S C UNIFORM GIFTS TO MINORS ACT               U/THE S C UNIFORM GIFTS TO MINORS ACT
2406 BLUESTONE PL                                  PO BOX 279                                          PO BOX 279
GREEN BAY, WI 54311-6432                           RIDGEVILLE, SC 29472-0279                           RIDGEVILLE, SC 29472-0279



MRS MARGARET K BARRETT CUST RICHARD K BARRETT      MRS MARGARET LA SALA CUST VICTOR LA SALA            MRS MARGARET M BURFEINDT CUST JOHN D BURFEINDT
U/THE FLORIDA GIFTS TO MINORS ACT                  U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT
11155 GARRETT LN                                   85 PECONIC DR                                       1645 SHERMAN ST
LOWELL, AR 72745-8931                              MASSAPEQUA, NY 11758-8320                           WILLIAMSPORT, PA 17701-2541



MRS MARGARET N CRAIGMILES                          MRS MARGARET R LA COURSE CUST J MICHAEL LA COURSE   MRS MARGARET R WOODHOUSE CUST DONALD WOODHOUSE
4720 130TH AV NORTH                                UNDER THE CONNECTICUT U-G-M-A                       U/THE N J UNIFORM GIFTS TO MINORS ACT
ROYAL PALM BEACH, FL 33411-9073                    55 W 74TH ST #2D                                    230 SMITH RD
                                                   NEW YORK, NY 10023-2496                             ANTRIM, NH 03440-3806



MRS MARGARET T SHUBECK CUST TERENCE J SHUBECK      MRS MARGARET WOLINETZ CUST BRUCE WOLINETZ UGMA NY MRS MARGERY H BARGER CUST DAVID C HARRIS
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             8255 212TH ST                                     UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
27807 SOUTHERN AVE                                 QUEENS VLG, NY 11427-1317                         2703 PECOS ST
NORTH OLMSTED, OH 44070-4953                                                                         AUSTIN, TX 78703-1005



MRS MARGUERITE A STEELE CUST PHILIP G STEELE       MRS MARIA OMELTCHENKO CUST ALEXIS M OMELTCHENKO     MRS MARIA OMELTCHENKO CUST VICTORIA C OMELTCHENKO
U/THE COLO UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT
16810 E CALEY AVE                                  136 BAKER HILL ROAD                                 136 BAKER HILL ROAD
CENTENNIAL, CO 80016-1005                          GREAT NECK, NY 11023-1716                           GREAT NECK, NY 11023-1716



MRS MARIA P BORRELLI CUST PATRICIA M BORRELLI      MRS MARIAN B COHEN CUST MICHAEL WAYNE COHEN         MRS MARIAN EPSTEIN CUST DAVID PAUL EPSTEIN
U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT          U/THE N J UNIFORM GIFTS TO MINORS ACT
BOX 431                                            10711 RED RUN BLVD STE# 101                         57 GLENWOOD DR
INGOMAR, PA 15127-0431                             OWINGS MILLS, MD 21117-5138                         NEW SHREWSBURY, NJ 07724-2721



MRS MARIE BEAUDREAULT CUST ROBERT E BEAUDREAULT    MRS MARIE BRIGGER MUSSER & MARK GUNDERSON JT TEN    MRS MARIE W GRAMMER
U/THE R I UNIFORM GIFTS TO MINORS ACT              PO BOX 420491                                       & MISS CAROL ANN BILLETT & WILLIAM C BILLETT JT TEN
99 PROVIDENCE ST                                   SUMMERLAND KEY, FL 33042-0491                       7900 BABIKOW RD
WOONSOCKET, RI 02895-5129                                                                              BALTIMORE, MD 21237-3308



MRS MARILYN COPE CUST NEWTON A COPE JR             MRS MARILYN D MOXLEY CUST ELLIOTT DE VOE MOXLEY     MRS MARILYN WEINSTEIN CUST JUDY K WEINSTEIN
U/THE CAL UNIFORM GIFTS TO MINORS ACT              U/THE N J UNIFORM GIFTS TO MINORS ACT               U/THE CONN UNIFORM GIFTS TO MINORS ACT
244 GLEN DRIVE                                     18 AMSTERDAM RD                                     70 WYLDEWOOD ROAD
SAUSALITO, CA 94965-1819                           YARDVILLE, NJ 08620-1902                            EASTON, CT 06612-1526



MRS MARILYN WHITMAN CUST ELIZABETH ELLEN WHITMAN   MRS MARION E KIPP CUST MARY L KIPP                  MRS MARION E WOLF CUST ROGER L WOLF
U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
273 ROBERTSON WAY                                  6489 E ATHERTON RD                                  127 WAYPOINT DR
LINCOLN PARK, NJ 07035-1859                        BURTON, MI 48519-1609                               LANCASTER, PA 17603-5676



MRS MARION EPSTEIN CUST RONALD J EPSTEIN           MRS MARION MC DONALD CUST PATRICIA MC DONALD        MRS MARION R ALEXANDER CUST CHERYL L ALEXANDER
U/THE N J UNIFORM GIFTS TO MINORS ACT              U/THE CONN UNIFORM GIFTS TO MINORS ACT              U/THE FLORIDA GIFTS TO MINORS ACT
57 GLENWOOD DR                                     31 CORTLAND PL                                      C/O HIRES
TINTON FALLS, NJ 07724-2721                        ANSONIA, CT 06401-3344                              326 COUNTRY CLUB DRIVE
                                                                                                       TEQUESTA, FL 33469-1944
                   09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
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MRS MARION WEINSTEIN                               MRS MARJORIE BERNSTEIN                            MRS MARJORIE C KLEIN
APT 1502                                           389 SALISBURY ST                                  402 BROOKSBY VILLAGE DR
6311 SOMERLED ST                                   WORCESTER, MA 01609-1237                          UNIT 2231
MONTREAL QC                                                                                          PEABODY, MA 01960-8702
H3X 2C1 CANADA


MRS MARJORIE M PRINCE CUST MISS M ABIGAIL PRINCE   MRS MARJORIE M PRINCE CUST RAYMOND G PRINCE       MRS MARJORIE NIDEN CUST ZINA B NIDEN
U/THE TENN UNIFORM GIFTS TO MINORS ACT             U/THE TENN UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
300 OAKMONT LANE                                   300 OAKMONT LANE                                  4 LYNN COURT
SIGNAL MOUNTAIN, TN 37377-1851                     SIGNAL MOUNTAIN, TN 37377-1851                    FLORHAM PARK, NJ 07932-2843



MRS MARLENE S GUTZAIT CUST STANLEY GUTZAIT         MRS MARNA R HUMBERT CUST CONSTANCE MERLE HUMBERT MRS MARSHALL P YARBOROUGH CUST GAYLE PAGE YARBOR
U/THE COLO UNIFORM GIFTS TO MINORS ACT             U/THE CALIF UNIFORM GIFTS TO MINORS ACT          U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT
3719 LAUREL BAY LOOP                               7337 LITTLE ACORN WAY                            2000 ROCKY MILL DRIVE
ROUND ROCK, TX 78681                               RIO LINDA, CA 95673-1336                         LAWRENCEVILLE, GA 30044-5387



MRS MARSHALL P YARBOROUGH CUST VIRGINIA A YARBOROUGH
                                                  MRS MARSHALL P YARBOROUGH CUST WILLIAM D YARBOROUGH
                                                                                                   MRS MARTHA BERGLAND CUST ALLISON C ABBOTT
U/THE TENNESSEE UNIFORM GIFTS TO MINORS ACT       U/THE TENN UNIFORM GIFTS TO MINORS ACT           U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
2049 SHARON ROAD                                  2009 PONDEROSA LANE                              37W551 MILLS CT
CHAROLETTE, NC 28207-2641                         MARYVILLE, TN 37803-6423                         SAINT CHARLES, IL 60175-4701



MRS MARTHA F BERGLAND CUST ROBERT F BERGLAND       MRS MARTHA K BARHAM CUST PHILIP BRET BARHAM       MRS MARTHA K COUTURE CUST ROBERT HENRY COUTURE
U/THE ILL UNIFORM GIFTS TO MINORS ACT              U/THE TENN UNIFORM GIFTS TO MINORS ACT            U/THE CONN UNIFORM GIFTS TO MINORS ACT
37W551 MILLS CT                                    79 CRESTRIDGE DR                                  172 COKE ST
SAINT CHARLES, IL 60175-4701                       JACKSON, TN 38305-8502                            PLAINVILLE, CT 06062-1804



MRS MARTHA K OHMER CUST FREDERICK L OHMER 3RD      MRS MARTHA M ROYSTON CUST MARK H ROYSTON          MRS MARTHA MUNGO CUST ROSE MARY MUNGO
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
489 JENNIE LANE                                    106 BUCKINGHAM RD                                 18 WESTMINISTER DR
DAYTON, OH 45459                                   PITTSBURGH, PA 15215-1506                         CROTON ON HUDSON, NY 10520-1008



MRS MARTHA S PULLMAN CUST CHRISTY SUE PULLMAN UGMA MRS
                                                   TN MARTHA T MUNGER CUST PATRICIA E MUNGER         MRS MARY A GREGG CUST WILLIAM F GREGG
5609 BEINVENIDA TERRACE                            U/THE MICH UNIFORM GIFTS TO MINORS ACT            U/THE CALIF UNIFORM GIFTS TO MINORS ACT
PALMDALE, CA 93551-5732                            688 CALLECITA JICAVILLA                           7659 MASTERS ST
                                                   SANTA FE, NM 87505-4940                           ELK GROVE, CA 95758-7245



MRS MARY A WEINZEL                                 MRS MARY ANN BRYAN CUST MISS SARA JANET BRYAN     MRS MARY ANN KERSTEIN CUST MATTHEW S KERSTEIN UGMA
30631 OLD HOCKEY RD                                U/THE ALA UNIFORM GIFTS TO MINORS ACT             1270 GREENRIDGE
MAGNOLIA, TX 77355-6016                            1162 MELTON DRIVE                                 ROCHESTER, MI 48309-2923
                                                   LILBURN, GA 30047-1964



MRS MARY ANN SQUASHIC CUST MARIA ANN SQUASHIC      MRS MARY B CAPABIANCO CUST JAMES ANTHONY CAPABIANCO
                                                                                                     MRS MARY B CAPABIANCO CUST MARK VICTOR CAPABIANCO
U/THE N J UNIFORM GIFTS TO MINORS ACT              U/THE TENN UNIFORM GIFTS TO MINORS ACT            U/THE TENN UNIFORM GIFTS TO MINORS ACT
47 E SHORE CULVER RD                               10 RUNNEL CIR                                     10 RUNNEL CIR
BRANCHVILLE, NJ 07826-6039                         WINDSOR, CT 06095-2661                            WINDSOR, CT 06095-2661



MRS MARY BETH BASIL CUST THOMAS A BASIL JR         MRS MARY C KLEIN                                  MRS MARY CURRAN KIRK CUST MARIE BISHOP KIRK
U/THE MICH UNIFORM GIFTS TO MINORS ACT             4219 MC FARLIN                                    U/THE MASS UNIFORM GIFTS TO MINORS ACT
4164 HILRAY                                        DALLAS, TX 75205-1686                             637 GARLAND AVE
SAGINAW, MI 48603-5828                                                                               WINNETKA, IL 60093-3911
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MRS MARY E FITCHORN CUST ANINA MARY FITCHORN      MRS MARY E SCHOONOVER CUST DOUGLAS RAY SCHOONOVER
                                                                                                  MRS MARY ELIZABETH PEFFER CUST ROBERT JOHN PEFFER
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT        U/THE MICH UNIFORM GIFTS TO MINORS ACT          U/THE MASS UNIFORM GIFTS TO MINORS ACT
1002 DURHAM DR                                    11606 OAK GROVE RD                              14926 TERRA POINT DR
BLOOMINGTON, IL 61704-1256                        GRAND HAVEN, MI 49417-9663                      CYPRESS, TX 77429-4948



MRS MARY ELLEN SEINSHEIMER                        MRS MARY F HALL CUST DAVID A HALL                  MRS MARY H HIGHT
3683 BRIAR CREEK DR                               U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       BOX 633224
BEAUMONT, TX 77706-7340                           933 COLOMA WAY                                     NACOGDOCHES, TX 75963-3224
                                                  ROSEVILLE, CA 95661-4437



MRS MARY ISELA BELCHER CUST KRAIG BELCHER         MRS MARY LOU BOUDREAUX CUST MISS CLAIRE M BOUDREAUX
                                                                                                    MRS MARY LOU TRUMP CUST CHARLES SAMUEL TRUMP 4TH U
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT           A MINOR U/THE LA GIFTS TO MINORS ACT              VIRGINIA GIFTS TO MINORS ACT
863 VIA ALEGRE LANE                               2027 HAPPALA RD                                   ROUTE 7 BOX 12840
EL PASO, TX 79912-6622                            ELY, MN 55731-8244                                BERKELEY SPRINGS, WV 25411-9411



MRS MARY LOU TRUMP CUST KIRSTEN NOREEN TRUMP      MRS MARY LOU VITA CUST JAMES ANDREW VITA           MRS MARY M KNIGHT CUST TRACY JOHN KNIGHT
UNDER THEWEST VIRGINIA GIFTS TO MINORS ACT        U/THE N J UNIFORM GIFTS TO MINORS ACT              U/THE PA UNIFORM GIFTS TO MINORS ACT
298 GROVE HEIGHTS RD                              688 LANDINGS WAY S                                 1625 LYNN AVE
BERKELEY SPRINGS, WV 25411-5108                   SAVANNAH, GA 31411-2886                            TURTLE CREEK, PA 15145-1726



MRS MARY N RAINERO CUST CHARLES J RAINERO JR      MRS MARY P MC CLOSKEY & ROBERT P MC GEARY JT TEN   MRS MARY PEIRCE COOPER
U/THE VA UNIFORM GIFTS TO MINORS ACT              5212 REINHEADT                                     4358 STEIN ST
511 CROWFIELD LN                                  SHAWNEE MISSION, KS 66205                          MOBILE, AL 36608-2016
MT PLEASANT, SC 29464-6203



MRS MARY ROMACK CUST RONALD P ROMACK              MRS MARY S BUCKBEE CUST KEVIN KEITH BUCKBEE        MRS MARY T WOOD CUST EARL MASSIE WOOD JR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE VA UNIFORM GIFTS TO MINORS ACT
2330 W HENRIETTA ROAD                             5 COLD HILL RD                                     43 GRANDVIEW
ROCHESTER, NY 14623-1343                          # 28                                               NEWPORT, KY 41071-2335
                                                  MENDHAM TWSP, NJ 07945-2015


MRS MATILDA M YOUNG CUST CHARLES YOUNG PETERS     MRS MATILDA M YOUNG CUST CLARK VOORHEES PETERS     MRS MATILDA M YOUNG CUST MATILDA PETERS
U/THE FLORIDA GIFTS TO MINORS ACT                 U/THE FLORIDA GIFTS TO MINORS ACT                  U/THE FLORIDA GIFTS TO MINORS ACT
PO BOX 4143                                       4 KING GEORGE DRIVE                                1 STERLING HILL LN
CONCORD, NH 03302-4143                            LONDONDERRY, NH 03053-2816                         APT 134
                                                                                                     EXETER, NH 03833-4863


MRS MAXINE RUTSKI CUST CONNIE LEE RUTSKI          MRS MAXINE RUTSKI CUST GAIL RUTSKI                 MRS MAXINE RUTSKI CUST LEO RUTSKI
U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
612 COLUMBIA ST                                   612 COLUMBIA ST                                    612 COLUMBIA ST
ELMIRA, NY 14901-2475                             ELMIRA, NY 14901-2475                              ELMIRA, NY 14901-2475



MRS MELLITA FIRSTENBERG                           MRS MERLE SAMUELS CUST DONALD ROY SAMUELS          MRS MILDRED HAHN CUST CAROL ANN HAHN
PO BOX 100404                                     U/THE N Y UNIFORM GIFTS TO MINORS ACT              U/THE OHIO UNIFORM GIFTS TO MINORS ACT
VANDERVEER STATION                                21 CHURCHILL RD                                    5706 CHEROKEE ROAD
BROOKLYN, NY 11210-0404                           TENAFLY, NJ 07670-3123                             LYNDHURST, OH 44124-3049



MRS MILDRED K CERRA CUST PATRICIA J CERRA         MRS MILDRED L CHARTRAU CUST PHILIP S CHARTRAU      MRS MILDRED L SCHWEIN
U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE MO UNIFORM GIFTS TO MINORS ACT               1070 W JEFFERSON ST
746 ROUTE 44-55                                   925 HAWTHORNE                                      FRANKLIN, IN 46131-2179
HIGHLAND, NY 12528                                SIKESTON, MO 63801-4713
                   09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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MRS MILDRED LASKE CUST MICHAEL LASKE                 MRS MILDRED MARKOWITZ CUST HARVEY STUART MARKOWITZMRS MIRA T LEHR CUST PAUL TAGER LEHR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT             UNDER THE FLORIDA GIFTS TO MINORS ACT
6 HORIZON RD                                         10 TARA DRIVE                                     5215 PINE TREE DR
FORT LEE, NJ 07024-6652                              ROSLYN, NY 11576-2610                             MIAMI BEACH, FL 33140-2109



MRS MIRIAM BLAUSTEIN                                 MRS MIRIAM BRONSTEIN                                MRS MIRIAM R BELL CUST ROBERT B BELL 3RD
544 ASBURY ST                                        5333 GEORGIA PEACH AVE                              U/THE S C UNIFORM GIFTS TO MINORS ACT
NEW MILFORD, NJ 07646-2002                           PORT ORANGE, FL 32128-7534                          7621 LOST TREE ROAD
                                                                                                         WILMINGTON, NC 28411-9159



MRS MIRIAM T HEINE                                   MRS MOLLE FREEMAN CUST MICHAEL FREEMAN              MRS MOLLIE MELNICK CUST RENE MELNICK
1010 MURRAY HILL LN                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
MEMPHIS, TN 38120-2674                               571 HUNT LANE                                       1433 BROWNING RD
                                                     MANHASSET, NY 11030-2754                            PITTSBURGH, PA 15206-1737



MRS MURIEL BRATTLOF CUST JANET LYNN BRATTLOF         MRS MURIEL BRATTLOF CUST JUDITH ANNE BRATTLOF       MRS MYRNA ABRAMSON CUST ALLAN SCOTT ABRAMSON
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF          A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF         U/THE N Y UNIFORM GIFTS TO MINORS ACT
14 W PINE DRIVE                                      14 W PINE DRIVE                                     6417 NW 28TH ST
PARK RIDGE, NJ 07656-1825                            PARK RIDGE, NJ 07656-1825                           MARGATE, FL 33063-5549



MRS MYRNA L HAWKS CUST NEAL H HAWKS                  MRS MYRTLE L GILLIGAN CUST ELIZABETH ANN GILLIGAN   MRS NANCY H WHITCOMB CUST SCOTT EDWARD WHITCOMB
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT            UNDER THE NEW JERSEY U-G-M-A                        UNDER THE FLORIDA GIFTS TO MINOR ACT
11398 PACIFIC ST                                     16215 ROSE AVENUE                                   1515 SERENITY CIR
OMAHA, NE 68154-3364                                 MONTE SERRENO, CA 95030-4222                        NAPLES, FL 34110-4129



MRS NANCY HOLOUBEK CUST ELIZABETH ANN HOLOUBEK       MRS NANCY L HAIG                                    MRS NANCY S ORNSTEEN CUST MISS MARJORIE LYNNE ORNS
U/THE WIS UNIFORM GIFTS TO MINORS ACT                511 229TH LN NE                                     U/THE MASS UNIFORM GIFTS TO MINORS ACT
4465 DOUGLAS AVE                                     EAST BETHEL, MN 55005-9804                          28 BEECHWOOD RD
BRONX, NY 10471-3525                                                                                     WELLESLEY, MA 02482-2337



MRS NATALIE R LIBERATORE CUST LEONARD R LIBERATORE   MRS NAUDINE L JENSEN CUST JEFFREY W JENSEN          MRS NOEL B PERRITT CUST MARION BENNETT PERRITT
UNDER THE PENNSYLVANIA U-G-M-A                       U/THE UTAH UNIFORM GIFTS TO MINORS ACT              U/THE ALA UNIFORM GIFTS TO MINORS ACT
1102 CHILDS AVE                                      1160 RANCHO BLVD                                    PO BOX 828
DREXEL HILL, PA 19026-4005                           OGDEN, UT 84404-4127                                MADISON, AL 35758-0828



MRS NOREEN E BALLANTYNE                              MRS NORMA B UIBLE CUST FRANK R UIBLE III            MRS NORMA B UIBLE CUST L SAMUEL UIBLE
1002-121 LING ROAD                                   UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW      UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
SCARBORO ON                                          7720 W BILTMORE                                     7720 W BILTMORE
M1E 4Y2 CANADA                                       ST LOUIS, MO 63105-2608                             ST LOUIS, MO 63105-2608



MRS NORMA J SEIGMAN CUST DEAN SEIGMAN JR             MRS NORMA W WILDGEN CUST RICHARD A WILDGEN          MRS NORRIS L GOODFRIEND CUST GENA SUE GOODFRIEND
U/THE PA UNIFORM GIFTS TO MINORS ACT                 U/THE MICH UNIFORM GIFTS TO MINORS ACT              U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
231 MELINDA DR                                       4662 OAKLAWN                                        506 N POST OAK LANE
YORK, PA 17404-6226                                  LOT 133                                             HOUSTON, TX 77024-4621
                                                     KALAMAZOO, MI 49009


MRS PATRICIA A CLINTON CUST DAVID CLINTON            MRS PATRICIA A GLENN CUST JAMES R GLENN UGMA IL     MRS PATRICIA BLINDER CUST JANE ELIZABETH BLINDER
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         315 1300TH ST                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT
1944 W VIA MADONNA                                   NEW HOLLAND, IL 62671-6050                          285 DOLPHIN DR
LOMITA, CA 90717-3623                                                                                    WOODMERE, NY 11598-1815
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MRS PATRICIA H GAGLIARDI CUST MARIE ANNE GAGLIARDI   MRS PATRICIA H GAGLIARDI CUST MISS GINA ANNE GAGLIARDIMRS PATRICIA K MC DOWELL CUST LAURA M MC DOWELL
U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE MASS UNIFORM GIFTS TO MINORS ACT
37 SUMMIT TRL                                        5233 LARAE DR                                         PO BOX 304
SPARTA, NJ 07871-1430                                ERIE, PA 16506-5293                                   EAST DENNIS, MA 02641-0304



MRS PATRICIA K MC DOWELL CUST MARK P MC DOWELL       MRS PATRICIA KLEINHOFFER CUST CANDACE DALE KLEINHOFFER
                                                                                                        MRS PATRICIA KLEINHOFFER CUST KARA LYNN KLEINHOFFER
U/THE MASS UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
PO BOX 304                                           15974 MONTEGO BAY CT                               15794 MONTEGO BAY CT
EAST DENNIS, MA 02641-0304                           CLINTON TOWNSHIP, MI 48035                         CLINTON TWP, MI 48035-1036



MRS PATRICIA KLEINHOFFER CUST LYNWOOD B KLEINHOFFERMRS
                                                    2ND PATRICIA M PASSANANTE CUST CHERYL ANN PASSANANTE
                                                                                                       MRS PATRICIA VELLA CUST CATHERINE VELLA
U/THE MICHIGAN U-G-M-A                             UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW      U/THE CAL UNIFORM GIFTS TO MINORS ACT
15794 MONTEGO BAY CT                               912 LABONNE                                         2501 22ND AVE
CLINTON TOWNSHIP, MI 48035-1036                    BALLWIN, MO 63021-6907                              SAN FRANCISCO, CA 94116-3029



MRS PAULA B REENS CUST BRIAN ELI REENS               MRS PAULETTE PATRICIA HINCKLEY CUST CHRISTOPHER ANDREW
                                                                                                        MRS HINCKLEY
                                                                                                             PAULINE AUGMA
                                                                                                                        TODD CUST PAUL ALAN TODD
U/THE CONN UNIFORM GIFTS TO MINORS ACT               IA                                                 U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
9 FOREST LN                                          886 PARK PL                                        2109 WINANS AVE
WILTON, CT 06897-1914                                IOWA CITY, IA 52246-2937                           FLINT, MI 48503-5857



MRS PEARL CHOW CUST LESLIE CHOW                      MRS PEGGY F KASDAN CUST MARTIN Z KASDAN JR UGMA     MRS PEGGY STEINFIRST BLUMBERG
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         STARKS BLDG #995 455 S 4TH AVE                      3455 SOUTH CORONA ST
133 NUEVA AVE                                        LOUISVILLE, KY 40202-2593                           APT 136
SAN FRANCISCO, CA 94134-2420                                                                             ENGLEWOOD, CO 80113-2864



MRS PHYLISS A DONALD CUST MURRAY C DONALD            MRS PHYLLIS B RUDNICK CUST MICHAEL R RUDNICK        MRS PHYLLIS DANZIG CUST JILL ELLEN DANZIG
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
8333 OLD HARBOR                                      PO BOX 800741                                       156 CARRIAGE LN
GRAND BLANC, MI 48439-8060                           DALLAS, TX 75380-0741                               PLAINVIEW, NY 11803-1528



MRS PHYLLIS ELOISE WEINSTEIN CUST BARBARA LYNN WEINSTEIN
                                                    MRS PHYLLIS K MITCHEL CUST DAVID C MITCHEL           MRS PHYLLIS K MITCHEL CUST RALPH H MITCHEL
U/THE MARYLAND U-G-M-A                              U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT
516 GREENLEAF CT                                    521 RAVEN WAY                                        521 RAVEN WAY
POMPTON PLNS, NJ 07444-1537                         NAPLES, FL 34110-1167                                NAPLES, FL 34110-1167



MRS PHYLLIS MILSTEIN                                 MRS PHYLLIS STEIN CUST VICKEY STEIN U/THE NEW YORK U-G-M-A
                                                                                                           MRS PRICELLA OLANS CUST STEPHEN OLANS
5110 SAN FELIPE ST                                   PO BOX 160                                            U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT
UNIT 343W                                            ATLANTIC BCH, NY 11509-0160                           2440 OVERLOOK RD APT 21
HOUSTON, TX 77056-3672                                                                                     CLEVELAND, OH 44106-2422



MRS PRISCILLA GLOSSOP CUST SARAH JANE GLOSSOP        MRS PRISCILLA GLOSSOP CUST THOMAS VICTOR GLOSSOP    MRS PURIE DU ENGELS CUST BRIAN CHRISTOPHER ENGELS
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT              U/THE VA UNIFORM GIFTS TO MINORS ACT
4609 SW 56TH TERRACE                                 21854 SIEGAL DR                                     8705 KIBLERCREST DR
GAINESVILLE, FL 32608                                NOVI, MI 48375                                      MECHANICSVLLE, VA 23116



MRS REBECCA D JONES CUST LEM DALE JONES              MRS REGINA M RAINEY CUST EILEEN ANNE RAINEY         MRS REGINA PERNIKOFF CUST DAVID JOEL PERNIKOFF
U/THE TENN UNIFORM GIFTS TO MINORS ACT               U/THE N J UNIFORM GIFTS TO MINORS ACT               U/THE MO UNIFORM GIFTS TO MINORS ACT
199 RHOADES LN                                       1 AKRON AVENUE                                      328 CABIN GROVE LANE
HENDERSONVILLE, TN 37075-8404                        WESTMONT, NJ 08108-2216                             SAINT LOUIS, MO 63141-8172
                  09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                         Part 8 of 8 Pg 309 of 440
MRS REN HYINK CUST SCOTT MICHAEL BURNHAM           MRS RENA GELERNTER CUST ARI GELERNTER UGMA NY      MRS REVELLE BERMAN CUST MARSHALL P BERMAN
A MINOR UNDER THE LAWS OF GEORGIA                  7623 168TH STREET                                  U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
2700 WYNDHAM LANE                                  HILLCREST, NY 11366-1333                           364 BARBERRY
REDDING, CA 96001-3920                                                                                HIGHLAND PARK, IL 60035-4456



MRS RHODA SCHARF CUST STEPHEN ANDREW SCHARF        MRS RIETA JEAN GRAY CUST RODNEY A GRAY             MRS RIME D SANDERS
U/THE N J UNIFORM GIFTS TO MINORS ACT              U/THE INDIANA UNIFORM GIFTS TO MINORS ACT          PO BOX 104975
23 HAMPSHIRE LN                                    4652 CLIFTY CT                                     JEFFERSON CTY, MO 65110-4975
BOYNTON BEACH, FL 33436-7414                       ANDERSON, IN 46012-9703



MRS RITA ANNE ELLSWORTH CUST MISS JOAN ELLSWORTH   MRS RITA BERNSTEIN CUST BRENDA LYNN BERNSTEIN U/THE NYU-G-M-A
                                                                                                       MRS RITA CASTAGNA CUST CATHERINE CASTAGNA
U/THE N Y UNIFORM GIFTS TO MINORS ACT              ATTN BRENDA L SAPIR                                 U/THE N Y UNIFORM GIFTS TO MINORS ACT
21 RYDER AVENUE                                    10779 SEACLIFF CIRCLE                               12 WHEATLEY RD
DIX HILLS, NY 11746-6108                           BOCA RATON, FL 33498-6356                           GLENHEAD, NY 11545-2906



MRS RITA CASTAGNA CUST PAUL CASTAGNA               MRS RITA E CORDILL CUST JAMES KELLY CORDILL        MRS RITA FRAZER CUST IRA FRAZER
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE CAL UNIFORM GIFTS TO MINORS ACT              U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
12 WHEATLEY RD                                     22125 PALOS VERDES BLVD                            3315 SAN AMADEO UNIT B
GLENHEAD, NY 11545-2906                            TORRANCE, CA 90503-6841                            LAGUNA WOODS, CA 92637-2972



MRS RITA FRIEDMAN CUST CAROL FRIEDMAN              MRS RITA KLEIN CUST SHELIA KLEIN                   MRS ROBERTA KIRSHNER CUST MISS CARLA DAWN KIRSHNER
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE PA UNIFORM GIFTS TO MINORS ACT
312 N BROOKSIDE AVE                                275 WEBSTER AVE 1J                                 89 MARY ST
FREEPORT, NY 11520-1307                            BROOKLYN, NY 11230-1206                            SHAVERTOWN, PA 18708-1013



MRS ROBIN K DUNKLE CUST ROBERT JAY DUNKLE          MRS ROCHELLE HARRIS CUST DAVID HARRIS              MRS ROLANDE MIRAKIAN CUST ROSE MIRAKIAN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW     U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
9248 STANSEL CIR                                   10381 OXFORD HILL DR #18                           21 SAILORS LANE
DAYTON, OH 45458                                   ST LOUIS, MO 63146-6602                            NORTON, MA 02766-1666



MRS ROMA A KENT CUST JOSHUA D KENT                 MRS ROSALIE G SILVERSTEIN CUST MARC SILVERSTEIN    MRS ROSE ANN SUNDAY CUST DEANNA LYNN SUNDAY
A MINOR UNDER THE LOUISIANA GIFTS TO MINORS        U/THE CALIF UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT
254 PINE ST                                        130 DAPPLEGRAY RD                                  18164 CHILLICOTHE RD
NEW ORLEANS, LA 70118-3645                         BELL CANYON, CA 91307-1011                         CHAGRIN FALLS, OH 44023-4878



MRS ROSE BURNSTEIN & MARC BURNSTEIN JT TEN         MRS ROSE KOPLOW CUST STEVEN H KOPLOW               MRS ROSE M MULLIGAN CUST MISS MICHELE ROSE MULLIGAN
66 LA GRANDE PRINCESS                              U/THE MASS UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT
CHRISTIANSTED                                      12 HARRIS ST #1                                    107 VESEY STREET
VIRGIN ISLAND                                      BROOKLINE, MA 02446-4933                           BROCKTON, MA 02301-6532
820 VIRGIN ISLANDS OF THE USA


MRS ROSE M SPIEGLEMAN CUST JULIE LYNN SPIEGLEMAN   MRS ROSE W LONG CUST BERNARD A LONG                MRS ROSE WAITS CUST CHARLES M WAITS
U/THE COLO UNIFORM GIFTS TO MINORS ACT             U/THE D C UNIFORM GIFTS TO MINORS ACT              U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
40 SILVER FOX CIR                                  8633 DANGERFIELD PL                                554 HARLEM RD
GREENWOOD VILLAGE, CO 80121-2129                   CLINTON, MD 20735-2800                             WEST SENECA, NY 14224-1151



MRS ROSELYN MC CLENDON CUST MISS CAROL MC CLENDON MRS ROSEMARY ROUSH CUST DIANE LOUISE ROUSH          MRS ROSEMARY ROUSH CUST PATRICIA LOUISE ROUSH
U/THE MICH UNIFORM GIFTS TO MINORS ACT            U/THE OHIO UNIFORM GIFTS TO MINORS ACT              U/THE OHIO UNIFORM GIFTS TO MINORS ACT
1965 HYDE PARK DR                                 1766 EL CODO WAY                                    1799 BALSA AVE
DETROIT, MI 48207-3819                            SAN JOSE, CA 95124-1807                             SAN JOSE, CA 95124-1863
                   09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
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MRS ROSEMARY ROUSH CUST WILLIAM DALLAS ROUSH     MRS ROSEMARY SASSO CUST MARY ELIZABETH SASSO      MRS ROSEMARY SASSO CUST PETER M SASSO
U/THE OHIO UNIFORM GIFTS TO MINORS ACT           U/THE CONN UNIFORM GIFTS TO MINORS ACT            U/THE CONN UNIFORM GIFTS TO MINORS ACT
6564 CAMELIA DR                                  379 RACEBROOK ROAD                                379 RACEBROOK ROAD
SAN JOSE, CA 95120-4606                          ORANGE, CT 06477-3142                             ORANGE, CT 06477-3142



MRS ROSEMMA C ANDERSON CUST MARY E ANDERSON      MRS ROSLYN H SCHECKNER                            MRS ROSLYN LETTVIN CUST EVE LESLIE LETTVIN
U/THE OHIO UNIFORM GIFTS TO MINORS ACT           PO BOX 566658                                     U/THE ILL UNIFORM GIFTS TO MINORS ACT
1614 DALE ST                                     MIAMI, FL 33256-6658                              151 W 16TH ST
SAN DIEGO, CA 92102-1428                                                                           NEW YORK, NY 10011-6284



MRS ROSLYNN GOLDMAN CUST LISA M GOLDMAN          MRS RUBY K JOHNSON CUST SUSAN K JOHNSON           MRS RUTH ADAMS CUST WENDELL D ADAMS
U/THE MASS UNIFORM GIFTS TO MINORS ACT           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
11800 BEEKMAN PL                                 122 15TH AVE                                      92 WALNUT ST
POTOMAC, MD 20854-2177                           SAN FRANCISCO, CA 94118-1011                      SOUTHPORT, IN 46227-5187



MRS RUTH ANN RANDOLPH CUST DAVID CHARLES RANDOLPH MRS RUTH ARONSON CUST ROBIN BETH ARONSON         MRS RUTH C OTIS CUST TED RICHARD OTIS
U/THE OHIO UNIFORM GIFTS TO MINORS ACT            U/THE MASS UNIFORM GIFTS TO MINORS ACT           U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT
1011 WINDING WAY                                  16 BEACH ROAD                                    9139 KIRKWOOD LN N
COVINGTON, KY 41011-1135                          WINTHROP, MA 02152-1102                          MAPLE GROVE, MN 55369-3969



MRS RUTH H POWERS CUST WRIGHT C POWERS JR        MRS RUTH HEMINGWAY MITMAN CUST GRETCHEN HEMINGWAYMRS
                                                                                                   MITMAN
                                                                                                       RUTH HEMINGWAY MITMAN CUST STEPHAN CONRAD MIT
A MINOR UNDER THE LAWS OF GEORGIA                U/THE VIRGINIA U-G-M-A                           U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
309 JOHNSTON ST                                  31 STEEP HOLLOW LANE                             31 STEEP HOLLOW LANE
SAVANNAH, GA 31405-5608                          WEST HARTFORD, CT 06107-3521                     WEST HARTFORD, CT 06107-3521



MRS RUTH KAPLAN CUST SUSAN P KAPLAN              MRS RUTH L CAMERON                                MRS RUTH L JACOBSON CUST MEG JACOBSON
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       & MRS MARY CAMERON NEBEL & MRS LORNA CAMERON      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
201 E 79TH ST S F                                ADDISON JT TEN                                    870 DEMOCRAT
NEW YORK, NY 10021-0830                          57 ELDER DRIVE                                    BELLINGHAM, WA 98221-8829
                                                 MARQUETTE, MI 49855-1668


MRS RUTH LEVINE CUST LOUIS S LEVINE              MRS RUTH R LANE CUST DAVID LANE                   MRS RUTH SCHIMMEL CUST DAVID MARTIN SCHIMMEL
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT        U/THE N Y UNIFORM GIFTS TO MINORS ACT
89 WOODHILL RD                                   RR#1 BOX 221                                      21-C LANCASTER CT
NEWTOWN, PA 18940                                CAVE IN ROCK, IL 62919-9750                       WAYNE, NJ 07470-7818



MRS SALLY CRANE CUST PETER ROSS CRANE            MRS SALLY JO JOHNSON CUST JEFFREY WHITE JOHNSON   MRS SALLY JO JOHNSON CUST MARK FRIDRICH JOHNSON
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT       U/THE ILL UNIFORM GIFTS TO MINORS ACT             U/THE ILL UNIFORM GIFTS TO MINORS ACT
850 RIVERWOOD ROAD                               131 W 11TH ST                                     1411 ASHMORE DR
LAKE FOREST, IL 60045-2555                       MT CARMEL, IL 62863-1405                          EVANSVILLE, IN 47725-6599



MRS SALLY JO JOHNSON CUST SEAN PETER JOHNSON     MRS SANDRA COBURN CUST RUTH LAURA COBURN          MRS SANDRA E GUSTIN CHARLOTTE A TEICHER TR
U/THE ILL UNIFORM GIFTS TO MINORS ACT            U/THE MASS UNIFORM GIFTS TO MINORS ACT            THE LEAVY FAMILY TRUST 12/20/71
414 N PEAR ST APT 1                              26 BRADFORD ROAD                                  62 LEOLEIS DRIVE
MOUNT CARMEL, IL 62863-2141                      NATICK, MA 01760-1238                             MARLBOROUGH, MA 01752-3153



MRS SANDRA RAIDER CUST PETER KENNETH RAIDER      MRS SANDRA RAIDER CUST RENEE MARA RAIDER          MRS SARA B SIMMS CUST DAVID BACON
U/THE N Y UNIFORM GIFTS TO MINORS ACT            U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
8845 SHOAL CREEK LN                              8845 SHOAL CREEK LN                               2023-B 7TH ST
BOYNTON BEACH, FL 33437-2506                     BOYNTON BEACH, FL 33437-2506                      BERKELEY, CA 94710-2024
                  09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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MRS SARA BRYAN CREDILLE CUST MISS SARA CHRISTINE CREDILLE
                                                    MRS SARA WEST CUST LEE GEORGE WEST                  MRS SARAH SPECTOR CUST ALVIN H SPECTOR
A MINOR UNDER THE LAWS OF GA                        U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT          U/THE N Y UNIFORM GIFTS TO MINORS ACT
2123 YARBROUGH WAY                                  241 HALSEY STREET                                   105 PARKSIDE COURT
DACULA, GA 30019-6769                               BROOKLYN, NY 11216-2403                             BUFFALO, NY 14214-1049



MRS SARAH Y B CUMMINGS CUST MISS DONNA KAYE CUMMINGS
                                                  MRS SELMA HOROWITZ CUST DAVID HOROWITZ                MRS SHARON L ZUCKERMAN CUST BARRY SCOTT ZUCKERMA
U/THE S C UNIFORM GIFTS TO MINORS ACT             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE N J UNIFORM GIFTS TO MINORS ACT
305 QUAKER ST                                     137-81 75TH ROAD                                      11 GLEN HAVEN DR
ST GEORGE, SC 29477-2534                          FLUSHING, NY 11367-2815                               NEW CITY, NY 10956-5806



MRS SHEILA F ELLMANN CUST CAROL ELIZABETH ELLMANN   MRS SHERRYL HURWITZ CUST SCOTT R HURWITZ            MRS SHIRLEE FINKEL CUST MARC R FINKEL
U/THE MICH UNIFORM GIFTS TO MINORS ACT              U/THE MASS UNIFORM GIFTS TO MINORS ACT              U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
28000 WEYMOUTH DR                                   45 HEMLOCK DR                                       911 MOYER ROAD
FARMINGTON HILLS, MI 48334-3267                     NATICK, MA 01760-3134                               YARDLEY, PA 19067-3018



MRS SHIRLEY ANN SELBY CUST RONALD KENNETH SELBY     MRS SHIRLEY CARPARELLI CUST PETER CARPARELLI        MRS SHIRLEY J BELL CUST KATHLEEN A BELL
U/THE MICH UNIFORM GIFTS TO MINORS ACT              U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
5107 N VASSAR RD                                    321 SO 6TH ST APT 312                               11461 REDBRICK CT
FLINT, MI 48506-1752                                PHILADELPHIA, PA 19106                              PROVIDENCE FORGE, VA 23140-4425



MRS SHIRLEY JAFFE                                   MRS SHIRLEY L BETANCOURT CUST JOANNE BETANCOURT     MRS SHIRLEY P BURNETT CUST MARK P BURNETT
ATTN STERNSTEIN                                     U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
73 PUDDING HOLLOW RD                                4 PERSIMMON LANE                                    5217 WHISPERING OAK
CHARLEMONT, MA 01339-9620                           GLASTONBURY, CT 06033                               WEST BLOOMFIELD, MI 48322-3930



MRS SHIRLEY R VAN DUYS CUST JOHN K VAN DUYS         MRS SHRINE RACOMA CUST SHAWN M RACOMA               MRS SHRINE RACOMA CUST TAMMY T RACOMA
U/THE FLORIDA GIFTS TO MINORS ACT                   U/THE HAWAII UNIFORM GIFTS TO MINORS ACT            U/THE HAWAII UNIFORM GIFTS TO MINORS ACT
2313 BERMUDA HILLS RD                               33 KOIKOI PLACE                                     33 KOI KOI PLACE
COLUMBIA, SC 29223-6805                             HAIKU, HI 96708-5035                                HAIKU, HI 96708-5035



MRS SOLVEIG PERRY CUST GEIR PERRY                   MRS STEPHANIE R KLEIN CUST JENNIFER KLEIN UGMA CA   MRS STEPHANIE WOJACZYK CUST KENNETH WOJACZYK
A MINOR UNDER THE MASSACHUSETTS U-G-M-A             18623 CELTIC                                        A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW
C/O MICHELLE MIRELES                                NORTHRIDGE, CA 91326-2707                           JERSEY
960 ROSEA COURT                                                                                         140 LUKE ST MORGAN
NAPLES, FL 34104-4472                                                                                   SOUTH AMBOY, NJ 08879-2231


MRS SUE FRIEDMAN CUST JUDITH F FRIEDMAN             MRS SUSAN A PAPE CUST MICHELE A PAPE UGMA MI        MRS SUSAN E MATTINGLY CUST DAVID M MATTINGLY JR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          8107 198TH AVE                                      U/THE OHIO UNIFORM GIFTS TO MINORS ACT
43 WHITSON ST                                       BRISTOL, WI 53104-9586                              2089 INDIAN RIPPLE RD
FOREST HILLS, NY 11375-6851                                                                             XENIA, OH 45385-8940



MRS SUSAN F GOOD                                    MRS SUSAN KIRSCHENBAUM CUST CHRISTOPHER RAUSCHENBERG
                                                                                                    MRS SUSAN RANDOLPH NICHOLSON CUST MISS KRISTIN E NIC
PO BOX 771521                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT           U/THE WISCONSIN U-G-M-A
STEAMBOAT SPR, CO 80477-1521                        525 S E 16TH                                    2021 WEST MARQUETTE ST
                                                    PORTLAND, OR 97214-2613                         APPLETON, WI 54914-6003



MRS SUSIE DEPILLIS CUST LISETTE DEPILLIS            MRS SUZANNE MARSH CUST LINDA MARSH                  MRS SUZANNE REINES
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        U/THE CONN UNIFORM GIFTS TO MINORS ACT              15 BRIARFIELD DR
18100 SHADY SIDE LANE                               PO BOX 1787                                         GREAT NECK, NY 11020-1409
RIVERSIDE, CA 92504-9733                            MT PLEASANT, SC 29465-1787
                   09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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MRS SYBIL SEIDEL CUST ADAM SEIDEL                  MRS SYLVIA BERLIN CUST BRUCE BERLIN                 MRS SYLVIA DIAMOND CUST JOEL STUART DIAMOND
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE N Y UNIFORM GIFTS TO MINORS ACT
8810 REDONDO DR                                    8 SWARTHMORE ROAD                                   19060 KILLOCH WAY
DALLAS, TX 75218-4142                              SCARSDALE, NY 10583-7570                            NORTHRIDGE, CA 91326-1028



MRS SYLVIA G GOLDMAN CUST KIMBERLY BETH GOLDMAN    MRS SYLVIA KLEIN CUST GARY KLEIN UGMA NJ            MRS TEDDI ORGELL CUST PETER ORGELL
U/THE WEST VIRGINIA GIFTS TO MINORS ACT            3305 WATERFORD DR                                   U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
52 WEBSTER ACRES                                   CLEARWATER, FL 33761-2016                           904 THISTLE GATE RD
ST LOUIS, MO 63119-4055                                                                                AGOURA, CA 91377-3917



MRS TERRI L WEINRICH                               MRS TERRY L HEINZ                                   MRS THALYIA SHIVER CUST WILLIAM RALPH EDWARD SHIVER
1407 HILLVIEW                                      1505 LEOPARD COURT                                  A MINOR UNDER THE LAWS OF GA
NORFOLK, NE 68701-2413                             APOPKA, FL 32712-3023                               4504 OLD COSSETA RD
                                                                                                       COLUMBUS, GA 31903-2439



MRS THERESA T ST ONGE CUST SUSAN R ST ONGE         MRS TOBY L ROSEN CUST MICHAEL IRA ROSEN             MRS TOSHIE MURAMOTO & GARY I MURAMOTO JT TEN
U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT          6424 HOLSTEIN WAY
10 GEORGE ST                                       1409 MILLBROOK LN                                   SACRAMENTO, CA 95831-2224
TERRYVILLE, CT 06786-6628                          WYLIE, TX 75098-8427



MRS VANDA E BALUKAS CUST DANA M BALUKAS            MRS VELMA S GEROW CUST JOHN W GEROW JR              MRS VERA P HIGUERA CUST DONALD M HIGUERA JR UGMA VA
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         U/THE OHIO UNIFORM GIFTS TO MINORS ACT              PO BOX 560124
6402 GLEASON CT                                    8181 MUNSON RD                                      MONTVERDE, FL 34756-0124
MINNEAPOLIS, MN 55436-1848                         MENTOR, OH 44060-2404



MRS VERA R HUGHES CUST MICHAEL DEAN HUGHES         MRS VERNA KLOS & EDWARD KLOS JT TEN                 MRS VIOLET OBADIA CUST LINDA R OBADIA
U/THE CAL UNIFORM GIFTS TO MINORS ACT              3778 115TH AVE                                      U/THE N Y UNIFORM GIFTS TO MINORS ACT
BOX 1827                                           EVART, MI 49631-8064                                1242 SMITHWOOD DRIVE #2
SAINT GEORGE, UT 84771-1827                                                                            LOS ANGELES, CA 90035-1128



MRS VIRGINIA E HULBERT CUST JUDITH HULBERT         MRS VIRGINIA M ROLLESTON CUST KEITH JOH ROLLESTON   MRS VIVIAN D EBEL CUST STEPHEN M GRAY
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
1235 MCKEEL ST                                     743 SADDLEBROOK DR                                  5015 FOUNTAIN WOOD CIRCLE
YORKTOWN HEIGHTS, NY 10598-5002                    TARPON SPRINGS, FL 34689-8020                       GEORGETOWN, TX 78628-1913



MRS VIVIAN I BOOTH CUST DEBORAH V BOOTH            MRS WANDA L WOOLF CUST WANDA ARLEEN WOOLF           MRS WILHELMINA BOURNE CUST ALYCE JENKINS
U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE ARIZONA UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
100 SPRING GARDEN ST                               1648 E GABLE AVE                                    225 E 106TH ST #20E
HAMDEN, CT 06517-1914                              MESA, AZ 85204-6010                                 NEW YORK, NY 10029-7627



MRS WILLIAM BREINER CUST JASON MICHAEL BREINER UGMA PA
                                                    MRS WINIFRED M SCHMEDTJE CUST DIANE M SCHMEDTJE    MRS WINIFRED M SCHMEDTJE CUST JOHN F SCHMEDTJE
1 ECHO HILL RD                                      UNDER THE MASSACHUSETTS U-G-M-A                    UNDER THE MASSACHUSETTS U-G-M-A
WEST GROVE, PA 19390-9469                           7136 CREEKSIDE LANE                                2619 AVENHAM AVE S/W
                                                    INDIANAPOLIS, IN 46250-2824                        ROANOKE, VA 24014-1506



MRS WINIFRED R MC LAUGHLIN CUST JOHN ROURKE MC LAUGHLIN
                                                   MUI KWAI ROSE KONG                                  MURIEL A DONOGHUE & EUGENE J DONOGHUE JR TR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       1A WEST COAST PLACE                                 MURIEL A DONOGHUE LIVING TRUST UA 6/16/95
146 ANTHONY MACHESTER                              SINGAPORE                                           925 LANGLEY DR
MANCHESTER, NH 03103                               REBULIC OF                                          ROCHESTER HILLS, MI 48309-1504
                                                   127605 SINGAPORE
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                             Part 8 of 8 Pg 313 of 440
MURIEL A MAHER TR                                     MURIEL E BOYD CUST HENRY M BOYD                      MURIEL H SNELLER CUST CLAY H SNELLER
UA 11/30/89 MURIEL A MAHER REVOCABLE INTERVIVOS       U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT        A MINOR PURS TO SECS 1339 /26 INCL OF THE REVISED
TRUST                                                 1054 ROUTE 52                                        CODE OF OHIO
2910 PINEWOOD CT                                      CARMEL, NY 10512-4727                                515 W WAYNE AVE
FULLERTON, CA 92835-2336                                                                                   WOOSTER, OH 44691-1582


MURIEL R MORGAN TR MURIEL R MORGAN REVOCABLE LIVING MURIELENE
                                                    TRUST UA 03/18/03
                                                               C STEPHENS                                  MURIELENE C STEPHENS & OTHO L STEPHENS JT TEN
ALAMO, TX 78516                                     PO BOX 262546                                          PO BOX 262546
                                                    HOUSTON, TX 77207-2546                                 HOUSTON, TX 77207-2546




MURL E KLEINSCHMIDT                                   MURRAY BARLOWE CUST JEFFREY S BARLOWE                MURRAY SHAVEL CUST IRA H SHAVEL
927 WILLIAM ST                                        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
MIAMISBURG, OH 45342-1722                             253 OAK ST                                           5516 DEVON RD
                                                      MEDFORD, NY 11763-4035                               BETHESDA, MD 20814-1010



MURRY PANTIRER CUST LAWRENCE PANTIRER                 MYRA FELLS CUST STEVEN FELLS                         MYRA GERSTENSCHLAGER TR
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UA 06/17/83 LLOYD GERSTENSCHLAGER REVOCABLE LIVING
5 WINDERMERE COURT                                    76 OSPREY CIRCLE                                     TRUST
LIVINGSTON, NJ 07039-3422                             CALLAWASSIE ISLAND                                   1576 VAN WAGONER DR
                                                      OKATIE, SC 29909                                     SAGINAW, MI 48603-4413


MYRA TAPLINGER & ARMIN R TAPLINGER & DIANA L KRADJA TRMYRON D HANSEN & CATHERINE M HANSEN TR               MYRON D RICE & ANN S RICE TR
MYRA TAPLINGER REVOCABLE TRUST UA 07/11/95            MYRON DWAIN & CATHERINE MAY HANSEN TRUST UA 2/5/00   U/THE MYRANN RICE TRUST AND ANY AMENDMENTS
5555 COLLINS AVE #8R                                  79 TEAK RD                                           609 VALLEY VIEW DR
MIAMI BEACH, FL 33140-2542                            OCALA, FL 34472-8758                                 MESQUITE, NV 89027-3112



MYRON L BORAWICK CUST JOHN D BORAWICK                 MYRON L HATFIELD & DONNA F HATFIELD TR               MYRON LEVBARG CUST DEBORAH BETH LEVBARG
U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT          MYRON L & DONNA F HATFIELD REV TRUST UA 02/09/00     A MINOR U/ ART 8-A OF PERS PROP LAW OF N Y
121 SW 192ND ST                                       1240 AUTUMN WALK                                     9 SWAN PLACE
SEATTLE, WA 98166-4147                                HAMILTON, OH 45013-5149                              NISSEQUOGUE, NY 11780-1335



MYRON M BLUME CUST MARY ELIZABETH BLUME               MYRTLE A BRADFORD CROUT USUFRUCT THOMAS HOWARD CROUT
                                                                                                      MYWINJRH ANDERSON & DAWN RAE ANDERSON TR
U/THE OKLA UNIFORM GIFTS TO MINORS ACT                & CATHY JANE CROUT LUCIA NAKED OWNERS           ANDERSON FAMILY TRUST UA 06/04/01
4909 NW 62ND ST                                       1435 DUCHESS DR                                 828 SANTA HELENA
OKLAHOMA CITY, OK 73122-7412                          BATON ROUGE, LA 70815-2901                      HENDERSON, NV 89002-9016



N LEWIS MORRIS CUST GINGER T MORRIS                   N LEWIS MORRIS CUST NEAL L MORRIS                    N LORRAINE KLEIN
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT            U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT           BOX 44
18 ARROWHEAD CIRCLE                                   18 ARROWHEAD CIRCLE                                  OHLMAN, IL 62076-0044
SPENCER, VA 24165-3084                                SPENCER, VA 24165-3084



NADINE M BURKHART TR                                  NAEF K BASILE CUST MARIANNE THERESA BASILE           NAEIM A HENEIN & NAIRA S HENEIN JT TEN
NADINE M BURKHART REVOCABLE LIVING TRUST UA 6/24/95   U/THE N Y UNIFORM GIFTS TO MINORS ACT                785 LAKE SHORE DRIVE
101 PINE AVENUE UNIT 104                              24 PASADENA PLACE                                    GROSSE POINTE SHRS, MI 48236-1555
SNOHOMISH, WA 98290                                   MOUNT VERNON, NY 10552-1320



NAFTALI REINER                                        NAHUM SCHULMAN CUST MAOMI BARBARA SCHULMAN           NAN B COHEN STEIN
1572 40TH STREET                                      U/THE MINN UNIFORM GIFTS TO MINORS ACT               160 DORAL CT
BROOKLYN, NY 11218-4416                               SAND SPRING RD                                       DEERFIELD, IL 60015-5072
                                                      MORRISTOWN, NJ 07960-1041
                     09-50026-mg         Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                           Part 8 of 8 Pg 314 of 440
NAN CLAYTON MARTIN                                  NAN M BREIDENSTEIN                                    NAN R JULIAN CUST ROBERT R JULIAN JR
8704 153RD STREET                                   PO BOX 181                                            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
WOLFFORTH, TX 79382-4361                            MILL VALLEY, CA 94941                                 313 BLACKSTONE AVE
                                                                                                          ITHACA, NY 14850-1705



NANCI HEINMILLER                                    NANCY A ASKINS                                        NANCY A BURDER
720 NE LAKEVIEW TER                                 & REBECCA K POTTS & CHERRY L BUCKLEY & TERRY L        PO BOX 300695
BOCA RATON, FL 33431-6915                           ASKINS TR                                             DRAYTON PLNS, MI 48330-0695
                                                    6259 WORTHINGTON RD
                                                    WESTERVILLE, OH 43082


NANCY A MACKE                                       NANCY A MEINBERG                                      NANCY B ADLER CUST STEVEN M ADLER
1740 255TH ST                                       2416 VINSETTA BLVD                                    A MINOR UNDER GIFTS OF SECURITIES TO MINORS ACT
LAKE CITY, IA 51449-2129                            ROYAL OAK, MI 48073-3338                              5687 WEATHERSTONE CT
                                                                                                          SAN DIEGO, CA 92130-4826



NANCY C CARMEL                                      NANCY C LEONHARD CUST LORI ANN LEONHARD               NANCY C LUNDGREN & RAYMOND G LUNDGREN JR TR
35060 225TH AVE                                     U/THE OHIO UNIFORM GIFTS TO MINORS ACT                NANCY C LUNDGREN LIVING TRUST UA 04/05/96
GILMAN, WI 54433-9548                               3360 SOUTHDALE DR                                     531 PUNKATEEST NECK ROAD
                                                    DAYTON, OH 45409-1136                                 TIVERTON, RI 02878-4011



NANCY C MOORE CUST CHARLES M MOORE                  NANCY CHAMBERS CUST SCOTT E CHAMBERS                  NANCY E ATHA & SCOTT B ATHA TR
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT          UNDER THE FLORIDA GIFTS TO MINORS ACT                 NANCY E ATHA FAMILY TRUST FUND UA 10/06/98
215 NORTH CHERRY STREET                             4 ABERDEEN STREET                                     5605 CUERO DR
FALLS CHURCH, VA 22046-3521                         PEABODY, MA 01960-6002                                GRANBURY, TX 76049-5240



NANCY E BURKE TR                                    NANCY E JOHNSON TR                                    NANCY E PETERCHEFF & ANDREW F PETERCHEFF TR
ROBERT AND NANCY BURKE FAMILY TRUST NUMBER TWO      NANCY ELLEN JOHNSON REVOCABLE LIVING TRUST UA         UA 06/24/94 THE NANCY E PETERCHEFF LIVING TRUST
UA 12/16/93                                         02/24/03                                              PO BOX 34021
740 CASTLEDALE CT                                   2323 SW 18TH AVE                                      INDIANAPOLIS, IN 46234-0021
SAINT JOHNS, FL 32259-7276                          PORTLAND, OR 97201-2321


NANCY ELLEN VERSHURE TR                             NANCY FORD ARUFFO CUST PAUL ARUFFO                    NANCY G BAISH CUST JAMES E BAISH
NANCY ELLEN VERSHURE REVOCABLE TRUST UA 02/22/88    U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT        U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
77A CARMELITA STREET                                4600 B HUISACHE ST                                    2820 RITNER HWY
SAN FRANCISCO, CA 94117                             BELLAIRE, TX 77401-5116                               CARLISLE, PA 17013-9434



NANCY G STEIN                                       NANCY GANT HOLLIS LIFE TENANT U-W SARAH E C GANT L L HOLLIS
                                                                                                          NANCY JOHN
                                                                                                                  GREEN
                                                                                                                     P LURIE CUST DAVID R LURIE
1856 HOVSONS BLVD                                   HOLLIS LESLIE C HOLLIS M B HOLLIS REMAINDERMAN        U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
TOMS RIVER, NJ 08753-1517                           PO BOX 922                                            194 PRESIDENT ST
                                                    CRYSTAL BEACH, FL 34681                               BROOKLYN, NY 11231-3521



NANCY GRIGGS SHIPLEY SUBJECT TO THE WILL OF GLADYS WOOTEN
                                                    NANCY I KLEIN                                         NANCY J RILEY & JAMES J CONCEISON TR
HOLLINGSWORTH                                       93 BELVEDERE DR                                       UA 06/13/2008 CONCEISON FAMILY TRUST
421 CHINQUAPIN DRIVE                                YONKERS, NY 10705-2813                                7 ANDREWS ST
MARIETTA, GA 30064-3507                                                                                   NORTH EASTON, MA 02356



NANCY J STROEHLEIN                                  NANCY JEN C ARLITZ CUST JEFFREY GRAHAM ARLITZ         NANCY K HARPER & WESLEY A HARPER TR
ATTN J PALCHANES                                    A MINOR U/ P L 55 CHAP 139 OF LAWS OF N J             UA 02/27/1996 WESLEY A HARPER JR DISCLAIMER
209 ODD FELLOWS RD                                  9173 BUSH POPPY AVE                                   17300 N 88TH AVE # 134
PEMBERTON, NJ 08068-1405                            LAS VEGAS, NV 89147-7803                              PEORIA, AZ 85382
                     09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                             Part 8 of 8 Pg 315 of 440
NANCY L BEMER                                         NANCY L BEMERS                                        NANCY L HEINTZ
PO BOX 290187                                         PO BOX 290187                                         5496 HALL MARK LANE
WETHERSFIELD, CT 06129-0187                           WETHERSFIELD, CT 06129-0187                           LOCKPORT, NY 14094-6257




NANCY L MODLA & JOANNA M MODLA & EMIL J MODLA TR      NANCY LEE HEINZE                                      NANCY LIPSITZ CUST JONATHAN LIPSITZ
UA 05/27/90 EMIL J MODLA                              4707 AMBROSHIA SPRINGS LANE                           UNDER THE FLORIDA GIFTS TO MINORS ACT
2811 REDDING RD                                       KATY, TX 77494                                        1800 NE 114TH ST
COLUMBUS, OH 43221-3149                                                                                     APT 2202
                                                                                                            MIAMI, FL 33181-3413


NANCY LOUISE KLEIN                                    NANCY LYNN DIEHL WILLIAMS TOD CHARLES NELSON WILLIAMSNANCY
                                                                                                             SUBJECT
                                                                                                                  M GETHINS
                                                                                                                     TO STA
C/O WEISS                                             TOD RULES                                            C/O NANCY G STEIN
14702 BLUE SKIES                                      PO BOX 911138                                        1856 HOVSONS BLVD
LIVONIA, MI 48154-4966                                SAINT GEORGE, UT 84791                               TOMS RIVER, NJ 08753-1517



NANCY MARIE DUNLOP CUST JENNIFER ANNE DUNLOP          NANCY MEYER CUST PETER MEYER                          NANCY MOSS THOMPSON TR
UNDER THE STATE OF MICHIGAN UNIF GIFTS TO MINORS      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            UA 08/20/2004 NANCY MOSS THOMPSON
ACT                                                   838 WEST END AVE                                      GRANDCHILDREN'STRUST
104 RIVERDALE                                         N Y, NY 10025-5351                                    2340 ROCKLEDGE DR
HILLSDALE, MI 49242-1433                                                                                    ROCKLEDGE, FL 32955


NANCY PAGE HENDERSON THORSEN TR                       NANCY REIMER CUST ANDREW SCOTT REIMER                 NANCY RILETT
NANCY PAGE HENDERON THORSEN TRUST UA 11/08/96         A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J          BOX 190014
1731 FAIRWAY DRIVE                                    75 NOBLE ST APT 225                                   SAN FRANCISCO, CA 94119-0014
WILMINGTON, NC 28403-4824                             LYNNBROOK, NY 11563-2228



NANCY ROSSBACH MCSHANE                                NANCY S CYRUS & JAMES M CYRUS JT TEN                  NANCY S HARTNETT & DONALD E HARTNETT TR
& FRANCIS J BOURASSA JR & CYNTHIA BOURASSA JT TEN     4246 127 AVE                                          NANCY S HARTNETT & DONALD E HARTNETT TRUST UA
50 HAMEL AVENUE                                       ALLEGAN, MI 49010-9434                                12/04/96
PO BOX 393                                                                                                  221 BELVOIR RD
WILLIAMSTOWN, MA 01267-0393                                                                                 WILLIAMSVILLE, NY 14221-3603


NANCY S SCHWEIGER CUST ROBERT B SCHWEIGER             NANCY TERI HARRIS                                     NANCY WENTWORTH CUST KELLY ANN WENTWORTH
U/THE FLA GIFTS TO MINORS ACT                         PO BOX 220410                                         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
325 NORTHEAST 122ND ST                                HOLLYWOOD, FL 33022-0410                              5441 PEPPERMILL RD
NORTH MIAMI, FL 33161-5332                                                                                  GRAND BLANC, MI 48439-1946



NANITA DOROTHY EVERMAN & ANDREW JON EVERMAN TR        NAOFUMI NISHI                                         NAOFUMI NISHI
NANITA DOROTHY EVERMAN TRUST UA 08/29/03              2 CHOUME TAFUSE 11-25                                 2 CHOUME TAFUSE 11-25
216 CIRCLE DRIVE                                      SAGA-CITY                                             SAGA-CITY
FLUSHING, MI 48433-1546                               SAGA-PREFECTURE                                       SAGA-PREFECTURE
                                                      8400842 JAPAN                                         8400842 JAPAN


NAOMI H SOMMERS & HARRY C SOMMERS TR                  NAOMI KLEIN                                           NAOMI ROSENBLOOM CUST KATHERINE ANN ROSENBLOOM U
HARRY C & NAOMI H SOMMERS TRUST UA 02/28/06           759 OCEAN PKWY                                        U-G-M-A
4724 PINNACLE DRIVE                                   BROOKLYN, NY 11230-2238                               APT 6A
BRADENTON, FL 34208-8497                                                                                    50 E 10TH ST
                                                                                                            NEW YORK, NY 10003-6222


NAOMI T BULLION & DAVID NELSON BULLION TR             NAOMI W FITZPATRICK CUST THOMAS W FITZPATRICK         NAPOLEON PAPADAKIS
SAMUEL T BULLION TRUST UA 11/04/96 AMENDED 10/03/06   U/THE IOWA UNIFORM GIFTS TO MINORS ACT                36100 PETERSBURG 2
165 BULLION RD                                        STONEY POINT                                          STEINWANDSTR 8
SPRINGTOWN, TX 76082-4821                             STORM LAKE, IA 50588                                  GERMANY
                       09-50026-mg       Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
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NARENDRA N SANYAL & APARNA SANYAL TR               NAT FELTON CUST JILL SUSAN FELTON              NAT FELTON CUST NANCY JANE FELTON
SANYAL FAMILY REVOCABLE LIVING TRUST UA 12/18/01   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
7701 BAKER COURT                                   36 HORSESHOE LANE                              60 BALDWIN RD
DARIEN, IL 60561-4500                              MIDDLETOWN, CT 06457-7921                      BEDFORD CORNERS, NY 10549-4816



NATALIE GARDNER CUST JOHN J GARDNER                NATALIE GARDNER CUST RALPH D GARDNER JR        NATALIE M NENCKA CUST LAURA J NENCKA
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE N Y UNIFORM GIFTS TO MINORS ACT          U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT
135 CENTRAL PARK WEST                              135 CENTRAL PARK WEST                          3 PINE LANE
NEW YORK, NY 10023-2413                            NEW YORK, NY 10023-2413                        WARREN, RI 02885-1110



NATALIE PICKUS CUST PHILIP PICKUS                  NATE DAVIS INVESTMENT ACCOUNT                  NATE LAVINDER ADAMS II TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         BOX 2076                                       NATE LAVINDER ADAMS II REVOCABLE TRUST UA 04/23/98
848 HAYES STREET                                   PARKERSBURG, WV 26102-2076                     #8 SIXTY WEST DRIVE
BALDWIN, NY 11510-4644                                                                            LEXINGTON, VA 24450-1781



NATE SHAPIRO CUST FRED SHAPIRO UGMA MI             NATELLE BENDERSKY RACHLIN                      NATHAN A KEMP & KAREN F KEMP TR
PO BOX 250489                                      PO BOX 612172                                  NATHAN A AND KAREN F KEMP REV LIVING TRUST UA
FRANKLIN, MI 48025-0489                            N MIAMI, FL 33261-2172                         8/25/98
                                                                                                  47340 SAVANNAH DR
                                                                                                  MACOMB, MI 48044-2795


NATHAN ALBERT TUFTS JR & CHARLOTTE TAMBLYN TUFTS TR NATHAN COHEN CUST SUZANNE GLICKSTEIN          NATHAN J BLUESTEIN
UA TUFTS FAMILY REVOCABLE TRUST 12/13/90            UNDER THE FLORIDA GIFTS TO MINORS ACT         494 KING ST
1549 SOUTH IVY ST                                   400 BRIARWOOD CIRCLE                          CHARLESTON, SC 29403-5527
MEDFORD, OR 97501-4055                              HOLLYWOOD, FL 33024-1389



NATHAN P OZMON CUST PETER KUCHIN OZMON             NATHAN R SELTZER CUST KATHLEEN SELTZER         NATHAN S FIRESTONE CUST KERI SUE FIRESTONE
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         U/THE PA UNIFORM GIFTS TO MINORS ACT           A MINOR U/THE LAWS OF THE STATE OF MICHIGAN
5159 COACH LIFE TRAIL                              54 E 11TH ST APT 10                            ATTN KERI SUE WORKMAN
ROCKFORD, IL 61111-3509                            NEW YORK, NY 10003-6016                        21010 BUCKSKIN TRAIL
                                                                                                  ELKHORN, NE 68022-2128


NATHAN WEINBERG                                    NATHANIEL ARNOLD & ZENIA ARNOLD JT TEN         NATHANIEL BARATZ CUST IVAN SCOTT BARATZ
100 BAYVIEW DR 716                                 9241 179TH OSAGE PL                            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
SUNNY ISLES BEACH, FL 33160                        THE VILLAGE, FL 32162-0840                     222 N W 110 WAY
                                                                                                  CORAL SPRINGS, FL 33071-8128



NATHANIEL JENKINS                                  NAZRA B KHAN                                   NBCN INC
PO BOX 420034                                      C/O NAZRA KHAN MAKUS                           FBO 083001B
MIAMI, FL 33242-0034                               832 191 ST SW                                  904-SECURITIES ADMINISTRATION
                                                   LYNNWOOD, WA 98036-4908                        1410-1010 DE LA GAUCHETIERE ST WEST
                                                                                                  MONTREAL QC H3B 5J2 CANADA


NEAL A MCCARROLL                                   NEAL E LLOYD                                   NED FELDMAN CUST JAMES FELDMAN
PO BOX 340035 RYDER STATION                        3127 280TH ST                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
BROOKLYN, NY 11234-0035                            OTO, IA 51044-8001                             303 E LINDEN AVE
                                                                                                  ENGLEWOOD, NJ 07631-3716



NED I CHALAT CUST NANCY JEANNE CHALAT              NEEIM A HENEIN CUST MICHAEL N HENEIN UGMA MI   NEIL A MARTONE SR & GLORIA J MARTONE TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         785 LAKESHORE DRIVE                            UA 01/21/10 THE MARTONE FAMILY TRUST
PO BOX 98                                          GROSSE POINTE SHRS, MI 48236-1555              1910 ARMONDO DR
OAKLEY, UT 84055-0098                                                                             LADY LAKE, FL 32159
                    09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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NEIL C KOCH & MARIE B KOCH JT TEN                 NEIL J COLLINS CUST LYNNE L COLLINS                NEIL ODONNELL CUST MAREA ANNE SHIOBAN ODONNELL
N 7238 520TH ST                                   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         U/THE PA UNIFORM GIFTS TO MINORS ACT
MENOMONIE, WI 54751-1298                          692 PEAR TREE LN                                   BALLYDEVITT DONEGAL TOWN P O
                                                  GROSSE POINTE, MI 48236                            CO DONEGAL
                                                                                                     IRELAND


NEIL R FRANCOEUR                                  NEIL R ROHNER & ALMA C ROHNER TR                   NEINA E THIESSEN
4549 153RD AVENUE SE                              ROHNER FAM REVOCABLE LIVING TRUST UA 06/18/97      2481 HEIL AVE
BELLEVUE, WA 98006-2551                           4514 PORT AUSTIN RD                                EL CENTRO, CA 92243-3531
                                                  CASEVILLA, MI 48725-9666



NELL MAE THAMES                                   NELLIE CHARLESTON                                  NELLIE M STORY CUST NANCY A STORY
PO BOX 160245                                     603C WILLOW LN                                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
AUSTIN, TX 78716-0245                             WHITING, NJ 08759-3774                             7674 STATE RTE 12
                                                                                                     BARNEVELD, NY 13304-1837



NELSON F RUSSELL & GERTRUDE M RUSSELL TR          NELSON KLEIN                                       NELSON P WITHERS CUST JAMES A WITHERS
NELSON F & GERTRUDE RUSSELL TRUST UA 02/01/96     ATTN LEO & RUTH KLEIN                              A MINOR UNDER THE LAWS OF GEORGIA
70 FEARING ST                                     49 AVA CT                                          270 MOSSY WAY
BUZZARDS BAY, MA 02532-4516                       MANORVILLE, NY 11949-2516                          KENNESAW, GA 30152-5707



NELSON P WITHERS CUST MELINDA L WITHERS           NELSON P WITHERS CUST ROBERT P WITHERS             NELSON T NORDQUIST CUST JOHAN NELSON NORDQUIST
A MINOR UNDER THE LAWS OF GEORGIA                 A MINOR UNDERTHE LAWS OF GEORGIA                   UNDER THE NEW JERSEY U-G-M-A
270 MOSSY WAY                                     270 MOSSY WAY                                      PO BOX 106
KENNESAW, GA 30152-5707                           KENNESAW, GA 30152-5707                            WHITE HORSE BEACH, MA 02381-0106



NENG PIN YAP                                      NESTOR ORTIZ CUST JUSTIN EIN ORTIZ UTMA NY         NETTIE B WHITING
BLOCK 66                                          712 FOX ST APT 6D                                  12780 COUNTY ROAD 8110
MARINE PARADE ROAD 16-10                          BRONX, NY 10455-2042                               WEST PLAINS, MO 65775-5620
449300 SINGAPORE



NEVILLE S ORCHARD & BERYL W ORCHARD TR            NEWELL V CHURCHILL & GLADYS M CHURCHILL TR         NEWTON Y WALKER
UA 09/02/88 NEVILLE S ORCHARD & BERYL W ORCHARD   CHURCHILL FAM REVOCABLE LIVING TRUST UA 02/25/97   PO BOX 681732
17 SKYUKA TRAIL                                   4230 TOWER HILL RD                                 FRANKLIN, TN 37068-1732
COLUMBUS, NC 28722-8455                           HOUGHTON LAKE, MI 48629-9258



NICHOLAS A POCCIA & PHYLLIS C POCCIA TR           NICHOLAS C HEINRICH                                NICHOLAS EREMITA CUST MICHAEL EREMITA
POCCIA LIVING TRUST UA 11/04/94                   PO BOX 121                                         U/THE MAINE UNIFORM GIFTS TO MINORS ACT
111 CREEKSIDE LN                                  ONAWAY, MI 49765-0121                              3155 SAVANNAHS TRAIL
OXFORD, OH 45056-9488                                                                                MERRITT IS, FL 32953



NICHOLAS F ALDRICH JR                             NICHOLAS F ALDRICH SR                              NICHOLAS J CHICK CUST VIRGINIA ANN CHICK
5518 168TH PLACE SW                               5518 168TH PL SW                                   U/THE CALIF UNIFORM GIFTS TO MINORS ACT
LYNNWOOD, WA 98037-3076                           LYNNWOOD, WA 98037-3076                            1156 KRAMER ST
                                                                                                     SAN LEANDRO, CA 94579-2351



NICHOLAS JAMES FENGOS                             NICHOLAS LIMBEROPULOS & ANGELINE LIMBEROPULOS TR   NICHOLAS LONT CUST KENNETH N LONT
3338 160TH STREET                                 UA 02/17/93 NICHOLAS & ANGELINE LIMBEROPULOS TR    U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
FLUSHING, NY 11358-1347                           910 S WAVERLY                                      741 CHARNWOOD DRIVE
                                                  MOUNT PROSPECT, IL 60056-4154                      WYCKOFF, NJ 07481-1011
                   09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
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NICHOLAS N MENEGAS CUST KIMON PETER MENEGAS         NICHOLAS P SCHAFFHAUSEN                          NICHOLAS PINO CUST MARIA ELLEN PINO
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          10154 240TH STREET NORTH                         A MINOR U/ART8-A OF THE PERS PROP LAW OF NEW YORK
1306 CANTERBURY LANE                                SCANDIA, MN 55073-9733                           ATTN MARIA ELLEN P BLACKSTONE
GLENVIEW, IL 60025-3141                                                                              274 BARLOW POINT RD
                                                                                                     LONGVIEW, WA 98632-9454


NICHOLAS T KOLLINATIS & ZAPHIRA G KOLLINATIS TR     NICHOLAS VECCHIONE & FRANCES C VECCHIONE TR      NICK FUNCICH CUST CHRISTOPHER NICK FUNCICH
KOLLINATIS FAM LIVING TRUST UA 03/21/00             NICHOLAS VECCHIONE & FRANCES C VECCHIONE TRUST   U/THE CALIF UNIFORM GIFTS TO MINORS ACT
5839 CLIFFSIDE                                      UA 10/04/95                                      1285 21ST ST
TROY, MI 48098-3848                                 26632 EL MAR DR                                  SAN PEDRO, CA 90731-4924
                                                    MISSION VIETO, CA 92691-6106


NICK FUNCICH CUST KAREN MARIE FUNCICH               NICOLAAS MANN & JOHANNA B MANN TR                NICOLAS SEMENIUK & JENNIE SEMENIUK TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT             THE NICOLAAS MANN & JOHANNA B MANN TRUST UA      NICOLAS & JENNIE SEMENIUK REVOCABLE LIV TRUST UA
1285 21ST ST                                        09/10/01                                         3/17/00
SAN PEDRO, CA 90731-4924                            512 MIDCREST ROAD                                14303 DENNE
                                                    OAKLAND, CA 94610-1814                           LIVONIA, MI 48154-4360


NICOLE KORELSTEIN                                   NICOLE LEW BEHRSTOCK                             NIKITA KISELEV
DOMAINE DES PRINCES                                 PO BOX 642873                                    RAEVSKOGO 3 51
799 BD DES PRINCES                                  LOS ANGELES, CA 90064-7178                       MOSCOW
06210 MANDELIEU                                                                                      121151 RUSSIAN FEDERATION
LA NAPOULE FRANCE


NIKKI GOLDSTEIN CUST JORDYN MICHELE GOLDSTEIN UTMA CO
                                                    NILA RAMESH DESAI & RAMESH RATILAL DESAI TR      NILES BAAB CUST TRACY ANN BAAB PURS TO SECS 1339/26 IN
888 NORTHRIDGE COURT                                NILA RAMESH & RAMESH RATILAL DESAI               OH
GOLDEN, CO 80401-9175                               18 VIA CORALLE                                   116 E REYNOLDS ST
                                                    NEWPORT COAST, CA 92657-1614                     URBANA, OH 43078-2142



NINA F SWANSON                                      NIOLA MODELLE METCALF & COBURN C METCALF TR      NISHA K GHIYA & KINNAR K GHIYA JT TEN
& CRYSTAL SWANSON & LEAH L SWANSON & STERLING       NIOLA MODELLE METCALF TRUST US 12/07/90          PO BOX 231159
SWANSON JT TEN                                      6684 MILLL RIDGE RD                              NEW YORK, NY 10023-0020
10660 MORTON CHASE WAY                              MAUMEE, OH 43537-9658
ALPHARETTA, GA 30022


NITIN THAKER & DISHITA THAKER JT TEN                NOEL D SCHLEININGER                              NOEL K RUBALOFF CUST NANCY JO RUBALOFF
17230 PARK LANE DR                                  3707 NE 57TH TERR                                U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
STRONGSVILLE, OH 44136-6472                         GLADSTONE, MO 64119-2332                         5940 CALIFORNIA ST APT 5
                                                                                                     SAN FRANCISCO, CA 94121-2120



NOEL M PACE CUST RODNEY ORTON PACE                  NOEL STONE                                       NOMA HART
U/THE COLORADO UNIFORM GIFTS TO MINORS ACT          11300 122ND AVE NORTH                            248 S HEINCKE RD
2142 S RIDGE POINT WAY                              LARGO, FL 33778-2537                             APT 8A
BOISE, ID 83712-8517                                                                                 MIAMISBURG, OH 45342-3578



NORBERT F REINERT CUST MATTHEW W REINERT UGMA DE    NORBERT F REINERT CUST PAUL H REINERT UGMA DE    NORBERT J RADLICK & DOROTHY RADLICK TR
BOX 311                                             BOX 311                                          NORBERT J RADLICK & DOROTHY RADLICK TRUST UA
MENDENHALL, PA 19357-0311                           MENDENHALL, PA 19357-0311                        11/11/92
                                                                                                     36651 TULANE DR
                                                                                                     STERLING HEIGHTS, MI 48312-2866


NORBERT L KNAPP & JEAN B KNAPP TR                   NORBERT L WECKSTEIN CUST CLIFFORD WECKSTEIN      NORBERT MICHAEL BRIES & PATRICIA J BRIES JT TEN
UA 03/10/93 KNAPP FAMILY LIVING TRUST               U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT       691 BANBURY RD
19621 ROSEDALE                                      2602 WILSHIRE AVE                                MUNDELEIN, IL 60060-1114
ST CLAIR SHORES, MI 48080-3387                      ROANOKE, VA 24015-3946
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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NOREEN STONOR DREXEL TR                               NORMA C WYGANT & LLOYD B WYGANT TR                   NORMA E RENICK TOD GLENDA E SCHROEDER
NOREEN STONOR DREXEL REVOCABLE TRUST UA 04/11/97      NORMA WYGANT LIVING TRUST UA 04/21/98                & GAIL K RENICK & GARREL L RENICK
668 PUBLIC LEDGER BLDG                                428 LEAWOOD CT                                       1008 ELMONT
PHILADELPHIA, PA 19106-3474                           ASHLAND, OH 44805-4156                               SULLIVAN, MO 63080-1006



NORMA GREENSTEIN & GERALD A GREENSTEIN JT TEN         NORMA HEINZ                                          NORMA J BAKER
Q212                                                  55 TREMONT ST                                        C/O NORMA J WEINER
1400 SW 131 WAY                                       BOSCAWEN, NH 03303-1325                              1000 KINGS HWY-464
PEMBROKE PINES, FL 33027-2453                                                                              PORT CHARLOTTE, FL 33980-5215



NORMA J BLACK & WARREN A SALZMAN TR                   NORMA J OESWEIN                                      NORMA J YOUNG & CHESTER D YOUNG JR TR
NORMA J BLACK REV TRUST UA 07/10/96                   3833 CHATHAM RD                                      NORMA J YOUNG LIVING TRUST UA 10/16/00
3003 HAZELWOOD #330                                   LOUISVILLE, KY 40218-4703                            15307 W 93RD ST
MAPLEWOOD, MN 55109-1187                                                                                   LENEXA, KS 66219



NORMA JEAN GAITO TR                                   NORMA M WILLIAMS TR NORMA M WILLIAMS TRUST UA 06/01/93NORMA M WOODVINE & GEORGE T WOODVINE TR
NORMA JEAN GAITO REVOCABLE LIVING TRUST UA 10/15/97   PO BOX 510641                                         NORMA M WOODVINE TRUST UA 5/26/98
4512 SE OAK BEND DR                                   LIVONIA, MI 48151-6641                                175 DAY DR
BERRYTON, KS 66409-9226                                                                                     SABASTIAN, FL 32958-6937



NORMA S BISACCA                                       NORMA SMALLEN CUST DANIEL SMALLEN                    NORMA V BEUKE & DONALD E BEUKE TR
& CAROL A BISACCA & LINDA LEE GRAU & PAUL FRANK       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           DONALD E BEUKE & NORMA V BEUKE REV TRUST UA 1/20/00
BISACCA JT TEN                                        412-2D BENEDICT AVENUE                               2886 QUESTEND DR
494 SPRING VALLEY RD                                  TARRYTOWN, NY 10591                                  INDIANAPOLIS, IN 46242
W MIFFLIN, PA 15122-2541


NORMA W STEIN                                         NORMAN A KUYKENDALL & MARY F KUYKENDALL TR           NORMAN A RICK & ADELAIDE E RICK TR
3033 CARDINAL PL                                      KUYKENDALL LIVING TRUST UA 08/16/99                  NORMAN A RICK & ADELAIDE E RICK REV TRUST UA 01/29/01
LYNCHBURG, VA 24503-3301                              1063 BEAR CREEK RD                                   315 N LA GRANGE RD
                                                      LEICESTER, NC 28748-6312                             APT 425
                                                                                                           LA GRANGE PK, IL 60526-5016


NORMAN A STETZ CUST MICHAEL NORMAN STETZ              NORMAN A TIBBITS                                     NORMAN ARTHUR HEIN
U/THE MICH UNIFORM GIFTS TO MINORS ACT                & JANE K TIBBITS & DAVID P DEHN & GLENDA F DEHN JT   24525 NOTRE DAME
6727 LAKEWOOD DR                                      TEN                                                  DEERBORN, MI 48124-4492
OSCODA, MI 48750-8747                                 4070 NORMAN RD
                                                      BURTCHVILLE, MI 48059


NORMAN BASMAJIAN & JANICE BASMAJIAN TR                NORMAN BECKMAN CUST MISS DIANE S BECKMAN             NORMAN BENNETT CUST MILLARD S BENNETT
UA 07/23/91 THE BASMAJIAN REVOCABLE INTER VIVOS       U/THE VA UNIFORM GIFTS TO MINORS ACT                 U/THE MD UNIFORM GIFTS TO MINORS ACT
TRUST                                                 6849 STRATA ST                                       17709 HOLLINGSWORTH DR
4003 PASEO DE LAS TORTUGAS                            MC LEAN, VA 22101-5437                               DERWOOD, MD 20855-1306
TORRANCE, CA 90505-6323


NORMAN BORENSTEIN                                     NORMAN C COTTMAN JR & ANN H COTTMAN TR               NORMAN C HERMANN & ROSE MARIE L HERRMAN TR
3520 RIDGELAND RD                                     UA 04/26/91 THE COTTMAN FAMILY TRUST                 HERMANN FAMILY TRUST UA 04/24/06
DAVIE, FL 33328-6975                                  1792 AMARONE WAY                                     5175 ELMS ROAD CREEK
                                                      HENDERSON, NV 89012-7220                             MICHIGAN, MI 48473-1601



NORMAN C RIBBLE & DOROTHY L RIBBLE TR                 NORMAN C SEURINCK & RUTH B SEURINCK TR               NORMAN DONALD MORRISON III & MAIYA M MORRISON TR
NC & D L RIBBLE LIVING TRUST UA 01/01/90              NORMAN C SEURINCK LIVING TRUST UA 05/08/06           MORRISON TRUST UA 1/21/99
PO BOX 897                                            25249 WYKESHIRE                                      136 CORTE DEL ENCINO
ELEPHANT BTTE, NM 87935-0897                          FARMINGTON HILLS, MI 48336-1554                      SONORA, CA 95370
                   09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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NORMAN E PETERSON                                 NORMAN EDELSTEIN CUST MARK EDELSTEIN                NORMAN EPSTEIN & MARIAN EPSTEIN JT TEN
26205 129TH AVE SE                                U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          57 GLENWOOD DR
KENT, WA 98031-7945                               4664 W LUNT                                         NEW SHREWSBURY, NJ 07724-2721
                                                  LINCOLNWOOD, IL 60646-2121



NORMAN F ABRAMS & LA VERN L ABRAMS TR             NORMAN F STEINAGLE                                  NORMAN F STEINBERGER
NORMAN F ABRAMS & LA VERN L ABRAMS TRUST UA       3830 CONCORD DR                                     PO BOX 221473
03/19/99                                          N TONAWANDA, NY 14120-3702                          CHARLOTTE, NC 28222-1473
5222 PEONY DR
LIVERMORE, CA 94551-1252


NORMAN FOSTER & WINSTON FOSTER JT TEN             NORMAN GREEN CUST STEPHEN H GREEN                   NORMAN GREENBERG CUST JODI SUE GREENBERG
BOX 801308                                        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE N Y UNIFORM GIFTS TO MINORS ACT
AVENTURA, FL 33280-1308                           1588 UNION AVE                                      9404 ALTA SOL WAY
                                                  HEWLETT BAY, NY 11557-1826                          NEW PORT RICHEY, FL 34655-1764



NORMAN I STEIN & MRS RUTH STEIN JT TEN            NORMAN J YENTZEN CUST RICKI ANN YENTZEN             NORMAN KELLER CUST BRENT F KELLER
10900 BALANTRE LANE                               U/THE LOUISIANA GIFTS TO MINORS ACT                 U/THE NEBRASKA UNIFORM GIFTS TO MINORS ACT
POTOMAC, MD 20854-1321                            PO BOX 333                                          1517 2ND ST
                                                  CARENCRO, LA 70520-0333                             SAINT PAUL, NE 68873-1307



NORMAN KELLER CUST ROBIN M KELLER                 NORMAN L BRAUN CUST PERRY HOWARD BRAUN              NORMAN L CHAFFEE CUST PAMELA R CHAFFEE
U/THE NEBRASKA UNIFORM GIFTS TO MINORS ACT        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE PA UNIFORM GIFTS TO MINORS ACT
1517 2ND ST                                       17 KINGSTON RD                                      526 WOOD ST
SAINT PAUL, NE 68873-1307                         SCRARSDALE, NY 10583-1147                           APT 311
                                                                                                      BETHLEHEM, PA 18018-4456


NORMAN L ECKERT                                   NORMAN L FEINAUER                                   NORMAN L KAISER & ELIZABETH P KAISER TR
& BARBARA J NEWMAN & JAMES G ECKERT & EARL R      610 S FARRAGUT ST                                   NORMAN L & ELIZABETH P KAISER REV TRUST UA 03/21/01
ECKERT JT TEN                                     BAY CITY, MI 48708-7361                             214 FAIRGREEN AVE
12383 MOERS DR                                                                                        NEW SMYRNA BCH, FL 32168-6192
STERLING HEIGHTS, MI 48313-2586


NORMAN L PIEGOLS & MARY U PIEGOLS TR              NORMAN L WILKES & PEG Y MCMAHAN TR                  NORMAN LEE NICHOLS CUST NORMAN KENT NICHOLS
NORMAN & MARY PIEGOLS LIVING TRUST                NORMAN L & PEG Y MCMAHAN LOVING TRUST UA 07/10/90   U/THE MICH UNIFORM GIFTS TO MINORS ACT
4OO E MAIN APT 415                                5217 WOODSTONE CR SO                                7703 GRANDMONT
MIDLAND, MI 48640                                 LAKE WORTH, FL 33463-5817                           DETROIT, MI 48228-3626



NORMAN LESTER ANDERSON & DOROTHY ELAINE ANDERSON TR
                                                 NORMAN M LAWRENCE & OLA B LAWRENCE & NORMAN W LAWRENCE
                                                                                                  NORMAN  TRM LAWRENCE & OLA B LAWRENCE TR
ANDERSON FAMILY TRUST UA 07/18/02                NORMAN M LAWRENCE & OLA B LAWRENCE TRUST UA      NORMAN M & OLA B LAWRENCE TRUST UA 03/11/91
3610 HIRSCHFIELD ROAD                            3/11/91                                          1635 LINDBERGH DR
SPRING, TX 77373-7416                            1635 LINDBERGH DR                                BEAUMONT, TX 77707-4132
                                                 BEAUMONT, TX 77707-4132


NORMAN M MARSHALL & DELORES MARSHALL TR           NORMAN N FOX CUST DAVID B FOX                       NORMAN NATKO CUST STEVEN NATKO
NORMAN M & DELORES E MARSHALL REVOCABLE TRUST     U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        A MINOR U/ART 8-A OF THE PERSONAL PROPERTY LAW OF
UA 11/03/97                                       244 HARBOR DR                                       NY
2709 72ND STREET CT W                             BIGFORK, MT 59911-6264                              200 WINSTON DR APT 2321
BRADENTON, FL 34209-5327                                                                              CLIFFSIDE PK, NJ 07010-3229


NORMAN PEMSTEIN & CLAIR PEMSTEIN JT TEN           NORMAN PLOTZKA & CAROLE A PLOTZKA TR                NORMAN R ANDERSON & DOLORES M ANDERSON TR
344 SACKETT ST                                    NORMAN PLOTZKA LIVING TRUST UA 05/22/95             NORMAN R & DOLORES M ANDERSON TRUST UA 09/28/99
BROOKLYN, NY 11231-4702                           889 ISLAND RD                                       939 MARCONI AVE
                                                  HOPE, MI 48628-9617                                 ANNAPOLIS, MD 21401-6843
                    09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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NORMAN R BERGRUN & CLAIRE M BERGRUN TR              NORMAN R REINKE                                      NORMAN R REINKE & MRS CAROL R REINKE JT TEN
UA 11/09/01 BERGRUN FAMILY REVOCABLE TRUST          2555 ANDEN PL                                        2555 ANDEN PL
26865 ST FRANCIS RD                                 SAGINAW, MI 48604-9740                               SAGINAW, MI 48604-9740
LOS ALTOS HILLS, CA 94022



NORMAN S STRAND CUST KURT STRAND                    NORMAN S WIENER CUST FRANCIS JOSEPH WIENER           NORMAN SIU
U/THE WASHINGTON UNIFORM GIFTS TO MINORS ACT        A MINOR UNDER P L 55 CH 139 OF THE LAWS OF           PO BOX 282465
22101 S E 32ND ST                                   204 6TH ST N                                         SAN FRANCISCO, CA 94128
ISSAQUAH, WA 98029-9541                             BRIGANTINE, NJ 08203-3116



NORMAN T WOOD & NANCY M WOOD TR                     NORMAN W BELLENGER JR                                NORRIS B LUTHER TR
NORMAN T WOOD & NANCY M WOOD LIVING TRUST UA        5392 110TH AVE                                       UA 03/13/1997 NORRIS B LUTHER REVOCABLE LIVING TRUST
12/02/94                                            PULLMAN, MI 49450-9653                               5345 MISSION HILL DR
4469 GRANT RD                                                                                            TUCSON, AZ 85718
MILDDLETON, MI 48856-9729


NORRIS C WALLS TR                                   NORRIS E HARRELL & KATHRYN J HARRELL JT TEN          NORTON M RUBENSTEIN
UA 1/25/2002 NORRIS C WALLS AND PAULINE A WALLS     18654 111TH PLACE S E                                8711 OLD SPRING RD
REVOCABLE LIVING TRUST                              RENTON, WA 98055-7180                                RICHMOND, VA 23235-1535
8055 MARQUOIT
DAVISBURG, MI 48350-2414


NOTT WHEELER CUST EDWARD NOTT WHEELER JR            NTC & CO CUST JOAN LUEBBERT IRA MANAGED A/C          NUMA DALE COOPER
U/THE MISS UNIFORM GIFTS TO MINORS ACT              BOX 173859                                           1126 WEINSZ DR
1306 COLLEGE ST                                     DENVER, CO 80217-3859                                DOYER, OH 44622-1266
CLEVELAND, MS 38732-3024



O BENTON BISSELL & LUCY B BISSELL TR                O J HORGER II & CAROLYN HORGER TR                    O LESTER WEINGART
UA F-B-O BISSELL FAMILY TRUST 08/28/92              UA 06/19/91 O J HORGER II & CAROLYN HORGER           10051 STRATTON RD
7700 WESTVIEW                                       444 CAMINO DE LUCIA                                  SALEM, OH 44460-7648
NEWCASTLE, CA 95658-9607                            CORRALES, NM 87048-8308



OBIE L SMITH                                        OCTAVE G BROWNE OWNER OF UNDIV 1/2 ALFRED O ROBERT HODELL
                                                                                                         BERGGREEN
                                                                                                              N WALKERMARY B
PO BOX 201384                                       CASTILLE LEO J BERGGREEN OWNERS OF OTHER UNDIV 1/2 PO BOX 199122
CLEVLAND, OH 44120-8106                             4560 BENNETT DR                                     CHICAGO, IL 60619-9122
                                                    BATON ROUGE, LA 70808-8701



OLA C TORNS                                         OLEG SAVICH                                          OLGA JEAN BECICH TR OLGA JEAN BECICH LIV TRUST UA 07/1
& SAMUEL T TORNS & MARGIE M SOCTT & LAVINYA M       40 1 121 MIKLUHO MAKLAYA ST                          1701 LAKE AVE
BETHEL JT TEN                                       117342 MOSCOW                                        WHITING, IN 46394-1525
411 EAST STEWART ST                                 RUSSIAN FEDERATION
FLINT, MI 48505-3421


OLGA KRUEGER CUST LESLIE J KRUEGER                  OLGA KURTZ                                           OLIVE E RICHARDSON CUST EDWARD LYNAUGH RICHARDSON
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J        38205 183RD SOUTH EAST                               U/THE N Y UNIFORM GIFTS TO MINORS ACT
6 RIDINGS WAY                                       AUBURN, WA 98092-9570                                742 WYNDMUIR DR
CHADDS FORD, PA 19317-9142                                                                               CRYSTAL LAKE, IL 60012-3771



OLIVE JONES HARKESS OWNER OF UNDIVIDED 5/6TH USUFRUCTUARY
                                                    OLIVER AREMAINING
                                                              BLACKBURN & LAVETA P BLACKBURN TR          OLIVER HEINISCH
1/6 NANCY K HARKESS NAKED OWNER                     UA 10/16/2007 OLIVER A BLACKBURN &                   27 HAKENORT
C/O TERRY 12853 PALM DRIVE                          1834 JEFFERSON DR                                    BIELEFELD
LARGO, FL 33774-3137                                MOUNT VERNON, IN 47620                               GERMANY
                   09-50026-mg              Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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OLIVER K OSBORNE & MARILYN N OSBORNE TR               OLIVER STEINHOFF                                      OLIVER W WRIGHT CUST JOANN WRIGHT
OSBORNE REVOCABLE LIVING TRUST UA 12/05/97            ADAM OPEL GMBH                                        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
6234 N ARROWHEAD DRIVE                                IPC 71-50                                             1205 BALFOUR
SCOTT, MI 49088-9780                                  RUSSELSHEIM                                           GROSSE POINTE PARK, MI 48230-1019
                                                      GERMANY


OLIVEROSE APPLE & WILLIAM APPLE TR                    OLIVIA C HSIUNG & ROSA C HSIUNG TR                    OLLIE M CAINE
REVOCABLE TRUST 05/02/89 U-A OLIVER APPLE             UA 01/21/10 OLIVIA C HSIUNG REVOCABLE TRUST           PO BOX 431791
237 STONEHAVEN RD                                     9209 HUNTMASTER RD                                    PONTIAC, MI 48343-1791
KETTERING, OH 45429-1641                              LAYTONSVILLE, MD 20882



OMER E PORTER & BETTY C PORTER TR                     OMUS HIRSHBEIN CUST PERETZ HIRSHBEIN                  ONEIDA D KEGEBEIN
UA 11/16/2006 THE PORTER FAMILY LIVING TRUST          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            6708 KIRKWOOD ST
8263 PINECOVE COURT                                   340 RIVERSIDE DR APT 15A                              RICHMOND, VA 23230-1642
CINCINNATI, OH 45249                                  NEW YORK, NY 10025-3441



ONTARIO INC                                           ONTARIO INC                                           ONTARIO INC 1071606 ONT INC
253 ROBINA RD                                         253 ROBINA ROAD                                       253 ROBINA RD
ANCASTER ON                                           ANCASTER ON                                           ANCASTER ON
L9G 2L6 CANADA                                        L9G 2L6 CANADA                                        L9G 2L6 CANADA



ONTARIO LTD                                           ONTARIO LTD                                           ORA E CALDWELL
2765 CURRY AVE                                        464 SUMMERHILL AVENUE                                 & MAINEL L CALDWELL & STEVEN O CALDWELL & DALE L
WINDSOR ON                                            SUITE 21                                              CALDWELL JT TEN
N9E 2S6 CANADA                                        TORONTO ON                                            RT 1 BOX 174
                                                      M4W 2E4 CANADA                                        PRINCETON, MO 64673-9602


ORCENETH F KNIGHT & BERNICE A KNIGHT TR               OREN H WIGGIN & MINNIE M WIGGIN TR                    ORINNE G WEARE TR UA 08/04/08 ORINNE G WEARE TRUST
ORCENETH F KNIGHT FAM TRUST UA 08/01/92               UA 05/03/91 OREN H WIGGIN & MINNIE M WIGGIN REV LIV   8507 134TH ST N
9350 BLUEBELL DR                                      15325 S LONE ELM RD APT 112                           SEMINOLE, FL 33776
GARDEN RIDGE, TX 78266-2316                           OLATHE, KS 66061-5445



ORLAND SMITH CUST KEITH ORLAND SMITH                  ORRIN M ANDERSON & MYRA L ANDERSON TR                 ORSON D GALLUP S O MALLEY & BENNY FRIEL TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            ORRIN M ANDERSON & MYRA L ANDERSON REVOCABLE          UA 11/07/94 ORSON D GALLUP REV TRUST
41158 VILLAGE LAKE                                    5201 ASBURY AVE                                       650 N ATLANTIC AVE APT 211
NOVI, MI 48375-4355                                   APT 245                                               COCOA BEACH, FL 32931
                                                      GODFREY, IL 62035-4807


ORTON L MILLS CUST ROY LESLIE MILLS                   ORVILLE C SCHLUCHTER TR                               ORVILLE K HEIN & MRS CAROL R HEIN JT TEN
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT             UA 10/14/93 ORVILLE C SCHLUCHTER REVOCABLE LIVING     5140 MARSHALL ROAD
14220 34 MILE RD                                      TRUST                                                 DAYTON, OH 45429-5814
ROMEO, MI 48065-3304                                  7304 GOOD SAMARITAN COURT APT 233
                                                      EL PASO, TX 79912


ORVILLE M REDDING & PATRICIA M REDDING TR             OSCAR BRETTHORST CUST MISS BARBARA ANN BRETTHORST OSCAR BRETTHORST CUST MISS SALLY MARIE BRETTHORST
ORVILLE M & PATRICIA M REDDING TRUST UA 03/24/97      U/THE NEB UNIFORM GIFTS TO MINORS ACT             U/THE NEB UNIFORM GIFTS TO MINORS ACT
12472 111TH AVE                                       5720 FRANKLIN ST                                  5720 FRANKLIN ST
FINLAYSON, MN 55735                                   LINCOLN, NE 68506-2211                            LINCOLN, NE 68506-2211



OSCAR F HULBER & BARBARA J HULBER TR                  OSCAR G CASE & CAROL A CASE TR                        OSCAR H FEHLEN & MAREE A FEHLEN TR
UA 09/11/90 OSCAR F HULBER & BARBARA J HULBER TRUST   UA 05/23/2007 OSCAR G CASE & CAROL A CASE             UA 06/04/90 OSCAR H FEHLEN & MAREE A FEHLEN TRUST
3558 CASTLE DR                                        15040 CHETWYN DRIVE                                   2318 BACK NINE ST
ZEPHYRHILLS, FL 33540-6510                            LANSING, MI 48906                                     OCEANSIDE, CA 92056-1701
                      09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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OSCAR J VITAL & ROSEMARY VITAL TR                     OSCAR T PAIGE & ROBERT B SEAY JT TEN                  OSHRY KASPARIAN & HELEN KASPARIAN TR
THE REV LIV TR OF OSCAR J VITAL & ROSEMARY VITAL UA   PO BOX 431761                                         KASPARIAN FAMILY TRUST UA 07/16/96
10811 TERECITA RD                                     PONTIAC, MI 48343                                     5239 EL MIRADOR DR
TUJUNGA, CA 91042-1444                                                                                      LOS ANGELES, CA 90008-1124



OTIS PHILLIP DAILEY JR                                OTTO LINKS & CELIA LINKS TR                           OTTO ZMOOS
7750 UNTREINER AV                                     OTTO LINKS & CELIA LINKS REVOCABLE LIVING TRUST UA    3296 220TH ST
PENSACOLA, FL 32534-4540                              12/06/94                                              WAUCOMA, IA 52171-8504
                                                      4901 E SUNRISE DR # 1310
                                                      TUCSON, AZ 85718-4595


OVA O NICKELL                                         OWEN W CARRIGAN & THOMAS R CARRIGAN & EILEEN R FEIGHNER
                                                                                                          OWENSTR CORNING FCU CUST IRA OF DENNIS E GRANZOW
PO BOX 174863                                         CARRIGAN FAMILY TRUST UA 01/22/97                   UNDER I-R-A PLAN DTD 04-13-87
ARLINGTON, TX 76003                                   7338 KINSEL                                         6683 EMBASSY CT
                                                      VERMONTVILLE, MI 49096-9540                         MAUMEE, OH 43537-9648



OZ A MAURADAIN & MARGARET MAURADAIN TR                P KENNETH PIERPONT TR                                 P L GREEN
OZ A MAURADAIN & MARGARET MAURADAIN TRUST UA          UA 04/02/2008 P KENNETH & NANCY C PIERPONT            PO BOX 410572
11/25/97                                              FAMILYTRUST                                           CHARLOTTE, NC 28241-0572
4231 19TH ST                                          204 CEDAR POINT CRESCENT
WYANDOTTE, MI 48192-6929                              YORKTOWN, VA 23692


P RUSSELL KIERNAN & MARILYN M KIERNAN TR              P WENDELL CALHOUN CUST CHARLTON P CALHOUN             PAAVO K NURMI & NANCY A NURMI TR
KIERNAN 2000 FAMILY TRUST UA 12/27/00                 A MINOR UNDER THE LAWS OF GEORGIA                     PAAVO K NURMI & NANCY A NURMI TRUST UA 09/25/95
701 MILLER AVENUE                                     725 COPPER TRACE WAY                                  4914 N LOUIES LN
MILL VALLEY, CA 94941-2927                            WOODSTOCK, GA 30189-2303                              HESSEL, MI 49745



PABLO D PLACIDO & VISITACION A PLACIDO TR             PALMA MICALIZZI & JOHN MICALIZZI & THOMAS MICALIZZI JT TEN
                                                                                                               PALMER M KIRKPATRICK CUST HUGH G KIRKPATRICK
UA 11/09/92 PLACIDO FAMILY TRUST                      205 MOCKINGBIRD WAY                                      U/THE S C UNIFORM GIFTS TO MINORS ACT
470 9TH AVE                                           WHITING, NJ 08759-3711                                   903 SPRUCE COURT
SAN FRANCISCO, CA 94118-2913                                                                                   GREENVILLE, SC 29611-2409



PALMIERI QUARANTOTTO CUST JOHN QUARANTOTTO            PAMELA A CHRISTENSEN TR                               PAMELA A DUCKWORTH
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 UA 04/01/2009 PAMELA A CHRISTENSEN DECLARATION OF     PO BOX 775012
210 NW 58TH CT                                        TRUST                                                 STEAMBOAT SPRINGS, CO 80477-5012
MIAMI, FL 33126-4726                                  913 WEDGEWOOD DR
                                                      CRYSTAL LAKE, IL 60014


PAMELA A EBERSTEIN                                    PAMELA A ROSSETTI                                     PAMELA ANN HAWKS
107 ELLIOTT CT                                        & MICHAEL T ROSSETTI & BRENT J FOX & TYLER O FOX JT   18718 196TH AVE S E
COLUMBIA, TN 38401-5500                               TEN                                                   RENTON, WA 98058-0301
                                                      3452 SANDSTONE CIRCLE APT 1212
                                                      COLUMBUS, IN 47201


PAMELA GAIL PINTUS                                    PAMELA J WILMOT                                       PAMELA K STEINER
111 143RD ST SE                                       18833 296TH PL NE                                     627 CYPRESS AVE
LYNNWOOD, WA 98037-6702                               DURALL, WA 98019-8701                                 MILLBRAE, CA 94030-1210




PAMELA L POORE                                        PAMELA LYNN HEINLY                                    PAMELA SCHEINMAN
2175 STEINER RD                                       214 LONGVIEW DRIVE                                    236 MONTGOMERY ST
MONROE, MI 48162-9491                                 SINKING SPG, PA 19608                                 HIGHLAND PARK, NJ 08904-2406
                   09-50026-mg               Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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PAMELA SNOW CROWTHER                                    PAMELA STEINMAN                                        PAO C PIEN CUST EDWARD H H PIEN
& MELINDA SNOW RICH & MARJORIE SNOW SCHOFIELD &         32215 COLFAX                                           A MINOR U/THE LAWS OF THE DISTRICT OF COLUMBIA
JULIE SNOW &                                            FARMINGTON HILLS, MI 48336-4513                        7310 DURBIN TERR
690 W 560 N                                                                                                    BETHESDA, MD 20817-6127
CEDAR CITY, UT 84720-4110


PASQUALE A VIGLIOTTI & JOHN H VIGLIOTTI TR              PAT P SYLVESTER CUST PATRICK JOSEPH SYLVESTER          PATHE SESHAIER VIVEK & RAMOLA KANNU VIVEKANANTHAN T
UA 05/19/93 PASQUALE A VIGLIOTTI& M                     U/THE CALIF UNIFORM GIFTS TO MINORS ACT                UA 09/17/2008 THE PATHE SESHAIER VIVEK & RAMOLA
21 WEATHER OAK HILL DR                                  2341 E LAUREL LANE                                     4608 HIDDENBROOK DRIVE
NEW WINDSOR, NY 12553-7207                              PHOENIX, AZ 85028-1014                                 RALEIGH, NC 27609



PATRICE D LEIER                                         PATRICE SCHUETTE WHITE CUST MATTHEW SCHUETTE WHITEPATRICIA A ARRIGAN CUST NICHOLAS F ARRIGAN
ATTN PATRICE OLSEN LEIER                                UNDER THE MICHIGAN U-G-M-A                        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
5441 240TH LN NW                                        6216 NE BARRETT DR                                460 MOUNT AIRY RD
ST FRANCIS, MN 55070-9785                               POULSBO, WA 98370-7701                            BASKING RIDGE, NJ 07920



PATRICIA A BARNES TR                                    PATRICIA A BRECKLING & ROBERT E BRECKLING TR           PATRICIA A DUTHIE TR
PATRICIS A BARNES REVOCABLE LIVING TRUST UA 07/29/03    BRECKLING FAMILY TRUST UA 11/3/99                      UA 12/14/2007 PATRICIA ANN DUTHIE REVOCABLE LIVING
5096 PERRYVILLE ROAD                                    311 WALTON HEATH DR                                    TRUST
HOLLY, MI 48442-9408                                    ORLANDO, FL 32828-8016                                 1770 TURNSTONE LN
                                                                                                               GRAND RAPIDS, MI 49505


PATRICIA A GUSTIN CUST MATTHEW GUSTIN THE UT UNIFORM PATRICIA
                                                     GIFTS TO AMINOR
                                                                KLEIN & THOMAS E KLEIN JT TEN                  PATRICIA A LITTON CUST JOHN R LITTON
PROVISION                                            12940 MARTINSVILLE RD                                     U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
7671 W HI-COUNTRY RD                                 BELLEVILLE, MI 48111-4811                                 612 OLD TRAIL DRIVE
HERRIMAN, UT 84065                                                                                             DIAMOND BAR, CA 91766



PATRICIA A NEWBOLD & DONALD L NEWBOLD TR                PATRICIA A RASK TR                                     PATRICIA A ROED INDEPENDENT PERSONAL REPRESENTATIV
PATRICIA A NEWBOLD LIVING TRUST UA 2/24/06              UA 12/03/2008 PATRICIA A RASK REVOCABLE LIVING TRUST   MARZOLF
7767 MCCULLOUGH RD                                      1169 BARNEY ST                                         5104 86TH ST W
GOSPORT, IN 47433-7921                                  OWATONNA, MN 55060                                     BRADENTON, FL 34210



PATRICIA A SHEHAN                                       PATRICIA A SMITH                                       PATRICIA A STEINKE
4063 122ND DR NORTH                                     PO BOX 141864                                          19 S MARTIN RD
ROYAL PALM BEACH, FL 33411-8922                         ANCHORAGE, AK 99514                                    JANESVILLE, WI 53545-2658




PATRICIA A STOUT TR UA 01/31/07 PATRICIA A STOUT REV LIVING
                                                          PATRICIA
                                                             TRUST A THORPE                                    PATRICIA A WHITENECK TR
129 104TH AVE APT # 109                                   PO BOX 320193                                        UA 05/09/08 THE PATRICIA A WHITENECK 2008 TRUST
TREASURE IS, FL 33706                                     FLINT, MI 48532                                      467 MT MOOSILAUKE HWY
                                                                                                               WENTWORTH, NH 03282



PATRICIA AILEEN BARRETT TR                              PATRICIA ANN DELUCA CUST THERESA MARIE DELUCA          PATRICIA ANN MCCONNELL SANDERS TOD JOYCE MARIE MCC
UA 03/22/94 THE PATRICIA AILEEN BARRETT FAMILY TRUST    UNDER THE PA GIFTS TO MINORS ACT                       SUBJECT TO STA TOD RULES
1109 CRESTHILL PL                                       44 QUARTZ MILL ROAD                                    PO BOX 451621
EL CAJON, CA 92021-3303                                 NEWARK, DE 19711-2330                                  HOUSTON, TX 77245-1621



PATRICIA B CRUDEN TR                                    PATRICIA C STARA                                       PATRICIA C WOOD USUFRUCT CHERYL WOOD HARRIS
CRUDEN MARITAL TRUST UA 10/14/88 PATRICIA B CRUDEN      PO BOX 770096                                          & CAROLYN WOOD LORIO & CORINNE ELIZABETH WOOD
760 CHILTERN RD                                         STEAMBOAT SPRINGS, CO 80477-0096                       PO BOX 9101
HILLSBOROUGH, CA 94010-7026                                                                                    METAIRIE, LA 70055-9101
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 325 of 440
PATRICIA CHAVEZ SAFERSTEIN                           PATRICIA D NIEMAN TR                                   PATRICIA DUGAN CANON & CHARLES CANON TR
645 W END AVE                                        PATRICIA D NIEMAN REVOCABLE LIVING TRUST UA 04/22/98   UA 11/15/83 CHARELS & PATRICIA CANON # 101 TRUST
APT 5E                                               234 RAINBROOK WAY                                      137 E LINCOLN HWY.
NEW YORK, NY 10025-7350                              YORKTOWN, VA 23692-3290                                DEKALB, IL 60115



PATRICIA E MCNEFF-ACKERMAN                           PATRICIA ELLIOTT CUST JOHN THOMAS ELLIOTT              PATRICIA F NEWTON TR
& PATRICK W MCNEFF & MARY K MCNEFF & ELIZABETH A     U/THE COLORADO UNIFORM GIFTS TO MINORS ACT             UA 06/28/91 PATRICIA F NEWTON & GEORGE R NEWTON
MCNEFF JT TEN                                        23 CHERRYMOOR DRIVE                                    TRUST
7805 HARPOLE ST SE                                   ENGLEWOOD, CO 80110-6031                               800 BLOSSOM HILL ROAD #P295
SALEM, OR 97301-9223                                                                                        LOS GATOS, CA 95032-3579


PATRICIA H LEMMON TR UA 09/15/1997 JOHN V LEMMON     PATRICIA HEIN                                          PATRICIA HEINZMANN MURPHY
& PATRICIA H LEMMON FAMILY TRUST CREDIT EQUIVALENT   2114 PESCARA CT                                        43 MAIN ST
20005 S MOUNTAIN RD                                  LAS VEGAS, NV 89123-3925                               NORTHBOROUGH, MA 01532-1941
SANTA PAULA, CA 93060



PATRICIA I FRUEH CUST DONALD J FRUEH                 PATRICIA I FRUEH CUST TERRY ANN FRUEH                  PATRICIA J LOWE CUST DUANE F LOWE
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW       UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW         U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
860 CRAMER CT                                        3915 RANDHALL DR                                       837 VIA DEL SOL
WILLOWBROOK, IL 60521-5324                           ST LOUIS, MO 63125-4343                                NORTH FORT MYERS, FL 33903-1535



PATRICIA J REINERT                                   PATRICIA K GMEINER                                     PATRICIA K MC DOWELL CUST PATRICK K MC DOWELL
289 MCARTHUR DR                                      19 CAMERON PL                                          U/THE MASS UNIFORM GIFTS TO MINORS ACT
PORT CHARLOTTE, FL 33954-2411                        GROSSE POINTE, MI 48230-1912                           PO BOX 304
                                                                                                            EAST DENNIS, MA 02641-0304



PATRICIA L BARTLETT                                  PATRICIA L CAPPAWANA & GEORGE J CAPPAWANA TR           PATRICIA L CULBREATH & H LEE CULBREATH TR
151011 COLONIAL                                      THE CAPPAWANA FAMILY TRUST UA 2/05/2003                REV TR 05/28/92 U-A H LEE CULBREATH &
CUMBERLAND, MD 21502                                 3537 PLEASANT CREEK DR                                 4416 WEST BAY TO BAY BLVD
                                                     ROCKLIN, CA 95677                                      TAMPA, FL 33629-6502



PATRICIA L LUGARI & DEANNA JO UTSLER TR              PATRICIA L MACKIE & EINO H MACKIE JT TEN               PATRICIA L REINERT
JAMES D LUGARI SR TRUST UA 04/05/95                  13070 W PRARIE RD                                      4110 SE JENNINGS AVE
2043 KEMP                                            RUDYARD, MI 49780-9230                                 PORTLAND, OR 97267-6404
BLOOMFIELD, MI 48302



PATRICIA LARY                                        PATRICIA LIM-CHING CHANG TR                            PATRICIA M BERNSTEIN
10550-709 BAY MEADOWS RD                             UA 01/15/93 PATRICIA LIM-CHING CHANG REVOCABLE         11224 82ND AVENUE
JACKSONVILLE, FL 32256-4548                          LIVING TRUST                                           #102
                                                     PO BOX 588                                             SEMINOLE, FL 33772-4259
                                                     PLACIDA, FL 33946-0588


PATRICIA M COVAL & FREDERICK P ERICKSON TR           PATRICIA M DANAHER-DUNN TR                             PATRICIA M LANGLOIS TR
MARIE K ERICKSON REVOCABLE TRUSTUA 04/25/06          UA 06/29/2007 PATRICIA M DANAHER-DUNN REVOCABLE        RALPH & PATRICIA LANGLOIS LIVING TRUST UA 08/14/00
4987 RIPP RD                                         TRUST                                                  26131 SECOND ST
STURGEON BAY, WI 54235                               7765 W KINGS CROSSING WAY                              TAYLOR, MI 48180-1401
                                                     MEQUON, WI 53097


PATRICIA M ROBERTS CUST JASON M ROBERTS              PATRICIA M YUNGCLAS NEIL P OLSEN & J C BREKKEN TR      PATRICIA M ZAPF CUST MICHAELE MC COLGAN ZAPF
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UNDER THE WILL OF RALPH A OLSEN                        U/THE MICH UNIFORM GIFTS TO MINORS ACT
301 UNIONVILLE RD                                    RURAL FREE DELIVERY                                    2001 NORWOOD DRIVE
GLASSBORO, NJ 08028-3505                             ELLSWORTH, IA 50075                                    MIDLAND, MI 48640-6753
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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PATRICIA MAGUIRE CUST MICHELE MAGUIRE                PATRICIA O WOODS TR PATRICIA O WOODS SUBTRUST UA 08/15/96
                                                                                                          PATRICIA
                                                                                                               RAYMOND
                                                                                                                   P KORN & REINHART P KORN JT TEN
U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT           & PATRICIA WOODS TRUST UA 04/20/94                   5710 W BOTTSFORD
1007 WELDIN CIR                                      3930 PINEBROOK CIR UNIT #15                          GREENFIELD, WI 53220-3521
WILMINGTON, DE 19803-3203                            BRADENTON, FL 34209-8003



PATRICIA REEKIE                                      PATRICIA REINBOLD                                    PATRICIA SHURTLEFF MILLEN CUST ELIZABETH ANN MILLEN
#205-335 WEST HIRST AVE                              75 SHASHI CT                                         UNDER NJ UNI GIFTS FOR MINOR ACT
PARKSVILLE BC                                        SMYRNA, DE 19977-4816                                83 HOLYOKE RD
V9P 2R5 CANADA                                                                                            RICHBORO, PA 18954-1921



PATRICIA STEENHUSEN                                  PATRICIA STEWART SAVAGE TR                           PATRICIA STUDINGER DEWANDELER TR
1748 2100TH ST                                       PATRICIA STEWART SAVAGE REVOCABLE LIVING TRUST UA    UA 11/25/2008 PATRICIA STUDINGER DEWANDELER LIVING
IRWIN, IA 51446-7518                                 03/24/99                                             TRUST
                                                     916 LAWTON AVE                                       38630 CHELDON
                                                     SAN JOSE, CA 95128-3619                              CLINTON TWP, MI 48038


PATRICIA U BONOMI & KATHRYN BONOMI & JOHN BONOMI JR TR
                                                     PATRICIA VERDERAMI                                   PATRICIA W MC ADAMS CUST CHRISTY DALE MC ADAMS
TRUST U/W JOHN G BONOMI UA 11/06/99                  171 EINSTEIN WAY                                     U/THE CAL UNIFORM GIFTS TO MINORS ACT
131 DEERTRACK LANE                                   EAST WINDSOR, NJ 08512-2541                          1038 SAXON PL
IRVINGTON, NY 10533-1013                                                                                  THOUSAND OAKS, CA 91360-5347



PATRICIA W STOOPS TR                                 PATRICIA W WOODREL TR                                PATRICK BARRY EBERLEIN & JENNIFER P EBERLEIN JT TEN
PATRICIA WILHITE STOOPS REVOCABLE LIVING TRUST UA    UA 09/11/00 PATRICIA MARIE WOODREL REVOCABLE TRUST   DEPT OF MATHEMATICS
06/29/98                                             PO BOX 483                                           UNIVERSITY OF NORTH CAROLINA
851 W LEAH LN                                        WILLIAMSTON, MI 48895-0483                           CHAPEL HILL, NC 27514
GILBERT, AZ 85233-1934


PATRICK D CAMPBELL & JOYCE C CAMPBELL TR             PATRICK DANIEL GAFNEY CUST CORBMACC CHARLES GAFNEYPATRICK
                                                                                                        UTMA WIF FAUBERT & LORETTA P FAUBERT TR
UA 12/08/2008 PATRICK DUNLEAVY CAMPBELL & JOYCE      39 HEIN AVE                                       PATRICK F & LORETTA P FAUBERT REV LIV TRUST UA
9155 SUGARSTONE CIRCLE                               PLYMOUTH, WI 53073-2502                           02/12/99
HGHLNDS RANCH, CO 80130                                                                                997 N RENAUD
                                                                                                       GROSSE POINTE WOOD, MI 48236-1725


PATRICK GESUELE CUST KRISTIAN PHILLIPPE GESUELE      PATRICK H DUVENDECK & JANET E DUVENDECK TR           PATRICK H LARNEY CUST RAYMOND LARNEY
UNDER NY UNIF GIFT STO MIN ACT                       DUVENDECK FAMILY TRUST UA 08/05/04                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
97 MARGARET DRIVE                                    197 COUTANT ST                                       10 WESTMINSTER ROADWAY
EAST MEADOW, NY 11554-1312                           FLUSHING, MI 48433-1547                              ANDOVER, MA 01810-2857



PATRICK H LAWRENCE & CHARLENE K LAWRENCE TR          PATRICK J CROWLEY CUST SHEILA A CROWLEY              PATRICK J GAUGHAN & JUDITH A GAUGHAN TR
PATRICK H LAWRENCE & CHARLENE K LAWRENCE             U/THE IOWA UNIFORM GIFTS TO MINORS ACT               GAUGHAN FAM LIVING TRUST UA 06/24/96
10141 CAROL LANE                                     2638 190TH ST                                        1299 PRENTICE RD
DIMONDALE, MI 48821-9515                             DELMAR, IA 52037-9125                                WEST FARMINGTON, OH 44491-9786



PATRICK J KLEIN                                      PATRICK J PORN & DENISE L PORN TR                    PATRICK LEMONGELLO CUST KATHLEEN LEMONGELLO
1156 FRENCH RD RT #3                                 UA 01/21/2008 PORN REVOCABLE LIVING TRUST            A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW
ST JOHNS, MI 48879-9407                              PO BOX 865                                           JERSEY
                                                     AU GRES, MI 48703-0865                               5 DALEWOOD RD
                                                                                                          WEST CALDWELL, NJ 07006-8213


PATRICK M FITZGERALD & LORETTA M FITZGERALD TR       PATRICK M MURPHY & JANICE K MURPHY TR                PATRICK ONEILL CUST PATRICK JOSEPH ONEILL
UA 04/18/2008 FITZGERALD FAMILY TRUST                PATRICK M & JANICE K WAINSCOTT MURPHY REVOCABLE      U/THE N Y UNIFORM GIFTS TO MINORS ACT
5947 ORMOND RD                                       1509 DELLANO WAY                                     104 WAGER DRIVE
WHITE LAKE, MI 48383                                 THE VILLAGES, FL 32159-8572                          ROME, NY 13440-7347
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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PATRICK R FRANKS & CAROL FRANKS TR                     PATRICK T LING & EVE Y LING TR                      PATRICK W SAINT
PATRICK & CAROL FRANKS LIVING TRUST UA 8/19/98         LING GRANDCHILDRENS EDUCATIONAL TRUST UA 1/19/99    GM BLDG 482-100-AB9
125 LINWOOD RD                                         531 CAMINO VERDE                                    DETROIT, MI 48202
STERRETT, AL 35147-7009                                SOUTH PASADENA, CA 91030-4137



PATSY A STEINMAN                                       PATSY DONICA TR                                     PATSY M THOMAS CUST DIANE M THOMAS
12411 MEANDER LINE RD                                  UA 09/24/93 WILLIAM G DONICA & PATSY C DONICA       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
CHARLEVOIX, MI 49720-1072                              REVOCABLE LIVING TRUST                              8286 N NICHOLS ROAD
                                                       2000 TAHOE DRIVE                                    FLUSHING, MI 48433-9223
                                                       FLORISSANT, MO 63031-7502


PATSY P ARLEDGE                                        PATSY SCHORR                                        PAUL A & MARY C RUSSELL TR
PO BOX 830116                                          1243 169TH AVE NE                                   PAUL A & MARY C RUSSELL REVOCABLE TRUST UA 08/21/98
RICHARDSON, TX 75083-0116                              BELLEVUE, WA 98008-3007                             1327 ERIE AVE
                                                                                                           NORMAN, OK 73071-3655



PAUL A BURROWS                                         PAUL A CONNOLLY CUST PAUL A CONNOLLY JR MINOR U/ART 8-A
                                                                                                            PAUL
                                                                                                               PERS
                                                                                                                  A FRANK
                                                                                                                     PROP TR
                                                                                                                          LAW
24235 REIN                                             OF N Y                                               PHILIP FRANK A MINOR UNDER DECLARATION OF TRUST
EAST POINTE, MI 48021-3334                             115 FAIRMOUNT RD                                     4/13/56
                                                       RIDGEWOOD, NJ 07450-1422                             195 N VILLAGE AVE
                                                                                                            ROCKVILLE CENTRE, NY 11570-3814


PAUL A HUTCHINSON & LINDA J HUTCHINSON TR              PAUL A RUSSELL & JANICE H RUSSELL TR                PAUL A STAPERT CUST SHERRY L STAPERT
UA 02/04/2009 PAUL A HUTCHINSON & LINDA J              PAUL A RUSSELL & JANICE H RUSSELL 1995 TRUST UA     U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
1007 SUMMIT AVE                                        03/24/95                                            4414 HEDGETHORN CIR
NAPA, CA 94559                                         1407 W 1825 N                                       FLINT, MI 48509-1249
                                                       PROVO, UT 84604-1103


PAUL A SZABO TTREE U-A DTD 10-10-91 PAUL A SZABO REVOCABLE
                                                      PAULLIVING
                                                           B FISHER & NATALIE B FISHER TR                  PAUL B JOHNSON CUST SCOTT C JOHNSON
TRUST                                                 FAMILY TRUST 07/07/87 U-A PAUL BFISHER & NATALIE B   U/THE R I UNIFORM GIFTS TO MINORS ACT
1525 ALINE DR                                         FISHER                                               70 WILBUR HAZARD RD
GROSSE POINTE WOOD, MI 48236-1057                     11459 ROSE AVE                                       SAUNDERSTOWN, RI 02874-3210
                                                      LOS ANGELES, CA 90066-1232


PAUL BLANKENSHIP & TERRY BANKENSHIP TR                 PAUL C HELGESON                                     PAUL C LINDOERFER & ERNA L LINDOERFER TR
BLANKENSHIP FAMILY REVOCABLE LIVING TRUST UA           E2502 1240TH AVE                                    UA 03/25/92 PAUL C & ERNA L LINDOERFER TRUST
07/14/05                                               BOYCEVILLE, WI 54725-9451                           10 EAST NEBRASKA AVE
43 S KITLEY AVE                                                                                            HAVEN BEACH, NJ 08008-3154
INDIANAPOLIS, IN 46219-6711


PAUL C PRODY & MARY ANN PRODY TR                       PAUL C SCHREINER                                    PAUL D CAMERON SR
UA 05/30/84 PAUL C PRODY & MARY ANN PRODY TRUST        5176 SHAWNEE ROAD                                   9314 126TH STREET EAST
492 W ESCALON                                          SANBORN, NY 14132-9116                              PUYALLUP, WA 98373-4922
FRESNO, CA 93704-1403



PAUL D LARSON & MARJORIE M LARSON TR                   PAUL D SPENCE                                       PAUL E ALLEN & JEANNE M ALLEN TR
MARJORIE M LARSON TRUST UA 04/23/98                    PO BOX 131972                                       ALLEN FAMILY REVOCABLE LIVING TRUST 10/29/92
2415 SO 109TH ST                                       TYLER, TX 75713-1972                                25342 CHEYENNE WAY
OMAHA, NE 68144-3110                                                                                       LAKE FOREST, CA 92630-3505



PAUL E ATHERTON & SYBLE L ATHERTON TR                  PAUL E EBERLEIN & DENNIS C EBERLEIN JT TEN          PAUL E GERHARDSTEIN & MARGRET R GERHARDSTEIN JT TEN
ATHERTON LIVING TRUST UA 06/16/97                      619 OSWEGO DR                                       167 S MAIN ST
9098 E 27TH ST                                         GIBSONIA, PA 15044-8040                             MILAN, OH 44846-9735
TULSA, OK 74129-6702
                    09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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PAUL E GILDEHAUS CUST PAUL E GILDEHAUS III             PAUL E HEINEMAN                                      PAUL E MOORE
UNDER THEMISSOURI UNIFORM GIFTS TO MINORS LAW          3443 RICHMOND                                        & DEBORAH ANNE MOORE GUARDIANS OF THE ESTATE OF
12216 KINGSHILL DR                                     WATERFORD, MI 48328-1421                             PAUL E MOORE IV
CREVE COEUR, MO 63141-6617                                                                                  404 CORTE DORADO
                                                                                                            DANVILLE, CA 94526-5444


PAUL E OBERKIRCHER CUST DOUGLAS H OBERKIRCHER          PAUL E REINHARDT                                     PAUL E REINHART
U/THE N Y UNIFORM GIFTS TO MINORS ACT                  196 UNION ST                                         3102 STARKWEATHER
920 HAVERSTRAW RD                                      NORFOLK, MA 02056-1702                               FLINT, MI 48506-2620
SUFFERN, NY 10901-2202



PAUL E REINKE CUST BROOKE C REINKE UGMA MI             PAUL E REINKE CUST CARSON P REINKE UGMA MI           PAUL E STEIN
1133 SPRINGWOOD LANE                                   1133 SPRINGWOOD LANE                                 646 WADHAMS RD
ROCHESTER HILLS, MI 48309-2602                         ROCHESTER HILLS, MI 48309-2602                       SMITHS CREEK, MI 48074-3717




PAUL E THOMAS & MARY F THOMAS TR                       PAUL F DUVALL & VIRGINIA L DUVALL IRREVOCABLE EDUCATION
                                                                                                             PAUL
                                                                                                               TRUST
                                                                                                                  F DUVALL
                                                                                                                      FBO & VIRGINIA L DUVALL IRREVOCABLE EDUCATIO
UA 12/19/91 PAUL E THOMAS & MARYF THOMAS               CHRISTINE L LONGDEN & JOSEPH M LONGDEN UA 04/21/97    KERRY M DUVALL & AMANDA L DUVALL UA 04/21/97
428 DURST DRIVE NW                                     1388 MISSION SAN CARLOS DR                            1388 MISSION SAN CARLOS DR
WARREN, OH 44483-1108                                  FERNANDINA BEACH, FL 32034-5030                       FERNANDINA BEACH, FL 32034-5030



PAUL F MILLER JR CUST RAYMOND P SCOTT 3RD              PAUL FRANCIS SCHUSTER CUST GERALD JOSEPH SCHUSTER PAUL FRANCIS SCHUSTER CUST THOMAS PAUL SCHUSTER
U/THE PA UNIFORM GIFTS TO MINORS ACT                   U/THE N Y UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT
821 BRIARWOOD ROAD                                     1715 WILLIAM ST                                   363 AURORA ST
NEWTOWN SQUARE, PA 19073-2603                          BUFFALO, NY 14206-1435                            LANCASTER, NY 14086-2945



PAUL FULLER                                            PAUL G GOLDSTEIN & LOIS S GOLDSTEIN JT TEN           PAUL G MOLLMANN TR
211 176TH TERRACE DRIVE EAST                           69-31 181ST ST                                       UA 03/06/95 PAUL & JEAN MOLLMANN FAMILY LIVING TRUST
REDINGTN SHOR, FL 33708                                FRESH MEADOWS, NY 11365-3531                         B
                                                                                                            3678 PARAMOUNT RIDGE
                                                                                                            CINCINNATI, OH 45247


PAUL G MOLLMANN TR                                     PAUL G NOVAK                                         PAUL G WIENBRAUCK & BETTY J WIENBRAUCK TR
UA 03/06/95 PAUL & JEAN MOLLMANN FAMILY LIVING TRUST   18224 153RD ST                                       UA 01/02/1985 PAUL G WIENBRAUCK AND BETTY J
OF THE                                                 BONNER SPRINGS, KS 66012-7391                        1279 LAKESHORE BLVD STE 3E
3678 PARAMOUNT RIDGE                                                                                        MARQUETTE, MI 49855
CINCINNATI, OH 45247


PAUL H BROWN                                           PAUL H DAVIS & ROSELLA M DAVIS TR                    PAUL H HARTENSTEIN & EVELYN R HARTENSTEIN JT TEN
2956-192ND STREET                                      PAUL & ROSELLA DAVIS FAMILY TRUST UA 03/14/01        14210 BUTLER ROAD
LANSING, IL 60438-3720                                 166 BEECHTREE DR                                     ROUTE 1 BOX 303
                                                       ENCINITAS, CA 92024-4032                             WAKEMAN, OH 44889-9264



PAUL H J KROGH CUST KATHARINE LEA KROGH                PAUL H MEINHOLD                                      PAUL H NEVINS & AUDREY M NEVINS JT TEN
U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT             48521 N VIEW DR                                      1275 104TH
8907 HONEYBEE LANE                                     PALM DESERT, CA 92260-6753                           BYRON CENTER, MI 49315-9208
BETHESDA, MD 20814-1015



PAUL HALSTEAD LAUBE & LISA BROWN LAUBE TR              PAUL HARRIS CUST CHIRSTOPHER HARRIS UTMA CA          PAUL HUMPHREY & MADALYN HUMPHREY TR
PAUL HALSTEAD LAUBE LIVING TRUSTUA 06/29/05            PO BOX 676010                                        REV LIV TR 03/13/87 U-A PAUL HUMPHREY & MADALYN
100 SCAMP                                              RANCHO SANTA FE, CA 92067-6010                       HUMPHREY
MADISON, AL 35758-3653                                                                                      26171 KENTIA PALM DR
                                                                                                            HOMELAND, CA 92548-9380
                    09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                          Part 8 of 8 Pg 329 of 440
PAUL J ABLE                                        PAUL J BUCHHOLTZ & MOLLY P BUCHHOLTZ TR                 PAUL J GELDHOF CUST JUDITH ANN WOZNIAK
PO BOX 197024                                      BUCHHOLTZ FAMILY REVOCABLE TRUSTUA 11/07/97             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
LOUISVILLE, KY 40259-7024                          14165 W WHITE ROCK DR                                   2340 RIDGEFIELD DR NE
                                                   SUN CITY WEST, AZ 85375-5641                            GRAND RAPIDS, MI 49505-5712



PAUL J LENFERT CUST CHARLES B LENFERT              PAUL J LENFERT CUST MARIA A LENFERT                     PAUL J OBERTEIN
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT          U/THE INDIANA UNIFORM GIFTS TO MINORS ACT               6745 KINGSTON RD
1807 RITA DRIVE                                    5502 BUCKTHORNE DR                                      CLIFFORD, MI 48727-9516
NEW ALBANY, IN 47150-6926                          JEFFERSONVLLE, IN 47130-7723



PAUL J PETLEWSKI & ANNA B PETLEWSKI TR             PAUL J PLATZ & MARJORIE A PLATZ TR                      PAUL J PUMPHREY CUST WILLIAM R PUMPHREY
UA 09/14/90 PAUL J PETLEWSKI & ANNA B PETLEWSKI    PAUL J PLATZ & MARJORIE A PLATZ LIVING JOINT TRUST UA   A MINOR UNDER CHAP 125-4-1 OF THE LAWS OF COLO
14272 ARCOLA                                       01/07/91                                                PO BOX 957
LIVONIA, MI 48154-4691                             48761 BRIDGEVIEW CT                                     PUEBLO, CO 81002-0957
                                                   SHELBY TWP, MI 48315-4332


PAUL J RAWSKI                                      PAUL J REINKE                                           PAUL J ROBERT
3801 104TH AVE NORTH                               18982 W 130TH ST                                        134 CLIPPER CT
CLEARWATER, FL 33762-5470                          CLEVELAND, OH 44136-8427                                KILL DEVIL HILLS NC
                                                                                                           KILL DEVIL HILLS, NC 27948-9113



PAUL J SCHILLING & DORIS M SCHILLING TR            PAUL J SEMAN                                            PAUL J SOLNICK & CATHERINE T SOLNICK TR
SCHILLING LIVING TRUST UA 07/17/95                 2102 DEINDORFER ST                                      SOLNICK FAM REVOCABLE LIVING TRUST UA 02/07/97
9313 CREEKSIDE TR                                  SAGINAW, MI 48602-5021                                  6766 MIDDLEBROOK BLVD
STONE MTN, GA 30087                                                                                        MIDDLEBURG HTS, OH 44130-2650



PAUL J WOLF CUST ANN MARIE WOLF                    PAUL JAFFE CUST PETER JAFFE                             PAUL JOHN GUTOWSKI TOD ALAN CHRISTOPHER GUTOWSKI S
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT          RULES
1081 AIRPORT RD                                    4701 WILLARD AVE #408                                   7320 ASBURY PK
WATERFORD, MI 48327-1805                           CHEVY CHASE, MD 20815-4611                              DETROIT, MI 48228-3618



PAUL L CUNEO & NANCY J CUNEO JT TEN                PAUL L ELLIS & MRS FRANKIE M ELLIS JT TEN               PAUL L GOLDSTEIN
SPECIAL ACCOUNT                                    107401 W TWIN OAKS DR                                   2683 SW 84TH TERRACE
16 LEEDS DR                                        SUN CITY, AZ 85351-1951                                 MIRAMAR, FL 33025
PRT WASHINGTN, NY 11050-4132



PAUL L HEINE                                       PAUL L KLEIN & NANCY L KLEIN JT TEN                     PAUL M HEINRICH
64 COUNTRY FIELD DR                                6699 CO RD 417                                          30812 BLAIRMOOR
CAMDEN WYO, DE 19934-1772                          MCMILLAN, MI 49853-9240                                 MADISON HTS, MI 48071-2182




PAUL M HEINRICH & ALICE O HEINRICH JT TEN          PAUL MANDIGO CUST SCOTT MANDIGO                         PAUL MAURICE BICKNELL RUBY DOROTHY BICKNELL RUTH TU
30812 BLAIRMOOR                                    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT              & SYDNEY ARTHUR PHILLIPS
MADISON HTS, MI 48071-2182                         214 MOSS RD                                             PO BOX 7 RED HILLS
                                                   WINTER SPRINGS, FL 32708                                JAMAICA WI
                                                                                                           JAMAICA


PAUL MILLS PADDOCK & ANA LIVINGSTON PADDOCK TR     PAUL N AKEY & LEORAL F AKEY TR                          PAUL N SWEET TR SWEET TR # 70 UA 1/29/71
RUTH L MILLS TRUST UA 10/25/83 MARY OSTER          PAUL N AKEY & LEORAL F AKEY LIVING TRUST UA 01/24/95    1694 NORTH SAUK TRAIL
105 S NARCISSUS AVE #402                           645 MOUNTROSE ST                                        OREGON, IL 61061
WEST PALM BEACH, FL 33401-5526                     LEBANON, MO 65536-4269
                       09-50026-mg         Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 330 of 440
PAUL NIANOURIS                                        PAUL O HOWARD                                       PAUL O NADEAU JANE B NADEAU TOD NAME ON FILE 03/21/05
13064 125TH AVE N                                     4401 289TH STREET                                   2675 MONTEBELLO
LARGO, FL 33774-3501                                  TOLEDO, OH 43611                                    WATERFORD, MI 48329




PAUL R ATWOOD                                         PAUL R JENKINS & HERTHA JENKINS WOODRUFF TR         PAUL R OLDROYD CUST JEFFREY R OLDROYD UGMA UT
34965 350 E                                           UA 07/21/2006 HERTHA P JENKINS REV TRUST            PO BOX 970055
KOKOMO, IN 46902-9530                                 23150 LAUREL VALLEY                                 OREM, UT 84097-0055
                                                      SOUTHFIELD, MI 48034



PAUL R ROUSSEAU RICHARD ROUSSEAU & JEANNE M MATHIEUPAUL
                                                    TR R STOREY                                           PAUL R UTTERBACK CUST SUSAN UTTERBACK
ROUSSEAU MEMORIAL FUND U-W MARGARET I ROUSSEAU     PO BOX 797785                                          U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
232 MAPLE ST                                       DALLAS, TX 75379-7785                                  618 ST CATHERINES CT
NEW BEDFORD, MA 02740-3514                                                                                NEWBURGH, IN 47630-1528



PAUL RICHARD LUNSFORD SR TR                           PAUL RICHARD NEUMAN                                 PAUL S MCKIBBEN JR
PAUL RICHARD LUNSFORD SR REVOCABLE TRUST UA           3067 134TH AVE                                      9210 393RD AVENUE
12/02/03                                              HOPKINS, MI 49328-9799                              GENOA CITY, WI 53128-1274
162 HERON LANE
GILBERT, SC 29054-9749


PAUL SCHECHTER                                        PAUL SCHREIER & BERTA SCHREIER TR                   PAUL SOLOMON CUST JEFFREY SOLOMON
73A FRANKLIN LN                                       UA 06/30/89 THE 1989 SCHREIER FAMILY TRUST          U/THE MASS UNIFORM GIFTS TO MINORS ACT
WHITING, NJ 08759-1841                                21 MORNINGSIDE DR                                   7596 BILTMORE DR
                                                      SAN FRANCICO, CA 94132-1236                         SARASOTA, FL 34231-6906



PAUL STUART PARKER                                    PAUL V HALABURDA TR                                 PAUL W BIESEMEIER & JUDY ANN BIESEMEIER TR
PO BOX 198066                                         UA 11/19/93 THE JOSEPHINE R HALABURDA IRREVOCABLE   UA 02/01/2008 PAUL W BIESEMEIER & JUDY BIESEMEIER
NASHVILLE, TN 37219-8066                              TRUST                                               3833 CAIRNS WAY
                                                      3864 E 364TH STREET                                 MODESTO, CA 95356
                                                      WILLOUGHBY, OH 44094-6319


PAUL WEINBERG CUST ANDREW JORDAN WEINBERG UGMA NYPAUL WEINREBE TR UA 12/19/1995 PAUL WEINREBE FAMILY TRUST
                                                                                                       PAUL ZIEKY CUST EDWARD NORMAN ZIEKY
43 MIDLAND RD                                    88 MASONIC HOME RD                                    U/THE CONN UNIFORM GIFTS TO MINORS ACT
ROSLYN HTS, NY 11577-1414                        CHARLTON, MA 01507                                    3720 S OCEAN BLVD
                                                                                                       APT 1404
                                                                                                       HIGHLAND BCH, FL 33487-3389


PAULA A CAPONETTI & RICHARD F CAPONETTI TR            PAULA K YARBROUGH TR                                PAULA STASIAK
UA 12/16/98 THE PAULA A & RICHARD F                   PAULA K YARBROUGH REVOCABLE LIVING TRUST UA         706-1176 OUELLETTE AVE
11 WILLIAMSBURG SO                                    10/09/01                                            WINDSOR ON
COLTS NECK, NJ 07722-1615                             10585 CEMENT CITY HWY                               N9A 6S9 CANADA
                                                      ADDISON, MI 49220-9549


PAULINE C ARMSTRONG TR                                PAULINE CURHAN CUST DANIEL J CURHAN                 PAULINE FEINBLATT
INTERVIVOS LIVING TRUST 02/23/87 U-A PAULINE C        A MINOR UNDER LAWS OF THE STATE OF MICHIGAN         22204 77TH AVE
ARMSTRONG                                             1122 CORTO CAMINO ONTARE                            OAKLAND GDNS, NY 11364-3041
#6 JAY STREET                                         SANTA BARBARA, CA 93105-1914
COLUSA, CA 95932-2925


PAULINE H FILER & SANDRA SCARLETT & CYNTHIA SANDERS JTPAULINE
                                                       TEN     L POTTS CUST GORDON O POTTS JR             PAULINE LEVIN CUST ALAN DOUGLAS LEVIN
4122 VANTAGE CIR                                      A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y       U/THE N J UNIFORM GIFTS TO MINORS ACT
SEBRING, FL 33872-3400                                2825 SE 23RD AVE                                    28 ALCOTT DRIVE
                                                      OCALA, FL 34471-6184                                LIVINGSTON, NJ 07039-1224
                    09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
                                                        Part 8 of 8 Pg 331 of 440
PAULINE MAE WEENINK TR                           PAULINE MILLER                                         PAULINE PALMER MEEK & MILO BEN MEEK TR
PAULINE MAE WEENINK REVOCABLE LIVING TRUST UA    & DANNY R BLAIR & TIMOTHY E BLAIR & JONATHON R BLAIR   PAULINE PALMER MEEK TRUST UA 04/15/98
02/15/91                                         JT TEN                                                 1923 LITTLE KITTEN AVE
210 HEILMAN ST                                   101 S MAIN ST                                          APT 26
EATON RAPIDS, MI 48827-1911                      PO BOX 119 101 S MAIN STREET                           MANHATTAN, KS 66503-7587
                                                 NEW MADISON, OH 45346-0119

PAULINE WALKER                                   PAULINE WISNIEWSKI & CHARLES WISNIEWSKI TR             PAULINO V VARELA
9341 300TH AVE                                   PAULINE WISNIEWSKI REVOCABLE LIVING TRUST UA           GM DO BRASIL
NEW AUBURN, WI 54757                             11/21/95                                               RODOVIA RS30 PARADA 101
                                                 18 LAKEVIEW RD                                         GRAVATAI-RS
                                                 N SALEM, NY 10560-2910                                 94198-900 BRAZIL


PAULO F MOREIRA                                  PAULO FRANCISCO MOREIRA                                PAULO R FERREIRA ROCHA
RUA J.B. SANTOS                                  RUA J B SANTOS CAIXA POSTAL 55                         RUA JOSE GALDINO DA SILVA 651
SANTO ANTOIO DO BIMHAL                           SANTO ANTONIO DO PINHAL                                SAO PAULO SP
CAIXA BOSTAL 55                                  SAO PAULO                                              04792-000
12450-000 BRAZIL                                 12450-000 BRAZIL                                       BRASIL BRAZIL


PEARL CEIFETZ CUST ROCHELLE DEE CEIFETZ          PEARL L DAVIDSON TOD DAVID H                           PEARL LOUISE MOLES HAAS TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT           & PEARL L DAVIDSON LIVING TRUST UA 10/14/1996          PEARL LOUISE MOLES HAAS REVOCABLE TRUST UA
10525 KINGSTON                                   2143 MARJORIE ANN STREET                               04/26/04
HUNTINGTON WOODS, MI 48070-1159                  WEST BRANCH, MI 48661                                  3040 CHAR ANN
                                                                                                        HOWELL, MI 48843-5703


PEARL PECHTER                                    PEARL W CAPLAN CUST LAWRENCE J CAPLAN                  PEARLY A EDWARDS
PO BOX 940458                                    U/THE N Y UNIFORM GIFTS TO MINORS ACT                  1050 CHILVERS AVE
SIMI VALLEY, CA 93094                            4856 WINTERWOOD DR                                     WHITING, NJ 08759-2714
                                                 RALEIGH, NC 27613



PEDRAM PANAHI                                    PEDRO L DIAS                                           PEDRO V DE MELLO
2203-1383 MARINASIDE CRESCENT                    ALAMEDA TIETE 325 APT 21                               RUA JUPITER 94
VANCOUVER BC                                     SAO PAULO SP BRAZIL                                    SANTO ANDRE V ASSUNCAO
V6Z 2W9 CANADA                                   01417-020 BRAZIL                                       EST DE S PAULO
                                                                                                        09181-540 BRAZIL


PEDRO V DE MELLO                                 PEDRO VENTURA DE MELLO                                 PEGGIE E CARINDER & JAMES E CARINDER TR
RUA JUPITER 94 VILA ASSUNCAO                     RUA JUPITER 94                                         PEGGIE E CARINDER LIVING TR UA 07/16/96
SANTO ANDRE                                      SANTO ANDRE-V ASSUNCAO                                 15516 BLUE MESA DR
SAO PAULO                                        EST DE S PAULO                                         EDMOND, OK 73013-8848
09181-540 BRAZIL                                 09181-540 BRAZIL


PEGGY A JEFFERY                                  PEGGY ANN FORSTER                                      PEGGY HALVERSON CUST CHANDLER E HALVERSON UTMA W
PO BOX 630232                                    13445 168TH AV                                         W236444 AMERICAN HEIGHTS
IRVING, TX 75063-0115                            ACKWORTH, IA 50001-9661                                ARCADIA, WI 54612




PEGGY J BOONE & LARRY R BOONE JT TEN             PEGGY J HEINZKILL                                      PEGGY L JOHNSON
29410 110TH AVE SE                               1401 S NICOLET RD                                      23804 150TH ST SE
AUBURN, WA 98092-1918                            APT 64                                                 MONROE, WA 98272-9606
                                                 APPLETON, WI 54914-8228



PER I LUNDGAARD & LESLIE S LUNDGAARD TR          PERI Z HANSEN                                          PERRY B ALERS CUST PERRY CAMPBELL ALERS
NELSON SHIELDS LUNDGAARD TRUST UA 03/27/96       BOX 492021                                             A MINOR UNDER THE LAWS OF THE DISTRICT OF COLUMBIA
PO BOX 3963                                      LOS ANGELES, CA 90049-8021                             9272 ALLEN STREET
WILMINGTON, DE 19807-0963                                                                               NABASSAS, VA 20110-6176
                    09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                          Part 8 of 8 Pg 332 of 440
PERRY K TRIMMER II                                 PERSHING TR FBO ALEXANDRA L WARD IRA            PETE GAMMON CUST PAUL VADER
PO BOX 155702                                      13225 101ST STREET                              UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
FORT WORTH, TX 76155-0702                          SE LOT 350                                      14501 ATRIUM WAY #231
                                                   LARGO, FL 33773-5605                            MINNETONKA, MN 55345-4757



PETE GAMMON CUST PETER VADER                       PETER A DEL PUPPA CUST PETER DEL PUPPA          PETER A RICH
UNDER THE MISSOURIUNIFORM GIFTS TO MINORS LAW      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT      94-9025 216TH STREET
5905 ELLIOT AVE S                                  579 PARK ESTATES SQ                             LANGLEY BC
MINNEAPOLIS, MN 55417-3151                         VENICE, FL 34293-4189                           V1M 2X6 CANADA



PETER ALLAN STEIN                                  PETER BERNTSEN CUST PETER B BERNTSEN            PETER DE MARIE CUST ELAINE DE MARIE
1519 PINEHURST LN                                  U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT     U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
ROUND ROCK, TX 78664-6147                          1355 GAY CIR                                    609 SAVANNAH RD
                                                   LONGMONT, CO 80501-1876                         LEWES, DE 19958-1520



PETER DERSCHA & AUDREY DERSCHA TR DERSCHA TRUST # 1PETER
                                                    UA 4/26/00
                                                          DYKSTRA CUST MARK WILLIAM DYKSTRA        PETER F LICHTENSTEIN
PO BOX 249                                         U/THE ILL UNIFORM GIFTS TO MINORS ACT           91 FERRIS STREET
VERNON, MI 48476-0249                              2146 TIMBERIDGE COURT                           SOUTH RIVER, NJ 08882-1842
                                                   HIGHLAND, IN 46322-3526



PETER G DILLON & JUDITH H DILLON TR                PETER G TOWNSEND & IRENE H TOWNSEND TR          PETER GALLUCCI CUST PETER GALLUCCI JR
DILLON FAMILY REVOCABLE TRUST UA 06/15/04          PETER G TOWNSEND TRUST UA 06/21/90              U/THE N J UNIFORM GIFTS TO MINORS ACT
8842 N MAY AVE                                     665 LYNNDALE CT                                 13 HOOVER AVE
OKLAHOMA CITY, OK 73120-4472                       ROCHESTER HILLS, MI 48309-2436                  BLOOMFIELD, NJ 07003-5226



PETER H BRONSTEIN                                  PETER H RHEINSTEIN                              PETER HEPPE
15 MERRILL AVENUE                                  621 HOLLY RIDGE RD                              PO BOX 220263
SALEM, NH 03079                                    SEVERNA PARK, MD 21146-3520                     ANCHORAGE, AK 99522-0263




PETER HOO CUST MISS ROSANNE HOO                    PETER J AHRENS TR                               PETER J HEINRICH
A MINOR U/ART8-A OF THE PERS PROP LAW OF N Y       UA 05/18/72 ADAM A AHRENS TRUST DON AHRENS AS   401 COLBORNE ST WEST
2106 BROADWAY                                      GRANTOR                                         WHITBY ON
SAN FRANCISCO, CA 94115-1329                       3037 WOODS EDGE WAY                             L1N 1X5 CANADA
                                                   MADISON, WI 53711-5163


PETER J HOUSER CUST PHILIP J HOUSER                PETER J MEYERS JR CUST STEVE ALAN MEYERS        PETER J MEYERS JR CUST STEVE ALAN MEYERS
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y      U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
33 MEADOWBROOK ROAD                                126 W 3RD AVE                                   126 W 3RD AVE
LONGMEADOW, MA 01106-1340                          LITITZ, PA 17543-2614                           LITITZ, PA 17543-2614



PETER J SHUE CUST NINA LOUISE SHUE                 PETER J ZANNONI CUST MISS LISA W ZANNONI        PETER J ZANNONI CUST MISS PIER J ZANNONI
U/THE PA UNIFORM GIFTS TO MINORS ACT               U/THE WEST VIRGINIA GIFTS TO MINORS ACT         U/THE WEST VIRGINIA GIFTS TO MINORS ACT
115 COLD SPRINGS ROAD                              PO BOX 559                                      BOX 129
CARLISLE, PA 17013-9119                            GRANTSVILLE, WV 26147-0559                      GRANTSVILLE, WV 26147-0129



PETER JOHN LENGYEL                                 PETER JONES                                     PETER KNOWLES JR & ELIZABETH KENDALL RANSLOW TR
& HELEN A LENGYEL & STEVEN P LENGYEL & DAVID M     10 HOLBEIN GARDENS                              PETER KNOWLES JR LIVING TRUST UA 12/03/04
LENGYEL &                                          NORTHAMPTON                                     10201 GROSVENER PLACE APT 526
1315 BURGUNDY RD                                   NORTHAMPTONSHIRE                                ROCKVILLE, MD 20852
ANN ARBOR, MI 48105-2524                           NN4 9XT GREAT BRITAIN
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                             Part 8 of 8 Pg 333 of 440
PETER L BERNARD JR CUST SUZANNE LEE BERNARD           PETER L BLASCO                                    PETER LILOIA III TR
A MINOR U/THE LA GIFTS TO MINORS ACT                  & CLAIRE M BLASCO & ANTHONY P BLASCO & THOMAS M   UW PETER LILOIA JR DORIS LILOIA CREDIT SHELTER TRUST
113 MAGNOLIA DR                                       BLASCO &                                          117 SUNRISE TERRACE
METAIRIE, LA 70005-4028                               8905 FINLEY DR                                    WASHINGTON, NJ 07882
                                                      HICKORY HILLS, IL 60457-1058


PETER LUKIC                                           PETER M MILCOVICH DJHOSSAN S MILCOVICH TR         PETER M WEINSTEIN & BARBARA WEINSTEIN JT TEN
7704 KLEIN DR                                         UA 12/13/96 THE PETER & DJHOSSANMILCOVICH         10050 VESTAL PL
MIDDLBURG, OH 44130-7123                              228 TIBURON COURT                                 CORAL SPRINGS, FL 33071-5827
                                                      WALNUT CREEK, CA 94597-3436



PETER MADVAD & MARTHA B MADVAD TR                     PETER MANCUSI JR TR                               PETER P KLEIN & DIANA M KLEIN TR
UA 12/14/93 THE MADVAD FAMILY REVOCABLE LIVING        PETER MANCUSI JR REVOCABLE TRUST AGREEMENT        PETER P KLEIN & DIANA M KLEIN LIVING TRUST UA 11/14/94
TRUST                                                 05/10/94                                          1268 CAMINO RIO VERDE
2102 WILLOW BROOK DR                                  4535-A NUTMEG TREE LANE                           SANTA BARBARA, CA 93111-1015
WARREN, OH 44483-4657                                 BOYNTON BEACH, FL 33436-3617


PETER P VAN BLARCOM CUST JAMES P VAN BLARCOM          PETER PAUL ZIMMERMANN & MICHAEL JOSEPH ZIMMERMANN TR
                                                                                                        PETER PETROS REGAS CUST CONSTANTINOS P REGAS
U/THE PA UNIFORM GIFTS TO MINORS ACT                  UA 03/22/68 CATHERINE MORRISON ZIMMERMANN TR      U/THE DEL UNIFORM GIFTS TO MINORS ACT
701 W BUTLER PIKE                                     10825 TABOR ST                                    2717 CHINCILLA DR
AMBLER, PA 19002-5148                                 LOS ANGELES, CA 90034-5513                        WILMINGTON, DE 19810-1534



PETER PETROS REGAS CUST PETROS P REGAS                PETER R DEMARCO & LORETA L DEMARCO TR             PETER S CROUCH
U/THE DEL UNIFORM GIFTS TO MINORS ACT                 UA 11/07/91 PETER & LORETA DEMARCO REV TRUST      PO BOX 460668
2717 CHINCILLA DR                                     12701 FAIRVIEW RD                                 DENVER, CO 80246-0668
WILMINGTON, DE 19810-1534                             SPRINGFIELD, NE 68059-5298



PETER S POLCHERT CUST STACI LEE SCHEIN UGMA WI        PETER SCHAFFER                                    PETER T STEINER
9822 WILSON RUBY AVE                                  BET DEN KLEINEN HAEUSERN 16A                      1625 NEWCASTLE COURT
WAUWATOSA, WI 53225                                   D-21643 BECKDORT                                  ROCHESTER HILLS, MI 48306-3679
                                                      GERMANY



PETER V DABBIERI CUST PETER DABBIERI JR               PETER V V HAMILL CUST PETER V V HAMILL            PETER W ANDERSON CUST DAVID WALTER ANDERSON
U/THE VA UNIFORM GIFTS TO MINORS ACT                  U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT        A MINOR U/THE CALIFORNIA GIFTS OF SECURITIES TO
PO BOX 1210                                           1362 GREENWAY DR                                  MINORS ACT
PAHRUMP, NV 89041-1210                                ANNAPOLIS, MD 21401-4637                          1091 REED AVE APT A
                                                                                                        SUNNYVALE, CA 94086-6817


PETER W ANDERSON CUST DAVID WALTER ANDERSON U/SEC 125-4-1
                                                  PETER COLO
                                                          W DAVIS
                                                               REV                                      PETER WALSH CUST DOROTHY M WALSH
STATUTES 53                                       3060 135TH                                            U/THE MASS UNIFORM GIFTS TO MINORS ACT
1091 REED AVE APT A                               TOLEDO, OH 43611-2332                                 37 MELVERN RD
SUNNYVALE, CA 94086-6817                                                                                ABINGTON, MA 02351-2517



PETER WALSH CUST KENNETH P WALSH                      PETER WEINBERG                                    PHEBA J BLACKWELL TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT                738 S GILPIN ST                                   PHEBA J BLACKWELL REVOCABLE LIVING TRUST UA
37 MELVERN RD                                         DENVER, CO 80209-4513                             11/15/00
ABINGTON, MA 02351-2517                                                                                 RT 2 BOX 694
                                                                                                        IRONTON, MO 63650-9566


PHIL R MANNING JR & MARY M MANNING TR                 PHIL ROBINSON JR & GWENDOLYN D ROBINSON TR        PHILIP A CIANCIOLO & EDITH J CIANCIOLO TR
PHIL R & MARY M MANNING JR FAMILY TRUST UA 10/16/95   PHIL ROBINSON JR LIVING TRUST UA 08/04/97         UA 05/21/2007 CIANCIOLO FAMILY TRUST
19 POINT LOMA DR                                      114 CARRIAGE DRIVE                                21140 SEABURY AVE
CORONA DEL MAR, CA 92625-1027                         MIDDLEBURY, CT 06762-1928                         CLEVELAND, OH 44126
                   09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                           Part 8 of 8 Pg 334 of 440
PHILIP A MARRACCINI CUST NINA MARIE MARRACCINI      PHILIP A PRAIRIE                                      PHILIP B TANKARD & CYNTHIA T LATTIMORE TR
U/THE N Y UNIFORM GIFTS TO MINORS ACT               361 LINWOOD AVE                                       PHILIP B TANKARD REVOCABLE TRUSTUA 11/01/02
7 INDIAN TRAIL                                      WHITINSVILLE, MA 01588-2313                           BOX 69 8410 GRAPELAND FARM RD
HARRISON, NY 10528-1803                                                                                   FRANKTOWN, VA 23354-0069



PHILIP BEICKLER                                     PHILIP C HINES                                        PHILIP C STEIN JR
ATTN JOACHIM M BEICKLER                             PO BOX 851003                                         868 BRANDON LANE
ROMBERGWEG 19                                       WESTLAND, MI 48185-6103                               SCHWENKSVILLE, PA 19473-2102
61462 KONIGSLEIN
GERMANY


PHILIP CHARLES STOLP & DOROTHY LOUISE STOLP TR      PHILIP D FELDMAN & JEANNE R FELDMAN TR                PHILIP D WEAGEL & CAROL M WEAGEL TR
UA STOLP FAMILY TRUST 07/12/91                      UA 06/01/93 THE PHILIP D FELDMAN& JEANNE R            PHILIP D WEAGEL & CAROL M WEAGEL TRUSTUA 07/26/01
1148 W MOUNTAIN VIEW                                1019 HARVARD                                          22025 BENJAMIN
GREEN VALLEY, AZ 85614-1006                         BUFFALO GROVE, IL 60089-4324                          ST CLAIRE SHORES, MI 48081-2280



PHILIP ECKER CUST LARRY J ECKER                     PHILIP ECKER CUST LEE A ECKER                         PHILIP ECKSTEIN & JOAN ECKSTEIN TR
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT        U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          ECKSTEIN REVOCABLE TRUST UA 05/04/06
10 EDINBURGH DR                                     10 EDINBURGH DR                                       22817 STERLING LAKES DR
RANDOLPH, NJ 07869-2137                             RANDOLPH, NJ 07869-2137                               BOCA RATON, FL 33433-6270



PHILIP F HURST CUST LISA KAY HURST                  PHILIP F WOOD TR UA 05/13/05 TRUSTEE OR SUCCESSOR TRUSTEE
                                                                                                         PHILIPOFFINNEGAN CUST HUGH FINNEGAN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          THEPHILIP F WOOD REVOCABLE TRUST                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
216 LONGVIEW AVE                                    7349 CONSERVATION ROAD                               405 N VILLAGE AVE
FAIRFIELD, CT 06430-6121                            ADA, MI 49301                                        ROCKVILLE CENTRE, NY 11570-2329



PHILIP G RUBENSTEIN                                 PHILIP GROSSO CUST ROBERT ANTHONY GROSSO JR           PHILIP H CLARK CUST JOSHUA H CLARK
APT 5-C                                             A MINOR U/P L 55 CHAP 139 OF THE LAWS OF NEW JERSEY   U/THE UTAH UNIFORM GIFTS TO MINORS ACT
2500 EAST AVE                                       1201 SQUIRREL CREEK PL                                1997 DONELSON LN
ROCHESTER, NY 14610-3170                            AUBURN, CA 95602-8863                                 SALT LAKE CITY, UT 84117-7039



PHILIP I MC GRATH JR CUST ELIZABETH ANNE MC GRATH   PHILIP J BURNS JR CUST PHILIP JOSEPH BURNS 3RD        PHILIP J CRONIN
U/THE CALIF UNIFORM GIFTS TO MINORS ACT             U/THE MICH UNIFORM GIFTS TO MINORS ACT                PO BOX 311171
1281 BRANCHWATER LANE                               PO BOX 54                                             FLINT, MI 48531-1171
BIRMINGHAM, AL 35216-2001                           RUBY, NY 12475-0054



PHILIP M MISTRETTA & ELAINE K MISTRETTA TR          PHILIP P CARPENTIER & THERESE A CARPENTIER TR         PHILIP P WOODWARD & ALVINE A WOODWARD TR
MISTRETTA LIV TRUST UA 02/18/99                     THE CARPENTIER FAM LIVING TRUST UA 10/24/95           WOODWARD FAM TRUST UA 11/11/93
14362 MORAVIAN MANOR CIRCLE                         11762 DOROTHY LANE                                    15939 E LOS ALTOS DR
STERLING HEIGHTS, MI 48312-5797                     WARREN, MI 48093-8917                                 HACIENDA HGTS, CA 91745-5432



PHILIP PRINDLE & JEAN M PRINDLE JT TEN              PHILIP R GOLDSTEIN                                    PHILIP R MALONE CUST JAMES PHILIP MALONE
3042 195TH AVE                                      200 NORTH WYNNEWOOD AVENUE                            U/THE N Y UNIFORM GIFTS TO MINORS ACT
MONTROSE, IA 52639                                  APARTMENT A 422                                       3138 VALLEY FARMS RD
                                                    WYNNEWOOD, PA 19096-1425                              INDIANAPOLIS, IN 46214-1516



PHILIP R PRIMOZIC CUST PHILIP ANDREW PRIMOZIC       PHILIP S THACHER JR CUST PHILIP S THACHER 3RD         PHILIP W BALINT
UNDER THE WEST VIRGINIA GIFTS TO MINORS ACT         A MINOR U/ CALIF GIFTS OF SEC TO MINORS ACT           1 BOEING RD
309 VIOLA RD                                        1732 VULCAN ST                                        APT 3
CHARLESTON, WV 25314-1835                           EL CAJON, CA 92021-1054                               NEW CUMBERLND, PA 17070-2486
                   09-50026-mg               Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                             Part 8 of 8 Pg 335 of 440
PHILIP W JENSEN & MARJORIE H JENSEN TR                PHILIP WECHSLER & BETTY WECHSLER TR                   PHILIP WEST
UA 06/09/2007 PHILIP & MARJORIE JENSEN TRUST          1999 PHILIP & BETTY WECHSLER REVOCABLE TRUST UA       BOX 786-311
469 BRIARWOOD                                         12/27/99                                              QUEEN ST E
UKIAH, CA 95482                                       PO BOX 101                                            ST MARYS ON
                                                      WOODLAND, CA 95776-0101                               N4X 1B5 CANADA


PHILLIP C LEININGER                                   PHILLIP G JACOBSON CUST GARY J JACOBSON               PHILLIP I OPPENHEISER & JO ELLEN OPPENHEISER TR
PO BOX 463                                            U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT           UA 04/29/07 PHILLIP I OPPENHEISER & JO ELLEN
GALVESTON, IN 46932-0463                              27 YORKTOWN                                           5426 HIAWATHA DRIVE
                                                      IRVINE, CA 92620-2677                                 CHEBOYGAN, MI 49721



PHILLIP J YEITER & NANCY A YEITER TR                  PHILLIP MARZANO                                       PHILLIP R SAVAGE
PHILLIP J YEITER TRUST UA 05/13/99                    C/O P M A/C & REFRIGERATION                           PO BOX 907570
1350 GRANADA DR NW                                    RD 2 BOX 85                                           GAINESVILLE, GA 30501-0910
GRAND RAPIDS, MI 49544-2217                           KUNKLETOWN, PA 18058-9668



PHILLIP W BOVENSIEP TR                                PHILLIP W DOWNEY & CAROL J DOWNEY TR                  PHILLIPS S PETER CUST PHILLIPS S PETER JR
CATHERINE BOVENSIEP & PHILIP W BOVENSIEP TR UA        PHILLIP W & CAROL J DOWNEY LIVING TRUST UA 10/19/99   U/THE CALIF UNIFORM GIFTS TO MINORS ACT
8/15/91AMENDED 04/05/04                               455 GLORIA CIRCLE NW                                  10805 TARA RD
3030 N CHANNEL DR                                     CANAL FULTON, OH 44614-9314                           POTOMAC, MD 20854-1341
HARSENS ISLAND, MI 48028-9500


PHINEAS MUNSELL RANDALL IV & PHOEBE M RANDALL TR      PHYLIS CONKLIN CUST MICHAEL JOSEPH CONKLIN A MINORPURS
                                                                                                          PHYLLIS
                                                                                                             TO SECS
                                                                                                                  BIRCH
                                                                                                                      1339
                                                                                                                         WEISS CUST ADAM BIRCH WEISS
PHINEAS MUNSELL RANDALL LIVING TRUST UA 04/13/98      /26 INCL OF THE                                     UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW
925 GLYN MORGAN COURT                                 3336 CARPENTERS CREEK DR                            6243 29TH ST NW
NEWARK, OH 43055-1793                                 CINCINNATI, OH 45241-3813                           WASH, DC 20015-1558



PHYLLIS C KREEGER CUST PAUL W STULTZ JR               PHYLLIS C KREEGER CUST RICHARD LEE STULTZ             PHYLLIS C THOMSON TR
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT             U/THE INDIANA UNIFORM GIFTS TO MINORS ACT             PHYLLIS C THOMSON REVOCABLE TRUS OF 1997 UA 4/22/97
PO BOX 282                                            PO BOX 461                                            BOX 91
SCOTTSBURG, IN 47170-0282                             SCOTTSBURG, IN 47170-0461                             NORTHWOOD, NH 03261-0091



PHYLLIS CALLAMARI CUST DEBRA CALLAMARI                PHYLLIS CALLAMARI CUST HAROLD CALLAMARI JR            PHYLLIS CALLAMARI CUST THOMAS CALLAMARI
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          U/THE N J UNIFORM GIFTS TO MINORS ACT                 U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
14 PETERSON RD                                        14 PETERSON RD                                        14 PETERSON RD
TOTOWA BORO, NJ 07512-1930                            TOTOWA BORO, NJ 07512-1930                            TOTOWA BORO, NJ 07512-1930



PHYLLIS E JOHNSON & CHARLOTTE J JONES TR              PHYLLIS G BERNARD & JOHN A BERNARD TR                 PHYLLIS HOFFMAN CUST TRACY HOFFMAN
PHYLLIS E JOHNSON LIVING TRUST UA 03/10/05            UA 07/28/87 PHYLLIS G BERNARD FAMILY TRUST            UNDER THE FLORIDA GIFTS TO MINORS ACT
1196 LINKSIDE DRIVE                                   6608 REEDS DR                                         5 FAIRVIEW DR
ATLANTIC BEACH, FL 32233-4387                         MISSION, KS 66202-4260                                WESTPORT, CT 06880-1702



PHYLLIS J LEONARD TR UA 05/06/2004 THE THOMAS R LEONARDPHYLLIS
                                                        AND PHYLLIS
                                                               JEAN SPILLERS
                                                                     J       CUST ERIN KATHLEEN SPILLERS    PHYLLIS K SLATTERY TR
LEONARD TRUST-TRUST B DECEDENT'S                       UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW       UA 02/09/00 PHYLLIS K SLATTERY REVOCABLE LIVING
1320 ASHEBURY LANE                                     368 PRAIRIE HERITAGE DRIVE                           TRUST
APT 201                                                O'FALLON, MO 63366-7203                              1235 STONETREE DR
HOWELL, MI 48843                                                                                            TROY, MI 48083-5220


PHYLLIS K STEINKE                                     PHYLLIS M BAKER CUST ALISA JEANNE BAKER               PHYLLIS MILLSTEIN
12001 WEDGE DR                                        A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J          22 E 81ST ST
FORT MYERS, FL 33913-8346                             48 AFTERGLOW WAY                                      N Y, NY 10028-0230
                                                      MONTCLAIR, NJ 07042-1712
                    09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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PHYLLIS P NIELSEN & ALVIN L NIELSEN TR               PHYLLIS R DONALDSON                                    PHYLLIS R MORSE CUST MATTHEW DAVID MORSE
NIELSEN REVOC LIVING TRUST UA 04/30/96               12765 162ND TERR                                       U/THE MASS UNIFORM GIFTS TO MINORS ACT
608 4TH ST                                           MCALPIN, FL 32062-2357                                 51 HOP BROOK RD
TAYLOR, NE 68879                                                                                            AMHERST, MA 01002-2771



PHYLLIS S WEINTRAUB & MARC R WEINTRAUB TR            PHYLLIS SELLERS                                        PIERRE MARCEL DESPINS & MADELEINE DENISE DESPINS JT T
PHYLLIS S WEINTRAUB REVOCABLE TRUST UA 5/9/00        PO BOX 970607                                          PO BOX 321
7600 BAYSHORE DR                                     YPSILANTI, MI 48197-0810                               FALHER AB
TREASURE ISLAND, FL 33706-3529                                                                              T0H 1M0 CANADA



PLESANT M PARK & NORMA L PARK TR                     PLINIO J PIMPAO CUST DIANE ESTEVES                     PNC BROKERAGE FBO ELIZABETH A OSBORNE
UA 10/15/91 PLESANT M PARK & NORMA L PARK LIVING     A MINOR U/P L 55 CHAP 139 OF LAWS OF STATE OF N J      30 LOUISE RD
TRUST                                                142 STILES ST                                          NEW CASTLE, DE 19720-1720
2639 PAR FOUR LN                                     ELIZABETH, NJ 07208-1811
JOLIET, IL 60436-1000


POLING MCGRAW & POLING PC PROFIT SHARING & EMPLOYEE POLLY
                                                    BENEFITBEST
                                                             PLAN
                                                                FELLOWS
                                                                  &      CUST ELIZABETH B FELLOWS           POLLY S MOWELL CUST HARRY BARNES MOWELL
TRUST U-A DTD 12-29-87                              U/THE ARK UNIFORM GIFTS TO MINORS ACT                   U/THE MD UNIFORM GIFTS TO MINORS ACT
5435 CORPORATE DR SUITE 275                         1 MASTERS CIR                                           1317 GLENCOE RD
TROY, MI 48098-2611                                 LITTLE ROCK, AR 72212-3310                              GLENCOE, MD 21152-9353



POLLY S MOWELL CUST WILLIAM SATTLER MOWELL           PORTER C EDDY CUST KURT EDDY                           PRADEEP SHASTRI & RANJANA SHASTRI TR
U/THE MD UNIFORM GIFTS TO MINORS ACT                 U/THE NORTH DAKOTA UNIFORM GIFTS TO MINORS ACT         UA 11/06/04 PRADEEP & RANJANA TRUST
11404 CARDINAL LANE                                  905 2ND AVENUE NORTH                                   654 SWARTHMORE AVE
JAMESVILLE, MD 21754-8926                            NEW ROCKFORD, ND 58356-1505                            PACIFIC PALISADE, CA 90272



PRESTON B HELLER JR TR                               PRIMETTA GIACOPINI & UMBERT GIACOPINI TR               PRINCESS J JOHNSON TR
PRESTON B HELLER JR DECLARATION OF TRUST UA          UA 09/15/89 PRIMETTA GIACOPINI &UMBERT                 JAMES W & PRINCESS J JOHNSON LIVING TRUST UA 8/22/00
11/19/01                                             4863 RENO LN                                           3909 CRYSTAL ST
13599 COUNTY LINE ROAD                               EL SOBRANTE, CA 94803-3850                             ANDERSON, IN 46012-1109
CHAGRIN FALLS, OH 44022-4005


PRISCILLA JEAN NAGY & JULIUS NAGY JR TR              PRISCILLA LOUISE MAYSTEAD TR                           PRUDENTIAL-BACHE SECURITIES INC CUST DIANA KAY HASEK
JULIUS & PRISCILLA J NAGY TRUST UA 04/19/02          UA 05/18/2007 PRISCILLA LOUISE MAYSTEAD FAMILY TRUST   PLAN U-A DTD
2103 ALA ST                                          P O BOX 4028                                           10605 RED BRICK CT
BURTON, MI 48519-1203                                CHATSWORTH, CA 91313                                   LOUISVILLE, KY 40223-5514



PRUDENTIAL-BACHE SECURITIES INC CUST JAMES VANDREUMEL
                                                   PRUDENTIAL-BACHE
                                                      IRA PLAN DTD   SECURITIES INC CUST SALVATORE I VERNACE
                                                                                                         PRUDENTIAL-BACHE
                                                                                                              IRA DTD       SECURITIES INC CUST STUART LEE HASE
10-08-90                                           09-22-89                                              ROLLOVER PLAN U-A DTD
BOX 2009 PECK SLIP STA                             BOX 2009                                              10605 RED BIRCH CT
NEW YORK, NY 10272-2009                            PECK SLIP STA                                         LOUISVILLE, KY 40223-5514
                                                   NEW YORK, NY 10272-2009


PURIE D ENGELS CUST RICHARD SCOTT ENGELS             QUAY WILLIAMS CUST KEVIN QUAY WILLIAMS                 QUAY WILLIAMS CUST SUSAN JOYCE WILLIAMS
U/THE VA UNIFORM GIFTS TO MINORS ACT                 U/THE MD UNIFORM GIFTS TO MINORS ACT                   U/THE MD UNIFORM GIFTS TO MINORS ACT
8705 KIBLERCREST DR                                  16400 BANBURY LANE                                     2514 COXSHIRE LANE
MECHANICSVILLE, VA 23116-2933                        BOWIE, MD 20715-4365                                   DAVIDSONVILLE, MD 21035-1153



QUENTIN STEINBERG                                    QUENTIN STEINBERG                                      QUINTON L HEINTZELMAN
1402 THIRD AVE ROOM 1210                             1402 THIRD AVE STE 1210                                303 NARCISSUS DR
SEATTLE, WA 98101-2110                               SEATTLE, WA 98101-2110                                 INDIANAPOLIS, IN 46227-2600
                    09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                          Part 8 of 8 Pg 337 of 440
QUONG Y YEE & YOLANDA YEE TR                       R DEAN PAPPIN CUST STEVEN DEAN PAPPIN             R J FORLER & D R FORLER & L E ABEL & P A FORLER TR
QUONG YUEN YEE & YAM YUEN YEE AKA YOLANDA YEE      U/THE MICH UNIFORM GIFTS TO MINORS ACT            ROY & DOLORES FORLER FAM TRUST UA 09/11/91
FAMILY TRUST UA 8/4/99                             PO BOX 970985                                     239 EAST GRAY STREET
1156 DERICK WAY                                    YPSILANTI, MI 48197-0817                          MARTINSVILLE, IN 46151-2510
SACRAMENTO, CA 95822-1035


R JACQUES T DU PONT TR                             R JAMES KINNISON & NANCY J KINNISON TR            R KANAGA
NANCY SPRINGER DU PONT U-A WITH JEAN KANE FOULKE   THE KINNISON FAMILY TRUST UA 02/22/05             30200 ROSEBRIAR X
DU PONT 10/11/56                                   221 WAGNER ROAD                                   ST CLAIR SHRS, MI 48082-2641
143 MITCHELL RD                                    WEST MILTON, OH 45383-1654
BENTON, PA 17814-7780


R LAVERNE HENDERSON & CELIA J HENDERSON TR         R LEE DAVIS & SUE V DAVIS TR                      R LEE LEAVELL & BETTY LEAVELL TR
RAYMOND LAVERNE & CELIA JANE HENDERSON TRUST UA    THE R LEE & SUE V DAVIS REV TRUST UA 05/08/01     R LEE LEAVELL & BETTY LEAVELL LIVING TRUST UA 08/15/96
04/08/92                                           25 AVERY CIRCLE                                   723 MAIN ST
1795 SUNDANCE DR                                   JACKSON, MS 39211-2474                            RACINE, WI 53403-1211
MARION, IA 52302-9266


R LEE VANDERPOOL III CUST DAMIEN CHRISTOPHER VANDERPOOL
                                                    R M MORRISS III CUST B DOUGLAS MORRISS           R PAUL COGGINS CUST DALE A COGGINS
A MINOR UNDER THE LOUISIANA GIFTS                   UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW   U/THE MASS UNIFORM GIFTS TO MINORS ACT
2332 TIMBERLINE WAY                                 5 UPPER PRICE RD                                 65 DRINKWATER RD
LAS VEGASGE, NV 89117-5808                          ST LOUIS, MO 63124-4470                          HAMPTON FALLS, NH 03844-2119



R PAUL COGGINS CUST SCOTT R COGGINS                R PETER BERNSTEIN                                 R S BARTA CUST BRETT RAYMOND BARTA
U/THE MASS UNIFORM GIFTS TO MINORS ACT             152 WOBURN AVE                                    U/THE OHIO UNIFORM GIFTS TO MINORS ACT
75 RONDEAU ST                                      TORONTO ON                                        2060 FAIRWAY CIRCLE
PALMER, MA 01069-9656                              M5M 1K7 CANADA                                    HUDSON, OH 44236-1300



R S FELTMAN                                        R V CAMPBELL CUST EARL H CAMPBELL                 RACHAEL A OTT & LARRY L OTT TR
19836 210TH AVE                                    U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        LARRY LEE & RACHAEL ANN OTT JOINT LIVING TRUST UA
TUSTIN, MI 49688-8209                              3366 SHADY CREEK                                  5/23/05
                                                   HARTLAND, MI 48353-2124                           13906 WEST WHITEWOOD DRIVE
                                                                                                     SUN CITY WEST, AZ 85375-5952


RACHAEL D LONG & EILEEN E OHL TR                   RACHAELE OTTO                                     RACHEL AIZER CUST ARLENE AIZER
BETTY JANE OHL IRREVOCABLE TRUSTUA 02/07/03        PO BOX 112378                                     A MINOR U/ART 8-A OF THE PERS PROPERTY LAW OF N Y
5391 CHAPMANS RD                                   NAPLES, FL 34108                                  248 FOREST RD
OREFIELD, PA 18069-9008                                                                              MILFORD, CT 06460-2730



RACHEL B SILVERMAN CUST MICHAEL J SILVERMAN        RACHELE A FARDEN TR                               RAFAEL GUERRA
U/THE ILL UNIFORM GIFTS TO MINORS ACT              U-A DTD THE RACHELE ANN FADEN REVOCABLE LIVING    PO BOX 360444
692 W IRVING PARK RD #C-1                          TRUST                                             MILPITAS, CA 95036-0444
CHICAGO, IL 60613-3131                             109 OAKWOOD AVE
                                                   PRUDENVILLE, MI 48651-9709


RAFEL POLA                                         RAFFIE A HAROOTIAN & MARY C HAROOTIAN TR          RAGAN N HARBAUGH & RUTH E HARBAUGH TR
PO BOX 143732                                      UA 07/12/94 HAROOTIAN 1994 REVOCABLE TRUST        RAGAN & RUTH HARBAUGH TRUST UA 06/16/97
CORAL GABLES, FL 33114-3732                        2504 KENT DRIVE                                   2233 E BEHREND DR LOT 255
                                                   BAKERSFIELD, CA 93306-3517                        PHOENIX, AZ 85024-1868



RAJVINDER KAMBO                                    RALF TISCHKA                                      RALPH A ASTORINO & JOY L ASTORINO TR
203-8040 COLONIAL DR                               AM FALKENSTEIN 4                                  ASTORINO FAM REV TRUST 1 UA 11/01/96
RICHMOND BC                                        VILLMAR AUMENAU                                   2311 GUNN RD
V7C 4V1 CANADA                                     GERMANY-                                          CARMICHAEL, CA 95608-5022
                                                   GERMANY
                    09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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RALPH A CIANFARANI & BETTY A CIANFARANI TR            RALPH A HECKER & EVELYN M HECKER TR                   RALPH A TAYLOR & KATHRYN E TAYLOR TR TAYLOR TRUST # I
CIANFARANI LIVING TRUST UA 06/09/97                   RALPH A HECKER & EVELYN M HECKER FAMILY TRUST UA      1302 W AJO WAY
38210 STEEDE                                          05/21/97                                              UNIT 177
STERLING HTS, MI 48310-3069                           W 266 N 5702 HWY MORAINE DR                           TUCSON, AZ 85713-5718
                                                      SUSSEX, WI 53089


RALPH BOYD HATHCOCK CUST THOMAS B HATHCOCK            RALPH C KIENZ                                         RALPH C SCHEUERLEIN
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT               50 LACEY RD                                           5082 FREELAND ROUTE #1
PO BOX 1321                                           APT D208                                              FREELAND, MI 48623-8908
DEER PARK, TX 77536-1321                              WHITING, NJ 08759-4424



RALPH D WERK & REBECCA B WERK TR                      RALPH D WHITTIER & LILLIAN WHITTIER TR                RALPH DRAKE
RALPH D WERK & REBECCA B WERK LIVING TRUST UA         UA 06/04/79 M-B RALPH D WHITTIER                      3355 HERTLEIN LANE
12/24/98                                              402 THOMAS LANE                                       VANDALIA, OH 45377-9792
1172 ROCK VALLEY DR                                   GRAND BLANC, MI 48439-1526
ROCHESTER, MI 48307-6002


RALPH DUANE HUNTER TR                                 RALPH E FLECK JR TR                                   RALPH E LEONARD JR CUST DOUGLAS R LEONARD
RALPH J HUNTER & ELEANOR N HUNTER TRUST UA 06/28/95   CARROLLTON ORTHOPEDIC CLINIC PC PENSION PLAN &        U/THE MICH UNIFORM GIFTS TO MINORS ACT
5442 MCCLELLAN RD                                     TRUST UA 07/05/77                                     3151 OTSEGOLAND DR
MECHANICSVILLE, VA 23111-6801                         148 CLINIC AVE                                        GAYLORD, MI 49735-9448
                                                      CARROLLTON, GA 30117-4414


RALPH E WALKER & MILDRED M WALKER TR                  RALPH EDGAR EAKINS & CHRISTINE N EAKINS JT TEN        RALPH EVERETT LOOMIS CUST DREW EVERETT LOOMIS
UA 10/14/91 RALPH E WALKER & MILDRED M WALKER TRUST   440 213 PLACE S E                                     A MINOR U/ART 8-A OF THE PERS PROPERTY LAW OF NEW
1302 W SUNSET                                         REDMOND, WA 98053-7055                                YORK
SPRINGFIELD, MO 65807-5943                                                                                  313 CENTRAL AV
                                                                                                            HAMMONTON, NJ 08037-1636


RALPH F GILNACK & JANET A JOHNSON GILNACK TR          RALPH FOSTER                                          RALPH G PLESS & JOAN E PLESS TR
UA 12/18/2006 RALPH & JANET GILNACK LIVING TRUST      PO BOX 202593                                         UA 10/16/91 RALPH & JOAN PLESS LIVING TRUST
100 WHITE AVE                                         CLEVELAND, OH 44120-8126                              11808 LAKESHORE NORTH
MIDDLEBURY, CT 06762                                                                                        AUBURN, CA 95602-8334



RALPH H & JEAN M SANDBERG TR                          RALPH H CARLING JULIA E CARLING ELLA L CARLING        RALPH H HARDING & ANGELINE Y HARDING TR
SANDBERG FAMILY REVOCABLE TRUST UA 09/14/98           & CHRIS B CARLING JT TEN                              UA 11/10/86 HARDING FAMILY TRUST
17300 N 88TH AVE                                      7106 DEEP WATER POINT ROAD                            54267 WOODCREEK BLVD
APT 217                                               WILLIAMSBURG, MI 49690-9549                           SHELBY TWP, MI 48315-1431
PEORIA, AZ 85382-3504


RALPH HORROCKS & ELIZABETH HORROCKS TR                RALPH J EDELSTEIN & EILEEN EDELSTEIN TR               RALPH J HAUBENSTRICKER & IRENE A HAUBENSTRICKER TR
UA 03/18/93 THE RALPH & ELIZABETH HORROCKS            RALPH J EDELSTEIN REVOCABLE TRUST UA 12/18/97         RALPH J HAUBENSTRICKER REV LIV TRUST UA 08/12/99
30 SHAW ST                                            82 BOYLES ST                                          9520 JUNCTION RD
HESPERIA, MI 49421-9245                               BEVERLY, MA 01915-2025                                FRANKENMUTH, MI 48734-9578



RALPH J HILL & JOSEPHINE H HILL TR                    RALPH J SHAY CUST MICHAEL D SHAY                      RALPH KAZANJIAN & ELISE E KAZANJIAN TR
RALPH J HILL & JOSEPHINE H HILL TRUST UA 04/10/96     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT            KAZANJIAN REVOCABLE TRUST UA 08/05/99
8825 MORNINGLIGHT CIR                                 1136 CYNTHIA SQ                                       1000 NORTH POINT #1707
RIVERSIDE, CA 92508-3105                              MOUNTAIN HOME, AR 72653-4824                          SAN FRANCISCO, CA 94109-1079



RALPH L DENSMORE & SHIRLEY A DENSMORE TR              RALPH L ROBIE JR & PHYLLIS N ROBIE TR                 RALPH MERCURI CUST ANTHONY MERCURI
RALPH & SHIRLEY DENSMORE LIVING TRUST UA 07/11/97     RALPH L ROBIE JR & PHYLLIS N ROBIE REV LIV TRUST UA   U/THE PA UNIFORM GIFTS TO MINORS ACT
9179 STEEP HOLLOW                                     8/09/97                                               PO BOX 3595
WHITE LAKE, MI 48386-2072                             19749 NW BARON LANE                                   HAILEY, ID 83333-3595
                                                      POULSBO, WA 98370
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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RALPH NUNEZ & LISA NUNEZ TR                            RALPH P SCHWEINLE                                    RALPH R SULLIVAN
RALPH & LUISA NUNEZ REVOCABLE LIVING TRUST UA          C/O MARGARET SCHWEINLE                               30095 151ST AVENUE
08/30/02                                               5250 SCHOOL RD                                       NEW PRAGUE, MN 56071-4037
3864 OLD CREEK ROAD                                    PECK, MI 48466-9756
TROY, MI 48084-1656


RALPH ROCKICIOLI CUST ALBERT LOUIS ROCKICIOLI UGMA NY RALPH ROCKICIOLI CUST FRANCES ROCKICIOLI UGMA NY      RALPH S TRIGG JR & GWENNA TRIGG TR
2931 166TH ST                                         2931 166TH STREET                                     RALPH S TRIGG JR & GWENNA B TRIGG REVOCABLE TRUST
FLUSHING, NY 11358-1435                               FLUSHING, NY 11358-1435                               05/12/98
                                                                                                            1513 PLAZA ENCANTADA NW
                                                                                                            ALBUQUERQUE, NM 87107-3256


RALPH V HILLIGOSS TR                                   RALPH V WEINREIS                                     RALPH W ELSNER CUST DAVID E ELSNER
RALPH V HILLIGOSS REVOCABLE LIVING TRUST UA 02/16/05   902 TAHQUAMENON BLVD                                 U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
846 BRIARWOOD DR                                       NEWBERRY, MI 49868-1728                              516 SOUTH SAINT JAMES
ANDERSON, IN 46012-9803                                                                                     EVANSVILLE, IN 47714-1640



RALPH W ROSENOW & BETTY J ROSENOW TR                   RALPH W SKAIO                                        RAM S GOYAL & AKSHAMA D GOYAL TR
UA 10/03/2007 RALPH WALDO ROSENOW AND BETTY JANE       13993 152ND AVE                                      RAM S GOYAL & AKSHAMA D GOYAL REVOCABLE
6214 PEGGY LN W                                        GRAND HAVEN, MI 49417-8956                           13191 SUNSET POINT WAY
TRAVERSE CITY, MI 49684                                                                                     SAN DIEGO, CA 92130



RAMEY O ROGNESS & NANCY Y LARSEN TR                    RAMON LLOVERAS                                       RAMSAY GILLMAN CUST LAURA STACEY GILLMAN
TESTAMENTARY TRUST FBO SHERRYL R PERDUE UA             PO BOX 9020895                                       U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
09/30/03                                               SAN JUAN                                             10595 W SAM HOUSTON PKWY SOUTH
1909 E BROADWAY ST                                     0092-0895 PUERTO RICO                                HOUSTON, TX 77099-2844
HELENA, MT 59601-4713


RAND S GOLDSTEIN                                       RANDAL J NIXON                                       RANDALL C HERR CUST AARON M HERR
9530 LADUE RD                                          170 STEINFELDT RD                                    UNDER MISSOURI UNIFORM GIFTS TO MINORS LAW
ST LOUIS, MO 63124-1340                                LANCASTER, NY 14086-2332                             4409 RAVEN PT
                                                                                                            HIGH RIDGE, MO 63049-3814



RANDALL F SOCIER & MARY JANE SOCIER TR                 RANDALL FEINBLATT                                    RANDALL G JANISSE & SUSAN JANISSE TR
RANDALL F & MARY JANE SOCIER REVOCABLE TRUST           PO BOX 128                                           RANDALL G JANISSE LIVING TRUST UA 01/05/01
06/07/04                                               CAMPVERDE, AZ 86322-0128                             13706 JULIUS
1280 SOUTH EIGHT MILE RD                                                                                    WARREN, MI 48089-5427
KAWKAWLIN, MI 48631-9722


RANDALL S ECKSTEIN                                     RANDALL S VAN REKEN & DEBBIE Y VAN REKEN TR          RANDEE KAYE BERNSTEIN
5939 HUNTER LN                                         RANDAL S VAN REKEN REVOCABLE LIV TRUST UA 01/15/03   2016 STONEY BROOK COURT
TANNER, AL 35671-4008                                  7935 WEST RED COACH                                  FLINT, MI 48507-2273
                                                       LAS VEGAS, NV 89129-5344



RANDOLF D KNOTT                                        RANDOLPH A REINKE                                    RANDOLPH B HESSELBAUM & DONNA M HESSELBAUM TR
484261 SWEADBURG ROAD                                  1055 ROBERTA ST                                      RANDOLPH B HESSELBAUM LIVING TRUST UA 03/01/04
INGERSOLL ON                                           VENICE, FL 34285                                     1005 RIVERWATCH TRACE
N5C 3J8 CANADA                                                                                              SPARTA, TN 38583-6687



RANDOLPH B STRIPLING JR & JANE A STRIPLING TR          RANDOLPH WALTHALL & JANE WALTHALL TR                 RANDY BLEVINS
THE STRIPLING FAM REV LIV TRUST UA 03/07/03            RANDOLPH WALTHALL & JANE WALTHALL 1995 TRUST UA      3927 124TH ST
409 NORTH BRIDGE                                       11/28/95                                             URBANDALE, IA 50323-2348
DEWITT, MI 48820-8907                                  1200 STEWART RD
                                                       SACRAMENTO, CA 95864-5351
                   09-50026-mg           Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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RANDY J MARKLEVITZ                               RANDY JOHANSEN & DIANN L JOHANSEN JT TEN          RANDY K FLETCHER & DEBRA K FLETCHER TR
416 131ST AVE                                    1562 200TH ST                                     UA 10/29/08 FLETCHER FAMILY TRUST
WAYLAND, MI 49348-9522                           SHEFFIELD, IA 50475-8034                          2201 SACRAMENTO WAY
                                                                                                   EAST LANSING, MI 48823



RAPHAEL A UMENTUM & DELORES M UMENTUM TR         RASHEED AMEER JR                                  RAUL C RAMIREZ
RAPAEL A UMENTUM & DELORES M TRUST UA 03/14/00   PO BOX 608714                                     PO BOX 214042
5728 HWY R                                       CLEVELAND, OH 44108-0714                          AUBURN HILLS, MI 48321-4042
DENMARK, WI 54208-9107



RAUL M TORRES CUST ESTELLE PHYLLIS TORRES JR     RAUSHAN A CHOWDHURY                               RAY AUSLOOS CUST DAVID AUSLOOS UGMA WI
U/THE MICH UNIFORM GIFTS TO MINORS ACT           & M A MONAYEM CHOWDHURY & M A AZIZ CHOWDHURY JT   PO BOX 320550
711 BALFOUR                                      TEN                                               FRANKLIN, WI 53132-6091
GROSSE POINT PARK, MI 48230-1811                 173 S CHEYNEY RD
                                                 GLEN MILLS, PA 19342-1333


RAY DURDIN CUST SHARILYN D OGLESBY               RAY E MURPHY & YOLONDA H MURPHY TR                RAY G BENDER
UNDER THE FLORIDA GIFTS TO MINORS ACT            RAY & YOLONDA MURPHY TRUST UA 02/24/98            1204 135TH AVE
PO BOX 79707                                     7583 RT 127                                       WAYLAND, MI 49348-9568
HOUSTON, TX 77279-9707                           CAMDEN, OH 45311-9501



RAY K MICHIHIRA & GRACE T MICHIHIRA TR           RAY L KIMBERLEY & PATRICIA V KIMBERLEY TR         RAY L KINGSTON & BETTY L KINGSTON TR
MICHIHIRA REVOCABLE FAMILY TRUST UA 9/10/99      KIMBERLEY LIV TRUST UA 11/12/03                   UA 11/13/06 RAY L & BETTY L KINGSTON
6301 BELLINGER DRIVE                             3227 N OLEANDER                                   1312 W. TOMICHI AVE UNIT 19
HUNT BEACH, CA 92647-3335                        CHICAGO, IL 60634-3230                            PO BOX 223
                                                                                                   GUNNISON, CO 81230


RAY M HARLIN CUST RAY M HARLIN JR                RAY M RENAUD                                      RAY MCCLELLAN & ELISE L MCCLELLAN TR
U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT       G1151 W KLEIN ST                                  RAY & ELISE MCCLELLAN TRUST UA 12/08/92
5351 FAIRVIEW ROAD                               MOUNT MORRIS, MI 48458                            955 PEPPERWOOD DR
HIXSON, TN 37343-4623                                                                              BRUNSWICK, OH 44212-2456



RAY RENTERIA                                     RAYKUN R CHANG                                    RAYMOND A HORNBOSTEL & ANITA HORNBOSTEL TR
39112 162ND STREET EAST                          PO BOX 493764                                     LIVING TRUST 08/01/91 U-A ANITA HORNBOSTEL
LAKE LOS ANGELES, CA 93591-3409                  REDDING, CA 96049-3764                            2112 E ST JAMES
                                                                                                   ARLINGTON HEIGHTS, IL 60004-6463



RAYMOND A MUNDER JR CUST ELIZABETH F MUNDER      RAYMOND A POWERS CUST DANIEL VINCENT POWERS       RAYMOND A TIDROW CUST DONALD R TIDROW
U/THE PA UNIFORM GIFTS TO MINORS ACT             U/THE ILL UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
800 HUDSON DRIVE                                 3531 SPENO DR                                     14618 IVANHOE DR
YARDLEY, PA 19067-4304                           SAN JOSE, CA 95117-2950                           WARREN, MI 48088-7404



RAYMOND A WIDMER & GLORIA M WIDMER TR            RAYMOND AXELRODE CUST STEVEN AXELRODE             RAYMOND BOOKER & MILDRED L BOOKER TR
UA 03/11/94 RAYMOND A WIDMER & GLORIA M WIDMER   U/THE CAL UNIFORM GIFTS TO MINORS ACT             RAYMOND & MILDRED LBOOKER REV LIV TRUST UA 09/27/00
34486 CEDARFIELD DRIVE                           750 S SPAULDING AVE #302                          12238 NORTH CR 800 EAST
RIDGE MANOR, FL 33523-9410                       LOS ANGELES, CA 90036-4564                        ROACHDALE, IN 46172-9438



RAYMOND C CAMPBELL & M JEANETTE CAMPBELL TR      RAYMOND C HUTCHINSON & MARY F HUTCHINSON & NANCY A HEIDINGER
                                                                                                    RAYMOND CTRMCGROARTY & DOROTHY L MCGROARTY TR
RAYMOND CAMPBELL & JEANETTE CAMPBELL             UA 11/21/00 HUTCHINSON FAMILY                      MCGROARTY FAMILY TRUST UA 12/18/96
2107 MEADOWLARK LANE                             231 E 276TH ST                                     7092 SOUTH OUTER 364
IDABEL, OK 74745-3726                            EUCLID, OH 44132-1301                              APT 216
                                                                                                    O FALLON, MO 63368
                  09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                             Part 8 of 8 Pg 341 of 440
RAYMOND C OSTROWSKI & DELORES M OSTROWSKI TR          RAYMOND C SPEAR & SUSANNE S SPEAR TR                  RAYMOND CHOI
UA 11/13/2006 RAYMOND & DELORES OSTROWSKI             SPEAR FAMILY LIVING TRUST UA 02/15/05                 GREEN COURT APARTMENT
30570 LEROY                                           223 SHAWNEE DRIVE                                     BLOCK 13 UNIT 1001
ROMULUS, MI 48174                                     BEDFORD, IN 47421-5227                                777 BIYUN ROAD PUDONG
                                                                                                            SHANGHAI 201206 CHINA (PEOPLE'S REP)


RAYMOND CHOW CUST LESLIE CHOW                         RAYMOND D WAITKINS & C ELLEN COLEMAN TR               RAYMOND E DANIEL & MARY P DANIEL TR
A MINOR UNDER THE CALIF GIFTS OF SEC TO MINORS ACT    UA 04/09/90 MIRIAM F WAITKINS TRUST                   UA 11/20/91 RAYMOND DANIEL & MARY DANIEL FAMILY
133 NUEVA AVE                                         3517 NYS RT 14                                        TRUST
SAN FRANCISCO, CA 94134-2420                          WATKINS GLEN, NY 14891                                715 HIGH POINT DR
                                                                                                            LAKE ST LOUIS, MO 63367-2034


RAYMOND E HARTSTEIN & ELLIOTT D HARTSTEIN & BARRY A HARTSTEIN
                                                     RAYMONDJT E JANKOVSKY
                                                                 TEN        SR                              RAYMOND E SKELLETT & BETTY J SKELLETT TR
9801 GROSS POINT RD #201                             232 KLEIN CREEK CT                                     RAYMOND E SKELLETT & BETTY J SKELLETT
SKOKIE, IL 60076-1166                                APT A                                                  1489 W BRISTOL RD
                                                     CAROL STREAM, IL 60188-9390                            FLINT, MI 48507-5523



RAYMOND E SUMMERER & FRANCES J SUMMERER JT TEN        RAYMOND F CHIOSTRI TR                                 RAYMOND F FORBES JR CUST CYNTHIA LOUISE FORBES
RR 1 1425 110TH AVE                                   RAYMOND F CHIOSTRI DECLARATION OF TRUST UA 02/24/99   U/THE CAL UNIFORM GIFTS TO MINORS ACT
OTSEGO, MI 49078-9801                                 452 CARSWOLD DR                                       1512 MARINERS DRIVE
                                                      CLAYTON, MO 63105-2029                                NEWPORT BEACH, CA 92660-4414



RAYMOND F PASTERNAK & SOPHIE J PASTERNAK TR           RAYMOND F ROSS & JANE H ROSS TR                       RAYMOND H KALIS & ANNE L KALIS TR
RAYMOND F & SOPHIE J PASTERNAK TRUST UA 12/08/99      RAYMOND F ROSS REVOCABLE TRUST UA 11/06/00            UA 12/29/92 KALIS FAMILY LIVING TRUST
47334 JUNIPER                                         4669 WEST LAKE RD                                     4447 S FRANKLIN AVE
MACOMB, MI 48044-2433                                 GENESEO, NY 14454-9618                                WESTERN SPRING, IL 60558-1530



RAYMOND HELLER & GLORIA HELLER TR                     RAYMOND HIDEO SHIBATA & LILLIAN YAEKO SHIBATA TR      RAYMOND I WARREN CUST MARK L WARREN
UA 02/01/90 THE RAYMOND HELLER &GLORIA HELLER         RAYMOND HIDEO SHIBATA REVOCABLE LIVING                U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
TRUST                                                 7224 KIPU PLACE                                       29344 MARK BLVD
789 DEVONSHIRE WAY                                    HONLULU, HI 96825-2718                                MADISON HEIGHTS, MI 48071-4443
SUNNYVALE, CA 94087-3510


RAYMOND J FESLER CUST DOUGLAS M FESLER                RAYMOND J HEBEL CUST DAVID M HEBEL                    RAYMOND J MARVAR CUSTODAIN FOR JOHN GOEBEL MARVAR
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW        U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT          UNDER OH UNIFORM TRANSFERS TO MINORS ACT
5537 KERTH ROAD                                       850 CORONA ROAD                                       21520 KENWOOD AVE
SAINT LOUIS, MO 63128-3643                            PETALUMA, CA 94954-1401                               ROCKY RIVER, OH 44116-1232



RAYMOND J PODKOWA SR & VIRGINIA PODKOWA TR            RAYMOND J SCHOEBERLEIN                                RAYMOND J SROKA & JULIANA SROKA TR
THE PODKOWA FAMILY TRUST UA 06/03/92                  PO BOX 191                                            SROKA SELF-TRUSTED LIVING TRUST UA 02/01/99
822 HIBISCUS DR                                       OLD FORGE, NY 13420-0191                              4862 S VAIL LN
LADY LAKE, FL 32159-2117                                                                                    GAYLORD, MI 49735-9657



RAYMOND J SYMONS & PATRICIA A SYMONS TR               RAYMOND J TRUTING JR & MARIJANE TRUTING TR            RAYMOND JAMES & ASSOC CUST FRANK S HLAVENKA ACTT
RJ & PA SYMONS TRUST UA 02/11/02                      UA 12/13/2007 TRUTING FAMILY TRUST                    880 CARILLON PARKWAY STE 28030
25235 S GLENBURN DR                                   3920 BAL HARBOR BLVD UNIT E2                          ST PETERSBURG, FL 33733
SUN LAKES, AZ 85248-6613                              PUNTA GORDA, FL 33950



RAYMOND KLEINSCHMIDT & ROSEMARY HUTCHESON JT TEN RAYMOND KLONOWSKI & SHARON L KLONOWSKI TR                  RAYMOND L SUTTON JR & PHYLLIS N SUTTON TR
3988 FAR HILL DR                                 RAYMOND KLONOWSKI & SHARON L KLONOWSKI TRUST UA            UA 05/04/93 RAYMOND & PHYLLIS SUTTON LIVING TRUST
BLOOMFIELD HILLS, MI 48304-3215                  08/24/00                                                   591 PINE LANE
                                                 5551 MARY COURT                                            EAST TAWAS, MI 48730-9512
                                                 SAGINAW, MI 48603-3642
                   09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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RAYMOND M LEFEVER CUST ROBERT LYNN LEFEVER           RAYMOND M MEGA & CATHERINE C MEGA TR             RAYMOND M SMIECINSKI & AUDREY A SMIECINSKI TR
U/THE PA UNIFORM GIFTS TO MINORS ACT                 RAYMOND M & CATHERINE C MEGA TRUST UA 03/07/96   THE SMIECINSKI FAMILY TRUST UA 05/03/02
879 GOSHEN MILL ROAD                                 1024 EAST LONGS PEAK AVE                         3967 COVENTRY CT
PEACH BOTTOM, PA 17563-9630                          LONGMONT, CO 80501-5220                          WATERFORD, MI 48329-3919



RAYMOND M TALKINGTON & MARY M TLAKINGTON TR          RAYMOND M WOLFE & LINDA M WOLFE TR               RAYMOND R STEELEY
RAYMOND & MARY TALKINGTON REV LVG TRUST UA3/14/200   WOLFE FAMILY REVOCABLE LIVING TRUST 01/20/94     342844 EAST 940TH RD
1356 NORTH ORANGE GROVE AVE                          5460 ERICSON WAY STE A                           CHANDLER, OK 74834
LOS ANGELES, CA 90046-4711                           ARCATA, CA 95521-8909



RAYMOND T MOY                                        RAYMOND T SCOTTEN CUST JANICE RAE SCOTTEN        RAYMOND THACKER
PO BOX 720568                                        U/THE IND UNIFORM GIFTS TO MINORS ACT            PO BOX 250075
HOUSTON, TX 77272-0568                               8038 STAFFORD LN                                 FRANKLIN, MI 48025-0075
                                                     INDIANAPOLIS, IN 46260-2848



RAYMOND VAN DEN HEUVEL & LONA VAN DEN HEUVEL TR      RAYMOND W SUARES                                 RAYMOND W VERNON & MARGERY H VERNON TR
RAYMOND & LONA VAN DEN HEUVEL 2000 TRUST UA          & KATHERINE M SUARES & JOANNE BETH JAKEL &       RAYMOND W VERNON & MARGERY H VERNON FAMILY
07/21/00                                             CHRISTINE D MUSICH JT TEN                        TRUST UA 02/22/94
18618 CELTIC STREET                                  13164 BALFOUR AVE                                196 N CENTRAL AVE
NORTHRIDGE, CA 91326-2708                            HUNTINGTON WOODS, MI 48070-1701                  CAMPBELL, CA 95008-1404


RAYMOND WELLS & MARGARETE WELLS TR                   REBA BECKER CUST STEVEN IRA BECKER               REBA BECKER CUST SUSAN BECKER
UA 10/16/97 RAYMOND WELLS & MARGARETE WELLS          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
7114 SPRING ORCHARD LN                               35 WENDY LANE                                    29 E 22 STREET
RICHMOND, TX 77469-3813                              CLOSTER, NJ 07624-2319                           NEW YORK, NY 10010-5303



REBECCA A REHBEIN CUST POLLY A REHBEIN UGMA IN       REBECCA D CANTY                                  REBECCA D PALMER CUST JASON PALMER
68 LOOKOUT RIDGE DR                                  BOX 631770                                       UNDER THE FLORIDAGIFTS TO MINORS ACT
COLUMBUS, IN 47201-8937                              NACOGDOCHES, TX 75963-1770                       316 OAK KNOLLS CIRCLE
                                                                                                      SEBRING, FL 33870-6246



REBECCA DINETZ CUST ELLIOT HARVITH                   REBECCA GOLDSTEIN                                REBECCA HODGEKINSON
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           10498 RENE DR                                    UNIT 1114-150 LAKESHORE RD W
268 WEST SAGINAW ST. 104                             CLIO, MI 48420-1937                              MISSISSAUGA ON
EAST LANSING, MI 48823                                                                                L5H 3R2 CANADA



REBECCA MADELEINE THOMPSON                           REBECCA SHEIN CUST TAMMY SHEIN UGMA NY           REBECCA WOOTTEN CUST LAYNE M WOOTTEN
PO BOX 720254                                        82 MARK LANE                                     U/THE ARIZONA UNIFORM GIFTS TO MINORS ACT
DALLAS, TX 75372-0254                                ATLANTIC BEACH, NY 11509-1617                    19071 ORO VERDE LANE
                                                                                                      YORBA LINDA, CA 92886-2727



REBINA M PETERSON TR REBINA M PETERSON TRUST # 101 UA10/13/89
                                                     REDEEMER EVANGELICAL LUTHERAN CHURCH OF NEWARK NEW
                                                                                                      REECE
                                                                                                         JERSEY
                                                                                                              BARTLETT
                                                                                                                 A NEW CAVE TR
926 TOWNSEND ST                                      JERSEY CORPORATION                               REECE BARTLETT CAVE REVOCABLE LIVING TRUST UA
SYCAMORE, IL 60178-2525                              BROADWAY AT CARTERET ST                          09/23/03
                                                     NEWARK, NJ 07104                                 2800 VILLA VISTA WAY
                                                                                                      SACRAMENTO, CA 95821-5415


REESE COUNCIL # 9 R & SM                             REESE D BARKER & VESTA A BARKER TR               REEVE R HASTINGS CUST RALPH E HASTINGS
4700 BRIAR KNOLL DR                                  BARKER FAMILY LIVING TRUST UA 03/16/05           U/THE OHIO UNIFORM GIFTS TO MINORS ACT
KETTERING, OH 45429-5532                             124 AMBER VALLEY DR                              11391 WASHINGTON ST
                                                     ORINDA, CA 94563-1202                            CHAGRIN FALLS, OH 44023-5549
                    09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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REGINA BARCEWICZ & JANE BARCEWICZ & SOPHIE BARCEWICZREGINA
                                                     TR    JOYCE DONALD JOYCE & EUGENE JOYCE TR       REGINALD CRYER
REGINA BARCEWICZ LIVING TRUST UA                    REGINA JOYCE REV TRUST UA 12/04 98                PO BOX 850234
5243 SAFFRON                                        9825A PARKINSONIA TREE TR # A                     NEW ORLEANS, LA 70185
TROY, MI 48085-6708                                 BOYNTON BEACH, FL 33436-3709



REGINALD J DAVIDSON CUST DOUGLAS WOODBURN DAVIDSONREGINALD J DAVIDSON CUST JOHN RANGER DAVIDSON       REGIS F MAZANET & MARY M MAZANET TR
U/THE WASH UNIFORM GIFTS TO MINORS ACT            U/THE WASH UNIFORM GIFTS TO MINORS ACT              UA 04/08/87 REGIS F MAZANET & MARY M MAZANET TRUST
7035 135TH PL SE                                  PO BOX 169                                          24 DAFFODIL LN
NEWCASTLE, WA 98059-3120                          ROSLYN, WA 98941-0169                               COS COB, CT 06807-1412



REGIS MC GUIRE CUST REGIS PIERRE MC GUIRE            REID M THEIN & FRANCES A THEIN JT TEN            REINALD DERSCH
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J         622 LOMBARD ST                                   2931 SUMMITOP RD
910 ROUTE 1 NORTH                                    CLARENCE, IA 52216                               MARIETTA, GA 30066-1630
WOODBRIDGE, NJ 07095-1403



REINALDO ARCS                                        REINALDO FELICIANO                               REINALDO R ODIO
3224 W 23RD ST                                       11708 RIVER RD                                   14262 SW 160TH TER
CHICAGO, IL 60623-3324                               CARMEL, IN 46033-9753                            MIAMI, FL 33177-1825




REINDER KARS                                         REINE LITTLE                                     REINE M CORWIN
515 COUNTRY CLUB RD                                  9945 MELGAR DR                                   PO BOX 159
HOLLAND, MI 49423-9124                               WHITTIER, CA 90603-1456                          BOONVILLE, NY 13309-0159




REINE M CORWIN TR CORWIN FAM TRUST UA 12/20/94       REINER KISCHPORSKE                               REINER SCHNEIDER
PO BOX 159                                           EUROPARING 89                                    GARTENHEIMSTR 23
BOONVILLE, NY 13309-0159                             D-64521 GROSS GERAU                              D-30659 HANNOVER
                                                     REPL OF                                          GERMANY
                                                     GERMANY


REINHARD FELTEN & ANNA F FELTEN JT TEN               REINHARD M SCHROEDEL & FRANCES L SCHROEDEL JT TEN REINHARD WEBER
21 CLEAR LAKE RD                                     2617 3RD PL NE                                    HIMMELOHSTR 156
WHITING, NJ 08759-2971                               ROCHESTER, MN 55906-3469                          D-58454 WITTEN
                                                                                                       GERMANY



REINHARD WEBER                                       REINHARDT A MALSHESKE                            REINHOLD H RUPPEL & MILDRED J RUPPEL TEN ENT
HIMMELOHSTR 156                                      PO BOX 1168                                      16 5 OAKS DR
D-58454 WITTEN                                       BURLINGTON, CT 06013-0168                        SAGINAW, MI 48638-5953
GERMANY



REINHOLD H SHARPE                                    REINHOLD K FEHRENBACH                            REINHOLD KOMM
373 E PEKIN RD                                       20 MT VERNON AVE                                 7510 YORKTOWN RD
LEBANON, OH 45036-9710                               NORTHFIELD, NJ 08225-2207                        LANSING, MI 48917-9688




REINHOLD M W MAYER TR LIVING TRUST 02/22/91 U-A REINHOLD
                                                       REINHOLD
                                                         M W MAYER
                                                                OLBRICH                               REINHOLD ZESSIN
511 GEYER                                              ANTONIUS-STR 82                                7944 MITCHELL FARM LANE
FRANKENMUTH, MI 48734-1605                             4044 KAARST 2                                  CINCINNATI, OH 45242-6437
                                                       GERMANY
                   09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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REINOUD L ELIAS & MARY F ELIAS JT TEN                RELIANCE DYEING & FINISHING CO INC                 REMBERT C PARKER JR
4903 RIVER HEIGHTS DR                                1500 PALISADE AVE                                  PO BOX 431388
MANITOWOC, WI 54220-1033                             APT 23C                                            PONTIAC, MI 48343-1388
                                                     FORT LEE, NJ 07024-5341



RENA TRUXILLO USU CHRISTINE HAINS PATRICIA BOUDREAUX RENATO
                                                     DOUGLASD COSTA                                     RENE C DELMAR & EVELYN A DELMAR TR
& JEROME & JOSEPHIII TRUXILLO & VICTORIA TRUXILLON/O GM CHINA INVESTMENT CO LTD                         RENE & EVELYN DELMAR REV TRUST UA 04/25/02
1106 DICARLO DR                                      23RD FLOOR AURORA PLAZA                            49721 REGATTA
LAFAYETTE, LA 70503-4432                             99 FUCHENG ROAD PUDONG                             NEW BALTIMORE, MI 48048
                                                     SHANGHAI SHANGHAI 200120 CHINA (PEOPLE'S REP)


RENE COURPET & LOUISE COURPET TR                     RENE D FRANCO                                      RENE E ZALDIVAR
UA 12/06/88 RENE COURPET & LOUISE COURPET TRUST      111137 RISNER LN                                   PO BOX 668292
28 CRESTVIEW AVE                                     EATON RAPIDS, MI 48827-8247                        POMPANO BEACH, FL 33066-8292
DALY CITY, CA 94015-4501



RENEE DELPROPOSTO TR                                 RENEE FRISCH CUST JAMES RANDALL FRISCH             RENIE C WONG & CYNTHIA K WONG JT TEN
RENEE DELPROPOSTO REVOCABLE LIVING TRUST UA          A MINOR U/THE LAWS OF SOUTH CAROLINA               2519 120TH ST
01/18/06                                             2 TRAPMAN ST                                       COLLEGE POINT, NY 11354-1052
PO BOX 80878                                         CHARLESTON, SC 29401-1913
ROCHESTER, MI 48308-0878


RENNY OHLSSON & JUDITH A OHLSSON TR                  RENO V VITTORELLI                                  RERNEST S MCCOY & CORA L MCCOY TR
UA 04/09/2007 RENNY OHLSSON & JUDITH A OHLSSON       1795 222ND PLACE                                   FAMILY TRUST 07/02/91 U-A ERNEST S MCCOY
944 PIERCE AVENUE                                    SAUK VILLAGE, IL 60411-4981                        315 CARLTON
OSHKOSH, WI 54902                                                                                       MUSKOGEE, OK 74403-8308



RESA GOLDSTEIN CUST RYAN BENJAMIN GOLDSTEIN UTMA FL RETTA KLEIN                                         RETTY J ROTHMAN & CAROLE L FORSTER TR
1191 NW 185TH AVE                                   10 EDINBURGH DR                                     MILTON S ROTHMAN TRUST UA 02/24/86
PEMBROKE PINES, FL 33029-3642                       RANDOLPH, NJ 07869-2137                             240 WEST END AVE
                                                                                                        NEW YORK, NY 10023-3613



REUBEN WEINSTEIN CUST CARA RACHEL WEINSTEIN UTMA MAREUBEN WEINSTEIN CUST DANIEL ARI WEINSTEIN UTMA MA   REUBEN WEINSTEIN CUST JACOB JON WEINSTEIN UTMA MA
665 CENTRE STREET                                  665 CENTRE STREET                                    665 CENTRE ST
NEWTON, MA 02458-2341                              NEWTON, MA 02458-2341                                NEWTON, MA 02458-2341




REVA KRAUSE CUST MELISSA ILENE KRAUSE                REVA KRAUSE CUST PATRICIA BETH KRAUSE              REVA R REINELT
U/THE MICH UNIFORM GIFTS TO MINORS ACT               U/THE MICH UNIFORM GIFTS TO MINORS ACT             W379S9446 COUNTY ROAD S
6725 ORINOCO CIRCLE                                  28275 DANVERS CT                                   EAGLE, WI 53119-1554
BLOOMFIELD, MI 48301                                 FARMINGTON HILLS, MI 48334-4237



REVA ROSENFELD CUST AMY E ROSENFELD                  REVA ROSENFELD CUST CYNTHIA J ROSENFELD            REVA ROSENFELD CUST DIANE R ROSENFELD
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
6295 WOODPOND                                        6911 PLAYFAIR                                      5004 WEST POND CIRCLE
W BLOOMFIELD, MI 48323-2266                          W BLOOMFIELD, MI 48323-1372                        W BLOOMFIEDL, MI 48323-2280



REVILLO J STEVENS & CAROLYN J STEVENS TR             REX EDWARD DUMBAUGH & MARY GLADYS DUMBAUGHJOINT TR
                                                                                                      REYNOLD MILLARD WIK & HELEN BYRAN WIK TR
REVILLO J STEVENS & CAROLYN J STEVENS REVOCABLE      UNDER THE DECLARATION OF TR 04/10/90             UA 05/31/89 REYNOLD MILLARD WIK & HELEN
2200 W TEMPERANCE RD                                 508 WHITESTOWN RD                                44 LINDA AVE APT 1301
TEMPERANCE, MI 48182-9768                            BUTLER, PA 16001-2840                            OAKLAND, CA 94611-4828
                       09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                                 Part 8 of 8 Pg 345 of 440
RHEA S WOLFRAM CUST MICHAEL L WOLFRAM                     RHETA C PEISER TR                                    RHODA C VAN ORDEN TR
U/THE TEXAS UNIFORM GIFTS TO MINORS ACT                   RHETA C PEISER REVOCABLE TRUST UA 02/11/92 /SOLE &   RHODA C VAN ORDEN REVOCABLE LIVING TRUST UA 6/17/96
2460 DUVAL RD                                             SEPARATE PROPERTY/                                   12 WHITE ST
CAMARILLO, CA 93012-9025                                  5225 NORTH CENTRAL AVE 105                           HOLLEY, NY 14470-1135
                                                          PHOENIX, AZ 85012-1400


RHODA F JUTTING                                           RHODA GLINER CUST MICHAEL STUART GLINER              RHODA SILVERSTEIN & DAVID SILVERSTEIN JT TEN
24433 425TH ST                                            U/THE N Y UNIFORM GIFTS TO MINORS ACT                1 CANTON RD APT 416
LAKE MILLS, IA 50450                                      2911 BEACH CHANNEL DR                                NORTH QUINCY, MA 02171-3022
                                                          FAR ROCKAWAY, NY 11691-1919



RHODA SIMOWITZ CUST CAROL B SIMOWITZ                      RHODA STEIN                                          RHONDA MALLIS
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y             32 VETERI PL                                         2320 KLEINDALE RD
16 CAZNEAU STREET                                         WAYNE, NJ 07470-3480                                 TUCSON, AZ 85719-2443
SAN SALITO, CA 94965-1802



RICARDO VILLARINA JR & VIVIANA VILLARINA TR               RICHARD A BELL & ANN B WOOD & KATHERINE BELL TR      RICHARD A BERNSTEIN
RICARDO VILLARINA JR & VIVIANA LIVING TRUST UA 10/12/90   BELL FAMILY TRUST UA 08/13/97                        9700 ROUTE 240
545 PIERCE ST                                             PO BOX 670                                           WEST VALLEY, NY 14171-9721
SUITE 1302                                                318 EAST LOCUS ST
ALBANY, CA 94706                                          CLEARFIELD, PA 16830-0670


RICHARD A DONOHOO CUST TAMMI JO BLAKELY                   RICHARD A FERRANTE & BARBARA A FERRANTE TR           RICHARD A FINKBEINER
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT                FERRANTE FAMILY TRUST UA 09/24/97                    O-204 BEGOLE SW
1255 N GULFSTREAM AVE APT 1502                            3540 W SAHARA AVE NBR E6                             GRAND RAPIDS, MI 49534
SARASOTA, FL 34236-8935                                   LAS VEGAS, NV 89102-5816



RICHARD A FRISCH CUST ROBERT W FRISCH                     RICHARD A FRITTS & DOLORES Z FRITTS TR               RICHARD A HAMMERSTEIN
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y             RICHARD & DOLORES FRITTS REV LIV TRUST UA 11/19/98   9070 SASHABAW RD
72 HARTSDALE RD                                           17411 HWY 1061                                       CLARKSTON, MI 48348-2018
ROCHESTER, NY 14622-1803                                  AMITE, LA 70422-6103



RICHARD A KEMPF & CAROL H KEMPF TR                        RICHARD A KLEIN                                      RICHARD A MIGET & MARGIE M MIGET TR
REVOCABLE TRUST UA 12/07/77 RICHARD A                     5175 RENVILLE                                        UA 03/12/2008 RICHARD A MIGET & MARGIE M REV
9777 N TERRITORIAL RD                                     DETROIT, MI 48210-2149                               838 PCR 538
DEXTER, MI 48130-8520                                                                                          PERRYVILLE, MO 63775



RICHARD A MILLER CUST GREGORY A MILLER                    RICHARD A MOUNT                                      RICHARD A MOUNT
A MINOR U/P L55 CHAP 139 OF THE LAWS OF NJ                & KAREN M MOUNT JT TEN TOD BRIAN A MOUNT SUBJECT     & KAREN M MOUNT JT TEN TOD ROBERT A MOUNT SUBJECT
1687 NESTLEDOWN CRT                                       TO STA TOD RULES                                     TO STA TOD RULES
ROCK HILL, SC 29732-7799                                  6671 POWERS COURT                                    6671 POWERS COURT
                                                          SHELBY TWP, MI 48317-2234                            SHELBY TWP, MI 48317


RICHARD A REINLEIN & PATRICIA M REINLEIN JT TEN           RICHARD A SCOTT & ANNABELLE (ANN) E SCOTT TR         RICHARD A SIVITS & LOUISE M SIVITS TR
27095 DEVONSHIRE                                          UA 06/24/2004 TRUST OF RICHARD & ANNABELLE (ANN)     RICHARD A & LOUISE M SIVITS LIVING TRUST UA 12/21/94
SOUTHFIELD, MI 48076-3138                                 531 GREENWOOD DR                                     3971 CAPITOL AVE SW LOT 32
                                                          BRIGHAM CITY, UT 84302                               BATTLE CREEK, MI 49015-8401



RICHARD A SWOIK                                           RICHARD A YOUNGMAN CUST ROGER A YOUNGMAN             RICHARD A ZIMMERMAN
12459 LILY LANE                                           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           7297 100TH STREET
PLAINFILED, IL 60585-5499                                 188 WINDSOR RD                                       FLUSHING, MI 48433-8704
                                                          ROCHESTER, NY 14612-4231
                    09-50026-mg           Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                          Part 8 of 8 Pg 346 of 440
RICHARD ADOLF REINCKE                              RICHARD B DICKEY CUST LINDA RAE DICKEY              RICHARD B ENDRESS & PATRICIA L ENDRESS TR
20088 BREEZEWAY                                    U/THE TEXAS UNIFORM GIFTS TO MINORS ACT             RICHARD B & PATRICIA L ENDRESS REVOCABLE TRUST UA
MACOMB TWP, MI 48044-5749                          4914 94TH ST                                        02/28/02
                                                   LUBBOCK, TX 79424                                   31010 GRANDON
                                                                                                       LIVONIA, MI 48150-3949


RICHARD B GRYNIEWICKI TR                           RICHARD B LANE & RICHARD KIRK TR JOAN LANE TRUST UA 02/11/92
                                                                                                         RICHARD B PARSONS JR & BARBARA N PARSONS TR
UA 03/25/94 RICHARD B GRYNIEWICKI LIVING TRUST     PO BOX 850270                                         PARSONS FAM TRUST UA 05/01/95
2351 CULVER ROAD                                   BRAINTREE, MA 02185-0270                              PO BOX 430669
ROCHESTER, NY 14609-1636                                                                                 BIG PINE KEY, FL 33043-0669



RICHARD B TOMLINSON & JEAN L TOMLINSON TR          RICHARD C BIRKE & PATRICIA C BIRKE TR               RICHARD C BUTLER CUST CRAIG P BUTLER
RICHARD B & JEAN L TOMLINSON REVOCABLE TRUST UA    RICHARD C & PATRICIA C BIRKE REVOCABLE TRUST UA     U/THE CALIF UNIFORM GIFTS TO MINORS ACT
09/24/02                                           07/03/97                                            1628 SOUTH TENTH AVENUE
160 PALMER AVE                                     10318 MANZANITA DR                                  ARCADIA, CA 91006-5044
COLON, MI 49040-9302                               SUN CITY, AZ 85373-1657


RICHARD C DALLAVALLE & BARBARA SUE DALLAVALLE TR   RICHARD C DERRA & JULIE ANN DERRA TR                RICHARD C FIGG CUST CYNTHIA L FIGG
RICHARD C & BARBARA S DALLAVALLEREVOCABLE          UA 02/23/1999 RICHARD C DERRA & JULIA ANN DERRA     U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
2434 WESINGTON                                     2931 W PARK WAY                                     1239 BROOMFIELD
MARYLAND HEIGHTS, MO 63043-4135                    ALGONAC, MI 48001                                   MOUNT PLEASANT, MI 48858



RICHARD C FIGG CUST DOUGLAS M FIGG                 RICHARD C FIGG CUST TERRI LYNN FIGG                 RICHARD C FORNOFF & BARBARA JANE FORNOFF TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          UA 06/07/09 THE FORNOFF LIVING TRUST
1239 E BROOMFIELD                                  1239 BROOMFIELD RD                                  1809 WILDBERRY DR
MOUNT PLEASANT, MI 48858                           MOUNT PLEASANT, MI 48858                            GLENVIEW, IL 60025



RICHARD C HOOVER CUST R SCOTT HOOVER               RICHARD C KLEIN                                     RICHARD C KLEIN
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT     14 W WESTWOOD RD                                    701 KOLEHOUSE RD
PO BOX 5677                                        PARK CITY, UT 84098-4901                            SPARTA, MI 49345-9571
VAIL, CO 81658-5677



RICHARD C LUCKAS                                   RICHARD C NORRIS & SU A NORRIS TR                   RICHARD C OLHOFFER & MARGARET SUSAN OLHOFFER TR
21603 142ND DR                                     RICHARD C NORRIS & SU A NORRIS LIVING TRUST UA      THE OLHOFFER TRUST UA 08/05/98
SUN CITY, AZ 85375-5804                            09/11/92                                            9158 CARDINAL AVE
                                                   9228 WESTFORK TRAIL                                 FOUNTAIN VALLEY, CA 92708-6521
                                                   FORT WORTH, TX 76179-3208


RICHARD C SMITH & JANE C SMITH TR                  RICHARD C THOMPSON                                  RICHARD C TUEY & LOIS A TUEY TR
SMITH FAMILY REVOCABLE LIVING TRUST UA 04/07/06    PO BOX 110229                                       RICHARD C & LOIS A TUEY FAMILY TRUST UA 12/17/01
205 N COLONIAL DR                                  TRUMBULL, CT 06611                                  626 7TH ST
CORTLAND, OH 44410-1107                                                                                HERMOSA BEACH, CA 90254-4705



RICHARD COWAN CUST PATRICIA JANE COWAN             RICHARD D ARGOTE CUST LESLIE MARIE ARGOTE           RICHARD D BRAIDWOOD & EUNICE D BRAIDWOOD TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             A MINOR UNDER THE LOUISIANA GIFTS TO                BRAIDWOOD LIVING TRUST UA 03/13/06
8463 MUSIC ST                                      119 GLENWOOD DR                                     8488 GUTCHESS ROAD
CHAGRIN FALLS, OH 44022-3854                       METAIRIE, LA 70005-3911                             ALPENA, MI 49707-8929



RICHARD D BUCKBEE & PATTY J BUCKBEE JT TEN         RICHARD D CHAPPLE & BEVERLY A CHAPPLE TR            RICHARD D CHAPPLE & BEVERLY A CHAPPLE TR
BOX 435 320 N CENTER ST                            CHAPPLE FAMILY REV TRUST UA 04/28/97                CHAPPLE FAMILY REVOCABLE TRUST UA 4/28/97
UTICA, MN 55979-0435                               566 HORIZON DR                                      566 HORIZON DR
                                                   N FT MYERS, FL 33903-7615                           N FT MYERS, FL 33903-7615
                      09-50026-mg         Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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RICHARD D KENDALL 7 DIANE K KENDALL TR                RICHARD D MCCORMICK & ROBIN D MCCORMICK TR            RICHARD D MUENTER
KENDALL FAMILY LIVING TRUST UA 07/25/01               MCCORMICK FAMILY TRUST U/A 0918/96                    & ARLENE L MUENTER UA MUENTER FAMILY TRUST DTD
2569 DEVONWOOD                                        147 AGATE STREET                                      03-26-92
TROY, MI 48098-2325                                   LAGUNA BEACH, CA 92651-3225                           7955 E CHAPARRAL ROAD
                                                                                                            #129
                                                                                                            SCOTTSDALE, AZ 85250-7235

RICHARD E CRIBBS TR                                   RICHARD E CROCKER & GAIL A CROCKER TR                 RICHARD E ECKSTEIN & MRS ELIZABETH ANN ECKSTEIN JT TE
RICHARD E & DORIS A CRIBBS FAMILY TRUST UA 06/19/96   UA 12/29/92 THE GAIL A CROCKER &RICHARD E             7151 ESTRELLE ST
1558 S BROWN AVENUE                                   28604 COVECREST DRIVE                                 MT MORRIS, MI 48458-2146
TUCSON, AZ 85710-8636                                 RANCHO PALOS VERDE, CA 90275-3323



RICHARD E EPSTEIN                                     RICHARD E FOUTS                                       RICHARD E KESTERKE & SHIRLEY A KESTERKE TR
BOX 6                                                 674 HEINE ST                                          RICHARD E KESTERKE FAMILY TRUST UA 06/14/04
GALT, CA 95632-0006                                   FRANKENMUTH, MI 48734-1425                            PO BOX 2934
                                                                                                            ARNOLD, CA 95223-2934



RICHARD E KIDD                                        RICHARD E KIMMELL & FRANKIE J KIMMELL TR              RICHARD E LAMASTUS & MARLENE A LAMASTUS TR
PO BOX 210403                                         RICHARD E & FRANKIE J KIMMELL REVOCABLE TRUST UA      LAMASTUS 1994 FAM TRUST UA 09/02/94
AUBURN HILLS, MI 48321-0403                           05/12/05                                              908 THOREAU CT
                                                      14670 FLATHEAD ROAD                                   ROSEVILLE, CA 95747-5817
                                                      APPLE VALLEY, CA 92307-3524


RICHARD E LEEDS SR & JUDITH C LEEDS TR                RICHARD E LIETZ CUST KURT MICHAEL LIETZ               RICHARD E MACFADDEN CUST RICHARD MACFADDEN JR
RICHARD E LEEDS SR & JUDITH C LEEDS REV TRUST UA      U/THE WISC UNIFORM GIFTS TO MINORS ACT                U/THE N Y UNIFORM GIFTS TO MINORS ACT
10/05/00                                              6191 SANTA MARGUERITA WAY                             6 TERRY LANE
102 PIUTE CIR                                         GOLETA, CA 93117-1709                                 BLAUVELT, NY 10913-1516
LOUDON, TN 37774-3137


RICHARD E NICCUM                                      RICHARD E STEPHENS & ALICE F STEPHENS TR              RICHARD E TYGIELSKI CUST PAMELA TYGIELSKI
6588 OTTERBEIN                                        THE STEPHENS FAMILY TRUST UA 04/23/93                 U/THE MICH UNIFORM GIFTS TO MINORS ACT
ITHACA ROAD                                           401 BROOKER ROAD                                      2535 W 133RD CIR
ARCANUM, OH 45304                                     BRANDON, FL 33511-7209                                BROOMFIELD, CO 80020-5183



RICHARD E WEINBERG                                    RICHARD E WEINER & MRS ANNETTE P WEINER JT TEN        RICHARD EVANS CUST STEVAN RICHARD EVANS
PO BOX 458                                            2325 GLENMORE TERR                                    U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
BELLAIRE, TX 77402-0458                               ROCKVILLE, MD 20850-3061                              7112 ST JOE RD
                                                                                                            FT WAYNE, IN 46835-1566



RICHARD F BERNSTEIN & JANE E BERNSTEIN JT TEN         RICHARD F BLEVINS CUST TIFFANY N BLEVINS              RICHARD F GAURON
6070 FOOTHILL GLEN DR                                 UNDER FL UNIFORM TRANSFERS ACT                        9413 240TH AVENUE SE
SAN JOSE, CA 95123-4550                               3905 SANDPOINTE DR                                    ISSAQUAH, WA 98027-4728
                                                      BRADENTON, FL 34205-1246



RICHARD F MC NALLY CUST RICHARD F MC NALLY JR         RICHARD F PERNAL & JUDITH A PERNAL TR                 RICHARD F STEVENS CUST CHRISTOPHER J STEVENS
U/THE MICH UNIFORM GIFTS TO MINORS ACT                PERNAL FAMILY LIVING TRUST UA 03/01/03                U/THE OHIO UNIFORM GIFTS TO MINORS ACT
717 S GRAND TRAVERSE                                  1254 E BOSTON STREET                                  PO BOX 525
FLINT, MI 48502-1118                                  CHANDLER, AZ 85225-5416                               OSPREY, FL 34229-0525



RICHARD F TAUBERT & LENORE E TAUBERT TR               RICHARD F TIEMAN TR                                   RICHARD F WILSON TONI B WILSON TR
RICHARD F TAUBERT & LENORE E TAUBERT                  RICHARD F TIEMAN REVOCABLE LIVING TRUST UA 09/05/80   UA 08/22/07 THE WILSON FAMILY TRUST OF
6515 N LA PALOMA ESTE                                 874 MUER                                              742 HASTING ST
PHOENIX, AZ 85014-1339                                TROY, MI 48084-1602                                   CHICO, CA 95973
                    09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                         Part 8 of 8 Pg 348 of 440
RICHARD G BOTTUM                                  RICHARD G COOLING & BARBARA M COOLING TR             RICHARD G GRAHAM & JENNIFER L MCCAULEY TR
18755 375TH AVENUE                                COOLING LIVING TRUST UA 03/08/04                     RICHARD G GRAHAM TRUST UA 09/02/04
TULARE, SD 57476-7506                             7706 BUTTERNUT CT                                    7826 SPRING TRACE RD
                                                  WOODRIDGE, IL 60517-2720                             BRIGHTON, MI 48114



RICHARD G LARSON & MYRLA J LARSON TR              RICHARD G MEINEN                                     RICHARD G PENMAN CUST CAROL ANN PENMAN
RICHARD G LARSON & MYRLA J LARSON JOINT           1269 SCOTT ST                                        U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
1048 CROWN POINT DR                               MAUMEE, OH 43537-3145                                2970 SHAWNEE LANE
LAKE ISABELLA, MI 48893-9374                                                                           WATERFORD, MI 48329-4336



RICHARD GEORGE MAGNER & JANICE L MAGNER TR        RICHARD GOLDBERG CUST SHERI M GOLDBERG               RICHARD GORDON KATZ
UA 09/26/2005 MAGNER REVOCABLE TRUST              UNDER THE FLORIDA GIFTS TO MINORS ACT                APT 2019
2201 BRISBAYNE CIR                                21210 HIGHLAND LAKES BLVD                            251 174TH ST
RALEIGH, NC 27615                                 NORTH MIAMI BEACH, FL 33179-1658                     MIAMI BEACH, FL 33160-3367



RICHARD H COUSINS & DOROTHY A COUSINS TR          RICHARD H FORRESTER CUST AMY ARLA FORRESTER          RICHARD H FORRESTER CUST RICHARD BOLTON FORRESTER
UA COUSINS FAMILY LIVING TRUST 08/03/92           U/THE TEXAS UNIFORM GIFTS TO MINORS ACT              U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
14025 ARNOLD                                      6214 GAINSBOROUGH                                    6214 GAINSBOROUGH
REDFORD, MI 48239-2816                            AMARILLO, TX 79106-3418                              AMARILLO, TX 79106-3418



RICHARD H GARRETT SR                              RICHARD H GOLDMAN CUST STEPHEN LOUIS GOLDMAN         RICHARD H KELLY & GWENDOLYN C KELLY TR
3010 119TH ST                                     U/THE MASS UNIFORM GIFTS TO MINORS ACT               THE KELLY REVOCABLE TRUST UA 09/09/04
TOLEDO, OH 43611-2717                             32 WILDWOOD DR                                       52 EVERGREEN DRIVE
                                                  ESSEX, VT 05452-3816                                 ORINDA, CA 94563-3115



RICHARD H LANDIS                                  RICHARD H LITTLE & PHYLLIS J LITTLE TR               RICHARD H MAGAZINER & IRENE B MAGAZINER TR
PO BOX 160838                                     UA 05/31/2009 RICHARD H LITTLE & PHYLLIS J           UA 10/08/91 MAGAZINER FAMILY TRUST
BIG SKY, MT 59716-0838                            PO BOX 2048                                          3300 DARBY RD C-111
                                                  BENSON, AZ 85602                                     HAVERFORD, PA 19041-1066



RICHARD H MILLWARD & LAURI E MILLWARD TR          RICHARD H SCHREINER                                  RICHARD H STEIN & ROSEMARY ANN STEIN TR STEIN FAMILY T
MILLWARD FAMILY TRUST UA 5/11/89                  8190 OHERN RD                                        427 HARVARD AVE
3157 KILLARNEY LANE                               SAGINAW, MI 48609-5116                               ADDISON, IL 60101-4607
COSTA MESA, CA 92626-2610



RICHARD H STEINER                                 RICHARD H WITHERS CUST ELIZABETH K WITHERS           RICHARD H WITHERS CUST RACHAEL P WITHERS
RD#1 BOX 239                                      A MINOR UNDER THE LAWS OF GEORGIA                    A MINOR UNDER THE LAWS OF GEORGIA
DUNBAR, PA 15431-9402                             5058 GRAY RD                                         5058 GRAY RD
                                                  DOUGLASVILLE, GA 30135-4702                          DOUGLASVILLE, GA 30135-4702



RICHARD H WITHERS CUST RICHARD E WITHERS          RICHARD HEINRICH CUST KENNETH JAY HEINRICH UGMA IL   RICHARD HERMAN SCHREINER
A MINOR UNDER THE LAWS OF GEORGIA                 1222 GREEN KNOLLS DR                                 8190 O'HERN RD
4511 VININGS CENTRAL SE TR                        BUFFALO GROVE, IL 60089-1146                         SAGINAW, MI 48609-5116
APT 80
SMYRNA, GA 30080-6790


RICHARD HIGLEY ACF CUST STEVE DRINKWINE           RICHARD HOLLAND CUST ADAM SIMON HOLLAND              RICHARD HOUTTEMAN & GERALDINE V HOUTTEMAN TR
UNDER WI UNIF GIFTS TOMINORS ACT                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           RICHARD HOUTTEMAN & GERALDINE V HOUTTEMAN TRUST
2233 LARRY LN                                     69 WILLOW RD                                         UA 05/22/95
DE PERE, WI 54115-9408                            WOODMERE, NY 11598-2228                              25901 CULVER
                                                                                                       ST CLAIR SHORES, MI 48081-2123
                    09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 349 of 440
RICHARD HOVSEPIAN & ANN HOVSEPIAN TR                RICHARD HOWARD WEINSTEIN                            RICHARD I BROWN CUST KENNETH A BROWN
UA F-B-O HOVSEPIAN FAMILY TRUST 09/12/90            3442 BERTHA DR                                      U/THE N Y UNIFORM GIFTS TO MINORS ACT
1065 W MESA AVE                                     BALDWIN HARBOR, NY 11510-5052                       6860 N AMAHL DR
FRESNO, CA 93711-2002                                                                                   TUCSON, AZ 85704-1211



RICHARD J BEMMAN & DEBRA A BEMMEN JT TEN            RICHARD J BENSON & KATHRYN M DOIG TR                RICHARD J BOEHM JR CUST STEPHEN RICHARD BOEHM
PO BOX 771325                                       BENSON-DOIG FAMILY TRUST UA 09/08/99                U/THE MICH UNIFORM GIFTS TO MINORS ACT
OCALA, FL 34477-1325                                603 S BARNES ST                                     33935 NINE MILE ROAD
                                                    MASON, MI 48854-1605                                FARMINGTON HILLS, MI 48335-4713



RICHARD J DOVALA & CAROLE B DOVALA TR               RICHARD J GAWRONSKI TR                              RICHARD J GUSTAFSON & LOIS M GUSTAFSON TR
RICHARD J & CAROLE B DOVALA INTER VIVOS TRUST UA    UA 01/29/93 RICHARD J GAWRONSKI REVOCABLE LIVING    GUSTAFSON TRUST NO 2006 UA 4/6/06
09/05/00                                            TRUST                                               1070 WILS WOODS
6340 FAIRLYNN BLVD                                  24319 THATCHER COURT                                MACHESNEY PARK, IL 61103-8800
YORBA LINDA, CA 92886-6411                          NOVI, MI 48375-2353


RICHARD J HAMES & NANCY HAMES TR                    RICHARD J KILGER CUST KRISTINE M KILGER             RICHARD J MICHALEK & DOLORES D MICHALEK TR
RICHARD J HAMES & NANCY HAMES TRUST UA 03/27/96     U/THE OHIO UNIFORM GIFTS TO MINORS ACT              UA 03/23/94 THE MICHALEK FAMILY LIVING TRUST
5594 NORTHCOTE                                      16950 LEXINGTON                                     13332 RED CEDAR LN
W BLOOMFIELD, MI 48322-4005                         REDFORD, MI 48240-2435                              PLAINFIELD, IL 60544-9369



RICHARD J NEUMAN & JUNE F NEUMAN TR                 RICHARD J POHL & PATRICIA L POHL TR                 RICHARD J PULLMAN & KTHLEEN T PULLMAN TR
RJ & JF NEUMAN 1991 REV TRUST UA10/21/91            UA 10/12/2006 THE POHL FAMILY TRUST                 RICHARD J PULLMAN & KATHLEEN T PULLMAN
910 COLOGNE COURT                                   5620 CHAMBERSBURG RAOD                              722 HOMESTEAD PL
LODI, CA 95242-4119                                 HUBER HEIGHTS, OH 45424                             JOLIET, IL 60435-5108



RICHARD J REIZNER & SUSAN E REIZNER TR              RICHARD J SCHEUERMAN TR                             RICHARD J SHEMON & MARY KRISTEN DELMORE & MARLYS A
REIZNER LIVING TRUST UA 06/23/95                    RICHARD J SCHEUERMAN REV LIVING TRUST UA 02/11/04   HERBERT C LINDSTOM TERMINABLE INTEREST TRUST UA
7179 VIA MARIA                                      2084 NEW YORK AVE                                   06/12/85
SAN JOSE, CA 95139-1143                             LINCOLN PARK, MI 48146                              9800 SANDRA LN
                                                                                                        MINNETONKA, MN 55305-4629


RICHARD J SIEGEL                                    RICHARD J SKWAREK & DOLORES V SKWAREK TR            RICHARD J SMITH CUST MISS STACEY ANN SMITH
3092 EPSTEIN CIR                                    SKWAREK LIVING TRUST UA 05/03/99                    U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
MUNDELEIN, IL 60060-6047                            10797 MELBOURNE                                     405 MIDLOCK RD
                                                    ALLEN PARK, MI 48101-1185                           FAIRFIELD, CT 06430-7845



RICHARD J SPRINGSTEAD                               RICHARD J STEINMETZ JR                              RICHARD J SULLIVAN & MARY T SULLIVAN TR
& MARGARET A SPRINGSTEAD JT TEN TTEE U-A DTD        HC 1 BOX 28                                         RICHARD J SULLIVAN REVOCABLE TRUST UA 08/10/00
05-24-94 SPRINGSTEAD FAM                            BRODHEADSVILLE, PA 18322-9685                       3010 NE 41ST STREET
6191 SIGLER RD                                                                                          FT LAUDERDALE, FL 33308-5802
SOUTH ROCKWOOD, MI 48197


RICHARD J VRATANINA CUST BARBARA ANN VRATANINA      RICHARD J VRATANINA CUST RICHARD J VRATANINA II     RICHARD J WEIMAN
U/THE IND UNIFORM GIFTS TO MINORS ACT               UNDER THE INDIANA U-G-M-A                           PO BOX 101189
21721 W 50TH ST                                     50590 TECUMSEH DR                                   CAPE CORAL, FL 33910-1189
SHAWNEE, KS 66226-9784                              GRANGER, IN 46530-9461



RICHARD J YEAGER SR & MARY LOUISE YEAGER TR         RICHARD JAMES OLVER                                 RICHARD K GRIESSER & EVELYN B GRIESSER TR
RICHARD J & MARY LOUISE YEAGER REVOCABLE TRUST UA   291445 AVENUE                                       RICHARD K GRIESSER & EVELYN B GRIESSER REV TRUST
01/21/00                                            ATHABASCA ALBERTA                                   UA 1/20/01
PO BOX 512                                          TN5 1N8                                             925 WEST NAVAJO ST
PENNEY FARMS, FL 32079                              ZZZZ CANADA                                         TUCSON, AZ 85705-3426
                   09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
                                                              Part 8 of 8 Pg 350 of 440
RICHARD K MC EVOY CUST MARTHA C MC EVOY                RICHARD K MCEVOY CUST GEORGE RICHARD MCEVOY            RICHARD KESSLER CUST DOROTHY E KESSLER
U/THE N Y UNIFORM GIFTS TO MINORS ACT                  U/THE N Y UNIFORM GIFTS TO MINORS ACT                  U/THE CALIF UNIFORM GIFTS TO MINORS ACT
10 OLD LANDMARK DR                                     2893 CLAY ST                                           23425 AMBER CT
ROCHESTER, NY 14618-3517                               LIMA, NY 14485-9627                                    AUBURN, CA 95602-8062



RICHARD L & JANNETTE M ECKBERG TR                      RICHARD L BEALE JR CUST MISS ELIZABETH M BEALE         RICHARD L BORKOWSKI & CAROL A BORKOWSKI TR
RICHARD L & JANNETTE M ECKBERG LIVING TRUST UA         U/THE VA UNIFORM GIFTS TO MINORS ACT                   BORKOWSKI FAM LIVING TRUST UA 6/22/98
09/01/98                                               BOX 802                                                8224 TIMBER RIDGE RD
1134 N WOOD AVE                                        BOWLING GREEN, VA 22427-0802                           CONWAY, SC 29526-9004
WICHITA, KS 67212-4055


RICHARD L CARTWRIGHT & BETTY JEANNE CARTWRIGHT U-A DTD
                                                    RICHARD
                                                       8-7-90 LTHE
                                                                DAVIS JR & PATRICIA A DAVIS TRUST RICHARD L DAVIS
                                                                                                              RICHARD
                                                                                                                  JR TRUST
                                                                                                                       L GARY & BEVERLY MGARY TR
RICHARD L CARTWRIGHT & BETT Y J CARTWRIGHT REV      UA 11/28/90 AMD UA 03/01/93                               RICHARD L SR & BEVERLY M GARY JOINT TRUST UA 12/19/96
TRUST                                               531 N SEMINARY AVE                                        1711 BELLEVUE AVE BLDG D #603
6337 PRAIRIE RD NE                                  PARK RIDGE, IL 60068-3047                                 RICHMOND, VA 23227-3964
ALBUQUERQUE, NM 87109-1929


RICHARD L GUETHLEIN                                    RICHARD L HEINE & CHRISTINA R HEINE TEN COM            RICHARD L JOYCE & MALLORY C JOYCE TR
8370 PENINSULA DR                                      610 WEST EVE SHAM ROAD                                 RICHARD L JOYCE & MALLORY C JOYCE LIVING TRUST UA
STANWOOD, MI 49346-9746                                GLENDORA, NJ 08029                                     01/18/93
                                                                                                              854 LANCASTER LANE
                                                                                                              NEWPORT NEWS, VA 23602-8878


RICHARD L KOBLINSKI RICHARD R KOBLINSKI                RICHARD L MAIRES & BARBARA J MAIRES TR                 RICHARD L MEINERT
& MRS YVONNE M KOBLINSKI JT TEN                        RICHARD L MAIRES FAMILY TRUST 04/03/81                 10121 HYDE PLACE
8070 CARRIAGE LN                                       12 NORTHRIDGE LANE                                     RIVER RIDGE, LA 70123-1523
STANWOOD, MI 49346-9210                                SANDY, UT 84092-4902



RICHARD L REMMERS & SANDRA C REMMERS TR                RICHARD L ROOT                                         RICHARD L SCHREINER
REMMERS 2005 REVOCABLE TRUST UA 05/16/05               P O BOX 644027                                         17622 FAIRWAY DRIVE
1122 MONICA LN                                         VERO BEACH, FL 32964                                   LIVONIA, MI 48152-2966
SAN JOSE, CA 95128-4119



RICHARD L STEINER                                      RICHARD L STEPHEN & DOROTHY B STEPHEN TR               RICHARD L STETAR CUST DIANA LYNN STETAR
5935 REINHARDT DR                                      UA 04/19/94 STEPHEN REVOCABLE LIVING TRUST             U/THE PA UNIFORM GIFTS TO MINORS ACT
FAIRWAY, KS 66205-3330                                 2229 BEACON DR                                         2093 RIDGE RD
                                                       PORT CHARLOTTE, FL 33952-5664                          LIBRARY, PA 15129-8804



RICHARD L TRAUTWEIN                                    RICHARD L VILLEC & HELEN W VILLEC TR                   RICHARD L WEAVER 2ND CUST RICHARD SCOTT WEAVER
1637 WILLIAMS AVE                                      UA 01/05/2007 RICHARD L VILLEC & HELEN W VILLEC        U/THE IND UNIFORM GIFTS TO MINORS ACT
BALTIMORE, MD 21221-2922                               33 LAYTONS LAKE DRIVE                                  9583 WOODLEIGH CT
                                                       CARNEYS POINT, NJ 08069                                PERRYSBURG, OH 43551-2669



RICHARD M BANHAM                                       RICHARD M CARLEY & NANCY P CARLEY TR                   RICHARD M ECKSTEIN
2700 WOODLANDS VILLAGE BLVD                            RICHARD M & NANCY P CARLEY REVOCABLE TRUST UA          6701 WYCLIFFE PL
SUITE 300-421                                          04/07/05                                               WESTERVILLE, OH 43082-8574
FLAGSTAFF, AZ 86001-7114                               1021 S GREENFIELD RD #1147
                                                       MESA, AZ 85206-2666


RICHARD M KUCHINSKY & JANEY FRANK TR                   RICHARD M NEINER                                       RICHARD M SEDLOCK & DOROTHY A SEDLOCK TR
UA KUCHINSKY SUPPLEMENTARY TRUST05/30/91               928 MOREAU DRIVE                                       UA 06/11/2002 RICHARD M SEDLOCK & DOROTHY A
325 PARK ST                                            JEFFERSON CITY, MO 65101-3517                          3408 PEAR TREE COURT
WEST ROXBURY, MA 02132-2152                                                                                   OAKLAND, MI 48363
                   09-50026-mg               Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                            Part 8 of 8 Pg 351 of 440
RICHARD MINARIK JR TR MADELEINE DOLORES KATES TRUST UA
                                                    RICHARD
                                                       6/21/04 N BROCHSTEIN                               RICHARD N WEBSTER & MATTHEW B WEBSTER TR
145 HAGAN RD                                        5618 DARNELL                                          WEBSTER REVOCABLE LIVING TRUST UA 08/07/99
CLERMONT CAPE MAY, NJ 08210-1172                    HOUSTON, TX 77096                                     3003 GREAT VALLEY DR
                                                                                                          CEDAR PARK, TX 78613-5444



RICHARD O BALLARD & JERRY K BALLARD TR               RICHARD O RANSBOTTOM & JACQUELYN S RANSBOTTOM TR     RICHARD O STRAUSS & SHIRLEY J STRAUSS TR
BALLARD LIVING TRUST UA 03/01/96                     RANSBOTTOM TRUST UA 5/04/00                          RICHARD O & SHIRLEY J STRAUSS TRUST UA 05/12/05
4601 W 113TH ST                                      2001 W RUDASILL RD APT 1502                          9941 CROOKED CEDAR LANE
LEAWOOD, KS 66211-1767                               TUCSON, AZ 85704-7824                                RILEY, KS 66531-9531



RICHARD P AUTZ & REAH J AUTZ TR                      RICHARD P DOCTOR CUST MISS JULIE LISA DOCTOR A MINORUNDER
                                                                                                          RICHARDTHEP LAWS
                                                                                                                      KOCHOF
                                                                                                                           & COLETTE M KOCH TR
UA 03/14/2007 RICHARD P & REAH J AUTZ POUR           GEORGIA                                              RICHARD P & COLETTE M KOCH REV LIVING TRUST UA
4606 FELDSPAR RD                                     21396 GLEBE VIEW DR                                  9/14/01
MIDDLETOWN, MD 21769                                 ASHBURN, VA 20148-3628                               37304 25 MILE RD
                                                                                                          NEW BALTIMORE, MI 48047-2815


RICHARD P REINBOLD                                   RICHARD P STEINBERGER                                RICHARD P SWITZER TR
1071 PRENTICE RD                                     PO BOX 3157                                          RICHARD P SWITZER REVOCABLE LIVING TRUST UA 08/25/97
WARREN, OH 44481-9415                                LEESBURG, VA 20177-8039                              6175 S MISSION RD
                                                                                                          MOUNT PLEASANT, MI 48858-9138



RICHARD R GONZALEZ SR TR RICHARD R GONZALEZ SR TRUSTRICHARD
                                                     UA 10/14/97
                                                              RUCOBA & DOLORES REYES RUCOBA TR            RICHARD S GOLDSTEIN CUST SETH L GOLDSTEIN
2901 190TH STREET                                   UA 09/25/2007 RICHARD RUCOBA LIVING TRUST             U/THE N H UNIFORM GIFTS TO MINORS ACT
LANSING, IL 60438-3451                              18619 VILLA COURT                                     4320 PLACITA PANUCO
                                                    LANSING, IL 60438                                     TUCSON, AZ 85718-2532



RICHARD S HAERING & LINDA P HAERING TR               RICHARD S NELSON & ANDREA K NELSON JT TEN            RICHARD SHEINBERG
HAERING LIVING TRUST UA 04/24/02                     57730 270TH ST                                       PO BOX 2593
PO BOX 7142                                          AMES, IA 50010                                       PARK CITY, UT 84060-2593
RENO, NV 89510-7142



RICHARD SOMMERS ARTHUR CUST CATHERINE D ARTHUR       RICHARD STEIN                                        RICHARD T SAWAYA & BEVERLY S SAWAYA TR
U/THE CAL UNIFORM GIFTS TO MINORS ACT                15273 SURREY HOUSE WAY                               UA 07/08/2004 RICHARD & BEVERLY SAWAYA TRUST
PO BOX 254                                           CENTREVILLE, VA 20120-1179                           19316 LAUREL
SUNSET BEACH, CA 90742-0254                                                                               LIVONIA, MI 48152



RICHARD TODD ROSENBURGH CUST SHERRI LYNN ROSENBURGH
                                                 RICHARD V WOODWARD & CAROL A WOODWARD TR                 RICHARD W ASKREN TR UA 01/29/93 RICHARD WALLACE ASKR
U/THE N J UNIFORM GIFTS TO MINORS ACT            WOODWARD LIVING TRUST UA 12/09/99                        & ROSEMARY ESTELLE ASKREN REV LIV TR
21 STONEHAM DRIVE                                982 TREASURE LAKE                                        4350 VICTORY BLVD
LIVINGSTON, NJ 07039-1836                        DUBOIS, PA 15801-9022                                    INDIANAPOLIS, IN 46203-5971



RICHARD W BARNES & JEANNE E BARNES TR                RICHARD W BARTON                                     RICHARD W BERGMANN & JANET G BERGMANN TR
BARNES FAMILY LIVING TRUST UA 04/11/97               13225 101ST ST                                       BERGMANN FAMILY TRUST UA 08/30/02
3118 WEST HOWARD AVE                                 LOT 206                                              4931 MATILIJA AVE
VISALIA, CA 93277-4250                               LARGO, FL 33773-5614                                 SHERMAN OAKS, CA 91423-1921



RICHARD W BROWN                                      RICHARD W DIBARTELO & PENNY S DIBARTELO TR           RICHARD W HEINBUCH
71894 320TH STREET                                   RICHARD W DIBARTELO REVOCABLE TRUST UA 05/18/98      6652 SEAGUALL COURT
ST JAMES, MN 56081-3414                              13715 DIXON WAY DRIVE                                FREDERICK, MD 21703-9544
                                                     LEMONT, IL 60439-8785
                   09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                           Part 8 of 8 Pg 352 of 440
RICHARD W HEINTZ                                    RICHARD W HUDELSON & MARGARET H HUDELSON TR           RICHARD W REINHARDT
1008 HIGHFIELD ROAD                                 RICHARD W & MARGARET H HUDELSON TRUST UA 2/27/06      5100 S 2 MILE
BETHEL PARK, PA 15102-1024                          630 HASTINGS AVE                                      BAY CITY, MI 48706-3063
                                                    APT 208
                                                    HOLLAND, MI 49423-5512


RICHARD W SCHAEFER & KATHLEEN F SCHAEFER TR         RICHARD W SCOTT                                       RICHARD W STEIN
UA 04/18/2007 RICHARD W SCHAEFER & KATHLEEN F       461-675 MEADOWS EDGE                                  87 BROOKWOOD RD
654 CLOVERTRAIL DR                                  JANESVILLE, CA 96114                                  CLIFTON, NJ 07012-1360
CHESTERFIELD, MO 63017



RICHARD W WILKINSON JR CUST MARGARET S WILKINSON    RICHARD WALDOCH                                       RICHARD ZECHLIN & BERNICE M ZECHLIN TR
U/THE MD UNIFORM GIFTS TO MINORS ACT                15035 127TH AVE                                       RICHARD & BERNICE ZECHLIN REV TRUST 2000 UA 12/18/00
5502 GLENWOOD ROAD                                  LITTLE FALLS, MN 56345-5207                           1622 CRESCENT DRIVE
BETHESDA, MD 20817-3748                                                                                   BELOIT, WI 53511-3822



RICHARDS W HANNAH CUST MARY ELIZABETH HANNAH        RICHMOND CLAY PORTER & ISABEL G PORTER TR             RICK L KLEIN
A MINOR U/ART 8-A OF THE PERS PROPERTY LAW OF NEW   UA 01/17/86 RICHMOND CLAY PORTER&                     380 SANDRIDGE DR
YORK                                                14395 SYCAMORE AVE                                    HEMLOCK, MI 48626-9601
15892 DUMBLAINE AVE                                 SAN MARTIN, CA 95046-9301
BEVERLY HILLS, MI 48025-4239


RICK L RITENOUR                                     RICK VALENTINE & SANDRA VALENTINE JT TEN              RICKY A KLEIN
4449 289TH ST                                       503 131ST ST E                                        266 DONNA MAE
TOLEDO, OH 43611-1925                               BRADENTON, FL 34212                                   LEONARD, MI 48367-4210




RICKY J DEROSSETT                                   RICKY J HOLBROOK                                      RIELLE HINTON LEBEL
22159 179TH ST                                      PO BOX 190362                                         2524 148A ST
TONGANOXIE, KS 66086-4241                           BURTON, MI 48519-0362                                 SURREY BC
                                                                                                          V4P 1N8 CANADA



RITA CASTAGNA CUST FRED CASTAGNA                    RITA D VICK CUST MELISSA R SILVA UTMA WY              RITA ELLEN LEHR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          740 GOODSTEIN DR                                      177 107 AVE NE #1208
12 WHEATLEY RD                                      CASPER, WY 82601-6409                                 BELLEVUE, WA 98004-5930
GLEN HEAD, NY 11545-2906



RITA FACCENDA & JOSEPH F FACCENDA TR                RITA HUBACHER CUST JOHN J HUBACHER                    RITA L GOLDSTEIN
UA 02/21/1998 ROBERT D FACCENDA TRUST               U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT          66 WHITEFIELD AVE
87 CARAVEL DRIVE                                    4071 TIVOLI AVE                                       UNIT 100
BEAR, DE 19701                                      LOS ANGELES, CA 90066-5103                            OCEAN GROVE, NJ 07756-1286



RITA L LEVINE                                       RITA LANE CUST JEFFREY NEIL LANE                      RITA M MURZIN & ROBERT J MURZIN JT TEN
PO BOX 540125                                       A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS OF N J   PO BOX 174185
HOUSTON, TX 77254-0125                              1752 SPRINGFIELD AVENUE                               ARLINGTON, TX 76003-4185
                                                    MAPLEWOOD, NJ 07040-2929



RITA S LAYSTROM TR                                  RITA SCHNEIDER EX EST MORTIMER WEINERMAN              RITA SEVELL & WILLIAM HOLSTEIN JT TEN
UNDER THE RITA S LAYSTROM DECLARATION OF TRUST      7 FERN DR                                             260 FURNACE DOCK RD
10/26/93                                            JERICHO, NY 11753                                     CORTLANDT MNR, NY 10567-6508
2605 CRESTWOOD LANE
DEERFIELD, IL 60015-1904
                   09-50026-mg          Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                            Part 8 of 8 Pg 353 of 440
RITA WEINGART                                        RITA WELLS                                         RITA ZACHARY HOLDEN EXECUTORS ESTATE OF RODNEY B Z
2142 BRANDYWINE FALLS WAY                            11509 132ND ST E                                   & VIRGINIA B ZACHARY
ORLANDO, FL 32824-4300                               PUYALLUP, WA 98374                                 17816 EAGLE RIVER RD
                                                                                                        EAGLE RIVER, AK 99577-8377



ROBBIE J DEGRATE                                     ROBERT A BERNSTEIN                                 ROBERT A EBERLEIN
1601 165TH AVE #322                                  2804 MCKINLEY PL NW                                1610 ADAMS
SAN LEANDRO, CA 94578-3137                           WASHINGTON, DC 20015-1104                          SAGINAW, MI 48602-2501




ROBERT A EDELSTEIN                                   ROBERT A EDGAR & CARLEY S EDGAR TR                 ROBERT A FEIN
42 NEPTUNE STREET                                    ROBERT A & CARLEY S EDGAR TRUST UA 04/13/01        39 LINNAEAN ST
BEVERLY, MA 01915-4751                               2275 ATLAS ROAD                                    CAMBRIDGE, MA 02138-1511
                                                     DAVISON, MI 48423-8300



ROBERT A FERGUSON & RUTH L FERGUSON TR               ROBERT A FRIEDL                                    ROBERT A GARRETT
07/22/93 ROBERT A FERGUSON & RUTH L FERGUSON TRUST   2002 126TH ST                                      PO BOX 500044
2456 DEER TRAIL LANE                                 COLLEGE POINT, NY 11356-2320                       PALMDALE, CA 93550-0044
SPRING HILL, FL 34606-7054



ROBERT A HAAKE JR                                    ROBERT A HEINZ & DOLLY A HEINZ JT TEN              ROBERT A HUTH TR
C/O A J MFG CO                                       10401 ANDREWS                                      UA 10/20/2004 ROBERT ARTHUR HUTH REVOCABLE
PO BOX 270320T                                       ALLEN PARK, MI 48101-1296                          LIVINGTRUST
KANSAS CITY, MO 64127-0320                                                                              PO BOX 255
                                                                                                        CLARKSTON, MI 48347-0255


ROBERT A JAUCH & WINNIE B JAUCH & SHAWN R HUMPHREY TR
                                                    ROBERT A KEISMAN & ROBIN H KEISMAN TR               ROBERT A KLEIN & RITA KLEIN JT TEN
JAUCH FAMILY TRUST UA 10/03/02                      ROBERT A KEISMAN PROFIT-SHARING PLAN UA 01/01/91    137 HIAWATHA BLVD
710 DEAUVILLE DR                                    247 E 33RD ST APT 3D                                LAKE HIAWATHA, NJ 07034-2214
PUNTA GORDA, FL 33950-8725                          NEW YORK, NY 10016-4808



ROBERT A KLEINFELDER                                 ROBERT A KOBETIS & MARYELLEN KOBETIS TR            ROBERT A KURILLA & KATHLEEN E KURILLA TR
16630 E MASON RD                                     ROBERT A & MARYELLEN KOBETIS LIVING TRUST UA       ROBERT & KATHLEEN KURILLA REV TRUST UA 10/04/01
SIDNEY, OH 45365-9233                                12/26/94                                           4041 WALDON
                                                     14389 TOWERING OAKS DR                             LAKE ORION, MI 48360-1635
                                                     SHELBY TWP, MI 48315-1964


ROBERT A MALONEY CUST JOHN MICHAEL MALONEY           ROBERT A MATAR                                     ROBERT A MILLER & NINA MILLER TR
U/THE ILL UNIFORM GIFTS TO MINORS ACT                PT411 15081 FORD RD                                ROBERT A MILLER & NINA MILLER FAM TRUST
290 SCOTTSWOOD RD                                    DEARBORN, MI 48126                                 4000 S 25TH E
RIVERSIDE, IL 60546-2224                                                                                APT 151
                                                                                                        IDAHO FALLS, ID 83404-7672


ROBERT A MONSCHEIN                                   ROBERT A MORGANSTEIN & LISA A MORGANSTEIN JT TEN   ROBERT A PETRANEK & CARRIE K PETRANEK TR
110 W FOURTH                                         3736 WHEATSHEAF RD                                 UA 05/09/08 ROBERT A PETRANEK & CARRIE K
CHARLOTTE, MI 48813-2188                             HUNTINGDON VALLEY, PA 19006-2810                   9 S 541 CLARENDON HILLS RD
                                                                                                        WILLOWBROOK, IL 60527



ROBERT A REIFF CUST DONALD E REIFF                   ROBERT A REISTER & BETSY W REISTER TR              ROBERT A SHADER & PATRICIA R SHADER TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT           UA 02/12/91 ROBERT A REISTER AND BETSY W REISTER   ROBERT & PATRICIA SHADER REVOCABLE
2381 DELAWARE DR                                     TRUST                                              10603 PARKHURST CT
ANN ARBOR, MI 48103-6170                             755 COX LN                                         LOUISVILLE, KY 40291-5304
                                                     QUINCY, FL 32351-7672
                   09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                            Part 8 of 8 Pg 354 of 440
ROBERT A STEINMETZ                                   ROBERT A STONE & JOYCE M STONE TR                   ROBERT A TINICH
408 SUMMIT LN                                        ROBERT A STONE & JOYCE M STONE TRUST UA 02/22/94    469 CIRCLEWOOD DRIVE
BURNSVILLE, MN 55337-4051                            10161 GOLSIDE DR                                    VEINCE, FL 34293-7008
                                                     GRAND BLANC, MI 48439-9417



ROBERT A UNDERHILL                                   ROBERT A VANDENBOSCH CUST LISA MARIE VANDENBOSCH ROBERT A WILSIE
10301 214TH AVE NE                                   U/THE CAL UNIFORM GIFTS TO MINORS ACT            1960 121ST AVE NE
REDMOND, WA 98053-7649                               7081 BAIR AVE                                    BLAINE, MN 55449-5458
                                                     BEAR LAKE, MI 49614-9618



ROBERT A WOOD & BETTY L WOOD TR UA 04/15/94 ROBERT A WOOD
                                                      ROBERT& BETTY
                                                               ALAN STEIN
                                                                    L                                    ROBERT ALLAN BUGALSKI & BARBARA LOUISE BUGALSKI TR
PO BOX 410343                                         106 CEDERWOOD DR                                   BUGALSKI 1987 REVOCABLE TRUST 07/20/87
MELBOURNE, FL 32941-0343                              MONONGAHELA, PA 15063-1112                         185 LYNETTE DRIVE
                                                                                                         APTOS, CA 95003-3304



ROBERT ALLEN MCELHERON & MARY ANN MCELHERON TR       ROBERT ARTHUR STEIN JR CUST LYDIA ANNE STEIN UGMA MA ROBERT B COOLIDGE & A KNIGHT COOLIDGE TR
MCELHERON FAMILY REV TRUST UA 03/12/02               571 SALSBURY ST                                      THOMAS B COOLIDGE TR UA 12/23/75
2181 OLD HICKORY BLVD                                HOLDON, MA 01520-1427                                PO BOX 2
DAVISON, MI 48423-2045                                                                                    ROUND POND, ME 04564-0002



ROBERT B FEINBERG CUST FARRAH FEINBERG UTMA NJ       ROBERT B GELBORT CUST JAMES I GELBORT               ROBERT B GREENBLATT CUST EDWARD L GREENBLATT
2303 OAKHAM CRT                                      U/THE ILL UNIFORM GIFTS TO MINORS ACT               A MINOR UNDER THE LAWS OF THE STATE OF GEORGIA
MAHWAH, NJ 07430                                     858 W ARMITAGE 277                                  3257 TETON DR NW
                                                     CHICAGO, IL 60614-4329                              ATLANTA, GA 30339-4341



ROBERT B HUBBARD TR                                  ROBERT B JUDD CUST DAVE R JUDD                      ROBERT B LOUDON CUST THOMAS C LOUDON
MARITAL ONE TRUST CREATED UNDER THE HUBBARD          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          UNDER THE MISSOURI UNIF GIFTS TO MINORS LAW
TRUST UA 12/19/2005                                  23 WOODLAWN AVE                                     1451 MOHICAN TRAIL
12525 UTOPIA WAY                                     FAIRPORT, NY 14450-2155                             SAINT CHARLES, MO 63304-7323
SAN DIEGO, CA 92128


ROBERT B MCDONALD & DORIS L MCDONALD TR              ROBERT B MORRIS & BARBARA J MORRIS TR               ROBERT B RECTOR & ELIZABETH H RECTOR TR
MCDONALD LIVING TRUST UA 6/16/99                     UA 02/27/1997 MORRIS FAMILY TRUST                   UA 05/14/92 THE ROBERT B RECTOR TR
215 N MOORLAND DR                                    232 SWAZEY COURT                                    719 ASHFORD ROAD
BATTLE CREEK, MI 49015-3848                          ROSEVILLE, CA 95747                                 SHARPLEY
                                                                                                         WILMINGTON, DE 19803-2221


ROBERT B ROESSLER & SIBYLLE E ROESSLER TR            ROBERT B SEINAR                                     ROBERT B THORNTON CUST SHARON ELIZABETH THORNTON
ROBERT B ROESSLER TR U/DECL OF TR                    15491 EVE DRIVE                                     U/THE TEX UNIFORM GIFTS TO MINORS ACT
5167 BLUEMOUND RD                                    PO BOX 494                                          PO BOX 738
ROLLING HILLS ESTA, CA 90274-2301                    LINESVILLE, PA 16424-0494                           CUERO, TX 77954-0738



ROBERT B TRAUB CUST KATHALEEN A TRAUB                ROBERT B TRAUB CUST KIMBERLEE A TRAUB               ROBERT B TRAUB CUST RICHARD L TRAUB
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
44 WOODSTONE CT                                      520 QUAIL HOLLOW DRIVE #100                         520 QUAIL HOLLOW DR 100
BUFFALO GROVE, IL 60089-6757                         WHEELING, IL 60090-2651                             WHEELING, IL 60090-2651



ROBERT B TRAUB CUST ROBERT N TRAUB                   ROBERT B WINKELMAN & JUDITH M WINKELMAN TR          ROBERT BERGNER CUST ANDREW B BERGNER
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           ROBERT B WINKELMAN REVOCABLE TRUST UA 09/01/04      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
520 QUAIL HOLLOW DR #100                             375 DOUGLAS RD                                      8 HIGHLAND VIEW DR
WHEELING, IL 60090-2651                              BATAVIA, IL 60510-1310                              BAYVILLE, NY 11709-1808
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                             Part 8 of 8 Pg 355 of 440
ROBERT BERNSTEIN                                      ROBERT BOSKEN CUST DONALD BOSKEN                        ROBERT C ARMSTRONG
BOX 13                                                A MINOR PURS TO SECS 1339 /26 INCLUSIVE OF THE          5158 167TH ST W
CARMICHAEL, CA 95609-0013                             REVISED CODE OF OHIO                                    LAKEVILLE, MN 55044-6066
                                                      4514 LAKEVIEW CT
                                                      THOMASVILLE, NC 27360-5941


ROBERT C DANIELS CUST ROBERT C DANIELS JR             ROBERT C DAVIDEK & MARIE DAVIDEK TR                     ROBERT C GODFREY
U/THE MASS UNIFORM GIFTS TO MINORS ACT                ROBERT C DAVIDEK & MARIE J DAVIDEK TRUST UA 04/03/98    6604 110TH PL
PO BOX 199                                            G-5345 W COLDWATER RD                                   APT 2
BREWSTER, MA 02631-0199                               FLINT, MI 48504                                         SEBASTIAN, FL 32958-4762



ROBERT C GOURIEUX & SHARON M GOURIEUX & KEVIN R GOURIEUX
                                                   ROBERTTRC GRIFFIN                                          ROBERT C HOLAN & NANCY E HOLAN TR
GOURIEUX FAMILY TRUST UA 08/05/05                  MARYLAND CORRECTIONAL                                      ROBERT HOLAN & NANCY HOLAN LIVING TRUST UA 05/29/96
358 CONSTITUTION ST                                INSTITUTION HAGERSTOWN #182382                             3212 WORMER
CANTON, MI 48188-6600                              18601 ROXBURY RD                                           WATERFORD, MI 48329-2566
                                                   HAGERSTOWN, MD 21746-1000


ROBERT C JERVIS & MARJORIE M JERVIS TR                ROBERT C JORDAN & CAROL A JORDAN JT TEN                 ROBERT C KEVIN & R C MILLER TR
UA 07/07/93 ROBERT C JERVIS & MARJORIE M              35 A EASTON DR                                          MILLER ENGINEERING CO INC PP UA 09/21/77 ROBERT C
15161 FORD RD APT 510                                 WHITING, NJ 08759-2083                                  MILLER
DEARBORN, MI 48126-4652                                                                                       BOX 23565
                                                                                                              PHOENIX, AZ 85063-3565


ROBERT C KEVIN & R C MILLER TR                        ROBERT C LIND & VIRGINIA F LIND TR                      ROBERT C MC CULLOUGH CUST JANICE ANN MC CULLOUGH
MILLER ENGINEERING CO INC PSP UA 09/21/77 ROBERT C    ROBERT C LIND & VIRGINIA F LIND FAM TRUST # 2 UA        U/THE MICH UNIFORM GIFTS TO MINORS ACT
MILLER                                                06/18/97                                                305 VAN ETTEN STREET
BOX 23565                                             909 W 3RD ST                                            PINCONNING, MI 48650-9316
PHOENIX, AZ 85063-3565                                JAMESTOWN, NY 14701-4613


ROBERT C MORRISS & MILDRED C MORRISS TR               ROBERT C NESS & DARLENE M NESS TR                       ROBERT C PRIEBE & DORETTA R PRIEBE TR
ROBERT C & MILDRED C MORRISS JOINT LIVING TRUST UA    ROBERT C & DARLENE M NESS JOINT LIV TRUST UA 09/12/00   UA 11/06/2007 ROBERT C PRIEBE & DORETTA R PRIEBE
03/09/00                                              8034 SHADY OAK                                          9997 HILLCREST
PO BOX 7577                                           SYLVANIA, OH 43560-4225                                 LIVONIA, MI 48150
INDIAN LAKES EST, FL 33855-7577


ROBERT C SCHEITHAUER CUST CHRISTOPHER PAUL SCHEITHAUER
                                                  ROBERT C WACKER                                             ROBERT C WELLES & SYLVIA F WELLES TR
U/THE PA U-G-M-A                                  & JANINA S WACKER INDENTURE TRUST ROBERT & JANINA           UNDER DECLARATION OF TRUST 01/26/89
13765 GRANDVIEW DR                                WACKER UA 10/04/01                                          BOX 199
SOMERSET, MI 49281                                14811 PLEASANT RIDGE CT                                     PINE VALLEY, CA 91962-0199
                                                  CHESTERFIELD, MO 63017


ROBERT CARROLL GLASHEEN & MARIE COLLINS GLASHEEN TRROBERT CEPPOS CUST RICHARD CEPPOS                          ROBERT CHO
UA 04/04/79 ROBERT GLASHEEN & MARIE                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT                 205-210 E 2ND ST
PO BOX 9655                                        1281 COUNTRY SQUARE DR                                     NORTH VANCOUVER
SAN DIEGO, CA 92169-0655                           ANN ARBOR, MI 48103                                        BRITISH COLUMBIA BC
                                                                                                              V7M 1C6 CANADA


ROBERT CHRISTIAN NELSON & MARIAN K NELSON TR          ROBERT CLARK HUNTER SR CUST ROBERT CLARK HUNTER JRROBERT D BRADLEY & LOUISE J BRADLEY TR
UA 11/01/90 ROBERT C NELSON & MARIAN K NELSON TRUST   U/THE CALIF UNIFORM GIFTS TO MINORS ACT           ROBERT D BRADLEY & LOUISE J BRADLEY TRUST UA
PO BOX 601                                            645 VERNA                                         04/30/02
RUSTBURG, VA 24588-0601                               NEWBURY PARK, CA 91320-2145                       25408 FARMBROOK
                                                                                                        SOUTHFIELD, MI 48034-1167


ROBERT D CLAXTON                                      ROBERT D DEW & VERONICA J DEW TR                        ROBERT D FRITZ CUST LOWELL WILLIAM FRITZ
17921 142ND                                           ROBERT D & VERONICA J DEW LIVING TRUST 03/14/97         A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y
WINCHESTER, KS 66097                                  23142 S ROSEDALE CT                                     2532 234TH PL SW
                                                      ST CLAIR SHORES, MI 48080-2617                          LYNNWOOD, WA 98036-8342
                   09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                          Part 8 of 8 Pg 356 of 440
ROBERT D HEINS                                     ROBERT D KAEGEBEIN                                   ROBERT D MCKAY & NANCY C MCKAY TR
8910 KINLOCH                                       645 SMOKY MT VIEW DR                                 ROBERT D MCKAY & NANCY C MCKAY TRUST UA 5/5/98
REDFORD, MI 48239-1827                             SEVIERVILLE, TN 37862                                5069 PRENTIS
                                                                                                        TROY, MI 48098-3455



ROBERT D MELVIN & MARJORIE M MELVIN TR             ROBERT D OAKLEY CUST DAVID D OAKLEY                  ROBERT D PARKE & MARGERY M PARKE TR
UA 04/15/92 THE ROBERT D MELVIN & MARJORIE M       U/THE TEXAS UNIFORM GIFTS TO MINORS ACT              UA 08/01/94 ROBERT D PARKE & MARGERY M PARKE REV
720 GOLF VIEW DR                                   1805 WINDSOR WOOD DR                                 LIV
CORNVILLE, AZ 86325-4842                           ROSWELL, GA 30075-1753                               11205 CEDAR COVE LN
                                                                                                        CLARKSTON, MI 48348-2464


ROBERT D SHOPTAW & CAROLE J SHOPTAW TR             ROBERT D SHOPTAW & CAROLE J SHOPTAW TR               ROBERT D SNYDER & ELAINE SNYDER TR
SHOPTAW FAMILY REVOCABLE TRUST UA 05/14/04         SHOPTAW FAMILY REVOCABLE TRUST UA 05/14/04           UA 02/20/92 ROBERT D SNYDER & ELAINE SNYDER TRUST
371 OSPREY COURT                                   371 OSPREY CT                                        7465 SUSSEX DRIVE
FORT BRAGG, CA 95437-3948                          FORT BRAGG, CA 95437-3948                            CANTON, MI 48187-2235



ROBERT D TENGROTH CUST DAVID R TENGROTH            ROBERT DAVID GORDON SR CUST ROBERT DAVID GORDON JRROBERT DAWSON
U/THE ILL UNIFORM GIFTS TO MINORS ACT              U/THE TEXAS UNIFORM GIFTS TO MINORS ACT           PO BOX 431001
PO BOX 277                                         3304 SHELLBROOK CT                                PONTIAC, MI 48343-1001
FALL BRANCH, TN 37656-0277                         ARLINGTON, TX 76016-2063



ROBERT DONALD BRADLEY & LOUISE JOSPHINE BRADLEY TR ROBERT E BAKER CUST CHARLES S BAKER                  ROBERT E BENNETT & JANYCE N BENNETT TR
ROBERT DONALD BRADLEY REV LIVING TRUST UA 04/30/02 U/THE PA UNIFORM GIFTS TO MINORS ACT                 UA 12/16/92 BENNETT FAMILY TRUST
25408 FARM BROOK                                   92 SUMMER ST                                         2772 ANGELL AVE
SOUTHFIELD, MI 48034-1167                          LISBON FALLS, ME 04252-9730                          SAN DIEGO, CA 92122-2105



ROBERT E BIDWELL CUST ROBERT B BIDWELL             ROBERT E BREILING & JOAN S BREILING TR               ROBERT E CLARK & BETTY E CLARK TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         THE ROBERT E BREILING TRUST UA 11/22/95              ROBERT E CLARK & BETTY E CLARK REV LIV TRUST UA
BOX 61                                             765 NE 35TH ST                                       06/03/99
AQUEBOGUE, NY 11931-0061                           BOCA RATON, FL 33431-6133                            176 W MILLERTON RD
                                                                                                        SCOTTVILLE, MI 49454-9662


ROBERT E COOMBE & WILLIAM D COOMBE TR              ROBERT E CRAMER & JOYCE E CRAMER TR                  ROBERT E DESJARDINS & CHRISTINE A DESJARDINS TR
UA 06/28/1979 HESTER E COOMBE TRUST                CRAMER FAM REV LIV TRUST UA 01/04/00                 DESJARDINS TRUST UA 08/21/03
609 E CR 200 N                                     208 CLEARWATER CT                                    7601 HASHLEY ROAD
ARCOLA, IL 61910                                   ENGLEWOOD, OH 45322-2255                             MANCHESTER, MI 48158-9406



ROBERT E DURFEE & DOROTHY A DURFEE TR              ROBERT E GILL CUST JEFFREY T GILL                    ROBERT E GUNNOE & MICHELE B GUNNOE TR
ROBERT E & DOROTHY A DURFEE REVOCABLE              U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT         ROBERT E GUNNOE TRUST UA 07/16/88 AMENDED 09/22/90
10 ALLDS ST APT 116                                101 BULLITT LN                                       10421 FLINT ST
NASHUA, NH 03060-4778                              STE 450                                              OVERLAND PARK, KS 66214-2654
                                                   LOUISVILLE, KY 40222-5474


ROBERT E HARMON                                    ROBERT E HILL & MARGARET M HILL TR                   ROBERT E HOFFMANN
PO BOX 384618                                      ROBERT E HILL & MARGARET M HILL FAMILY TRUST UA      PO BOX 190727
WAIKOLOA, HI 96738-4618                            02/02/90                                             SAINT LOUIS, MO 63119-6727
                                                   32124 VILLAGE 32
                                                   CAMARILLO, CA 93012-7161


ROBERT E MANGURIAN CUST TONY S U MANGURIAN         ROBERT E MANLEY                                      ROBERT E MANSELL
U/THE CALIF UNIFORM GIFTS TO MINORS ACT            & KATHLEEN D MILBURN & DEBORAH A GDULA & CYNTHIA E   342 COUNTY ROAD 107 107
75 THOMPSON ST APT 12                              SIEFERT JT TEN                                       KILLEN, AL 35645-8106
NEW YORK, NY 10012-4329                            19713 ALPIN DRIVE
                                                   LAWRENCEBURG, IN 47025-7945
                    09-50026-mg             Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                           Part 8 of 8 Pg 357 of 440
ROBERT E MCKILLICAN & DORIS I MCKILLICAN TR         ROBERT E RALSTON & VIOLET B RALSTON TR             ROBERT E SCHMITZ & PATRICIA ANN SCHMITZ TR
UA 04/13/92 R MCKILLICAN & DORIS MCKILLICAN TRUST   ROBERT E & VIOLET B RALSTON TRUST UA 03/18/02      ROBERT E & PATRICIA ANN SCHMITZ TRUST UA 3/21/97
6220 LAGUNATIS AVE                                  PO BOX 13                                          50 WINGATE COURT
ELCERRITO, CA 94530-1567                            SPRINGDALE, UT 84767-0013                          OSWEGO, IL 60543-7922



ROBERT E SEIBERT & MERILYN M SEIBERT TR             ROBERT E SHANNON & NANCY J SHANNON TR              ROBERT E SMITH & ELIZABETH J SMITH TR
ROBERT E & MARILYN M SEIBERT REV LIV TRUST UA       SHANNON FAMILY REVOCABLE LIVING TRUST UA 8/25/05   UA SMITH REVOCABLE TRUST 03/31/89
09/13/02                                            2850 ELMWOOD DR                                    8814 S LAKESHORE RD
6358 STATE ROUTE 727                                ADRIAN, MI 49221-4129                              HARBOR BEACH, MI 48441-8801
GOSHEN, OH 45122-9537


ROBERT E SWARD CUST PAUL E SWARD                    ROBERT E VALENTINE JR                              ROBERT E WEINEL
A MINOR UNDER ARTICLE 8-A OF THE PERS PROP LAW OF   PO BOX 751383                                      11175 HEMPLE RD
NEW YORK                                            MEMPHIS, TN 38175-1383                             FARMERSVILLE, OH 45325-9215
PO BOX 59
NORWALK, CT 06856-0059


ROBERT E WEINERT                                    ROBERT E WHITMIRE CUST GARY R WHITMIRE             ROBERT EBERBACH JR & PATRICK EDWARD CAVANAGH TR
4703 MEADOWGREEN DRIVE                              U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         UW FLORA STUART GARMANY
PITTSBURGH, PA 15236-1848                           9170 SADDLEHORN DR                                 232 MC NEIL ST
                                                    FLUSHING, MI 48433-1214                            SAYVILLE, NY 11782-2249



ROBERT EINBINDER                                    ROBERT EINBINDER & MONA EINBINDER JT TEN           ROBERT ELLIOT WEINER
748 PEPPERVINE AVE                                  213 HUNTER AVE                                     9 LORRAINE DR
JACKSONVILLE, FL 32259-5272                         NORTH BABYLON, NY 11703-4718                       PINE BROOK, NJ 07058-9449




ROBERT F BAYER & MRS VIRGINIA E BAYER JT TEN        ROBERT F BLANCHARD CUST STEPHEN C BLANCHARD        ROBERT F BROWN
PO BOX 230615                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT              PO BOX 291730
FAIR HAVEN, MI 48023-0615                           4045 BIRKSHIRE HTS                                 PORT ORANGE, FL 32129-1730
                                                    FORT MILL, SC 29708



ROBERT F DONEHOO JR CUST MARTIN VENSON DONEHOO      ROBERT F DOW JR CUST ROBERT THOMAS DOW             ROBERT F EDGERTON & ELIZABETH L EDGERTON TR
UNDER THE FLORIDA GIFTS TO MINORS ACT               U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT       UA EDGERTON FAMILY LIVING TRUST 07/26/91
2409 SURRY RD NW                                    14 CLEARVIEW DR                                    341 35TH AVE E
WILSON, NC 27896-1378                               TINTON FALLS, NJ 07724-2704                        SEATTLE, WA 98112-4923



ROBERT F FALBERG & CARROL M FALBERG TR              ROBERT F GRAY CUST ROBERT F GRAY JR                ROBERT F HARRIS
UA 12/15/2003 ROBERT F FALBERG & CARROL M           U/THE MICH UNIFORM GIFTS TO MINORS ACT             12 HOFFHEINES DR
32606 OLD POST RD                                   2721 PASEO DEL MAR                                 NEW FREEDOM, PA 17349-9686
BEVERLY HILLS, MI 48025                             PALOS VERDES ESTS, CA 90274-4315



ROBERT F JACKSON                                    ROBERT F KASPERLIK                                 ROBERT F KEYES
4 B MASON LN                                        0-101518TH AVE                                     3621 109TH STREET
WHITING, NJ 08759-1912                              GRAND RAPIDS, MI 49504                             PLEASANT PRAIRIE, WI 53158-4103




ROBERT F KLEIN                                      ROBERT F MCVICKER & BARBARA MCVICKER TR            ROBERT F REINELT
10784 EASTERN AVE                                   UA 04/21/94 DARBY MARIE MCVICKER TRUST             9011 TARTAN DR
WAYLAND, MI 49348-9609                              6722 ELMERS COURT                                  CLARKSTON, MI 48348-2455
                                                    WORTHINGTON, OH 43085-2976
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                             Part 8 of 8 Pg 358 of 440
ROBERT F RUCZYNSKI TR ROBERT F RUSZYNSKI TRUST UA 07/21/80
                                                     ROBERT F SCHMITT & JEANETTE M SCHMITT TR            ROBERT F SHAFFER & VIRGINIA L SHAFFER TR
BOX 182193                                           SCHMITT FAM REV LVG TRUST UA 2/1/02                 ROBERT F SHAFFER TRUST UA 10/12/99
SHELBY TWP, MI 48318-2193                            1644 CHARTWELL DRIVE                                380 SILVER CREEK RD
                                                     CENTERVILLE, OH 45459-1462                          WADSWORTH, OH 44281-9002



ROBERT F SPAIN & BLANCHE C SPAIN TR                   ROBERT F STEVENSON & VIRGINIA M STEVENSON TR       ROBERT FLAHERTY & MATTIE A FLAHERTY TR
UNDER REV T/A 08/20/85 WHEREIN ROBERT F SPAIN &       & SUCC TTEE UA 11/11/93 THE ROBERT F               UNDER TRUST AGREEMENT 09/18/85 FLAHERTY TRUST
BLANCHE                                               6216 HUMBOLDT EATON TOWN LINE RD                   32612 SEA ISLAND DR
249 BURTMAN DRIVE                                     LUXEMBURG, WI 54217-9341                           DANA POINT, CA 92629-3641
TROY, MI 48083-1004


ROBERT FRAZIER JR                                     ROBERT FREEMAN CUST LISA LEE FREEMAN               ROBERT G BISCIOTTI
PO BOX 401255                                         U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT       P O BOX # 550248
REDFORD, MI 48240-9255                                18 BRENTWOOD RD                                    DAVIE, FL 33355
                                                      MATAWAN, NJ 07747-3721



ROBERT G BOZARTH CUST MICHAEL DONOVAN BOZARTH         ROBERT G CARROLL CUST KATHRYN ANN CARROLL          ROBERT G DUTTON & HELEN L DUTTON TR
U/THE CAL UNIFORM GIFTS TO MINORS ACT                 U/THE CONN UNIFORM GIFTS TO MINORS ACT             UA 3/26/92 THE DUTTON FAMILY 1992 TRUST
5200 IRVINE BLVD 428                                  75 LANTERN HILL                                    3670 CINDY'S TRL
IRVINE, CA 92620-2002                                 NEWINGTON, CT 06111-3415                           CARSON CITY, NV 89705-6830



ROBERT G GLOVER & MARGARET S GLOVER TR                ROBERT G HERTZ & ELIZABETH J HERTZ TR              ROBERT G MARTIN & FRANCES MARTIN TR
ROBERT G & MARGARET S GLOVER JOINT LIVING TRUST UA    ROBERT G & ELIZABETH J HERTZ REV FAMILY TRUST UA   ROBERT G MARTIN & FRANCES MARTINREV
9/25/03                                               05/28/93                                           10457 CLINGMAN ST
6811 GALVIN RD                                        1774 KARAMEOS CT                                   SPRING HILL, FL 34608-5019
TRAVERSE CITY, MI 49684-8681                          SUNNYVALE, CA 94087-5262


ROBERT G MCKINNEY & PAMELA F MCKINNEY TR              ROBERT G MITCHELL CUST GRANT CLARK MITCHELL        ROBERT G MITCHELL CUST LARRAINE ANN MITCHELL
UA 10/17/07 MCKINNEY FAMILY TRUST                     U/THE IND UNIFORM GIFTS TO MINORS ACT              U/THE IND UNIFORM GIFTS TO MINORS ACT
2206 BOLTON ST                                        12386 MELROSE CIRCLE                               3409 CEDAR LANE
SAINT CHARLES, MO 63301-1008                          FISHERS, IN 46038-3037                             LAFAYETTE, IN 47905-3909



ROBERT G MITCHELL CUST THOMAS ROBERT MITCHELL         ROBERT G ODLE & LILLIAN G ODLE JT TEN              ROBERT G PEARSON & DOROTHY J PEARSON TR
U/THE IND UNIFORM GIFTS TO MINORS ACT                 14313 189TH WAY NE                                 THE ROBERT & DOROTHY PEARSON LIVING TRUST UA
3409 CEDAR LANE                                       WOODINVILLE, WA 98072-6347                         01/14/00
LAFAYETTE, IN 47905-3909                                                                                 6353 LAROCQUE CIRCLE
                                                                                                         LANSING, MI 48917-9740


ROBERT G SCHUMACHER                                   ROBERT G SCHWENKE & DIANA A SCHWENKE TR            ROBERT G SIMENSKY CUST JOHN G SIMENSKY
1947 136TH AVENUE                                     ROBERT G SCHWENKE LIVING TRUST UA 08/06/98         U/THE PA UNIFORM GIFTS TO MINORS ACT
DORR, MI 49323-9584                                   24878 GOLDFINCH DR                                 1120 SIXTH AVE
                                                      NEVIS, MN 56467-4006                               FORD CITY, PA 16226-1218



ROBERT G STARKE & THERESA G STARKE TR                 ROBERT G STEINBACH                                 ROBERT G WALKER TR
ROBERT G & THERESA G STARKE REVOCABLE TRUST UA        7427 BURKE RD                                      ROBERT G WALKER MARITAL DEDUCTION DECLARATION OF
7/18/03                                               JAMESVILLE, NY 13078-9693                          TRUST UA 07/11/96
73 NORTH 600 EAST                                                                                        40W824 WHITNEY RD
GREENTOWN, IN 46936-8772                                                                                 ST CHARLES, IL 60175-8545


ROBERT G WILLIAMS & MARY T WILLIAMS TR                ROBERT GUILLAUME                                   ROBERT H BEHRENS CUST DAVID CALVERT BEHRENS
ROBERT G & MARY T WILLIAMS FAMILY TRUST UA 05/13/99   13004 130TH ST                                     U/THE S D UNIFORM GIFTS TO MINORS LAW
1420 CURCI DR                                         S OZONE PARK, NY 11420-3410                        315 LANDSHIRE CT
UNIT 132                                                                                                 OSWEGO, IL 60543-8706
SAN JOSE, CA 95126-3978
                   09-50026-mg           Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                              Part 8 of 8 Pg 359 of 440
ROBERT H BEHRENS CUST MISS BOBBIE JO BEHRENS           ROBERT H BERNARD CUST WILLIAM BERNARD               ROBERT H BURSTEIN CUST JOHN ROBERT BURSTEIN UGMA P
U/THE S D UNIFORM GIFTS TO MINORS LAW                  U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          BURSTEIN COMPANY
BOX 1936                                               17125 WEST WOODLAND DRIVE                           99 SEAVER ST
SOLDATNA, AK 99669-1936                                GRAYSLAKE, IL 60030-3040                            BROOKLINE, MA 02445-5753



ROBERT H CLEWLOW & MARGUERITE T CLEWLOW TR             ROBERT H CRAM CUST CATHERINE S CRAM                 ROBERT H ECKENSTEIN
ROBERT H & MARGUERITE T CLEWLOW TRUST OF 1992 UA       U/THE PA UNIFORM GIFTS TO MINORS ACT                77 DAYTON RD
10/14/92                                               190 BRYANT ST D                                     FLEMINGTON, NJ 08822-1531
200 WYNDEMERE CIRCLE                                   BUFFALO, NY 14222-2005
WHEATON, IL 60187-2424


ROBERT H GRISWOLD & JOHN H GRISWOLD TR                 ROBERT H HULL & GEORGIA J HULL TR                   ROBERT H JOSEPH CUST ROBERT HENRY JOSEPH JR
UW MARGARET H GRISWOLD /RESIDUARY TRUST/               HULL FAMILY REVOCABLE LIVING TRUST UA 04/14/00      U/THE CAL UNIFORM GIFTS TO MINORS ACT
2380 FORT HILL RD                                      1143 SPRINGVIEW DR                                  PO BOX 17160
PHELPS, NY 14532-9643                                  FLUSHING, MI 48433-1433                             SOUTH LAKE TAHOE, CA 96151-7160



ROBERT H LADEWIG & BETTY A LADEWIG TR                  ROBERT H LUCIO CUST CRAIG L LUCIO                   ROBERT H MEYER & DONALD J MEYER TR
LADEWIG REVOCABLE LIVING TRUST UA 08/16/00             U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        UW OF LEONORE B MEYER FBO SISTERRUTH ANN MEYER
32421 NORCHESTER                                       2603 PHELAN LN                                      TR
BEVERLY HILLS, MI 48025-3049                           REDONDO BEACH, CA 90278-2129                        ATTN MARSH MINZING & METZNER
                                                                                                           PO BOX 363
                                                                                                           DELPHOS, OH 45833-0363

ROBERT H MILLER JR TR                                  ROBERT H OLSON & SADIE F OLSON TR                   ROBERT H QUICK & MRS NORMA Y QUICK JT TEN
ROBERT H MILLER JR TRUST UA 01/26/00 KATHLEEN MILLER   THE ROBERT H OLSON FAMILY REVOCABLE TR              5324 195TH AVE E
TR KATHLEEN                                            8638 WILMOT CT                                      BONNY LAKE
16 SIESTA DR                                           ELK GROVE, CA 95624-3136                            BONNEY LAKE, WA 98391
HANNIBAL, MO 63401-6554


ROBERT H RUBY CUST ROBERT H RUBY JR                    ROBERT H RUMPLIK CUST JEFFREY SCOTT RUMPLIK         ROBERT H SCHUSTER & DOROTHY D SCHUSTER TR
U/THE WASH UNIFORM GIFTS TO MINORS ACT                 U/THE N Y UNIFORM GIFTS TO MINORS ACT               ROBERT H SCHUSTER LIVING TRUST UA 03/21/00
1710 E KINCAID ST                                      4 REGINA DR                                         5600 ROLLING HILLS DRIVE
MOUNT VERNON, WA 98274-4560                            SAYVILLE, NY 11782-2402                             ROCHESTER, MI 48306-2238



ROBERT H SIMPSON                                       ROBERT H VAN OSDOL & HELEN M VAN OSDOL TR           ROBERT HAGAN
6504 290TH ST                                          ROBERT H & HELEN M VAN OSDOL TRUST UA 03/09/94      PO BOX 250588
BRANFORD, FL 32008-2597                                211 OAK DR                                          AGUABILLA
                                                       WEST LIBERTY, OH 43357-9522                         AGUADILLA PR
                                                                                                           604 PUERTO RICO


ROBERT HALL & NANCY A WAMSLEY TR                       ROBERT HANSEN & MARY KATHLEEN HANSEN TR             ROBERT HARRINGTON
WALTER D HALL LIVING TRUST UA 02/02/95                 REVOCABLE LIVING TRUST 01/10/92 U-A ROBERT HANSEN   3266 BENSTEIN RD
PO BOX 23                                              4028 ROUNDING BEND LN                               MILFORD, MI 48382-1900
TROY, MI 48099-0023                                    WILMINGTON, NC 28412-7378



ROBERT HOFFMAN & MARGARET M HOFFMAN TR                 ROBERT HORSTMEYER CUST GUY G HORSTMEYER             ROBERT HOWARD SCHNABEL CUST ROBERT PATRICK SCHNA
UA 09/13/83 HOFFMAN FAMILY TRUST                       U/THE OHIO UNIFORM GIFTS TO MINORS ACT              UNDER THE SOUTH DAKOTA UNIFORM GIFTS TO MINORS
476 SIERRA LEAF CIR                                    7196 BUCNELL DRIVE S W                              LAW
RENO, NV 89511-2052                                    FT MYERS, FL 33908                                  10 MURRAY AVE
                                                                                                           ANNAPOLIS, MD 21401-2818


ROBERT HUNT CUST ROBERT J HUNT JR                      ROBERT HURWITZ CUST CHERYL HURWITZ                  ROBERT HURWITZ CUST RHONDA HURWITZ
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                 U/THE MASS UNIFORM GIFTS TO MINORS ACT              U/THE MASS UNIFORM GIFTS TO MINORS ACT
9003 MEDITERRA PL                                      418-71 QUINAQUISETT AVE                             17826 DEARVILLE LN
DUBLIN, OH 43016-6103                                  MASHPEE, MA 02649                                   BOCA RATON, FL 33496
                   09-50026-mg               Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                              Part 8 of 8 Pg 360 of 440
ROBERT I BRUNKOW & MARILYN P BRUNKOW TR                ROBERT IRA PATCHIN & DORIS JEAN PATCHIN TR          ROBERT IRVING WOLMAN & SHIRLEY GOTTLIEB WOLMAN TR
ROBERT I BRUNKOW & MARILYN P BRUNKOW REVOCABLE         UA 09/17/87 PATCHIN FAMILY TRUST                    WOLMAN FAMILY TRUST UA 08/20/90
W3786 TOWN CENTER                                      18223 KROSS ROAD                                    760 HAWK HILL TRAIL
JUDA, WI 53550-9783                                    RIVERSIDE, CA 92508                                 PALM DESERT, CA 92211



ROBERT J AMRHEIN                                       ROBERT J BARBER & JOAN Y BARBER TR                  ROBERT J BERNDT TR
1763 SWEETWATER W CIRCLE                               ROBERT J BARBER & JOAN Y BARBER TRUST UA 03/24/90   ROBERT J BERNDT & MARGOT M BERNDT FAM BYPASS
APOPKA, FL 32712-2481                                  39040 9 MILE RD                                     TRUST C UA 03/30/95
                                                       NORTHVILLE, MI 48167-9012                           11 DEL RIO COURT
                                                                                                           MORAGA, CA 94556-2031


ROBERT J BERNDT TR                                     ROBERT J BLASK & MARTHA H BLASK TR                  ROBERT J BOOTH & CAROL M BOOTH TR
ROBERT J BERNDT & MARGOT M BERNDT FAM TRUST UA         ROBERT J BLASK & MARTHA H BLASK LIVING TRUST UA     UA 05/11/94 ROBERT J BOOTH & CAROL M BOOTH REV JOINT
03/30/95                                               1/11/90                                             5091 PARO DR
11 DEL RIO CT                                          4206 CORNWALL DR                                    FLINT, MI 48506-1525
MORAGA, CA 94556-2031                                  BERKLEY, MI 48072-1659


ROBERT J BRUNSHIDLE & DOROTHY C BRUNSHIDLE TR          ROBERT J CARPENTER CUST SALLY SUE CARPENTER         ROBERT J CHARTIER
UA 07/24/08 ROBERT J BRUNSHIDLE & DOROTHY C            U/THE CALIF UNIFORM GIFTS TO MINORS ACT             & BEVERLY J CHARTIER & JULIE A CHARTIER & LISA
4037 INDIAN RIVER DRIVE                                42 CREAM POT RD                                     RICHTIG JT TEN
COCOA, FL 32927                                        HARTLAND, VT 05048-8138                             225 WILSON AVE
                                                                                                           KINGSFORD, MI 49802-3833


ROBERT J CONNER CUST ROBERT J CONNER JR                ROBERT J DODDS                                      ROBERT J FEINBERG
U/THE WEST VIRGINIA GIFTS TO MINORS ACT                PO BOX 152333                                       5281 NE 18TH TER
381 LAKEVIEW DR                                        AUSTIN, TX 78715-2333                               FORT LAUDERDALE, FL 33308-3113
MORGANTOWN, WV 26508-8080



ROBERT J FINTA & NORMA J FINTA TR                      ROBERT J FRANKOVICH & MARYANN G FRANKOVICH TR       ROBERT J GAWNE & MARLENE L GAWNE TR
ROBERT J FINTA & NORMA J FINTA REV TRUST UA 11/17/00   FRANKOVICH LIVING TRUST UA 04/29/98                 ROBERT & MARLENE GAWNE TRUST UA 12/13/93
7337 STATE RD 60 EAST LOT # 24                         331 OLD BLACKSMITH ROAD                             1050 ARROWHEAD DR
LAKE WALES, FL 33898-9292                              SIX MILE, SC 29683                                  BURTON, MI 48509-1420



ROBERT J JACOBS JR                                     ROBERT J JONES                                      ROBERT J KOSTER
746 STEINER ROAD                                       RT 1 BOX 433                                        785 144TH
MONROE, MI 48162-9413                                  BLUEFILED, VA 24605-9761                            WAYLAND, MI 49348-9733




ROBERT J LENDERS & SHAREEN K LENDERS TR                ROBERT J LOCKYEAR & PATRICIA L B LOCKYEAR TR        ROBERT J LOWRY & MARILYN A LOWRY TR
UA 11/9/93 SHAREEN K LENDERS TRUST                     UA 11/09/2007 LOCKYEAR REVOCABLE TRUST              ROBERT J LOWRY REVOCABLE TRUST UA 2/3/97
1726 BERKSHIRE                                         1016 THIRD STREET NORTH                             539 WARREN AVE
GLADWIN, MI 48624-8620                                 STILLWATER, MN 55082                                FLUSHING, MI 48433-1461



ROBERT J MCCALL & VIRGINIA M MCCALL TR                 ROBERT J MILLER & ANJA O MILLER TR                  ROBERT J PALBICKI
ROBERT & VIRGINIA MCCALL TRUST UA 11/09/92             ROBERT & ANJA MILLER LIVING TRUST UA 02/06/03       6724 114 CIRCLE NORTH
16975 SHERBORNE AVE                                    1611 STARDUST DR                                    CHAMPLIN, MN 55316-2809
ALLEN PARK, MI 48101-3136                              WAUKESHA, WI 53186-2670



ROBERT J REINHARDT                                     ROBERT J REINING                                    ROBERT J RICKELMAN & MARY E RICKELMAN TR
3356 SUMMERSET CT                                      7701 CEDAR CREEK CIR                                RICKELMAN FAMILY REVOCABLE FAMILY TRUST UA 10/16/00
WHEATFIELD, NY 14120-1276                              CRP CHRISTI, TX 78413                               10300 GRANGER RD
                                                                                                           APT 106
                                                                                                           CLEVELAND, OH 44125-3171
                    09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                           Part 8 of 8 Pg 361 of 440
ROBERT J ROTH JR & BETTY L COURTNEY ROTH TR         ROBERT J RUBINSTEIN                                  ROBERT J SCHREINER CUST ROBERT J SCHREINER JR
ROBERT ROTH & BETTY ROTH TRUST UA 07/17/98          1061 TABOR HILL AVE                                  U/THE MICH UNIFORM GIFTS TO MINORS ACT
13019 W CASTLEBAR DR                                HENDERSON, NV 89014-8034                             488 COLIN CIR
SUN CITY WEST, AZ 85375-3257                                                                             ANN ARBOR, MI 48103-6609



ROBERT J SLAIS & LINDA S SLAIS TR                   ROBERT J STEIN                                       ROBERT J STREICHER & ALICE E STREICHER TR
ROBERT & LINDA SLAIS REV LIVING TRUST UA 02/06/96   1883 SPENCER ST                                      ROBERT J STREICHER & ALICE E STREICHER REV TRUST UA
3727 WALSH RD                                       TOLEDO, OH 43609-3021                                2/1/00
LEWISTON, MI 49756-8703                                                                                  905 WEST FAIRY CHASM RD 101
                                                                                                         BAYSIDE, WI 53217-1611


ROBERT J VARTOOGIAN CUST CHRISTINE ANN VARTOOGIAN UNDERTHE
                                                   ROBERT J WISCONSIN
                                                            WEINER                                       ROBERT J WEINSTEIN
U-G-M-A                                            15 BAKER RD                                           6 THORNWOOD DR
1225 ELLEN AVE                                     GLOVERSVILLE, NY 12078-1105                           FLOSSMOOR, IL 60422-1950
MADISON, WI 53716-1536



ROBERT J WRIGHT                                     ROBERT J YOUNG CUST CAROL ANN YOUNG                  ROBERT J YOUNG CUST DONNA MARIE YOUNG
1803 120 AVE                                        U/THE PA UNIFORM GIFTS TO MINORS ACT                 U/THE PA UNIFORM GIFTS TO MINORS ACT
ALLEGAN, MI 49010-9541                              2917 CLAYTON ST                                      2917 CLAYTON ST
                                                    EASTON, PA 18045-2522                                EASTON, PA 18045-2522



ROBERT JACKSON & SHIRLEEN JACKSON TR                ROBERT JEROME MACIEJEWSKI TR                         ROBERT JOHN CESTARO CUST ROBERT FRANK CESTARO
ROBERT JACKSON LIVING TRUST UA 07/07/95             REVOCABLE TRUST 10/11/91 U-A ROBERT JEROME           U/THE N Y UNIFORM GIFTS TO MINORS ACT
316 CASTELL AVE                                     MACIEJEWSKI                                          10050 38TH WAY
ROCHESTER, MI 48307                                 313 99 TWIN OAKS DRIVE                               PINELLAS PARK, FL 33782
                                                    CHESTERFIELD, MI 48047


ROBERT JOHN FISCHESSER & MAXINE JULIA FISCHESSER TR ROBERT JOHNSON                                       ROBERT JOSEPH PHILLIPS TR
UA 11/20/2007 ROBERT & MAXINE FISCHESSER            201 1556 CHARLES ST                                  LIVING TRUST 07/12/89 U-A F-B-O ROBERT JOSEPH PHILLIPS
4425 RYBOLT RD                                      VANCOUVER BC                                         3525 TURTLE CREEK BLVD 17-D
CINCINNATI, OH 45248-1421                           V5L 2T1 CANADA                                       DALLAS, TX 75219-5518



ROBERT K BRENKE TR                                  ROBERT K GRINNELL                                    ROBERT K HOWE & JEAN R HOWE TR
THE ROBERT K BRENKE REVOCABLE LIVING TRUST UA       3138 122ND AVE                                       UA 12/20/93 THE ROBERT K HOWE & JEAN R HOWE
03/15/02                                            ALLEGAN, MI 49010-9510                               10232 BELLEFONTAINE ROAD
1112 SUMMERGREEN LN UNIT 17                                                                              ST LOUIS, MO 63137-2306
LANSING, MI 48917-9283


ROBERT K HUNG CUST HERWIN C HUNG                    ROBERT K SPANGLER & THERESA M SPANGLER & KRISTINE M HARRISON
                                                                                                        ROBERT K TRUSSLER
                                                                                                                   TR       & PATRICIA A TRUSSLER TR
U/THE HAWAII UNIFORM GIFTS TO MINORS ACT            SPANGLER FAMILY TR UA 11/16/95                      UA 04/23/2009 ROBERT K TRUSSLER & PATRICIA A
810 8TH AVE                                         68 3890 LUA KULA ST UNIT 1402                       45632 KLINGKAMMER STREET
HONOLULU, HI 96816-2114                             WAIKOLOA, HI 96738-5723                             UTICA, MI 48317



ROBERT K WILLIS                                     ROBERT KENNETH MONK CUST THOMAS EDWARD MONK          ROBERT KENNETH MONK CUST WILLIAM ROBERT MONK
1706-555 MAYFAIR AVE                                U/THE CONN UNIFORM GIFTS TO MINORS ACT               U/THE CONN UNIFORM GIFTS TO MINORS ACT
OSHAWA ON                                           144 MORNINGSIDE CT                                   144 MORNINGSIDE CT
L1G 6Z8 CANADA                                      SHELTON, CT 06484-4347                               SHELTON, CT 06484-4347



ROBERT KIRKMAN SUCESSOR TR                          ROBERT KORB & MARY LOU KORB TR                       ROBERT L ABBOTT & BARBARA A ABBOTT & ROBERT L ABBOTT
UA 10/22/92 ERNEST R KIRKMAN REVOCABLE TRUST        ROBERT & MARY LOU KORB REVOCABLE LIV TRUST UA        ABBOTT FAMILY TR UA 04/04/01
9330 ROSELAWN                                       11/08/94                                             2903 GRAFTON ROAD
DETROIT, MI 48204-2749                              10565 E CHERRY BEND RD                               GRAFTON, OH 44044-1040
                                                    TRAVERSE CITY, MI 49684-5245
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                            Part 8 of 8 Pg 362 of 440
ROBERT L BAYLESS III & NANCY L BAYLESS TR            ROBERT L BLUNT & VIRGINIA R BLUNT TR                  ROBERT L BORLAND & BETTY LOU BORLAND TR
UA 1/19/93 THE ROBERT & NANCY BAYLESS FAMILY TRUST   ROBERT L & VIRGINIA R BLUNT TRUST UA 11/28/95         BORLAND FAMILY TRUST UA 03/29/88
3500 E LINCOLN DR                                    109 ELIZABETH STREET                                  112 TOPAZ
PHOENIX, AZ 85018-1010                               EFFINGHAM, KS 66023-4032                              BALBOA ISLAND, CA 92662-1025



ROBERT L BUNDY & GENEVIEVE M BUNDY TR                ROBERT L BUTLER & SANDRA G BUTLER TR                  ROBERT L CLINKSCALES
ROBERT L BUNDY & GENEVIEVE M BUNDY REV TRUST UA      UA 03/07/90 ROBERT L BUTLER & SANDRA G BUTLER TRUST   PO BOX 681922
6/8/99                                               3120 N HILLS                                          FRANKLIN, TN 37068-1922
5388 APPLE HILL                                      ADRIAN, MI 49221-9559
FLUSHING, MI 48433-2401


ROBERT L COLLETT & JOAN C COLLETT TR                 ROBERT L CRAMER CUST MICHAEL J CRAMER                 ROBERT L GOLDSTEIN
ROBERT L & JOAN C COLLETT REV TRUST UA 9/23/02       U/THE N Y UNIFORM GIFTS TO MINORS ACT                 6828 N BARNETT LANE
323 MARACA                                           6003 ENGLISH OAK DR                                   MILWAUKEE, WI 53217-3601
PORT CHARLOTTE, FL 33983-5544                        ARLINGTON, TX 76016-1018



ROBERT L GOODWIN & EVA M GOODWIN TR                  ROBERT L GOODWIN & EVA M GOODWIN TR                   ROBERT L HEIN
R&E GOODWIN REVOCABLE TRUST UA 06/12/03              ROBERT L & EVA M GOODWIN REV TRUST UA 06/12/03        3219 W PROVINCIAL LN
5272 WILLIAMSON RD                                   5272 WILLIAMSON RD                                    BELOIT, WI 53511-8849
MARION, NY 14505-9343                                MARION, NY 14505-9343



ROBERT L HERRON & RUTH L HERRON TR                   ROBERT L KATTREH & PATRICIA L KATTREH TR              ROBERT L KELLEMS & BARBARA J KELLEMS TR
ROBERT & RUTH HERRON REVOCABLE TRUST UA 11/16/98     ROBERT & PATRICIA KATTREH REVOCABLE LIV TRUST UA      ROBERT L KELLEMS & BARBARA J KELLEMS REV TRUST UA
101 JOSEPH DR APT 402                                12/15/03                                              03/06/00
MIDLAND, MI 48642                                    6350 QUEENS CT                                        1998 S LEE KAY DR
                                                     FLUSHING, MI 48433-3523                               ROCKVILLE, IN 47872


ROBERT L KLEIN                                       ROBERT L LUNDBLAD                                     ROBERT L MCLENNAN
1 FIRST AVE                                          PO BOX 161166                                         PO BOX 310207
SOUTH FERNDALE                                       MIAMI, FL 33116-1166                                  DETROIT, MI 48231
GLEN BURNIE, MD 21061



ROBERT L MORGAN & HELEN J MORGAN TR                  ROBERT L MOSER                                        ROBERT L NORTON SR & LOUISE M NORTON TR
ROBERT & HELEN MORGAN REV LV TRUST UA 02/05/01       4709 MEINING RD                                       UA 06/16/08 ROBERT & LOUISE NORTON LIVING
21922 W 120TH ST                                     BERTHOUD, CO 80513-7934                               341 EAST ROAD
OLATHE, KS 66061-5670                                                                                      BROAD BROOK, CT 06016



ROBERT L POHL                                        ROBERT L REHBEIN III CUST BRANDON R REHBEIN UTMA MD ROBERT L RICE & BERNICE V RICE TR
4385 050 ROAD                                        17 SKYLINE DR                                       ROBERT L RICE & BERNICE V RICE TRUST UA 05/26/94
PAONIA, CO 81428                                     CONOWINGO, MD 21918-1505                            1401 OAKBROOK EAST
                                                                                                         ROCHESTER HILLS, MI 48307-1127



ROBERT L SIMMONS & MILDRED M SIMMONS TR              ROBERT L SKILLMAN & BARBARA A SKILLMAN TR             ROBERT L SLYE
SIMMONS FAM REVOCABLE LIVING TRUST UA 8/06/98        SKILLMAN FAMILY TRUST UA 04/26/04                     7401 KUHLWEIN RD
4078 FREEMAN AVENUE                                  18052 W TIERRA DEL SOL DR                             GALLOWAY, OH 43119-9367
HAMILTON, OH 45015-1922                              SURPRISE, AZ 85387-6407



ROBERT L STANTON & JOAN S STANTON TR                 ROBERT L STEINBROOK CUST ERIC A STEINBROOK UTMA MA ROBERT L STEINEKER
ROBERT L STANTON & JOAN S STANTON REV LVG TRU        8 PEIRCE HILL RD                                   7814 CROWN TOP ROAD
UA5/15/98                                            LINCOLN, MA 01773-3202                             LOUISVILLE, KY 40241-2702
43 CEDAR SWAMP RD
TOLLAND, CT 06084-3609
                   09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                         Part 8 of 8 Pg 363 of 440
ROBERT L THOMAS                                   ROBERT L VANDERSCORS & DORIS P VANDERSCORS TR        ROBERT L VON STEIN
1206 103RD AVE                                    ROBERT L VANDERSCORS LIVING TRUST UA 09/07/95        403 S E 21 PLACE
OAKLAND, CA 94603-3111                            717 NEW HAMPSHIRE                                    VERO BEACH, FL 32962-8304
                                                  MARYSVILLE, MI 48040-1296



ROBERT L WAGNER                                   ROBERT L WALTER TR ROBERT L WALTER TRUST UA 03/27/98 ROBERT L WEGNER & MARY L WEGNER TR
24129 147TH ST                                    WHITEHORSE VILLAGE                                   WEGNER REVOCABLE LIVING TRUST UA 04/07/94
LEAVENWORTH, KS 66048-6339                        V192 535 GRADYVILLE RD                               1246 MONROE AVE
                                                  NEWTOWN SQUARE, PA 19073                             RACINE, WI 53405-2837



ROBERT L WILKINS SR CUST ROBERT L WILKINS JR      ROBERT L WILLIAMS & BETTY J WILLIAMS JT TEN          ROBERT L WOLFERSBERGER & ROBERT D WOLFERSBERGER
U/THE KY UNIFORM GIFTS TO MINORS ACT              PO BOX 121372                                        UA 06/16/89 THE WOLFERSBERGER FAM
2405 DOUGLASS GLEN LANE                           CLERMONT, FL 34712-1372                              5304 DILLARD CT
FRANKLIN, TN 37064-6752                                                                                OROVILLE, CA 95966-3803



ROBERT LEROY HARRIS & ELEANOR MAE HARRIS TR       ROBERT LEWIS VARNER CUST JON ROBERT VARNER           ROBERT LISKA CUST ROBERT PATRICK LISKA
ROBERT L & ELEANOR M HARRIS REV LIVING TRUST UA   U/THE PA UNIFORM GIFTS TO MINORS ACT                 U/THE ILL UNIFORM GIFTS TO MINORS ACT
10/07/01                                          SLIGO, PA 16255                                      1908 RESERVE CT
6915 TODD RD                                                                                           FLOWER MOUND, TX 75028-8314
AVON, IN 46123-9540


ROBERT LISKA CUST WILLIAM MICHAEL LISKA           ROBERT LOUIS EMERALD CUST CHRISTOPHER ROBERT EMERALD
                                                                                                   ROBERT M BATT CUST DONNA E BATT
U/THE ILL UNIFORM GIFTS TO MINORS ACT             UNDER THE NEW YORK U-G-M-A                       U/THE IDAHO UNIFORM GIFTS TO MINORS ACT
712 W ALDINE                                      25151 IROQUOIS COURT                             PO BOX 220194
CHICAGO, IL 60657-3412                            BARRINGTON, IL 60010-1104                        ANCHORAGE, AK 99522-0194



ROBERT M BROWN CUST DEANNA MERLE BROWN            ROBERT M BUBEL & MARY L BUBEL TR                     ROBERT M CHANDLER & FLORENCE R CHANDLER TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT           ROBERT M & MARY L BUBEL LIVING TRUST UA 7/18/01      UA 05/19/94 ROBERT M & FLORENC R CHANDLER
29775 WOODBROOK DRIVE                             10425 COUNTESS DR                                    REVOCABLE TRUST
AGOURA HILLS, CA 91301-4445                       DALLAS, TX 75229-5972                                1905 W CROWN POINTE BLVD
                                                                                                       NAPLES, FL 34112-3648


ROBERT M COGEN CUST LISA ANN COGEN                ROBERT M CURTIS TR                                   ROBERT M CYPERS CUST LISA LYNN CYPERS
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT        UA 06/05/03 CHRISTOPHER O FISHER SPECIAL NEEDS       U/THE CALIF UNIFORM GIFTS TO MINORS ACT
PO BOX 672622                                     TRUST                                                555 S BARRINGTON AVE
CHUGIAK, AK 99567-2622                            9261 PEKIN RD                                        APT 209
                                                  NOVELTY, OH 44072                                    LOS ANGELES, CA 90049-4350


ROBERT M DAUGHERTY & SANDRA A DAUGHERTY TR        ROBERT M DAVENPORT CUST AMY CONGER DAVENPORT         ROBERT M DAVIDSON SR & LUELLA J DAVIDSON TR
U-D/DTD 9/3/93 THE DAUGHERTY FAMILY               U/THE TEXAS UNIFORM GIFTS TO MINORS ACT              UA 01/13/94 DAVIDSON SR TRUST
66 PROMONTORY POINT                               BOX 3511                                             310 CAPSTAN CT
RENO, NV 89509-8001                               MIDLAND, TX 79702-3511                               REDWOOD CITY, CA 94065-1024



ROBERT M GORDON CUST WILLIAM M GORDON             ROBERT M HOCK                                        ROBERT M MERRYMAN & NAOMI O MERRYMAN TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT            PO BOX 100486                                        UNDER DECLARATION OF TRUST 08/20/90
151 SHORE DRIVE                                   STATEN ISLAND, NY 10310-0486                         FOX RUN
WINTHROP, MA 02152-1203                                                                                41140 FOX RUN RD APT 104
                                                                                                       NOVI, MI 48377


ROBERT M PALTER TR                                ROBERT M PEREZ                                       ROBERT M PERRY TR MARGARET ALLEN GETHING MEMORIAL
GEOFFREY MEYER PALTER A MINOR U/DECL OF TRUST     3617 175TH PL                                        PO BOX 830233
12/8/55                                           HAMMOND, IN 46323-2910                               SAN ANTONIO, TX 78283-0233
7404 TOWN CENTER BLVD APT 1101
ROSENBERG, TX 77471-6238
                     09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                          Part 8 of 8 Pg 364 of 440
ROBERT M PETERSON                                  ROBERT M RAMEY & ALTA RAMEY JT TEN                   ROBERT M REINSTROM
2892 BENSTEIN                                      24889 352 ND AVE                                     723 BRAINERD ROAD
WALLED LAKE, MI 48390-1102                         TUKWANA, SD 57370-6518                               EXTON, PA 19341-1911




ROBERT M ROSENTHAL CUST BROOKE ROSENTHAL           ROBERT M STAUDACHER & VIRGINIA E STAUDACHER TR       ROBERT M WEINTRAUB TR UA 01/15/02 ROBERT M WEINTRAUB
U/THE D C UNIFORM GIFTS TO MINORS ACT              UA 03/21/92 ROBERT M STAUDACHER & VIRGINIA E         9 NANTUCKET
1100 S GLEBE ROAD                                  2712 WEST 89TH PLACE                                 ST LOUIS, MO 63132-4111
ARLINGTON, VA 22204-4309                           EVERGREEN PARK, IL 60805-1304



ROBERT M WILLIAMS CUST ELIZABETH BRAY WILLIAMS     ROBERT MATT CUST DALE R MATT                         ROBERT MICHAEL BEINSTEIN
U/THE MO UNIFORM GIFTS TO MINORS ACT               U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT           26 FAIRVIEW ST
16 LA HACIENDA                                     6812 PRAIRIEVIEW AVE                                 SIMSBURY, CT 06070-2127
ST LOUIS, MO 63124                                 WOODRIDGE, IL 60517-1826



ROBERT MILLER CUST KENNETH MILLER                  ROBERT MITCHELL BORSTEIN                             ROBERT MORTON & WILMA G MORTON TR
U/THE MISSOURI UNIFORM GIFTS TO MINORS LAW         9508 RISING SUN AVE                                  ROBERT MORTON REVOCABLE LIVING TRUST UA 6/24/95
PO BOX 811                                         PHILADELPHIA, PA 19115-3008                          8119 ACKLEY RD
OSAGE BEACH, MO 65065-0811                                                                              PARMA, OH 44129-4915



ROBERT MURPHY JR & NEILA C MURPHY TR               ROBERT N CANN & ROBERT N CANN JR & JUDITH C CARPENTERROBERT
                                                                                                         TR      N CHAMBERS & EVA CHAMBERS TR
ROBERT MURPHY JR & NEILA C MURPHY LIVING TRUST     ROBERT N CANN TRUST UA 02/15/95                      UA 12/23/2002 ROBERT N & EVA CHAMBERS LIVING
896 UNION RD                                       60 DARTMOUTH COURT                                   2959 BUNTING DR
XENIA, OH 45385-7212                               BEDFORD, MA 01730-2908                               WEST BRANCH, MI 48661



ROBERT N COHN & PAMELA D COHN TR                   ROBERT N CZECHANSKI & MARILYN A CZECHANSKI TR        ROBERT N PRINCIPATO CUST ROBERT N PRINCIPATO JR
ROBERT COHN FAMILY LIVING TRUST UA 11/05/91        CZECHANSKI FAMILY LIVING TRUST UA 10/19/99           U/THE MASS UNIFORM GIFTS TO MINORS ACT
1114 GREENBRIAR DR                                 1608 PARKWOOD RD                                     PO BOX 463
MUSKEGON, MI 49445-2046                            LAKEWOOD, OH 44107-4722                              WILMOT, NH 03287



ROBERT N WINKLE CUST NELSON R WINKLE               ROBERT O BERNSTEIN CUST BENJAMIN H BERNSTEIN UTMA CAROBERT O BERNSTEIN CUST ROBERT O BERNSTEIN UTMA CA
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             PO BOX 13                                           PO BOX 13
1440 PARROT LANE                                   CARMICHAEL, CA 95609-0013                           CARMICHAEL, CA 95609-0013
SARDINIA, OH 45171-9581



ROBERT O GUTWEIN                                   ROBERT ORENSTEIN CUST NAOMI F ORENSTEIN UTMA MA      ROBERT P COON
3270 FANLEAF DRIVE                                 20 FAIRLAND CIR ROAD #2                              PO BOX 930116
MISSISSAUGA ON                                     SOUTH DENNIS, MA 02660-1907                          WIXOM, MI 48393-0116
L5N 7C8 CANADA



ROBERT P FINNERTY & LILLIAN C FINNERTY TR          ROBERT P HALLERAN & DONNA G HALLERAN TR              ROBERT P HOLLAENDER CUST DOUGLAS HOLLAENDER
UNDER DECLARATION OF TRUST 07/27/90                UA 10/05/09 HALLERAN REVOCABLE TRUST                 U/THE OHIO UNIFORM GIFTS TO MINORS ACT
891 PROSPECT HEIGHTS                               14709 PATRICK HENRY RD                               1251 NILLES RD UNIT 19
SANTA CRUZ, CA 95065-1413                          N FT MYERS, FL 33917                                 FAIRFIELD, OH 45014-7205



ROBERT P KROHN & SUE RINGROSE KROHN JT TEN         ROBERT P LASSITER & NINA L LASSITER TR               ROBERT P MC GEARY & SHIRLEY C MC GEARY JT TEN
PO BOX 881755                                      LASSITER LIVING TRUST UA 7/18/01                     5212 REINHARDT
STEAMBOAT SPRINGS, CO 80488-1755                   1608 NATCHEZ RD                                      SHAWNEE MISSION, KS 66205-1559
                                                   EDMOND, OK 73003-3624
                   09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                          Part 8 of 8 Pg 365 of 440
ROBERT P ROBBE                                     ROBERT P SMITHWICK & LESSIE C SMITHWICK TR      ROBERT P WHITNEY TR
13837 136TH                                        SMITHWICK FAMILY REVOCABLE TRUST UA 05/10/00    STEPHEN JAMES WHITNEY UA 12/21/55 AND KNOWN AS
GRAND HAVEN, MI 49417-9706                         250 SPRUCE AVE                                  TRUST NO 202
                                                   MERRITT ISLAND, FL 32953-4363                   10639 S CALIFORNIA AVE
                                                                                                   CHICAGO, IL 60655-1715


ROBERT PITRE JR CUST MICHELE MARIE PITRE           ROBERT POTTERS                                  ROBERT R FLICKINGER & JOAN L FLICKINGER TR
A MINOR U/THE LA GIFTS TO MINORS ACT               PO BOX 1620 1620                                UA 04/06/07 FLICKINGER TRUST NO 1
5214 PITRE DR                                      SUN VALLEY, ID 83353-1620                       6603 WINDSONG WAY
CROWN POINT, LA 70072                                                                              LANSING, MI 48917



ROBERT R FLICKINGER & JOAN L FLICKINGER TR         ROBERT R FRAME CUST ROBERT MORGAN FRAME         ROBERT R HENRICH & MARLA J HENRICH TR
UA 04/06/2007 FLICKINGER TRUST NO 1                U/THE PA UNIFORM GIFTS TO MINORS ACT            HENRICH FAM REVOCABLE TRUST UA 08/19/95
6603 WINDSONG WAY                                  972 MIDWAY CANDOR RD                            5472 BRECKENRIDGE AVE
LANSING, MI 48917                                  BULGER, PA 15019                                BANNING, CA 92220-7155



ROBERT R HUNT & IRENE A HUNT TR                    ROBERT R MICUE                                  ROBERT R OAKLAND & CATHERINE L MOORE TR
ROBERT & IRENE A HUNT TRUST UA 10/22/01            BOX 378661                                      UA 10/17/2008 ROBERT R OAKLAND TRUST
3169 WEST SHIQWASSEE                               KEY LARGO, FL 33037-8661                        5194 MUSTANG WAY
FENTON, MI 48430-1763                                                                              ORLANDO, FL 32810



ROBERT R RANKIN & JUDITH C RANKIN TR               ROBERT R SEAMAN & ZELDA B SEAMAN TR             ROBERT R SIEMERS CUST GAIL ELIZABETH SIEMERS
RANKIN REVOCABLE LIVING TRUST UA 10/23/98          ROBERT R & ZELDA B SEAMAN REV LIVING TRUST UA   U/THE N J UNIFORM GIFTS TO MINORS ACT
829 9TH AVE S #16 PALMWOOD EST                     7/14/97                                         1207 MONMOUTH BLVD
N MYRTLE BEACH, SC 29582-3488                      9311 WHIPPLE SHORE DR                           WALL, NJ 07719-4229
                                                   CLARKSTON, MI 48348-2161


ROBERT R SIEMERS CUST ROBERT MICHAEL SIEMERS       ROBERT R WILSON & HELEN K WILSON TR             ROBERT RAYMOND LA BUTE TR
U/THE N J UNIFORM GIFTS TO MINORS ACT              WILSON FAM NOMINEE TRUST UA 09/15/96            ROBERT RAYMOND LA BUTE INTER-VIVOS TRUST UA
1207 MONMOUTH BLVD                                 BOX 606                                         02/10/95
WALL, NJ 07719-4229                                SOUTH WELLFLEET, MA 02663-0606                  37660 RHONSWOOD DR
                                                                                                   NORTHVILLE, MI 48167-9750


ROBERT ROSE PADGETT & IRENE GOOCH PADGETT TR       ROBERT ROSEN CUST SALLY ANNE ROSEN              ROBERT RUDENSTEIN
1981 REV TR UA 02/25/82 ROBERT &IRENE PADGETT      U/THE N J UNIFORM GIFTS TO MINORS ACT           1331 MEDFORD ROAD
31 SANBORN AVE                                     PO BOX 2057                                     WYNNEWOOD, PA 19096-2418
WEST ROXBURY, MA 02132-3817                        AMAGANSETT, NY 11930-2057



ROBERT S BLOCKSTEIN                                ROBERT S CLARK CUST SUSAN ELIZABETH CLARK       ROBERT S DOWNS CUST ROBERT S DOWNS JR
100 WYNNWOOD DR                                    A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y   U/THE PA UNIFORM GIFTS TO MINORS ACT
PITTSBURGH, PA 15215-1548                          3 SOUTHFIELD DR                                 47 MOSS CREEK LOOP
                                                   SUSSEX, NJ 07461-3037                           MARRELLS INLET, SC 29576



ROBERT S FOSTER & JANE G FOSTER TR                 ROBERT S GOLDBERG CUST LARRY P GOLDBERG         ROBERT S GRUMIEAUX & ROSE MARIE GRUMIEAUX TR
ROBERT S FOSTER LIV TRUST UA 01/30/98              U/THE MASS UNIFORM GIFTS TO MINORS ACT          THE ROBERT A GRUMIEAUX & ROSE MARIE
23 GRINNEL DR                                      35 GERALD ROAD                                  932 COUNTRY COVE LANE
CAMP HILL, PA 17011-7716                           MARBLEHEAD, MA 01945-2068                       VINCENNES, IN 47591-6851



ROBERT S HANSON & MARGARET E HANSON TR             ROBERT S HEINTZ                                 ROBERT S HINTON & MRS JEANETTE E HINTON JT TEN
HANSON FAM LIVING TRUST UA 09/09/94                38 LOCUST AVE                                   9307 W 150 150TH STREET
2263 FERNLEAF LN                                   DUMONT, NJ 07628-3515                           OVERLAND PARK, KS 66221-2510
COLUMBUS, OH 43235-2752
                    09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                          Part 8 of 8 Pg 366 of 440
ROBERT S KLEIN                                     ROBERT S MORROW & LORRAINE A MORROW TR                ROBERT S POVEY & IRENE M POVEY TR
445 VANDALIA                                       UA 2/8/00 ROBERT S MORROW & LORRAINE                  THE ROBERT S & IRENE M POVEY TRUST UA3/25/03
CULVER, IN 46511-1717                              6535 STEELE HWY                                       1530 EAST NORTH SHORE DRIVE
                                                   EATON RAPIDS, MI 48827-8019                           TEMPE, AZ 85283-2162



ROBERT S SPILLETT & GWENNA F SPILLETT TR           ROBERT S STEIN CUST STEVEN ELLIOT STEIN A UGMA MA     ROBERT S TUCKER
THE ROBERT S & GWENNA F SPILLETTREV LIVING TRUST   2715 PENNSYLVANIA AVE S E                             4606 228TH ST SW
UA 08/12/03                                        WASHINGTON, DC 20020-3928                             MOUNTLAKE TERRACE, WA 98043-4427
181 E PARK ST
FLUSHING, MI 48433-1563


ROBERT SCOTT BAROUCH                               ROBERT SEPULVEDA & MARCELINA M SEPULVEDA TR           ROBERT SISKIN & HARRIET SISKIN TR
809 197TH AVE SE                                   UA 09/27/07 R & M SEPULVEDA TRUST                     UA 04/01/2006 ROBERT SISKIN & HARRIET SISKIN
SAMMAMISH, WA 98075-7499                           3329 N REYNOLDS                                       15432 ROSAIRE LN
                                                   MESA, AZ 85215-0734                                   DELRAY BEACH, FL 33484



ROBERT SOMERSTEIN CUST ALAN SOMERSTEIN             ROBERT SONTAG & MARIAN SONTAG TR                      ROBERT STANTON
U/THE ILL UNIFORM GIFTS TO MINORS ACT              SONTAG FAMILY TRUST OF 1987 UA 05/05/87               33818 133RD AVENUE S E
13000 SW 104TH CT                                  PO BOX 1690                                           AUBURN, WA 98092-8579
MIAMI, FL 33176-5504                               SAN JUAN CAPISTRAN, CA 92693-1690



ROBERT STEINGUT                                    ROBERT STEVEN ARMSTRONG TR                            ROBERT SUTHERLAND & GLORIA SUTHERLAND TR
APT 2A                                             ROBERT STEVEN ARMSTRONG LIVING TRUST UA 7/29/99       ROBERT & GLORIA SUTHERLAND LIVING
344 WEST 72ND ST                                   2221 HEDGE                                            2133 FOX HILL DR
NEW YORK, NY 10023-2635                            WATERFORD, MI 48327-1139                              STERLING HEIGHTS, MI 48310-3549



ROBERT T BEEZLEY CUST ROBERT A BEEZLEY             ROBERT T BEEZLEY CUST SPENCER T BEEZLEY               ROBERT T CORDREY & NANCY E CORDREY TR
UNDER MO UNIFTRANSFERS TO MINORS LAW               UNDER MO TRANSFERS TO MINORS LAW                      CORDREY FAMILY REVOCABLE LIVING TRUST UA 01/11/02
1200 E WOODHURST ROOM 200                          1200 E WOODHURST ROOM 200                             1645 PARKVIEW CT
SPRINGFIELD, MO 65804-4257                         SPRINGFIELD, MO 65804-4257                            MARCUS HOOK, PA 19061-6803



ROBERT T DEINER                                    ROBERT T GIVENS SR & VERTRILLA GIVENS TR              ROBERT T HALCROW
4712 MEADOWVIEW RD                                 UA 03/19/93 GIVENS FAM REV LIV TR                     PO BOX 300162
MARIANNA, FL 32446-1801                            5207 ABINGTON RD                                      DRAYTON PLAINS, MI 48330-0162
                                                   BLACK JACK, MO 63033-7404



ROBERT T HAZELTINE & LORRAINE HAZELTINE TR         ROBERT T MILLER CUST MARK R MILLER                    ROBERT T MIYASHIRO & MARGARET S MIYASHIRO TR
HAZELTINE FAM TRUST UA 09/09/94                    U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT           UA 12/19/85 MIYASHIRO FAMILY TRUST
105 DEL NORTE VISTA WAY                            1102 COUNTY HIGHWAY D                                 2786 AINA LANI DR
FULGOM, CA 95630-2143                              OREGON, WI 53575                                      MAKAWAO, HI 96768-8404



ROBERT TIMOTHY LICHTENSTEIN                        ROBERT URBAN & ELIZABETH K URBAN TR URBAN TRUST # I   ROBERT V EBERSTEIN & MRS BARBARA L EBERSTEIN TEN COM
91 FERRIS ST                                       1302 LISK DR                                          103 WEST ST BOX 93
SOUTH RIVER, NJ 08882-1842                         BAY CITY, MI 48708-8483                               SCHOOLCRAFT, MI 49087-0093




ROBERT V FRIEDHOFF & RITA M FRIEDHOFF TR           ROBERT V GONZALES                                     ROBERT V QUINLAN CUST KAREN ELAINE QUINLAN
UA 11/13/92 ROBERT V FRIEDHOFF TRUST               PO BOX 430946                                         U/THE IND UNIFORM GIFTS TO MINORS ACT
14750 LAKE SIDE CIRCLE 219                         PONTIAC, MI 48343-0946                                1065 SUN VALLEY DR
STERLING HEIGHT                                                                                          WOODLAND PARK, CO 80863-9013
STERLING HTS, MI 48313
                       09-50026-mg         Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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ROBERT VAN DANELZEN CUST PAUL WILLIAM DANELZEN      ROBERT VEINOVICH                                       ROBERT W BANKS
U/THE ILL UNIFORM GIFTS TO MINORS ACT               5647 GLEN HILL DR                                      PO BOX 410991
8631 MAIDEN LANE                                    BETHEL PARK, PA 15102-3315                             KANSAS CITY, MO 64141-0991
KANSAS CITY, MO 64114-3089



ROBERT W BARTLOMIEJ & PATRICIA J BARTLOMIEJ TR      ROBERT W BAUM CUST JUDY ANN BAUM                       ROBERT W BEITLER ET AL TR
BARTLOMIEJ LIVING TRUST UA 02/03/97                 U/THE KANSAS UNIFORM GIFTS TO MINORS ACT               RESIDUARY BYPASS TRUST ULW&T OF RENEE G BEITLER
3620 LACOMB RD                                      408 BRENTWOOD BLVD                                     UA 10/24/97
ALPENA, MI 49707-9447                               LAFAYETTE, LA 70503-4016                               1613 WETHERSFIELD DRIVE
                                                                                                           ALLENTOWN, PA 18104-1600


ROBERT W BRANDT CUST ANDREW DOLE BRANDT             ROBERT W BRANDT CUST MISS MARIANNE KINNEY BRANDT       ROBERT W CHESTNUTT & DOROTHY E CHESTNUTT TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE MICH UNIFORM GIFTS TO MINORS ACT                 UA 05/04/90 ROBERT W CHESTNUTT &DOROTHY E
126 HAMILTON AVE                                    42739 VERSAILLES                                       315 MALCOLM DRIVE
PLYMOUTH, MI 48170-2156                             CANTON, MI 48187-2341                                  PASADENA, CA 91105-1451



ROBERT W CHRISTENSON & MARY J CHRISTENSON TR        ROBERT W CLOUSE & BARBARA J CLOUSE TR                  ROBERT W DECELLE TR
ROBERT & MARY CHRISTENSON FAM TRUST UA 06/06/00     UA 09/05/2007 CLOUSE FAMILY TRUST                      ROBERT W DECELLE REVOCABLE LIVING TRUST UA 10/10/85
2462 JOHNSON AVE                                    24348 BLACKMAR                                         6464 DEER RIDGE DR
SAN LUIS OBISPO, CA 93401-5350                      WARREN, MI 48091                                       CLARKSTON, MI 48348-2802



ROBERT W EVANS JR                                   ROBERT W GRIESENBECK & GERALDINE B GRIESENBECK TR      ROBERT W GRIMSHAW & ALICE S GRIMSHAW TR
654 195TH AVE                                       UA 07/20/2006 CLYDE A GRIESENBECK FAMILY TRUST         GRIMSHAW FAMILY TRUST UA 10/17/05
PELLA, IA 50219-7508                                510 HUNTERS PARK LANE                                  705 STRATHMORE DR
                                                    HOUSTON, TX 77024                                      MODESTO, CA 95355-4417



ROBERT W HARE CUST WILLIAM S HARE                   ROBERT W HAWKSLEY & LOIS H HAWKSLEY TR                 ROBERT W HINES & PAULINE HINES TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          UA 12/09/2009 HAWKSLEY REVOCABLE FAMILY TRUST          UA 02/25/93 THE HINES FAMILY REVOCABLE LIVING TRUST
170 PACIFIC ST                                      1 ORCHARD WAY                                          2838 SOUTH PENNSYLVANIA
MASSAPEQUA PARK, NY 11762-2314                      CHEPACHET, RI 02814                                    INDIANAPOLIS, IN 46225-2323



ROBERT W HIRTZEL & PATRICIA A HIRTZEL TR            ROBERT W JONES TR                                      ROBERT W KLEIN & DIANA L KLEIN JT TEN
UA 03/10/89 ROBERT W HIRTZEL & PATRICIA A HIRTZEL   UA 04/11/2003 CLARENCE R & MAURINE J ELDRIDGE LIVING   6286 N RIDGE RD
TRUST                                               TRUST                                                  PENTWATER, MI 49449-9558
1861 OHIO S W                                       6320 NE 165TH COURT
HURON, SD 57350-3830                                KENMORE, WA 98028


ROBERT W KOHLUS & JILL K BENTON TR                  ROBERT W LIEBLEIN                                      ROBERT W MEYER & LELA COE MEYER TR
UA 03/07/2005 WARREN G & NORMA K KOHLUS FAMILY      2181 MORRISON AVE                                      UA 08/10/88 ROBERT W MEYER AND LELA COE
4 ELMS LANE                                         LAKEWOOD, OH 44107-5721                                2040 COWPER STREET
WADING RIVER, NY 11792                                                                                     PALO ALTO, CA 94301-3809



ROBERT W MILLER & MARILYN J MILLER TR               ROBERT W ODROBINAK & MISS SADETH ROMAN JT TEN          ROBERT W OGILVIE & ESTHER F OGILVIE TR
ROBERT & MARILYN MILLER LIVING TRUST UA 08/19/03    2041 LINCOLN AVENUE                                    OGILVIE REVOCABLE TRUST UA 10/10/97
6665 HWY 13-73                                      WHITING, IN 46394-1922                                 800 FM 495 #621
VESPER, WI 54489                                                                                           ALAMO, TX 78516-6928



ROBERT W OLLER & JOANNA M OLLER TR                  ROBERT W RILEY & ROBERT CLARENCE JONES & AMANDA-MARILYN
                                                                                                       ROBERTKAEWJONES
                                                                                                                  SCHMITT
                                                                                                                       &
ROBERT & JOANNA OLLER LIVING TRUST UA 11/13/98      MAKENZIE WAYNE JONES &                             4210 249TH STREET
1025 HARBOR DR                                      3587 LAKEVIEW DRIVE                                LITTLE NECK, NY 11363-1623
HURON, OH 44839-2669                                BEAVERTON, MI 48612-8868
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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ROBERT W SCHOLZ CUST JONATHAN T SCHOLZ               ROBERT W SCHRYVER & CARROLL SCHRYVER TR           ROBERT W SLACK
U/THE WASH UNIFORM GIFTS TO MINORS ACT               UA 05/31/91 W SCHRYVER & CARROLL SCHRYVER TRUST   PO BOX 340644
501 LOVER'S LANE                                     441 SUE ANN DR                                    DAYTON, OH 45434-0644
COLFAX, WA 99111-9795                                LAKE GENEVA, WI 53147-2146



ROBERT W WALLACE & MARY LOW WALLACE TR               ROBERT W WENTLAND CUST ROBERT W WENTLAND JR       ROBERT W WILLIAMS CUST ARTHUR E WILLIAMS
UA WALLACE FAMILY TRUST 03/28/89                     U/THE CONN UNIFORM GIFTS TO MINORS ACT            U/THE CONN UNIFORM GIFTS TO MINORS ACT
2649 RADNOR AVE                                      200 HOLLYBERRY RD                                 115 YALE ST
LONG BEACH, CA 90815-1314                            BRISTOL, CT 06010-2900                            OLIVETS, MI 49076-9456



ROBERT W WITTWER & VIRGINIA D WITTWER TR             ROBERT WEINMAN                                    ROBERT WEIR
UA 06/18/08 ROBERT W WITTWER & VIRGINIA D            153 HARVARD AVE                                   2769229 MILE RD
304 EAST SOUTH ST                                    ELYRIA, OH 44035-6039                             LENOX, MI 48048
BLUFFTON, IN 46714



ROBERT WILLIAM FEINDT & BRENDA J FEINDT JT TEN       ROBERT WILLIAM PEVER CUST KATHLEEN E PEVER        ROBERT YOUMANS
12841 DAYBREAK CT W                                  U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT        303-2387 KAWARTHA HEIGHTS BLVD
JACKSONVILLE, FL 32246-7092                          10540 GREENWAY ROAD                               PETERBOROUGH ON
                                                     NAPLES, FL 34114-3107                             K9K 1S4 CANADA



ROBERTA A JANET                                      ROBERTA D CORCORAN & JOHN J CORCORAN TR           ROBERTA D GROSSMAN & LAWRENCE LANGERMAN TR
& DEBORAH A HANSON & ROBERT P JANET & MARK A JANET   UA 06/14/93 M-B ROBERTA D CORCORAN                UA 03/02/94 RICHARD GROSSMAN FAMILY TRUST
JT TEN                                               1344 WHITEFIELD                                   3 SYBIL CREEK PL
10705 S KILBOURN                                     DEARBORN HTS, MI 48127-3419                       BRANFORD, CT 06405
OAK LAWN, IL 60453-5346


ROBERTA DAUGHERTY                                    ROBERTA H STEINBERG                               ROBERTA HIDDEN FOSTER
& DANNY JOE DAUGHERTY & JAMES DAUGHERTY JR &         24 COREY RD                                       748 MEINECKE AVE
BRUCE DAUGHERTY JT TEN                               MALDEN, MA 02148-1117                             SAN LUIS OBISPO, CA 93405-1731
PO BOX 343
STAFFORD, OH 43786-0343


ROBERTA JANE CASH                                    ROBERTA L HEINZMANN                               ROBERTA S HEINLEIN
& JUDITH BORDERS & CAROL LAMB & LU ANN CRAWFORD      11 KERRY LANE                                     2825 SHEA WAY
JT TEN                                               NORTH EASTON, MA 02356-1761                       MARIETTA, GA 30060-5328
2219 LADOGA RD
CRAWFORDSVILLE, IN 47933-3752


ROBERTA S HEINLEIN & TERRY J HEINLEIN JT TEN         ROBERTA SCHELLER CUST LISA JANE SCHELLER          ROBERTO CASTILLO
2825 SHEA WAY                                        U/THE CONN UNIFORM GIFTS TO MINORS ACT            RUA APINAGES 271 APT 118
MARIETTA, GA 30060-5328                              730 CANTERBURY LN                                 PERDIZES SAO PAULO SP
                                                     VILLANOVA, PA 19085-2052                          CEP
                                                                                                       05017 000 BRAZIL


ROBERTO ESPINOSA                                     ROBERTO J GAMBACH CUST MARK ELI GAMBACH           ROBERTO TINOCO
APARTADO AEREO 102034                                UNDER THE FLORIDA GIFTS TO MINORS ACT             GM DO BRAZIL
BOGOTA 10                                            1200 STILLWATER DR                                RODOVIA RS030 PARARDA 100
COLOMBIA                                             MIAMI BEACH, FL 33141-1028                        GRAVATAI RS
                                                                                                       94198900 BRAZIL


ROBET JAMES SZENTES                                  ROBIN BONNIE WEINER                               ROBIN EMILY EINHORN
15312 210TH AVE NE                                   12 PIKES WAY                                      2586 36TH ST
WOODINVILLE, WA 98072-5657                           CHELTENHAN, PA 19012-1717                         APT 1F
                                                                                                       ASTORIA, NY 11103-4533
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit E
                                                            Part 8 of 8 Pg 369 of 440
ROBIN HELMIC                                         ROBIN J BROUKER & JAMES J BROUKER TR                    ROBIN J JONES
ATTN ROBIN BECKSFORT                                 UA 08/07/08 JAMES J BROUKER & ROBIN J BROUKER           PO BOX 680011
4579 132NDAVE                                        3411 W WILSON RD                                        MARIETTA, GA 30068-0001
HAMILTON, MI 49419-9530                              CLIO, MI 48420



ROBIN KIRKLAND & KIPCHOGE KIRKLAND JT TEN            ROBIN R HEINZELMAN                                      ROBT J BRYNE CUST REBECCA A BRYNE UGMA WI
1236 167TH SE AV                                     1264 JAY STREET                                         28354 116TH STREET
BELLEVUE, WA 98008-5143                              WATERFORD, MI 48327-2927                                NEW AUBURN, WI 54757-7103




ROBYN STEINMAN                                       ROBYN WEINBLATT TR                                      ROCHELLE D BRADLEY
PO BOX 17982                                         UA 02/23/1995 JENNIFER R MILLER C E IRREVOCABLE TRUST   PO BOX 681184
MEMPHIS, TN 38187-0982                               630 SYCAMORE LANE N                                     KANSAS CITY, MO 64168
                                                     MINNEAPOLIS, MN 55441



ROCHELLE KAY JEUDE                                   RODERICK A FRASER & RUTH AUDREY FRASER TR               RODERICK S STEINER
102 DINDIA 15A 789-7                                 REV INT TR UA 01/06/86 RODERICK A                       522 W BERRY AVE
HIRAMATSU HONCHO UTSUNOMIYA                          4070 BUCKNALL ROAD                                      LANSING, MI 48910-2911
3210932 JAPAN                                        CAMPBELL, CA 95008-2640



RODERICK WAYNE THORNTON TR                           RODGER H HEDLUND JR & LINDA S HEDLUND TR                RODGER L MCCLOY & ZANDREA L MCCLOY TR
RODERICK WAYNE THORNTON LIVING TRUST UA 08/12/94     UA 05/07/2007 RODGER & LINDA HEDLUND LIVING             RODGER L MCCLOY & ZANDREA L MCCLOY REVOCABLE
5694 LINFIELD AVE                                    1090 COVINGTON PLACE DR                                 16033 N 68 AVE
SAN DIEGO, CA 92120-4832                             ROCHESTER, MI 48309                                     PEORIA, AZ 85382-3906



RODNEY A CLARK & MARTHA S CLARK JT TEN               RODNEY A HILL SR & ALICIA I HILL TR                     RODNEY A WILSON & KRISTI JO WILSON TR
121 STEIN RD                                         RODNEY A HILL SR REVOCABLE TRUSTUA 07/14/00             RODNEY A WILSON & KRISTI JO WILSON FAMILY TRUST UA
EVERETT, PA 15537-5810                               3339 POSEYVILLE RD                                      03/16/06
                                                     MIDLAND, MI 48640-8578                                  18721 SW PILKINGTON RD
                                                                                                             LAKE OSWEGO, OR 97035-8171


RODNEY L KLIPSTEIN                                   ROGENE M SIMEK                                          ROGER A BERNSTEIN
11800 W ORFORDVILLE HANOVER RD                       7111 142ND AVE LOT 57                                   12810 MAPLE RD
ORFORDVILLE, WI 53576-9518                           LARGO, FL 33771                                         NORTH MIAMI, FL 33181-2448




ROGER A KLEIN JR                                     ROGER C BOHNSACK & MARILYN J BOHNSACK TR                ROGER C FEINAUER
1909 HESELTON GULLY                                  BOHNSACK REVOCABLE TRUST UA 12/24/96                    166 S MCKENZIE ST
ANDOVER, NY 14806-9527                               2555 JUDY LANE                                          ADRIAN, MI 49221-2523
                                                     SHELBY TOWNSHIP, MI 48316-2745



ROGER C LEIGHTY                                      ROGER C LOEFFELBEIN CUST DIANNE LOEFFELBEIN UGMA IN ROGER C MARTIN CUST KIMBERLY ANN MARTIN
& RONALD D LEIGHTY & DONALD L LEIGHT & STEPHANIE A   17000 31 MILE RD                                    UNDER THE FLORIDA GIFTS TO MINORS ACT
WILSON JT TEN                                        RAY, MI 48096                                       6637 STANDING BOY RD
811 15TH ST                                                                                              COLUMBUS, GA 31904-2221
LAWRENCEVILLE, IL 62439-2006


ROGER COKER                                          ROGER D KWIECINSKI                                      ROGER D NAPIER
4002 HIGHWAY 78 W #530-317                           PO BOX 970623                                           11857 106TH AVE N
SNELLVILLE, GA 30039-7915                            YPSILANTI, MI 48197-0811                                SEMINOLE, FL 33778-3643
                    09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 370 of 440
ROGER D ROSPLOCK & MARIE J ROSPLOCK TR              ROGER DAVID ROEING & MARY PATRICIA ROEING JT TEN   ROGER E HEINO & JOAN G HEINO JT TEN
ROSPLOCK REVOCABLE TRUST UA 11/14/95                316 POCHET LN                                      9870 CIMAMESA ROAD
3658 EAST CODY AV                                   SCHAUMBURG, IL 60193                               JUNIPER HILLS, CA 93543-3634
GILBERT, AZ 85234-2926



ROGER E LACHELE                                     ROGER E LAVOIE CUST BARRY LAVOIE                   ROGER E SCHNEIDER & STANLEY O SCHNEIDER TR
PO BOX 794533                                       U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT    ANN MARIE SCHNEIDER TRUST UA 08/22/95
DALLAS, TX 75379-4533                               WEST MAIN ST                                       110 CREEDEN DR
                                                    WEBSTER, MA 01570                                  MONETA, VA 24121-3708



ROGER FREEMAN CUST HAROLD E FREEMAN                 ROGER G DEIERLEIN                                  ROGER H HENSLEY
UNDER THE NJ UNIF GIFTS TO MINORSS ACT              APT 187                                            9203 206TH STREET CT E
48 MOUNTAINVIEW TERRACE                             427 TIMBERLEA DR                                   GRAHAM, WA 98338-9230
HILLSDALE, NJ 07642-1021                            ROCHESTER, MI 48309-2659



ROGER H LARSON                                      ROGER JACOB STEINER                                ROGER JOHNSON CUST AARON M JOHNSON UTMA WA
3269 250TH ST                                       2 AMARANTH DRIVE                                   4405 126TH ST CT NW
EAGLE GROVE, IA 50533-8712                          NEWARK, DE 19711-2051                              GIG HARBOR, WA 98332-7813




ROGER JOHNSON CUST ADAM GARREN JOHNSON UTMA WA      ROGER JOHNSON JR                                   ROGER L MARKLE & DOROTHY E MARKLE TR
4405 126TH ST CT NW                                 4161 118TH AVE NORTH                               ROGER L MARKLE & DOROTHY E MARKLE REV TRUST UA
GIG HARBOR, WA 98332-7813                           CLEARWATER, FL 34622                               06/28/00
                                                                                                       8610 WEST SCHOOL SECTIOM LAKE
                                                                                                       MECOSTA, MI 49332-9578


ROGER L ROBBINS & JOSEPHINE L ROBBINS TR            ROGER L STILES & PHYLLIS J STILES TR               ROGER L WIGHTMAN & JANICE K WIGHTMAN JT TEN
ROGER L & JOSEPHINE L ROBBINS REVOCABLE LIV TRUST   ROGER L STILES LIVING TRUST UA 10/19/94            PO BOX 168245
UA 01/5/04                                          3521 GOLFVIEW DR                                   IRVING, TX 75016-8245
361 ELM ST                                          HAZEL CREST, IL 60429-2403
MILTON, WI 53563-1204


ROGER L WILLIAMS JR & MARJORIE J WILLIAMS TR        ROGER LEE RONEK                                    ROGER M BERENS
ROGER L WILLIAMS JR FAM LIVING TRUST UA 10/09/95    106-265 WILLSON ROAD                               3111 146TH AVE R#1
1316 ROSLYN RD                                      WELLAND ON                                         DORR, MI 49323-9710
GROSSE PNT WOODS, MI 48236-1019                     L3C 5R6 CANADA



ROGER MARTIN MILLAR SR & SARA BOULDEN MILLAR TR     ROGER O WEYERS & ARLENE C WEYERS TR                ROGER P HUBER & VICKI V HUBER TR
UA 05/07/91 ROGER MARTIN MILLAR SR &                ROGER O WEYERS REVOCABLE TRUST UA 08/25/03         ROGER P HUBER & VICKI V HUBER TRUST UA 11/17/03
2253 GLENBAR DRIVE                                  52646 COVE CREEK DRIVE                             734 W MAIN
GERMANTOWN, TN 38139-5417                           MACOMB TOWNSHIP, MI 48042-2952                     TWINING, MI 48766-9748



ROGER P HUBER & VICKI V HUBER TR                    ROGER RUEBEN SCHNEIDER                             ROGER SEARLE PENSKE CUST ROGER SEARLE PENSKE JR
ROGER P HUBER & VICKI V HUBER TRUST UA 11/17/03     31834 210TH ST                                     U/THE PA UNIFORM GIFTS TO MINORS ACT
734 WEST MAIN ST                                    SLEEPY EYE, MN 56085-4325                          2555 TELEGRAPH RD
TWINING, MI 48766-9748                                                                                 BLOOMFIELD HILLS, MI 48302-0954



ROGER STUART SILVERSTEIN                            ROGER T TRUMBLE                                    ROGERS LEON ROBINS & ROSE JANE ROBINS TR
914 W SUNSET ROAD                                   PO BOX 235491                                      ROGERS LEON ROBINS & ROSE JANE ROBINS REVOCABLE
EL PASO, TX 79922-2149                              HONOLULU, HI 96823-3508                            229 S DIXON RD
                                                                                                       KOKOMO, IN 46901-5042
                   09-50026-mg             Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 371 of 440
ROLAND A WEGMANN & FREDERICKA V WEGMANN TR            ROLAND C WEDEMEYER & HARRIET A WEDEMEYER TR         ROLAND G REINHARD
WEGMANN TRUST 2000 UA 01/01/00                        WEDEMEYER FAMILY TRUST UA 3/1/88                    910 CARDINAL CR
1701 MORGAN RD                                        18901 CANYON CREST DR                               FLORENCE, SC 29505-3011
BARNHART, MO 63012-2351                               VILLA PARK, CA 92861-2806



ROLAND GODDU CUST CHRISTOPHER ROLAND GODDU            ROLAND H IMES & CRISTEL H IMES JT TEN TRUSTEES      ROLAND L BROWN & DEBRA Y BROWN JT TEN
U/THE MASS UNIFORM GIFTS TO MINORS ACT                UNDER IMES DECL TRUST DTD                           2518 192ND ST E
50 FAYETTE ST                                         PO BOX 997                                          TACOMA, WA 98445-4213
BOSTON, MA 02116-5517                                 DUNDEE, FL 33838-0997



ROLAND MC KENZIE CUST GARY GENE MC KENZIE             ROLAND TOEPFER                                      ROLF B GRONNEBERG CUST ROLF B GRONNEBERG JR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            AM LEINPFAD 40                                      U/THE R I UNIFORM GIFTS TO MINORS ACT
G-6476 N DORT                                         DATTELN GERMANY                                     17 JANES RD
MT MORRIS, MI 48458                                   GERMANY                                             BOXFORD, MA 01921-1813



ROLLAND BENFORD & BETTY BENFORD TR                    ROLLAND G CHARPENTIER TR                            ROLLAND R VILLENEUVE TR
ROLLAND & BETTY BENFORD TRUST UA 01/10/00             ROLLAND G CHARPENTIER REVOCABLE TRUST UA 10/16/98   ROLAND R VILLENEUVE REVOCABLE TRUST UA 01/01/06
360 NORBERT LN                                        PO BOX 813                                          3352 ESSEX
HEMLOCK, MI 48626-8769                                NORTHPORT, MI 49670-0813                            TROY, MI 48084-2705



ROLLIN B BECKETT CUST RUSSELL GLENN BECKETT           ROMAN J GALAS SR CUST ROMAN J GALAS JR              ROMAN RODRIGUEZ & M THERESA RODRIGUEZ TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                U/THE ILL UNIFORM GIFTS TO MINORS ACT               ROMAN RODRIGUEZ LIVING TRUST UA 12/29/92
719 HOLLEY DR                                         5648 W LONG PLACE                                   20680 BISHOP DRIVE
ROCKY MOUNT, VA 24151-5449                            LITTLETON, CO 80123-5130                            BROWNSTOWN, MI 48183-7615



RON L BRONSTEIN                                       RON NEUMAN                                          RONALD A BREALER
1209 MARKHAM AVE                                      3507 106TH STREET NW                                PO BOX 214622
MODESTO, CA 95358-6910                                EDMONTON AB                                         AUBURN HILLS, MI 48321-4622
                                                      T6J 2L2 CANADA



RONALD A FEATHERSTONE CUST PATRICIA JEAN FEATHERSTONE
                                                   RONALD A KNAPP CUST DEBORAH LYNN KNAPP                 RONALD A MAKOWSKI & DONNA M MAKOWSKI TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT             U/THE PA UNIFORM GIFTS TO MINORS ACT                   RONALD A MAKOWSKI TRUST UA 06/17/97
2204 LAKE ANGELUS SHORES DR                        9 MCCLELLAN PL                                         PO BOX 80842
LAKE ANGELUS, MI 48326-1042                        CHAPPAQUA, NY 10514-1213                               ROCHESTER, MI 48308-0842



RONALD B BOWER & PAMELA BOWER JT TEN                  RONALD BONNEMASOU                                   RONALD C NEWTON & MARION P NEWTON TR
1112 188TH PL SW                                      C/O JOSE DOMINGUES                                  UA 07/19/94 THE NEWTON FAMILY TRUST
LYNNWOOD, WA 98036-4911                               VASCONCELOS 64 APT 601                              307 RAINBOW CT
                                                      VILA ADYANA                                         PASO ROBLES, CA 93446-2986
                                                      SAN JOS DOS CAMPOS SAN PAULO 12243-840 BRAZIL


RONALD C WEBER & RUTH E WEBER TR                      RONALD D KELSEY & MARY ANN KELSEY JT TEN            RONALD D PENNINGTON & SHARON V PENNINGTON TR
UA 10/26/93 RONALD C WEBER & RUTH E WEBER FAMILY      PO BOX 470601                                       PENNINGTON FAMILY TRUST UA 04/18/97
TRUST                                                 TULSA, OK 74147-0601                                14125 S M-129
3313 MOUNTAIRE DR                                                                                         SAULT STE MARIE, MI 49783-8517
ANTIOCH, CA 94509-5661


RONALD D SCHMIDT & ELSIE E SCHMIDT TR                 RONALD E BAER & DONNA S BAER TR                     RONALD E LEIDLEIN
RONALD D & ELSIE E SCHMIDT LIVING TRUST UA 12/19/94   RONALD E BAER & DONNA S BAER TRUST 04/17/98         8105 WEST TUSCOLA ROAD
11917 PRINCESS GRACE CT                               6803 IJAZ DR                                        FRANKENMUTH, MI 48734-9529
CAPE CORAL, FL 33991-7536                             ARLINGTON, TX 76017-4977
                    09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
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RONALD E LICHTENSTEIN & KAREN SMITH LICHTENSTEIN JT TEN
                                                      RONALD E MILLINGTON & BARBARA A MILLINGTON TR        RONALD E ROESER & SHAREN F ROESER TR
11 GRASSHOPPER LN                                     RONALD E MILLINGTON LIV TRUST UA 09/24/99            RONALD E ROESER REV LIVING TRUST UA 10/14/1993
WALPOLE, MA 02081-3627                                239 AZALEA CT                                        469 FRANCONIAN DR E
                                                      BRANDON, MS 39047-7854                               FRANKENMUTH, MI 48734



RONALD EMORY ADAMS                                   RONALD EVEY & GEORGIA EVEY TR                         RONALD F BARKER CUST KAREN K BARKER
27862 N CHEVY CHASE RD                               RONALD EVEY & GEORGIA EVEY TRUST UA 04/29/96          U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
MUNDELEIN, IL 60060-9617                             1337 RUBY CT                                          6199 SCHUSS CROSSING
                                                     SANTA MARIA, CA 93454-3253                            YPSILANTI, MI 48197



RONALD F BETHKE & AUDREY C BETHKE TR                 RONALD F LAING & SHARRON A LAING TR                   RONALD F REINKE
RONALD F BETHKE & AUDREY C BETHKE LIVING TRUST UA    RONALD F LAING & SHARRON A LAING TRUST UA 06/16/94    1004 ELLISON PARK CR
05/14/97                                             3145 RIDGEMONT                                        DENTON, TX 76205-8099
539 LONG REACH DR                                    COMMERCE TOWNSHIP, MI 48382-3876
SALEM, SC 29676-4216


RONALD G BROCKINGTON CUST STEVEN C BROCKINGTON       RONALD G LADUE & MARILYN A LADUE TR                   RONALD G SUDBECK
A MINOR UNDER CALIFORNIA GIFTS OF SECURITIES TO      RONALD G LADUE & MARILYN A LADUEREV                   88459 557TH AVE
MINORS ACT                                           W165 N4866 MEADOW VIEW RD                             HARDINGTON, NE 68739-5094
22171 CAMINITO LAURELES                              MENOMONEE FALLS, WI 53051-6648
LAGUNA HILLS, CA 92653-1191


RONALD G WETTENSTEIN                                 RONALD GOLDSTEIN                                      RONALD H FORTIN & BARBARA A FORTIN TR
922 S GOODMAN STREET                                 137-60 45TH AVE                                       UA 11/27/1996 FORTIN FAMILY REV LIV TRUST
ROCHESTER, NY 14620-2526                             FLUSHING, NY 11355-4064                               5555 OAK PARK
                                                                                                           CLARKSTON, MI 48346



RONALD H GLEASON & JOSEPHINE GLEASON TR              RONALD J AMRHEIN                                      RONALD J DENTON
UA 04/06/89 RONALD H GLEASON & JOSEPHINE H GLEASON   3475 JESSUP RD                                        425 150TH AVE #2501
TRUST                                                CINCINNATI, OH 45239-6251                             MADEIRA BEACH, FL 33708-2076
3340 HADLEY RD
METAMORA, MI 48455-9716


RONALD J EBBELING                                    RONALD J JENNINGS & CAROL J JENNINGS TR               RONALD J LAMBERT & BARBARA A LAMBERT TR
263 MASON RD                                         UA 11/01/2007 RONALD J & CAROL J JENNINGS             UA 11/02/2006 LAMBERT FAM TRUST
WHITINSVILLE, MA 01588-1379                          3417 GALESBURG                                        35 MCKENZIE DR
                                                     THE VILLAGES, FL 32162                                BELLA VISTA, AR 72715



RONALD J MAC QUARRIE & MRS MARJORY A MAC QUARRIE JT TEN
                                                    RONALD J MARCETTI & HENRIETTA R MARCETTI TR            RONALD J SLEE & DONNA J SLEE TR
22102 238TH PL SE                                   RONALD & HENRIETTA MARCETTI LIVING TRUST UA 02/02/06   UA 01/25/90 RONALD J & DONNA J SLEE TRUST
MAPLE VALLEY, WA 98038-8451                         34941 QUAIL TRAIL                                      5608 MASON AVE
                                                    RICHMOND, MI 48062-5529                                WOODLAND HLS, CA 91367



RONALD J ZIEMBA TR RONALD J ZIEMBA TRUST 11/21/02    RONALD K CARPENTER & MARCIA J CARPENTER TR            RONALD L HAMMACK
1410 EAST TRUITT RD                                  RONALD & MARCIA CARPENTER FAMILY TRUST 04/25/00       PO BOX 245 407 S ELM
CHILLICOTHE, IL 61523-9360                           3826 BUCKINGHAM RD                                    KEMPTON, IN 46049-0245
                                                     CHINO HILLS, CA 91709-1913



RONALD L HODGEN CUST GREGORY R HODGEN                RONALD L JOHNSON & KRISTI L JOHNSON TR                RONALD L MEINKE
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT            RONALD & KRISTI JOHNSON LIVING TRUST UA 7/22/98       5245 RILEY ROAD
PO BOX 648                                           2823 SE 170TH                                         DEFORD, MI 48729-9735
ENID, OK 73702-0648                                  PORTLAND, OR 97236-1216
                   09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                         Part 8 of 8 Pg 373 of 440
RONALD L SEDMAN TR                                RONALD L WITHERSPOON                                   RONALD LEE STEINBRUNNER
UA 09/19/2006 SURVIVING TRUSTOR'S TRUST OF THE    PO BOX 310632                                          9850 E KALIL DR
SEDMAN TRUST                                      FLINT, MI 48531-0632                                   SCOTTSDALE, AZ 85260-6029
11405 MCGHEE ROAD
APISON, TN 37302-9586


RONALD LLOYD ATCHISON                             RONALD M OCKERMAN TR                                   RONALD N STEPHENS & CAROL J STEPHENS TR
301-2001 MCCALLUM RD                              RONALD M OCKERMAN 2005 REVOCABLE INTER VIVOS           STEPHENS FAMILY TRUST UA 10/31/03
ABBOTSFORD BC                                     TRUST UA 3/23/05                                       1336 WAVERLY
V2S 3N5 CANADA                                    PO BOX 45                                              WHITE LAKE, MI 48386-4548
                                                  SUTTER, CA 95982-0045


RONALD O CHRISTENSON                              RONALD O HEINS                                         RONALD P BORNSTEIN
18367 105TH AVE                                   482 RICHMOND DR                                        22570 VISTAWOOD WAY
LITTLE FALLS, MN 56345                            HOPE, MI 48628-9723                                    BOCA RATON, FL 33428-5563




RONALD P PRIBISH & LORRALEE S PRIBISH TR          RONALD P SLONGO & JACQUELINE M SLONGO TR               RONALD P TETER
THE PRIBISH FAMILY REV LIVING TRUST UA 10/03/02   RONALD P SLONGO TRUST UA 02/04/99                      1101 LEININGER DR
750 VICKSBURG DR                                  37039 MAAS DR                                          TIPTON, IN 46072-9791
MANSFIELD, OH 44904-1534                          STERLING HEIGHTS, MI 48312-1939



RONALD R SWANSON & JOYCE E SWANSON TR             RONALD R ZIGMONT & BARBARA M ZIGMONT TR                RONALD RENE PFISTER CUST CLAIRE VIRGINIA PFISTER
FAM LIV REV TR 05/27/92 U-A RONALD R SWANSON      THE ZIGMONT FAMILY TRUST UA 7/29/02                    U/THE COLO UNIFORM GIFTS TO MINORS ACT
423 SAVANNAH DR                                   9029 CROW ROAD                                         1616 PERRY PARK AVE
PHARR, TX 78577-6968                              LITCHFIELD, OH 44253-9534                              LARKSPUR, CO 80118-8207



RONALD RICHARDSON & PHYLLIS L RICHARDSON TR       RONALD RUE                                             RONALD SCHIRALDI CUST DIANE G SCHIRALDI
JOHN A BAKER TRUST UA 08/13/01                    #2202 1551 LARIMER STREET                              U/THE N J UNIFORM GIFTS TO MINORS ACT
3645 STAHLHEBER RD                                DENVER, CO 80202                                       9534 GREENEL RD
HAMILTON, OH 45013-9102                                                                                  DAMASCUS, MD 20872-2317



RONALD W KLEIN                                    RONALD W MALANOWSKI & JEANNE M MALANOWSKI & CHRISTINE
                                                                                                     RONALD
                                                                                                        ANN MALANOWSKI
                                                                                                              WITHERSPOON CUST TIANA WITHERSPOON UGMA M
PO BOX 934                                        & AMY LYNN MALANOWSKI JT TEN                       BOX 310632
HUDSON, OH 44236-5934                             220 BAY TREE COURT                                 FLINT, MI 48531-0632
                                                  AIKEN, SC 29803-2600



RONNA SUE GOLDSTEIN                               RONNIE DIMOND JACOBS CUST AMY LYNN JACOBS              RONNIE KLEIN
155 BELLE FOREST CIRCLE                           A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW        139 WEST THIRD AVENUE
NASHVILLE, TN 37221-2103                          245 PROSPECT AVE APT 6C                                SAN MATEO, CA 94402-1521
                                                  HACKENSACK, NJ 07601-2571



RONNIE THRELKELD                                  ROSA L MULLGRAV TOD DAVID A MCMAHAN                    ROSA M LUGO
2941 140A ST                                      PO BOX 292935                                          P O BOX 9065010
SURREY BC                                         DAYTON, OH 45429-8935                                  SAN JUAN PR
V4P 2J8 CANADA                                                                                           906 PUERTO RICO



ROSA M RUDOLPH-HILL                               ROSALIE A BARATTA TR                                   ROSALIE A CIPRIANO & JAMES T CIPRIANO & STEVEN P CIPRIA
PO BOX 210623                                     ROSALIE A BARATTA REVOCABLE LIVING TRUST UA 08/10/92   ROSALIE A CIPRIANO TRUST UA 06/20/02
MONTGOMERY, AL 36121-0623                         19899 FAIRWAY DR                                       44560 N BUNKERHILL DRIVE
                                                  BROSSE PTE WOODS, MI 48236-2434                        CLINTON TOWNSHIP, MI 48038-1003
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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ROSALIE B & ISAAC H HOOVER TR                         ROSALIE B BURTON & CAROL B PHILLIPS TR                ROSALIE ROTHSTEIN TOD BARBARA L ROTHSTEIN & BETTE R
ROSALIE B & ISAAC H HOOVER LIVING TRUST UA 09/23/96   UA 05/14/87 ROSALIE B BURTON LIVING TRUST             229 E 28TH ST
2843 S OAKLAND CR E                                   268 AQUARINA BLVD                                     APT 4F
AURORA, CO 80014-3134                                 MELBOURNE BEACH, FL 32951-3923                        NEW YORK, NY 10016



ROSALIE T TURNER & ROBERT F TURNER & SAMUEL R TURNERROSALIE
                                                     TR     T TURNER & ROBERT F TURNER TR                   ROSALYN C MANDEL TR
ROSALIE T TURNER TRUST UA 10/15/97                  ROSALIE T TURNER TRUST UA 10/15/97                      ROSALYN C MANDEL & SEEMAN L MANDEL REV LIVING
966 BLOOMFIELD VILLAGE BLVD                         966 BLOOMFIELD VILLAGE BLVD                             TRUST UA 03/15/89
AUBURN HILLS, MI 48326-3574                         AUBURN HILLS, MI 48326-3574                             9240 E BLANCHE DR
                                                                                                            SCOTTSDALE, AZ 85260-2812


ROSALYN LEWIN TR                                      ROSANNE A MATTY & LINDA RANDAZZO TR                   ROSANNE KLEINT
UA 03/11/92 ROSALYN LEWIN REVOCABLE LIVING TRUST      UA 02/16/08 FLORENCE TODARO IRREVOCABLE FAMILY        41 WESTERLY ST
F-B-O ROSALYN LEWIN                                   2 BALDWIN COURT                                       YONKERS, NY 10704-2041
2545 ASPEN LANE                                       RIDGE, NY 11961
BLOOMFIELD HILLS, MI 48302-1007


ROSANNE M MASCH & DOUGLAS R MASCH & FRED L VILBIG TR ROSARY M MOIES USUFRUCTUARY & KAREN ANN M RICH & KEVIN
                                                                                                        ROSCOE
                                                                                                            ANN MC HAYNES
ROSEANNE M MASCH REV TRUST UA 7/2/99                 CAILLOUET & THOMAS MOIES JR & RICHARD MC KINNEY    PO BOX 351174
14175 WATERWAY BLVD                                  MOIES NKD OWN                                      DETROIT, MI 48235-6074
FORTVILLE, IN 46040-9447                             4301 HERICAN PL
                                                     METAIRIE, LA 70003-1315


ROSCOE G JAMES                                        ROSE ANNE GROSSMAN                                    ROSE AVOLIO MARINO CUST PATRINA MARINO
PO BOX 490492                                         PO BOX 331066                                         U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
ATLANTA, GA 30349-0492                                COCONUT GROVE, FL 33233-1066                          81 EDSON PL
                                                                                                            NORTH HALEDON, NJ 07508-3012



ROSE B PANE                                           ROSE COBB                                             ROSE DOHERTY TR
& ROSALIE V CLIFFORD & PETER J PANE & MARIE O         50 A YORKTOWNE PARKWAY                                HERBERT & ROSE DOHERTY FAMILY REVOCABLE TRUST UA
LAWRENCE JT TEN                                       WHITING, NJ 08759-1638                                01/06/00
24-A COOLIDGE COURT                                                                                         7550 N 16TH ST APT 7142
APT A                                                                                                       PHOENIX, AZ 85020-7627
STREAMWOOD, IL 60107-2328

ROSE E TAKACS CUST KIMBERLY ANN TAKACS                ROSE ELIZABETH NAPPI U-A DTD 9-24-98 THE ROSE ELIZABETHROSE
                                                                                                             NAPPIFLIVING
                                                                                                                    JUCKES
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            TRUST                                                  PO BOX 802191
2440 BANDON DRIVE                                     4555 KANSAS STREET                                     HOUSTON, TX 77280-2191
GRAND BLANC, MI 48439-8152                            SAN DIEGO, CA 92116-4263



ROSE K MASLOW CUST ROBERT MASLOW                      ROSE L COOPER CUST GARY N COOPER                      ROSE M MARI
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            708 EVERGREEN CRT
11756 BANYAN RIM DRIVE                                1975 CRAGIN DR                                        WHITING, NJ 08759
WHITTIER, CA 90601-4714                               BLOOMFIELD HILLS, MI 48302-2233



ROSE MARIE BEHR                                       ROSE MARY RUSHING                                     ROSE PALMO CUST LISA ANN PALMO
& RICHARD W BEHR & PAUL J BEHR & KATHLEEN M BEHR JT   & WALLACE R RUSHING & BRENDA K FOTHERINGHAM &         A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N
TEN                                                   DONNA F ROSS JT TEN                                   425 E SAGINAW WAY
94 NEVADA AVE                                         1850 N BALDWIN RD                                     FRESNO, CA 93704-4123
LONG BCH, NY 11561-1125                               OXFORD, MI 48371-3016


ROSE PALMO CUST LUKE JOHN PALMO                       ROSE RUTH PURDY                                       ROSE SERPICO CUST JANET SERPICO
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF N         1-B POTOMAC LANE                                      A MINOR U/ART EIGHT-A OF THE PERS PROP LAW OF NEW
PO BOX 8065                                           WHITING, NJ 08759-1813                                YORK
RCHO SANTA FE, CA 92067-8065                                                                                2 DORCHESTER RD
                                                                                                            SMITHTOWN, NY 11787-5406
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 375 of 440
ROSE SHATSKY CUST STANLEY S SHATSKY                   ROSE WEINER CUST LEE ADAM WEINER UGMA NY           ROSE WESTERMAN CUST MICHAEL WESTERMAN
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 61 JAMAICA AVE                                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
645 SAN MARTIN PLACE                                  PLAINVIEW, NY 11803-3631                           83-77 WOODHAVEN BLVD
LOS ALTOS, CA 94024-3141                                                                                 WOODHAVEN, NY 11421-1534



ROSEANNE PERRY CUST ELIZABETH LAUREN PERRY            ROSELENE M JONES CUST MARGARET ANN JONES           ROSELLA LEINGANG TOD DONNA GRAFE SUBJECT TO STA TO
UNDER THE FLORIDA GIFTS TO MINORS ACT                 A MINOR U/ART 8-A OF THE PERS PROPERTY LAW OF      1606 SHROYER ROAD
327 FRANCIS DR                                        1820 BAIRD RD                                      DAYTON, OH 45419-3214
HAVERTOWN, PA 19083-3105                              PENFIELD, NY 14526-1046



ROSELLA LEINGANG TOD JANE KNOTH SUBJECT TO STA TOD RULES
                                                    ROSELLA LEINGANG TOD LARRY LEINGANG SUBJECT TO STA TOD
                                                                                                        ROSELLA
                                                                                                           RULESLEINGANG TOD MARIE PANZL SUBJECT TO STA TOD
1606 SHROYER ROAD                                   1606 SHROYER ROAD                                   1606 SHROYER ROAD
DAYTON, OH 45419-3214                               DAYTON, OH 45419-3214                               DAYTON, OH 45419-3214




ROSELLA LEINGANG TOD TERRY LEINGANG SUBJEC TO STA TOD
                                                    ROSEMARIE
                                                      RULES HEINE PERS REP EST JOHN A ACS                ROSEMARY C WILMES & EUGENE F WILMES TR
1606 SHROYER ROAD                                   12924 WESLEY                                         ROSEMARY C WILMES TRUST UA 03/29/04
DAYTON, OH 45419-3214                               SOUTHGATE, MI 48195-1031                             9325 COLUMBUS AVENUE SOUTH
                                                                                                         BLOOMINGTON, MN 55420-3849



ROSEMARY J BLAKEMAN TR                                ROSEMARY J HUFFMAN & WILLIAM W HUFFMAN TR          ROSEMARY KELLY
ROBERT E & ROSEMARY J BLAKEMAN TRUST UA 10/29/87      THE 2003 WILLIAM & ROSEMARY HUFFMAN FAMILY TRUST   1960 W STEIN RD
4180 BERKELEY AVE                                     UA 1/8/03                                          LA SALLE, MI 48145-9712
CANTON, MI 48188-7228                                 125 SUNSET PASS ROAD
                                                      SEDONA, AZ 86351-9511


ROSEMARY L S BROOKS                                   ROSEMARY MARSHALL CUST DOUGLASS A MARSHALL         ROSEMARY MARTINEZ
& THOMAS WILLIS SMITH JR & ALLEN WAYNE SMITH JT TEN   U/THE ILL UNIFORM GIFTS TO MINORS ACT              PO BOX 360024
5603 NORTH COURT                                      215 W GLEN                                         MILPITAS, CA 95036-0024
EAST NEW MARKET, MD 21631-1633                        PEORIA, IL 61614-4905



ROSEMARY MEINHART                                     ROSEMARY REYES                                     ROSLYN BEIN
6980 N CUSTER                                         3308 EL CAMINO AVE                                 APT 6B
MONROE, MI 48162-9606                                 SUITE 300-145                                      1170 OCEAN PKWY
                                                      SACRAMENTO, CA 95821                               BROOKLYN, NY 11230-4040



ROSLYN K WAKSBERG CUST MARK MURRAY WAKSBERG           ROSS FRANKLIN MIRMELSTEIN                          ROSS J MCGREW
U/THE MD UNIFORM GIFTS TO MINORS ACT                  7719 SHOOTINGSTAR DR                               54070 420TH ST
13600 MAIDSTONE LANE                                  SPRINGFIELD, VA 22152-3103                         EMERSON, IA 51533-4012
POTOMAC, MD 20854-1008



ROSS K GESSFORD & LOIS A GESSFORD TR                  ROSS MCKIE & LORNA BERSTEIN JT TEN                 ROSSANO VICTOR GERALD CUST GREGORY Q GERALD UTMA
UA 01/06/2010 ROSS K & LOIS A GESSFORD FAMILY         513-245 EDLGIN STREET WEST                         PO BOX 340583
739 S MILL STREET                                     COBOURG ON                                         SAN ANTONIO, TX 78234
ORRVILLE, OH 44667                                    ZZZZ CANADA



ROSSWELL W LAVANWAY & KATHERINE S LAVANWAY TR         ROWAN KLEIN CUST JAMES WILLIAM KLEIN               ROWLAND G PHILLIPS CUST SCOTT R PHILLIPS
ROSSWELL W LAVANWAY & KATHERINE S LAVANWAY            A MINOR U/THE CAL GIFTS OF SECS TO MINORS ACT      U/THE DEL UNIFORM GIFTS TO MINORS ACT
TRUST UA 08/23/94                                     1104 AMHERST AVE                                   100 HAMILTON RD
4406 ISLANDVIEW DR                                    LOS ANGELES, CA 90049-5806                         LANDENBURG, PA 19350-9353
FENTON, MI 48430-9146
                   09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 376 of 440
ROXANNA B SEYBOLD & STANLEY W BERRY TR               ROY A LITTLEFIELD & DOROTHY A LITTLEFIELD TR          ROY ALLEN KNAPP CUST TED ALLEN KNAPP
UA 11/29/04 ILLINOIS BERRY FARM TRUST                LITTLEFIELD FAM TRUST UA 12/17/01                     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
12641 HWY 1                                          2718 WARWICK LANE                                     419 CARDINAL DR
MOUNT CARMEL, IL 62863                               MODESTO, CA 95350-2441                                MT VERNON, IL 62864-2247



ROY B NORRIS TR                                      ROY D RAIA & LOUISE J RAIA TR                         ROY E BACH & VIRGINIA H BACH TR
ROY B NORRIS REVOCABLE TRUST UA 10/01/99 AMENDED     ROY D RAIA & LOUISE J RAIA FAMILY TRUST UA 02/11/88   UA 03/05/92 ROY E BACH & VIRGINIA H BACH TR
5/22/03                                              531 N OXFORD ST                                       400 BUTERFIELD RD
9436 NO 30 ST                                        INDIANAPOLIS, IN 46201-2457                           APT 733
OMAHA, NE 68112-1527                                                                                       ELMHURST, IL 60126-4986


ROY E CALHOUN                                        ROY E CARPENTER & NORMA JEAN CARPENTER TR             ROY E SCHIEFELBEIN & MRS DOTTIE J SCHIEFELBEIN JT TEN
19571 222ND RD                                       ROY E CARPENTER REV TRUST UA 05/20/99                 8924 W 10TH ST
HOLTON, KS 66436-8432                                117 BARNACLE PLACE                                    WICHITA, KS 67212-4019
                                                     ROCKLEDGE, FL 32955-5602



ROY G ANDES JR & SARAH M ANDES JT TEN                ROY G STOHLMAN SERVICE CORP                           ROY GAYLORD HEDGES CUST KENNETH GEORGE HEDGES
2040 W MAIN STREET APT 210-1583                      PO BOX 632-3019 W SPENCER                             U/THE MICH UNIFORM GIFTS TO MINORS ACT
RAPID CITY, SD 57702                                 APPLETON, WI 54914-5925                               143 BROOKSIDE DR
                                                                                                           FLUSHING, MI 48433-2658



ROY H BUCKLEY & JEANNE BUCKLEY TR                    ROY J BERNSTEIN & MRS AMY H BERNSTEIN JT TEN          ROY JONES & MARGEL JONES TR
UA 05/19/2007 ROY H BUCKLEY & JEANNE BUCKLEY         APT 4-D                                               ROY JONES & MARGEL JONES REVOCABLE TRUST UA
37386 CHARTER OAKS                                   155 EAST 76TH ST                                      3/17/97
CLINTON TWP, MI 48036                                NEW YORK, NY 10021-2812                               7724 E COLUMBIA COURT
                                                                                                           SPOKANE, WA 99212-3511


ROY L HOPEWELL & GERTRUDE A HOPEWELL TR              ROY L MESSICK                                         ROY PHILLIPS
HOPEWELL FAMILY REVOCABLE LIVING TRUST UA 08/11/05   ACCOUNT 2                                             21793 REIN AVE
3216 WARREN DR                                       3343 CREST RIDGE DR                                   EASTPOINTE, MI 48021-2416
WATERFORD, MI 48329-3545                             DALLAS, TX 75228-3438



ROY R BERTUCCELLI & LILLIAN C BERTUCCELLI TR         ROY R THOMAS JR                                       ROY SPRINGHAM
UA 7/02/90 ROY R BERTUCCELLI & LILLIAN C             80045 700 W                                           1007-110 BELMONT DR
2896 KERR STREET                                     WILLIAMSPORT, IN 47993-9583                           LONDON ON
CASTRO VALLEY, CA 94546-5715                                                                               N6J 4W3 CANADA



ROY SPRINGHAM                                        ROY SPRINGHAM                                         ROY T ELLIS & CHARLINE R ELLIS TR
1007-110 BELMONT DR                                  1007-110 BELMONT DR                                   UA 01/18/93 ROY T ELLIS & CHARLINE R ELLIS TR
LONDON ON                                            LONDON ON                                             2630 JENNIFER DR
N6J 4W3 CANADA                                       N6J 4W3 CANADA                                        DECATOR, IL 62521-9524



ROY W GERLACH & HELEN H GERLACH TR                   ROY W HELFENBEIN                                      ROYCE WILLIAMSON CUST JENNIFER WILLIAMSON UGMA IL
UA 07/29/1993 GERLACH REVOCABLE LIVING TRUST         5090 LIPPINCOTT RD                                    3372 SHERIDAN LANE
10173 N HWY 185                                      LAPEER, MI 48446-9709                                 MUNDELEIN, IL 60060-6029
SULLIVAN, MO 63080



RUBEN MENDOZA                                        RUBEN TORRES                                          RUBIN BASS CUST STEPHEN BASS
PO 172 202 BEACH ST                                  8853 202ND ST                                         U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
BANCROFT, MI 48414-9799                              HOLLIS, NY 11423-2203                                 7755 JERICHO TPKE
                                                                                                           WOODBURY, NY 11797-1710
                    09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                          Part 8 of 8 Pg 377 of 440
RUBIN POTOFF CUST STEPHEN J POTOFF                 RUBY A HAWKSLEY CUST GARY D HAWKSLEY              RUBY ELLEN KRISE TR
U/THE CONN UNIFORM GIFTS TO MINORS ACT             U/THE MASS UNIFORM GIFTS TO MINORS ACT            RUBY ELLEN KRISE REVOCABLE LIVING TRUST UA 04/13/99
56 PINE PLAIN RD                                   20 WALCOTT ST                                     3929 SOUTH 135 EAST
WELLESLEY, MA 02481-1124                           OXFORD, MA 01540-2329                             PO BOX 64
                                                                                                     OAKFORD, IN 46965-0064


RUBY M SCHMOLITZ                                   RUDALPH MCDANIEL                                  RUDI SPIESS
698 103RD AVE N                                    PO BOX 763093                                     VERGISSMEINNICHTWEG 31
NAPLES, FL 34108-3219                              DALLAS, TX 75376-3093                             WIESBADEN
                                                                                                     65201 GERMANY



RUDOLF HERZOG CUST WILLIAM R HERZOG                RUDOLF ROCCO CUST JOSEPH ANTHONY ROCCO            RUDOLPH A FERRARA & DOROTHY M FERRARA TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT             U/THE N Y UNIFORM GIFTS TO MINORS ACT             RUDOLPH A FERRARA REVOCABLE LIVING TRUST UA
PO BOX 887                                         117 SECOND AVE                                    8/31/99
ASHTABULA, OH 44005-0887                           PELHAM, NY 10803-1419                             11162 HANOVER DR
                                                                                                     WARREN, MI 48093-5591


RUDOLPH E HOMRICH JR                               RUDOLPH F ZEPEDA CUST DAVID ZEPEDA                RUDOLPH GRAF CUST DAVID ROBERT GRAF
3635 144TH AVE                                     U/THE TEXAS UNIFORM GIFTS TO MINORS ACT           U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
HAMILTON, MI 49419-9752                            12207 APPLEBY DR                                  109 TRUMAN DR
                                                   HOUSTON, TX 77031-3301                            CRESSKILL, NJ 07626-1709



RUDOLPH GUFFREY & ROSE MARIE GUFFREY TR            RUDOLPH MANEFF CUST RUDOLPH M MANEFF              RUDOLPH MIHELICH JR & CLARA SUSAN MIHELICH TR
RUDOLPH GUFFREY & ROSE MARIE GUFFREY REVOCABLE     U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT      RUDOLPH MIHELICH JR FAMILY TRUST UA 11/18/99
8237 E MARIPOSA DR                                 3295 LONG POINT DR                                1305 N MAY ST
SCOTTSDALE, AZ 85251-1734                          TOMS RIVER, NJ 08753-4824                         JOLIET, IL 60435-4047



RUDOLPH R BOHONEY                                  RUDOLPH R SLADEK & MARLENE A KERRY TR             RUDOLPH WEINLICH CUST JOHN WEINLICH UGMA NY
4611 290TH ST                                      RUDOLPH R SLADEK & MARLENE A KERRY FAMILY TRUST   46 HILL ST
TOLEDO, OH 43611-1935                              UA 12/16/98                                       GREENVILLE, NY 12083-3935
                                                   1694 PRADO CORTE
                                                   RIO RICO, AZ 85648


RUDOLPH Z CHOQUETTE CUST CARL E CHOQUETTE          RUDY B VASQUEZ CUST VAUGHN MARTIN VASQUEZ         RUDY G WICKLEIN & ROBERTA WICKLEIN JT TEN
U/THE R I UNIFORM GIFTS TO MINORS ACT              U/THE CAL UNIFORM GIFTS TO MINORS ACT             109 FAIRVIEW AV
6311 TAYLOR RD                                     109 WEST CALIFORNIA AVE                           MONTAUK, NY 11954-5250
RIVERDALE, MD 20737-1151                           GLENDALE, CA 91203-2211



RUDY ROBERTS CUST JULIE ANNE ROBERTS               RUEBEN A SIMS                                     RUI MASAHIRO SAWADA
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y      PO BOX 490589                                     RUA GENERAL ELOY ALFARO 217
17071 GREENTREE LANE                               CHICAGO, IL 60649-0589                            SAO PAULO SP
HUNTINGTN BCH, CA 92649                                                                              04139-060 BRAZIL



RUI MASAHIRO SAWADA                                RUSSEL V HALL & GARY T HALL TR                    RUSSELL A HELMER JR & BEVERLY E HELMER TR
RUA GENERAL ELOY ALFARO 217                        UA 01/10/2007 BESS T HALL FAMILY LIVING TRUST     UA 07/01/92 THE RUSSELL A HELMERJR & BEVERLY E
SAO PAULO SP                                       3637 FAIRMOUNT BLVD                               240 GLENN GARY
04139-060 BRAZIL                                   CLEVELAND HTS, OH 44118                           MT MORRIS, MI 48458-8936



RUSSELL A SIBBRING & SUSAN K SIBBRING TR           RUSSELL C KLEINER                                 RUSSELL CHURCH
RUSSELL A & SUSAN K SIBBRING REV LIVING TRUST UA   1001 ELM                                          PO BOX 220863
10/25/01                                           DANVILLE, IL 61832-2810                           HOLLYWOOD, FL 33022-0863
2052 PENNY LANE
TRACY, CA 95377-7902
                   09-50026-mg              Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                            Part 8 of 8 Pg 378 of 440
RUSSELL D EVETT CUST STEPHEN HALL EVETT              RUSSELL DOUGLAS WEINBERG CUST CHARLES A WEINBERG UTMA
                                                                                                       RUSSELL
                                                                                                            NJ E DRAYTON & VIVIAN L DRAYTON TR
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT           4507 GATETREE CIR                                 RUSSELL E DRAYTON TRUST UA 03/14/00
1 COLLEY AVE APT 816                                 PLEASANTON, CA 94566-6031                         10917 GROUND DOVE CIR APT 9
NORFOLK, VA 23510                                                                                      ESTERO, FL 33928-2452



RUSSELL E LONG & ALDA R LONG TR                      RUSSELL F WHARTON JR & ALICE F WHARTON TR           RUSSELL G PETERSON & JOYCE E PETERSON TR
RUSSELL E LONG & ALDA R LONG REV TRUST UA 5/1/00     WHARTON REVOCABLE TRUST UA 07/22/05                 RUSSELL G PETERSON REV TRUST UA 01/02/02
1115 EAST NORWOOD PL                                 1044 LAURENT ST                                     2261 TIOGA BLVD
ALHAMBRA, CA 91801-5318                              SANTA CRUZ, CA 95060-2506                           SAINT PAUL, MN 55112-7266



RUSSELL H BARLOW & HEIDI S BARLOW TR                 RUSSELL I GRIFFITH CUST WILLIAM I GRIFFITH          RUSSELL JAMES GIBB TR
UA 7/15/97 THE RUSS & HEIDI BARLOW TRUST             U/THE IOWA UNIFORM GIFTS TO MINORS ACT              RUSSELL JAMES GIBB REVOCABLE INTER VIVOS TRUST UA
4070 EAST PATRICK LANE                               103 HUNTINGTON RD                                   12/29/92
LAS VEGAS, NV 89120-3928                             GREENVILLE, SC 29615-4203                           24739 EMERSON
                                                                                                         DEARBORN, MI 48124-1537


RUSSELL L SHOOLTZ TR                                 RUSSELL MILTON HOSTETLER & SARAH M HOSTETLER TR     RUSSELL N BERG CUST CHERYL ANN BERG
THE RUSSELL L SHOOLTZ REV LIVING TRUST UA 01/28/03   UA 12/5/92 RUSSELL MILTON HOSTETLER&SARAH           U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
13500 TURNER RD                                      80 FULLER AVE                                       1081 SHADLE AVE
DEWITT, MI 48820-9613                                PERU, IN 46970-2821                                 CAMPBELL, CA 95008-5923



RUSSELL REED CUST CHRISTOPHER REED                   RUSSELL REED CUST JEFFREY REED                      RUSSELL REED CUST MICHELE REED
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
99 SUNSET LANE                                       99 SUNSET LANE                                      99 SUNSET LANE
ORCHARD PARK, NY 14127-2518                          ORCHARD PARK, NY 14127-2518                         ORCHARD PARK, NY 14127-2518



RUSSELL W BROWN & SARA E BROWN TR                    RUSSELLA J SCOTT TR                                 RUTH A COPLAN
BROWN FAMILY REVOCABLE LIVING TRUST UA 11/04/03      ROBERT W & RUSELLA J SCOTT REVOCABLE LIVING TRUST   17515 442ND AVE
132 KNIGHT CT                                        UA 7/14/94                                          HENRY, SD 57243-6606
GEORGETOWN, KY 40324-9403                            355 WALPER AVE
                                                     CLAWSON, MI 48017-2030


RUTH A KENNEDY & CHARLES M KENNEDY TR                RUTH A SCHILKE CUST JOHN F SCHILKE                  RUTH ANDERSON CUST JEFFREY LEE ANDERSON
RUTH A KENNEDY LIVING TRUST UA 08/10/94              U/THE CONN UNIFORM GIFTS TO MINORS ACT              A MINOR PURSUANT TO SECTIONS 1339 /26 INCL OF THE
239 DAUSMAN PARK                                     3 HUBBARD ST                                        REVISED CODE OF OHIO
CLARKSVILLE, MI 48815-9787                           MIDDLETOWN, CT 06457-3617                           PO BOX 238
                                                                                                         MUSE, PA 15350-0238


RUTH ANN DICK CUST ANDREW DAVID DICK                 RUTH ANN DICK CUST MARK STEVEN DICK                 RUTH ANN MC QUAID CHENOWETH TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          U-A WITH RUTH ANN MC QUAID CHENOWETH 7/28/78
4210 HARRIS PLACE                                    27 KRAMERS POND RD                                  1870 SYCAMORE DR
WILMINGTON, DE 19808-5758                            PUTNAM VALLEY, NY 10579-2625                        SAN MARINO, CA 91108-2920



RUTH ANN TODD & CHARLIE D TODD TR                    RUTH ANN WAYE CUST VICTOR WAYE                      RUTH ANNA KALO CUST STEVEN JAMES KALO
UA 07/17/2008 TODD FAMILY REVOCABLE TRUST            U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT      UNDER THE WEST VIRGINIA GIFTS TO MINORS
2015 UNIVERSITY AVE                                  207 GREEN VALLEY RD                                 1428 WASHINGTON AVE
SAN JOSE, CA 95128                                   LANGHORNE, PA 19047-1126                            PARKERSBURG, WV 26101-3427



RUTH ANNE KELLER CUST MISS CYNTHIA ANNE KELLER       RUTH B GREENSTEIN TR RUTH B GREENSTEIN FAMILY TRUST UA
                                                                                                         RUTH
                                                                                                            12/21/01
                                                                                                                B KREINDLER
U/THE OHIO UNIFORM GIFTS TO MINORS ACT               5270 EVONNE AVE                                     25 MCKESSON HILL RD
3348 E BUCK RD                                       ROHNERT PARK, CA 94928-1909                         CHAPPAQUA, NY 10514-1642
PENNSBURG, PA 18073-2311
                   09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                           Part 8 of 8 Pg 379 of 440
RUTH B WILSON CUST JANE R WILSON                   RUTH C EINBECK                                        RUTH C HOHL CUST DANIEL JOHN HOHL
U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT        946 COPLEY LANE                                       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
BOX 332                                            JOLIET, IL 60431-9302                                 2385 CEDAR PARK DRIVE APT 230
MONTEREY, VA 24465-0332                                                                                  HOLT, MI 48842



RUTH C HOHL CUST ROBERT JOSEPH HOHL                RUTH D FISCHBACH                                      RUTH D MAYLAND CUST MISS PATRICIA ANN MAYLAND
U/THE MICH UNIFORM GIFTS TO MINORS ACT             PO BOX 300363                                         U/THE WIS UNIFORM GIFTS TO MINORS ACT
2819 DALE                                          MIDWOOD STATION                                       1750 PARLIAMENT CT
SOUTH BEND, IN 46614-1353                          BROOKLYN, NY 11230-0363                               LAKE FOREST, IL 60045-3772



RUTH E LAUDERDALE TR                               RUTH G WAY TR RUTH G WAY TRUST UA 04/11/87            RUTH GREENBLAT CUST ALIX GREENBLAT
UA 07/27/92 WALTER E LAUDERDALE IV & RUTH E        3291-722 SHELLERS BEND                                U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT
LAUDERDALE REVOCABLE                               STATE COLLEGE, PA 16801-3094                          15429 SUTTON ST
400 BLUEFIELD MANOR                                                                                      SHERMAN OAKS, CA 91403-3809
AUBURN, NY 13021


RUTH H HAMILTON                                    RUTH H STEINERT CUST DAVID E STEINERT UGMA OH         RUTH HARRINGTON CUST TERRENCE L HARRINGTON
22125 REINHARDT                                    7 E INTERWOOD PL                                      U/THE MASS UNIFORM GIFTS TO MINORS ACT
WOODHAVEN, MI 48183-1503                           CINCINNATI, OH 45220-1821                             5 FERRY LOTS LANE
                                                                                                         SALISBURY, MA 01952-2306



RUTH J FORMAN CUST JENNIFER E FORMAN               RUTH J HARRIS CUST WENDY SUSAN HARRIS                 RUTH L BORLAND & ELEANOR KIRBY TR
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW     A MINOR U/ART 8-A OF THE PERS PROP LAW OF NEW YORK    RUTH LAMONT BORLAND LIVING TRUSTUA 02/28/98
29928 OAKVISTA CT                                  C/O DELSEN                                            1706 WEST LATIMER PL
AGOURA HILLS, CA 91301-4415                        6 KEENES ROAD                                         TULSA, OK 74127-5402
                                                   WESTPORT, CT 06880


RUTH L MARTIN                                      RUTH LYNN STEINBERG                                   RUTH M BEYERSDORF TR
1902 172TH ST E                                    235 CREST RD                                          RUTH M BEYERSDORF REVOCABLE LIVING TRUST UA
SPANAWAY, WA 98387                                 WOODSIDE, CA 94062-2310                               03/12/99
                                                                                                         9155 GREENWAY COURT #N215
                                                                                                         SAGINAW, MI 48609-6762


RUTH M BRONSTEIN                                   RUTH M CAREY & MICHAEL F CAREY & MICHAEL P CAREY TR   RUTH M DUNCAN CUST LAURA L DUNCAN
& BETH M SOWDEN & KURT D HOFFSTEIN & MARK F        CAREY FAMILY TRUST UA 06/01/05                        A MINOR PURS TOSECS 1339 19-TO 1339 26-INCL OF THE
HOFFSTEIN JT TEN                                   3400 FLAGSHIP AVE                                     21 N CHERRYWOOD LANE
302 COUNTRY CLUB DR                                TAVARES, FL 32778-9248                                PISQAH FOREST, NC 28768-9514
FAIRFIELD
NEWARK, DE 19711-2741

RUTH M SANDER CUST MARY JANE SANDER                RUTH P WEINSHEL                                       RUTH S HEINY
A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J       1400 N PROSPECT AVE APT 803                           683 SUNSET DR
27 HILLSIDE AVE APT 209                            MILWAUKEE, WI 53202-3032                              NOBLESVILLE, IN 46060-1226
MONTCLAIR, NJ 07042-2114



RUTH S HUNTINGTON & BURR S HUNTINGTON & DANIEL S HUNTINGTON
                                                    RUTH S KLEINHENZ
                                                            TR                                           RUTH S LANGSTEIN CUST MARK LANGSTEIN
UA 07/14/98                                         7720 OLD NUMBER 6 HWY                                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
PO BOX 1436                                         SANTEE, SC 29142-9091                                6009 VALERIAN LN
ANACORTES, WA 98221-6436                                                                                 ROCKVILLE, MD 20852-3411



RUTH S MEYKA CUST CYNTHIA M MEYKA                  RUTH SIPELSTEIN & BERNARD SIPELSTEIN JT TEN           RUTH STEINER LARSON
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         2260 E 63RD ST                                        815 CONTRA COSTA AVE
4245 BIEBER                                        BROOKLYN, NY 11234-6304                               BERKELEY, CA 94707-1919
STERLING HEIGHTS, MI 48310-6312
                    09-50026-mg              Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                               Part 8 of 8 Pg 380 of 440
RUTH V MC COY CUST JOSEPH P MC COY                      RUTH WATENBERG & LEON WATENBERG TR                     RUTH WHITENACK & DONALD D WHITENACK TR
U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT          FAMILY TRUST 09/12/90 U-A F-B-O LEON WATENBERG         UA 05/04/93 RUTH M WHITENACK & DONALD D WHITENACK
10811 TIMBERGLEN DR                                     84 SOUTH WALDINGER STREET                              TRUST
HOUSTON, TX 77024-6808                                  VALLEY STREAM, NY 11580-5235                           1270 N FORD ST
                                                                                                               UNIT 250
                                                                                                               GOLDEN, CO 80403-1975

RUY DE PAULA REIS                                       RYAN NAUMAN                                            RYAN TAYLOR NIKITIN
C/O MARIA HELENA DE LIRA REIS                           540 STEINFELT ROAD                                     3461 WINFAIR PLACE
RUA EMILIO PINHEIRO DE BARROS                           RED LION, PA 17356-8225                                MARIETTA, GA 30062-1130
251 BAIRRO SANTA LUCIA 30360-130 BELO HORIZONTE
MINAS GERAIS BRASIL BRAZIL


S EILEEN TEAGUE & JOAN T KILPATRICK TR                  S K BANSAL MD INC PROFIT SHARING PLAN DTD 03-01-07 PROFESSIONAL
                                                                                                               S MARTIN BRONSON
                                                                                                                         INV
UA 02/03/2000 TEAGUE LIVING TRUST                       MGMT AS AGEN                                           C/O ATTY RODNEY S KLEIN
9778 STATE ROUTE 22                                     1425 PEACOCK DR                                        110 CORPORATE DR
MDL GRANVILLE, NY 12849                                 LIMA, OH 45805-3608                                    SUITE 150
                                                                                                               JOHNSON CITY, TN 37604


S RICHARD RICCARDI & PAULINE RICCARDI TR                S ROBERT HOWELL CUST ROBERT W HOWELL                   SAL CIOLINO & ANTOINETTE CIOLINO TR
S RICHARD & PAULINE RICCARDI LIVING TRUST UA 2/22/05    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             SAL CIOLINO REVOCABLE TRUST UA 11/30/00
15416 58TH RD                                           5208 W LAKE RD                                         5719 LOST BROOK CT
FLUSHING, NY 11355-5528                                 VIRGINIA BEACH, VA 23455-2520                          SAINT LOUIS, MO 63129-2927



SALLY A BUREK & ROBERT J BUREK TR                       SALLY A PELTIER & MICHAELETTE MORTENSEN TR             SALLY ANN CASSADY & DONALD J CASSADY TR
ROBERT J & SALLY A BUREK TRUST UA 09/25/00              PELTIER FAMILY TRUST UA 3/24/99                        SALLY ANN CASSADY TRUST UA 10/07/87
15310 BEAL FRED DR                                      8242 W DREYFUS DR                                      1993 SEARL CT
FENTON, MI 48430-1711                                   PEORIA, AZ 85381-4955                                  EAST LANSING, MI 48823-7265



SALLY ANN GILLETT                                       SALLY H HUBER                                          SALLY M KLEINER
& JOHN T GILLETT & SHELLY E RICKERT & KRISTIE A COWAN   PO BOX 370142                                          4425 FONDELL DRIVE
JT TEN                                                  WEST HARTFORD, CT 06137-0142                           EDINA, MN 55435-4151
344 HARRINGTON
MT CLEMENS, MI 48043-2927


SALLY M RISNER                                          SALVATION ARMY                                         SALVATORE C CERNIGLIA
806 OBERLIN DR                                          PO BOX 420160                                          & ROSE M CERNIGLIA JT TEN TOD DIANA M CERNIGLIA
FAIRFILED, OH 45014-2833                                PONTIAC, MI 48342-0160                                 NICHOLAS G CERNIGLIA
                                                                                                               3301 CLAREMONT
                                                                                                               INDEPENDANCE, MO 64052-2743


SALVATORE J CORSO & TERESA M CORSO TR                   SALVATORE ZERILLO                                      SAM B HERALD & ETTIA F HERALD TR
SALVATORE J CORSO & TERESA M CORSO JT LIVING TRUST      & J A ZERILLO & VINCENT ZERILLO & JACQUELINE ORTWEIN   SAM B HERALD & ETTIA FAY HERALD TRUST UA 1/8/01
UA                                                      &                                                      19 ELM ST
1645 OAKMONT LN                                         25907 HARMON                                           WILDER, KY 41071-2943
SANDUSKY, OH 44870-4330                                 ST CLAIR SHORES, MI 48081-2138


SAM COHEN CUST STEPHEN ERIC COHEN                       SAM E OSBORN 2ND CUST SAM E OSBORN 3RD                 SAM E STORY JR & REBECCA S DUGAN TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT              U/THE INDIANA UNIFORM GIFTS TO MINORS ACT              SAM E STORY MARITAL TRUST UA 2/04/03
7 SCENIC VIEW COURT EAST                                2060 FAIRHAVEN CIR                                     PO BOX 247
DIX HILLS, NY 11746-5754                                ATLANTA, GA 30305-4313                                 CHARLESTON, MO 63834-0247



SAM HERMAN CUST JESS M HERMAN                           SAM J KASBARIAN JR                                     SAM M MACKOOL & SALLY J MACKOOL TR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT            PO BOX 180303                                          MACKOOL FAMILY LIVING TRUST UA 11/11/99
GENERAL DELIVERY                                        UTICA, MI 48318-0303                                   19672 WOODSIDE
SAN FRANCISCO, CA 94142                                                                                        HARPER WOODS, MI 48225-2206
                    09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                           Part 8 of 8 Pg 381 of 440
SAM POLIZZI VITINA TORTOMASI JACQUELINE BECCACIO    SAM S GENNOE CUST ANNA SUSAN GENNOE                 SAM SPECTOR CUST MATHEW B SPECTOR
& ANGELINA POLIZZI EXEC FOR THE ESTATE OF JOSEPH    U/THE TENN UNIFORM GIFTS TO MINORS ACT              U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
POLIZZI                                             1309 N GLEN DR                                      18304 GULF BLVD
15769 HOWARD DR                                     HIXSON, TN 37343-4349                               APT 608
MACOMB, MI 48042-5716                                                                                   REDINGTN SHOR, FL 33708-1055


SAM W CRAWFORD                                      SAM W HADDAD CUST DOROTHY R HADDAD                  SAM WAGNER CUST STEPHEN WAGNER
PO BOX 240746                                       U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
CHARLOTTE, NC 28224-0746                            19744 BLOSSOM LANE                                  52 TOWNSEND RD
                                                    GROSSE POINTE WOOD, MI 48236-2508                   LIBERTY, NY 12754-2913



SAM WEINBERG & MILDRED WEINBERG JT TEN              SAMANTHA R BRUSH CUST JACQUI N BRUSH                SAMANTHA R BRUSH CUST JAYSON M BRUSH
970 YOSEMITE LANE                                   UNDER THE MO TRANSFERS TO MINORS LAW                UNDER THE MO TRANSFERS TO MINORS LAW
LINCOLN, CA 95648-8306                              136 W MONROE                                        136 W MONROE
                                                    MEMPHIS, MO 63555-1373                              MEMPHIS, MO 63555-1373



SAMMY J BURNETT                                     SAMMYE KLEIN                                        SAMUEL COHEN CUST BRANDON MARGER
PO BOX 310451                                       150 KLATTENHOFF LN                                  U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
NEW BRAUNFELS, TX 78131-0451                        APT 11208                                           27 1/2 MEADOW ST
                                                    HUTTO, TX 78634-4613                                NORTH HADLEY, MA 01035-9640



SAMUEL D STEINER                                    SAMUEL E ADAMS & LUCILLE Q ADAMS JT TEN             SAMUEL EINBINDER TR SAMUEL EINBINDER TRUST UA 11/05/9
37125 FARLEY                                        PO BOX 160205                                       3005 SOUTH LEISURE WORLD BLVD
CLINTON TWP, MI 48036-2533                          BOLING SPRINGS, SC 29316-0005                       UNIT 212
                                                                                                        SILVER SPRING, MD 20906



SAMUEL GOLDMAN CUST MICHAEL M GOLDMAN               SAMUEL GOLDSTEIN                                    SAMUEL H KLEIN CUST EDITH R KLEIN U/THE NEW YORK U-G-M
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y       143 EMERALD GREEN CT                                7107 WELLS PKWY
33 ARROWHEAD CT                                     SAINT LOUIS, MO 63141-7555                          HYATTSVILLE, MD 20782-1042
MANHASSET, NY 11030-4413



SAMUEL HERZLINGER CUST GEORGE A HERZLINGER          SAMUEL J ANDERSON CUST KEITH EDWIN ANDERSON         SAMUEL J GUARNIERI JR
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW     A MINOR PURS TO SECS 1339 /26 INCL OF THE REVISED   132 SOUTH SEINE DRIVE
JERSEY                                              CODE OF OHIO                                        CHEEKTOWAGA, NY 14227-3029
560 CONCORD AVENUE                                  95 BEDFORD FOREST DR
BELMONT, MA 02478-2028                              SHARPSBURG, GA 30277-8936


SAMUEL J HARDY TR                                   SAMUEL J MURRAY CUST PATRICK L MURRAY               SAMUEL KLEIN & SYDELLE KLEIN JT TEN
SAMUEL J HARDY MD INC PROFIT SHARING PLAN & TRUST   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          3845 SUGAR LOAF LN
UA 11/12/89                                         PO BOX 566365                                       SKOKIE, IL 60076-1921
9109 VERSAULLES DR                                  ATLANTA, GA 31156-6365
BAKERSFIELD, CA 93311-1533


SAMUEL KURSCHNER CUST GEORGE KURSCHNER              SAMUEL L CLAY & JUDITH A CLAY TR                    SAMUEL L GRAVES
A MINOR U/THE FLORIDA UNIFORM GIFTS TO              UA 03/06/07 SAMUEL L CLAY & JUDITH A CLAY           #106965
1927 SW 16TH ST                                     1423 W 5TH ST                                       NORTHPOINT TRAINING CENTER
BOCA RATON, FL 33486-8520                           MESA, AZ 85201                                      PO BOX 479
                                                                                                        BURGIN, KY 40310


SAMUEL L KAIN & VICTORIA L KAIN TR                  SAMUEL N CEDAR CUST EDWARD CEDAR                    SAMUEL P WEINER
UA 09/03/87 SAMUEL L & VICTORIA L KAIN              U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT     8547 HENDRIE
7147 KAPP COURT                                     66 PINE DRIVE                                       HUNTINGTON WOODS, MI 48070-1617
NEW PORT RICHEY, FL 34653-3513                      ROOSEVELT, NJ 08555
                    09-50026-mg         Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                         Part 8 of 8 Pg 382 of 440
SAMUEL PAPIR CUST ELIEZER PAPIR                   SAMUEL R ABRAMOWITZ & SHARYN ABRAMOWITZ TR         SAMUEL R ABRAMOWITZ & SHARYN ABRAMOWITZ TR
U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT    UA 12/01/86 ETHAN ABRAMOWITZ                       UA 12/01/86 HOWARD ABRAMOWITZ
1971 N E 191ST DRIVE                              515 OAK ROAD                                       515 OAK ROAD
NORTH MIAMI BEACH, FL 33179-4353                  MERION, PA 19066-1352                              MERION, PA 19066-1352



SAMUEL RIBOK & SYLVUA RIBOK TR                    SAMUEL S CARSON & AGNES M CARSOM TR                SAMUEL SHECKTER
BARBARA ELLEN RIBOK TR U-A WITH BARBARA ELLEN     UA 02/11/99 SAMUEL C CARSON UNIFIED RESIDUARY      THE CARLISLE
RIBOK                                             19804 HIAWATHA RD                                  SUITE 1601-11826-100TH AVE
6 FIELDBROOK RD                                   ODESSA, FL 33556                                   EDMONTON AB
MARBLEHEAD, MA 01945-1006                                                                            T5K 0K3 CANADA


SAMUEL STEIN                                      SAMUEL W BENT                                      SAMUEL W BENT & NANCY O BENT JT TEN
1926 ANTIETAM ST                                  2015 137 PL SE                                     2015 137 PL SE
PITTSBURGH, PA 15206-1126                         BELLEVUE, WA 98005-4027                            BELLEVUE, WA 98005-4027




SAMUEL W BURTON JR & DEBORAH R FURCI-BURTON TR    SAMUEL WEINER                                      SANDER JACOB BURSTEIN
BURTON FAMILY TRUST UA 09/29/06                   177 FLAGG ST                                       1101 S ARLINGTON RIDGE RD
7846 GLADE AVE                                    WORCESTER, MA 01609-1258                           APT 1004
CANOGA PARK, CA 91304-4716                                                                           ARLINGTON, VA 22202-1928



SANDI LIWAG & ULYSSES LIWAG JT TEN                SANDRA A SANTAROSSA & JOSEPH R MARGEVICIUS TR      SANDRA ARLENE GOULD
6607 101ST ST NW                                  SANDRA A SANTAROSSA TRUST UA 04/03/00              6711 204TH DR NE
GIG HARBOR, WA 98332-8537                         2257 ROCK VALLEY RD                                REDMOND, WA 98053-7826
                                                  METAMORA, MI 48455-9333



SANDRA E RANDALL                                  SANDRA G SCHWEINFURTH                              SANDRA J NEIDHART TR
#22-5051-203 ST                                   2107 COLUMBUS AVE                                  DAVID A NEIDHART & SANDRA J NEIDHART TRUST B UA
LANGLEY BC                                        SANDUSKY, OH 44870-4865                            12/10/92
V3A 1U5 CANADA                                                                                       7549 E JENAN DR
                                                                                                     SCOTTSDALE, AZ 85260-5419


SANDRA J STEIN                                    SANDRA J TRUEBLOOD & BELINDA D BRAGGINTON TR       SANDRA J WOOD
7301 SHILOW LN                                    ELROD LIVING TRUST UA 05/29/03                     PO BOX 348752
SAINT LOUIS, MO 63123-2032                        7141 MORAIN DR                                     SACRAMENTO, CA 95834-8752
                                                  SANDGER, CA 93657-9132



SANDRA K EBERLEIN CUST ALANA N EBERLEIN UTMA OH   SANDRA K SIMS #                                    SANDRA K WALKER
1485 LAUDERDALE                                   114 N RIVER ST                                     PO BOX 891046
LAKEWOOD, OH 44107-3629                           YPSILANTI, MI 48198-2807                           HOUSTON, TX 77289-1046




SANDRA KAY HARDIN COBB                            SANDRA L BALL & JOSEPH H BALL & ROBERT A BALL TR   SANDRA L WALKER CUST SCOTT A WALKER
938 180TH ST                                      ESTATE OF LAIGH M COHAN                            U/THE MICH UNIFORM GIFTS TO MINORS ACT
JEFFERSON, IA 50129-7017                          1175 HOLLOW RD                                     10352 DEGRAND
                                                  NARBERTH, PA 19072-1155                            WHITE LAKE, MI 48386-2918



SANDRA LEE BELLAIR                                SANDRA MARGARET DUFFIELD GUPTA                     SANDRA MARION REINSTEIN
PO BOX 213026                                     105-5910 GREENSBORO DRIVE                          5501 CLEVELAND ST
COLUMBIA, SC 29221-3026                           MISSISSAUGHA ON                                    HOLLYWOOD, FL 33021-4615
                                                  L5M 5Z6 CANADA
                    09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                             Part 8 of 8 Pg 383 of 440
SANDRA RICE                                           SANDRA SAMMIS CODY & DEBORAH MARIE FRERICH TR     SANDRA SUE CHANCELLOR & GARY K CHANCELLOR JT TEN
& CAROLYN FANNING & WILLIAM FANNING JR & JACQUELINE   SANDRA K SAMMIS SPECIAL NEEDS TRUST UA 11/06/03   17745 157TH TERR
FANNING JT TEN                                        4351 SUMMER SUN                                   BONNER SPRINGS, KS 66012-7354
1287 CLEVELAND HEIGHTS                                SAN ANTONIO, TX 78217-4339
CLEVELAND HEIGHTS, OH 44121-1638


SANDRA SUE INGLES                                     SANDY D DAVIS                                     SANFORD MEYEROWITZ CUST JUDITH MEYEROWITZ
PO BOX 361071                                         14944 MADDELEIN                                   U/THE N Y UNIFORM GIFTS TO MINORS ACT
MILPITAS, CA 95036-1071                               DETROIT, MI 48205-2412                            134 GLENHILL DRIVE
                                                                                                        ROCHESTER, NY 14618-3938



SANFORD MEYERS CUST DANIEL MEYERS                     SANFORD N GROENDYKE & MARY HELEN GROENDYKE TR     SANFORD S STERNSTEIN & GAIL LEE STERNSTEIN TEN COM
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          SANFORD N GROENDYKE LIVING TRUSTUA 7/09/97        15 CHESTNUT LN
4 COMMERCE DR                                         621 LAUREL LAKE DR UNIT B305                      SCHENECTADY, NY 12309-1243
VOORHEES, NJ 08043-4772                               COLUMBUS, NC 28722-7438



SANJUANA S RODRIGUEZ                                  SANTO J CALLARI & JOSEPHINE M CALLARI TR          SANTO S QUARTARONE CUST DAVID M QUARTARONE
1648 INDIANAPOLIS BLVD                                UA 05/13/91 M-B SANTO J CALLARI &                 U/THE MASS UNIFORM GIFTS TO MINORS ACT
WHITING, IN 46394                                     11621 GARY ST                                     46 HOULTON RD
                                                      GARDEN GROVE, CA 92840-2024                       FORT FAIRFIELD, ME 04742-3301



SANTOSH KUMAR WADHWA & SUDARSHAN WADHWA TR            SARA SUMNER MARKS                                 SARA WESTERMAN CUST JOEL WESTERMAN
THE WADHWA FAM TRUST UA 02/20/95                      29516 118TH AVE SE                                U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT
2566 MARASCHINO COURT                                 AUBURN, WA 98092-2012                             55 ARROWHEAD TRAIL
UNION CITY, CA 94587-4939                                                                               EAST GREENWICH, RI 02818-1301



SARA WONG QUAN CUST CYNTHIA SARA QUAN                 SARA WONG QUAN CUST RAYMOND JOSEPH QUAN           SARAFINA J LENNOX & GERALD M LENNOX TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT               U/THE CALIF UNIFORM GIFTS TO MINORS ACT           SARAFINA J LENNOX REV LVG TRUST UA 10/4/98
574 18TH AVE                                          574 18TH AVE                                      6233 AMBOY RD
SAN FRANCISCO, CA 94121-3111                          SAN FRANCISCO, CA 94121-3111                      DEARBORN HEIGHT, MI 48083



SARAH ANNE DUNNING CUST BRUCE F DUNNING               SARAH ANNE DUNNING CUST KAREN E DUNNING           SARAH ANNE DUNNING CUST LEROY C DUNNING
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT             U/THE INDIANA UNIFORM GIFTS TO MINORS ACT         U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
4766 LAKELAND DR                                      4766 LAKELAND DR                                  4766 LAKELAND DR
DELRAY BEACH, FL 33445-5324                           DELRAY BEACH, FL 33445-5324                       DELRAY BEACH, FL 33445-5324



SARAH C LAWTON CUST ELIZABETH BELLE LAWTON            SARAH J BERGLUND CUST MARTIN DIEHL BERGLUND       SARAH J BERGLUND CUST PAMELA ANN BERGLUND
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW       A MINOR U/THE LAWS OF THE STATE OF MICH           A MINOR U/THE LAWS OF THE STATE OF MICH
JERSEY                                                3081 MYDDLETON                                    27 SEXTON HOLLOW
286 SPRINGDALE TERRACE EAST                           TROY, MI 48084                                    CANTON, CT 06019-2100
YARDLEY, PA 19067-3421


SARAH J HEIN                                          SARAH J STEINERT                                  SARAH JANE BLISS & KERRY E BAILEY TR
39751 GREENVIEW PL                                    308 PARK ST                                       SARAH JANE BLISS REV TRUST UA 12/18/02
APT 2                                                 BELGIUM, WI 53004-9431                            2913 WEST ADAMS
PLYMOUTH, MI 48170-4567                                                                                 ST CHARLES, MO 63301-4603



SARAH JORDAN FRAVERT & STEPHANI K GLASFORD TR         SARAH L SMITH                                     SARAH R WEINGARTZ TR WEINGARTZ FAMILY REVOCABLE TR
IRREVOCABLE TR 08/27/91 U-A DORIS E JORDAN            13302 108TH AVE COURT E                           5821 ATTICA ROAD
203 SAGE RD                                           PUYALLUP, WA 98374                                ATTICA, MI 48412-9775
LOUISVILLE, KY 40207-3439
                   09-50026-mg            Doc 7123-50            Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                                Part 8 of 8 Pg 384 of 440
SARAH WEINSTEIN                                         SARKIS D SOULTANIAN CUST LESLIE ANN SOULTANIAN      SATOSHI YOKOYAMA CUST GLENN K YOKOYAMA
95 OLD MILL RD                                          U/THE MICH UNIFORM GIFTS TO MINORS ACT              U/THE OHIO UNIFORM GIFTS TO MINORS ACT
GREAT NECK, NY 11023-1914                               31149 SUNSET CT                                     30821 ROYALVIEW DR
                                                        BEVERLY HILLS, MI 48025-5100                        WILLOWICK, OH 44095-4249



SAUL J BLITZER CUST STEVE ARTHUR BLITZER                SAUL J HALPERN & BESSIE HALPERN TR                  SAUL LEVEY & ETTA LEVEY & JOSEPH L LEVEY TR
A MINOR U/ART 8-A OF THE PERS PROP LAW OF NY            REVOCABLE TRUST 05/21/87 U-A SAUL J HALPERN         UA 12/06/90 SAUL LEVEY & ETTA
9 HELENA GARDENS                                        2615 NE 3RD CT                                      9351 OAKMORE RD
THORNHILL ON                                            BOYNTON BEACH, FL 33435-1401                        LOS ANGELES, CA 90035-4136
L4J 7A8 CANADA


SAUL NEINSTEIN                                          SAUL SCHWARTZ                                       SCHODOWSKI
920 E 17TH STREET APT 620                               PO BOX 320452                                       208WILLOWBROOK RD
BROOKLYN, NY 11230                                      FLINT, MI 48532-0008                                STATEN ISLAND, NY 10302-2449




SCHOOL ADM DISTRICT # 40                                SCOTT A SACCHI                                      SCOTT D J EISINGER
44 SCHOOL ST                                            PO BOX 641523                                       UNIT 64101 64101
WARREN, ME 04864-4259                                   CHICAGO, IL 60664-1523                              APO, AE 09831-4101




SCOTT E SUTLIFF                                         SCOTT H PARHAT & NANCY A PARHAT JT TEN              SCOTT J BRANDWEIN
& MISS SHERI S SUTLIFF & ORAL E SUTLIFF & MRS ELEANOR   BOX 190091                                          1211 S PRAIRIE AVE
H SUTLIFF JT TEN                                        BURTON, MI 48519-0091                               APT 1204
1000 SUTLIFF LANE                                                                                           CHICAGO, IL 60605-3648
BOYNE CITY, MI 49712-9647


SCOTT K GAMSTER CUST GRANTLAND SCOTT GAMSTER            SCOTT MATTHEW SEGERSTROM                            SCOTT T UNDERHILL
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW          BOX 776067                                          4500 STEINER RANCH BLVD 3307
1800 TESTA DRIVE                                        STEAMBOAT SPRINGS, CO 80477                         AUSTIN, TX 78732
MARION, IL 62959-1422



SCOTT VERNON TWEEDY                                     SCOTT W KNAPP & MICHELLE R KNAPP TR                 SCRIPOPHILY COM
2213 105TH PLACE SOUTHEAST                              SCOTT W KNAPP & MICHELLE R KNAPPREVOC LIVING        PO BOX 223795
EVERETT, WA 98208-4241                                  4706 ESPLANADE CT                                   CHANTILLY, VA 20153-3795
                                                        GRANBURY, TX 76049-4010



SEAN M WALKER U-A DTD 10-22-85 THE LUCEY M              SEBASTIAN V LENTINI & URSULA J LENTINI TR           SEBASTIAN ZILLINGER
& RICHARD J WALKER IRREV TRUST                          SEBASTIAN & URSULA LENTINI LIVING TRUST UA 9/8/99   & GEORGIA ZILLINGER & LARRY ALLEN ZILLINGER & LINDA A
128 RICHDALE RD                                         41378 GLOCA MORA                                    OHRT JT TEN
NEEDHAM HGTS, MA 02494                                  HARRISON TWP, MI 48045                              517 JOHNS SHILOH RD
                                                                                                            BRANDON, MS 39042-8983


SEBASTIANO MAIORANA CUST JOHN BENJAMIN RUSSO            SEBASTIANO MAIORANA CUST MARYLOU RUSSO              SELMA H LEVAN CUST BARRY EDWARD LEVAN
A MINOR UNDER ARTICLE EIGHT-A OF THE PERS PROPERTY      A MINOR UNDERART 8-A OF PERS PROPERTYLAW OF NY      U/THE PA UNIFORM GIFTS TO MINORS ACT
LAW OF NY                                               C/O MARYLOU RUSSO BERDINO                           3877 SW CANBY ST
BOX 4381 RTE 94                                         4375 RT 94                                          PORTLAND, OR 97219-1583
GOSHEN, NY 10924-0372                                   GOSNEN, NY 10924-5615


SELWYN ROSENHECK CUST DAVID M ROSENHECK                 SERENE ADELL CUST JOAN HARRIETT ADELL               SERENE ADELL CUST LAWRENCE RAYMOND ADELL
A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS            U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          A MINOR U/LAWS OF THE STATE OF MICHIGAN
1140 DONAMY GLEN                                        1441 CEDAR BEND DR                                  24111 CIVIC CENTER DR APT 323
SCOTCH PLAINS, NJ 07076-2403                            BLOOMFIELD, MI 48302-1920                           SOUTHFIELD, MI 48034-7434
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                            Part 8 of 8 Pg 385 of 440
SERGE KHANSCHASSOFF CUST OLGA KHANSCHASSOFF          SERGIO DAL POGGETTO                                 SEROPE MESROBIAN & VARVARA MESROBIAN TR
A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y        RUA PIAUI                                           MESROBIAN FAM TRUST UA 06/06/01
HHC 3IDM % G3 PLAIND UNIT #26222                     520 APT 32                                          1301 N KENMORE AVE
APO, AE 09036                                        FAO CAETANO DO SUL -SP                              LOS ANGELES, CA 90027-5805
                                                     09541-150 BRAZIL


SETH BOORSTEIN                                       SEVENTH DAY ADVENTIST ASSOCIATION OF COLORADO TR    SEYMOUR BARTH CUST JOEL BARTH
686 CENTRE ST                                        DANIEL & VIRGINIA EVA FANTONI REVOCABLE TRUST UA    U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
NEWTON, MA 02458-2329                                09/05/02                                            403 FORT HILL RD
                                                     C/O 7TH ADVEN 2520 S DOWNING ST                     SCARSDALE, NY 10583-2410
                                                     DENVER, CO 80210


SEYMOUR BERMAN CUST DEAN BERMAN                      SEYMOUR BUCKNER CUST HAROLD ROSS BUCKNER            SEYMOUR D COHEN SHIRLEY COHEN TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          SEYMOUR & SHIRELY COHEN FAMILY TRUST UA 11/18/92
18 PEACOCK DR                                        99 SCHOOLHOUSE LANE                                 321 S LA PEER DR
ROSLYN, NY 11576-2540                                ROSLYN HEIGHTS, NY 11577-2824                       BEVERLY HILLS, CA 90211-3501



SEYMOUR E VOORHEES TR                                SEYMOUR EPSTEIN                                     SEYMOUR PREISSMAN CUST HOWARD EARL PREISSMAN
UA 03/24/94 VOORHEES FAMILY REVOCABLE LIVING TRUST   10 LADY BESS DR                                     UNDER THE MARYLAND U-G-M-A
8675 32 MILE RD                                      DEAL, NJ 07723-1015                                 30 SIMARA ST
ROMEO, MI 48065-4303                                                                                     STUART, FL 34996-6324



SEYMOUR SHEINKOPF CUST MARK LEE SHEINKOPF            SEYMOUR ZWERLING CUST JEFFREY F ZWERLING            SHANA SCHREINER
U/THE MASS UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT               8232 DOGWOOD CT
517 ROSEBUSH LN                                      980 ALLEN LANE                                      PLAINFIELD, IN 46168-9022
ROCKVILLE, MD 20850-7778                             WOODMERE, NY 11598-1705



SHANNA A JACOBS                                      SHANNON D SHOWALTER & DONALD F SHOWALTER TR         SHANNON HILARY BECK
PO BOX 140836                                        UA 04/20/89 SHANNON D SHOWALTER & DONALD F          2811 STEINMETZ WAY
BROKEN ARROW, OK 74014-0836                          12347 SPRING TRAIL                                  OAKLAND, CA 94602
                                                     SAN FERNANDO, CA 91342-5818



SHANNON J PEWONSKI                                   SHANNON MAYENSCHEIN                                 SHARI GOLDSTEIN
& FRANK B PEWONSKI II & CHERI N GIBSON & FRANK B     5077 W ENON RD                                      6550 CREST TOP DR
PEWONSKI III JT TEN                                  FAIRBORN, OH 45324-9726                             WEST BLOOMFIELD, MI 48322-2656
405 LEXINGTON AVE
MANSFIELD, OH 44907-1351


SHARLEEN A FINKBEINER                                SHARLENE C RAY TOD ST STEPHENS ROMAN CATHOLIC CHURCH/CSUBJECT
                                                                                                       SHARLENE SIEGAL
                                                                                                                    TO STA
191 INGLEWOOD CT                                     TOD RULES                                         3124 COMSTOCK CT
LINDEN, MI 48451-8970                                10 BROOKSIDE DRIVE APT LC                         MUNDELEIN, IL 60060-6004
                                                     GREENWICH, CT 06830



SHARMAN A MCCARTY                                    SHARON C SYVERSON & ENTRIP L SYVERSON TR            SHARON E PIERCE
6908 124TH TERRACE NORTH                             SHARON C SYVERSON TRUST UA 09/04/01                 1756 1200TH AVE
LARGO, FL 33773-3303                                 20037 HOYA CT                                       LINCOLN, IL 62656-5042
                                                     LAKEVILLE, MN 55044-6829



SHARON E RANLY & PATRICK H KUNKLER TR                SHARON GOUTHRO CUST HUGH C ROBERTS III              SHARON INDYKE CUST FREDERICK INDYKE
UA 08/23/1993 THEODORE W KUNKLER TRUST               UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
582 EAST MAIN STREET                                 9102 E COOPERS HAWK DR                              4 PALMER COURT
SAINT HENRY, OH 45883                                SUN LAKES, AZ 85248-7473                            EAST BRUNSWICK, NJ 08816-2879
                    09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                             Part 8 of 8 Pg 386 of 440
SHARON J SCHAEFER & FRED W SCHAEFER TR                SHARON K PURCELL & LARRY L PURCELL TR             SHARON K VINTON & MARY A VINTON & NEIL W VINTON TR
SHARON J SCHAEFER TRUST UA 1/27/99                    PURCELL FAM REV TRUST UA 03/08/99                 VINTON TRUST UA 04/26/04
2408 FINNEY LEE DRIVE                                 8392 E GOLDEN CHOLLA DR                           8810 SOUTH GERA RD
KOKOMO, IN 46902-2944                                 GOLD CANYON, AZ 85219-6916                        BIRCH RUN, MI 48415-9225



SHARON L BENNER                                       SHARON L REINKE                                   SHARON M MILLS
PO BOX 682773                                         43669 YORKVILLE                                   825 575 E RR 1
FRANKLIN, TN 37068-2773                               CANTON, MI 48188                                  BOX 413
                                                                                                        CLINTON, IL 61727-9758



SHARON MILLS CUST HOWARD MILLS                        SHARON NEWMAN FELDMAN CUST ROSS AARON FELDMAN UTMA
                                                                                                      SHARON
                                                                                                         NC ROSENSTEIN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            PO BOX 221013                                   645 ST ANDREWS PL
4628 LAUREL CLUB CIRCLE                               CHARLOTTE, NC 28222-1013                        MANALAPAN, NJ 07726-9551
WEST BLOOMFIELD, MI 48323-2948



SHARON S WILEMON                                      SHARON STREMMEL WILEMON EX UW ARNOLD E STREMMEL SHARON T BEAUCHEMIN-TOBIN
PO BOX 100025                                         PO BOX 100025                                   4630 232ND AVE N E
FORT WORTH, TX 76185-0025                             FORT WORTH, TX 76185-0025                       REDMOND, WA 98053-8306




SHARON TOMKIEWICZ                                     SHARON WEILAND CUST WYATT DAVID SONGER UTMA SD    SHARON WILEMON TR UA 11/19/1992 LOUIS T STREMMEL TRUS
PO BOX 241689                                         24970 475TH AVE                                   PO BOX 101595
CHARLOTTE, NC 28224-1689                              DELL RAPIDS, SD 57022-5309                        FORT WORTH, TX 76185-1595




SHARON WILMA MCMILLAN                                 SHARON Y GATEWOOD                                 SHARYN J HEINZERLING
602-2445 WOODWARD AVE                                 1315 159TH AVE                                    608 DELL RIDGE DR
BURLINGTON ON                                         APT 205                                           DAYTON, OH 45429-1341
L7R 1N3 CANADA                                        SAN LEANDRO, CA 94578-5521



SHASHI KUMAR SHARMA & RASHMI SHARMA TR                SHAWN DAVID SMITH & NATALIE LAUREE SMITH JT TEN   SHAWN M MILLER
SHASHI KUMAR SHARMA & RASHMI SHARMA FAM TRUST UA      1432 195TH ST SW                                  2201 192ND ST SE #R205
8/15/00                                               LYNNWOOD, WA 98036-7170                           BOTHELL, WA 98012-7971
13041 ARABELLA LANE
CERRITOS, CA 90703-6125


SHEARSON LEHMAN HUTTON CUST COLIN L PULLAN            SHEILA A WIDENER                                  SHEILA BOGGS HUDSON CUST THOMAS HUDSON
ATTN ACCT ACQUISITIONS/18TH FL                        & KENNETH E WIDENER & HELEN M WIDENER & DANNY M   U/THE PA UNIFORM GIFTS TO MINORS ACT
388 GREENWICH ST                                      QUINN JT TEN                                      214 WINSMERE WAY
NEW YORK, NY 10013-2375                               238 COLONIAL                                      RIDGELAND, MS 39157-9748
                                                      DETROIT, MI 48217-1421


SHEILA CHASIN CUST ROGER CRAIG CHASIN                 SHEILA D SCHULTE                                  SHEILA J AKERBERG & CAROL A RARDON TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT               4120 211 COURT NE                                 UA 04/18/96 FLORENCE SCHAFFENEGGER TRUST
9018 RANGELY AVE                                      SAMMAMISH, WA 98074-6021                          2312 SANDY CREEK DR
W HOLLYWOOD, CA 90048-1721                                                                              ALGONQUIN, IL 60102



SHEILA J WEINSTEIN CUST ERIC TODD WEINSTEIN UGMA PA   SHEILA L COHEN & NATHAN G LUBIN TR                SHEILA SEMEL CUST RANDIE LYNN SEMEL
1108 CROMWELL RD                                      LUBIN LIFE INSURANCE TRUST UA 12/21/88            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
WYNDMOOR, PA 19038-7422                               5534 WALNUT GROVE RD                              1 DANBY PLACE
                                                      MEMPHIS, TN 38120-1956                            YONKERS, NY 10710
                    09-50026-mg              Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                             Part 8 of 8 Pg 387 of 440
SHEILA SHOOB CUST LEONARD SCOTT SHOOB                 SHEILA SIMMS & DEBORAH J GOLDSTEIN JT TEN           SHEILA T HAUPT CUST BRIAN H HAUPT
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 245 NEWPORT O                                       UNDER THE FLORIDA GIFTS TO MINORS ACT
3100 MONTEREY DR                                      DEERFIELD BCH, FL 33442                             329 KENT DR
MERRICK, NY 11566-5133                                                                                    COCOA BEACH, FL 32931-3819



SHEILA T HAUPT CUST BRIDGET C HAUPT                   SHEILA T HAUPT CUST KATHLEEN D HAUPT                SHELDON B REINGOLD
UNDER THE FLORIDA GIFTS TO MINORS ACT                 UNDER THE FLORIDA GIFTS TO MINORS ACT               297 BRAXMAR RD
329 KENT DR                                           329 KENT DR                                         TONAWANDA, NY 14150-8226
COCOA BEACH, FL 32931-3819                            COCOA BEACH, FL 32931-3819



SHELDON GOLLIN & BARBARA GOLLIN TR                    SHELLEY BINDON                                      SHELLEY J CAESAR & STEVEN SPECTOR TR
UA 05/24/78 SHELDON & BARBARA GOLLIN                  10531 126 ST NW                                     UA 09/22/2007 PHILLIP J SPECTOR GST TRUST
18244 COASTLINE DR                                    EDMONTON AB                                         150 S WACKER DRIVE APT 1200
MALIBU, CA 90265-5704                                 T5N 1V2 CANADA                                      CHICAGO, IL 60606



SHELLIE L PARKER & HELEN L PARKER TR                  SHELLIE L PARKER & HELEN L PARKER TR                SHELLIE L PARKER & HELEN L PARKER TR
REV LIV TR 09/19/89 U-A SHELLIE L PARKER &            UA 09/19/89 SHELLIE L PARKER & HELEN L              UA 09/19/89 SHELLIE L PARKER & HELEN L PARKER LIVING
2160 PHILLIPS RD                                      2160 PHILLIPS DR                                    TRUST
AUBURN HILLS, MI 48326-2445                           AUBURN HILLS, MI 48326-2445                         2160 PHILLIPS DR
                                                                                                          AUBURN HILLS, MI 48326-2445


SHERI L SMITH & MARILYN L SMITH JT TEN                SHERI LYNN CARPENTER & MICHELLE ANNE WEISS TR       SHERMAN E HIGGINS & VIRGINIA C HIGGINS TR
699191 BEVERLY DR                                     SOUBLIERE DAUGHTER'S TRUST UA 05/01/95              S & V HIGGINS FAMILY REVOCABLE TRUST UA 7/2303
SUSANVILLE, CA 96130-5915                             27795 DEQUINDRE APT 228                             50 MARJORIE ST
                                                      MADISON HEIGHTS, MI 48071-5717                      PORTSMOUTH, NH 03801-5313



SHERMAN K STEIN & MRS HADASSAH D STEIN JT TEN         SHERRY BRAY INDEPENDENT PERSONAL REPRESENTATIVE OFSHERYL
                                                                                                         THE ESTATE
                                                                                                               D MC OFLANE
1118 BUCKNELL DR                                      RICHARD L RUSSELL                                 PO BOX 970809
DAVIS, CA 95616-1715                                  5457 COUNTRY LANE                                 YPSILANTI, MI 48197-0814
                                                      FLINT, MI 48506-1019



SHINGO TAKAHASHI                                      SHIRLENE FRECH & GERHARD FRECH TR                   SHIRLEY A BEEMAN
3 15 7 YAHIRO                                         SHIRLENE FRECH LIVING TRUST UA 02/11/99             PO BOX 367963
SUMIDAKU                                              860 RIDGELINE DR                                    BONITA SPGS, FL 34136-7963
131 0041 TOKYO                                        BOYNE CITY, MI 49712-8727
JAPAN


SHIRLEY A CAMPAU TR                                   SHIRLEY A DUNN                                      SHIRLEY A MEINTS
SHIRLEY A CAMPAU REVOCABLE LIVING TRUST UA 06/09/98   & ROBERT A DUNN JR & JONATHAN R DUNN SR & TERRY     G 4126 W COURT
35949 CADRE STREET                                    LOUIS DUNN SR JT TEN                                FLINT, MI 48504
CLINTON TOWNSHIP, MI 48035-2906                       17301 RUSSELL
                                                      ALLEN PARK, MI 48101-2850


SHIRLEY A POWELL & ROBERT D POWELL TR                 SHIRLEY A SNYDER & DONALD M SNYDER TR               SHIRLEY A WHITING
UA 04/12/00 POWELL FAMILY REVOCABLE LIVING            SNYDER FAMILY REVOCABLE LIVING TRUST UA 06/07/03    PO BOX 117
111 CENTERWOOD LN                                     1430 FARNHAM AVE                                    CLAYTON, OH 45315-0117
DAYTON, OH 45429-2201                                 TROY, OH 45373-2611



SHIRLEY E BOJANOWSKI TR                               SHIRLEY F DERDIGER CUST JAN ALAN DERDIGER           SHIRLEY F OSBORNE TR
SHIRLEY E BOJANOWSKI REVOCABLE LIVING TRUST UA        U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT          SHIRLEY OSBORNE REVOCABLE LIVING TRUST UA 05/05/05
7/2/01                                                247 FORESTWAY DR                                    24380 WOODLAND
1315 NEW WORLD AVE                                    DEERFIELD, IL 60015-4809                            BROWNSTOWN, MI 48134-9412
LANTANA, FL 33462-1409
                       09-50026-mg       Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                       Part 8 of 8 Pg 388 of 440
SHIRLEY GEFFNER CUST JACK GEFFNER               SHIRLEY GREEN                                      SHIRLEY HOERLEIN
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT      PO BOX 214256                                      918 KENRIDGE DR
28 CROWN STREET                                 AUBURN HILLS, MI 48321-4256                        VILLA HILLS, KY 41017-1156
SYOSSET, NY 11791-6812



SHIRLEY J DRETZEL                               SHIRLEY J MINER & ANN M FOSS & DONALD L MINER TR   SHIRLEY K BRYSON TR SHIRLEY KAY BRYSON REVOCABLE TR
& JOHN B DRETZEL & LORI B DRETZEL & BEVERLY D   SHIRLEY J MINER REVOCABLE TRUST                    6684 OTTERBEIN ROAD
DRETZEL JT TEN                                  1841 MILES RD                                      ARCANUM, OH 45304
17333 GAR HIGHWAY                               LAPEER, MI 48446-8098
MONTVILLE, OH 44064-9704


SHIRLEY K STOMOFF & LYNN STOMOFF MYERS TR       SHIRLEY KAY SLICHTER                               SHIRLEY KORMAN CUST AMY MARLA KORMAN
CHARLES L STOMOFF REVOCABLE TRUST UA 4/16/88    A MINOR UNDER GUARDIANSHIP OF SHIRLEY SLICHTER     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
PO BOX 910                                      REED                                               180 W END AVE #11H
PIQUA, OH 45356-0910                            PO BOX 689                                         NEW YORK, NY 10023-4940
                                                WRIGHT, WY 82732-0689


SHIRLEY KRAKOWER CUST JEFFREY KRAKOWER          SHIRLEY L ELLING TOD JAMES LEE ELLING              SHIRLEY L STORY & DONALD G STORY JT TEN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT      & BRENDA SUE ELLING & KELLY RENEE ELLING JT TEN    190 WEST CONTINENTIAL ROAD
2900 WHIPPLE AVENUE SUITE 115                   RT 1 BOX 110                                       #220-183
REDWOOD CITY, CA 94062-2844                     CONCORDIA, MO 64020-9728                           GREEN VALLEY, AZ 85614-1900



SHIRLEY L WORTZMAN CUST HARRY N WORTZMAN        SHIRLEY M AKERS & SARAH E AKERS TR                 SHIRLEY M BARDEEN CUST JAMES A BARDEEN
U/THE N Y UNIFORM GIFTS TO MINORS ACT           SHIRLEY M AKERS LIVING TRUST UA 06/21/99           U/THE CAL UNIFORM GIFTS TO MINORS ACT
309 ELLICOTT ST                                 26120 STANCREST DR                                 1110 N CIRCLE DRIVE
BATAVIA, NY 14020-3601                          SOUTH LYON, MI 48178-9735                          LA HABRA, CA 90631-2728



SHIRLEY M NICKEL                                SHIRLEY M QUIRK & PAMELA J QUIRK TR                SHIRLEY M SAPPER TR
8442 110TH AVE                                  UA 11/07/1991 EDWARD H QUIRK REV TRUST             UNDER SHIRLEY M SAPPER DECLARATION OF TRUST
OTTUMWA, IA 52501-8372                          210 TURNBERRY CIRCLE SW                            02/23/93
                                                NORTH CANTON, OH 44709                             4590 KNIGHTSBRIDGE BLVD
                                                                                                   APT 154
                                                                                                   COLUMBUS, OH 43214-4355

SHIRLEY M STAAB CUST MARY ANN STAAB             SHIRLEY M SZAREJKO TR                              SHIRLEY MARCILLE EPP & DOROTHY LOU MERZ TR
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT      SHIRLEY M SZAREJKO REVOCABLE LIVING TRUST UA       LARRY N MERZ U-A WITH LOUIS J MERZ & DOROTHY
814 W NORTHCREST                                07/23/01                                           1526 W PEPPER PL
PEORIA, IL 61614-7029                           632 GLENN AVENUE                                   MESA, AZ 85201-7012
                                                CARNEGIE, PA 15106-3426


SHIRLEY N WHITNEY                               SHIRLEY R HANSEL                                   SHIRLEY R MARQUIS & WASLEY E MARQUIS TR
10901 176TH CIRCLE NE 2308                      16101 315TH AVE                                    MARQUIS FAMILY REVOCABLE TRUST UA 04/18/05
REDMOND, WA 98052                               WASECA, MN 56093-5720                              1593 PROSPECTUPPER SANDUSKY RD N
                                                                                                   MARION, OH 43302-9754



SHIRLEY S SMITH                                 SHIRLEY SCHALMAN CUST CARLA ANN SCHALMAN           SHIRLEY SHAREFF & BEJAMIN SHAREFF TR
PO BOX 25216-1603                               U/THE CALIF UNIFORM GIFTS TO MINORS ACT            BEJAMIN SHAREFF LIVING TRUST UA 01/28/00
MIAMI, FL 33102-5216                            11109 MC DONALD ST                                 2004 GRANADA DR APT K3
                                                CULVER CITY, CA 90230-5367                         COCONUT CREEK, FL 33066-1156



SHIRLEY STEINMAN                                SHIRLEY W BOLDUC CUST JEANNE BOLDUC                SHIRLEY W BOLDUC CUST KATHLEEN E BOLDUC
161 LAWRENCE ST                                 U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT         U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT
MOUNT VERNON, NY 10552-2006                     32 SILVERMOUNT                                     32 SILVERMOUNT
                                                WATERVILLE, ME 04901-5819                          WATERVILLE, ME 04901-5819
                   09-50026-mg              Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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SHIRLEY W BOLDUC CUST LISA MARIE BOLDUC                 SHIRLEY W BOLDUC CUST SHIRLEY E BOLDUC             SHIRLEY WOLFSON CUST ALAN RICHARD WOLFSON
U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT              U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT         A MINOR UNDER GIFTS OF SEC TO MINORS ACT
32 SILVERMOUNT                                          32 SILVERMOUNT                                     21427 NASHVILLE STREET
WATERVILLE, ME 04901-5819                               WATERVILLE, ME 04901-5819                          CHATSWORTH, CA 91311-1487



SHIRLEY WOLFSON CUST GLORIA LEE WOLFSON                 SHIRLEY WOLFSON CUST MARILYN HOPE WOLFSON          SHUART W WALDO CUST MISS KAREN RUTH WALDO
A MINOR U/THE CALIF GIFTS OF SEC TO MINORS ACT          A MINOR U/ CALIF GIFTS OF SEC TO MINORS ACT        U/THE WISC UNIFORM GIFTS TO MINORS ACT
4958 ALCOVE AVE                                         4958 ALCOVE AVE                                    26908 97TH STREET
NORTH HOLLYWOOD, CA 91607-3324                          NORTH HOLLYWOOD, CA 91607-3324                     TREVOR, WI 53179-9522



SID D DANENHAUER & LESLEY J DANENHAUER TR               SIDNEY A HEATLY                                    SIDNEY B PARMET CUST JONATHAN L PARMET
UA 09/26/90 THE DANENHAUSER TRUST                       P O BOX 836155                                     U/THE PA UNIFORM GIFTS TO MINORS ACT
1236 ADAIR ST                                           RICHARDSON, TX 75083-6155                          1118 NORTH 28TH ST
SAN MARINO, CA 91108-1805                                                                                  ALLENTOWN, PA 18104-2908



SIDNEY C KENSETH & DIANNE S KENSETH TR                  SIDNEY D BLACKMAN TR                               SIDNEY D JOHNSON & ELEANOR JOHNSON TR
UA 08/26/93 SIDNEY C KENSETH & DIANNE S                 SIDNEY D BLACKMAN REVOCABLE INTER-VIVOS TRUST UA   UA 09/30/2006 SIDNEY D JOHNSON & ELEANOR JOHNSON
21 PINE CONE COURT                                      05/06/95                                           2430 KINGS CHURCH RD
EDGERTON, WI 53534-2424                                 6297 RAMWYCK COURT                                 TAYLORSVILLE, KY 40071
                                                        WEST BLOOMFIELD, MI 48322-2252


SIDNEY EPSTEIN & ANNABELLE EPSTEIN JT TEN               SIDNEY FREEMAN CUST ROBERT G FREEMAN               SIDNEY G STAROBIN CUST SUZANNE STAROBIN
5606 POCUSSET ST                                        U/THE MASS UNIFORM GIFTS TO MINORS ACT             U/THE MASS UNIFORM GIFTS TO MINORS ACT
PITTSBURGH, PA 15217-2217                               13 HOLLY LN                                        17 AUTUMN LN
                                                        BEVERLY, MA 01915-1572                             NATICK, MA 01760-4165



SIDNEY L KAHN III CUST SIDNEY LOWELL KAHN               SIDNEY L KAHN III CUST SUSAN LANI KAHN             SIDNEY L SALTZSTEIN & SALLY FREUND SALTZSTEIN TR
UNDER THE FLORIDA GIFTS TO MINORS ACT                   UNDER THE FLORIDA GIFTS TO MINORS ACT              UA 05/07/93 SALTZSTEIN FAMILY TRUST
10520 LAKESIDE DR                                       10615 LAKESIDE DR                                  11384 LORENA LANE
CORAL GABLES, FL 33156-3400                             CORAL GABLES, FL 33156-4203                        EL CAJON, CA 92020-8235



SIDNEY LADENSON CUST MELISSA ANNE LADENSON              SIDNEY LANSKY CUST PHILIP S LANSKY                 SIDNEY LICHTENSTEIN & KITTY LICHTENSTEIN TR
U/THE PA UNIFORM GIFTS TO MINORS ACT                    U/THE MASS UNIFORM GIFTS TO MINORS ACT             SIDNEY & KITTY LICHTENSTEIN LIV TRUST UA 07/23/02
1722 MITCHELL #25                                       75 NORTH ST                                        75 24 BELL BLVD APT 4D
TUSTIN, CA 92780-6365                                   MATTAPOISETT, MA 02739-1616                        BAYSIDE, NY 11364



SIDNEY MARCUS CUST CHARLES MARCUS                       SIDNEY MEIZEL CUST MARLA MEIZEL                    SIDNEY PALMIERI
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT              A MINOR U/THE CALIF GIFTS OF SEC TO MINORS ACT     RUA PEDRO ORTIZ 137
17682 SEALAKES DR                                       4605 SYLMAR AVE                                    SAO PAUL
BOCA RATON, FL 33498-2013                               APT 105                                            05440-010 BRAZIL
                                                        SHERMAN OAKS, CA 91423-2641


SIDNEY PETERMAN CUST MICHAEL PETERMAN                   SIEGFRIED HEIN                                     SIEGFRIED REINHEIMER & ILSE REINHEIMER JT TEN
A MINOR PUR TO SECS 1339 /26 INCLUSIVE OF THE REVISED   1029 DYEKREST DR                                   2572 WILSON AVE
CODE OF OHIO                                            FLINT, MI 48532                                    BRONX, NY 10469-5609
10 MURWOOD DRIVE
MORELAND HILLS, OH 44022-1171


SIGMUND STEINFINK CUST JACOB MARC STEINFINK UGMA IL SILAS B LANGFITT III TR                                SIMEON VANA & KATIE KILBOURNE LEVINE TR
9011 KOLMAR                                         SILAS BENTON LANGFITT III REV TRUST UA 01/27/00        UA 01/28/92 MARTHA FLORENCE KILBOURNE REV TR
SKOKIE, IL 60076-1613                               906 KENREED DR                                         484 BELL DR
                                                    THOMASVILLE, NC 27360-2619                             DEFUNIAK SPGS, FL 32433-7195
                       09-50026-mg           Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
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SIMON GERMAN                                        SIMON KLEINER & FRANCES W KLEINER JT TEN             SIMONE ROUQUETTE TR
7737 KLEIN DR                                       8580 VERREE RD APT 231                               UNDER AGREEMENT 12/14/89 BENEFIT OF SIMONE
MIDDLEBURG HT, OH 44130-7124                        PHILADELPHIA, PA 19111-1380                          ROUQUETTE
                                                                                                         2222 FRANCISCO ST
                                                                                                         SAN FRANCISCO, CA 94123-1910


SINDRA K ZEEB                                       SISTER SERVANTS OF THE HOLY GHOST OF PERPETUAL ADORATION
                                                                                                       SLOAN OF
                                                                                                             G KAMENSTEIN
                                                                                                                MOUNT
PO BOX 180154                                       GRACE CONVENT                                      PO BOX 2208
UTICA, MI 48318-0154                                1438 E WARNE AVE                                   PALM BEACH, FL 33480-2208
                                                    ST LOUIS, MO 63107-1015



SOL M SCHEINER CUST ALAN HOWARD SCHEINER            SOL SCHARFSTEIN                                      SOLOMON P WHITE JR
U/THE N Y UNIFORM GIFTS TO MINORS ACT               28 NORTH DR                                          PO BOX 430732
215 W 78TH ST APT 4D                                LIVINGSTON, NJ 07039-3508                            PONTIAC, MI 48343-0732
NEW YORK, NY 10024-6631



SOLOMON SALTIEL CUST MARTIN SALTIEL                 SONDRA S KUNTZ CUST MICHAEL F KUNTZ                  SONIA E TOLAND CUST LESLIE RAE TOLAND
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           UNDER MI MO TRANSFERS TO MONORS LAW
1185 ROCKY RIDGE                                    211 TEXAS LANE                                       3705 SCOTTSON WAY
FLINT, MI 48532-2126                                ITHACA, NY 14850-1758                                COLUMBIA, MO 65203-3091



SONIA FEINBERG CUST LEE A FEINBERG UGMA SC          SONIA HYMAN CUST ELISA FRAN HYMAN                    SONJA C GLAZER CUST ILENE GLAZER
4250 SW 11TH ST                                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           U/THE TEXAS UNIFORM GIFTS TO MINORS ACT
MIAMI, FL 33134-2707                                345 EIGHTH AVE APT 1-F                               835 MARSEILLES DRIVE NW
                                                    NEW YORK, NY 10001-4853                              ATLANTA, GA 30327-4343



SONNY L HARGARTHER                                  SOPHIA R VELLA & ANTHONY VELLA & MICHELLE VELLA TR   SOPHIE A SLEINSKY
PO BOX 320284                                       VELLA FAMILYTRUST UA 11/04/98                        6066 FIRWOOD
FLINT, MI 48532-0005                                1039 PROMENADE ST                                    MENTOR-ON-THE-LAKE, OH 44060-2934
                                                    HERCULES, CA 94547



SOPHIE BARCEWICZ & REGINA BARCEWICZ & JANE BARCEWICZSOPHIE
                                                     TR    BEICKLER                                      SOPHIE T LEWANDOWSKI TOD THOMAS G LEWANDOWSKI REV
SOPHIE BARCEWICZ LIVING TRUST UA 02/14/03           ATTN JOACHIM M BEICKLER                              02/06/90
5243 SAFFRON DR                                     AMSELWEG 15                                          3714 EDINBOROUGH DR
TROY, MI 48085-6708                                 61462 KONIGSTEIN                                     ROCHESTER HLS, MI 48306-3684
                                                    GERMANY


SOUTH GA INVESTMENTS                                SPENCER GRANT SILVERSTEIN                            ST JOHNS ASSEMBLY # 28 ARTISANS ORD OF MUTUAL PROTEC
PO BOX 888 605 N WESTBERRY                          145 SCOTT DR                                         ATTN CHARLES J HADFIELD JR
SYLVESTER, GA 31791-0888                            WATCHUNG, NJ 07069-6301                              2107 MAPLE AVE
                                                                                                         CROYDON, PA 19021-5111



ST JOHNS CONFERENCE OF THE SOCIETY OF ST VINCENT DE PAUL
                                                    ST LUKES
                                                         OF CANTON
                                                              A M E ZION CHURCH OF BUFFALO NEW YORK      STACY WEINSTOCK
MASS                                                314-326 E FERRY ST                                   2240 CHASE CT
C/O EDWARD P GILMORE                                BUFFALO, NY 14208-1503                               ARLINGTON, TX 76013-5814
9 ADRIENNE DR
CANTON, MA 02021-1613


STANDLEY J NIEC & JOYCE L NIEC TR                   STANFORD B WEINSTEIN                                 STANFORD R SOLOMON CUST ISAAC BARRET SOLOMON
STANLEY J & JOYCE L NIEC TRUST UA 07/23/93          461 MACEWEN DR                                       UNDER FL UNIF TRANS TO MINORSACT
PO BOX 568441                                       OSPREY, FL 34229-9236                                1881 W KENNEDY BLVD
ORLANDO, FL 32856-8441                                                                                   TAMPA, FL 33606
                   09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 391 of 440
STANLEY A JACKNEWITZ & ESTHER JACKNEWITZ TR          STANLEY A JAMROG & CATHERINE E JAMROG TR               STANLEY A TOMCZYK & DORIS TOMCZYK TR
JACKNEWITZ LIVING TRUST UA 07/14/98                  UNDER DECLARATION OF TRUST 06/16/93                    STANLEY A & DORIS TOMCZYK TRUST UA 06/08/00
14009 TOWN FARM ROAD                                 2310 26TH STREET                                       2194 S NICHOLS ROAD
UPPER MARLBORO, MD 20774-8537                        BAY CITY, MI 48708-3803                                LENNON, MI 48449-9320



STANLEY A TRAKUL & SUSAN TRAKUL VILBERT & STANLEY A TRAKUL
                                                     STANLEY
                                                           III TR
                                                                B GITTELSON CUST HARRY MARTIN GITTELSON     STANLEY B YOUNG & ELIZABETH B YOUNG TR
STANLEY A TRAKUL TRUST UA 03/29/77                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT             UA 12/20/90 STANLEY B YOUNG & ELIZABETH B YOUNG
2631 73RD CT W                                       PO BOX 5600                                            901 BELLWOOD LANE
BRADENTON, FL 34209-5397                             SHERMAN OAKS, CA 91413-5600                            ROSEBURG, OR 97470-9299



STANLEY C KROSKY & DIANA M KROSKY TR                 STANLEY C LARSON & MARGUERITE R LARSON TR              STANLEY C VISOTA & KATHERINE T VISOTA TR
STANLEY C & DIANA M KROSKY JOINT REV TRUST UA        UA 03/10/93 STANLEY C LARSON & MARGUERITE R            UA 09/20/94 STANLEY C VISOTA & KATHERINE T VISOTA
03/28/00                                             2504 RUSK COURT                                        TRUST
6274 W FAIRLANE AVE                                  DELTONA, FL 32738-6706                                 261 EDISON PARK AVE NW
BROWN DEER, WI 53223-3472                                                                                   GRAND RAPIDS, MI 49504-5905


STANLEY C WALKER & PATRICIA L WALKER TR              STANLEY D OSOWSKI CUST GALE I OSOWSKI                  STANLEY D OSOWSKI CUST SUZANNE M OSOWSKI
UA 01/31/94 THE WALKER REV LIV TR                    U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT             U/THE MICH UNIFORM GIFTS TO MINORS ACT
808 SE 46TH ST #2C                                   5372 GEORGETOWN RD                                     5372 GEORGETOWN RD
CAPE CORAL, FL 33904-8856                            GRAND BLANC, MI 48439-8773                             GRAND BLANC, MI 48439-8773



STANLEY E BEDNARCHIK & PATRICIA L BEDNARCHIK TR      STANLEY ELIOT EPSTEIN                                  STANLEY F GOLDSTEIN CUST JOHNATHAN IUSTER GOLDSTEIN
BEONARCHIK FAMILY REV LIVING TRUST UA 03/22/02       5841 FORWARD AVE APT 609                               U/THE MO UNIFORM GIFTS TO MINORS ACT
16701 MAPLE HEIGHTS BLVD                             PITTSBURGH, PA 15217-2565                              7 ARBOR RD
MAPLE HEIGHTS, OH 44137-2642                                                                                SAINT LOUIS, MO 63132-4202



STANLEY F THOMPSON & VERNA THOMPSON TR               STANLEY FARBSTEIN & LAVERNE FARBSTEIN JT TEN           STANLEY FEIN & JUNE FEIN JT TEN
STANLEY F THOMPSON TRUST UA 6/9/98                   8600 DELMAR BLVD                                       8 LYLE AVE
PO BOX 700254                                        APT 4F                                                 WAYNE, NJ 07470-2720
PLYMOUTH, MI 48170-0945                              SAINT LOUIS, MO 63124-2203



STANLEY G COBB                                       STANLEY G NEHER & CAROLYN M NEHER TR                   STANLEY G NEHER & CAROLYN M NEHER TR
50-A YORKTOWNE PARKWAY                               REV INTERVIVOS TR U-T-D 03/06/86CO-TTEES               REVOCABLE LIVING TRUST UA 03/06/86
WHITING, NJ 08759-1638                               17245 COLONIAL PARK DR                                 17245 COLONIAL PARK DR
                                                     MONUMENT, CO 80132-8497                                MONUMENT, CO 80132-8497



STANLEY J & HARRIET S SIBERA TR                      STANLEY J CISLO & STEPHANIE T CISLO TR                 STANLEY J SIMPSON & JOANNE M SIMPSON TR
STANLEY J SIBERA REVOCABLE TRUSTUA 04/18/97          STANLEY J CISLO & STEPHANIE T CISLO REVOCABLE          STANLEY & JOANNE SIMPSON LIVING TRUST UA 1/29/01
300 W STATE ST                                       6242 WHITE OAK                                         6415 SHAGBARK
PENDLETON, IN 46064-1038                             WESTLAND, MI 48185-9109                                TROY, MI 48098-5232



STANLEY J SULEWSKI & PATRICIA A SULEWSKI TR          STANLEY J SUTTON & GWENDOLYN K SUTTON TR               STANLEY JAROSIN & ELIZABETH JAROSIN TR
UA 11/25/92 THE STANLEY J SULEWSKI LIVING TRUST      STANLEY J & GWENDOLYN K SUTTON LIV TRUST UA 01/20/97   UDT F-B-O JAROSIN FAMILY TRUST 11/09/82
1969 PONDVIEW COURT                                  4844 HARBORD DR                                        8857 GLENHAVEN ST
ROCHESTER HILLS, MI 48309-3304                       OAKLAND, CA 94618-2505                                 SAN DIEGO, CA 92123-2211



STANLEY JAROSIN & ELIZABETH JAROSIN TR               STANLEY L LAHM & LUCILLE E LAHM TR                     STANLEY L LIPPINCOTT CUST ALISA L LIPPINCOTT
UNDER DECLARATION OF TR 11/09/82ELIZABETH &          STANLEY & LUCILLE LAHM LAHM REVOCABLE TRUST UA         U/THE MINN UNIFORM GIFTS TO MINORS ACT
8857 GLENHAVEN ST                                    04/20/99                                               14 NINE GATES RD
SAN DIEGO, CA 92123-2211                             535 ROCKWOOD                                           CHADDSFORD, PA 19317-9258
                                                     AMES, IA 50010-9206
                   09-50026-mg            Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                               Part 8 of 8 Pg 392 of 440
STANLEY LAWRENCE COOK SR & SALLY MARIE COOK TR         STANLEY M GLIBERT & LAVERNE O GLIBERT TR           STANLEY M STEINMETZ & MRS CAROLINE M STEINMETZ JT TE
STANLEY LAWRENCE COOK SR TRUST UA 02/14/90             THE GLIBERT FAMILY 1980 TR UA 07/25/80             128 WILTON PL
6374 N KEEL DRIVE                                      10818 VALIENTE CT                                  SAN RAMON, CA 94583-2937
HERNANDO, FL 34442-2553                                SAN DIEGO, CA 92124-2114



STANLEY M TRAIL TR UA 02/05/93 STANLEY M TRAIL TRUST # 101
                                                         STANLEY MAJKA & MARY MAJKA TR                    STANLEY MARKISH CUST STANLEY MARKISH JR
519 ROBERTS LN                                           UA 01/18/2007 STANLEY MAJKA & MARY MAJKA REV     U/THE PA UNIFORM GIFTS TO MINORS ACT
DEKALB, IL 60115-4940                                    45037 PATRICK DRIVE                              1993 RUNNING DEER DR
                                                         CANTON, MI 48187                                 AUBURN, PA 17922



STANLEY P KAPLAN CUST TINA L KAPLAN                    STANLEY R BOJANOWSKI JR                            STANLEY R DENNIS CUST ALAN R DENNIS
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT           PO BOX 352722                                      U/THE MASS UNIFORM GIFTS TO MINORS ACT
429 MONTANA AVE #6                                     TOLEDO, OH 43635-2722                              500A WASHINGTON STREET
SANTA MONICA, CA 90403-1359                                                                               QUINCY, MA 02169



STANLEY R HALL                                         STANLEY RICHARD WACHOWICZ TOD DANIEL TODD WACHOWICZ
                                                                                                        STANLEY
                                                                                                           SUBJECT
                                                                                                                 RICHARD
                                                                                                                    TO STAWACHOWICZ TOD JOSEPH AARON WACHO
3857 REINWOOD DR                                       TOD RULES                                        TOD RULES
DAYTON, OH 45414-2445                                  14700 W TOWNLINE RD                              14700 W TOWNLINE RD
                                                       ST CHARLES, MI 48655-9761                        ST CHARLES, MI 48655-9761



STANLEY RICHARD WACHOWICZ TOD PAULA SUE COSSOU SUBJECT
                                                  STANLEY
                                                        TO STA
                                                           RICHARD
                                                               TOD WACHOWICZ TOD ROSEANNE MARY WACHOWICZ
                                                                                                   STANLEY
                                                                                                         SUBJECT
                                                                                                           S SELWACH
                                                                                                                  TO STA
                                                                                                                       & ELEANORA M SELWACH TR
RULES                                             TOD RULES                                        SELWACH LIVING TRUST UA 03/17/05
14700 W TOWNLINE RD                               14700 W TOWNLINE RD                              112 PLAXDALE RD
ST CHARLES, MI 48655-9761                         ST CHARLES, MI 48655-9761                        LIVERPOOL, NY 13088-6024



STANLEY W WHITE TR                                     STANLEY WEINSTEIN                                  STATE CONTROLLER STATE OF CALIFORNIA DIVISION OF UNC
UA 11/02/1994 STANLEY W WHITE REVOCABLE LIVING         3545 PINE TREE DR                                  BOX 942850
TRUST                                                  MIAMI BEACH, FL 33140                              SACRAMENTO, CA 94250-0001
8745 53RD TERRACE E
BRADENTON, FL 34211


STATE STREET BANK & TRUST F-B-O ROBERT W BUTCHER U-A STEFAN
                                                     DTD 06-22-82
                                                             WEINMANN                                     STELLA A GUNN-BYRNE & NANCY J ANDREW TR
STATE STREET BK FIRST TRUST                          SILVANERWEG 1                                        CHARLES W BYRNE LIVING TRUST UA 06/19/90
PO BOX 172227                                        HIRSCHBERG                                           10150 TORRE AVE APT 109
DENVER, CO 80217-2227                                69493 GERMANY                                        CUPERTINO, CA 95014-2129



STELLA B HOFFMANN CUST MARK PAUL HOFFMANN              STELLA C NEVANEN COLE TR                           STELLA L MCCREA
UNDER THE FLORIDA GIFTS TO MINORS ACT                  UA 04/10/07 STELLA C NEVANEN COLE LIVING TRUST     PO BOX 951527
3783 HERITAGE PL                                       31024 KETTERING HEIGHTS                            LAKE MARY, FL 32795-1527
BUFORD, GA 30519-7862                                  FLINT, MI 48507



STELLA M BUDZANOSKI CUST DIANA BUDZANOSKI              STELLA M HEIN TR STELLA M HEIN TRUST UA 11/08/96   STELLA M MISLIK
U/THE PA UNIFORM GIFTS TO MINORS ACT                   2713 AUGUSTA DR                                    & NANCY JO QUADERER & GARY W MISLIK & DANNY J
300 CENTRAL PARK WEST #9-H                             DURHAM, NC 27707                                   MISLIK JT TEN
NEW YORK, NY 10024-1513                                                                                   C/O STELLA M MISLIK
                                                                                                          4208 WOODLAND
                                                                                                          FLUSHING, MI 48433-2356

STEPHAN WILLIAM MORGAN                                 STEPHANIDA CHRISTIE                                STEPHANIE C MEIER & GEORGE D MEIER CO TR
PO BOX 311001                                          & REBEKKA CHRISTIE SHARMA & ADAM CHRISTIE &        STEPHANIE G MEIER TRUST UA 12/19/97
DETROIT, MI 48231-1001                                 TIMOTHY CHRISTIE JT TEN                            1520 SHERWOOD AVE SE
                                                       1225 ALDEBARAN DR                                  EAST GRAND RAPIDS, MI 49506-5010
                                                       MCLEAN, VA 22101-2304
                   09-50026-mg          Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
                                                          Part 8 of 8 Pg 393 of 440
STEPHANIE D RANDOLPH                               STEPHANIE E LAUCIUS TR                         STEPHANIE G SCHLAMB CUST MOLLY K SCHLAMB
PO BOX 252561                                      STEPHANIE E LAUCIUS EDUCATIONAL & CHARITABLE   UNDER THE MO UNIF TRANSFERS TO MIONORS LAW
W BLOOMFIELD, MI 48325-2561                        FOUNDATION UA 07/26/95                         9221 LADUE HILLS DR
                                                   PO BOX 4099                                    ST LOUIS, MO 63132-4320
                                                   BRICK, NJ 08723-1299


STEPHANIE G SCHLAMB CUST PETER J SCHLAMB           STEPHANIE MATZ                                 STEPHANIE NIEDERKLEIN
UNDER THE MO TRANSFERS TO MINORS LAW               PO BOX 531761                                  87913 HIGHWAY 281
9221 LADUE HILLS DR                                LIVONIA, MI 48153-1761                         O'NEILL
ST LOUIS, MO 63132-4320                                                                           ONEILL, NE 68763



STEPHANIE R KLEIN CUST GREGORY R KLEIN UGMA CA     STEPHEN C HADDAD                               STEPHEN C REINFELDT
18623 CELTIC                                       335-415 COMMONWEALTH RD                        2116 LAKESHORE DR
NORTHRIDGE, CA 91326-2707                          KELOWNA BC                                     SHEBOYGAN, WI 53081-6035
                                                   V4V 1P4 CANADA



STEPHEN E GILLETTE                                 STEPHEN E REED & KIMBERLY I REED TR            STEPHEN E SCHWARTZ & SHERRY R SCHWARTZ TR
344 141ST ST                                       ROBERT E & LOIS V REED TRUST UA 11/10/92       UA 07/19/2000 STEPHEN E SCHWARTZ REVOCABLE TRUST
HAMMOND, IN 46327-1245                             1850 JUBILEE DR                                12 MALLARD DRIVE
                                                   BRENTWOOD, CA 94513-6012                       CTR MORICHES, NY 11934



STEPHEN EISENSTEIN                                 STEPHEN F DOBRANSKI CUST LISA ANN DOBRANSKI    STEPHEN FEINBERG
3 ROCKY HOLLOW DR                                  U/THE N J UNIFORM GIFTS TO MINORS ACT          137 CLUB CIR
LARCHMONT, NY 10538-1036                           438 ROSEWOOD TERR                              STOCKBRIDGE, GA 30281-3328
                                                   LINDEN, NJ 07036-5220



STEPHEN FLACHEK & BERTHA M FLACHEK TR              STEPHEN J MALCOLM JR                           STEPHEN J SCHIRA CUST DENISE ANN SCHIRA
STEPHEN & BERTHA FLACHEK JT REV LIVING TRUST       88 W KLEIN ROAD                                U/THE MICH UNIFORM GIFTS TO MINORS ACT
235 ATLANTIC DRIVE                                 AMHERST, NY 14221-1528                         25164 LYNCASTLE
MELBOURNE BEACH, FL 32951-3228                                                                    FARMINGTON HILLS, MI 48336-1567



STEPHEN L BLAND TR                                 STEPHEN N APPLEY CUST ALAN JOSEPH APPLEY       STEPHEN PANG & HELEN PANG JT TEN
STEPHEN L BLAND MD INC PROFIT SHARING & PENSION    U/THE CAL UNIFORM GIFTS TO MINORS ACT          137-139 N 11TH ST 2ND FLOOR
PLAN 02/15/72                                      323 BEVERLY DR                                 PHILADELPHIA, PA 19107
504 S PLYMOUTH                                     LAFAYETTE, LA 70503-3109
LOS ANGELES, CA 90020-4710


STEPHEN PENG CUST BENJAMIN PENG                    STEPHEN PESHKIN CUST BARI LYNNE PESHKIN        STEPHEN R HADLOCK & GRETCHEN S HADLOCK TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT         U/THE N J UNIFORM GIFTS TO MINORS ACT          STEPHEN R & GRETCHEN S HADLOCK REVOCABLE TRUST
3333 SANDY CREEK DR                                251 HOWARD AVE                                 UA 3/29/96
UTICA, MI 48316-3957                               ELBERON, NJ 07740-8010                         BOX 48
                                                                                                  PLAINFIELD, NH 03781-0048


STEPHEN R MURRAY                                   STEPHEN R WARD & KATHERINE J WARD TR           STEPHEN SAMUEL GOLDSTEIN
911 140TH LN NW                                    UA 03/09/93 WARD FAMILY REVOCABLE TRUST        2212 W ROCHELLE AVE
ANDOVER, MN 55304-4126                             2724 N GARDEN DR APT 304                       MILWAUKEE, WI 53209-2724
                                                   LAKE WORTH, FL 33461-2249



STEPHEN SMALL CUST CHARLES STEINER SMALL UGMA TN   STEPHEN T HARDING & JOYCE O HARDING TR         STEPHEN T NORMAN
507 W HILLWOOD DR                                  UA 07/10/92 THE HARDING FAMILY 1992 TRUST      PO BOX 820544
NASHVILLE, TN 37205-1234                           PO BOX 1104                                    HOUSTON, TX 77282-0544
                                                   GRAEAGLE, CA 96103-1104
                    09-50026-mg            Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                         Part 8 of 8 Pg 394 of 440
STEPHEN W LUCIW CUST STEPHEN W LUCIW JR           STEPHEN WHITING CRAVER                              STERLING A WOOD JR CUST STACEY ANN WOOD
U/THE MICH UNIFORM GIFTS TO MINORS ACT            2501 SYLVAN PLACE                                   UNDER THE FLORIDA GIFTS TO MINORS ACT
38558 THORNWOOD DR                                MINNETONKA, MN 55305-2824                           2902 ALBERT RD
HARRISON TOWNSHIP, MI 48045-2661                                                                      YEEHAW JUNCTION, FL 34972-9156



STEVE DENNINGS & THERESA DENNINGS TR              STEVE HEINRICH                                      STEVE HOBAR & VIRGINIA P HOBAR TR
STEVE & THERESA DENNINGS TRUST UA 9/9/96          4849 GREENVIEW CT                                   STEVE HOBAR & VIRGINIA P HOBAR LIVING TRUST UA
3282 S REESE                                      COMMERCE TOWNSHIP, MI 0ZZZZ                         05/21/96
FRANKENMUTH, MI 48734-9753                                                                            PO BOX 281
                                                                                                      MARSHALLS CREEK, PA 18335-0281


STEVE HOLCOMB                                     STEVE NEMEROVSKY TR                                 STEVE NEMEROVSKY TR
1848 REIN LN                                      UA 02/01/92 STEVE NEMEROVSKY TRUST F-B-O DIANA      UA 02/01/92 STEVE NEMEROVSKY TRUST F-B-O JILL
VIRGINIA BCH, VA 23456-6885                       NEMEROVSKY                                          NEMEROVSKY
                                                  1959 62ND ST #PH                                    1959 62ND ST #PH
                                                  BROOKLIN, NY 11204-3028                             BROOKLYN, NY 11204-3028


STEVE NEMEROVSKY TR                               STEVE NEMEROVSKY TR                                 STEVE NEMEROVSKY TR
UA 02/01/92 STEVE NEMEROVSKY TRUST F-B-O JOYCE    UA 02/01/92 STEVE NEMEROVSKY TRUST F-B-O LORRAINE   UA 02/01/92 STEVE NEMEROVSKY TRUST F-B-O ROCHELLE
NEMEROVSKY                                        NEMEROVSKY                                          NEMEROVSKY
1959 62ND ST #PH                                  1959 62ND ST #PH                                    1959 62ND ST #PH
BROOKLYN, NY 11204-3028                           BROOKLYN, NY 11204-3028                             BROOKLYN, NY 11204-3028


STEVE NEMEROVSKY TR                               STEVE NEMEROVSKY TR                                 STEVE T MATHIAS CUST STEVEN T MATHIAS
UA 02/01/92 STEVE NEMEROVSKY TRUST F-B-O STUART   UA 11/24/89 STEVE NEMEROVSKY TRUST F-B-O GEORGE     U/THE N J UNIFORM GIFTS TO MINORS ACT
NEMEROVSKY                                        NEMEROVSKY                                          9513 STEINBECK LANE
1959 62ND ST #PH                                  1959 62ND ST #PH                                    BAKERSFIELD, CA 93311-1445
BROOKLYN, NY 11204-3028                           BROOKLYN, NY 11204-3028


STEVE THEODORE                                    STEVEN A CLARK & BARBARA L CLARK & ROY E CLARK TR   STEVEN ALPERSTEIN
PO BOX 740864                                     STEVEN & BARBARA CLARK REVOCABLE LIVING TRUST       1890 SWEETBAY WAY
BOYNTON BEACH, FL 33474-0864                      6/28/00                                             HOLLYWOOD, FL 33019-4881
                                                  7286 SOUTH COUNTY RD 325W
                                                  GREENCASTLE, IN 46135-7634


STEVEN B CHU                                      STEVEN B EDELSTEIN                                  STEVEN C MOUSTAKAS CUST MISS CHRISTINE MOUSTAKAS
5898 HOLSTEIN WAY                                 82 BOYLES ST                                        U/THE MASS UNIFORM GIFTS TO MINORS ACT
SACRAMENTO, CA 95822-2920                         BEVERLY, MA 01915-2025                              58 PROSPECT ST
                                                                                                      WOBURN, MA 01801-4339



STEVEN D KLEINFELDT                               STEVEN E BERNSTEIN                                  STEVEN E WEINEL
9105 85 AVENUE                                    11342 HOLLOWSTONE DR                                1312 CAMP HILL WAY APT 6
WOODHAVEN, NY 11421-1413                          N BETHESDA, MD 20852-3118                           W CARROLLTON, OH 45449-3144




STEVEN ECKSTEIN                                   STEVEN FRANCUCH & MARGARET A FRANCUCH TR            STEVEN GATES LEWIS
BOX 19674                                         FRANCUCH LIVING TRUST UA 05/05/98                   PO BOX 775893
LAS VEGAS, NV 89132-0674                          6660 PINE WAY DR                                    STEAMBOAT SPRINGS, CO 80477-5893
                                                  TROY, MI 48098-2092



STEVEN GLASSBERG                                  STEVEN GOLDSTEIN CUST SCOTT ANDREW GOLDSTEIN UTMA CO
                                                                                                    STEVEN H HUNTER
6902 174 ST                                       888 NORTHRIDGE CT                                 2027 ST. MADELEINE DR.
FLUSHING, NY 11365-3411                           GOLDEN, CO 80401-9175                             DARDENNE PR, MO 63368
                    09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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STEVEN J BERNSTEIN                                  STEVEN J GARBARINO & DONNA K GARBARINO JT TEN        STEVEN J KRIGSTEIN
4128 BRUNING CT                                     PO BOX 472883                                        900 N BROOM ST 27
FAIRFAX, VA 22032-1101                              CHARLOTTE, NC 28247-2883                             WILMINGTON, DE 19806-4548




STEVEN J WEINZIRL & TINA M WEINZIRL JT TEN          STEVEN KALIANOV & KAREN KALIANOV TR                  STEVEN L AMBROSE
4412 SE IDAHO CT                                    UA 09/02/05 STEVEN AND KAREN KALIANOV LIVING TRUST   2438 104 BLVD
TOPEKA, KS 66609-1769                               902 CERISE AVE                                       TOLEDO, OH 43611-1967
                                                    TORRANCE, CA 90503



STEVEN L BLUMENTHAL TR                              STEVEN LYNN SPRAGUE                                  STEVEN M BERNSTEIN TR UA 02/17/86 STEVEN M BERNSTEIN T
GEOFFREY BLUMENTHAL IRREVOCABLE TRUST UA 05/17/90   PO BOX 291149                                        4105 EAGLE STREET
9991 E SUNNYSLOPE LN                                PORT ORANGE, FL 32129-1149                           SAN DIEGO, CA 92103-1918
SCOTTSDALE, AZ 85258-5210



STEVEN M DIAMOND                                    STEVEN M SMITH & CAROL ANN SMITH TR                  STEVEN MARC GOLDSTEIN
PO BOX 471216                                       STEVEN M & CAROL A SMITH FAMILY TRUST UA 04/13/93    3608 DAVENPORT ST NW
LAKE MONROE, FL 32747-1216                          1037 W 4600 S                                        WASHINGTON, DC 20008-2929
                                                    RIVERDALE, UT 84405-3646



STEVEN MCNICHOLAS & MARY KAY MCNICHOLAS TR          STEVEN P HOLTZ                                       STEVEN P WALSH
MCNICHOLAS FAM TRUST UA 01/09/95                    P. O. BOX 470238                                     16827 464TH WY SE
25932 VIA MAREJADA                                  AURORA, CO 80047-0238                                NORTH BEND, WA 98045-8860
MISSION VIEJO, CA 92691-5611



STEVEN R EWALD                                      STEVEN R SAUER CUST HUGH SAUER                       STEVEN SCHLAFSTEIN & SHERI KAPLLAN SCHLAFSTEIN JT TEN
PO BOX 310855                                       U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           10904 STONECUTTER PL
NEWINGTON, CT 06131-0855                            254 BROWER AVE                                       NORTH POTOMAC, MD 20878-4805
                                                    ROCKVILLE CENTRE, NY 11570-2606



STEVEN SOKAS & FLORENCE SOKAS TR                    STEVEN W ELLIS CUST CORY JOHN ELLIS UGMA MN          STEVEN W KLEIN
STEVEN & FLORENCE SOKAS TRUST UA 04/19/97           2879 350TH RD                                        294 MEDFORD-MOUNT HOLLY ROAD
2607 WEST 106TH PL                                  STUART, IA 50250-8504                                MEDFORD, NJ 08055-9642
CHICAGO, IL 60655-1701



STEVEN W LINCOLN & JEAN L LINCOLN TR                STEVEN WEINER                                        STEVEN WEINSTEIN CUST JULIE ANN WEINSTEIN
STEVEN W & JEAN L LINCOLN REV TRUST UA 11/25/96     191 CASMIR DR                                        A MINOR UNDER THE LAWS OF GEORGIA
104 NORTH HIGHLAND AVE                              FAIRFIELD, CT 06432-1227                             1992 LASALLE WA
UKIAH, CA 95482-4258                                                                                     MARIETTA, GA 30062-8163



STEWART EPSTEIN CUST LOUIS BRICKMAN EPSTEIN UGMA NJ STEWART G HUBER & LORRAINE M HUBER TR                STUART EINBINDER CUST ELLIOT EINBINDER UGMA NY
36 MAYHEW                                           WILLIAM MICHAEL HUBER TR UA 12/30/76                 643 WILDWOOD RD
LIVINGSTON, NJ 07039-2022                           237 N CLINTON AVE                                    W HEMPSTEAD, NY 11552-3411
                                                    CLINTONVILLE, WI 54929-1007



STUART EPSTEIN CUST DANIEL MOSHE EPSTEIN UGMA NJ    STUART G STEINGOLD & IRA M STEINGOLD TR UNDER WILL OF STUART
                                                                                                          MEYER STEINGOLD
                                                                                                                  HENNING
36 MAYHEW DR                                        5211 PARTRIDGE LANE NW                                412-237 BATHRD
LIVINGSTON, NJ 07039-2022                           WASHINGTON, DC 20016-5338                             KINGSTON ON
                                                                                                          K7M 2X6 CANADA
                   09-50026-mg           Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                          Part 8 of 8 Pg 396 of 440
STUART LEDERMAN CUST JOSHUA A LEVY UTMA GA         STUART LEDERMAN CUST MEGAN E LEVY UTMA GA            STUART M PRIKASKY & BARBARA J PRIKASKY TR
PO BOX 640104                                      PO BOX 640104                                        UA 06/15/2007 THE STRUART M PRIKASKY & BARBARA
BAYSIDE, NY 11364-0104                             BAYSIDE, NY 11364-0104                               1265 WEST TYLER ROAD
                                                                                                        ALMA, MI 48801



STUART P CARNEY & MARILYN M CARNEY TR              STUART R MC INTYRE CUST STUART R MC INTYRE JR        STUART STEINBERGER
CARNEY COMMUNITY PROPERTY TRUST 11/10/87           U/THE ALA UNIFORM GIFTS TO MINORS ACT                11 ROBINWOOD LANE
1160 RONDA DR                                      6101 E MIRAMAR DRIVE                                 LAGRANGEVILLE, NY 12540-5400
MANHATTAN BEACH, CA 90266-6856                     TUCSON, AZ 85715-3007



STUART WEINER & MRS JOAN WEINER JT TEN             STUART WOOD                                          STUDLEY J HOLDEN CUST THOMAS B HOLDEN
28 SWEETGUM CROSSING                               9103-109 AVE                                         U/THE FLORIDA GIFTS TO MINORS ACT
SAVANNAH, GA 31411                                 FORT ST JOHN BC                                      ROUTE 6 11 COLONIAL WAY
                                                   V1J 7A8 CANADA                                       BRUNSWICK, GA 31520-2135



SUE A AYERS                                        SUE A SHAW EASTERLING USUFRUCT NED H EASTERLING JR SUE FRIEDMAN TR
& DOUGLAS C HAIDERER & TINA M BURLESON & CAROL L   & RONALD J EASTERLING & PEGGY KEEN HART NAKED      JOS H LERNER NON-MARITAL TR UW FBO NORMA C LERNER
HAIDERER JT TEN                                    OWNERS                                             09/13/84
833 W PARISH                                       305 BUTLER ST APT 2                                1133 PINE ST 4TH FL
KAWKAWLIN, MI 48631-9715                           SPRINGHILL, LA 71075-2746                          ST LOUIS, MO 63101-1900


SUE L JANKENS & DAVID P JANKENS JT TEN             SUE L REINER                                         SUE P HILLSMAN & ANNE K HILLSMAN & ELIZABETH CHRISTIAN
4109-240TH STREET E                                9683 SYCAMORE TRACE CT                               ROSSER NOLAND HILLSMAN III
SPANAWAY, WA 98387-7002                            CINCINNATI, OH 45242-6029                            1082 RUFUS DRIVE
                                                                                                        HUDDLESTON, VA 24104-3412



SUE PFLEPSEN CUST KRISTEN LAUREN PFLEPSEN          SUE ROSEMAN CUST STEVEN A ROSEMAN MIN U/ART 8-AOF THE
                                                                                                       SULAR
                                                                                                         PERSCHESSER
                                                                                                              PROP LAW & ROSIE CHESSER TR
U/THE MICH UNIFORM GIFTS TO MINORS ACT             OF NY                                               FAM REV TR 07/15/92 U-A SULAR CHESSER & ROSIE
303 BEAU JEAN AVE                                  11750 E POWERS AVE                                  CHESSER
MELBOURNE BEACH, FL 32951-2019                     ENGLEWOOD, CO 80111-4139                            803 BAYWOOD DR
                                                                                                       PARAGOULD, AR 72450-5588


SUMNER C KRAFT CUST GARY ANDREW KRAFT              SUMNER L OLSTEIN CUST DAVID PAUL OLSTEIN             SUMNER P MCDONOUGH & RUTH P MCDONOUGH TR
U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       U/THE MASS UNIFORM GIFTS TO MINORS ACT               MCDONOUGH FAMILY LIV REV TRUST UA 12/12/01
PO BOX 5653                                        41 BEECKMAN AVE                                      8560 NW 17TH PL
SNOWMASS VILLAGE, CO 81615-5653                    CRANSTON, RI 02920-4413                              PLANTATION, FL 33322-5533



SUMNER ROSOFF & GLORIA ROSOFF & SIDNEY STOGEL TR   SUNDAY PITINII                                       SURA FEINSTEIN
1989 SUMNER ROSOFF FAM TRUST UA 05/12/89           48 N BENTLEY AVE                                     550 LANDFAIR APT 5
62 STANLEY RD                                      NILES, OH 44446-2440                                 LOS ANGELES, CA 90024
WABAN, MA 02468-2338



SURESH CHANDRA & VED CHANDRA JT TEN                SUSAN A ROSENSTEIN CUST ANDREW M ROSENSTEIN UTMA ILSUSAN A ROSENSTEIN CUST MATTHEW A ROSENSTEIN UTMA
B 1/2 HAVELOCK RD COLONY                           1221 OCEAN APT 801                                 1221 OCEAN AVE APT 801
LUCKNOW                                            SANTA MONICA, CA 90401-1046                        SANTA MONICA, CA 90401-1046
226001 INDIA



SUSAN A WEDEL & FRANK L WEDEL TR                   SUSAN ANN KRASKE                                     SUSAN B THAMER TR
UA 05/17/2007 REVOCABLE INTER VIVOS TRUST OF       PO BOX 970810                                        SUSAN BURKE THAMER REVOCABLE LIVING TRUST UA
RT 1 BOX 71                                        YPSILANTI, MI 48197-0814                             06/03/02
LEOTI, KS 67861                                                                                         130 PHEASANT RIDGE RD
                                                                                                        DEL REY OAKS, CA 93940-5759
                    09-50026-mg         Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                       Part 8 of 8 Pg 397 of 440
SUSAN B TURNER & PETER D BOASBERG TR            SUSAN BROWN CUST MARK BLATTBERG                     SUSAN COURNOYER CUST MARK T COURNOYER
UA 04/25/1990 BOASBERT FAMILY TRUST             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          UNDER THE FLORIDA GIFTS TO MINORS ACT
24695 DOLORES ST                                180-19 69TH AVE                                     22219 KERRYBLUE
CARMEL, CA 93923                                FRESH MEADOWS, NY 11365-3521                        KATY, TX 77450-2413



SUSAN D FEINSTEIN                               SUSAN D SCHWARTZ TR                                 SUSAN E GROVE & ROBERT L GROVE SR TR
170 MYRTLE AVE                                  UA 06/25/92 REVOCABLE LIVING TRUST FOR SUSAN D      THE GROVE FAMILY TRUST UA 04/19/02
MILLBURN, NJ 07041-1551                         SCHWARTZ                                            3307 MT AACHEN AVE
                                                9645 SW VISTA PLACE                                 SAN DIEGO, CA 92111-4621
                                                PORTLAND, OR 97225-4248


SUSAN E REISER                                  SUSAN E STEINHELPER                                 SUSAN ECKSTEIN
2584 190TH AVE                                  PO BOX 75                                           301 BEECH ST APT 6J
MILFORD, IA 51351-7287                          ORTONVILLE, MI 48462-0075                           HACKENSACK, NJ 07601-2139




SUSAN EPSTEIN CUST JASON M EPSTEIN UGMA MI      SUSAN F HUNT TR                                     SUSAN F LEINEKE
5695 SILVER POND                                KENNETH KARL HUNT & SUSAN FRANCES HUNT TRUST UA     8322 ILENE DR
WEST BLOOMFIELD, MI 48322-2061                  04/25/01                                            CLIO, MI 48420-8518
                                                9308 FREEDOM WAY NE
                                                ALBUQUERQUE, NM 87109-6309


SUSAN FILES TAGG                                SUSAN GUGICK CUST JEFFREY ALAN GUGICK               SUSAN GUGICK CUST ROBIN MINDY GUGICK
PO BOX 87                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT               U/THE N Y UNIFORM GIFTS TO MINORS ACT
HAMPTON FALLS, NH 03844-0087                    91 PAULDING DR                                      22 BLACK BIRCH LANE
                                                CHAPPAQUA, NY 10514-2818                            SCARSDALE, NY 10583-7453



SUSAN J ROSENSTEIN                              SUSAN JANE STEIN                                    SUSAN JUNE ROCK
11 RIVERSIDE DR                                 815 KEARNEY CT                                      & JOHN J ROCK & JOHN M ROCK & JODEE MARIE
APT 14 PE                                       SALISBURY, MD 21804-9026                            ROCK-RILEY JT TEN
NEW YORK, NY 10023-2504                                                                             3543 CHASE
                                                                                                    WARREN, MI 48091-3327


SUSAN K STEINMETZ & ROBERT R STEINMETZ JT TEN   SUSAN L ADAMS CUST RYAN WILLIAM ADAMS               SUSAN L DUNNE & MICHAEL W DUNNE TR
1190 OAK RIDGE CIRCLE                           A MINOR UNDER THE LAWS OF GEORGIA                   SUSAN L DUNNE REVOCABLE TRUST UA 07/01/05
BARRINGTON, IL 60010-4725                       479 PENNSYLVANIA AVE                                408 RED SAIL WAY
                                                SAN FRANCISCO, CA 94107                             SATELLITE BEACH, FL 32937-3720



SUSAN L GUITH                                   SUSAN L LICHTENSTEIN                                SUSAN L LIEBLEIN
BOX 508 5373 SCOTT RD                           16 COUNCIL TRL                                      2185 MORRISON AVE
MT MORRIS, MI 48458-9724                        WILMINGTON, DE 19810-2906                           LAKEWOOD, OH 44107-5721




SUSAN L LIPTON CUST MEG LIPTON                  SUSAN L LOMAX                                       SUSAN LEE WILLIAMS
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT      19215 184TH PLACE NORTHEAST                         C/O SUSAN WILLIAMS WEINERT
61-45 98TH ST                                   WOODINVILLE, WA 98077-8260                          70007 MAIN STREET
FOREST HILLS, NY 11374-1433                                                                         RICHMOND, MI 48062-1060



SUSAN LYNN GLADSTEIN                            SUSAN M CHAMBERLAIN & DAVID H LOCKE & VIRGINIA CHAMBERLAIN
                                                                                                     SUSANTR M CHRISTELL TR
11079 NASHVILLE DR                              CHARLES W CHAMBERLAIN JR TRUST UA 05/19/91 AS        WARREN E CHRISTELL MARITAL TRUST NON EXEMPT UA
COOPER CITY, FL 33026-4965                      AMENDED                                              04/11/89
                                                865 CENTRAL AVE C-303                                3868 GLENEAGLE
                                                NEEDHAM, MA 02492-1368                               STOCKTON, CA 95219-1834
                    09-50026-mg         Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                             Part 8 of 8 Pg 398 of 440
SUSAN M EHRMANTRAUT                                   SUSAN M ODER & LARRY V ODER JT TEN                 SUSAN M OSEN
& PAMELA S YANKOVICH & CHRISTAN J RUGGIRELLO JT TEN   14200 188TH PLACE N E                              1940 171ST AVE N E
2639 TAMPA DR                                         WOODINVILLE, WA 98072-9345                         HAM LAKE, MN 55304-4922
WOLVERINE LK, MI 48390-2166



SUSAN M STAMPF                                        SUSAN MANGANELLI CUST JAMISIN L MANGANELLI         SUSAN N BEARD
14326 155TH AVENUE N E                                A MINOR UNDER PL 1955 CHAPTER 139 OF THE LAWS OF   PO BOX 190674
WOODINVILLE, WA 98072-9073                            NEW JERSEY                                         SAN FRANCISCO, CA 94119-0674
                                                      2 ANN ST APT S102
                                                      CLIFTON, NJ 07013-2140


SUSAN O PARKER                                        SUSAN R ROTHSTEIN                                  SUSAN SAURWEIN
PO BOX 981564                                         APT 9M                                             1262 CRUMMELL AVE
PARK CITY, UT 84098-1564                              165 WEST END AVE                                   ANNAPOLIS, MD 21403-4667
                                                      NEW YORK, NY 10023-5507



SUSAN STAFFORD STRASSER                               SUSAN STEIN KNIGHT CUST CRAIG PHILLIPS KNIGHT      SUSAN STEINBERG SOMERSTEIN
208 W KLEIN RD                                        UNDER THE NEW HAMPSHIRE U-G-M-L                    2555 LUCILLE DRIVE
WILLIAMSVILLE, NY 14221-1524                          85 NORTH 375 E                                     FT LAUDERDALE, FL 33316-2327
                                                      GRANTSVILLE, UT 84029-9340



SUSAN STEINBORN CUST TYLER ROEHL UTMA WI              SUSAN STUCKEY SPEARS & CAROLYN STUCKEY GUELFO TR   SUSAN STUCKEY SPEARS TOD JONATHAN NEILL ALDRICH SUB
112 SUNSET DR                                         UA 02/24/2006 JOHN A STUCKEY JR TRUST              RULES
JANESVILLE, WI 53545-3245                             2805 SW SEMINOLE ST                                2805 SW SEMINOLE ST
                                                      BENTONVILLE, AR 72712                              BENTONVILLE, AR 72712



SUSAN WALLENSTEIN CUST CUST ERIC WALLENSTEIN UTMA NJSUSAN WEINSTEIN CUST JOSHUA IRVING WEINSTEIN         SUSAN WEINSTEIN CUST LISA M WEINSTEIN
3 WATERLOO DR                                       U/THE N Y UNIFORM GIFTS TO MINORS ACT                U/THE CONN UNIFORM GIFTS TO MINORS ACT
MORRIS PLAINS, NJ 07950-1412                        90 CEDAR AVENUE                                      2633 15TH STREET #3
                                                    POUGHKEEPSIE, NY 12603-4724                          WASHINGTON, DC 20009-4631



SUSAN WEINSTEIN CUST PAULA JANETTE WEINSTEIN          SUSAN WENDY SILVERSTEIN                            SUSAN WITHERS CUST MARJORIE H MCDONALD
U/THE CONN UNIFORM GIFTS TO MINORS ACT                120 SAWGRASS DRIVE                                 A MINOR UNDER THE LAWS OF GEORGIA
7210 HONEYWELL LANE                                   BLUE BELL, PA 19422                                BRIGHTLANDS STATION
BETHESDA, MD 20814-1016                                                                                  CLONCURRY QUEENSLAND
                                                                                                         4824 AUSTRALIA


SUSAN WITHERS MCDONALD CUST ADLAIDE H MCDONALD        SUSAN WITHERS MCDONALD CUST ALLSTAIR R MCDONALD    SUSAN WITHERS MCDONALD CUST ELEANOR G MCDONALD
A MINOR UNDER THE LAWS OF GA                          A MINOR UNDER THE LAWS OF GEORGIA                  A MINOR UNDER THE LAWS OF GA
PO BOX 501                                            BRIGHTLANDS STATION                                BRIGHTLANDS STATION
CLONCURRY QUEENSLAND                                  CLONCURRY QUEENSLAND                               CLONCURRY QUEENSLAND
AUSTRALIA                                             4824 AUSTRALIA                                     4824 AUSTRALIA


SUSAN WITHERS MCDONALD CUST KATE V MCDONALD           SUSANN E CRAIG                                     SUSANNE KRAMMER & SEBASTIAN REINHART JT TEN
A MINOR UNDER THE LAWS OF GEORGIA                     1306 350 NORTH ORLEANS                             D'ORSAYGASSE 4/18
BRIGHTLANDS STATION                                   CHICAGO, IL 60654                                  VIENNA
CLONCURRY QUEENSLAND                                                                                     1090 AUSTRIA
4824 AUSTRALIA


SUSHIL BHADHAWAR                                      SUYDAM OSTERHOUT                                   SUZANNE B GUSTASON TR UA 06/23/1998 GUSTASON TRUST A
14150 101 AVE                                         APT A279 2600 CROASDAILE FARM PK                   28624 MONTEREINA DR
SURREY BC                                             DURHAM, NC 27705-1331                              RCH PALOS VRD, CA 90275
V3T 4Y2 CANADA
                    09-50026-mg          Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                              Part 8 of 8 Pg 399 of 440
SUZANNE BERNSTEIN                                     SUZANNE BERNSTEIN & MARTIN BERNSTEIN JT TEN         SUZANNE E STEINHAUSER KELLEY
15 ROLLING WAY                                        15 ROLLING WAY                                      BOX 140
NEW CITY, NY 10956-6912                               NEW CITY, NY 10956-6912                             GRASS LAKE, MI 49240-0140




SUZANNE F WRIGHT & CHARLES W WRIGHT TR                SUZANNE FISHER CUST ANN BURT FISHER                 SUZANNE FISHER CUST THOMAS GARRETT FISHER
UA 07/27/92 SUZANNE F WRIGHT TRUST                    U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        U/THE CALIF UNIFORM GIFTS TO MINORS ACT
9610 SANDRA LANE                                      1373 EL CENTRO                                      3032 WAVERLEY
MINNETONKA, MN 55305-4627                             OAKLAND, CA 94602-1817                              PALO ALTO, CA 94306-2407



SUZANNE G KOMINSKI & JOHN KOMINSKI TR                 SUZANNE KRYDA CUST CHRISTOPHER KRYDA                SUZANNE LEBEL
SUZANNE G KOMINSKI TRUST UA 07/27/00                  UNDER UNFIROM GIFTS TO MINORS ACT NY                2524 148A ST
1402 KEY DRIVE                                        43 FULLER AVE                                       SURREY BC
ALEXANDRIA, VA 22302-3412                             FLORAL PARK, NY 11001-2924                          V4P 1N8 CANADA



SUZANNE M TEICHERT & ROBERT L TEICHERT TR             SUZANNE OVERHOLT                                    SUZANNE P BROWNING
TEICHERT FAMILY TRUST UA 5/10/01                      67181 210TH AVE                                     14196 132ND AVE NE
565 70TH AVE                                          WABASHA, MN 55981                                   THIEF RIVER FALLS, MN 56701-8400
ST PETE BEACH, FL 33706-2014



SVEIN A PEDERSEN                                      SWEARL J TOWNER                                     SWEETIE L VICKERS
SOLVANGEN 80                                          PO BOX 310523                                       PO BOX 310152
N-2013 SKJETTEN                                       FLINT, MI 48531-0523                                FLINT, MI 48531-0152
NORWAY



SYBIL N BRISLAIN CUST                                 SYDELL LEVY CUST ROBERT LEVY                        SYDNEY L WEINSTEIN CUST JONATHAN K WEINSTEIN U/THE C
UNDER THE LAWS OF OREGON FOR GREGORY JOHN             U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          C/O KOHLBURNE SCHOOL
BRISLAIN                                              252 7TH AVENUE #16B                                 343 NEW MARLBORO SOUTHFIELD RD
250 VALLOMBROSA AVE                                   NEW YORK, NY 10019                                  NEW MARLBOROUGH, MA 02130-2035
STE 125
CHICO, CA 95926-3973

SYDNEY LONSTEIN                                       SYLIVA BENNETT DIDONE TR                            SYLVA LEITNER & LEONARD H POPOWEER TR
313 PARK AVE                                          SYLVIA BENNETT DIDONE REVOCABLE TRUST UA 05/29/97   RESIDUARY TR UNDER THE IRVING LEITNER REV TR UA
WORCESTER, MA 01609-1846                              11218 MIDVALE RD                                    07/08/04
                                                      KENSINGTON, MD 20895-1909                           8818 LOWELL TERRACE
                                                                                                          SKOKIE, IL 60076-1840


SYLVAN L COLOVE CUST BETTY LOU COLOVE                 SYLVAN SIMOWITZ CUST CAROL BEA SIMOWITZ             SYLVESTER J ZIENTAK TR
U/THE PA UNIFORM GIFTS TO MINORS ACT                  A MINOR U/ART 8-A OF THE PERS PROP LAW OF N Y       SYLVESTER J ZIENTAK INTER-VIVOS TRUST UA 05/10/96
205 E PENN AVE                                        16 CAZNEAU STREET                                   2106 6TH ST
WERNERSVILLE, PA 19565-1613                           SAN SALITO, CA 94965-1802                           BAY CITY, MI 48708-6803



SYLVIA A BARKER TR                                    SYLVIA A TURNER                                     SYLVIA D LAURIDSON & WARREN H LAURIDSON TR
LEONARD A JONES & SYLVIA A BARKER LIVING TRUST UA     PO BOX 471596                                       SYLVIA D LAURIDSON REVOCABLE TRUST UA 12/16/98
08/05/03                                              DISTRICT HTS, MD 20753                              4N241 BRIAR LANE
135 CADY ST                                                                                               BENSENVILLE, IL 60106-2923
ROCHESTER, NY 14608-2301


SYLVIA DEBRINCAT TR                                   SYLVIA F SCHREINER CUST PAUL LOUIS SCHREINER A MIN UNDSYLVIA
                                                                                                             LA UNIF
                                                                                                                   F SCHREINER
                                                                                                                     GIFTS     CUST THOMAS MARTIN SCHREINER A M
SYLVIA DEBRINCAT REVOCABLE LIVING TRUST UA 06/16/97   TO MIN ACT                                            GIFTS TO MIN ACT
17712 DEERING                                         1446 NATCHEZ LOOP                                     1446 NATCHEZ LOOP
LIVONIA, MI 48152-3759                                COVINGTON, LA 70433-6034                              COVINGTON, LA 70433-6034
                   09-50026-mg             Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                              Part 8 of 8 Pg 400 of 440
SYLVIA G BERNSTEIN                                     SYLVIA GOLDSTEIN                                      SYLVIA HELFAND CUST RITA GAYLE HELFAND
9002 BELVOIR WOODS PKWY                                95 CHADWICK ROAD                                      U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
APT 406                                                TEANECK, NJ 07666-4203                                3502 PRESTWICK LN
FORT BELVOIR, VA 22060-2710                                                                                  NORTHBROOK, IL 60062-5039



SYLVIA J BURTON                                        SYLVIA J FLATON CUST JANET ELIZABETH FLATON           SYLVIA J YUNKER
& JAMES K BURTON & STEPHANIE M SAMEK & LAURA L         U/THE N Y UNIFORM GIFTS TO MINORS ACT                 1979 180TH ST
SAMEK JT TEN                                           1439 IRIS ST                                          INWOOD, IA 51240-7709
13559 S WRIGHT RD                                      SAN LUIS OBISPO, CA 93401-3034
EAGLE, MI 48822-9784


SYLVIA K LEVITT TR                                     SYLVIA M ZIELINSKI                                    SYLVIA N KESMAN CUST SHERYL H KESMAN
UA 01/27/2001 SYLVIA K LEVITT REVOCABLE LIVING TRUST   & NICHOLAS R ZIELINSKI & ANNE ZIELINSKI MARTEN        U/THE VERMONT UNIFORM GIFTS TO MINORS ACT
1 NEW BALLAS PLACE                                     & MARY ZIELINSKI LINDOW &                             75 SUSAN LANE
APT 330                                                29196 SHENANDOAH DR                                   RUTLAND, VT 05701-9160
SAINT LOUIS, MO 63146                                  FARMINGTN HLS, MI 48331-2450


SYLVIA S TERESI JR GUZAY & SYLVIA S TERESI SR JT TEN TOD SYLVIA
                                                         JENNIFER
                                                                T MLYNARCZYK
                                                                   F          & JAMES P MLYNARCZYK JT TEN TOD LINDA
                                                                                                               SYLVIA
                                                                                                                    V TUNICK CUST BARBARA L TUNICK
CANADAY SUBJECT TO STA TOD RULES                         MLYNARCZYK SUBJECT TO STA TOD RULES                   U/THE CONN UNIFORM GIFTS TO MINORS ACT
13900 PAWNEE TRAIL                                       2982 WINDCREST WAY NE                                 PO BOX 325
MIDDLEBURGH HTS, OH 44130-6721                           GRAND RAPIDS, MI 49525-7025                           WEST ROCKPORT, ME 04865-0325



SYLVIA TUNICK CUST STEPHEN M TUNICK                    SYMA L ROSENHECK CUST ALAN J ROSENHECK                SYRENE WALTERS
U/THE CONN UNIFORM GIFTS TO MINORS ACT                 A MINOR U/P L 55 CHAP 139 OF THE LAWS OF N J          4008 142ND AVENUE
105 ROCK HOUSE RD                                      1122 MADISON AVE                                      HAMILTON, MI 49419-9741
EASTON, CT 06612-1003                                  OCEAN, NJ 07712-4148



SYRENE WALTERS & HELEN WALTERS JT TEN                  T DONNELL SCHILDWACHTER CUST THOMAS L SCHILDWACHTER
                                                                                                         T DOUGLAS WUGGAZER & NANCY R WUGGAZER TR
4008 142ND AVE                                         U/THE MD UNIFORM GIFTS TO MINORS ACT              T D & N R WUGGAZER FAMILY TRUST UA 12/2/99
HAMILTON, MI 49419-9741                                1080 RUSTLING OAKS DR                             18 W 164 BELAIR CT
                                                       CHARLOTTESVILLE, VA 22901-8000                    DARIEN, IL 60561



T FRASIA RINER & MABLE R RINER TR                      T O WILLIAMS                                          TADAO BUD WARASHINA TR TADAO BUD WARASHINA TRUST U
T FRASIA RINER & MABLE R RINER REVOCABLE TRUST UA      PO BOX 472696                                         PO BOX 390299
10/31/02                                               BROOKLYN, NY 11247-2696                               MOUNTAIN VIEW, CA 94039-0299
6512 THREE CHOPT RD
RICHMOND, VA 23226-3119


TAHSIUNG TSAI & RUEY JY TSAI TR                        TAJ THORESEN                                          TAKAYUKI AKIYAMA
TAHSIUNG TSAI MD PC EMPLOYEES PENSION PLAN             4108 244TH LN SE                                      4 7 34 NISHITSRUMA
302 ORCHARD DR                                         ISSAQUAH, WA 98029                                    YAMATO
SOUTH POINT, OH 45680                                                                                        242 0005 KANAGAWA
                                                                                                             JAPAN


TAMI M JACKSON                                         TAMMIE L STILTNER                                     TAMMY GOBERSTEIN CUST RYAN L GOBERSTEIN UTMA IL
PO BOX 320753                                          645 ECKSTEIN RD                                       4331 PHYLLIS DRIVE
FLINT, MI 48532                                        CRESTLINE, OH 44827-9691                              NORTHBROOK, IL 60062-1025




TANNA J ELLINGER & BARRY A ELLINGER JT TEN             TARA A HEINZMANN                                      TARA M MARKEY-MEIS & F & M BANK TR
23251 188TH ST NW                                      ATTN TARA H FITZPATRICK                               UA 11/06/98 MARSHALL J MARKEY GENERATION
BIG LAKE, MN 55309-9616                                52 LAKEWOOD DR                                        201 SPRING ST
                                                       N ATTLEBORO, MA 02760-4002                            BURLINGTON, IA 52601-0928
                     09-50026-mg          Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                        Part 8 of 8 Pg 401 of 440
TARO MISHIMA & MIYO MISHIMA TR                   TAUBA U ANDERSON & GEORGE C ANDERSON TR             TAYLOR WEBER HENKEL
TARO MISHIMA & MIYO MISHIMA TRUST UA 05/16/02    UA 09/03/93 ANDERSON FAMILY TRUST                   18175 120TH AVE
1753 WELLESLEY AVE                               485 ARUNDEL RD                                      NUNICA, MI 49448-9761
LOS ANGELES, CA 90025-3633                       GOLETA, CA 93117-2163



TED A TREINEN                                    TED H COX CUST JEFFREY A COX                        TED L BROWNELL
2027 NORTH POLZIN RD                             U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT      16135-143RD AVE SE
JANESVILLE, WI 53545-9389                        319 W CENTRAL AVENUE                                YELM, WA 98597-9169
                                                 TITUSVILLE, PA 16354-1642



TED SCHONLAW CUST THEODORE ROBERT SCHONLAW       TEDD J HANSEN & SHERRY L HANSEN TR                  TEDDY D NOWAKOWSKI
U/THE CALIF UNIFORM GIFTS TO MINORS ACT          TEDD J HANSEN REVOCABLE TRUST UA12/14/98            & JILL A CARLESIMO & ARTHUR F NOWAKOWSKI & JAN A
9 FIRETHORN                                      93 CLEARWATER CT                                    BOYNTON JT TEN
RANCHO SANTA MARGA, CA 92688-1238                FOUR SEASONS, MO 65049                              C/O JILL A CARLESIMO
                                                                                                     3485 SUTTON RD
                                                                                                     DRYDEN, MI 48428-9732

TEDDY MYSLIWIEC & HELEN MYSLIWIEC TR             TEDDY ORGELL CUST ANDREW ORGELL                     TEDDY ORGELL CUST PETER S ORGELL
HELEN MARIE MYSLIWIEC TRUST UA 05/01/95          U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT        U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT
19160 MEADOW RIDGE DR                            13047 SLEEPY WIND ST                                904 THISTLEGATE RD
LIVONIA, MI 48152-6000                           MOORPARK, CA 93021-2934                             AGOURA, CA 91377-3917



TENA M FITING                                    TERENCE E ADDERLEY CUST RUSSELL G ADDERLEY          TERENCE M HLATHEIN
312 FREMONT                                      U/THE MICH UNIFORM GIFTS TO MINORS ACT              116 AUTUMN LANE
BAY CITY, MI 48708-7718                          362 LONE PINE COURT                                 GEORGETOWN, KY 40324-8976
                                                 BLOOMFIELD HILLS, MI 48304-3429



TERESA A HEINZMANN                               TERESA A JOHNSON                                    TERESA D EBLING & KAREN D POLLACK TR
29 SHEILA DR                                     PO BOX 430434                                       UA 01/17/2007 THE DELANEY FAMILY IRREV TRUST
FRANKLIN, MA 02038-3238                          PONTIAC, MI 48343-0434                              4361 ROUTE 9G
                                                                                                     GERMANTOWN, NY 12526



TERESA L KLEINSMITH                              TERESA M NEINO                                      TERESA MCCARTHY & DONALD MCCARTHY TR
818 TAMAYO DR #3                                 44160 HARSDALE DRIVE                                TERESA MCCARTHY LIVING TRUST UA 01/06/00
CHULA VISTA, CA 91910-6358                       CANTON, MI 48187-3231                               1580 BROOK KNOLL LANE
                                                                                                     CUMMING, GA 30041



TERESA R HEINZ                                   TERI DALLARA CUST TINA DALLARA UGMA NY              TERI L IRWIN & ROBERT W IRWIN JT TEN
8620 WOODWORTH RD                                2249 128TH ST                                       635 100TH SE
OVID, MI 48866-9466                              COLLEGE POINT, NY 11356-2721                        BYRON CENTER, MI 49315-8770




TERRANCE C STEINER                               TERRANCE L HEINEMAN                                 TERRE L WILLIAMS
414 ELM STREET                                   3391 TERRY ST                                       ATTN TERRE STREETER
WEST MIFFLIN, PA 15122-1535                      SAGINAW, MI 48604-1725                              PO BOX 430981
                                                                                                     PONTIAC, MI 48343-0981



TERRENCE LEE CROFT                               TERRENCE W MCCLAIN & MARCIA D MCCLAIN TR            TERRIE L VISSER-REINTGES
STE 707 127 PEACHTREE ST                         TERRENCE W & MARCIA D MCCLAIN REVOCABLE LIV TRUST   6855 UNION SE
ATLANTA, GA 30303-1800                           UA 11/26/04                                         GRAND RAPIDS, MI 49548-7351
                                                 894 FLOHRS CHURCH ROAD
                                                 BIGLERVILLE, PA 17307-9558
                      09-50026-mg        Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                            Part 8 of 8 Pg 402 of 440
TERRILL LAYMAN                                       TERRILL W MENZEL & ROSEMARIE MENZEL TR            TERRY A HARRIS
12517 172ND ST NE                                    UA 12/26/90 TERRILL W MENZEL & ROSEMARIE          PO BOX 300895
ARLINGTON, WA 98223                                  1725 ROBERTS DRIVE                                KANSAS CITY, MO 64130-0895
                                                     STEVENS POINT, WI 54481-7039



TERRY A THOMPSON                                     TERRY A VRSHEK & CAROLE S VRSHEK TR               TERRY CRIST
AM WALDCHEN 3B                                       UA 12/15/2009 TERRY & CAROLE VRSHEK REVOCABLE     PO BOX 831449
KONIGSTEIN D61462                                    11738 S KEELER AVE                                RICHARDSON, TX 75083-1449
GERMANY                                              ALSIP, IL 60803



TERRY E MEYERS                                       TERRY F ATKINS                                    TERRY H KOVEL CUST LEE RALPH KOVEL
ATTN JOAN E BAKER                                    PO BOX 700343                                     U/THE OHIO UNIFORM GIFTS TO MINORS ACT
1512 147TH AVE SE                                    PLYMOUTH, MI 48170-0946                           9925 JEFFERSON BLVD
GALESBURG, ND 58035-9415                                                                               CULVER CITY, CA 90232-3505



TERRY HORNE & CARROL HORNE JT TEN                    TERRY L BURKE & JACQUELINE L BURKE JT TEN         TERRY L GRIFFITHS
4040 228TH ST                                        2345 FILE DRIVE                                   #7 2588 152ND ST
LANGLEY BC                                           DECATUR, IL 62521                                 SURREY BC
V2Z 2H3 CANADA                                                                                         V4P 1J8 CANADA



TERRY L KREINBRINK                                   TERRY L KREINER                                   TERRY S REINER
13175 BUDD RD                                        1327 NEW ENGLAND RD                               35 N MAIN ST
BURT, MI 48417-9419                                  WEST MIFFLIN, PA 15122-3241                       MIDDLEPORT, NY 14105-1025




TERRY S REINER                                       TERRY WALLACE JONES & MARY KRELLWITZ JONES TR     TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
35 N MAIN ST APT B                                   UA 03/07/08 TERRY & MARY JONES LIVING TRUST       SECURITIES MANAGEMENT FOR
MIDDLEPORT, NY 14105-1025                            881 COUNTRY LN                                    UNCLAIMED PROPERTY
                                                     HOUSTON, TX 77024                                 208 EAST 16TH STREET
                                                                                                       AUSTIN, TX 78701


THADDEUS S STEWARD & ALICE E STEWARD TR              THANH TIN TRUONG & HAI-DUONG A NGUYEN JT TEN      THE CHARLES S BEAL FUND SOUTH SHORE COMMANDERY # 1
THADDEUS S & ALICE C STEWARD REV LVG TRUST UA        20421 123RD CT SE                                 ATTN JOHN B MCCULLOCH JR
8/18/99                                              KENT, WA 98031-1722                               20 OLD FORGE RD
720 ESSINGTON LANE                                                                                     S WEYMOUTH, MA 02190-1260
BUFFALO GROVE, IL 60089-1417


THE MINISTER ELDERS & DEACONS OF SECOND PROTESTANT THE
                                                   REFORM
                                                       RECTOR
                                                            DUTCH
                                                                CHURCH WARDENS                         THE REGENTS OF THE UNIVERSITY SYSTEM OF GEORGIA FOR
CHURCH OF CITY OF NEW BRUNSWICK                    & VESTRYMEN OF CALVARY CHURCH OF WILKES-BARRE       COLLEGE
100 COLLEGE AVE                                    371-373 N MAIN ST                                   270 WASHINGTON ST S W
NEW BRUNSWICK, NJ 08901-1105                       WILKES-BARRE, PA 18702-4409                         ATLANTA, GA 30334-9009



THE ROBERT B MORTON & RUTH E MORTON TR               THE TRUSTEES OF THE GILSTER MARY LEE PROF SHAR    THE TRUSTEES OF THE GILSTER-MARY LEE CORP EMPLOYEE
UA 11/02/90 ROBERT B MORTON & RUTH E MORTON LIVING   & RET FUND U-A DTD 12/8/72                        PLAN & TR DTD 12/8/72
TRUST                                                BOX 227                                           BOX 227
13 FOREST PARK DRIVE                                 CHESTER, IL 62233-0227                            CHESTER, IL 62233-0227
VERO BEACH, FL 32962-4652


THE TRUSTEES OF THE ITTA BENA-MORGAN CITY ROTARY CLUB
                                                    THE
                                                      EDUCATIONAL
                                                         TTEE FOR THE JERRY REUBEN MARSHALL FOUNDATION FOR
                                                                                                        THEYOUTH
                                                                                                            TTEE OFU-ASALEM
                                                                                                                       DTD EQUIPMENT INC
TRUST                                               10/30/69                                            & SALEM SETWORKS INC EMPLOYEES PROFIT SHARING TR
PO BOX 504                                          PO BOX 420                                          UA 12/30/59
ITTA BENA, MS 38941-0504                            512 SECOND ST                                       PO BOX 947
                                                    BROWNSVILLE, PA 15417-1608                          SALEM, OR 97308-0947
                   09-50026-mg           Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                            Part 8 of 8 Pg 403 of 440
THE TTEE OF THE LAWRENCE LIEBERFELD ASSOCIATES INC PENS
                                                    THE &TTEE
                                                          PROFOFSHAR
                                                                 THE MT
                                                                     TR LAWN LINCOLN MEMORIAL PARK INC TR THELMA ANNA DE GOEDE SMITH TR
9/15/75                                             PERPETUAL CARE FUND 8/3/66                            UA 08/29/85 THELMA ANNA DE GOEDE SMITH TR
401 E 86TH ST                                       84TH ST & HOOK RD                                     3909 CLEAR CREEK CEMETERY RD
NEW YORK, NY 10028-6403                             SHARON HILL, PA 19079                                 OROVILLEA, CA 95965-9199



THELMA B CRAIG & JEFFREY S CRAIG TR                  THELMA D KLOSSMAN CUST KENNETH JAMES KLOSSMAN        THELMA F BUNTING TR
THELMA B CRAIG REVOCABLE LIVING TRUST                UNDER THE PENNSYLVANIA U-G-M-A                       THELMA F BUNTING REVOCABLE LIVING TRUST UA 01/31/97
8449 SEATTLE SLEW LN                                 1112 BEHTEL CHURCH RD                                604 WYTHE CREEK RD
INDIANAPOLIS, IN 46217-4896                          SPRING CITY, PA 19475-9652                           POQUOSON, VA 23662-1504



THELMA METSGER DAVIS TR                              THELMA V DYER                                        THEODORA ZUCKERMAN & STANLEY ZUCKERMAN TR
THELMA METSGER DAVIS REVOCABLE TRUST UA 07/03/03     PO BOX 120953                                        THEODORA ZUCKERMAN TRUST UA 02/17/94
8804 N 750 W                                         CLERMONT, FL 34712-0953                              39 SOUTH DR
ROSSVILLE, IN 46065                                                                                       GREAT NECK, NY 11021-1960



THEODORE A P GOLDEN TR                               THEODORE COOKE & DIAN COOKE TR                       THEODORE E GREENBERG CUST MARK GREENBERG
THEODORE A P GOLDEN REVOCABLE LIVING TRUST           THEODORE COOKE & DIAN COOKE TRUST UA 09/09/92        U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT
06/27/75                                             75 WESTWOOD DR                                       2 WHITE PINE CT
181 SHAGBARK DR                                      NOVATO, CA 94945-3321                                LAFAYETTE HL, PA 19444-2507
ROCHESTER HLS, MI 48309


THEODORE F WEHR CUST FREDRICK T WEHR                 THEODORE F WEHR CUST NANCY M WEHR                    THEODORE G BUSFIELD JR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT               U/THE OHIO UNIFORM GIFTS TO MINORS ACT               18-A MOLLY PITCHER BLVD
2377 OXFORD MIDDLETOWN ROAD                          ATTN N TURNER                                        WHITING, NJ 08759-1543
HAMILTON, OH 45013-9720                              1301 ASHOVER
                                                     BLOOMFIELD HILLS, MI 48304


THEODORE G LEATHEM CUST THEODORE H LEATHEM           THEODORE G ROTARY & ALMA J ROTARY & MARK G ROTARY TRTHEODORE GAY MEINERT
U/THE N J UNIFORM GIFTS TO MINORS ACT                ROTARY FAMILY TRUST UA 08/07/96                     4503 WINDY HILL RD SE
38 HIDDEN GLEN RD                                    9428 WARNER RD                                      DECATUR, AL 35603-5328
UPPER SADLE RIVER, NJ 07458-1723                     SALINE, MI 48176-9374



THEODORE H GREINER                                   THEODORE H MEYER CUST JOHN E MEYER                   THEODORE J WIGGINS & WANDA M WIGGINS TR
1416 WATERSIDE DR                                    U/THE CONNECTICUT UNIFORM GIFTS TO MINORS ACT        UA 12/17/93 THE WIGGINS FAMILY TRUST
DALLAS, TX 75218-4476                                18 LANTERN HILL RD                                   1321 ZEUS
                                                     EASTON, CT 06612-2218                                WEST COVINA, CA 91790-3353



THEODORE JACOBSEN & MRS BERNICE B JACOBSEN JT TEN THEODORE M FONK JR CUST THEODORE M FONK 3RD             THEODORE PECK CUST TED R PECK
38781 337TH LN                                    U/THE COLO UNIFORM GIFTS TO MINORS ACT                  U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
AITKIN, MN 56431-2117                             2800 SOUTH UNIVERSITY #52                               PO BOX 10
                                                  DENVER, CO 80210-6055                                   SWARTZ CREEK, MI 48473-0010



THEODORE R PAYNE TR                                  THEODORE RAUCH AS DONEE OF A POWER TO MANAGE PROPERTY
                                                                                                      THEODORE
                                                                                                           OF RENEE
                                                                                                                REINHARD
                                                                                                                    RAUCH& HOPE REINHARD JT TEN
THE THEODORE R PAYNE REVOCABLE LIVING TRUST UA       U-W ROSE R DESSAUER                              111 NORFOLK AVE
7/29/03                                              65 TOP OF THE RIDGE DR                           EGG HARBOR, NJ 08215-1225
5096 PERRYVILLE ROAD                                 SCARSDALE, NY 10583-6715
HOLLY, MI 48442-9408


THEODORE SLEIN TR THEODORE SLEIN REVOCABLE TRUST # 1THEODORE
                                                     UA 05/12/04STEINBERG                                 THEODORE T WHITNEY JR CUST NATHANIEL D WHITNEY
339 DIELMAN ROAD                                    295 ROCK RD                                           U/THE MASS UNIFORM GIFTS TO MINORS ACT
ST LOUIS, MO 63132-4304                             GLEN ROCK, NJ 07452-1722                              26 VALLEY ST
                                                                                                          NORFOLK, MA 02056-1629
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                            Part 8 of 8 Pg 404 of 440
THEODORE T WHITNEY JR CUST THEODORE T WHITNEY 3RD    THEODORE W ROBERTS                             THEOPHANES G STRIMENOS CUST FRAN A STRIMENOS
U/THE MASS UNIFORM GIFTS TO MINORS ACT               2809 361 FRONT ST W                            U/THE ALA UNIFORM GIFTS TO MINORS ACT
PO BOX 543                                           TORONTO ON                                     BOX 285
YARMOUTH PORT, MA 02675-0543                         M5V 3R5 CANADA                                 BROOKLINE, NH 03033-0285



THERESA A FELLING                                    THERESA ARTUS & MICHAEL F ARTUS TR             THERESA B GRABLE TR
PO BOX 510572                                        WALTER ARTUS CREDIT SHELTER TRUST UA 5/19/97   THERESA B GRABLE & DARLENE S BOERSEMA REV LIV
KEY COL BCH, FL 33051-0572                           184-29 ABERDEEN ROAD                           TRUST UA 12/10/96
                                                     JAMAICA ESTATES, NY 11432-1515                 222 GLENWOOD AVE
                                                                                                    FENTON, MI 48430-3225


THERESA C HARKIEWICZ                                 THERESA E MEINCK                               THERESA LOMBARDO CUST MAXIMILIAN FREDDURA
& RAYMOND C HARKIEWICZ & BERNARD M HARKIEWICZ JT     701 RUNNING DEER DRIVE                         UNDER THE FLORIDA GIFTS TO MINORS ACT
TEN                                                  COLUMBIA, TN 38401-8003                        935 NW EGRET CT
47440 BURTON ST                                                                                     STUART, FL 34994-9532
UTICA, MI 48317-3106


THERESA M GRIECO CUST MARIA ANGELA GRIECO            THERESA M REINHARDT                            THERESA QUINN KLEIN & FRANK JOSEPH KLEIN TEN COM
U/THE PA UNIFORM GIFTS TO MINORS ACT                 200 CHIPPEWA CT                                1422 BAY BERRY LN
4940 JACKSON DR                                      GIRARD, OH 44420-3617                          SEABROOK, TX 77586-4535
BROOKHAVEN, PA 19015-1008



THERESA SHAHEEN CUST RAYMOND SHAHEEN                 THERESE A RYAN                                 THERESE C SEIBERT & JOHN J SEIBERT TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT           GM CHINA INVESTMENTS                           THERESE C SEIBERT TRUST UA 11/23/94
431 THOMAS AVE                                       56 JINWAN RD                                   16885 BOULDER WAY
ROCHESTER, NY 14617-2165                             PUDONG                                         MACOMB, MI 48042-3513
                                                     SHANGHAI 201206 CHINA (PEOPLE'S REP)


THERESE H MOSIER & LOUIS A MOSIER TR                 THERESIA FILER CUST JESSICA E FILER UTMA OH    THERESIA FILER CUST MARC E FILER UTMA OH
LOUIS & THERESE MOSIER REV TRUSTUA 11/18/02          5680 MILLWOOD ROAD                             5680 MILLWOOD ROAD
4787 RIDGE RD                                        BROADVIEW HEIGHTS, OH 44147-2248               BROADVIEW HEIGHTS, OH 44147-2248
LAKE, MI 48632-8838



THERESIA PH REUTHER TR THERESIA PH REUTHER TRUST UA THERESIA
                                                    10/07/86 V ROBINSON                             THERON LEE JOHNSON SR TR
13850 111TH AVE                                     C5 GREEN VILLAS                                 THERON LEE JOHNSON SR LIVING TRUST UA 08/21/96
SUN CITY, AZ 85351-2563                             NO 700 BI YUN RD                                5915 MARIPOSA DR
                                                    PUDONG NEW DISSRICT                             HOLIDAY, FL 34690-6323
                                                    SHANGHAY 201 206 CHINA (PEOPLE'S REP)


THIAGO PIERRE LINHARES MATTOS                        THOM REINCKE                                   THOMAS A HOTCHKISS
RUA MONTE ALEGRE 835 AP 1802                         1405 PATTERSON GROVE RD                        16775 290TH AVE
SAO PAULO                                            APEX, NC 27502-4035                            SOUTH ENGLISH, IA 52335-8652
5014000 BRAZIL



THOMAS A LOWE & THOMAS M LOWE TR                     THOMAS A MALONEY CUST THOMAS ANTHONY MALONEY   THOMAS A RICHEY CUST ROBERT J RICHEY
UA 05/23/2007 THOMAS A LOWE & KATHLEEN B LOWE        U/THE MASS UNIFORM GIFTS TO MINORS ACT         U/THE OHIO UNIFORM GIFTS TO MINORS ACT
65 CHRISTINE COURT                                   65 CENTRAL AVENUE                              475 CLUB DR
SATELLITE BCH, FL 32937                              EVERETT, MA 02149-2230                         AURORA, OH 44202-8564



THOMAS A RICHEY CUST THOMAS J RICHEY                 THOMAS A WILLIAMS & LOIS J WILLIAMS TR         THOMAS A WINNARD & DOROTHY M WINNARD TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT               UA 11/06/1993 THOMAS A WILLIAMS TRUST          THOMAS ALLIN WINNARD & DOROTHY MWINNARD JOINT
475 CLUB DR                                          2045 FOXMOOR LN                                TRUST
AURORA, OH 44202-8564                                LAFAYETTE, IN 47905-8634                       3203 PRAIRIE AVE
                                                                                                    ROYAL OAK, MI 48073-6577
                     09-50026-mg          Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                           Part 8 of 8 Pg 405 of 440
THOMAS B GOOLSBY                                    THOMAS B OBARR CUST JAMES B OBARR                  THOMAS BLAUVELT CUST THOMAS BLAUVELT JR
PO BOX 150323                                       U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT         A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS
ATLANTA, GA 30315-0185                              PO BOX 4472                                        234 FOREST RD
                                                    ARCATA, CA 95518-4472                              MAHWAH, NJ 07430-3109



THOMAS C BENNETT & ANNE E BENNETT TR                THOMAS C BYRD JR                                   THOMAS C DUKE JR CUST THOMAS C DUKE III
UA 04/30/09 THOMAS C BENNETT & ANNE E BENNETT       PO BOX 208138                                      U/THE WISC UNIFORM GIFTS TO MINORS ACT
8130 FARRANT ST                                     CHICAGO, IL 60620-8138                             1344 BANBURY RD
COMMERCE TWP, MI 48382                                                                                 RALEIGH, NC 27607-3710



THOMAS C ETZWILER OR RUTH E ETZWILER TR             THOMAS C KNOERLEIN                                 THOMAS C REINWAND & BURLEY F REINWAND TR
ETZWILER FAM LIVING TRUST UA 04/11/97               68 HAVERHILL RD                                    UA 07/27/93 THOMAS C REINWAND & BURLEY F REINWAND
2581 MILLSBORO RD                                   JOPPA, MD 21085-4732                               REV TR
MANSFIELD, OH 44903-8784                                                                               2944 SOMBRERO CIR
                                                                                                       SAN RAMON, CA 94583-2208


THOMAS C SCHREINER                                  THOMAS C SHUPERT & MARJORY M SHUPERT TR            THOMAS C SHUPERT & MARJORY M SHUPERT TR
3011 EVERGREEN RD                                   THOMAS C & MARJORY M SHUPERT REV LIVING TRUST UA   THOMAS C & MARJORY M SHUPERT REVOCABLE LIVING
TOLEDO, OH 43606-2727                               02/21/05                                           4818 S LAREDO PASS
                                                    4818 S LAREDO PASS                                 SIERRA VISTA, AZ 85635
                                                    SIERRA VISTA, AZ 85650-8981


THOMAS C THOMAS JR CUST KATHRYN L THOMAS            THOMAS C VANDEGRIFT & NANCY J VANDERGRIFT TR       THOMAS C WARRENDER & JAMES P WARRENDER AND BETH L
U/THE IND UNIFORM GIFTS TO MINORS ACT               THOMAS C VANDEGRIFT LIVING TRUSTUA 03/30/99        WARRENDER EX EST CHARLES W WARRENDER
10306 S 300 W                                       1491 VILLA                                         C/O DAVID P GOODWIN
PENDLETON, IN 46064-9521                            BIRMINGHAM, MI 48009-6558                          P O BOX 673
                                                                                                       SHARON, PA 16146


THOMAS CANIVET                                      THOMAS COLLISON SR & ELIZABETH K COLLISON TR       THOMAS CONNOLLY CUST STEVEN JOHN CONNOLLY
112574 11TH LINE RR#2                               UA 12/11/86 T W COLLISON & E K COLLISON            U/THE MICH UNIFORM GIFTS TO MINORS ACT
ORTON ON                                            10175 S LINDEN RD                                  13198 N LINDEN
L0N 1N0 CANADA                                      GRAND BLANC, MI 48439-9361                         CLIO, MI 48420-8233



THOMAS D BEINAR                                     THOMAS D FENTON & JAMES A RICHARDSON TR            THOMAS D HUNTER & JOEY S HUNTER TR
35410 SCHOOLCRAFT                                   CHARLES G AVERY TRUST UA 07/30/62                  UA 09/17/92 THOMAS & JOEY HUNTER LIVING TRUST
LIVONIA, MI 48150-1276                              1811 WOODBINE RD                                   985 CHURCH STREET NE
                                                    RICHMOND, VA 23225-3225                            PALMYRA, IN 47164-8887



THOMAS D KLEIN                                      THOMAS D REINKE                                    THOMAS D STEINER
8195 KLEIN RD                                       8095 EVERGREEN PK                                  6815 GULF OF MEXICO DR
HILLMAN, MI 49746-9196                              SAGINAW, MI 48609-4206                             LONGBOAT KEY, FL 34228-1305




THOMAS D STRINGER & SHARIDON J STRINGER TR          THOMAS DAVID FINK & CYNTHIA GAY FINK JT TEN        THOMAS DAVIDOFF CUST GILLIAN PAMELA DAVIDOFF
THOMAS D & SHARIDON J STRINGER REV LIV TRUST UA     129 STEINBRIGHT DR                                 UNDER THE FLORIDA GIFTS TO MINORS ACT
03/06/01                                            COLLEGEVILLE, PA 19426-0000                        209 TURNBERRY COURT NO
7692 ELIZABETH LAKE ROAD                                                                               ATLANTIS, FL 33462-1028
WATERFORD, MI 48327-3685


THOMAS E CLARKE & JUDITH A CLARKE TR                THOMAS E CLARKE & JUDITH A CLARKE TR               THOMAS E FLANAGAN CUST THOMAS E FLANAGAN JR
THOMAS E CLARKE CO MONEY PURCH PEN PLAN 07-NOV-79   THOMAS E CLARKE CO MONEY PURCH PEN PLAN NOV 7-79   U/THE CONN UNIFORM GIFTS TO MINORS ACT
PO BOX 3633                                         PO BOX 3633                                        56 STEEP HOLLOW DR
PAGOSA SPGS, CO 81147                               PAGOSA SPGS, CO 81147                              GLASTONBURY, CT 06033
                    09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
                                                            Part 8 of 8 Pg 406 of 440
THOMAS E FORGASH CUST ADAM P FORGASH                 THOMAS E GIBBENS CUST THOMAS E GIBBENS JR          THOMAS E HOFFMAN
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT         A MINOR UNDER THE LOUISIANA GIFTS TO               PO BOX 403973
1325 PROSPECT ST                                     705 ROSEDOWN DR                                    HESPERIA, CA 92340
WESTFIELD, NJ 07090-4228                             THIBODAUX, LA 70301-8044



THOMAS E HUBER & JOAN M HUBER TR                     THOMAS E KITTS & FILENA A KITTS JT TEN             THOMAS E L MCCABE & JEAN MCCABE & SALLY JEAN MCCABE
THOMAS E & JOAN M HUBER FAMILY TRUST UA 6/19/01      PO BOX 12                                          THOMAS & JEAN MCCABE REV 1996 TRUST UA 10/11/96
5422 SOMERSET LANE S                                 NORTH BRANCH, MI 48461-0012                        4991 LUCILLE DRIVE
GREENFIELD, WI 53221-3246                                                                               SAN DIEGO, CA 92115-2041



THOMAS E MORRIS JR TR                                THOMAS E PACHECO                                   THOMAS E WENT & HARRIET K WENT TR
L-W-T & TESTAMENT OF MARGUERITE T MORRIS F-B-O       5800 HEINDALE ST                                   THOMAS & HARRIET WENT REVOCABLE TRUST UA 6/13/05
THOMAS E MORRIS JR                                   STERLING HTS, MI 48314-3028                        3370 MARIGOLD CIRCLE
5 LITTLE TARN COURT                                                                                     COSTA MESA, CA 92626-1725
HARDYSTON, NJ 07419


THOMAS E WINNINGHAM JR & JANET H WINNINGHAM TR       THOMAS EDWARD DOYLE                                THOMAS F BURLEIGH & CAROLYN M BURLEIGH & JOHN G BUR
THOMAS E WINNINGHAM JR REVOCABLE LIVING TR UA        UNDER GUARDIANSHIP OF THOMAS T DOYLE UNDER         UA 05/03/06
04/19/05                                             COURT ORDER DTD 09-13-66                           5257 VERNON LAKE DR
4413 WASHINGTON ST                                   12212 W STANLEY ROAD                               DUNWOODY, GA 30338
DOWNERS GROVE, IL 60515-2834                         FLUSHING, MI 48433-9206


THOMAS F GARBULINSKI & RITA C GARBULINSKI TR         THOMAS F LAWLOR CUST STEPHEN M MC MANUS            THOMAS F MANGOLD CUST MARY JEAN MANGOLD
UA 08/16/88 THOMAS F GARBULINSKI&                    U/THE MASS UNIFORM GIFTS TO MINORS ACT             U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
1133 RONALD                                          544 BROOK RD                                       27 MATTHEWS RD
FLINT, MI 48507-3338                                 MILTON, MA 02186-2823                              NEWARK, DE 19713-2554



THOMAS F PODY                                        THOMAS F ROBINSON & MARJORIE J ROBINSON TR         THOMAS G CALLAHAN CUST STEPHEN L CALLAHAN
PO BOX 155907                                        ROBINSON LIVING TRUST UA 8/16/01                   U/THE MASS UNIFORM GIFTS FOR MINORS ACT
FORT WORTH, TX 76155-0907                            30 WILBERT DRIVE                                   70 LYNDEBOROUGH ROAD
                                                     NORTH SYRACUSE, NY 13212-3815                      AMHERST, NH 03031-3046



THOMAS G COOPER JR CUST ANNE G COOPER                THOMAS G COOPER JR CUST THOMAS G COOPER 3RD        THOMAS G DUPUIE
U/THE TENN UNIFORM GIFTS TO MINORS ACT               U/THE TENN UNIFORM GIFTS TO MINORS ACT             2078 REINDEL RD
21 VAUGHNS GAP ROAD #E-70                            375 ASHWOOD CT                                     FRANKENMUTH, MI 48734-9738
NASHVILLE, TN 37205-4330                             VERNON HILLS, IL 60061-2334



THOMAS G FEATHERSTON & DIANE E FEATHERSTON TR        THOMAS G PEEK & ANNE K PEEK JT TEN                 THOMAS G SIEGELE & JESSICA L SIEGELE
THOMAS G & DIANE E FEATHERSTON REV LIVING TRUST UA   PO BOX 806268                                      UNDER KS UNIFORM TRANSFERS TO MINORS ACT
09/16/03                                             ST CLAIR SHORES, MI 48080-6268                     204 PEAK DRIVE
30018 HURON MEADOWS DR                                                                                  WEXFORD, PA 15090-7584
ROCKWOOD, MI 48173-8620


THOMAS G STEINES                                     THOMAS GERARD LAUGHLIN TR                          THOMAS GOOLSBY JR
762 YANKEE RUN                                       THOMAS GERARD LAUGHLIN REV LVG TRUST UA 10/28/99   PO BOX 150323
MASURY, OH 44438-9760                                1717 WEST LAWRENCE AVE                             ATLANTA, GA 30315-0185
                                                     SPRINFIELD, IL 62704-2323



THOMAS GULLEY                                        THOMAS H BROCKWAY & MADELINE A BROCKWAY TR         THOMAS H BROWN
2045 DAVIS AVE                                       THOMAS H BROCKWAY TRUST NO 1 UA 07/28/04           PO BOX 907776
WHITING, IN 46394-1822                               1302 WASWING DR                                    GAINESVILLE, GA 30501-0900
                                                     DEWITT, MI 48820-9544
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                             Part 8 of 8 Pg 407 of 440
THOMAS H FITZGERALD CUST MISS LESLIE A FITZGERALD     THOMAS H GLASS & PATRICIA M GLASS TR                  THOMAS H LEININGER
U/THE MICH UNIFORM GIFTS TO MINORS ACT                THOMAS H & PATRICIA M GLASS FAM TRUST UA 06/20/97     268 CHURCH RD
970 LAGUNA COURT                                      N367 HAIGHT RD                                        MOHNTON, PA 19540-8300
HOLLISTER, CA 95023-7223                              FT ATKINSON, WI 53538-9516



THOMAS HARRISON                                       THOMAS I ALLEN CUST HELEN MARIE ALLEN                 THOMAS J AGELL CUST THOMAS DEAN AGELL
PO BOX 561525                                         U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
ROCKLEDGE, FL 32956-1525                              9875 RICHTER LN                                       224 W 22ND ST
                                                      ST LOUIS, MO 63126-2437                               HUNTINGTON, NY 11743-6206



THOMAS J BEGLEY CUST TERRENCE M BEGLEY                THOMAS J BOWEN & MARLENE C BOWEN TR                   THOMAS J DEAHL & AILEEN C DEAHL TR
U/THE NEBRASKA UNIFORM GIFTS TO MINORS ACT            THOMAS J & MARLENE C BOWEN LIVING TRUST UA 05/21/99   THOMAS J DEAHL & AILEEN C DEAHL LIV TR UA
6240 WILLIAM ST                                       117 81ST ST                                           38 HILLCREST DR
OMAHA, NE 68106-1564                                  VIRGINIA BCH, VA 23451-1932                           ORINDA, CA 94563-3224



THOMAS J FERRARI & GEORGIANNA H FERRARI TR            THOMAS J GRIFFIS & LAWRENCE W GRIFFIS JR TR           THOMAS J HALPIN III
UA FERRARI REV INTER VIVOS TR 08/17/89                STEFFANIE RUTH GRIFFIS UA 12/18/67                    9567 DOGWOOD LN
3400 WAGNOR HEIGHTS RD #15                            2855 MAGNOLIA BLVD W                                  BREINIGSVILLE, PA 18031
STOCKTON, CA 95209-4890                               SEATTLE, WA 98199-2410



THOMAS J HAYKEL CUST CHARLES FRANCIS HAYKEL           THOMAS J JOYCE & PATRICIA R JOYCE TR                  THOMAS J KEINATH SR
U/THE N Y UNIFORM GIFTS TO MINORS ACT                 THE JOYCE FAMILY TRUST UA 12/06/02                    6747 HASCO RD
90 OAKGROVE DRIVE                                     10256 BRIGHTON CIR                                    MILLINGTON, MI 48746-9410
WILLIAMSVILLE, NY 14221-6910                          TWINSBURG, OH 44087-2693



THOMAS J KREINIKER & LINDA N KREINIKER JT TEN         THOMAS J LEARY                                        THOMAS J LEIBERT
8404 WILLOW WEST DR                                   19 WHITING RD                                         PO BOX 895219
WILLOW SPRINGS, IL 60480-1140                         DOVER, MA 02030-2452                                  LEESBURG, FL 34789-5219




THOMAS J MCCARTHY                                     THOMAS J MIKOLAY TR                                   THOMAS J REINSEL
PO BOX 661972                                         UA 07/21/2004 MIKOLAY FAMILY REVOCABLE LIVING TRUST   3106 GRAND VIEW BLVD
SACRAMENTO, CA 95866-1972                             3302 SEA MIST LANE                                    LOS ANGELES, CA 90066-1027
                                                      MELBOURNE BCH, FL 32951



THOMAS J SCHISSEL & U EDWARD SCHISSEL TR              THOMAS J STEINBACH & GWENDOLYN A STEINBACH JT TEN     THOMAS J TRUSKOSKI
FRANCES I SCHISSEL REVOCABLE TRUST UA 11/10/98        4101 TIERRA VISTA DR                                  & MARK L TRUSKOSKI & STEPHEN TRUSKOSKI EX EST
5140 W SURREY AVE                                     LAKE HAVASU CITY, AZ 86406-4471                       LUCIAN T TRUSKOSKI
GLENDALE, AZ 85304-1319                                                                                     C/O THOMAS J TRUSKOSKI
                                                                                                            22 BRADLEY ROAD
                                                                                                            BURLINGTON, CT 06013

THOMAS J VUKOVICH & MARY E VUKOVICH TR                THOMAS J WELLS                                        THOMAS JEAN HUMPHREY TERRENCE JEAN HUMPHREY
THOMAS J & MARY E VUKOVICH LIVING TRUST UA 12/07/94   1640 100TH AVE                                        & ORVILLE LEE HUMPHREY JT TEN
191 GEORGIAN TER                                      OTSEGO, MI 49078-9637                                 BOX 37
SAGINAW, MI 48609-9416                                                                                      WINTHROP, AR 71866-0037



THOMAS JOHN NAGLE & CAROLYN MAY NAGLE TR              THOMAS K MILLER CUST ERIK AUSTIN MILLER               THOMAS K WEBER
THOMAS JOHN NAGLE TRUST UA 12/21/94                   U/THE IOWA UNIFORM GIFTS TO MINORS ACT                BOX 151262 E LINCOLN ST
7 CRT OF CHAPEL WOOD                                  19059 GROUSE RD                                       PEWAMO, MI 48873
NORTHBROOK, IL 60062-3202                             PARK RAPIDS, MN 56470-5056
                   09-50026-mg            Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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THOMAS L CLARK & MRS CATHERINE B CLARK JT TEN       THOMAS L CRAM                                      THOMAS L DEMOLEN & JOSEFA CHACON DEMOLEN TR
2 372 4 TENJINCHO APT 301                           BOX 402501                                         THOMAS L DEMOLEN & JOSEFA CHACON DEMOLEN TRUST
KODAIRA-SHI TOKYO                                   HESPERIA, CA 92340-2501                            UA 03/07/96
187 0004 JAPAN                                                                                         2412 WORDEN ST
                                                                                                       SAN DIEGO, CA 92110-5826


THOMAS L HOOPER & KATY H HOOPER TR                  THOMAS L MC CARTHY                                 THOMAS L MORAN & EILEEN J MORAN TR
THOMAS L & KATY H HOOPER LIVING TRUST UA 08/28/98   2257 136 ST                                        THOMAS L MORAN & EILEEN J MORAN REVOCABLE LIVING
50 LYONS MOUNTAIN RD                                DORR, MI 49323-9539                                TRUST UA 5/28/98
BREVARD, NC 28712-7254                                                                                 13249 PEACH ST
                                                                                                       SOUTHGATE, MI 48195-1317


THOMAS L PARDON & KATHRYN E PARDON TR               THOMAS M BEJARANO & ROSALIE M BEJARANO TR          THOMAS M CONWAY & MARILYN A REINHART JT TEN
THOMAS L & KATHRYNE PARDON REVOCABLE LIVING         BEJARANO FAMILY TRUST UA 08/09/90                  16820 STATE HIGHWAY 80
470 ABBEY WOOD DRIVE                                14533 LANGHILL DR                                  RICHLAND CTR, WI 53581-8690
ROCHESTER, MI 48306-2607                            HACIENDA HEIGHTS, CA 91745-2543



THOMAS M CORNELISON & BETTYJUNE CORNELISON TR       THOMAS M HARTZELL CUST ANDREW BODMAN HARTZELL      THOMAS M TOPOLNICKI
CORNELISON TRUST UA 07/19/96                        U/THE MICH UNIFORM GIFTS TO MINORS ACT             PO BOX 300481
8561 N CLOVERLEAF RD #56                            1193 64TH STREET                                   WATEFORD, MI 48330-0481
HAUSER, ID 83854-6194                               OAKLAND, CA 94618



THOMAS M WEIN                                       THOMAS MALCOLM JAMES & PHERONETTE MADELEINE JAMES THOMAS
                                                                                                      JT TEN MALCOLM JAMES & PHERONETTE MADELEINE JAMES
5378 LEETE RD                                       1324 NICHOLSON ST                                 1324 NICHOLSON ST
LOCKPORT, NY 14094-1206                             HYATTSVILLE, MD 20782-1512                        HYATTSVILLE, MD 20782-1512




THOMAS MORRONI TR                                   THOMAS N NISSEN JR & BARBARA L NISSEN TR           THOMAS NEIL CARMENA CUST JULIE CHRISTINE CARMENA
ELECTRIC EQUIP & ENGINEERING CO PROFIT SHARING      UA 11/23/93 THE NISSEN FAMILY TRUST                A MINOR UNDER THE LOUISIANA GIFTS TO
PLAN UA 12/01/84                                    6045 RONNOCO                                       7933 MAPLE AVE
BOX 16383                                           ROCHESTER HILLS, MI 48306-3459                     VANCOUVER, WA 98664-1741
DENVER, CO 80216-0383


THOMAS NOBUO KAWAMURA TR                            THOMAS O DEMERON CUST MEGHAN MCSHANE UTMA GA       THOMAS O JOHNSON
THOMAS NOBUO KAWAMURA SELF TRUSTEED TRUST UA        BOX 907338                                         1062 S HEINCKE RD
03/04/96                                            GAINESVILLE, GA 30501-0906                         MIAMISBURG, OH 45342-3859
1737 B WAIOLA ST
HONOLULU, HI 96826-2551


THOMAS OWEN DAMERON                                 THOMAS P BURNOSKY & ANN E BURNOSKY TR              THOMAS P DYKE & SUSAN A DYKE TR
PO BOX 907338                                       THOMAS P BURNOSKY & ANN E BURNOSKY REV TRUST UA    THOMAS P DYKE & SUSAN A DYKE UA 07/24/97
GAINESVILLE, GA 30501-0906                          09/15/99                                           8296 WALNUT CREEK DR
                                                    20510 BEECH DALY                                   GRAND BLANC, MI 48439-2071
                                                    REDFORD, MI 48240-1066


THOMAS P JOHNSON & MARIANNE A JOHNSON TR            THOMAS P ORR & TRUDY S ORR TR                      THOMAS P SCHREITMUELLER PATRICIA A SCHREITMUELLER T
THOMAS P & MARIANNE A JOHNSON TRUST UA 02/25/99     TRUDY S ORR REVOCABLE LIVING TRUST UA 05/03/99     UA 11/22/94 SCHREITMUELLER FAMILY LIVING TRUST
261 EAST SKYLINE                                    CORTLAND FARMS SOUTH                               28726 HIDDEN TRL
BALDWIN, MO 63011-3160                              5668 MACINTOSH DR                                  FARMINGTN HLS, MI 48331-2981
                                                    BAY CITY, MI 48706-5638


THOMAS PASSMORE KENDIG & KATHRYN MILLER KENDIG TR   THOMAS Q WINKLER JR CUST THOMAS QUENTIN WINKLER 2NDTHOMAS R ABRAMS CUST ERIN ABRAMS
UA 7/6/93 THOMAS PASSMORE KENDIG&                   U/THE CALIF UNIFORM GIFTS TO MINORS ACT            UNDER THE MISSOURIUNIFORM GIFTS TO MINORS LAW
4351 LACARA STREET                                  660 SIMMONS MINE CIR                               1305 UNIVERSITY AVE
LONG BEACH, CA 90815-2740                           BUFORD, GA 30518-6237                              UNIT 201
                                                                                                       WAUKEE, IA 50263-8465
                    09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                            Part 8 of 8 Pg 409 of 440
THOMAS R BLASKO & JOAN L BLASKO TR                   THOMAS R DONALDSON & LUCILLE DONALDSON TR              THOMAS R HESLEP CUST THOMAS TODD HESLEP
THOMAS R & JOAN L BLASKO LIVING TRUST UA 10/31/95    UA DONALDSON LIVING TRUST 11/04/91                     U/THE PA UNIFORM GIFTS TO MINORS ACT
605 ELMWOOD DR                                       2464 ORCHARD ROAD                                      202 W UHLER TERR
HUBBARD, OH 44425-1448                               TOLEDO, OH 43606-2465                                  ALEXANDRIA, VA 22301-1552



THOMAS R HOWE CUST ROBERT FLETCHER HOWE II           THOMAS R JARRETT & ELLEN P JARRETT TR                  THOMAS R MUTZ CUST FRANK M MUTZ 2ND
U/THE IOWA UNIFORM GIFTS TO MINORS ACT               UA 08/28/90 THE JARRETT 1990 TRUST                     U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
1020 BREEZY MEADOW LANE                              551 SILVERADO DR                                       2115 VILLAGE POINT
SPENCER, IA 51301-3051                               MANTECA, CA 95337-6664                                 ATLANTA, GA 30319-5306



THOMAS R PAULI & JACKIE L PAULI TR                   THOMAS R STEFFLER                                      THOMAS R WEAKLEY CUST MICHAEL T WEAKLEY
PAULI JOINT LIVING TRUST UA 02/08/94                 6703 103RD AVENUE                                      U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
5512 CHATHAM LN                                      SOUTH HAVEN, MI 49090                                  17161 SOUTH RIVER RD
GRAND BLANC, MI 48439-9742                                                                                  RUTHER GELN, VA 22546-4039



THOMAS RAY MCGAUGHEY                                 THOMAS REED PICKING & BARBARA ANN PICKING TR           THOMAS ROLAND BROWN & NANCY T BROWN TR
PO BOX 711150                                        PICKING FAMILY TRUST UA 10/05/00                       UA 03/20/2008 BROWN JOINT REVOCABLE TRUST
HOUSTON, TX 77271-1150                               7720 W STATE HIGHWAY 96                                2132 RESERVATION ROAD
                                                     PUEBLO, CO 81005-9781                                  GULF BREEZE, FL 32563



THOMAS RUTKOWSKI CUST OF DANIEL THOMAS RUTKOWSKI THOMAS S HERRON & JAMES W HERRON JT TEN                    THOMAS S PULSIFER
UNDER THE LAWS OF THE STATE OF WISCONSIN         25220 174TH ST SE                                          PO BOX 536665
816 BRIAR HILL DRIVE                             MONROE, WA 98272-9252                                      ORLANDO, FL 32853-6665
WAUKESHA, WI 53188-2754



THOMAS T KOLLER & ELEANORE H KOLLER TR               THOMAS VERNON VIDRINE CUST SUSAN MARIE VIDRINE         THOMAS W BOLDUC
THOMAS T KOLLER LIVING TRUST UA 12/16/94             A MINOR U/THE LOUISIANA GIFTS TO MINORS ACT            8781 BREINIG RUN CIR
307 MARKED TREE RD                                   417 WILTON DRIVE                                       BREINIGSVILLE, PA 18031-2011
HOLLISTON, MA 01746-1645                             BATON ROUGE, LA 70815-6568



THOMAS W COLLISON JR TR                              THOMAS W FUENER & CAROLINE E CHIPMAN TR                THOMAS W HAWKINS JR CUST THOMAS HAWKINS 3RD
THOMAS WILSON COLLISON JR REVOCABLE TRUST UA         UA 03/11/92 THOMAS FUENER TRUST #1                     U/THE N Y UNIFORM GIFTS TO MINORS ACT
03/09/00                                             47870 ROYAL POINTE DRIVE                               28 EVERGREEN TRL
212 PATERSON BLDG                                    CANTON, MI 48187                                       MEDFORD, NJ 08055-9344
653 S SAGINAW ST
FLINT, MI 48502-1512

THOMAS W HAWKSWORTH & PATRICIA HAWKSWORTH TR         THOMAS W MC CURDY & PEGGY L MC CURDY TR                THOMAS W MORAN & GAIL MORAN HAMROCK TR
UA 04/16/92 THOMAS W HAWKSWORTH & PATRICIA           UA 11/12/93 THE THOMAS W MC CURDY & PEGGY L MC         THOMAS W MORAN LIV TRUST UA 03/23/00
226 WEST 2ND ST APT 4                                1046 RANCH DR                                          224 CAMERON DR
PORTE ANGELES, WA 98362-2638                         GARDNERVILLE, NV 89460-9624                            IRWIN, PA 15642-9228



THOMAS W OLIVER III & ANITA G OLIVER TR              THOMAS W SCHILF & PAULA M SCHILF TR                    THOMAS W WOJCIK & PATRICIA WOJCIK TR
UA 07/27/2007 THOMAS W OLIVER III & ANITA G          THOMAS W & PAULA SCHILF REV LIVING TRUST UA 05/19/05   UA 07/7/94 THE THOMAS W WOJCIK &PATRICIA
4734 OLIVER LANE                                     13 CEDAR RIDGE COURT                                   14548 FOUR LAKES DR
FERNANDINA, FL 32034                                 CANON CITY, CO 81212-9488                              STERLING HEIGHTS, MI 48313-2348



THOMAS W ZWICKEL JR                                  THOMAS WARD CUST NICOLE MARIE WARD UGMA MN             THOMAS Z L LI
7379 123RD ST                                        3908 181ST AVENUE NW                                   & SHEIN MEI LI JT TEN TOD JOLWAY LI SUBJECT TO STA
CHIPPEWA FLS, WI 54729-3751                          ANOKA, MN 55304-1052                                   TOD RULES
                                                                                                            3402 CORNELL PL
                                                                                                            CINCINNATI, OH 45220-1502
                       09-50026-mg          Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                            Part 8 of 8 Pg 410 of 440
THURMAN G TUCKER                                     TIBY WEINSTEIN                                     TIFFANY BOEHME CUST ARDEN BOEHME UTMA WA
PO BOX 310422                                        238 PINE FOREST DRIVE                              7356 127TH AVE SE
FLINT, MI 48531-0422                                 GREENVILLE, SC 29601-4424                          NEWCASTLE, WA 98056




TIFFANY N FRIMEL & FRANK FRIMEL JR TR                TIMOTHY ALAN BYRNE CUST CLAYTON COLLEEN BYRNE      TIMOTHY BRITTON
TIFFANY N FRIMEL LIVING TRUST UA 12/31/92            U/THE N Y UNIFORM GIFTS TO MINORS ACT              7708 132 AVE
11949 LADUE RD                                       15 WOOD DRIVE                                      EDMONTON AB
ST LOUIS, MO 63141-8223                              OYSTER BAY, NY 11771-3718                          T5C 2B1 CANADA



TIMOTHY C OHEARN                                     TIMOTHY C YOE TR TIMOTHY C YOE TR 7/26/74          TIMOTHY E FINKE
7286 101ST ST                                        PO BOX 701308                                      120 W HEINY RD
FLUSHING, MI 48433-8705                              PLYMOUTH, MI 48170-0962                            INDIANAPOLIS, IN 46217-3224




TIMOTHY F LYDEN                                      TIMOTHY IAN MCKINLEY CUST ELIZABETH ANN MCKINLEY   TIMOTHY J COONAHAN & JOANNE M COONAHAN TR
PO BOX 240225                                        UNDER THE FLORIDA GIFTS TO MINORS ACT              UA 04/10/2008 TIMOTHY J & JOANNE M COONAHAN
DOUGLAS, AK 99824-0225                               3646 MANCHESTER DR                                 3508 DUNDEE CRT
                                                     TRAVERSE CITY, MI 49684                            BETHLEHEM, PA 18020



TIMOTHY J KERR                                       TIMOTHY J MRUS                                     TIMOTHY J MURPHY & JOSEPH SPADAFORA TR
1220-411 TASMAN DR                                   PO BOX 351731                                      EASTERN COMPONENETS SALES CORP PROFIT SHARING
SUNNYVALE, CA 94089-2420                             PALM COAST, FL 32135-1731                          PLAN
                                                                                                        41 BYBERRY AVENUE STE 9
                                                                                                        HATBORO, PA 19040-3210


TIMOTHY J ROOKUS                                     TIMOTHY J ROOKUS & PAMELA F ROOKUS JT TEN          TIMOTHY J SCHAFER & SHARON M SCHAFER TR
840 143RD STREET                                     840 143RD STREET                                   UA 10/21/2008 THE TIMOTHY J SCHAFER & SHARON M
WAYLAND, MI 49348-9758                               WAYLAND, MI 49348-9758                             5741 FOLKSTONE
                                                                                                        TROY, MI 48085



TIMOTHY J SCHAFER TR                                 TIMOTHY M KREUZER & KATHERINE H KREUZER TR         TIMOTHY P CALLAHAN
UA 10/21/2008 TIMOTHY J SCHAFER & SHARON M SCHAFER   UA 06/11/2007 TIMOTHY M KREUZER TRUST              INTERNATIONAL SCHOOL OF BEIJING
LIVING TRUST                                         23124 SNELL ROAD                                   NO 10 ANN HUA ST
5741 FOLKSTONE                                       COLUMBIA STA, OH 44028                             SHUNYI DISTRICT
TROY, MI 48085                                                                                          BEIJING 101300 CHINA (PEOPLE'S REP)


TIMOTHY R DALY & ELLEN O'NEIL WOODS TR               TIMOTHY R SCHREINER                                TINA CHRISTENFELD WEINER
ALICE E O'NEIL TRUST UA 11/22/96                     6720 SWAN CREEK                                    15 BISHOP DR
95 FIRST AVE                                         SAGINAW, MI 48609-7039                             WOODBRIDGE, CT 06525-2301
ILION, NY 13357-1722



TINA K WYNN                                          TINA LOUISE CONLEY                                 TISER TURNER
1146 LEINBACH AVE                                    PO BOX 430818                                      PO BOX 922711
BLOOMFIELD HILLS, MI 48302-0035                      PONTIAC, MI 48343-0818                             SYLMAR, CA 91342




TOBY DORMAN & SARA JESSICA KLEIN JT TEN              TOBY F YELLEN & STEVEN L YELLEN TR                 TOBY KLEIN
3305 WATERFORD DRIVE                                 UA 11/19/2009 TOBY F YELLEN REVOCABLE              5008 16TH AVE
CLEARWATER, FL 33761-2016                            265 LINCOLN PKWY                                   BROOKLYN, NY 11204-1404
                                                     BUFFALO, NY 14216
                    09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                          Part 8 of 8 Pg 411 of 440
TODD C MCCOY                                       TODD C MEIER                                        TODD D SCHREINER
9805 116TH ST STE 7412                             PO BOX 801825                                       8996 COUNTY ROAD G
KIRKLAND, WA 98034                                 DALLAS, TX 75380-1825                               MOUNT HOREB, WI 53572-2911




TODD J ANDERSEN SR & CRAIG R ANDERSEN TR           TODD NEHMAD CUST CARL JOSEPH NEHMAD UTMA NJ         TODD W TRAUTWEIN
UA 05/27/1999 TODD J ANDERSEN SR TRUST             C/O STINSON MAG                                     4461 VALLEY BROOK DRIVE
12226 WINDCLIFF RD                                 BOX 419251                                          ENGLEWOOD, OH 45322-3621
STRONGSVILLE, OH 44136-3558                        KANSAS CITY, MO 64141-6251



TOMIE INOUYE CUST STANFORD S INOUYE                TOMIYOSHI KATAOKA                                   TOMMIE BRUTTON
U/THE HAWAII UNIFORM GIFTS TO MINORS ACT           2-10 KAMISHOKOTSU-CHO                               PO BOX 420339
98-1931 WILOU ST                                   MONBETSU-SHI                                        PONTIAC, MI 48342
AIEA, HI 96701-1663                                HOKKAIDO
                                                   995354 JAPAN


TOMMIE D WILEY & JOAN A WILEY TR                   TONI M STEINER                                      TONJA M JONES CUST MICHAEL L LOVE II UTMA TX
TOMMIE D & JOAN A WILEY TRUST UA 10/20/00          PO BOX 1249                                         2647 WHITINHAM
7028 GREENHILLS DR                                 HUDSON, WI 54016-5249                               HOUSTON, TX 77067
SALINE, MI 48176-9547



TONY BOU MALHAM CUST MARIE LOR MALHAM UTMA CA      TONY D DEBELLIS & MILDRED R DEBELLIS TR             TONY W BURKE
PO BOX 502845                                      TONY & MILDRED DEBELLIS TRUST UA 01/29/98           PO BOX 320273
SAN DIEGO, CA 92150-2845                           9400 VALJEAN AVE                                    FLINT, MI 48532-0005
                                                   NORTH HILLS, CA 91343-2837



TOYOKO IDAMA TR TOYOKO IDAMA TRUST UA 04/28/97     TRACY A DEFREITAS & AGNES E HOWARD TR               TRACY R ACKERMAN & CONSTANCE C ACKERMAN TR
PO BOX 660944                                      EDWARD FRANCES DEFREITAS UA 11/26/96                ACKERMAN FAM TRUST UA 06/09/98
ARCADIA, CA 91066-0944                             6100 GLEN OAK ST                                    1200 W PLACITA QUIETA
                                                   LOS ANGELES, CA 90068-2373                          GREEN VALLEY, AZ 85614-1336



TRAPPOR T MASSON & EMILEE MASSON TR                TRAVIS JOSEPH MEINERT                               TRENT M DI RENNA CUST TRENT R DI RENNA
UA 01/12/2008 TRAPPOR & EMILEE MASSON REVOCABLE    10121 HYDE PLACE                                    U/THE N J UNIFORM GIFTS TO MINORS ACT
3219 WONDERLAND DRIVE                              RIVER RIDGE, LA 70123-1523                          2706 WOOLEY RD
RAPID CITY, SD 57702                                                                                   WALL, NJ 07719-4176



TREVOR SAMAGALSKI                                  TREZ T THOMPSON JR CUST TAD L THOMPSON              TROWBRIDGE C BENT & ANTHONY DI CICCO JR & BARRY J WA
215-2130 MAIN STREET                               U/THE PA UNIFORM GIFTS TO MINORS ACT                UW FREDERICK M PERRY
WINNIPEG MB                                        1427 MARION DRIVE                                   1320 13TH TERRDEL
R2V 3E8 CANADA                                     PITTSBURGH, PA 15236-3440                           PALM BEACH, FL 33418



TROY SINGLETARY CUST EFFIE SHIPMAN                 TRUMAN J HEDDING & MICHELE H STEPHENSON TR          TRUSTEES OF MIDDLE CREEK EVANGELICAL UNITED BRETHRE
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         UA 05/20/65 BY TRUMAN J HEDDING                     WASHINGTON TOWNSHIP PAULDING COUNTY OHIO
2475 TIEBOUT AVE                                   CASA DE LAS CAMPANAS #652                           C/O DARWIN MCCLURE 21460 RD 48
BRONX, NY 10458-5442                               46 DAVID DR                                         GROVER HILL, OH 45849
                                                   HOLLISTER, CA 95023-6350


TRUSTEES OF THE ELMHURST CEMETERY COMPANY SPECIAL TRUSTEES
                                                  CARE FUNDOFU-ATHE
                                                                 DTDMARGARET KESSLER MARSHALL FOUNDATION
                                                                                                     TRUSTEES
                                                                                                         FOR YOUTH
                                                                                                                 OF THE
                                                                                                                     AUBURN
                                                                                                                        PERMANENT MEMORIAL RELIEF FUND OF C
4/29/68                                           ILLINOIS                                           563 F & A M
C/O ELMHURST CEMETERY COMPANY                     14100 STATE RT 4                                   PO BOX 1455 LINDEN HILL STAT
1212 E WASHINGTON ST                              AUBURN, IL 62615                                   FLUSHING, NY 11354-7455
JOLIET, IL 60433-1236
                    09-50026-mg           Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
                                                              Part 8 of 8 Pg 412 of 440
TRUSTEES OF WARWOOD PRESBYTERIAN CHURCH WHEELINGTSUNEKO
                                                 WEST VIRGINIA
                                                          S HELLERSTEIN
                                                               U-W                                      TSUYOSHI TANAKA
VIRGINIA M MORRIS                               1280 ELLIS ST                                           3-18-14 NISHINAGAZUMI MINAMI-KU
NORTH 23RD ST & WARWOOD AVE                     APT#7                                                   FUKUOKA-SHI FUKUOKA-KEN
WHEELING, WV 26003                              SAN FRANCISCO, CA 94109-7652                            811-1361 JAPAN



TUNDRA L NELOMS                                       TURNOR DIXON HICKS                                TWYLAH E HAIL
PO BOX 441382                                         PO BOX 100069                                     1680-102 PIPER LANE
DETROIT, MI 48244-1382                                FT WORTH, TX 76185-0069                           CENTERVILLE, OH 45440-5063




U LEO HELLMANN & JOAN M HELLMAN TR                    ULDARICO G REINHOLD                               ULRICH MEHLING
URBAN LEO & JOAN M HELLMAN LIVING TRUST UA 07/12/93   TOMKINSON 3306                                    RHEINGODSTR 12A
6817 E COUNTY RD 200 N                                B1642 ENU SAN ISIDRO                              65203 WIESBRADEN
AVON, IN 46123-8547                                   BUENOS AIRES                                      GERMANY
                                                      ARGENTINA


ULRICK CRUDELE CUST DAWN B CRUDELE                    ULYSSES N POWELL                                  UNA MARLENE VARNES
A MINOR UNDER P L 55 CHAPTER 139 OF THE LAWS OF NEW   40 STEINWAY AVE                                   14332 118TH AVE NE
JERSEY                                                TRENTON, NJ 08618-1614                            KIRKLAND, WA 98034-1161
1100 MAPLE AVE
VINELAND, NJ 08360-3361


UNITED AUTOMOBILE-AIRCRAFT AGRICULTURAL IMPLEMENT WORKERS
                                                   URBAN T MASUCCI
                                                            OF AMERICA
                                                                     & ANN B MASUCCI TR                 URI MILSTEIN CUST NURIT MILSTEIN
UAW-CIO INTERNATIONAL UNION AN ASSOCIATION         THE URBAN T & ANN B MASUCCI REVOCABLE LIVING TRUST   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
8000 E JEFFERSON                                   UA 07/24/04                                          255 VALENCIA DR
DETROIT, MI 48214-3963                             251-04 GASKELL RD                                    MONROE TWP, NJ 08831-5975
                                                   LITTLE NECK, NY 11362-1323


URSULA D BRACKIN & NATALIA PEVETO-MURRAY TR           URSULA D VAN ARNAM & FREDERIC D VAN ARNAM JR TR   URSULA E MARX CUST OTTO WALTER MARX
JOHN W BRACKIN & URSULA D BRACKIN TRUST UA 01/10/95   FREDERIC D VAN ARNAM TRUST UA 7/28/00             U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
2 BROADMOOR DR                                        385 VERNA HILL ROAD                               11383 113TH DR
TRINITY, TX 75862-6975                                FAIRFIELD, CT 06430-2054                          YOUNGTOWN, AZ 85363-1553



US CLEARING CUST LUDWLL L CATLETT A/C IRA             UTA HEINS                                         V C ADAMSON JR E P ADAMSON PR ADAMSON & E A MILLER TR
1981 MARCUS AVE                                       HAGENER STR 126 B                                 UW V C ADAMSON SR
STE 100                                               D-58642 ISERLOHN                                  100 E MAIN STREET
NEW HYDE PARK, NY 11042-1046                          GERMANY                                           RICHMOND, VA 23219-2112



V LORRAINE HARRIS & JOANNE H PARKER TR                VAL A PRINCE CUST VAL SHANNON PRINCE              VALDA G LEVENSTEINS & ASTRIDA I LEVENSTEINS JT TEN
HARRIS MARITAL TRUST U/W GORDON C HARRIS              UNDER THE FLORIDA GIFTS TO MINORS ACT             6135 COLE CT
1162 TELEPHONE RD                                     1485 OSPREY AVE                                   ARVADA, CO 80004-6173
RUSH, NY 14543                                        NAPLES, FL 34102-3448



VALENTINE A MEEHAN & THERESA V MEEHAN & WILLIAM A MEEHAN
                                                     VALENTINE
                                                          TR    J TIERI CUST MARY JANE TIERI            VALERE WYNTER GIBBS
VALENTINE ANDREW MEEHAN REVOCABLE TRUST UA           A MINOR U/THE LAWS OF RHODE ISLAND                 101-125 W 147 ST APT 12 K
11/01/03                                             60 HARRIS AVE                                      NEW YORK, NY 10039
1862 WASHINGTON AVE                                  JOHNSTON, RI 02919-2018
SEAFORD, NY 11783-1953


VALERIE A MARESH TR                                   VALERIE D DUNN                                    VALERIE F ARMSTRONG CUST BENJAMIN F ARMSTRONG
UA 08/09/06 VALERIE A MARESH REVOCABLE LIVING TRUST   PO BOX 363935                                     UNDER THE NEW HAMPSHIRE UNIFORM GIFTS TO MINORS
1506 EDGEMERE DR                                      NORTH LAS VEGAS, NV 89036-7935                    LAW
ROCHESTER, NY 14612                                                                                     275 CHIACAGAMI TRAIL
                                                                                                        MEDFORD LAKES, NJ 08055-2137
                     09-50026-mg           Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                             Part 8 of 8 Pg 413 of 440
VALERIE L EVENS                                       VALERIE LENORA BUTLER PERSONAL REP ESTATE LEE BUTLERVALERIE M FISHER
11635 FILER                                           PO BOX 241100                                       PO BOX 432167
STERLING HGTS, MI 48312-5038                          DETROIT, MI 48224-5100                              PONTIAC, MI 48343-2167




VALERIE MEINKEN TR UA 08/21/2008 VALERIE MEINKEN TRUST VALERIE S SCHLESINGER CUST ELIZABETH L SPERLING      VALERIE S SCHLESINGER VUST FOR DANA SPERLING
29200 JONES LOOP RD LOT 316                            A MINOR UNDER LA GIFTS TO MINORS ACT                 A MINOR UNDER LA GIFTS TO MINORS ACT
PUNTA GORDA, FL 33950                                  650 POYDRAS ST 2250                                  6126 ST CHARLES AVENUE
                                                       NEW ORLEANS, LA 70130-6144                           NEW ORLEANS, LA 70118-6164



VALERIE VAN LEER GREENBERG CUST BRETT DANIEL VAN LEER
                                                    VAN
                                                      GREENBERG
                                                        R BIELSTEIN
                                                                  UGMA
                                                                    & DIANNE A BIELSTEIN JT TEN             VANCE C RICHARDS & JANIS I RICHARDS TR
NY                                                  14300 N MAY AVE                                         UA RICHARDS FAMILY TRUST 04/23/91
264 BEACH 133RD ST                                  APT 4203                                                12507 LARIAT DRIVE
BELLE HARBOR, NY 11694-1436                         OKLAHOMA CITY, OK 73134-5041                            SUN CITY WEST, AZ 85375-1828



VANCE L BIRCHMAN TR                                   VARD P TOWNSEND & LORA F TOWNSEND TR                  VEGA MILITARIU CUST STEVEN MILITARIU
UA 08/20/2009 VANCE L BIRCHMAN REVOCABLE LIVING       LORA F TOWNSEND LIVING TRUST UA 11/17/94              U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
TRUST                                                 PO BOX 492                                            2 W POINT TERR
22510 LONG ACRE                                       TAYLOR, MI 48180-0492                                 TARIFFVILLE, CT 06081-9641
FARMINGTON, MI 48335


VELMA C CHOCK & LAUREN LC CHEE TR                     VELMA GLORIA SULLIVAN KOHNEN TR                       VELMA L RUSSELL CUST STACEY L SENSOR
VELMA C CHOCK REVOCABLE LIVING TRUST UA 03/02/99      VELMA GLORIA SULLIVAN KOHNEN LIVING TRUST UA          U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
3009 HOALOHA PLACE                                    07/15/03                                              821 MARKHAM ST
HONOLULU, HI 96817                                    2325 FAIRLAND ST                                      FLINT, MI 48507-2566
                                                      PITTSBURGH, PA 15210-4064


VELMA LOUISE MUSGROVE & JOHN FREDRICK MAGEE TR        VELMA R RICH & ALVA E RICH JT TEN                     VENESSIA DARBY
MUSGROVE FAMILY TRUST UA 5/11/91                      BOX 198 402 WEST PENDLETON AVE                        PO BOX 430706
11483 SABO RD                                         LAPEL, IN 46051-9668                                  PONTIAC, MI 48343-0706
HOUSTON, TX 77089-2524



VENESTER CHAMBERLAIN                                  VERA A SILKOWSKI                                      VERA CARPENTER & ALLEN K CARPENTER TR
PO BOX 763293                                         & BARBARA CASTELLI & WALTER SILKOWSKI & BARRY         VERA CARPENTER LIVING TRUST UA 04/11/00
DALLAS, TX 75376-3293                                 SILKOWSKI JT TEN                                      1724 OAKSTONE DR
                                                      203 GREEN RD                                          ROCHESTER HILLS, MI 48309-1803
                                                      MANCHESTER, CT 06040-3249


VERA DIANA STEIN                                      VERA E VASTOLA CUST NINA MARIE VASTOLA                VERA F JENNINGS & DAVID L JENNINGS TR
BOX 251 LENOX HILL                                    U/THE WISC UNIFORM GIFTS TO MINORS ACT                VERA F JENNINGS REVOCABLE TRUST UA 01/31/97
NEW YORK, NY 10021                                    823 E BIRCH AVE                                       1005 HORN ST
                                                      MILWAUKEE, WI 53217-5360                              MUSKOGEE, OK 74403-3220



VERA M EDMUNDSON                                      VERA M LEINENGER & RICHARD B LEINENGER JT TEN         VERA NYITRAY & MARKO NYITRAY TR
1503-945 MARINE DRIVE                                 952 BLOOMFIELD VILLAGE BLVD APT                       VERA NYITRAY REVOCABLE TRUST UA 06/07/00
WEST VANCOUVER BC                                     AUBURN HILLS, MI 48326-3572                           6975 VIALE ELIZABETH
V7T 1A8 CANADA                                                                                              DELRAY BEACH, FL 33446-3742



VERA R HUGHES CUST JOHN A HUGHES                      VERA STEFANOVSKI TR                                   VERA V CANTRELL TTEE VERA V CANTRELL REVOCABLE LIVIN
A MINOR UNDER GIFTS OF SEC TO MINORS ACT              VERA STEFANOVSKI REVOCABLE LIVING TRUST UA 11/16/04   07/07/92
PO BOX 1827                                           6462 NORBORNE                                         4267 E BRISTOL ROAD
ST GEORGE, UT 84771-1827                              DEARBORN HEIGHTS, MI 48127-2010                       BURTON, MI 48519
                    09-50026-mg                Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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VERA YVONNE SMITH TR                                  VERL GARRARD & GEORGIA GARRARD TR                   VERLTON B GLASPIE
UA 11/28/2007 EDWARD & VERA YVONNE SMITH REVOCABLE    UA 04/09/93 VERL GARRARD 1993 REVOCABLE TRUST       PO BOX 180452
JOINT TRUST                                           2760 ALVARADO TER S                                 LOS ANGELES, CA 90018-9738
1124 SYCAMORE ROAD                                    SALEM, OR 97302-5432
VIRGINIA BCH, VA 23452


VERMELL CHRISTINA STEVENS                             VERN E LANEY                                        VERNA THOMPSON & STANLEY F THOMPSON TR
& HAROLD ROY FENNELL & SUSAN ADELE PRESCOTT JT        PO BOX 805949                                       VERNA THOMPSON LIVING TRUST UA 6/9/98
TEN                                                   ST CLAIR SHORES, MI 48080-5949                      PO BOX 700254
RR #3                                                                                                     PLYMOUTH, MI 48170-0945
CAMPBELLVILLE ON
L0P 1B0 CANADA

VERNE C SIEGFRIED & BARBARA A SIEGFRIED TR            VERNE C WALTON & VERA L WALTON TR                   VERNERD A NIEWRZEL CUST PAUL VERNERD NIEWRZEL
SIEGFRIED FAM LIVING TRUST UA 08/22/95                VERNE C & VERA L WALTON TRUST UA 05/11/99           U/THE MO UNIFORM GIFTS TO MINORS ACT
11655 HAWTHORNE GLEN                                  5485 N ST RD 75                                     2104 W 119TH TERRACE
GRAND BLANC, MI 48439-1378                            NORTH SALEM, IN 46165-9314                          LEAWOOD, KS 66209-1108



VERNID E PETERSON & DOROTHY IDA PETERSON TR           VERNON A FIORI & JUNE B FIORI TR                    VERNON A FOWLER & MARILYN M FOWLER JT TEN
FAMILY TRUST 11/01/88 U-A VERNID E PETERSON           VERNON A FIORI & JUNE B FIORI TRUST UA 04/07/98     30000-253 KASSON RD
7416 ELOY AVE                                         1836 TISSERAND DR                                   TRACY, CA 95376-9537
BAKERSFIELD, CA 93308-3712                            SANTA ROSA, CA 95405-7635



VERNON A LEINONEN & MARY E LEINONEN JT TEN            VERNON CAGE                                         VERNON D BAKER CUST TERESA ANN BAKER
5657 ORPHA STREET                                     ATTN J CAGE                                         U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
NORTH PORT, FL 34287-2805                             PO BOX 270405                                       108 ELIZABETH ST
                                                      MILWAUKEE, WI 53227-7210                            GEORGETOWN, DE 19947-1428



VERNON E GLAZA & DIANNE E GLAZA TR                    VERNON E WHITE & CONSTANCE L WHITE TR               VERNON M FUSON & LORENA J FUSON TR
VERNON E & DIANNE E GLAZA TRUST UA 05/01/01           VERNON E WHITE & CONSTANCE L WHITE JOINT TRUST UA   UA 11/17/93 THE VERNON M FUSON &LORENA J FUSON REV
1660 BAYCITY FORRESTVILLE ROAD                        04/25/95                                            12504 N PINE AVE
UBLY, MI 48475                                        3470 BROAD ST RD                                    PARIS, MI 49338-9647
                                                      GUM SPRING, VA 23065-2118


VERNON N BURKITT & DIANA E BURKITT TR                 VERNON R SHAFFER & VERNA M SHAFFER TR               VERNON T MEEHAN JR TR
UA 02/09/93 THE BURKITT JOINT LIVING TRUST B          VERNON R & VERNA M SHAFFER FAM TRUST UA 09/04/93    1992 VERNON T MEEHAN JR REVOCABLE TRUST UA 11/13/92
8970 W TUSCOLA ROAD                                   936 RENNEL DRIVE                                    19638 ROMAR ST
FRANKENMUTH, MI 48734-9572                            CINCINNATI, OH 45226-1236                           NORTHRIDGE, CA 91324-1031



VERNON TURNER                                         VERNON W COOLEY CUST RICHARD L COOLEY               VERONICA C BARTHOLOMAE & EARL R BARTHOLOMAE TR
131 46 229 ST                                         U/THE CAL UNIFORM GIFTS TO MINORS ACT               UA 07/15/92 VERONICA C BARTHOLOMAE TRUST
QUEENS, NY 11413-1839                                 3550 BRIGHTON WAY                                   1861 STOCKTON
                                                      RENO, NV 89509-3870                                 DES PLAINES, IL 60018-3154



VERONICA R VANN CUST BARRY M VANN                     VERONIQUE STEIN                                     VICENTE BATISTA
A MINOR U/THE CALIF GIFTS OF SEC TO MINORS ACT        3515 EUGENE PL                                      PO BOX 350835
9635 E MONUMENT DR                                    SAN DIEGO, CA 92116-1930                            MIAMI, FL 33135-0835
SCOTTSDALE, AZ 85262-3640



VICENTE LOURENCO                                      VICKI CHILDERS ROWE CUST ANDREW TODD ROWE           VICKI CHILDERS ROWE CUST JASON DOUGLAS ROWE
RUA PADRE RODOLFO                                     A MINOR UNDER THE LAWS OF GEORGIA                   A MINOR UNDER THE LAWS OF GEORGIA
KOMOREK 286                                           245 RAM DR                                          245 RAM DR
JARDIM APOLO IT                                       COVINGTON, GA 30014                                 COVINGTON, GA 30014
SAO JOSE DOS CAMPPOS-SP 12243-080 BRAZIL
                   09-50026-mg            Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
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VICKI FEINE                                       VICKI G GOLDSTEIN                                      VICKI L KILBURN
28 CANTERBURY LN                                  C/O SPERLING                                           ATTN VICKI L LEINONEN
E AURORA, NY 14052-1358                           97 NORTH PINE ST                                       4240 HADLEY ROAD
                                                  NORTH MASSAPEQUA, NY 11758-2607                        METAMORA, MI 48455-9635



VICKI SYPLES                                      VICKIE JAMES                                           VICKIE L SWEINHAGEN
PO BOX 620841                                     W281 FAIRVIEW DR                                       771 CHIPPEWA DR
ORLANDO, FL 32862-0841                            MUNDELEIN, IL 60060-3475                               DEFIANCE, OH 43512-3369




VICTOR A RAY & DOROTHY A RAY TR                   VICTOR ALLAN BAUMRIND CUST VICTOR ALLAN BAUMRIND       VICTOR B MARS
VICTOR A RAY & DOROTHY A RAY TRUST UA 01/20/98    U/THE S C UNIFORM GIFTS TO MINORS ACT                  PO BOX 720-356
3412 BUCKINGHAM TRAIL                             21 MARKFIELD DR                                        NORMAN, OK 73070-4262
WEST BLOOMFIELD, MI 48323-2809                    CHARLESTON, SC 29407-6965



VICTOR C DUNN JR CUST VICTOR J DUNN               VICTOR C KOHN & JOYCE M KOHN TR                        VICTOR D BLAKELY
U/THE PA UNIFORM GIFTS TO MINORS ACT              VICTOR C KOHN & JOYCE M KOHN JOINT TRUST UA 06/01/95   PO BOX 310723
604 LEES BRIDGE RD                                5098 WOODSTOCK DR                                      FLINT, MI 48531-0723
NOTTINGHAM, PA 19362-9116                         SWARTZ CREEK, MI 48473-8542



VICTOR D CRESAP JR                                VICTOR E GORSTEN                                       VICTOR E GORSTEN
800 NE TENNEY RD                                  RUA EVANGELINA WODIANER 193                            RUA EVANGELINA WODIANER 193
110-329                                           04640030 SAO PAULO BRAZIL                              04640030 SAO PAULO SP
VANCOUVER, WA 98685                               BRAZIL                                                 BRAZIL



VICTOR F CASSELLA TR                              VICTOR G KOTIADIS & JEANNE T KOTIADIS TR               VICTOR GIACALONE & CAROL A FREEMAN TR
VICTOR F CASSELLA REVOCABLE TRUST OF 2005 UA      UA 11/20/97 KOTIADIS FAMILY TRUST                      UA 10/19/1999 GIACALONE FAMILY TRUST
03/21/05 AS AMENDED                               229 WINTERGREEN WAY                                    5335 LAMPLIGHTER LANE
2670 FLOWING WELL RD                              NEW HOLLAND, PA 17557-9685                             FLUSHING, MI 48433
DELAND, FL 32720-8903


VICTOR JAMES PETROVICS & MARGARET JULIA PETROVICS TRVICTOR KUSHNER CUST NEAL KOLMAN KUSHNER              VICTOR L DAY
05/06/97 PETROVICS FAMILY TRUST                     U/THE PA UNIFORM GIFTS TO MINORS ACT                 PO BOX 430231
8431 ROCKY RD                                       27 DARTMOUTH LANE                                    PONTIAC, MI 48343-0231
WEED, CA 96094-9773                                 RICHBORO, PA 18954-1262



VICTOR L DURRINGTON CUST VEARL G DURRINGTON       VICTOR M RIVERA                                        VICTOR O HUERTA JR
U/THE KANSAS UNIFORM GIFTS TO MINORS ACT          P O BOX 771654                                         PO BOX 301113
1814 PEMELTON DR                                  OCALA, FL 34477-1654                                   WATERFORD, MI 48330-1113
ABILENE, TX 79601-2616



VICTOR SARCIA & MARY E SARCIA TR                  VICTOR TAHILL & MARY TAHILL TR                         VICTOR YOUNG CUST BRIAN YOUNG
UA 12/5/07 VICTOR & MARY E SARCIA TRUST           09/27/02 VICTOR & MARY TAHILL FAMILY LIVING TRUST      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
408 N ALDINE                                      5869 W M 76                                            5705 E CALLE TUBERIA
PARK RIDGE, IL 60068                              WEST BRANCH, MI 48661-9619                             PHOENIX, AZ 85018-4632



VICTORIA A LECO CUST EUGENE VICTOR LECO           VICTORIA BALDINI SHAHADY CUST JESSICA EVAN SHAHADY     VICTORIA C SOTEK & STEVEN F SOTEK JT TEN
U/THE MASS UNIFORM GIFTS TO MINORS ACT            UNDER THE WEST VIRGINIA GIFTS TO MINORS ACT            693 CHURCH ST
60 KIMBERLY DR                                    25 CLUB VIEW DRIVE                                     WHITINSVILLE, MA 01588-2116
NORTH ATTLEBORO, MA 02760-4511                    BRIDGEPORT, WV 26330-9712
                   09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
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VICTORIA J SLEINSKY                                    VICTORIA L LEVINSON                                   VICTORIA M SCHWARTZ
6066 FIRWOOD ROAD                                      12401 234TH ST SE                                     8207 213 STREET
MENTOR ON LAK, OH 44060-2934                           SNOHOMISH, WA 98296-4917                              HOLLIS HILLS, NY 11427-1327




VICTORIA MARY COTE TR                                  VIKRAM CARIAPA                                        VINCE M BARENCHI
CHRISTOPHER BRETT COTE MINORS TR U-A WITH R F B        & ASHA CARIAPA U-A DTD 10-14-94 THE CODANDA CARIAPA   7426 CHERRY AVE SUITE 210-420
COTE 12/20/76                                          LIV TRUST                                             FONTANA, CA 92336-4221
7012 E RIVERCREST ROAD                                 8071 S 58TH ST
TUCSON, AZ 85750-2502                                  FRANKLIN, WI 53132-9238


VINCEL K JENKINS & STEFANIE S MORITZ TR                VINCENT A KUCZMARSKI CUST JAMES V KUCZMARSKI          VINCENT A SORRENTINO
STEFANIE S MORITZ & VINCEL K JENKINS LIVING TRUST UA   U/THE OHIO UNIFORM GIFTS TO MINORS ACT                137 CONSTITUTION BLVD
11/04/96                                               6022 STARK DR                                         WHITING, NJ 08759-1836
533 W MAIN ST UNIT 202                                 BROOK PARK, OH 44142-3048
MADISON, WI 53703-4732


VINCENT BELLE                                          VINCENT BERNSTEIN & SUSAN CAROL BERNSTEIN JT TEN      VINCENT E WHITE CUST WANDA FAY WHITE
14750 257TH ST 1                                       11 FLINLOCK RD                                        U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
ROSEDALE, NY 11422-2821                                PHOENICIA, NY 12464                                   204 ACTON CT
                                                                                                             COLUMBIA, SC 29212-8260



VINCENT G MURRAY                                       VINCENT H STEINBEISER                                 VINCENT JOHN MANEY JR CUST GEORGE MARTIN MANEY
2-24-10 #101 KAMI MEGU                                 1921 CLOVERBROOK DRIVE                                U/THE ILL UNIFORM GIFTS TO MINORS ACT
MEGURO-KU TOKYO 153-0051                               MINERAL RIDGE, OH 44440-9519                          8183 COUNTY ROAD 500
JAPANA R34 1B8                                                                                               BLUE RIDGE, TX 75424-3720
JAPAN


VINCENT K LINDBERG TR                                  VINCENT L PROCACCINI & JOYCE C PROCACCINI TR          VINCENT LEWIS
VINCENT K LINDBERG LIVING REVOCABLE TRUST UA 5/11/00   PROCACCINI FAMILY REVOCABLE TRUST UA 08/27/98         PO BOX 310635
8093 KENWICK DR                                        7822 CASTLE ISLAND DRIVE                              FLINT, MI 48531-0635
WHITE LAKE, MI 48386-4325                              SARASOTA, FL 34240-7902



VINCENT O QUERIPEL & JUNE B QUERIPEL TR                VINCENT SINATRA CUST PATRICIA SINATRA                 VINCENT VENTURELLI CUST MARY VENTURELLI
QUERIPEL FAMILY REVOCABLE LIVING TRUST UA 05/29/01     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
521 POINSETTIA AVE                                     22 HEATH PL                                           210 MARLBOROUGH ROAD
INVERNESS, FL 34452-4548                               HASTINGS ON HUDSON, NY 10706-3619                     ROCHESTER, NY 14619-1412



VINCENT YURKOVIC CUST WILLIAM YURKOVIC                 VINOD KRISHNA                                         VIOLA M KLEIN & CHRISTINA A KLEIN TR KLEIN FAMILY TRUST
U/THE PA UNIFORM GIFTS TO MINORS ACT                   6A MAYFAIR GARDENS                                    87 NW 48TH BLVD
519 HAMPTON ST                                         LITTLE GIBBS RD                                       GAINESVILLE, FL 32607-2277
SCRANTON, PA 18504-2853                                BOMBAY-400 006
                                                       INDIA


VIOLA M LEINWAND                                       VIOLET BARTAKOVITS TR                                 VIOLET H ELLIOTT & SHARON E NAGY TR
37401 S SAMANIEGO DR                                   JOSEPH C BARTAKOVITS & VIOLET BARTAKOVITS TR UA       LEON A ELLIOTT & VIOLET H ELLIOTT TRUST
TUCSON, AZ 85739-1043                                  10/25/95                                              130 YAVAPAI TRAIL
                                                       9331 ALTA SOL WAY                                     SEDONA, AZ 86336-3507
                                                       NEW PORT RICHEY, FL 34655-1765


VIOLET HOHL CUST KURT ALBERT HOHL                      VIOLET HOHL CUST WILLIAM HENRY HOHL                   VIRGIL D HENDERSHOT & LUCY A HENDERSHOT TR
U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT            U/THE WISCONSIN UNIFORM GIFTS TO MINORS ACT           UA 01/21/94 HENDERSHOT REVOCABLE LIVING TRUST
9170 FENTON RD                                         9170 DENTON HILL RD                                   840 W CORUNNA AVE
FENTON, MI 48430-9488                                  FENTON, MI 48430-9488                                 APT 1A
                                                                                                             CORUNNA, MI 48817-1269
                    09-50026-mg            Doc 7123-50        Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
                                                             Part 8 of 8 Pg 417 of 440
VIRGIL D WHYTE CUST PETER DANIEL WHYTE                VIRGIL L VORE                                          VIRGIL LEO BIRGEN & LA DONNA FRANCES BIRGEN TR
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT            1152 S KEINATH                                         THE BIRGEN FAMILY TRUST UA 02/16/79
13351 IOWA DR                                         DEERFIELD, MI 49238-9775                               2837 BLUFF POINT DR
WARREN, MI 48088-3139                                                                                        LAS VEGAS, NV 89134-8935



VIRGIL LOVETT                                         VIRGINIA A MORRIS CUST GINGER T MORRIS                 VIRGINIA A MORRIS CUST NEAL L MORRIS
PO BOX 292055                                         U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT             U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
DAYTON, OH 45429-0055                                 18 ARROWHEAD CIRCLE                                    18 ARROWHEAD CIRCLE
                                                      SPENCER, VA 24165-3084                                 SPENCER, VA 24165-3084



VIRGINIA ALICE HUTCHISON TR                           VIRGINIA B NELSEN & RICHARD P NELSEN TR                VIRGINIA BARRETT RYAN & TOM W RYAN TR
UA 08/29/91 THE VIRGINIA ALICE HUTCHISON TRUST        VIRGINIA B NELSEN REVOCABLE TRUST UA 10/09/91          REV LIV TR UA 06/05/83 VIRGINIA BARRETT RYAN
14042 HAMILTON ST                                     5033 JOSHUA DR                                         14 WHITE PINE DR
RIVERVIEW, MI 48193-7844                              WENTZVILLE, MO 63385-4562                              LITTLETON, CO 80127-3558



VIRGINIA BARRETT RYAN & TOM W RYAN TR                 VIRGINIA C WRIGHT & EUGENE D WRIGHT JT TEN             VIRGINIA E HYNDMAN & PATRICIA HYNDMAN SUMMERS TR
UA 06/05/83 VIRGINIA BARRETT RYAN                     4207 STEIN HIGHWAY                                     U-T-D 12/16/86 M-B VIRGINIA E HYNDMAN
14 WHITE PINE DR                                      SEAFORD, DE 19973-6754                                 1736 PIER AVE
LITTLETON, CO 80127-3558                                                                                     SANTA MONICA, CA 90405



VIRGINIA G BRIAN CUST JEFFREY PAUL BRIAN              VIRGINIA H MOORE CUST ROBERT CHARLES MOORE             VIRGINIA I CASTLES
U/THE R I UNIFORM GIFTS TO MINORS ACT                 U/THE ILL UNIFORM GIFTS TO MINORS ACT                  3897 REINWOOD DR
UNIT 2                                                1082 CHERRYBARK TRCE                                   DAYTON, OH 45414-2445
102 BLACKSTONE BLVD                                   MARIETTA, GA 30064-6216
PROVIDENCE, RI 02906-5453


VIRGINIA I FORREST CUST MATTHEW BRETT FORREST         VIRGINIA IRVIN PETTIT TOD JACQUELINE ANNE PETTIT SUBJECT
                                                                                                             VIRGINIA
                                                                                                               TO STA JTOD
                                                                                                                        EDWARDS
U/THE MD UNIFORM GIFTS TO MINORS ACT                  RULES                                                  2350 155TH AVE
1108 CEDAR ST                                         14025 BRIGHTON DAM RD                                  MORLEY, MI 49336-9706
POCOMOKE CITY, MD 21851-9524                          CLARKSVILLE, MD 21029



VIRGINIA L EBNER CUST CHARLES E EBNER                 VIRGINIA L EBNER CUST VIRGINIA M EBNER                 VIRGINIA L LEIDY & RICHARD MONNOT TR
U/THE MD UNIFORM GIFTS TO MINORS ACT                  U/THE MD UNIFORM GIFTS TO MINORS ACT                   VIRGINIA L LEIDY TRUST UA 09/24/96
1494 DUNSTER LANE                                     1494 DUNSTER LANE                                      1010 SPRUCE ST
ROCKVILLE, MD 20854-6119                              ROCKVILLE, MD 20854-6119                               APT 302
                                                                                                             HOLLIDAYSBURG, PA 16648-2107


VIRGINIA LEE BUCKHEIT CUST ROBERT W BUCKHEIT JR       VIRGINIA LEE PENICK                                    VIRGINIA LEE RADCLIFFE & TERRANCE R RADCLIFFE JT TEN
U/THE MD UNIFORM GIFTS TO MINORS ACT                  4711-350TH STREET CT S                                 6108 101ST PL NE
2716 FLINTRIDGE DR                                    ROY, WA 98580-8668                                     MARYSVILLE, WA 98270
MYERSVILLE, MD 21773-8647



VIRGINIA LOIS GREENING TR                             VIRGINIA M WHITACRE TR                                 VIRGINIA MADURA JAMES CUST RICHARD HENRY JAMES
UA 06/08/2007 VIRGINIA LOIS GREENING LIV TRUST        VIRGINIA M WHITACRE REVOCABLE LIVING TRUST UA          U/THE ILL UNIFORM GIFTS TO MINORS ACT
35036 RED PINE DRIVE                                  05/31/95                                               405 BLUFF AVE
FARMINGTON, MI 48335                                  902 PERKINS JONES RD                                   LA GRANGE, IL 60552-6811
                                                      WARREN, OH 44483-1852


VIRGINIA MALLORY TR                                   VIRGINIA MARIE SHORT CUST CHRISTOPHER MICHAEL SHORT VIRGINIA MENDONCA CUST DONNA LEIGH MENDONCA
REVOCABLE TRUST 08/30/88 U-A F-B-O VIRGINIA MALLORY   UNDER THE MINNESOTA U-G-M-A                         A MINOR U/ CALIF GIFTS OF SEC TO MINORS ACT
1425 MICHIGAN AVENUE                                  5316 MARSH LANDING LANE                             248 TWINVIEW DRIVE
STOCKTON, CA 95204-4224                               SUFFLOK, VA 23435-4214                              PLEASANT HILL, CA 94523-3132
                   09-50026-mg             Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                                Part 8 of 8 Pg 418 of 440
VIRGINIA O ISAACS TR                                     VIRGINIA R GIOKARIS & JAMES DANIEL GIOKARIS TR     VIRGINIA R HUNGERFORD
THE FAMILY TRUST UNDER THE WARREN & VIRGINIA             VIRGINIA R GIOKARIS TRUST UA 07/07/94              PO BOX 621184
ISAACS TRUST UA 01/30/90                                 810 NE PANTHER VALLEY                              LITTLETON, CO 80162-1184
1305 HANSEN AVENUE                                       LEES SUMMIT, MO 64064
ALAMEDA, CA 94501-3123


VIRGINIA R ROBINSON TR                                   VIRGINIA R SCHNEINBERG                             VIRGINIA S REINARD
VIRGINIA FAYE ROBINSON 2006 REVOCABLE TRUST UA           2901 BUCKSKIN LN                                   3836 WOODBINE AVE
03/16/06                                                 GRAYSLAKE, IL 60030-9350                           HUBBARD, OH 44425-1868
8504 RIDGEMONT DR
DES MOINES, IA 50322-2328


VIRGINIA S VAZQUEZ                                       VIRGINIA SCOTT                                     VIRGINIA SNYDER TR VIRGINIA SNYDER REVOCABLE TRUST U
PO BOX 230803                                            PO BOX 310306                                      11187 180TH COURT SO
LAS VEGAS, NV 89123-0014                                 FLINT, MI 48531                                    BOCA RATON, FL 33498-1912




VIRGINIA T KIDDLE & VIRGINIA COX & ALTHEA A BEATTIE TR   VIRGINIA TORRES & RENEE TORRES TR                  VIRGINIA W BENGSTON TR
ARTHUR D KIDDLE RESIDUARY TRUST UA 02/13/01              UA 07/25/2006 VIRGINIA TORRES LIVING TRUST         UA 11/21/06 VIRGINIA WYNNE BENGSTON REVOCABLE
4275 DIEHL RD                                            29129 SUNNYDALE                                    LIVING TRUST
METAMORA, MI 48455-9639                                  LIVONIA, MI 48154                                  266 MEADOW ROAD
                                                                                                            SANTA CRUZ, CA 95060


VIVIAN CHRISTIANSEN TR                                   VIVIAN D SAHM CUST CORY TRAVIS HENDERSON UGMA TX   VIVIAN K MILLER CUST KAREN SUE MILLER
UA 05/13/03 ERICH & VIVIAN CHRISTIANSEN LIVING TRUST     PO BOX 310713                                      U/THE PA UNIFORM GIFTS TO MINORS ACT
1751 W CITRACADO PARKWAY APT 330                         NEW BRAUNFELS, TX 78131-0713                       C/O KAREN S KAHN
ESCONDIDO, CA 92029                                                                                         11 FARMSTEAD RD
                                                                                                            SHORT MILLS, NJ 07078-1291


VIVIAN KURMAN CUST NEIL HOWARD KURMAN                    VIVIAN NEMERSON CUST MATTHEW L NEMERSON            VIVIAN-SUE PENN & PAMELA S MORINE TR
UNDER ARTICLE EIGHT-A OF THE PERS PROPERTY LAW OF        U/THE N Y UNIFORM GIFTS TO MINORS ACT              VIVIAN-SUE PENN REV TRUST UA 12/11/98
NY                                                       35 HUNTINGTON ST                                   6719 CABLE CAR LANE
APT 9R                                                   NEW HAVEN, CT 06511-1332                           WILMINGTON, NC 28403-3668
205 THIRD AVE
NEW YORK, NY 10003-2556

VLADIK SUSKA CUST FREDERICK D ROSELLI                    VLADIMIR S TUMAN CUST LUDWIG TUMAN                 VOLNEY H SEBRING & HELEN A SEBRING TR
U/THE N J UNIFORM GIFTS TO MINORS ACT                    U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       VOLNEY H SEBRING & HELEN A SEBRING
27 PETTIT AVENUE                                         1401 E TVOLUMNE                                    6060 STEEPLECHASE
SOUTH RIVER, NJ 08882-1055                               TURLOCK, CA 95380                                  GRAND BLANC, MI 48439-8669



W A MC CORMICK JR CUST WILLIAM T MC CORMICK              W ALLEN JOHNSON & LOIS A JOHNSON TR                W C RIESKE & GLADYS M RIESKE TR
U/THE N C UNIFORM GIFTS TO MINORS ACT                    UA 06/21/90 THE W ALLEN JOHNSON TR & LOIS A        W C RIESKE & G M RIESKE REV LIV TR 03/07/90 W C
PO BOX 223                                               BOX 4404                                           5346 MARSH RD
ROWLAND, NC 28383-0223                                   OCALA, FL 34478-4404                               HASLETT, MI 48840-8632



W CRAIG CHAMBERS CUST W CRAIG CHAMBERS JR                W DAN MYERS                                        W EUGENE FREYMANN
U/THE ARIZ UNIFORM GIFTS TO MINORS ACT                   2602 WERLEIN AVE                                   20886 320TH ST
313 RED RIVER TRAIL                                      HOUSTON, TX 77005-3958                             SIOUX CITY, IA 51108-8550
IRVING, TX 75063-4522



W H HALLOWELL & CHARLOTTE M HALLOWELL TR                 W J WYLIE CUST WILLIAM LAWTON WYLIE                W MORRIS TAYLOR CUST HOLLY C TAYLOR
W H & CHARLOTTE HALLOWELL REV LIVING TRUST UA            A MINOR UNDER THE LOUISIANA GIFTS TO               UNDER THE MO TRANSFERS TO MINORS LAW
11/17/04                                                 PO BOX 2635                                        9666 OLIVE BLVD
1198 25TH AVE SW                                         HAMMOND, LA 70404-2635                             STE 202
ALBANY, OR 97321-7542                                                                                       SAINT LOUIS, MO 63132-3012
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
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WADE BRANDENBERGER & AMY P BRANDENBERGER TR           WADE DAVID BRIM & JANY HEBRARD BRIM TR              WADE L BARTENBAKER
BRANDENBERGER FAMILY 2004 TRUST UA 03/05/04           BRIM FAMILY REVOCABLE LIVING TRUST UA 07/29/04      PO BOX 301164
11802 NEWBURY ROAD                                    1471 PAUL ST                                        DRAYTON PLAINS, MI 48330-1164
ROSSMOOR, CA 90720                                    SIMI VALLEY, CA 93065-3245



WADE S CLOANINGER III                                 WADE S STANBOROUGH                                  WAH WONG CUST ELEANOR WONG
P O 290593                                            18049 134TH WAY NORTH                               U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT
PORT ORANGE, FL 32129-0593                            JUPITER, FL 33478-3607                              10 GRIGGS RD
                                                                                                          BROOKLINE, MA 02446-4732



WAH WONG CUST SUSAN WONG                              WAINO V MACKEY & KARMA K MACKEY JT TEN              WALBERT W HOCHSTEIN
U/THE MASSACHUSETTS UNIFORM GIFTS TO MINORS ACT       PO BOX 911346                                       3335 NASHVILLE AVE
10 GRIGGS RD                                          ST GEORGE, UT 84791-1346                            NEW ORLEANS, LA 70125-4725
BROOKLINE, MA 02446-4732



WALDEMAR J PFLEPSEN & SUE M PFLEPSEN TR               WALDO C FAHLING & BETTY LOU FAHLING TR              WALDO C FAHLING & BETTY LOU FAHLING TR
FAM TR 05/08/92 U-A WALDEMAR PFLEPSEN &               BETTY LOU FAHLING TRUST UA 02/19/02                 WALDO C FAHLING TRUST UA 02/19/02
303 BEAUJEAN AVE                                      4216 BROOKSIDE DR                                   4216 BROOKSIDE DR
MELBOURNE BEACH, FL 32951-2019                        KOKOMO, IN 46902-4705                               KOKOMO, IN 46902-4705



WALDO L NEWBERG CUST RICHARD DWIGHT NEWBERG           WALDO W CALLAWAY TR                                 WALFRED W RAJALA & BERNICE D RAJALA TR
A MINOR U/THE CALIFORNIA GIFTS OF SECURITIES TO       UA 11/04/1988 AMENDED 05/15/1998 WALDO W CALLAWAY   THE RAJALA FAMILY REVOCABLE LIVING
MINORS ACT                                            REVOCABLE TRUST                                     715 BUSSE HWY APT A4
AMEMB USAID UNIT 3760                                 314 NORTH EAST 19TH STREET                          PARK RIDGE, IL 60058-2450
APO, AA 34031                                         CAPE CORAL, FL 33909


WALKER ALAN STARLING A MINOR U/GDNSHP OF ALAN C STARLING
                                                    WALKER B RHODES & ROSEANNE RHODES TR                  WALKER L JONES & ALICE G JONES TR
PO BOX 700667                                       WALKER & ROSEANNE RHODES JOINT TRUST 8/25/99          UA 01/22/91 WALKER L JONES & ALICE G JONES REV TR
SAINT CLOUD, FL 34770-0667                          2526 ORCHARD LN                                       250 PANTOPS MTN RD
                                                    FLINT, MI 48504-4537                                  CHARLOTTEVILLE
                                                                                                          CHARLOTTESVLE, VA 22911


WALLACE A BERGLUND & BETTY A BERGLUND TR              WALLACE A CHRISTIANSON & ELIZABETH R CHRISTIANSON TR WALLACE A ERICKSON & BETTY M ERICKSON TR
WALLACE A & BETTY A BERGLUND LIVING TRUST UA          WALLACE A & ELIZABETH R CHRISTIANSON REV TR UA       UA F-B-O ERICKSON FAMILY TRUST 01/28/87
06/12/96                                              4700 SW HOLLYHOCK CIR                                19801 DEEP VIEW LANE
1309 FOREST PARK LN                                   APT 109                                              COVINA, CA 91724-3424
BURNSVILLE, MN 55337-4779                             CORVALLIS, OR 97333-1392


WALLACE B HEINECKE & JEAN M HEINECKE JT TEN           WALLACE B NEWMAN CUST JAMES W C NEWMAN              WALLACE B NEWMAN CUST WALLACE B NEWMAN JR
10501 EMILIE LANE                                     U/THE N C UNIFORM GIFTS TO MINORS ACT               U/THE N C UNIFORM GIFTS TO MINORS ACT
ORLAND PARK, IL 60467                                 7035 MARCHING DUCK DR                               7035 MARCHING DUCK DR
                                                      APT E108                                            APT E108
                                                      CHARLOTTE, NC 28210-2209                            CHARLOTTE, NC 28210-2209


WALLACE BRUGH SR CUST WALLACE BRUGH JR                WALLACE C KVILVANG & JOYCE A KVILVANG TR            WALLACE D ANDERSON & PATRICIA A ANDERSON TR
A MINOR PURS TO SECS 1339 /26 INCL OF THE REVISED     UA 05/25/83 WALLACE C KVILVANG & JOYCE A KVILVANG   UA 05/01/01 ANDERSON FAMILY LIVING TRUST
CODE OF OHIO                                          1211 VIA LA JOLLA                                   9702 COTTONWOOD DR
6544 AKRON AVE N W                                    SAN CLEMENTE, CA 92672-2344                         SUN CITY, AZ 85373
CANAL FULTON, OH 44614-8714


WALLACE J BENZIE TR                                   WALLACE JAMES KING & CAROL ANN KING TR              WALLACE K LEOPOLD CUST KELLEY ANNE LEOPOLD
WALLACE J BENZIE REVOCABLE LIVING TRUST UA 01/14/97   WALLACE JAMES KING & CAROL ANN KING TRUST UA        U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT
3325 S VASSAR RD                                      12/07/95                                            7546 BUCKINGHAM DRIVE
DAVISON, MI 48423-2425                                4875 BROOK                                          CLAYTON, MO 63105-2802
                                                      SAGINAW, MI 48603-5651
                   09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit E
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WALLACE W K YOUNG TR                                WALLACE W STEELE & THERESA STEELE TR               WALTER A BRIDGES
UA 06/07/89 WALLACE W K YOUNG REVOCABLE LIVING      STEELE FAMILYREVOCABLE TRUST UA 04/18/00           101 GUS WHITING RD
TRUST                                               BOX 531                                            LAVONIA, GA 30553-2706
45-920 KEAAHALA PLACE                               BENICIA, CA 94510-0531
KANEOHOE, HI 96744-3346


WALTER A BROWN & FLORENCE E BROWN TR                WALTER A NAWARA CUST KARA LYNN NAWARA              WALTER B DOMBROWSKI & MARIA J DOMBROWSKI TR
WALTER A & FLORENCE E BROWN FAM TRUST UA 09/29/97   UNDER THE FLORIDA GIFTS TO MINORS ACT              UA 06/06/89 WALTER B DOMBROWSKI & MARIA J
2501 ROSEWORTHY DR                                  13948 63RD LN N                                    1801 WHITEFIELD STREET
LAS VEGAS, NV 89134-7331                            WEST PALM BEACH, FL 33412                          DEARBORN HEIGHTS, MI 48127-3420



WALTER B WHITING SR                                 WALTER BASS CUST CARYN R BASS                      WALTER BEINECKE JR CUST WALTER BEINECKE III UGMA MA
3395 OSBORNE RD NE                                  U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT       PO BOX 1217
ATLANTA, GA 30319-2334                              10781 SUNSET BLVD                                  WALDOBOROE, ME 04572-1217
                                                    LOS ANGELES, CA 90077-3615



WALTER BERG                                         WALTER C BOSCHEN & RBS CITIZENS NA TR              WALTER C CORNWELL & FON F CORNWELL TR
410-196 SCOTT ST                                    UA 08/23/1984 WALTER C BOSCHEN 1984 TRUST          WALTER & FON CORNWELL LIV TRUST UA 07/17/97
SAINT CATHARINES ON                                 4 CARILLON SHORES                                  6278 REITZEL DR
L2N 5T2 CANADA                                      MIRROR LAKE, NH 03853                              HICKORY, NC 28601-7030



WALTER C DRAUSE CUST VALERIE DRAUSE                 WALTER D BROOKS & DORIS E BROOKS TR                WALTER D SHEEHAN CUST JULIA ANNE SHEEHAN
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT          UA 11/14/85 WALTER D BROOKS & DORIS E BROOKS       U/THE MASS UNIFORM GIFTS TO MINORS ACT
22866 WOODCREEK DR                                  15894 19 MILE RD                                   7 SANDY BROOK ROAD
TAYLOR, MI 48180-9320                               APT 225                                            BURLINGTON, MA 01803-3920
                                                    CLINTON TWP, MI 48038-6349


WALTER DUDLEY CUST WALTER VINCENT DUDLEY            WALTER E BRUTZER & DIANE C BRUTZER TR              WALTER E GRYCZKOWSKI
U/THE W VA GIFTS TO MINORS ACT                      WALTER E BRUTZER & DIANE C BRUTZER TR UA 8/30/78   95 STEINFELDT RD
1525 RAMBLER ROAD                                   541 MICHIGAN AVE UNIT 15                           LANCASTER, NY 14086-2333
CHARLESTON, WV 25314-1830                           FRANKFORD, MI 49635-8705



WALTER E STEINWAY                                   WALTER E STEUART TR THE SEPERATE PROPERTY OF THE WALTER
                                                                                                       WALTER
                                                                                                            E STEUART
                                                                                                               F BROWNFAM
4099 RIVERSIDE DRIVE                                LIVING TRUST UA 10/09/93                           PO BOX 475274
DAYTON, OH 45405-2364                               6019 COVEWOOD CT                                   GARLAND, TX 75057
                                                    CITRUS HGTS, CA 95621-0953



WALTER F SIMON & MARY M SIMON TR                    WALTER FASOLD JR                                   WALTER G LAUGHLIN & HELEN A LAUGHLIN TR
WALTER F SIMON & MARY M SIMON LIVING TRUST UA       64354 REINHEIM                                     WALTER G & HELEN A LAUGHLIN TRUST UA 10/16/02
04/29/95                                            BERT BRECHT STRASSE 7                              1611 SE 38TH TERRACE
22975 SE BLACK NUGGET RD                            GERMANY                                            TOPEKA, KS 66609-1504
APT 323
ISSAQUAH, WA 98029-7311

WALTER H KREINHEDER                                 WALTER H MCBRIDE & VIOLA M MCBRIDE TR              WALTER H NOBLE & DELORES M NOBLE TR
GARDEN VILLAS APT                                   UNDER WALTER H & VIOLA M MCBRIDE TR                WALTER H NOBLE & DELORES M NOBLE REV TRUST UA
13590 SO OUTER FORTY RD                             505 N STONE BLVD                                   09/19/02
TOWN & COUNTRY, MO 63017-5823                       RAYMORE, MO 64083-9111                             3755 CHILTON DR
                                                                                                       SAGINAW, MI 48603-3176


WALTER H SCHNEIDER & COLLEEN SCHNEIDER TR           WALTER H WEINER CUST JON M WEINER                  WALTER H WOLFF & JAMIE L WOLFF TR
05/20/92 WALTER H SCHNEIDER & COLLEEN               U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         WOLFF FAMILY REVOCABLE TRUST UA 02/04/02
418 COLDENHAM RD                                    876 PARK AVE                                       2312 SW 50TH STREET
WALDEN, NY 12586-2919                               NEW YORK, NY 10021-1832                            CAPE CORAL, FL 33914-6752
                    09-50026-mg                Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit E
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WALTER I SCOTT & CECILE M SCOTT TR                    WALTER J JOHNSON JR & MARIE LOUISE JOHNSON TR         WALTER J KARIOTT & HELEN E KARIOTT TR
WALTER I & CECILE M SCOTT LIVING TRUST UA 7/10/99     WALTER J JOHNSON JR & MARIE L JOHNSON                 KARIOTT FAMILY REVOCABLE TRUST UA 11/10/99
39060 QUINN DR                                        1485 GERHARDT AVENUE                                  2845 WISCONSIN AVE
STERLING HGTS, MI 48310-2439                          SAN JOSE, CA 95125-4840                               BERWYN, IL 60402-2955



WALTER J PATRICK & PATRICIA C PATRICK TR              WALTER J STAZINSKI TR                                 WALTER J TIMMONS
U-T-D 09/02/82 WALTER J PATRICK & PATRICIA C          WALTER J STAZINSKI 1998 REVOCABLE TRUST UA 03/06/98   & BETTY J TIMMONS & JANET E TURNBAUGH & MARILYN G
4826 SULLIVAN WAY                                     12 FAIRVIEW ST                                        BENNETT JT TEN
SANTA ROSA, CA 95409-4226                             SAUGUS, MA 01906-2230                                 2603 S TAYLOR
                                                                                                            PITTSBURGH, KS 66762-6548


WALTER J WALKER & MARION J WALKER TRU/A 10/02/00 WALTER
                                                      WALTER
                                                        & MARION
                                                              J WASIELEWSKI & JOANNE WASIELEWSKI TR         WALTER J WEATHERLY
WALKER REVOCABLE FAMILY TRUST                         WALTER J & JOANNE WASIELEWSKI REV LIV TR UA           BOX 680564
23743 LAKEWOOD BLVD                                   PO BOX 11891                                          FORT PAYNE, AL 35968-1606
ST CLAIR SHORES, MI 48082-2545                        ASPEN, CO 81612-9420



WALTER J ZBIKOWSKI                                    WALTER JACOBY JR                                      WALTER JAY HIRSCH CUST STEPHEN L HIRSCH
& ROSEMARY E MAITLAND & WALTER JOHN ZBIKOWSKI R L     6604 110TH PLACE                                      U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
S JT TEN                                              APT 1                                                 175 MAIN STREET SUITE 708
25645 ROSS                                            SEBASTIAN, FL 32958-4762                              WHITE PLAINS, NY 10601-3123
DEARBORN HEIGHTS, MI 48125-1142


WALTER JOSEPH HERCHOWSKI TR                           WALTER KASTAN CUST KENNETH ALAN KASTAN                WALTER L JANKOWSKI
WALTER J HERCHOWSKI REVOCABLE TRUST UA 05/10/96       U/THE CALIF UNIFORM GIFTS TO MINORS ACT               1641 CABOT AVENUE
12000 TRALEE RD 502                                   2542 ALLANTE AVE                                      WHITING, NJ 08759-3303
TIMONIUM, MD 21093-3841                               LAS VEGAS, NV 89120-3740



WALTER L REIN & DORIS A REIN TR WALTER L REIN & DORIS A REIN
                                                        WALTER
                                                             LIVING
                                                                 L SADDLER TR                               WALTER L VAN GOETHEM JR CUST NANCY ANN VAN GOETHEM
9318 N MAIN                                             UA 11/06/1995 WALTER & LUELLA H SADDLER REVOCABLE   U/THE MICH UNIFORM GIFTS TO MINORS ACT
BAYTOWN, TX 77521-8753                                  LIVING TRUST                                        355 S END AVE APT 33N
                                                        1406 ALHI                                           NEW YORK, NY 10280-1060
                                                        WATERFORD, MI 48328


WALTER L WITTENBERG TR                                WALTER LOUCKS & FRANCES LOUCKS TR                     WALTER M CARNALL CUST WAYNE T CARNALL
WALTER L WITTENBERG LIVING TRUSTUA 09/20/95 WALTER    WALTER LOUCKS & FRANCES LOUCKS REVOCABLE LIVING       U/THE N Y UNIFORM GIFTS TO MINORS ACT
L WITTENBERG                                          TRUST UA 03/20/01                                     451 N KENNETH PL
6434 CECIL AVE                                        2330 E TURNEY                                         CHANDLER, AZ 85226-2919
CLAYTON, MO 63105-2225                                PHOENIX, AZ 85016-6221


WALTER M DICKIE JR CUST ANDREW JOHNSON DICKIE         WALTER M ZIERMAN & SUZANNE H ZIERMAN TR               WALTER MEISSNER & ELIZABETH J MEISSNER TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT               ZIERMAN LIVING TRUST UA 05/17/96                      WALTER & ELIZABETH MEISSNER REVOCABLE TRUST UA
227 CROCKER AVENUE                                    1058 CAMINO MANANA                                    10/09/02
PIEDMONT, CA 94610-1259                               SANTA FE, NM 87501-1043                               1508 PENISTOWE ST
                                                                                                            BIRMINGHAM, MI 48009-7210


WALTER O ARNOLD & SHIRLEY MAY ARNOLD TR               WALTER OTHERO                                         WALTER P SIEGMUND CUST LISA KERSTEN SIEGMUND
WALTER O & SHIRLEY MAY ARNOLD JOINT LIVING TRUST UA   RUA BARTIRA 1198 APT 51                               U/THE CONN UNIFORM GIFTS TO MINORS ACT
02/12/04                                              PERDIZES 05009-000                                    BOX 246
10339 N HACKETT                                       SAO PAULO SP BRAZIL                                   POMFRET CENTER, CT 06259-0246
FREELAND, MI 48623-9738                               BRAZIL


WALTER P SIEGMUND CUST W PAUL MARTIN SIEGMUND         WALTER R CARNES CUST MARSHA ANN CARNES                WALTER R NAEBERS & MICHELLE M NAEBERS TR
U/THE CONN UNIFORM GIFTS TO MINORS ACT                U/THE INDIANA UNIFORM GIFTS TO MINORS ACT             UA 02/06/2009 WALTER R & MICHELLE M NAEBERS
BOX 246                                               4330 SNOOPY LN                                        22830 BROOKDALE
POMFRET CENTER, CT 06259-0246                         TALLAHASSEE, FL 32303-6921                            ST CLR SHORES, MI 48082
                   09-50026-mg            Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                              Part 8 of 8 Pg 422 of 440
WALTER R SCHUDA & FRANCES M SCHUDA TR                  WALTER R STOCKEBRAND & ESTHER A STOCKEBRAND TR        WALTER S NELSON & FRANCES M NELSON TR
WALTER R & FRANCES M SCHUDA 2005 REV TRUST UA          UA 02/28/91 WALTER R STOCKEBRAND&                     UA 01/31/94 NELSON REVOCABLE TRUST
01/19/05                                               220 SUMMIT BLVD                                       5145 16TH AVE S
8500 NEPHI WAY                                         UNIT 333                                              MINNEAPOLIS, MN 55417-1207
FAIR OAKS, CA 95628-6224                               BROOMFIELD, CO 80021-8271


WALTER STEINMETZ & MRS JANICE M STEINMETZ TEN COM      WALTER T KLINE & GRACE E KLINE TR                     WALTER W CURRIER & BARBARA CURRIER TR
291 EMERALD STREET                                     KLINE FAMILY REVOCABLE TRUST UA 04/12/00              WALTER & BARBARA CURRIER LIVING TRUST UA 03/03/95
KINGSTON ON                                            19820 N 15TH AVENUE                                   103 BON BRAE CT
K7P 3E1 CANADA                                         PHOENIX, AZ 85027-4301                                ST CLAIR SHORES, MI 48081-1957



WALTER W FOSTER & MARIAN M FOSTER TR                   WALTER W FOSTER & MARIAN M FOSTER TR                  WALTER W JOHNSON & CARLEEN Y JOHNSON TR
THE MARIAN M FOSTER REV LIVING TRUST UA 05/03/96       THE WALTER W FOSTER REV LIVING TRUST UA 05/03/96      UA 09/14/2006 WALTER W JOHNSON &
3323 BELVEDERE N W                                     3323 BELVEDERE N W                                    12368 PARKIN LN
SALEM, OR 97304-4126                                   SALEM, OR 97304-4126                                  FENTON, MI 48430



WALTER W SLONAKER & LUCILLE SLONAKER TR                WALTER W WEAVER & MARY E WEAVER TR                    WALTER WEIDEMANN JR & NANCY W VOLK & WALTER WEIDEM
WALTER W & LUCILLE SLONAKER LIVING TRUST UA 04/23/98   WALTER W & MARY E WEAVER TRUST UA 7/7/97              U-W-O SUZANNE W WEIDEMANN
10641 E 400 S                                          513 A CONSTELLATION SQ                                7 KIRKCALDY DRIVE
GREENTOWN, IN 46936-8956                               LEESBURG, VA 20175-3111                               WEST CHESTER, PA 19382-7285



WALTERS BANK & TRUST CO TR                             WANDA A WIRTZ TR UA 03/07/89 WANDA A WIRTZ TRUST      WANDA E RUTT CUST DOUGLAS M RUTT
LESLIE ANN COWAN IRREVOCABLE TRUST UA 12/26/03         PO BOX 610037                                         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
PO BOX 96                                              PORT HURDON, MI 48061-0037                            3277 LONGRIDGE TER
WALTERS, OK 73572-0096                                                                                       SHERMAN OAKS, CA 91423-4929



WANDA J LYSKAWA TR                                     WANDA LEE MORRIS                                      WANDA S HANSELMAN CUST ANDREW W HANSELMAN
UA 07/15/2004 RICHARD LYSKAWA & WANDA J LYSKAWA        11812 120TH ST E                                      UNDER THE MO TRANSFERS TO MINORS LAW
LIVING TRUST                                           PUYALLUP, WA 98374-4029                               303 COUNTRY CLUB VW
11729 TECUMSEH                                                                                               EDWARDSVILLE, IL 62025
REDFORD, MI 48239


WARD S FLESHMAN JR & VERA F FLESHMAN TR                WARING TRIBLE CUST ANNE BROOKE TRIBLE U/THE VIRGINIA U-G-M-A
                                                                                                             WARING TRIBLE CUST WARING TRIBLE JR
WARD & VERA FLESHMAN LIVING TRUST UA 10/19/98          ATTN BROOKE TRIBLE WEINMANN                           U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT
5398 NIGHTHAWK DR                                      3905 CLUB DRIVE NE                                    20 AIKEN RD
CINCINNATI, OH 45247-7507                              ATLANTA, GA 30319-1111                                FREDERICKSBURG, VA 22405-3340



WARREN C GOCKENBACH & ALICE M GOCKENBACH TR            WARREN C HILL & BEULAH R HILL TR                      WARREN E BLUMENSCHEIN
WARREN C GOCKENBACH TRUST UA 11/06/95                  UA 12/15/88 WARREN C HILL & BEULAH R HILL             6603 SCENIC POINT DR SE
9425 LECLAIRE AVE                                      5731 SUNSET FALLS DR                                  WINTER HAVEN, FL 33884-2743
SKOKIS, IL 60077-1217                                  APOLLO BEACH, FL 33572-3114



WARREN E CHESTER & VIRGINIA L CHESTER TR               WARREN G REINER INC                                   WARREN J LOCKMULLER & MILDRED I LOCKMULLER TR
CHESTER TR 12/17/86 WARREN E & VIRGINIA L CHESTER      384 MORRIS AVE BOX 388                                LOCKMULLER REVOCABLE TRUST UA 11/11/03
11186 ASBEE ST                                         SPRINGFIELD, NJ 07081-1106                            3411 KING RICHARD COURT
PEYTON, CO 80831                                                                                             SEFFNER, FL 33584-6139



WARREN K BOLING                                        WARREN M GREGORY OR IRIS A GREGORY TR                 WARREN S MICHAEL & FRANCES L MICHAEL TR
BOX 371 226 N WALNUT ST                                WARREN M GREGORY LIVING TRUST UA 10/15/97             WARREN S MICHAEL & FRANCES L MICHAEL FAM TRUST UA
LADOGA, IN 47954-0371                                  15011 LESLIE                                          04/21/95
                                                       OAK PARK, MI 48237-1990                               1184 MILLBRAE AVE
                                                                                                             MILLBRAE, CA 94030-2946
                   09-50026-mg              Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                             Part 8 of 8 Pg 423 of 440
WARREN W CHAN & ISABELLE L CHAN TR                    WARREN W LITTLEFIELD CUST EMILY WHEELER LITTLEFIELD WARWICK D TOMFOHR
REV TR 03/10/88 U-A WARREN W CHAN & ISABELLE L CHAN   UNDER THE CALIFORNIA U-G-M-A                        27637 188TH PLACE S E
941 CAMINO DEL RIO                                    815 BROOKTREE RD                                    KENT, WA 98042-5440
SANTA BARBARA, CA 93110-1008                          PACIFIC PALISADES, CA 90272-3904



WARWICK FAY NEVILLE CUST GEORGE RYAN NEVILLE          WATSON M ORE & LELA M ORE TR                         WAYNE A BRUNKAN & DOROTHY A BRUNKAN TR
U/THE N C UNIFORM GIFTS TO MINORS ACT                 UA 08/14/91 WATSON M ORE & LELA M ORE FAMILY TRUST   UDT BRUNKAN FAMILY TRUST 1990 09/19/90
PO BOX 1827                                           1818 SW 1ST ST                                       1962 HILLCREST LANE
PINEHURST, NC 28370-1827                              LEES SUMMIT, MO 64081-1789                           VENTURA, CA 93001-2324



WAYNE A CHAFFIN                                       WAYNE A MARTIN & RUTH E MARTIN TR                    WAYNE A NANOMANTUBE & LOIS M NANOMANTUBE TR
& FREDERICK A CHAFFIN & MARK A CHAFFIN & DARLENE L    UA 04/08/92 THE MARTIN FAMILY REVOCABLE TRUST        NANOMANTUBE LIVING TRUST UA 11/17/98
ROBEL &                                               3908 HIGHWAY 11                                      312 DOUBLE HORSESHOE CT
529 JEFFERSON ST                                      INMAN, SC 29349-8887                                 SUNRISE BEACH, MO 65079-9201
PORT CLINTON, OH 43452-1918


WAYNE C GEPPERT CUST STEVE C GEPPERT                  WAYNE C MILLER CUST CRAIG A MILLER                   WAYNE C MILLER CUST JEFFREY K MILLER
U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT           U/THE PA UNIFORM GIFTS TO MINORS ACT                 U/THE PA UNIFORM GIFTS TO MINORS ACT
1275 BEECH STREET                                     350 NW SPRINGVIEW LOOP                               350 NW SPRINGVIEW LOOP
SAINT PAUL, MN 55106-4729                             PORT ST LUCIE, FL 34986-2665                         PORT ST LUCIE, FL 34986-2665



WAYNE E BELKA                                         WAYNE F PFLUGMACHER & MEREDITH A PFLUGMACHER TR      WAYNE G KEINATH & LORIE A KEINATH JT TEN
445 133RD AVENUE                                      WAYNE & MEREDITH PFLUGMACHER REVOCABLE               12357 BAKER ROAD
WAYLAND, MI 49348-9514                                2802 LOCUST COURT EAST                               FRANKENMUTH, MI 48734-9759
                                                      KOKOMO, IN 46902-2952



WAYNE H BAKER & DONNA L BAKER TR                      WAYNE J SPENCE                                       WAYNE L BELKNAP & ELIZABETH M BELKNAP TR
WAYNE H & DONNA L BAKER TRUST UA 10/03/89             PO BOX 580084                                        06/22/93 WAYNE L BELKNAP&ELIZABETH M
1948 W 13TH PLACE                                     KISSIMMEE, FL 34758                                  BOX 382
YUMA, AZ 85364-4305                                                                                        INMAN, KS 67546



WAYNE L TITZEL & FRANCES M TITZEL TR                  WAYNE M ORMES & BRADLEY M ORMES TR                   WAYNE O SINGLETON CUST JASON W SINGLETON
WAYNE L TITZEL & FRANCES M TITZEL TRUST UA 06/09/93   WAYNE M ORMES REVOCABLE LIVING TRUST UA 01/16/98     A MINOR UNDER THE LAWS OF GEORGIA
110 COLUMBIA AVE                                      7588 S 250 E                                         105 COLE CT
GREENVILLE, PA 16125-1814                             MARKLEVILLE, IN 46056-9772                           WARNER ROBINS, GA 31088



WAYNE R RUSSELL                                       WAYNE REINKE                                         WAYNE STREILEIN
8515 173RD S                                          10096 SONORA DR                                      44 NEPTUNE ST
SPANAWAY, WA 98387                                    FENTON, MI 48430-9361                                BEVERLY, MA 01915-4751




WEBSTER CHAPMAN MERWIN                                WENDELKEN FAMILY LLC                                 WENDELL K GIBSON & IRIS VELMA GIBSON TR
A MINOR U/GUARDIANSHIP OF WILLIAM CHAPMAN MERWIN      ACCOUNT 1                                            WENDELL K GIBSON & IRIS VELMA GIBSON TRUST UA
P O DRAWER 2079                                       1700 CAMDEN WAY                                      6/26/97
PALATKA, FL 32178-2079                                OKLAHOMA CITY, OK 73116                              3981 HAMMOND BLVD
                                                                                                           HAMILTON, OH 45015-2135


WENDELL R BALDWIN                                     WENDY G SEGHI                                        WENDY J WEINBERG
& DONNA M BALDWIN TRUST WENDELL R BALDWIN &           PO BOX 566051                                        6520 ELGIN LANE
DONNA M BALDWIN                                       ATLANTA, GA 31156                                    BETHESDA, MD 20817-5400
1036 CLUBHOUSE DR
LAKE ISABELLA, MI 48893-9339
                   09-50026-mg              Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                          Part 8 of 8 Pg 424 of 440
WENDY JO EINHORN                                   WENDY REINER                                        WENDY SMITH
720 BALDWIN AVE                                    880 NE 69TH ST                                      PO BOX 167203
NORFOLK, VA 23517-1814                             APT 7F                                              OREGON, OH 43616-7203
                                                   MIAMI, FL 33138-5793



WENDY SOBEY & JAMES STRICK TR                      WENDY STEIN CUST ZACHARY TAYLOR STEIN UGMA NY       WENDY WEINSTEIN
WENDY SOBEY & JAMES STRICK REVOCABLE TRUST UA      51 SUMMER ST                                        1350 WOODLAND LN
04/29/97                                           NEW CANAAN, CT 06840                                RIVERWOODS, IL 60015-1972
7509 ALFRED DR
SILVER SPRING, MD 20910-5203


WERNER F SCHMIDT & SHEILA C SCHMIDT TR             WERNER HANF                                         WERNER HEINRICH JUNG
SCHMIDT FAMILY TRUST UA 11/04/91                   ARNDT STRASSE 33 A                                  SILVANER STR 9
30 OTIS WAY                                        D-65232 TAUNUSSTEIN                                 D-55129
LOS ALTOS, CA 94022-3119                           GERMANY                                             MAINZ
                                                                                                       D-55129 GERMANY


WERNER HUGO FREY                                   WERNER MARTIN                                       WERNER Z HIRSCH & HILDE E HIRSCH TR
SCHWARZWALDSTRASSE 24A                             BEHRBACH STR 5                                      WERNER Z HIRSCH & HILDE E HIRSCHFAMILY TRUST
D-65428 RUESSELSHEIM                               D-65510 IDSTEIN                                     11601 BELLAGIO RD
GERMANY                                            GERMANY                                             LOS ANGELES, CA 90049-2112



WESLEY CHARLES DALESIO                             WESLEY M FOSTER                                     WESLEY P LARNER & MARGARET L LARNER TR
2537 104TH CIRCLE                                  3312 MEINING RD                                     WESLEY P AND MARGARET L LARNER REV LIVING TRUST
WESTMINSTER, CO 80234-3507                         BERTHOUD, CO 80513-8521                             UA 04/27/98
                                                                                                       13104 SHARON RD
                                                                                                       ST CHARLES, MI 48655-8618


WESLEY P SAUTER CUST JAMES SAUTER                  WHITNEY G CRAIG                                     WILBERT H GRAFF & MARILYN L GRAFF TR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         1660 CASTILLIAN WAY                                 UA 03/12/93 WILBERT & MARILYN GRAFF TRUST
PO BOX 745                                         MUNDELEIN, IL 60060-4832                            2009 UPLAND DR
BLUFFTON, SC 29910-0745                                                                                FRANKLIN, TN 37067-4090



WILBERT J ROBERTSON & CAROLINE D ROBERTSON TR      WILBUR J BARTELL CUST RICHARD S BARTELL             WILBUR J KLEINTOP & LA RUE M KLEINTOP TEN ENT
ROBERTSON LIVING TRUST UA 02/22/96                 U/THE MONTANA UNIFORM GIFTS TO MINORS ACT           960 HIGHLAND AVE
7320 N HAMMOND                                     2206 PEBBLE CREEK DR                                BETHLEHEM, PA 18018-3331
OKLAHOMA CITY, OK 73132                            LISLE, IL 60532-1191



WILBUR MCMANN & ANN T MCMANN TR                    WILD WOMEN OF WALL ST INV CLUB DONNA RUSSELL--PRESIDENT
                                                                                                       WILDA
                                                                                                           FLONNIE
                                                                                                             M CIVAY & LINDA K LAMBERT & JOHN LAMBERT TR
WILBUR MCMANN & ANN T MCMANN REV LIV TRUST UA      SHAW--TREASURER                                     WILDA M CIVAY REVOCABLE LIVING TRUST UA 8/29/05
01/31/97                                           6868 SADDLE RUN WAY                                 2054 RANCHWOOD DR
7224 E CAROL AVE                                   GAINESVILLE, VA 20155-3026                          MANSFIELD, OH 44903-7218
MESA, AZ 85208-2089


WILFORD A MASON & BARBARA J MASON TR               WILFORD A MASON & BARBARA J MASON TR                WILFRED A HETZEL & NANCY J HETZEL TR
UA 07/24/2007 WILFORD & BARBARA MASON TRUST        UA 07/24/2007 WILFORD & BARBARA MASON TRUST         WILFRED A HETZEL TRUST UA 11/18/99
14254 S VERNON RD                                  14254 SOUTH VERNON ROAD                             2308 WILLOW SPRINGS RD
BYRON, MI 48418                                    BYRON, MI 48418                                     KOKOMO, IN 46902-4595



WILFRED A HILARIDES & RUTH L HILARIDES TR          WILFRED A HILARIDES & RUTH L HILARIDES TR           WILFRED B BRADLEY & MARY L BRADLEY TR
UA 07/30/2008 WILFRED & RUTH L HILARIDES           UA 07/30/2008 WILFRED A & RUTH L HILARIDES          WILFRED B BRADLEY & MARY L BRADLEY REV LIV TRUST
13151 TWELVE MILE RD                               13151 TWELVE MILE RD                                8013 KETCH COVE
WARREN, MI 48093                                   WARREN, MI 48093                                    FAIRHAVEN, MI 48023-1855
                   09-50026-mg          Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                           Part 8 of 8 Pg 425 of 440
WILFRED H DUGAN CUST JAMES W DUGAN                  WILFRED J CLOUM                                     WILFRED J MEIER CUST WILFRED JOHN MEIER
U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT          3915 E STEIN RD                                     U/THE PA UNIFORM GIFTS TO MINORS ACT
MONTROSE, MO 64770                                  LA SALLE, MI 48145-9645                             710 CRESTVIEW DR
                                                                                                        SHARPSVILLE, PA 16150-8332



WILFRID E RUMBLE JR TR                              WILHELMINA WILLIS-COLEMAN TOD ANDREA M JACKSON SUBJECT
                                                                                                       WILLTO
                                                                                                            A KENNEDY
                                                                                                              STA TOD CUST WILLIAM NICKERSON KENNEDY
CYNTHIA RUMBLE SUPPLEMENTAL NEEDS TRUST UA          RULES                                              U/THE MASS UNIFORM GIFTS TO MINORS ACT
03/18/02                                            4671 COUNTRY LN                                    100 LAUREL OAK DR
64 S GRAND AVE                                      APT 103                                            AIKEN, SC 29803-2685
POUGHKEEPSIE, NY 12603-2328                         CLEVELAND, OH 44128-5823


WILL ALLEN COURTNEY                                 WILL ALLEN COURTNEY & R W DECKER TR                 WILL ALLEN COURTNEY & R W DECKER TR
PO BOX 121488                                       UA 10/12/78 THE CYNTHIA SIEGEL TRUST                UA 10/12/78 THE Q P COURTNEY III TRUST
FORT WORTH, TX 76121-1488                           PO BOX 121488                                       PO BOX 121488
                                                    FORT WORTH, TX 76121-1488                           FORT WORTH, TX 76121-1488



WILL ALLEN COURTNEY TR UW OF ETHEL ALLEN COURTNEY   WILL ALLEN COURTNEY TR UW OF ETHEL ALLEN COURTNEY   WILLA MAE C TURNER CUST ROSE NANCY TURNER
PO BOX 121488                                       PO BOX 121488                                       U/THE FLA GIFTS TO MINORS ACT
FORT WORTH, TX 76121-1488                           FORT WORTH, TX 76121-1488                           C/O R HOPPER
                                                                                                        1824 KIMBERLY LANE
                                                                                                        INVERNESS, FL 34452-4408


WILLARD C REINKE                                    WILLARD C RICHART & LINDA RICHART TR                WILLARD E RIECK & MARY L RIECK TR
4401 HERTZ ROAD                                     WILLARD C & LINDA RICHART LIV TRUST UA 06/14/99     WILLARD E & MARY L RIECK LIVING TRUST UA 08/27/97
PORT HOPE, MI 48468-9715                            1783 FAIRVIEW CT                                    1408 E VAN BUREN ST
                                                    SALINE, MI 48176-8850                               COLORADO SPRINGS, CO 80907-6548



WILLARD F WHITING                                   WILLARD KRASKILL CUST RALPH KRASIK                  WILLARD R HOLLINGSWORTH JR TR
112 TOWNSHIP DR                                     U/THE PENNSYLVANIA UNIFORM GIFTS TO MINORS ACT      WILLARD R HOLLINGSWORTH LIVING TRUST UA 07/20/99
APT 2                                               10 STONEGATE VILLAGE DR                             4290 13TH WAY NE
UNIONTOWN, PA 15401-7100                            COLUMBUS, OH 43212-3270                             ST PETERSBURG, FL 33703-5318



WILLARD W OBACKA & MAXINE G OBACKA TR               WILLETTE D WOODARD                                  WILLI H BERGERMANN & THERESA M BERGERMANN TR
WILLARD & MAXINE G OBACKA REVOCABLE TRUST UA        PO BOX 510855                                       WILLI H BERGERMANN LIVING TRUST UA 04/28/93
02/29/00                                            LIVONIA, MI 48151-6855                              20085 W BALLANTYNE CT
4655 JUNIPER SADDLE DRIVE                                                                               GROSSE POINTE WOOD, MI 48236-2428
RENO, NV 89510-9121


WILLIAM A ARMSTRONG & JANET ARMSTRONG TR            WILLIAM A AZCONA                                    WILLIAM A BARANYAI & LORRAINE E BARANYAI TR
ARMSTRONG LIVING TRUST UA 04/17/96                  APT 18-E                                            BARANYAI LIVING TRUST UA 11/05/97
5204 IRVING NW                                      154-156 BROOME ST #18-E                             3156 ANGELUS DR
ALBUQUERQUE, NM 87114-4674                          NEW YORK, NY 10002                                  WATERFORD, MI 48329-2510



WILLIAM A CARLETON SR CUST ERIC A CARLETON          WILLIAM A CHAMPION & MARGARET A CHAMPION TR         WILLIAM A EGERT
U/THE INDIANA UNIFORM GIFTS TO MINORS ACT           UA 02/09/93 THE CHAMPION FAMILY TRUST               PO BOX 230399
3629 BRAEWICK DRIVE                                 22716 SHADOWGLEN DRIVE                              FAIRHAVEN, MI 48023-0399
CARMEL, IN 46033-3876                               FARMINGTON HILLS, MI 48335-3656



WILLIAM A ENGELHART CUST MARK ENGELHART             WILLIAM A GARDNER CUST LISETTE M GARDNER            WILLIAM A HALVICK
A MINOR UNDER THE LAWS OF THE STATE OF MICH         UNDER THE FLORIDA GIFTS TO MINORS ACT               C/O LINCOLN MNR
726 PARKMAN                                         9020 SCHANTZ RD                                     PO BOX 221650
BLOOMFIELD HILLS, MI 48304-2448                     BREINIGSVILLE, PA 18031-1814                        HOLLYWOOD, FL 33022-1650
                    09-50026-mg          Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
                                                        Part 8 of 8 Pg 426 of 440
WILLIAM A HEINDLE & BARBARA M HEINDLE JT TEN     WILLIAM A HEINE                                       WILLIAM A KAMMAN & BETTY JEAN KAMMAN TR
2536 COLLIER RD                                  1010 MURRAY HILL LN                                   HELEN RALL IRREVOCABLE TRUST UA 08/26/92
MANASQUAN, NJ 08736                              MEMPHIS, TN 38120-2674                                2020 KEHRSBORO DRIVE
                                                                                                       CHESTERFIELD, MO 63005-6513



WILLIAM A KEARNEY CUST PATRICIA M KEARNEY        WILLIAM A MC NALLY & CATHERINE F MC NALLY TR          WILLIAM A MORGAN TR
UNDER THE MASSACHUSETTS U-G-M-A                  UA 04/06/2010 MC NALLY FAMILY TRUST                   UA 02/10/2009 WILLIAM A MORGAN 1999 DECLARATION OF
2416 13TH COURT NORTH                            1491 AZTECA LOOP                                      TRUST
ARLINGTON, VA 22201-5872                         THE VILLAGES, FL 32162                                N1664 MICKEL ROAD
                                                                                                       LA CROSSE, WI 54601


WILLIAM A PERRY                                  WILLIAM A ROLON & NANCY L FITZ TR                     WILLIAM A SANDER III & HELEN C SANDER TR
PO BOX 421241                                    UA 11/29/2007 ROLON-FITZ FAMILY REVOCABLE TRUST       UA 01/13/09 SANDER LIVING TRUST
INDIANAPOLIS, IN 46242-1241                      2548 SWEETWATER RD                                    1649 SEIGNIOUS DRIVE
                                                 SPRING VALLEY, CA 91977                               CHARLESTON, SC 29407



WILLIAM A SCHEUBLEIN JR & EDNA F SCHEUBLEIN TR   WILLIAM A SCHNARS & BARBARA M SCHNARS TR              WILLIAM A SCOUMIS & MRS ESTELLE SCOUMIS JT TEN
WILLIAM A SCHEUBLEIN JR TR UA 2/20/76            UA SCHNARS REVOCABLE TRUST 12/02/88                   PO BOX 101161
13136 CAMINITO MAR VILLA                         5069 FLORENTINE CT                                    PITTSBURGH, PA 15237-8161
DEL MAR, CA 92014-3610                           SPRING HILL, FL 34608



WILLIAM A SLOSKY                                 WILLIAM A THERRIEN & CLARE E THERRIEN TR              WILLIAM ACKERMAN CUST MICHAEL SCOTT ACKERMAN
BOX 502961                                       WILLIAM A THERRIEN & CLARE E THERRIEN TRUST UA        U/THE N J UNIFORM GIFTS TO MINORS ACT
ST THOMAS                                        6/19/96                                               724 CEDAR GROVE RD
VIRGIN ISLANDS                                   4931 7TH ST E                                         BROOMALL, PA 19008-2219
805 VIRGIN ISLANDS OF THE USA                    BRADENTON, FL 34203-4613


WILLIAM ALLEN REINARTS                           WILLIAM ARTHUR ROANE & JOSEPH MAXWELL CAGLE & THEODORE
                                                                                                    WILLIAM
                                                                                                         E JUNG
                                                                                                            ARTHUR
                                                                                                                TR THOMAS
1885 RALPH SCHARMER DRIVE                        WILLIAM ARTHUR ROANE LAND TR UA                    PO BOX 812284
WINONA, MN 55987-2169                            PO BOX 1027                                        BOCA RATON, FL 33481-2284
                                                 GROVES, TX 77619-1027



WILLIAM B CARLSON & MARGARET A CARLSON TR        WILLIAM B CONKLIN & DOROTHY H CONKLIN TR              WILLIAM B DEUERLEIN & ELAINE A DEUERLEIN JT TEN
UA 03/31/94 THE CARLSON FAMILY REALTY TRUST      CONKLIN LIVING TRUST UA 05/04/99                      241 SANTA ROSA DR
32 PARK AVE CT APT 19                            21 MARVIN DR                                          WINTER HAVEN, FL 33884-3803
WEST SPRINGFIELD, MA 01089-3344                  KINGS PARK, NY 11754-4735



WILLIAM B DRAPER CUST MARNA PATRICE DRAPER       WILLIAM B DRAPER CUST WILLIAM B DRAPER 2ND            WILLIAM B FRANCEZ JR CUST STEPHEN EDWARD FRANCEZ
U/THE MICH UNIFORM GIFTS TO MINORS ACT           U/THE MICH UNIFORM GIFTS TO MINORS ACT                A MINOR U/THE LA GIFTS TO MINORS ACT
2361 LARNIE LANE                                 PO BOX #225                                           PO BOX 93043
INDIANAPOLIS, IN 46219-1406                      CUTLER, IN 46920-0225                                 LAFAYETTE, LA 70509-3043



WILLIAM B GAGE CUST WILLIAM B GAGE JR            WILLIAM B HENDRICKSON CUST GABRIEL STEVEN HENDRICKSON
                                                                                                    WILLIAM B KARPINSKI & ROSE D KARPINSKI TR
U/THE WISC UNIFORM GIFTS TO MINORS ACT           U/THE N Y UNIFORM GIFTS TO MINORS ACT              WILLIAM B KARPINSKI & ROSE D KARPINSKI
PO 220                                           520 RAVENAUX                                       341 COSTA MESA DR
WILLIAMS BAY, WI 53191-0220                      SOUTH LAKE, TX 76092-4313                          TOMS RIVER, NJ 08757-5768



WILLIAM B KING CUST DAVID LEE KING               WILLIAM B KIRKPATRICK CUST MISS ALICE B KIRKPATRICK   WILLIAM B MCCOY & JOANNE M HAUSSERMAN TR
UNDER THE FLORIDA GIFTS TO MINORS ACT            U/THE MAINE UNIFORM GIFTS TO MINORS ACT               THE JEAN HERRING FAMILY TR UA 7/1/70
3806 RIVERVIEW BOULEVARD                         72 HASTINGS ST                                        22 ALLEN ROAD
BRADENTON, FL 34205-2638                         PORTLAND, ME 04102-2045                               WELLESLEY MILLS, MA 02481-6727
                    09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                             Part 8 of 8 Pg 427 of 440
WILLIAM B MCCURDY & NANCY T MCCURDY TR                WILLIAM B MOSKOFF CUST ALISON BETH MOSKOFF           WILLIAM B SCHWARTZ & ANNA MAE SCHWARTZ TR
UA 03/31/94 MCCURDY FAMILY TRUST                      UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW       UA 12/04/06 WILLIAM B SCHWARTZ TRUST
68 LAGOS DEL NORTE                                    1027 SOUTH VINE ST                                   2156 PARK RIDGE DRIVE
FORT PIERCE, FL 34951-2870                            DENVER, CO 80209-4622                                BLOOMFIELD, MI 48304



WILLIAM B TRAUTWEIN TR                                WILLIAM B WEBSTER & IRENE P WEBSTER TR UA 08/20/92 TRUST
                                                                                                             WILLIAM
                                                                                                               # W-403BERKOWITZ CUST PERRY E BERKOWITZ
THE WILLIAM B TRAUTWEIN REVOCABLE LIVING TRUST UA     414 SOUTH WESLEY AVE                                   U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT
03/22/01                                              MOUNT MORRIS, IL 61054                                 175 RIVERSIDE DRIVE
2320 MELINDA DR                                                                                              NEW YORK, NY 10024-1616
ATLANTA, GA 30345-1915


WILLIAM BRITTON CUST MARC BRITTON                     WILLIAM C BILDSTEIN                                  WILLIAM C FEESER CUST SCOTT A FEESER
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            9033 CLARK RD                                        U/THE PA UNIFORM GIFTS TO MINORS ACT
3 WHITE PINE RD                                       CLARKSTON, MI 48346-1046                             5708 OAKSHIRE RD
UPPER SADDLE RIVER, NJ 07458-2223                                                                          BALTIMORE, MD 21209-4218



WILLIAM C HEWSON & VINA C HEWSON TR                   WILLIAM C HUFFMAN                                    WILLIAM C JOHNSON III & DONNALEA E SCHUSTER JOHNSON T
WILLIAM C & VINA HEWSON TRUST UA 06/21/96             9019 178TH ST                                        UA 01/28/92 M-B WILLIAM C JOHNSON
454 GREENBUSH RD                                      JAMAICA, NY 11432-5605                               9705 CRESCENT COUT
E GREENWICH, RI 02818-2042                                                                                 TECUMSCH, MI 49286



WILLIAM C JOHNSON III & DONNALEA E SCHUSTER JOHNSON TR
                                                     WILLIAM C LANE & BARBARA B LANE TR                    WILLIAM C MACLEAN JR & ELIZABETH K MACLEAN TR
UA 01/28/92 WILLIAM C JOHNSON III &                  WILLIAM C LANE REVOCABLE LIVING TRUST UA 05/08/97     WILLIAM C MACLEAN JR REVOCABLE TRUST UA 03/09/98
9705 CRESCENT CT                                     6639 ALTA DRIVE                                       1800 UPPER CHELSEA RD
TECUMSEH, MI 49286-9639                              BRIGHTON, MI 48116-6220                               COLUMBUS, OH 43212-1938



WILLIAM C MACNEILL & LETHA I MACNEILL TR              WILLIAM C MCCULLOUGH                                 WILLIAM C MILLER & ESTAIENE L MILLER TR
UA 01/28/2009 MACNEILL FAMILY TRUST                   BOX 767545                                           WILLIAM C & ESTAIENE L MILLER LIVING TRUST UA 11/22/94
17063 S E 80 LOCUSTWOOD CRT                           ROSWELL, GA 30076-7545                               492 WALK ABOUT WAY
THE VILLAGES, FL 32162                                                                                     PORT ANGELES, WA 98363



WILLIAM C MOORE                                       WILLIAM C MOSS & MICHELE S MOSS TR                   WILLIAM C SUSSMAN
05 692 576                                            WILLIAM C & MICHELE S MOSS TRUST UA 03/05/02         PO BOX 565175
BRYAN, OH 43506                                       312 HOBART AVE                                       MIAMI, FL 33256-5175
                                                      SAN MATEO, CA 94402-2931



WILLIAM C TREJO                                       WILLIAM C WALLINGTON                                 WILLIAM C WEYANDT JR & FLORA M WEYANDT TR
PO BOX 214792                                         2649 119TH ST                                        THE 2002 WEYANDT FAMILY LIVING TRUST UA 2/12/02
AUBURN HILLS, MI 48321-4792                           TOLEDO, OH 43611-2226                                2913 WALTON COURT
                                                                                                           PINOLE, CA 94564-1030



WILLIAM C WIGGENHORN & EMMER H WIGGENHORN TR          WILLIAM CIGANEK JR & NANCY A THOMSON TR              WILLIAM CLARKE LAWSON CUST WILLIAM CLARKE LAWSON JR
WIGGENHORN FAMILY REV LIVING TRUST UA 10/20/00        CIGANEK & THOMSON LIVING TRUST UA 09/21/90           PERS PROP LAW OF NY
5636 N RIVER RD                                       2156 GULLANY WAY                                     89 BROWN HILL RD
SPRINGFIELD, OH 45502-6326                            GILROY, CA 95020                                     BOW, NH 03304-5204



WILLIAM CLIFFORD JAMES TOD THOMAS MICHAEL JAMES SUBJECT
                                                    WILLIAM
                                                         TO STA
                                                             D BENZINGER
                                                                 TOD     & ARLENE B BENZINGER TR           WILLIAM D BENZINGER & ARLENE B BENZINGER TR
RULES                                               UA 09/26/06 BENZINGER TRUST                            UA 09/26/06 BENZINGER TRUST
PO BOX 230020                                       6026 E SAGUARO VISTA COURT                             6026 E SAGUARO VISTA COURT
SAINT LOUIS                                         CAVE CREEK, AZ 85331                                   CAVE CREEK, AZ 85331
ELGIN, IL 60123
                    09-50026-mg          Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
                                                         Part 8 of 8 Pg 428 of 440
WILLIAM D BOWERS CUST KAREN DERENE BOWERS         WILLIAM D EVENSON & ELAINE S EVENSON JT TEN               WILLIAM D GOETZE & MARILYN K GOETZE TR
U/THE S C UNIFORM GIFTS TO MINORS ACT             3792 140TH AVE                                            UA 06/09/94 THE GOETZE FAMILY TRUST
835 INDIGO AVE                                    HOLLAND, MI 49424-9456                                    166 LEWIS ST
CAYCE, SC 29033-4109                                                                                        EDGEWATER, FL 32141-7306



WILLIAM D GOSSETT                                 WILLIAM D LADD CUST STEPHEN B LADD                        WILLIAM D LEINDECKER
3200 104TH ST                                     U/THE PA UNIFORM GIFTS TO MINORS ACT                      4151 LUNAR DR
PLEASANT PRAIRIE, WI 53158-4023                   2757 ROLLING HILLS DRIVE                                  JANESVILLE, WI 53546-9694
                                                  MONROE, NC 28110-0426



WILLIAM D LENSON & EVELYN LENSON TR               WILLIAM D MCREYNOLDS & PHYLLIS J MCREYNOLDS TR            WILLIAM D MORGAN & MARGARET A MAHER TR
W & E LENSON REVOCABLE LIVING TRUST UA 03/01/82   MCREYNOLDS REVOCABLE LIVING TRUST UA 09/28/00             MAHER & MORGAN TRUST UA 05/23/05
1616 CAMBERWELL PL                                1922 SUNLIGHT DR                                          23 E FAIRMONT DRIVE
WESTLAKE VLG, CA 91361-1507                       LONGMONT, CO 80501-1972                                   TEMPE, AZ 85282-3628



WILLIAM D REINHOLD & MONICA J REINHOLD JT TEN     WILLIAM D SANBORN CUST                                    WILLIAM D SANBORN CUST
10690 GLENN CAIRN CT                              UNDER THE LAWS OF OREGON FOR MISS ANGELA LYNN             UNDER THE LAWS OF OREGON FOR NATHAN WILLIAM
FISHERS, IN 46037                                 SANBORN                                                   SANBORN
                                                  443 NE ROTH STREET                                        443 NE ROTH STREET
                                                  PORTLAND, OR 97211-1078                                   PORTLAND, OR 97211-1078


WILLIAM D THOMPSON                                WILLIAM D WITMER TR                                       WILLIAM DAVEY
1282 111TH AVE                                    WILLIAM D & RITA M WITMER 1999 LIVING TRUST UA 04/28/99   C/O DAVEY HEATING & A/C
MARTIN, MI 49070-9719                             12291 FREDERICKSBURG DR                                   4170 S 124TH STREET
                                                  SARATOGA, CA 95070-3842                                   GREENFIELD, WI 53228-1834



WILLIAM DAVID LITTLE                              WILLIAM DENNISON DUBLE CUST WILLIAM DOUGLAS DUBLE         WILLIAM E DEICHMAN & GERALDINE E DEICHMAN TR
PO BOX 472284                                     A MINOR PURS TO SECS 1339 /26 INCL OF THE REVISED         UA DEICHMAN FAMILY TRUST 08/19/91
CHARLOTTE, NC 28247-2284                          CODE OF OHIO                                              8459 LUXOR
                                                  3306 COLCHESTER ROAD                                      DOWNEY, CA 90241-5119
                                                  COLUMBUS, OH 43221-1306


WILLIAM E GANLEY                                  WILLIAM E GOODFELLOW & MARION P GOODFELLOW TR             WILLIAM E HOSKIN & GLENNA B HOSKIN TR
6135 184TH ST 1                                   WILLIAM & MARION GOODFELLOW TRUST UA 08/27/97             WILLIAM E HOSKIN & GLENNA B HOSKIN REV TRUST UA
FRESH MEADOWS, NY 11365-2116                      8066 20TH AVE                                             2/8/94
                                                  SEARS, MI 49679-8047                                      25333 126TH AVENUE SE
                                                                                                            KENT, WA 98031-6627


WILLIAM E KIMBLE CUST MARK KIMBLE                 WILLIAM E KLEIN                                           WILLIAM E KLEIN
U/THE ARIZONA UNIFORM GIFTS TO MINORS ACT         2360 CO RD 306                                            3945 TEE LAKE RD
2701 EAST KING STREET                             VICKERY, OH 43464-9733                                    LEWISTON, MI 49756-8505
TUCSON, AZ 85716-1049



WILLIAM E LOSSING CUST SUSAN LOSSING              WILLIAM E PHILPOTT CUST LEAH R PHILPOTT                   WILLIAM E REINBOLD
U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        U/THE OHIO UNIFORM GIFTS TO MINORS ACT                    178 HAMPTON LANE
17905 FOX POINTE                                  3303 SABAL COVE CIR                                       ARAB, AL 35016-4045
CLINTON TWP, MI 48038                             LONGBOAT KEY, FL 34228-4153



WILLIAM E SENDELBACH & MARILYN SENDELBACH TR      WILLIAM E STEINBACH                                       WILLIAM E STEINGASS & MARY K STEINGASS JT TEN
SENDELBACH LIVING TRUST UA 01/23/95               60 CLARENDON TERRACE                                      04697 DOMERSVILLE RD
3835 PLANTATION BLVD                              NEWINGTON, CT 06111-3608                                  DEFIANCE, OH 43512-9119
LEESBURG, FL 34748-7447
                    09-50026-mg             Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
                                                            Part 8 of 8 Pg 429 of 440
WILLIAM E THOMAS CUST LINDSEY MCCABE THOMAS UTMA FL WILLIAM E TINKLER & MARY ALICE TINKLER TR               WILLIAM E TIPPING JR & RUTH E TIPPING TR
PO BOX 813187                                       MARY ALICE TINKLER TRUST UA 9/10/98                     WILL E & RUTH E TIPPING REVOC JTTRUST UA 5/06/99
SMYRNA, GA 30081-8187                               16355 DEARBORN                                          5966 BRIGADOON WAY
                                                    STILWELL, KS 66085-9268                                 SARASOTA, FL 34233-3538



WILLIAM EPPELEIN & VELMA D EPPELEIN JT TEN           WILLIAM F BERTAGNI                                     WILLIAM F DEIBERT JR CUST PAMELA ANN DEIBERT
C/O MERCER                                           SUNGBUKDONG 15-30 SUNG BUK-KU                          U/THE PA UNIFORM GIFTS TO MINORS ACT
10690 EDDY DR                                        136-822 BRAZIL                                         4915 EAST TEXAS RD
HARRISON, OH 45030-8567                                                                                     ALLENTOWN, PA 18106-9433



WILLIAM F GLEASON & SHARON A GLEASON TR              WILLIAM F MELLOR & JO ANNE MELLOR TR                   WILLIAM F NOWINSKI & JOANNA B NOWINSKI TR
WILLIAM GLEASON & SHARON GLEASON TRUST UA 08/07/98   MELLOR FAM REVOCABLE TRUST UA 12/02/99                 W & J NOWINSKI FAMILY TRUST UA 02/16/01
1849 OXFORD                                          29352 TR 33                                            5220 MAGDALENA AVENUE
BERKLEY, MI 48072-1733                               WARWAW, OH 43844                                       ATASCADERO, CA 93422-4340



WILLIAM F ROGERS & MURIEL L ROGERS TR                WILLIAM F SCHNELLER & ELLEEN J SCHNELLER TR            WILLIAM F STELLING & HELEN J STELLING TR
ROGERS REVOCABLE LIVING TRUST UA 12/29/97            WILLIAM F & ELLEEN J SCHNELLER REVOCABLE               WILLIAM & HELEN STELLING REVOCABLE TRUST UA 09/03/98
465 EASTIN DRIVE                                     650 OCEAN VIEW RD                                      5800 RYAN DR
SONOMA, CA 95476-7646                                BRIELLE, NJ 08730-1221                                 OKLAHOMA CITY, OK 73135-4516



WILLIAM FANKHAUSER CUST ARTHUR LEE FANKHAUSER        WILLIAM G BEALE & BETTY JANE BEALE TR                  WILLIAM G CARRINGTON CUST NANCY JOAN LINES
U/THE N Y UNIFORM GIFTS TO MINORS ACT                UA 01/09/91 WILLIAM G BEALE & BETTY JANE BEALE TRUST   A MINOR U/P L 55 CHAP 139 OF THE LAWS OF NEW JERSEY
24 IMPERIAL PL                                       4411 NORTH VERONA CIRCLE                               33 EASTVIEW ROAD
MATAWAN, NJ 07747-1727                               ROYAL OAK, MI 48073-6327                               KEENE, NH 03431-4904



WILLIAM G DEILE & DORIS DEILE TR                     WILLIAM G HESSLER TR                                   WILLIAM G HOENIG CUST JANE M HOENIG
UA 02/24/94 WILLIAM G DEILE & DORIS DEILE            UA 03/22/93 WILLIAM G HESSLER REVOCABLE FAMILY         UNDER THE FLORIDA GIFTS TO MINORS ACT
303 THARP DR                                         TRUST                                                  10909 GRAPEVINE LN
MORAGA, CA 94556                                     626 NORTH VERNON                                       AUSTIN, TX 78759-5161
                                                     DEARBORN, MI 48128-1553


WILLIAM G JOHNSON & ANGELE L JOHNSON TR              WILLIAM G MURWIN & IVA M MURWIN TR                     WILLIAM G PROVINCE
JOHNSON FAMILY LIVING TRUST UA 8/01/00               WILLIAM G & IVA M MURWIN REV TRUST UA 5/23/00          922 216TH TERRACE
46636 FRANKS LANE                                    4534 SUMPTER DR                                        FT SCOTT, KS 66701-8736
SHELBY TOWNSHIP, MI 48315-5242                       MILTON, WI 53563-8829



WILLIAM G SWINGLE & ROSE M SWINGLE TR                WILLIAM GEORGE POLLARD & BETTY M POLLARD TR            WILLIAM GROSSMAN CUST BARRY GROSSMAN
UA 04/25/90 WILLIAM G SWINGLE & ROSE M SWINGLE       WILLIAM GEORGE POLLARD & BETTY M POLLARD TRUST UA      U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
FAMILY TRUST                                         04/14/97                                               76 RIVERWOOD ROAD
540 PERRY ST                                         720 LOUIS                                              LINCOLNSHIRE, IL 60069-3248
JACKSON, CA 95642-2525                               ROYAL OAK, MI 48067-4602


WILLIAM H ALVERSON CUST WALTER HALE ALVERSON         WILLIAM H BAILEY CUST WILLIAM H BAILEY JR              WILLIAM H BESKE & HELEN M BESKE TR
U/THE WIS UNIFORM GIFTS TO MINORS ACT                U/THE MD UNIFORM GIFTS TO MINORS ACT                   UA 10/02/90 THE BESKE FAMILY REVOCABLE
12932 N W SHORELAND DR                               3706 FORDHAM ROAD N W                                  4507 LAKE VISTA DR
MEQUON, WI 53097-2306                                WASHINGTON, DC 20016-1934                              SARASOTA, FL 34233-5018



WILLIAM H BURBANK & MARTHA G BURBANK TR              WILLIAM H CURLEY                                       WILLIAM H DENLER CUST WILLIAM J DENLER
UA 03/18/93 THE WILLIAM H BURBANK & MARTHA G         220 SWIFT RD                                           U/THE MICH UNIFORM GIFTS TO MINORS ACT
4296 COUNTRY CLUB DR                                 WHITINSVILLE, MA 01588-1374                            3 SHADY LN
SHELBY TWP, MI 48316-3900                                                                                   LARKSPUR, CA 94939-2151
                    09-50026-mg             Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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WILLIAM H DUFFNER & KATHLEEN DUFFNER TR            WILLIAM H FILE III CUST WILLIAM H FILE IV            WILLIAM H KENNEDY & DOROTHY M KENNEDY TR
THE DUFFNER 2002 TRUST UA 10/03/02                 UNDER THE WEST VIRGINIA GIFTS TO MINORS ACT          UA 02/19/92 KENNEDY FAMILY TRUST
28553 BURROUGH NORTH ROAD                          P O DRAWER L                                         4570 OCEAN BEACH BLVD APT 20
THOOLHOUSE, CA 93667-9727                          BECKLEY, WV 25802-2810                               COCOA BEACH, FL 32931-3683



WILLIAM H LELAND 2ND CUST GEORGE P LELAND          WILLIAM H LIEBLEIN                                   WILLIAM H MEYER & WIILIAM P MEYER TR
U/THE MASS UNIFORM GIFTS TO MINORS ACT             20710 PARKCLIFF DR                                   UA MEYER CHEVROLET PROFIT SHARING TR 05/17/63
2 CAPRON ST                                        FAIRVIEW PARK, OH 44126-2820                         BOX 147
UXBRIDGE, MA 01569-1530                                                                                 61 15 METROPOLITAN AVE
                                                                                                        MIDDLE VILLAGE, NY 11379-0147


WILLIAM H MEYER & WILLIAM P MEYER TR               WILLIAM H MITCHELL TR                                WILLIAM H NORMAN & EVELYN I NORMAN TR
MEYER CHEVEROLET PROFIT SHARING TR                 WILLIAM H MITCHELL REV TRUST AGREEMENT UA 10/22/02   UA 12/06/93 THE WILLIAM H AND EVELYN I NORMAN FAMILY
61-15 METROPOLITAN AVE                             1003 50TH AVE                                        TRUST
PO BOX 147                                         BRADENTON, FL 34207-2565                             6065 SAN PABLO DAM RD
MIDDLE VILLAGE, NY 11379-0147                                                                           EL SOBRANTE, CA 94803-3601


WILLIAM H OLDENBURG CUST RICHARD LEE OLDENBURG     WILLIAM H PRINSEN                                    WILLIAM H SCHLANKER CUST WILLIAM H SCHLANKER JR
U/THE IDAHO UNIFORM GIFTS TO MINORS ACT            7023 256TH STREET                                    U/THE MO UNIFORM GIFTS TO MINORS ACT
6825 RAINIER AVE                                   WYOMING, MN 55092-8375                               55 BAY FOREST DRIVE
GIG HARBOR, WA 98335-1920                                                                               OAKLAND, CA 94611-1052



WILLIAM H SMART & LILLIAN M SMART TR               WILLIAM H SMITH & CAROL L O'MEARA JT TEN             WILLIAM H STEINMETZ
UA 02/24/2009 WILLIAM H & LILLIAN M SMART          1105 E MEINECKE AVE                                  410 HIGHLAND AVE
21229 E GLEN HAVEN CIRCLE                          MILWAUKEE, WI 53212-3511                             COLLINGSWOOD, NJ 08108-1311
NORTHVILLE, MI 48167



WILLIAM H SULLIVAN TR                              WILLIAM H SULLIVAN TR                                WILLIAM HAAB
UA 08/07/2008 SUB-TRUST B OF THE SULLIVAN FAMILY   UA 11/26/1991 SUB-TRUST A OF THE SULLIVAN FAMILY     BOX 277 312 N MAIN STREET
TRUST                                              TRUST                                                MILFORD, IN 46542-0277
PO BOX 1015                                        PO BOX 1015
211 PROSPECT ST                                    211 PROSPECT ST
LISBON, ND 58054-4051                              LISBON, ND 58054-4051

WILLIAM HARPST                                     WILLIAM HEINBACH                                     WILLIAM HELLER CUST RICHARD D HELLER
ATTN HARPST HEATING & A/C                          79 STEPHENVILLE PKWY                                 U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT
565 SALEM RD                                       EDISON, NJ 08820                                     515 SUSAN LANE
HADLEY, PA 16130-1627                                                                                   DEERFIELD, IL 60015-3950



WILLIAM HENRY SATTERFIELD                          WILLIAM I CORKLE & VIOLET S CORKLE TR                WILLIAM J AHEARN CUST GRANT K AHEARN
PO BOX 250654                                      WILLIAM I & VIOLET SCHWARTZ CORKLE REVOCABLE         U/THE OHIO UNIFORM GIFTS TO MINORS ACT
FRANKLIN, MI 48025-0654                            1118 SOUTH OAK HILLS WAY                             1606 ESPINOSA CIRCLE
                                                   SALT LAKE CITY, UT 84108-2026                        PALOS VERDES ESTS, CA 90274-1920



WILLIAM J BILTGEN SR & THERESE M BILTGEN TR        WILLIAM J BRIETZKE & MARGUERITE L BRIETZKE TR        WILLIAM J BURDETTE TR
BILTGEN FAM TRUST UA 04/15/96                      BRIETZKE LIVING TRUST UA 01/28/00                    UA 04/18/2006 WILLIAM J BURDETTE GST EXEMPT TRUST
17963 MIRASOL DR                                   4621 COLE RD                                         239 CHIMNEY ROCK ROAD
SAN DIEGO, CA 92128-1220                           HEMLOCK, NY 14466-9633                               HOUSTON, TX 77024



WILLIAM J BURNS CUST MARGARET R BURNS              WILLIAM J CHAPMAN & MARY ANN CHAPMAN TR              WILLIAM J COLLINS JR CUST LYDIA K COLLINS
U/THE ILLINOIS UNIFORM GIFTS TO MINORS ACT         WILLIAM J & MARY ANN CHAPMAN REV LIV TRUST UA        UNDER THE PENNSYLVANIA U-G-M-A
2900 LINCOLN AVE APT 208                           08/09/00                                             5275 WOLF RD
NORTH RIVERSIDE, IL 60546-1690                     23654 WHITLEY DR                                     ERIE, PA 16505-1354
                                                   CLINTON TWP, MI 48035-4637
                    09-50026-mg             Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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WILLIAM J COMENSKY JR & JOAN M COMENSKY TR          WILLIAM J CSONGRADI                                WILLIAM J DAWSON CUST EDITH ELIZABETH DAWSON A MINOR
WILLIAM J COMENSKY JR REVOCABLE TRUST UA 04/29/94   PO BOX 390981                                      STATE OF MICHIGAN
PO BOX 1030                                         DELTONA, FL 32739-0981                             ATTN ELISABETH D MCINTIRE
JUPITER, FL 33468-1030                                                                                 5100 THOMPSON LANE
                                                                                                       DELAWARE, OH 43015-9510


WILLIAM J DUTKA & FRANCES DUTKA JT TEN              WILLIAM J ELBERT CUST ROBERT ELBERT                WILLIAM J GALLAGHER & ELIZABETH A GALLAGHER TR
301-2680 PORTAGE AVE                                U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         WILLIAM J & ELIZABETH A GALLAGHER JT TRUST UA 03/12/03
WINNIPEG MB                                         8033 SW 166TH PL                                   16617 AVON RD
R3J 0R1 CANADA                                      ALOHA, OR 97007-5840                               DETROIT, MI 48219-4118



WILLIAM J GAROFOLO & MARIE R GAROFOLO TR            WILLIAM J GENTLEMAN & KATHLEEN L GENTLEMAN TR      WILLIAM J HANNAN CUST WILLIAM J HANNAN JR
UA 12/15/2006 GAROFOLO FAMILY REVOCABLE TRUST       UA 12/12/86 WILLIAM J GENTLEMAN JR                 U/THE MINN UNIFORM GIFTS TO MINORS ACT
8325 EXCALIBUR CIRCLE UNIT O1                       8601 BLUE RIDGE                                    7819 HAMPSHIRE CIRCLE NO
NAPLES, FL 34108                                    HICKORY HILLS, IL 60457-1017                       BROOKLYN PARK, MN 55445-2737



WILLIAM J HAYDEN & VIRGINIA M HAYDEN TR             WILLIAM J HOLTZ CUST ALAN D HOLTZ                  WILLIAM J JACOBER CUST MARGARET ANN JACOBER
HAYDEN FAMILY TRUST UA 03/08/02                     U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT         U/THE S C UNIFORM GIFTS TO MINORS ACT
204-40TH ST SW                                      5 HUNTINGTON RD                                    120 MILL POND CT
CANTON, OH 44706-4831                               LIVINGSTON, NJ 07039-5111                          SUMMERVILLE, SC 29485-5244



WILLIAM J JOHNSTONE & RUTH A JOHNSTONE TR           WILLIAM J KEMP & MARGARET M KEMP TR                WILLIAM J KLEIN
WILLIAM J & RUTH A JOHNSTONE REVOCABLE              WILLIAM J MARGARET M KEMP TRUST UA 11/01/00        2920 E BURT RD
29622 SHERRY                                        3774 DEWBERRY LANE                                 BURT, MI 48417-9793
MADISON HTS, MI 48071-4430                          SAINT JAMES CITY, FL 33956-2288



WILLIAM J LEVY CUST ALAINA MICHELLE NAAB LEVY       WILLIAM J MANGINO & JEANNE C MANGINO TR            WILLIAM J MEDLING
UNDER UNIFORM GIFT TO MINOR                         UA 12/21/87 WILLIAM J MANGINO & JEANNE C MANGINO   3402 KLEINPELL
7721 DESDEMONA COURT                                615 MISSION HILL ROAD                              FLINT, MI 48507-2158
MCLEAN, VA 22102-2718                               BOYNTON BEACH, FL 33435-8604



WILLIAM J MEINEL                                    WILLIAM J REINHART                                 WILLIAM J SCHUSTER & JOYCE M SCHUSTER TR
536 E RACINE ST                                     531 WILLARD AVE NE                                 UA SCHUSTER FAMILY TRUST 08/04/88
JEFFERSON, WI 53549-2183                            WARREN, OH 44483-5533                              6493 SAVOY CIRCLE
                                                                                                       BUENA PARK, CA 90621-2614



WILLIAM J STEIN                                     WILLIAM J TOPPIN & JANET R TOPPIN TR               WILLIAM J TRICOLI & CAROLYN M TRICOLI JT TEN
154 LAKE MERYL DR #157                              UA 07/06/94 THE TOPPIN FAMILY TRUST                PO BOX 952080
WEST PALM BCH, FL 33411                             15061 FORD RD APT 213                              LAKE MARY, FL 32795
                                                    DEARBORN, MI 48126



WILLIAM J WHITING                                   WILLIAM J WIRTHMAN                                 WILLIAM J WORKMAN TR
152 EUSTON RD                                       PO BOX 775                                         WILLIAM J WORKMAN & EILEEN F WORKMAN TRUST UA
GARDEN CITY, NY 11530-1237                          MUNDELEIN, IL 60060-0775                           08/16/94
                                                                                                       6498 STORK ST
                                                                                                       VENTURA, CA 93003-6212


WILLIAM J ZIEMBA & KATHY ZIEMBA TR                  WILLIAM JERRY WILMS & FLORENCE MAE WILMS TR        WILLIAM JOHN JACOBER CUST WILLIAM JOHN JACOBER JR
WILLIAM J ZIEMBA LIVING TRUST UA 03/13/04           WILMS FAM REVOCABLE LIVING TRUSTUA 06/24/97        U/THE S C UNIFORM GIFTS TO MINORS ACT
23 CARTER                                           9 S 210 ROSEHILL LN                                120 MILL POND CT
TROY, MI 48098-4608                                 DOWNERS GROVE, IL 60516                            SUMMERVILLE, SC 29485-5244
                    09-50026-mg            Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                           Part 8 of 8 Pg 432 of 440
WILLIAM JOSEPH GROCHOLA & REBECCA LEE GROCHOLA TR WILLIAM K CORDES & ELIZABETH A CORDES TR               WILLIAM K ENGLISH & NINA R ENGLISH TR
UA 07/10/2007 GROCHOLA FAM TRUST                  WILLIAM K & ELIZABETH A CORDES LIVING TRUST UA         UA 01/06/93 THE WILLIAM K ENGLISH & NINA R
5970 W FILLY DR                                   07/08/97                                               17702 S PLACITA DEL MAGO
TUCSON, AZ 85743                                  150 KITCHEN PL                                         SAHUARITA, AZ 85629-9145
                                                  MARTINSVILLE, IN 46151-1365


WILLIAM K HANGER                                    WILLIAM K NEAL CUST WILLIAM PHILLIP NEAL             WILLIAM KLEIN CUST JENNIFER KLEIN UTMA CO
& ELAINE A HANGER & WILLIAM K HANGER JR & GARY R    U/THE TENN UNIFORM GIFTS TO MINORS ACT               392 DEFRAME CT
HANGER &                                            2564 BEEN GREEN RD                                   GOLDEN, CO 80401-5228
9557 E PRINCESS DR                                  LEBANON, TN 37087
MESA, AZ 85207-2607


WILLIAM KRAVEC CUST CYNTHIA VALLEN KRAVEC           WILLIAM L AXELROD TR                                 WILLIAM L CALHOUN & WILLIAM M CALHOUN TR
U/THE N J UNIFORM GIFTS TO MINORS ACT               REVOCABLE TRUST 05/04/89 U-A WILLIAM L AXELROD M-B   WILLIAM L CALHOUN FAMILY TRUST UA 10/25/02
1006 COOLIDGE ST                                    WILLIAM L AXELROD                                    2033 WYNDHAM HILLS DR
WESTFIELD, NJ 07090-1215                            24641 W CALLE LARGO                                  HOLT, MI 48842-1097
                                                    CALABASAS, CA 91302-3011


WILLIAM L COKELEY & F MADELINE COKELEY JT TEN       WILLIAM L DENISTON & MARJORIE F DENISTON TR          WILLIAM L DESPORTES CUST RICHARD S DESPORTES 4TH
4150 223RD PL SE                                    WILLIAM L DENISTON & MARJORIE F DENISTON TRUST UA    A MINOR U/THE LAWS OF GEORGIA
ISSAQUAH, WA 98029-9272                             6/24/94                                              PO BOX 933
                                                    14119 VILLAGE 14                                     FORTSON, GA 31808-0933
                                                    CAMARILLO, CA 93012-7013


WILLIAM L GERMER & CLAUDINE M GERMER TR             WILLIAM L GREEN                                      WILLIAM L JAMES & DOLORES M JAMES TR
GERMER LIVING TRUST UA 06/03/97                     PO BOX 135906                                        UA 5/29/92 THE WILLIAM & DOLORESJAMES
N4554 LAKEVIEW RD                                   CLERMONT, FL 34713                                   4042 MORRELL UNIT B
HUSTISFORD, WI 53034-9715                                                                                SAN DIEGO, CA 92109-6239



WILLIAM L KLEIN                                     WILLIAM L MERRYMAN & JACQUELINE M MERRYMAN TR        WILLIAM L MOINETTE JR & CECELIA A MOINETTE TR
2800 CIDER LANE                                     MERRYMAN FAMILY TRUST UA 06/29/06                    WILLIAM L JR & CECELIA A MOINETTE REV TRUST UA
APT H                                               852 DANFORTH COURT                                   07/29/99
MAINVILLE, OH 45039-9351                            THE VILLAGES, FL 32162-6657                          10400 NEWCOMER RD
                                                                                                         RITTMAN, OH 44270-9604


WILLIAM L NEWMAN CUST DIANE ADELLE NEWMAN           WILLIAM L NEWMAN CUST WILLIAM L NEWMAN 2ND           WILLIAM L OWENS & MARJORIE R OWENS TR
U/THE OKLA UNIFORM GIFTS TO MINORS ACT              U/THE OKLA UNIFORM GIFTS TO MINORS ACT               UA 06/29/93 WILLIAM L OWENS REVOCABLE TRUST
4915 NIMITZ                                         4915 NIMITZ                                          9 OWENS WAY
OKLAHOMA CITY, OK 73112-6064                        OKLAHOMA CITY, OK 73112-6064                         MOULTONBORO, NH 03254-4762



WILLIAM L REED & JANICE R REED TR                   WILLIAM L SCHEIBER & PENELOPE A SCHEIBER TR          WILLIAM L SCHEIBER & PENELOPE A SCHEIBER TR
WILLIAM L REED & JANICE R REED REVOCABLE            WILLIAM L SCHEIBER & PENELOPE A SCHEIBER TRUST       WILLIAM L SCHEIBER & PENELOPE A SCHEIBER TRUST UA
11126 HEARTHSIDE DR                                 15851 GRISWOLD RD                                    6/27/02
PINCKNEY, MI 48169-8745                             MANITOU BEACH, MI 49253-9706                         15851 GRISWOLD RD
                                                                                                         MANITOU BEACH, MI 49253-9706


WILLIAM L SCHRADER & ALICE SCHRADER TR              WILLIAM L STEIN SR                                   WILLIAM L STEINER
SCHRADER FAMILY TRUST UA 06/15/05                   464 MEADOWBROOK AVE SE                               5446 E 5TH ST
11 CAPTAIN LANE                                     WARREN, OH 44483-6331                                AU GRES, MI 48703-9577
SALEM SOUTH, SC 29676-4228



WILLIAM L THOMPSON CUST WILLIAM LEE THOMPSON        WILLIAM L WALTERS CUST GERALD L WALTERS              WILLIAM LEE SAVIDGE & JEFFREY OWEN PUTTERMAN TR
UNDER THE MISSOURI UNIFORM GIFTS TO MINORS LAW      U/THE WISC UNIFORM GIFTS TO MINORS ACT               ANN M SAVIDGE LIFE INSURANCE TRUST UA 09/17/82
10036 S 89TH E AVE                                  11164 PERGOLA POINT CT                               1273 NORTHAND RD
TULSA, OK 74133-5800                                LAS VEGAS, NV 89144-1625                             DELTAVILLE, VA 23043-9608
                    09-50026-mg             Doc 7123-50       Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
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WILLIAM LINDEN CUST STEPHEN LINDEN                    WILLIAM LINO GARCIA & WILLIAM M GARCIA & LINO M GARCIA JTWILLIAM
                                                                                                                 TEN LLOYD WAGGENER & LEE ELLEN WAGGENER TR
A MINOR UNDER THE CALIF GIFTS OF SEC TO MINORS ACT    PO BOX 388253                                            UA 05/03/89 WILLIAM LLOYD WAGGENER & LEE ELLEN
1650 WAVERLY RD                                       CHICAGO, IL 60638-8253                                   WAGGENER
SAN MARINO, CA 91108-2038                                                                                      1631 OXFORD
                                                                                                               CLAREMONT, CA 91711-3464


WILLIAM LOOK FREDERICK LOOK BERNARD LOOK & HOWARD LOOK
                                                   WILLIAM
                                                        TR LOPEZ                                           WILLIAM M BETTS III & MARY JANE BETTS TR
WM LOOK & SONS INC EMPLOYEES PROF SHAR PLAN UA     3535 PEACHTREE RD NE                                    WILLIAM M AND MARY JANE BETTS TRUST UA 1/28/97
10/20/72                                           # 520-114                                               27 SOTELO AVENUE
200 NEWMAN ST E                                    ATLANTA, GA 30326-3287                                  PIEDMONT, CA 94611-3534
TAWAS, MI 48730-1212


WILLIAM M DUNCAN CUST PAUL D DUNCAN                   WILLIAM M EVANS & WALTER S GOMMERMANN TR             WILLIAM M GORDON & LORRAINE C GORDON TR
U/THE VIRGINIA UNIFORM GIFTS TO MINORS ACT            UA 03/16/2007 WILLIAM M EVANS LIVING TRUST           WILLIAM M GORDON & LORRAINE C GORDON REV TRUST UA
282 N LEWIS STREET                                    1505 BUTTS AVE                                       02/01/96
STAUNTON, VA 24401-3347                               TOMAH, WI 54660                                      1839 E CONCORDA DR
                                                                                                           TEMPE, AZ 85282-2806


WILLIAM M KRONE CUST ROGER ALAN KRONE                 WILLIAM M LEACH JR CUST WILLIAM M LEACH 3RD          WILLIAM M LYON CUST JAMES THOMAS LYON
U/THE PA UNIFORM GIFTS TO MINORS ACT                  U/THE ILL UNIFORM GIFTS TO MINORS ACT                U/THE OHIO UNIFORM GIFTS TO MINORS ACT
3015 EDMONDS RD                                       701 HAMILTON DR                                      34805 SEMINOLE WAY
LAFAYETTE HILL, PA 19444-2001                         CHAMPAIGN, IL 61820-6811                             SOLON, OH 44139-5839



WILLIAM M MILLAR CUST WILLIAM S MILLAR                WILLIAM M REINHARDT                                  WILLIAM M ROTHFUSS JR & CAROLE C ROTHFUSS TR
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          BOX 9067                                             WILLIAM M ROTHFUSS JR REVOCABLE TRUST UA 2/12/99
133 DIVISION AVE                                      CHANDLER HEIGHTS, AZ 85227-9067                      599 SHARON LANE
SUMMIT, NJ 07901-3050                                                                                      HAMILTON, OH 45013-3705



WILLIAM M SCHIRALDI & BARBARA J SCHIRALDI TR          WILLIAM M STEIN JR                                   WILLIAM M STEINER
WILLIAM M SCHIRALDI & BARBARA J SCHIRALDI FAM TRUST   208-D CEDAR LANE                                     700 ARROUES DR
UA 3/9/90                                             HIGHLAND PARK, NJ 08904-6012                         FULLERTON, CA 92835-1925
31 ROOSEVELT AVE
GLEN HEAD, NY 11545-1529


WILLIAM M STEINER & ANNE M STEINER JT TEN             WILLIAM M STEINWAY                                   WILLIAM M THOMAS & VIRGINIA M THOMAS TR
700 ARROUES DR                                        5707 KENSINGTON BLVD                                 THOMAS LIVING TRUST UA 10/03/95
FULLERTON, CA 92835-1925                              PLAINFIELD, IN 46168-7552                            210 N IVY STREET PO BOX 446
                                                                                                           ELMWOOD, IL 61529-0446



WILLIAM M WORK & MARY-FRANCES WORK TR                 WILLIAM MCCONNELL                                    WILLIAM MCINTOSH & ELEANOR R MCINTOSH TR
UA 10/18/93 WILLIAM M WORK REVOCABLE TRUST            2857 160TH R AVE SE                                  THE MCINTOSH FAMILY TRUST UA 07/29/93
2208 HAPPY HOLLOW ROAD                                CASSELTON, ND 58012-9721                             1430 PARKHAVEN ROW
WEST LAFAYETTE, IN 47906-1707                                                                              LAKEWOOD, OH 44107-4506



WILLIAM MILLIGAN & JANE MILLIGAN JT TEN               WILLIAM MOUNTJOY MC GINNIS TR                        WILLIAM N HOSTERT & ELIZABETH B HOSTERT TR
PO BOX 1                                              UA 08/12/73 WILLIAM MOUNTJOY MCGINNIS AND BETTY MC   UA HOSTERT FAMILY TRUST 10/29/92
WHITINSVILLE, MA 01588-0001                           GINNIS                                               6833 E GELDING DR
                                                      426 ANDOVER DRIVE                                    SCOTTSDALE, AZ 85254-3466
                                                      LEXINGTON, KY 40502-2537


WILLIAM N OKAN-MENSAH                                 WILLIAM N PEARSON & F JANE PEARSON TR                WILLIAM N VON DER LEHR TR
PO BOX 214531                                         UA 10/01/1997 WILLIAM N PEARSON LIVING TRUST         WILLIAM N VON DER LEHR REVOCABLE TRUST UA 02/25/97
AUBURN HILLS, MI 48321-4531                           20 SUNBURST CIRCLE                                   909 SANTA ROSA BLVD #461
                                                      FAIRPORT, NY 14450                                   FT WALTON BEACH, FL 32548-5914
                     09-50026-mg           Doc 7123-50      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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WILLIAM N WAGNER                                    WILLIAM O BOLINGER & MARY LOU BOLINGER TR            WILLIAM O BRANCH CUST DONNA BRANCH
1 REINHARDT LN                                      WILLIAM O & MARY LOU BOLINGER REVOC LIVING           UNDER THE FLORIDAGIFTS TO MINORS ACT
PALM COAST, FL 32164                                12000 N 90TH ST UNIT 1088                            ATTN DONNA BRANCH STEARNS
                                                    SCOTTSDALE, AZ 85260-8638                            2600 KING LOUIS RD
                                                                                                         CONYERS, GA 30012-2600


WILLIAM O IONATA CUST PAUL R IONATA                 WILLIAM O JEHLE & EDNA E JEHLE TR                    WILLIAM O TURNBULL
U/THE RHODE ISLAND UNIFORM GIFTS TO MINORS ACT      WILLIAM & EDNA JEHLE REV TRUST UA 9/5/97             46143 290TH AVE
77 CIRCUIT DRIVE                                    35700 HUNTER AVE                                     GRIGGSVILLE, IL 62340-2407
WARWICK, RI 02889-1203                              APT 222
                                                    WESTLAND, MI 48185-6667


WILLIAM O TURNER                                    WILLIAM OGUL                                         WILLIAM P BOWLER
7801 108TH AVE NE                                   PO BOX 250573                                        PO BOX 321224
NORMAN, OK 73026-9760                               FRANKLIN, MI 48025-0573                              COCOA BEACH, FL 32932-1224




WILLIAM P HEINTSKILL                                WILLIAM P KING JR & DOROTHY C KING TR                WILLIAM P KUKAL
2001 28TH ST                                        WILLIAM P KING JR AND DOROTHY C KING TRUST UA        & WILLIAM S KUKAL & JEFFREY B KUKAL & DORENE S KUKAL
BAY CITY, MI 48708-8109                             12/23/02                                             JT TEN
                                                    23000 INKSTER RD                                     4537 SE 10TH PLACE
                                                    SOUTHFIELD, MI 48033-3458                            CAPE CORAL, FL 33904-8610


WILLIAM P MILLER & RUTH A MILLER TR                 WILLIAM P MILLS & ERIN O MILLS TR                    WILLIAM P NADROWSKI
UA 01/15/2002 WILLIAM PATRICK MILLER & RUTH A       THE WM P MILLS & ERIN O MILLS TRUST UA 12/11/96      13097 STEINER RD
135 GOLD PAN COURT                                  717 HOPKINS ST                                       AKRON, NY 14001-9512
JACKSON, CA 95642                                   TEMPLETON, CA 93465-4519



WILLIAM P SCHERER 3RD CUST BARBARA ANN SCHERER      WILLIAM P SNYDER                                     WILLIAM PAT SCHEUERMANN CUST ROGER S SCHEUERMANN
U/THE N Y UNIFORM GIFTS TO MINORS ACT               16608 150TH AVE                                      A MINOR U/THE LA GIFTS TO MINORS ACT
2649 NE 37TH DRIVE                                  LEROY, MI 49655                                      1102 CLEVELAND ST
FT LAUDERDALE, FL 33308-6324                                                                             FRANKLINTON, LA 70438-2006



WILLIAM PECNIK & VIRGINIA A PECNIK TR               WILLIAM PRINCE MCLEMORE SR TR                        WILLIAM PULLICIN & DONNA PULLICIN TR
WILLIAM & VIRGINIA A PECNIK REV TRUST UA 03/22/00   UA 02/21/91 WILLIAM PRINCE MCLEMORE SR TRUST         PULLICIN FAMILY LIVING TRUST UA 11/15/05
7181 SOWUL DR                                       8767 GRANDBURY PLACE                                 6547 WILLOW RD
PAINESVILLE, OH 44077-2246                          CORDOVA, TN 38018-5233                               WEST BLOOMFIELD, MI 48324-2053



WILLIAM Q SABATINI CUST QUINN A SABATINI            WILLIAM R BRENDEL & JOYCE E BRENDEL TR               WILLIAM R CHRISTY & HELEN L CHRISTY TR
A MINOR UNDER THE LAWS OF GEORGIA                   WILLIAM R BRENDEL & JOYCE E BRENDEL LIV TRUST UA     UA 10/17/91 WILLIAM R CHRISTY & HELEN L CHRISTY TRUST
8306 CALLE PICAFLOR NW                              07/24/01                                             2373 LOMA PARK CT
ALBURQUERQUE, NM 87120-3104                         2255 HILL RD                                         SAN JOSE, CA 95124-1132
                                                    WHITE LAKE, MI 48383-2228


WILLIAM R COLEMAN                                   WILLIAM R CRAFTS & DANIEL S CRAFTS TR                WILLIAM R DERRICK CUST D JOHANNA DERRICK
19815 REINHART AVE                                  WILLIAM R & SHEILAH F CRAFTS FAM TRUST UA 10/16/91   U/THE UTAH UNIFORM GIFTS TO MINORS ACT
CARSON, CA 90746-2332                               50 RUBY AVE 312                                      2612 BONNIE CT
                                                    EUGENE, OR 97404                                     MISSOULA, MT 59803-2543



WILLIAM R DERRICK CUST SUZANNE V DERRICK            WILLIAM R DEWITT & SELBY H DEWITT TR                 WILLIAM R GOWER CUST MEGAN D GOWER
U/THE UTAH UNIFORM GIFTS TO MINORS ACT              UA 06/03/2009 WILLIAM & SELBY DEWITT LIVING          U/THE DELAWARE UNIFORM GIFTS TO MINORS ACT
4240 DUNCAN DR                                      787 HONEY RIDGE RD                                   1009 PAR 4 CIRCLE
MISSOULA, MT 59802-3288                             GUYTON, GA 31312                                     KALAMAZOO, MI 49008-2915
                   09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                             Part 8 of 8 Pg 435 of 440
WILLIAM R HEIDELBERG & PATRICIA D HEIDELBERG TR       WILLIAM R HENRY & DORIS A HENRY TR                   WILLIAM R JOHNSTON CUST JOHN E JOHNSTON
UA 08/11/93 HEIDELBERG FAMILY TRUST                   WILLIAM R HENRY & DORIS A HENRY TRUST UA 12/7/99     U/THE TENN UNIFORM GIFTS TO MINORS ACT
2420 PINELLAS DR                                      12270 CORTE SABIO UNIT 6206                          907 HIGHLAND AVE
HARBOUR HGTS, FL 33983-3116                           SANDIEGO, CA 92128-4589                              HENDERSONVILLE, NC 28792-3734



WILLIAM R KELLER TR                                   WILLIAM R LEEPER & JOAN M LEEPER TR                  WILLIAM R MC NUTT JR
UA 06/06/86 WILLIAM R KELLER REVOCABLE LIVING TRUST   LEEPER FAMILY LIVING TRUST UA 06/21/00               PO BOX 680804
43158 NAPA DR                                         10330 W THUNDERBIRD BLVD                             FORT PAYNE, AL 35968-1609
STERLING HEIGHTS, MI 48314-1934                       APT A227
                                                      SUN CITY, AZ 85351-6007


WILLIAM R MERTENS CUST WILLIAM S MERTENS              WILLIAM R MITCHELL                                   WILLIAM R STARRETT & FRANCES E STARRETT TR
A MINOR U/P L 55 CHAPTER 139 OF THE LAWS OF NEW       815 216TH SW                                         UA 08/08/94 THE STARRETT FAM REVLIV TR
JERSEY                                                BOTHELL, WA 98021-8181                               9169 LITTLE MOUNTAIN RD
806 TWIN OAK TER                                                                                           MENTOR, OH 44060-7910
TANNERSVILLE, PA 18372-9126


WILLIAM R STEINDL                                     WILLIAM R STEPHENSON JR & LELIA L STEPHENSON TR      WILLIAM R SUHRHEINRICH
827 S TOLLEFSON RD                                    STEPHENSON FAMILY TRUST UA 06/15/04                  22330 BON HEUR
BRODHEAD, WI 53520-9723                               PO BOX 882                                           ST CLR SHORES, MI 48081
                                                      MEADOW VISTA, CA 95722-0882



WILLIAM R WATSON & ANNA MAE WATSON TR                 WILLIAM R WEBER & ETHEL E WEBER TR                   WILLIAM R ZIMMERMAN
UA 01/18/85 M-B WILLIAM R WATSON & ANNA MAE WATSON    WILLIAM R WEBER LIVING TR UA 5/27/99                 PO BOX 762015
1237 LAKE VALLEY DRIVE                                103 ROYAL OAK DR #106                                SAN ANTONIO, TX 78245
FENTON, MI 48430-1209                                 VERO BEACH, FL 32962-3745



WILLIAM RECHSTEINER JR                                WILLIAM ROBERTSON JOHN ROBERTSON & WILLIAM BRESLIN TR
                                                                                                          WILLIAM ROHAN & JUDITH E ROHAN TR
9320 GARDEN COURT                                     A W ROBERTSON UA 4/30/65                            ROHAN FAMILY REVOCABLE LIVING TRUST UA 07/10/00
POTOMAC, MD 20854                                     640 PALISADE AVE                                    3312 SEA MIST LN
                                                      ENGLEWOOD CLIFFS, NJ 07632-1824                     MELBOURNE BEACH, FL 32951-3043



WILLIAM S ARNSPARGER & BETTY JANE ARNSPARGER TR       WILLIAM S BAHN CUST BARBARA ANN BAHN                 WILLIAM S BANNON CUST RICHARD BANNON
ARNSPARGER FAM TRUST UA 04/11/94                      U/THE MISSOURI UNIFORM GIFTS TO MINORS ACT           U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT
1574 PINE NEEDLES LN                                  19 ORCHARD LAND                                      6 POST LN
LEXINGTON, KY 40513                                   SAINT LOUIS, MO 63122                                LIVINGSTON, NJ 07039



WILLIAM S BANNON CUST WILLIAM C BANNON                WILLIAM S CORVIN & ADELE K CORVIN TR                 WILLIAM S KREMIDAS & MARGARET M KREMIDAS TR
U/THE NEW JERSEY UNIFORM GIFTS TO MINORS ACT          UA CORVIN 1988 REVOCABLE TRUST 08/19/88              KREMIDAS FAM TRUST UA 03/23/95
6 POST LN                                             18 EDGEWATER DRIVE                                   1063 CONTINENTAL AVE
LIVINGSTON, NJ 07039                                  BELVEDERE, CA 94920-2316                             MELBURNE
                                                                                                           MELBOURNE, FL 32940


WILLIAM S SANGER & IRENE W SANGER TR                  WILLIAM S STRYKER CUST BARBARA L STRYKER             WILLIAM S SWEENEY & DOLORES ALICE SWEENEY TR
WILLIAM STANLEY SANGER JT TRUST UA 12/14/99           U/THE CALIF UNIFORM GIFTS TO MINORS ACT              UA 6/9/83 WILLIAM S & DOLORESALICE
12014 CANTER LN                                       15930 PINION JAY LN                                  GRAND BLANC, MI 48439-8729
RESTON, VA 20191-2113                                 SISTERS, OR 97759-9606



WILLIAM S TAYLOR CUST ANDREW HOWARD TAYLOR            WILLIAM S TAYLOR CUST CATO CLARK TAYLOR              WILLIAM S TAYLOR CUST WILLIAM S TAYLOR
U/THE TENN UNIFORM GIFTS TO MINORS ACT                U/THE TENN UNIFORM GIFTS TO MINORS ACT               U/THE TENN UNIFORM GIFTS TO MINORS ACT
866 E 10TH ST                                         866 E 10TH ST                                        866 E 10TH ST
COOKEVILLE, TN 38501-1959                             COOKEVILLE, TN 38501-1959                            COOKEVILLE, TN 38501-1959
                    09-50026-mg               Doc 7123-50    Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit E
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WILLIAM S WEBSTER & CATHERINE L WEBSTER TR           WILLIAM SABAROFF & OZILDA M SABAROFF TR                WILLIAM SAMUEL ATKINSON & ROSE MARIE ATKINSON TR
WEBSTER FAMILY TRUST UA 02/08/01                     WILLIAM & OZILDA SABAROFF REV LIVING TRUST UA          UA 11/10/2009 ATKINSON FAMILY TRUST 2009
808 GREENLAWN AVE NW                                 06/13/02                                               7841 DEERFIELD LANE
WARREN, OH 44483-2129                                853 DUKE                                               PANAMA CITY, FL 32405
                                                     MILFORD, MI 48381-1105


WILLIAM SIEGEL CUST JAMES SCOTT SIEGEL               WILLIAM STARK CUST LISA JAN STARK                      WILLIAM STEINBERG & MRS SYLVIA STEINBERG JT TEN
U/THE OKLA UNIFORM GIFTS TO MINORS ACT               U/THE MARYLAND UNIFORM GIFTS TO MINORS ACT             56-34 218TH ST
14 SKYLINE DR                                        9208 FALLS BRIDGE LANE                                 BAYSIDE, NY 11364-1914
MONTVILLE, NJ 07045-9422                             POTOMAC, MD 20854-3948



WILLIAM T DOWNEY JR                                  WILLIAM T DUNN JR CUST WILLIAM T DUNN 3RD              WILLIAM T FERKANY & NORA M FERKANY TR
21709 150TH AVE                                      A MINOR UNDERARTICLE 8-A OF THE PERS PROPERTY LAW      WILLIAM T FERKANY & NORA M FERKANY REV TRUST UA
TUSTIN, MI 49688-8550                                NY                                                     11/25/97
                                                     2726 ANZIO CT                                          20 W CALLE NOGAL
                                                     APT 105                                                GREEN VALLEY, AZ 85614-3425
                                                     PALM BCH GDNS, FL 33410-2981

WILLIAM T FOSTER & EDITH M FOSTER TR                 WILLIAM T HARAS & DOLORES J HARAS TR                   WILLIAM T HARAS & LORI ANN DIXON TR
UA 11/14/2008 WILLIAM & EDITH FOSTER TRUST OF        WILLIAM T & DOLORES J HARAS LIVING TRUST UA 05/06/04   UA 05/06/2004 WILLIAM T HARAS & DELORES J HARAS
2893 PALOMINO ST                                     2842 IVY HILL DR                                       2842 IVY HILL DR
ANDERSON, CA 96007                                   COMMERCE TWP, MI 48382-5129                            COMMERCE TWP, MI 48382-5129



WILLIAM T LIFFITON & MONA LIFFITON TR                WILLIAM T PERKINS & MARGARET T PERKINS JT TEN          WILLIAM T POWELL & MARY LOU POWELL JT TEN
WILLIAM T & MONA LIFFITON TRUST UA 12/09/94          PO BOX 491326                                          PO BOX 952282
11714 NE 62ND TER                                    ATLANTA, GA 30349-9321                                 LAKE MARY, FL 32795-2282
STE 400
THE VILLAGES, FL 32162-8624


WILLIAM T POWERS & MICHAEL J KEARNEY TR              WILLIAM T POWERS & MICHAEL J KEARNEY TR                WILLIAM T POWERS & MICHAEL J KEARNEY TR
GRAMPA JIM'S TRUST UA 03/20/95 CHRIS BARBER          GRAMPA JIM'S TRUST UA 03/20/95 DANIEL BARNES           GRAMPA JIM'S TRUST UA 03/20/95 JOHN KEARNEY
C/O POWERS & WAITT                                   C/O POWERS & WAITT                                     C/O POWERS & WAITT
PO BOX 237                                           PO BOX 237                                             PO BOX 237
S EASTON, MA 02375-0237                              S EASTON, MA 02375-0237                                S EASTON, MA 02375-0237


WILLIAM T POWERS & MICHAEL J KEARNEY TR              WILLIAM T POWERS & MICHAEL J KEARNEY TR                WILLIAM T POWERS & MICHAEL J KEARNEY TR
GRAMPA JIM'S TRUST UA 03/20/95 KEVIN BARBER          GRAMPA JIM'S TRUST UA 03/20/95 MAURA BARNES            GRAMPA JIM'S TRUST UA 03/20/95 PATRICK KEARNEY
C/O POWERS & WAITT                                   C/O POWERS & WAITT                                     C/O POWERS & WAITT
PO BOX 237                                           PO BOX 237                                             PO BOX 237
S EASTON, MA 02375-0237                              S EASTON, MA 02375-0237                                S EASTON, MA 02375-0237


WILLIAM T POWERS & MICHAEL J KEARNEY TR              WILLIAM T SAKAI CUST JANET KEIKO SAKAI                 WILLIAM T SAKAI CUST JOANNE MARIKO SAKAI
GRAMPA JIM'S TRUST UA 03/20/95 STEPHEN KEARNEY       U/THE CALIFORNIA UNIFORM GIFTS TO MINORS ACT           U/THE CALIF UNIFORM GIFTS TO MINORS ACT
C/O POWERS & WAITT                                   316 CREEKSIDE DRIVE                                    316 CREEKSIDE DRIVE
PO BOX 237                                           PALO ALTO, CA 94306-4508                               PALO ALTO, CA 94306-4508
S EASTON, MA 02375-0237


WILLIAM T SAKAI CUST KENNETH ALAN SAKAI              WILLIAM T VAN EPPS & CHRISTA M VAN EPPS TR             WILLIAM T WAGAR & PHYLLIS S WAGAR TR
U/THE CALIF UNIFORM GIFTS TO MINORS ACT              VAN EPPS FAMILY TRUST UA 10/08/04                      UA 9/25/2007 WILLIAM T WAGAR TRUST
316 CREEKSIDE DRIVE                                  7661 GREENBRIER DRIVE NE                               17379 DORIS ST
PALO ALTO, CA 94306-4508                             ROCKFORD, MI 49341-8359                                LIVONIA, MI 48152



WILLIAM T WESTBROOK & LINDA R WESTBROOK TR           WILLIAM THOMAS SLAYTON & TIMOTHY H WALL TR             WILLIAM TRETINIK & JACQUELINE TRETINIK TR
WESTBROOK FAM TRUST UA 03/26/99                      UA 04/12/2007 WILLIAM THOMAS SLAYTON IRREVOCABLE       WILLIAM & JACQUELINE TRETINIK REV LIVING TRUST UA
6335 W HILL LN                                       5853 MUSTANG TER                                       08/01/90
GLENDALE, AZ 85310-5724                              PLAINFIELD, IN 46168-8412                              705 S LACLEDE STATION RD #256
                                                                                                            WEBSTER GRVS, MO 63119-4969
                     09-50026-mg         Doc 7123-50          Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit E
                                                             Part 8 of 8 Pg 437 of 440
WILLIAM U HAMMACK & LORETTA J HAMMACK TR              WILLIAM V GAHERTY CUST DANIELLE A GAHERTY              WILLIAM V MCCARTHY & BARBARA R MCCARTHY TR
AGREEMENT 11/29/85 WILLIAM U HAMMACK & LORETTA J      U/THE N Y UNIFORM GIFTS TO MINORS ACT                  WILLIAM V BARBARA MCCARTHY TRUST UA 08/17/00
HAMMACK                                               PO BOX 122                                             17 PATRICIA DR
407 VOELKER DR                                        SHEFFIELD, MA 01257-0122                               MILTON, MA 02186-4729
SAN MATEO, CA 94403-4210


WILLIAM V MUZYKA & LEONARA MUZYKA TR                  WILLIAM V VAN HORN & HERSHEL K WILLIAMS & JOYCE J VAN HORN
                                                                                                             WILLIAM
                                                                                                                  TR W BEDLE
WILLIAM V MYZYKA & LEONARA MUZYKA TRUST UA 11/20/95   VAN HORN FAMILY TRUST 12/08/87                         96 CONSTITUTION BLVD
59 SHORE RD                                           7450 SO KNOXVILLE                                      WHITING, NJ 08759-1904
WEST DENNIS, MA 02670-2909                            TULSA, OK 74136-5909



WILLIAM W BUSSEY CUST WILLIAM W BUSSEY JR             WILLIAM W CORMIER & LORRAINE F CORMIER TR              WILLIAM W EDELSTEIN
A MINOR U/THE LAWS OF GEORGIA                         WILLIAM & LORRAINE CORMIER LIVING TRUST UA 4/8/03      8855 S HIGHWAY A1A
344 ROBERSON CREEK RD                                 2151 STRATFORD POINTE DR                               MELBORNE BEACH, FL 32951-4010
PITTSBORO, NC 27312-8804                              WEST MELBOURNE, FL 32904-8012



WILLIAM W FURNISS TR                                  WILLIAM W HERNDON & PHYLLIS F HERNDON TR               WILLIAM W JONES CUST ANDREW C JONES
WILLIAM W FURNISS & PATRICIA M FURNISS SURVIVORS      HERNDON LIVING TRUST UA 01/26/98                       U/THE INDIANA UNIFORM GIFTS TO MINORS ACT
TRUST UA 06/14/88                                     10450 LOTTSFORD ROAD                                   1027 GWYN CIR
13902 SANDERSTEAD RD                                  APT 161                                                OVIEDO, FL 32765-7007
SANTA ANA, CA 92705-2655                              BOWIE, MD 20721


WILLIAM W MACTAVISH & FAYE E MACTAVISH TR             WILLIAM W MARSHALL & DONNA J MARSHALL TR               WILLIAM W REGNIER CUST WILLIAM W REGNIER II
MACTAVISH FAM TRUST UA 02/14/96                       MARSHALL FAMILY TRUST UA 9/27/99                       U/THE MO UNIFORM GIFTS TO MINORS LAW
4030 BANBURY WAY                                      225 BANBERRY NORHT                                     1310 FLORDAWN
ANTIOCH, CA 94531-6655                                LANSING, MI 48906                                      FLORISSANT, MO 63031-6252



WILLIAM W TAYLOR                                      WILLIAM W WEBSTER & DIANA J WEBSTER TR                 WILLIAM W WICKES CUST FRANCES CLEVELAND WICKES
PO BOX 342732                                         WILLIAM W WEBSTER TRUST UA 12/10/99                    A MINOR UNDER THE LAWS OF THE DISTRICT
AUSTIN, TX 78734                                      21150 ANGELA SQUARE                                    4973 ORTEGA BLVD
                                                      STERLING, VA 20166-2424                                JACKSONVILLE, FL 32210-8341



WILLIAM W WIRTHMAN CUST KATHLEEN WIRTHMAN             WILLIAM W ZANDER CUST ROBYN A ZANDER                   WILLIAM WALSER & DOLORES WALSER TR
U/THE OHIO UNIFORM GIFTS TO MINORS ACT                U/THE CAL UNIFORM GIFTS TO MINORS ACT                  UA 06/03/93 WILLIAM & DOLORES WALSER TRUST
281 S ROOSEVELT AVE                                   1786 ELIZABETH ST                                      6349 SIENA ST
COLUMBUS, OH 43209-1827                               PASADENA, CA 91104-2765                                DAYTON, OH 45459-2824



WILLIAM WEINRAUCH                                     WILLIAM WEISS & REGINA WEISS TR                        WILLIAM Y MAKINO & RICHARD W MAKINO & DIANE L GARCES T
2 TUDOR CITY PLACE                                    WILLIAM WEISS DECLARATION OF TRUST UA 12/20/89 AS      WILLIAM Y MAKINO TRUST UA
APT 2BS                                               AMENDED                                                9737 FOX GLEN DR 4K
NEW YORK, NY 10017-6826                               PO BOX 252353                                          NILES, IL 60714-5871
                                                      W BLOOMFIELD, MI 48325-2353


WILLIE D BAILEY                                       WILLIE E MATHIS                                        WILLIE H ATTERBERRY JR
PO BOX 431881                                         PO BOX 203053                                          PO BOX 250001
PONTIAC, MI 48343-1881                                ARLINGTON, TX 76006                                    FRANKLIN, MI 48025-0001




WILLIE H CARPENTER                                    WILLIE J HARRISON                                      WILLIE N LOCKETT
PO BOX 286113                                         12301 GREINER ST                                       PO BOX 670666
CHICAGO, IL 60628                                     DETROIT, MI 48205-2620                                 NORTHFIELD, OH 44067
                   09-50026-mg              Doc 7123-50     Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit E
                                                           Part 8 of 8 Pg 438 of 440
WILLIS A LAMPING & DOROTHY M LAMPING TR             WILLIS D PERKINS TR                                  WILLIS PENNINGTON & DORIS F PENNINGTON TR
THE WILLIS A LAMPING & DOROTHY MLAMPING             AMENDED 1987 REVOCABLE TRUST 08/01/72 U-A F-B-O      PENNINGTON LIVING TRUST UA 01/30/97
3295 BAUER DRIVE                                    WILLIS D PERKINS                                     4444 BRENDENWOOD RD #232
SAGINAW, MI 48604-2240                              4081 PETULLA CT                                      ROCKFORD, IL 61107-2267
                                                    SAN JOSE, CA 95124-4833


WILLMER R LONG                                      WILMA A GUTWEIN                                      WILMA C PRESTON
3652 WHITING RD                                     2058 FAIRKNOLL DRIVE                                 4331 STEINWAY DR
GAINESVILLE, GA 30504-5732                          BEAVERCREEK, OH 45431                                DAYTON, OH 45416-1643




WILMA C THOMAS TR UA 10/12/87 ELMA M STEINERT       WILMA J EINSELEN                                     WILMA J WOJTOWICZ TR
176 MCNEAR DRIVE                                    2476 W BROADWAT                                      UA 01/02/1996 ROBERT E & WILMA J WOJTOWICZ 1996
SAN RAFAEL, CA 94901-1435                           BUNKER HILL, IN 46914-9488                           LIVING TRUST
                                                                                                         1265 N LEAVITT RD
                                                                                                         LEAVITTSBURG, OH 44430


WILMA M HASSER CUST SUSAN R HASSER                  WILMA MEDGARD                                        WILMA N CLARDY
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT          C/O DOROTHY C STEINHAUS                              PO BOX 190115
51 CAPTAIN PERRY DR                                 20330 BOTHELL EVERETT HIGHWAY                        BURTON, MI 48519-0115
PHIPPSBURG, ME 04562-4010                           APT C 104
                                                    BOTHELL, WA 98012-8140


WILMA SUE SHUMATE & BUFORD L SHUMATE TR             WILSON B REYNOLDS CUST CHARLES W REYNOLDS            WINFRIED HAAS
WILMA SUE SHUMATE TRUST UA 08/08/96                 U/THE TENN UNIFORM GIFTS TO MINORS ACT               IM STEIN 3
10 THOMAS CIRCLE                                    212 WINMONT TURN                                     65239 HOCHHEIM
GREENBRIER, AR 72058-9571                           KNOXVILLE, TN 37922-3335                             GERMANY



WINIFRED B SIMPSON TR                               WINIFRED C YOUNG TR                                  WINIFRED E MIELCHEN TR
U-DECL OF TRUST 12/19/88 WINIFRED B SIMPSON AS      7-A 06/07/89 THE WINIFRED C YOUNG REVOCABLE LIVING   WINIFRED E MIELCHEN INTERVIVOS TRUST UA 07/18/98
SETTLOR                                             TRUST                                                1164 SPRUCE TREE CIRCLE
14757 VICKERY AVE                                   45-920 KEAAHALA PL                                   SACRAMENTO, CA 95831-3923
SARATOGA, CA 95070-6034                             KANEOHE, HI 96744-3346


WINIFRED F FEATHERSTON & TERI L NESSIA TR           WINIFRED HEIGHTON HACKENBURY PERSONAL REPRESENTATIVE
                                                                                                     WINIFRED
                                                                                                         OF THEL ESTATE
                                                                                                                 RADDI FREDERICK
                                                                                                                        OF       C KAHN LAWRENCE NEWMAN T
WINIFRED F FEATHERSTON TRUST UA 3/13/00             HOWARD R WARNER                                  WINIFRED L RADDI U-W GERMAINE L KAHN
436 GLEN OAK RD                                     118 E WESTWOOD DR                                BOX 1025
VENICE, FL 34293-1107                               KALAMAZOO, MI 49006-4342                         PORT WASHINGTON, NY 11050-0204



WINIFRED M FARWICK TOD MICHELLE D HOLLINGSWORTH SUBJECT
                                                   WINIFRED
                                                        TO STA
                                                             M FLANAGAN
                                                                TOD      & MARK J FLANAGAN TR            WINIFRED RADDI GOODING & LAWRENCE NEWMAN TR
RULES                                              UA 10/10/2007 WINIFRED M FLANAGAN TRUST               WINIFRED RADDI GOODING U-W GERMAINE L KAHN
7735 WEST 500 SOUTH                                8438 PEACE LILY COURT                                 BOX 1025
RUSSIAVILLE, IN 46979-9109                         LORTON, VA 22079-5697                                 PORT WASHINGTON, NY 11050-0204



WINSTON A CALLWOOD                                  WINTHROP C CANTRELL & BEATRICE PEET CANTRELL TR      WIRT C WARD & LELAND A DICKERMAN & JOYCE ANN DICKERM
14601 181ST ST                                      UA 08/14/90 THE WINTHROP C CANTRELL                  WIRT C WARD TRUST UA 08/23/01
SPRINGFIELD GARDENS, NY 11413-3721                  T-16                                                 209 LA VIDA VIA
                                                    LAKE LOTAWANA, MO 64086                              DOWNINGTOWN, PA 19335



WITHOLD B STEINAGEL & FREDA F STEINAGEL JT TEN      WITHOLD F MOIGIS CUST WITOLD C MOIGIS                WM JUDGEMENT LINCH & BETTY L LINCH TR
1131 DOGWOOD                                        UNDER THE FLORIDA GIFTS TO MINORS ACT                THE WM JUDGEMENT & BETTY L LINCH REV LIV TRUST UA
PORTAGE, MI 49024-5227                              2469 BRENTHAVEN COURT                                02/11/02
                                                    BLOOMFIELD HILLS, MI 48304-1412                      6510 SOUTH STATE RD 109
                                                                                                         KNIGHTSTOWN, IN 46148-9566
                  09-50026-mg            Doc 7123-50         Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit E
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WM JUDGEMENT LINCH BETTY L LINCH TR                  WOLFGANG J REINEKE                                   WOLFGANG REINHARDT
WM JUDGEMENT & BETTY L LINCH REV TRUST UA 02/11/02   LANDSBERGER STR 5                                    GENERAL SERVICE MANAGER
6510 S STATE RD 109                                  WIESBADEN                                            EISENSTRA BE 2-4
KNIGHTSTOWM, IN 46148-9566                           GERMANYD-                                            D-65428 RUESSELSHEIM
                                                     GERMANY                                              REPL OF GERMANY


WOLFGANG REINHARDT                                   WOLFGANG TRAUTWEIN                                   WOLFRAM LIEDTKE
STEINKOPFSTRASSE 25                                  HERMANN-LOENS-ALLEE 2C                               AM HAINSTEIN 8 A
D-61273 WEHRHEIM                                     GINSHEIM-GUSTAVSBURG                                 99817 EISENACH
GERMANY                                              D-65462 GERMANY                                      GERMANY



WOODROW E MILLSPAUGH SR & HELEN G MILLSPAUGH TR      WOODROW L MC CARTY                                   WYMAN YOUNG & SANDRA YUK WAN YOUNG TR
UA 06/08/2000 WOODROW E MILLSPAUGH SR &              12254 220TH AVE                                      WYMAN YOUNG & SANDRA YUK WAN YOUNG LIVING TRUST
7098 S VASSAR RD                                     BIG RAPIDS, MI 49307-9430                            UA 09/30/94
GRAND BLANC, MI 48439                                                                                     2121 MYRTLE BEACH LANE
                                                                                                          DANVILLE, CA 94526-6213


WYNNE H WEHE CUST THOMAS W WEHE UGMA PA              WYNOKA MREE ROBERTS                                  YAKOV GREENSTEIN
13338 186TH AVE NE                                   5701 COUNTY ROAD 2350 2350                           725 MOUNT WILSON LN
WOODINVILLE, WA 98072-6309                           POMONA, MO 65789-9187                                APT 539
                                                                                                          PIKESVILLE, MD 21208-1125



YAKOV GREENSTEIN CUST CHANAH GILAH GREENSTEIN UNDER
                                                  YAKOV
                                                    THE NY
                                                         GREENSTEIN
                                                           U-G-M-A CUST RIVKAH GREENSTEIN UGMA NY         YASUO KUBOTA
725 MOUNT WILSON LN                               725 MOUNT WILSON LN                                     DEPARTMENT OF DERMATOLOGY
APT 539                                           APT 539                                                 KAGAWA MEDICAL UNIVERSITY
PIKESVILLE, MD 21208-1125                         PIKESVILLE, MD 21208-1125                               1750-1 MIKI KIDA-GUN
                                                                                                          KAGAWA 701-0793 JAPAN


YASVO ATOBE                                          YETTA GOLDMAN TR YETTA GOLDMAN LIVING TRUST UA 01/06/93
                                                                                                          YETTA L BIBEN
11 31 KOYOEN NISHIYAMA CHO                           230 174TH ST APT 803                                 241-117 LAFAYETTE ROAD
NISHINOMIYA SHI                                      N MIAMI BEACH, FL 33160-3327                         SYRACUSE, NY 13205-2917
HYOGO
662 0017 JAPAN


YOLANDA F PIROLLI CUST JOHN P PIROLLI                YORIKO IDAMA TR YORIKO IDAMA TRUST UA 04/28/97       YOSEF REUBEN SHEINFELD
U/THE MASS UNIFORM GIFTS TO MINORS ACT               PO BOX 660944                                        1631 53RD STREET
BOX 223                                              ARCADIA, CA 91066-0944                               BROOKLYN, NY 11204-1421
WATERTOWN, MA 02471-0223



YOSHIO SAKO CUST EDWARD SAKO                         YOUWAKEEM COSTANDI & ANNA COSTANDI TR                YUET MING WONG & SZE YING WONG JT TEN
U/THE MINNESOTA UNIFORM GIFTS TO MINORS ACT          YOUWAKEEM COSTANDI REV LIVING TRUST UA 05/15/97      PO BOX 863135
1856 COLVIN AVE                                      36375 GREEN ST                                       RIDGEWOOD, NY 11386-3135
ST PAUL, MN 55116-2712                               NEW BALTIMORE, MI 48047-2135



YVETTE ROUSSEAU                                      YVETTE ROUSSEAU                                      YVONNE A PURTY
404-730 LEONARD                                      404-730 LEONARD                                      PO BOX 301172
STE-FOY QC                                           STE-FOY QC                                           DRAYTONPLAINS, MI 48330-1172
G1X 4E2 CANADA                                       G1X 4E2 CANADA



YVONNE E THERRIAN                                    YVONNE J HARRIS                                      YVONNE VAN NESS CUST RANDELL PERCY VAN NESS
& MARY JEANNE THERRIAN VANASTEN & PATRICIA A         PO BOX 740112                                        U/THE ALABAMA GIFTS TO MINORS ACT
DELVEAUX JT TEN                                      ORANGE CITY, FL 32774-0112                           966 E CATTAIL DR
1409 DAKOTA AVE                                                                                           DRAPER, UT 84020-8582
GLADSTONE, MI 49837
                    09-50026-mg         Doc 7123-50           Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit E
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Z LAWSON TUTTLE CUST C WESLEY JACKSON                 ZACHARY F ENDRESS CUST MARY C ENDRESS             ZACHARY JAMES SHAM CUST BEVERLY JOYCE SHAM
A MINOR UNDERTHE LAWS OF THE STATE OF GEORGIA         U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT        U/THE CAL UNIFORM GIFTS TO MINORS ACT
2509 IVY PLANTATION DR                                1790 TIVERTON                                     2545 CRESTVIEW
BUFORD, GA 30519-7039                                 BLOOMFIELD HILLS, MI 48304-2343                   NEWPORT BEACH, CA 92663-5624



ZACHARY SCHLAFF CUST SEREEN SCHLAFF                   ZAHEED J JADALLA                                  ZANDER LEBEL
U/THE PA UNIFORM GIFTS TO MINORS ACT                  PO BOX #441525                                    2524 148A ST
231 LINDEN DRIVE                                      DETROIT, MI 48244-1525                            SURREY BC
ELKINS PARK, PA 19027-1341                                                                              V4P 1N8 CANADA



ZANE E MITCHELL                                       ZAREFAY J BANEK & CHESTER J BANEK TR              ZBIGNIEW J ZIOLKOWSKI
8488 180TH AVE                                        ZAREFAY J BANEK LIVING TRUST UA 12/20/99          3785 105TH AV
REED CITY, MI 49677-8394                              93 CROSS STREET                                   ALLEGAN, MI 49010-9130
                                                      YORKVILLE, NY 13495-1721



ZENIDA BREITSTEIN CUST BRUCE BRIETSTEIN               ZIGMUND MICHAEL TAYLOR                            ZIVOIN BERAR CUST ROBERT S BERAR
U/THE NEW YORK UNIFORM GIFTS TO MINORS ACT            & DOLORES ELIZABETH TAYLOR & MARY ANN TAYLOR JT   U/THE MICHIGAN UNIFORM GIFTS TO MINORS ACT
19 WALNUT PLACE                                       TEN                                               1708 HAMMAN DR
HUNTINGTON, NY 11743-7105                             46701 STRATHMORE RD                               TROY, MI 48098-5039
                                                      PLYMOUTH, MI 48170-3438


ZOLA M SMITH TR
RALPH M SMITH & ZOLA M SMITH REVOCABLE LIVING TRUST
UA 10/03/97
340 W 5TH ST
IMLAY CITY, MI 48444-1039
